Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1 of 1618
                                 Case 2:23-bk-01538-FMD                                            Doc 24                 Filed 01/17/24                        Page 2 of 1618

 Fill in this information to identify the case:

 Debtor name            LTGF Business Trust

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               2:23-bk-01538
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           361,395.13

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           361,395.13


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,677,976.41


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,677,976.41




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                         Case 2:23-bk-01538-FMD                    Doc 24         Filed 01/17/24              Page 3 of 1618

Fill in this information to identify the case:

Debtor name         LTGF Business Trust

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)        2:23-bk-01538
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Citibank - operating account                      Checking                              7061                                    $25,503.16




          3.2.     Citibank                                          Savings                               7074                                  $318,181.97



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $343,685.13
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Prepaid insurance                                                                                                               $17,710.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                         Case 2:23-bk-01538-FMD                   Doc 24      Filed 01/17/24       Page 4 of 1618

Debtor        LTGF Business Trust                                                    Case number (If known) 2:23-bk-01538
              Name




9.         Total of Part 2.                                                                                                 $17,710.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:       Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:       Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                              page 2
                         Case 2:23-bk-01538-FMD                     Doc 24        Filed 01/17/24              Page 5 of 1618

Debtor        LTGF Business Trust                                                          Case number (If known) 2:23-bk-01538
              Name

           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Domain names: www.ATIF.com and
           www.ATIFBT.com                                                               $0.00      N/A                                Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Dropbox account wiht records and
           membership information                                                       $0.00      N/A                                Unknown



64.        Other intangibles, or intellectual property
           Any right to certain trade names, including
           Attorneys' Title Insurance Fund or ATIF                                      $0.00      N/A                                Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3
                             Case 2:23-bk-01538-FMD                                   Doc 24              Filed 01/17/24               Page 6 of 1618

Debtor          LTGF Business Trust                                                                                 Case number (If known) 2:23-bk-01538
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $343,685.13

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $17,710.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $361,395.13           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $361,395.13




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
                         Case 2:23-bk-01538-FMD                    Doc 24         Filed 01/17/24           Page 7 of 1618

Fill in this information to identify the case:

Debtor name       LTGF Business Trust

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF FLORIDA

Case number (if known)      2:23-bk-01538
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
                           Case 2:23-bk-01538-FMD                          Doc 24            Filed 01/17/24                 Page 8 of 1618

Fill in this information to identify the case:

Debtor name        LTGF Business Trust

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)           2:23-bk-01538
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $400.00
          3 GATORS LAW LLLP                                                    Contingent
          601 21st Street                                                      Unliquidated
          Suite 401
                                                                               Disputed
          Vero Beach, FL 32960
                                                                            Basis for the claim: Member
          Date(s) debt was incurred
          Last 4 digits of account number 6849                              Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $25.00
          A ALAN MANNING                                                       Contingent
          125 W Romana Street Suite 800                                        Unliquidated
          Pensacola, FL 32501
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Member
          Last 4 digits of account number 3315
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $50.00
          A BARRY G HOFFMAN LAW OFFICE                                         Contingent
          9045 La Fontana Boulevard                                            Unliquidated
          Suite 106
                                                                               Disputed
          Boca Raton, FL 33434
                                                                            Basis for the claim: Member
          Date(s) debt was incurred
          Last 4 digits of account number 8537                              Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $164.16
          A CLARK FLETCHER                                                     Contingent
          2602 W 11th Street                                                   Unliquidated
          Panama City, FL 32401-6502                                           Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Member
          Last 4 digits of account number 6600
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page    1 of 1581
                                                                                                          42766
                        Case 2:23-bk-01538-FMD                     Doc 24           Filed 01/17/24                 Page 9 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $200.00
         A CLIFTON BLACK PA                                           Contingent
         104 S Clyde Avenue                                           Unliquidated
         Kissimmee, FL 34741-5614
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7953
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $250.00
         A DOUGLAS GRACE JR PA                                        Contingent
         11741 Palm Beach Boulevard Suite 201                         Unliquidated
         Ft Myers, FL 33905-5920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4829
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         A FAXON HENDERSON JR                                         Contingent
         P.O. Box 3208                                                Unliquidated
         West Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 305
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         A J MUSIAL JR                                                Contingent
         1211 W Fletcher Avenue                                       Unliquidated
         Tampa, FL 33612-3363
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8294
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $262.50
         A J RYAN JR                                                  Contingent
         700 E Dania Beach Boulevard Suite 200                        Unliquidated
         Dania, FL 33004-3031
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1988
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         A JOHN HUGHES JR                                             Contingent
         P.O. Box 1910                                                Unliquidated
         Ft Myers, FL 33902-1910
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1275
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         A KENNETH PINCOURT JR                                        Contingent
         P.O. Box 4057                                                Unliquidated
         West Palm Beach, FL 33402-4057
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1328
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    2 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 10 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         A LEO JACKSON                                                Contingent
         2834 Ahern Drive                                             Unliquidated
         Orlando, FL 32817-2806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3850
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,219.69
         A P GIBBS                                                    Contingent
         P.O. Box 618                                                 Unliquidated
         Dade City, FL 33526-0618                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5425
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $200.00
         A R CLONTS                                                   Contingent
         2055 Southwest Kanner Highway                                Unliquidated
         Stuart, FL 34997-2606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 922
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         A R MORSILLO                                                 Contingent
         P.O. Box 295                                                 Unliquidated
         Glenville, NC 28736-0295
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3440
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,291.85
         A S ROSENTHAL                                                Contingent
         C/O Rosenthal Rosenthal Rasco                                Unliquidated
         20900 Northeast 30th Avenue Suite 600                        Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3588                      Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,371.75
         A V BETHENCOURT                                              Contingent
         1117 Southwest 13th Street                                   Unliquidated
         Miami, FL 33129-1836                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1419
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         A V O LAW GROUP PA                                           Contingent
         169 E Flagler Street Suite 1125                              Unliquidated
         Miami, FL 33131-1205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1795
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    3 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 11 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $200.00
         A W NICHOLS III                                              Contingent
         P.O. Box 26                                                  Unliquidated
         Palatka, FL 32178-0026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6354
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $200.00
         A WAYNE RICH                                                 Contingent
         P.O. Box 4961                                                Unliquidated
         Orlando, FL 32802-1911
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6612
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $75.00
         A. ALFRED SCHREIBER                                          Contingent
         5600 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021-3240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5325
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         A. Leigh Cangelosi, Esquire                                  Contingent
         1310 N Main Street                                           Unliquidated
         Bell, FL 32619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0386
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         A. THOMAS CONNICK                                            Contingent
         P.O. Box Ad                                                  Unliquidated
         Deerfield Beach, FL 33443-1186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6173
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         AARON B WENTZ PA                                             Contingent
         814-A Shadow Lane                                            Unliquidated
         Ft Walton Beach, FL 32547
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4866
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         Aaron Rokosz, Attorney at Law                                Contingent
         1108 Kane Concourse Suite 309                                Unliquidated
         Bay Harbor Islands, FL 33154-0049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7766
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    4 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 12 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $75.00
         ABADIN COOK                                                  Contingent
         Dadeland Centre Suite 1208                                   Unliquidated
         9155 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4525                      Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ABBIE R SALT                                                 Contingent
         710 NE 126th Street                                          Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3950
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ABBY FROMANG MILON                                           Contingent
         2790 Northwest 43rd Street Suite 200                         Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8374
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ABBY L STEINBERG                                             Contingent
         4300 N University Drive Suite B-104                          Unliquidated
         Lauderhill, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5020
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         Abecassis Foad, P.A.                                         Contingent
         1161 Holland Drive                                           Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0619
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,262.39
         ABEL BAND CHARTERED                                          Contingent
         P.O. Box 49948                                               Unliquidated
         Sarasota, FL 34230-6948                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2071
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         ABELES BALDWIN & ASSOCIATES                                  Contingent
         5 W Highbanks Road                                           Unliquidated
         Debary, FL 32713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6712
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    5 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 13 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $375.00
         ABRAHAM A GALBUT PA                                          Contingent
         4770 Biscayne Boulevard                                      Unliquidated
         Suite 1400
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1482                      Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $200.00
         ABRAHAM B ROSENBERG                                          Contingent
         3876 Sheridan Street                                         Unliquidated
         Emerald Village Professional Plaza
                                                                      Disputed
         Hollywood, FL 33021-3634
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4679                      Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         ABRAMOWITZ & POMERANTZ                                       Contingent
         7800 W Oakland Park Boulevard Suite 101                      Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5580
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,533.09
         ABRAMS ANTON PA                                              Contingent
         C/Ogreenspoon Marder/Schneider                               Unliquidated
         18851 Northeast 29th Avenue Suite 406                        Disputed
         Aventura, FL 33180-2824
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3433                      Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         Accelerated Title, LLC                                       Contingent
         5707 S. Dixie Highway                                        Unliquidated
         Suite D
                                                                      Disputed
         West Palm Beach, FL 33405
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0949                      Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         Acevedo Law Firm                                             Contingent
         7211 N. Dale Mabry Highway                                   Unliquidated
         Suite 211
                                                                      Disputed
         Tampa, FL 33614
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0636                      Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $75.00
         ACKERMAN LINK & SARTORY                                      Contingent
         2001 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 502-H
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2255                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    6 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 14 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADA M ARIAS                                                  Contingent
         16112 Kilmarnock Drive                                       Unliquidated
         Hialeah, FL 33014-6518
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0212
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADA M BARRETTO PA                                            Contingent
         782 Northwest Le Jeune Road Suite 643                        Unliquidated
         Miami, FL 33126-5547
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7708
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADAM C MISHCON                                               Contingent
         Adam C. Mishcon P.A.                                         Unliquidated
         4010 Kumquat Avenue
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8326                      Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADAM F GEORGE                                                Contingent
         2203 Mariner Court                                           Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0485
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADAM GITTELMACHER                                            Contingent
         209 S Atlantic Drive                                         Unliquidated
         Lake Worth, FL 33462-1901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6673
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADAM K MCGINNIS PL                                           Contingent
         P.O. Box 3364                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2387
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25.00
         ADAM L BESSEN                                                Contingent
         20283 State Road 7                                           Unliquidated
         Suite 300
                                                                      Disputed
         Boca Raton, FL 33498-6741
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9874                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page   7 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 15 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         Adam Law Group, P.A.                                         Contingent
         2258 Riverside Avenue                                        Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0094
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ADAM R MILLER                                                Contingent
         218 Harbor Drive S                                           Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5927
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ADAM R SCHIFFMAN                                             Contingent
         Gateway Centre                                               Unliquidated
         2750 Northeast 185th Street 2nd Floor
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5000                      Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $65.00
         ADAM S DONER                                                 Contingent
         Gordon & Doner P.A.                                          Unliquidated
         4114 Northlake Boulevard Suite 200
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2162                      Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ADAM S ZIPPER                                                Contingent
         1500 San Remo Avenue Suite 248                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2137
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $200.00
         ADAMS & BRIGGS                                               Contingent
         121 E International Boulevard                                Unliquidated
         Daytona Beach, FL 32118-4648
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7970
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $525.00
         ADAMS & SPEARS PA                                            Contingent
         4236 Willow Bay                                              Unliquidated
         Winter Garden, FL 34787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7390
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    8 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 16 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $225.00
         ADAMS AND REESE LLP                                          Contingent
         100 North Tampa Street                                       Unliquidated
         Suite 4000
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6392                      Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         ADAMS COOGLER WATSON & MERKLE                                Contingent
         P.O. Box 2069                                                Unliquidated
         West Palm Beach, FL 33402-2069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3881
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $100.00
         ADAMS GALLINAR PA                                            Contingent
         1000 Brickell Avenue                                         Unliquidated
         Suite 300
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0968                      Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $275.00
         ADAMS ROTHSTEIN & SIEGEL                                     Contingent
         4417 Beach Boulevard Suite 104                               Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 129
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         ADDICOTT & ADDICOTT PA                                       Contingent
         900 N Federal Highway Suite 201                              Unliquidated
         Hallandale Beach, FL 33009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6469
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $25.00
         Adler Wellikoff, P.L.L.C.                                    Contingent
         1900 Glades Road                                             Unliquidated
         Suite 270
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0054                      Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $125.00
         ADORNO & YOSS LLP                                            Contingent
         P.O. Box 144008                                              Unliquidated
         Coral Gables, FL 33114-4008
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8549
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page    9 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 17 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ADRIAN GABALDON                                              Contingent
         P.O. Box 1303                                                Unliquidated
         Auburndale, FL 33823-1303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4492
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ADRIAN WINTERFIELD                                           Contingent
         P.O. Box 2839                                                Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2634
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ADRIANO R GONZALEZ                                           Contingent
         P.O. Box 7095                                                Unliquidated
         Port St Lucie, FL 34985
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7292
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ADRIENNE F PROMOFF                                           Contingent
         150 W Flagler Street Suite 2950                              Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0124
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ADRIENNE L IVES                                              Contingent
         6441 Southwest 134th Drive                                   Unliquidated
         Miami, FL 33156-7046
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7153
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ADRIENNE V SCHMITZ                                           Contingent
         810 Silverbell Lane                                          Unliquidated
         West Palm Beach, FL 33414-8185
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7641
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Advocate Law Groups of Florida, P.A.                         Contingent
         95 Merrick Way                                               Unliquidated
         Suite 310
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9169                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 18 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Advocates Title & Escrow, PLLC                               Contingent
         2424 N. Federal Highway                                      Unliquidated
         Suite 411
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0793                      Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Aerolaw Offices, P.L.L.C.                                    Contingent
         101 Northeast Third Avenue Suite 1500                        Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8800
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Affinia Title, L.L.C.                                        Contingent
         711 N Orlando Avenue                                         Unliquidated
         Suite 101
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7756                      Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AGNES S HOLLINGSHEAD                                         Contingent
         4781 N Congress Avenue Suite 281                             Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9145
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AGUDO LAW PA                                                 Contingent
         1635 Southwest 27th Avenue                                   Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8701
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AGUSTIN A PEREZ-CERVERA                                      Contingent
         815 Ponce De Leon Boulevard Suite 301                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8332
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AGUSTIN DE GOYTISOLO                                         Contingent
         P.O. Box 348038                                              Unliquidated
         Coral Gables, FL 33234-8038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3909
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 19 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AHIZA HERNANDEZ JOHNSON                                      Contingent
         5701 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8535
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AIDA L CABELLO-COLON LLC                                     Contingent
         P.O. Box 781269                                              Unliquidated
         Orlando, FL 32878-1269
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1557
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AILEEN FRANKLIN                                              Contingent
         8181 Miami Lakes Drive                                       Unliquidated
         Suite 120
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9849                      Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AILEEN ORTEGA                                                Contingent
         2420 Coral Way                                               Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3774
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AIMEE JUVIER PA                                              Contingent
         11125 Southwest 174th Terrace                                Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9932
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AIMEE L NUNEZ                                                Contingent
         6303 Blue Lagoon Drive Suite 390                             Unliquidated
         Miami, FL 33126-6005
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4249
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,156.61
         AINSLEE R FERDIE                                             Contingent
         717 Ponce De Leon Boulevard                                  Unliquidated
         Suite 223                                                    Disputed
         Coral Gables, FL 33134-2048
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1832                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 20 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Akerman LLP                                                  Contingent
         777 S. Flagler Drive                                         Unliquidated
         Suite 1100
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 25                        Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AKERMAN SENTERFITT                                           Contingent
         401 E. Jackson Street                                        Unliquidated
         Suite 1700
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 25                        Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,532.10
         AKERMAN SENTERFITT                                           Contingent
         P.O. Box 231                                                 Unliquidated
         Orlando, FL 32802-0231                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 25
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $300.00
         AKERMAN SENTERFITT & EIDSON                                  Contingent
         Suntrust Building                                            Unliquidated
         401 E Jackson Street Suite 1700
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6267                      Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $175.00
         AKERMAN, BAKST, GUNDLACH,                                    Contingent
         P.O. Drawer 3948                                             Unliquidated
         West Palm Beach, FL 33402-3948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4046
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AKSELL & VARGO PA                                            Contingent
         P.O. Box 607794                                              Unliquidated
         Orlando, FL 32860-7734
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2402
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Aktas Law, P.A.                                              Contingent
         1180 Spring Centre S Boulevard                               Unliquidated
         Suite 201
                                                                      Disputed
         Altamonte Springs, FL 32714
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9746                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 21 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AKW Title Group, LLC                                         Contingent
         1302 E. Robinson Street                                      Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1044
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AL A CHENELER PA                                             Contingent
         Office Of General Counsel                                    Unliquidated
         7813 Thornhill Lane
                                                                      Disputed
         Tallahassee, FL 32312
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4810                      Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AL A DICALVO                                                 Contingent
         11261 Shady Lane                                             Unliquidated
         Plantation, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4007
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         AL R LOPEZ JR                                                Contingent
         Lopez Kelly & Bible P.A.                                     Unliquidated
         4100 W Kennedy Boulevard Suite 114
                                                                      Disputed
         Tampa, FL 33609-2243
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4832                      Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN B BRODY PA                                              Contingent
         3961 Biscayne Drive                                          Unliquidated
         Winter Springs, FL 32708-4630
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8257
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN B FIELDS                                                Contingent
         1129 Venetian Harbor Drive Northeast                         Unliquidated
         St Petersburg, FL 33702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4011
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN B FISHMAN                                               Contingent
         4045 Sheridan Avenue                                         Unliquidated
         Suite 398
                                                                      Disputed
         Miami Beach, FL 33140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7297                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 22 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN B ROSENFELD                                             Contingent
         4301 Military Road Northwest Apt 303                         Unliquidated
         Washington, DC 20015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7541
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN B SCHNEIDER                                             Contingent
         Alan B. Schneider P.A.                                       Unliquidated
         633 S Federal Highway 8th Floor
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2575                      Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN B TARR                                                  Contingent
         112 Sunset Bay Drive                                         Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5117
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,223.29
         ALAN B. KESSLER                                              Contingent
         5263 Central Avenue                                          Unliquidated
         St. Petersburg, FL 33710-8141                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2413
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $325.00
         ALAN BERNSTEIN PA                                            Contingent
         2875 PGA Boulevard Suite 100                                 Unliquidated
         Palm Beach Gardens, FL 33410-2903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5269
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN BRYCE GROSSMAN                                          Contingent
         312 Southeast 17th Street 2nd Floor                          Unliquidated
         Ft Lauderdale, FL 33316-2524
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7800
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ALAN C KAUFFMAN & ASSSOCIATES                                Contingent
         Suite 200e East Building                                     Unliquidated
         1900 Northwest Corporate Boulevard
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5682                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 23 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ALAN D GORDON                                                Contingent
         2255 Glades Road Suite 340w                                  Unliquidated
         Boca Raton, FL 33431-7383
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8743
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN D REESE                                                 Contingent
         21 Lake Marie Lane                                           Unliquidated
         New York, NY 10507-1231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4022
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN E BRADY                                                 Contingent
         608 Southeast 6th Street Suite 7                             Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2406
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALAN E FEARNS                                                Contingent
         1031 N Carney Avenue                                         Unliquidated
         Lecanto, FL 34461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2410
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN E KRINZMAN                                              Contingent
         2601 S Bayshore Drive Suite 1600                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2339
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ALAN FRANCIS RUF                                             Contingent
         International Building                                       Unliquidated
         2455 E. Sunrise Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33304-3118
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5074                      Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALAN H LUBITZ PA                                             Contingent
         1280 S Alahambra Circle Suite 2305                           Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6485
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 24 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN H PRATHER                                               Contingent
         C/O Dye Deitrich Prather Et Al                               Unliquidated
         P.O. Box 9480
                                                                      Disputed
         Bradenton, FL 34206-9480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7787                      Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN J CIKLIN                                                Contingent
         Boose Casey Ciklin Et Al                                     Unliquidated
         P.O. Box 4626
                                                                      Disputed
         West Palm Beach, FL 33402-4626
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6010                      Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN J CLARK                                                 Contingent
         1989 S Federal Highway One Suite 204                         Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9937
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN J FISHER                                                Contingent
         Suite 305-C                                                  Unliquidated
         7301-A W Palmetto Park Road
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0564                      Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN J JACOBSON                                              Contingent
         600 Southwest 4th Avenue                                     Unliquidated
         Ft Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4904
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.72
         ALAN J MILLER                                                Contingent
         100 S Dixie Highway                                          Unliquidated
         Suite 201 Blackstone Building                                Disputed
         West Palm Beach, FL 33401-5421
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6943                      Is the claim subject to offset?     No       Yes


3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN J POLIN                                                 Contingent
         One Lincoln Place                                            Unliquidated
         1900 Glades Road Suite 355
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7476                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 25 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN J SHUMINER                                              Contingent
         Alan J. Shuminer P.A.                                        Unliquidated
         1200 Brickell Avenue Suite 1230
                                                                      Disputed
         Miami, FL 33131-3255
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4000                      Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $319.79
         ALAN J WERKSMAN                                              Contingent
         23419 Water Circle                                           Unliquidated
         Boca Raton, FL 33486                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6332
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN JAMES POLLEY                                            Contingent
         212 N Federal Highway                                        Unliquidated
         Deerfield Beach, FL 33441-3612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4550
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN JAY MARCUS                                              Contingent
         Aventura Corporate Center                                    Unliquidated
         20803 Biscayne Boulevard, Suite 301
                                                                      Disputed
         North Miami Beach, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6114                      Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN L ARONS                                                 Contingent
         21346 Street Andrews Boulevard Suite 145                     Unliquidated
         Boca Raton, FL 33433-2432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6373
                                                                   Is the claim subject to offset?     No       Yes

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN L GABRIEL                                               Contingent
         2455 E Sunrise Boulevard Ph East                             Unliquidated
         Ft Lauderdale, FL 33304-3118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5248
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN L SANDLER                                               Contingent
         225 S. Westmonte Drive                                       Unliquidated
         Suite 1100
                                                                      Disputed
         Altamonte Springs, FL 32714
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7879                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 26 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN M BURGER                                                Contingent
         8603 S Dixie Highway Suite 303                               Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6670
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN M FISHER                                                Contingent
         6401 Southwest 87th Avenue Suite 200                         Unliquidated
         Miami, FL 33173-2520
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 338
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALAN M KORNBLUH                                              Contingent
         1428 Northeast 105th Street                                  Unliquidated
         Miami Shores, FL 33138-2114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2359
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALAN M MEDOF                                                 Contingent
         5301 N Federal Highway Suite 360                             Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5264
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN M SMITH                                                 Contingent
         6065 Southwest 109th Street                                  Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2644
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALAN N BERG                                                  Contingent
         8035 Tennyson Drive                                          Unliquidated
         Tallahassee, FL 32309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6549
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN P BYRD                                                  Contingent
         1031 Ives Dairy Road Suite 228                               Unliquidated
         North Miami Beach, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4273
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 27 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,480.93
         ALAN PINKWASSER                                              Contingent
         8231 Muirhead Circle                                         Unliquidated
         Boynton Beach, FL 33437                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5849
                                                                   Is the claim subject to offset?     No       Yes

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN POWELL                                                  Contingent
         P.O. Box 6043                                                Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9104
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN R BURTON                                                Contingent
         1600 W Commercial Boulevard Suite 103                        Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7460
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN R HECHT                                                 Contingent
         2670 Northeast 215 Street                                    Unliquidated
         Miami, FL 33180-1127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2602
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALAN R LORBER                                                Contingent
         Alan R. Lorber P.A.                                          Unliquidated
         3650 N 36 Avenue Villa Apt 42
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3443                      Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN R MARKS                                                 Contingent
         1222 N University Drive                                      Unliquidated
         Plantation, FL 33322-4724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5534
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN R. WILLIAMS                                             Contingent
         6424 Central Ave.                                            Unliquidated
         St. Petersburg, FL 33707-1329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2234
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 28 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN S BERNSTEIN                                             Contingent
         2131 Hollywood Boulevard Suite 303                           Unliquidated
         Hollywood, FL 33020-6751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7951
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN S LEVINE                                                Contingent
         409 Southeast 7th Street                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6369
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN S MARSHALL                                              Contingent
         7617 Little Road                                             Unliquidated
         New Port Richey, FL 34654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2181
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,899.51
         ALAN S WEISSMAN PA                                           Contingent
         280 Northeast 200 Terrace                                    Unliquidated
         Miami, FL 33179-2947                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5573
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALAN S ZANGEN PA                                             Contingent
         1200 Corporate Center Way                                    Unliquidated
         Suite 200
                                                                      Disputed
         Wellington, FL 33414-6283
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7212                      Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN SAKOWITZ                                                Contingent
         1111 Kane Concourse Suite 401                                Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1434
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALAN SILVERSTEIN                                             Contingent
         4521 PGA Boulevard                                           Unliquidated
         Suite 600
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8436                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 21 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 29 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Alan Sorota                                                  Contingent
         7901 SW 6th Court                                            Unliquidated
         Suite 305
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0713                      Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alan Workman, P.L.                                           Contingent
         3501 Del Prado Boulevard                                     Unliquidated
         Suite 211
                                                                      Disputed
         Cape Coral, FL 33904
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9554                      Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALAYON & ASSOCIATES PA                                       Contingent
         Attn: Martha Alayon                                          Unliquidated
         135 San Lorenzo Avenue, Suite 820
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0120                      Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALBAN E BROOKE                                               Contingent
         4723 Prince Edward Road                                      Unliquidated
         Jacksonville, FL 32210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5698
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALBAREDA ROSSO & MALUJE PA                                   Contingent
         Attn: Adelaida A. Albareda                                   Unliquidated
         330 Southwest 27th Avenue Suite 202
                                                                      Disputed
         Miami, FL 33135-2957
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9743                      Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT & ASSOCIATES PL                                       Contingent
         2847 Northeast 34th Court                                    Unliquidated
         Lighthouse Point, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1553
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT BYRNE LITSCHGI JR PA                                  Contingent
         P.O. Box 10103                                               Unliquidated
         Tampa, FL 33679-8583
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4300
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 30 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT C EATON                                               Contingent
         1516 E Colonial Drive Suite 100-E                            Unliquidated
         Orlando, FL 32803-4730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2162
                                                                   Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT C GALLOWAY JR                                         Contingent
         P.O. Box 3339                                                Unliquidated
         Lake Wales, FL 33859-3339
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2243
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALBERT CAZIN                                                 Contingent
         501 E Kennedy Boulevard Suite 711                            Unliquidated
         Tampa, FL 33602-5200
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2499
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT D REY                                                 Contingent
         12955 SW 42nd Street                                         Unliquidated
         Suite 6
                                                                      Disputed
         Miami, FL 33175
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6588                      Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,054.35
         ALBERT E BUSCHMAN JR                                         Contingent
         101 Castle Hill Lane                                         Unliquidated
         Beech Mountain, NC 28604                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6678
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT E FORD II PA                                          Contingent
         740 Florida Central Parkway Suite 2008                       Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4445
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALBERT G HARTOG                                              Contingent
         6068 S Apopka-Vineland Road Suite 1                          Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 586
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 23 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 31 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $848.38
         ALBERT H. STEPHENS                                           Contingent
         P.O. Box 14042                                               Unliquidated
         St Petersburg, FL 33733-4042                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6483
                                                                   Is the claim subject to offset?     No       Yes

3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALBERT J GAMOT JR                                            Contingent
         315 5th Street                                               Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4520
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT J VIDAL PA                                            Contingent
         421 S Pine Avenue                                            Unliquidated
         Ocala, FL 34474
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6687
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT L KELLEY                                              Contingent
         926 Truman Avenue                                            Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6354
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,218.66
         ALBERT L. ROGERO, JR.                                        Contingent
         P.O. Box 2946                                                Unliquidated
         Clearwater, FL 34617-2946                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3877
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $149.20
         ALBERT M LEHRMAN                                             Contingent
         2323 Agusta Drive Suite 31                                   Unliquidated
         Houston, TX 77057-4710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2611
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALBERT P ROSILLO                                             Contingent
         2246 Southwest 1st Street                                    Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2435
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 32 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALBERT PEACOCK                                               Contingent
         8554 Congressional Drive                                     Unliquidated
         Tallahassee, FL 32312-4018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6457
                                                                   Is the claim subject to offset?     No       Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ALBERT SALEM & ASSOCIATES PA                                 Contingent
         Attn: Albert Salem                                           Unliquidated
         P.O. Box 18607
                                                                      Disputed
         Tampa, FL 33679-8607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4815                      Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALBERT THARIN COOPER III                                     Contingent
         1230 Myrtle Avenue S                                         Unliquidated
         Suite 102
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4752                      Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERT W GUFFANTI                                            Contingent
         P.O. Box 160027                                              Unliquidated
         Miami, FL 33116-0027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4957
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $275.00
         ALBERTELLI LAW                                               Contingent
         208 N Laura Street                                           Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9163
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERTO A RODRIGUEZ                                          Contingent
         1200 Brickell Avenue Suite 1230                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0519
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,235.82
         ALBERTO GARCIA-NAVARRO                                       Contingent
         717 Ponce Deleon Boulevard Suite 329                         Unliquidated
         Coral Gables, FL 33134-2050                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5646
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 25 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 33 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERTO J XIQUES PA                                          Contingent
         1825 Ponce De Leon Boulevard Suite 432                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1996
                                                                   Is the claim subject to offset?     No       Yes

3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALBERTO N MORIS PA                                           Contingent
         3650 NW 82nd Avenue                                          Unliquidated
         Suite 401
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6291                      Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALBERTO V BATISTA                                            Contingent
         11900 Biscayne Boulevard Suite 292                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5023
                                                                   Is the claim subject to offset?     No       Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $275.00
         ALBRITTON & ASSOCIATES                                       Contingent
         100 Madison Street Suite 302                                 Unliquidated
         Tampa, FL 33602-4703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2373
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alcoba & Associates, P.A.                                    Contingent
         3399 Northwest 72nd Avenue Suite 211                         Unliquidated
         Miami, FL 33122
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6459
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALDEN A RUMFELT                                              Contingent
         P.O. Box 1137                                                Unliquidated
         Clewiston, FL 33430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3753
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALDERMAN & GERAGHTY PA                                       Contingent
         P.O. Box 1530                                                Unliquidated
         Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6858
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 26 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 34 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALDIS ROIG LOPEZ                                             Contingent
         Nineteen Hundred Building Suite 5                            Unliquidated
         1900 W Commercial Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33309-3018
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3843                      Is the claim subject to offset?     No       Yes

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Aldo Beltrano, P.A.                                          Contingent
         4495 Military Trail                                          Unliquidated
         Suite 107
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9557                      Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ALDO J BUSOT PA                                              Contingent
         4840 Biltmore Drive                                          Unliquidated
         Coral Gables, FL 33146-1722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4723
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEC S WALLACE                                               Contingent
         547 Plaza Del Sol                                            Unliquidated
         Ft Myers, FL 33917-2945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8608
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALECO HARALAMBIDES PA                                        Contingent
         3135 SW 3rd Avenue                                           Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7208
                                                                   Is the claim subject to offset?     No       Yes

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEIDA ORS WALDMAN                                           Contingent
         Aleida Ors Waldman P.A.                                      Unliquidated
         440 S Andrews Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2318                      Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALEJANDRO J VAZQUEZ III                                      Contingent
         Apex Law Offices L.L.C.                                      Unliquidated
         3061 Northwest 7th Street Suite 201
                                                                      Disputed
         Miami, FL 33125
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2403                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 27 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 35 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEJANDRO MUELLE                                             Contingent
         2100 Coral Way Suite 502                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6087
                                                                   Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEJANDRO NUNEZ                                              Contingent
         250 Giralda Avenue 2nd Floor                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2076
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALEX A DOW                                                   Contingent
         2780 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3437
                                                                   Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Alex A. Martinez, P.A.                                       Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 2272
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8121                      Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEX ARREAZA                                                 Contingent
         320 W Oakland Park                                           Unliquidated
         Wilton Manor, FL 33311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5786
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.00
         ALEX E CARLSON                                               Contingent
         145 Curtiss Parkway                                          Unliquidated
         Miami Springs, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 791
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEX KURKIN                                                  Contingent
         One Biscayne Tower Suite 3660                                Unliquidated
         Two S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0491                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 28 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 36 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER B ROTBART                                          Contingent
         21845 Powerline Road Suite 201                               Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0470
                                                                   Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alexander C. Peterson, P.A.                                  Contingent
         5621 Strand Boulevard Suite 306                              Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8108
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER DAMBRA & DUHL PA                                   Contingent
         5737 Okeechobee Boulevard Suite 201                          Unliquidated
         West Palm Beach, FL 33417-4319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4537
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER E BORELL                                           Contingent
         9220 Sunset Drive Suite 201                                  Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9098
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alexander E. Borell, Attorney at Law                         Contingent
         319 Clematis Street                                          Unliquidated
         Suite 200
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9911                      Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER EYNIS                                              Contingent
         19111 Collins Avenue                                         Unliquidated
         Suite 1801
                                                                      Disputed
         Sunny Isles Beach, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6792                      Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER G CUBAS                                            Contingent
         3105 NW 107th Avenue                                         Unliquidated
         Suite 602A
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4990                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 29 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 37 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALEXANDER G PADEREWSKI                                       Contingent
         1834 Main Street                                             Unliquidated
         Sarasota, FL 34236-5912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6924
                                                                   Is the claim subject to offset?     No       Yes

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER HERNANDEZ                                          Contingent
         Palm Springs Center                                          Unliquidated
         1840 W 49 Street Suite 100
                                                                      Disputed
         Hialeah, FL 33012
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5327                      Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER I TACHMES                                          Contingent
         One Biscayne Tower                                           Unliquidated
         2 S Biscayne Boulevard Suite 2475
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2390                      Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER J ALFANO                                           Contingent
         2655 S Lejeune Road Suite 403                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0543
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER J HERSHA                                           Contingent
         Courtland Plaza Suite 215                                    Unliquidated
         2500 Airport Road
                                                                      Disputed
         Naples, FL 34112
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4974                      Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER L DOMB                                             Contingent
         11199 Polo Club Road Suite 1                                 Unliquidated
         Wellington, FL 33414-6000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2396
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALEXANDER L MARTONE                                          Contingent
         30 Southeast 7th Street                                      Unliquidated
         Boca Raton, FL 33432-6102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6964
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 30 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 38 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALEXANDER LAUFER                                             Contingent
         4041 University Drive Suite 100                              Unliquidated
         Fairfax, VA 22030-3410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7056
                                                                   Is the claim subject to offset?     No       Yes

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $250.00
         ALEXANDER M SIEGEL                                           Contingent
         939 Southwest 40th Avenue                                    Unliquidated
         Plantation, FL 33317-4522
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4452
                                                                   Is the claim subject to offset?     No       Yes

3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ALEXANDER P ALMAZAN PA                                       Contingent
         7901 Ludlam Road                                             Unliquidated
         Suite 100
                                                                      Disputed
         Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6070                      Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER P JOHNSON                                          Contingent
         800 Southeast 3rd Avenue Suite 300                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3188
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALEXANDER REUS PA                                            Contingent
         100 Southeast 2nd Street Suite 2610                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9891
                                                                   Is the claim subject to offset?     No       Yes

3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDER ZOUZOULAS                                          Contingent
         P.O. Box 830955                                              Unliquidated
         Ocala, FL 34483-0955
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4761
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALEXANDRA DE LA ASUNCION                                     Contingent
         2525 Ponce De Leon Boulevard Suite 1225                      Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8915
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 31 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 39 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alexandra L. Deas, P.A.                                      Contingent
         2215 River Boulevard                                         Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7304
                                                                   Is the claim subject to offset?     No       Yes

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alexandrakis Law PLLC                                        Contingent
         55 Merrick Way                                               Unliquidated
         Suite 202A
                                                                      Disputed
         Coral Gables, FL 33134-5125
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0965                      Is the claim subject to offset?     No       Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Alexandre Ballerini, P.A.                                    Contingent
         927 Lincoln Road                                             Unliquidated
         Suite 200
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8331                      Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ALEXANDRE M MESTDAGH PA                                      Contingent
         280 W. Canton Avenue                                         Unliquidated
         Suite 110
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4223                      Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alexis Garcia, P.A.                                          Contingent
         10271 Sunset Drive                                           Unliquidated
         Suite 103
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9775                      Is the claim subject to offset?     No       Yes

3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFARO & FERNANDEZ PA                                        Contingent
         5801 Northwest 151st Street Suite 305                        Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6153
                                                                   Is the claim subject to offset?     No       Yes

3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALFONSO J PEREZ                                              Contingent
         100 S Biscayne Boulevard Suite 1300                          Unliquidated
         Miami, FL 33131-2029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7026
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 32 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 40 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFRED A COLBY PA                                            Contingent
         Bank of America Plaza                                        Unliquidated
         101 E Kennedy Boulevard Suite 3140
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6921                      Is the claim subject to offset?     No       Yes

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Alfred F. Andreu, P.A.                                       Contingent
         700 Biltmore Way                                             Unliquidated
         Suite C-1
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8843                      Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFRED H HAWORTH PA                                          Contingent
         2357 Haddon Hall Place Suite B                               Unliquidated
         Clearwater, FL 34624-7509
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 365
                                                                   Is the claim subject to offset?     No       Yes

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $112.50
         ALFRED J TIRELLA                                             Contingent
         639 Northeast 125th Street                                   Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1546
                                                                   Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFRED L MILLER                                              Contingent
         P.O. Box 832937                                              Unliquidated
         Miami, FL 33283-2937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1538
                                                                   Is the claim subject to offset?     No       Yes

3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALFRED P DENOWITZ                                            Contingent
         1776 N Pine Island Road Suite 224                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6019
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alfredo A. Izaguirre, P.A.                                   Contingent
         338 Minorca Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8786
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 33 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 41 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFREDO J PEREZ PA                                           Contingent
         5805 Blue Lagoon Drive Suite 145                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9704
                                                                   Is the claim subject to offset?     No       Yes

3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFREDO M GARCIA-MENOCAL PA                                  Contingent
         350 Sevilla Avenue                                           Unliquidated
         Suite 200
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7892                      Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALFREDO R JURADO PA                                          Contingent
         8725 Northwest 18th Terrace Suite 401                        Unliquidated
         Doral, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7292
                                                                   Is the claim subject to offset?     No       Yes

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALGO Law Firm, LLP                                           Contingent
         815 Ponce De Leon Blvd                                       Unliquidated
         Suite 101
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0967                      Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALIA ADHAL PA                                                Contingent
         P.O. Box 920                                                 Unliquidated
         Panama City, FL 32402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3927
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALICE REITER FELD                                            Contingent
         Cinnamon Tree Plaza                                          Unliquidated
         5701 N Pine Island Road Suite 260
                                                                      Disputed
         Tamarac, FL 33321
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5426                      Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALICE W WEINSTEIN                                            Contingent
         7305 Bay Club Court Suite 7305                               Unliquidated
         Tampa, FL 33607-5957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0941
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 34 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 42 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALICIA M TORRES                                              Contingent
         250 Northeast 121st Terrace                                  Unliquidated
         North Miami, FL 33161-5321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8621
                                                                   Is the claim subject to offset?     No       Yes

3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALICIA TRUJILLO                                              Contingent
         3634 Southwest 150th Court                                   Unliquidated
         Miami, FL 33185
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8260
                                                                   Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALICIA V GONZALEZ                                            Contingent
         4880 Bay Herron Pl Apt 219                                   Unliquidated
         Tampa, FL 33616-2925
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7071
                                                                   Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALINA ANTONETTI                                              Contingent
         817 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134-4838
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7548
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Alison E. Hickman, Attorney at Law                           Contingent
         1543 Kingsley Avenue Building 5                              Unliquidated
         Orange Park, FL 32073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8026
                                                                   Is the claim subject to offset?     No       Yes

3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALISON LEIGH COX                                             Contingent
         5517 Southwest 69th Terrace                                  Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6416
                                                                   Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         All In One Title Services A. Law Firm                        Contingent
         9350 S Dixie Highway Suite 1550                              Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8926
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 35 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 43 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         All Property Title & Escrow, L.L.C.                          Contingent
         5561 N. University Drive                                     Unliquidated
         Suite 102
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7776                      Is the claim subject to offset?     No       Yes

3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         All Sure Title Insurance Agency, L.L.C.                      Contingent
         3138 3rd Avenue North                                        Unliquidated
         St Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6762
                                                                   Is the claim subject to offset?     No       Yes

3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLAN & SHIPP PA                                             Contingent
         6675 Thirteenth Avenue N Suite 2 C                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9886
                                                                   Is the claim subject to offset?     No       Yes

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $118.74
         ALLAN B DAVIS                                                Contingent
         P.O. Box 3542                                                Unliquidated
         St Petersburg, FL 33731-3542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0115
                                                                   Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLAN C DRAVES                                               Contingent
         P.O. Box 4                                                   Unliquidated
         Orlando, FL 32802-0004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 225
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALLAN GOLDFARB                                               Contingent
         524 N Avenue                                                 Unliquidated
         New Rochelle, NY 10801-3400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 621
                                                                   Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLAN L CASEY                                                Contingent
         395 Avenue C NW                                              Unliquidated
         Winter Haven, FL 33881-4617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7326
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 36 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 44 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALLAN L HOFFMAN                                              Contingent
         1610 Southern Boulevard                                      Unliquidated
         West Palm Beach, FL 33406-3242
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4549
                                                                   Is the claim subject to offset?     No       Yes

3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALLAN L MCPEAK                                               Contingent
         1011 McCay Avenue                                            Unliquidated
         Mobile, AL 36609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3663
                                                                   Is the claim subject to offset?     No       Yes

3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLAN R KNIGHT                                               Contingent
         2050 Coral Way Suite 204                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5379
                                                                   Is the claim subject to offset?     No       Yes

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALLAN T GRIFFITH                                             Contingent
         2100 McGregor Boulevard                                      Unliquidated
         Ft Myers, FL 33901-9199
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5895
                                                                   Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $17.31
         ALLAN TAYLOR                                                 Contingent
         457 Normandy J                                               Unliquidated
         Delray Beach, FL 33484-4876                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6390
                                                                   Is the claim subject to offset?     No       Yes

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ALLEN & GALEGO (USE BR #2)                                   Contingent
         604 Crandon Boulevard Suite 205                              Unliquidated
         Miami, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1752
                                                                   Is the claim subject to offset?     No       Yes

3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN & HILL                                                 Contingent
         801 Brickell Avenue Suite 1401                               Unliquidated
         Miami, FL 33131-4945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8139
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 37 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 45 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN BOSWORTH                                               Contingent
         507 Southeast 11th Court                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9125
                                                                   Is the claim subject to offset?     No       Yes

3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN BRINTON & SIMMONS PA                                   Contingent
         841 Prudential Drive Suite 140                               Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9752
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLEN C JACOBSON                                             Contingent
         P.O. Box 708                                                 Unliquidated
         State College, PA 16804-0708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5303
                                                                   Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN D BRUFSKY                                              Contingent
         1520 Lafayette Street                                        Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4344
                                                                   Is the claim subject to offset?     No       Yes

3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALLEN D STOLAR                                               Contingent
         21301 Powerline Road                                         Unliquidated
         Boca Raton, FL 33433-6500
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 702
                                                                   Is the claim subject to offset?     No       Yes

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $550.00
         ALLEN DELL PA                                                Contingent
         202 S Rome Avenue Suite 100                                  Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4236
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN FALK                                                   Contingent
         Allen Falk P.A.                                              Unliquidated
         507 N Dixie Highway
                                                                      Disputed
         Lake Worth, FL 33460
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5873                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 38 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 46 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLEN H SHEPTOW                                              Contingent
         3842 Bay Club Circle Apt 104                                 Unliquidated
         Kissimmee, FL 34741-2686
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5751
                                                                   Is the claim subject to offset?     No       Yes

3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLEN J LEVIN                                                Contingent
         3440 Conway Boulevard                                        Unliquidated
         Suite 1-A
                                                                      Disputed
         Port Charlotte, FL 33952
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3851                      Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN J RAPOPORT                                             Contingent
         999 Ponce De Leon Boulevard Suite 1110                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7312
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALLEN K MCCORMICK                                            Contingent
         7520 Ridgewood Avenue Suite 602                              Unliquidated
         Cape Canaveral, FL 32920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2108
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN L POUCHER JR                                           Contingent
         2257 Riverside Avenue                                        Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0751
                                                                   Is the claim subject to offset?     No       Yes

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ALLEN LANG CARPENTER & PEED PA                               Contingent
         P.O. Box 3628                                                Unliquidated
         Orlando, FL 32802-3628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9521
                                                                   Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALLEN LAW ASSOCIATES PA                                      Contingent
         2005 Southwest 75th Street Suite 20                          Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4232
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 39 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 47 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN LAW PA                                                 Contingent
         10019 Park Place Avenue                                      Unliquidated
         Riverview, FL 33578
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6079
                                                                   Is the claim subject to offset?     No       Yes

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN N JELKS JR                                             Contingent
         516 McKenzie Avenue                                          Unliquidated
         Panama City, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7514
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALLEN P. ALLWEISS                                            Contingent
         550 Sandy Hook Road                                          Unliquidated
         St. Petersburg, FL 33706-1213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2189
                                                                   Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN R SMITH                                                Contingent
         324 4th Street Northwest                                     Unliquidated
         Winter Haven, FL 33881-4671
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6251
                                                                   Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALLEN S BROWN                                                Contingent
         333 W Venice Avenue                                          Unliquidated
         Venice, FL 34285-2004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4679
                                                                   Is the claim subject to offset?     No       Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ALLEN WM MARTINCAVAGE SR ESQ                                 Contingent
         639 E Ocean Avenue Suite 207                                 Unliquidated
         Boynton Beach, FL 33435-5014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 219
                                                                   Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $225.00
         ALLENDER & ALLENDER                                          Contingent
         719 Garden Street                                            Unliquidated
         Titusville, FL 32796-3410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4466
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 40 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 48 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,939.91
         ALLEY MAASS ROGERS &                                         Contingent
         P.O. Box 431                                                 Unliquidated
         Palm Beach, FL 33480-0431                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1007
                                                                   Is the claim subject to offset?     No       Yes

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALOIA & ROLAND LLP                                           Contingent
         2222 Second Street                                           Unliquidated
         Fort Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9214
                                                                   Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALONSO AND ALONSO PA                                         Contingent
         999 Ponce De Leon Boulevard Suite 1040                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4921
                                                                   Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALONZO HOMER HARDESTY III                                    Contingent
         1750 S. Volusia Avenue                                       Unliquidated
         Suite 7
                                                                      Disputed
         Orange City, FL 32763-7344
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4784                      Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALPERT JOSEY & GRILLI PA                                     Contingent
         P.O. Box 3270                                                Unliquidated
         Tampa, FL 33601-3270
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8745
                                                                   Is the claim subject to offset?     No       Yes

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALTON A LINN JR                                              Contingent
         1500 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33060-6769
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5518
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALTON L PROVOST                                              Contingent
         1400 Dogwood Road                                            Unliquidated
         Snellville, GA 30278-2205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6942
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 41 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 49 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $268.26
         ALTON S BEASLEY                                              Contingent
         101 Southwest 21st Street                                    Unliquidated
         Okeechobee, FL 34974-6131                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2973
                                                                   Is the claim subject to offset?     No       Yes

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALVAREZ & BARBARA LLP                                        Contingent
         1750 Coral Way                                               Unliquidated
         2nd Floor
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0271                      Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Alvarez & Diaz-Silveira, L.L.P.                              Contingent
         355 Alhambra Circle                                          Unliquidated
         Suite 1450
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8260                      Is the claim subject to offset?     No       Yes

3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Alvarez and Santi, P.A.                                      Contingent
         7750 SW 117 Avenue                                           Unliquidated
         Suite 203
                                                                      Disputed
         Miami, FL 33183
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9124                      Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ALVAREZ CARBONELL & GOMEZ PL                                 Contingent
         2330 Ponce De Leon Boulevard Suite 201                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5644
                                                                   Is the claim subject to offset?     No       Yes

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALVAREZ PAZ & BARBARA LLP                                    Contingent
         Coconut Grove Bank Building                                  Unliquidated
         2701 S Bayshore Drive Suite 305
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2662                      Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.00
         ALVAREZ SAMBOL WINTHROP &                                    Contingent
         390 N. Orange Avenue                                         Unliquidated
         Suite 600
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8386                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 42 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 50 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ALVARO CASTILLO                                              Contingent
         1390 BRICKELL AVE #200                                       Unliquidated
         MIAMI, FL 33131-3322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0549
                                                                   Is the claim subject to offset?     No       Yes

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ALVIN A LEITMAN                                              Contingent
         P.O. Box 51367                                               Unliquidated
         Jacksonville Beach, FL 32240-1367
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3378
                                                                   Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALVIN BLITTNER                                               Contingent
         2466 Northwest 64th Street                                   Unliquidated
         Boca Raton, FL 33496-3621
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5435
                                                                   Is the claim subject to offset?     No       Yes

3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,195.25
         ALVIN CAPP                                                   Contingent
         Nations Bank Tower                                           Unliquidated
         One Financial Plaza, Suite 1800                              Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3543                      Is the claim subject to offset?     No       Yes


3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ALVIN GOODMAN                                                Contingent
         999 Ponce Deleon Boulevard Suite 500                         Unliquidated
         Coral Gables, FL 33134-3746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4750
                                                                   Is the claim subject to offset?     No       Yes

3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMADO ALAN ALVAREZ                                           Contingent
         5040 Northwest 7th Street Suite 490                          Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4591
                                                                   Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Amanda S. Bhikhari, PL                                       Contingent
         d/b/a My Closing Agent                                       Unliquidated
         3933 Biscayne Blvd., Suite 1
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8470                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 43 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 51 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMANDA STANLEY                                               Contingent
         2116 Northeast 64th Street                                   Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0285
                                                                   Is the claim subject to offset?     No       Yes

3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMARILIS E ADORNO                                            Contingent
         501 Brickell Key Drive Suite 102                             Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7152
                                                                   Is the claim subject to offset?     No       Yes

3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $175.00
         AMBER AND AMBER PA                                           Contingent
         7731 Southwest 62nd Avenue Suite 202                         Unliquidated
         South Miami, FL 33143-4908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7001
                                                                   Is the claim subject to offset?     No       Yes

3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMBER J VOJAK                                                Contingent
         P.O. Box 1899                                                Unliquidated
         Bonita Springs, FL 33959-1899
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5195
                                                                   Is the claim subject to offset?     No       Yes

3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMERICO BORZA                                                Contingent
         P.O. Box 49221                                               Unliquidated
         Sarasota, FL 34230-6221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8529
                                                                   Is the claim subject to offset?     No       Yes

3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,679.28
         AMOS BENJAMIN                                                Contingent
         5274 Beechwood Court Northeast                               Unliquidated
         Marietta, GA 30068                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 388
                                                                   Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AMSTER GOTTFRIED PA                                          Contingent
         701 W Cypress Creek Road 3rd Floor                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1100
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 44 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 52 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMY GOLDIN                                                   Contingent
         Amy H. Goldin P.A.                                           Unliquidated
         10097 Cleary Boulevard Suite 70
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5268                      Is the claim subject to offset?     No       Yes

3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AMY M SCHARF                                                 Contingent
         3940 10th Avenue N Suite 3                                   Unliquidated
         Lake Worth, FL 33461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2781
                                                                   Is the claim subject to offset?     No       Yes

3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $250.00
         AMY MCGROTTY PA                                              Contingent
         15 Southeast 9th Avenue                                      Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3622
                                                                   Is the claim subject to offset?     No       Yes

3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Amy Ruiz Law, PL                                             Contingent
         4812 N Habana Avenue Suite A                                 Unliquidated
         Tampa, FL 33614
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7730
                                                                   Is the claim subject to offset?     No       Yes

3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA DIAZ CORDERO                                             Contingent
         P.O. Box 836705                                              Unliquidated
         Miami, FL 33283
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7852
                                                                   Is the claim subject to offset?     No       Yes

3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA FREXES VERA                                              Contingent
         225 Alcazar Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4464
                                                                   Is the claim subject to offset?     No       Yes

3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANA L SIGLER                                                 Contingent
         7345 Southwest 97th Street                                   Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6155
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 45 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 53 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA M DAVIDE                                                 Contingent
         Ana M. Davide P.A.                                           Unliquidated
         2929 Southwest 3rd Avenue Suite 420
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7573                      Is the claim subject to offset?     No       Yes

3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA M MATO                                                   Contingent
         100 Solano Prado                                             Unliquidated
         Coarl Gables, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4281
                                                                   Is the claim subject to offset?     No       Yes

3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA M SANTISTEBAN                                            Contingent
         2701 Southwest 3rd Avenue                                    Unliquidated
         Miami, FL 33129-2335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5154
                                                                   Is the claim subject to offset?     No       Yes

3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Ana M. Veliz, P.A.                                           Contingent
         One Alhambra Plaza Ph Floor                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9805
                                                                   Is the claim subject to offset?     No       Yes

3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANA MARIA ANGULO                                             Contingent
         5975 Sunset Drive                                            Unliquidated
         Suite 503
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7734                      Is the claim subject to offset?     No       Yes

3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA MARIA GONZALEZ-GARCIA                                    Contingent
         15810 Kingsmoor Way                                          Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6629
                                                                   Is the claim subject to offset?     No       Yes

3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA MARIA POLO                                               Contingent
         2121 Ponce Deleon Boulevard Suite 240                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4886
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 46 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 54 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA R CRAFT                                                  Contingent
         Ana R. Craft P.A.                                            Unliquidated
         14738 SW 50th Terrace
                                                                      Disputed
         Miami, FL 33185
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1320                      Is the claim subject to offset?     No       Yes

3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANA R GERENA                                                 Contingent
         11091 Springfield Pl                                         Unliquidated
         Cooper City, FL 33026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5933
                                                                   Is the claim subject to offset?     No       Yes

3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANABEL ESTEVEZ                                               Contingent
         6175 Northwest 153rd Street Suite 229                        Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3931
                                                                   Is the claim subject to offset?     No       Yes

3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANASTASIA GARCIA                                             Contingent
         2100 Ponce De Leon Boulevard Suite 600                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4711
                                                                   Is the claim subject to offset?     No       Yes

3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Anchor Title & Law, P.A.                                     Contingent
         101 Rio Del Mar Road                                         Unliquidated
         Suite C
                                                                      Disputed
         St Augustine, FL 32080
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8735                      Is the claim subject to offset?     No       Yes

3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ANCHORS FOSTER MCINNIS & KEEFE                               Contingent
         909 Mar Walt Drive Suite 1014                                Unliquidated
         Ft Walton Beach, FL 32547
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5622
                                                                   Is the claim subject to offset?     No       Yes

3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AnchorsGordon, P.A.                                          Contingent
         2113 Lewis Turner Boulevard                                  Unliquidated
         Suite 100
                                                                      Disputed
         Ft Walton Beach, FL 32547
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8847                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 47 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 55 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANDERSON & BRODERSEN PA                                      Contingent
         350 Corey Avenue                                             Unliquidated
         St Pete Beach, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7491
                                                                   Is the claim subject to offset?     No       Yes

3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDERSON & ORCUTT PA                                         Contingent
         401 E Jackson Street Suite 2400                              Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4582
                                                                   Is the claim subject to offset?     No       Yes

3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDERSON C HILL II                                           Contingent
         429 N Ridgewood Avenue                                       Unliquidated
         Daytona Beach, FL 32114-3250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8431
                                                                   Is the claim subject to offset?     No       Yes

3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDERSON CASTRO PA                                           Contingent
         2103 Coral Way                                               Unliquidated
         Suite 800
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7913                      Is the claim subject to offset?     No       Yes

3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDERSON E HATFIELD III                                      Contingent
         4114 Northwest 13th Street                                   Unliquidated
         Gainesville, FL 32609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7013
                                                                   Is the claim subject to offset?     No       Yes

3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Anderson, Givens & Fredericks, P.A.                          Contingent
         P.O. Box 12613                                               Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9712
                                                                   Is the claim subject to offset?     No       Yes

3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDRE GIBSON CHARTERED                                       Contingent
         115 Northwest 167th Street Suite 201                         Unliquidated
         North Miami Beach, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3038
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 48 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 56 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDRE HALL PA                                                Contingent
         7441 Southwest 14th Street                                   Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8450
                                                                   Is the claim subject to offset?     No       Yes

3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDRE J PATRONE                                              Contingent
         12685 New Brittany Boulevard                                 Unliquidated
         Ft Myers, FL 33907-3625
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4099
                                                                   Is the claim subject to offset?     No       Yes

3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANDRE R FOURNIER                                             Contingent
         P.O. Box 610277                                              Unliquidated
         North Miami, FL 33261
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 348
                                                                   Is the claim subject to offset?     No       Yes

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREA BLACK                                                 Contingent
         703 E Pine Street                                            Unliquidated
         Orlando, FL 32801-2962
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2204
                                                                   Is the claim subject to offset?     No       Yes

3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREA N WRIGHT LLC                                          Contingent
         DBA Wright Firm                                              Unliquidated
         323 Anastasia Boulevard
                                                                      Disputed
         St Augustine, FL 32080
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3961                      Is the claim subject to offset?     No       Yes

3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDRES ALOS                                                  Contingent
         Alos & Associates P.A.                                       Unliquidated
         814 Ponce De Leon Boulevard, Suite 201
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2630                      Is the claim subject to offset?     No       Yes

3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANDRES AMOEDO III PA                                         Contingent
         P.O. Box 566711                                              Unliquidated
         Miami, FL 33256-6711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9484
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 49 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 57 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDRES VELEZ PA                                              Contingent
         Wynne Building Corporation                                   Unliquidated
         8000 S US Highway 1
                                                                      Disputed
         Port St Lucie, FL 34952-2357
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9411                      Is the claim subject to offset?     No       Yes

3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW B BLASI                                               Contingent
         7777 Glades Road Suite 200                                   Unliquidated
         Boca Raton, FL 33434-4150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2104
                                                                   Is the claim subject to offset?     No       Yes

3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANDREW B JACKSON                                             Contingent
         P.O. Box 2025                                                Unliquidated
         Sebring, FL 33871-2025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4160
                                                                   Is the claim subject to offset?     No       Yes

3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW BARON                                                 Contingent
         1803 E Kaley Avenue                                          Unliquidated
         Orlando, FL 32806-3112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6276
                                                                   Is the claim subject to offset?     No       Yes

3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW D TARR                                                Contingent
         Andrew D. Tarr P.A.                                          Unliquidated
         18660 Collins Avenue Suite 106
                                                                      Disputed
         Sunny Isles Beach, FL 33160-2485
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2078                      Is the claim subject to offset?     No       Yes

3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW G KOLONDRA                                            Contingent
         2933 W. Cypress Creek Road                                   Unliquidated
         Suite 102
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6107                      Is the claim subject to offset?     No       Yes

3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW H RAPPEPORT                                           Contingent
         1221 Kane Concourse                                          Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5579
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 50 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 58 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW HELGESEN                                              Contingent
         Suite 201 Prosperity Gardens                                 Unliquidated
         11380 Prosperity Farms Road
                                                                      Disputed
         Palm Beach Gardens, FL 33410-3477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1031                      Is the claim subject to offset?     No       Yes

3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW IGNACIO ALEMAN                                        Contingent
         19390 Collins Avenue Apt 307                                 Unliquidated
         Sunny Isles Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5271
                                                                   Is the claim subject to offset?     No       Yes

3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANDREW J BRITTON                                             Contingent
         871 Venetia Bay Boulevard                                    Unliquidated
         Suite 111
                                                                      Disputed
         Venice, FL 34285
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8006                      Is the claim subject to offset?     No       Yes

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW J DECKER III PA                                       Contingent
         P.O. Drawer 1288                                             Unliquidated
         Live Oak, FL 32060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6719
                                                                   Is the claim subject to offset?     No       Yes

3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW J DECKER III PA                                       Contingent
         P.O. Drawer 1288                                             Unliquidated
         Live Oak, FL 32060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6719
                                                                   Is the claim subject to offset?     No       Yes

3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANDREW J KOHAN                                               Contingent
         5100 W Copans Road Suite 900                                 Unliquidated
         Margate, FL 33063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 216
                                                                   Is the claim subject to offset?     No       Yes

3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANDREW J MARKUS                                              Contingent
         201 S Biscayne Boulevard Suite 2500                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 175
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 51 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 59 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW L REIFF                                               Contingent
         P.O. Box 1059                                                Unliquidated
         Orlando, FL 32802-1059
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0712
                                                                   Is the claim subject to offset?     No       Yes

3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANDREW L SIPOS JR                                            Contingent
         40935 Fletcher Road                                          Unliquidated
         Umatilla, FL 32784
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6305
                                                                   Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW M CHANSEN                                             Contingent
         125 Crawford Boulevard                                       Unliquidated
         Boca Raton, FL 33432-3728
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3776
                                                                   Is the claim subject to offset?     No       Yes

3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW M JACOBSON                                            Contingent
         20 N Orange Avenue Suite 707                                 Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0131
                                                                   Is the claim subject to offset?     No       Yes

3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW M SCHWARTZ                                            Contingent
         101 Plaza Real S Suite 218                                   Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2094
                                                                   Is the claim subject to offset?     No       Yes

3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANDREW M TOBIN                                               Contingent
         P.O. Box 620                                                 Unliquidated
         Tavernier, FL 33070
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6801
                                                                   Is the claim subject to offset?     No       Yes

3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW MCCLUNG                                               Contingent
         P.O. Box 2800                                                Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0646
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 52 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 60 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW MEYERS                                                Contingent
         14600 S Military Trail                                       Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0287
                                                                   Is the claim subject to offset?     No       Yes

3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW N CASSAS                                              Contingent
         1515 N Federal Highway Suite 300                             Unliquidated
         Boca Raton, FL 33432-1994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5230
                                                                   Is the claim subject to offset?     No       Yes

3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANDREW P TRAKAS                                              Contingent
         P.O. Box 1151                                                Unliquidated
         Winter Haven, FL 33882-1151
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4076
                                                                   Is the claim subject to offset?     No       Yes

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW PONNOCK                                               Contingent
         10100 W Sample Road 3rd Floor                                Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5206
                                                                   Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $275.00
         ANDREW R REILLY PA                                           Contingent
         P.O. Box 2039                                                Unliquidated
         Haines City, FL 33845-2039
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4569
                                                                   Is the claim subject to offset?     No       Yes

3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW S FORMAN                                              Contingent
         15310 Amberly Drive Suite 250                                Unliquidated
         Tampa, FL 33647-1642
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2645
                                                                   Is the claim subject to offset?     No       Yes

3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW S YAGODA                                              Contingent
         2222 Ponce De Leon Boulevard Suite 500                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2515
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 53 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 61 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Andrew S. Lee, P.A.                                          Contingent
         7900 Nova Drive                                              Unliquidated
         Suite 201
                                                                      Disputed
         Davie, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7565                      Is the claim subject to offset?     No       Yes

3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW STONE                                                 Contingent
         1499 N Palmetto Prk Road Suite 412                           Unliquidated
         Boca Raton, FL 33486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4241
                                                                   Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $117.19
         ANDREW T COUTANT                                             Contingent
         P.O. Box 2710                                                Unliquidated
         Stuart, FL 34995-2710                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5102
                                                                   Is the claim subject to offset?     No       Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANDREW W ROSIN PA                                            Contingent
         1820 Ringling Boulevard                                      Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9375
                                                                   Is the claim subject to offset?     No       Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANETT LOPEZ PA                                               Contingent
         4620 Professional Loop                                       Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2975
                                                                   Is the claim subject to offset?     No       Yes

3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGEL AVANS EIHAUSEN PA                                      Contingent
         1528 Broadway                                                Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3125
                                                                   Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGEL FRANCISCO CONDOM PA                                    Contingent
         2750 NE 185th Street # 200                                   Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7428
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 54 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 62 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGEL M GARCIA-OLIVER PA                                     Contingent
         250 Bird Road Suite 312                                      Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7418
                                                                   Is the claim subject to offset?     No       Yes

3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGELA A ABBOTT                                              Contingent
         4420 S. Washington Avenue                                    Unliquidated
         Titusville, FL 32780
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5608
                                                                   Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGELA ABBATIELLO TIRU                                       Contingent
         2600 N Andrews Avenue                                        Unliquidated
         Ft Lauderdale, FL 33311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5188
                                                                   Is the claim subject to offset?     No       Yes

3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGELA E GALLOWAY PA                                         Contingent
         12864 Biscayne Boulevard Suite 349                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1887
                                                                   Is the claim subject to offset?     No       Yes

3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGELA M ARMSTRONG PA                                        Contingent
         1018 Nebraska Avenue                                         Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9380
                                                                   Is the claim subject to offset?     No       Yes

3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANGELO & BANTA PA                                            Contingent
         515 E Las Olas Boulevard                                     Unliquidated
         Suite 850
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4190                      Is the claim subject to offset?     No       Yes

3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANGELO P DEMOS                                               Contingent
         12601 SW 70th Avenue                                         Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1015
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 55 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 63 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANGIE ANGELIS PA                                             Contingent
         7855 Northwest 12th Street Suite 111                         Unliquidated
         Doral, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5145
                                                                   Is the claim subject to offset?     No       Yes

3.384    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANGIONE LAW FIRM LLC                                         Contingent
         3200 Northeast 14th Street Causeway Suit                     Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6744
                                                                   Is the claim subject to offset?     No       Yes

3.385    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANGUS G ANDREWS                                              Contingent
         694 Baldwin Avenue                                           Unliquidated
         Defuniak Springs, FL 32433-0112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 333
                                                                   Is the claim subject to offset?     No       Yes

3.386    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ANIBAL J DUARTE-VIERA PA                                     Contingent
         DBA Title America, A Law Firm                                Unliquidated
         95 Merrick Way, 3rd Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8356                      Is the claim subject to offset?     No       Yes

3.387    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Anita L. Barber, P.A.                                        Contingent
         P.O. Box 1718                                                Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8194
                                                                   Is the claim subject to offset?     No       Yes

3.388    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Anitra Lanczi, P.A.                                          Contingent
         333 N New River Drive E Suite 2000                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8380
                                                                   Is the claim subject to offset?     No       Yes

3.389    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANN G PASCHALL                                               Contingent
         US Labor Dept/Solicitor's Office                             Unliquidated
         61 Forsyth Street Southwest Suite 7t10
                                                                      Disputed
         Atlanta, GA 30303-8816
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6541                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 56 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 64 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANN L SMITH PA                                               Contingent
         1500 Gateway Boulevard Suite 220                             Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6157
                                                                   Is the claim subject to offset?     No       Yes

3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANN L VANO                                                   Contingent
         C/O Joseph C Kempe                                           Unliquidated
         1070 E Indiantown Road Suite 400
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7555                      Is the claim subject to offset?     No       Yes

3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANN MARIE G REZZONICO PA                                     Contingent
         1901 S. Congress Avenue                                      Unliquidated
         Suite 240
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4814                      Is the claim subject to offset?     No       Yes

3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $60.00
         ANN MARIE REZZONICO                                          Contingent
         1903 S Congress Avenue Suite 180                             Unliquidated
         Boynton Beach, FL 33426-6553
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1693
                                                                   Is the claim subject to offset?     No       Yes

3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANN N RADABAUGH                                              Contingent
         1805 Commanche Trail                                         Unliquidated
         Lakeland, FL 33803-2124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7268
                                                                   Is the claim subject to offset?     No       Yes

3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANN POE ANGEL                                                Contingent
         1617 Hendry Street Suite 405                                 Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4640
                                                                   Is the claim subject to offset?     No       Yes

3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANN SHAW PA                                                  Contingent
         522 Alternate 19 Suite 2                                     Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9450
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 57 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 65 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANNA M MCRAE                                                 Contingent
         6274 Linton Boulevard Suite 100                              Unliquidated
         Delray Beach, FL 33484
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1414
                                                                   Is the claim subject to offset?     No       Yes

3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANNA MAE WALSH BURKE                                         Contingent
         2409 Northeast 37th Street                                   Unliquidated
         Ft Lauderdale, FL 33339-1635
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3938
                                                                   Is the claim subject to offset?     No       Yes

3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANNE KETOVER WATKINS PA                                      Contingent
         P.O. Box 8184                                                Unliquidated
         Port St Lucie, FL 34985-8184
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5245
                                                                   Is the claim subject to offset?     No       Yes

3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANNE S CAMNER                                                Contingent
         550 Biltmore Way Suite 700                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5954
                                                                   Is the claim subject to offset?     No       Yes

3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANNI W COLLETTE                                              Contingent
         1128 S Main Street                                           Unliquidated
         Findlay, OH 45840-2268
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6864
                                                                   Is the claim subject to offset?     No       Yes

3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANNIE JEAN ADKINS                                            Contingent
         3524 Ensign Circle                                           Unliquidated
         Delray Beach, FL 33483-8024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9292
                                                                   Is the claim subject to offset?     No       Yes

3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANSBACHER & SCHNEIDER PA                                     Contingent
         P.O. Box 551260                                              Unliquidated
         Jacksonville, FL 32255-1260
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4532
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 58 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 66 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.404    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Anthony & Partners, L.L.C.                                   Contingent
         100 South Ashley Drive                                       Unliquidated
         Suite 1600
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8535                      Is the claim subject to offset?     No       Yes

3.405    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTHONY A BALASSO                                            Contingent
         8321 W Sahara Avenue Apt 1033                                Unliquidated
         Las Vegas, NV 89117-1876
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3882
                                                                   Is the claim subject to offset?     No       Yes

3.406    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY A YEZBICK                                            Contingent
         Anthony A. Yezbick P.C.                                      Unliquidated
         390 Park Street Suite 200
                                                                      Disputed
         Birmingham, MI 48009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5967                      Is the claim subject to offset?     No       Yes

3.407    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANTHONY A. ACCORSI                                           Contingent
         329 S. Commerce Avenue                                       Unliquidated
         Sebring, FL 33870-3607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5191
                                                                   Is the claim subject to offset?     No       Yes

3.408    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY C EKONOMIDES                                         Contingent
         Office of Public Defender                                    Unliquidated
         700 E Twiggs Street
                                                                      Disputed
         Tampa, FL 33602-4019
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5382                      Is the claim subject to offset?     No       Yes

3.409    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY C SOVIERO                                            Contingent
         824 W Indiantown Road Suite 101                              Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5737
                                                                   Is the claim subject to offset?     No       Yes

3.410    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Anthony Casareale, P.A.                                      Contingent
         1000 Brickell Avenue Suite 920                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9574
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 59 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 67 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY DIEGUEZ                                              Contingent
         7950 NW 155th Street                                         Unliquidated
         Suite 207
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0051                      Is the claim subject to offset?     No       Yes

3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY E PUCILLO                                            Contingent
         12795 Wilderness Drive                                       Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2631
                                                                   Is the claim subject to offset?     No       Yes

3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY G WOODWARD                                           Contingent
         20727 Sterlington Drive                                      Unliquidated
         Land O Lakes, FL 34638
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1016
                                                                   Is the claim subject to offset?     No       Yes

3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTHONY J BEISLER III                                        Contingent
         Anthony J. Beisler III P.A.                                  Unliquidated
         1001 NE 26th Street
                                                                      Disputed
         Ft Lauderdale, FL 33305-1243
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5749                      Is the claim subject to offset?     No       Yes

3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY J CADIZ                                              Contingent
         843 Northeast 78th Street                                    Unliquidated
         Boca Raton, FL 33487-1740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7692
                                                                   Is the claim subject to offset?     No       Yes

3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,001.90
         ANTHONY J CATALANO                                           Contingent
         4001 Tamiami Trail N Suite 250                               Unliquidated
         Naples, FL 34103-3555                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6131
                                                                   Is the claim subject to offset?     No       Yes

3.417    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY J COMPARETTO                                         Contingent
         5340 Central Avenue                                          Unliquidated
         St Petersburg, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1797
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 60 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 68 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.418    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTHONY J DIAMOND                                            Contingent
         P.O. Drawer 2590                                             Unliquidated
         Ft. Myers, FL 33902-2590
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4746
                                                                   Is the claim subject to offset?     No       Yes

3.419    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTHONY J GARGANO PA                                         Contingent
         8695 College Parkway                                         Unliquidated
         Suite 201
                                                                      Disputed
         Fort Myers, FL 33919
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8145                      Is the claim subject to offset?     No       Yes

3.420    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY J MORENO                                             Contingent
         301 Beckett Court                                            Unliquidated
         Winter Park, FL 32792
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5598
                                                                   Is the claim subject to offset?     No       Yes

3.421    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY J PETRILLO PA                                        Contingent
         One Biscayne Tower Suite 3100                                Unliquidated
         2 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7872                      Is the claim subject to offset?     No       Yes

3.422    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY J RUSSO JR                                           Contingent
         2843 Executive Park Drive                                    Unliquidated
         Weston, FL 33331-3603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7718
                                                                   Is the claim subject to offset?     No       Yes

3.423    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTHONY J TITONE                                             Contingent
         7471 W Oakland Park Boulevard Suite 110                      Unliquidated
         Lauderhill, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4224
                                                                   Is the claim subject to offset?     No       Yes

3.424    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Anthony J. Messina, P.A.                                     Contingent
         212 S Magnolia Avenue                                        Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9727
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 61 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 69 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTHONY J. ORTNER                                            Contingent
         111 S Maitland Avenue Suite 100                              Unliquidated
         Maitland, FL 32751-5628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 329
                                                                   Is the claim subject to offset?     No       Yes

3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ANTHONY J. SALZMAN                                           Contingent
         P.O. Drawer 2759                                             Unliquidated
         Gainesville, FL 32602-2759
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7479
                                                                   Is the claim subject to offset?     No       Yes

3.427    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY L TRULLENQUE                                         Contingent
         P.O. Box 41-5033                                             Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8147
                                                                   Is the claim subject to offset?     No       Yes

3.428    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY M NARDOTTI                                           Contingent
         3419 W. Woolbright Road                                      Unliquidated
         Boynton Beach, FL 33436
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9317
                                                                   Is the claim subject to offset?     No       Yes

3.429    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY MEEHAN GENOVA                                        Contingent
         51 Clifford                                                  Unliquidated
         East Norwich, NY 11732
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3832
                                                                   Is the claim subject to offset?     No       Yes

3.430    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY ORTEGO PA                                            Contingent
         704 Southwest 17th Avenue                                    Unliquidated
         Miami, FL 33135-5248
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8675
                                                                   Is the claim subject to offset?     No       Yes

3.431    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Anthony Pinizzotto, P.A.                                     Contingent
         415 Dunlawton Avenue                                         Unliquidated
         Suite 106
                                                                      Disputed
         Port Orange, FL 32127
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7448                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 62 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 70 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANTHONY S ADELSON                                            Contingent
         DBA Adelson Law Firm                                         Unliquidated
         501 Golden Isles Drive
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0634                      Is the claim subject to offset?     No       Yes

3.433    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY SUAREZ                                               Contingent
         517 W Colonial Drive                                         Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7904
                                                                   Is the claim subject to offset?     No       Yes

3.434    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANTHONY T PIERNICK                                           Contingent
         P.O. Box 840                                                 Unliquidated
         Clearwater, FL 33757-0840
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 593
                                                                   Is the claim subject to offset?     No       Yes

3.435    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY VILLAAMIL                                            Contingent
         1611 Southwest 32nd Avenue                                   Unliquidated
         Miami, FL 33145-1829
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8447
                                                                   Is the claim subject to offset?     No       Yes

3.436    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ANTHONY W ALFIERI                                            Contingent
         1936 Jeffords                                                Unliquidated
         Clearwater, FL 34624-4732
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7081
                                                                   Is the claim subject to offset?     No       Yes

3.437    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,432.21
         ANTHONY W DUVA PA                                            Contingent
         P.O. Box 212412                                              Unliquidated
         Augusta, GA 30917                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7378
                                                                   Is the claim subject to offset?     No       Yes

3.438    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTHONY W SURBER                                             Contingent
         5326 Van Dyke Road                                           Unliquidated
         Lutz, FL 33558
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1990
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 63 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 71 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.439    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ANTON J PECORA                                               Contingent
         3428 Zillah Street                                           Unliquidated
         Tallahassee, FL 32311-7358
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7342
                                                                   Is the claim subject to offset?     No       Yes

3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTONIO E MARIN                                              Contingent
         1699 Southwest 27th Avenue Suite 301                         Unliquidated
         Miami, FL 33145-2046
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0758
                                                                   Is the claim subject to offset?     No       Yes

3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTONIO G HERNANDEZ PA                                       Contingent
         4 SE 1st Street                                              Unliquidated
         2nd Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8488                      Is the claim subject to offset?     No       Yes

3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ANTONIO G JIMENEZ PA                                         Contingent
         P.O. Box 961482                                              Unliquidated
         Miami, FL 33296
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6618
                                                                   Is the claim subject to offset?     No       Yes

3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTONIO GONZALEZ                                             Contingent
         16234 Northwest 14th Street                                  Unliquidated
         Hollywood, FL 33028-1213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6902
                                                                   Is the claim subject to offset?     No       Yes

3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Antonio J. Soto IV, P.A.                                     Contingent
         355 Alhambra Circle                                          Unliquidated
         Suite 1205
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0823                      Is the claim subject to offset?     No       Yes

3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTONIO M AGUILERA                                           Contingent
         Grove Forest Plaza                                           Unliquidated
         2937 Southwest 27th Avenue Suite 306
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1890                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 64 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 72 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTONIO R PEREZ                                              Contingent
         417 W Sugarland Highway                                      Unliquidated
         Clewiston, FL 33440
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4109
                                                                   Is the claim subject to offset?     No       Yes

3.447    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ANTONIO T CAROZZA                                            Contingent
         10730 Ember Street                                           Unliquidated
         Boca Raton, FL 33428
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7586
                                                                   Is the claim subject to offset?     No       Yes

3.448    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Apfelbaum Law                                                Contingent
         451 SW Bethany Drive                                         Unliquidated
         Suite 202
                                                                      Disputed
         Port St Lucie, FL 34986
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9578                      Is the claim subject to offset?     No       Yes

3.449    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Apollo Law Group, LLC                                        Contingent
         905 Brickell Bay Drive                                       Unliquidated
         Suite 228
                                                                      Disputed
         Miami, FL 33131-2923
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0900                      Is the claim subject to offset?     No       Yes

3.450    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ARAN CORREA GUARCH & SHAPIRO                                 Contingent
         2100 Salzedo Street                                          Unliquidated
         Suite 303
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4560                      Is the claim subject to offset?     No       Yes

3.451    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARAZOZA & FERNANDEZ-FRAGA PA                                 Contingent
         2100 Salzedo Street                                          Unliquidated
         Suite 300
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8752                      Is the claim subject to offset?     No       Yes

3.452    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARCHIE O LOWRY JR                                            Contingent
         308 E 5th Avenue                                             Unliquidated
         Mt Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2624
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 65 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 73 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ARD SHIRLEY & RUDOLPH PA                                     Contingent
         P.O. Box 1874                                                Unliquidated
         Tallahassee, FL 32302-1874
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7570
                                                                   Is the claim subject to offset?     No       Yes

3.454    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARDEN DOSS JR                                                Contingent
         3731 Northeast Pineapple Avenue                              Unliquidated
         Jensen Beach, FL 34957-7275
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2982
                                                                   Is the claim subject to offset?     No       Yes

3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARDEN M MERCKLE                                              Contingent
         P.O. Box Zz                                                  Unliquidated
         Plant City, FL 33564-9046
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2746
                                                                   Is the claim subject to offset?     No       Yes

3.456    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Arias Bosinger, P.L.L.C.                                     Contingent
         1900 Hickory Street                                          Unliquidated
         Suite B
                                                                      Disputed
         Melbourne, FL 32901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0101                      Is the claim subject to offset?     No       Yes

3.457    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARLENE BRUMMER                                               Contingent
         4990 S.W. 86th Street                                        Unliquidated
         South Miami, FL 33143-8523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7802
                                                                   Is the claim subject to offset?     No       Yes

3.458    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARLENE C RICHMAN                                             Contingent
         1720 Harrison Street Suite 8 D                               Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7285
                                                                   Is the claim subject to offset?     No       Yes

3.459    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARLENE RAIJMAN                                               Contingent
         Arlene Raijman P.A.                                          Unliquidated
         1111 Kane Concourse Suite 607
                                                                      Disputed
         Bay Harbor Islands, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6051                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 66 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 74 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.460    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ARMANDO A PARDILLO                                           Contingent
         2150 Coral Way Suite 7a                                      Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6091
                                                                   Is the claim subject to offset?     No       Yes

3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARMANDO A PEREZ                                              Contingent
         701 Southwest 27 Avenue Suite 1205                           Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7695
                                                                   Is the claim subject to offset?     No       Yes

3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ARMANDO J BUCELO JR                                          Contingent
         1401 Ponce De Leon Boulevard Ph-1                            Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5572
                                                                   Is the claim subject to offset?     No       Yes

3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,496.92
         ARMANDO MARAIO                                               Contingent
         608 Venice Place                                             Unliquidated
         Sanford, FL 32771                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1533
                                                                   Is the claim subject to offset?     No       Yes

3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $21.50
         ARMANDO MONTALVO                                             Contingent
         66 W Flagler Street 9th Floor                                Unliquidated
         Miami, FL 33130-1807
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8587
                                                                   Is the claim subject to offset?     No       Yes

3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARMANDO OLIVEROS JR PA                                       Contingent
         8234 Southwest 60th Court                                    Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7738
                                                                   Is the claim subject to offset?     No       Yes

3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARMANDO PAYAS                                                Contingent
         1018 E. Robinson Street                                      Unliquidated
         Orlando, FL 32801-2024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7447
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 67 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 75 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARNALDO VELEZ PA                                             Contingent
         35 Almeria Avenue                                            Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4886
                                                                   Is the claim subject to offset?     No       Yes

3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARNOLD A BROWN                                               Contingent
         2500 First Union Financial Center                            Unliquidated
         200 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131-2336
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6822                      Is the claim subject to offset?     No       Yes

3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARNOLD D SHEVIN                                              Contingent
         2 Datran Center Suite 1528                                   Unliquidated
         9130 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0432                      Is the claim subject to offset?     No       Yes

3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,466.17
         ARNOLD D. BARR                                               Contingent
         9100 South Dadeland Blvd.                                    Unliquidated
         Suite 1170                                                   Disputed
         Miami, FL 33156-7814
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4175                      Is the claim subject to offset?     No       Yes


3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARNOLD GREVIOR                                               Contingent
         100 S.E. 6th Street                                          Unliquidated
         Ft Lauderdale, FL 33301-3415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3254
                                                                   Is the claim subject to offset?     No       Yes

3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,067.95
         ARNOLD HECKER                                                Contingent
         300 S Pine Island Road                                       Unliquidated
         Plantation, FL 33324-2673                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3970
                                                                   Is the claim subject to offset?     No       Yes

3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ARNOLD J SLATER                                              Contingent
         5411 N University Drive Suite 201                            Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5386
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 68 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 76 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.474    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARNOLD L LIEBERMAN                                           Contingent
         1760 Southwest 68th Avenue                                   Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8224
                                                                   Is the claim subject to offset?     No       Yes

3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARNOLD L PERLSTEIN                                           Contingent
         441 Montclaire Drive                                         Unliquidated
         Weston, FL 33326-3599
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0390
                                                                   Is the claim subject to offset?     No       Yes

3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $475.00
         ARNOLD MATHENY & EAGAN PA                                    Contingent
         605 E. Robinson Street                                       Unliquidated
         Suite 730
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2                         Is the claim subject to offset?     No       Yes

3.477    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARNOLD ROCKFORD                                              Contingent
         6625 Miami Lakes Drive E Suite 319                           Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0721
                                                                   Is the claim subject to offset?     No       Yes

3.478    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         ARNOLD YABLIN PA                                             Contingent
         Presidential Circle Suite 265 S                              Unliquidated
         4000 Hollywood Boulevard
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7883                      Is the claim subject to offset?     No       Yes

3.479    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,050.79
         ARNSTEIN & LEHR LLP                                          Contingent
         Attn: Dana Walkup                                            Unliquidated
         515 N. Flagler Drive, Suite 1400                             Disputed
         West Palm Beach, FL 33401-4321
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7367                      Is the claim subject to offset?     No       Yes


3.480    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Arreaza Law Firm, L.L.C.                                     Contingent
         320 W Oakland Park Boulevard                                 Unliquidated
         Wilton Manors, FL 33311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5786
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 69 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 77 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.481    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Arsali, L.L.C.                                               Contingent
         119 North Swinton Avenue                                     Unliquidated
         Delray Beach, FL 33444
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9357
                                                                   Is the claim subject to offset?     No       Yes

3.482    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR B D'ALMEIDA                                           Contingent
         105 E Palmetto Park Road                                     Unliquidated
         Boca Raton, FL 33432-4818
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3635
                                                                   Is the claim subject to offset?     No       Yes

3.483    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTHUR B PARKHURST                                           Contingent
         P.O. Box 030337                                              Unliquidated
         Ft Lauderdale, FL 33303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3724
                                                                   Is the claim subject to offset?     No       Yes

3.484    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR BARON                                                 Contingent
         640 N Hillside Avenue                                        Unliquidated
         Orlando, FL 32803-4821
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5721
                                                                   Is the claim subject to offset?     No       Yes

3.485    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $112.50
         ARTHUR C KOSKI                                               Contingent
         101 N Federal Highway Suite 701                              Unliquidated
         Boca Raton, FL 33432-3924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4279
                                                                   Is the claim subject to offset?     No       Yes

3.486    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTHUR E N WESTCOTT                                          Contingent
         2975 Southwest Brighton Way                                  Unliquidated
         Palm City, FL 34990-6089
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1299
                                                                   Is the claim subject to offset?     No       Yes

3.487    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $56.54
         ARTHUR G HALLER                                              Contingent
         3607 Northwest 52nd Avenue                                   Unliquidated
         Gainesville, FL 32605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7520
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 70 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 78 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR G LEONHARDT JR                                        Contingent
         4712 Old Winter Garden Road                                  Unliquidated
         Orlando, FL 32811-1740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0275
                                                                   Is the claim subject to offset?     No       Yes

3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTHUR H HESS                                                Contingent
         398 Battle Creek Road                                        Unliquidated
         Horse Shoe, NC 28742
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2860
                                                                   Is the claim subject to offset?     No       Yes

3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR H LESTER                                              Contingent
         88 Eglin Parkway Northeast                                   Unliquidated
         Ft Walton Beach, FL 32548-4957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4158
                                                                   Is the claim subject to offset?     No       Yes

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTHUR J GREEN                                               Contingent
         P.O. Box 193                                                 Unliquidated
         Peacham, VT 05862-0193
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6562
                                                                   Is the claim subject to offset?     No       Yes

3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR L BERGER                                              Contingent
         605 Suwannee Street Ms-58                                    Unliquidated
         Tallahassee, FL 32399-0458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6916
                                                                   Is the claim subject to offset?     No       Yes

3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTHUR LEE WILLNER                                           Contingent
         6816 Danah Court                                             Unliquidated
         Ft Myers, FL 33908-2003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1323
                                                                   Is the claim subject to offset?     No       Yes

3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR N SHEPPARD                                            Contingent
         21228 Harbor Way Suite 252                                   Unliquidated
         Aventura, FL 33180-3015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8510
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 71 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 79 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARTHUR P VILLWOCK                                            Contingent
         517 Muirfield Drive                                          Unliquidated
         Atlantis, FL 33462-1207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4624
                                                                   Is the claim subject to offset?     No       Yes

3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $225.00
         ARTHUR R ROSENBERG PA                                        Contingent
         6499 N. Powerline Road                                       Unliquidated
         Suite 304
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8335                      Is the claim subject to offset?     No       Yes

3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR S KELLY                                               Contingent
         274 Sandy Run                                                Unliquidated
         Melbourne, FL 32940-7837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2759
                                                                   Is the claim subject to offset?     No       Yes

3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTHUR S WEITZNER                                            Contingent
         P.O. Box 18028                                               Unliquidated
         Sarasota, FL 34276
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6119
                                                                   Is the claim subject to offset?     No       Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ARTHUR W GUNDLING                                            Contingent
         8211 W Broward Boulevard Suite 440                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5927
                                                                   Is the claim subject to offset?     No       Yes

3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR W LAMBERTUS                                           Contingent
         2929 E Commercial Boulevard Suite 604                        Unliquidated
         Ft Lauderdale, FL 33308-4222
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4824
                                                                   Is the claim subject to offset?     No       Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTHUR W TRUFELLI                                            Contingent
         5253 Center Street                                           Unliquidated
         Jupiter, FL 33458-4052
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4880
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 72 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 80 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.502    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTURO DOPAZO III                                            Contingent
         87 E 49th Street                                             Unliquidated
         Hialeah, FL 33013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5495
                                                                   Is the claim subject to offset?     No       Yes

3.503    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARTURO FERNANDEZ DE CASTRO                                   Contingent
         12220 Southwest 2 Street                                     Unliquidated
         Miami, FL 33184
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7610
                                                                   Is the claim subject to offset?     No       Yes

3.504    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTURO R ALFONSO                                             Contingent
         7821 Coral Way                                               Unliquidated
         Suite 125
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7871                      Is the claim subject to offset?     No       Yes

3.505    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTURO V HERNANDEZ PA                                        Contingent
         2937 Southwest 27th Avenue Suite 101                         Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8509
                                                                   Is the claim subject to offset?     No       Yes

3.506    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARTURO YERO PA                                               Contingent
         782 NW 42nd Avenue                                           Unliquidated
         Suite 350
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2170                      Is the claim subject to offset?     No       Yes

3.507    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARVIN LEE STEINBERG                                          Contingent
         4280 Galt Ocean Drive Suite 8e                               Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7196
                                                                   Is the claim subject to offset?     No       Yes

3.508    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         ARVIN PELTZ                                                  Contingent
         9400 S Dadeland Boulevard Suite 600                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6843
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 73 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 81 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.509    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ARY CHOUEKE                                                  Contingent
         200 S Biscayne Boulevard Suite 2500                          Unliquidated
         Miami, FL 33131-5340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2339
                                                                   Is the claim subject to offset?     No       Yes

3.510    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,753.46
         ASBELL & HO PA                                               Contingent
         365 5th Avenue Suite 202                                     Unliquidated
         Naples, FL 34102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4858
                                                                   Is the claim subject to offset?     No       Yes

3.511    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ASBURY & ASSOCIATES LLC                                      Contingent
         248 Congress Avenue                                          Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8215
                                                                   Is the claim subject to offset?     No       Yes

3.512    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ASHLEY R POLLOW                                              Contingent
         6405 Oleander Avenue                                         Unliquidated
         Fort Pierce, FL 34982-7635
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7649
                                                                   Is the claim subject to offset?     No       Yes

3.513    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $175.00
         ASMA & ASMA PA                                               Contingent
         884 S. Dillard Street                                        Unliquidated
         Winter Garden, FL 34787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7898
                                                                   Is the claim subject to offset?     No       Yes

3.514    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Assouline & Berlowe, P.A.                                    Contingent
         100 SE 2nd Street                                            Unliquidated
         Suite 3105
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8022                      Is the claim subject to offset?     No       Yes

3.515    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Assurance Legal, L.L.C.                                      Contingent
         6750 N. Andrews Avenue                                       Unliquidated
         Suite 200
                                                                      Disputed
         Fort Lauderdale, FL 33309-2173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0540                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 74 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 82 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.516    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Assured Title Solutions, L.L.C.                              Contingent
         51 S. Main Street                                            Unliquidated
         Suite 319
                                                                      Disputed
         Clearwater, FL 33765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4718                      Is the claim subject to offset?     No       Yes

3.517    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Aston Wilson, P.A.                                           Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 700
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9966                      Is the claim subject to offset?     No       Yes

3.518    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ASTRID DE PARRY PA                                           Contingent
         107 E Church Street                                          Unliquidated
         Deland, FL 32724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5714
                                                                   Is the claim subject to offset?     No       Yes

3.519    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ASTRID M BISMARCK                                            Contingent
         201 Alhambra Circle Suite 500                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1406
                                                                   Is the claim subject to offset?     No       Yes

3.520    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ASTRID M VELLON                                              Contingent
         1500 S Semoran Boulevard                                     Unliquidated
         Orlando, FL 32807
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5750
                                                                   Is the claim subject to offset?     No       Yes

3.521    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,095.58
         ATKINSON DINER STONE                                         Contingent
         One Financial Plaza                                          Unliquidated
         100 Southeast 3rd Avenue Suite 1400                          Disputed
         Ft Lauderdale, FL 33394-4517
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3619                      Is the claim subject to offset?     No       Yes


3.522    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Atlantic Coast Title & Escrow LLC                            Contingent
         1525-B The Greens Way                                        Unliquidated
         Suite 100
                                                                      Disputed
         Jacksonville Beach, FL 32250
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0630                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 75 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 83 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.523    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Atlas Law, PLLC                                              Contingent
         1701 N. 20th Street                                          Unliquidated
         Suite B
                                                                      Disputed
         Tampa, FL 33605
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1005                      Is the claim subject to offset?     No       Yes

3.524    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Attorney's Commercial Title and Legal Se                     Contingent
         1012 Airport Road                                            Unliquidated
         Unit 1
                                                                      Disputed
         Destin, FL 32541
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0642                      Is the claim subject to offset?     No       Yes

3.525    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ATTORNEYS TITLE CENTER                                       Contingent
         9050 Pines Boulevard Suite 300                               Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8981
                                                                   Is the claim subject to offset?     No       Yes

3.526    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ATTRIDGE COHEN & LUCAS                                       Contingent
         7136 Little Road                                             Unliquidated
         New Port Richey, FL 34654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8384
                                                                   Is the claim subject to offset?     No       Yes

3.527    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AUBREY G RUDD ESQUIRE                                        Contingent
         6330 Manor Lane Suite 202                                    Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3310
                                                                   Is the claim subject to offset?     No       Yes

3.528    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AUGHTON LAW FIRM PA                                          Contingent
         5660 Strand Court                                            Unliquidated
         Naples, FL 34110-3343
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2715
                                                                   Is the claim subject to offset?     No       Yes

3.529    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AUGUSTINE & NAIL PL                                          Contingent
         235 S Maitland Avenue Suite 204                              Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6352
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 76 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 84 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.530    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AURA OLIVAS PA                                               Contingent
         Suite 470                                                    Unliquidated
         4000 Ponce De Leon Boulevard
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0352                      Is the claim subject to offset?     No       Yes

3.531    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AURELIO DURANA                                               Contingent
         P.O. Box 143984                                              Unliquidated
         Coral Gables, FL 33114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4199
                                                                   Is the claim subject to offset?     No       Yes

3.532    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,517.46
         AUSLEY & MCMULLEN                                            Contingent
         P.O. Box 391                                                 Unliquidated
         Tallahassee, FL 32302-0391                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 318
                                                                   Is the claim subject to offset?     No       Yes

3.533    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         AUSTIN O BONIDY                                              Contingent
         4900 Southwest 64th Avenue                                   Unliquidated
         Davie, FL 33329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4591
                                                                   Is the claim subject to offset?     No       Yes

3.534    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AVELINO J GONZALEZ PA                                        Contingent
         6780 Coral Way                                               Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9373
                                                                   Is the claim subject to offset?     No       Yes

3.535    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AVERITT & CO PA                                              Contingent
         3010 S Third Street Suite B                                  Unliquidated
         Jacksonville, FL 32250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6461
                                                                   Is the claim subject to offset?     No       Yes

3.536    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         AVERY B GOODMAN                                              Contingent
         25400 US 19 N Suite 176                                      Unliquidated
         Clearwater, FL 34623                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8246
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 77 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 85 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.537    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $250.90
         AVERY WHIGHAM & WINESETT PA                                  Contingent
         P.O. Drawer 610                                              Unliquidated
         Ft Myers, FL 33902-0610
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2626
                                                                   Is the claim subject to offset?     No       Yes

3.538    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AVILA & GARCIA                                               Contingent
         1001 S Bayshore Drive Suite 1502                             Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0149
                                                                   Is the claim subject to offset?     No       Yes

3.539    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AVILA RODRIGUEZ HERNANDEZ MENA                               Contingent
         2525 Ponce De Leon Boulevard                                 Unliquidated
         Suite 1225
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4803                      Is the claim subject to offset?     No       Yes

3.540    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         AVIS & AVIS PA                                               Contingent
         Colonial Bank Building                                       Unliquidated
         125 Worth Avenue Suite 203
                                                                      Disputed
         Palm Beach, FL 33480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0143                      Is the claim subject to offset?     No       Yes

3.541    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $301.86
         AVIVA D. NEUMAN                                              Contingent
         551 Fifth Avenue                                             Unliquidated
         Squadron, Ellenoff, Et Al                                    Disputed
         New York, NY 10176-0049
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5640                      Is the claim subject to offset?     No       Yes


3.542    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AVONELLE R MACKERELL                                         Contingent
         Avonelle R. Mackerell P.A.                                   Unliquidated
         P.O. Box 717
                                                                      Disputed
         Dunnellon, FL 34430-0717
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4562                      Is the claim subject to offset?     No       Yes

3.543    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AVRON C RIFKIN ATTORNEY PA                                   Contingent
         100 Southeast Pelican Drive                                  Unliquidated
         Stuart, FL 34996-1217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1550
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 78 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 86 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.544    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         AWERBACH & COHN PA                                           Contingent
         28100 US Highway 19 N                                        Unliquidated
         Suite 104
                                                                      Disputed
         Clearwater, FL 33761
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8544                      Is the claim subject to offset?     No       Yes

3.545    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AXEL HEYDASCH                                                Contingent
         New World Twer 30th Floor                                    Unliquidated
         100 N Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6958                      Is the claim subject to offset?     No       Yes

3.546    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ayala Law, P.A.                                              Contingent
         1390 Brickell Avenue                                         Unliquidated
         Suite 335
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9477                      Is the claim subject to offset?     No       Yes

3.547    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Aybar Landrau & Nizio, P.L.                                  Contingent
         25 SE 2nd Avenue                                             Unliquidated
         Suite 220
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8599                      Is the claim subject to offset?     No       Yes

3.548    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,187.90
         AYRES CLUSTER CURRY MCCALL                                   Contingent
         21 Northeast First Avenue                                    Unliquidated
         Ocala, FL 34470                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 407
                                                                   Is the claim subject to offset?     No       Yes

3.549    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         AZRIA LAW FIRM PA                                            Contingent
         7900 Harbor Island Drive Suite 1209                          Unliquidated
         North Bay Village, FL 33141-2395
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9957
                                                                   Is the claim subject to offset?     No       Yes

3.550    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         B DALE THOMPSON                                              Contingent
         3920 Northwest 29th Lane                                     Unliquidated
         Gainesville, FL 32606-6671
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7142
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 79 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 87 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.551    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         B EDWIN JOHNSON                                              Contingent
         1433 S Fort Harrison Avenue Suite C                          Unliquidated
         Clearwater, FL 34616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4754
                                                                   Is the claim subject to offset?     No       Yes

3.552    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         B F GODFREY PA                                               Contingent
         2601 Technology Drive                                        Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6164
                                                                   Is the claim subject to offset?     No       Yes

3.553    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         B JEANE CRIPPEN                                              Contingent
         P.O. Drawer 024626                                           Unliquidated
         West Palm Beach, FL 33402-4626
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8482
                                                                   Is the claim subject to offset?     No       Yes

3.554    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         B LESLIE SCHARFMAN                                           Contingent
         166 Hialeah Drive                                            Unliquidated
         Hialeah, FL 33010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3835
                                                                   Is the claim subject to offset?     No       Yes

3.555    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         B RANDALL GRIFFITHS                                          Contingent
         305 S Boundary Avenue                                        Unliquidated
         Deland, FL 32720-5159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6873
                                                                   Is the claim subject to offset?     No       Yes

3.556    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         B RICHARD YOUNG                                              Contingent
         309-B S Palafox Pl                                           Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9192
                                                                   Is the claim subject to offset?     No       Yes

3.557    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         B ROBERTSON COHEN                                            Contingent
         P.O. Box 4560                                                Unliquidated
         Estes Park, CO 80517
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6220
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 80 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 88 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.558    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BACCA STEPHENSON LAW GROUP PA                                Contingent
         6406 Congress Street                                         Unliquidated
         New Port Richey, FL 34653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4225
                                                                   Is the claim subject to offset?     No       Yes

3.559    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Bach, Jacobs & Byrne, P.A.                                   Contingent
         240 S. Pineapple Avenue                                      Unliquidated
         Suite 700
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0365                      Is the claim subject to offset?     No       Yes

3.560    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,083.22
         BACON BACON & GODDARD PA                                     Contingent
         2959 1st Avenue N                                            Unliquidated
         St Petersburg, FL 33713                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3172
                                                                   Is the claim subject to offset?     No       Yes

3.561    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BAILEY & JONES PA                                            Contingent
         3250 Mary Street Suite 301                                   Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3991
                                                                   Is the claim subject to offset?     No       Yes

3.562    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         BAILEY AND BAILEY                                            Contingent
         2335 E Atlantic Boulevard Suite 300                          Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2758
                                                                   Is the claim subject to offset?     No       Yes

3.563    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BAILEY AND VAZQUEZ BAILEY PA                                 Contingent
         2114 N Flamingo Road Suite 181                               Unliquidated
         Pembroke Pines, FL 33028-3501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5895
                                                                   Is the claim subject to offset?     No       Yes

3.564    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BAJANDAS & FITZGERALD LLP                                    Contingent
         283 Catalonia Avenue                                         Unliquidated
         Suite 200
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5128                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 81 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 89 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.565    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.00
         BAKALAR & EICHNER PA                                         Contingent
         Westside Corporate Center                                    Unliquidated
         150 S Pine Island Road Suite 540
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6354                      Is the claim subject to offset?     No       Yes

3.566    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BAKALAR & TOPOUZIS PA                                        Contingent
         2901 Stirling Road Suite 208                                 Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5713
                                                                   Is the claim subject to offset?     No       Yes

3.567    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $375.00
         BAKER & DUKE                                                 Contingent
         P.O. Box 66                                                  Unliquidated
         Pensacola, FL 32591-0066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7322
                                                                   Is the claim subject to offset?     No       Yes

3.568    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,451.65
         BAKER & HOSTETLER LLP                                        Contingent
         P.O. Box 112                                                 Unliquidated
         Orlando, FL 32802                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3839
                                                                   Is the claim subject to offset?     No       Yes

3.569    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BAKER & MCKENZIE LLP                                         Contingent
         1111 Brickell Avenue 17th Floor                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6047
                                                                   Is the claim subject to offset?     No       Yes

3.570    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BAKER & RECK CHARTERED                                       Contingent
         2500 E Hallandale Beach Boulevard Suite                      Unliquidated
         Hallandale, FL 33009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0431
                                                                   Is the claim subject to offset?     No       Yes

3.571    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,642.79
         BALDWIN & MORRISON PA                                        Contingent
         1431 Orange Camp Road                                        Unliquidated
         Suite 110                                                    Disputed
         Deland, FL 32724
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7304                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 82 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 90 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.572    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BALDY MARTINEZ PA                                            Contingent
         1999 SW 27th Avenue                                          Unliquidated
         2nd Floor
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6656                      Is the claim subject to offset?     No       Yes

3.573    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BALES & BALES PA                                             Contingent
         4000 Ponce De Leon Boulevard                                 Unliquidated
         Suite 470
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6044                      Is the claim subject to offset?     No       Yes

3.574    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BALLESTE & LEVY PA                                           Contingent
         DBA Title 24-7, A Law Firm                                   Unliquidated
         7300 N. Kendall Drive, Suite 204
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3898                      Is the claim subject to offset?     No       Yes

3.575    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Baltar Law, P.A.                                             Contingent
         1931 Northwest 150th Avenue                                  Unliquidated
         Pembroke Pines, FL 33028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9629
                                                                   Is the claim subject to offset?     No       Yes

3.576    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Band Weintraub, PL                                           Contingent
         One S School Avenue Suite 500                                Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9714
                                                                   Is the claim subject to offset?     No       Yes

3.577    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Barash-Schatten Law Firm, P.A.                               Contingent
         2450 Hollywood Boulevard                                     Unliquidated
         CU 201
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0764                      Is the claim subject to offset?     No       Yes

3.578    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA ARLENE FINK                                          Contingent
         1589 N Nova Road Suite 116                                   Unliquidated
         Holly Hill, FL 32117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4155
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 83 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 91 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.579    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $275.00
         BARBARA BRETAN                                               Contingent
         328 Commons Way                                              Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 684
                                                                   Is the claim subject to offset?     No       Yes

3.580    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA E VENDRELL                                           Contingent
         P.O. Box 814477                                              Unliquidated
         Hollywood, FL 33081-4477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9761
                                                                   Is the claim subject to offset?     No       Yes

3.581    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA G BANKS PA                                           Contingent
         Coral Springs Professional Campus                            Unliquidated
         5421 University Drive Suite 101
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9656                      Is the claim subject to offset?     No       Yes

3.582    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA J FERRER                                             Contingent
         Suntrust International Center                                Unliquidated
         One Southeast Third Avenue 28th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3676                      Is the claim subject to offset?     No       Yes

3.583    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA J KIRBY                                              Contingent
         2 First Street Northeast                                     Unliquidated
         Crosby, MN 56441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8445
                                                                   Is the claim subject to offset?     No       Yes

3.584    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BARBARA JANE LEAGUE PA                                       Contingent
         3955 Riverside Avenue Suite 100                              Unliquidated
         Jacksonville, FL 32205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9553
                                                                   Is the claim subject to offset?     No       Yes

3.585    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA K SUNSHINE                                           Contingent
         5237 W Broward Boulevard                                     Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8763
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 84 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 92 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.586    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARBARA L WOLF                                               Contingent
         2425 E Commercial Boulevard Suite 307                        Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6777
                                                                   Is the claim subject to offset?     No       Yes

3.587    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARBARA MALONE                                               Contingent
         851 Northwest 7th Street Road                                Unliquidated
         Miami, FL 33136-3024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6982
                                                                   Is the claim subject to offset?     No       Yes

3.588    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BARBARA NORTH BURTON                                         Contingent
         Burton & Lee                                                 Unliquidated
         11955 W Dixie Highway
                                                                      Disputed
         Miami, FL 33161-6144
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7321                      Is the claim subject to offset?     No       Yes

3.589    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA P RICHARDSON                                         Contingent
         P.O. Box 3555                                                Unliquidated
         West Palm Beach, FL 33402-3555
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5200
                                                                   Is the claim subject to offset?     No       Yes

3.590    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA SANDERS                                              Contingent
         P.O. Box 157                                                 Unliquidated
         Apalachicola, FL 32320-0157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4348
                                                                   Is the claim subject to offset?     No       Yes

3.591    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BARBARA T TAYLOR                                             Contingent
         4732 Fairview Drive                                          Unliquidated
         Cocoa Beach, FL 32931-3812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5131
                                                                   Is the claim subject to offset?     No       Yes

3.592    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARBARA Y BOURGUIGNON                                        Contingent
         P.O. Box 358596                                              Unliquidated
         Gainesville, FL 32635-8596
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 197
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 85 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 93 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.593    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Baret Law Group, P.A.                                        Contingent
         3999 Sheridan Street                                         Unliquidated
         2nd Floor
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0727                      Is the claim subject to offset?     No       Yes

3.594    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BARFIELD PA                                                  Contingent
         2809 Poinsetta Avenue                                        Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6438
                                                                   Is the claim subject to offset?     No       Yes

3.595    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARGER LAW OFFICES LLC                                       Contingent
         P.O. Box 228654                                              Unliquidated
         Miami, FL 33222-0654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7692
                                                                   Is the claim subject to offset?     No       Yes

3.596    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARITZ & COLMAN LLP                                          Contingent
         1075 Broken Sound Parkway NW                                 Unliquidated
         Suite 102
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5297                      Is the claim subject to offset?     No       Yes

3.597    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARKER & BARKER PA                                           Contingent
         4244 Saint Johns Avenue                                      Unliquidated
         Jacksonville, FL 32210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8748
                                                                   Is the claim subject to offset?     No       Yes

3.598    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARNARD LAW OFFICES LP                                       Contingent
         9655 S Dixie Highway Suite 108                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4132
                                                                   Is the claim subject to offset?     No       Yes

3.599    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARNES & JAMES PA                                            Contingent
         2629 Blairstone Road                                         Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8635
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 86 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 94 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.600    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.00
         BARNES WALKER & GOETHE                                       Contingent
         1776 Ringling Boulevard                                      Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0046
                                                                   Is the claim subject to offset?     No       Yes

3.601    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Barnes Walker Title, Inc.                                    Contingent
         3119 Manatee Avenue West                                     Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2465
                                                                   Is the claim subject to offset?     No       Yes

3.602    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         BARNETT & ASSOCIATES PA                                      Contingent
         Offices at Pinecrest II Suite 210                            Unliquidated
         7695 Southwest 104th Street
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6175                      Is the claim subject to offset?     No       Yes

3.603    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARNETT BOLT KIRKWOOD & LONG                                 Contingent
         601 S. Bayshore Boulevard                                    Unliquidated
         Suite 700
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8625                      Is the claim subject to offset?     No       Yes

3.604    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Barnett Lerner Karsen & Frankel, P.A.                        Contingent
         2860 Marina Mile Boulevard                                   Unliquidated
         Suite 105
                                                                      Disputed
         Ft Lauderdale, FL 33312
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0118                      Is the claim subject to offset?     No       Yes

3.605    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARNEY B AVCHEN                                              Contingent
         Palm Springs Center                                          Unliquidated
         1840 W. 49th Street, Suite 226
                                                                      Disputed
         Hialeah, FL 33012-2949
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4702                      Is the claim subject to offset?     No       Yes

3.606    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARON L BARTLETT                                             Contingent
         135 Professional Drive Suite 101                             Unliquidated
         Ponte Vedra Beach, FL 32082-6277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8552
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 87 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 95 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.607    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Barreiro Law Firm, PLLC                                      Contingent
         1395 Brickell Avenue                                         Unliquidated
         Suite 760
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0617                      Is the claim subject to offset?     No       Yes

3.608    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $250.00
         BARRETT & ASSOCIATES                                         Contingent
         P.O. Box 930                                                 Unliquidated
         Tallahassee, FL 32302-0930
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6439
                                                                   Is the claim subject to offset?     No       Yes

3.609    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $590.38
         BARRETT N WEINBERGER                                         Contingent
         441 Vine Street Suite 2211                                   Unliquidated
         Cincinnati, OH 45202                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8046
                                                                   Is the claim subject to offset?     No       Yes

3.610    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BARRETT S LAZARUS                                            Contingent
         P.O. Box 25157                                               Unliquidated
         Tamarac, FL 33320-5157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0241
                                                                   Is the claim subject to offset?     No       Yes

3.611    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BARRETT SANDERS                                              Contingent
         670 S Sandlake Court                                         Unliquidated
         Mount Dora, FL 32757-6085
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4165
                                                                   Is the claim subject to offset?     No       Yes

3.612    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Barrister Law Firm, P.A.                                     Contingent
         2002 E. Robinson Street                                      Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0687
                                                                   Is the claim subject to offset?     No       Yes

3.613    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $575.00
         BARRON REDDING HUGHES FITE                                   Contingent
         P.O. Box 2467                                                Unliquidated
         Panama City, FL 32402-2467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1237
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 88 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 96 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.614    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $40.63
         BARRY A EISENSON                                             Contingent
         4953 Coconut Creek Parkway                                   Unliquidated
         Coconut Creek, FL 33063-3909
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7442
                                                                   Is the claim subject to offset?     No       Yes

3.615    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $175.00
         BARRY A STEIN                                                Contingent
         De Cardenas Freixas Et Al P.A.                               Unliquidated
         25 Southeast 2nd Avenue Suite 425
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 287                       Is the claim subject to offset?     No       Yes

3.616    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARRY ALAN WILEN                                             Contingent
         4600 Sheridan Street                                         Unliquidated
         Suite 300
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6210                      Is the claim subject to offset?     No       Yes

3.617    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY B ANSBACHER                                            Contingent
         8818 Goodbys Executive Drive                                 Unliquidated
         Jacksonville, FL 32217-4692
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4757
                                                                   Is the claim subject to offset?     No       Yes

3.618    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY B BYRD                                                 Contingent
         4400 PGA Boulevard K Suite 900                               Unliquidated
         Palm Beach Gardens, FL 33410-6562
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1314
                                                                   Is the claim subject to offset?     No       Yes

3.619    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY C AVERITT                                              Contingent
         P.O. Box 52687                                               Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9872
                                                                   Is the claim subject to offset?     No       Yes

3.620    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARRY G RODERMAN & ASSOC PA                                  Contingent
         888 E Las Olas Boulevard Suite 601                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8269
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 89 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 97 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.621    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY G SEGAL                                                Contingent
         3096 Cardinal Drive                                          Unliquidated
         Suite 2C
                                                                      Disputed
         Vero Beach, FL 32963
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3887                      Is the claim subject to offset?     No       Yes

3.622    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY G SEIDEL                                               Contingent
         5880 Southwest 117th Street                                  Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0547
                                                                   Is the claim subject to offset?     No       Yes

3.623    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BARRY J FULLER & ASSOCIATES                                  Contingent
         2301 Park Avenue Suite 404                                   Unliquidated
         Orange Park, FL 32073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4432
                                                                   Is the claim subject to offset?     No       Yes

3.624    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY L CLAYTON                                              Contingent
         480 Maplewood Drive Suite 5                                  Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0282
                                                                   Is the claim subject to offset?     No       Yes

3.625    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY L MILLER                                               Contingent
         11 N Summerlin Avenue                                        Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0364
                                                                   Is the claim subject to offset?     No       Yes

3.626    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY L SIMONS                                               Contingent
         7300 North Kendall Drive                                     Unliquidated
         Suite 680
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9801                      Is the claim subject to offset?     No       Yes

3.627    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY M ELKIN                                                Contingent
         18830 US Highway 19 N Suite 300                              Unliquidated
         Clearwater, FL 33764
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3864
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 90 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 98 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.628    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.30
         BARRY M KUCIK                                                Contingent
         1105 Pennsylvania Avenue                                     Unliquidated
         St Cloud, FL 34769-3749                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8144
                                                                   Is the claim subject to offset?     No       Yes

3.629    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY M SICKLES                                              Contingent
         10100 W Sample Road Suite 404                                Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4612
                                                                   Is the claim subject to offset?     No       Yes

3.630    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY M SILVER PA                                            Contingent
         1200 S Rogers Circle Suite 8 2nd Floor                       Unliquidated
         Boca Raton, FL 33487-5703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8687
                                                                   Is the claim subject to offset?     No       Yes

3.631    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BARRY N NATTER                                               Contingent
         7596 Centurion Parkway                                       Unliquidated
         Jacksonville, FL 32256-0517
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7744
                                                                   Is the claim subject to offset?     No       Yes

3.632    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY R COHEN                                                Contingent
         260 95th Street                                              Unliquidated
         Suite 201
                                                                      Disputed
         Surfside, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6423                      Is the claim subject to offset?     No       Yes

3.633    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY R HILLMYER                                             Contingent
         P.O. Box 960                                                 Unliquidated
         Ft Myers, FL 33902-0960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2065
                                                                   Is the claim subject to offset?     No       Yes

3.634    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,380.19
         BARRY R SHAPIRO                                              Contingent
         800 W Oakland Park Boulevard                                 Unliquidated
         Suite K-104                                                  Disputed
         Ft Lauderdale, FL 33311-1733
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5712                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 91 of 1581
                        Case 2:23-bk-01538-FMD                    Doc 24           Filed 01/17/24                 Page 99 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.635    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY S BENDETOWIES                                          Contingent
         10100 W. Sample Road                                         Unliquidated
         Suite 300
                                                                      Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6150                      Is the claim subject to offset?     No       Yes

3.636    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY S MITTELBERG                                           Contingent
         1700 University Drive Suite 300                              Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4677
                                                                   Is the claim subject to offset?     No       Yes

3.637    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY S YARCHIN                                              Contingent
         2051 NE 208th Street                                         Unliquidated
         Miami, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1021
                                                                   Is the claim subject to offset?     No       Yes

3.638    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BARRY T SHEVLIN                                              Contingent
         1111 Kane Concourse Suite 605                                Unliquidated
         Bay Harbour Island, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6072
                                                                   Is the claim subject to offset?     No       Yes

3.639    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BART H CHEPENIK PA                                           Contingent
         12550 Biscayne Boulevard                                     Unliquidated
         Suite 805
                                                                      Disputed
         North Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8056                      Is the claim subject to offset?     No       Yes

3.640    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Barthelette Law, P.A.                                        Contingent
         1900 Corporate Boulevard N.W.                                Unliquidated
         Suite 215 East
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0787                      Is the claim subject to offset?     No       Yes

3.641    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Barton C. Mercer, P.L.L.C.                                   Contingent
         238 N Westmonte Drive Suite 285                              Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8855
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 92 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 100 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.642    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARTON S STROCK                                              Contingent
         2500 Weston Road Suite 317                                   Unliquidated
         Weston, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 681
                                                                   Is the claim subject to offset?     No       Yes

3.643    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,463.84
         BARTON S UDELL                                               Contingent
         801 N VENETIAN DR #702                                       Unliquidated
         MIAMI, FL 33139-1068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0488
                                                                   Is the claim subject to offset?     No       Yes

3.644    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BARTON SMITH PL                                              Contingent
         138 Simonton Street                                          Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5689
                                                                   Is the claim subject to offset?     No       Yes

3.645    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,029.17
         BASKIN & STEINGUT PA                                         Contingent
         1 Mellon Bank Center 29th Floor                              Unliquidated
         Pittsburg, PA 15219-2502                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6505
                                                                   Is the claim subject to offset?     No       Yes

3.646    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $275.00
         BASKIN FLEECE ATTORNEYS AT LAW                               Contingent
         13535 Feather Sound Drive                                    Unliquidated
         Suite 200
                                                                      Disputed
         Clearwater, FL 33762
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 607                       Is the claim subject to offset?     No       Yes

3.647    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BASSO GROSS & FRIED PA                                       Contingent
         Building 1 Suite 306                                         Unliquidated
         4500 N State Road 7
                                                                      Disputed
         Lauderdale Lakes, FL 33319
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0141                      Is the claim subject to offset?     No       Yes

3.648    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Basulto Robbins & Associates, L.L.P.                         Contingent
         14160 NW 77th Court                                          Unliquidated
         Suite 22
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2453                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 93 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 101 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.649    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BATEMAN HARDEN                                               Contingent
         300 E Park Avenue                                            Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9922
                                                                   Is the claim subject to offset?     No       Yes

3.650    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $475.00
         BATTAGLIA ROSS DICUS & WEIN PA                               Contingent
         5858 Central Avenue                                          Unliquidated
         Suite A
                                                                      Disputed
         St Petersburg, FL 33707
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 352                       Is the claim subject to offset?     No       Yes

3.651    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BATTLE & EDENFIELD PA                                        Contingent
         206 Mason Street                                             Unliquidated
         Brandon, FL 33511-5212
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4575
                                                                   Is the claim subject to offset?     No       Yes

3.652    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BAUMAN & WILCOCK PA                                          Contingent
         8668 Park Boulevard Suite F                                  Unliquidated
         Seminole, FL 33777-4348
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0060
                                                                   Is the claim subject to offset?     No       Yes

3.653    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BAUR & KLEIN PA                                              Contingent
         1001 Brickell Bay Drive                                      Unliquidated
         #2719
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3858                      Is the claim subject to offset?     No       Yes

3.654    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bauza Law, P.L.L.C.                                          Contingent
         P.O. Box 279514                                              Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8427
                                                                   Is the claim subject to offset?     No       Yes

3.655    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BAXTER & STROHAUER PA                                        Contingent
         1150 Cleveland Street Suite 300                              Unliquidated
         Clearwater, FL 34615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5536
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 94 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 102 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.656    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BAXTER TOUBY LLP                                             Contingent
         One Datran Center                                            Unliquidated
         9100 S Dadeland Boulevard, Suite 700
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6608                      Is the claim subject to offset?     No       Yes

3.657    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bay Title Company                                            Contingent
         16666 NE 19th Avenue                                         Unliquidated
         Suite 113
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4297                      Is the claim subject to offset?     No       Yes

3.658    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BAYER LAW OFFICES                                            Contingent
         109 S. 6th Street                                            Unliquidated
         Suite 200
                                                                      Disputed
         Flagler Beach, FL 32136
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6083                      Is the claim subject to offset?     No       Yes

3.659    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BAYNARD HARRELL MASCARA ET AL                                Contingent
         P.O. Box 180                                                 Unliquidated
         St Petersburg, FL 33731-0180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4663
                                                                   Is the claim subject to offset?     No       Yes

3.660    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BC Law                                                       Contingent
         10 Southeast Central Parkway Suite 325                       Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9149
                                                                   Is the claim subject to offset?     No       Yes

3.661    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BEARDEN ELTRINGHAM LEWIS                                     Contingent
         1300 North Federal Highway                                   Unliquidated
         Suite 203
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0340                      Is the claim subject to offset?     No       Yes

3.662    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BEATRIZ M CAPOTE                                             Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 507
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6812                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 95 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 103 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.663    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $725.00
         BECKER & POLIAKOFF PA                                        Contingent
         1 E. Broward Boulevard                                       Unliquidated
         Suite 1800
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4555                      Is the claim subject to offset?     No       Yes

3.664    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Becker & Poliakoff, P.A.                                     Contingent
         1819 Main Street                                             Unliquidated
         Suite 905
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4555                      Is the claim subject to offset?     No       Yes

3.665    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BECKY S SCHAFFER                                             Contingent
         2001 Northwest 107th Avenue                                  Unliquidated
         Miami, FL 33172-2507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7844
                                                                   Is the claim subject to offset?     No       Yes

3.666    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Beetley Law                                                  Contingent
         618 E. South Street                                          Unliquidated
         Suite 500
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0368                      Is the claim subject to offset?     No       Yes

3.667    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,314.38
         BEGGS & LANE                                                 Contingent
         501 Commendencia Street                                      Unliquidated
         Pensacola, FL 32502                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2337
                                                                   Is the claim subject to offset?     No       Yes

3.668    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.00
         BEIGHLEY MYRICK & UDELL PA                                   Contingent
         1255 W Atlantic Boulevard                                    Unliquidated
         Suite 314
                                                                      Disputed
         Pompano Beach, FL 33069
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5507                      Is the claim subject to offset?     No       Yes

3.669    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BELFORD S LESTER III                                         Contingent
         201 Park Pl Suite 204                                        Unliquidated
         Altamonte Springs, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4961
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 96 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 104 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.670    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BELINDA TAKACH FRANCE                                        Contingent
         France Law Firm P.A.                                         Unliquidated
         2073 Summit Lake Drive Suite 154
                                                                      Disputed
         Tallahassee, FL 32317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0113                      Is the claim subject to offset?     No       Yes

3.671    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BELKIN & ASSOCIATES PA                                       Contingent
         Suite 497                                                    Unliquidated
         1489 W Palmetto Park Road
                                                                      Disputed
         Boca Raton, FL 33486
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5422                      Is the claim subject to offset?     No       Yes

3.672    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $350.00
         BELL & BELL                                                  Contingent
         C/O Mr. Thomas W Bell                                        Unliquidated
         P.O. Box 3916
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3755                      Is the claim subject to offset?     No       Yes

3.673    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BELLEVILLE & PATEL PA                                        Contingent
         237 N Westmont Drive                                         Unliquidated
         Altamonte Springs, FL 32714-3366
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8425
                                                                   Is the claim subject to offset?     No       Yes

3.674    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BEN DANIEL JR                                                Contingent
         101 Northwest Third Street                                   Unliquidated
         Ocala, FL 34475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2025
                                                                   Is the claim subject to offset?     No       Yes

3.675    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BEN H DARBY JR                                               Contingent
         P.O. Box 2971                                                Unliquidated
         Lakeland, FL 33806-2971
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5517
                                                                   Is the claim subject to offset?     No       Yes

3.676    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BEN H WILKINSON                                              Contingent
         P.O. Box 10095                                               Unliquidated
         Tallahassee, FL 32302-2095
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7376
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 97 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 105 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.677    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $44.68
         BEN W. THOMPSON, JR.                                         Contingent
         3000 Pearl Street                                            Unliquidated
         Suite 100                                                    Disputed
         Boulder, CO 80301-2431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6861                      Is the claim subject to offset?     No       Yes


3.678    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $275.00
         BEN-EZRA & KATZ PA                                           Contingent
         2901 Stirling Road Suite 300                                 Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6106
                                                                   Is the claim subject to offset?     No       Yes

3.679    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENCHMARK TITLE & ABSTRACT                                   Contingent
         240 Fox Run                                                  Unliquidated
         Los Gatos, CA 95033-7816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4418
                                                                   Is the claim subject to offset?     No       Yes

3.680    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $350.00
         BENDER BENDER & CHANDLER PA                                  Contingent
         980 NW North River Drive                                     Unliquidated
         Suite 128
                                                                      Disputed
         Miami, FL 33136
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6423                      Is the claim subject to offset?     No       Yes

3.681    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENEDICTE MARIE PATRUNO PA                                   Contingent
         507 Southeast 11th Court                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5594
                                                                   Is the claim subject to offset?     No       Yes

3.682    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Benitez Law Group, P.L.                                      Contingent
         1223 E. Concord Street                                       Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8852
                                                                   Is the claim subject to offset?     No       Yes

3.683    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Benjamin A. Winter, P.A.                                     Contingent
         669 1st Avenue N                                             Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8960
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 98 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 106 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.684    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN F WREN III                                          Contingent
         P.O. Box 2916                                                Unliquidated
         Deland, FL 32723-2916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0595
                                                                   Is the claim subject to offset?     No       Yes

3.685    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN FELDER                                              Contingent
         10575 68th Avenue N Suite D-2                                Unliquidated
         Seminole, FL 33772
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2287
                                                                   Is the claim subject to offset?     No       Yes

3.686    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         BENJAMIN FOGEL                                               Contingent
         P.O. Box 595                                                 Unliquidated
         Linville, NC 28646-0595
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2284
                                                                   Is the claim subject to offset?     No       Yes

3.687    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BENJAMIN G MORRIS                                            Contingent
         202 S Rome Avenue Suite 100                                  Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6534
                                                                   Is the claim subject to offset?     No       Yes

3.688    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,342.00
         BENJAMIN G PARKS                                             Contingent
         865 Fifth Avenue S                                           Unliquidated
         Naples, FL 33940-6605                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1095
                                                                   Is the claim subject to offset?     No       Yes

3.689    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BENJAMIN GOLDNER                                             Contingent
         11785 Royal Palm Boulevard Suite 5101                        Unliquidated
         Coral Springs, FL 33065-7366
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6081
                                                                   Is the claim subject to offset?     No       Yes

3.690    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         BENJAMIN H HAIRE                                             Contingent
         1125 Northwest 66th Terrace                                  Unliquidated
         Margate, FL 33063-3465
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7033
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 99 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 107 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.691    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN J COX                                               Contingent
         Upstairs Suite                                               Unliquidated
         9846 US Highway 441
                                                                      Disputed
         Leesburg, FL 34788
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1734                      Is the claim subject to offset?     No       Yes

3.692    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BENJAMIN L BRYAN JR                                          Contingent
         218 2nd Street Suite 324                                     Unliquidated
         Ft Pierce, FL 34950-4301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5657
                                                                   Is the claim subject to offset?     No       Yes

3.693    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BENJAMIN L NEMSER                                            Contingent
         12240 Northeast 14th Avenue                                  Unliquidated
         Miami, FL 33161-6521
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 513
                                                                   Is the claim subject to offset?     No       Yes

3.694    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN P SHENKMAN                                          Contingent
         12012 South Shore Boulevard Suite 107                        Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9800
                                                                   Is the claim subject to offset?     No       Yes

3.695    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN R SCHULMAN                                          Contingent
         Schulman & Cannavan                                          Unliquidated
         4340 Sheridan Street 2nd Floor
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2601                      Is the claim subject to offset?     No       Yes

3.696    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN S KENNEDY JR                                        Contingent
         399 W Palmetto Park Road Suite 200                           Unliquidated
         Boca Raton, FL 33432-3760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8015
                                                                   Is the claim subject to offset?     No       Yes

3.697    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENJAMIN SCHIFF                                              Contingent
         1901 Harrison Street Suite 200                               Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5810
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 100 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 108 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.698    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BENNARDO & BENNARDO PA                                       Contingent
         1860 Northwest Boca Raton Boulevard                          Unliquidated
         Boca Raton, FL 33432-1616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6519
                                                                   Is the claim subject to offset?     No       Yes

3.699    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BENNETT BOVARNICK                                            Contingent
         P.O. Box 811359                                              Unliquidated
         Boca Raton, FL 33481-1359
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6925
                                                                   Is the claim subject to offset?     No       Yes

3.700    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BENNETT D FULTZ                                              Contingent
         619 Southwest 12th Avenue                                    Unliquidated
         Miami, FL 33130-3117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7846
                                                                   Is the claim subject to offset?     No       Yes

3.701    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BENNETT S COHN                                               Contingent
         1800 Old Okeechobee Road Suite 200                           Unliquidated
         West Palm Beach, FL 33409-5207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5556
                                                                   Is the claim subject to offset?     No       Yes

3.702    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BENSON & ROSS PA                                             Contingent
         1301 S Andrews Avenue Suite 302                              Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8931
                                                                   Is the claim subject to offset?     No       Yes

3.703    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BENSON MUCCI & ASSOCIATES LLP                                Contingent
         5561 University Drive Suite 102                              Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4835
                                                                   Is the claim subject to offset?     No       Yes

3.704    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BERG & WHEELER PA                                            Contingent
         217 E. Robertson Street                                      Unliquidated
         Brandon, FL 33511-4937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4664
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 101 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 109 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.705    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         BERGER SINGERMAN                                             Contingent
         201 E. Las Olas Boulevard                                    Unliquidated
         Suite 1500
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8374                      Is the claim subject to offset?     No       Yes

3.706    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         BERGMAN & JACOBS PA                                          Contingent
         2001 Hollywood Boulevard                                     Unliquidated
         Suite 200
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6153                      Is the claim subject to offset?     No       Yes

3.707    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,423.17
         BERKELL & BERKELL-RAFFERTY                                   Contingent
         1463 Southwest 156th Way                                     Unliquidated
         Pembroke Pines, FL 33027                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1589
                                                                   Is the claim subject to offset?     No       Yes

3.708    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BERLIN LAW FIRM PA                                           Contingent
         1819 Main Street Suite 302                                   Unliquidated
         Sarasota, FL 34236-5936
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8526
                                                                   Is the claim subject to offset?     No       Yes

3.709    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         BERLIN-PATTEN PLLC                                           Contingent
         3700 S. Tamiami Trail                                        Unliquidated
         Suite 200
                                                                      Disputed
         Sarasota, FL 34239
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6525                      Is the claim subject to offset?     No       Yes

3.710    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Berman and Berman, P.A.                                      Contingent
         9560 Southwest 107th Avenue Suite 208                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6932
                                                                   Is the claim subject to offset?     No       Yes

3.711    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         BERMAN RENNERT VOGEL & MANDLER                               Contingent
         Bank of America Tower                                        Unliquidated
         100 SE 2nd Street, Suite 2900
                                                                      Disputed
         Miami, FL 33131-2130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8987                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 102 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 110 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.712    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BERMAN WOLFE & RENNERT                                       Contingent
         8241 Southwest 89th Street                                   Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4885
                                                                   Is the claim subject to offset?     No       Yes

3.713    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Bernard and Auguste, P.A.                                    Contingent
         100 E Linton Boulevard                                       Unliquidated
         Suite 207-B
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8038                      Is the claim subject to offset?     No       Yes

3.714    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD C O'NEILL PA                                         Contingent
         P.O. Box 608557                                              Unliquidated
         Orlando, FL 32860-8557
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6400
                                                                   Is the claim subject to offset?     No       Yes

3.715    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD D SOMMERS                                            Contingent
         1545 Mayflower Court                                         Unliquidated
         Winter Pak, FL 32792
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5522
                                                                   Is the claim subject to offset?     No       Yes

3.716    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BERNARD D STEIN                                              Contingent
         Southeast Financial Center                                   Unliquidated
         200 S. Biscayne Boulevard, Suite 3200
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4926                      Is the claim subject to offset?     No       Yes

3.717    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD E. KAYWELL                                           Contingent
         20 Yacht Club Drive Suite 104                                Unliquidated
         North Palm Beach, FL 33408-3974
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2760
                                                                   Is the claim subject to offset?     No       Yes

3.718    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BERNARD F SUPERSTEIN                                         Contingent
         P.O. Box 190203                                              Unliquidated
         Miami Beach, FL 33119
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7310
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 103 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 111 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.719    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD H BUTTS JR                                           Contingent
         1790 W 49th Street Suite 210                                 Unliquidated
         Hialeah, FL 33012-2916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3740
                                                                   Is the claim subject to offset?     No       Yes

3.720    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD H STRASSER                                           Contingent
         116 E Granada Boulevard                                      Unliquidated
         Ormond Beach, FL 32176-6630
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2106
                                                                   Is the claim subject to offset?     No       Yes

3.721    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BERNARD J KESSLER                                            Contingent
         P.O. Box 880107                                              Unliquidated
         Boca Raton, FL 33488-0107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8797
                                                                   Is the claim subject to offset?     No       Yes

3.722    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BERNARD J MARTIN                                             Contingent
         2645 Beverly Avenue                                          Unliquidated
         Winter Park, FL 32789-2806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0115
                                                                   Is the claim subject to offset?     No       Yes

3.723    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD L. JAFFE                                             Contingent
         9480 S.W. 89th St.                                           Unliquidated
         Miami, FL 33176-1963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4537
                                                                   Is the claim subject to offset?     No       Yes

3.724    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD MARCUS                                               Contingent
         10301 S Glen Road                                            Unliquidated
         Potomac, MD 20854-4111
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6684
                                                                   Is the claim subject to offset?     No       Yes

3.725    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERNARD NACHMAN                                              Contingent
         1719 Blanding Boulevard                                      Unliquidated
         Jacksonville, FL 32210-1946
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2940
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 104 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 112 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.726    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BERNARD STERNBERG                                            Contingent
         11555 Heron Bay Boulevard                                    Unliquidated
         Suite 200
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5254                      Is the claim subject to offset?     No       Yes

3.727    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BERNSTEIN HODSDON TANNEN &                                   Contingent
         2700 N. Military Trail                                       Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6170                      Is the claim subject to offset?     No       Yes

3.728    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         BERNSTEIN SHERR ET AL                                        Contingent
         Attn: Sy Sherr                                               Unliquidated
         523 S Washington Boulevard
                                                                      Disputed
         Sarasota, FL 34236-7104
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2890                      Is the claim subject to offset?     No       Yes

3.729    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         BERNTSSON ITTERSAGEN GUNDERSON                               Contingent
         1861 Placida Road                                            Unliquidated
         Manor Pointe Professional Center Suite 2
                                                                      Disputed
         Englewood, FL 34223-4900
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7748                      Is the claim subject to offset?     No       Yes

3.730    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,523.30
         BERRIEN H BECKS SR                                           Contingent
         Berrien H. Becks SR P.A.                                     Unliquidated
         P.O. Drawer 2140                                             Disputed
         Daytona Beach, FL 32115-2140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0032                      Is the claim subject to offset?     No       Yes


3.731    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BERRIO & BERRIO PA                                           Contingent
         Berrio & Berrio P.A.                                         Unliquidated
         2333 Brickell Avenue Suite A1
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2570                      Is the claim subject to offset?     No       Yes

3.732    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BERROCAL & WILKINS                                           Contingent
         106 Carmela Court                                            Unliquidated
         Jupiter, FL 33478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4263
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 105 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 113 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.733    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.00
         BERT R OLIVER PA                                             Contingent
         1191 E Newport Center Drive                                  Unliquidated
         Suite Ph-C
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0020                      Is the claim subject to offset?     No       Yes

3.734    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BERTLEY SAGER                                                Contingent
         P.O. Box 43-1495                                             Unliquidated
         Miami, FL 33243-1495
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 895
                                                                   Is the claim subject to offset?     No       Yes

3.735    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BETANCOURT MENA & ASSOCIATES                                 Contingent
         19 W Flagler Street Suite 720                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9559
                                                                   Is the claim subject to offset?     No       Yes

3.736    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETH B WILLIAMS PA                                           Contingent
         1306 Cormorant Road                                          Unliquidated
         Delray Beach, FL 33444
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7690
                                                                   Is the claim subject to offset?     No       Yes

3.737    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETH E LINZNER                                               Contingent
         2295 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8421
                                                                   Is the claim subject to offset?     No       Yes

3.738    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETH S SCHICK                                                Contingent
         538 E Washington Street                                      Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7972
                                                                   Is the claim subject to offset?     No       Yes

3.739    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BETH S WILSON PA                                             Contingent
         2674 West Lake Road                                          Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8234
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 106 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 114 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.740    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETH W MILLER                                                Contingent
         645 Vassar Street                                            Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3626
                                                                   Is the claim subject to offset?     No       Yes

3.741    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETH-ANN SCHULMAN LLC                                        Contingent
         921 Powhatan Drive                                           Unliquidated
         Sanford, FL 32771-7023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3638
                                                                   Is the claim subject to offset?     No       Yes

3.742    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETHONY BRENMAN                                              Contingent
         P.O. Box 561168                                              Unliquidated
         Miami, FL 33256-1168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8706
                                                                   Is the claim subject to offset?     No       Yes

3.743    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETSY L RUFF                                                 Contingent
         4010 Newberry Road Suite G                                   Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6792
                                                                   Is the claim subject to offset?     No       Yes

3.744    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETSY S HOLTON PA                                            Contingent
         24322 Lanning Drive                                          Unliquidated
         Katy, TX 77493-2335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1907
                                                                   Is the claim subject to offset?     No       Yes

3.745    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BETTE BARON                                                  Contingent
         11615 Northeast 21st Drive                                   Unliquidated
         North Miami, FL 33181-3209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2589
                                                                   Is the claim subject to offset?     No       Yes

3.746    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BETTERTON TYLER & SUMMONTE PL                                Contingent
         735 E. Venice Avenue                                         Unliquidated
         Suite 200
                                                                      Disputed
         Venice, FL 34285
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7614                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 107 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 115 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.747    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BETTY HYMAN                                                  Contingent
         80 Southwest 8th Street Suite 2000                           Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6187
                                                                   Is the claim subject to offset?     No       Yes

3.748    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BEVERLEY A LINTON-DAVIS                                      Contingent
         5921 Hollywood Boulevard Suite 1                             Unliquidated
         Hollywood, FL 33021-6328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0604
                                                                   Is the claim subject to offset?     No       Yes

3.749    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BEVERLY A MORRIS                                             Contingent
         Suite B                                                      Unliquidated
         2603 Southeast 17th Street
                                                                      Disputed
         Ocala, FL 34471
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1764                      Is the claim subject to offset?     No       Yes

3.750    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         BEVIN G RITCH                                                Contingent
         P.O. Box 1025                                                Unliquidated
         Gainesville, FL 32602-1025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2980
                                                                   Is the claim subject to offset?     No       Yes

3.751    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BIANCA ANN SHOUCAIR                                          Contingent
         290 Northwest 165th Street Suite M-600                       Unliquidated
         North Miami Beach, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8633
                                                                   Is the claim subject to offset?     No       Yes

3.752    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BILIRAKIS LAW GROUP LLC                                      Contingent
         33715 US Highway 19 N                                        Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2531
                                                                   Is the claim subject to offset?     No       Yes

3.753    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BILL A CORBIN                                                Contingent
         P.O. Box 432                                                 Unliquidated
         Blountstown, FL 32424-0432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4490
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 108 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 116 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.754    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $285.50
         BILL A. FLEMING                                              Contingent
         P.O. Box 3                                                   Unliquidated
         St. Augustine, FL 32085-0003                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7079
                                                                   Is the claim subject to offset?     No       Yes

3.755    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BILL MCFARLAND PA                                            Contingent
         P.O. Box 101612                                              Unliquidated
         Cape Coral, FL 33910
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6606
                                                                   Is the claim subject to offset?     No       Yes

3.756    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $41.66
         BILL NELSON                                                  Contingent
         4083 Walnut Cove Circle                                      Unliquidated
         Fairfax, VA 22033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7460
                                                                   Is the claim subject to offset?     No       Yes

3.757    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         BILL T SMITH JR PA                                           Contingent
         980 N. Federal Highway                                       Unliquidated
         Suite 402
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6823                      Is the claim subject to offset?     No       Yes

3.758    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BILLS-REDON PA                                               Contingent
         4947 Palm Avenue N                                           Unliquidated
         Winter Park, FL 32792
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4538
                                                                   Is the claim subject to offset?     No       Yes

3.759    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BILLY R READY PA                                             Contingent
         P.O. Box 1399                                                Unliquidated
         Auburndale, FL 33823-1363
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7469
                                                                   Is the claim subject to offset?     No       Yes

3.760    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         BILZIN SUMBERG BAENA PRICE                                   Contingent
         Attn: Carlos Ramirez - Accounting Depart                     Unliquidated
         1450 Brickell Avenue, Suite 2300
                                                                      Disputed
         Miami, FL 33131-3456
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9715                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 109 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 117 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.761    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         BIRD & SPARKMAN PL                                           Contingent
         170 N. Waukeenah Street                                      Unliquidated
         Monticello, FL 32344
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3581
                                                                   Is the claim subject to offset?     No       Yes

3.762    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         BIRR & GRIFFITH PA                                           Contingent
         Birr & Griffith P.A.                                         Unliquidated
         2881 E. Oakland Park Boulevard, Suite 21
                                                                      Disputed
         Ft Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4920                      Is the claim subject to offset?     No       Yes

3.763    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BISORDI & BISORDI PA                                         Contingent
         20 Cherokee Road                                             Unliquidated
         Shalimar, FL 32579-1292
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6006
                                                                   Is the claim subject to offset?     No       Yes

3.764    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BIVINS & HEMENWAY PA                                         Contingent
         1060 Bloomingdale Avenue                                     Unliquidated
         Valrico, FL 33596
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4105
                                                                   Is the claim subject to offset?     No       Yes

3.765    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Blackbird Law, P.A.                                          Contingent
         390 N. Orange Avenue                                         Unliquidated
         Suite 2300
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9174                      Is the claim subject to offset?     No       Yes

3.766    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BlackRock Title Group, LLC                                   Contingent
         6750 North Andrews Avenue                                    Unliquidated
         Suite 200
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1473                      Is the claim subject to offset?     No       Yes

3.767    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLACKWELL & WALKER PA                                        Contingent
         One E Broward Boulevard Suite 910                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 371
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 110 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 118 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.768    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         BLACKWELL SANDERS PEPER MARTIN                               Contingent
         Attn: Martin L. Hecht                                        Unliquidated
         720 Olive Street Suite 2400
                                                                      Disputed
         St Louis, MI 63101
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7939                      Is the claim subject to offset?     No       Yes

3.769    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Blackwell Vishio & Fisher, P.L.L.C.                          Contingent
         801 Anchor Rode Drive                                        Unliquidated
         Suite 203A
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9987                      Is the claim subject to offset?     No       Yes

3.770    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BLADE & BLADE PA                                             Contingent
         515 S. Federal Hwy.                                          Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5655
                                                                   Is the claim subject to offset?     No       Yes

3.771    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Blade Title Company                                          Contingent
         210 SW Natura Avenue                                         Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5064
                                                                   Is the claim subject to offset?     No       Yes

3.772    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BLAIR A RAFFEL                                               Contingent
         2600 S Kanner Highway Apt F-7                                Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4860
                                                                   Is the claim subject to offset?     No       Yes

3.773    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,442.53
         BLAIR I ZIMMETT PA                                           Contingent
         9200 S Dadeland Boulevard Suite 308                          Unliquidated
         Miami, FL 33156-2703                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1508
                                                                   Is the claim subject to offset?     No       Yes

3.774    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLAIR M JOHNSON PA                                           Contingent
         425 S. Dillard Street                                        Unliquidated
         Winter Garden, FL 34787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7631
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 111 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 119 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.775    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLAKE M CARLTON                                              Contingent
         3045 N Federal Highway                                       Unliquidated
         Ft Lauderdale, FL 33306-1415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5246
                                                                   Is the claim subject to offset?     No       Yes

3.776    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,486.75
         BLALOCK WALTERS HELD & JOHNSON                               Contingent
         Attn: Linda Taylor                                           Unliquidated
         P.O. Box 469                                                 Disputed
         Bradenton, FL 34206-0469
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3700                      Is the claim subject to offset?     No       Yes


3.777    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BLANCHARD MERRIAM ADEL &                                     Contingent
         P.O. Box 1869                                                Unliquidated
         Ocala, FL 34478-1869
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5008
                                                                   Is the claim subject to offset?     No       Yes

3.778    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLANCK & PERRY PA                                            Contingent
         5730 Southwest 74th Street Suite 700                         Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8442
                                                                   Is the claim subject to offset?     No       Yes

3.779    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLANCO DE VERA LLC                                           Contingent
         2103 Coral Way                                               Unliquidated
         Suite 815
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2080                      Is the claim subject to offset?     No       Yes

3.780    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BLANCO LAW PA                                                Contingent
         11160 N Kendall Drive                                        Unliquidated
         Suite 102
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3999                      Is the claim subject to offset?     No       Yes

3.781    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         BLANK ROME COMISKY & MCCAULEY                                Contingent
         500 East Broward Boulevard                                   Unliquidated
         Suite 2100
                                                                      Disputed
         Ft. Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6573                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 112 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 120 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.782    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Blankenship Jordan, P.A.                                     Contingent
         1138 Main Street                                             Unliquidated
         Chipley, FL 32428
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0551
                                                                   Is the claim subject to offset?     No       Yes

3.783    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLANKENSHIP LAW FIRM PA                                      Contingent
         Suite 108                                                    Unliquidated
         1300 Marsh Landing Parkway
                                                                      Disputed
         Jacksonville Beach, FL 32250
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6012                      Is the claim subject to offset?     No       Yes

3.784    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         BLASS & FRANKEL PA                                           Contingent
         SunTrust International Center                                Unliquidated
         1 SE 3rd Avenue, Suite 1210
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6495                      Is the claim subject to offset?     No       Yes

3.785    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BLAXBERG & ASSOCIATES                                        Contingent
         2047 5th Avenue N.                                           Unliquidated
         St Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3030
                                                                   Is the claim subject to offset?     No       Yes

3.786    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BLAXBERG GRAYSON KUKOFF &                                    Contingent
         SUITE 730 INGRAHAM BLDG                                      Unliquidated
         25 SE 2ND AVE
                                                                      Disputed
         MIAMI, FL 33131-1506
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8659                      Is the claim subject to offset?     No       Yes

3.787    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         BLOCK & COLUCCI PA                                           Contingent
         4425 Military Trail                                          Unliquidated
         Suite 200
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7422                      Is the claim subject to offset?     No       Yes

3.788    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BLOOM & MINSKER PL                                           Contingent
         1110 Brickell Avenue Suite 700                               Unliquidated
         Miami, FL 33131-3136
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3318
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 113 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 121 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.789    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         BLOOMGARDEN GOUDREAU & ROSEN                                 Contingent
         151 N Nob Hill Road Suite 305                                Unliquidated
         Plantation, FL 33322-4007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4181
                                                                   Is the claim subject to offset?     No       Yes

3.790    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BLUCHER LAW GROUP                                            Contingent
         7300 Delainey Court                                          Unliquidated
         Sarasota, FL 34240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8485
                                                                   Is the claim subject to offset?     No       Yes

3.791    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Blue-Chip Title, L.L.C.                                      Contingent
         3106 Alt US 19 N Suite B                                     Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9466
                                                                   Is the claim subject to offset?     No       Yes

3.792    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BOB BURKHALTER                                               Contingent
         5255 S Atlantic Suite 204                                    Unliquidated
         New Smyrna Beach, FL 32169-4559
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3071
                                                                   Is the claim subject to offset?     No       Yes

3.793    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOB J HOWELL                                                 Contingent
         8551 W. Sunrise Boulevard                                    Unliquidated
         Suite 207
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8720                      Is the claim subject to offset?     No       Yes

3.794    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BOBBY G WOMBLES                                              Contingent
         200 W Vine Street Suite 620                                  Unliquidated
         Lexington, KY 40507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5444
                                                                   Is the claim subject to offset?     No       Yes

3.795    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BOBO SPICER CIOTOLI & FULFORD                                Contingent
         1555 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 910
                                                                      Disputed
         West Palm Beach, FL 33401-2328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4223                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 114 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 122 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.796    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         BODZIN & BODZIN                                              Contingent
         1031 Ives Dairy Road Suite 228                               Unliquidated
         North Miami Beach, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7329
                                                                   Is the claim subject to offset?     No       Yes

3.797    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Bogani & Robes, P.L.L.C.                                     Contingent
         117 Northeast 5th Avenue Suite A                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6600
                                                                   Is the claim subject to offset?     No       Yes

3.798    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         BOGIN MUNNS & MUNNS PA                                       Contingent
         Gateway Center                                               Unliquidated
         1000 Legion Place, Suite 1000
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5637                      Is the claim subject to offset?     No       Yes

3.799    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         BOGOSIAN & POWER CHARTERED                                   Contingent
         1413 21st Street Suite A                                     Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3529
                                                                   Is the claim subject to offset?     No       Yes

3.800    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BOIES SCHILLER & FLEXNER LLP                                 Contingent
         100 Southeast 2nd Street Suite 2800                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6154
                                                                   Is the claim subject to offset?     No       Yes

3.801    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,648.32
         BOIES SCHILLER & FLEXNER LLP                                 Contingent
         2435 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3398
                                                                   Is the claim subject to offset?     No       Yes

3.802    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOLANOS TRUXTON PA                                           Contingent
         2121 PONCE DELEON BLVD #950                                  Unliquidated
         CORAL GABLES, FL 33134-5218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0664
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 115 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 123 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.803    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BOLZ & BOLZ                                                  Contingent
         5 Harvard Circle                                             Unliquidated
         Suite 100
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2424                      Is the claim subject to offset?     No       Yes

3.804    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BOND & DOMB PA                                               Contingent
         Suite 200 Realtor Building                                   Unliquidated
         701 Promenade Drive
                                                                      Disputed
         Pembroke Pines, FL 33026-3999
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7777                      Is the claim subject to offset?     No       Yes

3.805    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         BOND ARNETT PHELAN SMITH &                                   Contingent
         1309 SE 25th Loop                                            Unliquidated
         Suite 101
                                                                      Disputed
         Ocala, FL 34471
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7147                      Is the claim subject to offset?     No       Yes

3.806    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         BOND SCHOENECK & KING                                        Contingent
         2 E Camino Real Suite 250                                    Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7694
                                                                   Is the claim subject to offset?     No       Yes

3.807    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOND SCHOENECK & KING PLLC                                   Contingent
         4001 Tamiami Trail N.                                        Unliquidated
         Suite 105
                                                                      Disputed
         Naples, FL 34103-3555
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8308                      Is the claim subject to offset?     No       Yes

3.808    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $650.00
         BOND SCHOENECK & KING PLLC                                   Contingent
         Northern Building Suite 150                                  Unliquidated
         4001 Tamiami Trail N
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8308                      Is the claim subject to offset?     No       Yes

3.809    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BONDURANT & FUQUA PA                                         Contingent
         P.O. Box 1508                                                Unliquidated
         Marianna, FL 32447
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0122
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 116 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 124 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.810    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Bonner & Bonner, P.A.                                        Contingent
         280 Crystal Grove Boulevard                                  Unliquidated
         Lutz, FL 33548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7790
                                                                   Is the claim subject to offset?     No       Yes

3.811    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BONNEY & SMALLWOOD PA                                        Contingent
         P.O. Box 737                                                 Unliquidated
         Panama City, FL 32402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6020
                                                                   Is the claim subject to offset?     No       Yes

3.812    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BONNIE BLAIRE                                                Contingent
         2801 Ponce De Leon Blvd.                                     Unliquidated
         Suite 550
                                                                      Disputed
         Coral Gables, FL 33134-6920
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7235                      Is the claim subject to offset?     No       Yes

3.813    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BONNIE L RODDENBERRY                                         Contingent
         285 Rada Court                                               Unliquidated
         Coral Gables, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7590
                                                                   Is the claim subject to offset?     No       Yes

3.814    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BONNIE MAHON MARTIN                                          Contingent
         5425 Theresa Road Suite B                                    Unliquidated
         Tampa, FL 33615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2171
                                                                   Is the claim subject to offset?     No       Yes

3.815    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BOOKER & ASSOCIATES PA                                       Contingent
         1019 Town Center Drive                                       Unliquidated
         Suite 201
                                                                      Disputed
         Orange City, FL 32763
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6122                      Is the claim subject to offset?     No       Yes

3.816    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,502.89
         BOONE BOONE BOONE KODA & FROOK                               Contingent
         P.O. Box 1596                                                Unliquidated
         Venice, FL 34284-1596                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1216
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 117 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 125 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.817    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,089.27
         BOOTH & COOK PA                                              Contingent
         3030 Starkey Boulevard                                       Unliquidated
         Suite 100                                                    Disputed
         Trinity, FL 34655
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7389                      Is the claim subject to offset?     No       Yes


3.818    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BORBOLLA & FERNANDEZ PA                                      Contingent
         7700 N Kendall Drive Suite 705                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8940
                                                                   Is the claim subject to offset?     No       Yes

3.819    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BORBON & ASSOCIATES PA                                       Contingent
         814 Ponce De Leon Boulevard Suite 300                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6410
                                                                   Is the claim subject to offset?     No       Yes

3.820    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BORDELON GREENE & LYNCHARD PL                                Contingent
         Bordelon Law Firm PL                                         Unliquidated
         2721 Gulf Breeze Parkway
                                                                      Disputed
         Gulf Breeze, FL 32563
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4218                      Is the claim subject to offset?     No       Yes

3.821    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Borders Title Agency Fl, Inc.                                Contingent
         601 S Federal Highway Suite 303                              Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9971
                                                                   Is the claim subject to offset?     No       Yes

3.822    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,195.43
         BORNSTEIN & PETREE PA                                        Contingent
         501 N Magnolia Avenue Suite A                                Unliquidated
         Orlando, FL 32801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 345
                                                                   Is the claim subject to offset?     No       Yes

3.823    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,624.56
         BOSSO BOSSO & PARDO                                          Contingent
         2428 Broadway Avenue                                         Unliquidated
         Riviera Beach, FL 33404                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 773
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 118 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 126 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.824    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $841.35
         BOSWELL & DUNLAP LLP                                         Contingent
         P.O. Drawer 30                                               Unliquidated
         Bartow, FL 33831-0030                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3169
                                                                   Is the claim subject to offset?     No       Yes

3.825    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BOULDIN & ASSOCIATES PA                                      Contingent
         6424 Central Avenue                                          Unliquidated
         St Petersburg, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4003
                                                                   Is the claim subject to offset?     No       Yes

3.826    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Boutique Concierge Title, LLC                                Contingent
         5846 S. Flamingo Road,                                       Unliquidated
         Suite 335
                                                                      Disputed
         Cooper City, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0836                      Is the claim subject to offset?     No       Yes

3.827    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bowen & Schroth, P.A.                                        Contingent
         600 Jennings Avenue                                          Unliquidated
         Eustis, FL 32726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8807
                                                                   Is the claim subject to offset?     No       Yes

3.828    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BOWEN RADSON SCHROTH PA                                      Contingent
         501 E. 5th Avenue                                            Unliquidated
         Mount Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5156
                                                                   Is the claim subject to offset?     No       Yes

3.829    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOWER LAW FIRM PA                                            Contingent
         11828 Southwest 77th Terrace                                 Unliquidated
         Miami, FL 33183-3830
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8167
                                                                   Is the claim subject to offset?     No       Yes

3.830    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,899.53
         BOWMAN GEORGE SCHEB & TOALE PA                               Contingent
         2750 Ringling Boulevard                                      Unliquidated
         Suite 3                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1326                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 119 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 127 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.831    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOWMAN LAW FIRM LLC                                          Contingent
         P.O. Box 6944                                                Unliquidated
         Miramar Beach, FL 32550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8593
                                                                   Is the claim subject to offset?     No       Yes

3.832    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Boyd & Jenerette, P.A.                                       Contingent
         801 Brickell Avenue Suite 1440                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7714
                                                                   Is the claim subject to offset?     No       Yes

3.833    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         BOYD DURANT & SLIGER PL                                      Contingent
         1407 Piedmont Drive E                                        Unliquidated
         Suite C
                                                                      Disputed
         Tallahassee, FL 32308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5107                      Is the claim subject to offset?     No       Yes

3.834    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOYER LAW OFFICE PLLC                                        Contingent
         9471 Baymeadows Road Suite 404                               Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6342
                                                                   Is the claim subject to offset?     No       Yes

3.835    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOYES & FARINA PA                                            Contingent
         Centurion Plaza                                              Unliquidated
         1601 Forum Pl Suite 900
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8944                      Is the claim subject to offset?     No       Yes

3.836    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BOYETTE CUMMINS & NAILOS PA                                  Contingent
         1635 E Highway 50 Suite 300                                  Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6114
                                                                   Is the claim subject to offset?     No       Yes

3.837    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,214.31
         BOYETTE CUMMINS & NAILOS PA                                  Contingent
         1635 E. Highway 50                                           Unliquidated
         Suite 300                                                    Disputed
         Clermont, FL 34711
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6114                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 120 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 128 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.838    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Bozanic & Robinson, L.L.C.                                   Contingent
         2847 Hollywood Boulevard Suite 101                           Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9493
                                                                   Is the claim subject to offset?     No       Yes

3.839    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BOZANIC DOUGLAS PA                                           Contingent
         2331 N State Road 7                                          Unliquidated
         Suite 106
                                                                      Disputed
         Lauderdale Lakes, FL 33313
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3986                      Is the claim subject to offset?     No       Yes

3.840    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BOZEMAN JENKINS & MATHEWS PA                                 Contingent
         114 E Gregory Street                                         Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7356
                                                                   Is the claim subject to offset?     No       Yes

3.841    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRAD I SCHANDLER                                             Contingent
         6701 SUNSET DR STE 104                                       Unliquidated
         SOUTH MIAMI, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4997
                                                                   Is the claim subject to offset?     No       Yes

3.842    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bradham Benson Lindley Blevins Bayliss &                     Contingent
         4141 Central Avenue                                          Unliquidated
         St Petersberg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9918
                                                                   Is the claim subject to offset?     No       Yes

3.843    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY & BRADLEY                                            Contingent
         700 S Andrews Avenue Suite 200                               Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8085
                                                                   Is the claim subject to offset?     No       Yes

3.844    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY B EAVENSON PL                                        Contingent
         2000 PGA Boulevard                                           Unliquidated
         Suite 3200A
                                                                      Disputed
         Palm Beach Gardens, FL 33408-2722
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7271                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 121 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 129 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.845    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRADLEY D BRYANT                                             Contingent
         4851 Tamiami Trail N.                                        Unliquidated
         Suite 300
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0546                      Is the claim subject to offset?     No       Yes

3.846    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY E ESSMAN                                             Contingent
         136 4th Street N.                                            Unliquidated
         Suite 207
                                                                      Disputed
         St. Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4490                      Is the claim subject to offset?     No       Yes

3.847    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BRADLEY J WOOD PA                                            Contingent
         The Sterling Square Building                                 Unliquidated
         600 First Avenue N Suite 302
                                                                      Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0139                      Is the claim subject to offset?     No       Yes

3.848    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY K ALLEY                                              Contingent
         Marlowe & Weatherford P.A.                                   Unliquidated
         1150 Louisiana Avenue Suite 4
                                                                      Disputed
         Winter Park, FL 32789-2354
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4812                      Is the claim subject to offset?     No       Yes

3.849    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY K HANAFOURDE                                         Contingent
         10691 N Kendall Drive Suite 307                              Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1067
                                                                   Is the claim subject to offset?     No       Yes

3.850    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY W HOGREVE                                            Contingent
         100 Wallace Avenue Suite 310                                 Unliquidated
         Sarasota, FL 34237-6043
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2453
                                                                   Is the claim subject to offset?     No       Yes

3.851    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRADLEY W HOGREVE                                            Contingent
         950 S. Tamiami Trail                                         Unliquidated
         Suite 103
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2453                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 122 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 130 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.852    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Brammer, PLLC                                                Contingent
         4400 N. Federal Highway                                      Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0879                      Is the claim subject to offset?     No       Yes

3.853    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BRANDON J RAFOOL                                             Contingent
         1519 3rd Street SE                                           Unliquidated
         Winter Haven, FL 33880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9916
                                                                   Is the claim subject to offset?     No       Yes

3.854    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRANDT W DAVIS                                               Contingent
         2928 Columbiana Court Apt C                                  Unliquidated
         Birmingham, AL 35216
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2255
                                                                   Is the claim subject to offset?     No       Yes

3.855    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRANDY C GONZALEZ-ABREU                                      Contingent
         10743 SW 104th Street                                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2486
                                                                   Is the claim subject to offset?     No       Yes

3.856    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRANDY C HILL PA                                             Contingent
         P.O. Box 951121                                              Unliquidated
         Lake Mary, FL 32795-1121
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7688
                                                                   Is the claim subject to offset?     No       Yes

3.857    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         BRANNON BROWN HALEY & BULLOCK                                Contingent
         P.O. Box 1029                                                Unliquidated
         Lake City, FL 32056-1029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 446
                                                                   Is the claim subject to offset?     No       Yes

3.858    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,011.81
         BRANT & BALDWIN                                              Contingent
         330 Federal Highway                                          Unliquidated
         Lake Park, FL 33403-3554                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4047
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 123 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 131 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.859    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         BRASFIELD FULLER FREEMAN                                     Contingent
         2553 1st Avenue N.                                           Unliquidated
         St Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6365
                                                                   Is the claim subject to offset?     No       Yes

3.860    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Brasilio Fucci Machado, PL                                   Contingent
         14 Northeast 1st Avenue Suite 700                            Unliquidated
         Miami, FL 33132-2411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8552
                                                                   Is the claim subject to offset?     No       Yes

3.861    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BRAVERMAN & BOGEN                                            Contingent
         625 N.E. Third Avenue                                        Unliquidated
         Ft Lauderdale, FL 33304-2673
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6512
                                                                   Is the claim subject to offset?     No       Yes

3.862    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRAVERMAN HODES PL                                           Contingent
         1451 W Cypress Creek Road Suite 300                          Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9677
                                                                   Is the claim subject to offset?     No       Yes

3.863    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRAXTON R EZELL                                              Contingent
         1017 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4371
                                                                   Is the claim subject to offset?     No       Yes

3.864    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BREED & NUNNALLEE PA                                         Contingent
         325 N. Commerce Avenue                                       Unliquidated
         Sebring, FL 33870-3206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2402
                                                                   Is the claim subject to offset?     No       Yes

3.865    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BREEZI K STANISLAUS PA                                       Contingent
         364 Pasco Court                                              Unliquidated
         Winter Haven, FL 33884
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1755
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 124 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 132 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.866    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRENDA COKER WILSON GARRETSON                                Contingent
         P.O. Box 887                                                 Unliquidated
         Marco Island, FL 34146-0887
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7049
                                                                   Is the claim subject to offset?     No       Yes

3.867    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRENDA DIIOIA PA                                             Contingent
         4301 S Flamingo Suite 103-151                                Unliquidated
         Davie, FL 33330-1902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4031
                                                                   Is the claim subject to offset?     No       Yes

3.868    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRENDA LEE HAMILTON                                          Contingent
         555 S Federal Highway Suite 270                              Unliquidated
         Boca Raton, FL 33432-5504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2377
                                                                   Is the claim subject to offset?     No       Yes

3.869    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRENDAN HENEGHAN                                             Contingent
         800 Village Square Crossing                                  Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7297
                                                                   Is the claim subject to offset?     No       Yes

3.870    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRENT BARIS                                                  Contingent
         212 N. Marion Avenue                                         Unliquidated
         Lake City, FL 32055
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5196
                                                                   Is the claim subject to offset?     No       Yes

3.871    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRENT D. ARMSTRONG                                           Contingent
         1345 Missouri Avenue So.                                     Unliquidated
         Clearwater, FL 34616-3559
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4021
                                                                   Is the claim subject to offset?     No       Yes

3.872    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BRETON LYNCH EUBANKS &                                       Contingent
         605 N. Olive Avenue                                          Unliquidated
         2nd Floor
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6231                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 125 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 133 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.873    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRETT LEWIS SWIGERT                                          Contingent
         P.O. Box 680                                                 Unliquidated
         Eustis, FL 32727-0680
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8957
                                                                   Is the claim subject to offset?     No       Yes

3.874    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BREWER LAW LLC                                               Contingent
         P.O. Box 568923                                              Unliquidated
         Orlando, FL 32856
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6569
                                                                   Is the claim subject to offset?     No       Yes

3.875    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BREWER PEROTTI                                               Contingent
         400 N Tampa Street Suite 2600                                Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes

3.876    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,737.20
         BRIAN C DEUSCHLE CHARTERED                                   Contingent
         888 Southeast 3rd Avenue Suite 300                           Unliquidated
         Ft Lauderdale, FL 33316                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3859
                                                                   Is the claim subject to offset?     No       Yes

3.877    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN C PERLIN                                               Contingent
         201 Alhambra Circle Suite 503                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3942
                                                                   Is the claim subject to offset?     No       Yes

3.878    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRIAN C POWERS                                               Contingent
         2328 10th Avenue N Suite 6a                                  Unliquidated
         Lake Worth, FL 33461-6617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7039
                                                                   Is the claim subject to offset?     No       Yes

3.879    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN DAVID SMITH                                            Contingent
         420 Lincoln Road                                             Unliquidated
         Suite 248
                                                                      Disputed
         Miami Beach, FL 33139-3015
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8589                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 126 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 134 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.880    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN DAVIS ESQUIRE                                          Contingent
         777 Brickell Avenue Suite 400                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1713
                                                                   Is the claim subject to offset?     No       Yes

3.881    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN E PORT                                                 Contingent
         12000 Biscayne Boulevard Suite 500                           Unliquidated
         Miami, FL 33101
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7777
                                                                   Is the claim subject to offset?     No       Yes

3.882    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRIAN E. JOHNSON                                             Contingent
         7190 Seminole Boulevard                                      Unliquidated
         Seminole, FL 34642-5935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7148
                                                                   Is the claim subject to offset?     No       Yes

3.883    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN F LEARY                                                Contingent
         2870 Northeast 28th Street                                   Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1409
                                                                   Is the claim subject to offset?     No       Yes

3.884    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRIAN H BIBEAU                                               Contingent
         P.O. Box 6526                                                Unliquidated
         Tallahassee, FL 32314-6526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5126
                                                                   Is the claim subject to offset?     No       Yes

3.885    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN J CABREY                                               Contingent
         4869 Ashley Manor Way W                                      Unliquidated
         Jacksonville, FL 32225-4040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9917
                                                                   Is the claim subject to offset?     No       Yes

3.886    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRIAN J DITTHARDT                                            Contingent
         495 Grand Boulevard                                          Unliquidated
         Suite 206
                                                                      Disputed
         Miramar Beach, FL 32550
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7836                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 127 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 135 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.887    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $483.16
         BRIAN J. FOGARTY                                             Contingent
         2919 E. Commercial Blvd.                                     Unliquidated
         2nd Floor                                                    Disputed
         Ft Lauderdale, FL 33308-4207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6370                      Is the claim subject to offset?     No       Yes


3.888    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN K DUFFEY                                               Contingent
         7601 North Federal Highway                                   Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6832
                                                                   Is the claim subject to offset?     No       Yes

3.889    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN K GILROY PA                                            Contingent
         5308-B Gulfport Boulevard                                    Unliquidated
         Gulfport, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2329
                                                                   Is the claim subject to offset?     No       Yes

3.890    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRIAN L KIMBER                                               Contingent
         120 S Olive Avenue Suite 311                                 Unliquidated
         West Palm Beach, FL 33401-5549
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7405
                                                                   Is the claim subject to offset?     No       Yes

3.891    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN M JONES                                                Contingent
         20 N Orange Avenue Suite 1000                                Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4947
                                                                   Is the claim subject to offset?     No       Yes

3.892    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN M MARK                                                 Contingent
         104 N Church Street                                          Unliquidated
         Kissimmee, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5772
                                                                   Is the claim subject to offset?     No       Yes

3.893    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Brian M. Walsh, Esquire P.A.                                 Contingent
         P.O. Box 2271                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8768
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 128 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 136 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.894    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BRIAN MICHAEL MARK PA                                        Contingent
         104 N Church Street                                          Unliquidated
         Kissimmee, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3930
                                                                   Is the claim subject to offset?     No       Yes

3.895    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN P O'SULLIVAN                                           Contingent
         1401 Southeast 8 Street                                      Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6128
                                                                   Is the claim subject to offset?     No       Yes

3.896    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRIAN R HANSON                                               Contingent
         P.O. Box 1886                                                Unliquidated
         Ormond Beach, FL 32175-1886
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8154
                                                                   Is the claim subject to offset?     No       Yes

3.897    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN R HERSH                                                Contingent
         1541 Brickell Avenue Suite C-1407                            Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4142
                                                                   Is the claim subject to offset?     No       Yes

3.898    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN R LOE                                                  Contingent
         3074 W Lake Mary Boulevard Suite 136                         Unliquidated
         Lake Mary, FL 32746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2172
                                                                   Is the claim subject to offset?     No       Yes

3.899    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN R TOUNG                                                Contingent
         947 Beville Road Suite 14                                    Unliquidated
         South Daytona, FL 32119-1765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9179
                                                                   Is the claim subject to offset?     No       Yes

3.900    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN S FREEMAN PA                                           Contingent
         4245 Fowler Street                                           Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6628
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 129 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 137 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.901    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN S KEIF                                                 Contingent
         600 Allendale Road                                           Unliquidated
         Key Biscayne, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2198
                                                                   Is the claim subject to offset?     No       Yes

3.902    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRIAN T HAYES                                                Contingent
         400 Willow Street                                            Unliquidated
         Monticello, FL 32344
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3899
                                                                   Is the claim subject to offset?     No       Yes

3.903    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN T LOWER                                                Contingent
         Orange Lake Country Club                                     Unliquidated
         8505 W Irlo Bronson Memorl Parkway
                                                                      Disputed
         Kissimmee, FL 34747-8201
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8280                      Is the claim subject to offset?     No       Yes

3.904    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIAN W BROAD                                                Contingent
         55 NE 5th Avenue                                             Unliquidated
         Suite 400
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8556                      Is the claim subject to offset?     No       Yes

3.905    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRIAN Y MILLER                                               Contingent
         2477 Stickney Point Road                                     Unliquidated
         Suite 107B
                                                                      Disputed
         Sarasota, FL 34231-4069
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8126                      Is the claim subject to offset?     No       Yes

3.906    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIBRIESCO LAW OFFICES                                       Contingent
         1928 Del Prado Boulevard                                     Unliquidated
         Cape Coral, FL 33990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0135
                                                                   Is the claim subject to offset?     No       Yes

3.907    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Brickell Law Group                                           Contingent
         1395 Brickell Avenue                                         Unliquidated
         Suite 800
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0653                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 130 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 138 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.908    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BRICKLEMYER SMOLKER & BOLVES                                 Contingent
         100 N Tampa Street Suite 2050                                Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9257
                                                                   Is the claim subject to offset?     No       Yes

3.909    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         BRIGHAM MOORE LLP                                            Contingent
         2525 Ponce De Leon Boulevard Suite 625                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6177
                                                                   Is the claim subject to offset?     No       Yes

3.910    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRIGHT & CHIMERA PA                                          Contingent
         135 Southeast 5th Avenue Suite 200                           Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4116
                                                                   Is the claim subject to offset?     No       Yes

3.911    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,134.30
         BRINKLEY MORGAN SOLOMON TATUM                                Contingent
         One Financial Plaza                                          Unliquidated
         100 SE 3rd Avenue, Suite 2300                                Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5201                      Is the claim subject to offset?     No       Yes


3.912    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Brionez + Brionez, P.A.                                      Contingent
         322 W. Burleigh Blvd.                                        Unliquidated
         Tavares, FL 32778
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0577
                                                                   Is the claim subject to offset?     No       Yes

3.913    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRITO LAW GROUP PLC                                          Contingent
         2722 Southwest 64th Avenue                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6244
                                                                   Is the claim subject to offset?     No       Yes

3.914    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BROAD AND CASSEL                                             Contingent
         Lynn Financial Center                                        Unliquidated
         1905 NW Corporate Boulevard, Suite 310
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4210                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 131 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 139 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.915    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $138,998.84
         BROAD AND CASSEL                                             Contingent
         One Biscayne Tower 21st Floor                                Unliquidated
         2 S Biscayne Boulevard                                       Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4210                      Is the claim subject to offset?     No       Yes


3.916    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Broad and Cassel, L.L.P.                                     Contingent
         390 N Orange Avenue Suite 1100                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4210
                                                                   Is the claim subject to offset?     No       Yes

3.917    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         Brock & Scott, P.L.L.C.                                      Contingent
         1315 Westbrook Plaza Dr.                                     Unliquidated
         Suite 100
                                                                      Disputed
         Winston-Salem, NC 27103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6999                      Is the claim subject to offset?     No       Yes

3.918    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BROD GOLDFARB & ASSOCIATES                                   Contingent
         50 Alhambra Circle Suite 106                                 Unliquidated
         Coral Gables, FL 33134-4698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4547
                                                                   Is the claim subject to offset?     No       Yes

3.919    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRODY & OBEIDY PA                                            Contingent
         11098 Biscayne Boulevard Suite 300                           Unliquidated
         Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9869
                                                                   Is the claim subject to offset?     No       Yes

3.920    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BROOKMYER HOCHMAN PROBST                                     Contingent
         500 S. Australian Avenue                                     Unliquidated
         Suite 650
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0265                      Is the claim subject to offset?     No       Yes

3.921    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BROOKS LAW FIRM PA                                           Contingent
         999 Brickell Avenue Suite 700                                Unliquidated
         Miami, FL 33131-3043
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8789
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 132 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 140 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.922    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Brown & Associates Law & Title, P.A.                         Contingent
         11373 Country Way Boulevard                                  Unliquidated
         Tampa, FL 33626
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0131
                                                                   Is the claim subject to offset?     No       Yes

3.923    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BROWN CLARK PA                                               Contingent
         P.O. Drawer 49887                                            Unliquidated
         Sarasota, FL 34230-6887
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7245
                                                                   Is the claim subject to offset?     No       Yes

3.924    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Brown Law Firm, PL                                           Contingent
         1540 International Parkway                                   Unliquidated
         Suite 2000
                                                                      Disputed
         Lake Mary, FL 32746
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1008                      Is the claim subject to offset?     No       Yes

3.925    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BROWN SUAREZ RIOS & RUHL PA                                  Contingent
         Attn: Michael J. Bakalar                                     Unliquidated
         265 E Marion Avenue Suite 114
                                                                      Disputed
         Punta Gorda, FL 33950-3715
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1662                      Is the claim subject to offset?     No       Yes

3.926    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BROWN VAN HORN & ASSOCIATES PA                               Contingent
         330 N Andrews Avenue Suite 450                               Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6161
                                                                   Is the claim subject to offset?     No       Yes

3.927    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BROWNING & SIRECI PA                                         Contingent
         529 Whitehead Street                                         Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8429
                                                                   Is the claim subject to offset?     No       Yes

3.928    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Browning Law Firm, P.A.                                      Contingent
         418 Racetrack Road NE                                        Unliquidated
         Suite B
                                                                      Disputed
         Fort Walton Beach, FL 32547
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0355                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 133 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 141 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.929    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BROWNSTONE PA                                                Contingent
         P.O. Box 2047                                                Unliquidated
         Winter Park, FL 32790-2047
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6319
                                                                   Is the claim subject to offset?     No       Yes

3.930    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE A KOEBE                                                Contingent
         2477 Northeast Dixie Highway                                 Unliquidated
         Jensen Beach, FL 34957-5959
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5078
                                                                   Is the claim subject to offset?     No       Yes

3.931    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE A. BEIHL                                               Contingent
         P.O. Box 5805                                                Unliquidated
         Sun City Center, FL 33571-5805
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3205
                                                                   Is the claim subject to offset?     No       Yes

3.932    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRUCE BRASHEAR                                               Contingent
         926 Northwest 13th Street                                    Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7940
                                                                   Is the claim subject to offset?     No       Yes

3.933    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE CULPEPPER                                              Contingent
         P.O. Box 10095                                               Unliquidated
         Tallahassee, FL 32302-2095
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2444
                                                                   Is the claim subject to offset?     No       Yes

3.934    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE D FRANKE                                               Contingent
         849 7th Avenue S Suite 101                                   Unliquidated
         Naples, FL 33940-6766
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4040
                                                                   Is the claim subject to offset?     No       Yes

3.935    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE D. LINCOLN                                             Contingent
         2701 East Sunrise Boulevard Suite 212                        Unliquidated
         Ft. Lauderdale, FL 33304-3218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8517
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 134 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 142 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.936    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE E WAGNER                                               Contingent
         2800 W Cypress Creek Road Suite 100                          Unliquidated
         Ft Lauderdale, FL 33309-1706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7334
                                                                   Is the claim subject to offset?     No       Yes

3.937    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BRUCE E WINTER                                               Contingent
         2300 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431-7359
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7611
                                                                   Is the claim subject to offset?     No       Yes

3.938    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $422.14
         BRUCE E. CLARY                                               Contingent
         Rt. 1, Box 120                                               Unliquidated
         Hot Springs, NC 28743-9710                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3692
                                                                   Is the claim subject to offset?     No       Yes

3.939    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bruce E. Loren, P.A.                                         Contingent
         DBA Loren & Kean Law                                         Unliquidated
         7111 Fairway Drive
                                                                      Disputed
         Palm Beach Gardens, FL 33418
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0226                      Is the claim subject to offset?     No       Yes

3.940    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BRUCE F IDEN PA                                              Contingent
         500 Sawgrass Corporate Parkway                               Unliquidated
         Suite 100
                                                                      Disputed
         Sunrise, FL 33325
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8753                      Is the claim subject to offset?     No       Yes

3.941    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE FRANKLIN SILVER                                        Contingent
         6100 Glades Road Suite 201                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3362
                                                                   Is the claim subject to offset?     No       Yes

3.942    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE G KALEITA                                              Contingent
         1615 Forum Pl Suite 500                                      Unliquidated
         West Palm Beach, FL 33401-2318
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4999
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 135 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 143 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.943    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE G KASSMAN                                              Contingent
         C/O Florida East Coast Realty                                Unliquidated
         100 S Biscayne Boulevard Suite 1100
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2187                      Is the claim subject to offset?     No       Yes

3.944    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE H HEST                                                 Contingent
         7777 Glades Road Suite 207b                                  Unliquidated
         Boca Raton, FL 33434-4150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4521
                                                                   Is the claim subject to offset?     No       Yes

3.945    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bruce Hornstein, P.A.                                        Contingent
         6961 Indian Creek Drive                                      Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7380
                                                                   Is the claim subject to offset?     No       Yes

3.946    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE I KAMELHAIR                                            Contingent
         2130 Northwest 45th Avenue                                   Unliquidated
         Coconut Creek, FL 33066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6406
                                                                   Is the claim subject to offset?     No       Yes

3.947    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE J BENENFELD                                            Contingent
         1625 N Commerce Parkway Suite 207                            Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6137
                                                                   Is the claim subject to offset?     No       Yes

3.948    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE J GOLDMAN                                              Contingent
         11042 Paradela Street                                        Unliquidated
         Coral Gables, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3925
                                                                   Is the claim subject to offset?     No       Yes

3.949    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE J KIRSCH                                               Contingent
         3800 S Ocean Drive Suite 217                                 Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5650
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 136 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 144 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.950    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE J ROBBINS                                              Contingent
         509 S Martin Luther King Jr.                                 Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0381
                                                                   Is the claim subject to offset?     No       Yes

3.951    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE J SMOLER                                               Contingent
         Smoler Lerman Bente Et Al P.A.                               Unliquidated
         2611 Hollywood Boulevard
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9772                      Is the claim subject to offset?     No       Yes

3.952    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BRUCE J SPERRY                                               Contingent
         1607 S Alexander Street Suite 101                            Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5801
                                                                   Is the claim subject to offset?     No       Yes

3.953    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Bruce J. Benenfeld                                           Contingent
         12829 Cariboo Ridge Road                                     Unliquidated
         Boynton Beach, FL 33473
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6137
                                                                   Is the claim subject to offset?     No       Yes

3.954    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE JONAS                                                  Contingent
         P.O. Box 341253                                              Unliquidated
         Tampa, FL 33694
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4868
                                                                   Is the claim subject to offset?     No       Yes

3.955    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE L FINEMAN                                              Contingent
         P.O. Box 741653                                              Unliquidated
         Boynton Beach, FL 33474-1653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6358
                                                                   Is the claim subject to offset?     No       Yes

3.956    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE L GLASKIN                                              Contingent
         9500 Park Lane                                               Unliquidated
         Plantation, FL 33324-3506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5326
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 137 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 145 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.957    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE L. SCHEINER                                            Contingent
         P.O. Box 06049                                               Unliquidated
         Fort Myers, FL 33906-6049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4114
                                                                   Is the claim subject to offset?     No       Yes

3.958    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRUCE LAMCHICK PA                                            Contingent
         9200 S Dadeland Boulevard Suite 518                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5400
                                                                   Is the claim subject to offset?     No       Yes

3.959    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE M BOUNDS                                               Contingent
         Law Offices of Bruce M Bounds                                Unliquidated
         1401 Brickell Avenue Suite 825
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8696                      Is the claim subject to offset?     No       Yes

3.960    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE M GOTTLIEB                                             Contingent
         Gottlieb & Gottlieb P.A.                                     Unliquidated
         125 N 46th Avenue
                                                                      Disputed
         Hollywood, FL 33021-6601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7415                      Is the claim subject to offset?     No       Yes

3.961    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BRUCE M LEVINE PA                                            Contingent
         One Lincoln Place Suite 205                                  Unliquidated
         1900 Glades Road
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7434                      Is the claim subject to offset?     No       Yes

3.962    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE M. GOLDBERG, P.A.                                      Contingent
         2100 Ponce De Leon Blvd.                                     Unliquidated
         Suite 1160
                                                                      Disputed
         Coral Gables, FL 33134-5200
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7952                      Is the claim subject to offset?     No       Yes

3.963    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $118.75
         BRUCE MARGER                                                 Contingent
         P.O. Box 3542                                                Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0298
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 138 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 146 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.964    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BRUCE P ANDERSON                                             Contingent
         Bruce P. Anderson P.A.                                       Unliquidated
         P.O. Box 10512
                                                                      Disputed
         Tallahassee, FL 32302-2512
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7825                      Is the claim subject to offset?     No       Yes

3.965    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE R ABERNETHY JR                                         Contingent
         Professional Center                                          Unliquidated
         900 Virginia Avenue Suite 6
                                                                      Disputed
         Ft Pierce, FL 34982
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2455                      Is the claim subject to offset?     No       Yes

3.966    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE R GLASSMAN                                             Contingent
         11442 Saxon Court                                            Unliquidated
         Jacksonville, FL 32223-1361
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8954
                                                                   Is the claim subject to offset?     No       Yes

3.967    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE S GOLDSTEIN                                            Contingent
         500 E Kennedy Boulevard Suite 101 A                          Unliquidated
         Tampa, FL 33602-4990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4697
                                                                   Is the claim subject to offset?     No       Yes

3.968    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE S KAUFMAN                                              Contingent
         2012 Twelve Oaks Trail                                       Unliquidated
         Ormond Beach, FL 32174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4896
                                                                   Is the claim subject to offset?     No       Yes

3.969    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE S ROSENWATER                                           Contingent
         1601 Forum Place                                             Unliquidated
         Suite 602
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8288                      Is the claim subject to offset?     No       Yes

3.970    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BRUCE S. BOYER                                               Contingent
         P O Box 4726                                                 Unliquidated
         Seminole, FL 34642-1726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6240
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 139 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 147 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.971    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUCE W FLOWER                                               Contingent
         511 N Maitland Avenue                                        Unliquidated
         Maitland, FL 32751-4421
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4674
                                                                   Is the claim subject to offset?     No       Yes

3.972    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BRUCE W PARRISH JR PA                                        Contingent
         1870 Forrest Hill Boulevard                                  Unliquidated
         Suite 203
                                                                      Disputed
         West Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8265                      Is the claim subject to offset?     No       Yes

3.973    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,088.24
         BRUNO DI GIULIAN & ASSOCIATES                                Contingent
         12045 Northwest 62nd Court                                   Unliquidated
         Coral Springs, FL 33076                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4668
                                                                   Is the claim subject to offset?     No       Yes

3.974    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUNO F DE ZAYAS                                             Contingent
         P.O. Box 6069                                                Unliquidated
         Lakeland, FL 33807-6069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2604
                                                                   Is the claim subject to offset?     No       Yes

3.975    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRUNOFORTE LAW OFFICES PA                                    Contingent
         10506 Spring Hill Drive                                      Unliquidated
         Spring Hill, FL 34608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2648
                                                                   Is the claim subject to offset?     No       Yes

3.976    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRYAN C GOODE III                                            Contingent
         320 1st Street N.                                            Unliquidated
         Suite 613
                                                                      Disputed
         Jacksonville Beach, FL 32250-6947
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5726                      Is the claim subject to offset?     No       Yes

3.977    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRYAN L ALBERS                                               Contingent
         11125 Park Boulevard Suite 104-101                           Unliquidated
         Seminole, FL 33772-4876
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1679
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 140 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 148 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.978    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRYAN S ADELINE PA                                           Contingent
         10018 W. McNab Road                                          Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9781
                                                                   Is the claim subject to offset?     No       Yes

3.979    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BRYANT & HIGBY CHARTERED                                     Contingent
         P.O. Box 860                                                 Unliquidated
         Panama City, FL 32402-0860
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9272
                                                                   Is the claim subject to offset?     No       Yes

3.980    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BRYANT MILLER & OLIVE PA                                     Contingent
         1545 Raymond Diehl Road                                      Unliquidated
         suite 300
                                                                      Disputed
         Tallahassee, FL 32308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5009                      Is the claim subject to offset?     No       Yes

3.981    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BUBLEY & BUBLEY PA                                           Contingent
         3820 Northdale Boulevard Suite 312-B                         Unliquidated
         Tampa, FL 33624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7935
                                                                   Is the claim subject to offset?     No       Yes

3.982    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Bucelo Law Group                                             Contingent
         6303 Blue Lagoon Drive                                       Unliquidated
         Suite 390
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9504                      Is the claim subject to offset?     No       Yes

3.983    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         BUCHANAN INGERSOLL PC                                        Contingent
         Attn: Idays Guallar (Invoices)                               Unliquidated
         401 E. Las Olas Boulevard, Suite 2250
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6503                      Is the claim subject to offset?     No       Yes

3.984    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         BUCHBINDER & ELEGANT, P.A.                                   Contingent
         46 S.W. First Street                                         Unliquidated
         4th Floor
                                                                      Disputed
         Miami, FL 33130-1610
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6162                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 141 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 149 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.985    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         BUCKINGHAM DOOLITTLE                                         Contingent
         5355 Town Center Road Suite 900                              Unliquidated
         Boca Raton, FL 33486-1069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0447
                                                                   Is the claim subject to offset?     No       Yes

3.986    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Buckley Madole, P.A.                                         Contingent
         4300 W Cypress Street Suite 160                              Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9198
                                                                   Is the claim subject to offset?     No       Yes

3.987    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BUCKMASTER & DUPONT PLC                                      Contingent
         912 S Ridgewood Avenue Suite D                               Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5695
                                                                   Is the claim subject to offset?     No       Yes

3.988    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BUDD BENNETT & MACIA                                         Contingent
         3033 Riviera Drive Suite 201                                 Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7854
                                                                   Is the claim subject to offset?     No       Yes

3.989    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BUETENS & BUETENS                                            Contingent
         Hobe Sound Building                                          Unliquidated
         8965 Bridge Road
                                                                      Disputed
         Hobe Sound, FL 33455-5325
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8498                      Is the claim subject to offset?     No       Yes

3.990    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BULL MORLAN SIMPSON &                                        Contingent
         111 N Orange Avenue Suite 1200                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0982
                                                                   Is the claim subject to offset?     No       Yes

3.991    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Burandt, Adamski, Feichthaler & Sanchez,                     Contingent
         1714 Cape Coral Parkway E.                                   Unliquidated
         Cape Coral, FL 33904-9659
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7860
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 142 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 150 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.992    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Burg Law Firm, P.A.                                          Contingent
         215 Harrison Avenue                                          Unliquidated
         Panama City Beach, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0600
                                                                   Is the claim subject to offset?     No       Yes

3.993    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BURGESS HARRELL MANCUSO                                      Contingent
         1776 Ringling Boulevard                                      Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7682
                                                                   Is the claim subject to offset?     No       Yes

3.994    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BURKARD LAW FIRM PA                                          Contingent
         World Plaza North Park Building 28                           Unliquidated
         12535 New Britany Boulevard
                                                                      Disputed
         Ft Myers, FL 33907
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6384                      Is the claim subject to offset?     No       Yes

3.995    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BURKE L RANDA PA                                             Contingent
         100 East Pine Street                                         Unliquidated
         Suite 110
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6208                      Is the claim subject to offset?     No       Yes

3.996    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BURNS & SEVERSON PA                                          Contingent
         Burns & Severson P.A.                                        Unliquidated
         400 Columbia Drive, Suite 100
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9999                      Is the claim subject to offset?     No       Yes

3.997    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $616.63
         BURR & FORMAN LLP                                            Contingent
         200 S. Orange Avenue                                         Unliquidated
         Suite 800
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7323                      Is the claim subject to offset?     No       Yes

3.998    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BURROWS & JESTER PA                                          Contingent
         P.O. Box 541196                                              Unliquidated
         Merritt Island, FL 32954-1196
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7466
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 143 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 151 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.999    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BURT & BURT                                                  Contingent
         220 S Ridgewood Avenue Suite 270                             Unliquidated
         Daytona Beach, FL 32114-4300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4057
                                                                   Is the claim subject to offset?     No       Yes

3.100
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         BURT E EISENBERG                                             Contingent
         7935 Airport Pulling Road N Suite 210                        Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6886
                                                                   Is the claim subject to offset?     No       Yes

3.100
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BURT SREBRENIK                                               Contingent
         8787 Southside Boulevard Suite 2016                          Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5609
                                                                   Is the claim subject to offset?     No       Yes

3.100
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         BURTON & BURTON PA                                           Contingent
         P.O. Drawer 1729                                             Unliquidated
         Wauchula, FL 33873-1729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5436
                                                                   Is the claim subject to offset?     No       Yes

3.100
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BURTON & LEE                                                 Contingent
         12555 Orange Drive                                           Unliquidated
         Suite 4025
                                                                      Disputed
         Davie, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6146                      Is the claim subject to offset?     No       Yes

3.100
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $90.09
         BURTON B LOEBL                                               Contingent
         P.O. Drawer L                                                Unliquidated
         N Miami Beach, FL 33160                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2894
                                                                   Is the claim subject to offset?     No       Yes

3.100
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,893.83
         BURTON D GREENFIELD                                          Contingent
         1699 Coral Way Suite 315                                     Unliquidated
         Coral Gables, FL 33145-2860                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3313
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 144 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 152 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         BURTON G SHARFF PA                                           Contingent
         2315 S Congress Avenue                                       Unliquidated
         West Palm Beach, FL 33406-7607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6364
                                                                   Is the claim subject to offset?     No       Yes

3.100
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BURTON H MARS                                                Contingent
         1995 E Oakland Park Boulevard Suite 310                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4808
                                                                   Is the claim subject to offset?     No       Yes

3.100
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BURTON LAW AND TITLE PL                                      Contingent
         151 Mary Esther Boulevard                                    Unliquidated
         Suite 502-A
                                                                      Disputed
         Mary Esther, FL 32569
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2756                      Is the claim subject to offset?     No       Yes

3.100
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BURZYNSKI LAW OFFICE PA                                      Contingent
         1124 Goodlette Road                                          Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4425
                                                                   Is the claim subject to offset?     No       Yes

3.101
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Busbin Law Firm, P.A.                                        Contingent
         2295 S. Hiawassee Road                                       Unliquidated
         Suite 207
                                                                      Disputed
         Orlando, FL 32835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0841                      Is the claim subject to offset?     No       Yes

3.101
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Busch White Norton, L.L.P.                                   Contingent
         3330 Cumberland Bvld Southeast Suite 300                     Unliquidated
         Atlanta, GA 30339
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8763
                                                                   Is the claim subject to offset?     No       Yes

3.101
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         BUSCHMAN AHERN PERSONS                                       Contingent
         2215 S Third Street Suite 101                                Unliquidated
         Jacksonville, FL 32250-4054
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8320
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 145 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 153 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         BUSH ROSS PA                                                 Contingent
         1801 N. Highland Avenue                                      Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7311
                                                                   Is the claim subject to offset?     No       Yes

3.101
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         BUTLER & HOSCH PA                                            Contingent
         3185 S Conway Road Suite E                                   Unliquidated
         Orlando, FL 32812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4990
                                                                   Is the claim subject to offset?     No       Yes

3.101
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         BUTLER & PRIMEAU LLP                                         Contingent
         121 South 61 Terrace                                         Unliquidated
         Suite A
                                                                      Disputed
         Hollywood, FL 33023
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5706                      Is the claim subject to offset?     No       Yes

3.101
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Butler Title Florida, LLC                                    Contingent
         1840 SE 1st Avenue                                           Unliquidated
         Ft. Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0796
                                                                   Is the claim subject to offset?     No       Yes

3.101
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $575.00
         BUTZEL LONG PC                                               Contingent
         2424 N Federal Highway Suite 410                             Unliquidated
         Boca Raton, FL 33431-7746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7467
                                                                   Is the claim subject to offset?     No       Yes

3.101
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Buyer's Title, Inc.                                          Contingent
         3323 W. Commercial Boulevard                                 Unliquidated
         Suite 100
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4773                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 146 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 154 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BYRD & BARNHILL PL                                           Contingent
         206 N Collins Street                                         Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0538
                                                                   Is the claim subject to offset?     No       Yes

3.102
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         BYRON S CAMP                                                 Contingent
         2435 Oakdale Street                                          Unliquidated
         Tallahassee, FL 32312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7399
                                                                   Is the claim subject to offset?     No       Yes

3.102
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C ANNELIES MOURING                                           Contingent
         4276 Pine Hollow Circle                                      Unliquidated
         Greenacres, FL 33463
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0092
                                                                   Is the claim subject to offset?     No       Yes

3.102
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C B MYERS III                                                Contingent
         202 E. Stuart Avenue                                         Unliquidated
         Lake Wales, FL 33853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1547
                                                                   Is the claim subject to offset?     No       Yes

3.102
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C BYRON STOUT III                                            Contingent
         7601 38th Avenue N                                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9930
                                                                   Is the claim subject to offset?     No       Yes

3.102
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C CHRISTIAN SAUTTER                                          Contingent
         2900 E Oakland Park Boulevard Suite 200                      Unliquidated
         Ft Lauderdale, FL 33306-1804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4701
                                                                   Is the claim subject to offset?     No       Yes

3.102
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         C D LEWIS JR                                                 Contingent
         P.O. Box 701654                                              Unliquidated
         St Cloud, FL 34770-1654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8291
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 147 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 155 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.102
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         C DANIEL AKES                                                Contingent
         P.O. Box 5986                                                Unliquidated
         Lakeland, FL 33807-5986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6670
                                                                   Is the claim subject to offset?     No       Yes

3.102
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C DONALD MACLEAN JR                                          Contingent
         3636 Julington Creek Road                                    Unliquidated
         Jacksonville, FL 32223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1406
                                                                   Is the claim subject to offset?     No       Yes

3.102
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         C EDWARD PORCH                                               Contingent
         1273 Northwest Spruce Ridge Drive                            Unliquidated
         Stuart, FL 34994-9517
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3753
                                                                   Is the claim subject to offset?     No       Yes

3.102
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         C GARY MOODY                                                 Contingent
         2770 NW 43rd Street                                          Unliquidated
         Suite A
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4471                      Is the claim subject to offset?     No       Yes

3.103
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C GEOFFREY VINING                                            Contingent
         1611 Harden Boulevard                                        Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5226
                                                                   Is the claim subject to offset?     No       Yes

3.103
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C J BENEFIELD                                                Contingent
         321 N Kentucky Avenue Suite 9                                Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9570
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 148 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 156 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C J KEEL JR                                                  Contingent
         4045 Henderson Boulevard                                     Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0253
                                                                   Is the claim subject to offset?     No       Yes

3.103
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         C KENNON HENDRIX PA                                          Contingent
         256 10th Avenue                                              Unliquidated
         Vero Beach, FL 32962
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4495
                                                                   Is the claim subject to offset?     No       Yes

3.103
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         C LAVON WARD                                                 Contingent
         18 Claude Harbor Isle                                        Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3280
                                                                   Is the claim subject to offset?     No       Yes

3.103
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         C LEDON ANCHORS                                              Contingent
         909 Mar Walt Drive Suite 1014                                Unliquidated
         Ft Walton Beach, FL 32547
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8044
                                                                   Is the claim subject to offset?     No       Yes

3.103
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         C M SALAS                                                    Contingent
         2829 Bird Avenue Suite 272                                   Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3976
                                                                   Is the claim subject to offset?     No       Yes

3.103
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C MARIE BREVITT-SCHOOP                                       Contingent
         C Marie Brevitt-Schoop P.A.                                  Unliquidated
         20401 Northwest 2nd Avenue Suite 220
                                                                      Disputed
         Miami, FL 33169
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3392                      Is the claim subject to offset?     No       Yes

3.103
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C MICHAEL CONTER                                             Contingent
         25035 Acorn Drive                                            Unliquidated
         Land O Lakes, FL 34639-5523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8523
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 149 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 157 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         C MICHAEL DUNCAN                                             Contingent
         3292 Seven Seas Drive                                        Unliquidated
         Tavares, FL 32778-9285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3082
                                                                   Is the claim subject to offset?     No       Yes

3.104
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,983.11
         C MICHAEL JACKSON                                            Contingent
         P.O. Box 2509                                                Unliquidated
         Ft Myers, FL 33902                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 27
                                                                   Is the claim subject to offset?     No       Yes

3.104
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,386.31
         C NORRIS TILTON PA                                           Contingent
         1935 NE Ricou Terrace                                        Unliquidated
         Jensen Beach, FL 34957                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5066
                                                                   Is the claim subject to offset?     No       Yes

3.104
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         C RICHARD BENNETT JR                                         Contingent
         1200 Anastasia Avenue Suite 360                              Unliquidated
         Coral Gables, FL 33134-6340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7095
                                                                   Is the claim subject to offset?     No       Yes

3.104
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C SAMUEL WHITEHEAD                                           Contingent
         17757 US Highway 19 N Suite 500                              Unliquidated
         Clearwater, FL 33764
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7531
                                                                   Is the claim subject to offset?     No       Yes

3.104
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C THOMAS COWNE                                               Contingent
         2650 Tampa Road Suite B                                      Unliquidated
         Palm Harbor, FL 34684-3108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2328
                                                                   Is the claim subject to offset?     No       Yes

3.104
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         C V KESSEL JR                                                Contingent
         P.O. Box 321225                                              Unliquidated
         Cocoa Beach, FL 32932-1225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5857
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 150 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 158 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.104
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         C VALENTINE BATES                                            Contingent
         234 S Main Street                                            Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7681
                                                                   Is the claim subject to offset?     No       Yes

3.104
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         C WILLIAM LAYSTROM JR                                        Contingent
         1177 Southeast 3rd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316-1109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 507
                                                                   Is the claim subject to offset?     No       Yes

3.104
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C. Byron Law, P.L.L.C.                                       Contingent
         376 Macy Street                                              Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0527
                                                                   Is the claim subject to offset?     No       Yes

3.104
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         C. David Coffey, P.A.                                        Contingent
         5055 SW 91st Terrace                                         Unliquidated
         Suite 101
                                                                      Disputed
         Gainesville, FL 32608
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8965                      Is the claim subject to offset?     No       Yes

3.105
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $564.39
         C. GILBERT PIERCE                                            Contingent
         P.O. Box 172312                                              Unliquidated
         Tampa, FL 33672-0312                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3483
                                                                   Is the claim subject to offset?     No       Yes

3.105
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         C. J. VAN DELINDER                                           Contingent
         1701 Tigertail Ave.                                          Unliquidated
         Miami, FL 33133-3324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4211
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 151 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 159 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.105
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         C. Moody, P.A.                                               Contingent
         37 N Orange Avenue                                           Unliquidated
         Suite 500
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8326                      Is the claim subject to offset?     No       Yes

3.105
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         C. Rene Rogers, P.A.                                         Contingent
         501 Darby Creek Road                                         Unliquidated
         Unit 27
                                                                      Disputed
         Lexington, KY 40509
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9023                      Is the claim subject to offset?     No       Yes

3.105
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Cabrera Law Group, P.A.                                      Contingent
         7640 NW 25th Street                                          Unliquidated
         Suite 115
                                                                      Disputed
         Miami, FL 33122
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0274                      Is the claim subject to offset?     No       Yes

3.105
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CADWALADER WICKERSHAM & TAFT                                 Contingent
         C/O Mitchell Wollsh                                          Unliquidated
         100 Maiden Lane
                                                                      Disputed
         New York, NY 10038
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6882                      Is the claim subject to offset?     No       Yes

3.105
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAHILL LAW FIRM PA                                           Contingent
         5290 Seminole Boulevard Suite D                              Unliquidated
         St Petersburg, FL 33708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0089
                                                                   Is the claim subject to offset?     No       Yes

3.105
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Calandrino Law Firm, P.A.                                    Contingent
         P.O. Box 530                                                 Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7293
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 152 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 160 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.105
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,023.77
         CALDWELL PACETTI EDWARDS                                     Contingent
         1555 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 1200                                                   Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 398                       Is the claim subject to offset?     No       Yes


3.105
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CAMDEN T FRENCH                                              Contingent
         2033 Main Street Suite 304                                   Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5932
                                                                   Is the claim subject to offset?     No       Yes

3.106
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAMELIA A MARCELINO                                          Contingent
         289 Nepperhan Avenue Apt 11f                                 Unliquidated
         Yonkers, NY 10701-3454
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4038
                                                                   Is the claim subject to offset?     No       Yes

3.106
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CAMERON & SANTIAGO PLLC                                      Contingent
         306 N. US Highway 41                                         Unliquidated
         Ruskin, FL 33570
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3960
                                                                   Is the claim subject to offset?     No       Yes

3.106
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $600.00
         CAMNER LIPSITZ & POLLER PA                                   Contingent
         2665 S Bayshore Drive Suite 100                              Unliquidated
         Miami, FL 33133-5402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3401
                                                                   Is the claim subject to offset?     No       Yes

3.106
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CAMP & CAMP PA                                               Contingent
         111 SE 12th Street (Davie Blvd)                              Unliquidated
         Ft Lauderdale, FL 33316-1813
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1946
                                                                   Is the claim subject to offset?     No       Yes

3.106
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CAMPBELL & KARLIK PA                                         Contingent
         3450 Northlake Boulevard Suite 200                           Unliquidated
         Palm Beach Gardens, FL 33403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3996
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 153 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 161 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.106
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CAMPBELL & MURRAY PA                                         Contingent
         406 N 2nd Street                                             Unliquidated
         Ft Pierce, FL 34950-3002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4956
                                                                   Is the claim subject to offset?     No       Yes

3.106
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CAMPIONE & CAMPIONE PA                                       Contingent
         4445 Highway A1A                                             Unliquidated
         Suite 110
                                                                      Disputed
         Vero Beach, FL 32963
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9119                      Is the claim subject to offset?     No       Yes

3.106
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAMPIONE & HACKNEY PA                                        Contingent
         2750 Dora Avenue                                             Unliquidated
         Tavares, FL 32778
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5873
                                                                   Is the claim subject to offset?     No       Yes

3.106
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAMPOS & AZARNIA LLP                                         Contingent
         7901 Southwest 6th Court Suite 120                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2452
                                                                   Is the claim subject to offset?     No       Yes

3.106
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Cancio Johnson & Echarte, PL                                 Contingent
         Norma F. Echarte P.A.                                        Unliquidated
         1395 Brickell Avenue Suite 800
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7136                      Is the claim subject to offset?     No       Yes

3.107
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CANDIDA A COBB                                               Contingent
         2832 Fillmore Street Apt 18                                  Unliquidated
         Hollywood, FL 33020-4250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6001
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 154 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 162 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.107
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cannizzaro Law Firm, PL                                      Contingent
         3350 Southwest 148th Avenue Suite 110                        Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8101
                                                                   Is the claim subject to offset?     No       Yes

3.107
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CANTOR & CANTOR PA                                           Contingent
         2526 Jardin Drive                                            Unliquidated
         Ft Lauderdale, FL 33327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3506
                                                                   Is the claim subject to offset?     No       Yes

3.107
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Capital Abstract & Title of Coral Spring                     Contingent
         10101 W. Sample Road                                         Unliquidated
         Coral Springs, FL 33065-3937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5064
                                                                   Is the claim subject to offset?     No       Yes

3.107
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Capital Title, Inc.                                          Contingent
         441 S. State Road 7                                          Unliquidated
         Suite 19D
                                                                      Disputed
         Margate, FL 33068
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9759                      Is the claim subject to offset?     No       Yes

3.107
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         CAPPA & CAPPA PA                                             Contingent
         1229 Central Avenue                                          Unliquidated
         St Petersburg, FL 33705-1652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3209
                                                                   Is the claim subject to offset?     No       Yes

3.107
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARA SANSONIA                                                Contingent
         The Sansonia Law Firm PL                                     Unliquidated
         350 Camino Grdns Boulevard Suite 301
                                                                      Disputed
         Boca Raton, FL 33432-5825
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5439                      Is the claim subject to offset?     No       Yes

3.107
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,942.77
         CARDILLO KEITH & BONAQUIST                                   Contingent
         3550 E Tamiami Trail                                         Unliquidated
         Naples, FL 34112                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5086
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 155 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 163 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.107
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,234.56
         CAREY DWYER ET AL                                            Contingent
         2180 Southwest 12th Avenue                                   Unliquidated
         Miami, FL 33129                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 741
                                                                   Is the claim subject to offset?     No       Yes

3.107
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CAREY LAW GROUP PA                                           Contingent
         1711 Worthington Road Suite 107                              Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6474
                                                                   Is the claim subject to offset?     No       Yes

3.108
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAREY O'MALLEY WHITAKER &                                    Contingent
         Carey O'malley Whitaker Et Al                                Unliquidated
         712 S. Oregon Avenue
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5684                      Is the claim subject to offset?     No       Yes

3.108
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARI A PODESTA                                               Contingent
         Suite 228                                                    Unliquidated
         11382 Prosperity Farms Road
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7170                      Is the claim subject to offset?     No       Yes

3.108
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARIDAD AMORES                                               Contingent
         Law Offices of Caridad Amores P.A.                           Unliquidated
         20801 Biscayne Boulevard Suite 403
                                                                      Disputed
         Miami, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9700                      Is the claim subject to offset?     No       Yes

3.108
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARL A CASCIO                                                Contingent
         525 NE 3rd Avenue                                            Unliquidated
         Suite 102
                                                                      Disputed
         Delray Beach, FL 33444
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0492                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 156 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 164 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.108
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         CARL G ROBERTS PA                                            Contingent
         6570 30th Avenue N                                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4719
                                                                   Is the claim subject to offset?     No       Yes

3.108
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARL G SANTANGELO                                            Contingent
         3300 N Federal Highway Suite 200                             Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1401
                                                                   Is the claim subject to offset?     No       Yes

3.108
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARL H. WIENBERG                                             Contingent
         4305 Vineland Road Suite G-15a                               Unliquidated
         Orlando, FL 32811-7373
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1810
                                                                   Is the claim subject to offset?     No       Yes

3.108
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARL HANSON                                                  Contingent
         48 Northeast 15th Street                                     Unliquidated
         Homestead, FL 33030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8422
                                                                   Is the claim subject to offset?     No       Yes

3.108
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARL J MOORE                                                 Contingent
         P.O. Box 1099                                                Unliquidated
         Palatka, FL 32178-1099
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6694
                                                                   Is the claim subject to offset?     No       Yes

3.108
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CARL J ROBIE III                                             Contingent
         1800 2nd Street Suite 735                                    Unliquidated
         Sarasota, FL 34236-5903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5083
                                                                   Is the claim subject to offset?     No       Yes

3.109
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARL L LAKS                                                  Contingent
         P.O. Box 566509                                              Unliquidated
         Miami, FL 33256-6509
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2038
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 157 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 165 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.109
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARL L THOMPSON JR                                           Contingent
         4007 Kasper Drive                                            Unliquidated
         Orlando, FL 32806-2023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1324
                                                                   Is the claim subject to offset?     No       Yes

3.109
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARL M COLLIER                                               Contingent
         2945 S Congress Avenue Suite A                               Unliquidated
         Lake Worth, FL 33461-2168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2763
                                                                   Is the claim subject to offset?     No       Yes

3.109
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         CARL M SUGARMAN                                              Contingent
         7700 N. Kendall Drive                                        Unliquidated
         Suite 406
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5490                      Is the claim subject to offset?     No       Yes

3.109
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CARL R PENNINGTON JR                                         Contingent
         P.O. Box 10095                                               Unliquidated
         Tallahassee, FL 32302-2095
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1834
                                                                   Is the claim subject to offset?     No       Yes

3.109
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLA T REECE                                                Contingent
         8811 Northwest 16th Street                                   Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8359
                                                                   Is the claim subject to offset?     No       Yes

3.109
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARLOS A ENRIQUEZ                                            Contingent
         13903 Northwest 67th Avenue Suite 340                        Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7996
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 158 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 166 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.109
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS A GIL                                                 Contingent
         3910 W Flagler Street Suite 100                              Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6498
                                                                   Is the claim subject to offset?     No       Yes

3.109
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS A MARIN                                               Contingent
         255 Alhambra Circle Suite 701                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5991
                                                                   Is the claim subject to offset?     No       Yes

3.109
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS A MUNOZ                                               Contingent
         CARLOS A MUNOZ PA                                            Unliquidated
         10691 N KENDALL DR STE 207
                                                                      Disputed
         MIAMI, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5974                      Is the claim subject to offset?     No       Yes

3.110
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $59.79
         CARLOS A RODRIGUEZ                                           Contingent
         1455 Southwest 27th Avenue                                   Unliquidated
         Miami, FL 33145-1234                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7570
                                                                   Is the claim subject to offset?     No       Yes

3.110
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARLOS A TRIAY                                               Contingent
         2301 NW 87th Avenue                                          Unliquidated
         Suite 501
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8009                      Is the claim subject to offset?     No       Yes

3.110
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS A ZIEGENHIRT                                          Contingent
         150 Alhambra Circle Suite 1240                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5511
                                                                   Is the claim subject to offset?     No       Yes

3.110
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS C DEL AMO                                             Contingent
         3211 Ponce De Leon Boulevard                                 Unliquidated
         Suite 200
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4687                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 159 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 167 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.110
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CARLOS C LOPEZ-AGUIAR                                        Contingent
         Carlos C. Lopez-Aguiar P.A.                                  Unliquidated
         2300 Coral Way Suite 1
                                                                      Disputed
         Miami, FL 33145-3511
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7907                      Is the claim subject to offset?     No       Yes

3.110
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARLOS E CASUSO                                              Contingent
         Suite 1129 Two Datran Center                                 Unliquidated
         9130 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6497                      Is the claim subject to offset?     No       Yes

3.110
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS GARCIA PA                                             Contingent
         500 S. Dixie Highway                                         Unliquidated
         Suite 202
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7969                      Is the claim subject to offset?     No       Yes

3.110
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS J ARBOLEYA JR PA                                      Contingent
         2550 S Dixie Highway                                         Unliquidated
         Coconut Grove, FL 33133-3137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5013
                                                                   Is the claim subject to offset?     No       Yes

3.110
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS J VILLANUEVA                                          Contingent
         Law Offces Carlos J Villanueva                               Unliquidated
         2100 Ponce De Leon Boulevard Suite 600
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9148                      Is the claim subject to offset?     No       Yes

3.110
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS L FERNANDEZ                                           Contingent
         9485 Southwest 72nd Street Suite A204                        Unliquidated
         Miami, FL 33173-3228
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8721
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 160 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 168 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.111
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Carlos Luis Hernandez, P.A.                                  Contingent
         P.O. Box 565367                                              Unliquidated
         Miami, FL 33256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9232
                                                                   Is the claim subject to offset?     No       Yes

3.111
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CARLOS M MACHADO PA                                          Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 950
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1544                      Is the claim subject to offset?     No       Yes

3.111
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $18.26
         CARLOS M RIPPES                                              Contingent
         24 East 5th Street Suite 2-E                                 Unliquidated
         Hialeah, FL 33010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7769
                                                                   Is the claim subject to offset?     No       Yes

3.111
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS M TORNERO                                             Contingent
         P O Box 025752                                               Unliquidated
         Miami, FL 33102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4856
                                                                   Is the claim subject to offset?     No       Yes

3.111
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS MARIN-ROSA                                            Contingent
         13743 Dornoch Drive                                          Unliquidated
         Orlando, FL 32828-8815
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8747
                                                                   Is the claim subject to offset?     No       Yes

3.111
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS R CASO                                                Contingent
         2525 Ponce De Leon Boulevard                                 Unliquidated
         Suite 300
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6551                      Is the claim subject to offset?     No       Yes

3.111
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Carlos Santisteban, Jr. P.A.                                 Contingent
         3127 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7218
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 161 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 169 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.111
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS SANTOS                                                Contingent
         3970 W Flagler Street Suite 203                              Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7097
                                                                   Is the claim subject to offset?     No       Yes

3.111
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLOS ZALDIVAR PA                                           Contingent
         2701 S Bayshore Drive Suite 315                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9641
                                                                   Is the claim subject to offset?     No       Yes

3.111
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLSON & SASADU PA                                          Contingent
         5421 Northeast 16 Terrace                                    Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5038
                                                                   Is the claim subject to offset?     No       Yes

3.112
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLTON FIELDS PA                                            Contingent
         Barnett Tower 23rd Floor                                     Unliquidated
         200 Central Avenue
                                                                      Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2032                      Is the claim subject to offset?     No       Yes

3.112
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,566.74
         CARLTON FIELDS PA                                            Contingent
         4221 W. Boyscout Blvd.                                       Unliquidated
         Suite 1000                                                   Disputed
         Tampa, FL 33607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2032                      Is the claim subject to offset?     No       Yes


3.112
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CARLTON R REICHERT                                           Contingent
         P.O. Box 61627                                               Unliquidated
         Orlando, FL 32861-6277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5675
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 162 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 170 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.112
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARLY R VAN DOX                                              Contingent
         3964 E Paradise View Drive                                   Unliquidated
         Paradise Valley, AZ 85253
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0999
                                                                   Is the claim subject to offset?     No       Yes

3.112
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARMEN COELLO HARDEN                                         Contingent
         3600 S SR Suite 7 Suite 234                                  Unliquidated
         Miramar, FL 33023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7850
                                                                   Is the claim subject to offset?     No       Yes

3.112
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARMEN CUADRADO FERREIRA                                     Contingent
         6262 Bird Road Suite 2b                                      Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9070
                                                                   Is the claim subject to offset?     No       Yes

3.112
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARMEN L SANTAMARIA ESQ                                      Contingent
         10250 Southwest 56th Street Suite C102                       Unliquidated
         Miami, FL 33165
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4053
                                                                   Is the claim subject to offset?     No       Yes

3.112
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARMEN LUBBECKE PA                                           Contingent
         715 N. Washington Boulevard                                  Unliquidated
         Suite B
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8286                      Is the claim subject to offset?     No       Yes

3.112
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARNAL & MANSFIELD PA                                        Contingent
         6528 Central Avenue                                          Unliquidated
         Suite B
                                                                      Disputed
         St Petersburg, FL 33707
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9632                      Is the claim subject to offset?     No       Yes

3.112
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Carnright Velasquez, P.A.                                    Contingent
         12150 Southwest 128 Court Suite 209                          Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9677
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 163 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 171 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.113
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CAROL A PERANTIE                                             Contingent
         12811 Spice Box Way                                          Unliquidated
         Hudson, FL 34667-4911
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8208
                                                                   Is the claim subject to offset?     No       Yes

3.113
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CAROL A. MCNAMARA                                            Contingent
         8329 Gandy Way                                               Unliquidated
         Orlando, FL 32810-2858
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7524
                                                                   Is the claim subject to offset?     No       Yes

3.113
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROL B HAIGHT                                               Contingent
         4744 Socean Boulevard Th#9                                   Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6831
                                                                   Is the claim subject to offset?     No       Yes

3.113
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROL C MURPHY                                               Contingent
         P.O. Box 1084                                                Unliquidated
         Lakeland, FL 33802-1084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4615
                                                                   Is the claim subject to offset?     No       Yes

3.113
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CAROL CAPRI KALLICHE                                         Contingent
         3111 Stirling Road 2nd Floor                                 Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 429
                                                                   Is the claim subject to offset?     No       Yes

3.113
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CAROL CROSSWELL                                              Contingent
         5200 N. Ocean Drive, Apt 101                                 Unliquidated
         Singer Island, FL 33404-2615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5796
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 164 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 172 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.113
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CAROL F KEYS                                                 Contingent
         2321 Laguna Circle                                           Unliquidated
         #1009
                                                                      Disputed
         North Miami Beach, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6858                      Is the claim subject to offset?     No       Yes

3.113
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROL H SLOANE                                               Contingent
         30 Anasazi Trails Loop                                       Unliquidated
         Placitas, NM 87043-8760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9377
                                                                   Is the claim subject to offset?     No       Yes

3.113
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROL M BAST                                                 Contingent
         310 W Reading Way                                            Unliquidated
         Winter Park, FL 32789-6054
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2320
                                                                   Is the claim subject to offset?     No       Yes

3.113
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,155.06
         CAROL MACMILLAN STANLEY                                      Contingent
         Macmillan & Stanley P.L.L.C.                                 Unliquidated
         29 Northeast 4th Avenue                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3318                      Is the claim subject to offset?     No       Yes


3.114
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CAROL N DAVIS                                                Contingent
         104 S Old Dixie Highway                                      Unliquidated
         Lady Lake, FL 32159-4349
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6094
                                                                   Is the claim subject to offset?     No       Yes

3.114
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROL S WAXLER                                               Contingent
         518 Southwest 3rd Street Suite 101                           Unliquidated
         Stuart, FL 34994-2026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3547
                                                                   Is the claim subject to offset?     No       Yes

3.114
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CAROL W JONES                                                Contingent
         106 Avenue F Southwest                                       Unliquidated
         Winter Haven, FL 33880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7160
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 165 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 173 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.114
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROL-LEE KAPLAN                                             Contingent
         7704 Cedarwood Circle                                        Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2445
                                                                   Is the claim subject to offset?     No       Yes

3.114
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLANN MAZZA PA                                            Contingent
         12 Southeast 7th Street Suite 704                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1749
                                                                   Is the claim subject to offset?     No       Yes

3.114
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLE ARONSON PA                                            Contingent
         1500 Gateway Boulevard                                       Unliquidated
         Suite 220
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5916                      Is the claim subject to offset?     No       Yes

3.114
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CAROLINA A COLLADO PA                                        Contingent
         5200 Southwest 8th Street Suite 250                          Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6522
                                                                   Is the claim subject to offset?     No       Yes

3.114
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLINA GORMAN                                              Contingent
         2500 N Federal Highway Suite 201a                            Unliquidated
         Ft Lauderdale, FL 33305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5589
                                                                   Is the claim subject to offset?     No       Yes

3.114
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLINE WHITE                                               Contingent
         1995 E Oakland Park Boulevard Suite 300                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9353
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 166 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 174 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.114
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLYN A SMITH SAKOLSKY                                     Contingent
         5233 Fisher Island Drive                                     Unliquidated
         Fisher Island, FL 33109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4747
                                                                   Is the claim subject to offset?     No       Yes

3.115
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLYN J B LAWRENCE PA                                      Contingent
         690 Deltona Boulevard                                        Unliquidated
         Deltona, FL 32725-8020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8404
                                                                   Is the claim subject to offset?     No       Yes

3.115
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLYN J KAHRS                                              Contingent
         7801 Mitchell Boulevard                                      Unliquidated
         Trinity, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7749
                                                                   Is the claim subject to offset?     No       Yes

3.115
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAROLYN MYERS-SIMMONDS                                       Contingent
         100 2nd Avenue S Suite 1100 Nt-41                            Unliquidated
         Stpetersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5868
                                                                   Is the claim subject to offset?     No       Yes

3.115
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CAROLYNE J ADAMS                                             Contingent
         104 Brookhollow Drive                                        Unliquidated
         Flat Rock, NC 28731-8519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7668
                                                                   Is the claim subject to offset?     No       Yes

3.115
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         CARR & SCHNELL                                               Contingent
         2889 51st Avenue S                                           Unliquidated
         St Petersburg, FL 33712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3682
                                                                   Is the claim subject to offset?     No       Yes

3.115
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CARRIE S LAVARGNA                                            Contingent
         401 Southeast Osceola Street Suite 101                       Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2375
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 167 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 175 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.115
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,293.63
         CARROL F DILLON                                              Contingent
         6200 S Tamiami Trail                                         Unliquidated
         Sarasota, FL 34231-3933                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2855
                                                                   Is the claim subject to offset?     No       Yes

3.115
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CARROLL S BARCO                                              Contingent
         P.O. Box 5411                                                Unliquidated
         Winter Park, FL 32793-5411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6241
                                                                   Is the claim subject to offset?     No       Yes

3.115
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         CARRY & CARRY PA                                             Contingent
         644 Southeast 4th Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5085
                                                                   Is the claim subject to offset?     No       Yes

3.115
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CARTER & CARTER PA                                           Contingent
         P.O. Box 121                                                 Unliquidated
         Debary, FL 32713-0121
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 13
                                                                   Is the claim subject to offset?     No       Yes

3.116
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CARTER & CLENDENIN                                           Contingent
         7419 US Highway 19                                           Unliquidated
         New Port Richey, FL 34652-1240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7684
                                                                   Is the claim subject to offset?     No       Yes

3.116
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         CARTER A BRADFORD                                            Contingent
         304 E Colonial Drive                                         Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3832
                                                                   Is the claim subject to offset?     No       Yes

3.116
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CARTER H PARRY JR                                            Contingent
         1001 3rd Avenue West                                         Unliquidated
         Suite 350 Barnett Bank Center
                                                                      Disputed
         Bradenton, FL 34205-7841
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5356                      Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 168 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 176 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.116
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARVER & POPE                                                Contingent
         5340 Central Avenue                                          Unliquidated
         St Petersburg, FL 33707-6130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4033
                                                                   Is the claim subject to offset?     No       Yes

3.116
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         CARVER DARDEN KORETZKY                                       Contingent
         151 W. Main Street                                           Unliquidated
         Suite 200
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4313                      Is the claim subject to offset?     No       Yes

3.116
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARY & CARY                                                  Contingent
         138 W Palmetto Park Road                                     Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7446
                                                                   Is the claim subject to offset?     No       Yes

3.116
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARY A HARDEE II                                             Contingent
         P.O. Drawer 450                                              Unliquidated
         Madison, FL 32341-0450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8728
                                                                   Is the claim subject to offset?     No       Yes

3.116
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CARY D GLICKSTEIN                                            Contingent
         277 Southeast 5th Avenue                                     Unliquidated
         Delray Beach, FL 33483-5206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3907
                                                                   Is the claim subject to offset?     No       Yes

3.116
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cary Law Firm, L.L.C.                                        Contingent
         5536 Hansel Avenue                                           Unliquidated
         Orlando, FL 32809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0092
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 169 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 177 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.116
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CASAGRANDE & ASSOCIATES PA                                   Contingent
         100 Second Avenue N Suite 240                                Unliquidated
         St Peterwburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5347
                                                                   Is the claim subject to offset?     No       Yes

3.117
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CASANOVA & KUCERA PLLC                                       Contingent
         1108 Kane Concourse                                          Unliquidated
         Suite 206
                                                                      Disputed
         Miami Beach, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6144                      Is the claim subject to offset?     No       Yes

3.117
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CASEY & MOLCHAN PA                                           Contingent
         3601 Northeast 17th Avenue                                   Unliquidated
         Oakland Park, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4572
                                                                   Is the claim subject to offset?     No       Yes

3.117
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         CASEY CIKLIN LUBITZ MARTENS                                  Contingent
         Attn: Bob Crane R E Department                               Unliquidated
         515 N. Flagler Drive, 20th Floor
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6501                      Is the claim subject to offset?     No       Yes

3.117
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CASEY W MILLS                                                Contingent
         600 S Andrews Avenue Suite 600                               Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2615
                                                                   Is the claim subject to offset?     No       Yes

3.117
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CASEY WILLIAM COUGHLIN PA                                    Contingent
         2350 Northwest 95th Avenue                                   Unliquidated
         Coral Springs, FL 33065-4978
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8406
                                                                   Is the claim subject to offset?     No       Yes

3.117
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CASEY WOLFF                                                  Contingent
         Parkway Financial Center                                     Unliquidated
         2150 Goodlette Road 6th Floor
                                                                      Disputed
         Naples, FL 33940
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7201                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 170 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 178 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.117
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         CASORIA & GOFF PA                                            Contingent
         1040 Bayview Drive Suite 600                                 Unliquidated
         Ft Lauderdale, FL 33304-2532
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3854
                                                                   Is the claim subject to offset?     No       Yes

3.117
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CASSANDRA RACINE RIGAUD PA                                   Contingent
         9090 NW 16 Street                                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0066
                                                                   Is the claim subject to offset?     No       Yes

3.117
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CASTANEDA & SCHUTT PL                                        Contingent
         760 W Sample Road Suite 10                                   Unliquidated
         Pompano Beach, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2949
                                                                   Is the claim subject to offset?     No       Yes

3.117
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Castillo Law, P.L.L.C.                                       Contingent
         4300 S. Jog Road                                             Unliquidated
         #540463
                                                                      Disputed
         Greenacres, FL 33454
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0153                      Is the claim subject to offset?     No       Yes

3.118
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         CASTRO & RAMIREZ LLC                                         Contingent
         1805 Ponce De Leon Boulevard                                 Unliquidated
         Penthouse 1 , Suite 500
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7794                      Is the claim subject to offset?     No       Yes

3.118
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cathcart Law Group, P.A.                                     Contingent
         225 S. Westmonte Drive                                       Unliquidated
         Suite 1160
                                                                      Disputed
         Altamonte Springs, FL 32714
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6715                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 171 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 179 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.118
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CATHERINE B PALUMBO                                          Contingent
         Huddleston & Palumbo P.A.                                    Unliquidated
         112 W New Haven Avenue
                                                                      Disputed
         Melbourne, FL 32901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0756                      Is the claim subject to offset?     No       Yes

3.118
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Catherine Blackburn                                          Contingent
         Blackburn Law Firm P.L.L.C.                                  Unliquidated
         5210 1st Avenue N.
                                                                      Disputed
         St Petersburg, FL 33710
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8426                      Is the claim subject to offset?     No       Yes

3.118
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CATHERINE CATLETT COLLINS                                    Contingent
         14070 Gleneagle Drive                                        Unliquidated
         Colorado Springs, CO 80921
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8497
                                                                   Is the claim subject to offset?     No       Yes

3.118
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CATHERINE E GOUZE                                            Contingent
         700 Dockview Way Apt 1424                                    Unliquidated
         Tampa, FL 33602-6734
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0388
                                                                   Is the claim subject to offset?     No       Yes

3.118
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CATHERINE HOMA ARTHER                                        Contingent
         200 S Orange Avenue 10th Floor Legal                         Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1769
                                                                   Is the claim subject to offset?     No       Yes

3.118
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CATHI C WILKINSON PL                                         Contingent
         2940 Kerry Forest Parkway Suite 103                          Unliquidated
         Tallahassee, FL 32309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5654
                                                                   Is the claim subject to offset?     No       Yes

3.118
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CATHLEEN SCOTT                                               Contingent
         Cathleen Scott P.A.                                          Unliquidated
         250 S Central Boulevard Suite 104a
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8974                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 172 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 180 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.118
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         CATLIN SAXON EVANS FINK KOLSKI                               Contingent
         2600 Douglas Road Suite 1003                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8146
                                                                   Is the claim subject to offset?     No       Yes

3.119
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $162.50
         CAUTHEN OLDHAM & ASSOCIATES PA                               Contingent
         131 W. Main Street                                           Unliquidated
         Tavares, FL 32778-3809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6302
                                                                   Is the claim subject to offset?     No       Yes

3.119
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Cava Law, L.L.C.                                             Contingent
         1390 S. Dixie Highway                                        Unliquidated
         Suite 1107
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0538                      Is the claim subject to offset?     No       Yes

3.119
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAVERO & ASSOCIATES PA                                       Contingent
         50 Menores Avenue Suite 506                                  Unliquidated
         Coral Gables, FL 33134-4034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8607
                                                                   Is the claim subject to offset?     No       Yes

3.119
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CAZEAU LINTON BARNES LLC                                     Contingent
         633 Northeast 167th Street Suite 1025                        Unliquidated
         N Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3117
                                                                   Is the claim subject to offset?     No       Yes

3.119
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CELIA E DEIFIK                                               Contingent
         1100 Fifth Avenue South                                      Unliquidated
         Suite 308
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7852                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 173 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 181 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.119
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CELIA GORE PA                                                Contingent
         250 Catalonia Avenue Suite 501                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2164
                                                                   Is the claim subject to offset?     No       Yes

3.119
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Central Florida Title Group, LLC                             Contingent
         d/b/a Waterfront Title & Escrow                              Unliquidated
         7380 W. Sand Lake Road, Suite 500
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1698                      Is the claim subject to offset?     No       Yes

3.119
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.72
         CESAR GOMEZ                                                  Contingent
         12001 SW 119th Street                                        Unliquidated
         Miami, FL 33186                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8255
                                                                   Is the claim subject to offset?     No       Yes

3.119
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CESAR R CAMACHO                                              Contingent
         Attn: Legal Department - Cont Bk Buildin                     Unliquidated
         1801 SW 1st Street
                                                                      Disputed
         Miami, FL 33135
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6428                      Is the claim subject to offset?     No       Yes

3.119
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CESAR RAFAEL SORDO                                           Contingent
         3191 Coral Way 3rd Floor                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8051
                                                                   Is the claim subject to offset?     No       Yes

3.120
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHAD L GATES                                                 Contingent
         Band Law Group PL                                            Unliquidated
         1 South School Avenue Suite 500
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9714                      Is the claim subject to offset?     No       Yes

3.120
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHAD M ALTIERI                                               Contingent
         28th Flr-Mrngside Entertainmnt                               Unliquidated
         201 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4839                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 174 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 182 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.120
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHAD M MCCLENATHEN                                           Contingent
         Chad M. McClenathen P.A.                                     Unliquidated
         1820 Ringling Boulevard
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7977                      Is the claim subject to offset?     No       Yes

3.120
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Champions Title Services, L.L.C.                             Contingent
         1248 Seven Springs Boulevard                                 Unliquidated
         Unit A
                                                                      Disputed
         New Port Richey, FL 34655
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7477                      Is the claim subject to offset?     No       Yes

3.120
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         CHANDLER LANG HASWELL & COLE                                 Contingent
         P.O. Box 5877                                                Unliquidated
         Gainesville, FL 32627-5877
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 283
                                                                   Is the claim subject to offset?     No       Yes

3.120
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Channell Law Group                                           Contingent
         1306 York Circle                                             Unliquidated
         Melbourne, FL 32904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8714
                                                                   Is the claim subject to offset?     No       Yes

3.120
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         CHAPIN BALLERANO & CHESLACK PL                               Contingent
         Boca Village Corporate Center                                Unliquidated
         4855 Technology Way, Suite 530
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6856                      Is the claim subject to offset?     No       Yes

3.120
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         CHAPMAN CHAPMAN & CHAPMAN PA                                 Contingent
         1920 Golf Street                                             Unliquidated
         Sarasota, FL 34236-6908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4080
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 175 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 183 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.120
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHAPMAN GALLE PLC                                            Contingent
         13501 Southshore Boulevard                                   Unliquidated
         Suite 103
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4805                      Is the claim subject to offset?     No       Yes

3.120
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLENE D KELLEY                                            Contingent
         833 Northeast 19th Terrace                                   Unliquidated
         Ft Lauderdale, FL 33304-3033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7928
                                                                   Is the claim subject to offset?     No       Yes

3.121
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES A COOMES                                             Contingent
         4106 Lillian Hall Lane                                       Unliquidated
         Orlando, FL 32812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4064
                                                                   Is the claim subject to offset?     No       Yes

3.121
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES A CURRAN PA                                          Contingent
         P.O. Box 549                                                 Unliquidated
         Carrabelle, FL 32322-0549
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6786
                                                                   Is the claim subject to offset?     No       Yes

3.121
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES A DEHLINGER PA                                       Contingent
         260 Maitland Avenue Suite 1500                               Unliquidated
         Altamonte Springs, FL 32701-5510
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5555
                                                                   Is the claim subject to offset?     No       Yes

3.121
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,652.48
         CHARLES A FINKEL                                             Contingent
         1125 Groveland Hills Drive                                   Unliquidated
         Tallahassee, FL 32317                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1278
                                                                   Is the claim subject to offset?     No       Yes

3.121
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES A GOULD JR                                           Contingent
         P.O. Box 40-3573                                             Unliquidated
         Miami Beach, FL 33140-1573
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 838
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 176 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 184 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.121
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES A HALL                                               Contingent
         P.O. Box 1617                                                Unliquidated
         Tryon, NC 28782
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3274
                                                                   Is the claim subject to offset?     No       Yes

3.121
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES A HOUNCHELL PA                                       Contingent
         607 W Bay Street                                             Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6075
                                                                   Is the claim subject to offset?     No       Yes

3.121
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES A MCMURRY                                            Contingent
         910 N Duval Street                                           Unliquidated
         Tallahassee, FL 32303-4932
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8296
                                                                   Is the claim subject to offset?     No       Yes

3.121
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CHARLES A WILLIAMS JR                                        Contingent
         1701 Northwest 80th Boulevard Suite 102                      Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 358
                                                                   Is the claim subject to offset?     No       Yes

3.121
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Charles A. Kohler, Esquire                                   Contingent
         476 N. State Road A1A                                        Unliquidated
         Suite 2A
                                                                      Disputed
         Satellite Beach, FL 32937
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9162                      Is the claim subject to offset?     No       Yes

3.122
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,062.17
         CHARLES B BUTMAN                                             Contingent
         8551 W. Sunrise Boulevard                                    Unliquidated
         Suite 300                                                    Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5930                      Is the claim subject to offset?     No       Yes


3.122
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES B LEWIS                                              Contingent
         Rt 1 Box 190                                                 Unliquidated
         Saluda, NC 28773-9734
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4526
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 177 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 185 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.122
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES B P SELLAR                                           Contingent
         P O Box 492722                                               Unliquidated
         Leesburg, FL 34749-2722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2054
                                                                   Is the claim subject to offset?     No       Yes

3.122
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES B RICH                                               Contingent
         100 Charles Park Road                                        Unliquidated
         West Roxbury, MA 02132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6606
                                                                   Is the claim subject to offset?     No       Yes

3.122
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES B. GOLDMAN                                           Contingent
         2308 N.E. 7th Street                                         Unliquidated
         Hallandale, FL 33009-2875
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8373
                                                                   Is the claim subject to offset?     No       Yes

3.122
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES C HOFFMAN                                            Contingent
         1115 Southwest 75th Way                                      Unliquidated
         Gainesville, FL 32607-4914
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2102
                                                                   Is the claim subject to offset?     No       Yes

3.122
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CHARLES C LEHMAN PA                                          Contingent
         5455 Jaeger Road Suite B                                     Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7172
                                                                   Is the claim subject to offset?     No       Yes

3.122
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         CHARLES C SHERRILL PA                                        Contingent
         P.O. Box 12316                                               Unliquidated
         Pensacola, FL 32591-2316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7945
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 178 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 186 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.122
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES D BARNARD                                            Contingent
         Charles D. Barnard P.A.                                      Unliquidated
         2370 Wilton Drive
                                                                      Disputed
         Wilton Manors, FL 33305
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6639                      Is the claim subject to offset?     No       Yes

3.122
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES D FRANKEN                                            Contingent
         California Federal Building                                  Unliquidated
         8181 W Broward Boulevard Suite 360
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4858                      Is the claim subject to offset?     No       Yes

3.123
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES D GEORGE                                             Contingent
         2346 Haddob Hall Pl                                          Unliquidated
         Clearwater, FL 33764-7510
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3284
                                                                   Is the claim subject to offset?     No       Yes

3.123
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES D MINER PA                                           Contingent
         5120 Curry Ford Road                                         Unliquidated
         Orlando, FL 32812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7552
                                                                   Is the claim subject to offset?     No       Yes

3.123
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES D ROBBINS JR                                         Contingent
         98 Golden Gate Drive                                         Unliquidated
         Pooler, GA 31322-9427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6019
                                                                   Is the claim subject to offset?     No       Yes

3.123
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES D WILDER                                             Contingent
         159 Lookout Pl Suite 101                                     Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7683
                                                                   Is the claim subject to offset?     No       Yes

3.123
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,434.96
         CHARLES E BERK                                               Contingent
         1485 SE 59th Street                                          Unliquidated
         Ocala, FL 34480-5056                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7062
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 179 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 187 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.123
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES E BUTLER III                                         Contingent
         6574 N. State Road 7                                         Unliquidated
         Suite 384
                                                                      Disputed
         Coconut Creek, FL 33073
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6408                      Is the claim subject to offset?     No       Yes

3.123
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES E GARRIS                                             Contingent
         819 Beachland Boulevard                                      Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1247
                                                                   Is the claim subject to offset?     No       Yes

3.123
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES E GEARY                                              Contingent
         27 E Ocean Boulevard                                         Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1570
                                                                   Is the claim subject to offset?     No       Yes

3.123
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES E H BECK                                             Contingent
         4265 Central Avenue Suite 65                                 Unliquidated
         St Petersburg, FL 33713-8230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5019
                                                                   Is the claim subject to offset?     No       Yes

3.123
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES E HEIM JR                                            Contingent
         2040 Highway A1A Suite 201                                   Unliquidated
         Indian Harbour Beach, FL 32937-3566
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3541
                                                                   Is the claim subject to offset?     No       Yes

3.124
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,156.89
         CHARLES E PAOLI JR                                           Contingent
         4720 N 35th Street                                           Unliquidated
         Hollywood, FL 33021                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 22
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 180 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 188 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.124
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,389.06
         CHARLES E PELLICER                                           Contingent
         1510 N. Ponce de Leon Blvd.                                  Unliquidated
         Suite B                                                      Disputed
         St Augustine, FL 32084
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1142                      Is the claim subject to offset?     No       Yes


3.124
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES E PETTIT                                             Contingent
         408 Southeast 17th Street Suite 228                          Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7239
                                                                   Is the claim subject to offset?     No       Yes

3.124
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES E SAMMONS                                            Contingent
         600 Northeast 98th Street                                    Unliquidated
         Miami Shores, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0939
                                                                   Is the claim subject to offset?     No       Yes

3.124
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES E. SCHUH                                             Contingent
         248 Mirror Lake Drive N.                                     Unliquidated
         St. Petersburg, FL 33701-3224
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3649
                                                                   Is the claim subject to offset?     No       Yes

3.124
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES EVANS DAVIS                                          Contingent
         P.O. Box 568984                                              Unliquidated
         Orlando, FL 32856-8984
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 56
                                                                   Is the claim subject to offset?     No       Yes

3.124
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES F ATWOOD III                                         Contingent
         111 Southwest 3rd Street Suite 102                           Unliquidated
         Miami, FL 33130-1924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4361
                                                                   Is the claim subject to offset?     No       Yes

3.124
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES F DECKER                                             Contingent
         10209 Gulf Boulevard Suite B                                 Unliquidated
         Treasure Island, FL 33706-4810
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1233
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 181 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 189 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.124
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         CHARLES F MILLS                                              Contingent
         13008 Lawson Road                                            Unliquidated
         Little Rock, AR 72210-2719
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7226
                                                                   Is the claim subject to offset?     No       Yes

3.124
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES F ROBINSON                                           Contingent
         410 S Lincoln Avenue                                         Unliquidated
         Clearwater, FL 33756-5826
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3780
                                                                   Is the claim subject to offset?     No       Yes

3.125
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,611.71
         CHARLES F WHEELER                                            Contingent
         P.O. Box 1744                                                Unliquidated
         Venice, FL 34284-1744                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6215
                                                                   Is the claim subject to offset?     No       Yes

3.125
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $127.61
         CHARLES G BRACKINS                                           Contingent
         11990 San Vicente Boulevard Suite 240                        Unliquidated
         Los Angeles, CA 90049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8151
                                                                   Is the claim subject to offset?     No       Yes

3.125
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES G DEMARCO PA                                         Contingent
         P.O. Box 8531                                                Unliquidated
         Reno, NV 89507-8531
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4098
                                                                   Is the claim subject to offset?     No       Yes

3.125
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,727.32
         CHARLES G EDWARDS                                            Contingent
         7920 US Highway 19                                           Unliquidated
         Port Richey, FL 34668-3404                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7505
                                                                   Is the claim subject to offset?     No       Yes

3.125
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,871.20
         CHARLES GENER                                                Contingent
         701 Southwest 36th Avenue                                    Unliquidated
         Miami, FL 33125                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5178
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 182 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 190 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.125
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,678.45
         CHARLES H BALL AND ASSOCIATES                                Contingent
         1444 1st Street                                              Unliquidated
         Sarasota, FL 34236-5705                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3836
                                                                   Is the claim subject to offset?     No       Yes

3.125
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES H DAMSEL JR PA                                       Contingent
         601 N Dixie Highway Suite B                                  Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8742
                                                                   Is the claim subject to offset?     No       Yes

3.125
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES H GELMAN                                             Contingent
         25 SE 2nd Avenue                                             Unliquidated
         Suite 1025
                                                                      Disputed
         Miami, FL 33131-1604
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7370                      Is the claim subject to offset?     No       Yes

3.125
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES H MONAST                                             Contingent
         6860 Southwest 10th Street                                   Unliquidated
         Plantation, FL 33317-4201
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2353
                                                                   Is the claim subject to offset?     No       Yes

3.125
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES H SANFORD                                            Contingent
         3003 Cardinal Drive                                          Unliquidated
         Suite B
                                                                      Disputed
         Vero Beach, FL 32963
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9105                      Is the claim subject to offset?     No       Yes

3.126
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES H WEBB                                               Contingent
         P.O. Box 1849                                                Unliquidated
         Anna Maria, FL 34216
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6149
                                                                   Is the claim subject to offset?     No       Yes

3.126
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES H. OATES                                             Contingent
         1308 Depaul Way                                              Unliquidated
         Virginia Beach, VA 23464-4612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4447
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 183 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 191 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.126
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES HAGAN JR                                             Contingent
         15664 Bromeliad Road                                         Unliquidated
         Bokeelia, FL 33922-1819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6677
                                                                   Is the claim subject to offset?     No       Yes

3.126
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CHARLES I HOLDEN JR                                          Contingent
         2772 Northwest 43th Street Suite S                           Unliquidated
         Gainesville, FL 32603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6385
                                                                   Is the claim subject to offset?     No       Yes

3.126
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES IRWIN KAPLAN                                         Contingent
         1300 Eden Drive                                              Unliquidated
         Ft. Worth, TX 76117-6115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4816
                                                                   Is the claim subject to offset?     No       Yes

3.126
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES J CHEVES                                             Contingent
         120 Castile Street                                           Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4390
                                                                   Is the claim subject to offset?     No       Yes

3.126
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES J FOSCHINI                                           Contingent
         777 Brickell Avenue Suite 1000                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3834
                                                                   Is the claim subject to offset?     No       Yes

3.126
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES J GOLDMAN                                            Contingent
         601 S Federal Highway                                        Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4287
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 184 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 192 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.126
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES J HARDEE III                                         Contingent
         1117 Harbert Street                                          Unliquidated
         Tallahassee, FL 32303-6418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6315
                                                                   Is the claim subject to offset?     No       Yes

3.126
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         CHARLES J KALETA JR                                          Contingent
         721 Tibidabo Avenue                                          Unliquidated
         Coral Gables, FL 33143-6226
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9683
                                                                   Is the claim subject to offset?     No       Yes

3.127
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES J KANE                                               Contingent
         301 Yamato Road Suite 3160                                   Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5813
                                                                   Is the claim subject to offset?     No       Yes

3.127
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES J SAVIO                                              Contingent
         12300 US Highway 19 N                                        Unliquidated
         Hudson, FL 34667
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8262
                                                                   Is the claim subject to offset?     No       Yes

3.127
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES J. CRIST, JR.                                        Contingent
         P.O. Box 391                                                 Unliquidated
         St. Petersburg, FL 33731-0391
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7677
                                                                   Is the claim subject to offset?     No       Yes

3.127
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES K RUSE JR                                            Contingent
         500 Northeast 8th Avenue                                     Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 236
                                                                   Is the claim subject to offset?     No       Yes

3.127
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,793.61
         CHARLES L BIGELOW JR                                         Contingent
         P.O. Box 938                                                 Unliquidated
         Ft Myers, FL 33902-0938                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3369
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 185 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 193 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.127
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES L JAFFEE                                             Contingent
         7301-A W. Palmetto Park Road                                 Unliquidated
         Suite 305C
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6263                      Is the claim subject to offset?     No       Yes

3.127
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         CHARLES L SIECK                                              Contingent
         1700 S Dixie Highway Suite 203                               Unliquidated
         Boca Raton, FL 33432-7406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 635
                                                                   Is the claim subject to offset?     No       Yes

3.127
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES LEA HUME                                             Contingent
         Suite 1600 Barnett Tower                                     Unliquidated
         701 Brickell Avenue
                                                                      Disputed
         Miami, FL 33131-2827
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1259                      Is the claim subject to offset?     No       Yes

3.127
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES M DEMOS                                              Contingent
         16211 Northeast 12th Avenue Suite 2                          Unliquidated
         North Miami Beach, FL 33162-4522
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1779
                                                                   Is the claim subject to offset?     No       Yes

3.127
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES M FAHLBUSCH                                          Contingent
         3443 Oak Drive                                               Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6180
                                                                   Is the claim subject to offset?     No       Yes

3.128
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES M HILL III                                           Contingent
         7911 Northwest 72nd Avenue Suite 115                         Unliquidated
         Medley, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6155
                                                                   Is the claim subject to offset?     No       Yes

3.128
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES M JONES                                              Contingent
         8119 Almeria Road                                            Unliquidated
         Fort Myers, FL 33967
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2599
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 186 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 194 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.128
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CHARLES M MILLIGAN                                           Contingent
         P.O. Box 596                                                 Unliquidated
         Williston, FL 32696-0596
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5492
                                                                   Is the claim subject to offset?     No       Yes

3.128
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES M PIGOTT                                             Contingent
         330 US Highway One Suite 2                                   Unliquidated
         Lake Park, FL 33403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8478
                                                                   Is the claim subject to offset?     No       Yes

3.128
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES O MORGAN JR                                          Contingent
         1300 Northwest 167th Street                                  Unliquidated
         Miami, FL 33169-5738
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8160
                                                                   Is the claim subject to offset?     No       Yes

3.128
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $690.72
         CHARLES O. PARKS, JR.                                        Contingent
         P.O. Box 40011                                               Unliquidated
         St. Petersburg, FL 33743-0011                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2773
                                                                   Is the claim subject to offset?     No       Yes

3.128
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CHARLES P HOSKIN                                             Contingent
         445 E Government Street                                      Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7856
                                                                   Is the claim subject to offset?     No       Yes

3.128
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES P JOHNSON JR                                         Contingent
         P.O. Box 460639                                              Unliquidated
         Ft Lauderdale, FL 33346-0639
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4844
                                                                   Is the claim subject to offset?     No       Yes

3.128
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Charles P. Castellon, P.A.                                   Contingent
         8810 Commodity Circle Suite 27                               Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6830
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 187 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 195 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.128
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES PERRY                                                Contingent
         1100 Cleveland Street Suite 900                              Unliquidated
         Clearwater, FL 34615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4129
                                                                   Is the claim subject to offset?     No       Yes

3.129
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES R BURNETT                                            Contingent
         701 W Cypress Creek Road Suite 302                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5672
                                                                   Is the claim subject to offset?     No       Yes

3.129
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES R FORMAN                                             Contingent
         P.O. Box 159                                                 Unliquidated
         Ocala, FL 32678-0159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7060
                                                                   Is the claim subject to offset?     No       Yes

3.129
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES R L WHITE                                            Contingent
         941 N Highway A1A                                            Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5666
                                                                   Is the claim subject to offset?     No       Yes

3.129
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES R MAYER                                              Contingent
         P.O. Box 267                                                 Unliquidated
         Highland City, FL 33846-0267
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3492
                                                                   Is the claim subject to offset?     No       Yes

3.129
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES R MEADOR JR                                          Contingent
         50 Fairview Boulevard                                        Unliquidated
         Ft Myers Beach, FL 33931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6687
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 188 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 196 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.129
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES R MORGENSTEIN                                        Contingent
         1761 W Hillsboro Boulevard Suite 328                         Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1675
                                                                   Is the claim subject to offset?     No       Yes

3.129
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES R ROWE                                               Contingent
         1310 N Krome Avenue                                          Unliquidated
         Homestead, FL 33030-4207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4386
                                                                   Is the claim subject to offset?     No       Yes

3.129
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Charles R. Hayes, P.A.                                       Contingent
         2590 Northbrooke Plaza Drive                                 Unliquidated
         Suite 303
                                                                      Disputed
         Naples, FL 34119
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7734                      Is the claim subject to offset?     No       Yes

3.129
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES R. SILVERS                                           Contingent
         2430 30th Avenue N                                           Unliquidated
         St Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6057
                                                                   Is the claim subject to offset?     No       Yes

3.129
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES RESTREPO                                             Contingent
         1327 SE 2nd Avenue                                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5742
                                                                   Is the claim subject to offset?     No       Yes

3.130
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         CHARLES RYAN HICKMAN                                         Contingent
         240 10th Street                                              Unliquidated
         West Palm Beach, FL 33401-3502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7325
                                                                   Is the claim subject to offset?     No       Yes

3.130
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHARLES S DALE JR                                            Contingent
         414 NE 4th Street                                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8520
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 189 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 197 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.130
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,664.61
         CHARLES S WHITE PA                                           Contingent
         104 N. Evers Street                                          Unliquidated
         Suite 201                                                    Disputed
         Plant City, FL 33563
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3088                      Is the claim subject to offset?     No       Yes


3.130
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES T DILLON                                             Contingent
         P.O. Box 277                                                 Unliquidated
         Scottville, MI 49454-0277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6164
                                                                   Is the claim subject to offset?     No       Yes

3.130
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES T MOORE                                              Contingent
         2570 W Int'L Speedway Boulevard                              Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 546
                                                                   Is the claim subject to offset?     No       Yes

3.130
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Charles T. Douglas, Jr., PA                                  Contingent
         DBA The Douglas Law Firm                                     Unliquidated
         1301 St. Johns Avenue
                                                                      Disputed
         Palatka, FL 32177
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8667                      Is the claim subject to offset?     No       Yes

3.130
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARLES TINDELL PA                                           Contingent
         406 N Wild Olive Avenue                                      Unliquidated
         Daytona Beach, FL 32118-3938
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3135
                                                                   Is the claim subject to offset?     No       Yes

3.130
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,500.29
         CHARLES W BATTISTI                                           Contingent
         250 Catalonia Avenue Suite 304                               Unliquidated
         Coral Gables, FL 33134                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3339
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 190 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 198 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.130
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES W KELLER                                             Contingent
         P.O. Box 3061                                                Unliquidated
         Orlando, FL 32802-3061
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4661
                                                                   Is the claim subject to offset?     No       Yes

3.130
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLES W LITTELL                                            Contingent
         4041 Northwest 37th Pl Suite B                               Unliquidated
         Gainesville, FL 32606-6177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 531
                                                                   Is the claim subject to offset?     No       Yes

3.131
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES W WEBB                                               Contingent
         5285 Riverwood Avenue                                        Unliquidated
         Sarasota, FL 34231-4241
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4756
                                                                   Is the claim subject to offset?     No       Yes

3.131
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLES Z KALCHMAN                                           Contingent
         323 Sunny Isles Boulevard                                    Unliquidated
         Suite 700
                                                                      Disputed
         Sunny Isles Beach, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0554                      Is the claim subject to offset?     No       Yes

3.131
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHARLIE LUCKIE JR PA                                         Contingent
         P.O. Box 69                                                  Unliquidated
         Dade City, FL 33526-0069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4729
                                                                   Is the claim subject to offset?     No       Yes

3.131
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLOTTE E. KARLAN                                          Contingent
         7700 N. Kendall Dr.                                          Unliquidated
         Miami, FL 33156-7564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8158
                                                                   Is the claim subject to offset?     No       Yes

3.131
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLOTTE F ABINGTON                                         Contingent
         305 Edgewater Drive                                          Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0969
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 191 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 199 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.131
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLOTTE H DANCIU                                           Contingent
         202 N Swinton Avenue                                         Unliquidated
         Delray Beach, FL 33444
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7061
                                                                   Is the claim subject to offset?     No       Yes

3.131
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHARLOTTE J BARKAN                                           Contingent
         16750 Northeast 10th Avenue Apt 201                          Unliquidated
         North Miami Beach, FL 33162-2669
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1086
                                                                   Is the claim subject to offset?     No       Yes

3.131
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARLOTTE ROSITA ADDERLEY                                    Contingent
         123 N Kentucky Avenue Suite 219                              Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7996
                                                                   Is the claim subject to offset?     No       Yes

3.131
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARMAINE C POWELL                                           Contingent
         20401 Northwest 2nd Avenue Suite 201                         Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4989
                                                                   Is the claim subject to offset?     No       Yes

3.131
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHARMAINE J COMPROSKY PA                                     Contingent
         2310 E Atlantic Boulevard Suite 204                          Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4628
                                                                   Is the claim subject to offset?     No       Yes

3.132
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHARNELLE H SUMMERS JR                                       Contingent
         P.O. Box 1026                                                Unliquidated
         Key Largo, FL 33037-1026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7731
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 192 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 200 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.132
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHASE FREEMAN PA                                             Contingent
         250 Colonial Center Parkway Suite 250                        Unliquidated
         Lake Mary, FL 32746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9659
                                                                   Is the claim subject to offset?     No       Yes

3.132
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CHASE LAW PA                                                 Contingent
         700 71st Street                                              Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6528
                                                                   Is the claim subject to offset?     No       Yes

3.132
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHAVI F HERTZ                                                Contingent
         4340 N Bay Road                                              Unliquidated
         Miami Beach, FL 33140-2855
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5070
                                                                   Is the claim subject to offset?     No       Yes

3.132
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHEFFY PASSIDOMO                                             Contingent
         821 5th Avenue S.                                            Unliquidated
         Suite 201
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8515                      Is the claim subject to offset?     No       Yes

3.132
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHENG-SHOU WANG                                              Contingent
         6122 Katella Avenue                                          Unliquidated
         Cypress, CA 90630
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0288
                                                                   Is the claim subject to offset?     No       Yes

3.132
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHENLAW PA                                                   Contingent
         2719 S Maguire Road                                          Unliquidated
         Ocoee, FL 34761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6722
                                                                   Is the claim subject to offset?     No       Yes

3.132
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHERI JOHNSON WRIGHT                                         Contingent
         154 Avenue H SE                                              Unliquidated
         Suite 2
                                                                      Disputed
         Winter Haven, FL 33880-3271
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8339                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 193 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 201 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.132
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         CHERN & SEVIN                                                Contingent
         Chern & Sevin                                                Unliquidated
         1313 Ponce De Leon Boulevard, Suite 301
                                                                      Disputed
         Coral Gables, FL 33134-3433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 691                       Is the claim subject to offset?     No       Yes

3.132
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cherry Edgar & Smith, P.A.                                   Contingent
         8409 N. Military Trail                                       Unliquidated
         Suite 123
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8701                      Is the claim subject to offset?     No       Yes

3.133
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHERYL K LAING                                               Contingent
         P.O. Box 28355                                               Unliquidated
         Panama City Beach, FL 32411-8355
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3460
                                                                   Is the claim subject to offset?     No       Yes

3.133
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CHERYL S. SCHREIBER                                          Contingent
         5600 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021-3240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6363
                                                                   Is the claim subject to offset?     No       Yes

3.133
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         Chesser & Barr, P.A.                                         Contingent
         D Michael Chesser                                            Unliquidated
         1201 Eglin Parkway, Suite A
                                                                      Disputed
         Shalimar, FL 32579-1206
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6015                      Is the claim subject to offset?     No       Yes

3.133
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHESTER CLEM PA                                              Contingent
         2145 15th Avenue                                             Unliquidated
         Vero Beach, FL 32960-3435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6484
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 194 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 202 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.133
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,909.82
         CHESTER E CLEM PA                                            Contingent
         C/O Clem Polackwich Et Al                                    Unliquidated
         3333 20th Street                                             Disputed
         Vero Beach, FL 32960-4230
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7440                      Is the claim subject to offset?     No       Yes


3.133
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CHESTER J TROW                                               Contingent
         1301 Northeast 14th Street                                   Unliquidated
         Ocala, FL 34470-4541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8086
                                                                   Is the claim subject to offset?     No       Yes

3.133
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHESTER J TROW PA                                            Contingent
         1301 NE 14th Street                                          Unliquidated
         Ocala, FL 34470-4641
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9268
                                                                   Is the claim subject to offset?     No       Yes

3.133
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHET A. THARPE                                               Contingent
         302 N. Michigan Avenue Suite 10                              Unliquidated
         Plant City, FL 33566-3459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8400
                                                                   Is the claim subject to offset?     No       Yes

3.133
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         CHILLDON & CHILLDON                                          Contingent
         309 Rubens Drive                                             Unliquidated
         Nokomis, FL 34275
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1460
                                                                   Is the claim subject to offset?     No       Yes

3.133
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHILLINGWORTH & CONWAY PA                                    Contingent
         Brandywine Center One                                        Unliquidated
         580 Village Boulevard Suite 160
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6531                      Is the claim subject to offset?     No       Yes

3.134
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         CHIUMENTO & GUNTHARP PA                                      Contingent
         145 City Place                                               Unliquidated
         Suite 301
                                                                      Disputed
         Palm Coast, FL 32164-2481
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5003                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 195 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 203 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.134
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Chluski Law                                                  Contingent
         1200 N. Federal Highway                                      Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0456                      Is the claim subject to offset?     No       Yes

3.134
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRIS CADENHEAD                                              Contingent
         P.O. Box 727                                                 Unliquidated
         Crestview, FL 32536-0727
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8210
                                                                   Is the claim subject to offset?     No       Yes

3.134
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHRIS G MCEWAN                                               Contingent
         4395 Stillwater Drive                                        Unliquidated
         Merritt Island, FL 32952-6321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8000
                                                                   Is the claim subject to offset?     No       Yes

3.134
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRIS KEITH                                                  Contingent
         7301a W Palmetto Park Road Suite 305c                        Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4609
                                                                   Is the claim subject to offset?     No       Yes

3.134
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHRIS M VORBECK                                              Contingent
         4470 Northgate Court                                         Unliquidated
         Sarasota, FL 34234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9325
                                                                   Is the claim subject to offset?     No       Yes

3.134
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRIS M. LIMBEROPOULOS                                       Contingent
         14310 North Dale Mabry Highway                               Unliquidated
         Suite 260
                                                                      Disputed
         Tampa, FL 33618-2059
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8514                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 196 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 204 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.134
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRIS S EGAN                                                 Contingent
         P.O. Box 1794                                                Unliquidated
         Silver Springs, FL 34489-1794
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8115
                                                                   Is the claim subject to offset?     No       Yes

3.134
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTI R ROMERO PA                                          Contingent
         2518 Burnsed Boulevard                                       Unliquidated
         Suite 325
                                                                      Disputed
         The Villages, FL 32163
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0609                      Is the claim subject to offset?     No       Yes

3.134
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHRISTIAN B FELDEN                                           Contingent
         3838 Tamiami Trail N Suite 416                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8524
                                                                   Is the claim subject to offset?     No       Yes

3.135
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Christian Carrazana, P.A.                                    Contingent
         P.O. Box 700130                                              Unliquidated
         Miami, FL 33170-0130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9201
                                                                   Is the claim subject to offset?     No       Yes

3.135
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Christian Cruz, P.A.                                         Contingent
         225 Southeast 15th Terrace                                   Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7566
                                                                   Is the claim subject to offset?     No       Yes

3.135
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Christian Marcelli, P.A.                                     Contingent
         146 2nd Street North                                         Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7417
                                                                   Is the claim subject to offset?     No       Yes

3.135
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTIAN N FOLLAND                                          Contingent
         940 Lincoln Road Suite 319                                   Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4299
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 197 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 205 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.135
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTIAN N SCHOLIN                                          Contingent
         477 S Rosemary Avenue Suite 319                              Unliquidated
         West Palm Beach, FL 33401-5798
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6820
                                                                   Is the claim subject to offset?     No       Yes

3.135
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTIANE G MENDE                                           Contingent
         P O Box 212164                                               Unliquidated
         Royal Palm Beach, FL 33421
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0191
                                                                   Is the claim subject to offset?     No       Yes

3.135
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTIANE PITTALUGA                                         Contingent
         P.O. Box 6143                                                Unliquidated
         Delray Beach, FL 33482
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7529
                                                                   Is the claim subject to offset?     No       Yes

3.135
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         CHRISTIANSEN & DEHNER PA                                     Contingent
         63 Sarasota Center Boulevard Suite 107                       Unliquidated
         Sarasota, FL 34240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6571
                                                                   Is the claim subject to offset?     No       Yes

3.135
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHRISTIANSEN JACKNIN &                                       Contingent
         P.O. Box 3346                                                Unliquidated
         West Palm Beach, FL 33402-3346
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5369
                                                                   Is the claim subject to offset?     No       Yes

3.135
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTIE S JONES                                             Contingent
         P.O. Box 41100                                               Unliquidated
         St Petersburg, FL 33743-1100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2316
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 198 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 206 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.136
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTIN M OLIVIE                                            Contingent
         537 S Dearborn Street Apt 13b                                Unliquidated
         Chicago, IL 60605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7048
                                                                   Is the claim subject to offset?     No       Yes

3.136
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTINE A CROUSILLAT PA                                    Contingent
         841 Northeast 95th Street                                    Unliquidated
         Miami Shores, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2516
                                                                   Is the claim subject to offset?     No       Yes

3.136
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTINE LONG POTTER                                        Contingent
         1st American Title Insurance Company                         Unliquidated
         11 N Summerlin Avenue
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8528                      Is the claim subject to offset?     No       Yes

3.136
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTINE M HORN                                             Contingent
         3469 W Boynton Beach Boulevard Suite 15                      Unliquidated
         Boynton Beach, FL 33436-4639
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2505
                                                                   Is the claim subject to offset?     No       Yes

3.136
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTINE M MORENO                                           Contingent
         4450 Southeast Federal Highway                               Unliquidated
         Stuart, FL 34997-4131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5389
                                                                   Is the claim subject to offset?     No       Yes

3.136
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Christman Law, P.L.                                          Contingent
         44 Dolphin Place                                             Unliquidated
         Freeport, FL 32439
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7142
                                                                   Is the claim subject to offset?     No       Yes

3.136
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER A ANSELMO                                        Contingent
         2901 W State Road 434 Suite 131                              Unliquidated
         Longwood, FL 32779
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7284
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 199 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 207 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.136
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER A ROCHE                                          Contingent
         229 N. Collier Boulevard                                     Unliquidated
         Suite 8
                                                                      Disputed
         Marco Island, FL 34145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8575                      Is the claim subject to offset?     No       Yes

3.136
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHRISTOPHER B KNOX                                           Contingent
         300 S. Pine Island Road                                      Unliquidated
         Suite 201
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6462                      Is the claim subject to offset?     No       Yes

3.136
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER B WALDERA                                        Contingent
         5800 Overseas Highway                                        Unliquidated
         Suite 7
                                                                      Disputed
         Marathon, FL 33050
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6050                      Is the claim subject to offset?     No       Yes

3.137
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER D HALE PA                                        Contingent
         2821 E. Commercial Boulevard                                 Unliquidated
         Suite 213
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5182                      Is the claim subject to offset?     No       Yes

3.137
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER D JOHNSTON                                       Contingent
         P.O. Box 14121                                               Unliquidated
         Tallahassee, FL 32317-4121
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6124
                                                                   Is the claim subject to offset?     No       Yes

3.137
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER D MORRISSEY                                      Contingent
         P.O. Box 50757                                               Unliquidated
         Jacksonville Beach, FL 32240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3978
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 200 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 208 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.137
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,175.10
         CHRISTOPHER D NILES                                          Contingent
         2400 E Commercial Boulevard Suite 208                        Unliquidated
         Ft Lauderdale, FL 33308                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8140
                                                                   Is the claim subject to offset?     No       Yes

3.137
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER D PATTERSON                                      Contingent
         6030 Hollywood Boulevard Suite 110                           Unliquidated
         Hollywood, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4964
                                                                   Is the claim subject to offset?     No       Yes

3.137
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHRISTOPHER D SMITH PA                                       Contingent
         1561 Lakefront Drive                                         Unliquidated
         Suite 204
                                                                      Disputed
         Sarasota, FL 34240
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0304                      Is the claim subject to offset?     No       Yes

3.137
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER D VASALLO                                        Contingent
         12394 Southwest 82nd Avenue                                  Unliquidated
         Pinecrest Postal Store, FL 33156-5255
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8064
                                                                   Is the claim subject to offset?     No       Yes

3.137
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER DESROCHERS                                       Contingent
         2504 Avenue G NW                                             Unliquidated
         Winter Haven, FL 33880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5222
                                                                   Is the claim subject to offset?     No       Yes

3.137
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER E BROOME                                         Contingent
         P.O. Box 729                                                 Unliquidated
         Titusville, FL 32781-0729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8453
                                                                   Is the claim subject to offset?     No       Yes

3.137
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHRISTOPHER F TODD                                           Contingent
         6865 Southwest 18th Street Suite 110                         Unliquidated
         Boca Raton, FL 33433-7056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5235
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 201 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 209 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.138
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,916.65
         CHRISTOPHER H COOK                                           Contingent
         107 Thornton Drive                                           Unliquidated
         Palm Beach Gardens, FL 33418                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 374
                                                                   Is the claim subject to offset?     No       Yes

3.138
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER H SAIA PA                                        Contingent
         1031 Ives Dairy Road Suite 218                               Unliquidated
         Miami, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0167
                                                                   Is the claim subject to offset?     No       Yes

3.138
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER J CONA PA                                        Contingent
         3080 Tamiami Trail E                                         Unliquidated
         Naples, FL 34112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1583
                                                                   Is the claim subject to offset?     No       Yes

3.138
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER J GERTZ PA                                       Contingent
         888 S Andrews Avenue Suite 204                               Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2433
                                                                   Is the claim subject to offset?     No       Yes

3.138
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER J RYAN PA                                        Contingent
         700 E Dania Beach Boulevard 3rd Floor                        Unliquidated
         Dania Beach, FL 33004-3090
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6799
                                                                   Is the claim subject to offset?     No       Yes

3.138
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHRISTOPHER J SCHILLING                                      Contingent
         12765 Forest Hill Boulevard Suite 1302                       Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7561
                                                                   Is the claim subject to offset?     No       Yes

3.138
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CHRISTOPHER J THIEL                                          Contingent
         7821 Little Road                                             Unliquidated
         New Port Richey, FL 34654-5404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7034
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 202 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 210 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.138
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CHRISTOPHER J TWOHEY                                         Contingent
         844 Southeast Ocean Boulevard Suite A                        Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2173
                                                                   Is the claim subject to offset?     No       Yes

3.138
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER JAMES KEITH                                      Contingent
         1500 Northwest 49th Street Suite 500                         Unliquidated
         Spectrum 1500 Building
                                                                      Disputed
         Ft Lauderdale, FL 33309-3779
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3656                      Is the claim subject to offset?     No       Yes

3.138
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER K CASWELL PA                                     Contingent
         3700 S Tamiami Trail Stuite 200                              Unliquidated
         Sarasota, FL 34239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1897
                                                                   Is the claim subject to offset?     No       Yes

3.139
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER M HUNTER                                         Contingent
         111 Second Avenue Northeast Suite 202                        Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7997
                                                                   Is the claim subject to offset?     No       Yes

3.139
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Christopher M. Galeta, P.A.                                  Contingent
         631 US Highway One                                           Unliquidated
         Suite 300
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0635                      Is the claim subject to offset?     No       Yes

3.139
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER N DAVIES                                         Contingent
         2375 Tamiami Trail N Suite 308                               Unliquidated
         Naples, FL 34103-4439
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3862
                                                                   Is the claim subject to offset?     No       Yes

3.139
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CHRISTOPHER P KELLEY                                         Contingent
         11098 Biscayne Boulevard                                     Unliquidated
         Suite 205
                                                                      Disputed
         Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8266                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 203 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 211 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.139
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER RANIERI                                          Contingent
         10900 Northwest 14th Street                                  Unliquidated
         Coral Springs, FL 33071-8222
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4032
                                                                   Is the claim subject to offset?     No       Yes

3.139
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTOPHER W HAYES                                          Contingent
         Kilgore Pearlman Et Al P.A.                                  Unliquidated
         2 South Orange Avenue 5th Floor
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5918                      Is the claim subject to offset?     No       Yes

3.139
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Christopher W. Adamec, P.A.                                  Contingent
         46 Tuscan Way Suite 304                                      Unliquidated
         St Augustine, FL 32092
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7890
                                                                   Is the claim subject to offset?     No       Yes

3.139
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CHRISTY BRADY JANSSEN PA                                     Contingent
         120 S Olive Avenue Suite 504                                 Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7499
                                                                   Is the claim subject to offset?     No       Yes

3.139
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CIBRAN ELJAIEK & LOPEZ PL                                    Contingent
         2601 S Bayshore Drive Suite 700                              Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7216
                                                                   Is the claim subject to offset?     No       Yes

3.139
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CINDY A BARWELL                                              Contingent
         1300 Southwest 20th Street                                   Unliquidated
         Boca Raton, FL 33486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5601
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 204 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 212 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.140
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cintron & Hogan, P.A.                                        Contingent
         317 Whitehead Street                                         Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9112
                                                                   Is the claim subject to offset?     No       Yes

3.140
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CIVIL TRIAL PRACTICE PA                                      Contingent
         152 Northeast 167th Street Suite 300                         Unliquidated
         Miami, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9708
                                                                   Is the claim subject to offset?     No       Yes

3.140
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CJ Law, L.L.C.                                               Contingent
         303 Banyan Boulevard                                         Unliquidated
         Suite 303
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0133                      Is the claim subject to offset?     No       Yes

3.140
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CJ National Title, L.L.C.                                    Contingent
         2803 Gulf To Bay Boulevard                                   Unliquidated
         Suite 431
                                                                      Disputed
         Clearwater, FL 33759-4014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9185                      Is the claim subject to offset?     No       Yes

3.140
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLARA DEL RISCO                                              Contingent
         10620 Griffin Road                                           Unliquidated
         Suite 102
                                                                      Disputed
         Cooper City, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5597                      Is the claim subject to offset?     No       Yes

3.140
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Clara Vertes                                                 Contingent
         12384 SW 82nd Avenue                                         Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7060
                                                                   Is the claim subject to offset?     No       Yes

3.140
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLARDY LAW FIRM PA                                           Contingent
         P.O. Box 2410                                                Unliquidated
         Crystal River, FL 34423-2410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3678
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 205 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 213 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.140
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLARE COLLERAN-MCKENRY                                       Contingent
         1140 S Alhambra Circle                                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8557
                                                                   Is the claim subject to offset?     No       Yes

3.140
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         CLARENCE STEINER                                             Contingent
         2509 Swanson Avenue                                          Unliquidated
         Coconut Grove, FL 33131-3850
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3463
                                                                   Is the claim subject to offset?     No       Yes

3.140
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLARFIELD & OKON PA                                          Contingent
         500 S. Australian Avenue                                     Unliquidated
         Suite 700
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5722                      Is the claim subject to offset?     No       Yes

3.141
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         CLARK CAMPBELL MAWHINNEY                                     Contingent
         500 S. Florida Avenue                                        Unliquidated
         Suite 800
                                                                      Disputed
         Lakeland, FL 33801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7772                      Is the claim subject to offset?     No       Yes

3.141
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,340.40
         CLARK PARTINGTON HART LARRY                                  Contingent
         P.O. Box 13010                                               Unliquidated
         Pensacola, FL 32591-3010                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5599
                                                                   Is the claim subject to offset?     No       Yes

3.141
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CLAUDE B. ARRINGTON                                          Contingent
         3070 Hawks Glen                                              Unliquidated
         Tallahassee, FL 32312-1747
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7365
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 206 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 214 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.141
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLAUDE DORSY                                                 Contingent
         7740 Southwest 104th Street Suite 200                        Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8060
                                                                   Is the claim subject to offset?     No       Yes

3.141
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLAUDE R MOULTON PA                                          Contingent
         2014 N Laura Street                                          Unliquidated
         Jacksonville, FL 32206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6914
                                                                   Is the claim subject to offset?     No       Yes

3.141
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CLAUDE R WALKER                                              Contingent
         Guilday Tucker Schwartz Et Al                                Unliquidated
         P.O. Box 12500
                                                                      Disputed
         Tallahassee, FL 32317-2500
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5983                      Is the claim subject to offset?     No       Yes

3.141
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLAUDETTE A PELLETIER                                        Contingent
         P.O. Box 644041                                              Unliquidated
         Vero Beach, FL 32964-4041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4638
                                                                   Is the claim subject to offset?     No       Yes

3.141
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CLAUDIA C CARRILLO                                           Contingent
         1560 Lyndale Boulevard                                       Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7258
                                                                   Is the claim subject to offset?     No       Yes

3.141
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLAUDIA H DUFFEY                                             Contingent
         The Atrium Suite 300                                         Unliquidated
         1515 N Federal Highway
                                                                      Disputed
         Boca Raton, FL 33432-1994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7689                      Is the claim subject to offset?     No       Yes

3.141
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLAUDIO RIVERA                                               Contingent
         Claudio Rivera P.A.                                          Unliquidated
         P.O. Box 166018
                                                                      Disputed
         Miami, FL 33116
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4023                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 207 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 215 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.142
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Clavelo Law L.L.C.                                           Contingent
         900 West 49th Street Suite 204                               Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9040
                                                                   Is the claim subject to offset?     No       Yes

3.142
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         CLAYTON & MCCULLOH                                           Contingent
         1065 Maitland Center Commons Boulevard                       Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6300
                                                                   Is the claim subject to offset?     No       Yes

3.142
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CLAYTON H BLANCHARD JR PA                                    Contingent
         35 E. Pinehurst Boulevard                                    Unliquidated
         Eustis, FL 32726-6338
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2156
                                                                   Is the claim subject to offset?     No       Yes

3.142
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CLAYTON J M ADKINSON                                         Contingent
         P.O. Box 1207                                                Unliquidated
         Defuniak Springs, FL 32435-1207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 456
                                                                   Is the claim subject to offset?     No       Yes

3.142
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLAYTON J MYNARD PL                                          Contingent
         202 S Rome Avenue Suite 100                                  Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7142
                                                                   Is the claim subject to offset?     No       Yes

3.142
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,591.76
         CLAYTON-JOHNSTON PA                                          Contingent
         18 Northwest 33rd Court                                      Unliquidated
         Gainesville, FL 32607                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 48
                                                                   Is the claim subject to offset?     No       Yes

3.142
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Clear Harbor Title, LLC                                      Contingent
         1112 Channelside Drive                                       Unliquidated
         Suite 6
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1596                      Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 208 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 216 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.142
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Clear Title Partners dba Clear Title                         Contingent
         324 N. Dale Mabry Hwy                                        Unliquidated
         Suite 300
                                                                      Disputed
         Tampa, FL 33609
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0985                      Is the claim subject to offset?     No       Yes

3.142
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Clear2Close Title & Escrow, L.L.C.                           Contingent
         814 W. Lantana Road                                          Unliquidated
         Suite 2B
                                                                      Disputed
         Lantana, FL 33462
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0233                      Is the claim subject to offset?     No       Yes

3.142
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Clerge Law Office, P.L.L.C.                                  Contingent
         1451 W. Cypress Creek Road                                   Unliquidated
         Suite 300
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0344                      Is the claim subject to offset?     No       Yes

3.143
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLIFFORD KING                                                Contingent
         P.O. Box 2704                                                Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0870
                                                                   Is the claim subject to offset?     No       Yes

3.143
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         CLIFFORD M ABLES III PA                                      Contingent
         551 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7182
                                                                   Is the claim subject to offset?     No       Yes

3.143
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLIFFORD M STEIN                                             Contingent
         5345 Pine Tree Drive                                         Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6905
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 209 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 217 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.143
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CLIFFORD R OPP JR                                            Contingent
         1001 E Baker Street Suite 201                                Unliquidated
         Plant City, FL 33539
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7419
                                                                   Is the claim subject to offset?     No       Yes

3.143
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         CLIFFORD R RHOADES PA                                        Contingent
         2141 Lakeview Drive                                          Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7386
                                                                   Is the claim subject to offset?     No       Yes

3.143
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CLIFTON A LIVINGSTON PA                                      Contingent
         201 E Davis Boulevard                                        Unliquidated
         Tampa, FL 33606-3728
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7240
                                                                   Is the claim subject to offset?     No       Yes

3.143
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CLIFTON L HOWELL JR                                          Contingent
         532 Sandy Hook Road                                          Unliquidated
         Treasure Island, FL 33706-1213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2574
                                                                   Is the claim subject to offset?     No       Yes

3.143
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CLINTON E FOSTER                                             Contingent
         P.O. Box 2236                                                Unliquidated
         Panama City, FL 32402-2236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4440
                                                                   Is the claim subject to offset?     No       Yes

3.143
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLIVE M RYAN PA                                              Contingent
         13615 S Dixie Highway Suite 114-567                          Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7108
                                                                   Is the claim subject to offset?     No       Yes

3.143
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Closings.Com, Inc.                                           Contingent
         1124 Kane Concourse                                          Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5065
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 210 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 218 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.144
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLYDE N WELLS JR                                             Contingent
         P.O. Box 56530                                               Unliquidated
         Jacksonville, FL 32241-6530
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8451
                                                                   Is the claim subject to offset?     No       Yes

3.144
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CLYNE & SELF PA                                              Contingent
         Famu Office of The Gerl Counsel                              Unliquidated
         1601 S Mlk Jr Boulevard
                                                                      Disputed
         Tallahassee, FL 32307-3100
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5380                      Is the claim subject to offset?     No       Yes

3.144
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CMO Law Group, L.L.C.                                        Contingent
         P.O. Box 78                                                  Unliquidated
         Ft Lauderdale, FL 33302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8516
                                                                   Is the claim subject to offset?     No       Yes

3.144
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Coastal Land Title, L.L.C.                                   Contingent
         14620 Perdido Key Drive                                      Unliquidated
         Suite 100
                                                                      Disputed
         Pensacola, FL 32507
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9646                      Is the claim subject to offset?     No       Yes

3.144
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,556.85
         COBB & COLE                                                  Contingent
         149 S. Ridgewood Avenue                                      Unliquidated
         Suite 700                                                    Disputed
         Daytona Beach, FL 32114-2491
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6                         Is the claim subject to offset?     No       Yes


3.144
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,373.53
         COBLE WOODS WEBSTER BUSH                                     Contingent
         595 W Granada Boulevard Suite A                              Unliquidated
         Ormond Beach, FL 32174                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1164
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 211 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 219 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.144
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         CODILIS & STAWIARSKI PA                                      Contingent
         4010 Boy Scout Boulevard Suite 450                           Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7296
                                                                   Is the claim subject to offset?     No       Yes

3.144
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         COE & BROBERG                                                Contingent
         223 Peruvian Avenue                                          Unliquidated
         Palm Beach, FL 33480-4635
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2975
                                                                   Is the claim subject to offset?     No       Yes

3.144
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         COE BROBERG & AUSTIN LLP                                     Contingent
         223 Peruvian Avenue                                          Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7982
                                                                   Is the claim subject to offset?     No       Yes

3.144
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         COHEN & BOBOTAS                                              Contingent
         Mellon Financial Center                                      Unliquidated
         1111 Brickell Avenue Suite 2920
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9066                      Is the claim subject to offset?     No       Yes

3.145
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COHEN & DEPAUL PA                                            Contingent
         Attn: Wedny J. Depaul                                        Unliquidated
         8875 Hidden River Parkway Suite 300
                                                                      Disputed
         Tampa, FL 33637-2087
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3089                      Is the claim subject to offset?     No       Yes

3.145
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COHEN & GREENBERG LLC                                        Contingent
         2883 Executive Park Drive                                    Unliquidated
         Suite 200
                                                                      Disputed
         Weston, FL 33331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9127                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 212 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 220 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.145
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         COHEN & GRIGSBY PC                                           Contingent
         Mercato                                                      Unliquidated
         9110 Strada Place, Suite 6200
                                                                      Disputed
         Naples, FL 34108-2938
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7545                      Is the claim subject to offset?     No       Yes

3.145
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         COHEN & MAZZARANTANI PA                                      Contingent
         C/O Martin Cohen                                             Unliquidated
         15751 Sheridan Street Suite 124
                                                                      Disputed
         Ft Lauderdale, FL 33331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6826                      Is the claim subject to offset?     No       Yes

3.145
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         COHEN & OWENS PA                                             Contingent
         Broward Financial Center                                     Unliquidated
         500 E. Broward Boulevard, Suite 1400
                                                                      Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1698                      Is the claim subject to offset?     No       Yes

3.145
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         COHEN BERKE BERNSTEIN BRODIE                                 Contingent
         2601 S Bayshore Drive 19th Floor                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7830
                                                                   Is the claim subject to offset?     No       Yes

3.145
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         COHEN BERKE BERNSTEIN BRODIE                                 Contingent
         C/O Michael A Berke                                          Unliquidated
         200 S Biscayne Boulevard Suite 4000
                                                                      Disputed
         Miami, FL 33131-2398
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7978                      Is the claim subject to offset?     No       Yes

3.145
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COHEN CONWAY COPELAND KLETT                                  Contingent
         3399 PGA Boulevard Suite 480                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7085
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 213 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 221 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.145
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,306.07
         COHEN FOX PA                                                 Contingent
         201 S Biscayne Boulevard                                     Unliquidated
         Suite 850                                                    Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4527                      Is the claim subject to offset?     No       Yes


3.145
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cohen Legal Group of Florida, PLLC                           Contingent
         1250 S. Pine Island Road                                     Unliquidated
         Suite 375
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0736                      Is the claim subject to offset?     No       Yes

3.146
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         COHEN NORRIS SCHERER                                         Contingent
         712 US Highway 1                                             Unliquidated
         Suite 400
                                                                      Disputed
         North Palm Beach, FL 33408-7146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7159                      Is the claim subject to offset?     No       Yes

3.146
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $931.45
         COHEN SHAPIRO POLISHER ET AL                                 Contingent
         22nd Floor Psfs Building                                     Unliquidated
         12 S 12th Street                                             Disputed
         Philadelphia, PA 19107
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5362                      Is the claim subject to offset?     No       Yes


3.146
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         COHN & COHN PA                                               Contingent
         P.O. Box 3424                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4651
                                                                   Is the claim subject to offset?     No       Yes

3.146
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COHRS MCQUEEN & FORD PA                                      Contingent
         800 Second Avenue S Suite 380                                Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3885
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 214 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 222 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.146
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cole, Scott & Kissane, P.A.                                  Contingent
         9150 S. Dadeland Boulevard                                   Unliquidated
         Suite 1400
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0740                      Is the claim subject to offset?     No       Yes

3.146
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLEEN O HENDERSON                                           Contingent
         1836 Southwest 22nd Terrace                                  Unliquidated
         Miami, FL 33145-3822
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8131
                                                                   Is the claim subject to offset?     No       Yes

3.146
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         COLEMAN YOVANOVICH & KOESTER                                 Contingent
         4001 Tamiami Trail N.                                        Unliquidated
         Suite 300
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0590                      Is the claim subject to offset?     No       Yes

3.146
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLETTE K MEYER                                              Contingent
         1070 E. Indiantown Road                                      Unliquidated
         Suite 312
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4091                      Is the claim subject to offset?     No       Yes

3.146
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLL DAVIDSON SMITH SLATER                                   Contingent
         201 S Biscayne Boulevard                                     Unliquidated
         3200 Miami Center
                                                                      Disputed
         Miami, FL 33131-4332
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5249                      Is the claim subject to offset?     No       Yes

3.146
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLLEEN COFFIELD SACHS                                       Contingent
         Old South Centre Suite 7102                                  Unliquidated
         36468 Emerald Coast Parkway
                                                                      Disputed
         Destin, FL 32541-0712
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8067                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 215 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 223 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.147
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLLEEN MARY STIGER PA                                       Contingent
         7300 W Camino Real                                           Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7822
                                                                   Is the claim subject to offset?     No       Yes

3.147
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLLEEN NEWHALL                                              Contingent
         120 N US Highway One Suite 200                               Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9049
                                                                   Is the claim subject to offset?     No       Yes

3.147
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLLING & BEATTIE PA                                         Contingent
         20 N Orange Avenue Suite 1107                                Unliquidated
         Orlando, FL 32801-4641
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8537
                                                                   Is the claim subject to offset?     No       Yes

3.147
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,507.40
         COLLINS BROWN CALDWELL BARKETT                               Contingent
         P.O. Box 64-3686                                             Unliquidated
         Vero Beach, FL 32964-3686                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3956
                                                                   Is the claim subject to offset?     No       Yes

3.147
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COLLINS SHIPMAN & LUCAS PA                                   Contingent
         P.O. Drawer 12429                                            Unliquidated
         Tallahassee, FL 32317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8467
                                                                   Is the claim subject to offset?     No       Yes

3.147
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COMERFORD LAW FIRM PA                                        Contingent
         350 Camino Gdns Boulevard Suite 303                          Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5659
                                                                   Is the claim subject to offset?     No       Yes

3.147
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Community Law & Title, P.A.                                  Contingent
         6601 Memorial Highway                                        Unliquidated
         Suite 219
                                                                      Disputed
         Tampa, FL 33615
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7782                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 216 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 224 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.147
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CONCEPCION SEXTON & URDANETA                                 Contingent
         Attn: Carlos Concepcion                                      Unliquidated
         999 Ponce Deleon Boulevard Suite 1015
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2683                      Is the claim subject to offset?     No       Yes

3.147
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CONDE & COHEN PL                                             Contingent
         445 N Andrews Avenue Suite 2                                 Unliquidated
         Ft Lauderdale, FL 33301-3359
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2785
                                                                   Is the claim subject to offset?     No       Yes

3.147
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Conerly Bowman & Dykes, L.L.P.                               Contingent
         4477 Legendary Drive                                         Unliquidated
         Suite 201
                                                                      Disputed
         Destin, FL 39982
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9982                      Is the claim subject to offset?     No       Yes

3.148
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CONKLIN STANLEY AND PROBST PA                                Contingent
         1465 S Fort Harrison Avenue                                  Unliquidated
         Clearwater, FL 34616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7352
                                                                   Is the claim subject to offset?     No       Yes

3.148
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CONLEY MALLEY & GOLSON PA                                    Contingent
         36739 State Road 52                                          Unliquidated
         Suite 213
                                                                      Disputed
         Dade City, FL 33525
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4242                      Is the claim subject to offset?     No       Yes

3.148
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CONRAD S KULATZ                                              Contingent
         633 Southeast 3rd Avenue Suite 4r                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5005
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 217 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 225 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.148
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         CONROY CONROY & DURANT PA                                    Contingent
         Suite 1201                                                   Unliquidated
         2210 Vanderbilt Beach Road
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7000                      Is the claim subject to offset?     No       Yes

3.148
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CONSTANCE L BRANDENBURG                                      Contingent
         851 Falcon Avenue                                            Unliquidated
         Miami Springs, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3851
                                                                   Is the claim subject to offset?     No       Yes

3.148
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CONSUELO C FERNANDEZ                                         Contingent
         9360 Sunset Drive Suite 256                                  Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8658
                                                                   Is the claim subject to offset?     No       Yes

3.148
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CONTRERAS JONASZ & CAMACHO PA                                Contingent
         141 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9782
                                                                   Is the claim subject to offset?     No       Yes

3.148
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COOPER & BYRNE                                               Contingent
         101 N Monroe Street Suite 900                                Unliquidated
         Tallahassee, FL 32301-1546
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2166
                                                                   Is the claim subject to offset?     No       Yes

3.148
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COOPER LAW PA                                                Contingent
         P.O. Box 3735                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9418
                                                                   Is the claim subject to offset?     No       Yes

3.148
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         COPELAND & CHAMBLISS                                         Contingent
         707 S.E. 3rd. Ave., Suite 401                                Unliquidated
         Ft. Lauderdale, FL 33316-1155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7074
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 218 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 226 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.149
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CORADIN LAW GROUP                                            Contingent
         7330 Belle Meade Boulevard                                   Unliquidated
         Miami, FL 33138-5244
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2742
                                                                   Is the claim subject to offset?     No       Yes

3.149
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CORD C MELLOR PA                                             Contingent
         13801 S Tamiami Trail Suite D                                Unliquidated
         North Port, FL 34287-2017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5455
                                                                   Is the claim subject to offset?     No       Yes

3.149
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CORDERO & ASSOCIATES PA                                      Contingent
         200 S. Biscayne Boulevard                                    Unliquidated
         Suite 2700
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6457                      Is the claim subject to offset?     No       Yes

3.149
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         COREY E HOFFMAN                                              Contingent
         3250 Mary Street Suite 303                                   Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7557
                                                                   Is the claim subject to offset?     No       Yes

3.149
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CORMAC C CONAHAN                                             Contingent
         P.O. Box 502                                                 Unliquidated
         Boca Raton, FL 33429-0502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6759
                                                                   Is the claim subject to offset?     No       Yes

3.149
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CORNETT GOOGE & ASSOCIATES PA                                Contingent
         P.O. Box 66                                                  Unliquidated
         Stuart, FL 34995
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4496
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 219 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 227 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.149
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Corona Law Firm, P.A.                                        Contingent
         6700 SW 38 Street                                            Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1023
                                                                   Is the claim subject to offset?     No       Yes

3.149
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CORPORATE TITLE INC                                          Contingent
         5820 N. Federal Highway                                      Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3366
                                                                   Is the claim subject to offset?     No       Yes

3.149
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $17.50
         CORT A NEIMARK                                               Contingent
         800 Corporate Drive Suite 420                                Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8319
                                                                   Is the claim subject to offset?     No       Yes

3.149
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CORY KING                                                    Contingent
         846 Lincoln Road 4th Floor                                   Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0283
                                                                   Is the claim subject to offset?     No       Yes

3.150
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CORY S ROBINS PA                                             Contingent
         3999 Sheridan Street                                         Unliquidated
         2nd Floor
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6304                      Is the claim subject to offset?     No       Yes

3.150
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Costello Law, LLC                                            Contingent
         One West Las Olas Boulevard                                  Unliquidated
         Suite 600
                                                                      Disputed
         Ft. Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0773                      Is the claim subject to offset?     No       Yes

3.150
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         COSTELLO ROYSTON & WICKER                                    Contingent
         12670 New Brittany Boulevard                                 Unliquidated
         Suite 101
                                                                      Disputed
         Ft Myers, FL 33907
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4434                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 220 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 228 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.150
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         COSTIN & COSTIN CHARTERED                                    Contingent
         P.O. Box 98                                                  Unliquidated
         Port St Joe, FL 32457
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 868
                                                                   Is the claim subject to offset?     No       Yes

3.150
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Coto Law Firm, P.A.                                          Contingent
         1390 South Dixie Hwy.                                        Unliquidated
         Suite 1108
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6992                      Is the claim subject to offset?     No       Yes

3.150
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Counselors Title Company, L.L.C.                             Contingent
         941 N. Highway State Road A1A                                Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8663
                                                                   Is the claim subject to offset?     No       Yes

3.150
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Courtney W. Gatesman, P.A.                                   Contingent
         2227 S. Babcock Street                                       Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0744
                                                                   Is the claim subject to offset?     No       Yes

3.150
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         COX & NICI                                                   Contingent
         1185 Immokalee Road Suite 110                                Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6727
                                                                   Is the claim subject to offset?     No       Yes

3.150
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cox & Sanchez                                                Contingent
         P.O. Box 21351                                               Unliquidated
         St Petersburg, FL 33742
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8491
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 221 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 229 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.150
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Cox & Schick, P.A.                                           Contingent
         4550 Cherry Creek Drive S 1203                               Unliquidated
         Glendale, CO 80246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8839
                                                                   Is the claim subject to offset?     No       Yes

3.151
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,499.78
         CRABTREE SANCHEZ & PARKER PA                                 Contingent
         2033 Main Street Suite 100                                   Unliquidated
         Sarasota, FL 34237                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6859
                                                                   Is the claim subject to offset?     No       Yes

3.151
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG 'RED' HOLLAND                                          Contingent
         Suite 5 Camargo House                                        Unliquidated
         1207 Third Street S
                                                                      Disputed
         Naples, FL 33940-7232
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4590                      Is the claim subject to offset?     No       Yes

3.151
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG A JASLOW                                               Contingent
         Suite B-307                                                  Unliquidated
         9351 Fontainebleau Boulevard
                                                                      Disputed
         Miami, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1529                      Is the claim subject to offset?     No       Yes

3.151
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG A MINEGAR                                              Contingent
         P.O. Box 4923                                                Unliquidated
         Orlando, FL 32802-4923
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1935
                                                                   Is the claim subject to offset?     No       Yes

3.151
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG B COTLER                                               Contingent
         8751 W Broward Boulevard Suite 305                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7684
                                                                   Is the claim subject to offset?     No       Yes

3.151
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CRAIG C. KELLER                                              Contingent
         224 Datura Street                                            Unliquidated
         Suite 1205
                                                                      Disputed
         West Palm Beach, FL 33401-5640
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5703                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 222 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 230 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.151
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG CORBETT                                                Contingent
         P.O. Box 2071                                                Unliquidated
         Apopka, FL 32704-2071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4027
                                                                   Is the claim subject to offset?     No       Yes

3.151
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,458.70
         CRAIG D SAVAGE PA                                            Contingent
         801 Northeast 167th Street Suite 302                         Unliquidated
         North Miami Beach, FL 33162-3729                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1134
                                                                   Is the claim subject to offset?     No       Yes

3.151
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG DONOFF PA                                              Contingent
         6100 Glades Road Suite 204                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2125
                                                                   Is the claim subject to offset?     No       Yes

3.151
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CRAIG M HAVERFIELD PA                                        Contingent
         2826 E Oakland Park Boulevard Suite 200                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5302
                                                                   Is the claim subject to offset?     No       Yes

3.152
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CRAIG M NASH                                                 Contingent
         6262 Sunset Drive Suite P-1                                  Unliquidated
         South Miami, FL 33143-4843
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7480
                                                                   Is the claim subject to offset?     No       Yes

3.152
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Craig M. Dorne, P.A.                                         Contingent
         2655 Le Jeune Road                                           Unliquidated
         Penthouse 2C
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0521                      Is the claim subject to offset?     No       Yes

3.152
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG R STONE                                                Contingent
         8751 W Broward Boulevard Suite 305                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8403
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 223 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 231 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.152
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG STEIN PA                                               Contingent
         4988 Garden Drive                                            Unliquidated
         Delray Beach, FL 33445-5301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8071
                                                                   Is the claim subject to offset?     No       Yes

3.152
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG TURTZO                                                 Contingent
         930 Florida Avenue                                           Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4707
                                                                   Is the claim subject to offset?     No       Yes

3.152
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRAIG W TURNER                                               Contingent
         618 Southeast 17th Street                                    Unliquidated
         Ocala, FL 34471-4429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7421
                                                                   Is the claim subject to offset?     No       Yes

3.152
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         CRAMER PRICE & DE ARMAS PA                                   Contingent
         1420 Edgewater Drive                                         Unliquidated
         Suite 200
                                                                      Disputed
         Orlando, FL 32804-6300
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7300                      Is the claim subject to offset?     No       Yes

3.152
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         CRARY BUCHANAN BOWDISH BOVIE                                 Contingent
         Attn: Lisa Gable                                             Unliquidated
         759 SW Federal Highway, Suite 106
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1920                      Is the claim subject to offset?     No       Yes

3.152
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Crena, P.A.                                                  Contingent
         600 N Rio Vista Boulevard Apt A                              Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8159
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 224 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 232 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.152
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CREW & CREW PA                                               Contingent
         Michael H. Crew                                              Unliquidated
         25 Beal Parkway Northeast Suite 210
                                                                      Disputed
         Ft Walton Beach, FL 32548
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6263                      Is the claim subject to offset?     No       Yes

3.153
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRIMELLA & HAMILTON PA                                       Contingent
         P.O. Box 500938                                              Unliquidated
         Marathon, FL 33050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0134
                                                                   Is the claim subject to offset?     No       Yes

3.153
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRISTINA BAEZ FREYRE                                         Contingent
         5825 Sunset Drive Suite 210                                  Unliquidated
         South Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8393
                                                                   Is the claim subject to offset?     No       Yes

3.153
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRISTINA GOMEZ                                               Contingent
         5722 S Flamingo Road Suite 170                               Unliquidated
         Ft Lauderdale, FL 33330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0502
                                                                   Is the claim subject to offset?     No       Yes

3.153
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRISTINA SAMMATARO                                           Contingent
         111 Harbor Drive                                             Unliquidated
         Key Biscayne, FL 33149-1303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9137
                                                                   Is the claim subject to offset?     No       Yes

3.153
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CROCKETT & CHASEN PA                                         Contingent
         1000 Venetian Way Suite 801                                  Unliquidated
         Miami, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5017
                                                                   Is the claim subject to offset?     No       Yes

3.153
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         CROMWELL PFAFFENBERGER BARNER                                Contingent
         P.O. Box 14036                                               Unliquidated
         North Palm Beach, FL 33408-0036
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 479
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 225 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 233 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.153
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,701.55
         CROUCH & MINER PA                                            Contingent
         Attn: Jeffrey R. Miner                                       Unliquidated
         9061 Astonia Way                                             Disputed
         Ft Myers, FL 33967
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3784                      Is the claim subject to offset?     No       Yes


3.153
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CRUMLEY & WOLFE PA                                           Contingent
         2114 Oak Street                                              Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4905
                                                                   Is the claim subject to offset?     No       Yes

3.153
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CS HANSLEY LAW FIRM LLC                                      Contingent
         283 Cranes Roost Boulevard Suite 111                         Unliquidated
         Altamonte Springs, FL 32701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2326
                                                                   Is the claim subject to offset?     No       Yes

3.153
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CUBIT & CUBIT                                                Contingent
         727 Northeast 3rd Avenue Suite 201                           Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3377
                                                                   Is the claim subject to offset?     No       Yes

3.154
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CUENANT & MCCARVILLE PL                                      Contingent
         5040 Northwest 7th Street Suite 635                          Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6406
                                                                   Is the claim subject to offset?     No       Yes

3.154
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         CUEVAS & ORTIZ PA                                            Contingent
         7480 Bird Road Suite 600                                     Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7641
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 226 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 234 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.154
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $675.00
         CUMMINGS & LOCKWOOD LLC                                      Contingent
         3001 Tamiami Trail N.                                        Unliquidated
         Suite 400
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7497                      Is the claim subject to offset?     No       Yes

3.154
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,569.83
         CUNNINGHAM MILLER & WILLIAMS                                 Contingent
         P.O. Box 500938                                              Unliquidated
         Marathon, FL 33050-0938                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 781
                                                                   Is the claim subject to offset?     No       Yes

3.154
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CURRAN K PORTO PA                                            Contingent
         410 S. Ware Boulevard                                        Unliquidated
         Suite 105
                                                                      Disputed
         Tampa, FL 33619
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5406                      Is the claim subject to offset?     No       Yes

3.154
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CURRY & ASSOCIATES PA                                        Contingent
         P.O. Box 1143                                                Unliquidated
         Brandon, FL 33509-1143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5606
                                                                   Is the claim subject to offset?     No       Yes

3.154
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CURRY PL                                                     Contingent
         601 Heritage Drive Suite 203a                                Unliquidated
         Jupiter, FL 33458-2777
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6515
                                                                   Is the claim subject to offset?     No       Yes

3.154
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         CURTIN R COLEMAN                                             Contingent
         P.O. Box 423                                                 Unliquidated
         Earlysville, VA 22936
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7897
                                                                   Is the claim subject to offset?     No       Yes

3.154
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $68.56
         CURTIS L JONES JR                                            Contingent
         4770 Biscayne Boulevard Suite 970                            Unliquidated
         Miami, FL 33137-3252                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7503
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 227 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 235 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.154
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CURTIS LAW FIRM LLC                                          Contingent
         175 Northwest 138th Terrace Suite 100                        Unliquidated
         Jonesville, FL 32669-2091
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8591
                                                                   Is the claim subject to offset?     No       Yes

3.155
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Cynthia A. Reed, P.A.                                        Contingent
         621 NW 53rd Street                                           Unliquidated
         Suite 125
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8033                      Is the claim subject to offset?     No       Yes

3.155
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CYNTHIA C SLACK                                              Contingent
         P.O. Box 1027                                                Unliquidated
         Ocala, FL 34478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1520
                                                                   Is the claim subject to offset?     No       Yes

3.155
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CYNTHIA I RICE PA                                            Contingent
         1744 N Belcher Road Suite 150                                Unliquidated
         Clearwater, FL 33765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8137
                                                                   Is the claim subject to offset?     No       Yes

3.155
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         CYNTHIA M BRIGGS                                             Contingent
         102 NE 2nd Street                                            Unliquidated
         Suite 277
                                                                      Disputed
         Boca Raton, FL 33432-3908
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6421                      Is the claim subject to offset?     No       Yes

3.155
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         CYNTHIA S SWANSON PA                                         Contingent
         2830 Northwest 41st Street Building M                        Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8616
                                                                   Is the claim subject to offset?     No       Yes

3.155
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         CYNTHIA SHERR                                                Contingent
         3389 Sheridan Street Suite 301                               Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3659
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 228 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 236 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.155
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         D JUSTIN NILES                                               Contingent
         200 W Palmetto Park Road Suite 301                           Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8568
                                                                   Is the claim subject to offset?     No       Yes

3.155
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         D KATHLEEN CHRISTOFF-FOX                                     Contingent
         1901 W Colonial Drive                                        Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4232
                                                                   Is the claim subject to offset?     No       Yes

3.155
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         D MARK PAYNE                                                 Contingent
         9040 Town Center Parkway                                     Unliquidated
         Lakewood Ranch, FL 34202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8755
                                                                   Is the claim subject to offset?     No       Yes

3.155
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         D MICHAEL CHESSER                                            Contingent
         1201 Eglin Parkway                                           Unliquidated
         Shalimar, FL 32579-1206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6015
                                                                   Is the claim subject to offset?     No       Yes

3.156
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         D REEL TALBOTT                                               Contingent
         P.O. Box 7362                                                Unliquidated
         Delray Beach, FL 33482
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7724
                                                                   Is the claim subject to offset?     No       Yes

3.156
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         D ROBERT HOYLE PA                                            Contingent
         1001 Third Avenue W Suite 260                                Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6850
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 229 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 237 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.156
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         D ROSS BRIDGER                                               Contingent
         D Ross Bridger P.L.L.C.                                      Unliquidated
         80 Southwest 8th Street Suite 2000
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6937                      Is the claim subject to offset?     No       Yes

3.156
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         D TURNER MATTHEWS                                            Contingent
         Matthews & Lambrecht                                         Unliquidated
         1720 Manatee Avenue West
                                                                      Disputed
         Bradenton, FL 34205-5925
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4900                      Is the claim subject to offset?     No       Yes

3.156
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         D. Jefferson Davis                                           Contingent
         The Jd Law Firm                                              Unliquidated
         P.O. Box 696
                                                                      Disputed
         Winter Park, FL 32790
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6970                      Is the claim subject to offset?     No       Yes

3.156
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $44.92
         D. RICHARD HOLMES                                            Contingent
         224 Datura Street, Suite 412                                 Unliquidated
         West Palm Beach, FL 33401-5632
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7098
                                                                   Is the claim subject to offset?     No       Yes

3.156
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DACIA MARIE RILEY                                            Contingent
         1000 N Hiatus Road Suite 104                                 Unliquidated
         Pembroke Pines, FL 33026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5475
                                                                   Is the claim subject to offset?     No       Yes

3.156
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAGMAR LLAUDY PA                                             Contingent
         770 Ponce De Leon Boulevard                                  Unliquidated
         Suite 303
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1545                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 230 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 238 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.156
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAISE & CARMENATES LLC                                       Contingent
         3905 NW 107 Avenue                                           Unliquidated
         #304
                                                                      Disputed
         Doral, FL 33178
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2630                      Is the claim subject to offset?     No       Yes

3.156
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAISY B. SAMMONS                                             Contingent
         909 North Dixie Highway                                      Unliquidated
         West Palm Beach, FL 33401-3329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8071
                                                                   Is the claim subject to offset?     No       Yes

3.157
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DALE A BEARDSLEY                                             Contingent
         12 E Bay Street                                              Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4101
                                                                   Is the claim subject to offset?     No       Yes

3.157
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $41.66
         DALE A DETTMER                                               Contingent
         304 S Harbor City Boulevard Suite 201                        Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1869
                                                                   Is the claim subject to offset?     No       Yes

3.157
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DALE A HECKERLING                                            Contingent
         14625 Southwest 74th Court                                   Unliquidated
         Miami, FL 33158-1615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4685
                                                                   Is the claim subject to offset?     No       Yes

3.157
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DALE BALD SHOWALTER MERCIER                                  Contingent
         7077 Bonneval Road Suite 390                                 Unliquidated
         Jacksonville, FL 32216-4046
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7078
                                                                   Is the claim subject to offset?     No       Yes

3.157
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DALE C GLASSFORD                                             Contingent
         12908 SW 133rd Court                                         Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3707
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 231 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 239 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.157
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         DALE K BOHNER                                                Contingent
         2713 W Price Avenue                                          Unliquidated
         Tampa, FL 33611-3833
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7257
                                                                   Is the claim subject to offset?     No       Yes

3.157
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DALE L BERNSTEIN                                             Contingent
         7637 State Road 52                                           Unliquidated
         Bayonet Point, FL 34667
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0211
                                                                   Is the claim subject to offset?     No       Yes

3.157
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DALE L PRICE                                                 Contingent
         2400 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205-4934
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6459
                                                                   Is the claim subject to offset?     No       Yes

3.157
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DALE M. SWOPE, P A                                           Contingent
         777 South Harbour Island Blvd.                               Unliquidated
         Suite 850
                                                                      Disputed
         Tampa, FL 33602-5746
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8411                      Is the claim subject to offset?     No       Yes

3.157
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Daley Law Firm, P.L.L.C.                                     Contingent
         1776 N Pine Island Road Suite 308                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9530
                                                                   Is the claim subject to offset?     No       Yes

3.158
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dalmida Law Group, L.L.C.                                    Contingent
         7401 Wiles Road                                              Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7913
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 232 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 240 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.158
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAMASO SAAVEDRA PA                                           Contingent
         DBA Saavedra-Goodwin                                         Unliquidated
         888 SE 3rd Avenue, Suite 500
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2483                      Is the claim subject to offset?     No       Yes

3.158
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAMIANI & WEISSMAN PA                                        Contingent
         902 NE 1st Street                                            Unliquidated
         Suite 9
                                                                      Disputed
         Pompano Beach, FL 33060
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0574                      Is the claim subject to offset?     No       Yes

3.158
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAN BAILEY                                                   Contingent
         5910 Taylor Road                                             Unliquidated
         Suite 105
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0414                      Is the claim subject to offset?     No       Yes

3.158
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAN V ILEANA PA                                              Contingent
         1107 Northeast 8th Street                                    Unliquidated
         Hallandale, FL 33009-2629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9934
                                                                   Is the claim subject to offset?     No       Yes

3.158
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANA ADLER ESQ                                               Contingent
         7405 Via Luria                                               Unliquidated
         Lake Worth, FL 33467-5225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7921
                                                                   Is the claim subject to offset?     No       Yes

3.158
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANA EDMISTEN HILL                                           Contingent
         230 Court Street Southeast                                   Unliquidated
         Live Oak, FL 32064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8577
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 233 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 241 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.158
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANA F CHARLES                                               Contingent
         7777 Glades Road                                             Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33434
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0455                      Is the claim subject to offset?     No       Yes

3.158
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANA KENNEDY SADAKA                                          Contingent
         8551 W Sunrise Boulevard Suite 102                           Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4580
                                                                   Is the claim subject to offset?     No       Yes

3.158
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANA M SCHEER                                                Contingent
         50 Southeast Sample Road Suite 400                           Unliquidated
         Pompano Beach, FL 33064-3552
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6826
                                                                   Is the claim subject to offset?     No       Yes

3.159
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DANAHER & HAGGLUND PA                                        Contingent
         12000 N Dale Mabry Highway Suite 222                         Unliquidated
         Tampa, FL 33618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6188
                                                                   Is the claim subject to offset?     No       Yes

3.159
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANE THOMAS STANISH                                          Contingent
         1911 Harrison Street                                         Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7442
                                                                   Is the claim subject to offset?     No       Yes

3.159
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL A HESS                                                Contingent
         830 Northwest 135th Way                                      Unliquidated
         Sunrise, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3971
                                                                   Is the claim subject to offset?     No       Yes

3.159
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL A JACOBSON                                            Contingent
         901 S Federal Highway                                        Unliquidated
         Suite 201
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4644                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 234 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 242 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.159
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $22.48
         DANIEL A SUCHMAN PA                                          Contingent
         P.O. Box 11378                                               Unliquidated
         Bainbridge Island, WA 98110-5378
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7870
                                                                   Is the claim subject to offset?     No       Yes

3.159
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL B BASS                                                Contingent
         1215 Southeast 2nd Avenue Suite 102                          Unliquidated
         Ft Lauderdale, FL 33316-1831
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4395
                                                                   Is the claim subject to offset?     No       Yes

3.159
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL B FOX                                                 Contingent
         1521 Alton Road Suite 315                                    Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0811
                                                                   Is the claim subject to offset?     No       Yes

3.159
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         DANIEL C GEORGE                                              Contingent
         3780 Northeast 167th Street                                  Unliquidated
         North Miami Beach, FL 33160-3538
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2986
                                                                   Is the claim subject to offset?     No       Yes

3.159
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL C MCCORMIC                                            Contingent
         P.O. Box 1000                                                Unliquidated
         Wildwood, FL 34785-1000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4748
                                                                   Is the claim subject to offset?     No       Yes

3.159
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL C STUMP                                               Contingent
         2770 Indian River Boulevard                                  Unliquidated
         Suite 327
                                                                      Disputed
         Vero Beach, FL 32960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7500                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 235 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 243 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.160
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Daniel C. Campbell Attorney                                  Contingent
         420 E Pine Avenue                                            Unliquidated
         Crestview, FL 32539
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7377
                                                                   Is the claim subject to offset?     No       Yes

3.160
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL D MOODY                                               Contingent
         575 N Broadway Avenue                                        Unliquidated
         Bartow, FL 33830-3919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7401
                                                                   Is the claim subject to offset?     No       Yes

3.160
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL DOSCHER                                               Contingent
         9703 S. Dixie Highway                                        Unliquidated
         Suite 15
                                                                      Disputed
         Miami, FL 33156-2821
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7495                      Is the claim subject to offset?     No       Yes

3.160
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL E GALLAGHER                                           Contingent
         County Attorneys Office                                      Unliquidated
         18500 Murdock Circle
                                                                      Disputed
         Pt Charlotte, FL 33948-1068
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8990                      Is the claim subject to offset?     No       Yes

3.160
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL E SCOTT                                               Contingent
         Bank of Boston Building                                      Unliquidated
         2033 Main Street Suite 408
                                                                      Disputed
         Sarasota, FL 34237-6024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5661                      Is the claim subject to offset?     No       Yes

3.160
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL F CARBONE                                             Contingent
         840 US Highway One                                           Unliquidated
         Suite 435
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5159                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 236 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 244 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.160
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL F MARTINEZ II                                         Contingent
         P.O. Box 20523                                               Unliquidated
         Tampa, FL 33622-0523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2491
                                                                   Is the claim subject to offset?     No       Yes

3.160
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL G DRAKE                                               Contingent
         P.O. Box 2327                                                Unliquidated
         Brandon, FL 33509-2327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6442
                                                                   Is the claim subject to offset?     No       Yes

3.160
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL G GASS                                                Contingent
         9000 Northwest 44th Street 2nd Floor                         Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0471
                                                                   Is the claim subject to offset?     No       Yes

3.160
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL GUERRIERI                                             Contingent
         6302 Southwest 41 Street                                     Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7820
                                                                   Is the claim subject to offset?     No       Yes

3.161
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL H COX                                                 Contingent
         P.O. Drawer Cc                                               Unliquidated
         Carrabelle, FL 32322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8634
                                                                   Is the claim subject to offset?     No       Yes

3.161
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL H FOX PA                                              Contingent
         2750 Northeast 185th Street Suite 302                        Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9695
                                                                   Is the claim subject to offset?     No       Yes

3.161
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,920.91
         DANIEL H JAMES                                               Contingent
         2 Golfview Road                                              Unliquidated
         Palm Beach, FL 33480-4608                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7918
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 237 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 245 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.161
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL J BLACKMAN                                            Contingent
         2001 Embassy Drive                                           Unliquidated
         West Palm Beach, FL 33401-1004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6625
                                                                   Is the claim subject to offset?     No       Yes

3.161
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL J ROSE PA                                             Contingent
         323 Northeast 6th Avenue                                     Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0001
                                                                   Is the claim subject to offset?     No       Yes

3.161
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL J SHEPHERD                                            Contingent
         3896 Burns Road                                              Unliquidated
         Suite 101
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5724                      Is the claim subject to offset?     No       Yes

3.161
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL J WEBSTER                                             Contingent
         444 Seabreeze Boulevard                                      Unliquidated
         Suite 360
                                                                      Disputed
         Daytona Beach, FL 32118
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4118                      Is the claim subject to offset?     No       Yes

3.161
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL J WISER                                               Contingent
         P.O. Box 48190                                               Unliquidated
         Jacksonville, FL 32247
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6553
                                                                   Is the claim subject to offset?     No       Yes

3.161
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL J ZEMEL                                               Contingent
         1045 19th Street Apt 1b                                      Unliquidated
         Miami Beach, FL 33139-1540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8230
                                                                   Is the claim subject to offset?     No       Yes

3.161
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL K CORBETT                                             Contingent
         481 Olympus Drive Suite 202                                  Unliquidated
         Juno Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8043
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 238 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 246 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.162
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL K. SCHAFFNER                                          Contingent
         839 Keene Road N. Suite B                                    Unliquidated
         Clearwater, FL 34615-5625
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 549
                                                                   Is the claim subject to offset?     No       Yes

3.162
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL L HAGGERTY                                            Contingent
         100 SW Albany Avenue                                         Unliquidated
         Suite 310
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4941                      Is the claim subject to offset?     No       Yes

3.162
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL L OSBORNE                                             Contingent
         Daniel L. Osborne P.A.                                       Unliquidated
         321 Croton Way
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9135                      Is the claim subject to offset?     No       Yes

3.162
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL L TEDESCO PA                                          Contingent
         320 Southeast 9th Street                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6652
                                                                   Is the claim subject to offset?     No       Yes

3.162
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL LAZAR                                                 Contingent
         11110 N Kendall Drive Suite 200                              Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1441
                                                                   Is the claim subject to offset?     No       Yes

3.162
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Daniel Lenghea, P.A.                                         Contingent
         13899 Biscayne Boulevard Suite 415                           Unliquidated
         North Miami Beach, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7540
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 239 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 247 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.162
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Daniel M. Keil, P.A.                                         Contingent
         6500 Cowpen Road                                             Unliquidated
         Suite 301
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6919                      Is the claim subject to offset?     No       Yes

3.162
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL MEDINA PA                                             Contingent
         902 S Florida Avenue Suite 101                               Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6771
                                                                   Is the claim subject to offset?     No       Yes

3.162
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         DANIEL N MEADOWS                                             Contingent
         212 Beverly Road                                             Unliquidated
         Cocoa, FL 32922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1101
                                                                   Is the claim subject to offset?     No       Yes

3.162
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL O WHITE                                               Contingent
         4767 New Broad Street Suite 1038                             Unliquidated
         Orlando, FL 32814-6405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 356
                                                                   Is the claim subject to offset?     No       Yes

3.163
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL O. GONZALEZ, JR.                                      Contingent
         7366 Big Cypress Court                                       Unliquidated
         Miami Lakes, FL 33014-2562
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7937
                                                                   Is the claim subject to offset?     No       Yes

3.163
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL P HANSEN                                              Contingent
         4665 Oak Hollow Drive                                        Unliquidated
         Sarasota, FL 34241-6244
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3102
                                                                   Is the claim subject to offset?     No       Yes

3.163
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         DANIEL P ROCK PA                                             Contingent
         5426 Crafts Street                                           Unliquidated
         New Port Richey, FL 34652-3963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5898
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 240 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 248 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.163
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL R LOZIER                                              Contingent
         Lozier Thames & Frazier P.A.                                 Unliquidated
         P.O. Box 408
                                                                      Disputed
         Pensacola, FL 32591-0408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5296                      Is the claim subject to offset?     No       Yes

3.163
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL R VAUGHEN                                             Contingent
         1485 Periwinkle Drive                                        Unliquidated
         Deland, FL 32724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4522
                                                                   Is the claim subject to offset?     No       Yes

3.163
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL RETTER                                                Contingent
         225 Broadway                                                 Unliquidated
         New York, NY 10007-3001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4188
                                                                   Is the claim subject to offset?     No       Yes

3.163
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL RIOS PA                                               Contingent
         175 SW 7th Street                                            Unliquidated
         Suite 1900
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6887                      Is the claim subject to offset?     No       Yes

3.163
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL S CARUSI                                              Contingent
         517 SW 1st Avenue                                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7317
                                                                   Is the claim subject to offset?     No       Yes

3.163
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL S DRAPER                                              Contingent
         1440 Linda Lane                                              Unliquidated
         Lake Geneva, WI 53147
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5034
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 241 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 249 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.163
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL S MCINTYRE                                            Contingent
         2300 Virginia Avenue                                         Unliquidated
         Ft Pierce, FL 34982
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7151
                                                                   Is the claim subject to offset?     No       Yes

3.164
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DANIEL S WALLACE                                             Contingent
         434 N. Grandview Avenue                                      Unliquidated
         Daytona Beach, FL 32118-3928
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6402
                                                                   Is the claim subject to offset?     No       Yes

3.164
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $112.50
         DANIEL SIRLIN                                                Contingent
         155 S Miami Avenue Ph2-A                                     Unliquidated
         Miami, FL 33130-1609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7888
                                                                   Is the claim subject to offset?     No       Yes

3.164
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,641.90
         DANIEL T KUSIC                                               Contingent
         1201 Swinks Millroad                                         Unliquidated
         Mclean, VA 22102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7314
                                                                   Is the claim subject to offset?     No       Yes

3.164
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DANIEL T. CARPENTER                                          Contingent
         701 East Commercial Blvd.                                    Unliquidated
         Suite 100
                                                                      Disputed
         Ft. Lauderdale, FL 33334-3240
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3509                      Is the claim subject to offset?     No       Yes

3.164
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL VAZQUEZ PA                                            Contingent
         11780 Southwest 89th Street Suite 202                        Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0016
                                                                   Is the claim subject to offset?     No       Yes

3.164
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL W DOBBINS                                             Contingent
         1330 Thomasville Road                                        Unliquidated
         Tallahassee, FL 32303-5608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5077
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 242 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 250 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.164
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL W HUMBERT                                             Contingent
         4951 Bonita Bay Boulevard                                    Unliquidated
         Suite 2105
                                                                      Disputed
         Bonita Springs, FL 34134-1734
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6494                      Is the claim subject to offset?     No       Yes

3.164
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIEL W UHLFELDER PA                                        Contingent
         124 E. County Highway 30A                                    Unliquidated
         Santa Rosa Beach, FL 32459-5820
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7873
                                                                   Is the claim subject to offset?     No       Yes

3.164
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Daniel Wagner, P.A.                                          Contingent
         20807 Biscayne Blvd.                                         Unliquidated
         Suite 201
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8055                      Is the claim subject to offset?     No       Yes

3.164
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIELA FONTECILLA                                           Contingent
         3220 S. Dixie Highway                                        Unliquidated
         Suite 201
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5883                      Is the claim subject to offset?     No       Yes

3.165
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DANIELLE S BRACKETT                                          Contingent
         855 S Federal Highway Suite 212                              Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3340
                                                                   Is the claim subject to offset?     No       Yes

3.165
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $367.49
         DANIELS BUTMAN & POMERANTZ PA                                Contingent
         405 Oak Avenue                                               Unliquidated
         Panama City, FL 32402                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5128
                                                                   Is the claim subject to offset?     No       Yes

3.165
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Danna F. Magloire, L.L.C.                                    Contingent
         179 Northeast 96th Street                                    Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8504
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 243 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 251 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.165
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         DARBY PEELE BOWDOIN & PAYNE                                  Contingent
         P.O. Drawer 1707                                             Unliquidated
         Lake City, FL 32056-1707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2422
                                                                   Is the claim subject to offset?     No       Yes

3.165
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Darin Wade Mellinger P.A.                                    Contingent
         1200 N Federal Highway Suite 200                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7874
                                                                   Is the claim subject to offset?     No       Yes

3.165
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DARRELL R HILL                                               Contingent
         1154 Lee Boulevard Suite 6                                   Unliquidated
         Lehigh, FL 33936
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6454
                                                                   Is the claim subject to offset?     No       Yes

3.165
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DARREN BRENT PA                                              Contingent
         Pmb 283                                                      Unliquidated
         3389 Sheridan Street
                                                                      Disputed
         Hollywood, FL 33021-3606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9615                      Is the claim subject to offset?     No       Yes

3.165
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DARRIN M PHILLIPS                                            Contingent
         350 Fifth Avenue S Suite 200                                 Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2412
                                                                   Is the claim subject to offset?     No       Yes

3.165
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DARRYL B KOGAN                                               Contingent
         Parkway Center Suite 410                                     Unliquidated
         7900 Glades Road
                                                                      Disputed
         Boca Raton, FL 33434
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7726                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 244 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 252 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.165
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DARRYL G MITCHELL                                            Contingent
         7008 Chesapeake Circle                                       Unliquidated
         Boynton Beach, FL 33436-8566
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8880
                                                                   Is the claim subject to offset?     No       Yes

3.166
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DARRYL J TOMPKINS                                            Contingent
         P.O. Box 519                                                 Unliquidated
         Alachua, FL 32616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1666
                                                                   Is the claim subject to offset?     No       Yes

3.166
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DARRYL J TOMPKINS                                            Contingent
         P.O. Box 519                                                 Unliquidated
         Alachua, FL 32616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8329
                                                                   Is the claim subject to offset?     No       Yes

3.166
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DARRYL S. SCHREIBER                                          Contingent
         5600 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021-3240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 133
                                                                   Is the claim subject to offset?     No       Yes

3.166
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DART FORD & SPIVEY PA                                        Contingent
         P.O. Box 49017                                               Unliquidated
         Sarasota, FL 34230-6017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8572
                                                                   Is the claim subject to offset?     No       Yes

3.166
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVAGE J RUNNELS III                                         Contingent
         4399 Commons Drive E Suite 300                               Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2392
                                                                   Is the claim subject to offset?     No       Yes

3.166
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVE K ROY                                                   Contingent
         1560 Latham Road Suite 7                                     Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3641
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 245 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 253 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.166
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         DAVERSA AND MARTYN PA                                        Contingent
         P.O. Box 3765                                                Unliquidated
         Tequesta, FL 33469-0765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4073
                                                                   Is the claim subject to offset?     No       Yes

3.166
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVID A COVEN PA                                             Contingent
         2856 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4619
                                                                   Is the claim subject to offset?     No       Yes

3.166
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID A DANCU                                                Contingent
         P.O. Box 337                                                 Unliquidated
         Naples, FL 34106-0337
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6398
                                                                   Is the claim subject to offset?     No       Yes

3.166
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID A DANIELSON                                            Contingent
         1800 Old Okeechobee Road Suite 100                           Unliquidated
         West Palm Beach, FL 33409-5207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5638
                                                                   Is the claim subject to offset?     No       Yes

3.167
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,258.23
         DAVID A DUNKIN                                               Contingent
         170 W Dearborn Street                                        Unliquidated
         Englewood, FL 34223-3237                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5211
                                                                   Is the claim subject to offset?     No       Yes

3.167
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         DAVID A DUNKIN PA                                            Contingent
         170 W. Dearborn Street                                       Unliquidated
         Englewood, FL 34223-3237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5211
                                                                   Is the claim subject to offset?     No       Yes

3.167
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A EATON                                                Contingent
         8801 Ninth Street N                                          Unliquidated
         St Petersburg, FL 33702-3443
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4453
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 246 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 254 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.167
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A HALLMAN                                              Contingent
         Nassau County                                                Unliquidated
         96135 Nassau Pl Suite 6
                                                                      Disputed
         Yulee, FL 32097
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6492                      Is the claim subject to offset?     No       Yes

3.167
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A KING                                                 Contingent
         1416 Kingsley Avenue                                         Unliquidated
         Orange Park, FL 32073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2739
                                                                   Is the claim subject to offset?     No       Yes

3.167
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID A KOBRIN                                               Contingent
         12150 S.W. 128th Court                                       Unliquidated
         Suite 214
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5931                      Is the claim subject to offset?     No       Yes

3.167
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A KORETZKY                                             Contingent
         111 Southwest 3rd Street Ph 1                                Unliquidated
         Miami, FL 33130-1924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes

3.167
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID A MANEY                                                Contingent
         P.O. Box 172009                                              Unliquidated
         Tampa, FL 33672-0009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3766
                                                                   Is the claim subject to offset?     No       Yes

3.167
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A MCKIBBIN                                             Contingent
         P.O. Box 2556                                                Unliquidated
         Palm Beach, FL 33480-2556
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3875
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 247 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 255 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.167
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A NUNEZ                                                Contingent
         Meyer & Nunez P.A.                                           Unliquidated
         135 San Lorenzo Avenue, Suite 620
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2259                      Is the claim subject to offset?     No       Yes

3.168
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $228.66
         DAVID A RHODES                                               Contingent
         417 12th Street W Suite 38                                   Unliquidated
         Bradenton, FL 34205-7836                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3111
                                                                   Is the claim subject to offset?     No       Yes

3.168
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A ROSENBLATT                                           Contingent
         9190 Sunset Drive                                            Unliquidated
         Miami, FL 33173-3433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4912
                                                                   Is the claim subject to offset?     No       Yes

3.168
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A SILVERSTONE                                          Contingent
         5740 Hollywood Boulevard Suite 300                           Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7167
                                                                   Is the claim subject to offset?     No       Yes

3.168
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A TEPPER                                               Contingent
         2020 W Randolph Circle                                       Unliquidated
         Tallahassee, FL 32312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4437
                                                                   Is the claim subject to offset?     No       Yes

3.168
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID A WEST                                                 Contingent
         2604 Southwest 3rd Pl                                        Unliquidated
         Gainesville, FL 32607-3148
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4528
                                                                   Is the claim subject to offset?     No       Yes

3.168
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID A WOLFSON                                              Contingent
         11513 Southwest 90th Terrace                                 Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8280
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 248 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 256 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.168
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A WOLIS PA                                             Contingent
         3550 Northwest 9th Avenue                                    Unliquidated
         Oakland Park, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7035
                                                                   Is the claim subject to offset?     No       Yes

3.168
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A ZALPH                                                Contingent
         P.O. Box 4352                                                Unliquidated
         Vero Beach, FL 32964-4352
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2344
                                                                   Is the claim subject to offset?     No       Yes

3.168
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID A ZILL                                                 Contingent
         P.O. Box 2065                                                Unliquidated
         New Smyrna Beach, FL 32170-2065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6315
                                                                   Is the claim subject to offset?     No       Yes

3.168
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID ALLEN BUCK                                             Contingent
         8064 Spring Hill Drive                                       Unliquidated
         Spring Hill, FL 34606-4433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2262
                                                                   Is the claim subject to offset?     No       Yes

3.169
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID B DENTON                                               Contingent
         5607 26th Street W                                           Unliquidated
         Bradenton, FL 34207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6217
                                                                   Is the claim subject to offset?     No       Yes

3.169
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID B ETHERINGTON                                          Contingent
         2830 Northwest 41st Street Suite L                           Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8081
                                                                   Is the claim subject to offset?     No       Yes

3.169
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID B FROIKIN                                              Contingent
         1725 Palm Cove Suite 305                                     Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4825
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 249 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 257 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.169
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVID B HENDLER PA                                           Contingent
         1650 NW 87th Avenue                                          Unliquidated
         2nd Floor
                                                                      Disputed
         Miami, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6794                      Is the claim subject to offset?     No       Yes

3.169
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID B HONIG PA                                             Contingent
         11900 Biscayne Boulevard Suite 250                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8263
                                                                   Is the claim subject to offset?     No       Yes

3.169
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         DAVID B JAVITS                                               Contingent
         David B. Javits P.A.                                         Unliquidated
         115 NW 167th Street, 3rd Floor
                                                                      Disputed
         North Miami Beach, FL 33169
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6988                      Is the claim subject to offset?     No       Yes

3.169
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID B SCHEIRICH ESQ LLC                                    Contingent
         3410 A Spanish Wells Drive                                   Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4773
                                                                   Is the claim subject to offset?     No       Yes

3.169
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID BARKETT                                                Contingent
         1005 Delridge Avenue                                         Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6899
                                                                   Is the claim subject to offset?     No       Yes

3.169
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID BROWDER JR                                             Contingent
         305 S. Duncan Avenue                                         Unliquidated
         Clearwater, FL 33755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6128
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 250 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 258 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.169
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID C COHERNOUR PA                                         Contingent
         6751 N Federal Highway Suite 301                             Unliquidated
         Boca Raton, FL 33487-1654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6983
                                                                   Is the claim subject to offset?     No       Yes

3.170
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVID C GILMORE                                              Contingent
         11169 Trinity Boulevard                                      Unliquidated
         Trinity, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7050
                                                                   Is the claim subject to offset?     No       Yes

3.170
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         DAVID C GILMORE                                              Contingent
         7620 Massachusetts Avenue                                    Unliquidated
         New Port Richey, FL 34653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2293
                                                                   Is the claim subject to offset?     No       Yes

3.170
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID C HOLLOMAN                                             Contingent
         P.O. Drawer 592                                              Unliquidated
         Arcadia, FL 33821-0592
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3435
                                                                   Is the claim subject to offset?     No       Yes

3.170
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID C LEVENREICH                                           Contingent
         406 S Prospect Avenue                                        Unliquidated
         Clearwater, FL 34616-5759
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8585
                                                                   Is the claim subject to offset?     No       Yes

3.170
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID C ROBINSON                                             Contingent
         1326 S Ridgewood Avenue Suite 6                              Unliquidated
         Daytona Beach, FL 32114-6193
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7943
                                                                   Is the claim subject to offset?     No       Yes

3.170
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID C SASSER                                               Contingent
         161 E. Jefferson Street                                      Unliquidated
         Suite B
                                                                      Disputed
         Brooksville, FL 34601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1855                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 251 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 259 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.170
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID C SELF II                                              Contingent
         222 Lakeview Avenue Suite 950                                Unliquidated
         W Palm Beach, FL 33401-6148
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4125
                                                                   Is the claim subject to offset?     No       Yes

3.170
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID CATSMAN FAMILY TRUST                                   Contingent
         Julie Simon & Ellen Freidin                                  Unliquidated
         9100 S Dadeland Boulevard Suite 504
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 375                       Is the claim subject to offset?     No       Yes

3.170
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID CHRISTOPHER WEIGEL                                     Contingent
         201 Southeast 6th Street                                     Unliquidated
         Ft Lauderdale, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6795
                                                                   Is the claim subject to offset?     No       Yes

3.170
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID D BONE                                                 Contingent
         100 Wallace Avenue Suite 100                                 Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1616
                                                                   Is the claim subject to offset?     No       Yes

3.171
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID D CENTOLA                                              Contingent
         125 Hypoluxo Road                                            Unliquidated
         Lantana, FL 33462-4506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4454
                                                                   Is the claim subject to offset?     No       Yes

3.171
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,128.80
         DAVID D WELCH                                                Contingent
         1400 SW 65th Avenue                                          Unliquidated
         Boca Raton, FL 33428                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1078
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 252 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 260 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.171
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         David DiNatale, L.L.C.                                       Contingent
         DBA DiNatale Law Group                                       Unliquidated
         5550 Glades Road
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0047                      Is the claim subject to offset?     No       Yes

3.171
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID DOWELL                                                 Contingent
         5036 Dr. Phillips Boulevard                                  Unliquidated
         Suite 245
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9384                      Is the claim subject to offset?     No       Yes

3.171
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID E BAILEY JR                                            Contingent
         P.O. Box 17687                                               Unliquidated
         Pensacola, FL 32522
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0662
                                                                   Is the claim subject to offset?     No       Yes

3.171
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID E DESERIO PA                                           Contingent
         777 S Harbor Island Suite 900                                Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6295
                                                                   Is the claim subject to offset?     No       Yes

3.171
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID E HAMMER PA                                            Contingent
         1300 E 8th Avenue                                            Unliquidated
         Tampa, FL 33605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4078
                                                                   Is the claim subject to offset?     No       Yes

3.171
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID E HORVATH                                              Contingent
         8295 N Military Trail Suite A                                Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7158
                                                                   Is the claim subject to offset?     No       Yes

3.171
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID E LEIGH PA                                             Contingent
         3200 Tamiami Trail N Suite 200                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2257
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 253 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 261 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.171
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID E NEWMAN                                               Contingent
         1533 Sunset Drive Suite 225                                  Unliquidated
         International Bank Building
                                                                      Disputed
         Coral Gables, FL 33143-5700
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6231                      Is the claim subject to offset?     No       Yes

3.172
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         DAVID E OLSON                                                Contingent
         4762 US Highway 19 N                                         Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4501
                                                                   Is the claim subject to offset?     No       Yes

3.172
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID E PLATTE                                               Contingent
         603 Indian Rocks Road                                        Unliquidated
         Belleair, FL 33756-2056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1703
                                                                   Is the claim subject to offset?     No       Yes

3.172
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $22.85
         DAVID E TERRY                                                Contingent
         Terry & Frazier P.A.                                         Unliquidated
         125 E. Jefferson Street
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7781                      Is the claim subject to offset?     No       Yes

3.172
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID F ALBRECHT                                             Contingent
         P.O. Box 2258                                                Unliquidated
         Vero Beach, FL 32961-2258
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6269
                                                                   Is the claim subject to offset?     No       Yes

3.172
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID F ANDERSON                                             Contingent
         15450 New Marn Road Suite 106                                Unliquidated
         Miami Lakes, FL 33014-2169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2230
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 254 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 262 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.172
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID F CLICK                                                Contingent
         810 Saturn Street                                            Unliquidated
         Suite 15
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8637                      Is the claim subject to offset?     No       Yes

3.172
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID F GARBER PA                                            Contingent
         700 11th Street S Suite 202                                  Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2558
                                                                   Is the claim subject to offset?     No       Yes

3.172
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,515.51
         DAVID F HANNAN                                               Contingent
         8201 Peters Road Suite 1000                                  Unliquidated
         Plantation, FL 33324                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4339
                                                                   Is the claim subject to offset?     No       Yes

3.172
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID F KERN                                                 Contingent
         344 E Lake Road Suite 304                                    Unliquidated
         Palm Harbor, FL 34685-2427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7017
                                                                   Is the claim subject to offset?     No       Yes

3.172
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID F LANIER                                               Contingent
         P.O. Box 400                                                 Unliquidated
         Avon Park, FL 33826-0400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1864
                                                                   Is the claim subject to offset?     No       Yes

3.173
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID F MONACO PA                                            Contingent
         Davie Professional Center                                    Unliquidated
         4800 Southwest 64th Avenue Suite 103
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6335                      Is the claim subject to offset?     No       Yes

3.173
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID F ROBERTS                                              Contingent
         David F. Roberts P.A.                                        Unliquidated
         601 Brickell Key Drive Suite 702
                                                                      Disputed
         Miami, FL 33131-2649
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9269                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 255 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 263 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.173
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID FRIEDMAN                                               Contingent
         4601 Sheridan Street Suite 301                               Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4761
                                                                   Is the claim subject to offset?     No       Yes

3.173
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID G BOWMAN JR                                            Contingent
         P.O. Box 3979                                                Unliquidated
         Longboat Key, FL 34230-3979
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4966
                                                                   Is the claim subject to offset?     No       Yes

3.173
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID G WHITE                                                Contingent
         P.O. Box 887                                                 Unliquidated
         Pensacola, FL 32594
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1883
                                                                   Is the claim subject to offset?     No       Yes

3.173
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID GAYNES                                                 Contingent
         4327 S Highway 27 Suite 404                                  Unliquidated
         Clermont, FL 34771-5319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6117
                                                                   Is the claim subject to offset?     No       Yes

3.173
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID GOODRICH                                               Contingent
         8950 Northwest 11th Street                                   Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5540
                                                                   Is the claim subject to offset?     No       Yes

3.173
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID H ROBERTS                                              Contingent
         6570 30th Avenue N                                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2222
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 256 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 264 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.173
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID H SHAY                                                 Contingent
         353 E 52nd Street Apt 1a                                     Unliquidated
         New York, NY 10022-6360
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2666
                                                                   Is the claim subject to offset?     No       Yes

3.173
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID H SIMMONS                                              Contingent
         P.O. Box 87                                                  Unliquidated
         Orlando, FL 32802-0087
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6442
                                                                   Is the claim subject to offset?     No       Yes

3.174
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID H WALKOWIAK PA                                         Contingent
         17545 Darby Lane                                             Unliquidated
         Lutz, FL 33558-0117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2568
                                                                   Is the claim subject to offset?     No       Yes

3.174
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID HOWARD GOLDBERG                                        Contingent
         900 Southwest 2nd Avenue                                     Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2610
                                                                   Is the claim subject to offset?     No       Yes

3.174
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID HYMAN                                                  Contingent
         P.O. Box 1801                                                Unliquidated
         Riverview, FL 33568-1801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1953
                                                                   Is the claim subject to offset?     No       Yes

3.174
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DAVID I BRODT                                                Contingent
         9841 Northwest 10th Street                                   Unliquidated
         Plantation, FL 33322-4882
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7654
                                                                   Is the claim subject to offset?     No       Yes

3.174
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID I. SCHLOSBERG                                          Contingent
         2720 Coral Way                                               Unliquidated
         Miami, FL 33145-3202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7331
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 257 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 265 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.174
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID IVERSON PA                                             Contingent
         1625 N Commerce Suite 210                                    Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1882
                                                                   Is the claim subject to offset?     No       Yes

3.174
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J BERGER                                               Contingent
         1836 W 23rd Street                                           Unliquidated
         Miami, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1170
                                                                   Is the claim subject to offset?     No       Yes

3.174
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J DUPREE                                               Contingent
         P.O. Box 2199                                                Unliquidated
         Ft Myers, FL 33902-2199
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1420
                                                                   Is the claim subject to offset?     No       Yes

3.174
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DAVID J EDWARDS                                              Contingent
         200 W. Forsyth Street                                        Unliquidated
         Suite 1300
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9180                      Is the claim subject to offset?     No       Yes

3.174
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID J KAUFMAN                                              Contingent
         4692 NW 103rd Avenue                                         Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4687
                                                                   Is the claim subject to offset?     No       Yes

3.175
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J PEDERSEN                                             Contingent
         1999 W Colonial Drive Suite 104                              Unliquidated
         Orlando, FL 32804-7045
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2199
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 258 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 266 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.175
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J RUSS                                                 Contingent
         P.O. Box 15931                                               Unliquidated
         Tallahassee, FL 32317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2687
                                                                   Is the claim subject to offset?     No       Yes

3.175
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J SCHNEID PA                                           Contingent
         3010 N Military Trail Suite 300                              Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3907
                                                                   Is the claim subject to offset?     No       Yes

3.175
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         DAVID J SCHOTTENFELD                                         Contingent
         7520 NW 5th Street                                           Unliquidated
         Suite 203
                                                                      Disputed
         Plantation, FL 33317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7515                      Is the claim subject to offset?     No       Yes

3.175
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J SOCKOL                                               Contingent
         Sockol & Associates P.A.                                     Unliquidated
         111 2nd Avenue Northeast Suite 1406
                                                                      Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0633                      Is the claim subject to offset?     No       Yes

3.175
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J SZEMPRUCH                                            Contingent
         Pmb 23                                                       Unliquidated
         P.O. Box 413005
                                                                      Disputed
         Naples, FL 34101
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8511                      Is the claim subject to offset?     No       Yes

3.175
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J TU                                                   Contingent
         P.O. Box 823504                                              Unliquidated
         South Florida, FL 33082-3504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4645
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 259 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 267 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.175
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J WIENER                                               Contingent
         David J. Wiener P.A.                                         Unliquidated
         2240 Northwest 19th Street Suite 801
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1280                      Is the claim subject to offset?     No       Yes

3.175
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID J WOLLINKA                                             Contingent
         Trinity Professional Center                                  Unliquidated
         1835 Health Care Drive
                                                                      Disputed
         Trinity, FL 34655
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6239                      Is the claim subject to offset?     No       Yes

3.175
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         DAVID J. ABRAMOWITZ                                          Contingent
         3550 Biscayne Blvd., Suite 320                               Unliquidated
         Miami, FL 33137-3833                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8287
                                                                   Is the claim subject to offset?     No       Yes

3.176
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID J. CHESTNUT                                            Contingent
         215 S. Federal Highway                                       Unliquidated
         Suite 200
                                                                      Disputed
         Stuart, FL 34994-2075
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7803                      Is the claim subject to offset?     No       Yes

3.176
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         David Jennis, P.A.                                           Contingent
         DBA Jennis Morse Etlinger                                    Unliquidated
         606 E. Madison Street
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0682                      Is the claim subject to offset?     No       Yes

3.176
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID K DEITRICH PA                                          Contingent
         1001 Third Avenue W Suite 260                                Unliquidated
         Bradenton, FL 34205-7841
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0553
                                                                   Is the claim subject to offset?     No       Yes

3.176
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVID K OAKS PA                                              Contingent
         407 E Marion Avenue Suite 101                                Unliquidated
         Punta Gorda, FL 33950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4342
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 260 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 268 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.176
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID KERBEN                                                 Contingent
         725 N Magnolia Avenue                                        Unliquidated
         Orlando, FL 32803-3808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2078
                                                                   Is the claim subject to offset?     No       Yes

3.176
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID L ANDERSON                                             Contingent
         8520 Government Drive Suite 2                                Unliquidated
         New Port Richey, FL 34654-5511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4344
                                                                   Is the claim subject to offset?     No       Yes

3.176
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L FERGUSON PA                                          Contingent
         2699 Lee Road Suite 450                                      Unliquidated
         Winter Park, FL 32789-1741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8724
                                                                   Is the claim subject to offset?     No       Yes

3.176
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L GLAZER                                               Contingent
         Concorde Centre II                                           Unliquidated
         2999 Northeast 191st Street Suite 500
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8646                      Is the claim subject to offset?     No       Yes

3.176
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID L GORMAN PA                                            Contingent
         618 US Highway One Suite 303                                 Unliquidated
         North Plam Beach, FL 33408-4609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5720
                                                                   Is the claim subject to offset?     No       Yes

3.176
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L HANCOCK                                              Contingent
         4729 N Highway A1A                                           Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3878
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 261 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 269 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.177
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L KAPLAN                                               Contingent
         2601 S Bayshore Drive Suite 1600                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4368
                                                                   Is the claim subject to offset?     No       Yes

3.177
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L KOUT                                                 Contingent
         9000 Sheridan Street                                         Unliquidated
         Suite 102
                                                                      Disputed
         Pembroke Pines, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4191                      Is the claim subject to offset?     No       Yes

3.177
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L MACKAY                                               Contingent
         P.O. Box 206                                                 Unliquidated
         Ocala, FL 34478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5596
                                                                   Is the claim subject to offset?     No       Yes

3.177
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L PRINCE                                               Contingent
         Suite 440                                                    Unliquidated
         1551 Sawgrass Corporate Parkway
                                                                      Disputed
         Sunrise, FL 33323
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6756                      Is the claim subject to offset?     No       Yes

3.177
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L ROSS PA                                              Contingent
         7000 Southwest 97th Avenue Suite 210                         Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4117
                                                                   Is the claim subject to offset?     No       Yes

3.177
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $15.96
         DAVID L SELBY                                                Contingent
         P.O. Box 1208                                                Unliquidated
         Ft Walton Beach, FL 32549-1208                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 581
                                                                   Is the claim subject to offset?     No       Yes

3.177
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID L WOLFE                                                Contingent
         P.O. Box 15850                                               Unliquidated
         Fernandina Beach, FL 32035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7906
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 262 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 270 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.177
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID LEE CARLSON                                            Contingent
         P.O. Box 660786                                              Unliquidated
         Miami Springs, FL 33266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5074
                                                                   Is the claim subject to offset?     No       Yes

3.177
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID LEVINE                                                 Contingent
         1150 Northwest 72nd Avenue                                   Unliquidated
         Miami, FL 33126-1920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2383
                                                                   Is the claim subject to offset?     No       Yes

3.177
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         David Linder, P.A.                                           Contingent
         3150 Southwest 38th Avenue Suite 1301                        Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8548
                                                                   Is the claim subject to offset?     No       Yes

3.178
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID M AELION                                               Contingent
         1506 Northeast 162nd Street                                  Unliquidated
         North Miami Beach, FL 33162-4716
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0541
                                                                   Is the claim subject to offset?     No       Yes

3.178
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,348.66
         DAVID M ANDREWS                                              Contingent
         125 Nix Boat Yard Road                                       Unliquidated
         St Augustine, FL 32084                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8554
                                                                   Is the claim subject to offset?     No       Yes

3.178
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID M BAUMAN                                               Contingent
         7820 Peters Road Suite East 103                              Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2523
                                                                   Is the claim subject to offset?     No       Yes

3.178
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID M BERNSTEIN                                            Contingent
         605 Kingsley Drive                                           Unliquidated
         Ventnor, NJ 08406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4243
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 263 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 271 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.178
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,528.31
         DAVID M CONLON                                               Contingent
         100 SW 15th Street                                           Unliquidated
         Okeechobee, FL 34974-5256                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4941
                                                                   Is the claim subject to offset?     No       Yes

3.178
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID M DABBY                                                Contingent
         9400 S Dadeland Boulevard Ph One                             Unliquidated
         Miami, FL 33156-2703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8584
                                                                   Is the claim subject to offset?     No       Yes

3.178
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DAVID M GOLDSTEIN                                            Contingent
         12000 Biscayne Boulevard Suite 802                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7070
                                                                   Is the claim subject to offset?     No       Yes

3.178
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID M GONSHAK                                              Contingent
         1481 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2329
                                                                   Is the claim subject to offset?     No       Yes

3.178
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID M HARVAN                                               Contingent
         P.O. Box 246                                                 Unliquidated
         Jupiter, FL 33468-0246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4160
                                                                   Is the claim subject to offset?     No       Yes

3.178
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,416.85
         DAVID M KRAUSE                                               Contingent
         3195 Ponce De Leon Boulevard Suite 200                       Unliquidated
         Coral Gables, FL 33134-6801                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8650
                                                                   Is the claim subject to offset?     No       Yes

3.179
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID M LANDIS                                               Contingent
         P.O. Box 2854                                                Unliquidated
         Orlando, FL 32802-2854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6292
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 264 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 272 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.179
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID M LANG JR                                              Contingent
         P.O. Box 51                                                  Unliquidated
         Trenton, FL 32693
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9832
                                                                   Is the claim subject to offset?     No       Yes

3.179
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID M LAZARUS                                              Contingent
         1877 S Federal Highway Suite 108                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7197
                                                                   Is the claim subject to offset?     No       Yes

3.179
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID M RIETH                                                Contingent
         Rieth & Ritchie P.A.                                         Unliquidated
         101 E Kennedy Boulevard Suite 2430
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5669                      Is the claim subject to offset?     No       Yes

3.179
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID M SOSTCHIN                                             Contingent
         419 W 49th Street Suite 210                                  Unliquidated
         Hialeah, FL 33012-3657
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6509
                                                                   Is the claim subject to offset?     No       Yes

3.179
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID M THOMSON                                              Contingent
         2743 Cheyenne Road                                           Unliquidated
         Sebring, FL 33875-4739
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1371
                                                                   Is the claim subject to offset?     No       Yes

3.179
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         David M. Couillard, P.A.                                     Contingent
         1713 54th Street Southwest                                   Unliquidated
         Naples, FL 34116
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6695
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 265 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 273 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.179
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID MCELRATH                                               Contingent
         3431 Pine Ridge Road Suite 101                               Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4815
                                                                   Is the claim subject to offset?     No       Yes

3.179
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID MESNEKOFF PA                                           Contingent
         13611 S. Dixie Highway                                       Unliquidated
         Suite 378
                                                                      Disputed
         Miami, FL 33176-6246
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4142                      Is the claim subject to offset?     No       Yes

3.179
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID MOGUL                                                  Contingent
         3085 Saint James Drive                                       Unliquidated
         Boca Raton, FL 33434-3370
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4503
                                                                   Is the claim subject to offset?     No       Yes

3.180
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID N SEXTON                                               Contingent
         4001 Tamiami Trail N Suite 250                               Unliquidated
         Naples, FL 34103-3555
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6194
                                                                   Is the claim subject to offset?     No       Yes

3.180
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID O ESTRELLA PA                                          Contingent
         900 W 49th Street Suite 528                                  Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8036
                                                                   Is the claim subject to offset?     No       Yes

3.180
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID P HOPSTETTER                                           Contingent
         P.O. Box 1794                                                Unliquidated
         Tallahassee, FL 32302-1794
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8379
                                                                   Is the claim subject to offset?     No       Yes

3.180
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID P JOHNSON PA                                           Contingent
         2201 Ringling Boulevard Suite 104                            Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7281
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 266 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 274 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.180
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID P KIRWAN                                               Contingent
         5800 Overseas Highway                                        Unliquidated
         Suite 4
                                                                      Disputed
         Marathon, FL 33050
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4025                      Is the claim subject to offset?     No       Yes

3.180
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID P RANKIN                                               Contingent
         3837 Northdale Boulevard Suite 332                           Unliquidated
         Tampa, FL 33624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5189
                                                                   Is the claim subject to offset?     No       Yes

3.180
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID P TROTTI                                               Contingent
         1542 Glengarry Road                                          Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5708
                                                                   Is the claim subject to offset?     No       Yes

3.180
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID P WHITING                                              Contingent
         600 100th Avenue N                                           Unliquidated
         Naples, FL 34108-2238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3690
                                                                   Is the claim subject to offset?     No       Yes

3.180
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         David P. Browne, P.A.                                        Contingent
         27299 Riverview Center Boulevard                             Unliquidated
         Suite 103
                                                                      Disputed
         Bonita Springs, FL 34134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6939                      Is the claim subject to offset?     No       Yes

3.180
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID R BERLEY                                               Contingent
         4031 Woodridge Road                                          Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7867
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 267 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 275 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.181
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID R CORNISH                                              Contingent
         355 W Venice Avenue                                          Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3757
                                                                   Is the claim subject to offset?     No       Yes

3.181
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $85.00
         DAVID R ELDER                                                Contingent
         Elder Kurzman & Vaccarella P.A.                              Unliquidated
         601 Brickell Drive Suite 401
                                                                      Disputed
         Miami, FL 33131-2652
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1463                      Is the claim subject to offset?     No       Yes

3.181
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R FARBSTEIN                                            Contingent
         1856 N. Nob Hill Road                                        Unliquidated
         #186
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5651                      Is the claim subject to offset?     No       Yes

3.181
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID R HOWELL                                               Contingent
         40 Seminole Landing Road                                     Unliquidated
         Atlantic Beach, FL 32233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3165
                                                                   Is the claim subject to offset?     No       Yes

3.181
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVID R ROY PA                                               Contingent
         2790 N Federal Highway Suite 201                             Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7776
                                                                   Is the claim subject to offset?     No       Yes

3.181
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R ROY PA                                               Contingent
         4209 N. Federal Highway                                      Unliquidated
         Pompano Beach, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7776
                                                                   Is the claim subject to offset?     No       Yes

3.181
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R SCHWARTZ                                             Contingent
         The Forum Suite 106                                          Unliquidated
         1655 Palm Beach Lakes Boulevard
                                                                      Disputed
         West Palm Beach, FL 33401-2203
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7421                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 268 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 276 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.181
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R THOMPSON JR                                          Contingent
         5950 W Oakland Park Boulevard Suite 210                      Unliquidated
         Lauderhill, FL 33313-1245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5839
                                                                   Is the claim subject to offset?     No       Yes

3.181
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R WEBSTER                                              Contingent
         151 20th Avenue Northeast                                    Unliquidated
         St Petersburg, FL 33704-4532
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7483
                                                                   Is the claim subject to offset?     No       Yes

3.181
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R WEISSMAN                                             Contingent
         9840 S.W. 123rd Street                                       Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5794
                                                                   Is the claim subject to offset?     No       Yes

3.182
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID R. BRUECKHEIMER                                        Contingent
         3805 Bell Grande Drive                                       Unliquidated
         Valrico, FL 33594-7047
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6821
                                                                   Is the claim subject to offset?     No       Yes

3.182
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID RODRIGUEZ                                              Contingent
         1990 Southwest 27th Avenue 3rd Floor                         Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4114
                                                                   Is the claim subject to offset?     No       Yes

3.182
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID S GED                                                  Contingent
         101 Aviation Drive N                                         Unliquidated
         Naples, FL 34104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2275
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 269 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 277 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.182
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID S KAUFMAN                                              Contingent
         9990 SW 77th Avenue                                          Unliquidated
         Suite 201
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5641                      Is the claim subject to offset?     No       Yes

3.182
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID S NUNES                                                Contingent
         3917 N Andrews Avenue                                        Unliquidated
         Ft Lauderdale, FL 33309-5239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7680
                                                                   Is the claim subject to offset?     No       Yes

3.182
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID S PIERCEFIELD PA                                       Contingent
         2431 Aloma Avenue Suite 221                                  Unliquidated
         Winter Park, FL 32792-2007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4828
                                                                   Is the claim subject to offset?     No       Yes

3.182
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         DAVID S ROMANIK PA                                           Contingent
         P.O. Box 650                                                 Unliquidated
         Oxford, FL 34484
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 59
                                                                   Is the claim subject to offset?     No       Yes

3.182
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $43,120.57
         DAVID S SWAN                                                 Contingent
         107 Palm Springs Court                                       Unliquidated
         Canton, GA 30115                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3547
                                                                   Is the claim subject to offset?     No       Yes

3.182
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID S TUPLER                                               Contingent
         6950 Cypress Road Suite 101                                  Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8498
                                                                   Is the claim subject to offset?     No       Yes

3.182
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         DAVID S WATSON CHARTERED                                     Contingent
         P.O. Box 49948                                               Unliquidated
         Sarasota, FL 34230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7991
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 270 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 278 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.183
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID S WILLIG                                               Contingent
         P.O. Box 450446                                              Unliquidated
         Miami, FL 33245-0446
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6079
                                                                   Is the claim subject to offset?     No       Yes

3.183
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         DAVID SOFGE                                                  Contingent
         Jorden Burt & Berenson                                       Unliquidated
         777 Brickell Avenue Suite 500
                                                                      Disputed
         Miami, FL 33131-2803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6111                      Is the claim subject to offset?     No       Yes

3.183
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID TODD SEIF                                              Contingent
         Galleria Professional Building                               Unliquidated
         915 Middle River Drive, Suite 600
                                                                      Disputed
         Ft Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0197                      Is the claim subject to offset?     No       Yes

3.183
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID U STRAWN                                               Contingent
         1000 S Orlando Avenue Unit A7                                Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4505
                                                                   Is the claim subject to offset?     No       Yes

3.183
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID V LOCOCO                                               Contingent
         48 Tennessee Avenue                                          Unliquidated
         Merritt Island, FL 32953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1391
                                                                   Is the claim subject to offset?     No       Yes

3.183
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID V. KERNS                                               Contingent
         418 Vinnedge Ride                                            Unliquidated
         Tallahassee, FL 32303-5140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3618
                                                                   Is the claim subject to offset?     No       Yes

3.183
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID W BURKETT                                              Contingent
         P.O. Box 246                                                 Unliquidated
         Basin, WY 82410-0246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4302
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 271 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 279 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.183
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         DAVID W CRANE                                                Contingent
         2787 East Oakland Park Boulevard                             Unliquidated
         Suite 404
                                                                      Disputed
         Ft Lauderdale, FL 33306-1632
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 604                       Is the claim subject to offset?     No       Yes

3.183
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVID W GRIFFIN                                              Contingent
         The Town Centre                                              Unliquidated
         565 Duncan Avenue S
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2140                      Is the claim subject to offset?     No       Yes

3.183
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID W HEDRICK                                              Contingent
         David W. Hedrick P.A.                                        Unliquidated
         P.O. Box 547397
                                                                      Disputed
         Orlando, FL 32854
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 40                        Is the claim subject to offset?     No       Yes

3.184
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID W MCCONNELL                                            Contingent
         P.O. Box 1367                                                Unliquidated
         Key West, FL 33041-1367
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8664
                                                                   Is the claim subject to offset?     No       Yes

3.184
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID W MINER                                                Contingent
         523 39th Street W                                            Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6456
                                                                   Is the claim subject to offset?     No       Yes

3.184
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DAVID W WILCOX                                               Contingent
         308 13th Street W.                                           Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7759
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 272 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 280 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.184
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID W. BARROW, III                                         Contingent
         1894 Elm Drive                                               Unliquidated
         West Bend, WI 53095-9603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3831
                                                                   Is the claim subject to offset?     No       Yes

3.184
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVID W. BOONE                                               Contingent
         3155 Roswell Road,Ste. 100                                   Unliquidated
         Atlanta, GA 30305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6778
                                                                   Is the claim subject to offset?     No       Yes

3.184
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVID WM AZAR                                                Contingent
         P.O. Box 510475                                              Unliquidated
         Melbourne Beach, FL 32951
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5930
                                                                   Is the claim subject to offset?     No       Yes

3.184
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVILA & TORRES                                              Contingent
         911 N Main Street Suite 5                                    Unliquidated
         Kissimmee, FL 34744
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8675
                                                                   Is the claim subject to offset?     No       Yes

3.184
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DAVIS & KIRSTE                                               Contingent
         7928 US Highway 441                                          Unliquidated
         Suite 3
                                                                      Disputed
         Leesburg, FL 34788
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0749                      Is the claim subject to offset?     No       Yes

3.184
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVIS & TRUITT PA                                            Contingent
         300 N Ronald Reagan Boulevard Suite 309                      Unliquidated
         Longwood, FL 32750-5902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4211
                                                                   Is the claim subject to offset?     No       Yes

3.184
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DAVIS AND TOMPKINS PA                                        Contingent
         P.O. Box 698                                                 Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9203
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 273 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 281 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.185
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         DAVIS BASTA LAW FIRM PA                                      Contingent
         31111 US Highway 19 N                                        Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1838
                                                                   Is the claim subject to offset?     No       Yes

3.185
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAVIS C HOLDEN                                               Contingent
         1349 Sanibel Lane                                            Unliquidated
         Gulf Breeze, FL 32561-6234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6380
                                                                   Is the claim subject to offset?     No       Yes

3.185
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         DAVIS SCHNITKER REEVES &                                     Contingent
         P.O. Drawer 652                                              Unliquidated
         Madison, FL 32340-0652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7554
                                                                   Is the claim subject to offset?     No       Yes

3.185
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAWN G EURINGER                                              Contingent
         P.O. Box 144253                                              Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0550
                                                                   Is the claim subject to offset?     No       Yes

3.185
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAWN NICHOLS                                                 Contingent
         645 N Halifax Avenue                                         Unliquidated
         Daytona Beach, FL 32118-3846
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2420
                                                                   Is the claim subject to offset?     No       Yes

3.185
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DAWSON LAW PA                                                Contingent
         50 N. Grove Street                                           Unliquidated
         Merritt Island, FL 32953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2583
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 274 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 282 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.185
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DE AGUERO & GONZALEZ PA                                      Contingent
         3191 Coral Way Suite 115141                                  Unliquidated
         Miami, FL 33145-3213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5170
                                                                   Is the claim subject to offset?     No       Yes

3.185
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         De Armas, Millich, & Rice,, PL                               Contingent
         Suite 800                                                    Unliquidated
         168 Southeast 1st Street
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7179                      Is the claim subject to offset?     No       Yes

3.185
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DE CARDENAS FREIXAS STEIN &                                  Contingent
         25 Southeast 2nd Avenue Suite 425                            Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4271
                                                                   Is the claim subject to offset?     No       Yes

3.185
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DE LA CRUZ & CUTLER LLP                                      Contingent
         3850 Bird Road                                               Unliquidated
         Suite 903
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1539                      Is the claim subject to offset?     No       Yes

3.186
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         De La Noval, P.A.                                            Contingent
         8603 S. Dixie Highway                                        Unliquidated
         Suite 303
                                                                      Disputed
         Pinecrest, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0923                      Is the claim subject to offset?     No       Yes

3.186
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         DE LA PARTE & GILBERT PA                                     Contingent
         P.O. Box 2350                                                Unliquidated
         Tampa, FL 33601-2350
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3840
                                                                   Is the claim subject to offset?     No       Yes

3.186
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DE LOS SANTOS & GUERRERO PA                                  Contingent
         6950 N Kendall Drive                                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2816
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 275 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 283 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.186
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEAN & DEAN                                                  Contingent
         230 Northeast 25th Avenue                                    Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4660
                                                                   Is the claim subject to offset?     No       Yes

3.186
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $177.85
         DEAN ANDREWS PA                                              Contingent
         P.O. Box 11640                                               Unliquidated
         Ft Lauderdale, FL 33339-1640                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1709
                                                                   Is the claim subject to offset?     No       Yes

3.186
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEAN G TSOURAKIS                                             Contingent
         8413 N Grady Avenue                                          Unliquidated
         Tampa, FL 33614
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8272
                                                                   Is the claim subject to offset?     No       Yes

3.186
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEAN H FREEMAN                                               Contingent
         10211 W Sample Road Suite 208                                Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7645
                                                                   Is the claim subject to offset?     No       Yes

3.186
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEAN HANEWINCKEL                                             Contingent
         2650 S. McCall Road                                          Unliquidated
         Suite E
                                                                      Disputed
         Englewood, FL 34224
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2504                      Is the claim subject to offset?     No       Yes

3.186
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEAN L WILLBUR JR                                            Contingent
         11380 Prosperity Farms Road                                  Unliquidated
         Suite 110A
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7584                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 276 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 284 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.186
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $600.00
         DEAN MEAD EGERTON BLOODWORTH                                 Contingent
         420 S. Orange Avenue                                         Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6834
                                                                   Is the claim subject to offset?     No       Yes

3.187
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBBIE A MCANDREW LLC                                        Contingent
         179 N Highway 27 Suite E                                     Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7154
                                                                   Is the claim subject to offset?     No       Yes

3.187
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBI EVANS GALLER                                            Contingent
         201 S Biscayne Boulevard 22nd Floor                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0396
                                                                   Is the claim subject to offset?     No       Yes

3.187
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DEBI V RUMPH                                                 Contingent
         P.O. Box 54-1593                                             Unliquidated
         Orlando, FL 32854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1753
                                                                   Is the claim subject to offset?     No       Yes

3.187
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBOEST STOCKMAN DECKER                                      Contingent
         2030 McGregor Boulevard                                      Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 555
                                                                   Is the claim subject to offset?     No       Yes

3.187
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,595.99
         DEBOEST STOCKMAN DECKER                                      Contingent
         2120 McGregor Boulevard                                      Unliquidated
         Ft Myers, FL 33901                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 555
                                                                   Is the claim subject to offset?     No       Yes

3.187
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEBORAH A BUSHNELL                                           Contingent
         204 Scotland Street                                          Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7023
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 277 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 285 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.187
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH A L PHILLIPS PA                                      Contingent
         4475 N State Road 7                                          Unliquidated
         Lauderdale Lakes, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9873
                                                                   Is the claim subject to offset?     No       Yes

3.187
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH A SAWYER PA                                          Contingent
         P.O. Box 3368                                                Unliquidated
         Ft Pierce, FL 34954-3368
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4910
                                                                   Is the claim subject to offset?     No       Yes

3.187
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH A STEWART                                            Contingent
         400 5th Avenue S.                                            Unliquidated
         Suite 200
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2460                      Is the claim subject to offset?     No       Yes

3.187
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEBORAH A WOLFORD                                            Contingent
         International Place Suite 130                                Unliquidated
         1580 Sawgrass Corporate Parkway
                                                                      Disputed
         Sunrise, FL 33323-2860
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8297                      Is the claim subject to offset?     No       Yes

3.188
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH D FIGAROLA                                           Contingent
         1004 Salen Lane                                              Unliquidated
         Austin, TX 78753-3942
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2458
                                                                   Is the claim subject to offset?     No       Yes

3.188
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH FISCHER RUGG                                         Contingent
         1001 W Cypress Creek Road Suite 320                          Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9702
                                                                   Is the claim subject to offset?     No       Yes

3.188
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH GARCIA ESQUIRE                                       Contingent
         31 Lupi Court Suite 120                                      Unliquidated
         Palm Coast, FL 32137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4816
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 278 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 286 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.188
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH M MARTZ LYSAGHT                                      Contingent
         Deborah Martz Lysaght P.A.                                   Unliquidated
         140 Intracoastal Point Drive Suite 307
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6957                      Is the claim subject to offset?     No       Yes

3.188
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Deborah Marks, PLLC                                          Contingent
         11767 South Dixie Highway                                    Unliquidated
         Suite 126
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7107                      Is the claim subject to offset?     No       Yes

3.188
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $66.06
         DEBORAH S CHAMES                                             Contingent
         888 Brickell Avenue 6th Floor                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3999
                                                                   Is the claim subject to offset?     No       Yes

3.188
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH S KORLESKI PA                                        Contingent
         670 N Orlando Avenue Suite 202                               Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2581
                                                                   Is the claim subject to offset?     No       Yes

3.188
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DEBORAH S KOWALSKY                                           Contingent
         1930 Tyler Street                                            Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2241
                                                                   Is the claim subject to offset?     No       Yes

3.188
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEBORAH STUDYBAKER                                           Contingent
         2296 Victoria Avenue                                         Unliquidated
         Fort Myers, FL 33900
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7982
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 279 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 287 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.188
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBORAH W BUNNELL                                            Contingent
         1543 Ox Bottom Road                                          Unliquidated
         Tallahassee, FL 32312-3527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4253
                                                                   Is the claim subject to offset?     No       Yes

3.189
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBRA G SIMMS PA                                             Contingent
         781 Douglas Avenue                                           Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4371
                                                                   Is the claim subject to offset?     No       Yes

3.189
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBRA K SMIETANSKI                                           Contingent
         P.O. Box 3433                                                Unliquidated
         Tampa, FL 33601-3433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2021
                                                                   Is the claim subject to offset?     No       Yes

3.189
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBRA L KLEIN                                                Contingent
         P.O. Box 432                                                 Unliquidated
         Stuart, FL 34995-0432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0472
                                                                   Is the claim subject to offset?     No       Yes

3.189
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBRA L ZELMAN                                               Contingent
         10400 S Lake Vista Circle                                    Unliquidated
         Ft Lauderdale, FL 33328-1110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8303
                                                                   Is the claim subject to offset?     No       Yes

3.189
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEBRA P ROCHLIN                                              Contingent
         900 S Andrews Avenue                                         Unliquidated
         Ft Lauderdale, FL 33316-1000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7502
                                                                   Is the claim subject to offset?     No       Yes

3.189
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         DECKER & SMITH                                               Contingent
         P.O. Box 1470                                                Unliquidated
         Ft Myers, FL 33902-1470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6132
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 280 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 288 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.189
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DECUBELLIS MEEKS & UNCAPHER PA                               Contingent
         P.O. Box 1171                                                Unliquidated
         Orlando, FL 32802-4976
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4020
                                                                   Is the claim subject to offset?     No       Yes

3.189
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEEB & DURKIN PA                                             Contingent
         5999 Central Avenue Suite 202                                Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0272
                                                                   Is the claim subject to offset?     No       Yes

3.189
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DEEB LAW FIRM PA                                             Contingent
         DBA Deeb & Deeb                                              Unliquidated
         310 Alhambra Circle
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9258                      Is the claim subject to offset?     No       Yes

3.189
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DeFabio Beckham Solis, PLLC                                  Contingent
         2420 Coral Way                                               Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0647
                                                                   Is the claim subject to offset?     No       Yes

3.190
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DEHGHANI AND ASSOCIATES PA                                   Contingent
         P.O. Box 228630                                              Unliquidated
         Miami, FL 33222-8630
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5547
                                                                   Is the claim subject to offset?     No       Yes

3.190
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEL VILLAR & ASSOCIATES PA                                   Contingent
         2121 Ponce De Leon Boulevard Suite 340                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0581
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 281 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 289 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.190
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DELAILA J ESTEFANO                                           Contingent
         13930 Southwest 47th Street Suite 201                        Unliquidated
         Miami, FL 33175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5102
                                                                   Is the claim subject to offset?     No       Yes

3.190
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DELANO S STEWART                                             Contingent
         501 E Kennedy Boulevard Suite 760                            Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4904
                                                                   Is the claim subject to offset?     No       Yes

3.190
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DELEON & DELEON PA                                           Contingent
         66 W Flagler Street Suite 800                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6016
                                                                   Is the claim subject to offset?     No       Yes

3.190
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DelFyette & Ohm Law Group, P.A.                              Contingent
         319 Clematis Street                                          Unliquidated
         Suite 202
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0822                      Is the claim subject to offset?     No       Yes

3.190
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Delgado & Rodriguez, L.L.P.                                  Contingent
         150 Alhambra Circle Suite 715                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8999
                                                                   Is the claim subject to offset?     No       Yes

3.190
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Delgado Legal, P.A.                                          Contingent
         6500 Cow Pen Road                                            Unliquidated
         Suite 304
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0844                      Is the claim subject to offset?     No       Yes

3.190
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,828.98
         DELL GRAHAM WILLCOX BARBER                                   Contingent
         P.O. Box 850                                                 Unliquidated
         Gainesville, FL 32602-0850                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 158
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 282 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 290 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.190
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dell Graham, P.A.                                            Contingent
         203 Northeast 1st Street                                     Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8967
                                                                   Is the claim subject to offset?     No       Yes

3.191
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         DELOACH & HOFSTRA PA                                         Contingent
         8640 Seminole Boulevard                                      Unliquidated
         Seminole, FL 33772
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5613
                                                                   Is the claim subject to offset?     No       Yes

3.191
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DELSY PEREZ                                                  Contingent
         Delsy Perez P.A.                                             Unliquidated
         1501 Northwest 97th Avenue
                                                                      Disputed
         Miami, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8750                      Is the claim subject to offset?     No       Yes

3.191
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $575.00
         DELZER COULTER & BELL PA                                     Contingent
         7920 US Highway 19                                           Unliquidated
         Port Richey, FL 34668-3404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1978
                                                                   Is the claim subject to offset?     No       Yes

3.191
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEMETRIO J PEREZ & ASSOCIATES                                Contingent
         2700 SW 8th Street                                           Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7638
                                                                   Is the claim subject to offset?     No       Yes

3.191
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEMETRIOS G GLINOS                                           Contingent
         320 Haverlake Circle                                         Unliquidated
         Apopka, FL 32712-4056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4994
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 283 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 291 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.191
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEMETRIOS PAVLOU                                             Contingent
         9858 Clint Moore Road C111236                                Unliquidated
         Boca Raton, FL 33496
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4889
                                                                   Is the claim subject to offset?     No       Yes

3.191
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEMETRIOS VOIKLIS                                            Contingent
         5811 Memorial Highway Suite 107                              Unliquidated
         Tampa, FL 33615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5638
                                                                   Is the claim subject to offset?     No       Yes

3.191
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENIS A BRASLOW                                              Contingent
         917 N 12th Avenue                                            Unliquidated
         Pensacola, FL 32501-3339
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7262
                                                                   Is the claim subject to offset?     No       Yes

3.191
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENIS A COHRS                                                Contingent
         The Cohrs Law Group P.A.                                     Unliquidated
         2841 Executive Drive, Suite 120
                                                                      Disputed
         Clearwater, FL 33762
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5548                      Is the claim subject to offset?     No       Yes

3.191
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8.19
         DENIS A RUSS                                                 Contingent
         1370 Washington Avenue Suite 209                             Unliquidated
         Miami Beach, FL 33139-4215                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7221
                                                                   Is the claim subject to offset?     No       Yes

3.192
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENISE A DALRYMPLE                                           Contingent
         Denise A. Dalrymple P.A.                                     Unliquidated
         5944 Coral Ridge Drive Suite 301
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6269                      Is the claim subject to offset?     No       Yes

3.192
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENISE L PARROTTA                                            Contingent
         1098 Northwest Boca Raton Boulevard                          Unliquidated
         Boca Raton, FL 33432-2616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4248
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 284 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 292 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.192
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENISE M SCANZIANI ESQ PA                                    Contingent
         12464 Southwest 127th Avenue                                 Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7066
                                                                   Is the claim subject to offset?     No       Yes

3.192
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DENISE N MURPHY PA                                           Contingent
         531 Main Street                                              Unliquidated
         Suite F
                                                                      Disputed
         Safety Harbor, FL 34695
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0133                      Is the claim subject to offset?     No       Yes

3.192
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS A DONET                                               Contingent
         6161 Blue Lagoon Drive Suite 430                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6404
                                                                   Is the claim subject to offset?     No       Yes

3.192
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DENNIS A. HEDGE                                              Contingent
         P.O. Box 2208                                                Unliquidated
         Ft. Myers, FL 33902-2208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6444
                                                                   Is the claim subject to offset?     No       Yes

3.192
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS D CAMP                                                Contingent
         351 Northeast 8th Avenue                                     Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5410
                                                                   Is the claim subject to offset?     No       Yes

3.192
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS E BERGER                                              Contingent
         P.O. Box 340223                                              Unliquidated
         Miami, FL 33164-0223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6571
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 285 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 293 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.192
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS E MANELLI ESQUIRE                                     Contingent
         1800 Grant Street                                            Unliquidated
         Tampa, FL 33605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5933
                                                                   Is the claim subject to offset?     No       Yes

3.192
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DENNIS E STONE                                               Contingent
         45 Northwest 8th Street Suite 107                            Unliquidated
         Homestead, FL 33030-4452
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6754
                                                                   Is the claim subject to offset?     No       Yes

3.193
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DENNIS ELTON PONN                                            Contingent
         Miller & Ponn P.A.                                           Unliquidated
         1525 N Park Drive Suite 102
                                                                      Disputed
         Weston, FL 33326-5906
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8416                      Is the claim subject to offset?     No       Yes

3.193
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dennis Gonzalez, P.A.                                        Contingent
         10637 N Kendall Drive Suite 7f                               Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8057
                                                                   Is the claim subject to offset?     No       Yes

3.193
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS HERNANDEZ & ASSOCIATES                                Contingent
         3339 W Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33609-2903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6784
                                                                   Is the claim subject to offset?     No       Yes

3.193
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DENNIS I HOLOBER                                             Contingent
         13155 Ixora Court Suite 707                                  Unliquidated
         Miami, FL 33181-2326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5251
                                                                   Is the claim subject to offset?     No       Yes

3.193
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS J BESSEY                                              Contingent
         Bessey Law P.A.                                              Unliquidated
         P.O. Box 7917
                                                                      Disputed
         North Port, FL 34290
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4373                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 286 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 294 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.193
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS J MCGLOTHIN                                           Contingent
         727 Northeast 3rd Avenue Suite 101                           Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4660
                                                                   Is the claim subject to offset?     No       Yes

3.193
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DENNIS J ROGERS                                              Contingent
         4055 Palm Bay Circle Apt C                                   Unliquidated
         West Palm Beach, FL 33406-9032
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5402
                                                                   Is the claim subject to offset?     No       Yes

3.193
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DENNIS J. HIGHTOWER                                          Contingent
         738 W. Colonial Dr.                                          Unliquidated
         Orlando, FL 32804-7344
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4201
                                                                   Is the claim subject to offset?     No       Yes

3.193
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         DENNIS L HORTON PA                                           Contingent
         3721 S. Highway 27                                           Unliquidated
         Suite A
                                                                      Disputed
         Clermont, FL 34711
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5173                      Is the claim subject to offset?     No       Yes

3.193
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS L PRATT                                               Contingent
         10450 San Jose Boulevard Suite 3                             Unliquidated
         Jacksonville, FL 32257
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0170
                                                                   Is the claim subject to offset?     No       Yes

3.194
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS M SOLOMON                                             Contingent
         1601 Belvedere Road Suite 407 S                              Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9163
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 287 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 295 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.194
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DENNIS P SHEPPARD                                            Contingent
         1360 S Ocean Boulevard Suite 802                             Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8278
                                                                   Is the claim subject to offset?     No       Yes

3.194
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS R BEDARD                                              Contingent
         Law Office of Dennis R Bedard                                Unliquidated
         1717 N Bayshore Drive Suite 215
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2362                      Is the claim subject to offset?     No       Yes

3.194
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS R HABER                                               Contingent
         C/O Miami Legal, Title & Mediation                           Unliquidated
         8925 SW 148th Street, Suite 200
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7765                      Is the claim subject to offset?     No       Yes

3.194
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DENNIS R WHITE                                               Contingent
         999 Vanderbilt Beach Road Suite 200                          Unliquidated
         Naples, FL 34108-3512
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5775
                                                                   Is the claim subject to offset?     No       Yes

3.194
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS R WOOD                                                Contingent
         2116 Tyler Street                                            Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4133
                                                                   Is the claim subject to offset?     No       Yes

3.194
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS S GOLD                                                Contingent
         2335 Tamiami Trail N.                                        Unliquidated
         Suite 301
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6791                      Is the claim subject to offset?     No       Yes

3.194
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS S MOSES                                               Contingent
         5720 Gall Boulevard Suite 3                                  Unliquidated
         Zephyrhills, FL 33541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2747
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 288 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 296 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.194
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNIS V NYMARK                                              Contingent
         110 S Pebble Beach Boulevard                                 Unliquidated
         Sun City Center, FL 33573
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9835
                                                                   Is the claim subject to offset?     No       Yes

3.194
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DENNISON & DENNISON                                          Contingent
         Suite 130                                                    Unliquidated
         1580 Sawgrass Corporate Parkway
                                                                      Disputed
         Sunrise, FL 33323-2860
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6493                      Is the claim subject to offset?     No       Yes

3.195
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DENT & COOK PA                                               Contingent
         P.O. Box 3259                                                Unliquidated
         Sarasota, FL 34230-3259
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5263
                                                                   Is the claim subject to offset?     No       Yes

3.195
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Dent & McClain Chartered                                     Contingent
         3411 Magic Oak Lane                                          Unliquidated
         Sarasota, FL 34232
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9522
                                                                   Is the claim subject to offset?     No       Yes

3.195
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEREK TAACA                                                  Contingent
         310 Whitfield Avenue                                         Unliquidated
         Sarasota, FL 34243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2513
                                                                   Is the claim subject to offset?     No       Yes

3.195
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DERMOT MACMAHON PA                                           Contingent
         8461 Lake Worth Road                                         Unliquidated
         Suite 133
                                                                      Disputed
         Lake Worth, FL 33467
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6358                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 289 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 297 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.195
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DESAI & MAYA PA                                              Contingent
         1540 Lake Baldwin Lane Suite B                               Unliquidated
         Orlando, FL 32814
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6746
                                                                   Is the claim subject to offset?     No       Yes

3.195
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,208.88
         DESANTIS GASKILL SMITH                                       Contingent
         11891 US Highway 1                                           Unliquidated
         Suite 100                                                    Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4905                      Is the claim subject to offset?     No       Yes


3.195
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DESI R KELLERMANN PA                                         Contingent
         605 Lincoln Road Suite 400                                   Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3123
                                                                   Is the claim subject to offset?     No       Yes

3.195
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DET H JOKS                                                   Contingent
         10689 N Kendall Drive Ph 310                                 Unliquidated
         Miami, FL 33176-1510
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5368
                                                                   Is the claim subject to offset?     No       Yes

3.195
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DEVINE GOODMAN RASCO & WELLS                                 Contingent
         2800 Ponce De Leon Boulevard                                 Unliquidated
         Suite 1400
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5626                      Is the claim subject to offset?     No       Yes

3.195
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEVITO & COLEN                                               Contingent
         7243 Bryan Daity Road                                        Unliquidated
         Largo, FL 33777-1538
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3560
                                                                   Is the claim subject to offset?     No       Yes

3.196
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $610.32
         DEVITT J ADAMS                                               Contingent
         P.O. Box 3937                                                Unliquidated
         Fort Pierce, FL 34948-3937                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4391
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 290 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 298 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.196
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,773.88
         DEVITT THISTLE & DEVITT PA                                   Contingent
         30 Southeast 4th Avenue                                      Unliquidated
         Delray Beach, FL 33483-4514                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 336
                                                                   Is the claim subject to offset?     No       Yes

3.196
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Devolder Law Firm, P.L.L.C.                                  Contingent
         8709 Hunter Green Drive                                      Unliquidated
         Tampa, FL 33647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0536
                                                                   Is the claim subject to offset?     No       Yes

3.196
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEWEY ALBERT F RIES                                          Contingent
         215 Northeast 3rd Street                                     Unliquidated
         Ft Lauderdale, FL 33301-1040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3477
                                                                   Is the claim subject to offset?     No       Yes

3.196
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DEWEY H VARNER                                               Contingent
         2328 Tenth Avenue N Suite 200                                Unliquidated
         Lake Worth, FL 33461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7146
                                                                   Is the claim subject to offset?     No       Yes

3.196
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $70.00
         DEWEY R MOCKLER                                              Contingent
         P.O. Box 749                                                 Unliquidated
         Ft Myers, FL 33902-0749
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5512
                                                                   Is the claim subject to offset?     No       Yes

3.196
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DEWOLF WARD O'DONNELL &                                      Contingent
         111 N Orange Avenue Suite 2000                               Unliquidated
         Orlando, FL 32801-2335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5138
                                                                   Is the claim subject to offset?     No       Yes

3.196
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DEWRELL SACKS LLP                                            Contingent
         2390 Tamiami Trail N Suite 102                               Unliquidated
         Naples, FL 34103-4483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2789
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 291 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 299 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.196
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DEZAYAS O'NAGHTEN & DIAZ                                     Contingent
         2950 Southwest 27th Avenue Suite 300                         Unliquidated
         Miami, FL 33133-3765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8534
                                                                   Is the claim subject to offset?     No       Yes

3.196
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Diamelyn Cepero, P.A.                                        Contingent
         55 Merrick Way Suite 402                                     Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7919
                                                                   Is the claim subject to offset?     No       Yes

3.197
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANA A HO-YEN PA                                            Contingent
         2575 Southwest 158th Avenue                                  Unliquidated
         Miramar, FL 33027-4282
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7926
                                                                   Is the claim subject to offset?     No       Yes

3.197
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         DIANA CURTIS REIF                                            Contingent
         3243 Daisy Log Road                                          Unliquidated
         Blairsville, GA 30512-1917
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 192
                                                                   Is the claim subject to offset?     No       Yes

3.197
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Diana Goldman, P.A.                                          Contingent
         7270 S. US Highway 1                                         Unliquidated
         Port St Lucie, FL 34952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8585
                                                                   Is the claim subject to offset?     No       Yes

3.197
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANA K BOCK                                                 Contingent
         135 W Central Boulevard Suite 250                            Unliquidated
         Orlando, FL 32801-2437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2213
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 292 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 300 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.197
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANA WATEROUS CENTORINO                                     Contingent
         1230 Southeast 4th Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8727
                                                                   Is the claim subject to offset?     No       Yes

3.197
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $169.67
         DIANE BACCUS HORSLEY                                         Contingent
         P.O. Box 33527                                               Unliquidated
         Indialantic, FL 32903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7992
                                                                   Is the claim subject to offset?     No       Yes

3.197
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANE CLEAVINGER                                             Contingent
         1230 Apalachee Parkway                                       Unliquidated
         Tallahassee, FL 32399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8547
                                                                   Is the claim subject to offset?     No       Yes

3.197
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANE E MCGILL                                               Contingent
         P.O. Box 1475                                                Unliquidated
         5100 S Cleveland Avenue Suite 318
                                                                      Disputed
         Winter Haven, FL 33882-1475
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7408                      Is the claim subject to offset?     No       Yes

3.197
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANE HILDEBRAND                                             Contingent
         1101 Northwest 93rd Avenue                                   Unliquidated
         Ft Lauderdale, FL 33322-4907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4646
                                                                   Is the claim subject to offset?     No       Yes

3.197
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANE M PERRY                                                Contingent
         Diane M. Perry P.A.                                          Unliquidated
         2400 E Commercial Boulevard Suite 201
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5997                      Is the claim subject to offset?     No       Yes

3.198
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $38.58
         DIANE MARIE CONNIFF                                          Contingent
         200 Southeast 1st St, Penthouse                              Unliquidated
         Miami, FL 33131-1903                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8117
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 293 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 301 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.198
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANE MCGUIRE                                                Contingent
         P.O. Box 1062                                                Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3901
                                                                   Is the claim subject to offset?     No       Yes

3.198
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANE T COVAN                                                Contingent
         1901 Fogarty Avenue Suite 1                                  Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7185
                                                                   Is the claim subject to offset?     No       Yes

3.198
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIANNE E BILLINGTON                                          Contingent
         2000 Highway A1A Second Floor                                Unliquidated
         Indian Harbour Beach, FL 32937-3525
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9878
                                                                   Is the claim subject to offset?     No       Yes

3.198
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Diaz Leyva Group, PLLC                                       Contingent
         1501 Venera Avenue                                           Unliquidated
         Suite 203
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0431                      Is the claim subject to offset?     No       Yes

3.198
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIAZ REUS & TARG LLP                                         Contingent
         121 S Orange Avenue Suite 1270                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5963
                                                                   Is the claim subject to offset?     No       Yes

3.198
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Diaz Reus & Targ, L.L.P.                                     Contingent
         3400 Bank Of America Tower                                   Unliquidated
         100 SE 2nd Street
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5963                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 294 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 302 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.198
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DICESARE DAVIDSON & BARKER PA                                Contingent
         P.O. Box 7160                                                Unliquidated
         Lakeland, FL 33807-7160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1015
                                                                   Is the claim subject to offset?     No       Yes

3.198
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DICK K. JUCKNATH                                             Contingent
         7208 Moss Leaf Lane                                          Unliquidated
         Orlando, FL 32819-4739
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5595
                                                                   Is the claim subject to offset?     No       Yes

3.198
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,229.36
         DICKENSON REX & SLOAN PA                                     Contingent
         4800 N. Federal Highway                                      Unliquidated
         Unit E100                                                    Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7573                      Is the claim subject to offset?     No       Yes


3.199
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DICKERSON LAW FIRM                                           Contingent
         120 N Collins Street Suite 201                               Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5912
                                                                   Is the claim subject to offset?     No       Yes

3.199
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         DICKINSON & GIBBONS PA                                       Contingent
         P.O. Box 3979                                                Unliquidated
         Sarasota, FL 34230-3979
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1170
                                                                   Is the claim subject to offset?     No       Yes

3.199
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DICKINSON WRIGHT PLLC                                        Contingent
         P.O. Box 243351                                              Unliquidated
         Boynton Beach, FL 33424-3351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6992
                                                                   Is the claim subject to offset?     No       Yes

3.199
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DICKS & PALMER                                               Contingent
         520 Crown Oak Centre Drive                                   Unliquidated
         Longwood, FL 32750-6187
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8635
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 295 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 303 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.199
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dieppa Law Firm, P.A.                                        Contingent
         10689 N. Kendall Drive                                       Unliquidated
         Suite 314
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7029                      Is the claim subject to offset?     No       Yes

3.199
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIETRICH R JENKINS PA                                        Contingent
         2331 Arthur Street Unit 10                                   Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2575
                                                                   Is the claim subject to offset?     No       Yes

3.199
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DIEZ & FLOYD PA                                              Contingent
         737 S Indiana Avenue                                         Unliquidated
         Englewood, FL 34223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8051
                                                                   Is the claim subject to offset?     No       Yes

3.199
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DiFalco & Fernandez, L.L.L.P.                                Contingent
         777 Brickell Avenue                                          Unliquidated
         Suite 630
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7513                      Is the claim subject to offset?     No       Yes

3.199
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DIGON & DIGON PLLC                                           Contingent
         The Florida Bar                                              Unliquidated
         651 E Jefferson Street
                                                                      Disputed
         Tallahassee, FL 32399-6584
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7924                      Is the claim subject to offset?     No       Yes

3.199
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DILL & EVANS PL                                              Contingent
         1565 US Highway 1                                            Unliquidated
         Sebastian, FL 32958-3832
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5016
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 296 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 304 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.200
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $525.00
         DILWORTH PAXSON KALISH                                       Contingent
         Attn: Lawrence J. Miller                                     Unliquidated
         2200 Corporate Boulevard Northwest Suite
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7418                      Is the claim subject to offset?     No       Yes

3.200
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DIMAGGIO LAW OFFICES PA                                      Contingent
         633 Southeast 3rd Avenue Suite 202                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9915
                                                                   Is the claim subject to offset?     No       Yes

3.200
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DINA PINHAS PA                                               Contingent
         20401 NE 30th Avenue                                         Unliquidated
         Miami, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9597
                                                                   Is the claim subject to offset?     No       Yes

3.200
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DINAH S STEPHENSON                                           Contingent
         1047 E Atlantic Avenue                                       Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7546
                                                                   Is the claim subject to offset?     No       Yes

3.200
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dine Law, PL                                                 Contingent
         1101 6th Avenue West Suite 218                               Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8319
                                                                   Is the claim subject to offset?     No       Yes

3.200
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DISQUE & SCHWAB PA                                           Contingent
         192 Northwest Central Park Plaza                             Unliquidated
         St Lucie West, FL 34986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8958
                                                                   Is the claim subject to offset?     No       Yes

3.200
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         DITTMAN DOWLING & SCHONE LLP                                 Contingent
         4600 N. Ocean Boulevard                                      Unliquidated
         Suite 206
                                                                      Disputed
         Boynton Beach, FL 33435
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7393                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 297 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 305 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.200
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DIVINE & ESTES PA                                            Contingent
         636 West Yale Street                                         Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0544
                                                                   Is the claim subject to offset?     No       Yes

3.200
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         DIVITO & HIGHAM                                              Contingent
         4514 Central Avenue                                          Unliquidated
         St Petersburg, FL 33711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1969
                                                                   Is the claim subject to offset?     No       Yes

3.200
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DIXIE LEE BALL                                               Contingent
         Patterson Eskin & Ball                                       Unliquidated
         1420 SE 47th Street
                                                                      Disputed
         Cape Coral, FL 33904-9604
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8413                      Is the claim subject to offset?     No       Yes

3.201
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DIXIE S MACKAY                                               Contingent
         P.O. Box 1148                                                Unliquidated
         Riverview, FL 33568-1148
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8205
                                                                   Is the claim subject to offset?     No       Yes

3.201
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DIXON THOMAS                                                 Contingent
         3609 Kingdom Way                                             Unliquidated
         St Augustine, FL 32092-3609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7910
                                                                   Is the claim subject to offset?     No       Yes

3.201
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Djf Cevelopmemnt, L.L.C.                                     Contingent
         13270 Southwest 131st Street Suite 131                       Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5937
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 298 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 306 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.201
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOAK S CAMPBELL III                                          Contingent
         70 SE 4th Avenue                                             Unliquidated
         Delray Beach, FL 33483-4514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1075
                                                                   Is the claim subject to offset?     No       Yes

3.201
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         DOBBINS MEEKS RALEIGH &                                      Contingent
         P.O. Box 11799                                               Unliquidated
         Ft Lauderdale, FL 33339-1799
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5731
                                                                   Is the claim subject to offset?     No       Yes

3.201
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOLAN LAW FIRM PLLC                                          Contingent
         28870 US Highway 19 N Suite 336                              Unliquidated
         Clearwater, FL 33761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6416
                                                                   Is the claim subject to offset?     No       Yes

3.201
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dollar & Baboun, P.A.                                        Contingent
         201 Alhambra Circle Suite 1050                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8373
                                                                   Is the claim subject to offset?     No       Yes

3.201
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOLORES K SANCHEZ                                            Contingent
         225 N Federal Highway Suite 600                              Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7103
                                                                   Is the claim subject to offset?     No       Yes

3.201
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOLORES X SAN GIORGIO                                        Contingent
         7812 W Sample Road                                           Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5457
                                                                   Is the claim subject to offset?     No       Yes

3.201
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOMENICA FRASCA                                              Contingent
         Panza Maurer & Maynard P.A.                                  Unliquidated
         3600 N Federal Highway 3rd Floor
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4049                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 299 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 307 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.202
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Domingues McConville, P.A.                                   Contingent
         5353 N Federal Highway Suite 100                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7331
                                                                   Is the claim subject to offset?     No       Yes

3.202
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOMINIC J ABREU                                              Contingent
         Kahane & Associates P.A.                                     Unliquidated
         8201 Peters Road Suite 3000
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5772                      Is the claim subject to offset?     No       Yes

3.202
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOMINICK F MINIACI                                           Contingent
         821 East Broward Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33301-2064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5716
                                                                   Is the claim subject to offset?     No       Yes

3.202
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DON D DYE                                                    Contingent
         P.O. Box 4148                                                Unliquidated
         Tallahassee, FL 32315-4148
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4011
                                                                   Is the claim subject to offset?     No       Yes

3.202
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DON F ZIMMERMAN                                              Contingent
         2133 Northeast Coachman Road Suite A                         Unliquidated
         Clearwater, FL 34625-2616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7035
                                                                   Is the claim subject to offset?     No       Yes

3.202
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DON GONZALEZ                                                 Contingent
         1820 N Corporate Lakes Boulevard Suite 2                     Unliquidated
         Weston, FL 33326-3259
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0692
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 300 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 308 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.202
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DON M STICHTER                                               Contingent
         110 E Madison Street Suite 200                               Unliquidated
         Tampa, FL 33602-4718
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4340
                                                                   Is the claim subject to offset?     No       Yes

3.202
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,386.93
         DON R LIVINGSTONE                                            Contingent
         8761 SW 133rd Street                                         Unliquidated
         Suite 202                                                    Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6003                      Is the claim subject to offset?     No       Yes


3.202
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $169.24
         DON R. ALLEN                                                 Contingent
         1995 E. Oakland Park Blvd.                                   Unliquidated
         Ft Lauderdale, FL 33306-1113                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3353
                                                                   Is the claim subject to offset?     No       Yes

3.202
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD A GOLDEN                                              Contingent
         11755 SW 62nd Avenue                                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2619
                                                                   Is the claim subject to offset?     No       Yes

3.203
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD A ORLOVSKY                                            Contingent
         2090 Palm Beach Lakes Boulevard Suite 90                     Unliquidated
         West Palm Beach, FL 33409-6523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3953
                                                                   Is the claim subject to offset?     No       Yes

3.203
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD A ROARK                                               Contingent
         201 E Government Street                                      Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8488
                                                                   Is the claim subject to offset?     No       Yes

3.203
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONALD A STEWART                                             Contingent
         22 S Links Avenue Suite 300                                  Unliquidated
         Sarasota, FL 34236-5939
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4652
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 301 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 309 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.203
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD A WICH JR                                             Contingent
         California Tower Suite 620                                   Unliquidated
         2400 E Commercial Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5438                      Is the claim subject to offset?     No       Yes

3.203
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD A YARBROUGH                                           Contingent
         P.O. Box 11842                                               Unliquidated
         Ft Lauderdale, FL 33339
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4424
                                                                   Is the claim subject to offset?     No       Yes

3.203
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD B LINSKY                                              Contingent
         1509 Sun City Center Plaza Suite B                           Unliquidated
         Sun City Center, FL 33570
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8060
                                                                   Is the claim subject to offset?     No       Yes

3.203
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD B MCKAY III                                           Contingent
         6624 Rowan Road                                              Unliquidated
         New Port Richey, FL 34653-2940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5937
                                                                   Is the claim subject to offset?     No       Yes

3.203
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,933.77
         DONALD B MEDALIE                                             Contingent
         Medalie & Medalie P.A.                                       Unliquidated
         800 E Broward Boulevard Suite 301                            Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3095                      Is the claim subject to offset?     No       Yes


3.203
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD C JONES                                               Contingent
         7855 126th Avenue N Suite F                                  Unliquidated
         Largo, FL 34643-1651
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4756
                                                                   Is the claim subject to offset?     No       Yes

3.203
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD C KNAPMEYER                                           Contingent
         P.O. Box 1168                                                Unliquidated
         Clearwater, FL 33755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2121
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 302 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 310 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.204
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         DONALD C SIDER & ASSOCIATES                                  Contingent
         6751 N Federal Highway Suite 200                             Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5195
                                                                   Is the claim subject to offset?     No       Yes

3.204
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD D HOCKMAN                                             Contingent
         2670 Fairbanks Avenue                                        Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7740
                                                                   Is the claim subject to offset?     No       Yes

3.204
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD E HAHAMOVITCH                                         Contingent
         Building 7 Apartment 103                                     Unliquidated
         11811 Royal Palm Boulevard
                                                                      Disputed
         Coral Springs, FL 33065-7336
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7553                      Is the claim subject to offset?     No       Yes

3.204
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD E HAWKINS                                             Contingent
         501 S Ridgewood Avenue                                       Unliquidated
         Daytona Beach, FL 32114-4929
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4600
                                                                   Is the claim subject to offset?     No       Yes

3.204
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONALD E SCHOLL                                              Contingent
         115 S Spring Boulevard                                       Unliquidated
         Tarpon Springs, FL 34689-4202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6247
                                                                   Is the claim subject to offset?     No       Yes

3.204
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD E. OSWALD                                             Contingent
         805 E. Broward Boulevard Suite 304                           Unliquidated
         Ft. Lauderdale, FL 33301-2046
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4249
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 303 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 311 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.204
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD E. SMITH                                              Contingent
         4233 Kandra Court                                            Unliquidated
         Orlando, FL 32812-2800
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8481
                                                                   Is the claim subject to offset?     No       Yes

3.204
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD F KALTENBACH                                          Contingent
         2974 Dick Wilson Drive                                       Unliquidated
         Sarasota, FL 34240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4821
                                                                   Is the claim subject to offset?     No       Yes

3.204
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         DONALD F PERRIN PA                                           Contingent
         P.O. Box 250                                                 Unliquidated
         Inverness, FL 34451-0250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6490
                                                                   Is the claim subject to offset?     No       Yes

3.204
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD F. WRIGHT                                             Contingent
         P.O. Box 2828                                                Unliquidated
         Orlando, FL 32802-2828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5917
                                                                   Is the claim subject to offset?     No       Yes

3.205
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD G PROCTER                                             Contingent
         3546 S Lake Drive                                            Unliquidated
         Boynton Beach, FL 33435-8538
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3604
                                                                   Is the claim subject to offset?     No       Yes

3.205
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD G PROCTER JR                                          Contingent
         3546 S Lake Drive                                            Unliquidated
         Boynton Beach, FL 33435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5804
                                                                   Is the claim subject to offset?     No       Yes

3.205
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD GORENBERG                                             Contingent
         8820 Southwest 61st Avenue                                   Unliquidated
         Gainesville, FL 32608-5573
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6060
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 304 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 312 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.205
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD H BUIKUS                                              Contingent
         1402 N State Road 7                                          Unliquidated
         Margate, FL 33063-2836
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0710
                                                                   Is the claim subject to offset?     No       Yes

3.205
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         DONALD J FREEMAN PA                                          Contingent
         2475 Mercer Avenue                                           Unliquidated
         Suite 301
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5271                      Is the claim subject to offset?     No       Yes

3.205
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD J GRATE                                               Contingent
         100 Galleria Parkway Suite 1600                              Unliquidated
         Atlanta, GA 30339-5948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6602
                                                                   Is the claim subject to offset?     No       Yes

3.205
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD J MURRAY                                              Contingent
         Elliott Harris P.A.                                          Unliquidated
         111 Southwest Third Street 6th Floor
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3906                      Is the claim subject to offset?     No       Yes

3.205
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $85.00
         DONALD J SASSER PA                                           Contingent
         P.O. Box 2907                                                Unliquidated
         West Palm Beach, FL 33402-2907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0762
                                                                   Is the claim subject to offset?     No       Yes

3.205
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD J SEPS                                                Contingent
         19 Indian Trail                                              Unliquidated
         Ormond Beach, FL 32174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5746
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 305 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 313 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.205
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD J VESTAL                                              Contingent
         3440 Hollywood Boulevard Suite 450                           Unliquidated
         Hollywood, FL 33021-3409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8500
                                                                   Is the claim subject to offset?     No       Yes

3.206
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD K CORBIN                                              Contingent
         2631 E Oakland Park Boulevard Suite 106                      Unliquidated
         Ft Lauderdale, FL 33303-1607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5593
                                                                   Is the claim subject to offset?     No       Yes

3.206
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONALD K RUDSER                                              Contingent
         P.O. Box 1011                                                Unliquidated
         Jasper, FL 32052-0948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8320
                                                                   Is the claim subject to offset?     No       Yes

3.206
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD L BROOKS                                              Contingent
         4440 PGA Boulevard                                           Unliquidated
         Suite 600
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6176                      Is the claim subject to offset?     No       Yes

3.206
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         DONALD L BURRIE                                              Contingent
         2125 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33062-5207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1085
                                                                   Is the claim subject to offset?     No       Yes

3.206
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         DONALD L SMITH PA                                            Contingent
         500 N Ocean Street                                           Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3522
                                                                   Is the claim subject to offset?     No       Yes

3.206
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONALD L. CROSBY                                             Contingent
         1875 Chardonnay Pl                                           Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8289
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 306 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 314 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.206
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONALD M DARRACH                                             Contingent
         2020 Northwest 89th Pl                                       Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5495
                                                                   Is the claim subject to offset?     No       Yes

3.206
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD M HOMER                                               Contingent
         4101 N Ocean Boulevard Suite 1507                            Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3602
                                                                   Is the claim subject to offset?     No       Yes

3.206
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD M VAN DUSEN                                           Contingent
         P.O. Box 1281                                                Unliquidated
         Boca Raton, FL 33429-1281
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5393
                                                                   Is the claim subject to offset?     No       Yes

3.206
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD N DENSON                                              Contingent
         4651 Southeast 3rd Avenue                                    Unliquidated
         Ocala, FL 34480-4703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3579
                                                                   Is the claim subject to offset?     No       Yes

3.207
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD P DUFRESNE                                            Contingent
         13680 Yarmouth Court Suite C                                 Unliquidated
         Wellington, FL 33414-7730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5076
                                                                   Is the claim subject to offset?     No       Yes

3.207
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD P FITZGERALD III                                      Contingent
         2425 Commerce Avenue Suite 100                               Unliquidated
         Duluth, GA 30096
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1166
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 307 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 315 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.207
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD P KOHL                                                Contingent
         2324 S Congress Avenue Suite 2a                              Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3797
                                                                   Is the claim subject to offset?     No       Yes

3.207
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         DONALD R COLPITTS                                            Contingent
         124 N Eglin Parkway                                          Unliquidated
         Ft Walton Beach, FL 32548                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8237
                                                                   Is the claim subject to offset?     No       Yes

3.207
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD R MORRIS                                              Contingent
         P.O. Box 1191                                                Unliquidated
         San Juan Pueblo, NM 87566
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5305
                                                                   Is the claim subject to offset?     No       Yes

3.207
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD R PEYTON                                              Contingent
         7317 Little Road                                             Unliquidated
         New Port Richey, FL 34654-5519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8456
                                                                   Is the claim subject to offset?     No       Yes

3.207
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD S FRADLEY                                             Contingent
         27 Pennock Lane                                              Unliquidated
         Suite 104
                                                                      Disputed
         Jupiter, FL 33458-4080
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1867                      Is the claim subject to offset?     No       Yes

3.207
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD S REISMAN                                             Contingent
         2501 Southwest Egret Pond Circle                             Unliquidated
         Palm City, FL 34990-2536
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8069
                                                                   Is the claim subject to offset?     No       Yes

3.207
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD T FRANKE                                              Contingent
         707 Holly Briar Lane                                         Unliquidated
         Naples, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6773
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 308 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 316 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.207
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD T. SMALLWOOD                                          Contingent
         206 South Beaumont Avenue                                    Unliquidated
         Kissimmee, FL 34741-5656
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 281
                                                                   Is the claim subject to offset?     No       Yes

3.208
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         DONALD W HULMES                                              Contingent
         13451 MUSTANG TRL                                            Unliquidated
         SW RANCHES, FL 33330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 904
                                                                   Is the claim subject to offset?     No       Yes

3.208
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONALD W SCARLETT                                            Contingent
         1003 E Concord Street                                        Unliquidated
         Orlando, FL 32803-4618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4438
                                                                   Is the claim subject to offset?     No       Yes

3.208
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD W SMUCKER                                             Contingent
         5317 Fruitville Road Suite 212                               Unliquidated
         Sarasota, FL 34232-6402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4275
                                                                   Is the claim subject to offset?     No       Yes

3.208
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONALD W STANLEY JR                                          Contingent
         202 S Rome Avenue Suite 100                                  Unliquidated
         Tampa, FL 33606-1842
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 351
                                                                   Is the claim subject to offset?     No       Yes

3.208
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONALD W YETTER PA                                           Contingent
         1111 9th Avenue W                                            Unliquidated
         Suite B
                                                                      Disputed
         Bradenton, FL 34205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4890                      Is the claim subject to offset?     No       Yes

3.208
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DONET & DONET LLP                                            Contingent
         Lakeside Corporate Park Suite 207                            Unliquidated
         12855 Southwest 132nd Street
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6404                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 309 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 317 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.208
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONIA A ROBERTS                                              Contingent
         257 SE Dr. MLK Jr. Boulevard                                 Unliquidated
         Belle Glade, FL 33430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5681
                                                                   Is the claim subject to offset?     No       Yes

3.208
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Donna Duncan, P.A.                                           Contingent
         P.O. Box 157                                                 Unliquidated
         Apalachicola, FL 32329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4348
                                                                   Is the claim subject to offset?     No       Yes

3.208
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONNA J WIEHAUS                                              Contingent
         P.O. Box 50                                                  Unliquidated
         Monticello, FL 32345-0050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6460
                                                                   Is the claim subject to offset?     No       Yes

3.208
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONNA K VALENTI                                              Contingent
         6151 Miramar Parkway Suite 307                               Unliquidated
         Miramar, FL 33023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6945
                                                                   Is the claim subject to offset?     No       Yes

3.209
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONNA M DONZA                                                Contingent
         810 Biscayne Drive                                           Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4897
                                                                   Is the claim subject to offset?     No       Yes

3.209
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONNA M MORE                                                 Contingent
         390 N Orange Avenue Suite 1100                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9280
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 310 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 318 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.209
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONNA M PREVITI SIMEONE                                      Contingent
         20283 SR 7 Suite 400                                         Unliquidated
         Boca Raton, FL 33498
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8381
                                                                   Is the claim subject to offset?     No       Yes

3.209
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DONNA MCCANN BENCKENSTEIN                                    Contingent
         11787 W Sample Road Suite 103                                Unliquidated
         Coral Springs, FL 33065-3131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8301
                                                                   Is the claim subject to offset?     No       Yes

3.209
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DONNA S BARFIELD                                             Contingent
         2809 Poinsetta Avenue                                        Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6438
                                                                   Is the claim subject to offset?     No       Yes

3.209
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONNA SZCZEBAK O'NEIL                                        Contingent
         301 E Commercial Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7891
                                                                   Is the claim subject to offset?     No       Yes

3.209
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DONNA WILHELM-HUDSON                                         Contingent
         P.O. Box 1589                                                Unliquidated
         Grandy, CO 80446
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6205
                                                                   Is the claim subject to offset?     No       Yes

3.209
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DONNELLY & GROSS PA                                          Contingent
         2421 Northwest 41st Street Suite A1                          Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4013
                                                                   Is the claim subject to offset?     No       Yes

3.209
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DORA L BEATTY                                                Contingent
         5939 Southwest 34th Street                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6457
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 311 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 319 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.209
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $575.00
         DORAN SIMS WOLFE ANSAY                                       Contingent
         1020 W. International Speedway                               Unliquidated
         Suite 100
                                                                      Disputed
         Daytona Beach, FL 32114
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3964                      Is the claim subject to offset?     No       Yes

3.210
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOREEN R CAREY                                               Contingent
         16920 Southwest 5th Court                                    Unliquidated
         Ft Lauderdale, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7309
                                                                   Is the claim subject to offset?     No       Yes

3.210
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DORIS A BUNNELL                                              Contingent
         608 15th Street W                                            Unliquidated
         Bradenton, FL 34205-6729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6744
                                                                   Is the claim subject to offset?     No       Yes

3.210
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOROTHY A HUDSON                                             Contingent
         Dorothy A. Hudson Chartered                                  Unliquidated
         603 17th Street Suite 101
                                                                      Disputed
         Vero Beach, FL 32960-5518
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5174                      Is the claim subject to offset?     No       Yes

3.210
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dorothy G. Negrin, P.A.                                      Contingent
         12485 SW 137 Avenue                                          Unliquidated
         Suite 212
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7810                      Is the claim subject to offset?     No       Yes

3.210
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOROTHY L HUKILL                                             Contingent
         222 Seabreeze Boulevard                                      Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7124
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 312 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 320 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.210
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Dorta & Ortega, P.A.                                         Contingent
         3860 SW 8th Street                                           Unliquidated
         Penthouse
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7096                      Is the claim subject to offset?     No       Yes

3.210
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         DOSS & DOSS                                                  Contingent
         5209 Gulfport Boulevard                                      Unliquidated
         Gulfport, FL 33707-4945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3028
                                                                   Is the claim subject to offset?     No       Yes

3.210
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUG MAREK PA                                                Contingent
         101 Pineapple Grove Way                                      Unliquidated
         Suite 200
                                                                      Disputed
         Delray Beach, FL 33444
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4675                      Is the claim subject to offset?     No       Yes

3.210
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS A BLANKMAN PA                                        Contingent
         1 Financial Plaza Suite 2510                                 Unliquidated
         Ft Lauderdale, FL 33394-0001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7790
                                                                   Is the claim subject to offset?     No       Yes

3.210
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS A DANIELS                                            Contingent
         444 Seabreeze Boulevard Suite 645                            Unliquidated
         Daytona Beach, FL 32118-3952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5217
                                                                   Is the claim subject to offset?     No       Yes

3.211
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DOUGLAS A MULLIGAN                                           Contingent
         P.O. Box 13517                                               Unliquidated
         Williams & Milton Pa
                                                                      Disputed
         St Petersburg, FL 33733-3517
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7766                      Is the claim subject to offset?     No       Yes

3.211
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,474.91
         DOUGLAS A WILLIAMS                                           Contingent
         1015 Spanish River Road Apt 207                              Unliquidated
         Boca Raton, FL 33424-7609                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5208
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 313 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 321 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.211
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS A WOOD                                               Contingent
         700 11th Street                                              Unliquidated
         Suite 102
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8340                      Is the claim subject to offset?     No       Yes

3.211
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,689.79
         DOUGLAS C KAPLAN                                             Contingent
         1915 Hollywood Boulevard Suite 200                           Unliquidated
         Hollywood, FL 33020-4508                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4334
                                                                   Is the claim subject to offset?     No       Yes

3.211
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         DOUGLAS C ZAHM PA                                            Contingent
         12425 28th Street N.                                         Unliquidated
         Suite 200
                                                                      Disputed
         St Petersburg, FL 33716
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6313                      Is the claim subject to offset?     No       Yes

3.211
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         DOUGLAS D BATCHELOR                                          Contingent
         P.O. Box 1564                                                Unliquidated
         Augusta, GA 30903-1564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 654
                                                                   Is the claim subject to offset?     No       Yes

3.211
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS DETARDO                                              Contingent
         Douglas Detardo P.A.                                         Unliquidated
         4747 Hollywood Boulevard, Suite 103
                                                                      Disputed
         Hollywood, FL 33021-6552
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7619                      Is the claim subject to offset?     No       Yes

3.211
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DOUGLAS E GONANO                                             Contingent
         Law Office of Gonano & Harrell                               Unliquidated
         1600 S Federal Highway, Suite 200
                                                                      Disputed
         Ft Pierce, FL 34950-3332
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8233                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 314 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 322 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.211
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS E JONES PA                                           Contingent
         6850 Northwest 2nd Avenue Suite 31                           Unliquidated
         Boca Raton, FL 33487-2322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9131
                                                                   Is the claim subject to offset?     No       Yes

3.211
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS E OMBRES                                             Contingent
         219 Fairway East                                             Unliquidated
         Tequesta, FL 33469-1912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6062
                                                                   Is the claim subject to offset?     No       Yes

3.212
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS E. REYMORE, JR.                                      Contingent
         614 S. Federal Highway, Suite K                              Unliquidated
         Stuart, FL 34994-2925
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2637
                                                                   Is the claim subject to offset?     No       Yes

3.212
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DOUGLAS G HENDRIKSEN                                         Contingent
         P.O. Box 21153                                               Unliquidated
         Merritt Island, FL 32915
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4227
                                                                   Is the claim subject to offset?     No       Yes

3.212
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS H OSWALD                                             Contingent
         4304 Southeast 5th Street                                    Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1502
                                                                   Is the claim subject to offset?     No       Yes

3.212
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS J GREENBERG PA                                       Contingent
         7601 38th Avenue N                                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4204
                                                                   Is the claim subject to offset?     No       Yes

3.212
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,486.05
         DOUGLAS J SPRING                                             Contingent
         1915 N 54th Avenue                                           Unliquidated
         Hollywood, FL 33021                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5834
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 315 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 323 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.212
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS JOVANOVIC                                            Contingent
         17 SE 24th Avenue                                            Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4450
                                                                   Is the claim subject to offset?     No       Yes

3.212
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS L HILKERT                                            Contingent
         2557 Nursery Road                                            Unliquidated
         Suite A
                                                                      Disputed
         Clearwater, FL 33764
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9407                      Is the claim subject to offset?     No       Yes

3.212
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS L RANKIN                                             Contingent
         Moorings Professional Building                               Unliquidated
         2335 Tamiami Trail N., Suite 308
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6627                      Is the claim subject to offset?     No       Yes

3.212
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS L WALDORF JR PA                                      Contingent
         12751 New Brittany Boulevard 4th Floor                       Unliquidated
         Ft Myers, FL 33907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6967
                                                                   Is the claim subject to offset?     No       Yes

3.212
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS M BATES                                              Contingent
         2691 E Oakland Park Boulevard Suite 201                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4819
                                                                   Is the claim subject to offset?     No       Yes

3.213
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS M BUCHWALTER                                         Contingent
         1172 Brownell Street                                         Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8598
                                                                   Is the claim subject to offset?     No       Yes

3.213
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS M MIDGLEY                                            Contingent
         112 Pinebrook Drive                                          Unliquidated
         Fort Myers, FL 33907-5963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4384
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 316 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 324 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.213
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS M WYCKOFF PA                                         Contingent
         111 E Madison Street Suite 2400                              Unliquidated
         Tampa, FL 33602-4708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7759
                                                                   Is the claim subject to offset?     No       Yes

3.213
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DOUGLAS N MENCHISE                                           Contingent
         300 Turner Street                                            Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7947
                                                                   Is the claim subject to offset?     No       Yes

3.213
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS P JOHNSON                                            Contingent
         2924 Southwest 64th Avenue Suite 202                         Unliquidated
         Davie, FL 33314-1602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8378
                                                                   Is the claim subject to offset?     No       Yes

3.213
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $23.41
         DOUGLAS P SOLOMON                                            Contingent
         200 E Las Olas Boulevard                                     Unliquidated
         Ft Lauderdale, FL 33301-2607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6715
                                                                   Is the claim subject to offset?     No       Yes

3.213
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS R GIRVIN                                             Contingent
         P.O. Box 625                                                 Unliquidated
         Jupiter, FL 33468-0625
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5252
                                                                   Is the claim subject to offset?     No       Yes

3.213
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS SPANGLER                                             Contingent
         P.O. Box 25382                                               Unliquidated
         Sarasota, FL 34277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1013
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 317 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 325 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.213
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DOUGLAS W GAIDRY                                             Contingent
         P.O. Drawer Cc                                               Unliquidated
         Carabelle, FL 32322-1229
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5373
                                                                   Is the claim subject to offset?     No       Yes

3.213
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLAS W NEWAY                                              Contingent
         135 W Central Boulevard Suite 310                            Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7844
                                                                   Is the claim subject to offset?     No       Yes

3.214
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUGLASS A KREIS                                             Contingent
         55 Baybridge Drive                                           Unliquidated
         Gulf Breeze, FL 32561
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5016
                                                                   Is the claim subject to offset?     No       Yes

3.214
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         DOUGLASS LAW FIRM PA                                         Contingent
         P.O. Box 1674                                                Unliquidated
         Tallahassee, FL 32302-1674
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6656
                                                                   Is the claim subject to offset?     No       Yes

3.214
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DOUMAR ALLSWORTH CROSS                                       Contingent
         1177 Southeast 3rd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7304
                                                                   Is the claim subject to offset?     No       Yes

3.214
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Downing Law Offices, P.A.                                    Contingent
         501 S. New York Avenue                                       Unliquidated
         Suite 220
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7514                      Is the claim subject to offset?     No       Yes

3.214
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Downtown Miami Legal Center, L.L.C.                          Contingent
         600 NE 27th Street                                           Unliquidated
         Apt. 1904
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8324                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 318 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 326 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.214
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Dozier & Dozier, Attorneys at Law                            Contingent
         2407 Fruitville Road                                         Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7083
                                                                   Is the claim subject to offset?     No       Yes

3.214
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DR Law Center, P.A.                                          Contingent
         320 W. Bearss Ave                                            Unliquidated
         Suite A
                                                                      Disputed
         Tampa, FL 33613-1265
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9821                      Is the claim subject to offset?     No       Yes

3.214
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Drage Law                                                    Contingent
         P.O. Box 536057                                              Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0913
                                                                   Is the claim subject to offset?     No       Yes

3.214
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DRAKE & DRAKE PA                                             Contingent
         P.O. Box 3439                                                Unliquidated
         Ponte Vedra Beach, FL 32004-3439
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7636
                                                                   Is the claim subject to offset?     No       Yes

3.214
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,200.00
         DREW MELVILLE ESQ                                            Contingent
         2727 W. Cypress Creek Road                                   Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4346
                                                                   Is the claim subject to offset?     No       Yes

3.215
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DREW S SHERIDAN                                              Contingent
         7765 Southwest 87th Avenue Suite 102                         Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8196
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 319 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 327 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.215
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Driver McAfee Peek & Hawthorne, P.L.                         Contingent
         One Independent Drive                                        Unliquidated
         Suite 1200
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7276                      Is the claim subject to offset?     No       Yes

3.215
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Drummond Wehle Yonge LLP                                     Contingent
         6987 E. Fowler Avenue                                        Unliquidated
         Tampa, FL 33617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0855
                                                                   Is the claim subject to offset?     No       Yes

3.215
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DRYMON SCHEB TOALE & MARSHALL                                Contingent
         P.O. Box 4275                                                Unliquidated
         Sarasota, FL 34230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4964
                                                                   Is the claim subject to offset?     No       Yes

3.215
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DS Title Services, LLC                                       Contingent
         3010 N. Military Trail                                       Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0782                      Is the claim subject to offset?     No       Yes

3.215
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DUANE C ROMANELLO                                            Contingent
         1919 Blanding Boulevard                                      Unliquidated
         Suite 8
                                                                      Disputed
         Jacksonville, FL 32210
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5101                      Is the claim subject to offset?     No       Yes

3.215
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         DUANE MORRIS LLP                                             Contingent
         200 S Biscayne Boulevard Suite 3400                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3681
                                                                   Is the claim subject to offset?     No       Yes

3.215
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         DUBOW DUBOW & WALLACE                                        Contingent
         215 N Federal Highway                                        Unliquidated
         Dania Beach, FL 33004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6745
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 320 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 328 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.215
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,743.11
         DUDLEY P HARDY                                               Contingent
         403 W Georgia Street                                         Unliquidated
         Starke, FL 32091                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4360
                                                                   Is the claim subject to offset?     No       Yes

3.215
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DUKE MULLIN & GALLOWAY PA                                    Contingent
         110 Southeast 6th Street 15th Floor                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2755
                                                                   Is the claim subject to offset?     No       Yes

3.216
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,951.52
         DULMER & TRACY PA                                            Contingent
         229 Pensacola Road                                           Unliquidated
         Venice, FL 34285-2327                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6182
                                                                   Is the claim subject to offset?     No       Yes

3.216
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         DUMBAR & DEGIORGIO PA                                        Contingent
         3709 Northeast 200 14th Street                               Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6611
                                                                   Is the claim subject to offset?     No       Yes

3.216
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         DUNCAN & ASSOCIATES PA                                       Contingent
         P.O. Drawer 249                                              Unliquidated
         Ft Myers, FL 33902-0249
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3402
                                                                   Is the claim subject to offset?     No       Yes

3.216
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dune Lakes Title, LLC                                        Contingent
         12273 US Highway 98 West                                     Unliquidated
         Suite 203
                                                                      Disputed
         Miramar Beach, FL 32550
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1279                      Is the claim subject to offset?     No       Yes

3.216
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DUNLAP & MORAN PA                                            Contingent
         P.O. Box 3948                                                Unliquidated
         Sarasota, FL 34230-3948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9788
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 321 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 329 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.216
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Dunlap & Shipman, P.A.                                       Contingent
         2063 County Highway 395                                      Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8028
                                                                   Is the claim subject to offset?     No       Yes

3.216
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         DUNN & DUNN PA                                               Contingent
         P.O. Box 12669                                               Unliquidated
         St Petersburg, FL 33733-2669
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 678
                                                                   Is the claim subject to offset?     No       Yes

3.216
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dunn Law, P.A.                                               Contingent
         66 W. Flagler Street                                         Unliquidated
         Suite 400
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8674                      Is the claim subject to offset?     No       Yes

3.216
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DUNWODY WHITE & LANDON PA                                    Contingent
         550 Biltmore Way                                             Unliquidated
         Suite 810
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0731                      Is the claim subject to offset?     No       Yes

3.216
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dupee Legal Services, PL                                     Contingent
         4040 W Newberry Road Suite 1500                              Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7226
                                                                   Is the claim subject to offset?     No       Yes

3.217
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         DURWOOD A HUNTER                                             Contingent
         250 E Wilbur Road Apt B                                      Unliquidated
         Thousand Oaks, CA 91360-7353
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7841
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 322 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 330 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.217
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DUSTY L TWYMAN                                               Contingent
         509 S Dillard Street                                         Unliquidated
         Winter Garden, FL 34787-3528
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5192
                                                                   Is the claim subject to offset?     No       Yes

3.217
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DVORA M WEINREB                                              Contingent
         1909 Tyler Street Suite Ph                                   Unliquidated
         Hollywood, FL 33020-4527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6217
                                                                   Is the claim subject to offset?     No       Yes

3.217
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DVORNIK & ASSOCIATES PA                                      Contingent
         619 Cleveland Street                                         Unliquidated
         Clearwater, FL 34615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9160
                                                                   Is the claim subject to offset?     No       Yes

3.217
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $974.79
         DWIGHT A KRAUSE JR                                           Contingent
         909 Southeast 2nd Court                                      Unliquidated
         Ft Lauderdale, FL 33301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3695
                                                                   Is the claim subject to offset?     No       Yes

3.217
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         DWIGHT I. COOL                                               Contingent
         P.O. Drawer 1690                                             Unliquidated
         Winter Park, FL 32790-1690
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1595
                                                                   Is the claim subject to offset?     No       Yes

3.217
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,251.59
         DYE DEITRICH PETRUFF &                                       Contingent
         Attn: Firm Administrator                                     Unliquidated
         1111 3rd Avenue W Suite 300                                  Disputed
         Bradenton, FL 34205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3737                      Is the claim subject to offset?     No       Yes


3.217
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Dyer Knudsen P.L.L.C.                                        Contingent
         3030 Starkey Boulevard Suite 185                             Unliquidated
         New Port Richey, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9178
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 323 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 331 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.217
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $390.40
         DYKEMA GOSSETT                                               Contingent
         400 Renaissance Center 35th Floor                            Unliquidated
         Detroit, MI 48243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6507
                                                                   Is the claim subject to offset?     No       Yes

3.217
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E AUSTIN WHITE                                               Contingent
         207 Naples Cove Drive Suite 3305                             Unliquidated
         Naples, FL 34110-7651
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2189
                                                                   Is the claim subject to offset?     No       Yes

3.218
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E B GALANTE PA                                               Contingent
         516 Southeast Camden Avenue                                  Unliquidated
         Stuart, FL 34994-2922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0283
                                                                   Is the claim subject to offset?     No       Yes

3.218
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E BAXTER LEMMOND                                             Contingent
         Apdo 294-6151                                                Unliquidated
         Santa Ana Costa Rico, CR 20000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9149
                                                                   Is the claim subject to offset?     No       Yes

3.218
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E BLAKE MELHUISH                                             Contingent
         522 12th Street W                                            Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0438
                                                                   Is the claim subject to offset?     No       Yes

3.218
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,461.13
         E C TRAVER                                                   Contingent
         1905 N Ocean Boulevard Suite East Ph-E                       Unliquidated
         Ft Lauderdale, FL 33305                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4306
                                                                   Is the claim subject to offset?     No       Yes

3.218
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         E CHRISTOPHER DESANTIS                                       Contingent
         P.O. Box 880834                                              Unliquidated
         Port St Lucie, FL 34988-0834
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6844
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 324 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 332 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.218
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,810.01
         E CLAY SHAW JR                                               Contingent
         700 Coral Way                                                Unliquidated
         Ft Lauderdale, FL 33301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3389
                                                                   Is the claim subject to offset?     No       Yes

3.218
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E DAVID MAXWELL                                              Contingent
         1806 Glenbay Court                                           Unliquidated
         Windermere, FL 34756-6040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5668
                                                                   Is the claim subject to offset?     No       Yes

3.218
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         E DENNIS BROD                                                Contingent
         P.O. Box 1111                                                Unliquidated
         Key Biscayne, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4547
                                                                   Is the claim subject to offset?     No       Yes

3.218
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,998.22
         E ELLIOTT HARRIS                                             Contingent
         111 Southwest Third Street                                   Unliquidated
         The Mcormick Building 6th Floor                              Disputed
         Miami, FL 33130-1999
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3424                      Is the claim subject to offset?     No       Yes


3.218
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         E LEBRON FREE                                                Contingent
         3005 State Road 590 Suite 206                                Unliquidated
         Clearwater, FL 33759-2539
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8084
                                                                   Is the claim subject to offset?     No       Yes

3.219
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E LORRAINE GOTT                                              Contingent
         610 N Robert Way                                             Unliquidated
         Satellite Beach, FL 32937-2539
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5569
                                                                   Is the claim subject to offset?     No       Yes

3.219
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         E MITCHELL WHALEY                                            Contingent
         10562 Southwest 85th Terrace                                 Unliquidated
         Ocala, FL 34481-9768
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5558
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 325 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 333 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.219
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         E N FAY JR                                                   Contingent
         6404 Manatee Avenue W Suite G                                Unliquidated
         Bradenton, FL 34209-2323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7718
                                                                   Is the claim subject to offset?     No       Yes

3.219
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         E N STEPHENS JR                                              Contingent
         P.O. Box 984                                                 Unliquidated
         Boulder, CO 80306-0984
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7411
                                                                   Is the claim subject to offset?     No       Yes

3.219
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         E ROSS ZIMMERMAN                                             Contingent
         7797 N University Drive Suite 108                            Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1704
                                                                   Is the claim subject to offset?     No       Yes

3.219
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $624.52
         E S MACKENZIE                                                Contingent
         P.O. Box 67                                                  Unliquidated
         Brooksville, FL 34605-0067                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1463
                                                                   Is the claim subject to offset?     No       Yes

3.219
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E SCOTT GOLDEN                                               Contingent
         Golden Law                                                   Unliquidated
         3107 Stirling Road, Suite 201
                                                                      Disputed
         Ft Lauderdale, FL 33312
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1684                      Is the claim subject to offset?     No       Yes

3.219
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E SCOTT SCHROEDER                                            Contingent
         11000 Prosperity Farms Road Suite 202                        Unliquidated
         Palm Beach Gardens, FL 33410-3462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4060
                                                                   Is the claim subject to offset?     No       Yes

3.219
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         E STEVEN LAUER                                               Contingent
         3426 Ocean Drive                                             Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4539
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 326 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 334 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.219
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         E. KENNAN ERVIN, JR.                                         Contingent
         2861 Executive Drive Suite 100                               Unliquidated
         Clearwater, FL 34622-3305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8455
                                                                   Is the claim subject to offset?     No       Yes

3.220
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Eannarino Law, P.A.                                          Contingent
         500 S. Australian Avenue                                     Unliquidated
         Fifth Floor
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8753                      Is the claim subject to offset?     No       Yes

3.220
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EARL COX                                                     Contingent
         1627 6th Street W                                            Unliquidated
         Palmetto, FL 34221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3638
                                                                   Is the claim subject to offset?     No       Yes

3.220
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EARL H ARCHER III                                            Contingent
         1875 Southwest 61st Lane Road                                Unliquidated
         Ocala, FL 32501-5759
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5162
                                                                   Is the claim subject to offset?     No       Yes

3.220
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EARL R. DUNCAN                                               Contingent
         909 Clay Avenue                                              Unliquidated
         Panama City, FL 32401-1668
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2236
                                                                   Is the claim subject to offset?     No       Yes

3.220
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EARL S POITEVENT III                                         Contingent
         4575 Saint Johns Avenue Suite 3                              Unliquidated
         Jacksonville, FL 32210-1800
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5262
                                                                   Is the claim subject to offset?     No       Yes

3.220
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EARL W BADEN JR                                              Contingent
         P.O. Box 1907                                                Unliquidated
         Bradenton, FL 34206-1907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4040
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 327 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 335 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.220
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EARLE W PETERSON JR                                          Contingent
         P.O. Box 586                                                 Unliquidated
         Lady Lake, FL 32159-0586
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7753
                                                                   Is the claim subject to offset?     No       Yes

3.220
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EARNEST/TIGHE LAW FIRM PA                                    Contingent
         103 NE 4th Street                                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8244
                                                                   Is the claim subject to offset?     No       Yes

3.220
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         EASLEY WILLITS & EDWARDS PA                                  Contingent
         P.O. Drawer 3475                                             Unliquidated
         West Palm Beach, FL 33402-3475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4897
                                                                   Is the claim subject to offset?     No       Yes

3.220
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ECKERT SEAMANS CHERIN                                        Contingent
         450 E Las Olas Boulevard Suite 800                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8072
                                                                   Is the claim subject to offset?     No       Yes

3.221
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ECKERT SEAMANS CHERIN                                        Contingent
         First Union Financial Center                                 Unliquidated
         200 S Biscayne Boulevard Suite 3410
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8072                      Is the claim subject to offset?     No       Yes

3.221
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDDIE M ANDERSON                                             Contingent
         7300 Crill Avenue, Lot 29                                    Unliquidated
         Palatka, FL 32177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2621
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 328 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 336 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.221
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDDIE NURIELI                                                Contingent
         Suite 117                                                    Unliquidated
         1835 E Hallandale Beach Boulevard
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8992                      Is the claim subject to offset?     No       Yes

3.221
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Eddy Leal, P.A.                                              Contingent
         201 S. Biscayne Boulevard                                    Unliquidated
         Suite 2650
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9296                      Is the claim subject to offset?     No       Yes

3.221
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Edelboim Lieberman Revah PLLC                                Contingent
         20200 W. Dixie Highway                                       Unliquidated
         Suite 905
                                                                      Disputed
         Miami, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0765                      Is the claim subject to offset?     No       Yes

3.221
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDEN & CATES PL                                              Contingent
         507 Whitehead Street Suite 1                                 Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4113
                                                                   Is the claim subject to offset?     No       Yes

3.221
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Eden Law Services of South Florida, P.A.                     Contingent
         6175 NW 153rd Street                                         Unliquidated
         Suite 102
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8511                      Is the claim subject to offset?     No       Yes

3.221
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EDGAR A BENES                                                Contingent
         2300 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431-7358
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3735
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 329 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 337 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.221
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDGAR A BENES PA                                             Contingent
         2300 NW Corporate Boulevard                                  Unliquidated
         Suite 222
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3735                      Is the claim subject to offset?     No       Yes

3.221
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDGAR C WATKINS JR                                           Contingent
         802 E Baker Street                                           Unliquidated
         Plant City, FL 33566-3653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5093
                                                                   Is the claim subject to offset?     No       Yes

3.222
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         EDGAR C. BOOTH                                               Contingent
         P.O. Drawer 840                                              Unliquidated
         Tallahassee, FL 32302-0840
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4002
                                                                   Is the claim subject to offset?     No       Yes

3.222
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDGAR E COX JR                                               Contingent
         8400 Bird Road                                               Unliquidated
         Miami, FL 33155-3226
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2597
                                                                   Is the claim subject to offset?     No       Yes

3.222
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDGAR E HUTFILZ II                                           Contingent
         1945 Lakewood Drive                                          Unliquidated
         Clearwater, FL 34623
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6134
                                                                   Is the claim subject to offset?     No       Yes

3.222
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDGAR LEE ELZIE JR                                           Contingent
         210 S Monroe Street                                          Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6229
                                                                   Is the claim subject to offset?     No       Yes

3.222
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $869.67
         EDGAR MILLER                                                 Contingent
         999 Ponce De Leon Boulevard Suite 1000                       Unliquidated
         Coral Gables, FL 33134                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8271
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 330 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 338 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.222
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDGAR W MCCURRY JR                                           Contingent
         1523 Grifelt Road                                            Unliquidated
         Jacksonville, FL 32211-4815
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3180
                                                                   Is the claim subject to offset?     No       Yes

3.222
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDILBERTO O MARBAN                                           Contingent
         782 Northwest Le Jeune Road Suite 350                        Unliquidated
         Miami, FL 33126-5550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8341
                                                                   Is the claim subject to offset?     No       Yes

3.222
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDMON W TUCKER                                               Contingent
         8910 Miramar Parkway Suite 308                               Unliquidated
         Miramar, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0622
                                                                   Is the claim subject to offset?     No       Yes

3.222
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDMOND J. KUNMANN                                            Contingent
         855 S. Federal Highway Suite 209                             Unliquidated
         Boca Raton, FL 33432-6133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3895
                                                                   Is the claim subject to offset?     No       Yes

3.222
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDMOND L ELEY PA                                             Contingent
         4479 N US 1 Suite B                                          Unliquidated
         Melbourne, FL 32935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6690
                                                                   Is the claim subject to offset?     No       Yes

3.223
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDMOND L SUGAR                                               Contingent
         5741 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5872
                                                                   Is the claim subject to offset?     No       Yes

3.223
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Edmond L. Sugar, P.A.                                        Contingent
         5741 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5872
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 331 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 339 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.223
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EDMONDS PA                                                   Contingent
         1616-102 W Cape Coral Parkway                                Unliquidated
         Private Mail Box 151
                                                                      Disputed
         Cape Coral, FL 33914
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9638                      Is the claim subject to offset?     No       Yes

3.223
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDMUND C SCIARRETTA                                          Contingent
         7301-A W Palmetto Park Road                                  Unliquidated
         Suite 305C
                                                                      Disputed
         Boca Raton, FL 33433-3403
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5041                      Is the claim subject to offset?     No       Yes

3.223
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDMUND J BODINE JR                                           Contingent
         4066 Jewfish Drive                                           Unliquidated
         Spring Hill, FL 34607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6574
                                                                   Is the claim subject to offset?     No       Yes

3.223
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDMUND W HOLT                                                Contingent
         1017 N 12th Avenue                                           Unliquidated
         Pensacola, FL 32501-3306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3655
                                                                   Is the claim subject to offset?     No       Yes

3.223
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDNA E CANINO                                                Contingent
         12631 Southwest 10th Terrace                                 Unliquidated
         Miami, FL 33184
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0318
                                                                   Is the claim subject to offset?     No       Yes

3.223
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDNA W ELLIOTT                                               Contingent
         111 South Boulevard                                          Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7446
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 332 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 340 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.223
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDSEL F MATTHEWS JR                                          Contingent
         212 W. Intendencia Street                                    Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2414
                                                                   Is the claim subject to offset?     No       Yes

3.223
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO A EXPOSITO                                           Contingent
         201 Alhambra Circle Suite 502                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6488
                                                                   Is the claim subject to offset?     No       Yes

3.224
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO C BARAGANO                                           Contingent
         2601b W Davie Boulevard                                      Unliquidated
         Ft Lauderdale, FL 33312-3029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4635
                                                                   Is the claim subject to offset?     No       Yes

3.224
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Eduardo D. Fons, P.A.                                        Contingent
         2100 Coral Way                                               Unliquidated
         Suite 302
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7867                      Is the claim subject to offset?     No       Yes

3.224
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EDUARDO JOSE GARCIA                                          Contingent
         5901 SW 74th Street                                          Unliquidated
         Suite 400
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2125                      Is the claim subject to offset?     No       Yes

3.224
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO MENDEZ                                               Contingent
         10920 W Flagler Street Suite 205                             Unliquidated
         Miami, FL 33174-1246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4286
                                                                   Is the claim subject to offset?     No       Yes

3.224
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO MORRELL                                              Contingent
         P.O. Box 2786                                                Unliquidated
         Lakeland, FL 33806-2786
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4611
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 333 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 341 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.224
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO MUNETON                                              Contingent
         8900 Southwest 107th Avenue Suite 204                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5396
                                                                   Is the claim subject to offset?     No       Yes

3.224
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO R ARISTA                                             Contingent
         1441 Brickell Avenue                                         Unliquidated
         Suite 1400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8145                      Is the claim subject to offset?     No       Yes

3.224
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO R GUERRERO                                           Contingent
         2665 S Le Jeune Road Suite 518                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6516
                                                                   Is the claim subject to offset?     No       Yes

3.224
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDUARDO RIUSECH                                              Contingent
         10030 SW 40th Street                                         Unliquidated
         Suite B
                                                                      Disputed
         Miami, FL 33165
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8460                      Is the claim subject to offset?     No       Yes

3.224
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD A HANNA                                               Contingent
         4601 Sheridan Street 5 Floor                                 Unliquidated
         Hollywood, FL 33021-3412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4026
                                                                   Is the claim subject to offset?     No       Yes

3.225
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EDWARD A KALISH                                              Contingent
         13633 Deering Bay Drive Ph-266                               Unliquidated
         Coral Gables, FL 33158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8619
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 334 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 342 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.225
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD A KERBEN                                              Contingent
         725 N. Magnolia Avenue                                       Unliquidated
         Orlando, FL 32803-3808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6029
                                                                   Is the claim subject to offset?     No       Yes

3.225
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD A MILLIS                                              Contingent
         1414 W Granada Boulevard Suite IV                            Unliquidated
         Ormond Beach, FL 32174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1505
                                                                   Is the claim subject to offset?     No       Yes

3.225
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,463.83
         EDWARD A SCHRANK                                             Contingent
         P.O. Box 867                                                 Unliquidated
         Groveland, CA 95321                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5180
                                                                   Is the claim subject to offset?     No       Yes

3.225
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD A SIRKIN                                              Contingent
         8603 S Dixie Highway Suite 412                               Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2722
                                                                   Is the claim subject to offset?     No       Yes

3.225
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD B KNAUER                                              Contingent
         501 Goodlette Road N Suite D100                              Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0153
                                                                   Is the claim subject to offset?     No       Yes

3.225
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD BERGHOLM JR                                           Contingent
         1393 Southwest First Street Suite 200                        Unliquidated
         Miami, FL 33135-2301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4459
                                                                   Is the claim subject to offset?     No       Yes

3.225
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD BOBICK                                                Contingent
         4014 Northwest 58th Street                                   Unliquidated
         Boca Raton, FL 33496
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7452
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 335 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 343 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.225
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD BRINSON                                               Contingent
         P.O. Box 421549                                              Unliquidated
         Kissimmee, FL 34742-1549
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1710
                                                                   Is the claim subject to offset?     No       Yes

3.225
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD C SAWYER                                              Contingent
         1413 N 58th Avenue                                           Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4126
                                                                   Is the claim subject to offset?     No       Yes

3.226
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD C TIETIG                                              Contingent
         C/O Farm & Grove Realty Building                             Unliquidated
         P.O. Box 400867
                                                                      Disputed
         Malabar, FL 32950
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2483                      Is the claim subject to offset?     No       Yes

3.226
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD CASORIA JR                                            Contingent
         2153 Lee Road                                                Unliquidated
         Winter Park, FL 32789-1863
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7455
                                                                   Is the claim subject to offset?     No       Yes

3.226
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EDWARD D POPKIN PA                                           Contingent
         5355 Town Center Road Suite 801                              Unliquidated
         Boca Raton, FL 33486-1069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8662
                                                                   Is the claim subject to offset?     No       Yes

3.226
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,620.79
         EDWARD D WELCH                                               Contingent
         C/O Fidelty Federal                                          Unliquidated
         6809 Hammock Lane                                            Disputed
         West Palm Beach, FL 33441
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 378                       Is the claim subject to offset?     No       Yes


3.226
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD D. CARLSON                                            Contingent
         250 Belcher Road North Suite 102                             Unliquidated
         Clearwater, FL 34625-2622
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4222
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 336 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 344 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.226
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD DOWNEY                                                Contingent
         400 Royal Palm Way                                           Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7744
                                                                   Is the claim subject to offset?     No       Yes

3.226
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD E HADDOCK JR                                          Contingent
         P.O. Box 4986                                                Unliquidated
         Orlando, FL 32802-4986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0890
                                                                   Is the claim subject to offset?     No       Yes

3.226
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,622.06
         EDWARD E LEVINSON                                            Contingent
         407 Lincoln Road Ph East                                     Unliquidated
         Financial Federal Building                                   Disputed
         Miami Beach, FL 33139-3008
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0278                      Is the claim subject to offset?     No       Yes


3.226
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD E. HEDSTROM                                           Contingent
         P.O. Box 1354                                                Unliquidated
         Palatka, FL 32178-1354
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3801
                                                                   Is the claim subject to offset?     No       Yes

3.226
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD F O'CONNOR                                            Contingent
         22862 Boltana                                                Unliquidated
         Mission Viejo, CA 92691-1717
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4232
                                                                   Is the claim subject to offset?     No       Yes

3.227
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD G SALANTRIE                                           Contingent
         1323 Southeast 3rd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316-1907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4335
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 337 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 345 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.227
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD H GILBERT                                             Contingent
         1141 S Rogers Circle Suite 12                                Unliquidated
         Boca Raton, FL 33487-2789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6592
                                                                   Is the claim subject to offset?     No       Yes

3.227
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Edward H. Gilbert, P.A.                                      Contingent
         1161 Holland Drive                                           Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6592
                                                                   Is the claim subject to offset?     No       Yes

3.227
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD J CHANDLER                                            Contingent
         708 E. Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7492
                                                                   Is the claim subject to offset?     No       Yes

3.227
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD J ERPELDING                                           Contingent
         154 Fairway Circle                                           Unliquidated
         Naples, FL 33942
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6009
                                                                   Is the claim subject to offset?     No       Yes

3.227
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,848.54
         EDWARD J GEOGHEGAN PA                                        Contingent
         Hodusa Tower                                                 Unliquidated
         28870 US Highway 19 Suite 407                                Disputed
         Clearwater, FL 34621
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0536                      Is the claim subject to offset?     No       Yes


3.227
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD J HUNTER                                              Contingent
         809 Idlewood Avenue                                          Unliquidated
         Tampa, FL 33609-3621
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1329
                                                                   Is the claim subject to offset?     No       Yes

3.227
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD J LOPACKI JR                                          Contingent
         5515 21st Avenue W Suite C                                   Unliquidated
         Bradenton, FL 34209-5601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7361
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 338 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 346 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.227
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,404.89
         EDWARD J MARKO                                               Contingent
         4367 N Federal Highway Suite 103                             Unliquidated
         Ft Lauderdale, FL 33308                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3444
                                                                   Is the claim subject to offset?     No       Yes

3.227
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,174.35
         EDWARD J MCCORMICK                                           Contingent
         Penthouse The McMormick Building                             Unliquidated
         111 Southwest 3rd Street                                     Disputed
         Miami, FL 33130-1924
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4020                      Is the claim subject to offset?     No       Yes


3.228
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         EDWARD J MCCORMICK PA                                        Contingent
         160 W. Camino Real                                           Unliquidated
         #238
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4020                      Is the claim subject to offset?     No       Yes

3.228
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD J O'HARE                                              Contingent
         899 Riverside Drive Suite 613                                Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8340
                                                                   Is the claim subject to offset?     No       Yes

3.228
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD KLEIN                                                 Contingent
         9803 N.W. 67th Court                                         Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3866
                                                                   Is the claim subject to offset?     No       Yes

3.228
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD L TOBIN                                               Contingent
         444 Brickell Avenue Suite 800                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2229
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 339 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 347 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.228
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Edward L. Larsen Esq., P.A.                                  Contingent
         The Chamber Building                                         Unliquidated
         2390 Tamiami Trail N, Suite 202
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8943                      Is the claim subject to offset?     No       Yes

3.228
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Edward M. Shahady, P.A.                                      Contingent
         One W Las Olas Boulevard                                     Unliquidated
         Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33301-3713
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8216                      Is the claim subject to offset?     No       Yes

3.228
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD MCBRIDE                                               Contingent
         3550 E Tamiami Trail                                         Unliquidated
         Naples, FL 34112-4905
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6874
                                                                   Is the claim subject to offset?     No       Yes

3.228
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD N PORT                                                Contingent
         1700 University Drive Suite 210                              Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4628
                                                                   Is the claim subject to offset?     No       Yes

3.228
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,295.30
         EDWARD O REID                                                Contingent
         Edward O. Reid Chartered                                     Unliquidated
         3633 26th Street West                                        Disputed
         Bradenton, FL 34205-3503
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5344                      Is the claim subject to offset?     No       Yes


3.228
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,066.25
         EDWARD ODDO JR                                               Contingent
         250 N Caldwell Street                                        Unliquidated
         Brevard, NC 28712-3338                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4985
                                                                   Is the claim subject to offset?     No       Yes

3.229
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD P DEGENHARDT                                          Contingent
         Paglino & Degenhardt P.A.                                    Unliquidated
         2131 Hollywood Boulevard Suite 306
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5441                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 340 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 348 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.229
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD P JORDAN II                                           Contingent
         604 N Highway 27                                             Unliquidated
         Minneola, FL 34715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2407
                                                                   Is the claim subject to offset?     No       Yes

3.229
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD P PHILLIPS                                            Contingent
         3300 University Drive Suite 306                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6758
                                                                   Is the claim subject to offset?     No       Yes

3.229
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD R BRYANT JR                                           Contingent
         Pmb 3001 Suite 103                                           Unliquidated
         1460 Golden Gate Parkway
                                                                      Disputed
         Naples, FL 34105
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7674                      Is the claim subject to offset?     No       Yes

3.229
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD R FINK                                                Contingent
         2455 East Sunrise Boulevard                                  Unliquidated
         Penthouse East - Int'L Building
                                                                      Disputed
         Ft Lauderdale, FL 33304-3118
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 334                       Is the claim subject to offset?     No       Yes

3.229
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD R MILLER                                              Contingent
         2430 Shadowlawn Drive Suite 18                               Unliquidated
         Naples, FL 34112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9949
                                                                   Is the claim subject to offset?     No       Yes

3.229
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD R RUMIN                                               Contingent
         2755 E. Oakland Park Boulevard                               Unliquidated
         Suite 303
                                                                      Disputed
         Ft Lauderdale, FL 33306-1629
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5869                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 341 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 349 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.229
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD S GARCIA JR                                           Contingent
         443 1/2 Wilder Street                                        Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6367
                                                                   Is the claim subject to offset?     No       Yes

3.229
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD S GROSS                                               Contingent
         6100 Glades Road W Suite 301                                 Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7327
                                                                   Is the claim subject to offset?     No       Yes

3.229
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD S JAFFRY                                              Contingent
         P.O. Box 1877                                                Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2911
                                                                   Is the claim subject to offset?     No       Yes

3.230
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD S JONES                                               Contingent
         800 C Third Street                                           Unliquidated
         Neptune Beach, FL 32266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0097
                                                                   Is the claim subject to offset?     No       Yes

3.230
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD S POLK                                                Contingent
         P.O. Box 9057                                                Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6335
                                                                   Is the claim subject to offset?     No       Yes

3.230
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD S ROBBINS                                             Contingent
         800 SE 3rd Avenue                                            Unliquidated
         Suite 300
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7973                      Is the claim subject to offset?     No       Yes

3.230
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EDWARD T. WRIGHT                                             Contingent
         260 N. Indian Rocks Rd.                                      Unliquidated
         Beleair Blufs, FL 34640-1730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5181
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 342 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 350 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.230
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARD W BECHT                                               Contingent
         321 S. 2nd Street                                            Unliquidated
         Ft Pierce, FL 34954-2746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4457
                                                                   Is the claim subject to offset?     No       Yes

3.230
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWARD WALTERMAN                                             Contingent
         9010 Southwest 137th Avenue Suite 254                        Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 761
                                                                   Is the claim subject to offset?     No       Yes

3.230
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         EDWARDS & ASSOCIATES PA                                      Contingent
         9580 SW 107th Avenue                                         Unliquidated
         Suite 204B
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8380                      Is the claim subject to offset?     No       Yes

3.230
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Edwards & Edwards, P.A.                                      Contingent
         6620 Southpoint Drive S                                      Unliquidated
         Suite 200
                                                                      Disputed
         Jacksonville, FL 32216
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9388                      Is the claim subject to offset?     No       Yes

3.230
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWARDS AND CLARKE PA                                        Contingent
         2247 Palm Beach Lakes Boulevard Suite 21                     Unliquidated
         West Palm Beach, FL 33409-4610
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8428
                                                                   Is the claim subject to offset?     No       Yes

3.230
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         EDWARDS ANGELL PALMER & DODGE                                Contingent
         525 Okeechobee Boulevard Suite 1600                          Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7276
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 343 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 351 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.231
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $38.02
         EDWIN A. GREEN, II                                           Contingent
         1017 Thomasville Road                                        Unliquidated
         Tallahassee, FL 32303-6262
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4582
                                                                   Is the claim subject to offset?     No       Yes

3.231
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWIN B ZASLOW                                               Contingent
         Law Offices of Edwin B Zaslow PL                             Unliquidated
         801ne 167th Street Suite 200
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3636                      Is the claim subject to offset?     No       Yes

3.231
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EDWIN F BLANTON                                              Contingent
         825 Thomasville Road                                         Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3841
                                                                   Is the claim subject to offset?     No       Yes

3.231
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EDWIN T. MULOCK                                              Contingent
         519 - 13th Street West                                       Unliquidated
         Bradenton, FL 34205-7418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4901
                                                                   Is the claim subject to offset?     No       Yes

3.231
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EFRAIM R GUTIERREZ PA                                        Contingent
         2200 S Dixie Highway Suite 702a                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3903
                                                                   Is the claim subject to offset?     No       Yes

3.231
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EFRAIN CORTES LLC                                            Contingent
         P.O. Box 590173                                              Unliquidated
         Ft Lauderdale, FL 33359
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1587
                                                                   Is the claim subject to offset?     No       Yes

3.231
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EFRAIN DOMINGUEZ                                             Contingent
         7860 Northwest 71st Street                                   Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0095
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 344 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 352 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.231
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EHRLICH & FREEDMAN                                           Contingent
         17554 Tiffany Trace Drive                                    Unliquidated
         Boca Raton, FL 33487-1244
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7495
                                                                   Is the claim subject to offset?     No       Yes

3.231
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EILEEN WEBER                                                 Contingent
         9374 Southwest 212th Terrace                                 Unliquidated
         Miami, FL 33189-3732
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6730
                                                                   Is the claim subject to offset?     No       Yes

3.231
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EISINGER BROWN LEWIS &                                       Contingent
         4000 Hollywood Boulevard                                     Unliquidated
         Suite 265-S
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0547                      Is the claim subject to offset?     No       Yes

3.232
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELAINE A HUMPHREYS                                           Contingent
         Building C-107                                               Unliquidated
         501 Goodlette Road N
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6403                      Is the claim subject to offset?     No       Yes

3.232
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELAINE J SCHWARTZ                                            Contingent
         4962 Sarazen Drive                                           Unliquidated
         Hollywood, FL 33021-2266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7717
                                                                   Is the claim subject to offset?     No       Yes

3.232
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELAINE L WEISS                                               Contingent
         Building 13 Suite 106                                        Unliquidated
         2621 Village Boulevard
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7723                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 345 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 353 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.232
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELAINE LUCAS                                                 Contingent
         900 Cesery Boulevard Suite 111                               Unliquidated
         Jacksonville, FL 32211
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2248
                                                                   Is the claim subject to offset?     No       Yes

3.232
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELAINE M GATSOS                                              Contingent
         5541 N. University Drive                                     Unliquidated
         Suite 102
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4061                      Is the claim subject to offset?     No       Yes

3.232
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Elayne M. Perez, P.A.                                        Contingent
         746 N. Magnolia Avenue                                       Unliquidated
         Suite 300
                                                                      Disputed
         Orlando, FL 32803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7041                      Is the claim subject to offset?     No       Yes

3.232
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELDEIRY & RUBINO PLLC                                        Contingent
         480 Sawgrass Corporate Parkway Suite 110                     Unliquidated
         Sunrise, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2377
                                                                   Is the claim subject to offset?     No       Yes

3.232
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELDRIDGE LAW OFFICE PA                                       Contingent
         525 Dolphin Avenue Southeast                                 Unliquidated
         St Petersburg, FL 33705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6632
                                                                   Is the claim subject to offset?     No       Yes

3.232
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELEANOR W TAFT PA                                            Contingent
         P.O. Box 771161                                              Unliquidated
         Naples, FL 34107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5754
                                                                   Is the claim subject to offset?     No       Yes

3.232
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELENA D DE VILLEGAS                                          Contingent
         10609 Southwest 7th Terrace                                  Unliquidated
         Miami, FL 33174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7746
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 346 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 354 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.233
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELENA VIGIL-FARINAS                                          Contingent
         103301 Overseas Highway                                      Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4768
                                                                   Is the claim subject to offset?     No       Yes

3.233
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIANA LEAL                                                  Contingent
         7515 W Oakland Park Boulevard Suite 100                      Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5644
                                                                   Is the claim subject to offset?     No       Yes

3.233
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELIAS B RUDNIKAS                                             Contingent
         3670 Northwest 6th Street 2nd Floor                          Unliquidated
         Miami, FL 33185-4067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8185
                                                                   Is the claim subject to offset?     No       Yes

3.233
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIDA LANDRY                                                 Contingent
         7765 Southwest 87th Avenue Suite 100                         Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8169
                                                                   Is the claim subject to offset?     No       Yes

3.233
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELINOR P SMITH                                               Contingent
         4931 S Westshore Boulevard                                   Unliquidated
         Tampa, FL 33611-3329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7814
                                                                   Is the claim subject to offset?     No       Yes

3.233
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIO VAZQUEZ                                                 Contingent
         782 Northwest Lejeune Road Suite 533                         Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5558
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 347 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 355 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.233
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.87
         ELIOT C ABBOTT                                               Contingent
         C/O Kluger Peretz Kaplan                                     Unliquidated
         201 S Biscayne Boulevard 17th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1661                      Is the claim subject to offset?     No       Yes

3.233
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIOT J SAFER                                                Contingent
         10110 San Jose Boulevard                                     Unliquidated
         Jacksonville, FL 32257
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2165
                                                                   Is the claim subject to offset?     No       Yes

3.233
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIOT W RIFKIN                                               Contingent
         9400 S. Dadeland Boulevard                                   Unliquidated
         Suite 600
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8159                      Is the claim subject to offset?     No       Yes

3.233
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIOTT T ZAHALSKY                                            Contingent
         Palm Towers Exec Building                                    Unliquidated
         1343 Main Street
                                                                      Disputed
         Sarasota, FL 34236-5631
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2502                      Is the claim subject to offset?     No       Yes

3.234
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Elise G. Vaughn                                              Contingent
         P.O. Box 370                                                 Unliquidated
         Melbourne, FL 32902-0370
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2247
                                                                   Is the claim subject to offset?     No       Yes

3.234
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELISSA S VESSAL ESQUIRE PA                                   Contingent
         1880 N. Congress Avenue                                      Unliquidated
         Suite 200
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1695                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 348 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 356 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.234
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Elite Title Services, Inc.                                   Contingent
         395 Alhambra Circle                                          Unliquidated
         Suite 200
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6557                      Is the claim subject to offset?     No       Yes

3.234
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH A MERCERET                                         Contingent
         1840 West 49th Street Suite 403                              Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4158
                                                                   Is the claim subject to offset?     No       Yes

3.234
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH ADAMS                                              Contingent
         1520 Poinsettia Avenue                                       Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5006
                                                                   Is the claim subject to offset?     No       Yes

3.234
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH B BENSON                                           Contingent
         551 Southeast 8th Suite 503                                  Unliquidated
         Delray Beach, FL 33483-5183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8348
                                                                   Is the claim subject to offset?     No       Yes

3.234
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH BELLO PA                                           Contingent
         200 Crandon Boulevard                                        Unliquidated
         Suite 360
                                                                      Disputed
         Key Biscayne, FL 33149
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5599                      Is the claim subject to offset?     No       Yes

3.234
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH BLANCO PA                                          Contingent
         13318 SW 128th Street                                        Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4259
                                                                   Is the claim subject to offset?     No       Yes

3.234
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH C PINES                                            Contingent
         4770 Biscayne Boulevard Suite 1200                           Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0651
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 349 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 357 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.234
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Elizabeth Del Rio-Henrich, P.A.                              Contingent
         1541 Sunset Drive                                            Unliquidated
         Suite 201
                                                                      Disputed
         Coral Gables, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6912                      Is the claim subject to offset?     No       Yes

3.235
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH EVANS                                              Contingent
         720 SE 25th Lane                                             Unliquidated
         Homestead, FL 33033-5616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6328
                                                                   Is the claim subject to offset?     No       Yes

3.235
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ELIZABETH J DUFRESNE                                         Contingent
         C/O Steel Hector & Davis                                     Unliquidated
         200 S Biscayne Boulevard Suite 4000
                                                                      Disputed
         Miami, FL 33131-2362
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5821                      Is the claim subject to offset?     No       Yes

3.235
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH LOPEZ                                              Contingent
         13899 Biscayne Boulevard Suite 222                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5609
                                                                   Is the claim subject to offset?     No       Yes

3.235
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH M DOXEY                                            Contingent
         P.O. Box 273257                                              Unliquidated
         Tampa, FL 33688
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4843
                                                                   Is the claim subject to offset?     No       Yes

3.235
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELIZABETH M SCHEIB                                           Contingent
         240 W Palmetto Park Road Suite 200                           Unliquidated
         Boca Raton, FL 33432-3761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7890
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 350 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 358 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.235
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELIZABETH PONS                                               Contingent
         16153 Southwest 73rd Pl                                      Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7420
                                                                   Is the claim subject to offset?     No       Yes

3.235
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ELIZABETH R WELLBORN PA                                      Contingent
         350 Jim Moran Boulevard Suite 100                            Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4190
                                                                   Is the claim subject to offset?     No       Yes

3.235
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ELIZABETH SALOW QUINTANA                                     Contingent
         10635 SW 72 Terrace                                          Unliquidated
         Miami, FL 33183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4506
                                                                   Is the claim subject to offset?     No       Yes

3.235
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Elizee & Tollinchi, LLC                                      Contingent
         5365 SW 155th Avenue                                         Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1027
                                                                   Is the claim subject to offset?     No       Yes

3.235
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ELK CHRISTU & BAKST LLP                                      Contingent
         4800 N Federal Highway Suite 200-E                           Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6730
                                                                   Is the claim subject to offset?     No       Yes

3.236
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLEN K GOLDBERG                                             Contingent
         1399 SW 4th Street                                           Unliquidated
         Boca Raton, FL 33486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4567
                                                                   Is the claim subject to offset?     No       Yes

3.236
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLEN L. LEESFIELD                                           Contingent
         2121 Ponce De Leon Blvd.                                     Unliquidated
         Suite 1035
                                                                      Disputed
         Coral Gables, FL 33134-5218
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8433                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 351 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 359 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.236
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLEN M LAW                                                  Contingent
         1300 N Federal Highway Suite 201                             Unliquidated
         Boca Raton, FL 33432-2848
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8614
                                                                   Is the claim subject to offset?     No       Yes

3.236
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ELLEN MILLS GIBBS PA                                         Contingent
         401 Tropical Way                                             Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4705
                                                                   Is the claim subject to offset?     No       Yes

3.236
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLEN S MAHER                                                Contingent
         Cohen & Grisby P.C.                                          Unliquidated
         1100 Fifth Avenue S Suite 301
                                                                      Disputed
         Naples, FL 34102-6416
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5780                      Is the claim subject to offset?     No       Yes

3.236
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLEN SCHECHTER                                              Contingent
         Fogel & Cohen L.L.P.                                         Unliquidated
         2500 N Military Trail Suite 111
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2188                      Is the claim subject to offset?     No       Yes

3.236
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLEN W CLIFFORD                                             Contingent
         3327 Southeast 18th Avenue                                   Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6018
                                                                   Is the claim subject to offset?     No       Yes

3.236
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ELLIOT S SHAW                                                Contingent
         712 Belvedere Road                                           Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6453
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 352 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 360 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.236
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         ELLIOTT HARRIS PA                                            Contingent
         The McCormick Building                                       Unliquidated
         111 SW 3rd Street, 6th Floor - Penthouse
                                                                      Disputed
         Miami, FL 33130-1999
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3424                      Is the claim subject to offset?     No       Yes

3.236
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELLIS & GED PA                                               Contingent
         7171 N Federal Highway                                       Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2819
                                                                   Is the claim subject to offset?     No       Yes

3.237
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,927.80
         ELLIS SPENCER & BUTLER PLC                                   Contingent
         1325 Ponce De Leon Drive                                     Unliquidated
         Ft Lauderale, FL 33316                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1874
                                                                   Is the claim subject to offset?     No       Yes

3.237
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         ELLIS, LOGAN & REYNOLDS                                      Contingent
         P.O. Box 356                                                 Unliquidated
         St. Petersburg, FL 33731-0356
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1172
                                                                   Is the claim subject to offset?     No       Yes

3.237
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Elm Title Services, Inc.                                     Contingent
         3020 NE 32nd Avenue                                          Unliquidated
         Suite 304
                                                                      Disputed
         Ft. Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0742                      Is the claim subject to offset?     No       Yes

3.237
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELSA GAGNON-ADAMS PA                                         Contingent
         900 W 49th Street Suite 514                                  Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1531
                                                                   Is the claim subject to offset?     No       Yes

3.237
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELTON H SCHWARZ                                              Contingent
         1021 Northeast Santa Cruz Drive                              Unliquidated
         Jensen Beach, FL 34957-6023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 881
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 353 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 361 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.237
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ELVIN L MARTINEZ                                             Contingent
         P.O. Box 4650                                                Unliquidated
         Tampa, FL 33677-4650
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7616
                                                                   Is the claim subject to offset?     No       Yes

3.237
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ELVIRA M GONZALEZ PA                                         Contingent
         1305 Southeast 3rd Avenue                                    Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7526
                                                                   Is the claim subject to offset?     No       Yes

3.237
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Elward Law Firm, P.A.                                        Contingent
         8200 Northwest 41st Street                                   Unliquidated
         Suite 200
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9611                      Is the claim subject to offset?     No       Yes

3.237
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ELWIN R THRASHER JR                                          Contingent
         908 N Gadsen Street                                          Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6854
                                                                   Is the claim subject to offset?     No       Yes

3.237
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,588.90
         ELWOOD HOGAN JR                                              Contingent
         311 S Missouri Avenue                                        Unliquidated
         Clearwater, FL 33756                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 217
                                                                   Is the claim subject to offset?     No       Yes

3.238
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EMELITA FIGAROLA PUPO                                        Contingent
         6925 Southwest 73rd Court                                    Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1092
                                                                   Is the claim subject to offset?     No       Yes

3.238
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Emerald Coast Title, Inc.                                    Contingent
         811 N. Spring Street                                         Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6555
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 354 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 362 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.238
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Emerged Assured Title Group, LLC                             Contingent
         18301 NW 2nd Court                                           Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0995
                                                                   Is the claim subject to offset?     No       Yes

3.238
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EMILY A FEIGENBAUM PA                                        Contingent
         746 Northeast 3rd Avenue                                     Unliquidated
         Ft Lauderdale, FL 33304-2620
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8562
                                                                   Is the claim subject to offset?     No       Yes

3.238
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EMILY B MURPHY PA                                            Contingent
         1680 The Greens Way                                          Unliquidated
         Suite 200
                                                                      Disputed
         Jacksonville Beach, FL 32250
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6294                      Is the claim subject to offset?     No       Yes

3.238
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,092.12
         EMMANUEL SHEPPARD & CONDON                                   Contingent
         30 S. Spring Street                                          Unliquidated
         Pensacola, FL 32502                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2336
                                                                   Is the claim subject to offset?     No       Yes

3.238
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $65.00
         EMORY C JORDAN III                                           Contingent
         Emory C. Jordan III P.A.                                     Unliquidated
         101 North J Street Suite 1
                                                                      Disputed
         Lake Worth, FL 33460
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5382                      Is the claim subject to offset?     No       Yes

3.238
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Empire Title Company of Florida, Inc.                        Contingent
         28 W. Central Boulevard                                      Unliquidated
         Suite 400
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6766                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 355 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 363 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.238
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Empire Title Services, LLC.                                  Contingent
         200 S. Park Road                                             Unliquidated
         Suite 160
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4960                      Is the claim subject to offset?     No       Yes

3.238
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ENGLANDER & BURNETT                                          Contingent
         9554 Bay Harbor Terrace                                      Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 450
                                                                   Is the claim subject to offset?     No       Yes

3.239
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ENGLANDER & FISCHER PA                                       Contingent
         721 First Avenue N                                           Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5154
                                                                   Is the claim subject to offset?     No       Yes

3.239
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $60,021.27
         ENGLISH MCCAUGHAN & O'BRYAN PA                               Contingent
         120 E Palmetto Park Road Suite 450                           Unliquidated
         Boca Raton, FL 33432                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 529
                                                                   Is the claim subject to offset?     No       Yes

3.239
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $110.00
         ENNIS R SHEPHERD                                             Contingent
         6248 Rose Terrace                                            Unliquidated
         Plantation, FL 33317-1843
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 486
                                                                   Is the claim subject to offset?     No       Yes

3.239
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ENRICO G GONZALEZ                                            Contingent
         6255 E Fowler Avenue                                         Unliquidated
         Temple Terrace, FL 33617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3652
                                                                   Is the claim subject to offset?     No       Yes

3.239
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ENRIQUE J VENTURA                                            Contingent
         255 Alhambra Circle Suite 424                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5220
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 356 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 364 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.239
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Epperson & Rich, PLLC                                        Contingent
         8401 Jr. Manor Drive                                         Unliquidated
         Suite 100
                                                                      Disputed
         Tampa, FL 33634
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9857                      Is the claim subject to offset?     No       Yes

3.239
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Erchid Law, PLLC                                             Contingent
         203 N. Armenia Avenue                                        Unliquidated
         Suite 101
                                                                      Disputed
         Tampa, FL 33609
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0986                      Is the claim subject to offset?     No       Yes

3.239
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERIC A HOUGHTON                                              Contingent
         P.O. Box 1466                                                Unliquidated
         Dunedin, FL 34697-1466
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6931
                                                                   Is the claim subject to offset?     No       Yes

3.239
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERIC A LANIGAN                                               Contingent
         222 S Pennsylvania Suite 101                                 Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6838
                                                                   Is the claim subject to offset?     No       Yes

3.239
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC A WARAFTIG PA                                           Contingent
         1111 Kane Concourse Suite 401                                Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4954
                                                                   Is the claim subject to offset?     No       Yes

3.240
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERIC BUERMANN                                                Contingent
         6075 Southwest 92nd Street                                   Unliquidated
         Miami, FL 33156-1960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7965
                                                                   Is the claim subject to offset?     No       Yes

3.240
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC D ROBINSON                                              Contingent
         P.O. Box 568824                                              Unliquidated
         Orlando, FL 32856-8824
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2199
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 357 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 365 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.240
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC D ROSENBERG                                             Contingent
         Eric D. Rosenberg P.A.                                       Unliquidated
         4611 S University Drive Suite 318
                                                                      Disputed
         Davie, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4208                      Is the claim subject to offset?     No       Yes

3.240
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC DORSKY                                                  Contingent
         7320 Griffin Road                                            Unliquidated
         Suite 220
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4330                      Is the claim subject to offset?     No       Yes

3.240
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERIC F MATTHIES                                              Contingent
         P.O. Box 470965                                              Unliquidated
         San Francisco, CA 94147
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4206
                                                                   Is the claim subject to offset?     No       Yes

3.240
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC F STUPEL                                                Contingent
         407 Lincoln Road Suite 6c                                    Unliquidated
         Miami Beach, FL 33139-3023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7232
                                                                   Is the claim subject to offset?     No       Yes

3.240
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC GRANITUR ATTORNEY AT LAW                                Contingent
         535 Greytwig Road Suite 5                                    Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4731
                                                                   Is the claim subject to offset?     No       Yes

3.240
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC H MILLER                                                Contingent
         8501 Southwest 142nd Street                                  Unliquidated
         Miami, FL 33158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0235
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 358 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 366 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.240
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC H SOMMER PA                                             Contingent
         1231 N Orange Avenue Suite B                                 Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9744
                                                                   Is the claim subject to offset?     No       Yes

3.240
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERIC J BERGKNOFF                                             Contingent
         5782 Northwest 119th Drive                                   Unliquidated
         Coral Springs, FL 33076-4025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7054
                                                                   Is the claim subject to offset?     No       Yes

3.241
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC J BRAUNSTEN                                             Contingent
         1802 N University Drive Suite 201                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8421
                                                                   Is the claim subject to offset?     No       Yes

3.241
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC J DIRGA                                                 Contingent
         4781 S Orange Avenue                                         Unliquidated
         Orlando, FL 32806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4909
                                                                   Is the claim subject to offset?     No       Yes

3.241
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC J MATHESON                                              Contingent
         44 Cocoanut Row T-9                                          Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1012
                                                                   Is the claim subject to offset?     No       Yes

3.241
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC J VASQUEZ                                               Contingent
         900 6th Avenue S Suite 201                                   Unliquidated
         Naples, FL 34102-6745
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3995
                                                                   Is the claim subject to offset?     No       Yes

3.241
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Eric J. Sanchez, P.A.                                        Contingent
         4960 SW 72nd Avenue                                          Unliquidated
         Suite 206
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9627                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 359 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 367 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.241
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC JAY MILLER PA                                           Contingent
         17071 W Dixie Highway                                        Unliquidated
         North Miami Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6618
                                                                   Is the claim subject to offset?     No       Yes

3.241
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC L BOLVES                                                Contingent
         2110 E Robinson Street                                       Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9551
                                                                   Is the claim subject to offset?     No       Yes

3.241
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC L BRONFELD                                              Contingent
         Eric L. Bronfeld P.A.                                        Unliquidated
         P.O. Box 22506
                                                                      Disputed
         Ft Lauderdale, FL 33335-2506
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5652                      Is the claim subject to offset?     No       Yes

3.241
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC L GLAZER PA                                             Contingent
         2300 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7896
                                                                   Is the claim subject to offset?     No       Yes

3.241
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ERIC M GLAZER                                                Contingent
         Glazer & Associates P.A.                                     Unliquidated
         1920 E Hallandale Beach Boulevard 8 Floo
                                                                      Disputed
         Hallandale, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0620                      Is the claim subject to offset?     No       Yes

3.242
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC MENDELSOHN                                              Contingent
         Merrill Place No 406                                         Unliquidated
         97 S Jackson Street
                                                                      Disputed
         Seattle, WA 98104
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6541                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 360 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 368 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.242
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC P MCCARTHY                                              Contingent
         P.O. Box 370                                                 Unliquidated
         Key West, FL 33041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6740
                                                                   Is the claim subject to offset?     No       Yes

3.242
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC P STEIN                                                 Contingent
         1820 Northeast 163rd Street Suite 100                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5628
                                                                   Is the claim subject to offset?     No       Yes

3.242
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC S KOLAR                                                 Contingent
         3305 Atlantic Boulevard B                                    Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4423
                                                                   Is the claim subject to offset?     No       Yes

3.242
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERIC S MASHBURN                                              Contingent
         P.O. Box 771268                                              Unliquidated
         Winter Garden, FL 34777-1268
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6733
                                                                   Is the claim subject to offset?     No       Yes

3.242
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIC T KANNAL                                                Contingent
         13790 Northwest 4th Street Suite 103                         Unliquidated
         Sunrise, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0562
                                                                   Is the claim subject to offset?     No       Yes

3.242
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERIC V GILL                                                  Contingent
         D/B/A Sugarmill Title Services                               Unliquidated
         4393 Ridgewood Avenue Suite 1
                                                                      Disputed
         Port Orange, FL 32127
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 258                       Is the claim subject to offset?     No       Yes

3.242
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERIC W PAPPAS                                                Contingent
         125 12th Avenue                                              Unliquidated
         Indialantic, FL 32903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6599
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 361 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 369 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.242
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERICA A. WALD                                                Contingent
         5355 Town Center Road                                        Unliquidated
         Suite 801, Crocker Plaza
                                                                      Disputed
         Boca Raton, FL 33486-1069
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8383                      Is the claim subject to offset?     No       Yes

3.242
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERICA S CRISSY                                               Contingent
         3170 N Federal Highway                                       Unliquidated
         Suite 100-B
                                                                      Disputed
         Lighthouse Point, FL 33064
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4668                      Is the claim subject to offset?     No       Yes

3.243
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERICK L DEEB                                                 Contingent
         Erick L. Deeb P.A.                                           Unliquidated
         2350 Coral Way Suite 401
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3938                      Is the claim subject to offset?     No       Yes

3.243
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERICK LORA PA                                                Contingent
         2 S. Biscayne Boulevard                                      Unliquidated
         Suite 2300
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1685                      Is the claim subject to offset?     No       Yes

3.243
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Erick Magno, P.L.                                            Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 1220
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7140                      Is the claim subject to offset?     No       Yes

3.243
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ERICKSON & ERICKSON PA                                       Contingent
         4760 Tamiami Trail N Suite 21                                Unliquidated
         Naples, FL 34103-3065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8629
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 362 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 370 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.243
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         ERIK A DAHLGAARD                                             Contingent
         P O Box 48547                                                Unliquidated
         Sarasota, FL 34230-5992
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 126
                                                                   Is the claim subject to offset?     No       Yes

3.243
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERIK C LARSEN                                                Contingent
         243 W Park Avenue Suite 201                                  Unliquidated
         Winter Park, FL 32789-7001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 238
                                                                   Is the claim subject to offset?     No       Yes

3.243
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIK LEAVELL & ASSOCIATES                                    Contingent
         10130 Northlake Boulevard Suite 214                          Unliquidated
         Royal Palm Beach, FL 33412-1105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2416
                                                                   Is the claim subject to offset?     No       Yes

3.243
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERIK V KORZILIUS                                             Contingent
         2100 Tamiami Trail S.                                        Unliquidated
         Suite C
                                                                      Disputed
         Venice, FL 34293
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7683                      Is the claim subject to offset?     No       Yes

3.243
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Erin Bass Law, P.L.L.C.                                      Contingent
         3509 W. San Luis Street                                      Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9519
                                                                   Is the claim subject to offset?     No       Yes

3.243
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERLYNNE HIXON HOLLEY                                         Contingent
         2947 Peters Avenue                                           Unliquidated
         Naples, FL 33942
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5829
                                                                   Is the claim subject to offset?     No       Yes

3.244
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERNEST A J KOLLRA                                            Contingent
         1995 E Oakland Park Boulevard Suite 300                      Unliquidated
         Ft Lauderdale, FL 33306-1147
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7333
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 363 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 371 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.244
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERNEST C WRIGHT                                              Contingent
         2285 W Eau Gallie Boulevard                                  Unliquidated
         Melbourne, FL 32935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 489
                                                                   Is the claim subject to offset?     No       Yes

3.244
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERNEST CLAYTON YATES                                         Contingent
         311 S 2nd Street Suite 102b                                  Unliquidated
         Ft Pierce, FL 34950-1515
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5665
                                                                   Is the claim subject to offset?     No       Yes

3.244
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ERNEST F HARNDEN JR PA                                       Contingent
         1800 Second Street Suite 717                                 Unliquidated
         Sarasota, FL 34236-5903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8557
                                                                   Is the claim subject to offset?     No       Yes

3.244
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERNEST G COLE                                                Contingent
         5207 Marine Parkway                                          Unliquidated
         New Port Richey, FL 34652-4234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6516
                                                                   Is the claim subject to offset?     No       Yes

3.244
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERNEST G SIMON                                               Contingent
         140 Northeast 4th Avenue Suite A                             Unliquidated
         Delray Beach, FL 33483-5400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3170
                                                                   Is the claim subject to offset?     No       Yes

3.244
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ernest J. Mullins, P.A.                                      Contingent
         519 Patrick Street                                           Unliquidated
         Kissimmee, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7965
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 364 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 372 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.244
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ERNEST S MARSHALL                                            Contingent
         615 9th Street W                                             Unliquidated
         Bradenton, FL 34205-7739
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3597
                                                                   Is the claim subject to offset?     No       Yes

3.244
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,934.27
         ERNEST V MCCLURG                                             Contingent
         P.O. Box 505                                                 Unliquidated
         Lakeland, FL 33802-0505                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3745
                                                                   Is the claim subject to offset?     No       Yes

3.244
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERNEST V MCCLURG                                             Contingent
         P.O. Box 38                                                  Unliquidated
         Lakeland, FL 33802-0038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3745
                                                                   Is the claim subject to offset?     No       Yes

3.245
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERNESTO J DE LA FE                                           Contingent
         6601 Southwest 116th Street                                  Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7891
                                                                   Is the claim subject to offset?     No       Yes

3.245
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERNESTO MARTINEZ JR                                          Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 305
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0594                      Is the claim subject to offset?     No       Yes

3.245
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERNESTO SANCHEZ                                              Contingent
         814 Ponce De Leon Blvd.                                      Unliquidated
         Suite 505
                                                                      Disputed
         Coral Gables, FL 33134-3035
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3653                      Is the claim subject to offset?     No       Yes

3.245
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERNIE C LISCH                                                Contingent
         3007 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 383
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 365 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 373 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.245
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EROL M VURAL                                                 Contingent
         3301 Riviera Drive                                           Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2464
                                                                   Is the claim subject to offset?     No       Yes

3.245
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERROL M ROSEN                                                Contingent
         9 Island Avenue Apt 1605                                     Unliquidated
         Miami, FL 33139-1360
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4068
                                                                   Is the claim subject to offset?     No       Yes

3.245
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERSKINE C ROGERS III                                         Contingent
         1803 Australian Avenue S Suite A                             Unliquidated
         West Palm Beach, FL 33409-6454
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3940
                                                                   Is the claim subject to offset?     No       Yes

3.245
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         ERVIN KITCHEN & ERVIN                                        Contingent
         P.O. Box 1170                                                Unliquidated
         Tallahassee, FL 32302-1170
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 417
                                                                   Is the claim subject to offset?     No       Yes

3.245
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ERWIN A YAEGER                                               Contingent
         2431 Northwest 41st Street Suite 4111                        Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3090
                                                                   Is the claim subject to offset?     No       Yes

3.245
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ERWIN S ADLER                                                Contingent
         7777 Glades Road Suite 204                                   Unliquidated
         Boca Raton, FL 33434-4150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5041
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 366 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 374 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.246
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ESPINO LAW                                                   Contingent
         2250 SW 3rd Avenue                                           Unliquidated
         Suite 400
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6753                      Is the claim subject to offset?     No       Yes

3.246
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Esposito Law Group, P.A.                                     Contingent
         537 10th Street W                                            Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8711
                                                                   Is the claim subject to offset?     No       Yes

3.246
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EST OF ALBERT E SCHRADER JR                                  Contingent
         6663 Sugarbush Drive                                         Unliquidated
         Orlando, FL 32819-4508
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 698
                                                                   Is the claim subject to offset?     No       Yes

3.246
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF ALBERTO BABANI                                        Contingent
         495 S Shore Drive                                            Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5461
                                                                   Is the claim subject to offset?     No       Yes

3.246
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         EST OF BAILEY M WELDEN                                       Contingent
         10445 W Sea Court                                            Unliquidated
         Crystal River, FL 34429-5209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1590
                                                                   Is the claim subject to offset?     No       Yes

3.246
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EST OF C WINSTON SMITH                                       Contingent
         P.O. Box 489                                                 Unliquidated
         New Smyrna Beach, FL 32170-0489
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 602
                                                                   Is the claim subject to offset?     No       Yes

3.246
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EST OF CAROLYN M GETTINGS                                    Contingent
         46 N Washington Boulevard Suite 25b                          Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7443
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 367 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 375 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.246
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF CHRISTINE E PUTO MURRAY                               Contingent
         2945 Overseas Highway                                        Unliquidated
         Marathon, FL 33050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2577
                                                                   Is the claim subject to offset?     No       Yes

3.246
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF CRAIG B WARD                                          Contingent
         1646 Hillcrest Street                                        Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4876
                                                                   Is the claim subject to offset?     No       Yes

3.246
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EST OF D DEAN BARNARD                                        Contingent
         C/O Diane Jensen                                             Unliquidated
         P.O. Drawer 1507
                                                                      Disputed
         Ft Myers, FL 33902
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4172                      Is the claim subject to offset?     No       Yes

3.247
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF DALE A KONIGSBURG                                     Contingent
         Pmb 306                                                      Unliquidated
         4371 Northlake Boulevard
                                                                      Disputed
         Palm Beach Gardens, FL 33410-6253
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5001                      Is the claim subject to offset?     No       Yes

3.247
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,112.95
         EST OF DAVID B PARKER                                        Contingent
         46 Spanish Street                                            Unliquidated
         St Augustine, FL 32084-3636                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5504
                                                                   Is the claim subject to offset?     No       Yes

3.247
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF DAVID H THOMAS                                        Contingent
         4091 Orange Grove Boulevard                                  Unliquidated
         Ft Myers, FL 33903-4931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4637
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 368 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 376 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.247
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF EDWARD J SCHACK                                       Contingent
         7954 Pines Boulevard                                         Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7198
                                                                   Is the claim subject to offset?     No       Yes

3.247
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $956.67
         EST OF EDWARD L GERSON                                       Contingent
         116 Northwest Hepner                                         Unliquidated
         Pt Charlotte, FL 33952-4231                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1380
                                                                   Is the claim subject to offset?     No       Yes

3.247
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF ELIZABETH KOLLAREK                                    Contingent
         800 Harbour Drive Suite 8                                    Unliquidated
         Naples, FL 34103-4451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8207
                                                                   Is the claim subject to offset?     No       Yes

3.247
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $158.64
         EST OF GARY L SELF                                           Contingent
         1401 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33060-6746                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4544
                                                                   Is the claim subject to offset?     No       Yes

3.247
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EST OF GEORGE J BAYA                                         Contingent
         501 Brickell Key Drive Suite 300                             Unliquidated
         Miami, FL 33131-2608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 241
                                                                   Is the claim subject to offset?     No       Yes

3.247
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF H CHRISTOPHER TOMPKINS                                Contingent
         P.O. Box 888                                                 Unliquidated
         Brandon, FL 33509-0888
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5716
                                                                   Is the claim subject to offset?     No       Yes

3.247
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $65.36
         EST OF HARRIS A TOBIN                                        Contingent
         P.O. Box 1193                                                Unliquidated
         Gainesville, FL 32602-1193                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4955
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 369 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 377 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.248
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $498.34
         EST OF HUGH M CARRIER                                        Contingent
         Squire Sanders & Dempsey                                     Unliquidated
         3000 Miami Center 100 Chopin Plza                            Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5285                      Is the claim subject to offset?     No       Yes


3.248
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF IRVING SHIMOFF                                        Contingent
         Nations Bank Tower                                           Unliquidated
         100 Southeast 2nd Street Suite 3920
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1156                      Is the claim subject to offset?     No       Yes

3.248
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,176.25
         EST OF J PAUL GRIFFITH                                       Contingent
         P.O. Box 207                                                 Unliquidated
         Marianna, FL 32446-0207                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 947
                                                                   Is the claim subject to offset?     No       Yes

3.248
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,331.73
         EST OF J VICTOR AFRICANO                                     Contingent
         P.O. Box 1450                                                Unliquidated
         Live Oak, FL 32060-1450                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3149
                                                                   Is the claim subject to offset?     No       Yes

3.248
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $130.16
         EST OF JAMES C TRUETT                                        Contingent
         810 Thomasville Road                                         Unliquidated
         Tallahassee, FL 32303-6218                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6206
                                                                   Is the claim subject to offset?     No       Yes

3.248
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF JEFFREY A RAPHAEL                                     Contingent
         842 Southwest Catalina Street                                Unliquidated
         Palm City, FL 34990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3936
                                                                   Is the claim subject to offset?     No       Yes

3.248
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $870.03
         EST OF JOHN B MATTINGLY                                      Contingent
         54 Maney Avenue                                              Unliquidated
         Ashville, NC 28804-3356                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1492
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 370 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 378 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.248
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EST OF JOHN G FATOLITIS                                      Contingent
         1 North Pinellas Avenue                                      Unliquidated
         Tarpon Springs, FL 34689-3415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2098
                                                                   Is the claim subject to offset?     No       Yes

3.248
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $569.92
         EST OF JOHN MCCARTY                                          Contingent
         111 Boston Avenue                                            Unliquidated
         Ft Pierce, FL 34950-4321                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2226
                                                                   Is the claim subject to offset?     No       Yes

3.248
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EST OF JULIO MANGUART                                        Contingent
         P.O. Box 491366                                              Unliquidated
         Key Biscayne, FL 33149-7366
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6671
                                                                   Is the claim subject to offset?     No       Yes

3.249
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EST OF JULIUS H BROWNER                                      Contingent
         1915 Northeast 45th Street Suite 210                         Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7156
                                                                   Is the claim subject to offset?     No       Yes

3.249
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EST OF LEONARD O WEINSTEIN                                   Contingent
         407 Lincoln Road Penthouse Southeast                         Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1155
                                                                   Is the claim subject to offset?     No       Yes

3.249
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF MARION SCHWEIGER                                      Contingent
         P.O. Box 297605                                              Unliquidated
         Pembroke Pines, FL 33029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.249
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF MICHAEL LUKASIEVICH                                   Contingent
         1720 Harrison Street Suite 18a                               Unliquidated
         Hollywood, FL 33020-2213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8235
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 371 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 379 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.249
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $533.16
         EST OF MITCHELL J MIODUS                                     Contingent
         5310 Southwest 5th Terrace                                   Unliquidated
         Miami, FL 33134-1126                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6025
                                                                   Is the claim subject to offset?     No       Yes

3.249
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF OAKLEY GENTRY JR                                      Contingent
         4900 N Ocean Boulevard Suite 404                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7142
                                                                   Is the claim subject to offset?     No       Yes

3.249
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EST OF PAUL L MARTZ                                          Contingent
         P.O. Box 3928                                                Unliquidated
         St Augustine, FL 32085-3928
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5523
                                                                   Is the claim subject to offset?     No       Yes

3.249
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF ROBERT D SLEWETT                                      Contingent
         801 Northeast 167 Street 2nd Floor                           Unliquidated
         N Miami Beach, FL 33162-3729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3956
                                                                   Is the claim subject to offset?     No       Yes

3.249
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $556.45
         EST OF ROBERT T JAMESON                                      Contingent
         P.O. Box 1419                                                Unliquidated
         Ocala, FL 32678-1419                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1962
                                                                   Is the claim subject to offset?     No       Yes

3.249
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,504.41
         EST OF SAMUEL J SWISHER                                      Contingent
         2477 Stickney Point Road Suite 207-B                         Unliquidated
         Sarasota, FL 34231-4070                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5564
                                                                   Is the claim subject to offset?     No       Yes

3.250
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF STEPHEN H JUDSON                                      Contingent
         Suite 1 Building B                                           Unliquidated
         3800 Lake Center Loop
                                                                      Disputed
         Mount Dora, FL 32757
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2793                      Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 372 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 380 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.250
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,364.26
         EST OF THOMAS G PURDO                                        Contingent
         151 Northeast 5th Avenue                                     Unliquidated
         Delray Beach, FL 33483                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4639
                                                                   Is the claim subject to offset?     No       Yes

3.250
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF THOMAS J DAVIS JR                                     Contingent
         520 Palermo Avenue                                           Unliquidated
         Coral Gables, FL 33134-4535
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2428
                                                                   Is the claim subject to offset?     No       Yes

3.250
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF THOMAS P MCALVANAH                                    Contingent
         5739 Gall Boulevard                                          Unliquidated
         Zephyrhills, FL 33541-3453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4243
                                                                   Is the claim subject to offset?     No       Yes

3.250
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $457.32
         EST OF WILLIAM H PEEPLES                                     Contingent
         6101 Southwest 76 Street                                     Unliquidated
         Miami, FL 33143-5021                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2919
                                                                   Is the claim subject to offset?     No       Yes

3.250
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EST OF WILLIAM W BELL                                        Contingent
         9152 Bay Harbor Circle                                       Unliquidated
         West Palm Beach, FL 33411-5154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2647
                                                                   Is the claim subject to offset?     No       Yes

3.250
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF A BICE HOPE                                        Contingent
         P.O. Box 5217                                                Unliquidated
         Gainesville, FL 32627-5217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8471
                                                                   Is the claim subject to offset?     No       Yes

3.250
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF A C LOWERY                                         Contingent
         985 Northeast 84th Street                                    Unliquidated
         Miami, FL 33138-3614
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2316
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 373 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 381 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.250
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF ANDREW T GERRITS                                   Contingent
         6350 N Andrews Avenue Suite 100                              Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3877
                                                                   Is the claim subject to offset?     No       Yes

3.250
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ESTATE OF ANTONIO J SOTO III                                 Contingent
         8500 W Flagler Street Suite A-105                            Unliquidated
         Miami, FL 33144-2043
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 364
                                                                   Is the claim subject to offset?     No       Yes

3.251
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ESTATE OF ARLAN H BIRKMAN PA                                 Contingent
         809 Southeast 8th Street                                     Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4723
                                                                   Is the claim subject to offset?     No       Yes

3.251
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF BENNETT M LIFTER                                   Contingent
         17760 Northwest 2nd Avenue Suite 200                         Unliquidated
         Miami Garden, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1017
                                                                   Is the claim subject to offset?     No       Yes

3.251
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF BRUCE J DANIELS                                    Contingent
         P.O. Box 32812                                               Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0113
                                                                   Is the claim subject to offset?     No       Yes

3.251
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF BYRON D GAY                                        Contingent
         2324 Caribbean Court                                         Unliquidated
         Orlando, FL 32805-5801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1374
                                                                   Is the claim subject to offset?     No       Yes

3.251
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF CARLOS M ALVAREZ                                   Contingent
         136 E Shore Drive                                            Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4317
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 374 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 382 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.251
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF DAVID C GASKIN                                     Contingent
         P.O. Box 185                                                 Unliquidated
         Wewahitchka, FL 32465-0185
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5060
                                                                   Is the claim subject to offset?     No       Yes

3.251
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF DAVID MOLIVER                                      Contingent
         9415 Southwest 72nd Street Suite 125                         Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8308
                                                                   Is the claim subject to offset?     No       Yes

3.251
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.80
         ESTATE OF DAVID R SPITZNAGEL                                 Contingent
         304 Street Thomas Avenue                                     Unliquidated
         Key Largo, FL 33037-4321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0416
                                                                   Is the claim subject to offset?     No       Yes

3.251
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ESTATE OF DENNIS S SILVER                                    Contingent
         3304 51st Avenue Terrace W                                   Unliquidated
         Bradenton, FL 34207-1653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes

3.251
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ESTATE OF DONALD G CHILDS PA                                 Contingent
         P.O. Box 109                                                 Unliquidated
         Marco Island, FL 33969-0109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4691
                                                                   Is the claim subject to offset?     No       Yes

3.252
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF E DAVID KEMP                                       Contingent
         Smathers & Kemp P.A.                                         Unliquidated
         669 E Highway 50
                                                                      Disputed
         Clermont, FL 34711
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6073                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 375 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 383 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.252
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF E THOMAS FISHER                                    Contingent
         C/O William H Bartlett                                       Unliquidated
         P.O. Box 387
                                                                      Disputed
         St Petersburg, FL 33731
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8628                      Is the claim subject to offset?     No       Yes

3.252
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,402.70
         ESTATE OF EARL D FARR JR                                     Contingent
         5512 Sea Edge Drive                                          Unliquidated
         Punta Gorda, FL 33950                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3359
                                                                   Is the claim subject to offset?     No       Yes

3.252
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF G W HEDMAN                                         Contingent
         444 Red Sail Way                                             Unliquidated
         Satellite Beach, FL 32937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3083
                                                                   Is the claim subject to offset?     No       Yes

3.252
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF GARRY C FASKE                                      Contingent
         11900 Biscayne Boulevard Suite 616                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2680
                                                                   Is the claim subject to offset?     No       Yes

3.252
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF GERALD R BOYD JR                                   Contingent
         5458 N River Shore Drive                                     Unliquidated
         Tampa, FL 33603-1330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2365
                                                                   Is the claim subject to offset?     No       Yes

3.252
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF GROVER C HERRING                                   Contingent
         509 56th Street                                              Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0182
                                                                   Is the claim subject to offset?     No       Yes

3.252
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,223.02
         ESTATE OF GUILLERMO SOSTCHIN                                 Contingent
         3191 Coral Way Suite 1008                                    Unliquidated
         Miami, FL 33145                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4098
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 376 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 384 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.252
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF H JAMES LENTZ                                      Contingent
         35095 US Highway 19 N Suite 101                              Unliquidated
         Palm Harbor, FL 34684-1924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6655
                                                                   Is the claim subject to offset?     No       Yes

3.252
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF HARRISON K CHAUNCEY                                Contingent
         1921 Embassy Drive                                           Unliquidated
         West Palm Beach, FL 33401-1002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1689
                                                                   Is the claim subject to offset?     No       Yes

3.253
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,396.95
         ESTATE OF ISAAC E WHISNANT                                   Contingent
         2424 Manatee Avenue W Suite 101                              Unliquidated
         Bradenton, FL 34205                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5151
                                                                   Is the claim subject to offset?     No       Yes

3.253
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         ESTATE OF JOHN E BAKER                                       Contingent
         P.O. Box 2529                                                Unliquidated
         Jupiter, FL 33468-2529
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7688
                                                                   Is the claim subject to offset?     No       Yes

3.253
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ESTATE OF JOSEPH D FARISH                                    Contingent
         P.O. Box 4118                                                Unliquidated
         West Palm Beach, FL 33402-4118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 153
                                                                   Is the claim subject to offset?     No       Yes

3.253
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,267.78
         ESTATE OF KENNETH A WOLIS                                    Contingent
         2805 E Oakland Park Boulevard Suite 270                      Unliquidated
         Ft Lauderdale, FL 33306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1914
                                                                   Is the claim subject to offset?     No       Yes

3.253
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF LARRY O SCHATZMAN                                  Contingent
         444 Brickell Avenue Suite 700                                Unliquidated
         Miami, FL 33131-2441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8634
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 377 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 385 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.253
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF MICHAEL H MALE                                     Contingent
         Michael H. Male P.A.                                         Unliquidated
         3250 Mary Street Suite 303
                                                                      Disputed
         Miami, FL 33133-5232
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4264                      Is the claim subject to offset?     No       Yes

3.253
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF MORTON P BROWN                                     Contingent
         Townhouse No 8                                               Unliquidated
         19355 Turnberry Way
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3643                      Is the claim subject to offset?     No       Yes

3.253
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF PAUL L FEINSMITH                                   Contingent
         Paul L. Feinsmith P.A.                                       Unliquidated
         633 Northeast 167th Street Suite 304
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1879                      Is the claim subject to offset?     No       Yes

3.253
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ESTATE OF PHILIP F KEIDAISH JR                               Contingent
         740 Florida Central Parkway Suite 1004                       Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4680
                                                                   Is the claim subject to offset?     No       Yes

3.253
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF PIERCE H MULLALY                                   Contingent
         Pierce H. Mullally P.A.                                      Unliquidated
         179 Northeast 96th Street
                                                                      Disputed
         Miami Shores, FL 33138
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4584                      Is the claim subject to offset?     No       Yes

3.254
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $17.50
         ESTATE OF R KEITH ALLEN                                      Contingent
         R Keith Allen Real Estate Oper                               Unliquidated
         2600 Douglas Road Suite 1008
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4065                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 378 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 386 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.254
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ESTATE OF RICHARD M JONES                                    Contingent
         163 10th Avenue S                                            Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5056
                                                                   Is the claim subject to offset?     No       Yes

3.254
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTATE OF ROBERT A ROSILLO                                   Contingent
         501 Sea Oats Drive Suite A-1                                 Unliquidated
         Juno Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2396
                                                                   Is the claim subject to offset?     No       Yes

3.254
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ESTATE OF WILIAM C MCLEAN JR                                 Contingent
         P.O. Box 3324                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 335
                                                                   Is the claim subject to offset?     No       Yes

3.254
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,043.80
         ESTATE OF WILLIAM J MCNAUGHTON                               Contingent
         2010 Northeast 56th Court Suite 2                            Unliquidated
         Ft Lauderdale, FL 33308-2411                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1831
                                                                   Is the claim subject to offset?     No       Yes

3.254
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Estevez Law Group, P.A.                                      Contingent
         1930 Harrison Street                                         Unliquidated
         Suite 203
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8234                      Is the claim subject to offset?     No       Yes

3.254
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ESTHER A ZARETSKY                                            Contingent
         Suite 900                                                    Unliquidated
         1655 Palm Beach Lakes Boulevard
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5837                      Is the claim subject to offset?     No       Yes

3.254
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTHER I ARANGO                                              Contingent
         P.O. Box 565261                                              Unliquidated
         Miami, FL 33256-5261
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6814
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 379 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 387 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.254
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTIME-THOMPSON PA                                           Contingent
         11950 W Dixie Highway                                        Unliquidated
         Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0003
                                                                   Is the claim subject to offset?     No       Yes

3.254
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ESTRELLA & DIAZ-LEYVA PA                                     Contingent
         3750 W Flagler Street                                        Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9883
                                                                   Is the claim subject to offset?     No       Yes

3.255
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EUBANK HASSEL & MILES                                        Contingent
         P.O. Box 2229                                                Unliquidated
         Daytona Beach, FL 32115-2229
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3049
                                                                   Is the claim subject to offset?     No       Yes

3.255
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE A WIECHENS                                            Contingent
         445 NE 8th Avenue                                            Unliquidated
         Ocala, FL 34470-5346
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5619
                                                                   Is the claim subject to offset?     No       Yes

3.255
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,603.53
         EUGENE A. PEER                                               Contingent
         P.O. Box 488                                                 Unliquidated
         Palm City, FL 34991                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4953
                                                                   Is the claim subject to offset?     No       Yes

3.255
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE E MCCLELLAN JR                                        Contingent
         3900 Commonwealth Boulevard Suite 922                        Unliquidated
         Mailstation 35
                                                                      Disputed
         Tallahassee, FL 32399-6575
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7963                      Is the claim subject to offset?     No       Yes

3.255
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE E RHODES JR                                           Contingent
         P.O. Box 290580                                              Unliquidated
         Port Orange, FL 32129-0580
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5975
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 380 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 388 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.255
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $65.00
         EUGENE E SHUEY                                               Contingent
         3468 Southwest 72nd Way                                      Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7279
                                                                   Is the claim subject to offset?     No       Yes

3.255
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE E WALDRON JR PA                                       Contingent
         124 N. Brevard Avenue                                        Unliquidated
         Arcadia, FL 34266-4404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5551
                                                                   Is the claim subject to offset?     No       Yes

3.255
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EUGENE GREENER JR                                            Contingent
         600 Fifth Avenue South Suite 203                             Unliquidated
         Naples, FL 33940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0373
                                                                   Is the claim subject to offset?     No       Yes

3.255
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EUGENE H STEELE                                              Contingent
         4420 N University Drive                                      Unliquidated
         Lauderhill, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8574
                                                                   Is the claim subject to offset?     No       Yes

3.255
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EUGENE J FIERRO PA                                           Contingent
         7603 Southwest 147 Terrace                                   Unliquidated
         Miami, FL 33158-4304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4600
                                                                   Is the claim subject to offset?     No       Yes

3.256
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EUGENE J HOWARD                                              Contingent
         1111 Lincoln Road Suite 800                                  Unliquidated
         Miami Beach, FL 33139-2451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4374
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 381 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 389 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.256
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EUGENE L BEIL                                                Contingent
         12300 US Highway 19 North                                    Unliquidated
         Hudson, FL 34667
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8232
                                                                   Is the claim subject to offset?     No       Yes

3.256
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EUGENE L MANN                                                Contingent
         106 Cumberland Court                                         Unliquidated
         Stephens City, VA 22655-4029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7699
                                                                   Is the claim subject to offset?     No       Yes

3.256
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE M UNDERBERG                                           Contingent
         224 Walton Heath Drive                                       Unliquidated
         Atlantis, FL 33462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7908
                                                                   Is the claim subject to offset?     No       Yes

3.256
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EUGENE MICHAEL KENNEDY PA                                    Contingent
         517 Southwest 1st Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7405
                                                                   Is the claim subject to offset?     No       Yes

3.256
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EUGENE N BETTS                                               Contingent
         912 Northeast 23rd Terrace                                   Unliquidated
         Pompano Beach, FL 33062-4420
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1112
                                                                   Is the claim subject to offset?     No       Yes

3.256
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE SHY JR                                                Contingent
         Dade County Attorney's Office                                Unliquidated
         1611 Northwest 12th Avenue Suite 109
                                                                      Disputed
         Miami, FL 33136-1005
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 539                       Is the claim subject to offset?     No       Yes

3.256
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         EUGENE W SULZBERGER                                          Contingent
         1090 Kane Concourse                                          Unliquidated
         Suite 201
                                                                      Disputed
         Bay Harbor Islands, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 747                       Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 382 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 390 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.256
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EUGENE W SULZBERGER                                          Contingent
         P.O. Box 546644                                              Unliquidated
         Miami Beach, FL 33154-0644
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 747
                                                                   Is the claim subject to offset?     No       Yes

3.256
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         EUGENIO DUARTE PA                                            Contingent
         999 Ponce De Leon Boulevard                                  Unliquidated
         Suite 735
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8264                      Is the claim subject to offset?     No       Yes

3.257
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EULA C REED                                                  Contingent
         4658 Hall Road                                               Unliquidated
         Orlando, FL 32817
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5909
                                                                   Is the claim subject to offset?     No       Yes

3.257
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EUSEBIO E FERNANDEZ                                          Contingent
         2701 S Legion Road 2nd Floor                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6634
                                                                   Is the claim subject to offset?     No       Yes

3.257
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EVAN B PLOTKA PL                                             Contingent
         3837 Hollywood Boulevard                                     Unliquidated
         Suite A
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1747                      Is the claim subject to offset?     No       Yes

3.257
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EVAN J GONSHAK                                               Contingent
         1481 NW 7th Street                                           Unliquidated
         Miami, FL 33125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8705
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 383 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 391 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.257
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EVAN JAY BYER                                                Contingent
         1999 Northeast 150th Street Suite 102                        Unliquidated
         North Miami, FL 33181-1118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6870
                                                                   Is the claim subject to offset?     No       Yes

3.257
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         EVAN OLSTER                                                  Contingent
         P.O. Box 161770                                              Unliquidated
         Miami, FL 33116-1770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1858
                                                                   Is the claim subject to offset?     No       Yes

3.257
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EVAN R MARBIN                                                Contingent
         48 E Flagler Street Suite 374                                Unliquidated
         Miami, FL 33131-1020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4869
                                                                   Is the claim subject to offset?     No       Yes

3.257
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Evan S. Kagan, L.L.C.                                        Contingent
         3098 Stirling Road Suite 102                                 Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8113
                                                                   Is the claim subject to offset?     No       Yes

3.257
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EVANS & DONICA PA                                            Contingent
         Enterprise Plaza Suite 1500                                  Unliquidated
         201 E Kennedy Boulevard
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0275                      Is the claim subject to offset?     No       Yes

3.257
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         EVANS & LUPTAK PLC                                           Contingent
         2201 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431-7337
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0185
                                                                   Is the claim subject to offset?     No       Yes

3.258
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EVE WAGNER ROSEN                                             Contingent
         10130 Northwest 14th Street                                  Unliquidated
         Plantation, FL 33322-6561
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8607
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 384 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 392 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.258
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EVELYN M BORI                                                Contingent
         Law Office of Evelyn M Bori P.A.                             Unliquidated
         4906 Jinou Avenue
                                                                      Disputed
         Orlando, FL 32812
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4610                      Is the claim subject to offset?     No       Yes

3.258
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EVELYN WATTS CLONINGER                                       Contingent
         P.O. Box 620337                                              Unliquidated
         Oviedo, FL 32762-0337
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5516
                                                                   Is the claim subject to offset?     No       Yes

3.258
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EVERETT H. DUDLEY, JR.                                       Contingent
         21767 High Pine Trail                                        Unliquidated
         Boca Raton, FL 33428-3049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3195
                                                                   Is the claim subject to offset?     No       Yes

3.258
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         EVERETT MAYNARD JR                                           Contingent
         109 Rainsborough Way                                         Unliquidated
         Columbia, SC 29229-8842
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 416
                                                                   Is the claim subject to offset?     No       Yes

3.258
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Evoke Title Services, LLC                                    Contingent
         1535 North Park Drive                                        Unliquidated
         Suite 104
                                                                      Disputed
         Weston, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1480                      Is the claim subject to offset?     No       Yes

3.258
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EZRA R WITSMAN                                               Contingent
         138 E Central Avenue                                         Unliquidated
         Howey-In-The-Hills, FL 34737
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6948
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 385 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 393 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.258
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         EZRA SCRIVANICH PA                                           Contingent
         14761 Highland Springs Court                                 Unliquidated
         Davie, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4430
                                                                   Is the claim subject to offset?     No       Yes

3.258
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         F ANDREWS TAINTOR                                            Contingent
         3977 Isla Ciudad Court                                       Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0471
                                                                   Is the claim subject to offset?     No       Yes

3.258
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         F B ESTERGREN                                                Contingent
         P.O. Drawer 2167                                             Unliquidated
         Ft Walton Beach, FL 32549-2167
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2260
                                                                   Is the claim subject to offset?     No       Yes

3.259
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         F D MCKNIGHT                                                 Contingent
         126 E. Jefferson Street                                      Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6693
                                                                   Is the claim subject to offset?     No       Yes

3.259
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,006.92
         F JOSEPH MCMACKIN III                                        Contingent
         4001 Tamiami Trail N Suite 250                               Unliquidated
         Naples, FL 34103-3555                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5814
                                                                   Is the claim subject to offset?     No       Yes

3.259
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         F PARKER LAWRENCE                                            Contingent
         3720 Northwest 43rd Street Suite 101                         Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7828
                                                                   Is the claim subject to offset?     No       Yes

3.259
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         F PEN COSBY                                                  Contingent
         1900 Market Square Center                                    Unliquidated
         151 N Delaware Street
                                                                      Disputed
         Indianapolis, IN 46204-2505
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3658                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 386 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 394 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.259
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         F PHILIP BLANK                                               Contingent
         P.O. Box 11068                                               Unliquidated
         Tallahassee, FL 32302-3068
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6552
                                                                   Is the claim subject to offset?     No       Yes

3.259
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $91.58
         F SHIELDS MCMANUS                                            Contingent
         5910 Southeast Forest Glade Trail                            Unliquidated
         Hobe Sound, FL 33455
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1387
                                                                   Is the claim subject to offset?     No       Yes

3.259
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         F W ZEKE GUILFORD                                            Contingent
         Guilford & Associates                                        Unliquidated
         2222 Ponce De Leon Boulevard Suite 502
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2677                      Is the claim subject to offset?     No       Yes

3.259
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,310.41
         FABER & GITLITZ PA                                           Contingent
         9830 Southwest 77th Avenue Suite 155                         Unliquidated
         Miami, FL 33156                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 92
                                                                   Is the claim subject to offset?     No       Yes

3.259
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Faehner PLLC                                                 Contingent
         301 Woodlands Pkwy.                                          Unliquidated
         Suite 10
                                                                      Disputed
         Oldsmar, FL 34677
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0412                      Is the claim subject to offset?     No       Yes

3.259
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FALLGATTER & KELLY                                           Contingent
         121 W Forsyth Street Suite 900                               Unliquidated
         Jacksonville Beach, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2088
                                                                   Is the claim subject to offset?     No       Yes

3.260
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Famada Law Firm, P.A.                                        Contingent
         4725 Aldun Ridge Avenue Northwest Suite                      Unliquidated
         Comstock Park, MI 49321-9047
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8883
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 387 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 395 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.260
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FAMILY TITLE SERVICES LLC                                    Contingent
         Post Office Box 822237                                       Unliquidated
         Pembroke Pines, FL 33082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6530
                                                                   Is the claim subject to offset?     No       Yes

3.260
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fanelli Law Firm, P.A.                                       Contingent
         180 Fountain Parkway N                                       Unliquidated
         Suite 100
                                                                      Disputed
         St. Petersburg, FL 33716
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8717                      Is the claim subject to offset?     No       Yes

3.260
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FARACH LAW FIRM PA                                           Contingent
         505 S. Flagler Drive                                         Unliquidated
         Suite 600
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6236                      Is the claim subject to offset?     No       Yes

3.260
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $850.00
         FARR FARR EMERICH HACKETT                                    Contingent
         99 Nesbit Street                                             Unliquidated
         Punta Gorda, FL 33950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 384
                                                                   Is the claim subject to offset?     No       Yes

3.260
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FARRINGTON LAW OFFICE                                        Contingent
         68 Feli Way Suite B                                          Unliquidated
         Crawfordville, FL 32327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0112
                                                                   Is the claim subject to offset?     No       Yes

3.260
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Farrow Law Group, P.A.                                       Contingent
         4801 S University Drive                                      Unliquidated
         Unit 132
                                                                      Disputed
         Davie, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0558                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 388 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 396 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.260
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Farshchian Law, P.A.                                         Contingent
         12955 Biscayne Boulevard                                     Unliquidated
         Suite 300
                                                                      Disputed
         North Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8093                      Is the claim subject to offset?     No       Yes

3.260
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FEAGLE & FEAGLE                                              Contingent
         P.O. Box 1653                                                Unliquidated
         Lake City, FL 32056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7496
                                                                   Is the claim subject to offset?     No       Yes

3.260
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FEARINGTON MCCORD                                            Contingent
         210 S Monroe Street                                          Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7289
                                                                   Is the claim subject to offset?     No       Yes

3.261
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Fedele & Vigo, P.L.L.C.                                      Contingent
         8950 Southwest 74 Court Suite 2201 A-40                      Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9020
                                                                   Is the claim subject to offset?     No       Yes

3.261
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         FEE & FEE PL                                                 Contingent
         426 Avenue A                                                 Unliquidated
         Ft Pierce, FL 34950-4287
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 610
                                                                   Is the claim subject to offset?     No       Yes

3.261
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FEINGOLD & POSNER PA                                         Contingent
         3230 W Commercial Boulevard Suite 190                        Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2543
                                                                   Is the claim subject to offset?     No       Yes

3.261
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         FEINMAN & FEINMAN PA                                         Contingent
         4300 N University Drive Suite B-100                          Unliquidated
         Lauderhill, FL 33351-6243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 363
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 389 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 397 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.261
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FEINSTEIN & SOROTA PA                                        Contingent
         600 Corporate Drive                                          Unliquidated
         Suite 320
                                                                      Disputed
         Fort Lauderdale, FL 33334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8715                      Is the claim subject to offset?     No       Yes

3.261
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELBERBAUM & ASSOCIATES PA                                   Contingent
         4855 Technology Way Suite 630                                Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2285
                                                                   Is the claim subject to offset?     No       Yes

3.261
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         FELDER & BERMAN                                              Contingent
         P.O. Drawer 30                                               Unliquidated
         Winter Park, FL 32790-0030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5037
                                                                   Is the claim subject to offset?     No       Yes

3.261
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FELDMAN & ROBACK                                             Contingent
         3908 26th Street W.                                          Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6953
                                                                   Is the claim subject to offset?     No       Yes

3.261
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELDMAN & SCHNEIDERMAN PA                                    Contingent
         401 Camino Gardens Boulevard                                 Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5720
                                                                   Is the claim subject to offset?     No       Yes

3.261
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         FELDMAN KOENIG & HIGHSMITH PA                                Contingent
         3158 Northside Drive                                         Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3469
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 390 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 398 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.262
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELICIA S RAPHAEL                                            Contingent
         9690 Northwest 59th Court                                    Unliquidated
         Parkland, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7835
                                                                   Is the claim subject to offset?     No       Yes

3.262
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FELIPE R PACHECO                                             Contingent
         2324 Fern Place                                              Unliquidated
         Tampa, FL 33604-5719
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5463
                                                                   Is the claim subject to offset?     No       Yes

3.262
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELIU MAURRASSE PA                                           Contingent
         255 Alhambra Circle Suite 1000                               Unliquidated
         Coral Gables, FL 33134-7412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9665
                                                                   Is the claim subject to offset?     No       Yes

3.262
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELIX F CANINO PA                                            Contingent
         145 Ocean Key Way                                            Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9539
                                                                   Is the claim subject to offset?     No       Yes

3.262
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELIX J MENDIGUTIA                                           Contingent
         P.O. Box 942171                                              Unliquidated
         Miami, FL 33194-2171
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3835
                                                                   Is the claim subject to offset?     No       Yes

3.262
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELIX M ADAMS                                                Contingent
         230 N. Main Street                                           Unliquidated
         Bushnell, FL 33513
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5011
                                                                   Is the claim subject to offset?     No       Yes

3.262
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELIX M CACERES II PA                                        Contingent
         1035 SW 87th Avenue                                          Unliquidated
         Miami, FL 33174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5549
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 391 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 399 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.262
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FELIX M LASARTE                                              Contingent
         8500 Southwest 8th Street Suite 238                          Unliquidated
         Miami, FL 33144-4002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9839
                                                                   Is the claim subject to offset?     No       Yes

3.262
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fenderson & Hampton, L.L.C.                                  Contingent
         255 Alhambra Circle Suite 414                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6916
                                                                   Is the claim subject to offset?     No       Yes

3.262
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,491.18
         FENSTER & FAERBER                                            Contingent
         8751 W Broward Boulevard Suite 307                           Unliquidated
         Plantation, FL 33324                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7494
                                                                   Is the claim subject to offset?     No       Yes

3.263
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         FERENCIK LIBANOFF BRANDT                                     Contingent
         150 S Pine Island Road Suite 400                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5489
                                                                   Is the claim subject to offset?     No       Yes

3.263
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         FERGESON SKIPPER SHAW                                        Contingent
         Northern Trust Plaza                                         Unliquidated
         1515 Ringling Blvd, 10th Floor
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7543                      Is the claim subject to offset?     No       Yes

3.263
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         FERNANDEZ AIRAN-PACE & ASSOCS                                Contingent
         13500 SW 88th Street                                         Unliquidated
         Suite 265
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2747                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 392 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 400 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.263
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FERNANDEZ CARUS PA                                           Contingent
         345 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134-5811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9509
                                                                   Is the claim subject to offset?     No       Yes

3.263
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Fernandez Florida Law, P.A.                                  Contingent
         113 S Boulevard                                              Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7206
                                                                   Is the claim subject to offset?     No       Yes

3.263
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fernandez Legal                                              Contingent
         135 W. Central Blvd.                                         Unliquidated
         Suite 300
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0771                      Is the claim subject to offset?     No       Yes

3.263
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Fernandez Trial Attorneys, P.A.                              Contingent
         4705 26th Street W.                                          Unliquidated
         Bradenton, FL 34207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9078
                                                                   Is the claim subject to offset?     No       Yes

3.263
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FERNANDO J PORTUONDO                                         Contingent
         2121 Ponce De Leon Boulevard                                 Unliquidated
         Suite 950
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2309                      Is the claim subject to offset?     No       Yes

3.263
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FERNANDO M PALACIOS                                          Contingent
         525 E Strawbridge                                            Unliquidated
         Melbourne, FL 32901-4705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6740
                                                                   Is the claim subject to offset?     No       Yes

3.263
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FERNANDO O TERCILLA                                          Contingent
         1617 Northwest 29th Avenue                                   Unliquidated
         Miami, FL 33125-2033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6167
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 393 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 401 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.264
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FERNANDO POMARES PA                                          Contingent
         12002 SW 128th Court                                         Unliquidated
         Suite 104
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5672                      Is the claim subject to offset?     No       Yes

3.264
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FERRAEZ LLC                                                  Contingent
         5065 Shore Acres Boulevard Northeast                         Unliquidated
         St Petersburg, FL 33703-4221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2735
                                                                   Is the claim subject to offset?     No       Yes

3.264
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Ferraiuoli, L.L.C.                                           Contingent
         390 N Orange Avenue                                          Unliquidated
         Suite 2300
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9582                      Is the claim subject to offset?     No       Yes

3.264
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FERRER SHANE PL                                              Contingent
         10631 N. Kendall Drive                                       Unliquidated
         Suite 260
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5368                      Is the claim subject to offset?     No       Yes

3.264
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FERRIN C CAMPBELL SR PA                                      Contingent
         P.O. Box 846                                                 Unliquidated
         Crestview, FL 32536-0846
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7721
                                                                   Is the claim subject to offset?     No       Yes

3.264
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FETTERMAN & ASSOCIATES PA                                    Contingent
         630 US Highway One 2nd Floor                                 Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5519
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 394 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 402 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.264
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         FIELD GRANGER ET AL PA                                       Contingent
         P.O. Box 14129                                               Unliquidated
         Tallahassee, FL 32317-4129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 312
                                                                   Is the claim subject to offset?     No       Yes

3.264
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         FIELDSTONE SHEAR & DENBERG LLP                               Contingent
         201 Alhambra Circle Suite 601                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 574
                                                                   Is the claim subject to offset?     No       Yes

3.264
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FILEMAN LAW FIRM PA                                          Contingent
         201 W. Marion Avenue                                         Unliquidated
         Suite 1208
                                                                      Disputed
         Punta Gorda, FL 33950-3660
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5584                      Is the claim subject to offset?     No       Yes

3.264
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8.66
         FINGER & MARGOLIS, P.A.                                      Contingent
         901 Sheridan Avenue                                          Unliquidated
         Bronx, NY 10451-3308                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6469
                                                                   Is the claim subject to offset?     No       Yes

3.265
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FINKELSTEIN & ASSOCIATES PA                                  Contingent
         27 Fletcher Avenue                                           Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7360
                                                                   Is the claim subject to offset?     No       Yes

3.265
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FINLEY & BOLOGNA INTERNATIONAL                               Contingent
         100 SE 2nd Street                                            Unliquidated
         Suite 3400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9889                      Is the claim subject to offset?     No       Yes

3.265
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FINLEY & REIF PA                                             Contingent
         1163 Caribbean Drive                                         Unliquidated
         Ssummerland Key, FL 33042
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6808
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 395 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 403 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.265
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Finley Stetson, Attorneys at Law                             Contingent
         160 SE 6th Avenue                                            Unliquidated
         Suite B-2
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7758                      Is the claim subject to offset?     No       Yes

3.265
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Finn Law Group, P.A.                                         Contingent
         10720 72nd Street Suite 305                                  Unliquidated
         Largo, FL 33777
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8627
                                                                   Is the claim subject to offset?     No       Yes

3.265
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FIRM COUNSEL CHARTERED                                       Contingent
         Firm Counsel Chartered                                       Unliquidated
         3325 S University Drive Suite 210
                                                                      Disputed
         Davie, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6100                      Is the claim subject to offset?     No       Yes

3.265
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         First Legal, P.A.                                            Contingent
         1930 Harrison St.                                            Unliquidated
         Suite 209
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0810                      Is the claim subject to offset?     No       Yes

3.265
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         FISHBACK DOMINICK BENNETT                                    Contingent
         1947 Lee Road                                                Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 16
                                                                   Is the claim subject to offset?     No       Yes

3.265
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FISHER & LAWRENCE PA                                         Contingent
         80 Northeast 168th Street                                    Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9391
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 396 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 404 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.265
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,775.97
         FISHER & SAULS PA                                            Contingent
         100 2nd Avenue S.                                            Unliquidated
         Suite 701                                                    Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1158                      Is the claim subject to offset?     No       Yes


3.266
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         FISHER BUTTS SECHREST & WARNER                               Contingent
         5200 SW 91st Terrace                                         Unliquidated
         Suite 101
                                                                      Disputed
         Gainesville, FL 32608
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5203                      Is the claim subject to offset?     No       Yes

3.266
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fisher Law, P.A.                                             Contingent
         7651-B Ashley Park Court                                     Unliquidated
         Suite 405
                                                                      Disputed
         Orlando, FL 32835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7110                      Is the claim subject to offset?     No       Yes

3.266
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FISHER RUSHMER WERRENRATH                                    Contingent
         P.O. Box 3753                                                Unliquidated
         Orlando, FL 32802-3753
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6886
                                                                   Is the claim subject to offset?     No       Yes

3.266
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fitzgerald & Isaacson, LLP                                   Contingent
         1701 Ponce De Leon Blvd.                                     Unliquidated
         Suite 200
                                                                      Disputed
         Miami, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8073                      Is the claim subject to offset?     No       Yes

3.266
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FITZPATRICK & MAULDEN                                        Contingent
         3020 Kings Harbour Road                                      Unliquidated
         Panama City, FL 32405-1630
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7881
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 397 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 405 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.266
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         FLAGSHIP TITLE OF TAMPA LLP                                  Contingent
         17221 Camelot Court                                          Unliquidated
         Suite 102
                                                                      Disputed
         Land O Lakes, FL 34638
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7196                      Is the claim subject to offset?     No       Yes

3.266
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $187.87
         FLANAGAN & WILLIARD PA                                       Contingent
         3399 Ponce De Leon Boulevard                                 Unliquidated
         Suite 202
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1663                      Is the claim subject to offset?     No       Yes

3.266
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fleitas, P.L.L.C.                                            Contingent
         782 NW 42nd Avenue                                           Unliquidated
         Suite 430
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9136                      Is the claim subject to offset?     No       Yes

3.266
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Fleming, Harris, Bond & Associates, PLLC                     Contingent
         719 South Palafox Street                                     Unliquidated
         Pensacola, FL 32503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0945
                                                                   Is the claim subject to offset?     No       Yes

3.266
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Fletcher Fischer Pollack, P.L.                               Contingent
         433 Central Avenue                                           Unliquidated
         4th Floor
                                                                      Disputed
         St. Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8205                      Is the claim subject to offset?     No       Yes

3.267
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,436.16
         FLETCHER G. RUSH                                             Contingent
         P.O. Box 3146                                                Unliquidated
         Orlando, FL 32802-3146                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0596
                                                                   Is the claim subject to offset?     No       Yes

3.267
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FLORIDA ASSET LAW GROUP PA                                   Contingent
         601 S Harbour Island Boulevard Suite 103                     Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6504
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 398 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 406 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.267
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Executive Title, L.L.C.                              Contingent
         3440 Holywood Boulevard Suite 415                            Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7254
                                                                   Is the claim subject to offset?     No       Yes

3.267
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         FLORIDA FORECLOSURE ATTORNEYS                                Contingent
         601 Cleveland Street Suite 690                               Unliquidated
         Clearwater, FL 33755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7924
                                                                   Is the claim subject to offset?     No       Yes

3.267
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida General Counsel, P.A.                                Contingent
         3401 NW 82 Avenue                                            Unliquidated
         Suite 360
                                                                      Disputed
         Doral, FL 33122
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0974                      Is the claim subject to offset?     No       Yes

3.267
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Group of Attorneys L.L.C.                            Contingent
         740 Florida Central Parkway Suite 1012                       Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7368
                                                                   Is the claim subject to offset?     No       Yes

3.267
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Law Title & Trust, P.L.C.                            Contingent
         9100 Conroy Windermere Road                                  Unliquidated
         #200
                                                                      Disputed
         Windermere, FL 34786
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7021                      Is the claim subject to offset?     No       Yes

3.267
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Legal Title, L.L.C.                                  Contingent
         4045 NW 43rd Street                                          Unliquidated
         Suite B
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9445                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 399 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 407 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.267
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Marketable Title, Inc.                               Contingent
         1200 Park Central Boulevard South                            Unliquidated
         Pompano Beach, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1974
                                                                   Is the claim subject to offset?     No       Yes

3.267
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Florida Property Title Services, L.L.C.                      Contingent
         607 W Bay Street                                             Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8064
                                                                   Is the claim subject to offset?     No       Yes

3.268
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FLORIDA REAL ESTATE LAW GROUP                                Contingent
         P.O. Box 970721                                              Unliquidated
         Boca Raton, FL 33497-0721
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6150
                                                                   Is the claim subject to offset?     No       Yes

3.268
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Suncoast Title Services, L.L.C.                      Contingent
         13135 W Linebaugh Avenue                                     Unliquidated
         Suite 102
                                                                      Disputed
         Tampa, FL 33626
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8868                      Is the claim subject to offset?     No       Yes

3.268
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Florida Title and Property Services, L.L                     Contingent
         8201 Peters Road Suite 1000                                  Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7360
                                                                   Is the claim subject to offset?     No       Yes

3.268
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Florida's Law Office, P.A.                                   Contingent
         3302 N. Tampa Street                                         Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7408
                                                                   Is the claim subject to offset?     No       Yes

3.268
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FLORIDIAN REAL ESTATE LAW FIRM                               Contingent
         Attn: Jessica Santiago                                       Unliquidated
         P.O. Box 222407
                                                                      Disputed
         Hollywood, FL 33022-2407
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4101                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 400 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 408 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.268
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Florido & Associates, P.A.                                   Contingent
         7950 NW 155th Street                                         Unliquidated
         Suite 203
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7713                      Is the claim subject to offset?     No       Yes

3.268
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FLORIDO & FLORIDO PA                                         Contingent
         Attn: Hobel Florido Esquire                                  Unliquidated
         14345 Commerce Way
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8604                      Is the claim subject to offset?     No       Yes

3.268
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FLORIN LAW GROUP PA                                          Contingent
         300 Sevilla Avenue                                           Unliquidated
         Suite 306
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5303                      Is the claim subject to offset?     No       Yes

3.268
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FLOUNLACKER LAW FIRM                                         Contingent
         314 N Spring Street                                          Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5539
                                                                   Is the claim subject to offset?     No       Yes

3.268
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         FLOYD & SAMMONS PA                                           Contingent
         1556 6th Street SE                                           Unliquidated
         Winter Haven, FL 33880-4509
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7129
                                                                   Is the claim subject to offset?     No       Yes

3.269
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FLOYD A HILLSTROM                                            Contingent
         804 Perkins Lane                                             Unliquidated
         Nokomis, FL 34275-2750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8153
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 401 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 409 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.269
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FLOYD E FERGUSON                                             Contingent
         406 N Indiana Avenue Suite 8                                 Unliquidated
         Englewood, FL 34223-2713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8486
                                                                   Is the claim subject to offset?     No       Yes

3.269
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FMC Title Agency, L.L.C.                                     Contingent
         66 W. Flagler Street                                         Unliquidated
         Suite 1002
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9416                      Is the claim subject to offset?     No       Yes

3.269
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FOGEL LAW GROUP                                              Contingent
         2500 N. Military Trail                                       Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33431-6306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5020                      Is the claim subject to offset?     No       Yes

3.269
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FOGLE & FIEDLER PA                                           Contingent
         P.O. Box 24                                                  Unliquidated
         Deland, FL 32721-0024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5119
                                                                   Is the claim subject to offset?     No       Yes

3.269
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FOGLE & POOLE                                                Contingent
         10415 Lakeside Drive                                         Unliquidated
         Coral Gables, FL 33156-3413
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 565
                                                                   Is the claim subject to offset?     No       Yes

3.269
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Folds & Walker, LLC                                          Contingent
         527 E. University Avenue                                     Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9817
                                                                   Is the claim subject to offset?     No       Yes

3.269
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FOLEY & LARDNER                                              Contingent
         P.O. Box 508                                                 Unliquidated
         Tallahassee, FL 32302-0508
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4980
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 402 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 410 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.269
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         FOLEY & LARDNER                                              Contingent
         C/O Accts Payable                                            Unliquidated
         P.O. Box 3391
                                                                      Disputed
         Tampa, FL 33601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1303                      Is the claim subject to offset?     No       Yes

3.269
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         FOLEY & LARDNER LLP                                          Contingent
         777 S Flagler Drive                                          Unliquidated
         Suite 901 W Tower Phillips Point
                                                                      Disputed
         West Palm Beach, FL 33401-6163
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4626                      Is the claim subject to offset?     No       Yes

3.270
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         FOLEY & LARDNER LLP                                          Contingent
         111 N. Orange Avenue                                         Unliquidated
         Suite 1800
                                                                      Disputed
         Orlando, FL 32802-0362
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4765                      Is the claim subject to offset?     No       Yes

3.270
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Foley Law, P.A.                                              Contingent
         725 NE 22nd St.                                              Unliquidated
         Suite 10A
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8733                      Is the claim subject to offset?     No       Yes

3.270
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FORD & FORD PA                                               Contingent
         575 Second Avenue S Suite 201                                Unliquidated
         St Petersburg, FL 33701-4160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6630
                                                                   Is the claim subject to offset?     No       Yes

3.270
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ford & Phillips, PL                                          Contingent
         2700 N 29th Avenue Suite 105                                 Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9122
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 403 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 411 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.270
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FORD BOWLUS DUSS KENNY SAFER                                 Contingent
         4348 Southpoint Boulevard                                    Unliquidated
         Suite 101
                                                                      Disputed
         Jacksonville, FL 32216
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8733                      Is the claim subject to offset?     No       Yes

3.270
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FOREMAN & OLVERA PA                                          Contingent
         207 South Marion Avenue                                      Unliquidated
         Lake City, FL 32025-0550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4306
                                                                   Is the claim subject to offset?     No       Yes

3.270
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Foreman Friedman, P.A.                                       Contingent
         2 S Biscayne Boulevard Suite 2300                            Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9315
                                                                   Is the claim subject to offset?     No       Yes

3.270
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FORIZS & DOGALI                                              Contingent
         4301 Anchor Plaza Parkway Suite 300                          Unliquidated
         Tampa, FL 33634
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9018
                                                                   Is the claim subject to offset?     No       Yes

3.270
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Formaggio Law Firm, L.L.C.                                   Contingent
         777 Brickell Avenue                                          Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9770                      Is the claim subject to offset?     No       Yes

3.270
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FORMAN & ALTINO PA                                           Contingent
         8201 Peters Road                                             Unliquidated
         Suite 1000
                                                                      Disputed
         Ft Lauderdale, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 134                       Is the claim subject to offset?     No       Yes

3.271
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         FORMAN HANRATTY & MONTGOMERY                                 Contingent
         P.O. Box 159                                                 Unliquidated
         Ocala, FL 32678-0159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6221
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 404 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 412 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.271
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FORNEY B STAFFORD                                            Contingent
         4205 Fort Denaud Road                                        Unliquidated
         Labelle, FL 33935-9698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1712
                                                                   Is the claim subject to offset?     No       Yes

3.271
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FORREST G MCSURDY                                            Contingent
         Miami Center - 22nd Floor                                    Unliquidated
         201 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131-4336
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4070                      Is the claim subject to offset?     No       Yes

3.271
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FORREST SYGMAN                                               Contingent
         Regions Bank Building Suite 303                              Unliquidated
         8603 S Dixie Highway
                                                                      Disputed
         Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7443                      Is the claim subject to offset?     No       Yes

3.271
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Forst Law Firm                                               Contingent
         P.O. Box 470125                                              Unliquidated
         Celebration, FL 34747
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0786
                                                                   Is the claim subject to offset?     No       Yes

3.271
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         FORSYTH & BRUGGER PA                                         Contingent
         600 5th Avenue South                                         Unliquidated
         Suite 207
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5088                      Is the claim subject to offset?     No       Yes

3.271
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fort Lauderdale Law Group, P.L.L.C.                          Contingent
         1451 W Cypress Creek Road                                    Unliquidated
         Suite # 300
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9440                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 405 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 413 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.271
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fort Washington Abstract, Inc.                               Contingent
         2600 Maitland Center Parkway                                 Unliquidated
         Suite 330
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7422                      Is the claim subject to offset?     No       Yes

3.271
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,775.70
         FOSTER & FUCHS PA                                            Contingent
         Greenway Professional Center                                 Unliquidated
         4425 Military Trail, Suite 109                               Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3057                      Is the claim subject to offset?     No       Yes


3.271
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FOSTER & LINDEMAN PA                                         Contingent
         100 E Pine Street Suite 302                                  Unliquidated
         Orlando, FL 32801-2761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8020
                                                                   Is the claim subject to offset?     No       Yes

3.272
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FOUNTAIN SCHULTZ & ASSOCIATES                                Contingent
         2045 Fountain Professional Court                             Unliquidated
         Suite A
                                                                      Disputed
         Navarre, FL 32566
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4575                      Is the claim subject to offset?     No       Yes

3.272
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FOURNIER & PRETSCHNER PA                                     Contingent
         22 S Tuttle Avenue Suite 4                                   Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3650
                                                                   Is the claim subject to offset?     No       Yes

3.272
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FOURNIER AND CONNOLLY PA                                     Contingent
         1 S. School Avenue                                           Unliquidated
         Suite 700
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6477                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 406 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 414 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.272
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FOWLER BRINK & FOWLER PA                                     Contingent
         25 McLeod Street                                             Unliquidated
         Merritt Island, FL 32953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4668
                                                                   Is the claim subject to offset?     No       Yes

3.272
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fowler Law, L.L.C.                                           Contingent
         7711 N Military Trail                                        Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9401
                                                                   Is the claim subject to offset?     No       Yes

3.272
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FOWLER RODRIGUEZ VALDES-FAULI                                Contingent
         355 Alhambra Circle                                          Unliquidated
         Suite 801
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7532                      Is the claim subject to offset?     No       Yes

3.272
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FOWLER WHITE BOGGS PA                                        Contingent
         P.O. Box 1567                                                Unliquidated
         Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 343
                                                                   Is the claim subject to offset?     No       Yes

3.272
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $825.00
         FOWLER WHITE BOGGS PA                                        Contingent
         401 E Jackson Street                                         Unliquidated
         Suite 2400
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 343                       Is the claim subject to offset?     No       Yes

3.272
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $625.00
         FOWLER WHITE BURNETT PA                                      Contingent
         Brickell Arch                                                Unliquidated
         1395 Brickell Avenue, 14th Floor
                                                                      Disputed
         Miami, FL 33131-3371
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5077                      Is the claim subject to offset?     No       Yes

3.272
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FOWLER WHITE MYERS KRAUSE                                    Contingent
         5811 Pelican Bay Boulevard Suite 600                         Unliquidated
         Naples, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4924
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 407 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 415 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.273
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         FOX & FOX                                                    Contingent
         P.O. Box 504                                                 Unliquidated
         Boca Raton, FL 33429-0504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1379
                                                                   Is the claim subject to offset?     No       Yes

3.273
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FOX & FOX PA                                                 Contingent
         2515 Countryside Boulevard                                   Unliquidated
         Suite G
                                                                      Disputed
         Clearwater, FL 33763
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6085                      Is the claim subject to offset?     No       Yes

3.273
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FOX ROTHSCHILD LLP                                           Contingent
         West Tower                                                   Unliquidated
         777 S. Flagler Drive, Suite 1700
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2500                      Is the claim subject to offset?     No       Yes

3.273
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,681.23
         FOX WACKEEN DUNGEY BEARD                                     Contingent
         3461 SE Willoughby Boulevard                                 Unliquidated
         Stuart, FL 34994                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2409
                                                                   Is the claim subject to offset?     No       Yes

3.273
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRAN R BARRETT                                               Contingent
         4300 N University Drive Suite C-102                          Unliquidated
         Lauderhill, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6486
                                                                   Is the claim subject to offset?     No       Yes

3.273
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FRAN ZION                                                    Contingent
         1428 Brickell Avenue                                         Unliquidated
         Suite 600
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8951                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 408 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 416 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.273
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCES BLISSETT                                             Contingent
         Frances Blissett P.A.                                        Unliquidated
         16211 Northeast 18th Avenue Suite 200
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0099                      Is the claim subject to offset?     No       Yes

3.273
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCESCA B BEATTY                                           Contingent
         One Mangrove Point                                           Unliquidated
         St Petersburg Beach, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2657
                                                                   Is the claim subject to offset?     No       Yes

3.273
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCHESCA RHODIS PA                                         Contingent
         1600 E. Las Olas Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2860
                                                                   Is the claim subject to offset?     No       Yes

3.273
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCINE C RACKOFF                                           Contingent
         15842 N Sanctuary Drive                                      Unliquidated
         Tampa, FL 33647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2119
                                                                   Is the claim subject to offset?     No       Yes

3.274
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANCINE D HOLBROOK                                          Contingent
         1600 S Bayshore Lane Suite 2b                                Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 379
                                                                   Is the claim subject to offset?     No       Yes

3.274
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANCIS E HOLDEN JR                                          Contingent
         166 Hialeah Drive                                            Unliquidated
         Hialeah, FL 33010-5250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4942
                                                                   Is the claim subject to offset?     No       Yes

3.274
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANCIS E PIERCE JR                                          Contingent
         P.O. Box 560652                                              Unliquidated
         Orlando, FL 32856-0652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1946
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 409 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 417 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.274
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCIS M POHLIG                                             Contingent
         201 Alhambra Circle Suite 711                                Unliquidated
         Coral Gables, FL 33134-5255
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5009
                                                                   Is the claim subject to offset?     No       Yes

3.274
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANCIS T O'DONNELL JR                                       Contingent
         6840 North Cartee Road                                       Unliquidated
         Miami, FL 33158-1331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3510
                                                                   Is the claim subject to offset?     No       Yes

3.274
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCIS VIAMONTES PA                                         Contingent
         201 Southeast 6th Street Suite 730                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0042
                                                                   Is the claim subject to offset?     No       Yes

3.274
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         FRANCIS W BLANKNER SR PA                                     Contingent
         P.O. Box 3431                                                Unliquidated
         Orlando, FL 32802-3431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3793
                                                                   Is the claim subject to offset?     No       Yes

3.274
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCIS X CASTORO                                            Contingent
         3032 E Commercial Boulevard Suite 23                         Unliquidated
         Ft Lauderdale, FL 33308-4312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4700
                                                                   Is the claim subject to offset?     No       Yes

3.274
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         FRANCIS X SANTANA                                            Contingent
         28 W Flagler Street Suite 400                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7549
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 410 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 418 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.274
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCIS X SUAREZ                                             Contingent
         2701 S Bayshore Drive Suite 305                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1563
                                                                   Is the claim subject to offset?     No       Yes

3.275
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCISCO A DIEZ-RIVAS                                       Contingent
         5456 Lagorce Drive                                           Unliquidated
         Miami, FL 33140-2136
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5650
                                                                   Is the claim subject to offset?     No       Yes

3.275
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Francisco Blanco, PL                                         Contingent
         2655 S Le Jeune Road Suite 300                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9001
                                                                   Is the claim subject to offset?     No       Yes

3.275
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCISCO J ARBIDE                                           Contingent
         2601 S Bayshore Drive 19th Floor                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6350
                                                                   Is the claim subject to offset?     No       Yes

3.275
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCISCO J ORTEGA PA                                        Contingent
         3162 Commodore Plaza Unit 3ab                                Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7101
                                                                   Is the claim subject to offset?     No       Yes

3.275
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Francisco J. Pines, P.A.                                     Contingent
         3301 Ponce De Leon Boulevard                                 Unliquidated
         Suite 220
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7456                      Is the claim subject to offset?     No       Yes

3.275
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCISCO JOSE AGUERO                                        Contingent
         Francisco Jose Aguero P.A.                                   Unliquidated
         2655 S Le Jeune Road Phi-D
                                                                      Disputed
         Coral Gables, FL 33134-5832
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6340                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 411 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 419 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.275
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANCISCO M ALBEAR PA                                        Contingent
         2328 10th Avenue N Suite 403                                 Unliquidated
         Lake Worth, FL 33461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1868
                                                                   Is the claim subject to offset?     No       Yes

3.275
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Franco Law Firm, P.A.                                        Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 1800
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0683                      Is the claim subject to offset?     No       Yes

3.275
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FRANCO WALLACE & PACKER PL                                   Contingent
         14201 W. Sunrise Boulevard                                   Unliquidated
         Suite 203
                                                                      Disputed
         Sunrise, FL 33323
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7960                      Is the claim subject to offset?     No       Yes

3.275
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Francoeur Law Firm                                           Contingent
         425 W Colonial Drive Suite 104                               Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8671
                                                                   Is the claim subject to offset?     No       Yes

3.276
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FRANK & GRAMLING                                             Contingent
         118 S Newport Avenue                                         Unliquidated
         Tampa, FL 33606-1944
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6891
                                                                   Is the claim subject to offset?     No       Yes

3.276
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK A BAKER                                                Contingent
         4431 Lafayette Street                                        Unliquidated
         Marianna, FL 32446-3312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7855
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 412 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 420 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.276
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FRANK A HAMNER PA                                            Contingent
         1011 N Wymore Road                                           Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2099
                                                                   Is the claim subject to offset?     No       Yes

3.276
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK A LUCERI                                               Contingent
         3155 Southwest 10th Street Suite A                           Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4233
                                                                   Is the claim subject to offset?     No       Yes

3.276
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK A MARTENS JR                                           Contingent
         8998 Southeast Star Island Way                               Unliquidated
         Hobe Sound, FL 33455
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7754
                                                                   Is the claim subject to offset?     No       Yes

3.276
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK B ARENAS ESQ                                           Contingent
         P.O. Box 600                                                 Unliquidated
         Coleman, FL 33521-0600
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2712
                                                                   Is the claim subject to offset?     No       Yes

3.276
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK C ADLER                                                Contingent
         1700 Northeast 25th Street                                   Unliquidated
         Ft Lauderdale, FL 33305-1409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1699
                                                                   Is the claim subject to offset?     No       Yes

3.276
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK C DECKER                                               Contingent
         P.O. Box 5488                                                Unliquidated
         Jacksonville, FL 32247-5488
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1191
                                                                   Is the claim subject to offset?     No       Yes

3.276
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK C MIRANDA                                              Contingent
         703 W Swann Avenue                                           Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7311
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 413 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 421 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.276
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK C OBERHAUSEN JR                                        Contingent
         241 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870-3657
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5618
                                                                   Is the claim subject to offset?     No       Yes

3.277
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK C TRIOLO                                               Contingent
         1201 Cape Coral Parkway                                      Unliquidated
         Cape Coral, FL 33904-9604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3888
                                                                   Is the claim subject to offset?     No       Yes

3.277
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK C WHEELER PA                                           Contingent
         P.O. Box 967                                                 Unliquidated
         Venice, FL 34284-0967
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5732
                                                                   Is the claim subject to offset?     No       Yes

3.277
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK CARRILLO                                               Contingent
         P.O. Box 144335                                              Unliquidated
         Coral Gables, FL 33114-4335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4854
                                                                   Is the claim subject to offset?     No       Yes

3.277
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK D NEWMAN                                               Contingent
         P.O. Box 70                                                  Unliquidated
         Elizabethon, TN 37644
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6928
                                                                   Is the claim subject to offset?     No       Yes

3.277
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK E AMSALEM                                              Contingent
         3640 Yacht Club Drive Suite 308                              Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3714
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 414 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 422 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.277
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK F HARDING                                              Contingent
         1 Bunker Place                                               Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6833
                                                                   Is the claim subject to offset?     No       Yes

3.277
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK FERNANDEZ                                              Contingent
         320 N Magnolia Avenue                                        Unliquidated
         Suite A-3
                                                                      Disputed
         Orlando, FL 32801-1650
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1783                      Is the claim subject to offset?     No       Yes

3.277
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK G FINKBEINER                                           Contingent
         108 E. Hillcrest Street                                      Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6536
                                                                   Is the claim subject to offset?     No       Yes

3.277
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK I GREY PA                                              Contingent
         9020 Rancho Del Rio Drive Suite 101                          Unliquidated
         New Port Richey, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7891
                                                                   Is the claim subject to offset?     No       Yes

3.277
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,278.75
         FRANK J ALOIA                                                Contingent
         1716 Cape Coral Parkway East                                 Unliquidated
         Cape Coral, FL 33904                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4083
                                                                   Is the claim subject to offset?     No       Yes

3.278
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK J GRECO PA                                             Contingent
         709 S Church Avenue                                          Unliquidated
         Tampa, FL 33609-4441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7797
                                                                   Is the claim subject to offset?     No       Yes

3.278
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK J MARRERO                                              Contingent
         9200 S Dadeland Boulevard Suite 400                          Unliquidated
         Miami, FL 33156-2719
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5578
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 415 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 423 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.278
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK J MULHALL                                              Contingent
         2200 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2196
                                                                   Is the claim subject to offset?     No       Yes

3.278
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         FRANK J PYLE JR                                              Contingent
         401 W Colonial Drive Suite 4                                 Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1781
                                                                   Is the claim subject to offset?     No       Yes

3.278
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         FRANK JOSEPH HESTON PA                                       Contingent
         3300 University Drive Suite 311                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6234
                                                                   Is the claim subject to offset?     No       Yes

3.278
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK L MURRAY                                               Contingent
         10800 Biscayne Boulevard Suite 950                           Unliquidated
         Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4425
                                                                   Is the claim subject to offset?     No       Yes

3.278
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK L SCHIAVO                                              Contingent
         1817 Jessica Court                                           Unliquidated
         Winter Park, FL 32789-5935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5552
                                                                   Is the claim subject to offset?     No       Yes

3.278
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK M BREZINA                                              Contingent
         6700 Southwest 54th Street                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7833
                                                                   Is the claim subject to offset?     No       Yes

3.278
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK M EIDSON                                               Contingent
         327 N. Orange Avenue                                         Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8988
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 416 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 424 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.278
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK M RICHTER                                              Contingent
         1605 S US Wy One Apt M1-501                                  Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9089
                                                                   Is the claim subject to offset?     No       Yes

3.279
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK MCMILLAN                                               Contingent
         351 S. State Road 434                                        Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4936
                                                                   Is the claim subject to offset?     No       Yes

3.279
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK MENDEZ                                                 Contingent
         2701 Timbercreek Circle                                      Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9757
                                                                   Is the claim subject to offset?     No       Yes

3.279
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK NUSSBAUM                                               Contingent
         1865 Brickell Avenue Suite 1508a                             Unliquidated
         Miami, FL 33129-1604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4676
                                                                   Is the claim subject to offset?     No       Yes

3.279
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK P MURPHY                                               Contingent
         9220 Bonita Beach Road Suite 200                             Unliquidated
         Bonita Springs, FL 34135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3819
                                                                   Is the claim subject to offset?     No       Yes

3.279
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK P RIGGS                                                Contingent
         707 Del Webb Boulevard                                       Unliquidated
         Sun City Center, FL 33573-5258
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4863
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 417 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 425 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.279
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FRANK P SAIER                                                Contingent
         C/O Scruggs & Carmichael                                     Unliquidated
         4041 Northwest 37th Pl Suite B
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8499                      Is the claim subject to offset?     No       Yes

3.279
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK P TERZO                                                Contingent
         201 Alhambra Circle                                          Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7764
                                                                   Is the claim subject to offset?     No       Yes

3.279
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK P TYSON JR                                             Contingent
         3507 Kyoto Gardens Drive                                     Unliquidated
         Suite 200
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4368                      Is the claim subject to offset?     No       Yes

3.279
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK P. GLACKIN, JR.                                        Contingent
         300 - 76th. Ave.                                             Unliquidated
         St. Petersburg Bch, FL 33706-1802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4420
                                                                   Is the claim subject to offset?     No       Yes

3.279
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FRANK PEREZ-SIAM PA                                          Contingent
         7001 Southwest 87th Court                                    Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4401
                                                                   Is the claim subject to offset?     No       Yes

3.280
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK R BRADY                                                Contingent
         Brady & Brady P.A.                                           Unliquidated
         350 W Camino Grdns Boulevard Suite 300
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7910                      Is the claim subject to offset?     No       Yes

3.280
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK S CANNOVA                                              Contingent
         5399 61st Avenue S                                           Unliquidated
         St Petersburg, FL 33715-2402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1993
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 418 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 426 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.280
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,178.50
         FRANK SCHMITT & FRANK PA                                     Contingent
         1666 Kennedy Causeway Suite 705                              Unliquidated
         North Bay Village, FL 33141-4134                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2556
                                                                   Is the claim subject to offset?     No       Yes

3.280
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK SCHWARTZ PA                                            Contingent
         169 E Flagler Street Suite 1200                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8434
                                                                   Is the claim subject to offset?     No       Yes

3.280
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK SCRUBY                                                 Contingent
         P.O. Box 1000                                                Unliquidated
         Orange Pk., FL 32067-1000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1443
                                                                   Is the claim subject to offset?     No       Yes

3.280
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         FRANK T GAYLORD                                              Contingent
         P.O. Drawer 2047                                             Unliquidated
         Eustis, FL 32727-2047
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4650
                                                                   Is the claim subject to offset?     No       Yes

3.280
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK T NEWMAN                                               Contingent
         1610 Belcher Road S Lot 9                                    Unliquidated
         Largo, FL 33771-4508
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4720
                                                                   Is the claim subject to offset?     No       Yes

3.280
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK T NOSKA                                                Contingent
         303 Evernia Street                                           Unliquidated
         West Palm Beach, FL 33401-5403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7466
                                                                   Is the claim subject to offset?     No       Yes

3.280
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK V ARPAIA                                               Contingent
         112 26th Street Northwest                                    Unliquidated
         Bradenton, FL 34205-4324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1678
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 419 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 427 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.280
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK W FULMER                                               Contingent
         1596 Indian Dance Court                                      Unliquidated
         Maitland, FL 32751-4510
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4354
                                                                   Is the claim subject to offset?     No       Yes

3.281
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRANK WEINBERG & BLACK PL                                    Contingent
         7805 SW 6th Court                                            Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4287
                                                                   Is the claim subject to offset?     No       Yes

3.281
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANK WHITE-BOYD PA                                          Contingent
         11382 Proseprity Farms Road Suite 230                        Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8436
                                                                   Is the claim subject to offset?     No       Yes

3.281
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANK WOLLAND                                                Contingent
         12865 W Dixie Highway Second Floor                           Unliquidated
         North Miami, FL 33161-4807
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6426
                                                                   Is the claim subject to offset?     No       Yes

3.281
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANKLIN D KREUTZER                                          Contingent
         3041 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125-4242
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3131
                                                                   Is the claim subject to offset?     No       Yes

3.281
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRANKLIN G CALLAS                                            Contingent
         249 Royal Palm Way Suite 301                                 Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6095
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 420 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 428 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.281
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANSON ALDRIDGE & SANDS                                     Contingent
         1325 Hendricks Avenue Suite 200                              Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9243
                                                                   Is the claim subject to offset?     No       Yes

3.281
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANTZ OLIVIER                                               Contingent
         777 Northeast 79th Street Suite 104                          Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8208
                                                                   Is the claim subject to offset?     No       Yes

3.281
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRANZ C JOBSON                                               Contingent
         19 W Flagler Street Suite 620                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5904
                                                                   Is the claim subject to offset?     No       Yes

3.281
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         FRAZER HUBBARD BRANDT TRASK                                  Contingent
         1001 S. Fort Harrison Avenue                                 Unliquidated
         Suite 201
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5263                      Is the claim subject to offset?     No       Yes

3.281
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FRAZIER & FRAZIER PA                                         Contingent
         1515 Riverside Avenue                                        Unliquidated
         Suite A
                                                                      Disputed
         Jacksonville, FL 32204
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6148                      Is the claim subject to offset?     No       Yes

3.282
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRED A OHLINGER                                              Contingent
         P.O. Box 1147                                                Unliquidated
         Weirsdale, FL 32195-1147
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5574
                                                                   Is the claim subject to offset?     No       Yes

3.282
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         FRED B SHARE                                                 Contingent
         1092 Ridgewood Avenue                                        Unliquidated
         Holly Hill, FL 32117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1883
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 421 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 429 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.282
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         FRED C BAMMAN III                                            Contingent
         2125 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.282
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         FRED C. DAVANT                                               Contingent
         P.O. Box 450007                                              Unliquidated
         Miami, FL 33245-0007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1395
                                                                   Is the claim subject to offset?     No       Yes

3.282
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRED E GLICKMAN                                              Contingent
         9990 SW 77th Avenue                                          Unliquidated
         Suite 325
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7733                      Is the claim subject to offset?     No       Yes

3.282
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         FRED F HARRIS JR                                             Contingent
         Greenberg Traurig Hoffman                                    Unliquidated
         P.O. Drawer 1838
                                                                      Disputed
         Tallahassee, FL 32302-1838
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8254                      Is the claim subject to offset?     No       Yes

3.282
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRED GRUNST                                                  Contingent
         5683 Strand Court                                            Unliquidated
         Suite 4
                                                                      Disputed
         Naples, FL 34110
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7918                      Is the claim subject to offset?     No       Yes

3.282
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         FRED H CUMBIE II                                             Contingent
         100 W CHURCH STREET                                          Unliquidated
         KISSIMMEE, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0882
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 422 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 430 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.282
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRED H GELSTON PA                                            Contingent
         P.O. Box 3546                                                Unliquidated
         West Palm Beach, FL 33402-3546
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9511
                                                                   Is the claim subject to offset?     No       Yes

3.282
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRED H KENT III                                              Contingent
         1200 Riverplace Boulevard                                    Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0474
                                                                   Is the claim subject to offset?     No       Yes

3.283
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         FRED L AHERN JR                                              Contingent
         2215 S 3rd Street Suite 101                                  Unliquidated
         Jacksonville Beach, FL 32250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 171
                                                                   Is the claim subject to offset?     No       Yes

3.283
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRED L RUSH                                                  Contingent
         P.O. Box 956                                                 Unliquidated
         Linville, NC 28646
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6791
                                                                   Is the claim subject to offset?     No       Yes

3.283
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRED M COREY                                                 Contingent
         394 8th Street                                               Unliquidated
         Atlantic Beach, FL 32233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4560
                                                                   Is the claim subject to offset?     No       Yes

3.283
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRED M PHELAN JR                                             Contingent
         18156 Southeast Heritage Drive                               Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4658
                                                                   Is the claim subject to offset?     No       Yes

3.283
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRED R BAISDEN JR                                            Contingent
         4902 Southwest 1st Avenue                                    Unliquidated
         Portland, OR 97239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7197
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 423 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 431 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.283
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,532.19
         FRED R DUDLEY                                                Contingent
         315 S Calhoun Street Suite 600                               Unliquidated
         Tallahassee, FL 32301-7741                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4084
                                                                   Is the claim subject to offset?     No       Yes

3.283
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         FRED S RIDLEY                                                Contingent
         C/O Foley & Lardner                                          Unliquidated
         100 N Tampa Street Suite 2700
                                                                      Disputed
         Tampa, FL 33602-5810
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7433                      Is the claim subject to offset?     No       Yes

3.283
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FRED T RATCHFORD JR                                          Contingent
         314 S Baylen Street Suite 105                                Unliquidated
         Pensacola, FL 32501-5948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5866
                                                                   Is the claim subject to offset?     No       Yes

3.283
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRED W FENDT                                                 Contingent
         112 W New York Avenue Suite 205                              Unliquidated
         Deland, FL 32720-5447
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6225
                                                                   Is the claim subject to offset?     No       Yes

3.283
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRED W MUNDIE JR PA                                          Contingent
         P.O. Box 845                                                 Unliquidated
         Marco Island, FL 34146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8073
                                                                   Is the claim subject to offset?     No       Yes

3.284
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRED W THOMAS                                                Contingent
         224 Datura Street Suite 413                                  Unliquidated
         West Palm Beach, FL 33401-5632
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8730
                                                                   Is the claim subject to offset?     No       Yes

3.284
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         FRED WEINSTEIN PA                                            Contingent
         2500 Quantum Lakes Drive Suite 203                           Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8259
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 424 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 432 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.284
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDDY PRICE PA                                              Contingent
         20801 Biscayne Boulevard Suite 403                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8370
                                                                   Is the claim subject to offset?     No       Yes

3.284
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FREDERIC J COHEN                                             Contingent
         4754 Elmhurst Road Suite 5                                   Unliquidated
         West Palm Beach, FL 33417-5369
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7892
                                                                   Is the claim subject to offset?     No       Yes

3.284
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERIC M BARTHE                                            Contingent
         17 SE 24th Avenue                                            Unliquidated
         2nd Floor
                                                                      Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2331                      Is the claim subject to offset?     No       Yes

3.284
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERIC T DEHON JR                                          Contingent
         5606 PGA Boulevard Suite 211                                 Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4833
                                                                   Is the claim subject to offset?     No       Yes

3.284
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FREDERICK B SPIEGEL                                          Contingent
         21 Palm Avenue                                               Unliquidated
         Miami Beach, FL 33139-5137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4066
                                                                   Is the claim subject to offset?     No       Yes

3.284
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.01
         FREDERICK C HEIDGERD PA                                      Contingent
         C/O Rogers Morris & Ziegler                                  Unliquidated
         1401 E Broward Boulevard Suite 300
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5855                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 425 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 433 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.284
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $112.50
         FREDERICK C PRIOR                                            Contingent
         2401 PGA Boulevard Suite 280                                 Unliquidated
         Palm Beach Gardens, FL 33410-3516
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5470
                                                                   Is the claim subject to offset?     No       Yes

3.284
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         FREDERICK CHASE JR                                           Contingent
         7620 Massachusetts Avenue                                    Unliquidated
         New Port Richey, FL 34653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 79
                                                                   Is the claim subject to offset?     No       Yes

3.285
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERICK D STALLS                                           Contingent
         27095 Matheson Avenue Suite 107                              Unliquidated
         Bonita Springs, FL 34135-5896
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1095
                                                                   Is the claim subject to offset?     No       Yes

3.285
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FREDERICK E LANDT III                                        Contingent
         P.O. Box 2045                                                Unliquidated
         Ocala, FL 32678-2045
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6458
                                                                   Is the claim subject to offset?     No       Yes

3.285
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FREDERICK J RAMIREZ                                          Contingent
         21 Compass Road                                              Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5434
                                                                   Is the claim subject to offset?     No       Yes

3.285
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,050.77
         FREDERICK M DAHLMEIER                                        Contingent
         P.O. Box 14005                                               Unliquidated
         North Palm Beach, FL 33408                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8504
                                                                   Is the claim subject to offset?     No       Yes

3.285
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERICK M HEIMBERG                                         Contingent
         2101 Northwest Boca Raton Boulevard Suit                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1426
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 426 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 434 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.285
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERICK MARTIN                                             Contingent
         3180 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2154
                                                                   Is the claim subject to offset?     No       Yes

3.285
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERICK P TIBALLI PA                                       Contingent
         110 Main Street                                              Unliquidated
         Burlington, VT 05401-8451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1760
                                                                   Is the claim subject to offset?     No       Yes

3.285
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         FREDERICK S JAEGER JR PA                                     Contingent
         1326 S Ridgewood Avenue Suite 4                              Unliquidated
         Daytona Beach, FL 32114-6193
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1274
                                                                   Is the claim subject to offset?     No       Yes

3.285
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $237.50
         FREDERICK W LEONHARDT                                        Contingent
         P.O. Box 3068                                                Unliquidated
         Orlando, FL 32802-3068
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1142
                                                                   Is the claim subject to offset?     No       Yes

3.285
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDERICK W PEIRSOL                                          Contingent
         P.O. Box 916157                                              Unliquidated
         Longwood, FL 32791
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0366
                                                                   Is the claim subject to offset?     No       Yes

3.286
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FREDRIC C BURESH                                             Contingent
         800 SE 3rd Avenue                                            Unliquidated
         4th Floor
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4919                      Is the claim subject to offset?     No       Yes

3.286
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREDRIC I GOTTLIEB                                           Contingent
         P.O. Box 812217                                              Unliquidated
         Boca Raton, FL 33481-2217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4566
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 427 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 435 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.286
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FREDRIC L FEINSTEIN                                          Contingent
         21200 Northeast 38th Avenue Apt 1804                         Unliquidated
         Aventura, FL 33180-3776
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3514
                                                                   Is the claim subject to offset?     No       Yes

3.286
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FREDRICK L. RICE                                             Contingent
         5611 St. Augustine Road                                      Unliquidated
         Jacksonville, FL 32207-8029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3296
                                                                   Is the claim subject to offset?     No       Yes

3.286
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FREEBORN & FREEBORN PA                                       Contingent
         360 Monroe Street                                            Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9809
                                                                   Is the claim subject to offset?     No       Yes

3.286
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FREEDMAN & ASSOCIATES PA                                     Contingent
         Biscayne Centre                                              Unliquidated
         11900 Biscayne Boulevard Suite 616
                                                                      Disputed
         North Miami, FL 33181-2726
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4122                      Is the claim subject to offset?     No       Yes

3.286
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.03
         FREEDMAN & MCCLOSKY PA                                       Contingent
         One E Broward Boulevard Suite 700                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 295
                                                                   Is the claim subject to offset?     No       Yes

3.286
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FREEDMAN & MICHAELS PA                                       Contingent
         6512 Coronet Drive                                           Unliquidated
         New Port Richey, FL 34655-5505
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3781
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 428 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 436 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.286
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FREEMAN LEGAL ASSOCIATES PA                                  Contingent
         P.O. Box 339                                                 Unliquidated
         Ocoee, FL 34761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7854
                                                                   Is the claim subject to offset?     No       Yes

3.286
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,265.09
         FREEMAN W BARNER JR                                          Contingent
         11360 Jog Road Suite 104                                     Unliquidated
         Palm Beach Gardens, FL 33418                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8505
                                                                   Is the claim subject to offset?     No       Yes

3.287
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FRESH START LAW FIRM INC                                     Contingent
         505 E Jackson Street Suite 303                               Unliquidated
         Tampa, FL 33672-0193
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7705
                                                                   Is the claim subject to offset?     No       Yes

3.287
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Friedland & Associates, P.A.                                 Contingent
         707 NE 3rd Avenue                                            Unliquidated
         Suite 201
                                                                      Disputed
         Ft Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6850                      Is the claim subject to offset?     No       Yes

3.287
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         FRIEDMAN & FRIEDMAN PA                                       Contingent
         P.O. Box 521869                                              Unliquidated
         Longwood, FL 32752-1869
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 260
                                                                   Is the claim subject to offset?     No       Yes

3.287
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Friedman Law, P.A.                                           Contingent
         600 Rinehart Road                                            Unliquidated
         Suite 3086
                                                                      Disputed
         Lake Mary, FL 32746
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0044                      Is the claim subject to offset?     No       Yes

3.287
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,861.89
         FROMBERG FROMBERG BRECKER                                    Contingent
         18901 Northeast 29th Avenue Suite 100                        Unliquidated
         North Miami Beach, FL 33180-1422                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3639
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 429 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 437 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.287
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FROST & JACOBS                                               Contingent
         4001 Tamiami Trail N Suite 220                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6920
                                                                   Is the claim subject to offset?     No       Yes

3.287
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Frost Van Den Boom & Smith, P.A.                             Contingent
         395 S Central Avenue                                         Unliquidated
         Bartow, FL 33830
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7220
                                                                   Is the claim subject to offset?     No       Yes

3.287
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         FUENTES & KREISCHER                                          Contingent
         1407 W. Busch Boulevard                                      Unliquidated
         Tampa, FL 33612-7601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5699
                                                                   Is the claim subject to offset?     No       Yes

3.287
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fuhrman Law, P.L.L.C.                                        Contingent
         9100 S Dadeland Boulevard Suite 400                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8682
                                                                   Is the claim subject to offset?     No       Yes

3.287
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         FULLER & FEINGOLD PA                                         Contingent
         1111 Lincoln Road Suite 802                                  Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3066
                                                                   Is the claim subject to offset?     No       Yes

3.288
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FULLER HOLSONBACK & MALLOY PA                                Contingent
         400 N Ashley Drive Suite 1500                                Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3748
                                                                   Is the claim subject to offset?     No       Yes

3.288
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         FULVIA A MORRIS                                              Contingent
         5620 Southwest 58th Pl                                       Unliquidated
         Miami, FL 33143-2350
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8530
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 430 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 438 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.288
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         FURIA LAW FIRM                                               Contingent
         800 Brickell Avenue Suite 1105                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7522
                                                                   Is the claim subject to offset?     No       Yes

3.288
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         FURR & COHEN PA                                              Contingent
         One Boca Place Suite 337w                                    Unliquidated
         2255 Glades Road
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 750                       Is the claim subject to offset?     No       Yes

3.288
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Fusillo Law, P.L.L.C.                                        Contingent
         9957 Mooring Drive                                           Unliquidated
         Suite 201
                                                                      Disputed
         Jacksonville, FL 32257
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0395                      Is the claim subject to offset?     No       Yes

3.288
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G ANTHONY WEST                                               Contingent
         31883 Miwok Trail                                            Unliquidated
         Evergreen, CO 80439
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4305
                                                                   Is the claim subject to offset?     No       Yes

3.288
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         G BARNETT & ASSOCIATES                                       Contingent
         3350 Southwest 148th Avenue Suite 110                        Unliquidated
         Miramar, FL 33027-1004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4199
                                                                   Is the claim subject to offset?     No       Yes

3.288
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         G CARLTON MARLOWE PA                                         Contingent
         701 E Commercial Boulevard Suite 100                         Unliquidated
         Ft Lauderdale, FL 33334-3240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5696
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 431 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 439 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.288
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         G DENNIS ROSE                                                Contingent
         6800 Bird Road Suite 308                                     Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2232
                                                                   Is the claim subject to offset?     No       Yes

3.288
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G DON RITTER                                                 Contingent
         P.O. Box 1161                                                Unliquidated
         Ocala, FL 34478-1161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3368
                                                                   Is the claim subject to offset?     No       Yes

3.289
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         G FRANK QUESADA                                              Contingent
         1313 Ponce Deleon Boulevard Suite 200                        Unliquidated
         Coral Gables, FL 33134-3343
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3504
                                                                   Is the claim subject to offset?     No       Yes

3.289
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         G FRANK QUESADA                                              Contingent
         850 NW 42 Avenue                                             Unliquidated
         Suite 205
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3504                      Is the claim subject to offset?     No       Yes

3.289
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         G GREGORY HALE                                               Contingent
         1831 Northwest 13th Street Suite 6                           Unliquidated
         Gainesville, FL 32609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4243
                                                                   Is the claim subject to offset?     No       Yes

3.289
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G H MARTIN                                                   Contingent
         2840 North Ocean Boulevard Suite 405                         Unliquidated
         Ft Lauderdale, FL 33308-7531
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 390
                                                                   Is the claim subject to offset?     No       Yes

3.289
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         G HOLDT GARVER CHARTERED                                     Contingent
         500 Oak Street Northeast Suite 202                           Unliquidated
         Aluquerque, NM 87106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5450
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 432 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 440 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.289
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G LAURENCE BAGGETT                                           Contingent
         523 N Halifax Avenue                                         Unliquidated
         Daytona Beach, FL 32118-4017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5332
                                                                   Is the claim subject to offset?     No       Yes

3.289
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         G MICHAEL MACKENZIE PA                                       Contingent
         2032 Bayshore Boulevard                                      Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6972
                                                                   Is the claim subject to offset?     No       Yes

3.289
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G MIRIAM MAER                                                Contingent
         1750 Chucunantah Road                                        Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6371
                                                                   Is the claim subject to offset?     No       Yes

3.289
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,476.70
         G PENFIELD JENNINGS PA                                       Contingent
         1960 Bayshore Boulevard                                      Unliquidated
         Dunedin, FL 34698                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3611
                                                                   Is the claim subject to offset?     No       Yes

3.289
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G ROBERT SCHULTZ                                             Contingent
         6550 Renaldo Way S                                           Unliquidated
         St Petersburg, FL 33707-5718
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4521
                                                                   Is the claim subject to offset?     No       Yes

3.290
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         G SHEPPARD W DOZIER                                          Contingent
         500 NE 8th Avenue                                            Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6336
                                                                   Is the claim subject to offset?     No       Yes

3.290
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,668.47
         G STEVE STANLEY                                              Contingent
         409 Fernandina Street                                        Unliquidated
         Ft Pierce, FL 34949                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 832
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 433 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 441 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.290
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         G TINY GEIGER PA                                             Contingent
         8117 North Lynn Avenue                                       Unliquidated
         Tampa, FL 33604-2919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8388
                                                                   Is the claim subject to offset?     No       Yes

3.290
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         G W S SIMPSON III                                            Contingent
         431 Canal Street Suite A                                     Unliquidated
         New Smyrna Beach, FL 32168-7009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4482
                                                                   Is the claim subject to offset?     No       Yes

3.290
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GABRIEL DIAZ-BERGNES                                         Contingent
         9350 Southwest 88th Terrace                                  Unliquidated
         Miami, FL 33176-1902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4606
                                                                   Is the claim subject to offset?     No       Yes

3.290
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GABRIEL H. BLUMENTHAL                                        Contingent
         P.O. Box 1657                                                Unliquidated
         Titusville, FL 32781-1657
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4568
                                                                   Is the claim subject to offset?     No       Yes

3.290
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gabriel M. Burgos, P.L.L.C.                                  Contingent
         1501 Biscayne Blvd.                                          Unliquidated
         Suite 300
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0129                      Is the claim subject to offset?     No       Yes

3.290
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GABRIEL MARTIN PA                                            Contingent
         501 Northeast 1st Avenue Suite 200                           Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9815
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 434 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 442 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.290
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GABRIEL MAZZEO                                               Contingent
         285 Ocklawaha Circle                                         Unliquidated
         Quincy, FL 32351-0533
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4530
                                                                   Is the claim subject to offset?     No       Yes

3.290
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GAEL BERIRO PA                                               Contingent
         1340 US Hwy 1                                                Unliquidated
         Suite 133
                                                                      Disputed
         Jupiter, FL 33469
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5552                      Is the claim subject to offset?     No       Yes

3.291
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GAIL MARTIN ABERCROMBIE                                      Contingent
         2814 W. Sitios Street                                        Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5649
                                                                   Is the claim subject to offset?     No       Yes

3.291
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GAILA M ANDERSON                                             Contingent
         Anderson Law Group P.A.                                      Unliquidated
         6750 N Andrews Avenue Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6489                      Is the claim subject to offset?     No       Yes

3.291
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gainesville Title, PLLC, a Law Firm                          Contingent
         214 W. University Avenue                                     Unliquidated
         Suite B
                                                                      Disputed
         Gainesville, FL 32601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8890                      Is the claim subject to offset?     No       Yes

3.291
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GALBRAITH ASSOCIATES PC                                      Contingent
         1045 Crosspointe Drive Suite 1                               Unliquidated
         Naples, FL 34110-0945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9038
                                                                   Is the claim subject to offset?     No       Yes

3.291
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GALE SILBERMANN                                              Contingent
         1150 Cleveland Street Suite 300                              Unliquidated
         Clearwater, FL 33755-4859
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3639
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 435 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 443 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.291
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Galewski Title Company                                       Contingent
         1112 E Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6604
                                                                   Is the claim subject to offset?     No       Yes

3.291
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GALLAGHER & ASSOCIATES LAW                                   Contingent
         5720 Central Avenue                                          Unliquidated
         St Petersburg, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4108
                                                                   Is the claim subject to offset?     No       Yes

3.291
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GALVAN MESSICK LLP                                           Contingent
         951 Yamato Road                                              Unliquidated
         Suite 250
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8970                      Is the claim subject to offset?     No       Yes

3.291
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Gangi Moiguer Law                                            Contingent
         175 SW 7th Street                                            Unliquidated
         Suite 2004
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0835                      Is the claim subject to offset?     No       Yes

3.291
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Gano Kolev, P.A.                                             Contingent
         209 Palmetto Street                                          Unliquidated
         Suite 12
                                                                      Disputed
         Auburndale, FL 33823
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9053                      Is the claim subject to offset?     No       Yes

3.292
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARBETT STIPHANY ALLEN & ROZA                                Contingent
         Brickell Bayview Centre Suite 3100                           Unliquidated
         80 Southwest 8th Street
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6099                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 436 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 444 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.292
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARCIA & ASSOCIATES PA                                       Contingent
         3625 Northwest 82nd Avenue Suite 201                         Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8377
                                                                   Is the claim subject to offset?     No       Yes

3.292
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARCIA & ASSOCIATES PL                                       Contingent
         5975 Sunset Drive                                            Unliquidated
         Suite 604
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2536                      Is the claim subject to offset?     No       Yes

3.292
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GARCIA & AVELLAN PA                                          Contingent
         201 Alhambra Circle Suite 500                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2299
                                                                   Is the claim subject to offset?     No       Yes

3.292
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GARCIA & PICART PA                                           Contingent
         7951 Southwest 40th Street Suite 202                         Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8567
                                                                   Is the claim subject to offset?     No       Yes

3.292
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARCIA LAW OFFICES PA                                        Contingent
         12002 Southwest 128th Court Suite 103                        Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9026
                                                                   Is the claim subject to offset?     No       Yes

3.292
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Garcia-Menocal Irias & Pastori, L.L.P.                       Contingent
         Judiciary Square                                             Unliquidated
         368 Minorca Avenue
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7534                      Is the claim subject to offset?     No       Yes

3.292
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GARCIA-VIDAL LAW FIRM                                        Contingent
         8441 SW 12th Terrace                                         Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7934
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 437 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 445 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.292
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARDANA & FABIAN                                             Contingent
         2630 Southwest 28th Street Suite 61                          Unliquidated
         Miami, FL 33133-3072
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7543
                                                                   Is the claim subject to offset?     No       Yes

3.292
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $575.00
         GARDNER BIST WIENER WADSWORTH                                Contingent
         1300 Thomaswood Drive                                        Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6013
                                                                   Is the claim subject to offset?     No       Yes

3.293
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GARDNER BREWER                                               Contingent
         400 N. Ashley Drive                                          Unliquidated
         Suite 1100
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5571                      Is the claim subject to offset?     No       Yes

3.293
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARDNER SHAHEEN TAMARGO PA                                   Contingent
         P.O. Box 1810                                                Unliquidated
         Tampa, FL 33601-1810
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0101
                                                                   Is the claim subject to offset?     No       Yes

3.293
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARLICK HILFIKER & SWIFT LLP                                 Contingent
         1719 Persimmon Drive                                         Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5950
                                                                   Is the claim subject to offset?     No       Yes

3.293
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARNER LAW PA                                                Contingent
         61 N Ojibwa Road                                             Unliquidated
         Monticello, FL 32344
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8861
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 438 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 446 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.293
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GAROFALO LAW OFFICE PA                                       Contingent
         7740 Northwest 63rd Avenue                                   Unliquidated
         Parkland, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9052
                                                                   Is the claim subject to offset?     No       Yes

3.293
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GARRETT AND GARRETT PA                                       Contingent
         3314 Henderson Boulevard Suite 208                           Unliquidated
         Tampa, FL 33609-2934
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1281
                                                                   Is the claim subject to offset?     No       Yes

3.293
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARRETT D QUICK                                              Contingent
         P.O. Box 2036                                                Unliquidated
         Daytona Beach, FL 32115-2036
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1291
                                                                   Is the claim subject to offset?     No       Yes

3.293
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARRETT LAW FIRM PA                                          Contingent
         1850 Lee Road                                                Unliquidated
         Suite 302
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4277                      Is the claim subject to offset?     No       Yes

3.293
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARRETT W WALTON                                             Contingent
         P.O. Box 12412                                               Unliquidated
         Pensacola, FL 32582
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2280
                                                                   Is the claim subject to offset?     No       Yes

3.293
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Garrido Legal, P.A.                                          Contingent
         251 Valencia Avenue                                          Unliquidated
         Suite 143679
                                                                      Disputed
         Coral Gables, FL 38623
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8623                      Is the claim subject to offset?     No       Yes

3.294
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARRY NELSON                                                 Contingent
         2250 SW 3rd Avenue                                           Unliquidated
         Suite 205
                                                                      Disputed
         Miami, FL 33129-2064
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7567                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 439 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 447 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.294
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARTH A WEBSTER                                              Contingent
         9350 S Dixie Highway 10th Floor                              Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7395
                                                                   Is the claim subject to offset?     No       Yes

3.294
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARTNER BROCK & SIMON                                        Contingent
         1660 Prudential Drive                                        Unliquidated
         Jacksonville, FL 32207-8180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6129
                                                                   Is the claim subject to offset?     No       Yes

3.294
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY A FEDER PA                                              Contingent
         2125 N Commerce Parkway                                      Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3784
                                                                   Is the claim subject to offset?     No       Yes

3.294
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY A FISHER                                                Contingent
         4750 Table Mesa Drive                                        Unliquidated
         Boulder, CO 80303-5575
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6807
                                                                   Is the claim subject to offset?     No       Yes

3.294
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY A H LAURSEN                                             Contingent
         P.O. Box 2126                                                Unliquidated
         Dunedin, FL 34697-2126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4598
                                                                   Is the claim subject to offset?     No       Yes

3.294
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         GARY A KAHLE                                                 Contingent
         46 Sao Paulo                                                 Unliquidated
         Punta Gorda, FL 33983
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1029
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 440 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 448 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.294
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY A ROBERTS & ASSOCIATES                                  Contingent
         130 Salem Court                                              Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3949
                                                                   Is the claim subject to offset?     No       Yes

3.294
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY A ROBINSON                                              Contingent
         Gulf Cost Bank Building                                      Unliquidated
         3833 Tamiami Trail N Suite 410
                                                                      Disputed
         Naples, FL 34103-3586
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6578                      Is the claim subject to offset?     No       Yes

3.294
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY A VORBECK                                               Contingent
         161 E Sloss Avenue                                           Unliquidated
         Defuniak Springs, FL 32433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5992
                                                                   Is the claim subject to offset?     No       Yes

3.295
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY D KATZ                                                  Contingent
         Child Support Network Inc.                                   Unliquidated
         212 E Osborn Road Suite 210
                                                                      Disputed
         Phoenix, AZ 85012-2328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5484                      Is the claim subject to offset?     No       Yes

3.295
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,207.04
         GARY DYTRYCH & RYAN PA                                       Contingent
         701 US Highway 1                                             Unliquidated
         Suite 402                                                    Disputed
         North Palm Beach, FL 33408-4514
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5335                      Is the claim subject to offset?     No       Yes


3.295
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY E SHADER                                                Contingent
         1750 N Maitland Avenue                                       Unliquidated
         Maitland, FL 32751-3353
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4630
                                                                   Is the claim subject to offset?     No       Yes

3.295
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY E SOUTHWORTH                                            Contingent
         P.O. Box 258                                                 Unliquidated
         Gulf Shores, AL 36547
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4772
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 441 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 449 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.295
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY F CANNER                                                Contingent
         10647 Southwest 76 Terrace                                   Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4203
                                                                   Is the claim subject to offset?     No       Yes

3.295
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY H KORNIK                                                Contingent
         19901 NE 22ND CT                                             Unliquidated
         NORTH MIAMI BEACH, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1354
                                                                   Is the claim subject to offset?     No       Yes

3.295
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY I GASSEL                                                Contingent
         2191 Ringling Boulevard                                      Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8391
                                                                   Is the claim subject to offset?     No       Yes

3.295
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY J HAUSLER                                               Contingent
         541 Silent Siesta Drive                                      Unliquidated
         Henderson, NV 89015-5924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4805
                                                                   Is the claim subject to offset?     No       Yes

3.295
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GARY J ROTELLA & ASSOCIATES PA                               Contingent
         1500 N Federal Highway Suite 250                             Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0099
                                                                   Is the claim subject to offset?     No       Yes

3.295
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY J. BOYNTON                                              Contingent
         330 N. Broadway Avenue                                       Unliquidated
         Orlando, FL 32803-5602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6468
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 442 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 450 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.296
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY K WILSON                                                Contingent
         5801 Pelican Bay Boulevard Suite 300                         Unliquidated
         Naples, FL 34108-2709
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8214
                                                                   Is the claim subject to offset?     No       Yes

3.296
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY L ARMSTRONG                                             Contingent
         3103 Smu Boulevard                                           Unliquidated
         Orlando, FL 32817-2515
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0027
                                                                   Is the claim subject to offset?     No       Yes

3.296
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY L DAVIS                                                 Contingent
         Davis & Grey                                                 Unliquidated
         9020 Rancho Del Rio Drive, Suite 101
                                                                      Disputed
         New Port Richey, FL 34655
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2391                      Is the claim subject to offset?     No       Yes

3.296
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY L SIMMONS                                               Contingent
         P.O. Box 1221                                                Unliquidated
         Apopka, FL 32704-1221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8094
                                                                   Is the claim subject to offset?     No       Yes

3.296
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY M KRASNA                                                Contingent
         1800 N Military Trail Suite 470                              Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9279
                                                                   Is the claim subject to offset?     No       Yes

3.296
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY M LANDAU                                                Contingent
         7401 Wiles Road                                              Unliquidated
         Suite 204
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8258                      Is the claim subject to offset?     No       Yes

3.296
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY M MILLS                                                 Contingent
         5732 Via De Plata Circle                                     Unliquidated
         Delray Beach, FL 33484-6451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4426
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 443 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 451 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.296
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY M SINGER                                                Contingent
         12 SE 7th Street                                             Unliquidated
         Suite 820
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0192                      Is the claim subject to offset?     No       Yes

3.296
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY NORMAN HOLTHUS                                          Contingent
         3720 Northwest 43rd Street Suite 101                         Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4915
                                                                   Is the claim subject to offset?     No       Yes

3.296
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY P COHEN                                                 Contingent
         46 SW 1st Street                                             Unliquidated
         Commonwealth Building, 4th Floor
                                                                      Disputed
         Miami, FL 33130-1610
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5099                      Is the claim subject to offset?     No       Yes

3.297
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY R GROMET                                                Contingent
         858 N Krome Avenue                                           Unliquidated
         Homestead, FL 33030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5122
                                                                   Is the claim subject to offset?     No       Yes

3.297
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY R SASLAW PA                                             Contingent
         20801 Biscayne Boulevard Suite 304                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2150
                                                                   Is the claim subject to offset?     No       Yes

3.297
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY R SIEGEL                                                Contingent
         7700 N Kendall Drive Suite 612                               Unliquidated
         Miami, FL 33156-7567
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7607
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 444 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 452 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.297
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY S BLAKE                                                 Contingent
         2175 Kerwin Road Apt 702                                     Unliquidated
         Cleveland, OH 44118-3979
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 647
                                                                   Is the claim subject to offset?     No       Yes

3.297
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY S EDINGER                                               Contingent
         305 Northeast 1st Street                                     Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5147
                                                                   Is the claim subject to offset?     No       Yes

3.297
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY S G BRYANT                                              Contingent
         2570 10th Street Suite 301                                   Unliquidated
         Sarasota, FL 34237-3564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7210
                                                                   Is the claim subject to offset?     No       Yes

3.297
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY S GAFFNEY                                               Contingent
         1650 Southwest 117th Avenue                                  Unliquidated
         Ft Lauderdale, FL 33325-4647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4556
                                                                   Is the claim subject to offset?     No       Yes

3.297
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $28.28
         GARY S GLASSER PA                                            Contingent
         608 Courthouse Plaza                                         Unliquidated
         28 W Flagler Street, Suite 201
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6809                      Is the claim subject to offset?     No       Yes

3.297
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY S ISRAEL                                                Contingent
         390 N Orange Avenue Suite 2300                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0514
                                                                   Is the claim subject to offset?     No       Yes

3.297
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY S RACKEAR                                               Contingent
         5975 Sunset Drive Suite 706                                  Unliquidated
         South Miami, FL 33143-5174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9764
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 445 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 453 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.298
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY S WRIGHT                                                Contingent
         465 Summerhaven Drive Suite C                                Unliquidated
         Debary, FL 32713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2496
                                                                   Is the claim subject to offset?     No       Yes

3.298
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.30
         GARY S. GOSTEL                                               Contingent
         6401 Southwest 87th Avenue                                   Unliquidated
         Suite 101, Galloway 64 Building                              Disputed
         Miami, FL 33173-2520
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8202                      Is the claim subject to offset?     No       Yes


3.298
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY SIEGEL                                                  Contingent
         6500 S Highway 17-92                                         Unliquidated
         Fern Park, FL 32730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7119
                                                                   Is the claim subject to offset?     No       Yes

3.298
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         GARY SILBERMAN PA                                            Contingent
         2665 S. Bayshore Drive                                       Unliquidated
         Unit 725
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7840                      Is the claim subject to offset?     No       Yes

3.298
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GARY T HIRST                                                 Contingent
         9800 Buccaneer Mall Suite 36                                 Unliquidated
         St Thomas, VI 00802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6761
                                                                   Is the claim subject to offset?     No       Yes

3.298
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,589.18
         GARY V SMITH                                                 Contingent
         1230 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125-3702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 138
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 446 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 454 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.298
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GARY W BARRICK                                               Contingent
         5300 S Florida Avenue Suite B                                Unliquidated
         Lakeland, FL 33813-2519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6303
                                                                   Is the claim subject to offset?     No       Yes

3.298
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY W TINSLEY PA                                            Contingent
         P.O. Box 2322                                                Unliquidated
         Tallahassee, FL 32316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6548
                                                                   Is the claim subject to offset?     No       Yes

3.298
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GARY WALK PA                                                 Contingent
         Boose Casey Ciklin                                           Unliquidated
         P.O. Box 4626
                                                                      Disputed
         West Palm Beach, FL 33402-4626
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8130                      Is the claim subject to offset?     No       Yes

3.298
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GARY WICHROWSKI                                              Contingent
         1244 Villa Lane                                              Unliquidated
         Apopka, FL 32712-2130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5662
                                                                   Is the claim subject to offset?     No       Yes

3.299
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gasdick Stanton Early, P.A.                                  Contingent
         1601 W. Colonial Drive                                       Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9003
                                                                   Is the claim subject to offset?     No       Yes

3.299
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GASSMAN BATES & ASSOCIATES PA                                Contingent
         1245 Court Street Suite 102                                  Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2072
                                                                   Is the claim subject to offset?     No       Yes

3.299
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gasso Law, P.A.                                              Contingent
         848 Brickell Avenue                                          Unliquidated
         Suite 830
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0658                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 447 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 455 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.299
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gastesi & Associates, P.A.                                   Contingent
         8105 NW 155th Street                                         Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6500
                                                                   Is the claim subject to offset?     No       Yes

3.299
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GASTON I CANTENS                                             Contingent
         10691 N Kendall Drive Suite 310                              Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8279
                                                                   Is the claim subject to offset?     No       Yes

3.299
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gaston R. Alvarez, P.A.                                      Contingent
         2655 S. Le Jeune Road                                        Unliquidated
         Suite PH1-C
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0781                      Is the claim subject to offset?     No       Yes

3.299
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GATLIN & BIRCH                                               Contingent
         6920 W Linebaugh Avenue Suite 101                            Unliquidated
         Tampa, FL 33625
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3891
                                                                   Is the claim subject to offset?     No       Yes

3.299
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         GAUTIER & HASTY PL                                           Contingent
         The Law Center Suite 21                                      Unliquidated
         370 Minorca Avenue
                                                                      Disputed
         Coral Gables, FL 33134-4311
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3633                      Is the claim subject to offset?     No       Yes

3.299
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GAVIN T ELLIOT                                               Contingent
         Caplan & Associates P.A.                                     Unliquidated
         31 N Hyer Avenue
                                                                      Disputed
         Orlando, FL 32801-2949
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2749                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 448 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 456 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.299
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GAVIN W O'BRIEN                                              Contingent
         P.O. Box 597                                                 Unliquidated
         Bradenton, FL 34206-0597
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7436
                                                                   Is the claim subject to offset?     No       Yes

3.300
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GAY & EHRHARDT PA                                            Contingent
         7299 Winter Street                                           Unliquidated
         Brooksville, FL 34613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0306
                                                                   Is the claim subject to offset?     No       Yes

3.300
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,656.38
         GAY & GORDON ATTORNEYS PA                                    Contingent
         Attn: Seymour A. Gordon                                      Unliquidated
         P.O. Box 265                                                 Disputed
         St Petersburg, FL 33731-0265
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2360                      Is the claim subject to offset?     No       Yes


3.300
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GAYLE S BOESKY                                               Contingent
         5420 N Ocean Drive Suite A-2d                                Unliquidated
         Singer Island, FL 33404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8935
                                                                   Is the claim subject to offset?     No       Yes

3.300
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GAYLORD A WOOD JR                                            Contingent
         304 SW 12th Street                                           Unliquidated
         Ft Lauderdale, FL 33315-1521
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3764
                                                                   Is the claim subject to offset?     No       Yes

3.300
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         GAYNOR DECKER YOUNG MALCHON                                  Contingent
         P.O. Box 14034                                               Unliquidated
         St Petersburg, FL 33733-4034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8363
                                                                   Is the claim subject to offset?     No       Yes

3.300
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GAZITUA LETELIER PA                                          Contingent
         3037 Orange Street                                           Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9474
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 449 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 457 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.300
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gedeon & Morales Law Group, PLLC                             Contingent
         2450 Hollywood Boulevard                                     Unliquidated
         Suite 104
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0893                      Is the claim subject to offset?     No       Yes

3.300
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GEIL S BILU PA                                               Contingent
         7822 NW 44th Street                                          Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8320
                                                                   Is the claim subject to offset?     No       Yes

3.300
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,821.85
         GELB & SPATZ                                                 Contingent
         3400 Southwest Third Avenue                                  Unliquidated
         Miami, FL 33145-3914                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4745
                                                                   Is the claim subject to offset?     No       Yes

3.300
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GELFAND & ARPE PA                                            Contingent
         1555 PALM BCH LAKES BLVD #1220                               Unliquidated
         WEST PALM BEACH, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6625
                                                                   Is the claim subject to offset?     No       Yes

3.301
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GENAUER & ASSOCIATES PA                                      Contingent
         1450 Brickell Avenue Suite 1900                              Unliquidated
         Miami, FL 33131-3453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5899
                                                                   Is the claim subject to offset?     No       Yes

3.301
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GENE D BROWN                                                 Contingent
         250 John Knox Road Suite 4                                   Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4095
                                                                   Is the claim subject to offset?     No       Yes

3.301
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GENE DOUGLAS                                                 Contingent
         2909 Northwest 10th Avenue                                   Unliquidated
         Wilton Manors, FL 33311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5172
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 450 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 458 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.301
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GENE ESSNER                                                  Contingent
         10659d Southwest 113th Pl                                    Unliquidated
         Miami, FL 33176-8240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4140
                                                                   Is the claim subject to offset?     No       Yes

3.301
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GENE H AUVIL                                                 Contingent
         355 Royal Palm Way                                           Unliquidated
         Spring Hill, FL 34608-9427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6701
                                                                   Is the claim subject to offset?     No       Yes

3.301
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $31,188.86
         GENE MOORE                                                   Contingent
         P.O. Drawer 910                                              Unliquidated
         Boynton Beach, FL 33425-0910                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5329
                                                                   Is the claim subject to offset?     No       Yes

3.301
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GENE R CIPRIANO JR                                           Contingent
         7100 Sunset Way Suite 711                                    Unliquidated
         St Petersburg Beach, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8551
                                                                   Is the claim subject to offset?     No       Yes

3.301
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GENE S DEVORE                                                Contingent
         2161 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 404
                                                                      Disputed
         West Palm Beach, FL 33409-6613
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7669                      Is the claim subject to offset?     No       Yes

3.301
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Genesis Law, P.A.                                            Contingent
         2500 Northeast 135th Street Suite B508                       Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9460
                                                                   Is the claim subject to offset?     No       Yes

3.301
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GENEVA FORRESTER                                             Contingent
         P.O. Box 40010                                               Unliquidated
         St Petersburg, FL 33743-0010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4907
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 451 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 459 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.302
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GENNARO CARIGLIO JR                                          Contingent
         10800 Biscayne Boulevard Suite 900                           Unliquidated
         Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4167
                                                                   Is the claim subject to offset?     No       Yes

3.302
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GENNIVIEVE HENRIQUES                                         Contingent
         Henriques & Associates                                       Unliquidated
         7 Northwest 2nd Street Suite 218
                                                                      Disputed
         Miami, FL 33128
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0034                      Is the claim subject to offset?     No       Yes

3.302
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Genovese Joblove & Battista, P.A.                            Contingent
         100 Southeast 2nd Street 44th Floor                          Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7161
                                                                   Is the claim subject to offset?     No       Yes

3.302
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEOFFREY C BENNETT                                           Contingent
         165 E Boca Raton Road                                        Unliquidated
         Boca Raton, FL 33432-3911
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4126
                                                                   Is the claim subject to offset?     No       Yes

3.302
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEOFFREY C BURDICK                                           Contingent
         1110 N Olive Avenue                                          Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4564
                                                                   Is the claim subject to offset?     No       Yes

3.302
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GEOFFREY M WAYNE                                             Contingent
         Merrick View                                                 Unliquidated
         135 San Lorenzo Avenue, Penthouse 840
                                                                      Disputed
         Coral Gables, FL 33146-1527
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8287                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 452 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 460 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.302
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE A LANE                                                Contingent
         2101 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9870
                                                                   Is the claim subject to offset?     No       Yes

3.302
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,319.29
         GEORGE A PATTERSON                                           Contingent
         4701 N Federal Highway Suite 480                             Unliquidated
         Pompano Beach, FL 33064-5634                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3027
                                                                   Is the claim subject to offset?     No       Yes

3.302
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,664.10
         GEORGE A ROUTH                                               Contingent
         1600 10th Street S Suite 418                                 Unliquidated
         Safety Harbour, FL 34695                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3235
                                                                   Is the claim subject to offset?     No       Yes

3.302
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         George A. Glenn, Sr. P.A.                                    Contingent
         P.O. Box 8                                                   Unliquidated
         Vero Beach, FL 32961-0008
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8015
                                                                   Is the claim subject to offset?     No       Yes

3.303
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE A. WILLIAMSON                                         Contingent
         1111 S.E. 3rd Avenue                                         Unliquidated
         Ft Lauderdale, FL 33316-1109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4316
                                                                   Is the claim subject to offset?     No       Yes

3.303
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GEORGE B HOUGH JR PA                                         Contingent
         Proactive Legal Care                                         Unliquidated
         3814 Southeast Dixie Highway
                                                                      Disputed
         Stuart, FL 34997-6055
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7649                      Is the claim subject to offset?     No       Yes

3.303
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $653.81
         GEORGE B MEHLMAN                                             Contingent
         270 Ridgeview Drive                                          Unliquidated
         Palm Beach, FL 33480-3306                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 575
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 453 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 461 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.303
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $691.60
         GEORGE B OUJEVOLK                                            Contingent
         P.O. Box 273                                                 Unliquidated
         Sebring, FL 33871-0273                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3670
                                                                   Is the claim subject to offset?     No       Yes

3.303
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE B WALLACE                                             Contingent
         801 W First Street                                           Unliquidated
         Sanford, FL 32771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0413
                                                                   Is the claim subject to offset?     No       Yes

3.303
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE B WEIRES                                              Contingent
         3800 Galt Ocean Drive Suite 1103                             Unliquidated
         Ft Lauderdale, FL 33308-7617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3951
                                                                   Is the claim subject to offset?     No       Yes

3.303
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE B. BLUME                                              Contingent
         71 English Ridge, Wolf Laurel                                Unliquidated
         Mars Hill, NC 28754
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3150
                                                                   Is the claim subject to offset?     No       Yes

3.303
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE B. HARDIE, JR.                                        Contingent
         5865 N. Kendall Drive                                        Unliquidated
         Miami, FL 33156-2065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1453
                                                                   Is the claim subject to offset?     No       Yes

3.303
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE BROWNING III                                          Contingent
         46 N. Washington Boulevard                                   Unliquidated
         Suite 27
                                                                      Disputed
         Sarasota, FL 34236-5928
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5996                      Is the claim subject to offset?     No       Yes

3.303
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,864.12
         GEORGE C KELLEY III                                          Contingent
         P.O. Box 1132                                                Unliquidated
         Apopka, FL 32704-1132                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3939
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 454 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 462 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.304
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GEORGE D PERLMAN PA                                          Contingent
         Four Seasons Tower                                           Unliquidated
         1441 Brickell Avenue, Suite 1400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9181                      Is the claim subject to offset?     No       Yes

3.304
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE D PSOINOS                                             Contingent
         1655 Palm Beach Lakes Boulevard Suite 10                     Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 567
                                                                   Is the claim subject to offset?     No       Yes

3.304
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE DIAZ                                                  Contingent
         11030 SW 60 Court                                            Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8895
                                                                   Is the claim subject to offset?     No       Yes

3.304
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE E ADAMS                                               Contingent
         1030 W Canton Avenue Suite 200                               Unliquidated
         Winter Park, FL 32789-3050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1021
                                                                   Is the claim subject to offset?     No       Yes

3.304
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE E BARKET                                              Contingent
         Biscayne Building Suite 504                                  Unliquidated
         19 W Flagler Street
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3799                      Is the claim subject to offset?     No       Yes

3.304
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE E CARR                                                Contingent
         200 E Robinson Street Suite 865                              Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4585
                                                                   Is the claim subject to offset?     No       Yes

3.304
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE E GLEASON                                             Contingent
         P.O. Box 582                                                 Unliquidated
         Orange Springs, FL 32182
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3586
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 455 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 463 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.304
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE E HARRIS PA                                           Contingent
         Suite 201 Prosperity Gardens                                 Unliquidated
         11380 Prosperity Farms Road
                                                                      Disputed
         Palm Beach Gardens, FL 33410-3477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8581                      Is the claim subject to offset?     No       Yes

3.304
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE E LEWIS II                                            Contingent
         203 N. Gadsden Street                                        Unliquidated
         Suite 6
                                                                      Disputed
         Tallahassee, FL 32301-7633
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6259                      Is the claim subject to offset?     No       Yes

3.304
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $192.35
         GEORGE E MUELLER JR                                          Contingent
         1100 5th Avenue S Suite 201                                  Unliquidated
         Naples, FL 33940                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7958
                                                                   Is the claim subject to offset?     No       Yes

3.305
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE E ROLLER                                              Contingent
         6055 N Waterway Drive                                        Unliquidated
         Miami, FL 33155-4954
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6482
                                                                   Is the claim subject to offset?     No       Yes

3.305
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE E RUDD                                                Contingent
         6330 Manor Lane Suite 202                                    Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1771
                                                                   Is the claim subject to offset?     No       Yes

3.305
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE ELIAS JR                                              Contingent
         Sunbank Building                                             Unliquidated
         777 Brickell Avenue Suite 1111
                                                                      Disputed
         Miami, FL 33131-2867
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7414                      Is the claim subject to offset?     No       Yes

3.305
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,862.77
         GEORGE F DECLAIRE                                            Contingent
         2121 E Maya Drive                                            Unliquidated
         Boca Raton, FL 33432                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2642
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 456 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 464 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.305
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE F HERO                                                Contingent
         8603 S Dixie Highway Suite 300                               Unliquidated
         Miami, FL 33143-7807
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6329
                                                                   Is the claim subject to offset?     No       Yes

3.305
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         GEORGE F HESS II PA                                          Contingent
         Riverwalk Plaza Suite 1000                                   Unliquidated
         333 N New River Drive E
                                                                      Disputed
         Ft Lauderdale, FL 33301-2205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5130                      Is the claim subject to offset?     No       Yes

3.305
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE F WILSEY                                              Contingent
         1000 16th Street North                                       Unliquidated
         St Petersburg, FL 33705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6928
                                                                   Is the claim subject to offset?     No       Yes

3.305
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE G PAPPAS                                              Contingent
         901 N Hercules Avenue Suite D                                Unliquidated
         Clearwater, FL 33765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6253
                                                                   Is the claim subject to offset?     No       Yes

3.305
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         George Gabb                                                  Contingent
         7634 NW 38th Court                                           Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0654
                                                                   Is the claim subject to offset?     No       Yes

3.305
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $179.86
         GEORGE H ASLANIAN JR                                         Contingent
         511 NE 3rd Avenue                                            Unliquidated
         2nd Floor
                                                                      Disputed
         Ft Lauderdale, FL 33301-3235
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7431                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 457 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 465 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.306
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE H GWYNN                                               Contingent
         P.O. Box 4128                                                Unliquidated
         Tallahassee, FL 32315-4128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5205
                                                                   Is the claim subject to offset?     No       Yes

3.306
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE H MAZZARANTANI PA                                     Contingent
         1800 2nd Street Suite 708                                    Unliquidated
         Sarasota, FL 34236-5961
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8659
                                                                   Is the claim subject to offset?     No       Yes

3.306
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE J ALBRIGHT III                                        Contingent
         P.O. Box 159                                                 Unliquidated
         Ocala, FL 32678-0159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7743
                                                                   Is the claim subject to offset?     No       Yes

3.306
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE J BARAQUE                                             Contingent
         4410 W 16th Avenue Suite 5-205                               Unliquidated
         Hialeah, FL 33012-7100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2132
                                                                   Is the claim subject to offset?     No       Yes

3.306
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE J BLUTSTEIN                                           Contingent
         4700 Sheridan Street Suite B                                 Unliquidated
         Hollywood, FL 33021-3416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7336
                                                                   Is the claim subject to offset?     No       Yes

3.306
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE J ELLIS JR                                            Contingent
         1846 Margaret Street Apt 14-A                                Unliquidated
         Jacksonville, FL 32204-4424
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6683
                                                                   Is the claim subject to offset?     No       Yes

3.306
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE J F WERNER                                            Contingent
         2233 Nursery Road Suite 1b                                   Unliquidated
         Clearwater, FL 34624-7666
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8690
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 458 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 466 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.306
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE J LOTT                                                Contingent
         d/b/a Lott & Levine                                          Unliquidated
         8950 SW 74 Court, Suite 1711
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8229                      Is the claim subject to offset?     No       Yes

3.306
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $85.13
         GEORGE L CARDET                                              Contingent
         330 Southwest 27th Avenue Suite 603                          Unliquidated
         Miami, FL 33125-3039                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5104
                                                                   Is the claim subject to offset?     No       Yes

3.306
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE L CLAPHAM                                             Contingent
         333 North Ferncreek Avenue                                   Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2204
                                                                   Is the claim subject to offset?     No       Yes

3.307
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE L HARRELL II                                          Contingent
         2250 Irene Street Ms2819                                     Unliquidated
         Jacksonville, FL 32204-2619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6609
                                                                   Is the claim subject to offset?     No       Yes

3.307
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE L HAYES III                                           Contingent
         PO Box 14421                                                 Unliquidated
         St Petersburg, FL 33733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2209
                                                                   Is the claim subject to offset?     No       Yes

3.307
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE L KNIGHT                                              Contingent
         6780 Southwest 130th Terrace                                 Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7709
                                                                   Is the claim subject to offset?     No       Yes

3.307
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE L. MOXON                                              Contingent
         735 N.E 3rd Avenue                                           Unliquidated
         Ft. Lauderdale, FL 33304-2619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8423
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 459 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 467 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.307
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE LOUIS GARCIA                                          Contingent
         P.O. Box 403782 1                                            Unliquidated
         Miami Beach, FL 33140-1782
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9733
                                                                   Is the claim subject to offset?     No       Yes

3.307
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE M GERMANN PA                                          Contingent
         5151 Commercial Way                                          Unliquidated
         Spring Hill, FL 34606-1932
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8469
                                                                   Is the claim subject to offset?     No       Yes

3.307
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE M LUCAS                                               Contingent
         7875 Bird Road Suite 228                                     Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8002
                                                                   Is the claim subject to offset?     No       Yes

3.307
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE M SANTAMARINA                                         Contingent
         13831 SW 59th Street                                         Unliquidated
         Suite 203
                                                                      Disputed
         Miami, FL 33183
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6341                      Is the claim subject to offset?     No       Yes

3.307
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE N KONSTANTAKIS                                        Contingent
         140 Ocean Drive                                              Unliquidated
         Juno Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2657
                                                                   Is the claim subject to offset?     No       Yes

3.307
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE N LEADER                                              Contingent
         6000 Island Boulevard Apt 2701                               Unliquidated
         Aventura, FL 33160-3793
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1577
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 460 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 468 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.308
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE O WILSON                                              Contingent
         3203 Bayshore Boulevard Unit 1002                            Unliquidated
         Tampa, FL 33629-1707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7519
                                                                   Is the claim subject to offset?     No       Yes

3.308
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,227.85
         GEORGE P LANGFORD                                            Contingent
         3357 Tamiami Trail N                                         Unliquidated
         Naples, FL 34103                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5416
                                                                   Is the claim subject to offset?     No       Yes

3.308
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE P ORD                                                 Contingent
         11300 Highway 1                                              Unliquidated
         Suite 401
                                                                      Disputed
         Palm Beach Gardens, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0821                      Is the claim subject to offset?     No       Yes

3.308
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE R MCLAIN                                              Contingent
         1800 2nd Street Suite 717                                    Unliquidated
         First Fla Bank Plaza
                                                                      Disputed
         Sarasota, FL 34236-5903
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8569                      Is the claim subject to offset?     No       Yes

3.308
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE R STEDRONSKY                                          Contingent
         623 Selkirk Drive                                            Unliquidated
         Winter Park, FL 32792-4639
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2519
                                                                   Is the claim subject to offset?     No       Yes

3.308
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE RALPH MILLER                                          Contingent
         P.O. Box 687                                                 Unliquidated
         Defuniak Springs, FL 32433-0687
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6714
                                                                   Is the claim subject to offset?     No       Yes

3.308
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GEORGE RICHARDSON JR                                         Contingent
         1517 Ponce De Leon Drive                                     Unliquidated
         Ft Lauderdale, FL 33316-1323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 613
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 461 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 469 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.308
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE S ZAMORA                                              Contingent
         3191 Coral Way                                               Unliquidated
         Suite 639
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3658                      Is the claim subject to offset?     No       Yes

3.308
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,415.20
         GEORGE S. COIT, JR.                                          Contingent
         P.O. Box 267                                                 Unliquidated
         St Petersburg, FL 33731-0267                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3417
                                                                   Is the claim subject to offset?     No       Yes

3.308
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE T COWARD                                              Contingent
         P.O. Box 916                                                 Unliquidated
         Lakeland, FL 33802-0916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6415
                                                                   Is the claim subject to offset?     No       Yes

3.309
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE T MORRISON                                            Contingent
         1276 Zephyr Way South                                        Unliquidated
         Jacksonville Beach, FL 32250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2445
                                                                   Is the claim subject to offset?     No       Yes

3.309
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE T PALLAS                                              Contingent
         1999 Southwest 27 Avenue                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6115
                                                                   Is the claim subject to offset?     No       Yes

3.309
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GEORGE T. CANNON                                             Contingent
         255 Artemis Blvd.                                            Unliquidated
         Merritt Island, FL 32953-2512
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7242
                                                                   Is the claim subject to offset?     No       Yes

3.309
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE V MATLOCK                                             Contingent
         P.O. Box 12200                                               Unliquidated
         Tallahassee, FL 32317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8993
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 462 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 470 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.309
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GEORGE W GREER                                               Contingent
         315 Court Street Rm 484                                      Unliquidated
         Clearwater, FL 33756-5165
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3580
                                                                   Is the claim subject to offset?     No       Yes

3.309
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         GEORGE W PHILLIPS                                            Contingent
         20438 Homossasa Court                                        Unliquidated
         Land O Lakes, FL 34637-7431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2245
                                                                   Is the claim subject to offset?     No       Yes

3.309
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGE W QUINNELL                                            Contingent
         P.O. Box 302                                                 Unliquidated
         Key West, FL 33041-0302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2655
                                                                   Is the claim subject to offset?     No       Yes

3.309
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $232.35
         GEORGE W. WILDER                                             Contingent
         2600 9th Street North                                        Unliquidated
         % Lyle & Skipper,P.A.                                        Disputed
         St. Petersburg, FL 33704-2744
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7593                      Is the claim subject to offset?     No       Yes


3.309
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGENE M. URBANEK                                          Contingent
         440 E. Sample Road                                           Unliquidated
         Pompano Beach, FL 33064-4432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8515
                                                                   Is the claim subject to offset?     No       Yes

3.309
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEORGETTE SOSA DOUGLASS                                      Contingent
         320 Southeast 9th Street                                     Unliquidated
         Ft Lauderdale, FL 33316-1128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7280
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 463 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 471 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.310
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         GERALD A FIGURSKI                                            Contingent
         2345 US Highway 19 North Suite 350                           Unliquidated
         Holiday, FL 34691
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1844
                                                                   Is the claim subject to offset?     No       Yes

3.310
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD A PEREZ                                               Contingent
         3128 W Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8332
                                                                   Is the claim subject to offset?     No       Yes

3.310
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GERALD B FINCKE                                              Contingent
         867 S Atlantic Avenue                                        Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8302
                                                                   Is the claim subject to offset?     No       Yes

3.310
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GERALD B KEANE                                               Contingent
         46 North Washington Boulevard                                Unliquidated
         Suite 5
                                                                      Disputed
         Sarasota, FL 34236-5928
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5711                      Is the claim subject to offset?     No       Yes

3.310
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD B. STERNSTEIN                                         Contingent
         P.O. Box 2174                                                Unliquidated
         Tallahassee, FL 32316-2174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8538
                                                                   Is the claim subject to offset?     No       Yes

3.310
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD DAMSKY                                                Contingent
         One Park Pl Suite 365                                        Unliquidated
         621 Northwest 53rd Street
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7445                      Is the claim subject to offset?     No       Yes

3.310
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD E COWEN                                               Contingent
         1011 South Federal Highway                                   Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8326
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 464 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 472 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.310
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GERALD E FINE                                                Contingent
         P.O. Box 740345                                              Unliquidated
         Boynton Beach, FL 33474
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4354
                                                                   Is the claim subject to offset?     No       Yes

3.310
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GERALD H STEAD                                               Contingent
         1311 W Fletcher Avenue Suite A                               Unliquidated
         Tampa, FL 33612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5419
                                                                   Is the claim subject to offset?     No       Yes

3.310
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD J LINDOR                                              Contingent
         Law Office of Gerald J Lindor P.A.                           Unliquidated
         6511 Northwest 98th Drive
                                                                      Disputed
         Parkland, FL 33075-2325
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2128                      Is the claim subject to offset?     No       Yes

3.311
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GERALD K BURTON                                              Contingent
         Gerald K. Burton P.A.                                        Unliquidated
         636 Park Lake Street
                                                                      Disputed
         Orlando, FL 32803-3906
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5339                      Is the claim subject to offset?     No       Yes

3.311
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GERALD KORMAN                                                Contingent
         6727 Catina Drive                                            Unliquidated
         Boynton Beach, FL 33437-7357
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5134
                                                                   Is the claim subject to offset?     No       Yes

3.311
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,292.36
         GERALD L. BEDFORD                                            Contingent
         66 W. Flagler St.                                            Unliquidated
         300 Concord Building                                         Disputed
         Miami, FL 33130-1807
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4426                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 465 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 473 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.311
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GERALD MCBRIDE                                               Contingent
         P.O. Box 9249                                                Unliquidated
         Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8052
                                                                   Is the claim subject to offset?     No       Yes

3.311
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GERALD MESCHKOW                                              Contingent
         3650 N 36th Avenue Suite 56                                  Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6510
                                                                   Is the claim subject to offset?     No       Yes

3.311
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD R PUMPHREY PA                                         Contingent
         Suite 300 Prosperity Gardens                                 Unliquidated
         11000 Prosperity Farms Road
                                                                      Disputed
         Palm Beach Gardens, FL 33408-3838
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6550                      Is the claim subject to offset?     No       Yes

3.311
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,533.49
         GERALD S DEUTSCH                                             Contingent
         7451 W Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33319-4960                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0944
                                                                   Is the claim subject to offset?     No       Yes

3.311
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         GERALD S LESHER                                              Contingent
         1555 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 1000
                                                                      Disputed
         West Palm Beach, FL 33401-2328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 354                       Is the claim subject to offset?     No       Yes

3.311
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD SCHILIAN                                              Contingent
         1761 W Hillsboro Boulevard                                   Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0326
                                                                   Is the claim subject to offset?     No       Yes

3.311
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GERALD SILVERMAN                                             Contingent
         City National Bank Building                                  Unliquidated
         25 W. Flagler Street, Suite 900
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3052                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 466 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 474 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.312
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GERALD SOHN                                                  Contingent
         421 W Church Street                                          Unliquidated
         Jacksonville, FL 32202-4139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3516
                                                                   Is the claim subject to offset?     No       Yes

3.312
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALD WILKERSON PA                                          Contingent
         1725 Blanding Boulevard Suite 106                            Unliquidated
         Jacksonville, FL 32210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4267
                                                                   Is the claim subject to offset?     No       Yes

3.312
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALDINE M DEBIANCHI                                        Contingent
         1720 Harrison Street Suite 6ce                               Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7708
                                                                   Is the claim subject to offset?     No       Yes

3.312
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERALDINE R HOLLOWAY                                         Contingent
         P.O. Box 7096                                                Unliquidated
         Tampa, FL 33673
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5175
                                                                   Is the claim subject to offset?     No       Yes

3.312
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERARD DE NORMANDIE                                          Contingent
         C/O Lawyers In USA                                           Unliquidated
         13899 Biscayne Boulevard Suite 110-H
                                                                      Disputed
         Miami, FL 33181-1600
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5455                      Is the claim subject to offset?     No       Yes

3.312
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERARD E SCHLOTH                                             Contingent
         12213 Springmoor 4 Cts                                       Unliquidated
         Jacksonville, FL 32225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3844
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 467 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 475 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.312
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GERARD F KEATING                                             Contingent
         318 Silver Beach Avenue                                      Unliquidated
         Daytona Beach, FL 32118-4840
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7705
                                                                   Is the claim subject to offset?     No       Yes

3.312
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GERARD R. QUINLAN                                            Contingent
         P.O. Box 5500                                                Unliquidated
         Clearwater, FL 34618-5500
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8239
                                                                   Is the claim subject to offset?     No       Yes

3.312
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERARDIN & SOCOL PA                                          Contingent
         633 Northeast 167th Suite 501                                Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9710
                                                                   Is the claim subject to offset?     No       Yes

3.312
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERARDO A VAZQUEZ                                            Contingent
         d/b/a Vazquez & Associates                                   Unliquidated
         1111 Brickell Avenue, Suite 1550
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4461                      Is the claim subject to offset?     No       Yes

3.313
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GEROLD ERIC VAN DER VLUGT                                    Contingent
         1111 Kane Concourse                                          Unliquidated
         Suite 200
                                                                      Disputed
         Bay Harbor Islands, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7103                      Is the claim subject to offset?     No       Yes

3.313
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GERSON M JOSEPH PA                                           Contingent
         2634 Oakmont                                                 Unliquidated
         Weston, FL 33332
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2055
                                                                   Is the claim subject to offset?     No       Yes

3.313
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gerstin & Associates                                         Contingent
         40 SE 5th Street                                             Unliquidated
         Suite 610
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9198                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 468 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 476 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.313
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GETZEN & HAGIN PA                                            Contingent
         P.O. Box 248                                                 Unliquidated
         Bushnell, FL 33513-0019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3244
                                                                   Is the claim subject to offset?     No       Yes

3.313
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gianeli Mestre Zacarias, P.L.L.C.                            Contingent
         5757 Blue Lagoon Drive                                       Unliquidated
         Suite 230
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0584                      Is the claim subject to offset?     No       Yes

3.313
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gianese-Pittman, P.A.                                        Contingent
         100 N. Biscayne Boulevard                                    Unliquidated
         Suite 3070
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0572                      Is the claim subject to offset?     No       Yes

3.313
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Giannell Title, L.L.C.                                       Contingent
         3343 W. Commercial Boulevard                                 Unliquidated
         Suite 100
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8654                      Is the claim subject to offset?     No       Yes

3.313
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GIBBONS D. CLINE                                             Contingent
         P.O. Box 350550                                              Unliquidated
         Ft Lauderdale, FL 33335-0550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6764
                                                                   Is the claim subject to offset?     No       Yes

3.313
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         GIBBONS NEUMAN BELLO SEGALL                                  Contingent
         3321 Henderson Boulevard                                     Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8037
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 469 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 477 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.313
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $525.00
         GIBBONS TUCKER MILLER WHATLEY                                Contingent
         Attn: Jacqueline B. Whatley                                  Unliquidated
         8108 Old Hixon Road, Suite 101
                                                                      Disputed
         Tampa, FL 33626
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1304                      Is the claim subject to offset?     No       Yes

3.314
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gibbs Law Office, P.L.L.C.                                   Contingent
         8695 College Parkway Suite 2012                              Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8574
                                                                   Is the claim subject to offset?     No       Yes

3.314
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gibraltar Title, Inc.                                        Contingent
         12 SE 7th Street                                             Unliquidated
         Suite 820
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8806                      Is the claim subject to offset?     No       Yes

3.314
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GIBSON & LOGGINS PA                                          Contingent
         P.O. Box 1629                                                Unliquidated
         West Palm Beach, FL 33402-1629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2007
                                                                   Is the claim subject to offset?     No       Yes

3.314
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GIBSON VALENTI & ASHLEY PA                                   Contingent
         212 E Stuart Avenue                                          Unliquidated
         Lake Wales, FL 33853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2251
                                                                   Is the claim subject to offset?     No       Yes

3.314
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gibson, Kohl, Wolff & Hric, P.L.                             Contingent
         1800 2nd Street                                              Unliquidated
         Suite 901
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0532                      Is the claim subject to offset?     No       Yes

3.314
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GIFFORD & HAGOOD LLC                                         Contingent
         451 Maitland Avenue                                          Unliquidated
         Altamonte Springs, FL 32701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2266
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 470 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 478 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.314
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GIGI GARBER SKIPPER                                          Contingent
         2913 Busch Lake Boulevard                                    Unliquidated
         Tampa, FL 33614
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5115
                                                                   Is the claim subject to offset?     No       Yes

3.314
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GILBERT & CADDY PA                                           Contingent
         1720 HARRISON STREET PH B                                    Unliquidated
         HOLLYWOOD, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2407
                                                                   Is the claim subject to offset?     No       Yes

3.314
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GILBERT BENTLEY                                              Contingent
         608 Bentley Lane                                             Unliquidated
         Maitland, FL 32751-4577
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 418
                                                                   Is the claim subject to offset?     No       Yes

3.314
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GILBERT EDELMAN                                              Contingent
         6241 Southwest 16th Street                                   Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6096
                                                                   Is the claim subject to offset?     No       Yes

3.315
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GILBERT J MURRAY                                             Contingent
         P.O. Box 1709                                                Unliquidated
         Plattsburgh, NY 12901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3751
                                                                   Is the claim subject to offset?     No       Yes

3.315
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GILBERT J ROOTH PA                                           Contingent
         7913 Seminole Mall E                                         Unliquidated
         Seminole, FL 34642
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6058
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 471 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 479 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.315
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GILBERT MCGROTTY GROUP PA                                    Contingent
         2313 W Violet Street                                         Unliquidated
         Tampa, FL 33603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6776
                                                                   Is the claim subject to offset?     No       Yes

3.315
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GILBERT P MACPHERSON                                         Contingent
         Gilbert P. Macpherson P.A.                                   Unliquidated
         410 S Lincoln Avenue
                                                                      Disputed
         Clearwater, FL 33756-5826
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0758                      Is the claim subject to offset?     No       Yes

3.315
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GILBERT T BROPHY                                             Contingent
         1773 14th Avenue N                                           Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2865
                                                                   Is the claim subject to offset?     No       Yes

3.315
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,160.32
         GILES & ROBINSON PA                                          Contingent
         401 N Mills Avenue Suite A                                   Unliquidated
         Orlando, FL 32803-5735                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 795
                                                                   Is the claim subject to offset?     No       Yes

3.315
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GILL & ASSOCIATES PA                                         Contingent
         200 Congress Park Drive Suite 210                            Unliquidated
         Delray Beach, FL 33445-4652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5778
                                                                   Is the claim subject to offset?     No       Yes

3.315
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GILLER & ATTORNEYS PA                                        Contingent
         975 Arthur Godfrey Road Suite 601                            Unliquidated
         Miami Beach, FL 33140-3329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 154
                                                                   Is the claim subject to offset?     No       Yes

3.315
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GILLESPIE & ALLISON PA                                       Contingent
         1700 NW 64th Street                                          Unliquidated
         Suite 470
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8580                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 472 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 480 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.315
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,111.35
         GILLESPIE & GILLESPIE PA                                     Contingent
         P.O. Drawer 580                                              Unliquidated
         New Smyrna Beach, FL 32170-0580                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1422
                                                                   Is the claim subject to offset?     No       Yes

3.316
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GILLIS E. POWELL                                             Contingent
         P.O. Box 277                                                 Unliquidated
         Niceville, FL 32588-0277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1137
                                                                   Is the claim subject to offset?     No       Yes

3.316
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gillis Law Firm, P.A.                                        Contingent
         4300 S US Highway 1 Suite 203-143                            Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6182
                                                                   Is the claim subject to offset?     No       Yes

3.316
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GINA VALDES BELSKY                                           Contingent
         1600 Ponce De Leon Boulevard                                 Unliquidated
         Suite 1043
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7599                      Is the claim subject to offset?     No       Yes

3.316
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GINGER I LERNER                                              Contingent
         201 Southeast 6th Street                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 622
                                                                   Is the claim subject to offset?     No       Yes

3.316
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Ginn & Patrou, P.A.                                          Contingent
         460 A1A Beach Boulevard                                      Unliquidated
         St Augustine, FL 32080
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9264
                                                                   Is the claim subject to offset?     No       Yes

3.316
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GINNY L GOLDMAN                                              Contingent
         2799 Northwest Boca Raton Boulevard Suit                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1000
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 473 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 481 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.316
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GIOIA DECARLO ESQ                                            Contingent
         1951 NW 7th Avenue                                           Unliquidated
         Suite 160, #343
                                                                      Disputed
         Miami, FL 33136
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4025                      Is the claim subject to offset?     No       Yes

3.316
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GIORGIO L RAMIREZ PA                                         Contingent
         3366 Southwest 3rd Street                                    Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2401
                                                                   Is the claim subject to offset?     No       Yes

3.316
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GIORGIO VALLAR PA                                            Contingent
         1803 Briar Creek Boulevard                                   Unliquidated
         Safety Harbor, FL 34695
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7501
                                                                   Is the claim subject to offset?     No       Yes

3.316
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GIOVANI NICOSIA PA                                           Contingent
         2860 Marina Mile Boulevard                                   Unliquidated
         Suite 115
                                                                      Disputed
         Ft. Lauderdale, FL 33312
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8456                      Is the claim subject to offset?     No       Yes

3.317
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GISELA NANSON TORRES                                         Contingent
         Gisela Nanson Torres P.A.                                    Unliquidated
         15327 Northwest 60th Avenue Suite 215
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4910                      Is the claim subject to offset?     No       Yes

3.317
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GISELLE FRANCO PA                                            Contingent
         5201 Blue Lagoon Drive 9th Floor                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6029
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 474 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 482 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.317
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GIUNTA & HOUSE PA                                            Contingent
         2401 E. Atlantic Boulevard                                   Unliquidated
         Suite 210
                                                                      Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5338                      Is the claim subject to offset?     No       Yes

3.317
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLADYS A CARDENAS PA                                         Contingent
         829 Northeast 79th Street                                    Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0130
                                                                   Is the claim subject to offset?     No       Yes

3.317
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         GLANTZ & GLANTZ PA                                           Contingent
         7951 SW 6th Street                                           Unliquidated
         Suite 200
                                                                      Disputed
         Plantation, FL 33324-3211
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 114                       Is the claim subject to offset?     No       Yes

3.317
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLASSBERG & GLASSBERG PA                                     Contingent
         13615 S Dixie Highway Suite 114-514                          Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7759
                                                                   Is the claim subject to offset?     No       Yes

3.317
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         GLAZER & GLAZER PA                                           Contingent
         2999 Northeast 191st Street 5th Floor                        Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5521
                                                                   Is the claim subject to offset?     No       Yes

3.317
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Glazer & Montes, P.A.                                        Contingent
         290 Northwest 165 Street Suite P800b                         Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9852
                                                                   Is the claim subject to offset?     No       Yes

3.317
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         GLEN E CHANEY                                                Contingent
         200 S Harbor City Boulevard Suite 203                        Unliquidated
         The Spectrum Centre                                          Disputed
         Melbourne, FL 32901-1389
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8311                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 475 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 483 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.317
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GLEN E GREENFELDER                                           Contingent
         14217 3rd Street                                             Unliquidated
         Dade City, FL 33523-3828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5891
                                                                   Is the claim subject to offset?     No       Yes

3.318
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLEN JOHN IOFFREDO                                           Contingent
         235 S Maitland Avenue Suite 212                              Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9499
                                                                   Is the claim subject to offset?     No       Yes

3.318
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLEN R LANSKY                                                Contingent
         Lansky & Courtney PL                                         Unliquidated
         137 S Parsons Avenue
                                                                      Disputed
         Brandon, FL 33511
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2135                      Is the claim subject to offset?     No       Yes

3.318
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         GLEN Z GOLDBERG                                              Contingent
         B I V Building                                               Unliquidated
         1101 Brickell Avenue Suite 900
                                                                      Disputed
         Miami, FL 33131-3150
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5461                      Is the claim subject to offset?     No       Yes

3.318
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GLENDA F SWEARINGEN                                          Contingent
         P.O. Box 1009                                                Unliquidated
         Marianna, FL 32446-1009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7351
                                                                   Is the claim subject to offset?     No       Yes

3.318
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN A TAYLOR PA                                            Contingent
         462 Kingsley Avenue                                          Unliquidated
         Suite 103
                                                                      Disputed
         Orange Park, FL 32073
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5884                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 476 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 484 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.318
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Glenn and Phanco, P.A.                                       Contingent
         1624 West Terrace Drive                                      Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0506
                                                                   Is the claim subject to offset?     No       Yes

3.318
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN B GREVENGOED PA                                        Contingent
         3730 7th Terrace                                             Unliquidated
         Suite 202
                                                                      Disputed
         Vero Beach, FL 32960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0526                      Is the claim subject to offset?     No       Yes

3.318
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GLENN D. KELLEY                                              Contingent
         P.O. Box 590                                                 Unliquidated
         West Palm Beach, FL 33402-0590
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8182
                                                                   Is the claim subject to offset?     No       Yes

3.318
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Glenn D. Storch, P.A.                                        Contingent
         420 S. Nova Road                                             Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7146
                                                                   Is the claim subject to offset?     No       Yes

3.318
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN J SNEIDER                                              Contingent
         200 Southwest 9th Street                                     Unliquidated
         Okeechobee, FL 34974
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8736
                                                                   Is the claim subject to offset?     No       Yes

3.319
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN J WEBBER PA                                            Contingent
         729 S Fed Highway 210                                        Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6259
                                                                   Is the claim subject to offset?     No       Yes

3.319
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Glenn J. Ballenger                                           Contingent
         P.O. Box 413005-309                                          Unliquidated
         Naples, FL 34101
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7113
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 477 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 485 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.319
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN L DONENFELD                                            Contingent
         3521 Inverrary Drive Suite 207                               Unliquidated
         Ft Lauderdale, FL 33319-5955
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4581
                                                                   Is the claim subject to offset?     No       Yes

3.319
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN M MEDNICK PA                                           Contingent
         2200 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431-7307
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1540
                                                                   Is the claim subject to offset?     No       Yes

3.319
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN R MEE                                                  Contingent
         Attn: Susan Ronis                                            Unliquidated
         517 Southwest 1st Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33301-2803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8412                      Is the claim subject to offset?     No       Yes

3.319
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN R PADGETT                                              Contingent
         P.O. Box 730177                                              Unliquidated
         Ormond Beach, FL 32173-0177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1550
                                                                   Is the claim subject to offset?     No       Yes

3.319
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GLENN RASMUSSEN FOGARTY &                                    Contingent
         P.O. Box 3333                                                Unliquidated
         Tampa, FL 33601-3333
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8708
                                                                   Is the claim subject to offset?     No       Yes

3.319
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN S SOMMER PL                                            Contingent
         2980 McFarlane Road                                          Unliquidated
         Suite 12
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8124                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 478 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 486 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.319
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN T SHELBY                                               Contingent
         902 S Florida Avenue Suite 101                               Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8414
                                                                   Is the claim subject to offset?     No       Yes

3.319
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GLENN T SHELBY PA                                            Contingent
         902 S Florida Avenue Suite 101                               Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9821
                                                                   Is the claim subject to offset?     No       Yes

3.320
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN T SUNDIN                                               Contingent
         560 Hidden Creek Drive                                       Unliquidated
         Merritt Island, FL 32952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2664
                                                                   Is the claim subject to offset?     No       Yes

3.320
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN W TOMASONE                                             Contingent
         1679 Garden Avenue                                           Unliquidated
         Melbourne, FL 32934
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4327
                                                                   Is the claim subject to offset?     No       Yes

3.320
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLENN W WILLIAMS PA                                          Contingent
         9710 E. Indigo Street                                        Unliquidated
         Suite 202
                                                                      Disputed
         Palmetto Bay, FL 33157
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2632                      Is the claim subject to offset?     No       Yes

3.320
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GLICKMAN WITTERS & MARELL                                    Contingent
         1601 Forum Place                                             Unliquidated
         Suite 1101
                                                                      Disputed
         West Palm Beach, FL 33401-8195
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5793                      Is the claim subject to offset?     No       Yes

3.320
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,070.36
         GLICKSTEIN & GLICKSTEIN PA                                   Contingent
         444 Third Street                                             Unliquidated
         Neptune Beach, FL 32266-5111                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3870
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 479 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 487 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.320
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GLINN SOMERA & SILVA LLP                                     Contingent
         212 N Federal Highway                                        Unliquidated
         Deerfield Beach, FL 33441-3612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8240
                                                                   Is the claim subject to offset?     No       Yes

3.320
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLORIA C GONZALEZ                                            Contingent
         166 E 49th Street                                            Unliquidated
         Hialeah, FL 33013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9898
                                                                   Is the claim subject to offset?     No       Yes

3.320
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLORIA G STERN                                               Contingent
         7027 W Broward Boulevard Suite 382                           Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5003
                                                                   Is the claim subject to offset?     No       Yes

3.320
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GLORIA ROA JOSEPHER                                          Contingent
         2655 S Le Jeune Road Suite 1001                              Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5095
                                                                   Is the claim subject to offset?     No       Yes

3.320
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gobin Law, PLLC                                              Contingent
         8461 Lake Worth Road                                         Unliquidated
         Suite 253
                                                                      Disputed
         Lake Worth, FL 33467
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9131                      Is the claim subject to offset?     No       Yes

3.321
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GODBOLD & DOWNING PA                                         Contingent
         P.O. Box 1984                                                Unliquidated
         Winter Park, FL 32790-1984
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4265
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 480 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 488 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.321
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Goddy & Donnelly, PLLC                                       Contingent
         5633 Strand Boulevard                                        Unliquidated
         Suite 316
                                                                      Disputed
         Naples, FL 34110
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0812                      Is the claim subject to offset?     No       Yes

3.321
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Goede Adamczyk Deboest & Cross, P.L.L.C.                     Contingent
         6609 Willow Park Drive                                       Unliquidated
         Second Floor
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7020                      Is the claim subject to offset?     No       Yes

3.321
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOLD RESNICK & SEGALL PA                                     Contingent
         704 W Bay Street                                             Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3604
                                                                   Is the claim subject to offset?     No       Yes

3.321
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,398.77
         GOLDBERG YOUNG & GRAVENHORST                                 Contingent
         C/O Paul Young/Hollnd & Knight                               Unliquidated
         P.O. Box 52687                                               Disputed
         Jacksonville, FL 32201
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4026                      Is the claim subject to offset?     No       Yes


3.321
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOLDEN & GRIMES LLP                                          Contingent
         9350 S Dixie Highway Ph-Ii                                   Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0145
                                                                   Is the claim subject to offset?     No       Yes

3.321
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GOLDING WEBLEY & CLARKE PA                                   Contingent
         7771 W Oakland Park Boulevard Suite 135                      Unliquidated
         Sunrise, FL 33351-5821
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5544
                                                                   Is the claim subject to offset?     No       Yes

3.321
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOLDMAN & ROSA PA                                            Contingent
         1000 Seminole Drive Suite 500                                Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5936
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 481 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 489 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.321
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOLDMAN TISEO STURGES                                        Contingent
         701 J C Center Court                                         Unliquidated
         Unit 3
                                                                      Disputed
         Port Charlotte, FL 33954-2826
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4526                      Is the claim subject to offset?     No       Yes

3.321
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Goldman Wetzel                                               Contingent
         915 1st Avenue N                                             Unliquidated
         St Petersburg, FL 33705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8384
                                                                   Is the claim subject to offset?     No       Yes

3.322
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         GOLDSTEIN & GOLDSTEIN                                        Contingent
         3820 La Vista Circle Apt 121                                 Unliquidated
         Jacksonville, FL 32217-4347
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1523
                                                                   Is the claim subject to offset?     No       Yes

3.322
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,036.08
         GOLDSTEIN BUCKLEY CECHMAN                                    Contingent
         P.O. Box 2366                                                Unliquidated
         Fort Myers, FL 33902-2366                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3200
                                                                   Is the claim subject to offset?     No       Yes

3.322
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GOLDSTEIN TANEN & TRENCH PA                                  Contingent
         4000 Ponce De Leon Boulevard Suite 570                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5187
                                                                   Is the claim subject to offset?     No       Yes

3.322
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Golm Law Firm, P.A.                                          Contingent
         4916 26th Street W.                                          Unliquidated
         Suite 132
                                                                      Disputed
         Bradenton, FL 34207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7194                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 482 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 490 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.322
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOLSON LEGAL PA                                              Contingent
         17425 Bridge Hill Court                                      Unliquidated
         Suite 202
                                                                      Disputed
         Tampa, FL 33647
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4471                      Is the claim subject to offset?     No       Yes

3.322
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOMEZ & ASSOCIATES PA                                        Contingent
         7975 Northwest 154th Street Suite 320                        Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6814
                                                                   Is the claim subject to offset?     No       Yes

3.322
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GONZALEZ & HERBERT PA                                        Contingent
         350 E Las Olas Boulevard 17th Floor                          Unliquidated
         Ft Lauderdale, FL 33301-4211
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8672
                                                                   Is the claim subject to offset?     No       Yes

3.322
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GONZALEZ & RODRIGUEZ PL                                      Contingent
         1550 Madruga Avenue                                          Unliquidated
         Suite 110
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8554                      Is the claim subject to offset?     No       Yes

3.322
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GONZALEZ & VIDAL PA                                          Contingent
         2100 Coral Way                                               Unliquidated
         Suite 502
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4682                      Is the claim subject to offset?     No       Yes

3.322
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GONZALEZ & WERMUTH PL                                        Contingent
         1989 NW 88th Court                                           Unliquidated
         Suite 101
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2368                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 483 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 491 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.323
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GONZALEZ AND GONZALEZ                                        Contingent
         1051 W 29th Street Suite 3                                   Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9897
                                                                   Is the claim subject to offset?     No       Yes

3.323
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gonzalez Law, PL                                             Contingent
         1750 Coral Way                                               Unliquidated
         Floor 2
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8165                      Is the claim subject to offset?     No       Yes

3.323
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GONZALO PEREZ JR                                             Contingent
         7915 Coral Way                                               Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0007
                                                                   Is the claim subject to offset?     No       Yes

3.323
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GONZALO R LAGE                                               Contingent
         7500 Southwest 16th Street                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 304
                                                                   Is the claim subject to offset?     No       Yes

3.323
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Goodwin Law, P.A.                                            Contingent
         800 Seagate Drive                                            Unliquidated
         Suite 202
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9361                      Is the claim subject to offset?     No       Yes

3.323
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GORDON B JOHNSTON                                            Contingent
         P.O. Box 5519                                                Unliquidated
         Ocala, FL 32678-5519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3035
                                                                   Is the claim subject to offset?     No       Yes

3.323
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GORDON B LINN                                                Contingent
         P.O. Box 2083                                                Unliquidated
         Pompano Beach, FL 33061
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6806
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 484 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 492 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.323
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GORDON C WATT                                                Contingent
         4500 Le Jeune Road                                           Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4235
                                                                   Is the claim subject to offset?     No       Yes

3.323
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GORDON G COOPER                                              Contingent
         150 Wedgewood Drive                                          Unliquidated
         Spartanburg, SC 29302-3175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5132
                                                                   Is the claim subject to offset?     No       Yes

3.323
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GORDON H COFFMAN                                             Contingent
         12651 McGregor Boulevard                                     Unliquidated
         Suite 104
                                                                      Disputed
         Ft Myers, FL 33919
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6321                      Is the claim subject to offset?     No       Yes

3.324
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GORDON J SCHIFF PA                                           Contingent
         4155 W. Cypress Street                                       Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9844
                                                                   Is the claim subject to offset?     No       Yes

3.324
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GORDON T NICOL PA                                            Contingent
         7545 Centurion Parkway Suite 108                             Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4737
                                                                   Is the claim subject to offset?     No       Yes

3.324
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         GOREN CHEROF DOODY & EZROL PA                                Contingent
         3099 E. Commercial Boulevard                                 Unliquidated
         Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33308-4311
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5046                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 485 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 493 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.324
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GORHAM RUTTER JR                                             Contingent
         P.O. Box 915454                                              Unliquidated
         Longwood, FL 32791-5454
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6394
                                                                   Is the claim subject to offset?     No       Yes

3.324
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GORNTO & GORNTO PA                                           Contingent
         444 Seabreeze Boulevard Suite 200                            Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9493
                                                                   Is the claim subject to offset?     No       Yes

3.324
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GOSSETT & GOSSETT PA                                         Contingent
         4700 Sheridan Street                                         Unliquidated
         Suite 1
                                                                      Disputed
         Hollywood, FL 33021-3416
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5770                      Is the claim subject to offset?     No       Yes

3.324
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GOSSETT LAW OFFICES PA                                       Contingent
         Gossett Law Offices P.A.                                     Unliquidated
         2221 US Highway 27 S
                                                                      Disputed
         Sebring, FL 33870
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8278                      Is the claim subject to offset?     No       Yes

3.324
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GOTTLIEB & GOTTLIEB PA                                       Contingent
         2475 Enterprise Road Suite 100                               Unliquidated
         Clearwater, FL 33763
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6621
                                                                   Is the claim subject to offset?     No       Yes

3.324
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GOTTLIEB & GOTTLIEB PA                                       Contingent
         125 N. 46th Avenue                                           Unliquidated
         Hollywood, FL 33021-6601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7415
                                                                   Is the claim subject to offset?     No       Yes

3.324
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,628.83
         GOULD COOKSEY FENNELL PA                                     Contingent
         979 Beachland Boulevard                                      Unliquidated
         Vero Beach, FL 32963                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2468
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 486 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 494 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.325
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,828.47
         GOZA & HALL PA                                               Contingent
         28050 US Highway 19 N.                                       Unliquidated
         Suite 402                                                    Disputed
         Clearwater, FL 33761
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 229                       Is the claim subject to offset?     No       Yes


3.325
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GP LAW - LAW OFFICES OF                                      Contingent
         730 Northwest 40th Avenue                                    Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2690
                                                                   Is the claim subject to offset?     No       Yes

3.325
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GR LAW OFFICE PLC                                            Contingent
         1431 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6818
                                                                   Is the claim subject to offset?     No       Yes

3.325
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GRACE ANNE GLAVIN                                            Contingent
         1511 E. State Road 434                                       Unliquidated
         Suite 2049
                                                                      Disputed
         Winter Springs, FL 32708
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8731                      Is the claim subject to offset?     No       Yes

3.325
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRACE BAUGH                                                  Contingent
         P.O. Box 17924                                               Unliquidated
         Ft Lauderdale, FL 33318-7924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5443
                                                                   Is the claim subject to offset?     No       Yes

3.325
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRACE VAN HOUTEN                                             Contingent
         4446 Hendricks Avenue Suite 122                              Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2133
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 487 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 495 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.325
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRADY H WILLIAMS JR                                          Contingent
         P.O. Box 1542                                                Unliquidated
         Orange Park, FL 32067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4914
                                                                   Is the claim subject to offset?     No       Yes

3.325
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GRADY W WHITE                                                Contingent
         2020 N Atlantic Avd Apt N-102                                Unliquidated
         Cocoa Beach, FL 32931-3372
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3084
                                                                   Is the claim subject to offset?     No       Yes

3.325
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRAFTON N CARLSON                                            Contingent
         1290 E Oakland Park Boulevard                                Unliquidated
         Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33334-4443
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5670                      Is the claim subject to offset?     No       Yes

3.325
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         GRALL GLENN & GRALL                                          Contingent
         P.O. Box 690218                                              Unliquidated
         Vero Beach, FL 32969-0218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6631
                                                                   Is the claim subject to offset?     No       Yes

3.326
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Granados, P.A.                                               Contingent
         240 Crandon Boulevard                                        Unliquidated
         Suite 263
                                                                      Disputed
         Key Biscayne, FL 33149-1623
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7066                      Is the claim subject to offset?     No       Yes

3.326
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         GRAND & GRAND PA                                             Contingent
         4010 Sheridan St.                                            Unliquidated
         Hollywood, FL 33021-3536
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3920
                                                                   Is the claim subject to offset?     No       Yes

3.326
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRANDA & ASSOCIATES PA                                       Contingent
         8900 SW 117th Avenue                                         Unliquidated
         Suite C-208
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4375                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 488 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 496 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.326
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         GRANT FRIDKIN PEARSON ATHAN &                                Contingent
         5551 Ridgewood Drive                                         Unliquidated
         Suite 501
                                                                      Disputed
         Naples, FL 34108-2719
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0627                      Is the claim subject to offset?     No       Yes

3.326
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GRANT W KEHRES                                               Contingent
         2000 Glades Road                                             Unliquidated
         Suite 302
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6473                      Is the claim subject to offset?     No       Yes

3.326
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GRANTLAW, P.A.                                               Contingent
         3400 Tamiami Trail N.                                        Unliquidated
         Suite 201
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3985                      Is the claim subject to offset?     No       Yes

3.326
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GRANVEL S KIRKLAND                                           Contingent
         5 W Macclenny Avenue                                         Unliquidated
         Macclenny, FL 32063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3550
                                                                   Is the claim subject to offset?     No       Yes

3.326
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRANVILLE C BURGESS                                          Contingent
         P.O. Box 1493                                                Unliquidated
         Fernandina Beach, FL 32034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6944
                                                                   Is the claim subject to offset?     No       Yes

3.326
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRAVES & BOUNDS PA                                           Contingent
         3720 NW 43rd Street                                          Unliquidated
         Suite 101
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5794                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 489 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 497 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.326
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GRAY ACKERMAN & HAINES PA                                    Contingent
         125 NE 1st Avenue                                            Unliquidated
         Suite 1
                                                                      Disputed
         Ocala, FL 34470
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4372                      Is the claim subject to offset?     No       Yes

3.327
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRAYROBINSON PA                                              Contingent
         401 E. Las Olas Boulevard                                    Unliquidated
         Suite 1000
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9                         Is the claim subject to offset?     No       Yes

3.327
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,572.10
         GRAYROBINSON PA                                              Contingent
         P.O. Box 1870                                                Unliquidated
         Melbourne, FL 32902-1870                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2380
                                                                   Is the claim subject to offset?     No       Yes

3.327
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,267.81
         GRAYROBINSON PA                                              Contingent
         P.O. Box 3068                                                Unliquidated
         Orlando, FL 32802-3068                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9
                                                                   Is the claim subject to offset?     No       Yes

3.327
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRAZI & GIANINO LLP                                          Contingent
         217 SE Ocean Boulevard                                       Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5985
                                                                   Is the claim subject to offset?     No       Yes

3.327
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREATER BAY LAW LLC                                          Contingent
         4601 W Kennedy Boulevard Suite 104                           Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6235
                                                                   Is the claim subject to offset?     No       Yes

3.327
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $162.50
         GREATON & GREATON                                            Contingent
         P.O. Box 39238                                               Unliquidated
         Ft Lauderdale, FL 33339-9238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8416
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 490 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 498 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.327
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         GREEN & GREEN                                                Contingent
         P.O. Box 609                                                 Unliquidated
         Defuniak Springs, FL 32435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 636
                                                                   Is the claim subject to offset?     No       Yes

3.327
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREEN & GREEN PA                                             Contingent
         9030 W Fort Island Trail Suite 5                             Unliquidated
         Crystal River, FL 34429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7147
                                                                   Is the claim subject to offset?     No       Yes

3.327
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GREEN KAHN & PIOTRKOWSKI                                     Contingent
         1133 Normandy Drive                                          Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6106
                                                                   Is the claim subject to offset?     No       Yes

3.327
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Green Line Title, Inc.                                       Contingent
         12950 Race Track Road                                        Unliquidated
         Suite 204
                                                                      Disputed
         Tampa, FL 33626
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0927                      Is the claim subject to offset?     No       Yes

3.328
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREENBERG & SCHILIAN PA                                      Contingent
         4875 N Federal Highway 10th Floor                            Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3824
                                                                   Is the claim subject to offset?     No       Yes

3.328
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GREENBERG & STRELITZ PA                                      Contingent
         Crystal Corporate Center                                     Unliquidated
         2500 N. Military Trail, Suite 235
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5241                      Is the claim subject to offset?     No       Yes

3.328
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GREENBERG & VAZQUEZ                                          Contingent
         1098 Northwest Boca Raton Boulevard Suit                     Unliquidated
         Boca Raton, FL 33432-2616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8529
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 491 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 499 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.328
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,025.00
         GREENBERG TRAURIG LLP                                        Contingent
         333 Avenue Of The Americas                                   Unliquidated
         Suite 4100
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3249                      Is the claim subject to offset?     No       Yes

3.328
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREENE & COX                                                 Contingent
         401 4th Street North                                         Unliquidated
         St Petersburg, FL 33701-2803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7926
                                                                   Is the claim subject to offset?     No       Yes

3.328
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $605.56
         GREENE & GREENE                                              Contingent
         2601 Gulf Life Tower                                         Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1500
                                                                   Is the claim subject to offset?     No       Yes

3.328
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GREENE HAMRICK PERREY QUINLAN                                Contingent
         410 43rd Street West                                         Unliquidated
         Suite N
                                                                      Disputed
         Bradenton, FL 34209
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2278                      Is the claim subject to offset?     No       Yes

3.328
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         GREENEBAUM, DOLL, MCDONALD &                                 Contingent
         417 N. 20th Street, Suite 425                                Unliquidated
         Birmingham, AL 35203-3215
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7818
                                                                   Is the claim subject to offset?     No       Yes

3.328
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREENSPOON MARDER PA                                         Contingent
         201 E. Pine Street                                           Unliquidated
         Suite 500
                                                                      Disputed
         Orlando, FL 32801-2718
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7373                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 492 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 500 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.328
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         GREENSPOON MARDER PA                                         Contingent
         100 W. Cypress Creek Road                                    Unliquidated
         Suite 700
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7373                      Is the claim subject to offset?     No       Yes

3.329
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREG HERSKOWITZ PA                                           Contingent
         TWO DATRAN CENTER PH1-A                                      Unliquidated
         9130 S DADELAND BLVD
                                                                      Disputed
         MIAMI, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1872                      Is the claim subject to offset?     No       Yes

3.329
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREG ROSS                                                    Contingent
         400 Southeast 8th Street                                     Unliquidated
         Ft Lauderdale, FL 33316-1124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4793
                                                                   Is the claim subject to offset?     No       Yes

3.329
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREG ROSS PA                                                 Contingent
         400 Southeast 8th Street                                     Unliquidated
         Ft Lauderdale, FL 33316-1124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4793
                                                                   Is the claim subject to offset?     No       Yes

3.329
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGG D KONE                                                 Contingent
         One Lincoln Pl                                               Unliquidated
         1900 Glades Road Suite 240
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5820                      Is the claim subject to offset?     No       Yes

3.329
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGG H GLICKSTEIN                                           Contingent
         54 Southwest Boca Raton Boulevard                            Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2578
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 493 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 501 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.329
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGG R LOPEZ                                                Contingent
         Gregg R. Lopez P.A.                                          Unliquidated
         P.O. Box 166306
                                                                      Disputed
         Miami, FL 33116
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5512                      Is the claim subject to offset?     No       Yes

3.329
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGG R WEXLER                                               Contingent
         1911 Forest Hill Boulevard                                   Unliquidated
         West Palm Beach, FL 33406-6048
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5206
                                                                   Is the claim subject to offset?     No       Yes

3.329
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY A EBENFELD                                           Contingent
         9900 Stirling Road                                           Unliquidated
         Cooper City, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4437
                                                                   Is the claim subject to offset?     No       Yes

3.329
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY A POPP                                               Contingent
         775 E Merritt Island Causeway                                Unliquidated
         Merritt Island, FL 32952-3311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2239
                                                                   Is the claim subject to offset?     No       Yes

3.329
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY A SAMMS                                              Contingent
         225 Alcazar Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3960
                                                                   Is the claim subject to offset?     No       Yes

3.330
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY A SANOBA                                             Contingent
         P.O. Box 393                                                 Unliquidated
         Lakeland, FL 33802-0393
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9883
                                                                   Is the claim subject to offset?     No       Yes

3.330
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY B SEELEY                                             Contingent
         3924 Central Avenue                                          Unliquidated
         St Petersburg, FL 33711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4008
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 494 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 502 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.330
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY B TAYLOR                                             Contingent
         5310 Northwest 33rd Avenue Suite 101                         Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2472
                                                                   Is the claim subject to offset?     No       Yes

3.330
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GREGORY C MEISSNER                                           Contingent
         1111 Third Avenue W Suite 150                                Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7305
                                                                   Is the claim subject to offset?     No       Yes

3.330
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY C PICKEN                                             Contingent
         701 US Highway One Suite 402                                 Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8998
                                                                   Is the claim subject to offset?     No       Yes

3.330
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY D CLARK                                              Contingent
         1201 S Highland Avenue                                       Unliquidated
         Suite 9
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4365                      Is the claim subject to offset?     No       Yes

3.330
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gregory D. Davila, P.A.                                      Contingent
         1111 12th Street Suite 310                                   Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7877
                                                                   Is the claim subject to offset?     No       Yes

3.330
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GREGORY E TUCCI PA                                           Contingent
         225 Northeast 8th Avenue                                     Unliquidated
         Ocala, FL 32670-6727
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4545
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 495 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 503 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.330
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY F BETANCOURT PA                                      Contingent
         6500 Cowpen Road Suite 303                                   Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8438
                                                                   Is the claim subject to offset?     No       Yes

3.330
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $445.29
         GREGORY F ESPOSITO                                           Contingent
         8016 Wiles Road                                              Unliquidated
         Coral Springs, FL 33067-2072                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7229
                                                                   Is the claim subject to offset?     No       Yes

3.331
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY G GLENN                                              Contingent
         P.O. Box 1908                                                Unliquidated
         Boca Raton, FL 33429-1908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6380
                                                                   Is the claim subject to offset?     No       Yes

3.331
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GREGORY G KEANE PA
         Suite 202                                                    Contingent
         1000 Southeast Monterey Commons                              Unliquidated
         Boulevar                                                     Disputed
         Stuart, FL 34996
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5960                      Is the claim subject to offset?     No       Yes


3.331
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY J ERSEK PA                                           Contingent
         17820 Northwest 18th Avenue                                  Unliquidated
         Miami, FL 33056-4949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6296
                                                                   Is the claim subject to offset?     No       Yes

3.331
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GREGORY J GORE                                               Contingent
         P.O. Box 780384                                              Unliquidated
         Sebastian, FL 32978-0384
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7328
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 496 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 504 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.331
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY J KRAMER                                             Contingent
         250 Miami Avenue W                                           Unliquidated
         Venice, FL 34285-2301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2310
                                                                   Is the claim subject to offset?     No       Yes

3.331
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY J TARONE                                             Contingent
         35951 US Highway 19 N                                        Unliquidated
         Palm Harbor, FL 34684-1556
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8501
                                                                   Is the claim subject to offset?     No       Yes

3.331
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GREGORY K. JONES                                             Contingent
         8 Pruyn Place                                                Unliquidated
         Catskill, NY 12414-1111
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7073
                                                                   Is the claim subject to offset?     No       Yes

3.331
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY L GRESHAM                                            Contingent
         P.O. Box 1029                                                Unliquidated
         Lutz, FL 33549-1029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8596
                                                                   Is the claim subject to offset?     No       Yes

3.331
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY L PATTERSON PA                                       Contingent
         1401 Manatee Avenue W                                        Unliquidated
         Suite 920 Drawer 27
                                                                      Disputed
         Bradenton, FL 34205-6702
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4764                      Is the claim subject to offset?     No       Yes

3.331
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GREGORY M COOK                                               Contingent
         150 Turtle Lake Court Apt 110                                Unliquidated
         Naples, FL 34105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7106
                                                                   Is the claim subject to offset?     No       Yes

3.332
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY M WILSON                                             Contingent
         29 E Pine Street                                             Unliquidated
         Orlando, FL 32801-2607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8594
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 497 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 505 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.332
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GREGORY N BURNS                                              Contingent
         P.O. Box 2194                                                Unliquidated
         Ft Myers, FL 33902-2194
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6617
                                                                   Is the claim subject to offset?     No       Yes

3.332
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GREGORY R BECK PA                                            Contingent
         707 Southeast 3rd Avenue 6th Floor                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6791
                                                                   Is the claim subject to offset?     No       Yes

3.332
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GREGORY R BECK PA                                            Contingent
         707 Southeast 3rd Avenue 6th Floor                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2643
                                                                   Is the claim subject to offset?     No       Yes

3.332
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY R DEAL                                               Contingent
         312 W Graham Park Circle                                     Unliquidated
         Haines City, FL 33844-5843
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9777
                                                                   Is the claim subject to offset?     No       Yes

3.332
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GREGORY R FISHMAN PA                                         Contingent
         2750 NE 185th Street                                         Unliquidated
         Suite 204
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6538                      Is the claim subject to offset?     No       Yes

3.332
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY S FLANAGAN                                           Contingent
         2701 SE Maricamp Road                                        Unliquidated
         Suite 104
                                                                      Disputed
         Ocala, FL 34471
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2325                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 498 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 506 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.332
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GREGORY S GEFEN                                              Contingent
         1801 N Military Trail Suite 203                              Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0475
                                                                   Is the claim subject to offset?     No       Yes

3.332
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY T HALL                                               Contingent
         One Tampa City Center Suite 2720                             Unliquidated
         201 N Franklin Street
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8439                      Is the claim subject to offset?     No       Yes

3.332
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GREGORY T ZELL                                               Contingent
         3231 Mary Street                                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4718
                                                                   Is the claim subject to offset?     No       Yes

3.333
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GREGORY W DWORZANOWSKI                                       Contingent
         611 Bay Street Suite G                                       Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7562
                                                                   Is the claim subject to offset?     No       Yes

3.333
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRETCHEN-ELIZABETH                                           Contingent
         110 W Reynolds Street Suite 209                              Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2358
                                                                   Is the claim subject to offset?     No       Yes

3.333
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GRIFFIN HELWIG                                               Contingent
         1528 Stockton Street                                         Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8569
                                                                   Is the claim subject to offset?     No       Yes

3.333
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GRIFFIN HELWIG PA                                            Contingent
         1528 Stockton Street                                         Unliquidated
         Jacksonville, FL 32257
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8569
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 499 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 507 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.333
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,391.83
         GRIMES GOEBEL GRIMES HAWKINS                                 Contingent
         1023 Mantee Avenue W.                                        Unliquidated
         Bradenton, FL 34205                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2100
                                                                   Is the claim subject to offset?     No       Yes

3.333
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GRISALES & JACOBS PA                                         Contingent
         1911 Harrison Street                                         Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7573
                                                                   Is the claim subject to offset?     No       Yes

3.333
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GROOVER LAW FIRM                                             Contingent
         20 N Orange Avenue Suite 700                                 Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4035
                                                                   Is the claim subject to offset?     No       Yes

3.333
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         GROSS & TELISMAN PA                                          Contingent
         12805 Southwest 84th Avenue Road                             Unliquidated
         Miami, FL 33156-6514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6352
                                                                   Is the claim subject to offset?     No       Yes

3.333
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gruber Law, P.L.L.C.                                         Contingent
         2121 Ponce De Leon Boulevard Suite 732                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8268
                                                                   Is the claim subject to offset?     No       Yes

3.333
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         GRUENINGER LAW GROUP PA                                      Contingent
         267 Minorca Avenue                                           Unliquidated
         Suite 100
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4727                      Is the claim subject to offset?     No       Yes

3.334
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GRUMER & MACALUSO PA                                         Contingent
         1 E Broward Boulevard Suite 1501                             Unliquidated
         Ft Lauderdale, FL 33301-1844
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8467
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 500 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 508 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.334
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GRUNDER & PETTEWAY PA                                        Contingent
         23349 NW County Road 236                                     Unliquidated
         Suite 10
                                                                      Disputed
         High Springs, FL 32643
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 226                       Is the claim subject to offset?     No       Yes

3.334
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GUDRUN M NICKEL                                              Contingent
         P.O. Box 413005                                              Unliquidated
         Pmb 27
                                                                      Disputed
         Naples, FL 34101-3005
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6691                      Is the claim subject to offset?     No       Yes

3.334
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GUIDO A AGUILERA PA                                          Contingent
         815 Ponce De Leon Boulevard Suite 200                        Unliquidated
         Coral Gables, FL 33134-3071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7959
                                                                   Is the claim subject to offset?     No       Yes

3.334
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $276.51
         GUILFORD GOLDSTEIN & FINE, P.A                               Contingent
         2222 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134-5039
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7080
                                                                   Is the claim subject to offset?     No       Yes

3.334
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUILLERMO PENA PA                                            Contingent
         1101 Brickell Avenue Suite 1801                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6890
                                                                   Is the claim subject to offset?     No       Yes

3.334
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUILLERMO PESANT                                             Contingent
         1313 Ponce De Leon Boulevard                                 Unliquidated
         Suite 301
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8379                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 501 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 509 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.334
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GUJU LAW GROUP PA                                            Contingent
         31564 US HWY 19 N                                            Unliquidated
         PALM HARBOR, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3873
                                                                   Is the claim subject to offset?     No       Yes

3.334
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Gulf Title Company, L.L.C.                                   Contingent
         2721 Gulf Breeze Parkway                                     Unliquidated
         Gulf Breeze, FL 32563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5811
                                                                   Is the claim subject to offset?     No       Yes

3.334
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GULLO & ASSOCIATES PA                                        Contingent
         10859 US Highway 98 W Suite 4-227                            Unliquidated
         Destin, FL 32550-7869
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6812
                                                                   Is the claim subject to offset?     No       Yes

3.335
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $127,586.74
         GUNSTER YOAKLEY & STEWART PA                                 Contingent
         777 S. Flagler Drive                                         Unliquidated
         Suite 500 E                                                  Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1106                      Is the claim subject to offset?     No       Yes


3.335
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Gunster Yoakley & Stewart, P.A.                              Contingent
         One Biscayne Tower                                           Unliquidated
         S. Two Biscayne Boulevard, Suite 3400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1106                      Is the claim subject to offset?     No       Yes

3.335
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Gurian Group, P.A.                                           Contingent
         9415 SW 72 Street                                            Unliquidated
         Suite 256
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9374                      Is the claim subject to offset?     No       Yes

3.335
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         GUS EFTHIMIOU JR                                             Contingent
         6640 Santona Street                                          Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1516
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 502 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 510 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.335
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUS H CARRATT                                                Contingent
         111 SE 12th Street                                           Unliquidated
         Ft Lauderdale, FL 33316-2967
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6715
                                                                   Is the claim subject to offset?     No       Yes

3.335
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUS SUAREZ                                                   Contingent
         5201 Blue Lagoon Drive Suite 270                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0439
                                                                   Is the claim subject to offset?     No       Yes

3.335
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,861.66
         GUSTAFSON STEPHENS FERRIS                                    Contingent
         C/O John E Stephens Jr.                                      Unliquidated
         220 Southwest 32nd Street                                    Disputed
         Ft Lauderdale, FL 33315
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3349                      Is the claim subject to offset?     No       Yes


3.335
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUSTAFSON TILTON HENNING                                     Contingent
         4901 N Federal Highway Suite 440                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2140
                                                                   Is the claim subject to offset?     No       Yes

3.335
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUSTAVO A FERNANDEZ PA                                       Contingent
         2696 Southwest 137th Avenue                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8306
                                                                   Is the claim subject to offset?     No       Yes

3.335
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GUSTAVO E MANITO                                             Contingent
         1914 Southwest 17th Avenue Suite 28                          Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6047
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 503 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 511 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.336
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUSTAVO M DE RIBEAUX                                         Contingent
         4904 SW 72nd Avenue                                          Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9096
                                                                   Is the claim subject to offset?     No       Yes

3.336
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUSTAVO RODRIGUEZ PA                                         Contingent
         330 Minorca Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2639
                                                                   Is the claim subject to offset?     No       Yes

3.336
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         GUTIERREZ & ASSOCIATES                                       Contingent
         1401 Brickell Avenue                                         Unliquidated
         Suite 400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7425                      Is the claim subject to offset?     No       Yes

3.336
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         GUTTMAN & DEL VALLE PA                                       Contingent
         The Colonnade                                                Unliquidated
         2333 Ponce De Leon Boulevard Suite 650
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0733                      Is the claim subject to offset?     No       Yes

3.336
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GUY C HILL PA                                                Contingent
         3458 Southeast Dixie Highway                                 Unliquidated
         Stuart, FL 34997
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4485
                                                                   Is the claim subject to offset?     No       Yes

3.336
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         GUY RABIDEAU ESQUIRE                                         Contingent
         440 Royal Palm Way                                           Unliquidated
         Suite 101
                                                                      Disputed
         Palm Beach, FL 33480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6261                      Is the claim subject to offset?     No       Yes

3.336
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,710.33
         GUY S EMERICH                                                Contingent
         99 Nesbitt Street                                            Unliquidated
         Punta Gorda, FL 33950                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5414
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 504 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 512 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.336
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         GUY T RIZZO                                                  Contingent
         123 Wisteria Drive                                           Unliquidated
         Longwood, FL 32779-4950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6480
                                                                   Is the claim subject to offset?     No       Yes

3.336
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         GWEN D BLOOM PA                                              Contingent
         1180 Spring Centre S Boulevard Suite 310                     Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2710
                                                                   Is the claim subject to offset?     No       Yes

3.336
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $827.19
         H A ROSS PA                                                  Contingent
         400 Madison Drive                                            Unliquidated
         Sarasota, FL 34236-1436                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1327
                                                                   Is the claim subject to offset?     No       Yes

3.337
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $60.00
         H ADAMS WEAVER JR                                            Contingent
         P.O. Box 3475                                                Unliquidated
         West Palm Beach, FL 33402-3475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0802
                                                                   Is the claim subject to offset?     No       Yes

3.337
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,874.31
         H ALLAN TUCKER                                               Contingent
         5802 Tyler St.                                               Unliquidated
         Hollywood, FL 33021-6342                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3916
                                                                   Is the claim subject to offset?     No       Yes

3.337
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         H CASSEDY SUMRALL JR                                         Contingent
         355 NE 5th Avenue                                            Unliquidated
         Suite 8
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6376                      Is the claim subject to offset?     No       Yes

3.337
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         H CHARLES WOERNER JR                                         Contingent
         2001 S Ridgewood Avenue                                      Unliquidated
         South Daytona, FL 32119-2240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6645
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 505 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 513 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.337
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         H CLYDE HOBBY PA                                             Contingent
         5709 Tidalwave Drive                                         Unliquidated
         New Port Richey, FL 34652-3821
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7219
                                                                   Is the claim subject to offset?     No       Yes

3.337
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         H COLLINS FORMAN JR                                          Contingent
         888 S. Andrews Avenue                                        Unliquidated
         Suite 302
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6786                      Is the claim subject to offset?     No       Yes

3.337
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H CURTIS SKIPPER                                             Contingent
         5653 Main Street                                             Unliquidated
         New Port Richey, FL 34652-2635
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6653
                                                                   Is the claim subject to offset?     No       Yes

3.337
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H EDWARD DEAN JR                                             Contingent
         230 Northeast 25th Avenue                                    Unliquidated
         Ocala, FL 32670-7041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4660
                                                                   Is the claim subject to offset?     No       Yes

3.337
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         H EDWARD GARVIN                                              Contingent
         P.O. Box 358041                                              Unliquidated
         Gainesville, FL 32635-8041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0755
                                                                   Is the claim subject to offset?     No       Yes

3.337
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H FRANK WINN JR                                              Contingent
         P.O. Box 150                                                 Unliquidated
         Pensacola, FL 32591-0150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6743
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 506 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 514 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.338
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         H GORDON BROWN                                               Contingent
         11063 N Desert Flower Drive                                  Unliquidated
         Tucson, AZ 85737-7052
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1872
                                                                   Is the claim subject to offset?     No       Yes

3.338
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H H BASKIN JR                                                Contingent
         703 Court Street                                             Unliquidated
         Clearwater, FL 34616-5507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3060
                                                                   Is the claim subject to offset?     No       Yes

3.338
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         H J FRAZIER                                                  Contingent
         2420 Sea Island Drive                                        Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4651
                                                                   Is the claim subject to offset?     No       Yes

3.338
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,615.77
         H JAMES PARKER                                               Contingent
         8204 Massachusetts Avenue                                    Unliquidated
         New Port Richey, FL 34653                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7507
                                                                   Is the claim subject to offset?     No       Yes

3.338
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         H JAMES STADELMAN                                            Contingent
         604 Courtland Street                                         Unliquidated
         Suite 131
                                                                      Disputed
         Orlando, FL 32804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5515                      Is the claim subject to offset?     No       Yes

3.338
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         H L CLARK III                                                Contingent
         1901 Highway A1A                                             Unliquidated
         Indian Harbor Beach, FL 32937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0894
                                                                   Is the claim subject to offset?     No       Yes

3.338
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         H MICHAEL EVANS PA                                           Contingent
         20668 W. Pennsylvania Avenue                                 Unliquidated
         Dunnellon, FL 34431-6717
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3189
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 507 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 515 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.338
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         H PAUL KING                                                  Contingent
         1462 Live Oak Drive                                          Unliquidated
         Tallahassee, FL 32301-4953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6916
                                                                   Is the claim subject to offset?     No       Yes

3.338
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H POPE HAMRICK JR                                            Contingent
         125 E Orange Avenue Suite 305                                Unliquidated
         Daytona Beach, FL 32114-4420
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5318
                                                                   Is the claim subject to offset?     No       Yes

3.338
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         H RICHARD BATES                                              Contingent
         P.O. Box 180902                                              Unliquidated
         Casselberry, FL 32718-0902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1161
                                                                   Is the claim subject to offset?     No       Yes

3.339
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         H ROBERT DOWD JR                                             Contingent
         P.O. Box 1450                                                Unliquidated
         Apopka, FL 32704-1450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8470
                                                                   Is the claim subject to offset?     No       Yes

3.339
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H ROBERT KOLTNOW                                             Contingent
         7489 NW, 1st Manor                                           Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1636
                                                                   Is the claim subject to offset?     No       Yes

3.339
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         H SCOTT MACBETH                                              Contingent
         7951 Southwest 6th Street Suite 200                          Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3993
                                                                   Is the claim subject to offset?     No       Yes

3.339
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H TAYLOR WHITE                                               Contingent
         165 SW Fairview Avenue                                       Unliquidated
         Port St. Lucie, FL 34987
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5307
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 508 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 516 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.339
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         H VERNON DAVIDS                                              Contingent
         590 Tamiami Trail Suite 1                                    Unliquidated
         Port Charlotte, FL 33953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6347
                                                                   Is the claim subject to offset?     No       Yes

3.339
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         H. RICHARD BISBEE, P.A.                                      Contingent
         1125 Waverly Road                                            Unliquidated
         Tallahassee, FL 32312-2849
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7779
                                                                   Is the claim subject to offset?     No       Yes

3.339
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HA T DAO                                                     Contingent
         Ha T Dao & Associates P.A.                                   Unliquidated
         1962 14th Avenue
                                                                      Disputed
         Vero Beach, FL 32960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7031                      Is the claim subject to offset?     No       Yes

3.339
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HAAHR LAW GROUP PL                                           Contingent
         1015 7th Avenue N                                            Unliquidated
         St Petersburg, FL 33705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4297
                                                                   Is the claim subject to offset?     No       Yes

3.339
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Haber Law, P.A.                                              Contingent
         251 NW 23rd Street                                           Unliquidated
         Miami, FL 33127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0566
                                                                   Is the claim subject to offset?     No       Yes

3.339
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HACKNEY MILLER                                               Contingent
         P.O. Box 30633                                               Unliquidated
         Palm Beach Gardens, FL 33420-0633
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3677
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 509 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 517 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.340
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HAGEN & HAGEN PA                                             Contingent
         3531 Griffin Road                                            Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8173
                                                                   Is the claim subject to offset?     No       Yes

3.340
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HAHN LOESER & PARKS LLP                                      Contingent
         800 LAUREL OAK DR STE 600                                    Unliquidated
         NAPLES, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5840
                                                                   Is the claim subject to offset?     No       Yes

3.340
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,406.60
         HAHN MCCLURG PA                                              Contingent
         P.O. Box 38                                                  Unliquidated
         Lakeland, FL 33802-0038                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1790
                                                                   Is the claim subject to offset?     No       Yes

3.340
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         HAILE SHAW & PFAFFENBERGER PA                                Contingent
         660 US Highway 1                                             Unliquidated
         3rd Floor
                                                                      Disputed
         North Palm Beach, FL 33408-4606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8315                      Is the claim subject to offset?     No       Yes

3.340
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $233.38
         HAIMAN L CLEIN                                               Contingent
         1740 Northwest 122nd Terrace                                 Unliquidated
         Pembroke Pines, FL 33026                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5787
                                                                   Is the claim subject to offset?     No       Yes

3.340
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         HAINES & D'ANGIO, CHARTERED                                  Contingent
         501 N. Federal Highway                                       Unliquidated
         Lake Park, FL 33403-3557
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4239
                                                                   Is the claim subject to offset?     No       Yes

3.340
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hal A. Airth                                                 Contingent
         112 W. Howard Street                                         Unliquidated
         Live Oak, FL 32064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0871
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 510 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 518 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.340
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAL SPENCE PA                                                Contingent
         221 N Causeway Suite A                                       Unliquidated
         New Smyrna Beach, FL 32169-5239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4456
                                                                   Is the claim subject to offset?     No       Yes

3.340
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HALE R. STANCIL, P.A.                                        Contingent
         110 N.W. 2nd Ave., Suite 327                                 Unliquidated
         Ocala, FL 32670
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6324
                                                                   Is the claim subject to offset?     No       Yes

3.340
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HALE SWOPE & PAULSEN PA                                      Contingent
         935 Main Street Suite C-1                                    Unliquidated
         Safety Harbor, FL 34695
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1986
                                                                   Is the claim subject to offset?     No       Yes

3.341
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HALEY & ASSOCIATES PA                                        Contingent
         Attn: James T. Haley                                         Unliquidated
         300 Sevilla Avenue, Suite 210
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6734                      Is the claim subject to offset?     No       Yes

3.341
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         HALEY & ASSOCIATES PA                                        Contingent
         One Financial Plaza                                          Unliquidated
         100 SE 3rd Avenue, Suite 1900
                                                                      Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6734                      Is the claim subject to offset?     No       Yes

3.341
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HALIM & PRATT LLC                                            Contingent
         733 W Colonial Drive                                         Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0548
                                                                   Is the claim subject to offset?     No       Yes

3.341
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         HALL & ANDERSON PA                                           Contingent
         1314 E Venice Avenue Suite E                                 Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8314
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 511 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 519 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.341
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hall Keener, P.A.                                            Contingent
         9800 4th Street N                                            Unliquidated
         Suite 206
                                                                      Disputed
         St Petersburg, FL 33702
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0181                      Is the claim subject to offset?     No       Yes

3.341
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HALPERN RODRIGUEZ LLP                                        Contingent
         355 Alhambra Circle                                          Unliquidated
         Suite 1101
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6862                      Is the claim subject to offset?     No       Yes

3.341
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hamilton & Leonard, P.A.                                     Contingent
         218 Oakfield Drive                                           Unliquidated
         Brandon, FL 33511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7018
                                                                   Is the claim subject to offset?     No       Yes

3.341
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Hamilton, Price & Marshall, P.A.                             Contingent
         2400 Manatee Avenue W.                                       Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6459
                                                                   Is the claim subject to offset?     No       Yes

3.341
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAMPTON C PETERSON PA                                        Contingent
         1120 S Federal Highway Suite 4                               Unliquidated
         Ft Lauderdale, FL 33316-1231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7371
                                                                   Is the claim subject to offset?     No       Yes

3.341
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hampton Law, PLLC                                            Contingent
         8931 Conference Drive                                        Unliquidated
         Suite 2
                                                                      Disputed
         Ft. Myers, FL 33919
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1037                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 512 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 520 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.342
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HANENIAN LAW FIRM                                            Contingent
         64 Sarasota Center Boulevard                                 Unliquidated
         Sarasota, FL 34240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0561
                                                                   Is the claim subject to offset?     No       Yes

3.342
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.43
         HANK SCHMERER                                                Contingent
         630 S.W. 4th Avenue                                          Unliquidated
         Ft Lauderdale, FL 33315-1012                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7589
                                                                   Is the claim subject to offset?     No       Yes

3.342
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HANKIN & BEVERLY PA                                          Contingent
         305 Northeast 1st Street Suite 1                             Unliquidated
         Gainesville, FL 32601-3300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3614
                                                                   Is the claim subject to offset?     No       Yes

3.342
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HANKINS NORTHWOOD ROMAN                                      Contingent
         1800 N. Military Trail                                       Unliquidated
         Suite 120
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6185                      Is the claim subject to offset?     No       Yes

3.342
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Harbor Title, Inc.                                           Contingent
         Test 1000 Seminole Drive Suite 500                           Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6866
                                                                   Is the claim subject to offset?     No       Yes

3.342
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         HARDIN & ASSOCIATES PA                                       Contingent
         P.O. Box 3604                                                Unliquidated
         Lakeland, FL 33802-3604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7506
                                                                   Is the claim subject to offset?     No       Yes

3.342
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HARK BURKHALTER PL                                           Contingent
         2000 Glades Road                                             Unliquidated
         Suite 110
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6281                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 513 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 521 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.342
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HARLAN L PAUL                                                Contingent
         142 E New York Avenue                                        Unliquidated
         Deland, FL 32721
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8144
                                                                   Is the claim subject to offset?     No       Yes

3.342
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARLAN R DOMBER                                              Contingent
         3900 Clark Road                                              Unliquidated
         Suite L-1
                                                                      Disputed
         Sarasota, FL 34233
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3967                      Is the claim subject to offset?     No       Yes

3.342
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARLESTON R WOOD                                             Contingent
         525 Northwest 7th Street                                     Unliquidated
         Dania Beach, FL 33004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5843
                                                                   Is the claim subject to offset?     No       Yes

3.343
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Harley J. Storrings PA                                       Contingent
         dba Storrings Law                                            Unliquidated
         3200 N. University Drive, Suite 203
                                                                      Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9985                      Is the claim subject to offset?     No       Yes

3.343
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD A LASSMAN                                             Contingent
         1500 Sharon Drive                                            Unliquidated
         Deland, FL 32724-4647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2087
                                                                   Is the claim subject to offset?     No       Yes

3.343
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD B STEPHENS                                            Contingent
         349 Mountain Top Drive                                       Unliquidated
         Murphy, NC 28906-8703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3137
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 514 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 522 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.343
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD C GREENBERG                                           Contingent
         2103 Northwest 60th Circle                                   Unliquidated
         Boca Raton, FL 33496-2648
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5815
                                                                   Is the claim subject to offset?     No       Yes

3.343
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD C TAYLOR                                              Contingent
         9016 Seminole Boulevard                                      Unliquidated
         Seminole, FL 34642-3146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1912
                                                                   Is the claim subject to offset?     No       Yes

3.343
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD D SMITH                                               Contingent
         701 E Commercial Boulevard Suite 100                         Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5075
                                                                   Is the claim subject to offset?     No       Yes

3.343
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD E REGAN                                               Contingent
         211 South Gadsden Street                                     Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5004
                                                                   Is the claim subject to offset?     No       Yes

3.343
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HAROLD F PEEK JR                                             Contingent
         P.O. Box 36                                                  Unliquidated
         Valparaiso, FL 32580-0036
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5358
                                                                   Is the claim subject to offset?     No       Yes

3.343
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD GINSBERG                                              Contingent
         7633n La Corniche Circle                                     Unliquidated
         Boca Raton, FL 33433-6007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3861
                                                                   Is the claim subject to offset?     No       Yes

3.343
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         HAROLD H WEISMAN PA                                          Contingent
         4775 W Atlantic Avenue                                       Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6579
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 515 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 523 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.344
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD J TURK                                                Contingent
         3121 Kirk Street                                             Unliquidated
         Miami, FL 33133-3922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7515
                                                                   Is the claim subject to offset?     No       Yes

3.344
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD L DOWNING                                             Contingent
         P.O. Drawer 7540                                             Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7514
                                                                   Is the claim subject to offset?     No       Yes

3.344
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD M BRAXTON                                             Contingent
         9132 Southwest 78th Pl                                       Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4575
                                                                   Is the claim subject to offset?     No       Yes

3.344
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HAROLD M GARBER PA                                           Contingent
         P.O. Box 801622                                              Unliquidated
         Aventura, FL 33280
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7337
                                                                   Is the claim subject to offset?     No       Yes

3.344
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HAROLD M KNOWLES                                             Contingent
         3065 Highland Oaks Terrace                                   Unliquidated
         Tallahassee, FL 32301-3841
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6250
                                                                   Is the claim subject to offset?     No       Yes

3.344
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,402.57
         HAROLD M RIFAS                                               Contingent
         7900 Red Road Suite 9                                        Unliquidated
         South Miami, FL 33143-5522                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2827
                                                                   Is the claim subject to offset?     No       Yes

3.344
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD M STEVENS                                             Contingent
         P.O. Box 1440                                                Unliquidated
         Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6537
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 516 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 524 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.344
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD O MILLER                                              Contingent
         Pmb 201                                                      Unliquidated
         7350 S Tamiami Trail
                                                                      Disputed
         Sarasota, FL 34231-7004
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8313                      Is the claim subject to offset?     No       Yes

3.344
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HAROLD P. KRAVITZ                                            Contingent
         7600 W. 20th Ave.                                            Unliquidated
         Suite 223
                                                                      Disputed
         Hialeah, FL 33016-1821
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2672                      Is the claim subject to offset?     No       Yes

3.344
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD R BUSCH PA                                            Contingent
         8027 Abramshire Avenue                                       Unliquidated
         Dallas, TX 75231-4714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6248
                                                                   Is the claim subject to offset?     No       Yes

3.345
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD S ESKIN                                               Contingent
         PO Box 07157                                                 Unliquidated
         Ft. Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5638
                                                                   Is the claim subject to offset?     No       Yes

3.345
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HAROLD S RICHMOND                                            Contingent
         P.O. Box 695                                                 Unliquidated
         Quincy, FL 32351-0695
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7601
                                                                   Is the claim subject to offset?     No       Yes

3.345
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD S SMITH II                                            Contingent
         P.O. Box 1628                                                Unliquidated
         Bonita Springs, FL 33959
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1369
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 517 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 525 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.345
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HAROLD SILVER                                                Contingent
         418 N Main Street                                            Unliquidated
         Gainesville, FL 32601-5329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5266
                                                                   Is the claim subject to offset?     No       Yes

3.345
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD V HICKEY                                              Contingent
         7800 Southwest 57th Avenue Suite 305                         Unliquidated
         South Miami, FL 33143-5544
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8969
                                                                   Is the claim subject to offset?     No       Yes

3.345
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HAROLD W SCOVILL                                             Contingent
         1605 Main Street Suite 912                                   Unliquidated
         Sarasota, FL 34236-5847
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4209
                                                                   Is the claim subject to offset?     No       Yes

3.345
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAROLD WEISSMAN                                              Contingent
         1776 N Pine Island Road Suite 118                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4254
                                                                   Is the claim subject to offset?     No       Yes

3.345
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARPER & HARPER LAW FIRM PA                                  Contingent
         P.O. Box 10132                                               Unliquidated
         Tallahassee, FL 32302-2132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3895
                                                                   Is the claim subject to offset?     No       Yes

3.345
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         HARPER KYNES GELLER GREENLEAF                                Contingent
         1253 Park Street                                             Unliquidated
         Suite 200
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8089                      Is the claim subject to offset?     No       Yes

3.345
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Harper Law, P.A.                                             Contingent
         25 W Cedar Street                                            Unliquidated
         Suite 430
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0589                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 518 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 526 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.346
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HARPER MEYER PEREZ HAGEN                                     Contingent
         201 S. Biscayne Boulevard                                    Unliquidated
         Suite 800
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7324                      Is the claim subject to offset?     No       Yes

3.346
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Harper Ogden, L.L.C.                                         Contingent
         350 Tangerine Avenue                                         Unliquidated
         Suite 6
                                                                      Disputed
         Merritt Island, FL 32953
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0424                      Is the claim subject to offset?     No       Yes

3.346
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         HARRELL WILTSHIRE SWEARINGEN                                 Contingent
         P.O. Drawer 1832                                             Unliquidated
         Pensacola, FL 32598-1832
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7090
                                                                   Is the claim subject to offset?     No       Yes

3.346
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRIETT & SPROULL PA                                        Contingent
         314 Saint Johns Avenue                                       Unliquidated
         Palatka, FL 32177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0502
                                                                   Is the claim subject to offset?     No       Yes

3.346
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRINGTON LAW ASSOCIATES PLLC                               Contingent
         dba Harrington Legal Alliance                                Unliquidated
         311 Golf Road, #1200
                                                                      Disputed
         West Palm Beach, FL 33407
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6272                      Is the claim subject to offset?     No       Yes

3.346
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,699.64
         HARRIS BARRETT MANN & DEW                                    Contingent
         8077 38th Avenue N                                           Unliquidated
         St Petersburg, FL 33710-1029                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6285
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 519 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 527 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.346
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRIS CRAMER LLP                                            Contingent
         4867 PGA Boulevard                                           Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6518
                                                                   Is the claim subject to offset?     No       Yes

3.346
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Harris Howard, P.A.                                          Contingent
         4755 Technology Way                                          Unliquidated
         Suite 104
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8820                      Is the claim subject to offset?     No       Yes

3.346
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HARRIS MIDYETTE & DARBY PA                                   Contingent
         P.O. Box 24628                                               Unliquidated
         Lakeland, FL 33802-4628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5440
                                                                   Is the claim subject to offset?     No       Yes

3.346
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,028.24
         HARRIS, WALLACE & HARDY, P.A.                                Contingent
         P.O. Box 1606                                                Unliquidated
         Lakeland, FL 33802-1606                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5685
                                                                   Is the claim subject to offset?     No       Yes

3.347
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,171.97
         HARRISON HENDRICKSON &                                       Contingent
         P.O. Box 400                                                 Unliquidated
         Bradenton, FL 34206-0400                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3119
                                                                   Is the claim subject to offset?     No       Yes

3.347
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $625.00
         HARRISON KIRKLAND PRATT                                      Contingent
         P.O. Box 400                                                 Unliquidated
         Bradenton, FL 34206-0400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7312
                                                                   Is the claim subject to offset?     No       Yes

3.347
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRISON RIVARD ZIMMERMAN                                    Contingent
         P.O. Box 12                                                  Unliquidated
         Panama City, FL 32402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6483
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 520 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 528 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.347
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         HARRISON SALE MCCLOY DUNCAN                                  Contingent
         304 Magnolia Avenue                                          Unliquidated
         Panama City, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5802
                                                                   Is the claim subject to offset?     No       Yes

3.347
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $60.00
         HARRY A JOHNSTON II                                          Contingent
         P.O. Box 3475                                                Unliquidated
         West Palm Beach, FL 33402-3475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0247
                                                                   Is the claim subject to offset?     No       Yes

3.347
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY A JONES                                                Contingent
         1901 S Harbor City Boulevard Suite 500                       Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6410
                                                                   Is the claim subject to offset?     No       Yes

3.347
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         HARRY A KOPPEL                                               Contingent
         1933 Colonial Drive                                          Unliquidated
         Coral Springs, FL 33071-4033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7800
                                                                   Is the claim subject to offset?     No       Yes

3.347
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HARRY A PAYTON                                               Contingent
         One Biscayne Tower Suite 1600                                Unliquidated
         2 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4251                      Is the claim subject to offset?     No       Yes

3.347
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY B DONLEY                                               Contingent
         325 Cardinal Way                                             Unliquidated
         Stuart, FL 34996-2601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1016
                                                                   Is the claim subject to offset?     No       Yes

3.347
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Harry B. Smith                                               Contingent
         3250 Mary Street                                             Unliquidated
         Suite 102
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7184                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 521 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 529 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.348
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY BOEHME                                                 Contingent
         8519 S.W. 122nd Street                                       Unliquidated
         Miami, FL 33156-5123
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7664
                                                                   Is the claim subject to offset?     No       Yes

3.348
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY E GEISSINGER III                                       Contingent
         P.O. Box 2218                                                Unliquidated
         Palm Beach, FL 33480-2218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3631
                                                                   Is the claim subject to offset?     No       Yes

3.348
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HARRY G REID III                                             Contingent
         1120 W First Street Suite B                                  Unliquidated
         Sanford, FL 32771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6708
                                                                   Is the claim subject to offset?     No       Yes

3.348
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY H ROOT III                                             Contingent
         903 Swann Avenue                                             Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5833
                                                                   Is the claim subject to offset?     No       Yes

3.348
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY J CHADDERTON                                           Contingent
         5210 Southwest 96th Avenue                                   Unliquidated
         Miami, FL 33165-6451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 746
                                                                   Is the claim subject to offset?     No       Yes

3.348
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRY J KLAUSNER                                             Contingent
         11595 Kelly Road Suite 314                                   Unliquidated
         Ft Myers, FL 33908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7845
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 522 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 530 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.348
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRY J ROSS                                                 Contingent
         6100 Glades Road Suite 211                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6635
                                                                   Is the claim subject to offset?     No       Yes

3.348
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,517.52
         HARRY M ROSEN                                                Contingent
         P.O. Box 1900                                                Unliquidated
         Ft Lauderdale, FL 33302                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2983
                                                                   Is the claim subject to offset?     No       Yes

3.348
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY N LEMBECK                                              Contingent
         6085 Lake Forrest Drive Northwest Suite                      Unliquidated
         Atlanta, GA 30328-3846
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7178
                                                                   Is the claim subject to offset?     No       Yes

3.348
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRY S COLBURN JR                                           Contingent
         PO BOX 1865                                                  Unliquidated
         ENGLEWOOD, FL 34295-1865
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0911
                                                                   Is the claim subject to offset?     No       Yes

3.349
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HARRY TEMPKINS                                               Contingent
         605 Lincoln Road                                             Unliquidated
         Suite 301
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5294                      Is the claim subject to offset?     No       Yes

3.349
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARRY THOMAS HACKNEY                                         Contingent
         10115 Silver Bluff Drive                                     Unliquidated
         Leesburg, FL 34709-3672
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4927
                                                                   Is the claim subject to offset?     No       Yes

3.349
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARRY W SPISAK                                               Contingent
         29900 Southwest 170th Avenue                                 Unliquidated
         Homestead, FL 33030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7459
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 523 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 531 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.349
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HART FULLER & SMITH PA                                       Contingent
         P.O. Box 2120                                                Unliquidated
         Ocala, FL 32678
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6649
                                                                   Is the claim subject to offset?     No       Yes

3.349
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $525.00
         HARTER SECREST & EMERY LLP                                   Contingent
         5811 Pelican Bay Boulevard Suite 600                         Unliquidated
         Naples, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7645
                                                                   Is the claim subject to offset?     No       Yes

3.349
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         HARTLEY & WALL                                               Contingent
         P.O. Box 2168                                                Unliquidated
         Orlando, FL 32802-2168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8143
                                                                   Is the claim subject to offset?     No       Yes

3.349
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARTMAN CURTIN LAW FIRM                                      Contingent
         P.O. Box 10910                                               Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4414
                                                                   Is the claim subject to offset?     No       Yes

3.349
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVEY A SCHONBRUN                                           Contingent
         1802 N Morgan Street                                         Unliquidated
         Tampa, FL 33602-2328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4428
                                                                   Is the claim subject to offset?     No       Yes

3.349
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVEY D FRIEDMAN                                            Contingent
         3636 W Flagler Street                                        Unliquidated
         Miami, FL 33135-1030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4434
                                                                   Is the claim subject to offset?     No       Yes

3.349
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HARVEY D ROGERS                                              Contingent
         Courthouse Tower                                             Unliquidated
         44 W Flagler Street, Suite 1100
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5756                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 524 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 532 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.350
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVEY D SOMMER                                              Contingent
         745 US 1 Suite 205                                           Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4891
                                                                   Is the claim subject to offset?     No       Yes

3.350
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARVEY F GERBER JR                                           Contingent
         5362 W Yearling Drive                                        Unliquidated
         Beverly Hills, FL 34465
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2529
                                                                   Is the claim subject to offset?     No       Yes

3.350
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         HARVEY I REISEMAN                                            Contingent
         4000 Towerside Terrace Suite 1608                            Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3168
                                                                   Is the claim subject to offset?     No       Yes

3.350
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARVEY J KRUPP                                               Contingent
         6190 Northwest 98th Drive                                    Unliquidated
         Parkland, FL 33076-1822
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8729
                                                                   Is the claim subject to offset?     No       Yes

3.350
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVEY K MATTEL                                              Contingent
         1314 SE 2nd Avenue                                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6425
                                                                   Is the claim subject to offset?     No       Yes

3.350
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARVEY KOPELWITZ PA                                          Contingent
         7251 W Palmetto Park Road Suite 301                          Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4673
                                                                   Is the claim subject to offset?     No       Yes

3.350
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,244.63
         HARVEY L LASKY                                               Contingent
         5130 Southwest 72nd Road                                     Unliquidated
         Bushnell, FL 33513-9015                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7662
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 525 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 533 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.350
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HARVEY L RUBINCHIK PA                                        Contingent
         1860 N. Pine Island Road                                     Unliquidated
         Suite 109
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4956                      Is the claim subject to offset?     No       Yes

3.350
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HARVEY LASKY                                                 Contingent
         5130 Southwest 72nd Road                                     Unliquidated
         Bushnell, FL 33513
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6649
                                                                   Is the claim subject to offset?     No       Yes

3.350
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HARVEY R SCHNEIDER PA                                        Contingent
         5301 N. Federal Highway                                      Unliquidated
         Suite 265
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6901                      Is the claim subject to offset?     No       Yes

3.351
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HARVEY RICHMAN                                               Contingent
         19643 E Perimeter Road                                       Unliquidated
         Athol, ID 83801-9801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3464
                                                                   Is the claim subject to offset?     No       Yes

3.351
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HARVEY ROLLINGS                                              Contingent
         1633 Southeast 47th Terrace                                  Unliquidated
         Cape Coral, FL 33904-8731
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4376
                                                                   Is the claim subject to offset?     No       Yes

3.351
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVEY S LANGBERG                                            Contingent
         3800 Colorado Avenue Unit D                                  Unliquidated
         Boulder, CO 80303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4820
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 526 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 534 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.351
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HARVEY SCHOLL                                                Contingent
         21346 St. Andrews Boulevard                                  Unliquidated
         Suite 105
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6104                      Is the claim subject to offset?     No       Yes

3.351
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,915.74
         HARVEY V DELZER                                              Contingent
         7920 US Highway 19                                           Unliquidated
         Port Richey, FL 34668-3404                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7504
                                                                   Is the claim subject to offset?     No       Yes

3.351
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVEY WADDELL & MONAHAN                                     Contingent
         101 North J Street                                           Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5616
                                                                   Is the claim subject to offset?     No       Yes

3.351
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,733.64
         HARVEY WADDELL MONAHAN                                       Contingent
         101 N J Street                                               Unliquidated
         Suite 1                                                      Disputed
         Lake Worth, FL 33460
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3103                      Is the claim subject to offset?     No       Yes


3.351
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HARVIN & HARVIN LLP                                          Contingent
         900 E. Ocean Boulevard                                       Unliquidated
         Suite 210-B
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8712                      Is the claim subject to offset?     No       Yes

3.351
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,629.15
         HATCH & DOTY PA                                              Contingent
         1701 Highway A1A Suite 220                                   Unliquidated
         Vero Beach, FL 32963                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7491
                                                                   Is the claim subject to offset?     No       Yes

3.351
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAWKINS & GORDON PL                                          Contingent
         4755 SE Dixie Highway                                        Unliquidated
         Suite 302
                                                                      Disputed
         Port Salerno, FL 34992
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4155                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 527 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 535 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.352
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HAWLOW C MIDDLETON PA                                        Contingent
         28334 Churchill Smith Lane                                   Unliquidated
         Mount Dora, FL 32757-9301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5298
                                                                   Is the claim subject to offset?     No       Yes

3.352
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HAYGOOD & HARRIS LLC                                         Contingent
         701 Northpoint Parkway                                       Unliquidated
         Suite 209
                                                                      Disputed
         West Palm Beach, FL 33407
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2255                      Is the claim subject to offset?     No       Yes

3.352
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         HAYSKAR WALKER SCHWERER                                      Contingent
         Renaissance Financial Center                                 Unliquidated
         130 S Indian River Drive, Suite 304
                                                                      Disputed
         Fort Pierce, FL 34950
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4405                      Is the claim subject to offset?     No       Yes

3.352
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAYT HAYT & LANDEAU                                          Contingent
         9350 S Dixie Highway Suite 1200                              Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4233
                                                                   Is the claim subject to offset?     No       Yes

3.352
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HAYWARD & GRANT PA                                           Contingent
         2121-G Killarney Way Suite G                                 Unliquidated
         Tallahassee, FL 32309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5282
                                                                   Is the claim subject to offset?     No       Yes

3.352
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HAYWOOD M BALL                                               Contingent
         1912 Hamilton Street                                         Unliquidated
         Suite 205
                                                                      Disputed
         Jacksonville, FL 32210
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8550                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 528 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 536 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.352
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HEAD MOSS & FULTON PA                                        Contingent
         1530 Business Center Drive                                   Unliquidated
         Suite 4
                                                                      Disputed
         Fleming Island, FL 32003
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4960                      Is the claim subject to offset?     No       Yes

3.352
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Heartland Law, P.L.L.C.                                      Contingent
         8660 College Parkway                                         Unliquidated
         Suite 230
                                                                      Disputed
         Ft. Myers, FL 33919
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0569                      Is the claim subject to offset?     No       Yes

3.352
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HEATHER ANN RUTECKI                                          Contingent
         100 Southeast 2nd Street 34th Floor                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0153
                                                                   Is the claim subject to offset?     No       Yes

3.352
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HEATHER GILCHRIST                                            Contingent
         2375 Tamiami Trail N Suite 310                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2315
                                                                   Is the claim subject to offset?     No       Yes

3.353
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HEATHER J SYKES                                              Contingent
         7777 Davie Road Ext Suite 300-A                              Unliquidated
         Hollywood, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0417
                                                                   Is the claim subject to offset?     No       Yes

3.353
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HECTOR E LORA                                                Contingent
         6450 Collins Avenue Suite 808                                Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0626
                                                                   Is the claim subject to offset?     No       Yes

3.353
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HECTOR FORMOSO-MURIAS                                        Contingent
         P.O. Box 310490                                              Unliquidated
         Miami, FL 33231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6692
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 529 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 537 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.353
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HECTOR HERNANDEZ & ASSOCIATES                                Contingent
         6262 Southwest 40th Street Suite 3-H                         Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9802
                                                                   Is the claim subject to offset?     No       Yes

3.353
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HECTOR J MIR                                                 Contingent
         815 Ponce De Leon Boulevard                                  Unliquidated
         3rd Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9984                      Is the claim subject to offset?     No       Yes

3.353
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HECTOR M DIAZ PA                                             Contingent
         3191 Coral Way Suite 1000                                    Unliquidated
         Miami, FL 33145-3218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1639
                                                                   Is the claim subject to offset?     No       Yes

3.353
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HEIDI H UURANNIEMI PA                                        Contingent
         7634 NW 6th Avenue                                           Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6636
                                                                   Is the claim subject to offset?     No       Yes

3.353
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HEIDI HORAK                                                  Contingent
         20 18th Street S                                             Unliquidated
         St Petersburg, FL 33712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9088
                                                                   Is the claim subject to offset?     No       Yes

3.353
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HEIDI M TAUSCHER                                             Contingent
         124 Tangelo Court                                            Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5251
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 530 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 538 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.353
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HEIMBERG HEIMBERG RADER &                                    Contingent
         P.O. Box 810518                                              Unliquidated
         Boca Raton, FL 33481-0518
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4768
                                                                   Is the claim subject to offset?     No       Yes

3.354
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HEINRICH GORDON BATCHELDER                                   Contingent
         500 E Broward Boulevard 10th Floor                           Unliquidated
         Ft Lauderdale, FL 33394-3002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4245
                                                                   Is the claim subject to offset?     No       Yes

3.354
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $48.72
         HELAINE M BLUM                                               Contingent
         533 Green Spring Circle                                      Unliquidated
         Winter Springs, FL 32708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7955
                                                                   Is the claim subject to offset?     No       Yes

3.354
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HELEN C COSTA                                                Contingent
         6843 Main Street Suite 302                                   Unliquidated
         Miami Lakes, FL 33014-2048
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2258
                                                                   Is the claim subject to offset?     No       Yes

3.354
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HELEN M ROPER                                                Contingent
         1384 Northwest 144 Avenue                                    Unliquidated
         Pembroke Pines, FL 33028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7346
                                                                   Is the claim subject to offset?     No       Yes

3.354
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,618.17
         HELEN MCAFEE                                                 Contingent
         8922 Estate Drive                                            Unliquidated
         West Palm Beach, FL 33411                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 142
                                                                   Is the claim subject to offset?     No       Yes

3.354
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HELIO P. DE LA TORRE                                         Contingent
         201 Alhambra Circle, Suite 1102                              Unliquidated
         Coral Gables, FL 33134-5105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 285
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 531 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 539 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.354
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HELLER CHAMES & GARCIA PA                                    Contingent
         888 Brickell Avenue Suite 202                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9143
                                                                   Is the claim subject to offset?     No       Yes

3.354
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HELLINGER & PENABAD PA                                       Contingent
         283 Catalonia Avenue                                         Unliquidated
         Suite 100
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2346                      Is the claim subject to offset?     No       Yes

3.354
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,015.95
         HENDERSON FRANKLIN STARNES &                                 Contingent
         P.O. Box 280                                                 Unliquidated
         Ft Myers, FL 33902-0280                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 200
                                                                   Is the claim subject to offset?     No       Yes

3.354
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HENDERSON SACHS PA                                           Contingent
         7680 Universal Boulevard Suite 100                           Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4708
                                                                   Is the claim subject to offset?     No       Yes

3.355
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         HENDRY STONER & BROWN PA                                     Contingent
         604 Courtland Street                                         Unliquidated
         Suite 326
                                                                      Disputed
         Orlando, FL 32804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3758                      Is the claim subject to offset?     No       Yes

3.355
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Hengesbach & Hengesbach, P.A.                                Contingent
         5438 Spring Hill Drive                                       Unliquidated
         Spring Hill, FL 34606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6759
                                                                   Is the claim subject to offset?     No       Yes

3.355
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENNESSEY LAW FIRM PA                                        Contingent
         620 Northeast 76th Street                                    Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8619
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 532 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 540 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.355
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Henrietta Pace, Esquire                                      Contingent
         15155 NW 7 Avenue                                            Unliquidated
         Suite 1B
                                                                      Disputed
         Miami, FL 33169
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0389                      Is the claim subject to offset?     No       Yes

3.355
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HENRY A KAMP                                                 Contingent
         910 Collins Avenue                                           Unliquidated
         Miami Beach, FL 33139-5003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1857
                                                                   Is the claim subject to offset?     No       Yes

3.355
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HENRY A LOPEZ-AGUIAR PA                                      Contingent
         7483 Coral Way                                               Unliquidated
         Suite 210
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4242                      Is the claim subject to offset?     No       Yes

3.355
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,930.43
         HENRY BUCHANAN MICK HUDSON                                   Contingent
         P.O. Box 14079                                               Unliquidated
         Tallahassee, FL 32317-4079                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3952
                                                                   Is the claim subject to offset?     No       Yes

3.355
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY D PALOCI III                                           Contingent
         Paloci & Jones Chartered                                     Unliquidated
         6280 Lake Osprey Drive
                                                                      Disputed
         Sarasota, FL 34240
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2699                      Is the claim subject to offset?     No       Yes

3.355
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY E MARINES PA                                           Contingent
         8501 SW 124th Avenue                                         Unliquidated
         Suite 204-A
                                                                      Disputed
         Miami, FL 33183
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1597                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 533 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 541 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.355
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HENRY J KULAKOWSKI JR                                        Contingent
         33801 US Highway 19 N                                        Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7948
                                                                   Is the claim subject to offset?     No       Yes

3.356
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY J MARTOCCI                                             Contingent
         1678 Fiske Boulevard                                         Unliquidated
         Rockledge, FL 32955-2535
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6039
                                                                   Is the claim subject to offset?     No       Yes

3.356
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HENRY J PROMINSKI                                            Contingent
         P.O. Box 540                                                 Unliquidated
         Weirsdale, FL 32195-0540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6283
                                                                   Is the claim subject to offset?     No       Yes

3.356
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HENRY J WHELCHEL                                             Contingent
         P.O. Box G                                                   Unliquidated
         Blairstown, NJ 07825-0966
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4943
                                                                   Is the claim subject to offset?     No       Yes

3.356
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HENRY L KAYE                                                 Contingent
         P.O. Box 6038                                                Unliquidated
         West Palm Beach, FL 33405-6038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2978
                                                                   Is the claim subject to offset?     No       Yes

3.356
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HENRY LAFFER                                                 Contingent
         6651 W. Woolbright Road                                      Unliquidated
         Suite 126
                                                                      Disputed
         Boynton Beach, FL 33437
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6339                      Is the claim subject to offset?     No       Yes

3.356
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY M ANDREASEN JR                                         Contingent
         12811 Kenwood Lane Suite 113                                 Unliquidated
         Ft Myers, FL 33907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2383
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 534 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 542 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.356
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         HENRY NORTON                                                 Contingent
         Biscayne Building                                            Unliquidated
         19 W Flagler Street Suite 1201
                                                                      Disputed
         Miami, FL 33130-4428
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1683                      Is the claim subject to offset?     No       Yes

3.356
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,915.17
         HENRY P DUFFETT                                              Contingent
         120 E Granada Boulevard                                      Unliquidated
         Ormond Beach, FL 32176-6630                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5744
                                                                   Is the claim subject to offset?     No       Yes

3.356
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,139.47
         HENRY P TRAWICK PA                                           Contingent
         P.O. Box 4009                                                Unliquidated
         Sarasota, FL 34230-4019                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3020
                                                                   Is the claim subject to offset?     No       Yes

3.356
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HENRY PAUL JOHNSON                                           Contingent
         6640 Willow Park Drive                                       Unliquidated
         Naples, FL 34109-8916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8041
                                                                   Is the claim subject to offset?     No       Yes

3.357
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY R ENSLER                                               Contingent
         21698 Fall River Drive                                       Unliquidated
         Boca Raton, FL 33428-4818
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8458
                                                                   Is the claim subject to offset?     No       Yes

3.357
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY T SORENSEN II                                          Contingent
         11013 Countryway Boulevard                                   Unliquidated
         Tampa, FL 33626-2628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7393
                                                                   Is the claim subject to offset?     No       Yes

3.357
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY T SWANN III                                            Contingent
         P.O. Box 4415                                                Unliquidated
         St Augustine, FL 32085
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0128
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 535 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 543 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.357
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $691.48
         HENRY W CLAR                                                 Contingent
         P.O. Box 44-2134                                             Unliquidated
         Miami, FL 33144                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2787
                                                                   Is the claim subject to offset?     No       Yes

3.357
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HENRY W HICKS                                                Contingent
         601 S Fremont Avenue                                         Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6693
                                                                   Is the claim subject to offset?     No       Yes

3.357
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Hensel, Bailey & Harris, P.A.                                Contingent
         1320 Jersey Avenue                                           Unliquidated
         St. Cloud, FL 34769
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0578
                                                                   Is the claim subject to offset?     No       Yes

3.357
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT A FRIED                                              Contingent
         2524 E First Street                                          Unliquidated
         Ft Myers, FL 33901-2456
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7295
                                                                   Is the claim subject to offset?     No       Yes

3.357
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HERBERT B DELL                                               Contingent
         5001 S University Drive Suite J                              Unliquidated
         Ft Lauderdale, FL 33328-4506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5962
                                                                   Is the claim subject to offset?     No       Yes

3.357
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HERBERT B WILENSKY                                           Contingent
         9735 Northwest 52nd Street Suite 404                         Unliquidated
         Miami, FL 33178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1454
                                                                   Is the claim subject to offset?     No       Yes

3.357
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT BUCHWALD                                             Contingent
         P.O. Box 24649                                               Unliquidated
         Denver, CO 80224-0649
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2967
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 536 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 544 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.358
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT ELLIOTT                                              Contingent
         1111 Riverside Drive                                         Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6102
                                                                   Is the claim subject to offset?     No       Yes

3.358
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT H KUNMANN                                            Contingent
         2380 Date Palm Road                                          Unliquidated
         Boca Raton, FL 33432-7920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6523
                                                                   Is the claim subject to offset?     No       Yes

3.358
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT H ROLNICK                                            Contingent
         9734 W Sample Road                                           Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 144
                                                                   Is the claim subject to offset?     No       Yes

3.358
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT J BAUMANN JR                                         Contingent
         6200 Courtney Campbel Causeway                               Unliquidated
         Bayport Plaza Suite 1100
                                                                      Disputed
         Tampa, FL 33607-5915
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 414                       Is the claim subject to offset?     No       Yes

3.358
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $411.04
         HERBERT J JONES                                              Contingent
         P.O. Box 787                                                 Unliquidated
         Gainesville, FL 32602-0787                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3650
                                                                   Is the claim subject to offset?     No       Yes

3.358
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $706.73
         HERBERT J TELLER                                             Contingent
         Rt 3 Box 417c                                                Unliquidated
         Spruce Pine, NC 28777-9803                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1127
                                                                   Is the claim subject to offset?     No       Yes

3.358
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         HERBERT P BENN                                               Contingent
         P.O. Box 6445                                                Unliquidated
         West Palm Beach, FL 33405-0445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 901
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 537 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 545 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.358
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT W A THIELE                                           Contingent
         Leon County Courthouse Rm 202                                Unliquidated
         301 S Monroe Street
                                                                      Disputed
         Tallahassee, FL 32301-1856
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7383                      Is the claim subject to offset?     No       Yes

3.358
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERBERT W BIGGS                                              Contingent
         4201 Covey Circle                                            Unliquidated
         Naples, FL 34109-1523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4337
                                                                   Is the claim subject to offset?     No       Yes

3.358
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HERBERT W FISS JR                                            Contingent
         15310 Amberly Drive Suite 250                                Unliquidated
         Tampa, FL 33647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1542
                                                                   Is the claim subject to offset?     No       Yes

3.359
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HERBERT WILLIAMS                                             Contingent
         1201 US Highway 1 Suite 415                                  Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2150
                                                                   Is the claim subject to offset?     No       Yes

3.359
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HERBERT Z MARVIN                                             Contingent
         8100 Southwest 81st Drive Suite 276                          Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 169
                                                                   Is the claim subject to offset?     No       Yes

3.359
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HERCE & HERCE                                                Contingent
         1710 E 7th Avenue                                            Unliquidated
         Tampa, FL 33605-3806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1666
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 538 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 546 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.359
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HERDMAN & SAKELLARIDES PA                                    Contingent
         29605 US Highway 19 N Suite 110                              Unliquidated
         Clearwater, FL 33761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8426
                                                                   Is the claim subject to offset?     No       Yes

3.359
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HERMAN B. BLUMENTHAL III                                     Contingent
         9801 Seminole Blvd.                                          Unliquidated
         Seminole, FL 34642-2530
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7332
                                                                   Is the claim subject to offset?     No       Yes

3.359
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HERMAN COHEN                                                 Contingent
         622 Southwest First Street                                   Unliquidated
         Miami, FL 33130-1204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 917
                                                                   Is the claim subject to offset?     No       Yes

3.359
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HERMAN S PAUL                                                Contingent
         4811 Atlantic Boulevard Suite 2                              Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5889
                                                                   Is the claim subject to offset?     No       Yes

3.359
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $723.01
         HERMAN T. ISIS                                               Contingent
         P.O. Box 144567                                              Unliquidated
         Miami, FL 33114-4567                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 897
                                                                   Is the claim subject to offset?     No       Yes

3.359
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HERNANDEZ & HICKS PA                                         Contingent
         8551 W. Sunrise Boulevard                                    Unliquidated
         Suite 305
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8293                      Is the claim subject to offset?     No       Yes

3.359
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HERNANDEZ LAW ASSOCIATES PL                                  Contingent
         680 E. 49th Street                                           Unliquidated
         Hialeah, FL 33013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5879
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 539 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 547 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.360
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hernandez Law, P.L.                                          Contingent
         4810 SW 72nd Avenue                                          Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8872
                                                                   Is the claim subject to offset?     No       Yes

3.360
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HERSHOFF LUPINO & YAGEL LLP                                  Contingent
         88539 Overseas Highway                                       Unliquidated
         Tavernier, FL 33070
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6230
                                                                   Is the claim subject to offset?     No       Yes

3.360
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HERZFELD & RUBIN                                             Contingent
         801 Brickell Avenue Suite 1501                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6726
                                                                   Is the claim subject to offset?     No       Yes

3.360
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HERZFELD & RUBIN                                             Contingent
         7000 W Palmetto Park Road Suite 400                          Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8798
                                                                   Is the claim subject to offset?     No       Yes

3.360
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HETFELD & ASSOCIATES                                         Contingent
         12401 Orange Drive Suite 215                                 Unliquidated
         Davie, FL 33330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1412
                                                                   Is the claim subject to offset?     No       Yes

3.360
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HEWITT & SMILEY PA                                           Contingent
         10625 N. Military Trail                                      Unliquidated
         Suite 208
                                                                      Disputed
         Palm Beach Gardens, FL 33410-6552
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0532                      Is the claim subject to offset?     No       Yes

3.360
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hewitt Law Firm, P.A.                                        Contingent
         2739 Oak Ridge Court Suite 203                               Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9251
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 540 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 548 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.360
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HICKEY & JONES                                               Contingent
         United States District Court                                 Unliquidated
         207 Northwest 2nd Street
                                                                      Disputed
         Ocala, FL 34475-6666
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7774                      Is the claim subject to offset?     No       Yes

3.360
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HICKS MOTTO & EHRLICH PA                                     Contingent
         Mellon Bank Building Suite 1050                              Unliquidated
         1645 Palm Beach Lakes Boulevard
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6302                      Is the claim subject to offset?     No       Yes

3.360
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hicks Whiteside, P.A.                                        Contingent
         1206 Beacon Hill Drive                                       Unliquidated
         Tampa, FL 33613-2001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0691
                                                                   Is the claim subject to offset?     No       Yes

3.361
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HIGER LICHTER & GIVNER                                       Contingent
         18305 Biscayne Boulevard Suite 302                           Unliquidated
         Aventura, FL 33160-2172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3048
                                                                   Is the claim subject to offset?     No       Yes

3.361
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $12.50
         HIGGINS RIFKIN WOOD &                                        Contingent
         P.O. Box 509                                                 Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8407
                                                                   Is the claim subject to offset?     No       Yes

3.361
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HIGLEY & BARFIELD                                            Contingent
         P.O. Box 151629                                              Unliquidated
         Altamonte Springs, FL 32715-1629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6783
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 541 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 549 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.361
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HILARIO GONZALEZ II                                          Contingent
         1925 Brickell Avenue Suite D-301                             Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6464
                                                                   Is the claim subject to offset?     No       Yes

3.361
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HILDA M PORRO                                                Contingent
         12012 S. Shore Boulevard                                     Unliquidated
         Suite 208
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6448                      Is the claim subject to offset?     No       Yes

3.361
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hileman Law, P.A.                                            Contingent
         601 N Congress Avenue                                        Unliquidated
         Suite 431
                                                                      Disputed
         Delray Beach, FL 33445
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8353                      Is the claim subject to offset?     No       Yes

3.361
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HILL BETTS & NASH LLP                                        Contingent
         601 Brickell Key Drive Suite 500                             Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9010
                                                                   Is the claim subject to offset?     No       Yes

3.361
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         HILL WARD & HENDERSON PA                                     Contingent
         P.O. Box 2231                                                Unliquidated
         Tampa, FL 33601-2231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3600
                                                                   Is the claim subject to offset?     No       Yes

3.361
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HILLARY HARRISON GULDEN PA                                   Contingent
         220 Sunrise Avenue Suite 100a                                Unliquidated
         Palm Beach, FL 33480-3871
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2074
                                                                   Is the claim subject to offset?     No       Yes

3.361
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Hillcrest Title & Trust Agency, L.L.C.                       Contingent
         10245 Centurion Parkway North                                Unliquidated
         Sutie 310
                                                                      Disputed
         Jacksonville, FL 32256
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8258                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 542 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 550 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.362
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hiller Law, P.A.                                             Contingent
         2655 S. Le Jeune Road PH-2C                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0519
                                                                   Is the claim subject to offset?     No       Yes

3.362
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HILLEY & WYANT-CORTEZ PA                                     Contingent
         840 US Highway 1                                             Unliquidated
         Suite 345
                                                                      Disputed
         North Palm Beach, FL 33408-3834
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2361                      Is the claim subject to offset?     No       Yes

3.362
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         HILTON HILTON KOLK & ROESCH                                  Contingent
         P.O. Box 59462                                               Unliquidated
         Panama City, FL 32412-0462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3545
                                                                   Is the claim subject to offset?     No       Yes

3.362
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HINES NORMAN HINES PL                                        Contingent
         315 S. Hyde Park Avenue                                      Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4341
                                                                   Is the claim subject to offset?     No       Yes

3.362
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HINMAN HOWARD & KATELL LLP                                   Contingent
         4600 N Ocean Boulevard Suite 206                             Unliquidated
         Boynton Beach, FL 33435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0578
                                                                   Is the claim subject to offset?     No       Yes

3.362
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HINSHAW & CULBERTSON                                         Contingent
         2525 Ponce De Leon Boulevard                                 Unliquidated
         4th Floor
                                                                      Disputed
         Miami, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7470                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 543 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 551 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.362
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HK Title Solutions, LLC                                      Contingent
         9800 4th Street N.                                           Unliquidated
         Suite 200
                                                                      Disputed
         St. Petersburg, FL 33702
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0573                      Is the claim subject to offset?     No       Yes

3.362
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hoagland Law, P.L.L.C.                                       Contingent
         P.O. Box 692514                                              Unliquidated
         Orlando, FL 32869
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7100
                                                                   Is the claim subject to offset?     No       Yes

3.362
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hoatson Law Firm, P.A.                                       Contingent
         1059 Maitland Center Commons Boulevard                       Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9115
                                                                   Is the claim subject to offset?     No       Yes

3.362
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         HOBBS AND HOBBS PL                                           Contingent
         3818 W. Azeele Street                                        Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2644
                                                                   Is the claim subject to offset?     No       Yes

3.363
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOBBY & HOBBY PA                                             Contingent
         109 N. Brush Street                                          Unliquidated
         Suite 250
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8939                      Is the claim subject to offset?     No       Yes

3.363
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOBBY & HOBBY PA                                             Contingent
         5709 Tidalwave Drive                                         Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8939
                                                                   Is the claim subject to offset?     No       Yes

3.363
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hochman and Peppler, L.L.C.                                  Contingent
         3208 W State Road 426 Suite 2000                             Unliquidated
         Oviedo, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6926
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 544 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 552 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.363
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOCHSZTEIN & HARRISON-JOLLY PA                               Contingent
         3475 Sheridan Street                                         Unliquidated
         Suite 209
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7587                      Is the claim subject to offset?     No       Yes

3.363
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HODGSON RUSS ANDREWS WOODS                                   Contingent
         222 Lakeview Avenue Suite 930                                Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5260
                                                                   Is the claim subject to offset?     No       Yes

3.363
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         HODGSON RUSS LLP                                             Contingent
         1801 N Military Trail Suite 200                              Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5260
                                                                   Is the claim subject to offset?     No       Yes

3.363
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hoekstra Law Firm, P.A.                                      Contingent
         722 W. Smith Street                                          Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0603
                                                                   Is the claim subject to offset?     No       Yes

3.363
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         HOFFMAN LARIN & AGNETTI PA                                   Contingent
         909 N Miami Beach Boulevard Suite 201                        Unliquidated
         North Miami Beach, FL 33162-3703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7628
                                                                   Is the claim subject to offset?     No       Yes

3.363
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hoffman Larin & Agnetti, P.A.                                Contingent
         909 N Miami Beach Boulevard Suite 201                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9422
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 545 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 553 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.363
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOFFMANN & HOFFMANN PA                                       Contingent
         P.O. Box 214724                                              Unliquidated
         South Daytona, FL 32121-4724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2565
                                                                   Is the claim subject to offset?     No       Yes

3.364
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOGAN & HARTSON LLP                                          Contingent
         Mellon Financial Center                                      Unliquidated
         1111 Brickell Avenue Suite 1900
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6686                      Is the claim subject to offset?     No       Yes

3.364
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         HOLBROOK AKEL COLD STIEFEL &                                 Contingent
         1 Independent Drive                                          Unliquidated
         Suite 2301
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2902                      Is the claim subject to offset?     No       Yes

3.364
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLCOMB & MAYTS PL                                           Contingent
         3203 W Cypress Street                                        Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3331
                                                                   Is the claim subject to offset?     No       Yes

3.364
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         HOLDEN CARPENTER ROSCOW &                                    Contingent
         5608 NW 43rd Street                                          Unliquidated
         Gainesville, FL 32653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 251
                                                                   Is the claim subject to offset?     No       Yes

3.364
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOLDEN RAPPENECKER AND                                       Contingent
         2772 Northwest 43rd Street Suite S                           Unliquidated
         Gainesville, FL 32606-7447
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4984
                                                                   Is the claim subject to offset?     No       Yes

3.364
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,716.06
         HOLLAND & KNIGHT LLP                                         Contingent
         P.O. Box 32092                                               Unliquidated
         Lakeland, FL 33802-2092                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 214
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 546 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 554 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.364
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Holland & Knight, L.L.P.                                     Contingent
         P.O. Box 1288                                                Unliquidated
         Tampa, FL 33601-1288
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 214
                                                                   Is the claim subject to offset?     No       Yes

3.364
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $295.00
         HOLLAND STARLING SEVERS                                      Contingent
         509 S Palm Avenue                                            Unliquidated
         Titusville, FL 32796-3537
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 553
                                                                   Is the claim subject to offset?     No       Yes

3.364
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLLIS F RUSSELL                                             Contingent
         450 Royal Palm Way                                           Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1057
                                                                   Is the claim subject to offset?     No       Yes

3.364
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLLY A HARMON                                               Contingent
         Holly A. Harmon Chartered                                    Unliquidated
         6621 Willow Park Drive Suite 2
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7418                      Is the claim subject to offset?     No       Yes

3.365
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HOLLY A MANTLE                                               Contingent
         625 Beachland Boulevard Suite 1                              Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2767
                                                                   Is the claim subject to offset?     No       Yes

3.365
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOLLY B CHERNOFF PA                                          Contingent
         3033 Riviera Drive                                           Unliquidated
         Suite 103
                                                                      Disputed
         Naples, FL 34103-2750
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8337                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 547 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 555 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.365
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLLY COHEN                                                  Contingent
         12700 Biscayne Boulevard                                     Unliquidated
         Suite 401
                                                                      Disputed
         North Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3852                      Is the claim subject to offset?     No       Yes

3.365
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLLY EAKIN MOODY                                            Contingent
         2900 E. Oakland Park Boulevard                               Unliquidated
         2nd Floor
                                                                      Disputed
         Ft Lauderdale, FL 33306-1804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3949                      Is the claim subject to offset?     No       Yes

3.365
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLLY G DORO PA                                              Contingent
         1516 Southeast 12th Street                                   Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7555
                                                                   Is the claim subject to offset?     No       Yes

3.365
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOLLY G GERSHON                                              Contingent
         301 Crawford Boulevard                                       Unliquidated
         Suite 101
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7941                      Is the claim subject to offset?     No       Yes

3.365
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLMAN COHEN & VALENCIA                                      Contingent
         2739 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2004
                                                                   Is the claim subject to offset?     No       Yes

3.365
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOLTSINGER & QUINLAN                                         Contingent
         3611 Granada Street                                          Unliquidated
         Tampa, FL 33629-6917
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8394
                                                                   Is the claim subject to offset?     No       Yes

3.365
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         HOLTZMAN EQUELS PA                                           Contingent
         2601 S Bayshore Drive Suite 600                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4280
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 548 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 556 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.365
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Home Owners Title, Inc.                                      Contingent
         350 N. Lake Destiny Road                                     Unliquidated
         Suite 106
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0177                      Is the claim subject to offset?     No       Yes

3.366
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOMER & BONNER PA                                            Contingent
         1441 Brickell Avenue                                         Unliquidated
         Suite 1200
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5877                      Is the claim subject to offset?     No       Yes

3.366
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOMER BONNER & DELGADO PA                                    Contingent
         3400 Nationsbank Tower                                       Unliquidated
         100 Southeast 2nd Street
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4694                      Is the claim subject to offset?     No       Yes

3.366
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOMER H MARSHMAN JR                                          Contingent
         2631 S Flagler Drive                                         Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 454
                                                                   Is the claim subject to offset?     No       Yes

3.366
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON A JAY CRISTOL                                            Contingent
         4000 Towerside Terrace Apt 1002                              Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2211
                                                                   Is the claim subject to offset?     No       Yes

3.366
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON A LESTER LANGER                                          Contingent
         3300 Northwest 27th Avenue                                   Unliquidated
         Miami, FL 33142
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7819
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 549 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 557 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.366
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON ALLEN KORNBLUM                                           Contingent
         7901 Stanza Street                                           Unliquidated
         Boynton Beach, FL 33437-6607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5632
                                                                   Is the claim subject to offset?     No       Yes

3.366
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON AMY STEELE DONNER                                        Contingent
         73 W Flagler Street Suite 303                                Unliquidated
         Miami, FL 33130-1731
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6497
                                                                   Is the claim subject to offset?     No       Yes

3.366
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON BARRY J STONE                                            Contingent
         P.O. Box 3315                                                Unliquidated
         West Palm Beach, FL 33402-3315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3293
                                                                   Is the claim subject to offset?     No       Yes

3.366
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON BURTON G CONNER                                          Contingent
         301 Northwest 5th Street                                     Unliquidated
         Okeechobee, FL 34972-2564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4595
                                                                   Is the claim subject to offset?     No       Yes

3.366
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON CATHERINE M BRUNSON                                      Contingent
         Palm Beach County Courthouse                                 Unliquidated
         300 N Dixie Rm 308 M
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7875                      Is the claim subject to offset?     No       Yes

3.367
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON CHARLES A FRANCIS                                        Contingent
         P.O. Box 10551                                               Unliquidated
         Francis & Sweet
                                                                      Disputed
         Tallahassee, FL 32302-2551
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 322                       Is the claim subject to offset?     No       Yes

3.367
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON CHARLES M HOLCOMB                                        Contingent
         Titusvillw Courthouse                                        Unliquidated
         506 Palm Avenue
                                                                      Disputed
         Titusville, FL 32796
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3556                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 550 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 558 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.367
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         HON CRAIG C VILLANTI                                         Contingent
         5841 Main Street                                             Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6532
                                                                   Is the claim subject to offset?     No       Yes

3.367
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON DOUGLAS A WALLACE                                        Contingent
         P.O. Box 327                                                 Unliquidated
         Lakeland, FL 33802-0327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4873
                                                                   Is the claim subject to offset?     No       Yes

3.367
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON E RANDOLPH BENTLEY                                       Contingent
         3 Casa Loma Way                                              Unliquidated
         Lakeland, FL 33813-2806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3269
                                                                   Is the claim subject to offset?     No       Yes

3.367
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON EDWARD H BERGSTROM                                       Contingent
         6711 Embassy Boulevard Apt 209                               Unliquidated
         New Port Richey, FL 34668-4740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3399
                                                                   Is the claim subject to offset?     No       Yes

3.367
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,242.19
         HON GEORGE H PIERCE                                          Contingent
         P.O. Box 95                                                  Unliquidated
         Earleton, FL 32631                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3669
                                                                   Is the claim subject to offset?     No       Yes

3.367
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON HUGH D HAYES                                             Contingent
         3301 E Tamiami Trail                                         Unliquidated
         Naples, FL 33962-4902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5441
                                                                   Is the claim subject to offset?     No       Yes

3.367
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON J LEWIS HALL JR                                          Contingent
         P.O. Drawer 840                                              Unliquidated
         Tallahassee, FL 32302-0840
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 127
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 551 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 559 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.367
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON J PRESTON SILVERNAIL                                     Contingent
         The Moore Justice Center                                     Unliquidated
         2825 Judge Fran Jamieson Way
                                                                      Disputed
         Viera, FL 32940
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7047                      Is the claim subject to offset?     No       Yes

3.368
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON JAMES E C PERRY                                          Contingent
         P.O. Box 2248                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0098
                                                                   Is the claim subject to offset?     No       Yes

3.368
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON JEFF J MCKIBBEN                                          Contingent
         P.O. Box 1748                                                Unliquidated
         Wauchula, FL 33873-1748
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5397
                                                                   Is the claim subject to offset?     No       Yes

3.368
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON JOHN F LAURENT                                           Contingent
         P.O. Box 1018                                                Unliquidated
         Bartow, FL 33830-1018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6869
                                                                   Is the claim subject to offset?     No       Yes

3.368
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON JOHN J MURPHY III                                        Contingent
         201 Southeast 6th Street                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6742
                                                                   Is the claim subject to offset?     No       Yes

3.368
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON JOHNNY R HOBBS JR                                        Contingent
         P.O. Drawer 340                                              Unliquidated
         Starke, FL 32091-0938
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8509
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 552 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 560 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.368
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON JOSEPH M WILLIAMS                                        Contingent
         P.O. Box 394                                                 Unliquidated
         Macclenny, FL 32063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7422
                                                                   Is the claim subject to offset?     No       Yes

3.368
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON JUAN RAMIREZ JR                                          Contingent
         1351 Northwest 12th Street                                   Unliquidated
         Room 525-526
                                                                      Disputed
         Miami, FL 33125-1644
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6726                      Is the claim subject to offset?     No       Yes

3.368
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         HON KENNETH R LESTER JR                                      Contingent
         Seminole County Courthouse                                   Unliquidated
         301 N Park Avenue
                                                                      Disputed
         Sanford, FL 32771
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1801                      Is the claim subject to offset?     No       Yes

3.368
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,953.85
         HON KENTON H HAYMANS                                         Contingent
         P.O. Box 1447                                                Unliquidated
         Punta Gorda, FL 33951-1447                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5410
                                                                   Is the claim subject to offset?     No       Yes

3.368
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON KIRBY SULLIVAN                                           Contingent
         P.O. Box 1557                                                Unliquidated
         Moore Haven, FL 33471-1557
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4857
                                                                   Is the claim subject to offset?     No       Yes

3.369
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON LAWRENCE J SEMENTO                                       Contingent
         P.O. Box 680                                                 Unliquidated
         Eustis, FL 32727-0680
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8750
                                                                   Is the claim subject to offset?     No       Yes

3.369
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON LOUIS H SCHIFF                                           Contingent
         8142 N University Drive                                      Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6970
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 553 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 561 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.369
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,286.76
         HON LYNN GERALD JR                                           Contingent
         Lee County Justice Center                                    Unliquidated
         1700 Monroe Street                                           Disputed
         Ft Myers, FL 33901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5718                      Is the claim subject to offset?     No       Yes


3.369
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON MARC SCHUMACHER                                          Contingent
         13850 Southwest 77th Court                                   Unliquidated
         Miami, FL 33158-1103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6026
                                                                   Is the claim subject to offset?     No       Yes

3.369
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON MARCUS J EZELLE                                          Contingent
         412 W Orange Street Room A104                                Unliquidated
         Wauchula, FL 33873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7848
                                                                   Is the claim subject to offset?     No       Yes

3.369
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON MARGARET T WALLER                                        Contingent
         P.O. Box 422103                                              Unliquidated
         Kissimmee, FL 34742-2103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 235
                                                                   Is the claim subject to offset?     No       Yes

3.369
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON NANCY F ALLEY                                            Contingent
         1108 Cardinal Creek Pl                                       Unliquidated
         Oviedo, FL 32765-8671
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0375
                                                                   Is the claim subject to offset?     No       Yes

3.369
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON PAUL L BACKMAN                                           Contingent
         201 Southeast 6th Street Room 5790                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5185
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 554 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 562 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.369
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON PETER K SIEG                                             Contingent
         201 E University Avenue Room 303                             Unliquidated
         Gainesville, FL 32604-5508
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5532
                                                                   Is the claim subject to offset?     No       Yes

3.369
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON PHILIP FOUGEROUSSE                                       Contingent
         P.O. Box 34027                                               Unliquidated
         Indialantic, FL 32903-1207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3842
                                                                   Is the claim subject to offset?     No       Yes

3.370
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON R THOMAS CORBIN                                          Contingent
         P.O. Box 1470                                                Unliquidated
         N Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7036
                                                                   Is the claim subject to offset?     No       Yes

3.370
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,069.64
         HON R TIMOTHY PETERS                                         Contingent
         P.O. Box 6316                                                Unliquidated
         Clearwater, FL 34618-6316                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7785
                                                                   Is the claim subject to offset?     No       Yes

3.370
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON RAYMOND J HARE                                           Contingent
         4440 Northeast 16th Terrace                                  Unliquidated
         Ft Lauderdale, FL 33334-5513
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 793
                                                                   Is the claim subject to offset?     No       Yes

3.370
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON RICHARD TOMBRINK, JR                                     Contingent
         21042 Dandy Road                                             Unliquidated
         Brooksville, FL 34601-1636
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7622
                                                                   Is the claim subject to offset?     No       Yes

3.370
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON ROBERT J MORRIS JR                                       Contingent
         35 W Lemon Street                                            Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4431
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 555 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 563 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.370
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON ROBERT M MOORE                                           Contingent
         P.O. Box 248                                                 Unliquidated
         Pt St Joe, FL 32456-0248
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4158
                                                                   Is the claim subject to offset?     No       Yes

3.370
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON ROBERT R PLAINES                                         Contingent
         P.O. Box 547                                                 Unliquidated
         Monticello, FL 32345
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2401
                                                                   Is the claim subject to offset?     No       Yes

3.370
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON ROBERT V PARKER                                          Contingent
         18561 Misty Lake Drive                                       Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3809
                                                                   Is the claim subject to offset?     No       Yes

3.370
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON RUPERT JASEN SMITH                                       Contingent
         1805 Mayflower Road                                          Unliquidated
         Ft Pierce, FL 34950-8144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2438
                                                                   Is the claim subject to offset?     No       Yes

3.370
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON RUSSELL A COLE JR                                        Contingent
         911 N Hubbard                                                Unliquidated
         Bonifay, FL 32425-1702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4890
                                                                   Is the claim subject to offset?     No       Yes

3.371
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON SHARON B ATACK                                           Contingent
         P.O. Box 1505                                                Unliquidated
         Flagler Beach, FL 32136-1505
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6082
                                                                   Is the claim subject to offset?     No       Yes

3.371
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON TERRY T NEAL                                             Contingent
         P.O. Box 490327                                              Unliquidated
         Leesburg, FL 34749-0327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2418
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 556 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 564 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.371
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON THOMAS G FREEMAN                                         Contingent
         P.O. Box 70                                                  Unliquidated
         Altamonte Springs, FL 32715-0070
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4478
                                                                   Is the claim subject to offset?     No       Yes

3.371
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,683.63
         HON THOMAS M GALLEN                                          Contingent
         8720 11th Avenue Northwest                                   Unliquidated
         Bradenton, FL 34209-9673                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8236
                                                                   Is the claim subject to offset?     No       Yes

3.371
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,419.75
         HON VINCENT MURPHY                                           Contingent
         3301 Tamiami Trail                                           Unliquidated
         Naples, FL 34112                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4415
                                                                   Is the claim subject to offset?     No       Yes

3.371
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON WAYNE L COBB                                             Contingent
         16851 Almar Lane                                             Unliquidated
         Dade City, FL 33523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3196
                                                                   Is the claim subject to offset?     No       Yes

3.371
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON WILLIAM F STONE                                          Contingent
         P.O. Box 2230                                                Unliquidated
         Ft Walton Beach, FL 32549-2230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7861
                                                                   Is the claim subject to offset?     No       Yes

3.371
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON WILLIAM J CASTAGNA                                       Contingent
         611 N Florida Avenue Room 301                                Unliquidated
         Tampa, FL 33602-4500
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 573
                                                                   Is the claim subject to offset?     No       Yes

3.371
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON WILLIAM L BLACKWELL                                      Contingent
         Charlotte County Justice Center                              Unliquidated
         350 E Marion Avenue
                                                                      Disputed
         Punta Gorda, FL 33950
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6709                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 557 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 565 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.371
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HON WILLIAM R SLAUGHTER                                      Contingent
         200 Ohio Avenue South                                        Unliquidated
         Live Oak, FL 32064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8541
                                                                   Is the claim subject to offset?     No       Yes

3.372
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON. DAVID L. REIMAN                                         Contingent
         55 W Main Street Rm 207                                      Unliquidated
         Lake Butler, FL 32054-1654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 406
                                                                   Is the claim subject to offset?     No       Yes

3.372
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON. JERE E. LOBER                                           Contingent
         8105 S. Tropical Trail                                       Unliquidated
         Merritt Island, FL 32952-6714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7660
                                                                   Is the claim subject to offset?     No       Yes

3.372
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON. JOHN D. WESSEL                                          Contingent
         Palm Beach County Courthouse                                 Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4023
                                                                   Is the claim subject to offset?     No       Yes

3.372
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON. JOHN E. FUTCH                                           Contingent
         1441 S.W. 42nd Road                                          Unliquidated
         Ocala, FL 32674-3402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4728
                                                                   Is the claim subject to offset?     No       Yes

3.372
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON. LEONARD FEINER                                          Contingent
         201 Southeast Sixth Street                                   Unliquidated
         Ft Lauderdale, FL 33301-3302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6568
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 558 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 566 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.372
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON. PATRICK G. KENNEDY                                      Contingent
         125 E. Orange Ave.                                           Unliquidated
         Room 204
                                                                      Disputed
         Daytona Beach, FL 32114-4400
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4909                      Is the claim subject to offset?     No       Yes

3.372
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         HON. R. EARL COLLINS                                         Contingent
         P.O. Box 716                                                 Unliquidated
         Wauchula, FL 33873-0716
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6434
                                                                   Is the claim subject to offset?     No       Yes

3.372
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $519.53
         HON. R. GRABLE STOUTAMIRE                                    Contingent
         1259 S. Myrtle Avenue                                        Unliquidated
         Clearwater, FL 34616-3470                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7130
                                                                   Is the claim subject to offset?     No       Yes

3.372
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HON. WALTER N. COLBATH, JR.                                  Contingent
         300 N. Dixie Highway Suite 444 I                             Unliquidated
         West Palm Beach, FL 33401-4640
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3081
                                                                   Is the claim subject to offset?     No       Yes

3.372
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HON. WILLIAM C. JOHNSON, JR.                                 Contingent
         2232 S. Halifax Drive                                        Unliquidated
         Daytona Beach, FL 32118-5310
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2646
                                                                   Is the claim subject to offset?     No       Yes

3.373
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HONIG KAPLAN & SEGALL                                        Contingent
         Suite 409                                                    Unliquidated
         1250 E Hallandale Beach Boulevard
                                                                      Disputed
         Hallandale, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7840                      Is the claim subject to offset?     No       Yes

3.373
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         HONIGMAN MILLER SCHWARTZ &                                   Contingent
         2290 1st National Building                                   Unliquidated
         660 Woodward Avenue
                                                                      Disputed
         Detroit, MI 48226-3583
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8241                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 559 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 567 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.373
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HONORABLE ARTHUR G WROBLE                                    Contingent
         7645 Clarke Road                                             Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1295
                                                                   Is the claim subject to offset?     No       Yes

3.373
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HONORABLE BARBARA ARECES                                     Contingent
         10348 Northwest 46th Terrace                                 Unliquidated
         Doral, FL 33178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5231
                                                                   Is the claim subject to offset?     No       Yes

3.373
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HONORABLE FREDERICK D SMITH                                  Contingent
         201 East University Avenue Rm 130                            Unliquidated
         Alachua County Courthouse
                                                                      Disputed
         Gainesville, FL 32601-5461
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7752                      Is the claim subject to offset?     No       Yes

3.373
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hoonhout Law, Chartered                                      Contingent
         1219 S. East Avenue                                          Unliquidated
         Suite 202
                                                                      Disputed
         Sarasota, FL 34239
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0643                      Is the claim subject to offset?     No       Yes

3.373
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         HORACE D ROBUCK JR                                           Contingent
         610 E. Main Street                                           Unliquidated
         Leesburg, FL 34748-1357
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0677
                                                                   Is the claim subject to offset?     No       Yes

3.373
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HORACE E BEACHAM JR                                          Contingent
         249 Peruvian Avenue                                          Unliquidated
         Palm Beach, FL 33480-6034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2777
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 560 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 568 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.373
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HORACE SMITH JR                                              Contingent
         P.O. Box 15200                                               Unliquidated
         Daytona Beach, FL 32115-5200
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3618
                                                                   Is the claim subject to offset?     No       Yes

3.373
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HORACIO SOSA                                                 Contingent
         1825 Main Street Suite 201                                   Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9795
                                                                   Is the claim subject to offset?     No       Yes

3.374
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         HORAN & HORAN                                                Contingent
         608 Whitehead Street                                         Unliquidated
         Key West, FL 33040-6549
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 191
                                                                   Is the claim subject to offset?     No       Yes

3.374
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $167.55
         HOROWITZ & ROLNICK                                           Contingent
         6800 W Commercial Boulevard Suite 5                          Unliquidated
         Ft Lauderdale, FL 33319-2149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7621
                                                                   Is the claim subject to offset?     No       Yes

3.374
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HORTON & POROUTAUD                                           Contingent
         900 W Highway 50                                             Unliquidated
         Clermont, FL 34711-2873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9596
                                                                   Is the claim subject to offset?     No       Yes

3.374
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOSEY HERNANDEZ                                              Contingent
         2701 S Bayshore Drive Suite 602                              Unliquidated
         Miami, FL 33133-5360
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7983
                                                                   Is the claim subject to offset?     No       Yes

3.374
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOSKINS & PENTON PA                                          Contingent
         2123 Northeast Coachman Road Suite B                         Unliquidated
         Clearwater, FL 33765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0460
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 561 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 569 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.374
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOUSTON & SHAHADY PA                                         Contingent
         350 E Las Olas Boulevard Suite 1700                          Unliquidated
         Ft Lauderdale, FL 33301-4217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8141
                                                                   Is the claim subject to offset?     No       Yes

3.374
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD A CAPLAN                                              Contingent
         6260 Dupont Station Court Suite C                            Unliquidated
         Jacksonville, FL 32217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5566
                                                                   Is the claim subject to offset?     No       Yes

3.374
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD A KUSNICK PA                                          Contingent
         P.O. Box 25646                                               Unliquidated
         Tamarac, FL 33320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7736
                                                                   Is the claim subject to offset?     No       Yes

3.374
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWARD A ROSE                                                Contingent
         20495 Northeast 34th Court                                   Unliquidated
         Miami, FL 33180-1655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4146
                                                                   Is the claim subject to offset?     No       Yes

3.374
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HOWARD ALLEN COHEN                                           Contingent
         C/O Atkinson Diner Et Al                                     Unliquidated
         1946 Tyler Street
                                                                      Disputed
         Hollywood, FL 33020-4517
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6601                      Is the claim subject to offset?     No       Yes

3.375
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD B EMORY                                               Contingent
         12880 Southwest 63rd Court                                   Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4996
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 562 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 570 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.375
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD B NADEL                                               Contingent
         301 W. Hallandale Beach Boulevard                            Unliquidated
         Hallandale Beach, FL 33009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7286
                                                                   Is the claim subject to offset?     No       Yes

3.375
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD B SENIOR III PA                                       Contingent
         9100 S Dadeland Boulevard Suite 1104                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2966
                                                                   Is the claim subject to offset?     No       Yes

3.375
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWARD C BATT                                                Contingent
         611 Druid Road E Suite 712                                   Unliquidated
         Druhill Professional Center
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7867                      Is the claim subject to offset?     No       Yes

3.375
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD E ENRIQUE PA                                          Contingent
         1515 N. University Drive                                     Unliquidated
         Suite 118
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7612                      Is the claim subject to offset?     No       Yes

3.375
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.30
         HOWARD F SCOTT                                               Contingent
         2600 Douglas Road Suite 709                                  Unliquidated
         Coral Gables, FL 33134-6125                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8122
                                                                   Is the claim subject to offset?     No       Yes

3.375
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOWARD H BABB JR                                             Contingent
         19029 Lake Swatara                                           Unliquidated
         Eustis, FL 32726-7709
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4968
                                                                   Is the claim subject to offset?     No       Yes

3.375
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD J FALCON III                                          Contingent
         7872 Quida Drive                                             Unliquidated
         West Palm Beach, FL 33411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9157
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 563 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 571 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.375
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD J SCHUMACHER                                          Contingent
         One E Broward Boulevard Suite 700                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7791
                                                                   Is the claim subject to offset?     No       Yes

3.375
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $37.43
         HOWARD J SPIEGEL                                             Contingent
         P.O. Box 836085                                              Unliquidated
         Miami, FL 33283-6085
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 579
                                                                   Is the claim subject to offset?     No       Yes

3.376
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOWARD K COATES JR PA                                        Contingent
         P.O. Box 1192                                                Unliquidated
         Loxahatchee, FL 33470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9014
                                                                   Is the claim subject to offset?     No       Yes

3.376
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWARD L CAUVEL                                              Contingent
         233 E Rich Avenue                                            Unliquidated
         Deland, FL 32724-4357
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes

3.376
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWARD L KUKER                                               Contingent
         9200 S Dadeland Boulevard                                    Unliquidated
         Suite 508
                                                                      Disputed
         Miami, FL 33156-2703
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 272                       Is the claim subject to offset?     No       Yes

3.376
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $179.63
         HOWARD L MAYES JR                                            Contingent
         P.O. Box 5636                                                Unliquidated
         Titusville, FL 32783-5636
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2610
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 564 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 572 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.376
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD MARK FURMAN                                           Contingent
         2645 Executive Park Drive Suite 143                          Unliquidated
         Weston, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8452
                                                                   Is the claim subject to offset?     No       Yes

3.376
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD O MORRIS JR                                           Contingent
         732 John Barry Drive                                         Unliquidated
         Byrn Mawr, PA 19019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6685
                                                                   Is the claim subject to offset?     No       Yes

3.376
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOWARD P GARMAN JR                                           Contingent
         2400 Southwest 86th Avenue                                   Unliquidated
         Davie, FL 33324-5758
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1491
                                                                   Is the claim subject to offset?     No       Yes

3.376
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         HOWARD P RIVES III                                           Contingent
         1265 S. Myrtle Avenue                                        Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 240
                                                                   Is the claim subject to offset?     No       Yes

3.376
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD S GAINES                                              Contingent
         2855 University Drive Suite 230                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9891
                                                                   Is the claim subject to offset?     No       Yes

3.376
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOWARD S MILLER                                              Contingent
         10000 Stirling Road                                          Unliquidated
         Suite 1
                                                                      Disputed
         Cooper City, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6411                      Is the claim subject to offset?     No       Yes

3.377
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD S TOLAND                                              Contingent
         One Southeast Third Avenue Suite 2200                        Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8446
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 565 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 573 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.377
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD SCHEINER PA                                           Contingent
         204 Northeast 16th Terrace                                   Unliquidated
         Ft Lauderdale, FL 33301-3819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8149
                                                                   Is the claim subject to offset?     No       Yes

3.377
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HOWARD SCHWARTZ                                              Contingent
         7781 Northwest Beacon Square Boulevard S                     Unliquidated
         Boca Raton, FL 33787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8532
                                                                   Is the claim subject to offset?     No       Yes

3.377
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOWARD T SUTTER                                              Contingent
         104 Crandon Boulevard Suite 309                              Unliquidated
         Miami, FL 33149-1542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 278
                                                                   Is the claim subject to offset?     No       Yes

3.377
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         HOWARD T. HOGAN, JR.                                         Contingent
         P.O. Box 447                                                 Unliquidated
         Locust Valley, NY 11560-0447
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3922
                                                                   Is the claim subject to offset?     No       Yes

3.377
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWARD W DIXON                                               Contingent
         11 Island Avenue Suite 1712                                  Unliquidated
         Miami, FL 33139-1338
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1570
                                                                   Is the claim subject to offset?     No       Yes

3.377
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWARD W MAZLOFF                                             Contingent
         9200 S. Dadeland Boulevard                                   Unliquidated
         Suite 420
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7896                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 566 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 574 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.377
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HOWELL & THORNHILL                                           Contingent
         P.O. Box 1499                                                Unliquidated
         Winter Haven, FL 33882-1499
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3617
                                                                   Is the claim subject to offset?     No       Yes

3.377
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HOZA & LIMBERIS                                              Contingent
         2600 9th Street N                                            Unliquidated
         St Petersburg, FL 33704-2744
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0533
                                                                   Is the claim subject to offset?     No       Yes

3.377
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Huber Law Group, PL                                          Contingent
         17231 Camelot Court                                          Unliquidated
         Land O Lakes, FL 34638
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0692
                                                                   Is the claim subject to offset?     No       Yes

3.378
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $41.68
         HUBERT C NORMILE JR                                          Contingent
         P.O. Box 1870                                                Unliquidated
         Melbourne, FL 32902-1870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0548
                                                                   Is the claim subject to offset?     No       Yes

3.378
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Hudson & Calleja, L.L.C.                                     Contingent
         355 Alhambra Circle                                          Unliquidated
         Suite 801
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7337                      Is the claim subject to offset?     No       Yes

3.378
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         HUGH A DAVIS II                                              Contingent
         610 E Main Street                                            Unliquidated
         Leesburg, FL 34748-5316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7092
                                                                   Is the claim subject to offset?     No       Yes

3.378
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         HUGH C FERRELL                                               Contingent
         4924 Hidden Oaks Trail                                       Unliquidated
         Sarasota, FL 34232-3040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5984
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 567 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 575 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.378
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HUGH D FISH JR                                               Contingent
         P.O. Box 531                                                 Unliquidated
         Macclenny, FL 32063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9935
                                                                   Is the claim subject to offset?     No       Yes

3.378
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HUGH F CULVERHOUSE JR PA                                     Contingent
         Suite 3599 One Biscayne Tower                                Unliquidated
         2 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6843                      Is the claim subject to offset?     No       Yes

3.378
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         HUGH M PALMER PA                                             Contingent
         P.O. Box 2187                                                Unliquidated
         Winter Park, FL 32790-2187
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6369
                                                                   Is the claim subject to offset?     No       Yes

3.378
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HUGHES & LANE PA                                             Contingent
         4190 Belfort Road Suite 351                                  Unliquidated
         Jacksonville, FL 32216
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2236
                                                                   Is the claim subject to offset?     No       Yes

3.378
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $332.61
         HUGHES HUBBARD & REED                                        Contingent
         201 S Biscayne Boulevard Suite 2500                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6981
                                                                   Is the claim subject to offset?     No       Yes

3.378
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,489.34
         HUGO C EDBERG                                                Contingent
         4307 W Roland Street                                         Unliquidated
         Tampa, FL 33609-3870                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0933
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 568 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 576 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.379
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HUGO ENRIQUE DORTA                                           Contingent
         Hugo E. Dorta P.A.                                           Unliquidated
         1221 Birckell Avenue Suite 2650
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7252                      Is the claim subject to offset?     No       Yes

3.379
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HULME & CHAPMAN PA                                           Contingent
         1061 E Indiantown Road Suite 400                             Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3935
                                                                   Is the claim subject to offset?     No       Yes

3.379
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HUMBERTO H OCARIZ                                            Contingent
         201 S Biscayne Boulevard Suite 2400                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1525
                                                                   Is the claim subject to offset?     No       Yes

3.379
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HUMBERTO HERNANDEZ JR                                        Contingent
         The Douglas Entrance                                         Unliquidated
         800 Douglas Road Suite 315
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7503                      Is the claim subject to offset?     No       Yes

3.379
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         HUNT & GROSS PA                                              Contingent
         490 E. Palmetto Park Road                                    Unliquidated
         Suite 101
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8027                      Is the claim subject to offset?     No       Yes

3.379
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,630.16
         HUNT & SMITH LAW FIRM PA                                     Contingent
         225 E. Park Avenue                                           Unliquidated
         Lake Wales, FL 33853                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 538
                                                                   Is the claim subject to offset?     No       Yes

3.379
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Hunt Law Firm, P.A.                                          Contingent
         601 S. 9th Street                                            Unliquidated
         Leesburg, FL 34748
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7288
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 569 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 577 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.379
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         HUNTER & HUNTER PA                                           Contingent
         1930 Tyler Street                                            Unliquidated
         Hollywood, FL 33020-4517
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2107
                                                                   Is the claim subject to offset?     No       Yes

3.379
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,566.66
         HUNTER & MARCHMAN PA                                         Contingent
         P.O. Box 340                                                 Unliquidated
         Winter Park, FL 32790-0340                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2418
                                                                   Is the claim subject to offset?     No       Yes

3.379
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Hunter Taubman Fischer & Li, L.L.C.                          Contingent
         2 Alhambra Plaza                                             Unliquidated
         Suite 650
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0287                      Is the claim subject to offset?     No       Yes

3.380
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HUNTON & WILLIAMS                                            Contingent
         Mellon United National Building                              Unliquidated
         1111 Brickell Avenue Suite 2500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5368                      Is the claim subject to offset?     No       Yes

3.380
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HURD HORVATH & ROSS PA                                       Contingent
         8295 N. Military Trail                                       Unliquidated
         Suite A
                                                                      Disputed
         Palm Beach Gardens, FL 33410-6397
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6695                      Is the claim subject to offset?     No       Yes

3.380
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HUTCHISON MAMELE & COOVER PA                                 Contingent
         3391 Eaglewoods Trail                                        Unliquidated
         Sanford, FL 32773
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8582
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 570 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 578 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.380
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HUTNER LAW FIRM PLLC                                         Contingent
         3191 Coral Way Suite 504                                     Unliquidated
         Miami, FL 33145-3227
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2886
                                                                   Is the claim subject to offset?     No       Yes

3.380
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         HYATT M FRIED                                                Contingent
         2630 Hollywood Boulevard Suite 101                           Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4329
                                                                   Is the claim subject to offset?     No       Yes

3.380
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         HYMAN SPECTOR & MARS LLP                                     Contingent
         150 W Flagler Street Suite 2701                              Unliquidated
         Miami, FL 33130-6800
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4791
                                                                   Is the claim subject to offset?     No       Yes

3.380
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ian A. Brown, P.L.                                           Contingent
         1016 Lasalle Street                                          Unliquidated
         1st Floor
                                                                      Disputed
         Jacksonville, FL 32207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9567                      Is the claim subject to offset?     No       Yes

3.380
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IAN S FRIEDLANDER                                            Contingent
         283 W Greys Road                                             Unliquidated
         Oro Valley, AR 85737
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7799
                                                                   Is the claim subject to offset?     No       Yes

3.380
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,468.93
         ICARD MERRILL CULLIS TIMM                                    Contingent
         Attn: Karen Stershic                                         Unliquidated
         P.O. Drawer 4195                                             Disputed
         Sarasota, FL 34230-4195
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1123                      Is the claim subject to offset?     No       Yes


3.380
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         ICARDI & ICARDI PA                                           Contingent
         931 Pace Avenue                                              Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1525
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 571 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 579 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.381
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IGAL KNOBLER                                                 Contingent
         C/O Wood Partners                                            Unliquidated
         300 Garfield Avenue Suite B
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1706                      Is the claim subject to offset?     No       Yes

3.381
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IGLER & DOUGHERTY PA                                         Contingent
         1211 Orange Avenue                                           Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2634
                                                                   Is the claim subject to offset?     No       Yes

3.381
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IGNACIO E ARANGO                                             Contingent
         201 Alhambra Circle Suite 500                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5353
                                                                   Is the claim subject to offset?     No       Yes

3.381
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $114.16
         IGNACIO G DEL VALLE                                          Contingent
         201 S Biscayne Boulevard Suite 3400                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0899
                                                                   Is the claim subject to offset?     No       Yes

3.381
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IGNACIO G ZULUETA                                            Contingent
         6340 Sunset Drive                                            Unliquidated
         Miami, FL 33143-4836
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6480
                                                                   Is the claim subject to offset?     No       Yes

3.381
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IGNACIO J SEGUROLA PA                                        Contingent
         2800 Ponce De Leon Boulevard Suite 1160                      Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9573
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 572 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 580 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.381
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IGNACIO SIBERIO                                              Contingent
         1739 Southwest 12th Avenue                                   Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5334
                                                                   Is the claim subject to offset?     No       Yes

3.381
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IL YOUNG CHOI                                                Contingent
         1925 Brickell Avenue Suite D205-206                          Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6052
                                                                   Is the claim subject to offset?     No       Yes

3.381
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ILANA GREEN KELLNER PA                                       Contingent
         13518 Carrick Green Court                                    Unliquidated
         Delray Beach, FL 33446
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4350
                                                                   Is the claim subject to offset?     No       Yes

3.381
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ILEANA E GARCIA                                              Contingent
         848 Brickell Key Drive Apt 3406                              Unliquidated
         Miami, FL 33131-3706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5825
                                                                   Is the claim subject to offset?     No       Yes

3.382
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ILEANA M GARCIA                                              Contingent
         9425 Sunset Drive                                            Unliquidated
         Suite 251
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8636                      Is the claim subject to offset?     No       Yes

3.382
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ILEANA RUIZ ZAPICO                                           Contingent
         9700 South Dixie Highway, Suite 660                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5715
                                                                   Is the claim subject to offset?     No       Yes

3.382
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ILENE TEMCHIN                                                Contingent
         10 Prospect Drive                                            Unliquidated
         Coral Gables, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8212
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 573 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 581 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.382
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ilene Temchin, Esquire                                       Contingent
         5414 W Park Road                                             Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8212
                                                                   Is the claim subject to offset?     No       Yes

3.382
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ILONA-ANNE WISS PA                                           Contingent
         1000 Lincoln Road                                            Unliquidated
         Suite 208
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3380                      Is the claim subject to offset?     No       Yes

3.382
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ilya Torchinsky, P.A.                                        Contingent
         10800 Biscayne Boulevard                                     Unliquidated
         Suite 700
                                                                      Disputed
         Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7494                      Is the claim subject to offset?     No       Yes

3.382
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IMANI BOYKIN PA                                              Contingent
         644 Cesery Boulevard Suite 340                               Unliquidated
         Jacksonville, FL 32211-3108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5393
                                                                   Is the claim subject to offset?     No       Yes

3.382
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IMOGENE M SYNON                                              Contingent
         420 Fleming Street                                           Unliquidated
         Key West, FL 33040-6537
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 420
                                                                   Is the claim subject to offset?     No       Yes

3.382
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         INAKI SAIZARBITORIA ESQ                                      Contingent
         dba Saizarbitoria Law                                        Unliquidated
         21 SW 15th Road, Suite 200
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3661                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 574 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 582 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.382
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         INFANTINO & BERMAN                                           Contingent
         P.O. Drawer 30                                               Unliquidated
         Winter Park, FL 32790-0030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5106
                                                                   Is the claim subject to offset?     No       Yes

3.383
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         INGA G FAHS-GIELISSE                                         Contingent
         2709-4 Killarney Way                                         Unliquidated
         Tallahassee, FL 32308-3224
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5367
                                                                   Is the claim subject to offset?     No       Yes

3.383
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Inlet Title, L.L.C.                                          Contingent
         6650 W. Indiantown Road                                      Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0442
                                                                   Is the claim subject to offset?     No       Yes

3.383
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Innes Law Firm, PL                                           Contingent
         P.O. Box 916894                                              Unliquidated
         Longwood, FL 32791
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8439
                                                                   Is the claim subject to offset?     No       Yes

3.383
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         International Counsel PLLC                                   Contingent
         1395 Brickell Avenue                                         Unliquidated
         Suite 853
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0825                      Is the claim subject to offset?     No       Yes

3.383
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         International Law Partners, L.L.P.                           Contingent
         2122 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9780
                                                                   Is the claim subject to offset?     No       Yes

3.383
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         International Title Partners, L.L.C.                         Contingent
         3000 Gulf To Bay Boulevard                                   Unliquidated
         Suite 601
                                                                      Disputed
         Clearwater, FL 33759
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8881                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 575 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 583 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.383
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Intrepid Law LLC                                             Contingent
         10752 Deerwood Park Blvd.                                    Unliquidated
         Suite 100
                                                                      Disputed
         Jacksonville, FL 32256
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1056                      Is the claim subject to offset?     No       Yes

3.383
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         INVICTUS LAW GROUP LLC                                       Contingent
         208 E Colonial Drive                                         Unliquidated
         Orlando, FL 32801-1204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4192
                                                                   Is the claim subject to offset?     No       Yes

3.383
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IOANNOU & IOANNOU LLP                                        Contingent
         11125 Northwest 124th Street                                 Unliquidated
         Medley, FL 33178-3173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9515
                                                                   Is the claim subject to offset?     No       Yes

3.383
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IRA B PRICE                                                  Contingent
         9560 SW 107th Avenue                                         Unliquidated
         Suite 202
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6467                      Is the claim subject to offset?     No       Yes

3.384
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         IRA EVAN WEINTRAUB PA                                        Contingent
         5531 N. University Drive                                     Unliquidated
         Suite 103
                                                                      Disputed
         Coral Springs, FL 33067-4649
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6560                      Is the claim subject to offset?     No       Yes

3.384
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRA F MARKOWITZ                                              Contingent
         IRA F MARKOWITZ PA                                           Unliquidated
         PO BOX 8106
                                                                      Disputed
         CORAL SPRINGS, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6440                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 576 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 584 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.384
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRA L KAHN                                                   Contingent
         20283 State Road 7                                           Unliquidated
         Suite 323
                                                                      Disputed
         Boca Raton, FL 33498
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4230                      Is the claim subject to offset?     No       Yes

3.384
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRA L ZUCKERMAN                                              Contingent
         601 S Ocean Drive                                            Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3459
                                                                   Is the claim subject to offset?     No       Yes

3.384
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IRA MARCUS                                                   Contingent
         1313 S Andrews Avenue                                        Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6494
                                                                   Is the claim subject to offset?     No       Yes

3.384
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IRA R SHAPIRO                                                Contingent
         The Baylee Executive Center                                  Unliquidated
         16375 NE 18th Avenue, Suite 225
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7768                      Is the claim subject to offset?     No       Yes

3.384
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRA SCOT SILVERSTEIN                                         Contingent
         2900 W Cypress Creek Road                                    Unliquidated
         Suite 6
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6604                      Is the claim subject to offset?     No       Yes

3.384
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRA ZAGER PA                                                 Contingent
         10764 SW 133rd Terrace                                       Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2126
                                                                   Is the claim subject to offset?     No       Yes

3.384
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRENE FONZI                                                  Contingent
         418 Coach Road                                               Unliquidated
         Satellite Beach, FL 32937-4020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8464
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 577 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 585 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.384
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Irene Fonzi, P.A.                                            Contingent
         1402 Highway State Road A1A                                  Unliquidated
         Suite A
                                                                      Disputed
         Satellite Beach, FL 32937
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9573                      Is the claim subject to offset?     No       Yes

3.385
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRIS G HERNANDEZ                                             Contingent
         P.O. Box 450067                                              Unliquidated
         Miami, FL 33245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7991
                                                                   Is the claim subject to offset?     No       Yes

3.385
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Iris G. Hernandez, L.L.C.                                    Contingent
         1800 Coral Way Suite 67                                      Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7991
                                                                   Is the claim subject to offset?     No       Yes

3.385
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         IRMA V HERNANDEZ                                             Contingent
         215 W 49th Street                                            Unliquidated
         Hialeah, FL 33012-3713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5879
                                                                   Is the claim subject to offset?     No       Yes

3.385
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Iron Lion Title, LLC                                         Contingent
         135 W. Central Blvd                                          Unliquidated
         Suite 480
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0590                      Is the claim subject to offset?     No       Yes

3.385
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         IRVIN S COWIE                                                Contingent
         5015 S Florida Avenue Suite 400-A                            Unliquidated
         Lakeland, FL 33813-2564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4377
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 578 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 586 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.385
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         IRVING CYPEN                                                 Contingent
         P.O. Box 402099                                              Unliquidated
         Miami Beach, FL 33140-0099
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 591
                                                                   Is the claim subject to offset?     No       Yes

3.385
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $446.45
         IRVING SCHULMAN                                              Contingent
         4620 N State Road 7                                          Unliquidated
         Suite 210 Headway Office Park                                Disputed
         Ft Lauderdale, FL 33319-5866
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1073                      Is the claim subject to offset?     No       Yes


3.385
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,721.89
         IRVING W WHEELER                                             Contingent
         P.O. Box 1396                                                Unliquidated
         Winter Haven, FL 33882-1396                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4917
                                                                   Is the claim subject to offset?     No       Yes

3.385
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $17.31
         IRWIN A BERKOWITZ                                            Contingent
         1821 Northeast 62nd Street Suite 307                         Unliquidated
         Ft Lauderdale, FL 33308-2145                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6526
                                                                   Is the claim subject to offset?     No       Yes

3.385
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         IRWIN J BLOCK                                                Contingent
         7736 Rockford Road                                           Unliquidated
         Boynton Beach, FL 33437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 687
                                                                   Is the claim subject to offset?     No       Yes

3.386
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IRWIN J STONE                                                Contingent
         3307 Northwest 51st Terrace                                  Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1730
                                                                   Is the claim subject to offset?     No       Yes

3.386
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $187.50
         IRWIN J WEINER                                               Contingent
         50 Southeast 1st Avenue                                      Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3511
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 579 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 587 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.386
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IRWIN JAY NEWMAN                                             Contingent
         1515 Parkside Circle South                                   Unliquidated
         Boca Raton, FL 33486-8564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4994
                                                                   Is the claim subject to offset?     No       Yes

3.386
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRWIN M FROST                                                Contingent
         2332 Galiano Street                                          Unliquidated
         Second Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6199                      Is the claim subject to offset?     No       Yes

3.386
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IRWIN S REVER                                                Contingent
         340 Royal Palm Way 1sr Floor                                 Unliquidated
         Palm Beach, FL 33480-4307
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4629
                                                                   Is the claim subject to offset?     No       Yes

3.386
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IS LAW OFFICE PA                                             Contingent
         205 Worth Avenue                                             Unliquidated
         Suite 201
                                                                      Disputed
         Palm Beach, FL 33480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4342                      Is the claim subject to offset?     No       Yes

3.386
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Isaac A. Velazquez & Associates, P.A.                        Contingent
         5803 NW 151st Street                                         Unliquidated
         Suite 206
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0323                      Is the claim subject to offset?     No       Yes

3.386
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ISAAC L LEVY                                                 Contingent
         320 E Adams Street                                           Unliquidated
         Jacksonville, FL 32202-2817
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2997
                                                                   Is the claim subject to offset?     No       Yes

3.386
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ISABEL P BOMBINO                                             Contingent
         330 Southwest 27th Avenue Suite 609                          Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0063
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 580 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 588 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.386
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ISABEL S MARTINEZ PL                                         Contingent
         7700 North Kendall Drive                                     Unliquidated
         Suite 401
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2872                      Is the claim subject to offset?     No       Yes

3.387
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ISABEL VALS COLLERAN                                         Contingent
         9330 Southwest 104th Avenue                                  Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5318
                                                                   Is the claim subject to offset?     No       Yes

3.387
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ISABELLE A AGER                                              Contingent
         2300 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6410
                                                                   Is the claim subject to offset?     No       Yes

3.387
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ISADORE SOLKOFF                                              Contingent
         11261 S.W. 116th Lane                                        Unliquidated
         Miami, FL 33176-3876
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4164
                                                                   Is the claim subject to offset?     No       Yes

3.387
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ishmael A. Green & Associates, P.A.                          Contingent
         812 SE 8th Avenue                                            Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0783
                                                                   Is the claim subject to offset?     No       Yes

3.387
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ISIS VALLE PA                                                Contingent
         150 Southeast 2nd Avenue Suite 1007                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2777
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 581 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 589 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.387
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ISLER SOMBATHY & SOMBATHY PA                                 Contingent
         P.O. Box 430                                                 Unliquidated
         Panama City, FL 32402-0430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8562
                                                                   Is the claim subject to offset?     No       Yes

3.387
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         ISPHORDING KORP PAYNE CHARTR'D                               Contingent
         C/O William R Korp                                           Unliquidated
         333 S Tamiami Trail Suite 199
                                                                      Disputed
         Venice, FL 34285-2426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3542                      Is the claim subject to offset?     No       Yes

3.387
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ISRAEL PEREZ JR                                              Contingent
         P.O. Box 832482                                              Unliquidated
         Miami, FL 33283-2482
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2579
                                                                   Is the claim subject to offset?     No       Yes

3.387
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ISRIEL PONZOLI KELLER &                                      Contingent
         2121 SW 3rd Avenue                                           Unliquidated
         7th Floor
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4710                      Is the claim subject to offset?     No       Yes

3.387
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ITZLER & ITZLER PA                                           Contingent
         500 E. Broward Boulevard                                     Unliquidated
         Suite 1710
                                                                      Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5158                      Is the claim subject to offset?     No       Yes

3.388
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         IURILLO & ASSOCIATES PA                                      Contingent
         5628 Central Avenue                                          Unliquidated
         St Petersburg, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2051
                                                                   Is the claim subject to offset?     No       Yes

3.388
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVAN A GOMEZ                                                 Contingent
         601 Brickell Key Drive Suite 507                             Unliquidated
         Miami, FL 33131-2623
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4906
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 582 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 590 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.388
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVAN F FERNANDEZ                                             Contingent
         2465 Inagua Avenue                                           Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2203
                                                                   Is the claim subject to offset?     No       Yes

3.388
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVAN HERNANDEZ PA                                            Contingent
         2410 Southwest 83rd Avenue                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3892
                                                                   Is the claim subject to offset?     No       Yes

3.388
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IVAN S BENJAMIN                                              Contingent
         629 Southwest 1st Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5633
                                                                   Is the claim subject to offset?     No       Yes

3.388
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVAN T LENOIR II                                             Contingent
         502 N Armenia Avenue                                         Unliquidated
         Tampa, FL 33609-1703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2863
                                                                   Is the claim subject to offset?     No       Yes

3.388
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ivette G. Petkovich, P.A.                                    Contingent
         6910 N Kendall Drive 2nd Floor                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8482
                                                                   Is the claim subject to offset?     No       Yes

3.388
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVETTE GONZALEZ PA                                           Contingent
         3301 Ponce De Leon Boulevard Suite 300                       Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2803
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 583 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 591 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.388
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVETTE H LEON PA                                             Contingent
         13687 SW 26 Street                                           Unliquidated
         Miami, FL 33175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4541
                                                                   Is the claim subject to offset?     No       Yes

3.388
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVETTE RODRIGUEZ                                             Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 500
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4465                      Is the claim subject to offset?     No       Yes

3.389
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVONNE D PINEDO ESQ                                          Contingent
         801 Northeast 167th Street 2nd Floor                         Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4275
                                                                   Is the claim subject to offset?     No       Yes

3.389
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVONNE TELLECHEA CALDWELL                                    Contingent
         P.O. Box 3329                                                Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4321
                                                                   Is the claim subject to offset?     No       Yes

3.389
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         IVOR MASSEY JR                                               Contingent
         4 North Fourth Street                                        Unliquidated
         Richmond, VA 23219-2230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3685
                                                                   Is the claim subject to offset?     No       Yes

3.389
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         IVY M MARGULES                                               Contingent
         1000 Ponce De Leon Boulevard Suite 206                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7979
                                                                   Is the claim subject to offset?     No       Yes

3.389
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         IZQUIERDO & PEREZ PL                                         Contingent
         5201 Blue Lagoon Drive Suite 974                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1630
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 584 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 592 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.389
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Izquierdo Law Firm, P.A.                                     Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 805
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0582                      Is the claim subject to offset?     No       Yes

3.389
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J ANDREW PRESS                                               Contingent
         13923 Icot Boulevard Suite 800                               Unliquidated
         Clearwater, FL 34620-3747
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5203
                                                                   Is the claim subject to offset?     No       Yes

3.389
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $407.26
         J B HOOPER                                                   Contingent
         101 American Center Pl                                       Unliquidated
         Tampa, FL 33619                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6950
                                                                   Is the claim subject to offset?     No       Yes

3.389
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J BARRY CURTIN                                               Contingent
         J Barry Curtin P.A.                                          Unliquidated
         214 Brazilian Avenue Suite 200
                                                                      Disputed
         Palm Beach, FL 33480-4676
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1484                      Is the claim subject to offset?     No       Yes

3.389
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J BEAUREGARD PARKER PA                                       Contingent
         70 SE 4th Avenue                                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5793
                                                                   Is the claim subject to offset?     No       Yes

3.390
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J BENNETT GROCOCK                                            Contingent
         126 E Jefferson Street                                       Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7483
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 585 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 593 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.390
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J BROCK MCCLANE                                              Contingent
         215 E Livingston Street                                      Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6429
                                                                   Is the claim subject to offset?     No       Yes

3.390
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J C CURA                                                     Contingent
         Nelson Slosbergas P.A.                                       Unliquidated
         1110 Brickell Avenue Suite 310
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5643                      Is the claim subject to offset?     No       Yes

3.390
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J C O'STEEN                                                  Contingent
         2900 Park Avenue E Suite A                                   Unliquidated
         Tallahassee, FL 32301-3427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7349
                                                                   Is the claim subject to offset?     No       Yes

3.390
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J CARTER PERKINS                                             Contingent
         7314 Southeast 12th Circle                                   Unliquidated
         Ocala, FL 34480-6650
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7211
                                                                   Is the claim subject to offset?     No       Yes

3.390
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J CRAIG MYRICK                                               Contingent
         713 18th Avenue S                                            Unliquidated
         Nashville, TN 37203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8951
                                                                   Is the claim subject to offset?     No       Yes

3.390
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J D SKIP BARDFELD                                            Contingent
         3440 Hollywood Boulevard 2nd Floor                           Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8244
                                                                   Is the claim subject to offset?     No       Yes

3.390
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J DANIEL BREDE                                               Contingent
         Building                                                     Unliquidated
         1900 Corporate Boulevard NW, Suite 201 E
                                                                      Disputed
         Boca Raton, FL 33431-7340
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1538                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 586 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 594 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.390
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J DANIEL MARSEE                                              Contingent
         P.O. Box 2606                                                Unliquidated
         Lake City, FL 32056-2606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5002
                                                                   Is the claim subject to offset?     No       Yes

3.390
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J DANIEL PETERSON                                            Contingent
         P.O. Box 1870                                                Unliquidated
         Deland, FL 32721-1870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0573
                                                                   Is the claim subject to offset?     No       Yes

3.391
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J DAVID LANGFORD                                             Contingent
         430 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870-3701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7843
                                                                   Is the claim subject to offset?     No       Yes

3.391
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J DAVID LIEBMAN                                              Contingent
         7760 Southwest 125th Terrace                                 Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2018
                                                                   Is the claim subject to offset?     No       Yes

3.391
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         J DAVID WALSH                                                Contingent
         432 S Beach Street                                           Unliquidated
         Daytona Beach, FL 32114-5004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7078
                                                                   Is the claim subject to offset?     No       Yes

3.391
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,890.11
         J DUDLEY GOODLETTE                                           Contingent
         Goodlette Coleman & Johnson                                  Unliquidated
         4001 Tamiami Trail N Suite 300                               Disputed
         Naples, FL 34103-3591
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5795                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 587 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 595 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.391
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J E WILLINGHAM JR                                            Contingent
         1235 US Highway 129 Northwest                                Unliquidated
         Jasper, FL 32052
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5586
                                                                   Is the claim subject to offset?     No       Yes

3.391
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J EDWARD HOUSTON                                             Contingent
         1914 Northeast 31st Avenue                                   Unliquidated
         Ft Lauderdale, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2231
                                                                   Is the claim subject to offset?     No       Yes

3.391
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J EDWARD WEBER PA                                            Contingent
         3221 Southfield Lane                                         Unliquidated
         Sarasota, FL 34239-4264
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0819
                                                                   Is the claim subject to offset?     No       Yes

3.391
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J ERIC VIRGIL                                                Contingent
         201 Alhambra Circle Suite 705                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2342
                                                                   Is the claim subject to offset?     No       Yes

3.391
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J ERNEST COLLINS                                             Contingent
         600 Southwest Treasure Cove                                  Unliquidated
         Port Saint Lucie, FL 34986-3438
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 957
                                                                   Is the claim subject to offset?     No       Yes

3.391
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J ERWIN DUNLOP                                               Contingent
         301 N Park Avenue Suite A                                    Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3364
                                                                   Is the claim subject to offset?     No       Yes

3.392
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J H FONSECA & ASSOCIATES                                     Contingent
         P.O. Box 8122                                                Unliquidated
         Ft Lauderdale, FL 33310-8122
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0248
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 588 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 596 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.392
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J H ROBERTS JR                                               Contingent
         1446 Oaklawn Pl                                              Unliquidated
         Lakeland, FL 33803-2317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 301
                                                                   Is the claim subject to offset?     No       Yes

3.392
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J HAROLD KLOSHEIM JR                                         Contingent
         4800 N Federal Highway Suite 205-E                           Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9842
                                                                   Is the claim subject to offset?     No       Yes

3.392
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J HARRIS RHYNE                                               Contingent
         P.O. Box 67                                                  Unliquidated
         Palmetto, FL 34220-0067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6830
                                                                   Is the claim subject to offset?     No       Yes

3.392
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J HOWARD SHEFFIELD                                           Contingent
         4209 Baymeadows Road Suite 4                                 Unliquidated
         Jacksonville, FL 32217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8334
                                                                   Is the claim subject to offset?     No       Yes

3.392
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         J JAY SIMONS                                                 Contingent
         P.O. Box 21704                                               Unliquidated
         Ft Lauderdale, FL 33335-1704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 658
                                                                   Is the claim subject to offset?     No       Yes

3.392
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J JEFFREY SCHATTNER                                          Contingent
         1314 E Las Olas Boulevard Bx-2334                            Unliquidated
         Ft Lauderdale, FL 33301-2334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4550
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 589 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 597 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.392
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J JEROME MILLER                                              Contingent
         4477 Legendary Drive Suite 202                               Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7521
                                                                   Is the claim subject to offset?     No       Yes

3.392
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J JIMENEZ & ASSOCIATES PA                                    Contingent
         9753 S Orange Blossom Trail Suite 101                        Unliquidated
         Orlando, FL 32837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6237
                                                                   Is the claim subject to offset?     No       Yes

3.392
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J JOSEPH HUGHES                                              Contingent
         P.O. Box 180271                                              Unliquidated
         Tallahassee, FL 32318-0003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7046
                                                                   Is the claim subject to offset?     No       Yes

3.393
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J KARL TRUCKS                                                Contingent
         P.O. Box 880                                                 Unliquidated
         Panama City, FL 32402-0880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4667
                                                                   Is the claim subject to offset?     No       Yes

3.393
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         J KELLY KENNEDY                                              Contingent
         P.O. Box 7604                                                Unliquidated
         Winter Haven, FL 33883-7604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8700
                                                                   Is the claim subject to offset?     No       Yes

3.393
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J KEVIN DRAKE PA                                             Contingent
         1432 1st Street                                              Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4887
                                                                   Is the claim subject to offset?     No       Yes

3.393
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J MARCUS VERNON                                              Contingent
         P.O. Box 6474                                                Unliquidated
         Clearwater, FL 34618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0691
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 590 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 598 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.393
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J MARK LACZEWSKI                                             Contingent
         3590 Poinciana Street Suite 314                              Unliquidated
         Lake Worth, FL 33467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2765
                                                                   Is the claim subject to offset?     No       Yes

3.393
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         J MARVIN GUTHRIE PA                                          Contingent
         1230 S. Myrtle Avenue                                        Unliquidated
         Suite 101
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0970                      Is the claim subject to offset?     No       Yes

3.393
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         J MICHAEL SHEA                                               Contingent
         6301 Bayshore Boulevard                                      Unliquidated
         Tampa, FL 33611
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3838
                                                                   Is the claim subject to offset?     No       Yes

3.393
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J MILES BUCHMAN PA                                           Contingent
         P.O. Box 454                                                 Unliquidated
         Tampa, FL 33601-0454
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4681
                                                                   Is the claim subject to offset?     No       Yes

3.393
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J MORGAN BRUNSON                                             Contingent
         4250 Central Avenue                                          Unliquidated
         St Petersburg, FL 33711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8492
                                                                   Is the claim subject to offset?     No       Yes

3.393
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J MURRAY MILLIKEN                                            Contingent
         P.O. Box 174                                                 Unliquidated
         Floral City, FL 34436-0174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7512
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 591 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 599 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.394
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         J PATRICK FITZGERALD &                                       Contingent
         110 Merrick Way                                              Unliquidated
         Suite 3-B
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7994                      Is the claim subject to offset?     No       Yes

3.394
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J PATRICK FLOYD                                              Contingent
         P.O. Drawer 950                                              Unliquidated
         Port St Joe, FL 32456-0950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7775
                                                                   Is the claim subject to offset?     No       Yes

3.394
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         J PETER FRIEDRICH                                            Contingent
         2601 E Oakland Park Boulevard Suite 202                      Unliquidated
         Ft Lauderdale, FL 33306-1612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3187
                                                                   Is the claim subject to offset?     No       Yes

3.394
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         J PEYTON QUARLES                                             Contingent
         501 N Grandview Avenue Suite 115                             Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2230
                                                                   Is the claim subject to offset?     No       Yes

3.394
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         J REID HEUER                                                 Contingent
         123 Huntington Lane                                          Unliquidated
         Blacksburg, VA 24060-3853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3190
                                                                   Is the claim subject to offset?     No       Yes

3.394
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,770.78
         J RICHARD HARRIS                                             Contingent
         4400 PGA Boulevard Suite 800                                 Unliquidated
         Palm Beach Gardens, FL 33410-6562                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7316
                                                                   Is the claim subject to offset?     No       Yes

3.394
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         J RICHARD SMITH                                              Contingent
         380 Frangipani Avenue                                        Unliquidated
         Naples, FL 34117-9320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4283
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 592 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 600 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.394
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         J RILEY WILLIAMS PLC                                         Contingent
         2141 Park Street                                             Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8587
                                                                   Is the claim subject to offset?     No       Yes

3.394
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         J ROBERT DUGGAN                                              Contingent
         158 Running Deer Road                                        Unliquidated
         Cleveland, GA 30528
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5221
                                                                   Is the claim subject to offset?     No       Yes

3.394
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,025.01
         J ROGER BONE                                                 Contingent
         3500 El Conquistador Pl Suite 25                             Unliquidated
         Bradenton, FL 34205                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7037
                                                                   Is the claim subject to offset?     No       Yes

3.395
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         J ROSS MACBETH                                               Contingent
         2543 US 27 Highway S                                         Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4436
                                                                   Is the claim subject to offset?     No       Yes

3.395
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         J SAM OWENS JR & ASSOCIATES PA                               Contingent
         400 S Palmetto Avenue                                        Unliquidated
         Daytona Beach, FL 32114-4922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8632
                                                                   Is the claim subject to offset?     No       Yes

3.395
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J SCOTT LANFORD                                              Contingent
         903 E Strawbridge Avenue                                     Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4583
                                                                   Is the claim subject to offset?     No       Yes

3.395
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         J STEPHEN CRAWFORD                                           Contingent
         28000 Spanish Wells Boulevard                                Unliquidated
         Bonita Springs, FL 34135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6769
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 593 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 601 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.395
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J STEVEN GRAVES                                              Contingent
         3720 Northwest 43rd Street Suite 101                         Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5794
                                                                   Is the claim subject to offset?     No       Yes

3.395
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J STEVEN WARNER                                              Contingent
         5701 N Pine Island Road Suite 320                            Unliquidated
         Ft Lauderdale, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0256
                                                                   Is the claim subject to offset?     No       Yes

3.395
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J TERENCE MCMANUS                                            Contingent
         J Terence Mcmanus Cht                                        Unliquidated
         11450 Southeast Dixie Highway Suite 207
                                                                      Disputed
         Hobe Sound, FL 33455
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1192                      Is the claim subject to offset?     No       Yes

3.395
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J TERRENCE MCMANUS CHARTERED                                 Contingent
         818 US Highway One Suite 1                                   Unliquidated
         N Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6724
                                                                   Is the claim subject to offset?     No       Yes

3.395
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         J TIMOTHY SHEEHAN                                            Contingent
         3200 Placid View Drive                                       Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7294
                                                                   Is the claim subject to offset?     No       Yes

3.395
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         J WALTER MCCRORY PA                                          Contingent
         1900 SE 15th Street                                          Unliquidated
         Suite 6
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4338                      Is the claim subject to offset?     No       Yes

3.396
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J WARREN BULLARD                                             Contingent
         310 SE 8th Street                                            Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5997
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 594 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 602 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.396
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J WAYNE FALBEY                                               Contingent
         3242 Benicia Court                                           Unliquidated
         Naples, FL 33999-1364
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3497
                                                                   Is the claim subject to offset?     No       Yes

3.396
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J WENDELL WHITEHOUSE                                         Contingent
         143 S Ridgewood Drive                                        Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8572
                                                                   Is the claim subject to offset?     No       Yes

3.396
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         J+O Firm, P.L.L.C.                                           Contingent
         150 E Palmetto Park Road Suite 800                           Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9117
                                                                   Is the claim subject to offset?     No       Yes

3.396
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         J. & J. Legal, P.L.L.C.                                      Contingent
         1133 Louisiana Avenue                                        Unliquidated
         Suite 101
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0347                      Is the claim subject to offset?     No       Yes

3.396
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         J. GEOFFREY PFLUGNER, P.A.                                   Contingent
         P.O. Drawer 4195                                             Unliquidated
         Sarasota, FL 34230-4195
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5331
                                                                   Is the claim subject to offset?     No       Yes

3.396
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         J. Steven Southwell, P.A.                                    Contingent
         P.O. Box 1748                                                Unliquidated
         Wauchula, FL 33873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8233
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 595 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 603 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.396
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK A BAXTER JR                                             Contingent
         4530 N. Federal Highway                                      Unliquidated
         Ft Lauderdale, FL 33308-5204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8551
                                                                   Is the claim subject to offset?     No       Yes

3.396
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,436.44
         JACK A BAXTER SR                                             Contingent
         4530 N Federal Highway                                       Unliquidated
         Ft Lauderdale, FL 33308-5204                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2962
                                                                   Is the claim subject to offset?     No       Yes

3.396
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JACK A GOLDBERGER                                            Contingent
         250 S Australian Avenue Suite 1400                           Unliquidated
         West Palm Beach, FL 33401-5015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7113
                                                                   Is the claim subject to offset?     No       Yes

3.397
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         JACK A HARNETT                                               Contingent
         P.O. Box 300                                                 Unliquidated
         Quincy, FL 32353-0300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6503
                                                                   Is the claim subject to offset?     No       Yes

3.397
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK ANKUS                                                   Contingent
         P.O. Box 2099                                                Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2548
                                                                   Is the claim subject to offset?     No       Yes

3.397
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JACK B GERBER                                                Contingent
         9400 S Dadeland Boulevard Ph 5                               Unliquidated
         Miami, FL 33156-2841
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7865
                                                                   Is the claim subject to offset?     No       Yes

3.397
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,485.47
         JACK B MCPHERSON                                             Contingent
         P.O. Box 515                                                 Unliquidated
         New Port Richey, FL 34656-0515                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2663
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 596 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 604 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.397
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         JACK B NICHOLS                                               Contingent
         P.O. Box 33                                                  Unliquidated
         Orlando, FL 32802-0033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4879
                                                                   Is the claim subject to offset?     No       Yes

3.397
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JACK B OWEN JR PA                                            Contingent
         4500 PGA Boulevard                                           Unliquidated
         Suite 200
                                                                      Disputed
         Palm Beach Gardens, FL 33418
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6790                      Is the claim subject to offset?     No       Yes

3.397
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $625.75
         JACK CLARK                                                   Contingent
         P.O. Box 1550                                                Unliquidated
         St Petersburg, FL 33731-1550                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6317
                                                                   Is the claim subject to offset?     No       Yes

3.397
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jack E. Delcamp, Esquire                                     Contingent
         1321 46th Avenue Northeast                                   Unliquidated
         St Petersburg, FL 33703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0175
                                                                   Is the claim subject to offset?     No       Yes

3.397
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK G HAND JR                                               Contingent
         2156 Spanish Moss Drive                                      Unliquidated
         Jacksonville, FL 32246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0657
                                                                   Is the claim subject to offset?     No       Yes

3.397
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK H POLAN                                                 Contingent
         116 Coral Cay Drive                                          Unliquidated
         Palm Beach Gardens, FL 33418-4006
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6438
                                                                   Is the claim subject to offset?     No       Yes

3.398
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JACK H WEECH JR                                              Contingent
         Public Defender's Office                                     Unliquidated
         101 N Alabana Avenue Suite B-304
                                                                      Disputed
         Deland, FL 32724-4316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7202                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 597 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 605 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.398
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK J CRAPARO                                               Contingent
         1505 N Florida Avenue                                        Unliquidated
         Center Square Suite A
                                                                      Disputed
         Tampa, FL 33602-2613
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4022                      Is the claim subject to offset?     No       Yes

3.398
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK KRIEGER                                                 Contingent
         P.O. Box 7278                                                Unliquidated
         Port St Lucie, FL 34985
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4827
                                                                   Is the claim subject to offset?     No       Yes

3.398
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK L MCDONALD                                              Contingent
         44 Cocoanut Row                                              Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8571
                                                                   Is the claim subject to offset?     No       Yes

3.398
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK L WEITZMAN                                              Contingent
         9190 Southwest 72nd Street                                   Unliquidated
         Miami, FL 33173-3433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7990
                                                                   Is the claim subject to offset?     No       Yes

3.398
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK M ROSENKRANZ                                            Contingent
         P.O. Box 1999                                                Unliquidated
         Tampa, FL 33601-1999
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7921
                                                                   Is the claim subject to offset?     No       Yes

3.398
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK MARCUS                                                  Contingent
         1201 River Reach Drive Apt 403                               Unliquidated
         Ft Lauderdale, FL 33315-1180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4808
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 598 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 606 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.398
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JACK P LAMARR                                                Contingent
         2601 E Oakland Park Boulevard Suite 501                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2671
                                                                   Is the claim subject to offset?     No       Yes

3.398
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JACK P PANKOW                                                Contingent
         5230-2 Clayton Court                                         Unliquidated
         Ft Myers, FL 33907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5554
                                                                   Is the claim subject to offset?     No       Yes

3.398
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK R LEONARD                                               Contingent
         Turnpike District Florida Dot                                Unliquidated
         P.O. Box 613069
                                                                      Disputed
         Tallahassee, FL 34761
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7562                      Is the claim subject to offset?     No       Yes

3.399
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK R RICE JR                                               Contingent
         P.O. Box 351027                                              Unliquidated
         Miami, FL 33135-1027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4329
                                                                   Is the claim subject to offset?     No       Yes

3.399
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACK SACKS                                                   Contingent
         2101 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0437
                                                                   Is the claim subject to offset?     No       Yes

3.399
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK T BRIDGES PA                                            Contingent
         209 N Oak Avenue                                             Unliquidated
         Sanford, FL 32771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 587
                                                                   Is the claim subject to offset?     No       Yes

3.399
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK W HUTTON                                                Contingent
         4300 N Ocean Boulevard Suite 3-P                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 527
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 599 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 607 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.399
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK WM WINDT                                                Contingent
         2389 Ringling Boulevard Suite A                              Unliquidated
         Sarasota, FL 34237-6142
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2568
                                                                   Is the claim subject to offset?     No       Yes

3.399
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACK WYATT                                                   Contingent
         125 Valencia Drive                                           Unliquidated
         Islamorada, FL 33036-9563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 188
                                                                   Is the claim subject to offset?     No       Yes

3.399
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACKSON & ALEXANDER PA                                       Contingent
         1403 Medical Plaza Drive Suite 214                           Unliquidated
         Sanford, FL 32771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9064
                                                                   Is the claim subject to offset?     No       Yes

3.399
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,706.11
         JACKSON BARKETT & BROWN                                      Contingent
         2165 15th Avenue                                             Unliquidated
         Vero Beach, FL 32960-3435                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1906
                                                                   Is the claim subject to offset?     No       Yes

3.399
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JACKSON BARKETT & BROWN                                      Contingent
         2165 15th Avenue                                             Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1906
                                                                   Is the claim subject to offset?     No       Yes

3.399
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACKSON-HOLMES PA                                            Contingent
         10735 Northwest 7th Avenue                                   Unliquidated
         Miami, FL 33168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3065
                                                                   Is the claim subject to offset?     No       Yes

3.400
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jackwin Legal, P.A.                                          Contingent
         2030 S. Douglas Road                                         Unliquidated
         Suite 214
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0336                      Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 600 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 608 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.400
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jacob & Greenfield, PLLC                                     Contingent
         9314 Forest Hill Blvd.                                       Unliquidated
         Suite 44
                                                                      Disputed
         Wellington, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0553                      Is the claim subject to offset?     No       Yes

3.400
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jacob C. Jackson                                             Contingent
         111 N. Pine Island Rd.                                       Unliquidated
         Suite 208
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0721                      Is the claim subject to offset?     No       Yes

3.400
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JACOB FISHMAN                                                Contingent
         1571 Northwest 13th Court                                    Unliquidated
         Miami, FL 33125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6967
                                                                   Is the claim subject to offset?     No       Yes

3.400
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACOB H SPEICHER                                             Contingent
         2900 Lake Washington Road Suite 1                            Unliquidated
         Melbourne, FL 32935-2265
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6917
                                                                   Is the claim subject to offset?     No       Yes

3.400
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACOB I REIBER                                               Contingent
         26650 Wesley Chapel Boulevard                                Unliquidated
         Suite A
                                                                      Disputed
         Lutz, FL 33559
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7511                      Is the claim subject to offset?     No       Yes

3.400
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACOB MAURICE FINKEL                                         Contingent
         28 W Flagler Street                                          Unliquidated
         Miami, FL 33130-1806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1845
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 601 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 609 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.400
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,182.87
         JACOBS & GOODMAN, P.A.                                       Contingent
         890 State Road 434 North                                     Unliquidated
         Altamonte Springs, FL 32714-7013                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5644
                                                                   Is the claim subject to offset?     No       Yes

3.400
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JACOBS & JACOBS CHARTERED                                    Contingent
         P.O. Box 532056                                              Unliquidated
         Orlando, FL 32853-2056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7261
                                                                   Is the claim subject to offset?     No       Yes

3.400
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACOBS & STRAUS PA                                           Contingent
         1098 Northwest Boca Raton Boulevard                          Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6004
                                                                   Is the claim subject to offset?     No       Yes

3.401
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JACOBS VALENTINE GROSECLOSE                                  Contingent
         P.O. Box 2538                                                Unliquidated
         Lakeland, FL 33806-2538
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5218
                                                                   Is the claim subject to offset?     No       Yes

3.401
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACQUELINE A SALCINES PA                                     Contingent
         706 S. Dixie Highway                                         Unliquidated
         2nd Floor
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6425                      Is the claim subject to offset?     No       Yes

3.401
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACQUELINE E CANNAVAN PA                                     Contingent
         2699 Stirling Road C-303                                     Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.401
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACQUELINE HERNANDEZ-VALDES                                  Contingent
         2474 Southwest 27th Terrace                                  Unliquidated
         A/K/A 2474 Southwest Secoffee Terrace
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2613                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 602 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 610 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.401
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACQUELINE M MOODY PA                                        Contingent
         11451 Northwest 37th Street                                  Unliquidated
         Sunrise, FL 33323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1578
                                                                   Is the claim subject to offset?     No       Yes

3.401
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JACQUELINE M REGUEIRA PA                                     Contingent
         8321 Northwest 12th Street                                   Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8029
                                                                   Is the claim subject to offset?     No       Yes

3.401
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jacquelyn C. Herrman, P.A.                                   Contingent
         10439 Waterbird Way                                          Unliquidated
         Bradenton, FL 34209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8466
                                                                   Is the claim subject to offset?     No       Yes

3.401
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACQUELYN LUMPKIN WOODEN PA                                  Contingent
         12741 Miramar Parkway                                        Unliquidated
         Suite 205
                                                                      Disputed
         Miramar, FL 33027
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6994                      Is the claim subject to offset?     No       Yes

3.401
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JACQUELYN M SHANNON                                          Contingent
         Jacquelyn M. Shannon P.A.                                    Unliquidated
         9160 Oakhurst Road Suite 3
                                                                      Disputed
         Seminole, FL 33776-2157
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2208                      Is the claim subject to offset?     No       Yes

3.401
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAIME L TORRES & ASSOCIATES                                  Contingent
         1428 Brickell Avenue Suite 401                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7117
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 603 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 611 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.402
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAIME R QUEZON                                               Contingent
         805 W Azeele Street                                          Unliquidated
         Tampa, FL 33606-2209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5601
                                                                   Is the claim subject to offset?     No       Yes

3.402
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         JAMERSON & SUTTON LLP                                        Contingent
         5183 SW 76th Street                                          Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7096
                                                                   Is the claim subject to offset?     No       Yes

3.402
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES & BIELEJESKI PA                                        Contingent
         4367 N Federal Highway Suite 1o1                             Unliquidated
         Ft Lauderdale, FL 33308-5213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 421
                                                                   Is the claim subject to offset?     No       Yes

3.402
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES A BARKS                                                Contingent
         1274 Upsala Road                                             Unliquidated
         Sanford, FL 32771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8257
                                                                   Is the claim subject to offset?     No       Yes

3.402
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A BARRIOS                                              Contingent
         321 N Kentucky Avenue Suite 5                                Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4526
                                                                   Is the claim subject to offset?     No       Yes

3.402
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES A BOND                                                 Contingent
         1251 Southwest 27th Street                                   Unliquidated
         Palm City, FL 34990-2761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7868
                                                                   Is the claim subject to offset?     No       Yes

3.402
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A BOYKO                                                Contingent
         6545 Ridge Road Suite 3                                      Unliquidated
         Port Richey, FL 34668-6836
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4184
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 604 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 612 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.402
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES A CUEVA PL                                             Contingent
         2665 S Bayshore Drive Suite 800                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4174
                                                                   Is the claim subject to offset?     No       Yes

3.402
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A GRANOSKI                                             Contingent
         7735 Holiday Drive                                           Unliquidated
         Sarasota, FL 34231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0974
                                                                   Is the claim subject to offset?     No       Yes

3.402
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A HARTMAN                                              Contingent
         P.O. Box 940929                                              Unliquidated
         Maitland, FL 32794-0929
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4599
                                                                   Is the claim subject to offset?     No       Yes

3.403
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES A HORLAND                                              Contingent
         290 Northwest 165th Street Ph-4                              Unliquidated
         Miami, FL 33169-6457
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3914
                                                                   Is the claim subject to offset?     No       Yes

3.403
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A KLOHN                                                Contingent
         1130 NE 3rd Avenue                                           Unliquidated
         R-2
                                                                      Disputed
         Ft. Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5155                      Is the claim subject to offset?     No       Yes

3.403
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A MARX                                                 Contingent
         Akerman Senterfitt                                           Unliquidated
         One Southeast Third Avenue Suite 2500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7801                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 605 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 613 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.403
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES A MCNABB JR                                            Contingent
         510 Ventris Court                                            Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6508
                                                                   Is the claim subject to offset?     No       Yes

3.403
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES A MCSWIGAN                                             Contingent
         Lantana Professional Building                                Unliquidated
         401 W Lantana Road Suite 10
                                                                      Disputed
         Lantana, FL 33462
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7216                      Is the claim subject to offset?     No       Yes

3.403
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES A MOLANS                                               Contingent
         16100 Southwest 173 Avenue                                   Unliquidated
         Miami, FL 33187
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4845
                                                                   Is the claim subject to offset?     No       Yes

3.403
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A NEAL JR PA                                           Contingent
         213 Courthouse Square                                        Unliquidated
         Inverness, FL 34450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4060
                                                                   Is the claim subject to offset?     No       Yes

3.403
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A SCHMIDT PA                                           Contingent
         2904 W. Bay to Bay Blvd.                                     Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4950
                                                                   Is the claim subject to offset?     No       Yes

3.403
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES A SCHORNER PA                                          Contingent
         1702 Club Drive                                              Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7756
                                                                   Is the claim subject to offset?     No       Yes

3.403
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES A. LOWE                                                Contingent
         5705 Hansel Avenue                                           Unliquidated
         Orlando, FL 32809-4278
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6933
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 606 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 614 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.404
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES ALAN POE PA                                            Contingent
         9500 S Dadeland Boulevard Suite 610                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5743
                                                                   Is the claim subject to offset?     No       Yes

3.404
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES ALFRED BURZEE                                          Contingent
         P.O. Box 722                                                 Unliquidated
         Orlando, FL 32802-0722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3901
                                                                   Is the claim subject to offset?     No       Yes

3.404
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES ALLAN HERB                                             Contingent
         2200 Corporate Boulevard NW                                  Unliquidated
         Suite 315
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4000                      Is the claim subject to offset?     No       Yes

3.404
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES ANTHONY JULIAN                                         Contingent
         1202 N. W. 9th Avenue                                        Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3586
                                                                   Is the claim subject to offset?     No       Yes

3.404
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES B BALSIGER                                             Contingent
         1235 31st Avenue Southwest                                   Unliquidated
         Vero Beach, FL 32968-5039
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3467
                                                                   Is the claim subject to offset?     No       Yes

3.404
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES B BYRNE JR                                             Contingent
         370 Crown Oak Centre Drive                                   Unliquidated
         Longwood, FL 32750-6149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3625
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 607 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 615 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.404
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $112.50
         JAMES B DAVIS                                                Contingent
         P.O. Box 14636                                               Unliquidated
         Ft Lauderdale, FL 33302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1887
                                                                   Is the claim subject to offset?     No       Yes

3.404
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES B FARRELL                                              Contingent
         2401 Anderson Road Unit No 6                                 Unliquidated
         Coral Gables, FL 33134-4854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4885
                                                                   Is the claim subject to offset?     No       Yes

3.404
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES BARROW PLLC                                            Contingent
         Tampa Bay Law Group                                          Unliquidated
         2202 N West Shore Boulevard Suite 200
                                                                      Disputed
         Tampa, FL 33607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0188                      Is the claim subject to offset?     No       Yes

3.404
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES C ALFONSO                                              Contingent
         2522 West Kennedy Boulevard                                  Unliquidated
         Tampa, FL 33609-3306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3878
                                                                   Is the claim subject to offset?     No       Yes

3.405
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES C BARTH                                                Contingent
         400 South Shore Drive                                        Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5659
                                                                   Is the claim subject to offset?     No       Yes

3.405
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,792.27
         JAMES C BLANTON                                              Contingent
         319 Clematis Street Suite 801                                Unliquidated
         West Palm Beach, FL 33401-6828                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 466
                                                                   Is the claim subject to offset?     No       Yes

3.405
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES C BRADY                                                Contingent
         200 E Las Olas Boulevard Suite 1700                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5862
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 608 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 616 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.405
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES C CAMPISI                                              Contingent
         2739 US Highway 19                                           Unliquidated
         Suite 401
                                                                      Disputed
         Holiday, FL 34691-2703
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5894                      Is the claim subject to offset?     No       Yes

3.405
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES C CLARK                                                Contingent
         1405 Ladue Lane                                              Unliquidated
         Sarasota, FL 34231-2318
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4437
                                                                   Is the claim subject to offset?     No       Yes

3.405
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES C CONNER JR                                            Contingent
         P.O. Box 854                                                 Unliquidated
         Bristol, FL 32321-0854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4551
                                                                   Is the claim subject to offset?     No       Yes

3.405
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES C JOHNSTON PA                                          Contingent
         The Forum Suite D-1                                          Unliquidated
         1705 Colonial Boulevard
                                                                      Disputed
         Ft Myers, FL 33907-1141
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3309                      Is the claim subject to offset?     No       Yes

3.405
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES C PAINE JR                                             Contingent
         2831 Exchange Court Suite A                                  Unliquidated
         W Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5425
                                                                   Is the claim subject to offset?     No       Yes

3.405
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES C RUSSICK                                              Contingent
         200 S Ashley Drive Suite 700                                 Unliquidated
         Tampa, FL 33602-5300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 302
                                                                   Is the claim subject to offset?     No       Yes

3.405
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES C. FETTERMAN                                           Contingent
         515 S. Washington Blvd.                                      Unliquidated
         Sarasota, FL 34236-7104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8645
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 609 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 617 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.406
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,053.23
         JAMES C. FOUNTAIN                                            Contingent
         P.O. Box 2888                                                Unliquidated
         Lake City, FL 32056-2888                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1360
                                                                   Is the claim subject to offset?     No       Yes

3.406
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES C. GAVIGAN                                             Contingent
         1510 N. Ocean Blvd.                                          Unliquidated
         Palm Beach, FL 33480-3068
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5925
                                                                   Is the claim subject to offset?     No       Yes

3.406
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES D EASLEY                                               Contingent
         1000 Southwest 59th Terrace Apt B                            Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5559
                                                                   Is the claim subject to offset?     No       Yes

3.406
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D ECKERT                                               Contingent
         1 Beach Drive Southeast Apt 1812                             Unliquidated
         St Petersburg, FL 33701-3926
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8516
                                                                   Is the claim subject to offset?     No       Yes

3.406
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $533.99
         JAMES D HENRY JR                                             Contingent
         2325 Ulmerton Road                                           Unliquidated
         Suite 5                                                      Disputed
         Clearwater, FL 34622-3362
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4468                      Is the claim subject to offset?     No       Yes


3.406
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D JACKMAN                                              Contingent
         5008 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8345
                                                                   Is the claim subject to offset?     No       Yes

3.406
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES D KIRTLEY                                              Contingent
         1562 River Bend Pi Southeast                                 Unliquidated
         Decatur, AL 35601-6752
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2569
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 610 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 618 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.406
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D LAMPATHAKIS PA                                       Contingent
         405 S. Duncan Avenue                                         Unliquidated
         Suite A
                                                                      Disputed
         Clearwater, FL 33755
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4438                      Is the claim subject to offset?     No       Yes

3.406
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D NELSEN                                               Contingent
         8558 Royal Lakes Drive                                       Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6208
                                                                   Is the claim subject to offset?     No       Yes

3.406
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,099.28
         JAMES D PALERMO                                              Contingent
         15436 N Florida Avenue Suite 200                             Unliquidated
         Tampa, FL 33613                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4458
                                                                   Is the claim subject to offset?     No       Yes

3.407
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D RUDD                                                 Contingent
         6300 Northwest 5th Way Suite 100                             Unliquidated
         Ft Lauderdale, FL 33309-6283
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1931
                                                                   Is the claim subject to offset?     No       Yes

3.407
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D WOOD                                                 Contingent
         300 31st Street N Suite 400                                  Unliquidated
         St Petersburg, FL 33733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2180
                                                                   Is the claim subject to offset?     No       Yes

3.407
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES D'LOUGHY                                               Contingent
         P.O. Box 7932                                                Unliquidated
         Port St Lucie, FL 34985
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0214
                                                                   Is the claim subject to offset?     No       Yes

3.407
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES D. MAPP, JR.                                           Contingent
         P.O. Box 532097                                              Unliquidated
         Orlando, FL 32853-2097
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4983
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 611 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 619 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.407
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,193.18
         JAMES E ELLIOTT                                              Contingent
         P.O. Box 66568                                               Unliquidated
         St Petersburg Beach, FL 33736-6568                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3635
                                                                   Is the claim subject to offset?     No       Yes

3.407
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $161.55
         JAMES E FERGUSON JR                                          Contingent
         525 3rd Street S Suite 22                                    Unliquidated
         Naples, FL 33940-6510                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5423
                                                                   Is the claim subject to offset?     No       Yes

3.407
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES E JACOBY PA                                            Contingent
         4300 Design Center Drive                                     Unliquidated
         Palm Beach Gardens, FL 33410-4225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2360
                                                                   Is the claim subject to offset?     No       Yes

3.407
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES E KNIGHT                                               Contingent
         160 John Rolfe Lane                                          Unliquidated
         Williamsburg, VA 23185-1429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4558
                                                                   Is the claim subject to offset?     No       Yes

3.407
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,825.52
         JAMES E MOORE III                                            Contingent
         1107 W Marion Avenue Suite 112                               Unliquidated
         Punta Gorda, FL 33950-5200                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5413
                                                                   Is the claim subject to offset?     No       Yes

3.407
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES E NUTT                                                 Contingent
         P.O. Box 24680                                               Unliquidated
         West Palm Beach, FL 33416-4680
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9882
                                                                   Is the claim subject to offset?     No       Yes

3.408
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES E SAUNDERS III                                         Contingent
         15812 Northwest 15th Court                                   Unliquidated
         Pembroke Pines, FL 33028-1843
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6562
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 612 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 620 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.408
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES E SHEPHERD                                             Contingent
         145 Middle Street Suite 1121                                 Unliquidated
         Lake Mary, FL 32746-3594
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6040
                                                                   Is the claim subject to offset?     No       Yes

3.408
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES E TAYLOR JR                                            Contingent
         1215 E Amelia Street                                         Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8593
                                                                   Is the claim subject to offset?     No       Yes

3.408
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES E WADE III                                             Contingent
         116 Bushnell Plaza                                           Unliquidated
         Bushnell, FL 33513-9409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0654
                                                                   Is the claim subject to offset?     No       Yes

3.408
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $58.71
         JAMES E WHARTON                                              Contingent
         4500 S Four Mile Run Drive Suite 634                         Unliquidated
         Arlington, VA 22204-3537                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3021
                                                                   Is the claim subject to offset?     No       Yes

3.408
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES E WILLIS                                               Contingent
         851 5th Avenue N Suite 301                                   Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5937
                                                                   Is the claim subject to offset?     No       Yes

3.408
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES E. SPROULL, JR.                                        Contingent
         4707 N.W. 57th Drive                                         Unliquidated
         Gainesville, FL 32606-4369
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6359
                                                                   Is the claim subject to offset?     No       Yes

3.408
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES E. WEBER                                               Contingent
         501 S. Flagler Dr.                                           Unliquidated
         Suite 207
                                                                      Disputed
         West Palm Beach, FL 33401-5915
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6051                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 613 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 621 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.408
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES F BASQUE                                               Contingent
         3327 Wax Berry Court                                         Unliquidated
         Windermere Fl, FL 34786
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8165
                                                                   Is the claim subject to offset?     No       Yes

3.408
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES F GRAY                                                 Contingent
         3615 Northwest 13th Street Suite B                           Unliquidated
         Gainesville, FL 32609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7403
                                                                   Is the claim subject to offset?     No       Yes

3.409
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES F GULECAS PA                                           Contingent
         P.O. Box 142334                                              Unliquidated
         Clearwater, FL 33766
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9561
                                                                   Is the claim subject to offset?     No       Yes

3.409
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES F KEEDY                                                Contingent
         220 W Main Street                                            Unliquidated
         Tavares, FL 32778-3812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4848
                                                                   Is the claim subject to offset?     No       Yes

3.409
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,352.54
         JAMES F LITTMAN                                              Contingent
         P.O. Box 1197                                                Unliquidated
         Stuart, FL 34995-1197                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3329
                                                                   Is the claim subject to offset?     No       Yes

3.409
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES F MILLER & ASSOCIATES PA                               Contingent
         219 N Dixie Highway                                          Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2130
                                                                   Is the claim subject to offset?     No       Yes

3.409
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,825.08
         JAMES F POLLACK                                              Contingent
         1025 Anastasia Avenue                                        Unliquidated
         Coral Gables, FL 33134-6335                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2738
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 614 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 622 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.409
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES F SCHWEIKERT                                           Contingent
         P.O. Box 1711                                                Unliquidated
         Jensen Beach, FL 34958-1711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4383
                                                                   Is the claim subject to offset?     No       Yes

3.409
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES F SPINDLER JR                                          Contingent
         3858 N Citrus Avenue                                         Unliquidated
         Crystal River, FL 34428-6035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4473
                                                                   Is the claim subject to offset?     No       Yes

3.409
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,314.57
         JAMES F. JOHNSON, JR., P.A.                                  Contingent
         50 Rolling Oaks Drive                                        Unliquidated
         Asheville, NC 28806-3942                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4445
                                                                   Is the claim subject to offset?     No       Yes

3.409
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES G KINCAID                                              Contingent
         Pmb 285                                                      Unliquidated
         2805 E Oakland Park Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33306-1813
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4295                      Is the claim subject to offset?     No       Yes

3.409
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES G LARCHE JR                                            Contingent
         4041-B Northwest 37th Pl                                     Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3442
                                                                   Is the claim subject to offset?     No       Yes

3.410
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES G LEVIN                                                Contingent
         8962 Southwest 8th Street                                    Unliquidated
         Boca Raton, FL 33433-6212
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8698
                                                                   Is the claim subject to offset?     No       Yes

3.410
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $228.66
         JAMES G PACE PA                                              Contingent
         15180 Biscayne Boulevard                                     Unliquidated
         North Miami Beach, FL 33160-4602                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 319
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 615 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 623 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.410
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES G. SISCO                                               Contingent
         P.O. Box 1533                                                Unliquidated
         St. Augustine, FL 32085-1533
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5439
                                                                   Is the claim subject to offset?     No       Yes

3.410
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES GARRITY                                                Contingent
         400 S Monroe Street                                          Unliquidated
         Tallahassee, FL 32399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8457
                                                                   Is the claim subject to offset?     No       Yes

3.410
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES H BATMASIAN                                            Contingent
         215 N Federal Highway                                        Unliquidated
         Boca Raton, FL 33432-3935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7931
                                                                   Is the claim subject to offset?     No       Yes

3.410
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES H BUZBEE                                               Contingent
         P.O. Drawer Hhh                                              Unliquidated
         Plant City, FL 33564-9053
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5258
                                                                   Is the claim subject to offset?     No       Yes

3.410
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES H COOK III                                             Contingent
         5562 Pinetree Drive                                          Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8990
                                                                   Is the claim subject to offset?     No       Yes

3.410
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES H EARNEST                                              Contingent
         3066 White Ibis Way                                          Unliquidated
         Tallahassee, FL 32308-2889
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2479
                                                                   Is the claim subject to offset?     No       Yes

3.410
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES H HARRISON                                             Contingent
         3330 Lake Shore Drive                                        Unliquidated
         Orlando, FL 32803-1125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6491
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 616 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 624 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.410
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES H MCANLY                                               Contingent
         222 E Oak Street                                             Unliquidated
         Arcadia, FL 33821-4422
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4918
                                                                   Is the claim subject to offset?     No       Yes

3.411
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JAMES H MCCARTY JR                                           Contingent
         2630 NW 41st Street                                          Unliquidated
         Suite A
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5716                      Is the claim subject to offset?     No       Yes

3.411
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JAMES H PECK                                                 Contingent
         475 Biltmore Way Suite 303                                   Unliquidated
         Coral Gables, FL 33134-5755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 482
                                                                   Is the claim subject to offset?     No       Yes

3.411
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JAMES H SIESKY                                               Contingent
         Siesky & Pilon                                               Unliquidated
         2800 Davis Boulevard, Suite 205
                                                                      Disputed
         Naples, FL 34104
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1667                      Is the claim subject to offset?     No       Yes

3.411
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES H SWEENY III                                           Contingent
         Datran II Center Suite 1218                                  Unliquidated
         9130 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0469                      Is the claim subject to offset?     No       Yes

3.411
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES H THOMPSON                                             Contingent
         P.O. Box 391                                                 Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4615
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 617 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 625 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.411
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES H. MCNEIL                                              Contingent
         P.O. Box 1567                                                Unliquidated
         Ft. Myers, FL 33902-1567
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5045
                                                                   Is the claim subject to offset?     No       Yes

3.411
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES H. SEAY                                                Contingent
         6624 Gateway Avenue                                          Unliquidated
         Sarasota, FL 34231-5806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4810
                                                                   Is the claim subject to offset?     No       Yes

3.411
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         JAMES J ALTMAN                                               Contingent
         5614 Grand Boulevard                                         Unliquidated
         New Port Richey, FL 34652-3811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 938
                                                                   Is the claim subject to offset?     No       Yes

3.411
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES J BELCHER PA                                           Contingent
         234 University Boulevard N                                   Unliquidated
         Jacksonville, FL 32211
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5465
                                                                   Is the claim subject to offset?     No       Yes

3.411
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES J BUTLER                                               Contingent
         821 E Ocean Boulevard                                        Unliquidated
         Suite B
                                                                      Disputed
         Stuart, FL 34994-3559
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4573                      Is the claim subject to offset?     No       Yes

3.412
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES J CUSACK                                               Contingent
         4910 Street Croix Drive                                      Unliquidated
         Tampa, FL 33629-4831
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6170
                                                                   Is the claim subject to offset?     No       Yes

3.412
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES J DOUGHERTY PA                                         Contingent
         7491 N Federal Highway Suite C5-800                          Unliquidated
         Boca Raton, FL 33487-1825
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8796
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 618 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 626 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.412
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES J FOSTER PA                                            Contingent
         11490 Emerald Coast Parkway                                  Unliquidated
         Destin, FL 32550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4614
                                                                   Is the claim subject to offset?     No       Yes

3.412
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES J HURCHALLA                                            Contingent
         888 E Las Olas Boulevard Suite 200                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8584
                                                                   Is the claim subject to offset?     No       Yes

3.412
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES J KEARN                                                Contingent
         138 Live Oak Avenue                                          Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4276
                                                                   Is the claim subject to offset?     No       Yes

3.412
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JAMES J MORAN                                                Contingent
         Reed Griffith & Moran                                        Unliquidated
         P.O. Drawer 10
                                                                      Disputed
         Boynton Beach, FL 33425-0010
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6790                      Is the claim subject to offset?     No       Yes

3.412
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         James J. Dorl, P.A.                                          Contingent
         P.O. Box 500177                                              Unliquidated
         Marathon, FL 33050-0177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5026
                                                                   Is the claim subject to offset?     No       Yes

3.412
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES JACKSON HOUSER                                         Contingent
         8338 Southeast Coconut Street                                Unliquidated
         Hobe Sound, FL 33455-2911
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8533
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 619 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 627 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.412
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES K COAD                                                 Contingent
         8761 Southwest 137 Avenue                                    Unliquidated
         Miami, FL 33183-4077
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1500
                                                                   Is the claim subject to offset?     No       Yes

3.412
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES K RUBIN PA                                             Contingent
         1100 Northeast 163 Street Suite 101                          Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2372
                                                                   Is the claim subject to offset?     No       Yes

3.413
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES K. PEDLEY                                              Contingent
         727 N.E. 3rd Ave.                                            Unliquidated
         Suite 301
                                                                      Disputed
         Ft. Lauderdale, FL 33304-2646
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6000                      Is the claim subject to offset?     No       Yes

3.413
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $333.13
         JAMES L BERFIELD                                             Contingent
         2515 Countryside Boulevard Suite D                           Unliquidated
         Clearwater, FL 34623-1603                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7085
                                                                   Is the claim subject to offset?     No       Yes

3.413
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,205.63
         JAMES L CASE                                                 Contingent
         2810 E Oakland Park Boulevard                                Unliquidated
         Suite 102                                                    Disputed
         Ft Lauderdale, FL 33306-1801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4315                      Is the claim subject to offset?     No       Yes


3.413
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES L CHASE                                                Contingent
         P.O. Box 13205                                               Unliquidated
         Pensacola, FL 32591-3205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3924
                                                                   Is the claim subject to offset?     No       Yes

3.413
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES L COTTRELL                                             Contingent
         P.O. Box 350694                                              Unliquidated
         Palm Coast, FL 32135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0124
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 620 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 628 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.413
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES L ESSENSON                                             Contingent
         100 Wallace Avenue                                           Unliquidated
         Suite 310
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8051                      Is the claim subject to offset?     No       Yes

3.413
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES L ESTES JR                                             Contingent
         P.O. Box 111                                                 Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5080
                                                                   Is the claim subject to offset?     No       Yes

3.413
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES L GOETZ PA                                             Contingent
         P.O. Box 6844                                                Unliquidated
         Ft Myers, FL 33911-6844
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6904
                                                                   Is the claim subject to offset?     No       Yes

3.413
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES L KARL II                                              Contingent
         975 N. Collier Boulevard                                     Unliquidated
         Marco Island, FL 34145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4832
                                                                   Is the claim subject to offset?     No       Yes

3.413
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES L KERSHAW                                              Contingent
         2125 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33062-5207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4017
                                                                   Is the claim subject to offset?     No       Yes

3.414
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES L MAIN                                                 Contingent
         Holland & Knight                                             Unliquidated
         P.O. Box 52687
                                                                      Disputed
         Jacksonville, FL 32201
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6064                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 621 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 629 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.414
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES L MYERS JR                                             Contingent
         222 Royal Palm Way                                           Unliquidated
         Palm Beach, FL 33480-4303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7155
                                                                   Is the claim subject to offset?     No       Yes

3.414
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES L PADGETT JR                                           Contingent
         113 North 4th Street                                         Unliquidated
         Palatka, FL 32177-2505
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8064
                                                                   Is the claim subject to offset?     No       Yes

3.414
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES L PADGETT JR                                           Contingent
         10 Central Avenue                                            Unliquidated
         Crescent City, FL 32112-2602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8064
                                                                   Is the claim subject to offset?     No       Yes

3.414
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES L SAYER                                                Contingent
         P0 Box 776                                                   Unliquidated
         Ft Myers, FL 33902-0776
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5514
                                                                   Is the claim subject to offset?     No       Yes

3.414
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES L SCHMIDT II                                           Contingent
         6725 US 27 S                                                 Unliquidated
         Sebring, FL 33876
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7950
                                                                   Is the claim subject to offset?     No       Yes

3.414
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES L SOULE                                                Contingent
         7515 W Oakland Park Boulevard Suite 100                      Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9155
                                                                   Is the claim subject to offset?     No       Yes

3.414
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES L WALL JR                                              Contingent
         1275 Bluebird Avenue                                         Unliquidated
         Miami, FL 33166-3117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4828
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 622 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 630 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.414
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         James L. Goetz                                               Contingent
         Goetz & Goetz                                                Unliquidated
         2133 Winkler Avenue, Suite 300
                                                                      Disputed
         Ft Myers, FL 33901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6904                      Is the claim subject to offset?     No       Yes

3.414
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         James L. Shroads                                             Contingent
         P.O. Box 15568                                               Unliquidated
         Fernandina Beach, FL 32035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7241
                                                                   Is the claim subject to offset?     No       Yes

3.415
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES LOREN                                                  Contingent
         2040 Northeast 163rd Street Suite 207                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2618
                                                                   Is the claim subject to offset?     No       Yes

3.415
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M BRAKO                                                Contingent
         1450 Northeast 2nd Avenue Suite 526                          Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8460
                                                                   Is the claim subject to offset?     No       Yes

3.415
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES M BRICKLEY                                             Contingent
         P.O. Box 531853                                              Unliquidated
         St Petersburg, FL 33747-1853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3872
                                                                   Is the claim subject to offset?     No       Yes

3.415
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES M CAMPBELL                                             Contingent
         3125 Hanover Street                                          Unliquidated
         Dallas, TX 75225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6993
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 623 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 631 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.415
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M CHADWICK                                             Contingent
         11300 Fourth Street N Suite 200                              Unliquidated
         St Petersburg, FL 33716-2940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9990
                                                                   Is the claim subject to offset?     No       Yes

3.415
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M CRUM                                                 Contingent
         P.O. Box 519                                                 Unliquidated
         Lakehurst, NJ 08733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0109
                                                                   Is the claim subject to offset?     No       Yes

3.415
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES M HAMMOND                                              Contingent
         1831 N Belcher Road Suite A-1                                Unliquidated
         Clearwater, FL 33765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8173
                                                                   Is the claim subject to offset?     No       Yes

3.415
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M HOLZ ATTORNEY AT LAW                                 Contingent
         100 S Kentucky Avenue Suite 295                              Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5050
                                                                   Is the claim subject to offset?     No       Yes

3.415
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M KOSMAS                                               Contingent
         111 Live Oak Street                                          Unliquidated
         New Smyrna Beach, FL 32168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3623
                                                                   Is the claim subject to offset?     No       Yes

3.415
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M MANCUSO                                              Contingent
         1025 Greenwood Boulevard Suite 222                           Unliquidated
         Lake Mary, FL 32746-5406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9185
                                                                   Is the claim subject to offset?     No       Yes

3.416
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES M MCCARTHY                                             Contingent
         P.O. Box 3625                                                Unliquidated
         Lakeland, FL 33802-3625
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5094
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 624 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 632 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.416
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M MILLER                                               Contingent
         Vernis & Bowling of Cntrl Flpa                               Unliquidated
         1450 S Woodland Boulevard Suite 400
                                                                      Disputed
         Deland, FL 32720-7767
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0253                      Is the claim subject to offset?     No       Yes

3.416
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,031.69
         JAMES M NIXON II                                             Contingent
         10643 Big Canoe                                              Unliquidated
         Big Canoe, GA 30143                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4060
                                                                   Is the claim subject to offset?     No       Yes

3.416
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES M PACE JR                                              Contingent
         P.O. Box 916                                                 Unliquidated
         Bainbridge, GA 31717-0916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6135
                                                                   Is the claim subject to offset?     No       Yes

3.416
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES M PAINTER                                              Contingent
         1300 N. Federal Highway                                      Unliquidated
         Suite 110
                                                                      Disputed
         Boca Raton, FL 33432-2848
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 177                       Is the claim subject to offset?     No       Yes

3.416
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES M STEWART                                              Contingent
         1211 The Plaza                                               Unliquidated
         Singer Island, FL 33404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8155
                                                                   Is the claim subject to offset?     No       Yes

3.416
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES M STUCKEY                                              Contingent
         P.O. Box 1800                                                Unliquidated
         Stuart, FL 34995-1800
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6312
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 625 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 633 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.416
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES M WALLACE                                              Contingent
         420 Old Main Street                                          Unliquidated
         Bradenton, FL 34205-1889
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1094
                                                                   Is the claim subject to offset?     No       Yes

3.416
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES M WILLIAMS                                             Contingent
         1701 E Atlantic Boulevard Suite 4                            Unliquidated
         Pompano Beach, FL 33060-6767
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7195
                                                                   Is the claim subject to offset?     No       Yes

3.416
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES MARVIN GANN                                            Contingent
         P.O. Box 1596                                                Unliquidated
         Belle Glade, FL 33430-6596
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4731
                                                                   Is the claim subject to offset?     No       Yes

3.417
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES N BROWN                                                Contingent
         1110 N. Olive Avenue                                         Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9078
                                                                   Is the claim subject to offset?     No       Yes

3.417
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES N CASESA                                               Contingent
         3845 - Fifth Avenue N                                        Unliquidated
         St Petersburg, FL 33713-7548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7369
                                                                   Is the claim subject to offset?     No       Yes

3.417
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES N REYER                                                Contingent
         5301 N Federal Highway Suite 130                             Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3916
                                                                   Is the claim subject to offset?     No       Yes

3.417
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES N STANLEY JR                                           Contingent
         2828 Coral Way Suite 304                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5744
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 626 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 634 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.417
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,043.61
         JAMES N. DAVIS                                               Contingent
         1 East Redlands Blvd.                                        Unliquidated
         Redlands, CA 92373-4743                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6011
                                                                   Is the claim subject to offset?     No       Yes

3.417
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES P BENNETT                                              Contingent
         4681 1st Street Northeast Suite 406                          Unliquidated
         St Petersburg, FL 33703-4947
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1398
                                                                   Is the claim subject to offset?     No       Yes

3.417
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES P BRIDY                                                Contingent
         P.O. Box 809                                                 Unliquidated
         Stuart, FL 34995
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7816
                                                                   Is the claim subject to offset?     No       Yes

3.417
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES P COVEY                                                Contingent
         1111 S Federal Highway Suite 118                             Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8148
                                                                   Is the claim subject to offset?     No       Yes

3.417
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES P PANICO                                               Contingent
         PO Box 2854                                                  Unliquidated
         Orlando, FL 32802-2854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3866
                                                                   Is the claim subject to offset?     No       Yes

3.417
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES P WOLF                                                 Contingent
         P.O. Box 4579                                                Unliquidated
         Jacksonville, FL 32231-0038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2228
                                                                   Is the claim subject to offset?     No       Yes

3.418
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES P. COOKSEY                                             Contingent
         5514 Park Blvd. North                                        Unliquidated
         Pinellas Park, FL 34665-3326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8490
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 627 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 635 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.418
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         JAMES R CLODFELTER                                           Contingent
         2461 West Hillsboro Boulevard                                Unliquidated
         Deerfield Beach, FL 33442-7901                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8062
                                                                   Is the claim subject to offset?     No       Yes

3.418
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES R EDDY                                                 Contingent
         2631 E Oakland Park Boulevard Suite 110                      Unliquidated
         Ft Lauderdale, FL 33306-1607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4870
                                                                   Is the claim subject to offset?     No       Yes

3.418
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R EVANS PA                                             Contingent
         322 Silver Beach Avenue                                      Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5888
                                                                   Is the claim subject to offset?     No       Yes

3.418
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES R FLYNN                                                Contingent
         407 W Georgia                                                Unliquidated
         Starke, FL 32091-1813
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6966
                                                                   Is the claim subject to offset?     No       Yes

3.418
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES R JESSELL                                              Contingent
         P.O. Box 837                                                 Unliquidated
         Ft Myers, FL 33902-0837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4063
                                                                   Is the claim subject to offset?     No       Yes

3.418
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R KAY                                                  Contingent
         Phillips Point East Tower                                    Unliquidated
         777 S Flagler Drive Suite 900 E
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1724                      Is the claim subject to offset?     No       Yes

3.418
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R KELLER                                               Contingent
         P.O. Box 500057                                              Unliquidated
         Marathon, FL 33050-0057
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8565
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 628 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 636 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.418
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R NIESET                                               Contingent
         James R. Nieset P.A.                                         Unliquidated
         6740 Crosswinds Drive N Suite D
                                                                      Disputed
         St Petersburg, FL 33710-5472
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6165                      Is the claim subject to offset?     No       Yes

3.418
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R PALMER                                               Contingent
         1900 Summit Tower Boulevard Suite 760                        Unliquidated
         Orlando, FL 32810
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9090
                                                                   Is the claim subject to offset?     No       Yes

3.419
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES R RICH                                                 Contingent
         Forum 111 Suite 401                                          Unliquidated
         1655 Palm Beach Lakes Boulevard
                                                                      Disputed
         West Palm Beach, FL 33401-2119
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7063                      Is the claim subject to offset?     No       Yes

3.419
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R WELLS                                                Contingent
         50 Southeast Fourth Avenue                                   Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4666
                                                                   Is the claim subject to offset?     No       Yes

3.419
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES R ZANT                                                 Contingent
         P.O. Box 14                                                  Unliquidated
         Madison, FL 32340-0014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8758
                                                                   Is the claim subject to offset?     No       Yes

3.419
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES R. DRESSLER                                            Contingent
         110 Dixie Lane                                               Unliquidated
         Cocoa Beach, FL 32931-3542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4969
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 629 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 637 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.419
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES R. KENNEDY, JR.                                        Contingent
         856 Second Avenue North                                      Unliquidated
         St. Petersburg, FL 33701-3106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7930
                                                                   Is the claim subject to offset?     No       Yes

3.419
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES ROBERT MEYER                                           Contingent
         P.O. Drawer 2900                                             Unliquidated
         Lakeland, FL 33806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4622
                                                                   Is the claim subject to offset?     No       Yes

3.419
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES S BYRD SR                                              Contingent
         1200 W State Road 434 Suite 112                              Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1835
                                                                   Is the claim subject to offset?     No       Yes

3.419
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES S CARIS                                                Contingent
         401 E Las Olas Boulevard Suite 130-117                       Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6534
                                                                   Is the claim subject to offset?     No       Yes

3.419
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES S PUCCIO                                               Contingent
         3501 Del Prado Boulevard Suite 310                           Unliquidated
         Cape Coral, FL 33904-7223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4082
                                                                   Is the claim subject to offset?     No       Yes

3.419
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES S RENALDO                                              Contingent
         4219 Carrollwood Village Drive                               Unliquidated
         Tampa, FL 33618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8688
                                                                   Is the claim subject to offset?     No       Yes

3.420
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAMES S STROUSS III PA                                       Contingent
         2758 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 630 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 638 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.420
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         James S. Morris, P.A.                                        Contingent
         P.O. Box 291687                                              Unliquidated
         Port Orange, FL 32129-1687
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2194
                                                                   Is the claim subject to offset?     No       Yes

3.420
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES SADOCK, JR.                                            Contingent
         5894 Michaux Street                                          Unliquidated
         Boca Raton, FL 33433-7276
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6237
                                                                   Is the claim subject to offset?     No       Yes

3.420
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES SUGLIO                                                 Contingent
         801 S University Drive                                       Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7201
                                                                   Is the claim subject to offset?     No       Yes

3.420
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES T HOLDER                                               Contingent
         P.O. Box 1079                                                Unliquidated
         Clearwater, FL 34617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8314
                                                                   Is the claim subject to offset?     No       Yes

3.420
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $14.50
         JAMES T IANNACCONE                                           Contingent
         800 E Broward Boulevard Suite 510                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4146
                                                                   Is the claim subject to offset?     No       Yes

3.420
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         JAMES T JOINER                                               Contingent
         P.O. Drawer 230                                              Unliquidated
         Winter Haven, FL 33882-0230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6642
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 631 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 639 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.420
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES T LYNCH                                                Contingent
         P.O. Box 574                                                 Unliquidated
         Santa Fe, NM 87504-0574
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6530
                                                                   Is the claim subject to offset?     No       Yes

3.420
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES T MOORE                                                Contingent
         9762 Trophy Oaks Drive                                       Unliquidated
         Garden Ridge, TX 78266-2814
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4587
                                                                   Is the claim subject to offset?     No       Yes

3.420
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JAMES T NUNN                                                 Contingent
         417 Eaton Street                                             Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5921
                                                                   Is the claim subject to offset?     No       Yes

3.421
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES V DOLAN                                                Contingent
         540 Northeast 8th Street                                     Unliquidated
         Ft Lauderdale, FL 33304-2715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5370
                                                                   Is the claim subject to offset?     No       Yes

3.421
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES V FAZIOLI                                              Contingent
         3205 Northeast 59th Street                                   Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0717
                                                                   Is the claim subject to offset?     No       Yes

3.421
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES V LOBOZZO JR                                           Contingent
         211 S Ridgewood Drive                                        Unliquidated
         Sebring, FL 33870-3340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7437
                                                                   Is the claim subject to offset?     No       Yes

3.421
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES W BOWLING                                              Contingent
         1680 Northeast 135th Street                                  Unliquidated
         North Miami, FL 33181-1748
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 296
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 632 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 640 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.421
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES W GRIMSLEY                                             Contingent
         Anchors Smith Grimsley                                       Unliquidated
         909 Mar Walt Drive Suite 1014
                                                                      Disputed
         Ft Walton Beach, FL 32549-2379
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7697                      Is the claim subject to offset?     No       Yes

3.421
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAMES W MAGAHA                                               Contingent
         812 N Spring Street                                          Unliquidated
         Pensacola, FL 32501-3120
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8188
                                                                   Is the claim subject to offset?     No       Yes

3.421
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES W MARTIN                                               Contingent
         540 4th Street North                                         Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6627
                                                                   Is the claim subject to offset?     No       Yes

3.421
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES W MOORE                                                Contingent
         333 Northeast 23rd Street                                    Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6616
                                                                   Is the claim subject to offset?     No       Yes

3.421
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES W SEARS                                                Contingent
         511 N Ferncreek Avenue                                       Unliquidated
         Orlando, FL 32803-5437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6235
                                                                   Is the claim subject to offset?     No       Yes

3.421
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMES WALTER KAYWELL                                         Contingent
         18307 Deep Passage Lane                                      Unliquidated
         Ft Myers, FL 33931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4015
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 633 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 641 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.422
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES WEINSTOCK                                              Contingent
         4003 Carambola Circle N                                      Unliquidated
         Coconut Creek, FL 33066-2451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7906
                                                                   Is the claim subject to offset?     No       Yes

3.422
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAMES WM KNOWLES                                             Contingent
         2812 Manatee Avenue W.                                       Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7101
                                                                   Is the claim subject to offset?     No       Yes

3.422
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMIE A EBLING                                               Contingent
         1819 Main Street Suite 1000                                  Unliquidated
         Sarasota, FL 34235-5999
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0423
                                                                   Is the claim subject to offset?     No       Yes

3.422
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAMIE NELL COLBY                                             Contingent
         20191 E. Ctrt Club Drive Suite 2202                          Unliquidated
         North Miami Beach, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3883
                                                                   Is the claim subject to offset?     No       Yes

3.422
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAN C FRANKLIN                                               Contingent
         4920 Southwest 19th Way                                      Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7600
                                                                   Is the claim subject to offset?     No       Yes

3.422
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAN G HALISKY                                                Contingent
         507 S Prospect Avenue                                        Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6368
                                                                   Is the claim subject to offset?     No       Yes

3.422
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAN J. HEVIER                                                Contingent
         41 Commerce Street                                           Unliquidated
         Apalachicola, FL 32320-1771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2650
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 634 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 642 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.422
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JAN J. PIPER                                                 Contingent
         P.O. Box 210                                                 Unliquidated
         St. Petersburg, FL 33731-0210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3689
                                                                   Is the claim subject to offset?     No       Yes

3.422
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANA LOU ARMSTRONG                                           Contingent
         701 Brickell Avenue Suite 1550                               Unliquidated
         Miami, FL 33132-2824
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4462
                                                                   Is the claim subject to offset?     No       Yes

3.422
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JANE A LEVY                                                  Contingent
         3360 Bridle Path Lane                                        Unliquidated
         Weston, FL 33331-3508
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 165
                                                                   Is the claim subject to offset?     No       Yes

3.423
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.62
         JANE R. HOADE                                                Contingent
         9301 S.W. 54th Street                                        Unliquidated
         Miami, FL 33165-6523                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4132
                                                                   Is the claim subject to offset?     No       Yes

3.423
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANE YEAGER CHEFFY                                           Contingent
         Jane Yeager Cheffy Esquire                                   Unliquidated
         2375 N Tamiami Trail Suite 310
                                                                      Disputed
         Naples, FL 34103-4439
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3748                      Is the claim subject to offset?     No       Yes

3.423
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Janet C. Croom, P.A.                                         Contingent
         1201 19th Place Suite B200                                   Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8693
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 635 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 643 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.423
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Janet D. Hartman, P.A.                                       Contingent
         3500 SW Corporate Parkway                                    Unliquidated
         Suite 202
                                                                      Disputed
         Palm City, FL 34990
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7451                      Is the claim subject to offset?     No       Yes

3.423
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANET E SPENCE                                               Contingent
         P.O. Box 297461                                              Unliquidated
         Pembroke Pines, FL 33029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5707
                                                                   Is the claim subject to offset?     No       Yes

3.423
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANET K SHEPHERD                                             Contingent
         Janet K. Shepherd P.A.                                       Unliquidated
         P.O. Box 2024
                                                                      Disputed
         Ft Lauderdale, FL 33303
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8922                      Is the claim subject to offset?     No       Yes

3.423
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANET L CAPAK                                                Contingent
         1619 14th Avenue Suite A                                     Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes

3.423
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANET L LANGJAHR                                             Contingent
         359 Windham Loop                                             Unliquidated
         Staten Island, NY 10314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9051
                                                                   Is the claim subject to offset?     No       Yes

3.423
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANET MESSERVEY STUART                                       Contingent
         P.O. Box 3                                                   Unliquidated
         Lakeland, FL 33802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7488
                                                                   Is the claim subject to offset?     No       Yes

3.423
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JANET W BEHNKE                                               Contingent
         P.O. Box 1237                                                Unliquidated
         Ocala, FL 34478-1237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4508
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 636 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 644 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.424
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANI E MAURER                                                Contingent
         500 Northeast Spanish River Boulevard Su                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2576
                                                                   Is the claim subject to offset?     No       Yes

3.424
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JANICE F FLEISCHER                                           Contingent
         3440 Hollywood Boulevard Suite 140                           Unliquidated
         Nollywood, FL 33021-6900
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6349
                                                                   Is the claim subject to offset?     No       Yes

3.424
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANICE L RUSSELL                                             Contingent
         4675 Ponce De Leon Boulevard Suite 305                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3989
                                                                   Is the claim subject to offset?     No       Yes

3.424
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANICE LAVERNIA RUBIN                                        Contingent
         7685 SW 104th Street                                         Unliquidated
         Suite 210
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5166                      Is the claim subject to offset?     No       Yes

3.424
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JANICE M REVITZ                                              Contingent
         14200 Northwest 57th Avenue Floor 2                          Unliquidated
         Miami Lakes, FL 33014-2801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4409
                                                                   Is the claim subject to offset?     No       Yes

3.424
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JANICE PAYNE THOMAS                                          Contingent
         1716 Northeast 4th Street                                    Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6644
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 637 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 645 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.424
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JANIS K CHEEZEM                                              Contingent
         College of Commerce & Industry                               Unliquidated
         222 Sitine Hall
                                                                      Disputed
         Clemson, SC 29634-0001
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3836                      Is the claim subject to offset?     No       Yes

3.424
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JARAMILLO & BLAYA PA                                         Contingent
         66 W Flagler Street                                          Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6647                      Is the claim subject to offset?     No       Yes

3.424
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JASON E SLATKIN                                              Contingent
         Slatkin & Reynolds P.A.                                      Unliquidated
         One E Broward Boulevard Suite 609
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4790                      Is the claim subject to offset?     No       Yes

3.424
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JASON FEDER                                                  Contingent
         600 N Pine Island Road Suite 450                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1793
                                                                   Is the claim subject to offset?     No       Yes

3.425
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JASON H CLARK                                                Contingent
         P.O. Box 17486                                               Unliquidated
         West Palm Beach, FL 33416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6379
                                                                   Is the claim subject to offset?     No       Yes

3.425
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JASON H HABER PA                                             Contingent
         888 S. Andrews Avenue                                        Unliquidated
         Suite 201
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6640                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 638 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 646 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.425
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JASON K PSALTIDES                                            Contingent
         14101 Northwest 4th Street                                   Unliquidated
         Sunrise, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6769
                                                                   Is the claim subject to offset?     No       Yes

3.425
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jason L. Scarberry, P.A.                                     Contingent
         7401 Wiles Road Suite 243                                    Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9038
                                                                   Is the claim subject to offset?     No       Yes

3.425
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JASON R MOSLEY PA                                            Contingent
         11000 University Parkway                                     Unliquidated
         Pensacola, FL 32514-5732
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2141
                                                                   Is the claim subject to offset?     No       Yes

3.425
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JASON SPECTOR                                                Contingent
         5401 Kirkman Road Suite 607                                  Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9141
                                                                   Is the claim subject to offset?     No       Yes

3.425
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JASON W SEARL PA                                             Contingent
         P.O. Box 536268                                              Unliquidated
         Orlando, FL 32853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9955
                                                                   Is the claim subject to offset?     No       Yes

3.425
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JAUREGUI & JAUREGUI PA                                       Contingent
         5801 Northwest 151 Street Suite 301                          Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1642
                                                                   Is the claim subject to offset?     No       Yes

3.425
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Javier Giraud, P.A.                                          Contingent
         8411 SW 129th Avenue                                         Unliquidated
         Miami, FL 33183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7354
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 639 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 647 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.425
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAVIER GUADAYOL                                              Contingent
         13412 Southwest 128th Street                                 Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4865
                                                                   Is the claim subject to offset?     No       Yes

3.426
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAVIER I GOMEZ PA                                            Contingent
         P.O. Box 440308                                              Unliquidated
         Miami, FL 33144-0308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8574
                                                                   Is the claim subject to offset?     No       Yes

3.426
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAVIER L VAZQUEZ                                             Contingent
         6500 Cowpen Road Suite 302                                   Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6830
                                                                   Is the claim subject to offset?     No       Yes

3.426
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Javier Law Firm, P.A.                                        Contingent
         P.O. Box 350486                                              Unliquidated
         Jacksonville, FL 32235-0486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8075
                                                                   Is the claim subject to offset?     No       Yes

3.426
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY A TAPLIN                                                 Contingent
         1555 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 1510
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4850                      Is the claim subject to offset?     No       Yes

3.426
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,324.22
         JAY A. BRETT                                                 Contingent
         P.O. Box 400                                                 Unliquidated
         Ft Myers, FL 33902-0400                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8555
                                                                   Is the claim subject to offset?     No       Yes

3.426
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY B VERONA                                                 Contingent
         P.O. Box 41750                                               Unliquidated
         St Petersburg, FL 33743-1750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4826
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 640 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 648 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.426
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY C ANDERSON                                               Contingent
         8211 W Broward Boulevard Suite 110                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4180
                                                                   Is the claim subject to offset?     No       Yes

3.426
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JAY C PREEFER                                                Contingent
         2161 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 403
                                                                      Disputed
         West Palm Beach, FL 33409-6613
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5403                      Is the claim subject to offset?     No       Yes

3.426
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAY D ASBURY                                                 Contingent
         P.O. Box 488                                                 Unliquidated
         Crescent City, FL 32112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8065
                                                                   Is the claim subject to offset?     No       Yes

3.426
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY E ECKHAUS                                                Contingent
         Jay E. Eckhaus P.A.                                          Unliquidated
         9121 N Military Trail Suite 107
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6536                      Is the claim subject to offset?     No       Yes

3.427
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JAY KOENIGSBERG PA                                           Contingent
         601 Brickell Key Drive                                       Unliquidated
         Suite 750
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1918                      Is the claim subject to offset?     No       Yes

3.427
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY PATRICK REYNOLDS                                         Contingent
         1701 Banyan Road                                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9823
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 641 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 649 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.427
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY R TOME                                                   Contingent
         15500 New Barn Road Suite 104                                Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6278
                                                                   Is the claim subject to offset?     No       Yes

3.427
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JAY STEINMAN                                                 Contingent
         Nations Bank Building at Int'L Plaza                         Unliquidated
         100 Southeast Second Street Suite 4000
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1822                      Is the claim subject to offset?     No       Yes

3.427
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JAY STEVEN LEVINE PA                                         Contingent
         3300 PGA Boulevard Suite 970                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6963
                                                                   Is the claim subject to offset?     No       Yes

3.427
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JAY W MORELAND                                               Contingent
         8520 Government Drive Suite 5                                Unliquidated
         New Port Richey, FL 34654-5511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 294
                                                                   Is the claim subject to offset?     No       Yes

3.427
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JBR, P.A.                                                    Contingent
         PO Box 140969                                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0237
                                                                   Is the claim subject to offset?     No       Yes

3.427
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEAN CASCIO                                                  Contingent
         11555 Heron Bay Boulevard                                    Unliquidated
         Suite 200
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5788                      Is the claim subject to offset?     No       Yes

3.427
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEAN CROUGHAN GILLIS                                         Contingent
         15105-D John J Delaney Drive Suite 102                       Unliquidated
         Charlotte, NC 28277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6182
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 642 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 650 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.427
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.30
         JEAN D S LEXTON                                              Contingent
         3844 Bee Ridge Road Suite 202                                Unliquidated
         Sarasota, FL 34233-1103                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8171
                                                                   Is the claim subject to offset?     No       Yes

3.428
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JEAN M FINKS                                                 Contingent
         210 Wood Street                                              Unliquidated
         Punta Gorda, FL 33950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0991
                                                                   Is the claim subject to offset?     No       Yes

3.428
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEAN M HENNE                                                 Contingent
         228 Shore Drive                                              Unliquidated
         Winter Haven, FL 33884-2526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8169
                                                                   Is the claim subject to offset?     No       Yes

3.428
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEAN PISTOLESE ROSE                                          Contingent
         999 Southwest 17th Street                                    Unliquidated
         Boca Raton, FL 33486-6819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3497
                                                                   Is the claim subject to offset?     No       Yes

3.428
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEANELLE G BRONSON                                           Contingent
         P.O. Box 538065                                              Unliquidated
         Orlando, FL 32853-8065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0728
                                                                   Is the claim subject to offset?     No       Yes

3.428
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEANETTE ESCUDERO PA                                         Contingent
         9425 Sunset Drive Suite 124                                  Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2834
                                                                   Is the claim subject to offset?     No       Yes

3.428
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEANETTE HERNANDEZ-SUAREZ                                    Contingent
         11400 N Kendall Drive Suite 205                              Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2474
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 643 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 651 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.428
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEANETTE J SECOR                                             Contingent
         6474 1st Avenue N                                            Unliquidated
         St Petersburg, FL 33710-8402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8452
                                                                   Is the claim subject to offset?     No       Yes

3.428
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEANNETTE K PATTERSON PA                                     Contingent
         P.O. Box 1602                                                Unliquidated
         Marco Island, FL 34146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8522
                                                                   Is the claim subject to offset?     No       Yes

3.428
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         JECK HARRIS RAYNOR & JONES                                   Contingent
         790 Juno Ocean Walk                                          Unliquidated
         Suite 600
                                                                      Disputed
         Juno Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6451                      Is the claim subject to offset?     No       Yes

3.428
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JED R FRIEDMAN PA                                            Contingent
         25 SE 2nd Avenue                                             Unliquidated
         Suite 716
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4670                      Is the claim subject to offset?     No       Yes

3.429
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFF P CYNAMON                                               Contingent
         1700 Kennedy Causeway                                        Unliquidated
         Suite 160
                                                                      Disputed
         North Bay Village, FL 33141
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3736                      Is the claim subject to offset?     No       Yes

3.429
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFF TOMBERG                                                 Contingent
         P.O. Box 1426                                                Unliquidated
         Boynton Beach, FL 33425-1426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5966
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 644 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 652 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.429
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JEFFER & CIOFFI PA                                           Contingent
         P.O. Box 3010                                                Unliquidated
         Tequesta, FL 33469-0010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 677
                                                                   Is the claim subject to offset?     No       Yes

3.429
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFERSON F RIDDELL                                          Contingent
         3400 S Tamiami Trail 2nd Floor                               Unliquidated
         Sarasota, FL 34239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4277
                                                                   Is the claim subject to offset?     No       Yes

3.429
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JEFFERSON G RAY III                                          Contingent
         P.O. Drawer 1048                                             Unliquidated
         Mt Dora, FL 32757-1048
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4496
                                                                   Is the claim subject to offset?     No       Yes

3.429
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFERSON H WEAVER                                           Contingent
         5300 N Federal Highway                                       Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8705
                                                                   Is the claim subject to offset?     No       Yes

3.429
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFERSON W CLARK JR                                         Contingent
         460 Bouchelle Drive Apt 302                                  Unliquidated
         New Smyrna Beach, FL 32169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8489
                                                                   Is the claim subject to offset?     No       Yes

3.429
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFERY M PFISTER                                            Contingent
         312 W Main Street                                            Unliquidated
         Tavares, FL 32778-3839
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8292
                                                                   Is the claim subject to offset?     No       Yes

3.429
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         JEFFERY N MARKS PA                                           Contingent
         P.O. Box 2511                                                Unliquidated
         Ft Lauderdale, FL 33303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5159
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 645 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 653 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.429
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JEFFREY A AMAN                                               Contingent
         282 Crystal Grove Boulevard                                  Unliquidated
         Lutz, FL 33548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0333
                                                                   Is the claim subject to offset?     No       Yes

3.430
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY A KING                                               Contingent
         1800 Second Street Suite 895                                 Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0565
                                                                   Is the claim subject to offset?     No       Yes

3.430
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY A LEHEUP                                             Contingent
         8875 Hidden River Parkway Suite 300                          Unliquidated
         Tampa, FL 33637-2087
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9506
                                                                   Is the claim subject to offset?     No       Yes

3.430
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY A LEVINE                                             Contingent
         6751 N Federal Highway                                       Unliquidated
         Suite 301
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8603                      Is the claim subject to offset?     No       Yes

3.430
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY A NORKIN                                             Contingent
         Courthouse Tower Suite 400                                   Unliquidated
         44 W Flagler Street
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9831                      Is the claim subject to offset?     No       Yes

3.430
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY A PAINE PA                                           Contingent
         1655 Palm Beach Lakes Boulevard Suite 90                     Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8689
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 646 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 654 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.430
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY A SCHAFFER                                           Contingent
         4308 Main Street                                             Unliquidated
         Jupiter, FL 33458-5313
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4617
                                                                   Is the claim subject to offset?     No       Yes

3.430
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jeffrey A. Aman, P.A.                                        Contingent
         282 Crystal Grove Boulevard                                  Unliquidated
         Lutz, FL 33548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0333
                                                                   Is the claim subject to offset?     No       Yes

3.430
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jeffrey A. Fadley, P.A.                                      Contingent
         180 Northwest 3rd Avenue Suite A                             Unliquidated
         Okeechobee, FL 34972
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8310
                                                                   Is the claim subject to offset?     No       Yes

3.430
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY B BOCK PA                                            Contingent
         4400 N Federal Highway Suite 210-8                           Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7712
                                                                   Is the claim subject to offset?     No       Yes

3.430
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY B KAHN                                               Contingent
         11555 Heron Bay Boulevard Suite 102                          Unliquidated
         Coral Springs, FL 33076-3361
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6422
                                                                   Is the claim subject to offset?     No       Yes

3.431
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY B LEVY                                               Contingent
         200 Southeast 6th Street Suite 404                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3384
                                                                   Is the claim subject to offset?     No       Yes

3.431
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY B LOVELL                                             Contingent
         1591 E Atlantic Suite 101                                    Unliquidated
         Pompano Beach, FL 33060-6749
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8295
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 647 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 655 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.431
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JEFFREY B MEYER                                              Contingent
         P.O. Box 6406                                                Unliquidated
         Key West, FL 33041-6406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7735
                                                                   Is the claim subject to offset?     No       Yes

3.431
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY BACCA                                                Contingent
         6315 Adams Street                                            Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4166
                                                                   Is the claim subject to offset?     No       Yes

3.431
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY BECKER                                               Contingent
         4100 Southpoint Drive E Suite 3                              Unliquidated
         Jacksonville, FL 32216
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0602
                                                                   Is the claim subject to offset?     No       Yes

3.431
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JEFFREY C SWEET                                              Contingent
         Granada Oaks Professional Building                           Unliquidated
         595 W. Granada Boulevard
                                                                      Disputed
         Ormond Beach, FL 32174
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4981                      Is the claim subject to offset?     No       Yes

3.431
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JEFFREY D RUBINSTEIN                                         Contingent
         Rubinstein & Associates P.A.                                 Unliquidated
         18001 Old Cutler Road Suite 600
                                                                      Disputed
         Palmetto Bay, FL 33157-6416
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1353                      Is the claim subject to offset?     No       Yes

3.431
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY DEEN PA                                              Contingent
         7650 Southwest 141st Street                                  Unliquidated
         Miami, FL 33158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6839
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 648 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 656 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.431
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY DREW BUTT                                            Contingent
         Suite 2700                                                   Unliquidated
         401 E Jackson Street
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2733                      Is the claim subject to offset?     No       Yes

3.431
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY E CAMPION                                            Contingent
         1730 Main Street Suite 216                                   Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5692
                                                                   Is the claim subject to offset?     No       Yes

3.432
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY E LEHRMAN                                            Contingent
         232 Andalusia Avenue Suite 201                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0443
                                                                   Is the claim subject to offset?     No       Yes

3.432
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY E LEVEY                                              Contingent
         2665 S Bayshore Drive Suite 1004                             Unliquidated
         Coconut Grove, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4198
                                                                   Is the claim subject to offset?     No       Yes

3.432
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFREY F BERIN                                              Contingent
         1110 N. Olive Avenue                                         Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6041
                                                                   Is the claim subject to offset?     No       Yes

3.432
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY FEINBERG                                             Contingent
         4651 Sheridan Street                                         Unliquidated
         Suite 200
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7676                      Is the claim subject to offset?     No       Yes

3.432
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY HAP                                                  Contingent
         341 W Indiantown Road                                        Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1677
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 649 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 657 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.432
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY HESSLER                                              Contingent
         13570 Staimford Drive                                        Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7627
                                                                   Is the claim subject to offset?     No       Yes

3.432
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY HOMER                                                Contingent
         10200 W State Road 84                                        Unliquidated
         Suite 223
                                                                      Disputed
         Davie, FL 33324-4220
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 428                       Is the claim subject to offset?     No       Yes

3.432
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JEFFREY I PATTINSON                                          Contingent
         P.O. Box 1506                                                Unliquidated
         Crystal River, FL 34423-1506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4265
                                                                   Is the claim subject to offset?     No       Yes

3.432
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY J ZWIRN PA                                           Contingent
         2102 W Cass Street                                           Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6558
                                                                   Is the claim subject to offset?     No       Yes

3.432
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY L DEES                                               Contingent
         1326 S Ridgewood Avenue Suite 10                             Unliquidated
         South Daytona, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8631
                                                                   Is the claim subject to offset?     No       Yes

3.433
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFREY L KOSSIS                                             Contingent
         9900 W Sample Road Third Floor                               Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8016
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 650 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 658 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.433
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JEFFREY L. BERKOWITZ, P.A.                                   Contingent
         2665 S. Bayshore Dr.                                         Unliquidated
         Suite 1200
                                                                      Disputed
         Miami, FL 33133-5402
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5901                      Is the claim subject to offset?     No       Yes

3.433
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY LUSKY                                                Contingent
         301 Almeria Avenue Suite 345                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4012
                                                                   Is the claim subject to offset?     No       Yes

3.433
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY M LEUKEL                                             Contingent
         2614 N Cleveland Street Suite B                              Unliquidated
         Tampa, FL 33609-3225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6672
                                                                   Is the claim subject to offset?     No       Yes

3.433
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,635.47
         JEFFREY M PERLOW & ASSOC PA                                  Contingent
         20801 Biscayne Boulevard Suite 505                           Unliquidated
         Aventura, FL 33180                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6504
                                                                   Is the claim subject to offset?     No       Yes

3.433
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY M SISKIND                                            Contingent
         P.O. Box 2259                                                Unliquidated
         Palm Beach, FL 33480-2259
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5719
                                                                   Is the claim subject to offset?     No       Yes

3.433
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,891.77
         JEFFREY N DAVERSA                                            Contingent
         P.O. Box 3765                                                Unliquidated
         Tequesta, FL 33469-0765                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8215
                                                                   Is the claim subject to offset?     No       Yes

3.433
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY N PETERSON                                           Contingent
         12 Crampton Court                                            Unliquidated
         Palm Coast, FL 32137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9987
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 651 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 659 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.433
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY P SELBACH                                            Contingent
         1856 W Terra Mar Drive                                       Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1536
                                                                   Is the claim subject to offset?     No       Yes

3.433
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY P WHITTON                                            Contingent
         P.O. Box 1956                                                Unliquidated
         Panama City, FL 32402-1956
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3693
                                                                   Is the claim subject to offset?     No       Yes

3.434
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY P ZANE PA                                            Contingent
         4800 Riverside Drive Suite 101                               Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7189
                                                                   Is the claim subject to offset?     No       Yes

3.434
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY PAINE                                                Contingent
         500 S Australian Avenue Suite 120                            Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8689
                                                                   Is the claim subject to offset?     No       Yes

3.434
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY PAPELL                                               Contingent
         300 Meridian Avenue Suite 6                                  Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6131
                                                                   Is the claim subject to offset?     No       Yes

3.434
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY R DOLLINGER                                          Contingent
         P.O. Drawer 23109                                            Unliquidated
         Gainesville, FL 32602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4231
                                                                   Is the claim subject to offset?     No       Yes

3.434
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFREY R EISENSMITH                                         Contingent
         5561 N. University Drive                                     Unliquidated
         Suite 103
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8113                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 652 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 660 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.434
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY R HALL PA                                            Contingent
         P.O. Box 1973                                                Unliquidated
         Big Pine Key, FL 33043-1973
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2284
                                                                   Is the claim subject to offset?     No       Yes

3.434
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         JEFFREY R MAZOR                                              Contingent
         21200 Northeast 19th Avenue                                  Unliquidated
         North Miami Beach, FL 33179                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8161
                                                                   Is the claim subject to offset?     No       Yes

3.434
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFREY R ROTH                                               Contingent
         9200 S Dadeland Boulevard Suite 515                          Unliquidated
         Miami, FL 33156-2703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4989
                                                                   Is the claim subject to offset?     No       Yes

3.434
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY ROY COHEN                                            Contingent
         1701 NE 164th Street                                         Unliquidated
         Suite 303
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5225                      Is the claim subject to offset?     No       Yes

3.434
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFREY S AUGEN                                              Contingent
         5691 Northeast 14th Avenue                                   Unliquidated
         Ft Lauderdale, FL 33334-6103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5737
                                                                   Is the claim subject to offset?     No       Yes

3.435
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY S DAWSON PA                                          Contingent
         340 W. Central Avenue                                        Unliquidated
         Suite 330
                                                                      Disputed
         Winter Haven, FL 33880
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1757                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 653 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 661 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.435
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEFFREY S GEROW                                              Contingent
         4800 N Federal Highway Suite 307-B                           Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8162
                                                                   Is the claim subject to offset?     No       Yes

3.435
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY S GOETHE                                             Contingent
         3119 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0901
                                                                   Is the claim subject to offset?     No       Yes

3.435
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JEFFREY S GOLDMAN                                            Contingent
         P.O. Box 950986                                              Unliquidated
         Lake Mary, FL 32795-0986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6818
                                                                   Is the claim subject to offset?     No       Yes

3.435
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY S HERSH PA                                           Contingent
         1666 79th Street Causeway Suite 412                          Unliquidated
         North Bay Village, FL 33141-4169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6725
                                                                   Is the claim subject to offset?     No       Yes

3.435
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY S HOCHFELSEN                                         Contingent
         2300 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7621
                                                                   Is the claim subject to offset?     No       Yes

3.435
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY S SELZER                                             Contingent
         Island City Center                                           Unliquidated
         2550 Northeast 15th Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33305-1310
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8884                      Is the claim subject to offset?     No       Yes

3.435
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY S STEINER                                            Contingent
         21301 Powerline Road                                         Unliquidated
         Suite 309 Grove Centre
                                                                      Disputed
         Boca Raton, FL 33433-2391
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5007                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 654 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 662 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.435
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY SOLOMON                                              Contingent
         3864 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021-3634
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4128
                                                                   Is the claim subject to offset?     No       Yes

3.435
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEFFREY WATKIN                                               Contingent
         3575 Poinciana Avenue                                        Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8676
                                                                   Is the claim subject to offset?     No       Yes

3.436
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         JENKINS & TUBB                                               Contingent
         2700-B Northwest 43 Street                                   Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6692
                                                                   Is the claim subject to offset?     No       Yes

3.436
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIE E POORE                                               Contingent
         800 SE 3rd Avenue                                            Unliquidated
         4th Floor
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8336                      Is the claim subject to offset?     No       Yes

3.436
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jennifer A. Marques, P.A.                                    Contingent
         1313 Ponce De Leon Boulevard 301                             Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9801
                                                                   Is the claim subject to offset?     No       Yes

3.436
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JENNIFER COLSON PA                                           Contingent
         P.O. Box 50028                                               Unliquidated
         Lighthouse Point, FL 33074-0028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8021
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 655 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 663 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.436
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIFER G LEE PA                                            Contingent
         14861 Twisted Tree Trail                                     Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7247
                                                                   Is the claim subject to offset?     No       Yes

3.436
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIFER HOBERMAN                                            Contingent
         6100 Hollywood Boulevard                                     Unliquidated
         Suite 201
                                                                      Disputed
         Hollywood, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8312                      Is the claim subject to offset?     No       Yes

3.436
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JENNIFER HURST                                               Contingent
         401 W Rivo Alto Drive                                        Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7465
                                                                   Is the claim subject to offset?     No       Yes

3.436
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JENNIFER ISAKSEN                                             Contingent
         PO Box 591                                                   Unliquidated
         Bushnell, FL 33513
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8756
                                                                   Is the claim subject to offset?     No       Yes

3.436
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIFER JOBSON ABEL                                         Contingent
         405 S Duncan Avenue                                          Unliquidated
         Clearwater, FL 33755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0184
                                                                   Is the claim subject to offset?     No       Yes

3.436
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIFER LEVIN PA                                            Contingent
         19380 Collins Avenue                                         Unliquidated
         Suite 1120
                                                                      Disputed
         Sunny Isles Beach, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4698                      Is the claim subject to offset?     No       Yes

3.437
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIFER R ESTRUMSA PA                                       Contingent
         11620 Southwest 40th Street                                  Unliquidated
         Miami, FL 33165
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8389
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 656 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 664 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.437
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JENNIFER R NEWSOM                                            Contingent
         P.O. Box 3333                                                Unliquidated
         Tampa, FL 33601-3333
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8043
                                                                   Is the claim subject to offset?     No       Yes

3.437
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JERALD C CANTOR                                              Contingent
         4000 Hollywood Boulevard Suite 375-S                         Unliquidated
         Hollywood, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6939
                                                                   Is the claim subject to offset?     No       Yes

3.437
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERALD I ROSEN                                               Contingent
         P.O. Box 915107                                              Unliquidated
         Longwood, FL 32791-5107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4024
                                                                   Is the claim subject to offset?     No       Yes

3.437
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERALD R PITKIN                                              Contingent
         2151 Trade Center Way                                        Unliquidated
         Naples, FL 34109-2037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0557
                                                                   Is the claim subject to offset?     No       Yes

3.437
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $108.34
         JERE F DANIELS                                               Contingent
         P.O. Box 340                                                 Unliquidated
         Winter Park, FL 32790-0340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1173
                                                                   Is the claim subject to offset?     No       Yes

3.437
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERE F DANIELS PA                                            Contingent
         1330 Palmetto Avenue                                         Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2667
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 657 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 665 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.437
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JERE M FISHBACK                                              Contingent
         1501 75th Circle Northeast                                   Unliquidated
         St Petersburg, FL 33702-4611
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6796
                                                                   Is the claim subject to offset?     No       Yes

3.437
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEREMY E GLUCKMAN                                            Contingent
         707 N. Franklin Street, 4th Floor                            Unliquidated
         Tampa, FL 33602-4430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4818
                                                                   Is the claim subject to offset?     No       Yes

3.437
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,706.50
         JEROME A SIMONS                                              Contingent
         3864 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021-3634                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3474
                                                                   Is the claim subject to offset?     No       Yes

3.438
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JEROME A SIMONS PA                                           Contingent
         Keyes Building                                               Unliquidated
         4700 Sheridan Street, Suite N
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3474                      Is the claim subject to offset?     No       Yes

3.438
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEROME D MITCHELL PA                                         Contingent
         1326 S Ridgewood Avenue Suite 8                              Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2769
                                                                   Is the claim subject to offset?     No       Yes

3.438
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEROME E GOLDMAN                                             Contingent
         5713 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7958
                                                                   Is the claim subject to offset?     No       Yes

3.438
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JEROME F SKRANDEL PA                                         Contingent
         300 Prosperity Farms Road                                    Unliquidated
         Suite D
                                                                      Disputed
         North Palm Beach, FL 33408-5212
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5152                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 658 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 666 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.438
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,826.20
         JEROME F. KRAMER                                             Contingent
         11554 Woodbridge Road Blvd.                                  Unliquidated
         Seminole, FL 34642-2208                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5977
                                                                   Is the claim subject to offset?     No       Yes

3.438
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JEROME J AMSTER                                              Contingent
         7631 Southwest 67th Avenue                                   Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4439
                                                                   Is the claim subject to offset?     No       Yes

3.438
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEROME J KAVULICH                                            Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 804
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5983                      Is the claim subject to offset?     No       Yes

3.438
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEROME L HALL                                                Contingent
         5820 Surrey Circle East                                      Unliquidated
         Davie, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6559
                                                                   Is the claim subject to offset?     No       Yes

3.438
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JEROME L TEPPS                                               Contingent
         2787 E Oakland Park Boulevard Suite 202                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8026
                                                                   Is the claim subject to offset?     No       Yes

3.438
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.24
         JEROME M HERSHKOWITZ                                         Contingent
         5975 Sunset Drive Suite 404                                  Unliquidated
         South Miami, FL 33143-5198                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7083
                                                                   Is the claim subject to offset?     No       Yes

3.439
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEROME P VENTURA                                             Contingent
         12333 Northwest 18th Street Suite 5                          Unliquidated
         Pembroke Pines, FL 33026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6304
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 659 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 667 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.439
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEROME R SCHECHTER                                           Contingent
         888 S Andrews Avenue Suite 201a                              Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6466
                                                                   Is the claim subject to offset?     No       Yes

3.439
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JEROME R SIEGEL                                              Contingent
         Pinnacle Corporate Center                                    Unliquidated
         500 W Cypress Creek Road Suite 300
                                                                      Disputed
         Ft Lauderdale, FL 33309-6155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8622                      Is the claim subject to offset?     No       Yes

3.439
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEROME R. CRAFT                                              Contingent
         3418 N.Dixie Highway                                         Unliquidated
         West Palm Beach, FL 33407-4804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4862
                                                                   Is the claim subject to offset?     No       Yes

3.439
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JEROME S RICHMAN                                             Contingent
         19 W Flagler Street 14th Floor                               Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4751
                                                                   Is the claim subject to offset?     No       Yes

3.439
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JERREL E TOWERY                                              Contingent
         304 W. Venice Avenue                                         Unliquidated
         Suite 220
                                                                      Disputed
         Venice, FL 34285
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5067                      Is the claim subject to offset?     No       Yes

3.439
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERROLD A WISH PA                                            Contingent
         1927 NW 104th Way                                            Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8380
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 660 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 668 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.439
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,811.01
         JERROLD KNEE PA                                              Contingent
         1720 Harrison Street Suite 6a                                Unliquidated
         Hollywood, FL 33020-6826                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3114
                                                                   Is the claim subject to offset?     No       Yes

3.439
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERROLD S STERN                                              Contingent
         P.O. Box 112                                                 Unliquidated
         Sanibel, FL 33957-0112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8749
                                                                   Is the claim subject to offset?     No       Yes

3.439
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,548.37
         JERRY B WELLS                                                Contingent
         Wall Street Lofts                                            Unliquidated
         127 Magnolia Avenue                                          Disputed
         Daytona Beach, FL 32114
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4729                      Is the claim subject to offset?     No       Yes


3.440
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERRY BENJAMIN                                               Contingent
         4780 Dolphin Cay Lane S Suite 103                            Unliquidated
         St Petersburg, FL 33711-4676
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1678
                                                                   Is the claim subject to offset?     No       Yes

3.440
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JERRY COLEMAN PL                                             Contingent
         P.O. Box 11123                                               Unliquidated
         Ft Lauderdale, FL 33339
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7978
                                                                   Is the claim subject to offset?     No       Yes

3.440
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JERRY E ARON                                                 Contingent
         2505 Metrocentre Boulevard Suite 301                         Unliquidated
         West Palm Beach, FL 33407-3106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1042
                                                                   Is the claim subject to offset?     No       Yes

3.440
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JERRY GREEN                                                  Contingent
         Dadeland Square The Greenery Mall                            Unliquidated
         7700 N Kendall Drive Suite 507
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5676                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 661 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 669 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.440
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JERRY H JEFFERY                                              Contingent
         1900 Howell Branch Road Suite 5                              Unliquidated
         Winter Park, FL 32792-1069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5809
                                                                   Is the claim subject to offset?     No       Yes

3.440
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JERRY H TRACHTMAN                                            Contingent
         1735 W Hibiscus Boulevard Suite 300                          Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5662
                                                                   Is the claim subject to offset?     No       Yes

3.440
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JERRY K KERN                                                 Contingent
         3911 Lone Pine Road                                          Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4255
                                                                   Is the claim subject to offset?     No       Yes

3.440
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8.19
         JERRY OXNER                                                  Contingent
         2300 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 107                                                    Disputed
         West Palm Beach, FL 33409-3307
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7191                      Is the claim subject to offset?     No       Yes


3.440
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JERRY P KAHN                                                 Contingent
         P.O. Box 41-4213                                             Unliquidated
         Miami Beach, FL 33141-0238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5533
                                                                   Is the claim subject to offset?     No       Yes

3.440
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JERRY W GERDE                                                Contingent
         Johnston Harris Gerde Et Al P.A.                             Unliquidated
         239 E Fourth Street
                                                                      Disputed
         Panama City, FL 32401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7511                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 662 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 670 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.441
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jesika Diaz Munar, P.A.                                      Contingent
         8400 NW 33rd Street                                          Unliquidated
         Suite 405
                                                                      Disputed
         Doral, FL 33122
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0224                      Is the claim subject to offset?     No       Yes

3.441
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JESS J YADO PA                                               Contingent
         4830 W Kennedy Blvd.                                         Unliquidated
         Suite 750 One Urban Center
                                                                      Disputed
         Tampa, FL 33609-2574
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2755                      Is the claim subject to offset?     No       Yes

3.441
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JESSICA DAVIS PA                                             Contingent
         7344 Southwest 48th Street Suite 203                         Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8483
                                                                   Is the claim subject to offset?     No       Yes

3.441
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jessica F. Hernstadt, P.A.                                   Contingent
         1624 Villa Court                                             Unliquidated
         Marco Island, FL 34145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6929
                                                                   Is the claim subject to offset?     No       Yes

3.441
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jessica K. Close, P.A. d/b/a Close Law                       Contingent
         737 S. Indiana Avenue                                        Unliquidated
         Englewood, FL 34223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0870
                                                                   Is the claim subject to offset?     No       Yes

3.441
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JESSICA ROMERO LLOYD PA                                      Contingent
         9415 Sunset Drive Suite 153                                  Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8047
                                                                   Is the claim subject to offset?     No       Yes

3.441
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JESUS F BUJAN                                                Contingent
         782 NW 42nd Avenue                                           Unliquidated
         Suite 537
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8641                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 663 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 671 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.441
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jiles Law, P.A.                                              Contingent
         601 W Central Avenue                                         Unliquidated
         Winter Haven, FL 33882
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0074
                                                                   Is the claim subject to offset?     No       Yes

3.441
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL ANDERSON BLANCO                                         Contingent
         15855 Southwest 12th Street                                  Unliquidated
         Pembroke Pines, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6290
                                                                   Is the claim subject to offset?     No       Yes

3.441
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL B GORDON PA                                             Contingent
         1500 Gateway Blvd.                                           Unliquidated
         Suite 220
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7329                      Is the claim subject to offset?     No       Yes

3.442
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL FISHER POWERS                                           Contingent
         P.O. Box 6600                                                Unliquidated
         Clearwater, FL 34624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9216
                                                                   Is the claim subject to offset?     No       Yes

3.442
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL K SATTERWHITE PA                                        Contingent
         P.O. Box 1831                                                Unliquidated
         Pensacola, FL 32591-1831
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6847
                                                                   Is the claim subject to offset?     No       Yes

3.442
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL NEWMAN                                                  Contingent
         Jill B. Newman P.A.                                          Unliquidated
         101 Plaza Real S Suite 201
                                                                      Disputed
         Boca Raton, FL 33432-4837
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6708                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 664 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 672 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.442
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL S SCHWARTZ                                              Contingent
         180 Park Avenue N Suite 200                                  Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8113
                                                                   Is the claim subject to offset?     No       Yes

3.442
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JILL S SMERLING                                              Contingent
         35 N 11th Street                                             Unliquidated
         New Hyde Park, NY 11040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9233
                                                                   Is the claim subject to offset?     No       Yes

3.442
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JIM D SHUMAKE                                                Contingent
         2666 Airport Road S.                                         Unliquidated
         Naples, FL 34112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7750
                                                                   Is the claim subject to offset?     No       Yes

3.442
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JIM H CARTER                                                 Contingent
         1316 Seabreeze Boulevard                                     Unliquidated
         Ft Lauderdale, FL 33316-2430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 367
                                                                   Is the claim subject to offset?     No       Yes

3.442
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jimenez Law Firm, P.A.                                       Contingent
         1930 San Marco Boulevard                                     Unliquidated
         Suite 204
                                                                      Disputed
         Jacksonville, FL 32207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9510                      Is the claim subject to offset?     No       Yes

3.442
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jimenez Milian & Associates, P.L.L.C.                        Contingent
         2025 Southwest 32 Avenue Suite 130                           Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7259
                                                                   Is the claim subject to offset?     No       Yes

3.442
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.30
         JIMMIE ROGERS GREGORY                                        Contingent
         10568 Ferntree Way                                           Unliquidated
         Boynton Beach, FL 33436-4745                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8305
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 665 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 673 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.443
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jjt Real Estate Services Inc.                                Contingent
         Suite 106                                                    Unliquidated
         5104 N Lockwood Ridge Road
                                                                      Disputed
         Sarasota, FL 34234
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6864                      Is the claim subject to offset?     No       Yes

3.443
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JM WALLIS PA                                                 Contingent
         1600 S Federal Highway Suite 470                             Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0569
                                                                   Is the claim subject to offset?     No       Yes

3.443
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JO ANN ABRAMS                                                Contingent
         11440 Okeechobee Boulevard Suite 216                         Unliquidated
         Royal Palm Beach, FL 33411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3775
                                                                   Is the claim subject to offset?     No       Yes

3.443
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JO CLAIRE SPEAR                                              Contingent
         1146 35th Avenue Northeast                                   Unliquidated
         St Petersburg, FL 33704-1614
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4425
                                                                   Is the claim subject to offset?     No       Yes

3.443
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JO ELLEN FARNHAM                                             Contingent
         1200 Gulf Boulevard Apt 804                                  Unliquidated
         Clearwater, FL 33767-2797
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7006
                                                                   Is the claim subject to offset?     No       Yes

3.443
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOAN A HERMANOWSKI                                           Contingent
         10735 Southwest 216th Street Suite 404                       Unliquidated
         Miami Beach, FL 33170-3181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7973
                                                                   Is the claim subject to offset?     No       Yes

3.443
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOAN F MCDERMOTT                                             Contingent
         721 US Highway One Suite 223                                 Unliquidated
         North Palm Beach, FL 33408-4519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8751
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 666 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 674 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.443
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOAN I NEUWIRTH                                              Contingent
         3130 N 34 Street                                             Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8937
                                                                   Is the claim subject to offset?     No       Yes

3.443
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Joanna E. Bryan, P.A.                                        Contingent
         P.O. Box 912                                                 Unliquidated
         Port St Joe, FL 32457-0912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7389
                                                                   Is the claim subject to offset?     No       Yes

3.443
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOANNE R URQUIOLA                                            Contingent
         8601 SW 129th Terrace                                        Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5438
                                                                   Is the claim subject to offset?     No       Yes

3.444
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOANNE S RICHARDS                                            Contingent
         Suite 1219                                                   Unliquidated
         5200 N Federal Highway No 2
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4907                      Is the claim subject to offset?     No       Yes

3.444
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOANNE S WILBURNE PA                                         Contingent
         305 N Apopka Avenue                                          Unliquidated
         Inverness, FL 34450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9502
                                                                   Is the claim subject to offset?     No       Yes

3.444
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JODI B GREEN                                                 Contingent
         P.O. Box 272179                                              Unliquidated
         Boca Raton, FL 33427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3687
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 667 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 675 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.444
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JODY ARMSTRONG PA                                            Contingent
         11555 64th Avenue                                            Unliquidated
         Seminole, FL 33772
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5818
                                                                   Is the claim subject to offset?     No       Yes

3.444
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,733.97
         JOE D MATHENY                                                Contingent
         355 Indian River Avenue                                      Unliquidated
         Titusville, FL 32796                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7416
                                                                   Is the claim subject to offset?     No       Yes

3.444
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOE H PICKENS                                                Contingent
         Joe H. Pickens P.A.                                          Unliquidated
         P.O. Box 1374
                                                                      Disputed
         Palatka, FL 32178-1374
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8647                      Is the claim subject to offset?     No       Yes

3.444
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOE MIKLAS                                                   Contingent
         P.O. Box 366                                                 Unliquidated
         Islamorada, FL 33036-0366
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5741
                                                                   Is the claim subject to offset?     No       Yes

3.444
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,679.68
         JOE O YOUNG                                                  Contingent
         8267 Southwest 128th Suite 4-204                             Unliquidated
         Miami, FL 33156-5969                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4234
                                                                   Is the claim subject to offset?     No       Yes

3.444
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,829.60
         JOE R WOLFE                                                  Contingent
         P.O. Box 2924                                                Unliquidated
         Clearwater, FL 33757                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4145
                                                                   Is the claim subject to offset?     No       Yes

3.444
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOE T MARTIN                                                 Contingent
         P.O. Box 949                                                 Unliquidated
         Lake Wales, FL 33859-0949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1876
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 668 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 676 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.445
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JOE TEAGUE CARUSO                                            Contingent
         P.O. Box 541271                                              Unliquidated
         Merritt Island, FL 32954-1271
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8218
                                                                   Is the claim subject to offset?     No       Yes

3.445
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOE W. FIXEL, P.A.                                           Contingent
         211 South Gadsden Street                                     Unliquidated
         Tallahassee, FL 32301-1809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1709
                                                                   Is the claim subject to offset?     No       Yes

3.445
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOEL A BELLO PA                                              Contingent
         3132 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4791
                                                                   Is the claim subject to offset?     No       Yes

3.445
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOEL A SAVITT                                                Contingent
         20801 Biscayne Boulevard Suite 506                           Unliquidated
         North Miami Beach, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7526
                                                                   Is the claim subject to offset?     No       Yes

3.445
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Joel A. Montilla                                             Contingent
         37 N. Orange Avenue                                          Unliquidated
         Suite 500
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0454                      Is the claim subject to offset?     No       Yes

3.445
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOEL B GILES                                                 Contingent
         P.O. Box 2861                                                Unliquidated
         St Petersburg, FL 33731-2861
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8618
                                                                   Is the claim subject to offset?     No       Yes

3.445
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOEL L KIRSCHBAUM                                            Contingent
         P.O. Box 1900                                                Unliquidated
         Ft Lauderdale, FL 33302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5726
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 669 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 677 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.445
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOEL M ARESTY                                                Contingent
         449 Poinciana Island Drive                                   Unliquidated
         Sunny Isles Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1911
                                                                   Is the claim subject to offset?     No       Yes

3.445
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOEL M COHEN                                                 Contingent
         238 E Intendencia Street                                     Unliquidated
         Pensacola, FL 32501-3023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7218
                                                                   Is the claim subject to offset?     No       Yes

3.445
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOEL M KLAITS                                                Contingent
         5900 N Andrews Avenue Suite 835                              Unliquidated
         Ft Lauderdale, FL 33309-2366
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4408
                                                                   Is the claim subject to offset?     No       Yes

3.446
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOEL M WEISSMAN                                              Contingent
         515 N Flagler Drive Suite 1100                               Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7755
                                                                   Is the claim subject to offset?     No       Yes

3.446
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,308.75
         JOEL MILLER                                                  Contingent
         7927 Hibiscus Circle                                         Unliquidated
         Tamarac, FL 33321                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1022
                                                                   Is the claim subject to offset?     No       Yes

3.446
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOEL N MINSKER                                               Contingent
         1110 Brickell Avenue 7th Floor                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5225
                                                                   Is the claim subject to offset?     No       Yes

3.446
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOEL R LAVENDER                                              Contingent
         507 Southeast 11th Court                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6172
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 670 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 678 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.446
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JOEL R LAVENDER PA                                           Contingent
         300 SE 2nd Street                                            Unliquidated
         Suite 600
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6172                      Is the claim subject to offset?     No       Yes

3.446
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOEL R WEAVER                                                Contingent
         Joel R. Weaver P.A.                                          Unliquidated
         36181 E Lake Road Suite 282
                                                                      Disputed
         Palm Harbor, FL 34685
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9150                      Is the claim subject to offset?     No       Yes

3.446
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JOEL S MOSS                                                  Contingent
         47 W New Haven Avenue Suite 200                              Unliquidated
         Melbourne, FL 32901-4477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7682
                                                                   Is the claim subject to offset?     No       Yes

3.446
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOEL SENCER                                                  Contingent
         3445 Northwest 46th Pl                                       Unliquidated
         Gainesville, FL 32605-1084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 638
                                                                   Is the claim subject to offset?     No       Yes

3.446
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $24.17
         JOEL STEWART                                                 Contingent
         2400 E Commercial Boulevard Suite 307                        Unliquidated
         Ft Lauderdle, FL 33308-4022                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8111
                                                                   Is the claim subject to offset?     No       Yes

3.446
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOEL T DAVES III                                             Contingent
         P.O. Box 3032                                                Unliquidated
         West Palm Beach, FL 33402-3032
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4107
                                                                   Is the claim subject to offset?     No       Yes

3.447
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,990.77
         JOEL T STRAWN                                                Contingent
         54 Northeast Fourth Avenue                                   Unliquidated
         Delray Beach, FL 33483-4529                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8124
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 671 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 679 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.447
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Johanna Gamboa Moas, P.A.                                    Contingent
         14359 Miramar Parkway                                        Unliquidated
         Suite 304
                                                                      Disputed
         Miramar, FL 33027
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7047                      Is the claim subject to offset?     No       Yes

3.447
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHANNA L. FUSCO, P.A.                                       Contingent
         3601 W. Commercial Blvd. Suite 10                            Unliquidated
         Ft. Lauderdale, FL 33309-3320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8360
                                                                   Is the claim subject to offset?     No       Yes

3.447
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JOHANNA RAVELO PA                                            Contingent
         10241 Southwest 132 Avenue                                   Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0279
                                                                   Is the claim subject to offset?     No       Yes

3.447
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN A BARLEY                                                Contingent
         P.O. Box 10166                                               Unliquidated
         Tallahassee, FL 32302-2166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7715
                                                                   Is the claim subject to offset?     No       Yes

3.447
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN A GALLAGHER PA                                          Contingent
         2833 W. Campbell Road                                        Unliquidated
         Lakeland, FL 33810
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8405
                                                                   Is the claim subject to offset?     No       Yes

3.447
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,787.35
         JOHN A GENTRY III                                            Contingent
         707 North Flagler Drive                                      Unliquidated
         West Palm Beach, FL 33401-4008                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3295
                                                                   Is the claim subject to offset?     No       Yes

3.447
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN A MOFFA                                                 Contingent
         7771 W Oakland Park Boulevard Suite 141                      Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8938
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 672 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 680 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.447
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN A NOLD                                                  Contingent
         4010 W Corona Street                                         Unliquidated
         Tampa, FL 33629-8503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5564
                                                                   Is the claim subject to offset?     No       Yes

3.447
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN A RUDOLPH JR                                            Contingent
         207 W Park Avenue Suite B                                    Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0862
                                                                   Is the claim subject to offset?     No       Yes

3.448
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN A TALLARIDO PA                                          Contingent
         1128 Royal Palm Beach Bvd Suite 220                          Unliquidated
         Royal Palm Beach, FL 33411-1683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2374
                                                                   Is the claim subject to offset?     No       Yes

3.448
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN A TAYLOR                                                Contingent
         Fassett Anthony & Taylor P.A.                                Unliquidated
         1325 W Colonial Drive
                                                                      Disputed
         Orlando, FL 32804-7033
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5486                      Is the claim subject to offset?     No       Yes

3.448
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN A YAUN                                                  Contingent
         848 W Ventura Avenue                                         Unliquidated
         Clewiston, FL 33440-0756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 218
                                                                   Is the claim subject to offset?     No       Yes

3.448
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $65.70
         JOHN A. FRIEDMAN                                             Contingent
         1040 Bayview Dr.                                             Unliquidated
         Suite 228                                                    Disputed
         Ft Lauderdale, FL 33304-2532
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4680                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 673 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 681 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.448
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOHN ANTOON II                                               Contingent
         US Courthouse                                                Unliquidated
         80 N Hughey Avenue Suite 300
                                                                      Disputed
         Orlando, FL 32801-2225
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5456                      Is the claim subject to offset?     No       Yes

3.448
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN B FASSETT                                               Contingent
         4560 Via Royale Suite 3                                      Unliquidated
         Ft Myers, FL 33919-1076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5288
                                                                   Is the claim subject to offset?     No       Yes

3.448
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN B NEUKAMM                                               Contingent
         305 South Boulevard                                          Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8359
                                                                   Is the claim subject to offset?     No       Yes

3.448
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN B OSTROW PA                                             Contingent
         44 W Flagler Street Suite 1250                               Unliquidated
         Miami, FL 33130-1808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6213
                                                                   Is the claim subject to offset?     No       Yes

3.448
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN B ROOT III                                              Contingent
         226 Hillcrest                                                Unliquidated
         Orlando, FL 32801-1212
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7974
                                                                   Is the claim subject to offset?     No       Yes

3.448
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN B SOCHACKI                                              Contingent
         434 S Country Club Drive                                     Unliquidated
         Atlantis, FL 33462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7761
                                                                   Is the claim subject to offset?     No       Yes

3.449
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOHN B WALKUP                                                Contingent
         P.O. Box 376                                                 Unliquidated
         Mcintosh, FL 32664-0376
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3898
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 674 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 682 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.449
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN BARIC                                                   Contingent
         P.O. Box 100                                                 Unliquidated
         Boca Raton, FL 33429-9007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7851
                                                                   Is the claim subject to offset?     No       Yes

3.449
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOHN C DENT JR                                               Contingent
         P.O. Box 3269                                                Unliquidated
         Sarasota, FL 34230-3269
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8163
                                                                   Is the claim subject to offset?     No       Yes

3.449
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN C DOTTERRER PA                                          Contingent
         125 Worth Avenue Suite 310                                   Unliquidated
         Palm Beach, FL 33480-4466
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4111
                                                                   Is the claim subject to offset?     No       Yes

3.449
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN C ENGLEHARDT                                            Contingent
         1524 E Livingston Street                                     Unliquidated
         Orlando, FL 32803-5495
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4946
                                                                   Is the claim subject to offset?     No       Yes

3.449
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN C GOEDE PA                                              Contingent
         8950 Fontana Del Sol Way Suite 100                           Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2178
                                                                   Is the claim subject to offset?     No       Yes

3.449
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN C HEEKIN                                                Contingent
         21202-C2 Olean Boulevard                                     Unliquidated
         Port Charlotte, FL 33952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6936
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 675 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 683 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.449
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN C KACZMAREK                                             Contingent
         399 Camino Gardens Boulevard                                 Unliquidated
         Suite 300
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4576                      Is the claim subject to offset?     No       Yes

3.449
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN C LUKACS                                                Contingent
         201 Sevilla Avenue Suite 305                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2031
                                                                   Is the claim subject to offset?     No       Yes

3.449
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,188.26
         JOHN C MANSON                                                Contingent
         1111 9th Avenue W                                            Unliquidated
         Suite A                                                      Disputed
         Bradenton, FL 34205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1531                      Is the claim subject to offset?     No       Yes


3.450
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN C REBER                                                 Contingent
         P.O. Box 3146                                                Unliquidated
         Orlando, FL 32802-3146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0793
                                                                   Is the claim subject to offset?     No       Yes

3.450
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JOHN C SUMBERG                                               Contingent
         P.O. Box 019109                                              Unliquidated
         Miami, FL 33101-9109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8042
                                                                   Is the claim subject to offset?     No       Yes

3.450
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN C THOMAS                                                Contingent
         240 W Palmetto Park Road                                     Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33432-3761
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5245                      Is the claim subject to offset?     No       Yes

3.450
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,525.03
         JOHN C TRENTELMAN                                            Contingent
         207 N Magnolia Avenue                                        Unliquidated
         Ocala, FL 34475-5863                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6127
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 676 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 684 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.450
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN C WILLIAMS JR                                           Contingent
         601 S 9th Street                                             Unliquidated
         Leesburg, FL 34748-6319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3966
                                                                   Is the claim subject to offset?     No       Yes

3.450
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN C. ALLEN, JR.                                           Contingent
         P.O. Box 2932                                                Unliquidated
         Ormond Beach, FL 32175-2932
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8639
                                                                   Is the claim subject to offset?     No       Yes

3.450
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $60.00
         JOHN C. RANDOLPH                                             Contingent
         P.O. 3475                                                    Unliquidated
         West Palm Beach, FL 33402-3475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0767
                                                                   Is the claim subject to offset?     No       Yes

3.450
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN D BENSON                                                Contingent
         340 Columbia Drive Suite 106                                 Unliquidated
         West Palm Beach, FL 33409-1975
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5726
                                                                   Is the claim subject to offset?     No       Yes

3.450
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN D CASSELS JR                                            Contingent
         P.O. Box 968                                                 Unliquidated
         Okeechobee, FL 34973-0968
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6355
                                                                   Is the claim subject to offset?     No       Yes

3.450
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN D HEFFLING PA                                           Contingent
         P.O. Box 4118                                                Unliquidated
         West Palm Beach, FL 33402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6867
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 677 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 685 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.451
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN D HOOKER                                                Contingent
         13610 E US Highway 92                                        Unliquidated
         Dover, FL 33527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8454
                                                                   Is the claim subject to offset?     No       Yes

3.451
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN D KURTZ                                                 Contingent
         1280 N Congress Avenue                                       Unliquidated
         Suite 107
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6454                      Is the claim subject to offset?     No       Yes

3.451
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN D MOONEY III                                            Contingent
         2740 E Oakland Park Boulevard Suite 302                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2837
                                                                   Is the claim subject to offset?     No       Yes

3.451
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN D MUSSOLINE                                             Contingent
         415A Saint Johns Avenue                                      Unliquidated
         Palatka, FL 32177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3386
                                                                   Is the claim subject to offset?     No       Yes

3.451
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN D NYCE                                                  Contingent
         P.O. Box 11022                                               Unliquidated
         Ft Lauderdale, FL 33339-1022
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6208
                                                                   Is the claim subject to offset?     No       Yes

3.451
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN D O'DONNELL                                             Contingent
         4367 N Federal Highway Suite 201                             Unliquidated
         Ft Lauderdale, FL 33308-5213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7962
                                                                   Is the claim subject to offset?     No       Yes

3.451
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN D PRIOR JR                                              Contingent
         47 Oakmore Drive                                             Unliquidated
         San Jose, CA 95127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5295
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 678 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 686 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.451
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN D TULEY                                                 Contingent
         4240 Ironwood Circle Apt 202aa                               Unliquidated
         Bradenton, FL 34209-8607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6346
                                                                   Is the claim subject to offset?     No       Yes

3.451
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN D WEATHERFORD                                           Contingent
         910 S Bay Street                                             Unliquidated
         Eustis, FL 32726-4866
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4062
                                                                   Is the claim subject to offset?     No       Yes

3.451
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JOHN D WHITAKER                                              Contingent
         9370 Sunset Drive                                            Unliquidated
         Suite A-130
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6848                      Is the claim subject to offset?     No       Yes

3.452
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,953.76
         JOHN D. MENDEZ                                               Contingent
         201 S.E. 24th Avenue                                         Unliquidated
         Pompano Beach, FL 33062-5307                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3957
                                                                   Is the claim subject to offset?     No       Yes

3.452
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN E AURELIUS PA                                           Contingent
         2787 E. Oakland Park Boulevard                               Unliquidated
         Suite 301
                                                                      Disputed
         Ft Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0014                      Is the claim subject to offset?     No       Yes

3.452
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN E CARTER                                                Contingent
         102 Northeast 2nd Street Suite 179                           Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8493
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 679 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 687 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.452
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN E HANKAL                                                Contingent
         P.O. Box 48190                                               Unliquidated
         Jacksonville, FL 32247
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4665
                                                                   Is the claim subject to offset?     No       Yes

3.452
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN E KOPSON                                                Contingent
         7300 W Camino Real Suite 126                                 Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 155
                                                                   Is the claim subject to offset?     No       Yes

3.452
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN E MAINES IV                                             Contingent
         715 Southeast Townhomes Boulevard                            Unliquidated
         Lake Butler, FL 32054
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8728
                                                                   Is the claim subject to offset?     No       Yes

3.452
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN E MAIUCCI                                               Contingent
         55 E Osceola Street                                          Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9470
                                                                   Is the claim subject to offset?     No       Yes

3.452
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,630.50
         JOHN E MARKE                                                 Contingent
         3644 Landers Street                                          Unliquidated
         Big Pine Key, FL 33043-6138                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1051
                                                                   Is the claim subject to offset?     No       Yes

3.452
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN E MCINTEE                                               Contingent
         1825 Big Oak Lane                                            Unliquidated
         Kissimmee, FL 34746-3807
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6235
                                                                   Is the claim subject to offset?     No       Yes

3.452
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN E MOORE III                                             Contingent
         756 Beachland Boulevard                                      Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8293
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 680 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 688 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.453
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN E SULLIVAN                                              Contingent
         P.O. Box 2638                                                Unliquidated
         Brandon, FL 33509-2638
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4765
                                                                   Is the claim subject to offset?     No       Yes

3.453
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $559.72
         JOHN E WATSON                                                Contingent
         600 49th Street N Suite A                                    Unliquidated
         St Petersburg, FL 33710                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4229
                                                                   Is the claim subject to offset?     No       Yes

3.453
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN EDGAR SHERRARD                                          Contingent
         34 E 5th Street                                              Unliquidated
         Stuart, FL 34994-3010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6075
                                                                   Is the claim subject to offset?     No       Yes

3.453
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN ERICK SWARD                                             Contingent
         P.O. Box 1855                                                Unliquidated
         Mccormick, SC 29835-1855
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1144
                                                                   Is the claim subject to offset?     No       Yes

3.453
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN F HAYTER                                                Contingent
         1418 Northwest 6th Street                                    Unliquidated
         Gainesville, FL 32601-4020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7990
                                                                   Is the claim subject to offset?     No       Yes

3.453
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN F HOOLEY                                                Contingent
         851 5th Ave N.                                               Unliquidated
         Suite 303
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2299                      Is the claim subject to offset?     No       Yes

3.453
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN F HOUTON                                                Contingent
         P.O. Box 456                                                 Unliquidated
         Naples, FL 34106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4700
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 681 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 689 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.453
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN F JANKOWSKI JR                                          Contingent
         2 S University Drive Suite 265                               Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7299
                                                                   Is the claim subject to offset?     No       Yes

3.453
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN F LAW JR                                                Contingent
         7229 Deer Haven Road                                         Unliquidated
         Panama City, FL 32409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4798
                                                                   Is the claim subject to offset?     No       Yes

3.453
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN F PHILLIPS                                              Contingent
         1401 S Andrews Avenue                                        Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3661
                                                                   Is the claim subject to offset?     No       Yes

3.454
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN F POPE                                                  Contingent
         2424 Manatee Avenue W.                                       Unliquidated
         Suite 101
                                                                      Disputed
         Bradenton, FL 34205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6518                      Is the claim subject to offset?     No       Yes

3.454
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN F WELCH                                                 Contingent
         P.O. Box 833                                                 Unliquidated
         Ocala, FL 34478-0833
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4510
                                                                   Is the claim subject to offset?     No       Yes

3.454
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         JOHN F. STEWART                                              Contingent
         P.O. Box 400                                                 Unliquidated
         Ft. Myers, FL 33902-0400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1291
                                                                   Is the claim subject to offset?     No       Yes

3.454
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN FENNIMAN                                                Contingent
         John Fenniman Chartered                                      Unliquidated
         P.O. Box 2455
                                                                      Disputed
         Stuart, FL 34995-2455
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5299                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 682 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 690 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.454
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN FRANKLIN WADE                                           Contingent
         210 University Drive Suite 810                               Unliquidated
         Coral Springs, FL 33063-6234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3609
                                                                   Is the claim subject to offset?     No       Yes

3.454
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN FULLER                                                  Contingent
         John Fuller P.A.                                             Unliquidated
         12000 Biscayne Boulevard Suite 609
                                                                      Disputed
         North Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0476                      Is the claim subject to offset?     No       Yes

3.454
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN G BARRY III                                             Contingent
         1719 Blanding Boulevard                                      Unliquidated
         Jacksonville, FL 32210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8724
                                                                   Is the claim subject to offset?     No       Yes

3.454
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN G JORDAN                                                Contingent
         The Colonial Building                                        Unliquidated
         4367 N. Federal Highway, Suite 101
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5050                      Is the claim subject to offset?     No       Yes

3.454
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN G PIERCE                                                Contingent
         800 N Ferncreek Avenue                                       Unliquidated
         Orlando, FL 32803-4172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4804
                                                                   Is the claim subject to offset?     No       Yes

3.454
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN G SAVOCA                                                Contingent
         500 University Boulevard Suite 205                           Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8041
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 683 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 691 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.455
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN G VEGA                                                  Contingent
         501 Goodlette-Frank Road                                     Unliquidated
         #D306
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0998                      Is the claim subject to offset?     No       Yes

3.455
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN G WOOD JR                                               Contingent
         3601 Cypress Gardens Road                                    Unliquidated
         Suite A
                                                                      Disputed
         Winter Haven, FL 33884-2456
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7102                      Is the claim subject to offset?     No       Yes

3.455
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN GALLETTA JR                                             Contingent
         1095 Anastasia Boulevard                                     Unliquidated
         St Augustine, FL 32080-4681
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6323
                                                                   Is the claim subject to offset?     No       Yes

3.455
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN GAUDIOSI                                                Contingent
         3801 N Federal Highway                                       Unliquidated
         Pompano Beach, FL 33064-6514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4948
                                                                   Is the claim subject to offset?     No       Yes

3.455
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN H BECK                                                  Contingent
         2846-A Remington Green Lane                                  Unliquidated
         Tallahassee, FL 32308-3757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6192
                                                                   Is the claim subject to offset?     No       Yes

3.455
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN H JONES                                                 Contingent
         P.O. Box 2340                                                Unliquidated
         Gainesville, FL 32602-2340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5538
                                                                   Is the claim subject to offset?     No       Yes

3.455
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN H KING                                                  Contingent
         492 Fletcher Pl                                              Unliquidated
         Winter Park, FL 32789-3936
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5057
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 684 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 692 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.455
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN H KRUECKEBERG                                           Contingent
         2630 Grey Oak Drive N Apt 16                                 Unliquidated
         Naples, FL 34105-3003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8641
                                                                   Is the claim subject to offset?     No       Yes

3.455
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN H KRUECKEBERG                                           Contingent
         2630 Grey Oak Drive N Apt 16                                 Unliquidated
         Naples, FL 34105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8641
                                                                   Is the claim subject to offset?     No       Yes

3.455
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN H MYERS                                                 Contingent
         2831 Ringling Boulevard Suite B107                           Unliquidated
         Sarasota, FL 34237-5350
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6582
                                                                   Is the claim subject to offset?     No       Yes

3.456
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN H PARKER III                                            Contingent
         P.O. Box 1563                                                Unliquidated
         Live Oak, FL 32064-1563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7408
                                                                   Is the claim subject to offset?     No       Yes

3.456
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN H PATTERSON                                             Contingent
         La Puerta Del Sol Building Suite 105                         Unliquidated
         800 S Douglas Road
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8055                      Is the claim subject to offset?     No       Yes

3.456
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN H POWER                                                 Contingent
         2143 - 15th Avenue                                           Unliquidated
         Vero Beach, FL 32960-3435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8602
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 685 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 693 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.456
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN H RHODES JR                                             Contingent
         P.O. Box 770777                                              Unliquidated
         Winter Garden, FL 34777-0777
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3814
                                                                   Is the claim subject to offset?     No       Yes

3.456
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN H SIMMONS                                               Contingent
         P.O. Box 810141                                              Unliquidated
         Boca Raton, FL 33481-0141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 611
                                                                   Is the claim subject to offset?     No       Yes

3.456
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN H WERNER                                                Contingent
         915 Middle River Drive Suite 120                             Unliquidated
         Ft Lauderdale, FL 33304-3560
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6350
                                                                   Is the claim subject to offset?     No       Yes

3.456
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN H. SHEARER, JR.                                         Contingent
         P.O. Box 2196                                                Unliquidated
         Ft. Myers, FL 33902-2196
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4400
                                                                   Is the claim subject to offset?     No       Yes

3.456
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN HUGH SHANNON                                            Contingent
         5300 S Florida Avenue Suite E1                               Unliquidated
         Lakeland, FL 33813-2519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5453
                                                                   Is the claim subject to offset?     No       Yes

3.456
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN I MERRITT                                               Contingent
         1500 E Orange Avenue                                         Unliquidated
         Eustis, FL 32726-4309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4839
                                                                   Is the claim subject to offset?     No       Yes

3.456
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN J BYRNE                                                 Contingent
         3152 Blue Ridge Gap Road                                     Unliquidated
         Clayton, GA 30525-2744
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2781
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 686 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 694 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.457
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN J KABBOORD JR                                           Contingent
         1980 N Atlantic Avenue Suite 801                             Unliquidated
         Cocoa Beach, FL 32931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2475
                                                                   Is the claim subject to offset?     No       Yes

3.457
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN J LAZZARA                                               Contingent
         Judge of Comp Claims/Div                                     Unliquidated
         2740 Centerview Drive Suite 180
                                                                      Disputed
         Tallahassee, FL 32399-6558
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4954                      Is the claim subject to offset?     No       Yes

3.457
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN J O'BRIEN                                               Contingent
         3135 Southwest 3rd Avenue                                    Unliquidated
         Miami, FL 33128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0359
                                                                   Is the claim subject to offset?     No       Yes

3.457
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,117.89
         JOHN J O'DAY JR                                              Contingent
         151 Southwest 27th Avenue                                    Unliquidated
         Miami, FL 33135                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3534
                                                                   Is the claim subject to offset?     No       Yes

3.457
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN J RICHARDSON PA                                         Contingent
         95 S Federal Highway Suite 200                               Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9961
                                                                   Is the claim subject to offset?     No       Yes

3.457
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN J SHEA                                                  Contingent
         2940 S Tamiami Trail                                         Unliquidated
         Sarasota, FL 34239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1438
                                                                   Is the claim subject to offset?     No       Yes

3.457
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN J SULIK                                                 Contingent
         445 Pablo Point Drive                                        Unliquidated
         Jacksonville, FL 32225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4095
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 687 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 695 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.457
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $237.50
         JOHN J UPCHURCH                                              Contingent
         P.O. Drawer 3007                                             Unliquidated
         St Augustine, FL 32085-3007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3697
                                                                   Is the claim subject to offset?     No       Yes

3.457
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN J WATKINS                                               Contingent
         P.O. Box 250                                                 Unliquidated
         Labelle, FL 33975-0250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7985
                                                                   Is the claim subject to offset?     No       Yes

3.457
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN J WOLFE PA                                              Contingent
         6807 Overseas Highway                                        Unliquidated
         Marathon, FL 33050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7363
                                                                   Is the claim subject to offset?     No       Yes

3.458
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         John J. McGlynn, III P.L.L.C.                                Contingent
         729 SW Federal Highway                                       Unliquidated
         Suite 200
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0115                      Is the claim subject to offset?     No       Yes

3.458
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN K EASTHAM JR                                            Contingent
         138 W Palmetto Park Road                                     Unliquidated
         Boca Raton, FL 33432-3828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8389
                                                                   Is the claim subject to offset?     No       Yes

3.458
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JOHN K MCCLURE PA                                            Contingent
         McClure & Lobozzo                                            Unliquidated
         211 S. Ridgewood Drive
                                                                      Disputed
         Sebring, FL 33870-3340
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5228                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 688 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 696 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.458
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN KELLY BURNETTE                                          Contingent
         8130 Baymeadows Circle W Suite 203                           Unliquidated
         Jacksonville, FL 32256-1811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0325
                                                                   Is the claim subject to offset?     No       Yes

3.458
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN KOPELOUSOS                                              Contingent
         Kopelousos & Bradley P.A.                                    Unliquidated
         P.O. Box 562
                                                                      Disputed
         Orange Park, FL 32067-0562
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4176                      Is the claim subject to offset?     No       Yes

3.458
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN L AVERY JR                                              Contingent
         941 N Highway A1A                                            Unliquidated
         Jupiter, FL 33477-4599
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4470
                                                                   Is the claim subject to offset?     No       Yes

3.458
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,236.95
         JOHN L BRYAN JR                                              Contingent
         4400 PGA Boulevard Suite 800                                 Unliquidated
         Palm Beach Gardens, FL 33410                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7317
                                                                   Is the claim subject to offset?     No       Yes

3.458
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOHN L BURNS                                                 Contingent
         P.O. Box 349                                                 Unliquidated
         West Palm Beach, FL 33402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2416
                                                                   Is the claim subject to offset?     No       Yes

3.458
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L CALDWELL                                              Contingent
         7951 Southwest 6th Street Suite 200                          Unliquidated
         Plantation, FL 33324-2665
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8271
                                                                   Is the claim subject to offset?     No       Yes

3.458
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L FIVEASH JR                                            Contingent
         41 N Jefferson St#106                                        Unliquidated
         Pensacola, FL 32501-5644
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4363
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 689 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 697 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.459
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L GIOIELLO                                              Contingent
         P.O. Box 1987                                                Unliquidated
         Panama City, FL 32402-1987
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4252
                                                                   Is the claim subject to offset?     No       Yes

3.459
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,128.77
         JOHN L KORTHALS                                              Contingent
         639 E Ocean Avenue Suite 408                                 Unliquidated
         Boynton Beach, FL 33435-5017                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3610
                                                                   Is the claim subject to offset?     No       Yes

3.459
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L LICCIARDI                                             Contingent
         425 Cove Tower Drive Suite 1202                              Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7110
                                                                   Is the claim subject to offset?     No       Yes

3.459
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,421.68
         JOHN L LINDQUIST                                             Contingent
         9825 W Sample Road                                           Unliquidated
         Coral Springs, FL 33065-4040                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6412
                                                                   Is the claim subject to offset?     No       Yes

3.459
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L MANN                                                  Contingent
         Century Plaza Suite 300                                      Unliquidated
         500 S Florida Avenue
                                                                      Disputed
         Lakeland, FL 33801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0554                      Is the claim subject to offset?     No       Yes

3.459
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN L MAYNARD                                               Contingent
         602 Hillcrest Street                                         Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6871
                                                                   Is the claim subject to offset?     No       Yes

3.459
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L PAPERA JR PA                                          Contingent
         955 NW 17th Avenue                                           Unliquidated
         Building N
                                                                      Disputed
         Delray Beach, FL 33445
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6795                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 690 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 698 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.459
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L PENSON PA                                             Contingent
         1900 Sunset Harbour Drive                                    Unliquidated
         Annex-2nd Floor
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1832                      Is the claim subject to offset?     No       Yes

3.459
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L POLK PA                                               Contingent
         P.O. Box 511221                                              Unliquidated
         Punta Gorda, FL 33951-1221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5850
                                                                   Is the claim subject to offset?     No       Yes

3.459
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,364.13
         JOHN L REMSEN                                                Contingent
         515 N Flagler Drive Suite 1900                               Unliquidated
         West Palm Beach, FL 33401                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8
                                                                   Is the claim subject to offset?     No       Yes

3.460
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN L RILEY                                                 Contingent
         2325 Fifth Avenue North                                      Unliquidated
         St Petersburg, FL 33713-7005
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1189
                                                                   Is the claim subject to offset?     No       Yes

3.460
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN L SCOTT                                                 Contingent
         P.O. Box 475                                                 Unliquidated
         Branford, FL 32008-0475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5738
                                                                   Is the claim subject to offset?     No       Yes

3.460
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L STINZIANO                                             Contingent
         800 Laurel Oak Drive Suite 600                               Unliquidated
         Naples, FL 34108-2705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8137
                                                                   Is the claim subject to offset?     No       Yes

3.460
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L THOMAS II                                             Contingent
         611 N. Wymore Road                                           Unliquidated
         Suite 105
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4945                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 691 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 699 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.460
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN L WALKDEN                                               Contingent
         915 Southeast 10th Street                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5944
                                                                   Is the claim subject to offset?     No       Yes

3.460
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN L WILLIAMS                                              Contingent
         6200 S Tamiami Trail                                         Unliquidated
         Sarasota, FL 34231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2616
                                                                   Is the claim subject to offset?     No       Yes

3.460
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOHN L. GREEN, JR.                                           Contingent
         P.O. Box 210                                                 Unliquidated
         St. Petersburg, FL 33731-0210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3690
                                                                   Is the claim subject to offset?     No       Yes

3.460
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN LEONARD KEY                                             Contingent
         417 Saint Johns Avenue Suite B                               Unliquidated
         Palatka, FL 32177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6495
                                                                   Is the claim subject to offset?     No       Yes

3.460
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN LORING BISCHOF PA                                       Contingent
         P.O. Box 13237                                               Unliquidated
         Tallahassee, FL 32317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9997
                                                                   Is the claim subject to offset?     No       Yes

3.460
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN M ALFORD SEE BR 1                                       Contingent
         542 E Park Avenue                                            Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6867
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 692 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 700 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.461
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN M BARNES JR                                             Contingent
         1800 Second Street Suite 919                                 Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7653
                                                                   Is the claim subject to offset?     No       Yes

3.461
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN M BERNAZZOLI                                            Contingent
         2734 Polk Street                                             Unliquidated
         Suite H
                                                                      Disputed
         Hollywood, FL 33020-4825
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6395                      Is the claim subject to offset?     No       Yes

3.461
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN M CAPPELLER JR                                          Contingent
         DBA Cappeller Law                                            Unliquidated
         4800 N. Federal Highway, Suite D-306
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8136                      Is the claim subject to offset?     No       Yes

3.461
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOHN M DART JR                                               Contingent
         P.O. Box 49017                                               Unliquidated
         Sarasota, FL 34230-6017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5321
                                                                   Is the claim subject to offset?     No       Yes

3.461
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN M LAWRENCE JR                                           Contingent
         205 Friesian Way                                             Unliquidated
         Sanford, FL 32773
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4389
                                                                   Is the claim subject to offset?     No       Yes

3.461
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN M LYNN                                                  Contingent
         John M. Lynn P.A.                                            Unliquidated
         9760 S NC 9 Highway
                                                                      Disputed
         Columbus, NC 28722
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8566                      Is the claim subject to offset?     No       Yes

3.461
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN M MCDIVITT PA                                           Contingent
         101 N J Street Suite 2                                       Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8180
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 693 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 701 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.461
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN M MILLER PA                                             Contingent
         484 Osceola Avenue                                           Unliquidated
         Jacksonville Beach, FL 32250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7074
                                                                   Is the claim subject to offset?     No       Yes

3.461
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN M MORGAN                                                Contingent
         302 Lee Boulevard Suite 102                                  Unliquidated
         Lehigh Acres, FL 33936-4916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5097
                                                                   Is the claim subject to offset?     No       Yes

3.461
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN M THOMSON                                               Contingent
         100 Almeria Avenue                                           Unliquidated
         Suite 310
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3438                      Is the claim subject to offset?     No       Yes

3.462
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         John M. Alford                                               Contingent
         215 Delta Court                                              Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6867
                                                                   Is the claim subject to offset?     No       Yes

3.462
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         John M. Iriye, P.A.                                          Contingent
         P.O. Box 195779                                              Unliquidated
         Winter Springs, FL 32719
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8004
                                                                   Is the claim subject to offset?     No       Yes

3.462
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,891.76
         JOHN M. MARTYN                                               Contingent
         P.O. Box 3765                                                Unliquidated
         Tequesta, FL 33469-0765                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8216
                                                                   Is the claim subject to offset?     No       Yes

3.462
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN MADDEN & ASSOCIATES PA                                  Contingent
         789 S Federal Highway Suite 310                              Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9228
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 694 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 702 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.462
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN MASTRY                                                  Contingent
         1902 Bluff Oak Street                                        Unliquidated
         Apopka, FL 32712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6204
                                                                   Is the claim subject to offset?     No       Yes

3.462
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         John McCorvey                                                Contingent
         301 W. Bay Street                                            Unliquidated
         Suite 1458
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0606                      Is the claim subject to offset?     No       Yes

3.462
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN MCNEILL                                                 Contingent
         7300 W Camino Real Suite 236                                 Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4899
                                                                   Is the claim subject to offset?     No       Yes

3.462
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN MOTSINGER, JR.                                          Contingent
         320 N. Magnolia Avenue Suite A4                              Unliquidated
         Orlando, FL 32801-1624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6668
                                                                   Is the claim subject to offset?     No       Yes

3.462
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN MOXLEY                                                  Contingent
         3933 Southeast 13th Street                                   Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4853
                                                                   Is the claim subject to offset?     No       Yes

3.462
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JOHN N MOORE III                                             Contingent
         1448 Kennedy Drive Suite 7 Luani Plaza                       Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 91
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 695 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 703 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.463
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN N. BUSO, P.A.                                           Contingent
         P.O. Box 15414                                               Unliquidated
         West Palm Beach, FL 33416-5414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8430
                                                                   Is the claim subject to offset?     No       Yes

3.463
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN N. STUPARICH                                            Contingent
         550 N. Reo Street                                            Unliquidated
         Suite 303
                                                                      Disputed
         Tampa, FL 33609-1037
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8395                      Is the claim subject to offset?     No       Yes

3.463
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN O HOPKINS JR                                            Contingent
         1515 N Federal Highway Suite 107                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7426
                                                                   Is the claim subject to offset?     No       Yes

3.463
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $36.43
         JOHN O SCHNERING                                             Contingent
         6302 Manatee Avenue W Suite D                                Unliquidated
         Bradenton, FL 34209                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6432
                                                                   Is the claim subject to offset?     No       Yes

3.463
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN O WILLIAMS                                              Contingent
         211 E Virginia Street                                        Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8180
                                                                   Is the claim subject to offset?     No       Yes

3.463
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P COLLINS JR                                            Contingent
         5015 S. Florida Avenue                                       Unliquidated
         Suite 400
                                                                      Disputed
         Lakeland, FL 33813
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2371                      Is the claim subject to offset?     No       Yes

3.463
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P DUDA                                                  Contingent
         4609 Garfield Street                                         Unliquidated
         Hollywood, FL 33021-5335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2059
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 696 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 704 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.463
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P DUNNE                                                 Contingent
         10833 70th Avenue N                                          Unliquidated
         Seminole, FL 33772
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1439
                                                                   Is the claim subject to offset?     No       Yes

3.463
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P FENNER                                                Contingent
         2840 Northwest Boca Raton Boulevard Suit                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5621
                                                                   Is the claim subject to offset?     No       Yes

3.463
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $20.00
         JOHN P FRONK PA                                              Contingent
         432 Northeast 3rd Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301-3234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8279
                                                                   Is the claim subject to offset?     No       Yes

3.464
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P MAAS                                                  Contingent
         44 NE 16th Street                                            Unliquidated
         Homestead, FL 33030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5019
                                                                   Is the claim subject to offset?     No       Yes

3.464
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN P MARINELLI                                             Contingent
         11924 Forest Hil Boulevard Suite 22-401                      Unliquidated
         Wellington, FL 33414-6256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7714
                                                                   Is the claim subject to offset?     No       Yes

3.464
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P MCCABE                                                Contingent
         3211 Bay Club Circle                                         Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0663
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 697 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 705 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.464
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN P MCNUTT                                                Contingent
         P.O. Box 347274                                              Unliquidated
         Coral Gables, FL 33234-7274
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4949
                                                                   Is the claim subject to offset?     No       Yes

3.464
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN P MILLIGAN JR                                           Contingent
         711 Estero Boulevard Suite 6                                 Unliquidated
         Ft Myers, FL 33931-2107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 403
                                                                   Is the claim subject to offset?     No       Yes

3.464
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN P WELCH PA                                              Contingent
         619 W Chase Street                                           Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6780
                                                                   Is the claim subject to offset?     No       Yes

3.464
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN P WHITE                                                 Contingent
         5121 Castello Drive Suite 2                                  Unliquidated
         Naples, FL 33940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4889
                                                                   Is the claim subject to offset?     No       Yes

3.464
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN P WILKES                                                Contingent
         901 S. Federal Highway                                       Unliquidated
         Suite 101-A
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8299                      Is the claim subject to offset?     No       Yes

3.464
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         John P. Koplitz, P.A.                                        Contingent
         1405 W Swann Avenue                                          Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7274
                                                                   Is the claim subject to offset?     No       Yes

3.464
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN PALUMBO                                                 Contingent
         2018 Port Marnock Lane                                       Unliquidated
         Orlando, FL 32826
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8300
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 698 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 706 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.465
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN PATTERSON                                               Contingent
         Livingston Patterson Et Al P.A.                              Unliquidated
         46 N. Washington Blvd., Suite 1
                                                                      Disputed
         Sarasota, FL 34236-5928
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5562                      Is the claim subject to offset?     No       Yes

3.465
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN R ALLISON III                                           Contingent
         100 Southeast 2nd Street Suite 3350                          Unliquidated
         Miami, FL 33131-1101
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0602
                                                                   Is the claim subject to offset?     No       Yes

3.465
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN R BANISTER PA                                           Contingent
         2600 N Military Trail 4th Floor                              Unliquidated
         Boca Raton, FL 33431-6315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7268
                                                                   Is the claim subject to offset?     No       Yes

3.465
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN R CASEY                                                 Contingent
         6220 Manatee Avenue W Suite 201                              Unliquidated
         Bradenton, FL 34209-2361
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8463
                                                                   Is the claim subject to offset?     No       Yes

3.465
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN R COOK                                                  Contingent
         202 Northwest 5th Avenue                                     Unliquidated
         Okeechobee, FL 34972-4140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 707
                                                                   Is the claim subject to offset?     No       Yes

3.465
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $127.29
         JOHN R COUNCIL                                               Contingent
         P.O. Box 991                                                 Unliquidated
         Dade City, FL 33526-0991
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7193
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 699 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 707 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.465
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN R DONAHUE JR                                            Contingent
         3665 Gleneagle Drive                                         Unliquidated
         Sarasota, FL 34238-2812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 277
                                                                   Is the claim subject to offset?     No       Yes

3.465
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN R DUNHAM III                                            Contingent
         One Sarasota Tower                                           Unliquidated
         2 N Tamiami Trail Suite 500
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7839                      Is the claim subject to offset?     No       Yes

3.465
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN R FOLTZ PA                                              Contingent
         4261 Central Avenue                                          Unliquidated
         St Petersburg, FL 33713-8230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1631
                                                                   Is the claim subject to offset?     No       Yes

3.465
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN R GEIGER                                                Contingent
         4475 US 1 S Suite 406                                        Unliquidated
         St Augustine, FL 32086
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1676
                                                                   Is the claim subject to offset?     No       Yes

3.466
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN R GRIFFITH                                              Contingent
         P.O. Box 24628                                               Unliquidated
         Lakeland, FL 33802-4628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7933
                                                                   Is the claim subject to offset?     No       Yes

3.466
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN R HEFFERAN JR                                           Contingent
         112 N Summerlin Avenue                                       Unliquidated
         Orlando, FL 32801-2033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7293
                                                                   Is the claim subject to offset?     No       Yes

3.466
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN R LONERGAN PA                                           Contingent
         12520 World Plaza Lane Suite 1                               Unliquidated
         Ft Myers, FL 33907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8288
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 700 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 708 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.466
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN R SHUMAN                                                Contingent
         1004 22nd Street Northwest                                   Unliquidated
         Washington, DC 20037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4312
                                                                   Is the claim subject to offset?     No       Yes

3.466
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $476.49
         JOHN R STANIER                                               Contingent
         P.O. Box 13666                                               Unliquidated
         Tampa, FL 33681-3666                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2552
                                                                   Is the claim subject to offset?     No       Yes

3.466
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN R TAMM                                                  Contingent
         P.O. Box 2718                                                Unliquidated
         Daytona Beach, FL 32115-2718
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 965
                                                                   Is the claim subject to offset?     No       Yes

3.466
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN RAMOS                                                   Contingent
         2131 Hollywood Boulevard                                     Unliquidated
         Suite 205
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9221                      Is the claim subject to offset?     No       Yes

3.466
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN S ANDREWS PA                                            Contingent
         1501 NE FOURTH AVE                                           Unliquidated
         FT LAUDERDALE, FL 33304-1035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0722
                                                                   Is the claim subject to offset?     No       Yes

3.466
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,924.34
         JOHN S CALL JR                                               Contingent
         P.O. Box 530216                                              Unliquidated
         Lake Park, FL 33403                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0069
                                                                   Is the claim subject to offset?     No       Yes

3.466
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOHN S CURRY                                                 Contingent
         221 North Street                                             Unliquidated
         Quincy, FL 32351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6502
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 701 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 709 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.467
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN S KENNELLY                                              Contingent
         6849 Cobia Circle                                            Unliquidated
         Boynton Beach, FL 33437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3799
                                                                   Is the claim subject to offset?     No       Yes

3.467
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN S LEVY                                                  Contingent
         208 Jack Nicklaus Drive                                      Unliquidated
         Austin, TX 78738
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7934
                                                                   Is the claim subject to offset?     No       Yes

3.467
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN S NORTON JR                                             Contingent
         431 North Grandview Avenue Suite B                           Unliquidated
         Daytona Beach, FL 32118-3928
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1881
                                                                   Is the claim subject to offset?     No       Yes

3.467
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN S ROSSI JR                                              Contingent
         P.O. Box 141728                                              Unliquidated
         Coral Gables, FL 33114-1728
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7463
                                                                   Is the claim subject to offset?     No       Yes

3.467
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN S WINNIE                                                Contingent
         4400 Northwest 23rd Avenue Suite E                           Unliquidated
         Gainesville, FL 32606-6562
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4529
                                                                   Is the claim subject to offset?     No       Yes

3.467
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN S YUDIN ESQ PA                                          Contingent
         55 E. Ocean Boulevard                                        Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5637
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 702 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 710 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.467
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN T BOULAND                                               Contingent
         P.O. Box 2228                                                Unliquidated
         Ocala, FL 34478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4996
                                                                   Is the claim subject to offset?     No       Yes

3.467
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN T BRENNAN LLB PLC                                       Contingent
         P.O. Box 3779                                                Unliquidated
         Ft Pierce, FL 34948-3779
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3144
                                                                   Is the claim subject to offset?     No       Yes

3.467
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHN T KINSEY PA                                             Contingent
         551 Northwest 77th Street Suite 114                          Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8702
                                                                   Is the claim subject to offset?     No       Yes

3.467
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN T MORRISON                                              Contingent
         1612 NW Boca Raton Boulevard                                 Unliquidated
         Suite 8
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6397                      Is the claim subject to offset?     No       Yes

3.468
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN T PAXMAN                                                Contingent
         1832 N. Dixie Highway                                        Unliquidated
         Lake Worth, FL 33460-8104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8587
                                                                   Is the claim subject to offset?     No       Yes

3.468
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN T PRAHL                                                 Contingent
         12376 SW 82nd Avenue                                         Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2250
                                                                   Is the claim subject to offset?     No       Yes

3.468
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN T. CARLON, JR.                                          Contingent
         P O Drawer 9237                                              Unliquidated
         Ft Lauderdale, FL 33310-9237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4850
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 703 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 711 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.468
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,436.46
         JOHN TURNBULL                                                Contingent
         162 Hopkins Hill Road                                        Unliquidated
         Coventry, RI 02816-6326                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6897
                                                                   Is the claim subject to offset?     No       Yes

3.468
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         JOHN V A HOLMES                                              Contingent
         811 N Magnolia Avenue                                        Unliquidated
         Orlando, FL 32803-0232
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3454
                                                                   Is the claim subject to offset?     No       Yes

3.468
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN V BAUM                                                  Contingent
         213 S Swoope Avenue                                          Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2011
                                                                   Is the claim subject to offset?     No       Yes

3.468
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN W BAKER                                                 Contingent
         892 Acadia Road                                              Unliquidated
         Venice, FL 34293-5603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5005
                                                                   Is the claim subject to offset?     No       Yes

3.468
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W CARROLL                                               Contingent
         P.O. Box 31794                                               Unliquidated
         Palm Beach Gardens, FL 33420-1794
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8512
                                                                   Is the claim subject to offset?     No       Yes

3.468
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOHN W CONLIN PA                                             Contingent
         P.O. Box 500097                                              Unliquidated
         Marathon, FL 33050-0097
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 208
                                                                   Is the claim subject to offset?     No       Yes

3.468
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN W CONNESS                                               Contingent
         315 Northeast 3rd Avenue Suite 201                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4716
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 704 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 712 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.469
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN W ESTES JR                                              Contingent
         15604 N Highway 11                                           Unliquidated
         Salem, SC 29676-3213
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1856
                                                                   Is the claim subject to offset?     No       Yes

3.469
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W FIELD                                                 Contingent
         P.O. Box 4532                                                Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6450
                                                                   Is the claim subject to offset?     No       Yes

3.469
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W GRIFFIS III                                           Contingent
         Ringling Professional Center                                 Unliquidated
         2831 Ringling Boulevard Suite 116-D
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8604                      Is the claim subject to offset?     No       Yes

3.469
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN W HAMILTON                                              Contingent
         P.O. Box 2842                                                Unliquidated
         St Petersburg, FL 33704-2744
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6424
                                                                   Is the claim subject to offset?     No       Yes

3.469
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHN W HEWITT                                                Contingent
         C/O Hewitt & Smiley P.A.                                     Unliquidated
         10625 N Military Trail Suite 208
                                                                      Disputed
         Palm Beach Gardens, FL 33410-6552
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7448                      Is the claim subject to offset?     No       Yes

3.469
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W JEFFERSON                                             Contingent
         2825 Northwest 70th Avenue                                   Unliquidated
         Margate, FL 33063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2345
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 705 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 713 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.469
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W LEON PL                                               Contingent
         6175 Northwest 153rd Street Suite 403                        Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8250
                                                                   Is the claim subject to offset?     No       Yes

3.469
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W PERLOFF                                               Contingent
         1177 SE 3rd Avenue                                           Unliquidated
         Ft Lauderdale, FL 33316-1109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4271
                                                                   Is the claim subject to offset?     No       Yes

3.469
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W PUFFER III                                            Contingent
         3013 Villa Rosa Park                                         Unliquidated
         Tampa, FL 33611-2839
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0549
                                                                   Is the claim subject to offset?     No       Yes

3.469
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W RODGERS                                               Contingent
         3735 Lake Buynak Road                                        Unliquidated
         Windermere, FL 34786
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0404
                                                                   Is the claim subject to offset?     No       Yes

3.470
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,769.56
         JOHN W SCHUMACHER JR                                         Contingent
         14199 82nd Avenue N                                          Unliquidated
         Seminole, FL 33776                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2175
                                                                   Is the claim subject to offset?     No       Yes

3.470
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHN W SMITH                                                 Contingent
         Smith & Gromann P.A.                                         Unliquidated
         2201 Northwest Corporate Boulevard Suite
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4821                      Is the claim subject to offset?     No       Yes

3.470
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHN W. KEARNS                                               Contingent
         431 Gerona Avenue                                            Unliquidated
         Coral Gables, FL 33146-2807
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4572
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 706 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 714 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.470
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,815.14
         JOHN WEST                                                    Contingent
         9501 Lisa Road                                               Unliquidated
         Miami, FL 33157-8735                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4218
                                                                   Is the claim subject to offset?     No       Yes

3.470
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOHNNY A FORTUNE                                             Contingent
         P.O. Drawer 2167                                             Unliquidated
         Ft Walton Beach, FL 32549-2167
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8118
                                                                   Is the claim subject to offset?     No       Yes

3.470
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHNSON & JOHNSON ATTORNEYS &                                Contingent
         150 S. Palmetto Avenue                                       Unliquidated
         Suite 103
                                                                      Disputed
         Daytona Beach, FL 32114
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9900                      Is the claim subject to offset?     No       Yes

3.470
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOHNSON & KING PA                                            Contingent
         2219 Park Street                                             Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5210
                                                                   Is the claim subject to offset?     No       Yes

3.470
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,113.46
         JOHNSON & WALTERS PA                                         Contingent
         7401 Wiles Road                                              Unliquidated
         Suite 250                                                    Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6543                      Is the claim subject to offset?     No       Yes


3.470
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JOHNSON ANSELMO MURDOCH BURKE                                Contingent
         2455 E Sunrise Boulevard Suite 1000                          Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5770
                                                                   Is the claim subject to offset?     No       Yes

3.470
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOHNSON AUVIL & BROCK PA                                     Contingent
         P.O. Box 2337                                                Unliquidated
         Dade City, FL 33526-2337
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5098
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 707 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 715 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.471
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHNSON FARRELL & MABILE LLC                                 Contingent
         P.O. Box 1739                                                Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7355
                                                                   Is the claim subject to offset?     No       Yes

3.471
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         JOHNSON GREEN & LOCKLIN PA                                   Contingent
         P.O. Box 605                                                 Unliquidated
         Milton, FL 32572-0605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1345
                                                                   Is the claim subject to offset?     No       Yes

3.471
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Johnson Law, P.L.L.C.                                        Contingent
         412 N. Halifax Avenue                                        Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9881
                                                                   Is the claim subject to offset?     No       Yes

3.471
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOHNSON POPE BOKOR                                           Contingent
         P.O. Box 1368                                                Unliquidated
         Clearwater, FL 33757-1368
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5120
                                                                   Is the claim subject to offset?     No       Yes

3.471
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $850.00
         JOHNSON POPE BOKOR                                           Contingent
         P.O. Box 1100                                                Unliquidated
         Tampa, FL 33601-1100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5120
                                                                   Is the claim subject to offset?     No       Yes

3.471
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,397.05
         JOHNSON S SAVARY                                             Contingent
         1671 South Drive                                             Unliquidated
         Sarasota, FL 34239                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0699
                                                                   Is the claim subject to offset?     No       Yes

3.471
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,837.40
         JOHNSTON & SASSER PA                                         Contingent
         P.O. Box 997                                                 Unliquidated
         Brooksville, FL 34605-0997                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 763
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 708 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 716 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.471
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOLLY ESQUIRE PLLC                                           Contingent
         1440 Lake Baldwin Lane Suite A                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6510
                                                                   Is the claim subject to offset?     No       Yes

3.471
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JON AGEE                                                     Contingent
         915 Middle River Drive Suite 512                             Unliquidated
         Ft Lauderdale, FL 33304-3582
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3887
                                                                   Is the claim subject to offset?     No       Yes

3.471
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $61.11
         JON C HALL                                                   Contingent
         3512 S Long Fellow Circle                                    Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7449
                                                                   Is the claim subject to offset?     No       Yes

3.472
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JON C KIEFFER                                                Contingent
         Kieffer & Rahter                                             Unliquidated
         6670 1st Avenue South
                                                                      Disputed
         St Petersburg, FL 33707-1392
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8159                      Is the claim subject to offset?     No       Yes

3.472
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jon C. Lasserre, P.A.                                        Contingent
         960185 Gateway Boulevard Suite 203                           Unliquidated
         Fernandina, FL 32034-7843
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7058
                                                                   Is the claim subject to offset?     No       Yes

3.472
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JON ERIC BENEZETTE                                           Contingent
         516 N Peninsula Drive                                        Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2595
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 709 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 717 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.472
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JON HALL                                                     Contingent
         146 Avenue B Northwest                                       Unliquidated
         Winter Haven, FL 33881
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8350
                                                                   Is the claim subject to offset?     No       Yes

3.472
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JON PREIKSAT                                                 Contingent
         17 Gulf Manor Drive                                          Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9004
                                                                   Is the claim subject to offset?     No       Yes

3.472
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $124.59
         JON W SEARCY                                                 Contingent
         1540 N Spring Street                                         Unliquidated
         Pensacola, FL 32501                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 230
                                                                   Is the claim subject to offset?     No       Yes

3.472
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JONAS & WOLMER PA                                            Contingent
         3300 PGA Boulevard Suite 870                                 Unliquidated
         Palm Beach Gardens, FL 33410-2811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4831
                                                                   Is the claim subject to offset?     No       Yes

3.472
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN BLOOM                                               Contingent
         2295 NW CORPORATE BLVD #117                                  Unliquidated
         BOCA RATON, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3660
                                                                   Is the claim subject to offset?     No       Yes

3.472
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JONATHAN D BELOFF PA                                         Contingent
         1691 Michigan Avenue                                         Unliquidated
         Suite 210
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4473                      Is the claim subject to offset?     No       Yes

3.472
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JONATHAN D COMMANDER                                         Contingent
         P.O. Box 3474                                                Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4412
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 710 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 718 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.473
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN E HAUSBURG                                          Contingent
         3202 N Tamiami Trail                                         Unliquidated
         Sarasota, FL 34234-5860
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4185
                                                                   Is the claim subject to offset?     No       Yes

3.473
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN H GOODMAN                                           Contingent
         1377 Cassat Avenue                                           Unliquidated
         Jacksonville, FL 32205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0147
                                                                   Is the claim subject to offset?     No       Yes

3.473
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN H KLINE                                             Contingent
         2761 Executive Park Drive                                    Unliquidated
         Weston, FL 33331-3600
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9490
                                                                   Is the claim subject to offset?     No       Yes

3.473
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jonathan H. Lehman, P.A.                                     Contingent
         P.O. Box 1437                                                Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6977
                                                                   Is the claim subject to offset?     No       Yes

3.473
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JONATHAN JAMES DAMONTE                                       Contingent
         Jonathan James Damonte Chrterd                               Unliquidated
         12110 Seminole Boulevard
                                                                      Disputed
         Largo, FL 33778
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7859                      Is the claim subject to offset?     No       Yes

3.473
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jonathan James Damonte Chartered                             Contingent
         12110 Seminole Boulevard                                     Unliquidated
         Largo, FL 33778
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7859
                                                                   Is the claim subject to offset?     No       Yes

3.473
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN LEINWAND                                            Contingent
         200 S Andrews Avenue Suite 703b                              Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6098
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 711 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 719 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.473
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN LITZ                                                Contingent
         2161 Palm Beach Lakes Boulevard 202                          Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6085
                                                                   Is the claim subject to offset?     No       Yes

3.473
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN M SABGHIR                                           Contingent
         2398 S Dixie Highway                                         Unliquidated
         Miami, FL 33133-2314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8579
                                                                   Is the claim subject to offset?     No       Yes

3.473
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JONATHAN P KROSS                                             Contingent
         P.O. Drawer 3363                                             Unliquidated
         Boca Raton, FL 33427-3363
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7911
                                                                   Is the claim subject to offset?     No       Yes

3.474
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN R RUBIN                                             Contingent
         Jonathan R. Rubin P.A.                                       Unliquidated
         9360 Southwest 72nd Street Suite 285
                                                                      Disputed
         Miami, FL 33173-3283
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8341                      Is the claim subject to offset?     No       Yes

3.474
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jonathan Tolentino, P.A.                                     Contingent
         501 Goodlette Road N Suite D-100                             Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7725
                                                                   Is the claim subject to offset?     No       Yes

3.474
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN W NEWLON PA                                         Contingent
         12731 Timber Run                                             Unliquidated
         Dade City, FL 35529
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8668
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 712 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 720 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.474
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONATHAN W SHIRLEY PA                                        Contingent
         171 Circle Drive                                             Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0034
                                                                   Is the claim subject to offset?     No       Yes

3.474
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         JONES & CARDOZO                                              Contingent
         46 N Washington Boulevard Suite 18                           Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5778
                                                                   Is the claim subject to offset?     No       Yes

3.474
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JONES & FLOWERS                                              Contingent
         P.O. Box 947                                                 Unliquidated
         Niceville, FL 32588-0947
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4358
                                                                   Is the claim subject to offset?     No       Yes

3.474
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,587.53
         JONES FOSTER JOHNSTON &                                      Contingent
         DBA Jones Foster                                             Unliquidated
         P.O. Box 3475                                                Disputed
         West Palm Beach, FL 33402-3475
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 178                       Is the claim subject to offset?     No       Yes


3.474
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JONES LAW FIRM                                               Contingent
         3943 W Lake Estates Drive                                    Unliquidated
         Davie, FL 33328-3060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7520
                                                                   Is the claim subject to offset?     No       Yes

3.474
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JONES WALKER WAECHTER                                        Contingent
         Miami Center                                                 Unliquidated
         201 S. Biscayne Boulevard, Suite 3000
                                                                      Disputed
         Miami, FL 33131-4341
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6028                      Is the claim subject to offset?     No       Yes

3.474
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JORDAN E BUBLICK                                             Contingent
         11645 Biscayne Boulevard Suite 208                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8325
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 713 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 721 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.475
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Jordan Pascale, P.L.                                         Contingent
         121 Alhambra Plaza                                           Unliquidated
         Suite 1500
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8302                      Is the claim subject to offset?     No       Yes

3.475
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JORDAN R MILLER                                              Contingent
         420 Northeast 195th Street                                   Unliquidated
         North Miami Beach, FL 33179-3332
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7863
                                                                   Is the claim subject to offset?     No       Yes

3.475
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JORDANA SARRELL PA                                           Contingent
         5301 N. Federal Highway                                      Unliquidated
         Suite 190
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6770                      Is the claim subject to offset?     No       Yes

3.475
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JORDEN BURT LLP                                              Contingent
         777 Brickell Avenue 5th Floor                                Unliquidated
         Miami, FL 33131-2822
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 162
                                                                   Is the claim subject to offset?     No       Yes

3.475
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Jorge & Acosta Law, P.L.L.C.                                 Contingent
         8603 S. Dixie Highway                                        Unliquidated
         Suite 210
                                                                      Disputed
         Pinecrest, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9666                      Is the claim subject to offset?     No       Yes

3.475
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE A FERNANDEZ                                            Contingent
         135 San Lorenzo Avenue                                       Unliquidated
         Suite 600
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8227                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 714 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 722 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.475
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE A GISPERT                                              Contingent
         4728 Orduna Drive                                            Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4392
                                                                   Is the claim subject to offset?     No       Yes

3.475
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE A GUTIERREZ                                            Contingent
         4649 Ponce De Leon Boulevard                                 Unliquidated
         Suite 301
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6515                      Is the claim subject to offset?     No       Yes

3.475
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JORGE A SIBILA                                               Contingent
         2246 Southwest 1st Street                                    Unliquidated
         Miami, FL 33135-1513
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8110
                                                                   Is the claim subject to offset?     No       Yes

3.475
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE ANTONIO LOPEZ                                          Contingent
         Montoya Lopez PL                                             Unliquidated
         4960 Southwest 72nd Avenue Suite 303
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5521                      Is the claim subject to offset?     No       Yes

3.476
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE DE LA OSA                                              Contingent
         255 Alhambra Circle Suite 550                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4203
                                                                   Is the claim subject to offset?     No       Yes

3.476
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE E HERNANDEZ                                            Contingent
         311 Granello Avenue                                          Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8033
                                                                   Is the claim subject to offset?     No       Yes

3.476
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE E OTERO                                                Contingent
         75 Valencia Suite 400                                        Unliquidated
         Coral Gables, FL 33134-6107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8404
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 715 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 723 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.476
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jorge E. Blanco, P.A.                                        Contingent
         8266 Mills Drive                                             Unliquidated
         #83-6781
                                                                      Disputed
         Miami, FL 33283
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8920                      Is the claim subject to offset?     No       Yes

3.476
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE GALVEZ-PRIEGO PA                                       Contingent
         2655 Le Jeune Road Suite 309                                 Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7204
                                                                   Is the claim subject to offset?     No       Yes

3.476
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE H RAMOS                                                Contingent
         150 Alhambra Circle Suite 1150                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4954
                                                                   Is the claim subject to offset?     No       Yes

3.476
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JORGE HEVIA JR                                               Contingent
         1408 Brickell Bay Drive Suite 804                            Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7274
                                                                   Is the claim subject to offset?     No       Yes

3.476
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JORGE I ARDURA                                               Contingent
         1359 Northwest 99th Street                                   Unliquidated
         Miami, FL 33147-1809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7105
                                                                   Is the claim subject to offset?     No       Yes

3.476
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE IG DEL VALLE ESQ                                       Contingent
         1560 Lenox Avenue Suite 207                                  Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6245
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 716 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 724 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.476
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE L CUETO                                                Contingent
         1990 Southwest 27th Avenue 3rd Floor                         Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3341
                                                                   Is the claim subject to offset?     No       Yes

3.477
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE L PINON PA                                             Contingent
         9260 Sunset Drive Suite 118                                  Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2641
                                                                   Is the claim subject to offset?     No       Yes

3.477
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jorge L. Piedra, P.A.                                        Contingent
         2950 Southwest 27th Avenue Suite 300                         Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7031
                                                                   Is the claim subject to offset?     No       Yes

3.477
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE LUIS LOPEZ                                             Contingent
         200 S Biscayne Boulevard Suite 3100                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4477
                                                                   Is the claim subject to offset?     No       Yes

3.477
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE LUIS LOPEZ-GARCIA PA                                   Contingent
         1450 Madruga Avenue                                          Unliquidated
         Suite 408
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8267                      Is the claim subject to offset?     No       Yes

3.477
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JORGE LUIS SOSA                                              Contingent
         4410 Alton Road                                              Unliquidated
         Miami Beach, FL 33140-2851
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7804
                                                                   Is the claim subject to offset?     No       Yes

3.477
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jorge M. Vigil, P.A.                                         Contingent
         265 Sevilla Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8107
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 717 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 725 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.477
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE MARTINEZ-ESTEVE PA                                     Contingent
         901 Ponce De Leon Boulevard Suite 304                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6951
                                                                   Is the claim subject to offset?     No       Yes

3.477
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JORGE SANCHEZ-GALARRAGA                                      Contingent
         Suite 301                                                    Unliquidated
         1313 Ponce De Leon Boulevard
                                                                      Disputed
         Coral Gables, FL 33134-3343
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8191                      Is the claim subject to offset?     No       Yes

3.477
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JORGE V DE ONA                                               Contingent
         395 Alhambra Circle                                          Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0178
                                                                   Is the claim subject to offset?     No       Yes

3.477
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOSE A BOLANOS PA                                            Contingent
         2121 Ponce Deleon Boulevard Suite 1035                       Unliquidated
         Coral Gables, FL 33134-5218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2324
                                                                   Is the claim subject to offset?     No       Yes

3.478
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE A CANTERO                                               Contingent
         Jose A. Cantero P.A.                                         Unliquidated
         12601 Avalon Road
                                                                      Disputed
         Winter Garden, FL 34787
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8626                      Is the claim subject to offset?     No       Yes

3.478
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE A DAPENA                                                Contingent
         Jose A. Dapena P.A.                                          Unliquidated
         4960 Southwest 72 Avenue Suite 205
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8836                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 718 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 726 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.478
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSE A NAVARRO                                               Contingent
         6401 SW 87th Avenue                                          Unliquidated
         Suite 100
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7149                      Is the claim subject to offset?     No       Yes

3.478
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE A SANTOS JR                                             Contingent
         44 W Flagler Street 18th Floor                               Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8372
                                                                   Is the claim subject to offset?     No       Yes

3.478
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE A VILLALOBOS PA                                         Contingent
         2350 Coral Way Suite 202                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3892
                                                                   Is the claim subject to offset?     No       Yes

3.478
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE A. VILLALOBOS, P.A.                                     Contingent
         1313 Coral Way                                               Unliquidated
         Miami, FL 33145-2966
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3892
                                                                   Is the claim subject to offset?     No       Yes

3.478
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE C GONZALEZ                                              Contingent
         304 S Westland Avenue                                        Unliquidated
         Tampa, FL 33606-1746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8973
                                                                   Is the claim subject to offset?     No       Yes

3.478
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE E BUSTILLO                                              Contingent
         12555 Orange Drive                                           Unliquidated
         Suite 230
                                                                      Disputed
         Davie, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5106                      Is the claim subject to offset?     No       Yes

3.478
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE E CASTRO                                                Contingent
         6915 Red Road Suite 219                                      Unliquidated
         Coral Gables, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1731
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 719 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 727 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.478
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE FRANCISCO                                               Contingent
         6100 Blue Lagoon Drive Suite 360                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5218
                                                                   Is the claim subject to offset?     No       Yes

3.479
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSE G. HARO                                                 Contingent
         3899 N.W. 7th St., Suite 216                                 Unliquidated
         Intercontinental Bank Building
                                                                      Disputed
         Miami, FL 33126-5571
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7493                      Is the claim subject to offset?     No       Yes

3.479
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE J LEONARDO                                              Contingent
         United Lenders                                               Unliquidated
         3915 Biscayne Boulevard 4th Floor
                                                                      Disputed
         Miami, FL 33137-3779
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4953                      Is the claim subject to offset?     No       Yes

3.479
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jose L. Torres, P.A.                                         Contingent
         13331 SW 100 Court                                           Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0956
                                                                   Is the claim subject to offset?     No       Yes

3.479
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOSE LORENZO PA                                              Contingent
         25 Seabreeze Avenue Suite 202                                Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2714
                                                                   Is the claim subject to offset?     No       Yes

3.479
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE LUIS BALOYRA PA                                         Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 501
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2124                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 720 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 728 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.479
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE M CERVERA                                               Contingent
         782 Northwest 42nd Avenue Suite 637                          Unliquidated
         Miami, FL 33126-5547
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3660
                                                                   Is the claim subject to offset?     No       Yes

3.479
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE M COMPANIONI                                            Contingent
         5905 Southwest 94th Place                                    Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7398
                                                                   Is the claim subject to offset?     No       Yes

3.479
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE M LUIS PA                                               Contingent
         P.O. Box 0590                                                Unliquidated
         Newberry, FL 32669-0590
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9487
                                                                   Is the claim subject to offset?     No       Yes

3.479
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE M PALLI                                                 Contingent
         1250 San Remo Avenue                                         Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9530
                                                                   Is the claim subject to offset?     No       Yes

3.479
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSE M SOSA                                                  Contingent
         P.O. Box 1225                                                Unliquidated
         West Palm Beach, FL 33402-1225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7696
                                                                   Is the claim subject to offset?     No       Yes

3.480
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSE R PUJOLS PA                                             Contingent
         2655 S. Le Jeune Road                                        Unliquidated
         Penthouse 1-C
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7809                      Is the claim subject to offset?     No       Yes

3.480
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jose R. Perez, P.A.                                          Contingent
         6100 Blue Lagoon Drive                                       Unliquidated
         Suite 305
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9342                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 721 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 729 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.480
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEFINA M PEREZ-COFINO                                      Contingent
         5040 Northwest 7th Street Suite 211                          Unliquidated
         Miami, FL 33126-3429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2754
                                                                   Is the claim subject to offset?     No       Yes

3.480
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.00
         JOSEPH A BOYD JR                                             Contingent
         P.O. Box 14267                                               Unliquidated
         Tallahassee, FL 32317-4267
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 543
                                                                   Is the claim subject to offset?     No       Yes

3.480
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH A GUGINO                                              Contingent
         P.O. Box 495775                                              Unliquidated
         Port Charlotte, FL 33949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0213
                                                                   Is the claim subject to offset?     No       Yes

3.480
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,484.86
         JOSEPH A HUBERT                                              Contingent
         2841 Northeast 37th Court                                    Unliquidated
         Ft Lauderdale, FL 33308-5823                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8024
                                                                   Is the claim subject to offset?     No       Yes

3.480
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH A MURPHY III                                          Contingent
         2897 Southeast Ocean Boulevard                               Unliquidated
         Stuart, FL 34996
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6583
                                                                   Is the claim subject to offset?     No       Yes

3.480
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH A PORCELLI PA                                         Contingent
         4644 Glissade Drive                                          Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4415
                                                                   Is the claim subject to offset?     No       Yes

3.480
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH A ROSIER                                              Contingent
         P.O. Box 950176                                              Unliquidated
         Lake Mary, FL 32795-0176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4443
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 722 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 730 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.480
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH A SOLLA III                                           Contingent
         P.O. Box 4                                                   Unliquidated
         Miami Springs, FL 33266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6812
                                                                   Is the claim subject to offset?     No       Yes

3.481
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH A VASSALLO                                            Contingent
         Congress Professional Center                                 Unliquidated
         1630 S Congress Avenue Suite 201
                                                                      Disputed
         Palm Springs, FL 33461
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6919                      Is the claim subject to offset?     No       Yes

3.481
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOSEPH A VECCHIO JR PA                                       Contingent
         4613 N University Drive Suite 588                            Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4796
                                                                   Is the claim subject to offset?     No       Yes

3.481
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH A. MCGOWAN                                            Contingent
         Route 3, Box 3392                                            Unliquidated
         Blue Ridge, GA 30513-9533
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4070
                                                                   Is the claim subject to offset?     No       Yes

3.481
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH ANTHONY GARCIA-RIVEIRO                                Contingent
         8001 Northwest 36th Street Suite 103                         Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7189
                                                                   Is the claim subject to offset?     No       Yes

3.481
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH B ALLEN III                                           Contingent
         4967 Sabal Lake Circle                                       Unliquidated
         Sarasota, FL 34238-4459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7372
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 723 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 731 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.481
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH B RYAN III                                            Contingent
         2701 S Bayshore Drive Suite 402                              Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5234
                                                                   Is the claim subject to offset?     No       Yes

3.481
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH BLONSKY                                               Contingent
         8232 Southwest 82nd Pl                                       Unliquidated
         Miami, FL 33143-6686
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8525
                                                                   Is the claim subject to offset?     No       Yes

3.481
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH C DARE                                                Contingent
         6909 Tordera Street                                          Unliquidated
         Coral Gables, FL 33146-3841
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4124
                                                                   Is the claim subject to offset?     No       Yes

3.481
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOSEPH C KEMPE PA                                            Contingent
         941 N. Highway State Road A1A                                Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8878
                                                                   Is the claim subject to offset?     No       Yes

3.481
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH C LAUSSEL                                             Contingent
         7645 Northeast 3rd Court                                     Unliquidated
         A M Laussel
                                                                      Disputed
         Miami, FL 33138-4917
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2502                      Is the claim subject to offset?     No       Yes

3.482
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH C NAZZARO                                             Contingent
         P.O. Box 600971                                              Unliquidated
         Miami, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8378
                                                                   Is the claim subject to offset?     No       Yes

3.482
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH C POMPONIO JR                                         Contingent
         205 Clover Circle                                            Unliquidated
         Lewisburg, WV 24901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6061
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 724 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 732 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.482
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH C SEGOR                                               Contingent
         12815 Southwest 112th Court                                  Unliquidated
         Miami, FL 33176-4431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2795
                                                                   Is the claim subject to offset?     No       Yes

3.482
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH C YACHANIN                                            Contingent
         261 Seabreeze Circle                                         Unliquidated
         Jupiter, FL 33477-6416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6719
                                                                   Is the claim subject to offset?     No       Yes

3.482
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH D GROSSO JR                                           Contingent
         Joseph D. Grosso Jr. P.A.                                    Unliquidated
         759 S Federal Highway Suite 212
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9751                      Is the claim subject to offset?     No       Yes

3.482
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Joseph D. Grosso, Jr. P.A.                                   Contingent
         The Nexus at The Common Stuart                               Unliquidated
         850 NW Federal Highway, Suite 236
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9751                      Is the claim subject to offset?     No       Yes

3.482
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Joseph D. Ort, P.L.                                          Contingent
         1305 E. Plant Street                                         Unliquidated
         Winter Garden, FL 34787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7711
                                                                   Is the claim subject to offset?     No       Yes

3.482
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH DE GANCE                                              Contingent
         3471 N Federal Highway Suite 300                             Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6661
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 725 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 733 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.482
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.74
         JOSEPH DIBARTOLOMEO                                          Contingent
         8400 Bird Road                                               Unliquidated
         Miami, FL 33155-3226
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4806
                                                                   Is the claim subject to offset?     No       Yes

3.482
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOSEPH E ALTSCHUL LLC                                        Contingent
         1911 NW 150th Avenue                                         Unliquidated
         Suite 203
                                                                      Disputed
         Ft Lauderdale, FL 33028
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3665                      Is the claim subject to offset?     No       Yes

3.483
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH E CARPENTER JR PA                                     Contingent
         111 SE 12th Street                                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9876
                                                                   Is the claim subject to offset?     No       Yes

3.483
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH E JOHNSON                                             Contingent
         70 Southeast Fourth Avenue                                   Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4915
                                                                   Is the claim subject to offset?     No       Yes

3.483
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH E SEAGLE PA                                           Contingent
         924 W. Colonial Drive                                        Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2774
                                                                   Is the claim subject to offset?     No       Yes

3.483
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH EDWARD GAYTON                                         Contingent
         116 Treasure Island Causeway                                 Unliquidated
         Treasure Island, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2599
                                                                   Is the claim subject to offset?     No       Yes

3.483
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH F GRIFFIN                                             Contingent
         6205 River Run Drive                                         Unliquidated
         Sebastian, FL 32958-4782
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9913
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 726 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 734 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.483
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,149.25
         JOSEPH F KEELEY                                              Contingent
         2424 N Federal Highway Suite 314                             Unliquidated
         Boca Raton, FL 33431-7781                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4962
                                                                   Is the claim subject to offset?     No       Yes

3.483
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOSEPH F KEELEY PA                                           Contingent
         2424 N Federal Highway Suite 314                             Unliquidated
         Boca Raton, FL 33431-7781
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4962
                                                                   Is the claim subject to offset?     No       Yes

3.483
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH F MCMULLEN                                            Contingent
         550 Bella Capri Drive                                        Unliquidated
         Merritt Islands, FL 32952-5312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2176
                                                                   Is the claim subject to offset?     No       Yes

3.483
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH F PIPPEN JR                                           Contingent
         Attn: Robert S. Walton                                       Unliquidated
         324 S Hyde Park Avenue Suite 360
                                                                      Disputed
         Tampa, FL 33606-4127
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2932                      Is the claim subject to offset?     No       Yes

3.483
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JOSEPH F PIPPEN JR                                           Contingent
         10225 Ulmerton Road Building 11                              Unliquidated
         Largo, FL 33771-2218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2932
                                                                   Is the claim subject to offset?     No       Yes

3.484
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $331.81
         JOSEPH F. TOMASSI                                            Contingent
         137 N.W. 10th Street                                         Unliquidated
         Homestead, FL 33030-4322                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3335
                                                                   Is the claim subject to offset?     No       Yes

3.484
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH G WEISS JR                                            Contingent
         3300 Ponce De Leon Boulevard                                 Unliquidated
         Coralgables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7269
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 727 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 735 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.484
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH G. DONAHEY, JR.                                       Contingent
         2454 McMullen Booth Road                                     Unliquidated
         Suite 501-A
                                                                      Disputed
         Clearwater, FL 34619-1334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4540                      Is the claim subject to offset?     No       Yes

3.484
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,660.03
         JOSEPH GARCIA                                                Contingent
         P.O. Box 1102                                                Unliquidated
         Tampa, FL 33601-1102                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2529
                                                                   Is the claim subject to offset?     No       Yes

3.484
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH H CHUMBLEY                                            Contingent
         2517 1st Avenue S                                            Unliquidated
         St Petersburg, FL 33712-1105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4567
                                                                   Is the claim subject to offset?     No       Yes

3.484
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOSEPH H GANGUZZA & ASSOC PA                                 Contingent
         1360 S Dixie Highway Suite 100                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2012
                                                                   Is the claim subject to offset?     No       Yes

3.484
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH H LANG                                                Contingent
         146 2nd Street North                                         Unliquidated
         Suite 102
                                                                      Disputed
         St Petersburg, FL 33701-3601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3624                      Is the claim subject to offset?     No       Yes

3.484
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH HAYNES DAVIS PA                                       Contingent
         150 N Orange Avenue Suite 415                                Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9692
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 728 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 736 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.484
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Joseph Hunchuck, P.A.                                        Contingent
         498 Palm Springs Drive                                       Unliquidated
         Suite 100
                                                                      Disputed
         Altamonte Springs, FL 32701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0319                      Is the claim subject to offset?     No       Yes

3.484
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH I GOLDSTEIN                                           Contingent
         201 S Orange Avenue Suite 1100                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6643
                                                                   Is the claim subject to offset?     No       Yes

3.485
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH J DEROSS                                              Contingent
         426 Avenue A                                                 Unliquidated
         Ft Pierce, FL 34950-4287
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7284
                                                                   Is the claim subject to offset?     No       Yes

3.485
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH J LEXA                                                Contingent
         C/O R Nathan Pate                                            Unliquidated
         10049 Winding Lake Road Suite 104
                                                                      Disputed
         Sunrise, FL 33351
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5055                      Is the claim subject to offset?     No       Yes

3.485
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH J NOLAN                                               Contingent
         111 South Palmer Street                                      Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3905
                                                                   Is the claim subject to offset?     No       Yes

3.485
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.43
         JOSEPH J OLDANI II                                           Contingent
         P.O. Box 1790                                                Unliquidated
         Hollywood, FL 33022-1790                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 270
                                                                   Is the claim subject to offset?     No       Yes

3.485
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         JOSEPH J SOROTA JR                                           Contingent
         Joseph J. Sorota Jr. P.A.                                    Unliquidated
         29750 US Highway 19 N., Suite 200
                                                                      Disputed
         Clearwater, FL 33761
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0843                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 729 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 737 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.485
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH J VAN ROOY PL                                         Contingent
         9471 Baymeadows Road Suite 103                               Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6117
                                                                   Is the claim subject to offset?     No       Yes

3.485
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH J WEISENFELD                                          Contingent
         2900 Southwest 28th Terrace 7th Floor                        Unliquidated
         Miami, FL 33133-3766
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5972
                                                                   Is the claim subject to offset?     No       Yes

3.485
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH KOHN                                                  Contingent
         6300 Northwest 5th Way Suite 100                             Unliquidated
         Ft Lauderdale, FL 33309-6283
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5362
                                                                   Is the claim subject to offset?     No       Yes

3.485
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH KUHARCIK                                              Contingent
         1211 The Plaza                                               Unliquidated
         Singer Island, FL 33404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5799
                                                                   Is the claim subject to offset?     No       Yes

3.485
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH L BERNSTEIN                                           Contingent
         707 Southeast 3rd Avenue 3rd Floor                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6045
                                                                   Is the claim subject to offset?     No       Yes

3.486
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH L SCHNEIDER                                           Contingent
         1720 Harrison Street                                         Unliquidated
         Suite 1805
                                                                      Disputed
         Hollywood, FL 33020-6826
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6199                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 730 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 738 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.486
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH L. DIAZ                                               Contingent
         2522 W. Kennedy                                              Unliquidated
         Tampa, FL 33609-3306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5939
                                                                   Is the claim subject to offset?     No       Yes

3.486
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JOSEPH M BALOCCO PA                                          Contingent
         4332 E. Tradewinds Avenue                                    Unliquidated
         Lauderdale by the Sea, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5098
                                                                   Is the claim subject to offset?     No       Yes

3.486
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH M BARISIC                                             Contingent
         1521 Alton Road Suite 111                                    Unliquidated
         Miami Beach, FL 33139-3301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5658
                                                                   Is the claim subject to offset?     No       Yes

3.486
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JOSEPH M CONSIDINE                                           Contingent
         NORTHBRIDGE CTR, STE 702                                     Unliquidated
         515 N FLAGLER DR
                                                                      Disputed
         WEST PALM BEACH, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8132                      Is the claim subject to offset?     No       Yes

3.486
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH M DOBKIN                                              Contingent
         9990 Southwest 77th Avenue Ph 3                              Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5694
                                                                   Is the claim subject to offset?     No       Yes

3.486
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH M FITZGERALD JR                                       Contingent
         Fitzgerald & Associates                                      Unliquidated
         100 Court Square Suite 5
                                                                      Disputed
         Charlottesville, VA 22902-5154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4628                      Is the claim subject to offset?     No       Yes

3.486
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH M GROHMAN                                             Contingent
         10101 Northwest 5th Street                                   Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 436
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 731 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 739 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.486
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH M HENDRY II                                           Contingent
         P.O. Box 418                                                 Unliquidated
         Clewiston, FL 33440
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6949
                                                                   Is the claim subject to offset?     No       Yes

3.486
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH M MORE                                                Contingent
         P.O. Box 470833                                              Unliquidated
         Kissimmee, FL 34747-0883
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 339
                                                                   Is the claim subject to offset?     No       Yes

3.487
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOSEPH M PANIELLO                                            Contingent
         P.O. Box 2347                                                Unliquidated
         Tampa, FL 33601-2347
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7976
                                                                   Is the claim subject to offset?     No       Yes

3.487
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH M RYAN                                                Contingent
         531 E Commercial Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33334-2434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6399
                                                                   Is the claim subject to offset?     No       Yes

3.487
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH M SCHEYD JR                                           Contingent
         1221 Airport Road Suite 209                                  Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3760
                                                                   Is the claim subject to offset?     No       Yes

3.487
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH M SCIANDRA                                            Contingent
         311 Southeast 10th Court                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7231
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 732 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 740 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.487
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH M WEHBY                                               Contingent
         8370 W. Flagler Street                                       Unliquidated
         Suite 250
                                                                      Disputed
         Miami, FL 33144-2038
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5873                      Is the claim subject to offset?     No       Yes

3.487
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JOSEPH MANNINO                                               Contingent
         2000 Glades Road                                             Unliquidated
         Suite 110
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7266                      Is the claim subject to offset?     No       Yes

3.487
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH MORRISON                                              Contingent
         4416 Florida National Drive                                  Unliquidated
         Lakeland, FL 33813-1515
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3758
                                                                   Is the claim subject to offset?     No       Yes

3.487
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH N PERLMAN                                             Contingent
         1101 Belcher Road S Suite B                                  Unliquidated
         Largo, FL 34641-3356
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7773
                                                                   Is the claim subject to offset?     No       Yes

3.487
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH P DUDLEY                                              Contingent
         403 Downing Street                                           Unliquidated
         New Smyrna Beach, FL 32168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5010
                                                                   Is the claim subject to offset?     No       Yes

3.487
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH P JAMESON                                             Contingent
         1415 Panther Lane Suite 329                                  Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4016
                                                                   Is the claim subject to offset?     No       Yes

3.488
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH P SINDACO                                             Contingent
         633 Southeast 3rd Avenue Suite 4-R                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9064
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 733 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 741 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.488
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $393.81
         JOSEPH P. MCNULTY                                            Contingent
         644 Island Way, Suite 1220                                   Unliquidated
         Clearwater, FL 34630-1906                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6970
                                                                   Is the claim subject to offset?     No       Yes

3.488
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH PADAWER                                               Contingent
         P.O. Box 520261                                              Unliquidated
         Longwood, FL 32752-0261
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2121
                                                                   Is the claim subject to offset?     No       Yes

3.488
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH R ARBUZ                                               Contingent
         Joseph R. Arbuz P.A.                                         Unliquidated
         P.O. Box 398843
                                                                      Disputed
         Miami Beach, FL 33239-8843
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8347                      Is the claim subject to offset?     No       Yes

3.488
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH R CASACCI PA                                          Contingent
         111 N. Pine Island Road                                      Unliquidated
         # 104
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7064                      Is the claim subject to offset?     No       Yes

3.488
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSEPH R CIANFRONE                                           Contingent
         1964 Bayshore Boulevard                                      Unliquidated
         Suite A
                                                                      Disputed
         Dunedin, FL 34698
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6286                      Is the claim subject to offset?     No       Yes

3.488
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH R COLLETTI                                            Contingent
         4770 Biscayne Boulevard                                      Unliquidated
         Suite 1400
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8082                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 734 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 742 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.488
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9.00
         JOSEPH R. MIELE                                              Contingent
         2200 Coffee Pot Blvd, N.E.                                   Unliquidated
         St. Petersburg, FL 33704-4652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2915
                                                                   Is the claim subject to offset?     No       Yes

3.488
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH RIZZO                                                 Contingent
         201 N. University Drive                                      Unliquidated
         Suite 103
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0442                      Is the claim subject to offset?     No       Yes

3.488
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JOSEPH ROBACK                                                Contingent
         3908 26th Street W                                           Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7950
                                                                   Is the claim subject to offset?     No       Yes

3.489
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH S GELLER                                              Contingent
         Trade Center S Suite 700                                     Unliquidated
         100 W Cypress Creek Road
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5583                      Is the claim subject to offset?     No       Yes

3.489
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JOSEPH S. PAGLINO                                            Contingent
         88 N. E. 79th Street                                         Unliquidated
         Miami, FL 33138-4353
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4577
                                                                   Is the claim subject to offset?     No       Yes

3.489
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Joseph S. Shook                                              Contingent
         75 Valencia Avenue 4th Floor                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8795
                                                                   Is the claim subject to offset?     No       Yes

3.489
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH TORRES                                                Contingent
         2270 Alafaya Trail                                           Unliquidated
         Oviedo, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2426
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 735 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 743 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.489
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH TRUNKETT                                              Contingent
         The Trunkett Law Firm L.L.C.                                 Unliquidated
         2271 McGregor Boulevard, Suite 300
                                                                      Disputed
         Ft Myers, FL 33901-3314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1540                      Is the claim subject to offset?     No       Yes

3.489
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH URSO                                                  Contingent
         Suite 100                                                    Unliquidated
         2385 Executive Center Drive
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3737                      Is the claim subject to offset?     No       Yes

3.489
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH W FANELLI                                             Contingent
         1111 Third Avenue W Suite 150                                Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4285
                                                                   Is the claim subject to offset?     No       Yes

3.489
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $319.73
         JOSEPH W GROSS                                               Contingent
         1400 Marine Parkway T2-103                                   Unliquidated
         New Port Richey, FL 33552                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2470
                                                                   Is the claim subject to offset?     No       Yes

3.489
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSEPH W KNISKERN                                            Contingent
         1020 Stradshire Drive                                        Unliquidated
         Raleigh, NC 27614-8364
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1055
                                                                   Is the claim subject to offset?     No       Yes

3.489
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JOSH BENNETT                                                 Contingent
         440 N Andrews Avenue                                         Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0395
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 736 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 744 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.490
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         JOSHUA A SIRKIN                                              Contingent
         4473 Northwest 93rd Doral Court                              Unliquidated
         Miami, FL 33178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9917
                                                                   Is the claim subject to offset?     No       Yes

3.490
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Joshua A. Escoto, P.L.L.C.                                   Contingent
         3801 PGA Boulevard Suite 600                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9487
                                                                   Is the claim subject to offset?     No       Yes

3.490
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSHUA D BASH                                                Contingent
         Suite 506 Aventura Corporate Center                          Unliquidated
         20801 Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33180-1400
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6829                      Is the claim subject to offset?     No       Yes

3.490
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JOSHUA D MANASTER                                            Contingent
         651 W. 47th Street                                           Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7502
                                                                   Is the claim subject to offset?     No       Yes

3.490
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSHUA L DUBIN PA                                            Contingent
         17701 Biscayne Boulevard                                     Unliquidated
         Suite 201
                                                                      Disputed
         Aventura, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6581                      Is the claim subject to offset?     No       Yes

3.490
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOSIAH E HUTTON                                              Contingent
         3937 Tampa Road Suite 2                                      Unliquidated
         Oldsmar, FL 34677-3115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9737
                                                                   Is the claim subject to offset?     No       Yes

3.490
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOURNEY L BEARD                                              Contingent
         P.O. Box 2201                                                Unliquidated
         Jupiter, FL 33468-2201
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4265
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 737 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 745 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.490
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOYCE B ANDERSON                                             Contingent
         9370 Sunset Drive                                            Unliquidated
         Suite A-130
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8118                      Is the claim subject to offset?     No       Yes

3.490
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JOYCE M RAIDLE                                               Contingent
         8900 Grand Oak Circle                                        Unliquidated
         Tampa, FL 33637
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6401
                                                                   Is the claim subject to offset?     No       Yes

3.490
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1.30
         JOYCE M SIEMON                                               Contingent
         1200 N Federal Highway Suite 200                             Unliquidated
         Boca Raton, FL 33432                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8178
                                                                   Is the claim subject to offset?     No       Yes

3.491
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jozwiak Law, P.L.L.C.                                        Contingent
         3683 Justin Drive                                            Unliquidated
         Palm Harbor, FL 34685
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0543
                                                                   Is the claim subject to offset?     No       Yes

3.491
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN A SANCHEZ                                               Contingent
         10251 Sunset Drive                                           Unliquidated
         Suite 106
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0196                      Is the claim subject to offset?     No       Yes

3.491
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Juan Carlos Gomez                                            Contingent
         The Gomez Firm                                               Unliquidated
         1479 Gene Street
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8428                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 738 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 746 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.491
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN E FIGUERAS PA                                           Contingent
         7700 N. Kendall Drive                                        Unliquidated
         Suite 702
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6279                      Is the claim subject to offset?     No       Yes

3.491
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN E VALDES                                                Contingent
         4160 W 16th Avenue Suite 402                                 Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7769
                                                                   Is the claim subject to offset?     No       Yes

3.491
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN F ALBAN PA                                              Contingent
         3625 Northwest 82nd Avenue Suite 401                         Unliquidated
         Doral, FL 33166-7602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1629
                                                                   Is the claim subject to offset?     No       Yes

3.491
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN F GONZALEZ                                              Contingent
         2655 Lejeune Road Suite 324                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5812
                                                                   Is the claim subject to offset?     No       Yes

3.491
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN J PEREZ & ASSOCIATES PA                                 Contingent
         9710 Stirling Road                                           Unliquidated
         Unit 104-105
                                                                      Disputed
         Cooper City, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3180                      Is the claim subject to offset?     No       Yes

3.491
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUAN J PILES                                                 Contingent
         Juan J. Piles Esquire                                        Unliquidated
         2412 Northwest 87th Place
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4378                      Is the claim subject to offset?     No       Yes

3.491
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Juan Lucas Alvarez, P.A.                                     Contingent
         717 Ponce De Leon Boulevard Suite 332                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8803
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 739 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 747 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.492
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         JUDD ULRICH SCARLETT WICKMAN                                 Contingent
         713 S. Orange Avenue                                         Unliquidated
         Suite 201
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6802                      Is the claim subject to offset?     No       Yes

3.492
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDIT KARPATI PA                                             Contingent
         P.O. Box 100                                                 Unliquidated
         Silver Springs, FL 34489
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0590
                                                                   Is the claim subject to offset?     No       Yes

3.492
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JUDITH A MADEK                                               Contingent
         P.O. Box 276245                                              Unliquidated
         Boca Raton, FL 33427-6245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7237
                                                                   Is the claim subject to offset?     No       Yes

3.492
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDITH B GREENE                                              Contingent
         2333 Brickell Avenue Suite A1                                Unliquidated
         Miami, FL 33129-2497
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5346
                                                                   Is the claim subject to offset?     No       Yes

3.492
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDITH B. MIGDAL-MACK                                        Contingent
         75 N. E. 6th Avenue, Suite 217                               Unliquidated
         Delray Beach, FL 33483-5453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3817
                                                                   Is the claim subject to offset?     No       Yes

3.492
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JUDITH E ATKIN                                               Contingent
         109 W New Haven Avenue                                       Unliquidated
         Melbourne, FL 32901-4302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8025
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 740 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 748 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.492
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDITH E MCCAFFREY                                           Contingent
         P.O. Box 2081                                                Unliquidated
         Naples, FL 33939-2081
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8327
                                                                   Is the claim subject to offset?     No       Yes

3.492
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDITH GREENE                                                Contingent
         562 First Avenue North                                       Unliquidated
         St Petersburg, FL 33701-3702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8744
                                                                   Is the claim subject to offset?     No       Yes

3.492
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDITH J LOFFREDO                                            Contingent
         9999 Northeast 2nd Avenue Suite 216                          Unliquidated
         Miami Shores, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9069
                                                                   Is the claim subject to offset?     No       Yes

3.492
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDITH KENNEY & ASSOCIATES PA                                Contingent
         1172 S. Dixie Highway                                        Unliquidated
         Suite 520
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9842                      Is the claim subject to offset?     No       Yes

3.493
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDSON D KING                                                Contingent
         125 S Palmetto                                               Unliquidated
         Daytona Beach, FL 32114-9195
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9199
                                                                   Is the claim subject to offset?     No       Yes

3.493
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JUDSON I WOODS JR                                            Contingent
         116 N Ridgewood Avenue                                       Unliquidated
         Edgewater, FL 32132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4803
                                                                   Is the claim subject to offset?     No       Yes

3.493
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDY A ROMANO                                                Contingent
         6719 Winkler Road Suite 110                                  Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2311
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 741 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 749 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.493
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDY BARRINGER BONEVAC                                       Contingent
         2780 E. Oakland Park Boulevard                               Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8281
                                                                   Is the claim subject to offset?     No       Yes

3.493
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUDY TAYLOR RUSH                                             Contingent
         1099 Willow Wood Drive                                       Unliquidated
         Port Orange, FL 32119-7459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3457
                                                                   Is the claim subject to offset?     No       Yes

3.493
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JULE F. PAULK                                                Contingent
         700 N.E. 90th Street                                         Unliquidated
         Miami, FL 33138-3206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5103
                                                                   Is the claim subject to offset?     No       Yes

3.493
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JULES PEARLSTINE                                             Contingent
         3200 N Military Trail Suite 200                              Unliquidated
         Boca Raton, FL 33431-6311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6810
                                                                   Is the claim subject to offset?     No       Yes

3.493
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JULES S COHEN                                                Contingent
         P.O. Box 231                                                 Unliquidated
         Orlando, FL 32802-0231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes

3.493
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JULIA KEFALINOS PA                                           Contingent
         2250 Southwest 3rd Avenue Suite 150                          Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3937
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 742 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 750 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.493
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JULIA M. PAUL                                                Contingent
         P.O. Box 301                                                 Unliquidated
         Labelle, FL 33935-0301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4044
                                                                   Is the claim subject to offset?     No       Yes

3.494
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JULIAN K DOMINICK JR                                         Contingent
         421 N Ferncreek Avenue                                       Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6713
                                                                   Is the claim subject to offset?     No       Yes

3.494
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JULIAN L WILLIAMS                                            Contingent
         1701 E Atlantic Avenue Suite 4                               Unliquidated
         Pompano Beach, FL 33060-6767
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 878
                                                                   Is the claim subject to offset?     No       Yes

3.494
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Juliana Leite, P.A.                                          Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 310
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9692                      Is the claim subject to offset?     No       Yes

3.494
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JULIE EASON SMITH                                            Contingent
         2060 Winter Springs Boulevard                                Unliquidated
         Oviedo, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2202
                                                                   Is the claim subject to offset?     No       Yes

3.494
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         JULIE G NIGRO                                                Contingent
         P.O. Box 9645                                                Unliquidated
         Coral Springs, FL 33075
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7784
                                                                   Is the claim subject to offset?     No       Yes

3.494
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIE OSTERHOUT                                              Contingent
         10175-4 Six Mile Cypress Parkway                             Unliquidated
         Ft Myers, FL 33912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1545
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 743 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 751 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.494
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Julie Renee Mandel                                           Contingent
         1900 Glades Road Suite 260                                   Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8223
                                                                   Is the claim subject to offset?     No       Yes

3.494
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIO A NOLLA-AMADO                                          Contingent
         9825 Southwest 18th Street Suite 100                         Unliquidated
         Boca Raton, FL 33428
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5515
                                                                   Is the claim subject to offset?     No       Yes

3.494
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIO A RODRIGUEZ                                            Contingent
         6177 Miami Lakes Drive                                       Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0625
                                                                   Is the claim subject to offset?     No       Yes

3.494
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIO C ALONSO PA                                            Contingent
         300 Sevilla Avenue                                           Unliquidated
         Suite 310
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4722                      Is the claim subject to offset?     No       Yes

3.495
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIO C MARRERO                                              Contingent
         2903 Salzedo Street                                          Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5158
                                                                   Is the claim subject to offset?     No       Yes

3.495
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Julio C. Barbosa, P.A.                                       Contingent
         DBA Barbosa Legal                                            Unliquidated
         407 Lincoln Road
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0156                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 744 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 752 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.495
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         JULIO E CASO                                                 Contingent
         4539 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7360
                                                                   Is the claim subject to offset?     No       Yes

3.495
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIO GUTIERREZ PA                                           Contingent
         1001 S Bayshore Drive Suite 2704                             Unliquidated
         Miami, FL 33131-4940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4634
                                                                   Is the claim subject to offset?     No       Yes

3.495
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JULIO PASTORIZA                                              Contingent
         7101 Southwest 99th Avenue Suite 109b                        Unliquidated
         Miami, FL 33173-4661
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6463
                                                                   Is the claim subject to offset?     No       Yes

3.495
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JULIO V ARANGO                                               Contingent
         814 Ponce Deleon Boulevard                                   Unliquidated
         Coral Gables, FL 33134-3040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3795
                                                                   Is the claim subject to offset?     No       Yes

3.495
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         JULISSE JIMENEZ PA                                           Contingent
         601 Brickell Key Drive Suite 702                             Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6724
                                                                   Is the claim subject to offset?     No       Yes

3.495
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         JULIUS J ZSCHAU                                              Contingent
         2701 N. Rocky Point Drive                                    Unliquidated
         Suite 900
                                                                      Disputed
         Tampa, FL 33607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5231                      Is the claim subject to offset?     No       Yes

3.495
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JULIUS L WILLIAMS                                            Contingent
         P.O. Box 540085                                              Unliquidated
         Orlando, FL 32854-0085
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6387
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 745 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 753 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.495
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Jurado Law Firm, P.A.                                        Contingent
         12955 Biscayne Boulevard Suite 328                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8104
                                                                   Is the claim subject to offset?     No       Yes

3.496
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUSSI K KIVISTO                                              Contingent
         1010 10th Avenue N Suite 2                                   Unliquidated
         Lake Worth, FL 33460-2107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3587
                                                                   Is the claim subject to offset?     No       Yes

3.496
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUSTIN B SCHMIDT                                             Contingent
         P O Box 1900                                                 Unliquidated
         Ft Lauderdale, FL 33302-3275
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6841
                                                                   Is the claim subject to offset?     No       Yes

3.496
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         JUSTIN C JOHNSON                                             Contingent
         4020 Park Street N Suite 302                                 Unliquidated
         St Petersburg, FL 33709
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 282
                                                                   Is the claim subject to offset?     No       Yes

3.496
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         JUSTIN G JOSEPH                                              Contingent
         1266 S Pinellas Avenue                                       Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2571
                                                                   Is the claim subject to offset?     No       Yes

3.496
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $492.79
         JUSTIN J LIPMAN                                              Contingent
         506 Cary Memorial Drive                                      Unliquidated
         Pensacola, FL 32505-3328                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2984
                                                                   Is the claim subject to offset?     No       Yes

3.496
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         K & L GATES LLP                                              Contingent
         Southeast Financial Center                                   Unliquidated
         200 S. Biscayne Boulevard, Suite 3900
                                                                      Disputed
         Miami, FL 33131-2399
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5735                      Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 746 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 754 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.496
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         K B SHARP PA                                                 Contingent
         550 NE 124th Street                                          Unliquidated
         Suite 106
                                                                      Disputed
         North Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1870                      Is the claim subject to offset?     No       Yes

3.496
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         K DRAKE OZMENT ESQ                                           Contingent
         2001 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 500
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2129                      Is the claim subject to offset?     No       Yes

3.496
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ka'Imi Lani Jones, P.A.                                      Contingent
         110 Cypress Way E Suite F6                                   Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9571
                                                                   Is the claim subject to offset?     No       Yes

3.496
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KABLER MORENO CASON LLP                                      Contingent
         240 NW 76 Drive                                              Unliquidated
         Suite D
                                                                      Disputed
         Gainesville, FL 32607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8589                      Is the claim subject to offset?     No       Yes

3.497
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAHAN SHIR & ASSOCIATES PL                                   Contingent
         1800 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0603
                                                                   Is the claim subject to offset?     No       Yes

3.497
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KAHN & KAHN                                                  Contingent
         482 N Harbor City Boulevard                                  Unliquidated
         Melbourne, FL 32935-6858
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 516
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 747 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 755 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.497
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAHN CHENKIN & RESNIK PL                                     Contingent
         12 SE 7th Street                                             Unliquidated
         Suite 602
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9822                      Is the claim subject to offset?     No       Yes

3.497
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kahn Law, P.A.                                               Contingent
         8211 W Broward Boulevard                                     Unliquidated
         Suite 200
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7794                      Is the claim subject to offset?     No       Yes

3.497
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,348.36
         KAKLIS VENABLE & WITT                                        Contingent
         1400 4th Avenue W                                            Unliquidated
         Bradenton, FL 34205-7508                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4175
                                                                   Is the claim subject to offset?     No       Yes

3.497
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KAKLIS VENABLE WITT PA                                       Contingent
         2400 Manatee Avenue W.                                       Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2281
                                                                   Is the claim subject to offset?     No       Yes

3.497
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KALEEL & KALEEL PA                                           Contingent
         P.O. Box 14333                                               Unliquidated
         St Petersburg, FL 33733-4333
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 400
                                                                   Is the claim subject to offset?     No       Yes

3.497
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KALINA PAGANO                                                Contingent
         792 Aspen Road                                               Unliquidated
         Golden, CO 80401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8713
                                                                   Is the claim subject to offset?     No       Yes

3.497
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         KALIS & KLEIMAN PA                                           Contingent
         7320 Griffin Road                                            Unliquidated
         Suite 109
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1056                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 748 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 756 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.497
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KALOGIANIS & ASSOCIATES PA                                   Contingent
         8520 Government Drive Suite 1                                Unliquidated
         New Port Richey, FL 34654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9112
                                                                   Is the claim subject to offset?     No       Yes

3.498
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KALOGIANIS & ASSOCIATES PA                                   Contingent
         114 S Pinellas Avenue                                        Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9112
                                                                   Is the claim subject to offset?     No       Yes

3.498
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KAMEN & ORLOVSKY PA                                          Contingent
         Suite 402 S                                                  Unliquidated
         1601 Belvedere Road
                                                                      Disputed
         W Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4334                      Is the claim subject to offset?     No       Yes

3.498
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KANE AND KOLTUN                                              Contingent
         150 Spartan Drive                                            Unliquidated
         Suite 100
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7550                      Is the claim subject to offset?     No       Yes

3.498
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KANE KESSLER & RUBENSTEIN                                    Contingent
         Laurie S. Silvers                                            Unliquidated
         2255 Glades Road Suite 237w
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6952                      Is the claim subject to offset?     No       Yes

3.498
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,618.69
         KANETSKY MOORE & DEBOER PA                                   Contingent
         P.O. Box 1767                                                Unliquidated
         Venice, FL 34284-1767                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5081
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 749 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 757 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.498
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KANNENSOHN & RITCHIE PA                                      Contingent
         4501 Tamiami Trail N Suite 400                               Unliquidated
         Naples, FL 33940-3060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?     No       Yes

3.498
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $237.90
         KAPLAN & HENSCHEL                                            Contingent
         Ben Henschel C/O 1 Nlc Financ                                Unliquidated
         700 W Hillsboro Boulevard Building 1
                                                                      Disputed
         Deerfield Beach, FL 33441-1612
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7644                      Is the claim subject to offset?     No       Yes

3.498
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KAPLAN AND JAFFE PA                                          Contingent
         Douglas C. Kaplan                                            Unliquidated
         1915 Hollywood Boulevard, Suite 200
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4334                      Is the claim subject to offset?     No       Yes

3.498
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAPLAN LAW FIRM PL                                           Contingent
         130 REMINGTON DR STE 1000                                    Unliquidated
         OVIEDO, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2298
                                                                   Is the claim subject to offset?     No       Yes

3.498
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kaplan Young & Moll Parron, P.L.L.C.                         Contingent
         600 Brickell Avenue                                          Unliquidated
         Suite 1715
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8282                      Is the claim subject to offset?     No       Yes

3.499
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN B MITCHELL                                             Contingent
         11651 Decatur Street M-202                                   Unliquidated
         Westminister, CO 80234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2386
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 750 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 758 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.499
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN D RUNDQUIST                                            Contingent
         8950 SW 74 CT                                                Unliquidated
         Suite 2203
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3969                      Is the claim subject to offset?     No       Yes

3.499
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN L VARELA PA                                            Contingent
         6303 Blue Lagoon Drive Suite 400                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8300
                                                                   Is the claim subject to offset?     No       Yes

3.499
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Karen Munzer, P.L.L.C.                                       Contingent
         1041 Ives Dairy Road Suite 236                               Unliquidated
         Miami, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7902
                                                                   Is the claim subject to offset?     No       Yes

3.499
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN O GAFFNEY                                              Contingent
         221 W Main Street Suite D                                    Unliquidated
         Inverness, FL 34450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4560
                                                                   Is the claim subject to offset?     No       Yes

3.499
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN R SPELL                                                Contingent
         4981 Southwest 122nd Terrace                                 Unliquidated
         Cooper City, FL 33330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4865
                                                                   Is the claim subject to offset?     No       Yes

3.499
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN S HARKNESS                                             Contingent
         100 Southeast 2nd Street                                     Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7656
                                                                   Is the claim subject to offset?     No       Yes

3.499
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KAREN S KEATON PA                                            Contingent
         P.O. Box 1139                                                Unliquidated
         St Petersburg, FL 33731-1139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0269
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 751 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 759 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.499
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN S. DAY                                                 Contingent
         P.O. Box 981                                                 Unliquidated
         Orlando, FL 32802-0981
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8495
                                                                   Is the claim subject to offset?     No       Yes

3.499
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAREN V D H FISCHER                                          Contingent
         11620 Dunes Road                                             Unliquidated
         Boynton Beach, FL 33436
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4438
                                                                   Is the claim subject to offset?     No       Yes

3.500
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Karim Batista, P.A.                                          Contingent
         250 Catalonia Avenue Suite 305                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9303
                                                                   Is the claim subject to offset?     No       Yes

3.500
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KARL E HALL JR                                               Contingent
         10830 Southwest 113th Pl Suite A                             Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7561
                                                                   Is the claim subject to offset?     No       Yes

3.500
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KARL J SCHUMER                                               Contingent
         18851 Northeast 29th Avenue Suite 700                        Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5656
                                                                   Is the claim subject to offset?     No       Yes

3.500
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KARL M SCHMITZ III                                           Contingent
         12000 N Dale Mabry Highway Suite 110                         Unliquidated
         Tampa, FL 33618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2324
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 752 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 760 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.500
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KARL REED BECKMEYER                                          Contingent
         P.O. Box 2808                                                Unliquidated
         Key Largo, FL 33037-7808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4817
                                                                   Is the claim subject to offset?     No       Yes

3.500
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KARL W ADLER                                                 Contingent
         P.O. Box 24787                                               Unliquidated
         Ft Lauderdale, FL 33307-4787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2702
                                                                   Is the claim subject to offset?     No       Yes

3.500
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KARL W BOYLES JR                                             Contingent
         P.O. Box 13464                                               Unliquidated
         Pensacola, FL 32591-3464
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7738
                                                                   Is the claim subject to offset?     No       Yes

3.500
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KARLA ANN CROSBY                                             Contingent
         19931 Holiday Road                                           Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9126
                                                                   Is the claim subject to offset?     No       Yes

3.500
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KARLEEN A GRANT                                              Contingent
         1033 Flagler Avenue                                          Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4690
                                                                   Is the claim subject to offset?     No       Yes

3.500
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KARYL AGUDO ARGAMASILLA                                      Contingent
         Kluger Perez Et Al                                           Unliquidated
         201 S Biscyane Boulevard 17th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7987                      Is the claim subject to offset?     No       Yes

3.501
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Karyna Gonzalez-Rabagh, P.A.                                 Contingent
         2999 NE 191st Street                                         Unliquidated
         Suite 403
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8088                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 753 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 761 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.501
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         KASS SHULER SOLOMON SPECTOR                                  Contingent
         P.O. Box 800                                                 Unliquidated
         Tampa, FL 33601-0800
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8561
                                                                   Is the claim subject to offset?     No       Yes

3.501
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATE G BURNETT PA                                            Contingent
         4500 Botanical Pl Center Suite 107                           Unliquidated
         Naples, FL 34112-2421
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1799
                                                                   Is the claim subject to offset?     No       Yes

3.501
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHALEEN INMAN                                              Contingent
         200 Southwest Allapattae Road Lot 6b                         Unliquidated
         Indiantown, FL 34956-4317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0096
                                                                   Is the claim subject to offset?     No       Yes

3.501
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KATHARINE S BARRY                                            Contingent
         2665 Northeast 26th Terrace                                  Unliquidated
         Ft Lauderdale, FL 33306-1705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 360
                                                                   Is the claim subject to offset?     No       Yes

3.501
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHERINE A BARSKI                                           Contingent
         10933 Southeast Harken Terrace                               Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5440
                                                                   Is the claim subject to offset?     No       Yes

3.501
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHERINE A CHRISTY                                          Contingent
         300 International Parkway Suite 130                          Unliquidated
         Heathrow, FL 32746-5018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5832
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 754 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 762 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.501
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHERINE A NESBITT                                          Contingent
         17201 Magnolia Island Boulevard                              Unliquidated
         Clermont, FL 34711-8002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9837
                                                                   Is the claim subject to offset?     No       Yes

3.501
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KATHERINE J. LANGLEY                                         Contingent
         P.O. Box 2427                                                Unliquidated
         Ft. Lauderdale, FL 33303-2427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7397
                                                                   Is the claim subject to offset?     No       Yes

3.501
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHERINE M KILCULLEN                                        Contingent
         2901 PGA Boulevard Suite 120                                 Unliquidated
         Palm Beach Gardens, FL 33410-2930
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3854
                                                                   Is the claim subject to offset?     No       Yes

3.502
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHERINE M KILCULLEN LLC                                    Contingent
         Pebworth Professional Plaza                                  Unliquidated
         125 W Indiantown Road Suite 204
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3854                      Is the claim subject to offset?     No       Yes

3.502
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHERINE MILLS BURNS                                        Contingent
         P.O. Box 627                                                 Unliquidated
         Mcintosh, FL 32664-0627
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5037
                                                                   Is the claim subject to offset?     No       Yes

3.502
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHLEEN A FLYNN                                             Contingent
         6080 SW 40TH ST #6                                           Unliquidated
         MIAMI, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2762
                                                                   Is the claim subject to offset?     No       Yes

3.502
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHLEEN A WINTERS                                           Contingent
         2655 Lejeune Road 5th Floor                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2323
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 755 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 763 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.502
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHLEEN ANN PAPARELLA                                       Contingent
         P.O. Box 1821                                                Unliquidated
         Sylva, NC 28779
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4628
                                                                   Is the claim subject to offset?     No       Yes

3.502
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KATHLEEN B JOHNSON                                           Contingent
         931 Palm Trail, #3                                           Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6422
                                                                   Is the claim subject to offset?     No       Yes

3.502
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHLEEN C FOX                                               Contingent
         P.O. Box 1930                                                Unliquidated
         Gainesville, FL 32616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8630
                                                                   Is the claim subject to offset?     No       Yes

3.502
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KATHLEEN C PASSIDOMO                                         Contingent
         The Chamber Building                                         Unliquidated
         2390 Tamiami Trail N, Suite 204
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6798                      Is the claim subject to offset?     No       Yes

3.502
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KATHLEEN H WATKINS                                           Contingent
         P.O. Box 901729                                              Unliquidated
         Homestead, FL 33090-1729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4590
                                                                   Is the claim subject to offset?     No       Yes

3.502
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHLEEN M WEBER RASKIN                                      Contingent
         10689 N Kendall Drive Suite 217                              Unliquidated
         Miami, FL 33176-1594
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7060
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 756 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 764 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.503
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHLEEN REYNOLDS                                            Contingent
         305 Main Street                                              Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5083
                                                                   Is the claim subject to offset?     No       Yes

3.503
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $154.82
         KATHRYN GODFREY BANISH                                       Contingent
         180 N. Lasalle Street                                        Unliquidated
         Chicago, IL 60601-3100                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6892
                                                                   Is the claim subject to offset?     No       Yes

3.503
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHRYN MARIE WELSH PA                                       Contingent
         1601 East Bay Drive Suite 2                                  Unliquidated
         Largo, FL 33771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7975
                                                                   Is the claim subject to offset?     No       Yes

3.503
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATHY CREMER                                                 Contingent
         880 N.E. 155th Terrace                                       Unliquidated
         North Miami Beach, FL 33162-5243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4064
                                                                   Is the claim subject to offset?     No       Yes

3.503
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KATZ & ASSOCIATES LAW FIRM PL                                Contingent
         625 N. Flagler Drive                                         Unliquidated
         Suite 605
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6550                      Is the claim subject to offset?     No       Yes

3.503
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATZ & ASSOCIATES LLC                                        Contingent
         390 N Orange Avenue 23rd Floor                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2758
                                                                   Is the claim subject to offset?     No       Yes

3.503
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         KATZ & GREEN                                                 Contingent
         1 Florida Park Drive S                                       Unliquidated
         Atrium Suite
                                                                      Disputed
         Palm Coast, FL 32137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 612                       Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 757 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 765 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.503
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATZ & KATZ                                                  Contingent
         337 E Forsyth Street                                         Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6595
                                                                   Is the claim subject to offset?     No       Yes

3.503
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Katz Barron Squitero Faust                                   Contingent
         100 Northeast 3rd Avenue Suite 280                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 422
                                                                   Is the claim subject to offset?     No       Yes

3.503
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         KATZ BARRON SQUITERO FAUST                                   Contingent
         DBA Katz Barron                                              Unliquidated
         901 Ponce De Leon Boulevard, 10th Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 422                       Is the claim subject to offset?     No       Yes

3.504
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATZ BASKIES LLC                                             Contingent
         3020 N. Military Trail                                       Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5958                      Is the claim subject to offset?     No       Yes

3.504
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KATZ KUTTER ALDERMAN & BRYAN                                 Contingent
         P.O. Box 1877                                                Unliquidated
         Tallahassee, FL 32302-1877
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4823
                                                                   Is the claim subject to offset?     No       Yes

3.504
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KATZMAN GARFINKEL                                            Contingent
         1501 NW 49TH ST SECOND FLOOR                                 Unliquidated
         FT LAUDERDALE, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0725
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 758 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 766 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.504
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KAUFMAN ATTORNEYS PA                                         Contingent
         Frederic Kaufman                                             Unliquidated
         1330 NW 6th Street, Suite D
                                                                      Disputed
         Gainesville, FL 32601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5973                      Is the claim subject to offset?     No       Yes

3.504
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KAUFMAN ENGLETT & LYND PA                                    Contingent
         111 N Magnolia Avenue Suite 1500                             Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5923
                                                                   Is the claim subject to offset?     No       Yes

3.504
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAY LAW OFFICES                                              Contingent
         700 Village Square Crossing Suite 102-B                      Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6649
                                                                   Is the claim subject to offset?     No       Yes

3.504
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAYE & ASSOCIATES PA                                         Contingent
         4121 Malaga Avenue                                           Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0045
                                                                   Is the claim subject to offset?     No       Yes

3.504
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KAYE & BENDER PL                                             Contingent
         1200 PARK CENTRAL BLVD SOUTH                                 Unliquidated
         POMPANO BEACH, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7384
                                                                   Is the claim subject to offset?     No       Yes

3.504
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kaye Law Offices, P.A.                                       Contingent
         840 Jupiter Park Drive Suite 107                             Unliquidated
         Jupiter, FL 33458-8947
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7950
                                                                   Is the claim subject to offset?     No       Yes

3.504
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAYE SCHOLER FIERMAN HAYS &                                  Contingent
         Philips Point West Tower Suite 1002                          Unliquidated
         777 S Flagler Drive
                                                                      Disputed
         West Palm Beach, FL 33401-6163
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5369                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 759 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 767 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.505
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAYLEE K RHOADS                                              Contingent
         1207 Southwest 4th Avenue                                    Unliquidated
         Ft Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4242
                                                                   Is the claim subject to offset?     No       Yes

3.505
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KAYTON & KAYTON                                              Contingent
         7322 Southwest Freeway (See Br Suite 3)                      Unliquidated
         Houston, TX 77074
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8713
                                                                   Is the claim subject to offset?     No       Yes

3.505
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KEATING & SCHLITT PA                                         Contingent
         250 E. Colonial Drive                                        Unliquidated
         Suite 300
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4622                      Is the claim subject to offset?     No       Yes

3.505
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH A JAMES PA                                             Contingent
         4510 Portofino Way Suite 209                                 Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1659
                                                                   Is the claim subject to offset?     No       Yes

3.505
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH A LOWE                                                 Contingent
         2233 Coventry Drive                                          Unliquidated
         Winter Park, FL 32792
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4108
                                                                   Is the claim subject to offset?     No       Yes

3.505
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH A RINGELSPAUGH                                         Contingent
         3347 49th Street N                                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5285
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 760 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 768 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.505
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH A SCOTT                                                Contingent
         Rollins Inc.                                                 Unliquidated
         2170 Peidmont Road Northeast
                                                                      Disputed
         Atlanta, GA 30324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2073                      Is the claim subject to offset?     No       Yes

3.505
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KEITH A SELDIN                                               Contingent
         270 S. Central Boulevard                                     Unliquidated
         Suite 203
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7632                      Is the claim subject to offset?     No       Yes

3.505
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH ALOYSIUS MARTIN                                        Contingent
         2331 N State Road 7 Suite 222                                Unliquidated
         Lauderhill, FL 33313
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2413
                                                                   Is the claim subject to offset?     No       Yes

3.505
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH D DIAMOND                                              Contingent
         46 Southwest 1st Street Suite 400                            Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8583
                                                                   Is the claim subject to offset?     No       Yes

3.506
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KEITH H PARK                                                 Contingent
         P.O. Box 3563                                                Unliquidated
         West Palm Beach, FL 33402-3563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7880
                                                                   Is the claim subject to offset?     No       Yes

3.506
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH J KANOUSE                                              Contingent
         Pmb 1070 One Boca Place                                      Unliquidated
         2255 Glades Road Suite 324a
                                                                      Disputed
         Boca Raton, FL 33431-8571
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0977                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 761 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 769 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.506
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KEITH J MERRILL                                              Contingent
         7901 SW 67th Avenue                                          Unliquidated
         Suite 206
                                                                      Disputed
         Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7286                      Is the claim subject to offset?     No       Yes

3.506
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KEITH KINDERMAN                                              Contingent
         5837 Bradfordville Road                                      Unliquidated
         Tallahassee, FL 32308-6613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4402
                                                                   Is the claim subject to offset?     No       Yes

3.506
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KEITH L BRANDON                                              Contingent
         8520 Southwest 84th Terrace                                  Unliquidated
         South Miami, FL 33143-6922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8267
                                                                   Is the claim subject to offset?     No       Yes

3.506
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $163.21
         KEITH M KRASNOVE                                             Contingent
         2409 University Drive                                        Unliquidated
         Coral Springs, FL 33065                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6198
                                                                   Is the claim subject to offset?     No       Yes

3.506
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,625.42
         KEITH MACK LLP                                               Contingent
         C/O Cohen Fox P.A.                                           Unliquidated
         201 S Biscayne Boulevard Suite 850                           Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 275                       Is the claim subject to offset?     No       Yes


3.506
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $82.63
         KEITH NASSETTA                                               Contingent
         8320 Black Olive Drive                                       Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 195
                                                                   Is the claim subject to offset?     No       Yes

3.506
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH R FREDERICKS                                           Contingent
         P.O. Box 1952                                                Unliquidated
         Ocala, FL 32678-1952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4136
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 762 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 770 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.506
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH T GRUMER                                               Contingent
         One E Broward Boulevard Suite 1705                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8467
                                                                   Is the claim subject to offset?     No       Yes

3.507
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEITH W UPSON                                                Contingent
         P.O. Box 111282                                              Unliquidated
         Naples, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8968
                                                                   Is the claim subject to offset?     No       Yes

3.507
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Kelk Phillips, P.A.                                          Contingent
         12773 Forest Hill Boulevard                                  Unliquidated
         Suite 106
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8564                      Is the claim subject to offset?     No       Yes

3.507
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kelleher Title, LLC                                          Contingent
         1100 5th Avenue South                                        Unliquidated
         Suite 409
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1484                      Is the claim subject to offset?     No       Yes

3.507
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KELLEY & CORNEAL PL                                          Contingent
         DBA The Corneal Law Firm                                     Unliquidated
         509 Anastasia Boulevard
                                                                      Disputed
         St Augustine, FL 32080
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1779                      Is the claim subject to offset?     No       Yes

3.507
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KELLEY & CORNEAL PL                                          Contingent
         43 Cincinnati Avenue                                         Unliquidated
         St Augustine, FL 32084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9675
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 763 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 771 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.507
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Kelley & Grant, P.A.                                         Contingent
         370 Camino Gardens Boulevard                                 Unliquidated
         Suite 301
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8660                      Is the claim subject to offset?     No       Yes

3.507
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLEY D JONES                                               Contingent
         4110 NW 37th Place                                           Unliquidated
         Suite B
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5733                      Is the claim subject to offset?     No       Yes

3.507
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         KELLEY DRYE & WARREN LLP                                     Contingent
         101 Park Avenue                                              Unliquidated
         New York, NY 10178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 261
                                                                   Is the claim subject to offset?     No       Yes

3.507
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KELLEY HERMAN & SMITH                                        Contingent
         1401 E Broward Boulevard Suite 206                           Unliquidated
         Ft Lauderdale, FL 33301-2116
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8330
                                                                   Is the claim subject to offset?     No       Yes

3.507
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLEY KRONENBERG GILMARTIN                                  Contingent
         8201 Peters Road Suite 4000                                  Unliquidated
         Ft Lauderdale, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0139
                                                                   Is the claim subject to offset?     No       Yes

3.508
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kelley Kronenberg, P.A.                                      Contingent
         10360 W. State Road 84                                       Unliquidated
         Davie, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9514
                                                                   Is the claim subject to offset?     No       Yes

3.508
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLEY S ROARK                                               Contingent
         12135 Northeast 10th Avenue                                  Unliquidated
         North Miami, FL 33161-5723
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5636
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 764 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 772 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.508
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLY B HARDWICK III                                         Contingent
         341 Davidson Street Suite 301                                Unliquidated
         Bartow, FL 33830-0778
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8382
                                                                   Is the claim subject to offset?     No       Yes

3.508
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLY C PEEL                                                 Contingent
         2323 Tarpon Road                                             Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3934
                                                                   Is the claim subject to offset?     No       Yes

3.508
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLY E ELKINS PA                                            Contingent
         6624 12th Avenue North                                       Unliquidated
         St. Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2273
                                                                   Is the claim subject to offset?     No       Yes

3.508
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLY J HENDERSON                                            Contingent
         4481 Prairie Avenue                                          Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8953
                                                                   Is the claim subject to offset?     No       Yes

3.508
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KELLY JAMEN-SUAREZ PA                                        Contingent
         1359 E. Sample Road                                          Unliquidated
         Pompano Beach, FL 33064-6278
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8764
                                                                   Is the claim subject to offset?     No       Yes

3.508
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KELLY PRICE PASSIDOMO & SIKET                                Contingent
         2390 Tamiami Trail N Suite 204                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8019
                                                                   Is the claim subject to offset?     No       Yes

3.508
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,369.83
         KELLY, BLACK, BLACK ET AL PA                                 Contingent
         1400 Dupont Building                                         Unliquidated
         Miami, FL 33131                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2480
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 765 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 773 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.508
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KEMPTON P LOGAN                                              Contingent
         P.O. Box 2563                                                Unliquidated
         Ft Myers, FL 33902-2563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8095
                                                                   Is the claim subject to offset?     No       Yes

3.509
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KEN DAVIS                                                    Contingent
         P.O. Box 37190                                               Unliquidated
         Tallahassee, FL 32315-7190
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4581
                                                                   Is the claim subject to offset?     No       Yes

3.509
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kendrick and Kendrick, PL                                    Contingent
         5511 Southwest 164th Terrace                                 Unliquidated
         Southwest Ranches, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7280
                                                                   Is the claim subject to offset?     No       Yes

3.509
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNAN G DANDAR                                              Contingent
         P.O. Box 24597                                               Unliquidated
         Tampa, FL 33623-4597
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 145
                                                                   Is the claim subject to offset?     No       Yes

3.509
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH A TREADWELL                                          Contingent
         7240 7th Place N                                             Unliquidated
         West Palm Bach, FL 34411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7232
                                                                   Is the claim subject to offset?     No       Yes

3.509
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH A WENZEL                                             Contingent
         C/O Hodgson Russ L.L.P.                                      Unliquidated
         1801 N Military Trail Suite 200
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1757                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 766 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 774 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.509
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         KENNETH B CRENSHAW                                           Contingent
         3175 S Congress Avenue Suite 301                             Unliquidated
         Palm Springs, FL 33461-2562
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8174
                                                                   Is the claim subject to offset?     No       Yes

3.509
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH B EVERS                                              Contingent
         P.O. Drawer 1308                                             Unliquidated
         Wauchula, FL 33873-1308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5695
                                                                   Is the claim subject to offset?     No       Yes

3.509
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH BOHANNON PL                                          Contingent
         221 N. Causeway                                              Unliquidated
         Suite A
                                                                      Disputed
         New Smyrna Beach, FL 32169
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6205                      Is the claim subject to offset?     No       Yes

3.509
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH C BRONCHICK                                          Contingent
         1761 W. Hillsboro Boulevard                                  Unliquidated
         Suite 205
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8545                      Is the claim subject to offset?     No       Yes

3.509
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH C SUNDHEIM                                           Contingent
         10694 S Federal Highway Suite B                              Unliquidated
         Port St Lucie, FL 34952-6418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5388
                                                                   Is the claim subject to offset?     No       Yes

3.510
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH D COOPER                                             Contingent
         400 Southeast 8th Street Suite 1                             Unliquidated
         Ft Lauderdale, FL 33316-1124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 535
                                                                   Is the claim subject to offset?     No       Yes

3.510
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH D GOODMAN                                            Contingent
         Goodman & Breen                                              Unliquidated
         3838 Tamiami Trail N Suite 300
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5635                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 767 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 775 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.510
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH D HUTCHISON                                          Contingent
         314 - 5th Avenue S Suite 260                                 Unliquidated
         Naples, FL 33940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4965
                                                                   Is the claim subject to offset?     No       Yes

3.510
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH D MORSE                                              Contingent
         390 N Orange Avenue Suite 2100                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1041
                                                                   Is the claim subject to offset?     No       Yes

3.510
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH D STERN                                              Contingent
         P.O. Box 3878                                                Unliquidated
         Boca Raton, FL 33427
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 623
                                                                   Is the claim subject to offset?     No       Yes

3.510
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kenneth D'Apice, Attorney at Law                             Contingent
         2020 Jewell Avenue                                           Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0041
                                                                   Is the claim subject to offset?     No       Yes

3.510
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH E EASLEY                                             Contingent
         6036 Boynton Homestead                                       Unliquidated
         Tallahassee, FL 32312-3586
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3673
                                                                   Is the claim subject to offset?     No       Yes

3.510
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH E PADGETT JR                                         Contingent
         P.O. Box 28225                                               Unliquidated
         Panama City, FL 32411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5316
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 768 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 776 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.510
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH F OSWALD                                             Contingent
         222 S Westmonte Drive Suite 210                              Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5652
                                                                   Is the claim subject to offset?     No       Yes

3.510
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH F. KIELBANIA                                         Contingent
         P.O. Box 2012                                                Unliquidated
         Pompano Beach, FL 33061-2012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6159
                                                                   Is the claim subject to offset?     No       Yes

3.511
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH G ARSENAULT JR                                       Contingent
         Arsenault Law Group P.A.                                     Unliquidated
         10225 Ulmerton Road Suite 2
                                                                      Disputed
         Largo, FL 33771
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1640                      Is the claim subject to offset?     No       Yes

3.511
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,326.12
         KENNETH G LANCASTER                                          Contingent
         C/O King & Lancaster P.A.                                    Unliquidated
         5975 Sunset Drive Suite 703                                  Disputed
         South Miami, FL 33143-4822
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1468                      Is the claim subject to offset?     No       Yes


3.511
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,829.62
         KENNETH HEYDER                                               Contingent
         6510 Southwest 57th Street                                   Unliquidated
         Davie, FL 33314                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6087
                                                                   Is the claim subject to offset?     No       Yes

3.511
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH J DORCHAK                                            Contingent
         11900 Biscayne Boulevard Suite 310                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0754
                                                                   Is the claim subject to offset?     No       Yes

3.511
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH J HAMEL                                              Contingent
         11420 N Kendall Drive Suite 108                              Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8894
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 769 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 777 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.511
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH J HODGE                                              Contingent
         13009 S Highway 475                                          Unliquidated
         Ocala, FL 34480-8503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5268
                                                                   Is the claim subject to offset?     No       Yes

3.511
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH J NOLAN                                              Contingent
         350 E Las Olas Boulevard Suite 1270                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5168
                                                                   Is the claim subject to offset?     No       Yes

3.511
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH K THOMPSON                                           Contingent
         1150 Lee Boulevard                                           Unliquidated
         Suite 1A
                                                                      Disputed
         Lehigh Acres, FL 33936-4805
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1093                      Is the claim subject to offset?     No       Yes

3.511
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH L BAKER PA                                           Contingent
         Bussey White McDonnough Et Al                                Unliquidated
         103 E Robinson Street 4th Floor
                                                                      Disputed
         Orlando, FL 32801-1655
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6829                      Is the claim subject to offset?     No       Yes

3.511
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH L MANN                                               Contingent
         6822 N 72nd Place                                            Unliquidated
         Scottsdale, AZ 85250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7667
                                                                   Is the claim subject to offset?     No       Yes

3.512
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH L MARSHALL                                           Contingent
         3704 Woodfork Road                                           Unliquidated
         Charlotte Court H, VA 23923-3903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5030
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 770 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 778 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.512
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH L SALOMONE                                           Contingent
         1701 W. Hillsboro Boulevard                                  Unliquidated
         Suite 202
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3727                      Is the claim subject to offset?     No       Yes

3.512
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH M BEANE                                              Contingent
         2601 Wells Avenue Suite 181                                  Unliquidated
         Fern Park, FL 32730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4536
                                                                   Is the claim subject to offset?     No       Yes

3.512
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH M DIX                                                Contingent
         11173 Manatee Terrace                                        Unliquidated
         Lake Worth, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1979
                                                                   Is the claim subject to offset?     No       Yes

3.512
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KENNETH M KALEEL                                             Contingent
         DBA Kaleel & Associates                                      Unliquidated
         54 NE 4th Avenue
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4738                      Is the claim subject to offset?     No       Yes

3.512
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH M MEYER                                              Contingent
         104 Northwest 134th Terrace Suite 103                        Unliquidated
         Plantation, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7987
                                                                   Is the claim subject to offset?     No       Yes

3.512
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH METNICK                                              Contingent
         5150 Linton Boulevard Suite 320                              Unliquidated
         Delray Beach, FL 33484-6525
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4407
                                                                   Is the claim subject to offset?     No       Yes

3.512
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,207.54
         KENNETH N JACOBY                                             Contingent
         1423 S Patrick Drive                                         Unliquidated
         Satellite Beach, FL 32937-4315                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6344
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 771 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 779 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.512
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH N REKANT                                             Contingent
         333 41st Street Suite 506                                    Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7857
                                                                   Is the claim subject to offset?     No       Yes

3.512
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH PAUL BERRICK                                         Contingent
         Berrick & Associates                                         Unliquidated
         11555 Heron Bay Boulevard Suite 200
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6319                      Is the claim subject to offset?     No       Yes

3.513
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH R BERNSTEIN                                          Contingent
         Aventura Mall                                                Unliquidated
         19501 Biscayne Boulevard Suite 400
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0706                      Is the claim subject to offset?     No       Yes

3.513
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH R DREYFUSS                                           Contingent
         14813 Southwest 140 Place                                    Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7579
                                                                   Is the claim subject to offset?     No       Yes

3.513
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KENNETH R RIDLEHOOVER                                        Contingent
         P.O. Box 12291                                               Unliquidated
         Pensacola, FL 32581-2291
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 350
                                                                   Is the claim subject to offset?     No       Yes

3.513
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH R RONEY                                              Contingent
         220 Lookout Place                                            Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8588
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 772 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 780 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.513
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH R WASHBURN                                           Contingent
         1153 Mill Run Circle                                         Unliquidated
         Apopka, FL 32703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3637
                                                                   Is the claim subject to offset?     No       Yes

3.513
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH S HOFFMAN                                            Contingent
         9745 Sunset Drive Suite 125                                  Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1712
                                                                   Is the claim subject to offset?     No       Yes

3.513
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH S RAPPAPORT                                          Contingent
         1300 N Federal Highway Suite 203                             Unliquidated
         Boca Raton, FL 33432-2848
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4288
                                                                   Is the claim subject to offset?     No       Yes

3.513
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         KENNETH S RUBIN PA                                           Contingent
         9900 W. Sample Rd.                                           Unliquidated
         Suite 404
                                                                      Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5649                      Is the claim subject to offset?     No       Yes

3.513
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH SANDLER                                              Contingent
         2924 Davie Road                                              Unliquidated
         Suite 102
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6244                      Is the claim subject to offset?     No       Yes

3.513
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,002.08
         KENNETH STEVENS                                              Contingent
         412 NE 4th Street                                            Unliquidated
         Ft Lauderdale, FL 33301-1152                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 444
                                                                   Is the claim subject to offset?     No       Yes

3.514
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENNETH U HUBONA                                             Contingent
         835 Seddon Cove Way                                          Unliquidated
         Tampa, FL 33602-5704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6290
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 773 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 781 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.514
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         KENNETH W BUCHMAN                                            Contingent
         1012 REDBUD CIRCLE                                           Unliquidated
         PLANT CITY, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2495
                                                                   Is the claim subject to offset?     No       Yes

3.514
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH W DODGE                                              Contingent
         1700 Palm Beach Lakes Boulevard Suite 10                     Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2155
                                                                   Is the claim subject to offset?     No       Yes

3.514
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         KENNETH W RICHMAN JR                                         Contingent
         P.O. Box 111682                                              Unliquidated
         Naples, FL 34108-0129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7505
                                                                   Is the claim subject to offset?     No       Yes

3.514
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KENNETH W SHAPIRO                                            Contingent
         1776 N Pine Island Road Suite 308                            Unliquidated
         Plantation, FL 33322-5235
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6962
                                                                   Is the claim subject to offset?     No       Yes

3.514
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENNETH Y GORDON                                             Contingent
         Centex Homes                                                 Unliquidated
         8198 Jog Road Suite 200
                                                                      Disputed
         Boynton Beach, FL 33437
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4166                      Is the claim subject to offset?     No       Yes

3.514
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENT B RUNNELLS                                              Contingent
         510 Vonderburg Drive Suite 3008                              Unliquidated
         Brandon, FL 33511-5970
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2649
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 774 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 782 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.514
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KENT D HUFFMAN                                               Contingent
         350 Royal Palm Way Suite 409                                 Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6951
                                                                   Is the claim subject to offset?     No       Yes

3.514
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KENT J ANDERSON PA                                           Contingent
         7101 S Tamiami Trail Suite A                                 Unliquidated
         Sarasota, FL 34231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6818
                                                                   Is the claim subject to offset?     No       Yes

3.514
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,115.41
         KENT R WEIBLE                                                Contingent
         1110 Druid Road S                                            Unliquidated
         Clearwater, FL 34616-3818                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4695
                                                                   Is the claim subject to offset?     No       Yes

3.515
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEREN SAPAN PA                                               Contingent
         8043 Twin Lake Drive                                         Unliquidated
         Boca Raton, FL 33498
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2350
                                                                   Is the claim subject to offset?     No       Yes

3.515
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KERLINE ALTIDOR-THONY                                        Contingent
         13500 Northeast 3rd Court Suite 424                          Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2058
                                                                   Is the claim subject to offset?     No       Yes

3.515
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KERRY D SAFIER                                               Contingent
         123 Northwest 13th Street Suite 300                          Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2129
                                                                   Is the claim subject to offset?     No       Yes

3.515
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KERRY E MACK                                                 Contingent
         Mack Law Firm Chartered                                      Unliquidated
         2022 Placida Road
                                                                      Disputed
         Englewood, FL 34224-5204
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7957                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 775 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 783 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.515
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KESHA M HOLMES                                               Contingent
         Keisha M Holmes & Associates P.A.                            Unliquidated
         20535 Northwest 2nd Avenue Suite 110
                                                                      Disputed
         Miami, FL 33169
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5275                      Is the claim subject to offset?     No       Yes

3.515
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KETCHEY HORAN                                                Contingent
         P.O. Box 3273                                                Unliquidated
         Tampa, FL 33601-3273
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6921
                                                                   Is the claim subject to offset?     No       Yes

3.515
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVAN BOYLES                                                 Contingent
         350 Royal Palm Way Suite 405                                 Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4039
                                                                   Is the claim subject to offset?     No       Yes

3.515
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN A DENTI PA                                             Contingent
         2180 Immokalee Road                                          Unliquidated
         Suite 316
                                                                      Disputed
         Naples, FL 34110
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5867                      Is the claim subject to offset?     No       Yes

3.515
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN A RAUDT PA                                             Contingent
         1290 Weston Road Suite 214                                   Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3493
                                                                   Is the claim subject to offset?     No       Yes

3.515
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KEVIN A SENTNER                                              Contingent
         13710 N US Highway 441 Suite 100                             Unliquidated
         Lady Lake, FL 32159-8988
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 172
                                                                   Is the claim subject to offset?     No       Yes

3.516
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KEVIN F JURSINSKI                                            Contingent
         15701 S Tamiami Trail                                        Unliquidated
         Ft Myers, FL 33908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7429
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 776 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 784 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.516
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN G HENDERSON                                            Contingent
         109 Spring Street                                            Unliquidated
         Scottsdale, PA 15683-1710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7696
                                                                   Is the claim subject to offset?     No       Yes

3.516
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN G STAAS PA                                             Contingent
         230 Tamiami Trail S.                                         Unliquidated
         Suite 1
                                                                      Disputed
         Venice, FL 34285
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8222                      Is the claim subject to offset?     No       Yes

3.516
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KEVIN HENDRICKSON                                            Contingent
         310 South Second Street                                      Unliquidated
         Ft Pierce, FL 34950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0216
                                                                   Is the claim subject to offset?     No       Yes

3.516
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN HERNANDEZ                                              Contingent
         2725 Park Drive Suite 2                                      Unliquidated
         Clearwater, FL 33763
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6132
                                                                   Is the claim subject to offset?     No       Yes

3.516
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN J D'ESPIES                                             Contingent
         5916 Northwest 54th Circle                                   Unliquidated
         Coral Springs, FL 33067-3523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8479
                                                                   Is the claim subject to offset?     No       Yes

3.516
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN J PRIBELL                                              Contingent
         430 N. Mills Avenue                                          Unliquidated
         Suite 1
                                                                      Disputed
         Orlando, FL 32803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7763                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 777 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 785 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.516
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN M LAMONTAGNE                                           Contingent
         640 E Ocean Avenue Suite 16                                  Unliquidated
         Boynton Beach, FL 33435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6328
                                                                   Is the claim subject to offset?     No       Yes

3.516
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN MACWILLIAM                                             Contingent
         5131 Southeast Lisbon Circle                                 Unliquidated
         Stuart, FL 34997-6709
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9324
                                                                   Is the claim subject to offset?     No       Yes

3.516
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kevin P. Markey, P.L.                                        Contingent
         380 S. Courtenay Parkway                                     Unliquidated
         Suite A
                                                                      Disputed
         Merritt Island, FL 32952
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7246                      Is the claim subject to offset?     No       Yes

3.517
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN R GALLAGHER                                            Contingent
         1324 Pine Brook Way                                          Unliquidated
         Venice, FL 34292-4305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5133
                                                                   Is the claim subject to offset?     No       Yes

3.517
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN R MONAHAN                                              Contingent
         P.O. Box 2682                                                Unliquidated
         Palatka, FL 32178-2682
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8526
                                                                   Is the claim subject to offset?     No       Yes

3.517
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEVIN S DOTY                                                 Contingent
         411 Holly Road                                               Unliquidated
         Vero Veach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2093
                                                                   Is the claim subject to offset?     No       Yes

3.517
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,596.12
         KEYS & KEYS                                                  Contingent
         Attn: Neal S. Keys                                           Unliquidated
         1911 NE 172nd Street                                         Disputed
         North Miami Beach, FL 33162-3103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2343                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 778 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 786 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.517
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Keystone Law Firm, P.A.                                      Contingent
         12865 W. Dixie Highway                                       Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9875
                                                                   Is the claim subject to offset?     No       Yes

3.517
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KEYSTONE LAW GROUP PL                                        Contingent
         1665 Kingsley Avenue Suite 108                               Unliquidated
         Orange Park, FL 32073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4658
                                                                   Is the claim subject to offset?     No       Yes

3.517
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KHANI & AUERBACH                                             Contingent
         2338 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6061
                                                                   Is the claim subject to offset?     No       Yes

3.517
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         KIEVIT ODOM & BARLOW                                         Contingent
         635 W Garden Street                                          Unliquidated
         Pensacola, FL 32502-4733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8058
                                                                   Is the claim subject to offset?     No       Yes

3.517
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KILPATRICK LAW FIRM LLC                                      Contingent
         9218 Navarre Parkway                                         Unliquidated
         Navarre, FL 32566
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5920
                                                                   Is the claim subject to offset?     No       Yes

3.517
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIM & LOWMAN LLP                                             Contingent
         8620 NE 2nd Avenue                                           Unliquidated
         Miami, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6010
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 779 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 787 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.518
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIM EWING WILES                                              Contingent
         P.O. Box 1542                                                Unliquidated
         Boca Raton, FL 33429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5582
                                                                   Is the claim subject to offset?     No       Yes

3.518
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         KIM R BLACKMAN                                               Contingent
         26901 Monet Lane                                             Unliquidated
         Valencia, CA 91355-1880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7275
                                                                   Is the claim subject to offset?     No       Yes

3.518
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kim R. Greenberg, P.A.                                       Contingent
         2655 Lejeune Road Suite 500                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7899
                                                                   Is the claim subject to offset?     No       Yes

3.518
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIMARIE R STRATOS PA                                         Contingent
         1172 S Dixie Highway Suite 393                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6296
                                                                   Is the claim subject to offset?     No       Yes

3.518
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIMBERLY A SHURTLEFF                                         Contingent
         711 S. Howard Avenue                                         Unliquidated
         Suite 200
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5354                      Is the claim subject to offset?     No       Yes

3.518
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIMBERLY BOBO-BROWN                                          Contingent
         5440 N State Road 7 Suite 212                                Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5103
                                                                   Is the claim subject to offset?     No       Yes

3.518
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KIMBERLY RANGEL PA                                           Contingent
         2709 Oakmont Court                                           Unliquidated
         Weston, FL 33332
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4578
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 780 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 788 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.518
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIMBERLY S DAISE PA                                          Contingent
         2450 Hollywood Boulevard Suite 310                           Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7608
                                                                   Is the claim subject to offset?     No       Yes

3.518
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIMBERLY V. BARENZ                                           Contingent
         136 Boca Raton Road                                          Unliquidated
         Boca Raton, FL 33432-3912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7517
                                                                   Is the claim subject to offset?     No       Yes

3.518
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KIMBROUGH & KOACH LLP                                        Contingent
         727 S Orange Avenue                                          Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2697
                                                                   Is the claim subject to offset?     No       Yes

3.519
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         King & Wood, P.A.                                            Contingent
         1701 Hermitage Boulevard                                     Unliquidated
         Suite 203
                                                                      Disputed
         Tallahassee, FL 32308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9268                      Is the claim subject to offset?     No       Yes

3.519
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         King and Associates Attorneys, P.A.                          Contingent
         4430 Park Boulevard N                                        Unliquidated
         Pinellas Park, FL 33781
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7073
                                                                   Is the claim subject to offset?     No       Yes

3.519
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         King Law Firm                                                Contingent
         1001 Brickell Bay Drive                                      Unliquidated
         Suite 1812
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7427                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 781 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 789 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.519
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KINGCADE & GARCIA PA                                         Contingent
         1370 Coral Way                                               Unliquidated
         Coral Gables, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2435
                                                                   Is the claim subject to offset?     No       Yes

3.519
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         KINGSLEY & KINGSLEY                                          Contingent
         8255 W Surise Boulevard Suite 179                            Unliquidated
         Plantation, FL 33322-5403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6706
                                                                   Is the claim subject to offset?     No       Yes

3.519
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,125.84
         KINSEY VINCENT PYLE PL                                       Contingent
         150 S. Palmetto Avenue                                       Unliquidated
         Suite 300                                                    Disputed
         Daytona Beach, FL 32114
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 325                       Is the claim subject to offset?     No       Yes


3.519
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Kira B. Doyle P.A.                                           Contingent
         3637 4th Street North Suite 320                              Unliquidated
         St Petersburg, FL 33704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9451
                                                                   Is the claim subject to offset?     No       Yes

3.519
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIRK A JASLOW                                                Contingent
         Marcus Centre, Suite 218                                     Unliquidated
         9990 SW 77th Avenue
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4654                      Is the claim subject to offset?     No       Yes

3.519
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KIRK FRIEDLAND                                               Contingent
         Kirk Friedland Attorney at Law PL                            Unliquidated
         250 S Australian Avenue Suite 601
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6171                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 782 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 790 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.519
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         KIRK GRANTHAM PA                                             Contingent
         1860 Forest Hill Boulevard                                   Unliquidated
         Suite 105
                                                                      Disputed
         West Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 60                        Is the claim subject to offset?     No       Yes

3.520
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIRK J GIRRBACH                                              Contingent
         2787 E Oakland Park Boulevard Suite 305                      Unliquidated
         Ft Lauderdale, FL 33306-1631
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5555
                                                                   Is the claim subject to offset?     No       Yes

3.520
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $850.00
         KIRK PINKERTON                                               Contingent
         P.O. Box 3798                                                Unliquidated
         Sarasota, FL 34230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7076
                                                                   Is the claim subject to offset?     No       Yes

3.520
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIRK T BAUER                                                 Contingent
         Bauer & Associates Attorneys at Law P.A.                     Unliquidated
         P.O. Box 459
                                                                      Disputed
         Deland, FL 32721-0459
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4714                      Is the claim subject to offset?     No       Yes

3.520
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIRKPATRICK & LOCKHART                                       Contingent
         201 S Biscayne Boulevard 20th Floor                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0079
                                                                   Is the claim subject to offset?     No       Yes

3.520
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIRSTEN I BAIER                                              Contingent
         999 Brickell Avenue Suite 700                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5607
                                                                   Is the claim subject to offset?     No       Yes

3.520
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KIRWIN NORRIS PA                                             Contingent
         15 W Church Street Suite 301                                 Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6065
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 783 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 791 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.520
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KLAUBER & SHIELDS PA                                         Contingent
         8751 W BROWARD BLVD #410                                     Unliquidated
         PLANTATION, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7125
                                                                   Is the claim subject to offset?     No       Yes

3.520
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KLEIN & DOBBINS PL                                           Contingent
         1903 S 25th Street Suite 200                                 Unliquidated
         Ft Pierce, FL 34947-4740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8807
                                                                   Is the claim subject to offset?     No       Yes

3.520
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Klein & Fortune, P.A.                                        Contingent
         7777 Davie Road Extension                                    Unliquidated
         Suite 301B
                                                                      Disputed
         Hollywood, FL 33024-2523
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6947                      Is the claim subject to offset?     No       Yes

3.520
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         KLEIN & JONAS                                                Contingent
         4400 PGA Boulevard                                           Unliquidated
         Suite 603
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7473                      Is the claim subject to offset?     No       Yes

3.521
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,186.28
         KLEIN & KLEIN LLC                                            Contingent
         40 SE 11th Avenue                                            Unliquidated
         Ocala, FL 34471                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 624
                                                                   Is the claim subject to offset?     No       Yes

3.521
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Klein Law Group, P.A.                                        Contingent
         4800 N. Federal Highway                                      Unliquidated
         Suite 307-B
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9685                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 784 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 792 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.521
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KLEINMAN & ARRIZABALAGA PA                                   Contingent
         Alfred I Dupont Building                                     Unliquidated
         169 E Flagler Street Suite 1420
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0082                      Is the claim subject to offset?     No       Yes

3.521
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         KLINE MOORE & KLEIN PA                                       Contingent
         2665 S Bayshore Drive Suite 903                              Unliquidated
         Coconut Grove, FL 33133-5402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3824
                                                                   Is the claim subject to offset?     No       Yes

3.521
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KLINGBEIL & ROBERTS PA                                       Contingent
         341 Venice Avenue W.                                         Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7874
                                                                   Is the claim subject to offset?     No       Yes

3.521
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         KLUGER PERETZ KAPLAN & BERLIN                                Contingent
         201 S Biscayne Boulevard 17th Floor                          Unliquidated
         Miami, FL 33131-4329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7374
                                                                   Is the claim subject to offset?     No       Yes

3.521
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Klymko Law, P.A.                                             Contingent
         200 S. Andrews Avenue                                        Unliquidated
         Suite 100
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8876                      Is the claim subject to offset?     No       Yes

3.521
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KNAUST & ASSOCIATES PA                                       Contingent
         2167 5th Avenue N                                            Unliquidated
         St Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5615
                                                                   Is the claim subject to offset?     No       Yes

3.521
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $525.00
         KNOTT CONSOER EBELINI HART                                   Contingent
         P.O. Box 2449                                                Unliquidated
         Ft Myers, FL 33902-2449
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4697
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 785 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 793 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.521
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Knox Levine, P.A.                                            Contingent
         36428 US 19 N                                                Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9018
                                                                   Is the claim subject to offset?     No       Yes

3.522
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KODSI LAW FIRM PA                                            Contingent
         701 W Cypress Creek Road Suite 303                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8492
                                                                   Is the claim subject to offset?     No       Yes

3.522
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         KOEPPEL LAW GROUP PL                                         Contingent
         1515 N. Flagler Drive                                        Unliquidated
         Suite 220
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6839                      Is the claim subject to offset?     No       Yes

3.522
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KOHL & ASSOCIATES PLC                                        Contingent
         2293 Southwest Martin Highway Suite 309                      Unliquidated
         Palm City, FL 34990-3270
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8404
                                                                   Is the claim subject to offset?     No       Yes

3.522
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $671.26
         KOHL BOBKO MCKEY HIGGINS PA                                  Contingent
         2081 E Ocean Boulevard Suite 2-A                             Unliquidated
         Stuart, FL 34996                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6433
                                                                   Is the claim subject to offset?     No       Yes

3.522
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kopelousos & Bradley, P.A.                                   Contingent
         1279 Kingsley Avenue Suite 118                               Unliquidated
         Orange Park, FL 32073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6890
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 786 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 794 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.522
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kopelowitz Ostrow, P.A.                                      Contingent
         200 E. Palmetto Park Road                                    Unliquidated
         Suite 103
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6975                      Is the claim subject to offset?     No       Yes

3.522
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Kopelowitz Ostrow, P.A.                                      Contingent
         One W Las Olas Boulevard                                     Unliquidated
         Suite 500
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6975                      Is the claim subject to offset?     No       Yes

3.522
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,567.42
         KOPPEN WATKINS PARTNERS &                                    Contingent
         900 W Linton Boulevard Suite 202                             Unliquidated
         Delray Beach, FL 33483                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 963
                                                                   Is the claim subject to offset?     No       Yes

3.522
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KORSHAK & BEAULIEU                                           Contingent
         8680 Commodity Circle Suite 200b                             Unliquidated
         Orlando, FL 32819-9120
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4750
                                                                   Is the claim subject to offset?     No       Yes

3.522
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KOSS JACOBS & ZILBER PA                                      Contingent
         13680 Northwest 5th Street Suite 100                         Unliquidated
         Sunrise, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2877
                                                                   Is the claim subject to offset?     No       Yes

3.523
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KOSTO & ROTELLA PA                                           Contingent
         P.O. Box 113                                                 Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5757
                                                                   Is the claim subject to offset?     No       Yes

3.523
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KOTZKER SHAMY PL                                             Contingent
         2724 W Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9713
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 787 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 795 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.523
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Kotzker|Shamy, P.L.                                          Contingent
         DBA K/S, Attorneys at Law                                    Unliquidated
         2424 N. Federal Highway
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1077                      Is the claim subject to offset?     No       Yes

3.523
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KOZYAK TROPIN THROCKMORTON                                   Contingent
         2525 Ponce De Leon Boulevard 9th Floor                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7267
                                                                   Is the claim subject to offset?     No       Yes

3.523
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KP Law, P.L.L.C.                                             Contingent
         221 N. Hogan Street                                          Unliquidated
         # 375
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0545                      Is the claim subject to offset?     No       Yes

3.523
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kracht Law Firm, P.A.                                        Contingent
         831 W. Morse Boulevard                                       Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8694
                                                                   Is the claim subject to offset?     No       Yes

3.523
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         KRAMER & GOLDEN PA                                           Contingent
         12000 Biscayne Boulevard                                     Unliquidated
         Suite 700
                                                                      Disputed
         Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1243                      Is the claim subject to offset?     No       Yes

3.523
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRAMER SOPKO & LEVENSTEIN PA                                 Contingent
         P.O. Box 2421                                                Unliquidated
         Stuart, FL 34995-2421
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5528
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 788 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 796 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.523
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         KRASNY & DETTMER                                             Contingent
         304 S Harbor City Boulevard Suite 201                        Unliquidated
         Melbourne, FL 32901-1324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4603
                                                                   Is the claim subject to offset?     No       Yes

3.523
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KRAUS & BALLENGER PA                                         Contingent
         1072 Goodlette Road N.                                       Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7820
                                                                   Is the claim subject to offset?     No       Yes

3.524
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KRAUS & LISZEWSKI PA                                         Contingent
         27499 Riverview Center Boulevard Suite 2                     Unliquidated
         Bonita Springs, FL 34134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2115
                                                                   Is the claim subject to offset?     No       Yes

3.524
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KRAUSE & BAXTER                                              Contingent
         9555 N. Kendall Drive                                        Unliquidated
         Suite 202
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5908                      Is the claim subject to offset?     No       Yes

3.524
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KRAUSE & GOLDBERG PA                                         Contingent
         1792 Bell Tower Lane                                         Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8312
                                                                   Is the claim subject to offset?     No       Yes

3.524
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Kravit Law, P.A.                                             Contingent
         2101 NW Corporate Blvd.                                      Unliquidated
         Suite 410
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0392                      Is the claim subject to offset?     No       Yes

3.524
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         KRINZMAN HUSS & LUBETSKY LLP                                 Contingent
         169 E. Flagler Street                                        Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7815                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 789 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 797 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.524
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRISTEN M JACKSON                                            Contingent
         5401 S. Kirkman Road                                         Unliquidated
         Suite 310
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6720                      Is the claim subject to offset?     No       Yes

3.524
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRISTI M ODOM                                                Contingent
         P.O. Box 1129                                                Unliquidated
         Chipley, FL 32428-7129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8109
                                                                   Is the claim subject to offset?     No       Yes

3.524
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kristin Lettiere Coomber, P.A.                               Contingent
         902 Clint Moore Road                                         Unliquidated
         Suite 120
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8146                      Is the claim subject to offset?     No       Yes

3.524
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Kristin Sirota Barbagallo, P.A.                              Contingent
         4715 Hayes Street                                            Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9196
                                                                   Is the claim subject to offset?     No       Yes

3.524
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kristina Reed, P.A.                                          Contingent
         Reed Griffith & Moran                                        Unliquidated
         630 E. Ocean Avenue
                                                                      Disputed
         Boynton Beach, FL 33435
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4272                      Is the claim subject to offset?     No       Yes

3.525
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRISTINE M JOHNSON                                           Contingent
         10620 Griffin Road                                           Unliquidated
         Suite 106
                                                                      Disputed
         Cooper City, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4001                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 790 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 798 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.525
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kristine M. Chapman, P.A.                                    Contingent
         551 NW 77th Street                                           Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7436                      Is the claim subject to offset?     No       Yes

3.525
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRISTOPHER E FERNANDEZ                                       Contingent
         114 S. Fremont Avenue                                        Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7677
                                                                   Is the claim subject to offset?     No       Yes

3.525
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         KRISTOPHER M CRUZADA PA                                      Contingent
         1605 Tuskawilla Road                                         Unliquidated
         Oviedo, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0555
                                                                   Is the claim subject to offset?     No       Yes

3.525
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRISTY A MOUNT PA                                            Contingent
         605 S. Palm Avenue                                           Unliquidated
         Titusville, FL 32796
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9636
                                                                   Is the claim subject to offset?     No       Yes

3.525
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRISTY BRANCH BANKS PA                                       Contingent
         P.O. Box 176                                                 Unliquidated
         Apalachicola, FL 32329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5535
                                                                   Is the claim subject to offset?     No       Yes

3.525
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         KRONGOLD & SINGER PL                                         Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 514
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4156                      Is the claim subject to offset?     No       Yes

3.525
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KROSS & BERAHA PA                                            Contingent
         P.O. Drawer 2130                                             Unliquidated
         Boca Raton, FL 33427-2130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3826
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 791 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 799 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.525
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         KRUCHTEN LAW FIRM LLC                                        Contingent
         4898 Europa Drive                                            Unliquidated
         Naples, FL 34105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7413
                                                                   Is the claim subject to offset?     No       Yes

3.525
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KRUG BERMAN & SILVERMAN PA                                   Contingent
         509 S Martin Luther King Jr. Avenue                          Unliquidated
         Clearwater, FL 33756-5607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5690
                                                                   Is the claim subject to offset?     No       Yes

3.526
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KU-MUSSMAN PA                                                Contingent
         11098 Biscayne Boulevard Suite 301                           Unliquidated
         Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0458
                                                                   Is the claim subject to offset?     No       Yes

3.526
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         KUBICKI DRAPER                                               Contingent
         110 E Broward Boulevard                                      Unliquidated
         Suite 1400
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7949                      Is the claim subject to offset?     No       Yes

3.526
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KUCKLICK LAW FIRM PA                                         Contingent
         10852 Deerwood Park Bvd Suite 100                            Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8915
                                                                   Is the claim subject to offset?     No       Yes

3.526
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KUEHLING & KUEHLING LLC                                      Contingent
         5619 Riverside Drive                                         Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8786
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 792 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 800 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.526
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Kuhn Law Firm, P.A.                                          Contingent
         6720 Winkler Road                                            Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7150
                                                                   Is the claim subject to offset?     No       Yes

3.526
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Kuhn Raslavich, P.A.                                         Contingent
         2110 West Platt Street                                       Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0370
                                                                   Is the claim subject to offset?     No       Yes

3.526
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KURT D ZIMMERMAN PA                                          Contingent
         2400 E Commercial Boulevard Suite 820                        Unliquidated
         Ft Lauderdale, FL 33308-4033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6452
                                                                   Is the claim subject to offset?     No       Yes

3.526
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,009.45
         KURT FRANCIS LEWIS                                           Contingent
         6624 Gateway Avenue                                          Unliquidated
         Sarasota, FL 34231-5806                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4627
                                                                   Is the claim subject to offset?     No       Yes

3.526
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KURT R BORGLUM                                               Contingent
         366 E Graves Avenue Suite B                                  Unliquidated
         Orange City, FL 32763-5266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2092
                                                                   Is the claim subject to offset?     No       Yes

3.526
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KURT S HARMON                                                Contingent
         8358 W Oakland Park Boulevard Suite 304                      Unliquidated
         Ft Lauderdale, FL 33351-7342
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3796
                                                                   Is the claim subject to offset?     No       Yes

3.527
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KURT S HILBERTH PA                                           Contingent
         1930 Tyler Street                                            Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2843
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 793 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 801 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.527
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         KURZBAN KURZBAN & WEINGER P A                                Contingent
         Kurzban Kurzban Weinger Et Al                                Unliquidated
         2650 Southwest 27th Avenue
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8513                      Is the claim subject to offset?     No       Yes

3.527
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kushi Law Firm, P.A.                                         Contingent
         3003 Tamiami Trail N.                                        Unliquidated
         Suite 300
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0752                      Is the claim subject to offset?     No       Yes

3.527
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kushner Law, P.L.                                            Contingent
         12555 Orange Drive                                           Unliquidated
         Suite 4113
                                                                      Disputed
         Davie, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9279                      Is the claim subject to offset?     No       Yes

3.527
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Kymberlee Curry Smith, P.A.                                  Contingent
         15800 Pines Boulevard                                        Unliquidated
         Suite 3003
                                                                      Disputed
         Pembroke Pines, FL 33027
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7159                      Is the claim subject to offset?     No       Yes

3.527
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         L BRUCE SWIREN PA                                            Contingent
         1516 E. Hillcrest Street                                     Unliquidated
         Suite 200
                                                                      Disputed
         Orlando, FL 32803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7657                      Is the claim subject to offset?     No       Yes

3.527
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         L DAVID SHEAR                                                Contingent
         401 E Jackson Street Suite 2700                              Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2319
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 794 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 802 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.527
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         L DAVID SIMS                                                 Contingent
         P.O. Drawer 06205                                            Unliquidated
         Ft Myers, FL 33906-6205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7533
                                                                   Is the claim subject to offset?     No       Yes

3.527
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         L E BROWN                                                    Contingent
         P.O. Box 510299                                              Unliquidated
         Marathon, FL 33051-0299
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2885
                                                                   Is the claim subject to offset?     No       Yes

3.527
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         L E TAYLOR                                                   Contingent
         P.O. Box 490208                                              Unliquidated
         Leesburg, FL 34749-0208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6280
                                                                   Is the claim subject to offset?     No       Yes

3.528
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         L GREGORY LOOMAR                                             Contingent
         1152 N University Drive Suite 201                            Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5069
                                                                   Is the claim subject to offset?     No       Yes

3.528
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         L GUERRY DOBBINS JR                                          Contingent
         P.O. Box 358                                                 Unliquidated
         Crystal River, FL 34423-0358
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7059
                                                                   Is the claim subject to offset?     No       Yes

3.528
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         L JAMES CHERRY JR                                            Contingent
         227 N Bronough Street Suite 4100                             Unliquidated
         Tallahassee, FL 32301-1329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5771
                                                                   Is the claim subject to offset?     No       Yes

3.528
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         L LYNN LAWRENCE                                              Contingent
         2291 Southeast 116th Avenue                                  Unliquidated
         Morriston, FL 32668
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2194
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 795 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 803 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.528
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         L MICHAEL OSMAN                                              Contingent
         1474-A W. 84th Street                                        Unliquidated
         Hialeah, FL 33014-3363
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6296
                                                                   Is the claim subject to offset?     No       Yes

3.528
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         L MURRAY FITZHUGH                                            Contingent
         2167 Tamiami Trail S                                         Unliquidated
         Venice, FL 34293-5034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7183
                                                                   Is the claim subject to offset?     No       Yes

3.528
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,198.55
         L NORMAN VAUGHAN-BIRCH                                       Contingent
         720 S Orange Avenue                                          Unliquidated
         Sarasota, FL 34286                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4489
                                                                   Is the claim subject to offset?     No       Yes

3.528
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $108.32
         L PHARR ABNER                                                Contingent
         P.O. Box 1961                                                Unliquidated
         Winter Park, FL 32790-1961
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0002
                                                                   Is the claim subject to offset?     No       Yes

3.528
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $69.09
         L VAN STILLMAN                                               Contingent
         301 Yamato Road Suite 1200                                   Unliquidated
         Boca Raton, FL 33431                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8187
                                                                   Is the claim subject to offset?     No       Yes

3.528
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         L VANCE CARR                                                 Contingent
         9300 Southwest 124th Street                                  Unliquidated
         Miami, FL 33176-5031
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6961
                                                                   Is the claim subject to offset?     No       Yes

3.529
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         L W CARROLL JR                                               Contingent
         Turnbull Professional Center                                 Unliquidated
         706 Turnbull Avenue Suite 302
                                                                      Disputed
         Altamonte Springs, FL 32701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4626                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 796 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 804 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.529
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         L WESLEY NICHOLS                                             Contingent
         1060 Powell Drive                                            Unliquidated
         Riviera Beach, FL 33404-2763
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7720
                                                                   Is the claim subject to offset?     No       Yes

3.529
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         L. Rick Rivera, P.A.                                         Contingent
         6702 Gulf Boulevard                                          Unliquidated
         St Petersburg Beach, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8329
                                                                   Is the claim subject to offset?     No       Yes

3.529
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         L. Turner Law, P.A.                                          Contingent
         P.O. Box 292621                                              Unliquidated
         Davie, FL 33329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9903
                                                                   Is the claim subject to offset?     No       Yes

3.529
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         La Maison Title, L.L.C.                                      Contingent
         611 W. Swann Ave.                                            Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9792
                                                                   Is the claim subject to offset?     No       Yes

3.529
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Labovitz Law Firm, P.A.                                      Contingent
         P.O. Box 560205                                              Unliquidated
         Orlando, FL 32856
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9457
                                                                   Is the claim subject to offset?     No       Yes

3.529
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Lacayo Law Firm, P.A.                                        Contingent
         1000 NW 57 Court                                             Unliquidated
         Suite 250
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0831                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 797 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 805 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.529
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         LACK AND LACK CHARTERED                                      Contingent
         1165 N Highway State Road A1A                                Unliquidated
         Indialantic, FL 32903
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6319
                                                                   Is the claim subject to offset?     No       Yes

3.529
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,711.76
         LAFAYETTE N INGRAM III                                       Contingent
         2740 Bayshore Drive                                          Unliquidated
         Unit 18                                                      Disputed
         Naples, FL 34112-5896
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4709                      Is the claim subject to offset?     No       Yes


3.529
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Lalchandani Simon, PL                                        Contingent
         25 Southeast 2nd Avenue Suite 1020                           Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7904
                                                                   Is the claim subject to offset?     No       Yes

3.530
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAMAR CONERLY JR                                             Contingent
         CONERLY BOWMAN & DYKES LLP                                   Unliquidated
         PO BOX 6944
                                                                      Disputed
         DESTIN, FL 32550
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3765                      Is the claim subject to offset?     No       Yes

3.530
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         LAMB & LAMB                                                  Contingent
         217 Pinewood Drive                                           Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3636
                                                                   Is the claim subject to offset?     No       Yes

3.530
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,326.17
         LAMMI & LEINONEN PA                                          Contingent
         2300 Glades Road Suite 430w                                  Unliquidated
         Boca Raton, FL 33431                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3351
                                                                   Is the claim subject to offset?     No       Yes

3.530
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lance C. Ball                                                Contingent
         Ball Law P.A.                                                Unliquidated
         18245 Paulson Drive
                                                                      Disputed
         Port Charlotte, FL 33954
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8827                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 798 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 806 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.530
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LANCE GELLER                                                 Contingent
         1680 Michigan Avenue                                         Unliquidated
         Suite 700
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8771                      Is the claim subject to offset?     No       Yes

3.530
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LANCTOT LAW PL                                               Contingent
         1100 Fifth Avenue South Suite 201                            Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4570
                                                                   Is the claim subject to offset?     No       Yes

3.530
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LANDA-POSADA PA                                              Contingent
         1313 Ponce De Leon Boulevard Suite 301                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9820
                                                                   Is the claim subject to offset?     No       Yes

3.530
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LANDIS & MALLINGER PL                                        Contingent
         7777 Glades Road                                             Unliquidated
         Suite 403
                                                                      Disputed
         Boca Raton, FL 33434
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3786                      Is the claim subject to offset?     No       Yes

3.530
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $875.00
         LANDIS GRAHAM FRENCH PA                                      Contingent
         145 E. Rich Avenue                                           Unliquidated
         Deland, FL 32724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4350
                                                                   Is the claim subject to offset?     No       Yes

3.530
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Landmark Title Services, Inc.                                Contingent
         1130 S Powerline Road                                        Unliquidated
         Suite 103
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6983                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 799 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 807 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.531
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Landtrust Title of Central Florida, LLC                      Contingent
         2121 South Hiawassee Road                                    Unliquidated
         Suite 100
                                                                      Disputed
         Orlando, FL 32835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0958                      Is the claim subject to offset?     No       Yes

3.531
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LANE & ASSOCIATES PA                                         Contingent
         7087 Grand National Drive Suite 100                          Unliquidated
         Orlando, FL 32819-8300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4115
                                                                   Is the claim subject to offset?     No       Yes

3.531
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LANE & ERTL PA                                               Contingent
         P.O. Box 9657                                                Unliquidated
         Daytona Beach, FL 32120-9357
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6289
                                                                   Is the claim subject to offset?     No       Yes

3.531
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,551.27
         LANE TROHN BERTRAND                                          Contingent
         P.O. Box 3                                                   Unliquidated
         Lakeland, FL 33802-0003                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3204
                                                                   Is the claim subject to offset?     No       Yes

3.531
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         LANE TROHN CLARKE BERTRAND                                   Contingent
         P.O. Box 1578                                                Unliquidated
         Bartow, FL 33830-1578
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2824
                                                                   Is the claim subject to offset?     No       Yes

3.531
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LANG AND BROWN PA                                            Contingent
         Lang & Brown P.A.                                            Unliquidated
         P.O. Box 7990
                                                                      Disputed
         St Petersburg, FL 33734
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7667                      Is the claim subject to offset?     No       Yes

3.531
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LANGEN & LANGEN PA                                           Contingent
         Hibiscus Island                                              Unliquidated
         115 E. Palm Midway
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7243                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 800 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 808 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.531
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LANGFORD LAW GROUP PA                                        Contingent
         1715 W. Cleveland Street                                     Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6220
                                                                   Is the claim subject to offset?     No       Yes

3.531
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LANSHE & CASAS PA                                            Contingent
         9600 W Sample Road Suite 205                                 Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2490
                                                                   Is the claim subject to offset?     No       Yes

3.531
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Lapina Law                                                   Contingent
         1300 N Semoran Boulevard                                     Unliquidated
         Suite 215
                                                                      Disputed
         Orlando, FL 32807
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0460                      Is the claim subject to offset?     No       Yes

3.532
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARA S SHAH PA                                               Contingent
         P.O. Box 739                                                 Unliquidated
         Ft Lauderdale, FL 33302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8253
                                                                   Is the claim subject to offset?     No       Yes

3.532
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARKRITZ, HERMAN & WISSBRUN,PC                               Contingent
         3771 Environ Boulevard                                       Unliquidated
         Suite 451
                                                                      Disputed
         Ft. Lauderdale, FL 33319-4219
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7837                      Is the claim subject to offset?     No       Yes

3.532
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         LARRY A ECHOLS                                               Contingent
         Larry A. Echols P.A.                                         Unliquidated
         P.O. Box 2579
                                                                      Disputed
         Ft Myers Beach, FL 33932-2579
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1223                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 801 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 809 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.532
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY A HARSHMAN                                             Contingent
         10627 N KENDALL DR                                           Unliquidated
         MIAMI, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6133
                                                                   Is the claim subject to offset?     No       Yes

3.532
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY A KARNS                                                Contingent
         7 N Dixie Highway                                            Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2322
                                                                   Is the claim subject to offset?     No       Yes

3.532
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARRY A ROTHENBERG                                           Contingent
         11555 Heron Bay Blvd.                                        Unliquidated
         Suite 101
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8242                      Is the claim subject to offset?     No       Yes

3.532
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Larry A. Matthews Managing Attorney                          Contingent
         Matthews & Higgins L.L.C.                                    Unliquidated
         114 E Gregory Street
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7364                      Is the claim subject to offset?     No       Yes

3.532
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARRY B ROBERTS                                              Contingent
         108 E Main Street Suite 210                                  Unliquidated
         Kingsport, TN 37660-4257
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4228
                                                                   Is the claim subject to offset?     No       Yes

3.532
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY D BARNES                                               Contingent
         1826 Bluff Oak Street                                        Unliquidated
         Apopka, FL 32712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4868
                                                                   Is the claim subject to offset?     No       Yes

3.532
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LARRY D SUTTON                                               Contingent
         Roosa & Sutton L.L.P.                                        Unliquidated
         1714 Cape Coral Parkway
                                                                      Disputed
         Cape Coral, FL 33904
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5845                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 802 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 810 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.533
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY E CIESLA                                               Contingent
         4400 NW 23rd Avenue                                          Unliquidated
         Suite A
                                                                      Disputed
         Gainesville, FL 32606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1720                      Is the claim subject to offset?     No       Yes

3.533
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARRY J BEHAR                                                Contingent
         Larry J. Behar P.A.                                          Unliquidated
         888 Southeast 3rd Avenue Suite 400
                                                                      Disputed
         Ft Lauderdale, FL 33316-1159
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6613                      Is the claim subject to offset?     No       Yes

3.533
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY K COLEMAN                                              Contingent
         The Riverview Center Suite 100                               Unliquidated
         1111 Third Avenue W
                                                                      Disputed
         Bradenton, FL 34205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0566                      Is the claim subject to offset?     No       Yes

3.533
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY K MEYER                                                Contingent
         1004 Drew Street                                             Unliquidated
         Clearwater, FL 33755-4521
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0330
                                                                   Is the claim subject to offset?     No       Yes

3.533
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         LARRY L ADAIR                                                Contingent
         2400 W Sample Road Suite 7                                   Unliquidated
         Pompano Beach, FL 33073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7876
                                                                   Is the claim subject to offset?     No       Yes

3.533
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LARRY L DILLAHUNTY                                           Contingent
         P.O. Box 21351                                               Unliquidated
         St Petersburg, FL 33742
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6547
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 803 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 811 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.533
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $194.01
         LARRY M MESCHES                                              Contingent
         222 Lakeview Avenue Suite 260                                Unliquidated
         West Palm Beach, FL 33401-6146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8248
                                                                   Is the claim subject to offset?     No       Yes

3.533
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LARRY M SEGALL                                               Contingent
         P.O. Box 2177                                                Unliquidated
         Tampa, FL 33601-2177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8039
                                                                   Is the claim subject to offset?     No       Yes

3.533
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $116.58
         LARRY M STEWART                                              Contingent
         P.O. Box 809                                                 Unliquidated
         Stuart, FL 34995-0809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1388
                                                                   Is the claim subject to offset?     No       Yes

3.533
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARRY M. ROTH                                                Contingent
         P.O. Box 1873                                                Unliquidated
         Orlando, FL 32802-1873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6366
                                                                   Is the claim subject to offset?     No       Yes

3.534
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY P STUDER                                               Contingent
         P.O. Box 1440                                                Unliquidated
         Oakland, FL 34760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9909
                                                                   Is the claim subject to offset?     No       Yes

3.534
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY R ERSKINE                                              Contingent
         1429 12th Street                                             Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8965
                                                                   Is the claim subject to offset?     No       Yes

3.534
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LARRY S HERSCH PA                                            Contingent
         12249 US Highway 301                                         Unliquidated
         Dade City, FL 33525
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4440
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 804 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 812 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.534
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LARRY S SAZANT                                               Contingent
         Penthouse 2                                                  Unliquidated
         1920 E Hallandale Beach Boulevard
                                                                      Disputed
         Hallandale, FL 33009-4727
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7227                      Is the claim subject to offset?     No       Yes

3.534
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY S TOLCHINSKY                                           Contingent
         2100 E Hallandale Beach Boulevard                            Unliquidated
         Suite 200
                                                                      Disputed
         Hallandale, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0515                      Is the claim subject to offset?     No       Yes

3.534
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY SANDEFER                                               Contingent
         522 Bypass Drive Suite 100                                   Unliquidated
         Clearwater, FL 34624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8732
                                                                   Is the claim subject to offset?     No       Yes

3.534
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY T SCHONE                                               Contingent
         72 Northeast Fifth Avenue                                    Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5142
                                                                   Is the claim subject to offset?     No       Yes

3.534
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARRY V BISHINS                                              Contingent
         P.O. Box 510536                                              Unliquidated
         Melbourne Beach, FL 32951
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5789
                                                                   Is the claim subject to offset?     No       Yes

3.534
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LARRY W WERTZ                                                Contingent
         P.O. Box 12349                                               Unliquidated
         St Petersburg, FL 33733-2349
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5390
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 805 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 813 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.534
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LARRY ZACHARY GLICKMAN                                       Contingent
         P.O. Box 810037                                              Unliquidated
         Boca Raton, FL 33481-0037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4455
                                                                   Is the claim subject to offset?     No       Yes

3.535
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         LARSON & BOBENHAUSEN PA                                      Contingent
         P.O. Box 1368                                                Unliquidated
         Clearwater, FL 34617-1368
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7530
                                                                   Is the claim subject to offset?     No       Yes

3.535
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LASORTE RICHARDSON & GORDON                                  Contingent
         One Clearlake Centre Suite 500                               Unliquidated
         250 Australian Avenue S
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7630                      Is the claim subject to offset?     No       Yes

3.535
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LATHAM SHUKER EDEN & BEAUDINE                                Contingent
         390 N Orange Avenue Suite 600                                Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0729
                                                                   Is the claim subject to offset?     No       Yes

3.535
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAURA A MARTINELLI PA                                        Contingent
         5691 Coral Ridge Drive                                       Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6674
                                                                   Is the claim subject to offset?     No       Yes

3.535
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA A VOGEL PA                                             Contingent
         12161 Ken Adams Way                                          Unliquidated
         Suite 110
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5649                      Is the claim subject to offset?     No       Yes

3.535
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA BAMOND                                                 Contingent
         3510 1st Avenue N.                                           Unliquidated
         Suite 128
                                                                      Disputed
         St Petersburg, FL 33713
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7033                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 806 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 814 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.535
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Laura Bourne Burkhalter, P.A.                                Contingent
         403 SW 8th Street                                            Unliquidated
         Fort Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9600
                                                                   Is the claim subject to offset?     No       Yes

3.535
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA BREWER FREEMAN                                         Contingent
         3300 PGA Boulevard Suite 900                                 Unliquidated
         West Palm Beach, FL 33410-2811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4523
                                                                   Is the claim subject to offset?     No       Yes

3.535
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA E KELLY PA                                             Contingent
         1430 S Dixie Highway Unit                                    Unliquidated
         Suite 309
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4335                      Is the claim subject to offset?     No       Yes

3.535
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA F MORGAN                                               Contingent
         701 Market Street                                            Unliquidated
         Suite 111, PMB 226
                                                                      Disputed
         St. Augustine, FL 32095
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2580                      Is the claim subject to offset?     No       Yes

3.536
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA G DE ONA                                               Contingent
         375 Cocoplum Road                                            Unliquidated
         Coral Gables, FL 33143-6408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8710
                                                                   Is the claim subject to offset?     No       Yes

3.536
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA K BETTEN                                               Contingent
         Betten Murphy & Weiss P.A.                                   Unliquidated
         1800 Penn Street Suite 6
                                                                      Disputed
         Melbourne, FL 32901-2625
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4260                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 807 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 815 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.536
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA L HILLIER                                              Contingent
         1899 Porter Lake Drive Suite 106                             Unliquidated
         Sarasota, FL 34240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0352
                                                                   Is the claim subject to offset?     No       Yes

3.536
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA M BALLARD                                              Contingent
         P.O. Box 950955                                              Unliquidated
         Lake Mary, FL 32795-0955
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3921
                                                                   Is the claim subject to offset?     No       Yes

3.536
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,613.40
         LAURA RUSSO ESQ LLC                                          Contingent
         2334 Ponce de Leon Boulevard                                 Unliquidated
         Suite 240                                                    Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2364                      Is the claim subject to offset?     No       Yes


3.536
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURA SANTAMARIA                                             Contingent
         8750 Doral Boulevard Suite 270                               Unliquidated
         Miami, FL 33178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4209
                                                                   Is the claim subject to offset?     No       Yes

3.536
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAUREN A SILL                                                Contingent
         572 2nd Avenue S                                             Unliquidated
         St Petersburg, FL 33701-4102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8502
                                                                   Is the claim subject to offset?     No       Yes

3.536
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lauren Luck, P.A.                                            Contingent
         175 SW 7th Street                                            Unliquidated
         Suite 2020
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0592                      Is the claim subject to offset?     No       Yes

3.536
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAURENCE D GORE                                              Contingent
         One E. Broward Boulevard                                     Unliquidated
         Suite 700
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6500                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 808 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 816 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.536
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAURENCE FEINGOLD                                            Contingent
         6620 Southwest 58th Street                                   Unliquidated
         So Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4324
                                                                   Is the claim subject to offset?     No       Yes

3.537
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAURENCE J PINO                                              Contingent
         P.O. Box 1511                                                Unliquidated
         Orlando, FL 32802-1511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6835
                                                                   Is the claim subject to offset?     No       Yes

3.537
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAURENCE J ROHAN                                             Contingent
         2511 Ponce De Leon Boulevard Suite 320                       Unliquidated
         Coral Gables, FL 33134-6082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5186
                                                                   Is the claim subject to offset?     No       Yes

3.537
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURENCE MEYERSON                                            Contingent
         Akerman Senterfitt                                           Unliquidated
         1 Southeast 3rd Avenue 28th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4691                      Is the claim subject to offset?     No       Yes

3.537
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAURIE E BAKER PA                                            Contingent
         515 9th Street E Suite 100                                   Unliquidated
         Bradenton, FL 34208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8999
                                                                   Is the claim subject to offset?     No       Yes

3.537
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURIE L GORDON                                              Contingent
         406 W Gay Street                                             Unliquidated
         West Chester, PA 19380
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0652
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 809 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 817 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.537
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURIE P EVANS                                               Contingent
         328 Minorca Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4817
                                                                   Is the claim subject to offset?     No       Yes

3.537
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAURIE RUSK SEWELL PA                                        Contingent
         3500 SW Palm City School Avenue                              Unliquidated
         Palm City, FL 34990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8860
                                                                   Is the claim subject to offset?     No       Yes

3.537
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Laurin Evans, P.A.                                           Contingent
         2979 W Bay Drive                                             Unliquidated
         Belleair Bluffs, FL 33770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8436
                                                                   Is the claim subject to offset?     No       Yes

3.537
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         LAVIGNE COTON & ASSOCIATES PA                                Contingent
         7087 Grand National Drive Suite 100                          Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6382
                                                                   Is the claim subject to offset?     No       Yes

3.537
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW FIRM OF JAMES D VARNADO                                  Contingent
         837 Summerbrook Drive                                        Unliquidated
         Tallahassee, FL 32312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0469
                                                                   Is the claim subject to offset?     No       Yes

3.538
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW FIRM OF KAREN SPIGLER LLC                                Contingent
         7390 NW 5th Street                                           Unliquidated
         Suite 10
                                                                      Disputed
         Plantation, FL 33317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0024                      Is the claim subject to offset?     No       Yes

3.538
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW FIRM OF MAXWELL & MAXWELL                                Contingent
         405 Northwest Third Street                                   Unliquidated
         Okeechobee, FL 34972
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9658
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 810 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 818 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.538
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW FIRM OF PETER D FELLOWS PA                               Contingent
         18350 Northwest 2nd Avenue Suite 500                         Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3153
                                                                   Is the claim subject to offset?     No       Yes

3.538
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Firm of Rubio & Associates, P.A.                         Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 1804
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8163                      Is the claim subject to offset?     No       Yes

3.538
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Firm of Zimmerman & Associates                           Contingent
         2400 E Commercial Boulevard                                  Unliquidated
         Suite 820
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7970                      Is the claim subject to offset?     No       Yes

3.538
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,225.00
         Law Group of South Florida, LLC                              Contingent
         782 NW 42nd Avenue                                           Unliquidated
         Suite 450
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0722                      Is the claim subject to offset?     No       Yes

3.538
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law House of Orlando                                         Contingent
         2995 Dorell Avenue                                           Unliquidated
         Orlando, FL 32814
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0990
                                                                   Is the claim subject to offset?     No       Yes

3.538
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Mandel, P.L.L.C.                                         Contingent
         820 W. 41st Street                                           Unliquidated
         Suite 204
                                                                      Disputed
         Miami Beach, FL 33140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0331                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 811 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 819 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.538
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAW OFC CECILIA ARMENTEROS PA                                Contingent
         7485 Davie Road Ext.                                         Unliquidated
         Suite B
                                                                      Disputed
         Davie, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4018                      Is the claim subject to offset?     No       Yes

3.538
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF ARTHUR J HIGGINS                                  Contingent
         P.O. Box 547803                                              Unliquidated
         Orlando, FL 32854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1719
                                                                   Is the claim subject to offset?     No       Yes

3.539
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF BARBARA A CUSUMANO                                Contingent
         126 Northwest 76th Drive Suite B                             Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2993
                                                                   Is the claim subject to offset?     No       Yes

3.539
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFC OF CHRISTOPHER WRIGHT ESQ                            Contingent
         Rayfield Sepulveres & Wright                                 Unliquidated
         1101 Miranda Lane Suite 151
                                                                      Disputed
         Kissimmee, FL 34741
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6816                      Is the claim subject to offset?     No       Yes

3.539
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF EUGENE P MURPHY PA                                Contingent
         3293 Fruitville Road Suite 101                               Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0559
                                                                   Is the claim subject to offset?     No       Yes

3.539
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF JOHANNE FOSTER LLC                                Contingent
         11110 W Oakland Park Boulevard Suite 342                     Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9413
                                                                   Is the claim subject to offset?     No       Yes

3.539
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF LINDA K YERGER                                    Contingent
         1570 Shadowlawn Drive                                        Unliquidated
         Naples, FL 34104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1672
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 812 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 820 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.539
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF MARIE C CAPITA PA                                 Contingent
         Pmb 31                                                       Unliquidated
         7550 Mission Hills Drive Suite 306
                                                                      Disputed
         Naples, FL 34119-9607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5764                      Is the claim subject to offset?     No       Yes

3.539
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF MICHAEL J HEATH                                   Contingent
         167 108th Avenue                                             Unliquidated
         Treasure Island, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1680
                                                                   Is the claim subject to offset?     No       Yes

3.539
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         LAW OFC OF MITCHELL A HORWICH                                Contingent
         1541 Sunset Drive                                            Unliquidated
         Suite 202
                                                                      Disputed
         Coral Gables, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3830                      Is the claim subject to offset?     No       Yes

3.539
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF RACHEL MCCLELLAND                                 Contingent
         Law Offices of Joy N Owenby PL                               Unliquidated
         555 Water Street Suite 200
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9650                      Is the claim subject to offset?     No       Yes

3.539
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFC OF ROBERT W BAUER PA                                 Contingent
         2815 Northwest 13th Street Suite 200e                        Unliquidated
         Gainesville, FL 32609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4011
                                                                   Is the claim subject to offset?     No       Yes

3.540
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF VAIOS ZAMAKIS PA                                  Contingent
         P.O. Box 11001                                               Unliquidated
         Ft Lauderdale, FL 33339-1001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0505
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 813 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 821 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.540
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFC OF W TRENT STEELE                                    Contingent
         10995 SE Federal Highway                                     Unliquidated
         Suite 9
                                                                      Disputed
         Hobe Sound, FL 33455
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9122                      Is the claim subject to offset?     No       Yes

3.540
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF ALEXANDER R                                      Contingent
         319 Clematis Street Suite 602                                Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8794
                                                                   Is the claim subject to offset?     No       Yes

3.540
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF ANDREW C MOLER PA                                Contingent
         801 N Magnolia Avenue Suite 204                              Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9395
                                                                   Is the claim subject to offset?     No       Yes

3.540
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF BEATRIZ A LLORENTE                               Contingent
         12925 SW 132nd Street                                        Unliquidated
         Suite 4
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9874                      Is the claim subject to offset?     No       Yes

3.540
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF C ANTHONY RUMORE                                 Contingent
         517 Southwest 1st Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301-2803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9183
                                                                   Is the claim subject to offset?     No       Yes

3.540
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF CARLOS A CESPEDES                                Contingent
         14750 S.W. 26 Street                                         Unliquidated
         Suite 116
                                                                      Disputed
         Miami, FL 33185
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0233                      Is the claim subject to offset?     No       Yes

3.540
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF CRAIG ESQUENAZI PA                               Contingent
         800 Southeast 3rd Avenue Suite 300                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8840
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 814 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 822 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.540
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF ERIC J GRABOIS                                   Contingent
         1666 79th Street Causeway                                    Unliquidated
         Suite 500
                                                                      Disputed
         North Bay Village, FL 33141
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1709                      Is the claim subject to offset?     No       Yes

3.540
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF ERIC JOHN ENRIQUE                                Contingent
         836 Executive Lane Suite 120                                 Unliquidated
         Rockledge, FL 32955-3597
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9555
                                                                   Is the claim subject to offset?     No       Yes

3.541
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF EVERETT ALGERNON                                 Contingent
         111 N Pine Island Road Suite 105                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9777
                                                                   Is the claim subject to offset?     No       Yes

3.541
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF FRANKLIN C                                       Contingent
         17760 Northwest 2nd Avenue 100                               Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0564
                                                                   Is the claim subject to offset?     No       Yes

3.541
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF GISELA B GRANADO                                 Contingent
         10097 Cleary Boulevard Suite 373                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8524
                                                                   Is the claim subject to offset?     No       Yes

3.541
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF IRINA NEMTSEV PA                                 Contingent
         7777 Glades Road                                             Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33434
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6818                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 815 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 823 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.541
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF IVAN D PIEDRAHITA                                Contingent
         1868 N University Drive Suite 207                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2958
                                                                   Is the claim subject to offset?     No       Yes

3.541
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF JEFFREY A NUSSBAUM                               Contingent
         4800 Southwest 64th Avenue Suite 103                         Unliquidated
         Davie, FL 33314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7668
                                                                   Is the claim subject to offset?     No       Yes

3.541
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF JOSEPH A HEINTZ                                  Contingent
         18245 Paulson Drive                                          Unliquidated
         Port Charlotte, FL 33954
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8424
                                                                   Is the claim subject to offset?     No       Yes

3.541
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF KENNETH D KOSSOW                                 Contingent
         1325 Diplomat Parkway                                        Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1751
                                                                   Is the claim subject to offset?     No       Yes

3.541
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF MARILYN L MALOY PA                               Contingent
         P.O. Box 640035                                              Unliquidated
         Miami, FL 33164-0035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2292
                                                                   Is the claim subject to offset?     No       Yes

3.541
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFCS OF MERRYL A BROWN PA                                Contingent
         101 Northeast 3rd Avenue Sutie 1500                          Unliquidated
         Ft Lauderdale, FL 33301-1181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9758
                                                                   Is the claim subject to offset?     No       Yes

3.542
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF OJ ODUNNA PA                                     Contingent
         Third Floor Suite 301                                        Unliquidated
         7491 W Oakland Park Boulevard
                                                                      Disputed
         Lauderhill, FL 33319
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9415                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 816 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 824 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.542
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF RAMON A CUE                                      Contingent
         255 University Drive                                         Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1634
                                                                   Is the claim subject to offset?     No       Yes

3.542
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF RAWNY GARAY PA                                   Contingent
         19 W Flagler Street Suite 707                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9458
                                                                   Is the claim subject to offset?     No       Yes

3.542
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF REGINALD D                                       Contingent
         115 S Andrews Avenue Suite 423                               Unliquidated
         Ft Lauderdale, FL 33301-1826
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9186
                                                                   Is the claim subject to offset?     No       Yes

3.542
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF RICHARD L DENAPOLI                               Contingent
         1720 Harrison Street Suite 6ce                               Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9217
                                                                   Is the claim subject to offset?     No       Yes

3.542
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF ROLAND CHERASARD                                 Contingent
         909 N Miami Beach Boulevard Suite 501                        Unliquidated
         N Miami Beach, FL 33162-3718
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0465
                                                                   Is the claim subject to offset?     No       Yes

3.542
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF SHEREA ANN FERRER                                Contingent
         7523 Aloma Avenue Suite 211                                  Unliquidated
         Winter Park, FL 32792-9158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9715
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 817 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 825 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.542
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFCS OF SUSANA VILLARRUEL                                Contingent
         10200 Northwest 25th Street Suite 201                        Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9199
                                                                   Is the claim subject to offset?     No       Yes

3.542
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC MICHELLE C AUSTIN                                   Contingent
         3800 Inverrary Boulevard Suite 101-D                         Unliquidated
         Lauderhill, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8909
                                                                   Is the claim subject to offset?     No       Yes

3.542
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF ALFREDO J DIAZ PA                                Contingent
         7455 W Flagler Street                                        Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1603
                                                                   Is the claim subject to offset?     No       Yes

3.543
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF ARLENE C UDICK PA                                Contingent
         39245 Tacoma Drive                                           Unliquidated
         Lady Lake, FL 32159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6190
                                                                   Is the claim subject to offset?     No       Yes

3.543
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF CATHERINE W ZIPPAY                               Contingent
         1401 E Atlantic Avenue Suite B                               Unliquidated
         Pompano Beach, FL 33060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4775
                                                                   Is the claim subject to offset?     No       Yes

3.543
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF DANIEL M BERMAN PA                               Contingent
         600 Southwest 4th Avenue Suite 114                           Unliquidated
         Ft Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3184
                                                                   Is the claim subject to offset?     No       Yes

3.543
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF GENA K THORNTON PL                               Contingent
         550 Water Street Suite 947                                   Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2665
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 818 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 826 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.543
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF GERALD K SCHWARTZ                                Contingent
         1691 Michigan Avenue                                         Unliquidated
         Suite 250
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3262                      Is the claim subject to offset?     No       Yes

3.543
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF I ED PANTALEON PA                                Contingent
         1645 E Highway 50 Suite 102                                  Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2704
                                                                   Is the claim subject to offset?     No       Yes

3.543
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF LORA L BEDFORD PA                                Contingent
         1900 Main Street Suite 750                                   Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6119
                                                                   Is the claim subject to offset?     No       Yes

3.543
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF MICHELE SAMAROO PA                               Contingent
         12550 Biscayne Boulevard Suite 500                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5881
                                                                   Is the claim subject to offset?     No       Yes

3.543
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFC OF R KELLEN BRYANT PL                               Contingent
         2033 Flesher Avenue                                          Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6757
                                                                   Is the claim subject to offset?     No       Yes

3.543
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFC OF ROBERT G CHURCHILL                               Contingent
         232 E 5th Avenue                                             Unliquidated
         Tallahasee, FL 32303-6206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2824
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 819 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 827 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.544
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFC OF TREY MILLER III PA                               Contingent
         3101 N. Federal Highway                                      Unliquidated
         Suite 606
                                                                      Disputed
         Ft Lauderdale, FL 33306-1018
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5397                      Is the claim subject to offset?     No       Yes

3.544
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCE OF DORIS M RODRIGUEZ                               Contingent
         13753 Linden Drive                                           Unliquidated
         Spring Hill, FL 34609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6122
                                                                   Is the claim subject to offset?     No       Yes

3.544
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF AMY G BELLHORN                                  Contingent
         P.O. Box 12168                                               Unliquidated
         St Petersburg, FL 33733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2840
                                                                   Is the claim subject to offset?     No       Yes

3.544
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF ANTOINE ISMA PA                                 Contingent
         801 Northeast 167th Street 2nd Floor                         Unliquidated
         Miami, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4029
                                                                   Is the claim subject to offset?     No       Yes

3.544
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF APRIL E ROLLE PL                                Contingent
         15751 Sheridan Street Suite 205                              Unliquidated
         Ft Lauderdale, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2897
                                                                   Is the claim subject to offset?     No       Yes

3.544
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF BRAD E KELSKY PA                                Contingent
         10189 Cleary Boulevard Suite 102                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5589
                                                                   Is the claim subject to offset?     No       Yes

3.544
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF CLAUDINE T SMIKLE                               Contingent
         Suite 130                                                    Unliquidated
         1580 Sawgrass Corporate Parkway
                                                                      Disputed
         Sunrise, FL 33323
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7811                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 820 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 828 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.544
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF DEANA A HOLIDAY                                 Contingent
         17760 Northwest 2nd Avenue Suite 100                         Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8315
                                                                   Is the claim subject to offset?     No       Yes

3.544
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF GINGER A MIRANDA                                Contingent
         3295 South US Highway 1                                      Unliquidated
         Ft Pierce, FL 34982
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7566
                                                                   Is the claim subject to offset?     No       Yes

3.544
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF GREGORY R GEORGE                                Contingent
         5190 Casa Real Drive                                         Unliquidated
         Delray Beach, FL 33484
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2685
                                                                   Is the claim subject to offset?     No       Yes

3.545
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFCS OF JOSEPH A CARBALLO                               Contingent
         2355 Salzedo Street                                          Unliquidated
         Suite 300
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5528                      Is the claim subject to offset?     No       Yes

3.545
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF KADIAN L FERGUSON                               Contingent
         119 Lake Darby Pl                                            Unliquidated
         Gotha, FL 34734-5208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4282
                                                                   Is the claim subject to offset?     No       Yes

3.545
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF KERTCH J CONZE PA                               Contingent
         3600 Red Road Suite 402                                      Unliquidated
         Miramar, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3138
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 821 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 829 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.545
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF RICHARDSON &                                    Contingent
         3525 Bonita Beach Road                                       Unliquidated
         Suite 103
                                                                      Disputed
         Bonita Springs, FL 34134-4192
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5223                      Is the claim subject to offset?     No       Yes

3.545
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF ROBERT P RESKE                                  Contingent
         309 Northeast 22nd Street                                    Unliquidated
         Wilton Manors, FL 33305-1114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2563
                                                                   Is the claim subject to offset?     No       Yes

3.545
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFCS OF RUIZ & RODRIGUEZ                                Contingent
         3850 Bird Road Suite 302                                     Unliquidated
         Miami, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2442
                                                                   Is the claim subject to offset?     No       Yes

3.545
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAW OFFCS OF STEPHEN G MELCER                                Contingent
         4800 N Federal Highway Suite 300-D                           Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7512
                                                                   Is the claim subject to offset?     No       Yes

3.545
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFCS OF STEPHEN K HACHEY PA                             Contingent
         4007 N Taliaferro Avenue Suite B                             Unliquidated
         Tampa, FL 33603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6787
                                                                   Is the claim subject to offset?     No       Yes

3.545
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFCS OF WILLIAM H PINCUS                                Contingent
         1555 Palm Beach Lakes Blvd.                                  Unliquidated
         Suite 320
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9313                      Is the claim subject to offset?     No       Yes

3.545
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         5201 Blue Lagoon Drive 8th Floor                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3923
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 822 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 830 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.546
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         2202 N West Shore Boulevard Suite 200                        Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3083
                                                                   Is the claim subject to offset?     No       Yes

3.546
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         8370 W Flagler Street Suite 226                              Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2405
                                                                   Is the claim subject to offset?     No       Yes

3.546
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         2500 Weston Road Suite 213                                   Unliquidated
         Weston, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2097
                                                                   Is the claim subject to offset?     No       Yes

3.546
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         1640 Citrine Trail                                           Unliquidated
         Tarpon Springs, FL 34689-2021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1626
                                                                   Is the claim subject to offset?     No       Yes

3.546
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         200 Central Avenue 3rd Floor                                 Unliquidated
         St Petersburg, FL 33701-4353
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9057
                                                                   Is the claim subject to offset?     No       Yes

3.546
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         5050 San Pablo Road S                                        Unliquidated
         Jacksonville, FL 32224-0829
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8234
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 823 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 831 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.546
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         2005 S Federal Highway Suite 100                             Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7634
                                                                   Is the claim subject to offset?     No       Yes

3.546
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF                                                Contingent
         9200 Belvedere Road                                          Unliquidated
         Suite 113
                                                                      Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6757                      Is the claim subject to offset?     No       Yes

3.546
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF                                                Contingent
         4000 Ponce de Leon Blvd.                                     Unliquidated
         Suite 470
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9595                      Is the claim subject to offset?     No       Yes

3.546
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ADAM FRANZEN                                   Contingent
         400 Southeast 8th Street                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2101
                                                                   Is the claim subject to offset?     No       Yes

3.547
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Office of Albert Naon, Jr. P.A.                          Contingent
         3785 NW 82nd Avenue                                          Unliquidated
         Suite 107
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8218                      Is the claim subject to offset?     No       Yes

3.547
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF ALEXIS GONZALEZ                                Contingent
         3162 Commodore Plaza                                         Unliquidated
         Suite 3E
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8284                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 824 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 832 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.547
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Aliette H. Carolan, P.A.                       Contingent
         1541 Sunset Drive Suite 201                                  Unliquidated
         Coral Gables, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7423
                                                                   Is the claim subject to offset?     No       Yes

3.547
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Andrea Hache, P.L.L.C.                         Contingent
         2645 Executive Park Drive                                    Unliquidated
         Suite 118
                                                                      Disputed
         Weston, FL 33331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0562                      Is the claim subject to offset?     No       Yes

3.547
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF ANDREW A                                       Contingent
         P.O. Box 2671                                                Unliquidated
         West Palm Beach, FL 33402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6433
                                                                   Is the claim subject to offset?     No       Yes

3.547
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ANDREW M DAVID                                 Contingent
         P.O. Box 273126                                              Unliquidated
         Boca Raton, FL 33427-3126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9366
                                                                   Is the claim subject to offset?     No       Yes

3.547
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ANDREW M REED                                  Contingent
         53 Lake Morton Drive                                         Unliquidated
         Suite 100
                                                                      Disputed
         Lakeland, FL 33801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5700                      Is the claim subject to offset?     No       Yes

3.547
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Anita Geraci-Carver, P.A.                      Contingent
         1560 Bloxam Avenue                                           Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7732
                                                                   Is the claim subject to offset?     No       Yes

3.547
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ANN W ROGERS PA                                Contingent
         533 N Nova Road                                              Unliquidated
         Suite 104A
                                                                      Disputed
         Ormond Beach, FL 32174
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2694                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 825 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 833 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.547
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Barry M. Deets, P.A.                           Contingent
         2100 SE Hillmoor Drive                                       Unliquidated
         Suite 202
                                                                      Disputed
         Port St. Lucie, FL 34952
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1064                      Is the claim subject to offset?     No       Yes

3.548
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Brett D. Bevis, PLLC                           Contingent
         1732 N. Ronald Reagan Blvd.                                  Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0576
                                                                   Is the claim subject to offset?     No       Yes

3.548
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF BRIAN H POLLOCK                                Contingent
         44 W Flagler Street Suite 675                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2539
                                                                   Is the claim subject to offset?     No       Yes

3.548
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Office of Brian P. Kowal, P.A.                           Contingent
         7351 Wiles Road                                              Unliquidated
         Suite 103
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8270                      Is the claim subject to offset?     No       Yes

3.548
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of C.D. Townsend, PLLC                            Contingent
         100 Court Street SE                                          Unliquidated
         Live Oak, FL 32064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0607
                                                                   Is the claim subject to offset?     No       Yes

3.548
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF CAMELLA L                                      Contingent
         10144 W Indiantown Road                                      Unliquidated
         Jupiter, FL 33478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4663
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 826 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 834 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.548
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Chad Barrett Penner, P.A.                      Contingent
         712 US Highway 1                                             Unliquidated
         Suite 300-7
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0139                      Is the claim subject to offset?     No       Yes

3.548
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF CHEESMAN &                                     Contingent
         1818 S Australian Avenue                                     Unliquidated
         Suite 406
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0491                      Is the claim subject to offset?     No       Yes

3.548
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Chester G. McLeod                              Contingent
         269 N University Drive Suite A                               Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8045
                                                                   Is the claim subject to offset?     No       Yes

3.548
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Christian Veras, L.L.C.                        Contingent
         5951 NW 173rd Drive                                          Unliquidated
         Suite 1
                                                                      Disputed
         Miami, FL 33015
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0575                      Is the claim subject to offset?     No       Yes

3.548
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Christine Alexander, P.A.                      Contingent
         9485 Sunset Drive                                            Unliquidated
         Suite A258-B
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0895                      Is the claim subject to offset?     No       Yes

3.549
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Christine M. Difiore, L.L.                     Contingent
         14201 W Sunrise Boulevard Suite 201                          Unliquidated
         Sunrise, FL 33323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6749
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 827 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 835 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.549
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAW OFFICE OF CONRAD WILLKOMM                                Contingent
         3201 Tamiami Trail N.                                        Unliquidated
         2nd Floor
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9389                      Is the claim subject to offset?     No       Yes

3.549
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Cynthia G. Angelos, P.A.                       Contingent
         P.O. Box 9163                                                Unliquidated
         Port St Lucie, FL 34985
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7865
                                                                   Is the claim subject to offset?     No       Yes

3.549
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF D GRANT LEGGETT                                Contingent
         841 Prudential Drive 12th Floor                              Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4656
                                                                   Is the claim subject to offset?     No       Yes

3.549
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF DAHLIA A                                       Contingent
         P.O. Box 821315                                              Unliquidated
         Pembroke Pines, FL 33082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9964
                                                                   Is the claim subject to offset?     No       Yes

3.549
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Office of Damian G. Waldman, P.A.                        Contingent
         10333 Seminole Boulevard                                     Unliquidated
         Units 1&2
                                                                      Disputed
         Seminole, FL 33778
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9383                      Is the claim subject to offset?     No       Yes

3.549
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Daniel C. Perri                                Contingent
         Suite 4 Eleventh Avenue Suite One                            Unliquidated
         Shalimar, FL 32579
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8322
                                                                   Is the claim subject to offset?     No       Yes

3.549
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Daniel Hernandez, PA                           Contingent
         7900 NW 155th Street                                         Unliquidated
         Suite 104
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0789                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 828 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 836 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.549
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of David H. Abrams                                Contingent
         P.O. Box 1246                                                Unliquidated
         Orlando, FL 32802-1246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7568
                                                                   Is the claim subject to offset?     No       Yes

3.549
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of David J. Berger, P.A.                          Contingent
         2020 Northeast 163rd Street Suite 103                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7703
                                                                   Is the claim subject to offset?     No       Yes

3.550
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Dawn Calache, P.A.                             Contingent
         3959 S Nova Road                                             Unliquidated
         Suite 2
                                                                      Disputed
         Port Orange, FL 32127
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0113                      Is the claim subject to offset?     No       Yes

3.550
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Devina Mistry, P.A.                            Contingent
         10637 North Kendall Drive                                    Unliquidated
         Suite 7G
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0438                      Is the claim subject to offset?     No       Yes

3.550
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Elias R. Hilal                                 Contingent
         12 SE 7th Street                                             Unliquidated
         Suite 700
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6947                      Is the claim subject to offset?     No       Yes

3.550
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Elizabeth Ermel Shrode, L.                     Contingent
         2161 Palm Beach Lakes Boulevard Suite 31                     Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7742
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 829 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 837 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.550
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ERIC D HIGHTOWER                               Contingent
         2815 Cuyahoga Lane                                           Unliquidated
         West Palm Beach, FL 33409-7241
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2482
                                                                   Is the claim subject to offset?     No       Yes

3.550
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Erik W. Emmett, P.A.                           Contingent
         2401 PGA Boulevard Suite 280-K                               Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9139
                                                                   Is the claim subject to offset?     No       Yes

3.550
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ERNIE DUKES PA                                 Contingent
         3512 Laurel Mill Drive                                       Unliquidated
         Orange Park, FL 32065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3042
                                                                   Is the claim subject to offset?     No       Yes

3.550
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF ERWIN DIAZ-SOLIS                               Contingent
         10661 N Kendall Drive                                        Unliquidated
         Suite 113
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5123                      Is the claim subject to offset?     No       Yes

3.550
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF EVAN D GEORGE PA                               Contingent
         4400 Northwest 23rd Avenue Suite A                           Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5698
                                                                   Is the claim subject to offset?     No       Yes

3.550
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF EVELINA LIBHEN                                 Contingent
         16711 Collins Avenue Suite 1208                              Unliquidated
         Sunny Isles, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8248
                                                                   Is the claim subject to offset?     No       Yes

3.551
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF FRANKLIN FIELDS                                Contingent
         311 State Road 26                                            Unliquidated
         Melrose, FL 32666
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6318
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 830 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 838 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.551
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF GARETH BULLOCK                                 Contingent
         5220 S University Drive Suite 106-C                          Unliquidated
         Davie, FL 33328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8500
                                                                   Is the claim subject to offset?     No       Yes

3.551
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of George A. Alvarez                              Contingent
         10300 Sunset Drive Suite 140                                 Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7472
                                                                   Is the claim subject to offset?     No       Yes

3.551
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF GEX F RICHARDSON                               Contingent
         P.O. Box 2503                                                Unliquidated
         Ft Lauderdale, FL 33303-2503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4492
                                                                   Is the claim subject to offset?     No       Yes

3.551
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF GRAZI & GIANINO                                Contingent
         P.O. Drawer 2846                                             Unliquidated
         Stuart, FL 34995-2846
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6955
                                                                   Is the claim subject to offset?     No       Yes

3.551
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Gretchen M. Ortiz                              Contingent
         467 Lake Howell Road                                         Unliquidated
         Suite 201-A
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0756                      Is the claim subject to offset?     No       Yes

3.551
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF HAN-RALSTON PLLC                               Contingent
         8907 Regents Park Drive                                      Unliquidated
         Suite 390
                                                                      Disputed
         Tampa, FL 33647
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2053                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 831 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 839 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.551
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF HEATHER G ELLIS                                Contingent
         950 S Pine Island Road Suite A-150                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2907
                                                                   Is the claim subject to offset?     No       Yes

3.551
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Hitesh K. Gupta                                Contingent
         5340 N. Federal Highway                                      Unliquidated
         Suite 204
                                                                      Disputed
         Lighthouse Point, FL 33064
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9484                      Is the claim subject to offset?     No       Yes

3.551
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Office of Ian G. Bacheikov, P.A.                         Contingent
         945 Pennsylvania Avenue 1st Floor                            Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7470
                                                                   Is the claim subject to offset?     No       Yes

3.552
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF IAN J NELSON                                   Contingent
         96 E Eau Gallie Causeway                                     Unliquidated
         Melbourne, FL 32937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4752
                                                                   Is the claim subject to offset?     No       Yes

3.552
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF J BRIAN HURT PA                                Contingent
         4245 Watermill Avenue                                        Unliquidated
         Orlando, FL 32817-1378
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8596
                                                                   Is the claim subject to offset?     No       Yes

3.552
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF J M PEREZ JR &                                 Contingent
         7975 Northwest 154th Street Suite 420                        Unliquidated
         Hialeah, FL 33016-5849
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7605
                                                                   Is the claim subject to offset?     No       Yes

3.552
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF J ROSS MACBETH                                 Contingent
         2543 US 27th S                                               Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4436
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 832 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 840 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.552
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of J. Bernard Chery, P.A.                         Contingent
         1221 W. Colonial Drive                                       Unliquidated
         Suite 201
                                                                      Disputed
         Orlando, FL 32804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1061                      Is the claim subject to offset?     No       Yes

3.552
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JACK D KING                                    Contingent
         4870 S Orange Blossom Trail Suite 2                          Unliquidated
         Orlando, FL 32839
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1976
                                                                   Is the claim subject to offset?     No       Yes

3.552
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of James E. Favero, III, P.A.                     Contingent
         1555 N. Maitland Ave.                                        Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0743
                                                                   Is the claim subject to offset?     No       Yes

3.552
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF JAMIE B GREUSEL                                Contingent
         1104 N. Collier Boulevard                                    Unliquidated
         Marco Island, FL 34145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6679
                                                                   Is the claim subject to offset?     No       Yes

3.552
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JANIS L BURKE                                  Contingent
         P.O. Box 2177                                                Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7596
                                                                   Is the claim subject to offset?     No       Yes

3.552
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LAW OFFICE OF JASON TRACEY PA                                Contingent
         10299 Southern Blvd                                          Unliquidated
         #211472
                                                                      Disputed
         Royal Palm Beach, FL 33421
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3945                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 833 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 841 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.553
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JEFFREY A SHEER                                Contingent
         Law Office Of Jeffrey A Sheer P.A.                           Unliquidated
         6000 Turkey Lake Road, Suite 103
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8520                      Is the claim subject to offset?     No       Yes

3.553
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JEFFREY M                                      Contingent
         3400 Tamiami Trail N                                         Unliquidated
         Unit 203
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0587                      Is the claim subject to offset?     No       Yes

3.553
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JERRY A RIGGS SR                               Contingent
         1926 Hollywood Boulevard Suite 314                           Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6418
                                                                   Is the claim subject to offset?     No       Yes

3.553
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Jerry D. Haynes, P.A.                          Contingent
         DBA HaynesLegal Group                                        Unliquidated
         9128 Strada Place,
                                                                      Disputed
         Naples, FL 34108
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0487                      Is the claim subject to offset?     No       Yes

3.553
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Office of Jocic & Koulianos, P.A.                        Contingent
         26 W. Orange Street                                          Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0932
                                                                   Is the claim subject to offset?     No       Yes

3.553
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JOHN W MILEFF                                  Contingent
         4811 Southwest 8th Place Condo 103                           Unliquidated
         Cape Coral, FL 33914
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8609
                                                                   Is the claim subject to offset?     No       Yes

3.553
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JON B COATS JR                                 Contingent
         4055 Central Avenue                                          Unliquidated
         St. Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0018
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 834 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 842 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.553
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JOSE G OLIVEIRA                                Contingent
         33 E. Robinson Street                                        Unliquidated
         Suite 215
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6067                      Is the claim subject to offset?     No       Yes

3.553
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Law Office of Jose R. Fernandez, P.A.                        Contingent
         2780 SW 87th Avenue                                          Unliquidated
         Suite 100
                                                                      Disputed
         Miami, FL 33165
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7525                      Is the claim subject to offset?     No       Yes

3.553
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JOSEPH DARA                                    Contingent
         906 Atlantic Avenue                                          Unliquidated
         Baldwin, NY 11510
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5603
                                                                   Is the claim subject to offset?     No       Yes

3.554
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JOSEPH F SUCHYTA                               Contingent
         1420 NE Miami Place                                          Unliquidated
         Suite 2911
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3010                      Is the claim subject to offset?     No       Yes

3.554
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF JOSEPH P                                       Contingent
         6274 Linton Boulevard Suite 101                              Unliquidated
         Delray Beach, FL 33484
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8242
                                                                   Is the claim subject to offset?     No       Yes

3.554
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Julie Lewis Hauf                               Contingent
         2164 W First Street Unit A                                   Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6900
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 835 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 843 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.554
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Karen A. Thompson                              Contingent
         2054 Vista Parkway, Suite 400                                Unliquidated
         West Palm Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8713
                                                                   Is the claim subject to offset?     No       Yes

3.554
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF KAREN M BROWN PA                               Contingent
         1 H Lexington Lane East                                      Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6878
                                                                   Is the claim subject to offset?     No       Yes

3.554
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF KEISHA N HARRIS                                Contingent
         1844 N Nob Hill Road Suite 112                               Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0539
                                                                   Is the claim subject to offset?     No       Yes

3.554
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Kelly Kobielush                                Contingent
         1010 E Adams Street Suite 134                                Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9762
                                                                   Is the claim subject to offset?     No       Yes

3.554
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF KENYA C BRADSHAW                               Contingent
         P.O. Box 15315                                               Unliquidated
         Plantation, FL 33318
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0420
                                                                   Is the claim subject to offset?     No       Yes

3.554
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Kolleen C. Bannon, LLC                         Contingent
         4440 PGA Boulevard                                           Unliquidated
         Suite 600
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0934                      Is the claim subject to offset?     No       Yes

3.554
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Kyle Felty, P.A.                               Contingent
         725 N. Highway A1A                                           Unliquidated
         Suite C112
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9845                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 836 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 844 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.555
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF LASHAWN STRACHAN                               Contingent
         5118 N. 56th Street                                          Unliquidated
         Suite 102
                                                                      Disputed
         Tampa, FL 33610
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0086                      Is the claim subject to offset?     No       Yes

3.555
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Latarsha Brown, P.A.                           Contingent
         401 E Jackson Street                                         Unliquidated
         Suite 2340
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0403                      Is the claim subject to offset?     No       Yes

3.555
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF LAWRENCE LEVY PA                               Contingent
         12781 Miramar Parkway Suite 203                              Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1633
                                                                   Is the claim subject to offset?     No       Yes

3.555
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF LELAND H TALCOTT                               Contingent
         2000 N. Dixie Highway                                        Unliquidated
         Suite 201
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6181                      Is the claim subject to offset?     No       Yes

3.555
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Lisette M. Blanco, P.A.                        Contingent
         7900 NW 155 Street                                           Unliquidated
         Unit 101
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8007                      Is the claim subject to offset?     No       Yes

3.555
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF LISSETTE A                                     Contingent
         14850 SW 26th Street                                         Unliquidated
         Suite 204
                                                                      Disputed
         Miami, FL 33185
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6091                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 837 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 845 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.555
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Luettich & Knight                              Contingent
         9b Florida Park Drive                                        Unliquidated
         Palm Coast, FL 32137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8040
                                                                   Is the claim subject to offset?     No       Yes

3.555
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Mallorye Cunningham, P.A.                      Contingent
         1645 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 1200
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0905                      Is the claim subject to offset?     No       Yes

3.555
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF MARC S TEPLITZ                                 Contingent
         525 SW Camden Avenue                                         Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9054
                                                                   Is the claim subject to offset?     No       Yes

3.555
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAW OFFICE OF MARK A DIENSTAG                                Contingent
         4000 Ponce De Leon Boulevard Suite 470                       Unliquidated
         Coral Gables, FL 33146-1432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2673
                                                                   Is the claim subject to offset?     No       Yes

3.556
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Marsha Berry, Esq.                             Contingent
         20200 West Dixie Highway                                     Unliquidated
         Suite 902
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6840                      Is the claim subject to offset?     No       Yes

3.556
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Matthew Rheingans, P.A.                        Contingent
         1314 E Venice Avenue Suite E                                 Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6852
                                                                   Is the claim subject to offset?     No       Yes

3.556
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF MELISSA A FERRIS                               Contingent
         1402 Edgewater Drive                                         Unliquidated
         Orlando, FL 32804-6353
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2494
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 838 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 846 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.556
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Michael S. Gross, P.A.                         Contingent
         7284 W. Palmetto Park Road                                   Unliquidated
         Suite 101
                                                                      Disputed
         Boca Raton, FL 33433-3406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9702                      Is the claim subject to offset?     No       Yes

3.556
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Michelle Mejia, PLLC                           Contingent
         66 W. Flagler Street                                         Unliquidated
         9th Floor
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0997                      Is the claim subject to offset?     No       Yes

3.556
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Nicole Testa Mehdipour, PA                     Contingent
         6278 North Federal Highway                                   Unliquidated
         Suite 408
                                                                      Disputed
         Fort Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0778                      Is the claim subject to offset?     No       Yes

3.556
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF NORMAN C POWELL                                Contingent
         1666 J.F. Kennedy Causeway                                   Unliquidated
         Suite 420
                                                                      Disputed
         North Bay Village, FL 33141
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8762                      Is the claim subject to offset?     No       Yes

3.556
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF PABLO E LENSE                                  Contingent
         901 Ponce De Leon Boulevard Suite 305                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7389
                                                                   Is the claim subject to offset?     No       Yes

3.556
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Patricia Lynch Franklin, P                     Contingent
         1570 Lakeview Drive                                          Unliquidated
         Suite 1
                                                                      Disputed
         Sebring, FL 33870
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1057                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 839 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 847 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.556
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF PAUL L KUTCHER                                 Contingent
         Laviva Plaza                                                 Unliquidated
         902 W Lumsden Road Suite 109
                                                                      Disputed
         Brandon, FL 33511
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4440                      Is the claim subject to offset?     No       Yes

3.557
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Paul R. Pearcy, P.A.                           Contingent
         7700 N. Kendall Drive                                        Unliquidated
         Suite 412
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9794                      Is the claim subject to offset?     No       Yes

3.557
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Paul W. Hunn, P.C.                             Contingent
         440 Louisiana Suite 900                                      Unliquidated
         Houston, TX 77002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7908
                                                                   Is the claim subject to offset?     No       Yes

3.557
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Peggy Urbaneja, P.A.                           Contingent
         7401 Wiles Road Suite 244                                    Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9290
                                                                   Is the claim subject to offset?     No       Yes

3.557
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF PELAYO DURAN PA                                Contingent
         4640 NW 7th Street                                           Unliquidated
         1st Floor
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4405                      Is the claim subject to offset?     No       Yes

3.557
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF PETER MAYAS                                    Contingent
         2784 Southwest 129th Terrace                                 Unliquidated
         Miramar, FL 33027-3852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9212
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 840 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 848 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.557
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAW OFFICE OF PETER PREVITI                                  Contingent
         Sunset Business Plaza                                        Unliquidated
         5825 Sunset Drive, Suite 210
                                                                      Disputed
         South Miami, FL 33143-5222
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6157                      Is the claim subject to offset?     No       Yes

3.557
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAW OFFICE OF PHILIP S KAPROW                                Contingent
         1318 Town Plaza Court                                        Unliquidated
         Winter Springs, FL 32708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6578
                                                                   Is the claim subject to offset?     No       Yes

3.557
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of R.H. Singletary, P.A.                          Contingent
         1808 N Morgan Street Suite A                                 Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8823
                                                                   Is the claim subject to offset?     No       Yes

3.557
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Rafael De Araujo, P.A.                         Contingent
         1221 Brickell Avenue                                         Unliquidated
         Suite 900
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8256                      Is the claim subject to offset?     No       Yes

3.557
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF RAMON RUBIO LLC                                Contingent
         950 S Pine Island Road Southeast 150-A                       Unliquidated
         Plantation, FL 33329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9680
                                                                   Is the claim subject to offset?     No       Yes

3.558
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Ray Benjamin Kiekel                            Contingent
         4627 Summer Oak Avenue E Suite 1014                          Unliquidated
         Sarasota, FL 34243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9273
                                                                   Is the claim subject to offset?     No       Yes

3.558
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF RAY GARCIA PA                                  Contingent
         14850 SW 26th Street                                         Unliquidated
         Suite 204
                                                                      Disputed
         Miami, FL 33185-5931
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5907                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 841 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 849 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.558
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF REBECCA I                                      Contingent
         P.O. Box 651838                                              Unliquidated
         Miami, FL 33265-1838
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0047
                                                                   Is the claim subject to offset?     No       Yes

3.558
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF RENAE MELTZER                                  Contingent
         5045 Southwest 7th Terrace                                   Unliquidated
         Miami, FL 33143-6003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7564
                                                                   Is the claim subject to offset?     No       Yes

3.558
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF REVECCA L A WOOD                               Contingent
         Brashear Marsh & Associates PL                               Unliquidated
         926 Northwest 13th Street
                                                                      Disputed
         Gainesville, FL 32601-4140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6824                      Is the claim subject to offset?     No       Yes

3.558
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF RIMA C BARDAWIL                                Contingent
         18520 Northwest 67th Avenue Suite 207                        Unliquidated
         Miami, FL 33015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2658
                                                                   Is the claim subject to offset?     No       Yes

3.558
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Robert S. Walton, PL                           Contingent
         1304 S De Soto Avenue Suite 307                              Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7979
                                                                   Is the claim subject to offset?     No       Yes

3.558
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Roxana De Los Reyes, P.A.                      Contingent
         2525 Ponce De Leon Boulevard                                 Unliquidated
         Suite 300
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9652                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 842 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 850 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.558
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF RUDOLPH GRIFFITH                               Contingent
         19755 Southwest 134th Court                                  Unliquidated
         Miami, FL 33177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4449
                                                                   Is the claim subject to offset?     No       Yes

3.558
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF S N CODNER PL                                  Contingent
         P.O. Box 260443                                              Unliquidated
         Pembroke Pines, FL 33026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5886
                                                                   Is the claim subject to offset?     No       Yes

3.559
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Sam Gonas, P.A.                                Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 805
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0875                      Is the claim subject to offset?     No       Yes

3.559
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF SAUNDERS &                                     Contingent
         7232 W. Sand Lake Road                                       Unliquidated
         Suite 202
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2069                      Is the claim subject to offset?     No       Yes

3.559
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF SEAN BOGLE                                     Contingent
         P.O. Box 151358                                              Unliquidated
         Altamonte Springs, FL 32715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6566
                                                                   Is the claim subject to offset?     No       Yes

3.559
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF SHEELEN G KHAN                                 Contingent
         13499 Biscayne Boulevard Suite T-3                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6198
                                                                   Is the claim subject to offset?     No       Yes

3.559
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF SHERNA SPENCER                                 Contingent
         4500 W Oakland Park Boulevard                                Unliquidated
         Lauderdale Lakes, FL 33313
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9161
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 843 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 851 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.559
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF SIAM JOSEPH PA                                 Contingent
         P.O. Box 22837                                               Unliquidated
         West Palm Beach, FL 33416-2837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0040
                                                                   Is the claim subject to offset?     No       Yes

3.559
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Stephany S. Garcia, P.A.                       Contingent
         8333 NW 53rd Street                                          Unliquidated
         Suite 450
                                                                      Disputed
         Miami, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1046                      Is the claim subject to offset?     No       Yes

3.559
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Steven M. Willner, P.A.                        Contingent
         6115 Stirling Road Suite 216                                 Unliquidated
         Davie, FL 33314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7121
                                                                   Is the claim subject to offset?     No       Yes

3.559
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of T. Findlay Stokes, P.A.                        Contingent
         DBA Findlay Stokes Law Firm                                  Unliquidated
         8551 W. Sunrise Blvd., Suite 101-A
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9248                      Is the claim subject to offset?     No       Yes

3.559
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF TAMI A PHILLIPS                                Contingent
         6412 N University Drive Suite 124                            Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6695
                                                                   Is the claim subject to offset?     No       Yes

3.560
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF TANYA T WILLIAMS                               Contingent
         7411 Northwest 186th Street                                  Unliquidated
         Hialeah, FL 33015-3005
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8143
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 844 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 852 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.560
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF THOMAS R HALES                                 Contingent
         9724 N Armenia Avenue Suite 200                              Unliquidated
         Tampa, FL 33612-7550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9746
                                                                   Is the claim subject to offset?     No       Yes

3.560
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICE OF TIFFANY S CRAIG                                Contingent
         P.O. Box 310048                                              Unliquidated
         Tampa, FL 33680-0048
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2720
                                                                   Is the claim subject to offset?     No       Yes

3.560
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF TODD PERKINS                                   Contingent
         6815 14th Street W Suite 105                                 Unliquidated
         Bradenton, FL 34207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2718
                                                                   Is the claim subject to offset?     No       Yes

3.560
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF TONY E MIZELLE                                 Contingent
         P.O. Box 5248                                                Unliquidated
         Lighthouse Point, FL 33074
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0483
                                                                   Is the claim subject to offset?     No       Yes

3.560
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF TRACEY L REDD                                  Contingent
         2551 4th Street                                              Unliquidated
         Ft Myers, FL 33901-2507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7472
                                                                   Is the claim subject to offset?     No       Yes

3.560
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF TROY NADER                                     Contingent
         5050 67th Street 1 Floor                                     Unliquidated
         Woodside, NY 11377-7548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2551
                                                                   Is the claim subject to offset?     No       Yes

3.560
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Valeria Schvartzman, P.A.                      Contingent
         2999 NE 191st Street                                         Unliquidated
         Suite 402
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7571                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 845 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 853 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.560
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF VALESKA CHACON                                 Contingent
         1529 Southwest First Street                                  Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1624
                                                                   Is the claim subject to offset?     No       Yes

3.560
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Vanessa Gonzalez -Vinas, P                     Contingent
         Park Plaza                                                   Unliquidated
         8900 Southwest 117 Avenue Suite B-201
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7307                      Is the claim subject to offset?     No       Yes

3.561
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF WESLEY R DOUGLAS                               Contingent
         P.O. Box 550                                                 Unliquidated
         Lake City, FL 32056-0550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2344
                                                                   Is the claim subject to offset?     No       Yes

3.561
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF WILLIAM GALARZA                                Contingent
         5602 Marquesas Circle Suite 210                              Unliquidated
         Sarasota, FL 34233-3359
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1967
                                                                   Is the claim subject to offset?     No       Yes

3.561
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of William M. Bustamante, Att                     Contingent
         2655 S. LeJeune Road                                         Unliquidated
         Suite 531
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5611                      Is the claim subject to offset?     No       Yes

3.561
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Office of Yoni Markhoff, P.A.                            Contingent
         1835 Northeast Miami Gardens Drive Suite                     Unliquidated
         North Miami Beach, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8829
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 846 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 854 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.561
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICE OF ZACHARY ZURICH                                 Contingent
         9600 Northwest 25th Street Ph                                Unliquidated
         Doral, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7175
                                                                   Is the claim subject to offset?     No       Yes

3.561
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         19390 Collins Avenue                                         Unliquidated
         Suite B3
                                                                      Disputed
         Sunny Isles, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6081                      Is the claim subject to offset?     No       Yes

3.561
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         P.O. Box 2121                                                Unliquidated
         Oldsmar, FL 34677
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5771
                                                                   Is the claim subject to offset?     No       Yes

3.561
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         514 Colorado Avenue                                          Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2362
                                                                   Is the claim subject to offset?     No       Yes

3.561
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         16401 Northwest 2nd Avenue Suite 102                         Unliquidated
         North Miami Beach, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2212
                                                                   Is the claim subject to offset?     No       Yes

3.561
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         11900 Biscayne Boulevard Suite 262                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9075
                                                                   Is the claim subject to offset?     No       Yes

3.562
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         90 Southwest 8th Street Suite 211                            Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8933
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 847 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 855 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.562
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         1999 W Colonial Drive Suite 204                              Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8803
                                                                   Is the claim subject to offset?     No       Yes

3.562
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         633 SE 3RD AVE STE 202                                       Unliquidated
         FT LAUDERDALE, FL 33301-3151
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8126
                                                                   Is the claim subject to offset?     No       Yes

3.562
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         3349 N University Drive Suite 6                              Unliquidated
         Hollywood, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7795
                                                                   Is the claim subject to offset?     No       Yes

3.562
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         7600 W 20th Avenue Suite 220                                 Unliquidated
         Hialeah, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7479
                                                                   Is the claim subject to offset?     No       Yes

3.562
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         2277 Main Street                                             Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7248
                                                                   Is the claim subject to offset?     No       Yes

3.562
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         4780 Davie Road Suite 101                                    Unliquidated
         Ft Lauderdale, FL 33314-4426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6507
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 848 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 856 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.562
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF                                               Contingent
         7600 W 20th Avenue Suite 220                                 Unliquidated
         Hialeah, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3739
                                                                   Is the claim subject to offset?     No       Yes

3.562
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF                                               Contingent
         6701 Sunset Drive Suite 104                                  Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2634
                                                                   Is the claim subject to offset?     No       Yes

3.562
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF                                               Contingent
         7410 Southwest 130th Avenue                                  Unliquidated
         Miami, FL 33183-3458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7807
                                                                   Is the claim subject to offset?     No       Yes

3.563
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF                                               Contingent
         5700 Northwest 2nd Avenue Apt 310                            Unliquidated
         Boca Raton, FL 33487-3878
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4835
                                                                   Is the claim subject to offset?     No       Yes

3.563
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAW OFFICES OF                                               Contingent
         2151 S. Le Jeune Road                                        Unliquidated
         Suite 204
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6506                      Is the claim subject to offset?     No       Yes

3.563
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAW OFFICES OF                                               Contingent
         9204 King Palm Drive                                         Unliquidated
         Tampa, FL 33619-1328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7131
                                                                   Is the claim subject to offset?     No       Yes

3.563
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAW OFFICES OF                                               Contingent
         2744 E. Commercial Blvd                                      Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5899
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 849 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 857 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.563
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         LAW OFFICES OF                                               Contingent
         701 Market Street                                            Unliquidated
         Unit 109
                                                                      Disputed
         St Augustine, FL 32095
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8978                      Is the claim subject to offset?     No       Yes

3.563
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         LAW OFFICES OF                                               Contingent
         P.O. Drawer 7323                                             Unliquidated
         Winter Haven, FL 33883-7323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8008
                                                                   Is the claim subject to offset?     No       Yes

3.563
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Adelina Ruiz, PA                              Contingent
         800 Village Square Crossing                                  Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0843
                                                                   Is the claim subject to offset?     No       Yes

3.563
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF AGNES CHAU PA                                 Contingent
         5114 W. Colonial Drive                                       Unliquidated
         Orlando, FL 32808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8338
                                                                   Is the claim subject to offset?     No       Yes

3.563
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF ALEXANDER B                                   Contingent
         12620-3 Beach Boulevard Suite 314                            Unliquidated
         Jacksonville, FL 32246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5847
                                                                   Is the claim subject to offset?     No       Yes

3.563
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF ALICE B NEWMAN                                Contingent
         2255 Glades Road                                             Unliquidated
         Suite 324
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5893                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 850 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 858 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.564
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF ANGELA BUCCI                                  Contingent
         2600 N Andrews Avenue                                        Unliquidated
         Wilton Manors, FL 33311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8317
                                                                   Is the claim subject to offset?     No       Yes

3.564
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Angelina Namia, PLLC                          Contingent
         1530 W. Boynton Beach Boulevard                              Unliquidated
         Unit 3361
                                                                      Disputed
         Boynton Beach, FL 33424
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9961                      Is the claim subject to offset?     No       Yes

3.564
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Annakaye Williams, P.A.                       Contingent
         888 Kingman Road                                             Unliquidated
         Homestead, FL 33035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6894
                                                                   Is the claim subject to offset?     No       Yes

3.564
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Annette Lopez, P.A.                           Contingent
         100 Almeria Avenue                                           Unliquidated
         Suite 204
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8315                      Is the claim subject to offset?     No       Yes

3.564
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF ARIEL POPLACK                                 Contingent
         900 S State Road 7                                           Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4936
                                                                   Is the claim subject to offset?     No       Yes

3.564
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF BORNSTEIN &                                   Contingent
         2138 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020-6716
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6876
                                                                   Is the claim subject to offset?     No       Yes

3.564
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF BRENDA COX                                    Contingent
         7000 W. Palmetto Park Road                                   Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9757                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 851 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 859 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.564
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF CARRILLO &                                    Contingent
         1313 Ponce de Leon Boulevard                                 Unliquidated
         Suite 300
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9847                      Is the claim subject to offset?     No       Yes

3.564
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF CARY SABOL                                    Contingent
         P.O. Box 15981                                               Unliquidated
         West Palm Beach, FL 33416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0266
                                                                   Is the claim subject to offset?     No       Yes

3.564
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Offices of Champagne & Surin, P.A.                       Contingent
         480 Northeast 13th Street                                    Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7968
                                                                   Is the claim subject to offset?     No       Yes

3.565
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF CHRIS B FISHER                                Contingent
         One Financial Plaza Suite 2111                               Unliquidated
         Ft Lauderdale, FL 33394
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7885
                                                                   Is the claim subject to offset?     No       Yes

3.565
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF CLINTON                                       Contingent
         305 Sixth Street                                             Unliquidated
         Port Saint Joe, FL 32456
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9272
                                                                   Is the claim subject to offset?     No       Yes

3.565
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Daren Rubenfeld, P.A.                         Contingent
         247-A Worth Avenue                                           Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9059
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 852 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 860 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.565
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of David H. Trevett, PL                          Contingent
         6900 Tavistock Lakes Blvd.                                   Unliquidated
         Suite 400
                                                                      Disputed
         Orlando, FL 32827
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8171                      Is the claim subject to offset?     No       Yes

3.565
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         LAW OFFICES OF DAVID J STERN                                 Contingent
         900 S Pine Island Road Suite A-150                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8997
                                                                   Is the claim subject to offset?     No       Yes

3.565
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of David S. Cohen, L.C.                          Contingent
         5728 Major Boulevard                                         Unliquidated
         Suite 550
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8423                      Is the claim subject to offset?     No       Yes

3.565
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF DEBORAH ROSE                                  Contingent
         P.O. Box 101                                                 Unliquidated
         Valrico, FL 33595-0101
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7779
                                                                   Is the claim subject to offset?     No       Yes

3.565
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF DIANA D CARLI                                 Contingent
         4012 Commons Drive W Unit 104                                Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1521
                                                                   Is the claim subject to offset?     No       Yes

3.565
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF DIANE GORDON                                  Contingent
         2699 Stirling Road                                           Unliquidated
         Suite C-301
                                                                      Disputed
         Ft Lauderdale, FL 33312
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6449                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 853 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 861 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.565
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF ELIZABETH J                                   Contingent
         7700 N. Kendall Drive                                        Unliquidated
         Suite 702
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2195                      Is the claim subject to offset?     No       Yes

3.566
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF EMANUEL S                                     Contingent
         2 Northeast 40th Street Suite 403                            Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9535
                                                                   Is the claim subject to offset?     No       Yes

3.566
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAW OFFICES OF ERIC ALLEN PA                                 Contingent
         620 Robin Road                                               Unliquidated
         Lakeland, FL 33803-4841
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4860
                                                                   Is the claim subject to offset?     No       Yes

3.566
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF ERIC T MAGOON                                 Contingent
         1031 Ives Dairy Road Suite 228                               Unliquidated
         North Miami Beach, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2270
                                                                   Is the claim subject to offset?     No       Yes

3.566
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Evan Fish, P.A.                               Contingent
         1401 Sawgrass Corporate Pkwy                                 Unliquidated
         Sunrise, FL 33323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0847
                                                                   Is the claim subject to offset?     No       Yes

3.566
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF FRED MOLDOVAN                                 Contingent
         999 Ponce De Leon Boulevard Suite 500                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9086
                                                                   Is the claim subject to offset?     No       Yes

3.566
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF GABRIELLE                                     Contingent
         4613 N University Drive Suite 55801                          Unliquidated
         Coral Springs, FL 33067-4602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6912
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 854 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 862 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.566
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Geoffrey Gilbert, P.A.                        Contingent
         433 Plaza Real Suite 275                                     Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8298
                                                                   Is the claim subject to offset?     No       Yes

3.566
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Greg Jean-Denis                               Contingent
         2955 Pineda Plaza Way Suite 125                              Unliquidated
         Melbourne, FL 32940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7003
                                                                   Is the claim subject to offset?     No       Yes

3.566
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF GREG ROSS                                     Contingent
         311 Southeast 10th Court                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7442
                                                                   Is the claim subject to offset?     No       Yes

3.566
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF HAYLEY B                                      Contingent
         10850 S Federal Highway                                      Unliquidated
         Port St Lucie, FL 34952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2811
                                                                   Is the claim subject to offset?     No       Yes

3.567
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Hector Garcia, P.A.                           Contingent
         5080 E 4th Avenue                                            Unliquidated
         Hialeah, FL 33013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8495
                                                                   Is the claim subject to offset?     No       Yes

3.567
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF IAN AIRD &                                    Contingent
         7850 Northwest 146th Street Suite 419                        Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7110
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 855 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 863 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.567
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF ILIANA FORTE PA                               Contingent
         3211 Ponce De Leon Boulevard Suite 200                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6391
                                                                   Is the claim subject to offset?     No       Yes

3.567
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF J ULISES HERRAN                               Contingent
         2655 S Lejeune Road 5th Floor                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7144
                                                                   Is the claim subject to offset?     No       Yes

3.567
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JACQUELINE M                                  Contingent
         9600 Northwest 38th Street Suite 301                         Unliquidated
         Doral, FL 33178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0411
                                                                   Is the claim subject to offset?     No       Yes

3.567
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Jake Miller, L.L.C.                           Contingent
         12550 Biscayne Boulevard Suite 800                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6492
                                                                   Is the claim subject to offset?     No       Yes

3.567
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of James Doddo, P.A.                             Contingent
         255 Alhambra Circle                                          Unliquidated
         Suite 925
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0710                      Is the claim subject to offset?     No       Yes

3.567
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JAMES W COLLINS                               Contingent
         7273 Bee Ridge Road                                          Unliquidated
         Sarasota, FL 34241
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0148
                                                                   Is the claim subject to offset?     No       Yes

3.567
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JARED QUARTELL                                Contingent
         840 US Highway 1                                             Unliquidated
         Suite 330
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8367                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 856 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 864 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.567
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Jarrett R. Williams, P.A.                     Contingent
         JRW Law                                                      Unliquidated
         401 E. Las Olas Boulevard, Suite 1400
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8431                      Is the claim subject to offset?     No       Yes

3.568
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Jeffrey A. Herzog, P.A.                       Contingent
         3106 ALT US Route 19                                         Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0525
                                                                   Is the claim subject to offset?     No       Yes

3.568
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JENNIFER D LEAL                               Contingent
         3676 SW 2nd Street                                           Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9012
                                                                   Is the claim subject to offset?     No       Yes

3.568
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF JEREMY M                                      Contingent
         4400 N Federal Highway Suite 307                             Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6420
                                                                   Is the claim subject to offset?     No       Yes

3.568
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JOAN MORRISON                                 Contingent
         9900 Sterling Road Suite 205                                 Unliquidated
         Cooper City, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1836
                                                                   Is the claim subject to offset?     No       Yes

3.568
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JOHN E BROWN PA                               Contingent
         6150 SR 70 East                                              Unliquidated
         Bradenton, FL 34203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0232
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 857 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 865 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.568
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JOHN F COLOWICH                               Contingent
         225 Main Street Suite 7c                                     Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5820
                                                                   Is the claim subject to offset?     No       Yes

3.568
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of John P.R. Washington, II,                     Contingent
         1014 N. Adams Street                                         Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0539
                                                                   Is the claim subject to offset?     No       Yes

3.568
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JORGE L FLORES                                Contingent
         7700 N Kendall Drive Suite 701                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2031
                                                                   Is the claim subject to offset?     No       Yes

3.568
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF JOSE C MARRERO                                Contingent
         1200 Brickell Avenue Suite 505                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6874
                                                                   Is the claim subject to offset?     No       Yes

3.568
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Josh D. Shocklee                              Contingent
         6515 Central Avenue                                          Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8341
                                                                   Is the claim subject to offset?     No       Yes

3.569
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Justin M. Brick, P.L.L.C.                     Contingent
         310 Almond Street                                            Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9311
                                                                   Is the claim subject to offset?     No       Yes

3.569
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF KAREN COHEN                                   Contingent
         1920 E Hallandale Beach Boulevard                            Unliquidated
         Hallandale, FL 33009-4722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2281
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 858 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 866 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.569
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF KATHLEEN M                                    Contingent
         351 S Cypress Road Suite 404b                                Unliquidated
         Pompano Beach, FL 33060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6050
                                                                   Is the claim subject to offset?     No       Yes

3.569
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF KATRINA D ROLLE                               Contingent
         215 Delta Court                                              Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2199
                                                                   Is the claim subject to offset?     No       Yes

3.569
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF KIMBERLY A                                    Contingent
         3858 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6996
                                                                   Is the claim subject to offset?     No       Yes

3.569
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF KRAVITZ &                                     Contingent
         801 Brickell Bay Drive                                       Unliquidated
         Box 18
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4283                      Is the claim subject to offset?     No       Yes

3.569
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF LARRY E BRAY PA                               Contingent
         2500 Quantum Lakes Drive 203-401                             Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8477
                                                                   Is the claim subject to offset?     No       Yes

3.569
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Lisa L. Daniels, P.A.                         Contingent
         902 Clint Moore Road                                         Unliquidated
         Suite 120
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8726                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 859 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 867 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.569
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF LUIS G MUSA                                   Contingent
         4160 W 16th Avenue Suite 402                                 Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0353
                                                                   Is the claim subject to offset?     No       Yes

3.569
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF LYDIA M GADD                                  Contingent
         P.O. Box 172                                                 Unliquidated
         Angel Fire, NM 87710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6252
                                                                   Is the claim subject to offset?     No       Yes

3.570
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF M LEVY PA                                     Contingent
         11645 Biscayne Boulevard Suite 305d                          Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2660
                                                                   Is the claim subject to offset?     No       Yes

3.570
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MARC H COHEN PA                               Contingent
         2200 S Dixie Highway Suite 702-A                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2029
                                                                   Is the claim subject to offset?     No       Yes

3.570
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MARGARITA PEREZ                               Contingent
         5001 SW 74th Court                                           Unliquidated
         Suite 104
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9254                      Is the claim subject to offset?     No       Yes

3.570
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MARIE G VITAL                                 Contingent
         471 Ives Dairy Road Apt C-102                                Unliquidated
         Miami, FL 33179-5419
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2856
                                                                   Is the claim subject to offset?     No       Yes

3.570
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Mark T. Stern, P.A.                           Contingent
         4326 E. Tradewinds Avenue                                    Unliquidated
         Lauderdale By The Sea, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9808
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 860 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 868 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.570
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Marlon K. A. Bennett, P.A                     Contingent
         12555 Orange Drive                                           Unliquidated
         Davie, FL 33330-4304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9240
                                                                   Is the claim subject to offset?     No       Yes

3.570
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF MARTY DAVIS PA                                Contingent
         609 Northeast 127th Street                                   Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5985
                                                                   Is the claim subject to offset?     No       Yes

3.570
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MATTHEW                                       Contingent
         2449 Southeast 8th Court                                     Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8290
                                                                   Is the claim subject to offset?     No       Yes

3.570
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Matthew Cain, P.L.L.C.                        Contingent
         919 N. Birch Road                                            Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6827
                                                                   Is the claim subject to offset?     No       Yes

3.570
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MAYRA TRINCHET                                Contingent
         486 Palm Avenue                                              Unliquidated
         Hialeah, FL 33010-4718
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7989
                                                                   Is the claim subject to offset?     No       Yes

3.571
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Melka M. Perez, P.A.                          Contingent
         7400 SW 157 Terrace                                          Unliquidated
         Palmetto Bay, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0820
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 861 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 869 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.571
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MICHAEL RAYNE                                 Contingent
         P.O. Box 13181                                               Unliquidated
         Mexico Beach, FL 32410-3181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0444
                                                                   Is the claim subject to offset?     No       Yes

3.571
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Michael W. Davey, P.L.L.C                     Contingent
         50 W Mashta Drive                                            Unliquidated
         Suite 4
                                                                      Disputed
         Key Biscayne, FL 33149
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6716                      Is the claim subject to offset?     No       Yes

3.571
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF MIGUEL PARLADE                                Contingent
         15715 S Dixie Highway Suite 405                              Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0583
                                                                   Is the claim subject to offset?     No       Yes

3.571
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF MILLER & WU PL                                Contingent
         802 E Colonial Drive                                         Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3915
                                                                   Is the claim subject to offset?     No       Yes

3.571
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Monica Amor, P.A.                             Contingent
         Invalid Address                                              Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7806
                                                                   Is the claim subject to offset?     No       Yes

3.571
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Nicholas G. Sadaka, P.A.                      Contingent
         8551 W. Sunrise Boulevard                                    Unliquidated
         Suite 102
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4580                      Is the claim subject to offset?     No       Yes

3.571
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Nora G. Chirinos, P.L.L.C                     Contingent
         1801 NE 123 Street                                           Unliquidated
         Suite 314
                                                                      Disputed
         Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9827                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 862 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 870 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.571
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF NORMAN S WEIDER                               Contingent
         200 S Biscayne Boulevard                                     Unliquidated
         6th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7230                      Is the claim subject to offset?     No       Yes

3.571
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF OLGA E PARRA                                  Contingent
         1010 Scarlet Oak Street                                      Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5727
                                                                   Is the claim subject to offset?     No       Yes

3.572
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Omaida Delgado, P.A.                          Contingent
         P.O. Box 823835                                              Unliquidated
         Pembroke Pines, FL 33082-3835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7858
                                                                   Is the claim subject to offset?     No       Yes

3.572
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Oscar J. Rodriguez, P.A.                      Contingent
         3850 Bird Road                                               Unliquidated
         Suite 903
                                                                      Disputed
         Miami, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7956                      Is the claim subject to offset?     No       Yes

3.572
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Patrick M. Stevens, P.A.                      Contingent
         5701 Overseas Highway                                        Unliquidated
         Suite 1
                                                                      Disputed
         Marathon, FL 33050
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8413                      Is the claim subject to offset?     No       Yes

3.572
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Paul Agbeyegbe                                Contingent
         1031 Ives Dairy Road                                         Unliquidated
         Building 4, Suite 228
                                                                      Disputed
         Miami, FL 33179
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0079                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 863 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 871 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.572
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Peter S. Heller, P.A.                         Contingent
         9100 S Dadeland Boulevard                                    Unliquidated
         Suite 903
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0338                      Is the claim subject to offset?     No       Yes

3.572
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF PHILIP H FORBES                               Contingent
         11382 Prosperity Farms Road Suite 227                        Unliquidated
         Palm Beach Gardens, FL 33410-3463
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1610
                                                                   Is the claim subject to offset?     No       Yes

3.572
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF REVA M BROWN                                  Contingent
         4498 Carlton Golf Drive                                      Unliquidated
         Welington, FL 33449
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4521
                                                                   Is the claim subject to offset?     No       Yes

3.572
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF REYES &                                       Contingent
         13876 Southwest 56th Street Suite 115                        Unliquidated
         Miami, FL 33175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2119
                                                                   Is the claim subject to offset?     No       Yes

3.572
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF RICHARDS &                                    Contingent
         7920 Northwest 6th Street Suite 205                          Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0358
                                                                   Is the claim subject to offset?     No       Yes

3.572
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF ROBERT J RIGGIO                               Contingent
         400 S. Palmetto Avenue                                       Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5639
                                                                   Is the claim subject to offset?     No       Yes

3.573
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF ROBERT W SEGUR                                Contingent
         1460 S McCall Road Suite 2-E                                 Unliquidated
         Englewood, FL 34223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2395
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 864 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 872 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.573
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Offices of Rodrigo S. Da Silva, P.A.                     Contingent
         777 Arthur Godfrey Road                                      Unliquidated
         Suite 402
                                                                      Disputed
         Miami Beach, FL 33140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8706                      Is the claim subject to offset?     No       Yes

3.573
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Roman Groysman, P.A.                          Contingent
         101 Northeast 3rd Avenue Suite 1100                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7937
                                                                   Is the claim subject to offset?     No       Yes

3.573
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Ryan T. Hughes, L.L.C.                        Contingent
         14360 S Tamiami Trail                                        Unliquidated
         Unit C
                                                                      Disputed
         Ft Myers, FL 33912
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9907                      Is the claim subject to offset?     No       Yes

3.573
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF S C JONES PA                                  Contingent
         P.O. Box 266306                                              Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8062
                                                                   Is the claim subject to offset?     No       Yes

3.573
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Samuel D. Transue, P.A.                       Contingent
         8590 Potter Park Drive                                       Unliquidated
         Sarasota, FL 34238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0547
                                                                   Is the claim subject to offset?     No       Yes

3.573
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Santiago Lavandera, P.A.                      Contingent
         815 NW 57 Avenue,                                            Unliquidated
         Suite 200-5
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0716                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 865 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 873 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.573
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF SARA SABA PA                                  Contingent
         2701 S Bayshore Drive Suite 602                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2403
                                                                   Is the claim subject to offset?     No       Yes

3.573
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Schwartz and Zonas, L.L.P                     Contingent
         700 2nd Avenue N.                                            Unliquidated
         Suite 102
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8773                      Is the claim subject to offset?     No       Yes

3.573
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF SCOT B COPELAND                               Contingent
         P.O. Drawer 916                                              Unliquidated
         Madison, FL 32341-0916
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9976
                                                                   Is the claim subject to offset?     No       Yes

3.574
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Scott A. Frank, P.A.                          Contingent
         3201 W. Commercial Boulevard                                 Unliquidated
         Suite 218
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6884                      Is the claim subject to offset?     No       Yes

3.574
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF SHENAE E HOBBS                                Contingent
         3076 Capri Isle Way                                          Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9274
                                                                   Is the claim subject to offset?     No       Yes

3.574
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF SQUIRESBENSON                                 Contingent
         DBA Squires International Law, PLLC                          Unliquidated
         1001 Brickell Bay Drive,
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9477                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 866 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 874 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.574
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Steve Taylor                                  Contingent
         407 Lincoln Road                                             Unliquidated
         Suite 310
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0409                      Is the claim subject to offset?     No       Yes

3.574
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF STEVEN M PENA                                 Contingent
         123 Southeast Third Avenue Suite 404                         Unliquidated
         Miami, FL 33131-2003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3763
                                                                   Is the claim subject to offset?     No       Yes

3.574
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Sunilda E. Casilla, P.A.                      Contingent
         1470 Northwest 107th Avenue Suite A                          Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8186
                                                                   Is the claim subject to offset?     No       Yes

3.574
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF SUSAN PNIEWSKI                                Contingent
         4812 San Juan Avenue                                         Unliquidated
         Jacksonville, FL 32205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5759
                                                                   Is the claim subject to offset?     No       Yes

3.574
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Svetlana Z. Nemeroff, L.L                     Contingent
         101 SE Ocean Boulevard                                       Unliquidated
         Suite 102
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8601                      Is the claim subject to offset?     No       Yes

3.574
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Terence J. Delahunty, Jr.                     Contingent
         118 E. Jefferson Street                                      Unliquidated
         Suite 202
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7582                      Is the claim subject to offset?     No       Yes

3.574
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAW OFFICES OF TERRY A LURIE                                 Contingent
         550 N Reo Street                                             Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4134
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 867 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 875 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.575
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF THE                                           Contingent
         6157 NW 167th Street                                         Unliquidated
         Suite F-21
                                                                      Disputed
         Miami, FL 33015
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8670                      Is the claim subject to offset?     No       Yes

3.575
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF THERESE PIKE                                  Contingent
         25 Seabreeze Avenue Suite 202                                Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6908
                                                                   Is the claim subject to offset?     No       Yes

3.575
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF THOMAS L NEWMAN                               Contingent
         1700 Juana Road                                              Unliquidated
         Suite C
                                                                      Disputed
         Boca Raton, FL 33486
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2516                      Is the claim subject to offset?     No       Yes

3.575
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF THOMAS W DVORAK                               Contingent
         633 S Andrews Avenue Suite 402                               Unliquidated
         Ft Lauderdale, FL 33301-2857
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3025
                                                                   Is the claim subject to offset?     No       Yes

3.575
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF TIM ALLEN PA                                  Contingent
         550 Okeechobee Boulevard Suite 526                           Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5747
                                                                   Is the claim subject to offset?     No       Yes

3.575
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAW OFFICES OF VANESSA K SNOW                                Contingent
         1002 Island Manor Drive                                      Unliquidated
         Greenacres, FL 33413
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1805
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 868 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 876 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.575
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Law Offices of Victor T. Armstrong, P.A.                     Contingent
         999 Ponce De Leon Boulevard Suite 510                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6878
                                                                   Is the claim subject to offset?     No       Yes

3.575
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICES OF WILLIAM W HAURY                               Contingent
         201 Southeast 6th Street Room 7790                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7948
                                                                   Is the claim subject to offset?     No       Yes

3.575
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFICS OF MARIO O MATEO PA                               Contingent
         2380 Southwest 117th Avenue                                  Unliquidated
         Miramar, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6640
                                                                   Is the claim subject to offset?     No       Yes

3.575
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAW OFFS OF IRMA I BARRIOS PA                                Contingent
         7220 Northwest 36th Street Suite 122                         Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9364
                                                                   Is the claim subject to offset?     No       Yes

3.576
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Law Services, P.A.                                           Contingent
         3006 Aviation Avenue                                         Unliquidated
         Suite 3A
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8737                      Is the claim subject to offset?     No       Yes

3.576
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE A CAPLAN                                            Contingent
         1375 Gateway Boulevard                                       Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0490
                                                                   Is the claim subject to offset?     No       Yes

3.576
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE A FRANCE                                            Contingent
         1001 N Miami Beach Boulevard                                 Unliquidated
         North Miami Beach, FL 33162-3842
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8548
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 869 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 877 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.576
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAWRENCE A LEVINE PA                                         Contingent
         300 SE 17th Street                                           Unliquidated
         Ft. Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8510
                                                                   Is the claim subject to offset?     No       Yes

3.576
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE B JURAN PA                                          Contingent
         1200 Corporate Center Way Suite 100                          Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2374
                                                                   Is the claim subject to offset?     No       Yes

3.576
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE B PITT                                              Contingent
         111 N Orange Avenue 20th Floor                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7968
                                                                   Is the claim subject to offset?     No       Yes

3.576
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE BIELER                                              Contingent
         2825 University Drive                                        Unliquidated
         Suite 300
                                                                      Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9783                      Is the claim subject to offset?     No       Yes

3.576
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE BLACKE                                              Contingent
         3326 Northeast 33rd Street                                   Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8566
                                                                   Is the claim subject to offset?     No       Yes

3.576
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         LAWRENCE BRAISTED                                            Contingent
         507 W Main Street                                            Unliquidated
         Inverness, FL 34450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4957
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 870 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 878 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.576
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE BUNIN                                               Contingent
         P.O. Box 16816                                               Unliquidated
         Plantation, FL 33318-6816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6955
                                                                   Is the claim subject to offset?     No       Yes

3.577
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE C SCHILL                                            Contingent
         226 S Palafox Street 6th Floor                               Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5812
                                                                   Is the claim subject to offset?     No       Yes

3.577
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE C UPDIKE                                            Contingent
         P.O. Box 231                                                 Unliquidated
         Lake Wales, FL 33859-0231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7727
                                                                   Is the claim subject to offset?     No       Yes

3.577
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE D BLACK                                             Contingent
         The Pcta Building                                            Unliquidated
         650 Seminole Boulevard
                                                                      Disputed
         Largo, FL 34640
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4827                      Is the claim subject to offset?     No       Yes

3.577
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE D JOHNSON                                           Contingent
         925 S Denning Drive Suite 4                                  Unliquidated
         Winter Park, FL 32789-4959
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8543
                                                                   Is the claim subject to offset?     No       Yes

3.577
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE D ZIETZ                                             Contingent
         8181 W Broward Boulevard Suite 201                           Unliquidated
         Plantation, FL 33324-2049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4644
                                                                   Is the claim subject to offset?     No       Yes

3.577
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE E HAYDEN JR                                         Contingent
         DBA Hayden Law                                               Unliquidated
         1301 Penman Road
                                                                      Disputed
         Jacksonville Beach, FL 32250
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9097                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 871 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 879 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.577
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,729.71
         LAWRENCE E MURPHY                                            Contingent
         Suite B-201                                                  Unliquidated
         11211 Prosperity Farms Road                                  Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9442                      Is the claim subject to offset?     No       Yes


3.577
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE E. LYMAN                                            Contingent
         4747 Central Avenue                                          Unliquidated
         St Petersburg, FL 33713-8139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3294
                                                                   Is the claim subject to offset?     No       Yes

3.577
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE F GALLMAN                                           Contingent
         P.O. Box 540                                                 Unliquidated
         Orlando, FL 32802-0540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3994
                                                                   Is the claim subject to offset?     No       Yes

3.577
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE F KAINE                                             Contingent
         170 Northeast 29th Street                                    Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4117
                                                                   Is the claim subject to offset?     No       Yes

3.578
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE F KAIZEN                                            Contingent
         Suite 203                                                    Unliquidated
         1820 N Corporate Lakes Boulevard
                                                                      Disputed
         Weston, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5779                      Is the claim subject to offset?     No       Yes

3.578
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE F MICHELSON                                         Contingent
         1550 Madruga Avenue Suite 120                                Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4046
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 872 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 880 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.578
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE F. KRANERT, JR PA                                   Contingent
         P.O. Box 926                                                 Unliquidated
         Ft. Lauderdale, FL 33302-0926
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6728
                                                                   Is the claim subject to offset?     No       Yes

3.578
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LAWRENCE H FEDER                                             Contingent
         3900 Hollywood Boulevard                                     Unliquidated
         Suite 103
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6651                      Is the claim subject to offset?     No       Yes

3.578
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE H KATZ                                              Contingent
         470 Hillandale Lane                                          Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3686
                                                                   Is the claim subject to offset?     No       Yes

3.578
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE J BOHANNON                                          Contingent
         1141 Southeast 2nd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316-1007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6261
                                                                   Is the claim subject to offset?     No       Yes

3.578
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE J FORNO                                             Contingent
         P.O. Box 1327                                                Unliquidated
         Pompano Beach, FL 33061
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7051
                                                                   Is the claim subject to offset?     No       Yes

3.578
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         LAWRENCE J MARCHBANKS PA                                     Contingent
         110 Cleveland Avenue                                         Unliquidated
         Wildwood, FL 34785
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6994
                                                                   Is the claim subject to offset?     No       Yes

3.578
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,499.32
         LAWRENCE J MEYER                                             Contingent
         125 N 46th Avenue                                            Unliquidated
         Hollywood, FL 33021                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8397
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 873 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 881 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.578
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE J MILLER                                            Contingent
         2300 Glades Road Suite 400 E                                 Unliquidated
         2200 Corporate Boulevard Northwest Suite
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7606                      Is the claim subject to offset?     No       Yes

3.579
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE J NAVARRO                                           Contingent
         8362 Pines Boulevard Suite 377                               Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8723
                                                                   Is the claim subject to offset?     No       Yes

3.579
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE J SPIEGEL                                           Contingent
         343 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134-5811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7184
                                                                   Is the claim subject to offset?     No       Yes

3.579
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAWRENCE JAY DAVIS PA                                        Contingent
         1601 N. Flamingo Road                                        Unliquidated
         Suite 1
                                                                      Disputed
         Pembroke Pines, FL 33028-1004
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8343                      Is the claim subject to offset?     No       Yes

3.579
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE K JUDD                                              Contingent
         1995 E Oakland Park Boulevard                                Unliquidated
         Suite 105
                                                                      Disputed
         Ft Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2427                      Is the claim subject to offset?     No       Yes

3.579
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE KLEPETKO CHARTERED                                  Contingent
         46 N Washington Boulevard Suite 15                           Unliquidated
         Sarasota, FL 34236-5920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6499
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 874 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 882 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.579
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE M ABRAMSON                                          Contingent
         1860 Forest Hill Boulevard                                   Unliquidated
         Suite 200
                                                                      Disputed
         West Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9873                      Is the claim subject to offset?     No       Yes

3.579
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE M FLASTER                                           Contingent
         13363 Northwest 11th Drive                                   Unliquidated
         Sunrise, FL 33323-2934
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6156
                                                                   Is the claim subject to offset?     No       Yes

3.579
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LAWRENCE M HANKIN PA                                         Contingent
         100 Wallace Avenue                                           Unliquidated
         Suite 100
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6624                      Is the claim subject to offset?     No       Yes

3.579
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE M KASEN                                             Contingent
         50 N Market Street                                           Unliquidated
         Charleston, SC 29401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5802
                                                                   Is the claim subject to offset?     No       Yes

3.579
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE M WOLF                                              Contingent
         3117 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33021-6326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4214
                                                                   Is the claim subject to offset?     No       Yes

3.580
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE N NATINSKY                                          Contingent
         9400 S Dadeland Boulevard Ph 5                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5160
                                                                   Is the claim subject to offset?     No       Yes

3.580
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         LAWRENCE N NATINSKY                                          Contingent
         DBA Landmark Title Company                                   Unliquidated
         9124 Greenstone Ridge Way
                                                                      Disputed
         Boynton Beach, FL 33473
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5160                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 875 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 883 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.580
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LAWRENCE R STEINER                                           Contingent
         797 Douglas Avenue                                           Unliquidated
         Altamonte Springs, FL 32714-2541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6782
                                                                   Is the claim subject to offset?     No       Yes

3.580
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE S KLITZMAN PA                                       Contingent
         P.O. Box 267430                                              Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6692
                                                                   Is the claim subject to offset?     No       Yes

3.580
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE S SILVER                                            Contingent
         3731 N Cntry Club Drive Apt 1521                             Unliquidated
         Aventura, FL 33180-1743
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6934
                                                                   Is the claim subject to offset?     No       Yes

3.580
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LAWRENCE S SMITH                                             Contingent
         1745 Camino Palmero Street Apt 208                           Unliquidated
         Los Angeles, CA 90046-2918
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0830
                                                                   Is the claim subject to offset?     No       Yes

3.580
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE U TAUBE                                             Contingent
         500 S. Australian Avenue                                     Unliquidated
         Suite 630
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5183                      Is the claim subject to offset?     No       Yes

3.580
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWRENCE W THOMAS                                            Contingent
         Weiffenbach & Thomas P.A.                                    Unliquidated
         6400 Manatee Avenue W Suite I
                                                                      Disputed
         Bradenton, FL 34209-2357
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4150                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 876 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 884 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.580
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAWRENCE WEINER                                              Contingent
         1428 Brickell Avenue 4th Floor                               Unliquidated
         Miami, FL 33131-3409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5971
                                                                   Is the claim subject to offset?     No       Yes

3.580
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lawyer Mike D., P.L.L.C.                                     Contingent
         21 Old Kings Road North                                      Unliquidated
         Suite B-212
                                                                      Disputed
         Palm Coast, FL 32137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9655                      Is the claim subject to offset?     No       Yes

3.581
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAWYERS SERVICES GROUP PA                                    Contingent
         467 Lake Howell Road Suite 209                               Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4602
                                                                   Is the claim subject to offset?     No       Yes

3.581
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lawyers Title Network                                        Contingent
         7751 Kingspointe Pkwy                                        Unliquidated
         Unit 110
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7463                      Is the claim subject to offset?     No       Yes

3.581
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAYNE VEREBAY                                                Contingent
         8201 Peters Road Suite 1000                                  Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5245
                                                                   Is the claim subject to offset?     No       Yes

3.581
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAZ L SCHNEIDER                                              Contingent
         100 Northeast 3rd Avenue Suite 400                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7009
                                                                   Is the claim subject to offset?     No       Yes

3.581
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LAZARO J LOPEZ                                               Contingent
         2333 Brickell Avenue Suite A1                                Unliquidated
         Miami, FL 33129-2497
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9961
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 877 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 885 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.581
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LAZARUS ROTHSTEIN                                            Contingent
         800 Brickell Avenue 4th Floor                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8072
                                                                   Is the claim subject to offset?     No       Yes

3.581
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LAZER APTHEKER ROSELLA & YEDID                               Contingent
         515 N. Flagler Drive                                         Unliquidated
         Suite 400
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5827                      Is the claim subject to offset?     No       Yes

3.581
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEANDRO NUNEZ                                                Contingent
         13458 Southwest 62nd Street Apt Q103                         Unliquidated
         Miami, FL 33183-5063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8560
                                                                   Is the claim subject to offset?     No       Yes

3.581
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LEANDRO O LEAL PA                                            Contingent
         4221 SW 75th Avenue                                          Unliquidated
         Miami, FL 33155-4475
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3320
                                                                   Is the claim subject to offset?     No       Yes

3.581
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LEBOEUF LAMB GREENE & MACRAE                                 Contingent
         50 N Laura Street Suite 2800                                 Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7271
                                                                   Is the claim subject to offset?     No       Yes

3.582
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LEE B GORDON                                                 Contingent
         265 Sunrise Avenue Suite 204                                 Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3591
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 878 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 886 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.582
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEE B SAYLER PA                                              Contingent
         323 River Drive                                              Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5982
                                                                   Is the claim subject to offset?     No       Yes

3.582
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEE C SCHMACHTENBERG                                         Contingent
         Suite 201 Sunset Building                                    Unliquidated
         1533 Sunset Drive
                                                                      Disputed
         Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3814                      Is the claim subject to offset?     No       Yes

3.582
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEE C TRAVELSTEAD                                            Contingent
         201 Sun Bank Building                                        Unliquidated
         221 Commercial Boulevard
                                                                      Disputed
         Lauderdale By The Sea, FL 33308-4489
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1002                      Is the claim subject to offset?     No       Yes

3.582
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEE D GLASSMAN                                               Contingent
         2200 N. Commerce Parkway                                     Unliquidated
         Suite 105
                                                                      Disputed
         Ft Lauderdale, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2974                      Is the claim subject to offset?     No       Yes

3.582
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEE F CARNEY                                                 Contingent
         P.O. Box 366343                                              Unliquidated
         Bonita Springs, FL 34136
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7845
                                                                   Is the claim subject to offset?     No       Yes

3.582
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEE H GROSS                                                  Contingent
         100 Biscayne Boulevard Suite 2810                            Unliquidated
         Miami, FL 33132-2305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4031
                                                                   Is the claim subject to offset?     No       Yes

3.582
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEE H SCHILLINGER                                            Contingent
         4601 Sheridan Street Suite 202                               Unliquidated
         Hollywood, FL 33021-3432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6431
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 879 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 887 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.582
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lee H. Schillinger, P.A.                                     Contingent
         2200 N Commerce Parkway                                      Unliquidated
         Unit 200
                                                                      Disputed
         Weston, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6431                      Is the claim subject to offset?     No       Yes

3.582
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEE HUSZAGH                                                  Contingent
         249 E Virginia Street                                        Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 426
                                                                   Is the claim subject to offset?     No       Yes

3.583
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEE I MANDELL ESQ                                            Contingent
         16 Wild Ivy Run                                              Unliquidated
         Hendersonville, NC 28739
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7471
                                                                   Is the claim subject to offset?     No       Yes

3.583
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LEE JAY COLLING & ASSOCIATES                                 Contingent
         529 Versailles Drive                                         Unliquidated
         Suite 103
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5536                      Is the claim subject to offset?     No       Yes

3.583
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEE S JOHNSON JR                                             Contingent
         4908 Northwest 34th Street Suite 9                           Unliquidated
         Gainesville, FL 32605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2294
                                                                   Is the claim subject to offset?     No       Yes

3.583
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEEDS COLBY PARIS SPENCE                                     Contingent
         2400 S Dixie Highway                                         Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2027
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 880 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 888 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.583
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEENETTE W MCMILLAN                                          Contingent
         P.O. Box 1388                                                Unliquidated
         Mayo, FL 32066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6436
                                                                   Is the claim subject to offset?     No       Yes

3.583
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LeFever and Patel, PA                                        Contingent
         1111 NE 25th Avenue                                          Unliquidated
         Suite 501
                                                                      Disputed
         Ocala, FL 34470
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0966                      Is the claim subject to offset?     No       Yes

3.583
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Legacy Law, P.A.                                             Contingent
         150 SE 2nd Avenue                                            Unliquidated
         Suite 1410
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9260                      Is the claim subject to offset?     No       Yes

3.583
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Legal Milestone, P.A.                                        Contingent
         6099 Stirling Road                                           Unliquidated
         Suite 210
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0077                      Is the claim subject to offset?     No       Yes

3.583
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Legal Tree, P.A.                                             Contingent
         6278 N Federal Highway Suite 256                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9091
                                                                   Is the claim subject to offset?     No       Yes

3.583
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEGON PONCE & FODIMAN PA                                     Contingent
         1111 Brickell Avenue Suite 2150                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4973
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 881 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 889 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.584
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lehn Law, P.A.                                               Contingent
         1777 Tamiami Trail                                           Unliquidated
         Suite 505
                                                                      Disputed
         Port Charlotte, FL 33948
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0591                      Is the claim subject to offset?     No       Yes

3.584
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $190.00
         LEIBY CONSTRUCTION LAW FIRM PA                               Contingent
         1390 N University Drive                                      Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5227
                                                                   Is the claim subject to offset?     No       Yes

3.584
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Leiderman Shelomith + Somodevilla, PLLC                      Contingent
         One Biscayne Tower                                           Unliquidated
         2 S Biscayne Boulevard, Suite 2300
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8559                      Is the claim subject to offset?     No       Yes

3.584
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         LEIGH M FISHER PA                                            Contingent
         P.O. Drawer 101465                                           Unliquidated
         Cape Coral, FL 33910
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6200
                                                                   Is the claim subject to offset?     No       Yes

3.584
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEIGH M ROSENTHAL                                            Contingent
         2701 Lejeune Road Suite 404                                  Unliquidated
         Coral Gables, FL 33134-5821
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4230
                                                                   Is the claim subject to offset?     No       Yes

3.584
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LEIGH TUCKER PA                                              Contingent
         481 E Highway 50                                             Unliquidated
         Suite 201
                                                                      Disputed
         Clermont, FL 34711
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6586                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 882 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 890 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.584
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEILA D ANDERSON                                             Contingent
         Leila D. Anderson P.A.                                       Unliquidated
         2911 Southwest 22nd Circle Unit 37b
                                                                      Disputed
         Delray Beach, FL 33445
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4415                      Is the claim subject to offset?     No       Yes

3.584
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LELAND W WOOTEN JR                                           Contingent
         335 S Plumosa Street Suite E                                 Unliquidated
         Merritt Island, FL 32952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4928
                                                                   Is the claim subject to offset?     No       Yes

3.584
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LENOFF & LENOFF PA                                           Contingent
         4800 N. Federal Highway                                      Unliquidated
         Building E, Suite 301
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4891                      Is the claim subject to offset?     No       Yes

3.584
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LENORA M BACH                                                Contingent
         7600 Southwest 69th Avenue                                   Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8143
                                                                   Is the claim subject to offset?     No       Yes

3.585
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEO A MANZANILLA PA                                          Contingent
         770 Ponce De Leon Boulevard Suite 101                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4591
                                                                   Is the claim subject to offset?     No       Yes

3.585
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEO GREENFIELD PA                                            Contingent
         11601 Biscayne Boulevard Suite 201                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4270
                                                                   Is the claim subject to offset?     No       Yes

3.585
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LEO L BENTZ PA                                               Contingent
         980 N Federal Highway Suite 205                              Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3696
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 883 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 891 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.585
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $13.29
         LEON A ROTH                                                  Contingent
         13701 Southwest 12th Street                                  Unliquidated
         Pembroke Pines, FL 33027-3555
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7516
                                                                   Is the claim subject to offset?     No       Yes

3.585
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEON B CHEEK III                                             Contingent
         P.O. Box 715                                                 Unliquidated
         Winter Park, FL 32790-0715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7025
                                                                   Is the claim subject to offset?     No       Yes

3.585
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEON E SHARPE                                                Contingent
         4770 Biscayne Boulevard Suite 970                            Unliquidated
         Miami, FL 33137-3252
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7551
                                                                   Is the claim subject to offset?     No       Yes

3.585
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEON G NICHOLS                                               Contingent
         1627 US Highway 1                                            Unliquidated
         Suite 218
                                                                      Disputed
         Sebastian, FL 32958
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5286                      Is the claim subject to offset?     No       Yes

3.585
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Leon Law Office, P.A.                                        Contingent
         3785 NW 82 Avenue                                            Unliquidated
         Suite 417
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0690                      Is the claim subject to offset?     No       Yes

3.585
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEON OLDAK                                                   Contingent
         217 N Miami Avenue                                           Unliquidated
         Miami, FL 33128-1529
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4708
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 884 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 892 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.585
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEON POMERANCE                                               Contingent
         6961 Brandon Mill Road Northwest                             Unliquidated
         Atlanta, GA 30328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4597
                                                                   Is the claim subject to offset?     No       Yes

3.586
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEON STROMIRE                                                Contingent
         P.O. Box 8248                                                Unliquidated
         Cocoa, FL 32924-8248
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0464
                                                                   Is the claim subject to offset?     No       Yes

3.586
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEON WHITEHURST JR                                           Contingent
         720 Snug Is                                                  Unliquidated
         Clearwater, FL 33767-1831
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1227
                                                                   Is the claim subject to offset?     No       Yes

3.586
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $31,779.93
         LEONARD & MORRISON                                           Contingent
         2817 E Oakland Park Boulevard                                Unliquidated
         Suite 201-A                                                  Disputed
         Ft Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 970                       Is the claim subject to offset?     No       Yes


3.586
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,065.35
         LEONARD A SELBER                                             Contingent
         959 Maple Lane                                               Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4531
                                                                   Is the claim subject to offset?     No       Yes

3.586
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEONARD ALTERWEIN                                            Contingent
         8930 State Road 84 Suite 324                                 Unliquidated
         Ft Lauderdale, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5586
                                                                   Is the claim subject to offset?     No       Yes

3.586
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEONARD E MONDSCHEIN                                         Contingent
         10691 N. Kendall Drive                                       Unliquidated
         Suite 205
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5983                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 885 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 893 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.586
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD F BAER                                               Contingent
         2600 Douglas Road Ph3                                        Unliquidated
         Coral Gables, FL 33134-6125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4288
                                                                   Is the claim subject to offset?     No       Yes

3.586
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD FRISHMAN                                             Contingent
         P.O. Box 326                                                 Unliquidated
         Crystal River, FL 34423-0326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3098
                                                                   Is the claim subject to offset?     No       Yes

3.586
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEONARD H BAIRD JR                                           Contingent
         P.O. Drawer 121066                                           Unliquidated
         Clermont, FL 34712-1066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7011
                                                                   Is the claim subject to offset?     No       Yes

3.586
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEONARD H RUBIN PA                                           Contingent
         1125 Alfred I Dupont Building                                Unliquidated
         169 E Flagler Street
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4212                      Is the claim subject to offset?     No       Yes

3.587
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEONARD H. JOHNSON                                           Contingent
         P.O. Box 2337                                                Unliquidated
         Dade City, FL 33526-2337
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7866
                                                                   Is the claim subject to offset?     No       Yes

3.587
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $65.00
         LEONARD HANSER                                               Contingent
         2294 Palmetto Road                                           Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6893
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 886 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 894 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.587
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD I SINGER                                             Contingent
         1860 Forest Hill Boulevard                                   Unliquidated
         Suite 201
                                                                      Disputed
         West Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4403                      Is the claim subject to offset?     No       Yes

3.587
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEONARD J CONNORS                                            Contingent
         1007 E Reynolds Street                                       Unliquidated
         Plant City, FL 33566-3756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7534
                                                                   Is the claim subject to offset?     No       Yes

3.587
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEONARD J DUDZIAK                                            Contingent
         13326 W Blue Bonnet Drive                                    Unliquidated
         Sun City West, AZ 85375-2536
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 601
                                                                   Is the claim subject to offset?     No       Yes

3.587
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $479.92
         LEONARD L SHELDON                                            Contingent
         1935 S Conway Road R-8                                       Unliquidated
         Orlando, FL 32812-8610                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3554
                                                                   Is the claim subject to offset?     No       Yes

3.587
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEONARD L. LISZEWSKI                                         Contingent
         2110 S. Cleveland Avenue                                     Unliquidated
         Ft. Myers, FL 33901-3403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6470
                                                                   Is the claim subject to offset?     No       Yes

3.587
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEONARD L. STAFFORD                                          Contingent
         201 S.E 6th Street                                           Unliquidated
         Ft. Lauderdale, FL 33301-3302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3592
                                                                   Is the claim subject to offset?     No       Yes

3.587
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD OSHINSKY PA                                          Contingent
         350 E. Las Olas Boulevard                                    Unliquidated
         Suite 970
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0357                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 887 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 895 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.587
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD P REINA                                              Contingent
         255 8th Street S                                             Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2516
                                                                   Is the claim subject to offset?     No       Yes

3.588
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD RUTLAND JR                                           Contingent
         759 S Federal Highway Suite 218                              Unliquidated
         Stuart, FL 34994-2972
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6379
                                                                   Is the claim subject to offset?     No       Yes

3.588
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEONARD SELKOWITZ                                            Contingent
         8640 Southwest 87th Terrace                                  Unliquidated
         Miami, FL 33143-6952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3451
                                                                   Is the claim subject to offset?     No       Yes

3.588
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD SMITH                                                Contingent
         P.O. Box 7599                                                Unliquidated
         St Petersburg, FL 33734
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4121
                                                                   Is the claim subject to offset?     No       Yes

3.588
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEONARD SPIELVOGEL                                           Contingent
         P.O. Box 1362                                                Unliquidated
         Cape Canaveral, FL 32920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1900
                                                                   Is the claim subject to offset?     No       Yes

3.588
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARD T LINCOLN                                            Contingent
         206 S Arrawana Avenue                                        Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8086
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 888 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 896 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.588
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LEONARD U STOLAR                                             Contingent
         300 71st Street Suite 540                                    Unliquidated
         Miami Beach, FL 33141-3038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3163
                                                                   Is the claim subject to offset?     No       Yes

3.588
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARDO D STARKE I                                          Contingent
         3340 Southwest 32nd Avenue                                   Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8972
                                                                   Is the claim subject to offset?     No       Yes

3.588
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARDO J MAIMAN                                            Contingent
         3100 Barnett Center                                          Unliquidated
         50 N Laura Street
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0402                      Is the claim subject to offset?     No       Yes

3.588
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARDO P MENDEZ ESQ                                        Contingent
         2530 Southwest 5th Avenue                                    Unliquidated
         Miami, FL 33129-2215
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4207
                                                                   Is the claim subject to offset?     No       Yes

3.588
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEONARDO SPITALE JR                                          Contingent
         1355 SW 17th Terrace                                         Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1537
                                                                   Is the claim subject to offset?     No       Yes

3.589
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LEONCIO E DE LA PENA                                         Contingent
         De La Pena Group P.A.                                        Unliquidated
         601 Brickell Key Drive Suite 705
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8252                      Is the claim subject to offset?     No       Yes

3.589
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEOPOLD KORN & LEOPOLD PA                                    Contingent
         18851 NE 29th Avenue                                         Unliquidated
         Suite 410
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5722                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 889 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 897 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.589
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $831.62
         LEROY V ZUGRAVU                                              Contingent
         4840 S Boulevard Northwest Suite 3                           Unliquidated
         Canton, OH 44718-1948                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1911
                                                                   Is the claim subject to offset?     No       Yes

3.589
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LES H STEVENS                                                Contingent
         4612 N Flagler Drive Suite 201                               Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2397
                                                                   Is the claim subject to offset?     No       Yes

3.589
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Les Laroche PL                                               Contingent
         947 NE 125 Street                                            Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1065
                                                                   Is the claim subject to offset?     No       Yes

3.589
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LES SCHNEIDERMAN                                             Contingent
         7877 Rockport Circle                                         Unliquidated
         Lake Worth, FL 33467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8539
                                                                   Is the claim subject to offset?     No       Yes

3.589
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESER HUNTER TAUBMAN & TAUBMAN                               Contingent
         1000 5th Street Suite 200                                    Unliquidated
         Miami Beach, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0355
                                                                   Is the claim subject to offset?     No       Yes

3.589
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Leslie & Ofstein Law Group, P.L.L.C.                         Contingent
         7401 Wiles Road                                              Unliquidated
         Suite 105
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8577                      Is the claim subject to offset?     No       Yes

3.589
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LESLIE A TODD                                                Contingent
         14545 Southwest 84th Avenue                                  Unliquidated
         Palmetto Bay, FL 33158-1414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4055
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 890 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 898 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.589
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESLIE ALAN SCHERE                                           Contingent
         1865 Brickell Avenue Suite A-207                             Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2648
                                                                   Is the claim subject to offset?     No       Yes

3.590
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESLIE CAMPIONE PA                                           Contingent
         342 E. 5th Avenue                                            Unliquidated
         Mount Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0038
                                                                   Is the claim subject to offset?     No       Yes

3.590
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LESLIE H BERGER                                              Contingent
         6526 Via Vicenza                                             Unliquidated
         Delray Beach, FL 33446
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4241
                                                                   Is the claim subject to offset?     No       Yes

3.590
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESLIE J SCHREIBER PA                                        Contingent
         4095 Hardie Avenue                                           Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8431
                                                                   Is the claim subject to offset?     No       Yes

3.590
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LESLIE L FLOREZ                                              Contingent
         782 NW Le Jeune Road                                         Unliquidated
         Suite 350
                                                                      Disputed
         Miami, FL 33126-5524
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8247                      Is the claim subject to offset?     No       Yes

3.590
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESLIE LAVIN-PENA                                            Contingent
         19495 Biscayne Boulevard Suite 400                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0620
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 891 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 899 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.590
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESLIE ROBERT EVANS & ASSCS PA                               Contingent
         214 Brazilian Avenue Suite 200                               Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2351
                                                                   Is the claim subject to offset?     No       Yes

3.590
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         LESSER LESSER LANDY & SMITH                                  Contingent
         101 Northpoint Parkway                                       Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4021
                                                                   Is the claim subject to offset?     No       Yes

3.590
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LESTER BALES JR                                              Contingent
         P.O. Box 1445                                                Unliquidated
         Zephyrhillis, FL 33539-1445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1043
                                                                   Is the claim subject to offset?     No       Yes

3.590
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESTER G KATES                                               Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 808
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0614                      Is the claim subject to offset?     No       Yes

3.590
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LESTER M BLAIN                                               Contingent
         L M Buddy Blain                                              Unliquidated
         801 S Boulevard
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1706                      Is the claim subject to offset?     No       Yes

3.591
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LESTER RICHARD GROSS                                         Contingent
         P.O. Box 2521                                                Unliquidated
         Tarpon Springs, FL 34688
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8307
                                                                   Is the claim subject to offset?     No       Yes

3.591
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LESTER S KAFER                                               Contingent
         8102 Puffin Drive                                            Unliquidated
         Orlando, FL 32825-7846
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1729
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 892 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 900 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.591
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LETITIA E WOOD                                               Contingent
         111 N Orange Avenue Suite 900                                Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3833
                                                                   Is the claim subject to offset?     No       Yes

3.591
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         LEVIN & MCMILLAN PA                                          Contingent
         9385 N 56th Street Suite 200                                 Unliquidated
         Temple Terrace, FL 33617-5505
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4506
                                                                   Is the claim subject to offset?     No       Yes

3.591
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LEVIN LAW LC                                                 Contingent
         1444 1st Street                                              Unliquidated
         Suite A
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5022                      Is the claim subject to offset?     No       Yes

3.591
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,081.76
         LEVIN MIDDLEBROOKS MABIE                                     Contingent
         P.O. Box 12308                                               Unliquidated
         Pensacola, FL 32581-2308                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2820
                                                                   Is the claim subject to offset?     No       Yes

3.591
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEVIN MORGAN & LONGO LLC                                     Contingent
         165 W Jessup Avenue                                          Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3067
                                                                   Is the claim subject to offset?     No       Yes

3.591
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LEVINE & PARTNERS PA                                         Contingent
         3350 Mary Street                                             Unliquidated
         Miami, FL 33133-5215
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0675
                                                                   Is the claim subject to offset?     No       Yes

3.591
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LEVINE GEIGER & PERLOW                                       Contingent
         1428 Brickell Avenue 6th Floor                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8649
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 893 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 901 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.591
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Levine Kellogg Lehman Schneider + Grossm                     Contingent
         100 SE 2nd Street                                            Unliquidated
         Suite 3600
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0849                      Is the claim subject to offset?     No       Yes

3.592
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         LEVINE LAW OFFICE                                            Contingent
         5425 Golden Gate Parkway                                     Unliquidated
         Suite 3
                                                                      Disputed
         Naples, FL 34116
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 101                       Is the claim subject to offset?     No       Yes

3.592
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LEVY & ASSOCIATES PA                                         Contingent
         Levy & Associates P.A.                                       Unliquidated
         1732 N. Ronald Reagan Boulevard
                                                                      Disputed
         Longwood, FL 32750
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5783                      Is the claim subject to offset?     No       Yes

3.592
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         LEVY & LEVY                                                  Contingent
         802 Spinnaker Drive E                                        Unliquidated
         Hollywood, FL 33019-5025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2982
                                                                   Is the claim subject to offset?     No       Yes

3.592
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Levy Closings, P.A.                                          Contingent
         1001 Yamato Road                                             Unliquidated
         Suite 401
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1220                      Is the claim subject to offset?     No       Yes

3.592
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $256.30
         LEVY KNEEN PL                                                Contingent
         1601 Forum Place                                             Unliquidated
         Suite 500
                                                                      Disputed
         West Palm Beach, FL 33401-7412
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8211                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 894 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 902 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.592
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEW A MERRYDAY                                               Contingent
         425 N Palm Avenue Suite B                                    Unliquidated
         Palatka, FL 32177-2500
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5865
                                                                   Is the claim subject to offset?     No       Yes

3.592
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEWIS & CRICHTON                                             Contingent
         P.O. Box 1119                                                Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6551
                                                                   Is the claim subject to offset?     No       Yes

3.592
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         LEWIS & LEWIS PA                                             Contingent
         P.O. Box 10029                                               Unliquidated
         Tallahassee, FL 32302-2029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4579
                                                                   Is the claim subject to offset?     No       Yes

3.592
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEWIS D MILLEDGE JR                                          Contingent
         4700 Southwest 74th Street                                   Unliquidated
         South Miami, FL 33143-6117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 485
                                                                   Is the claim subject to offset?     No       Yes

3.592
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEWIS E DINKINS                                              Contingent
         201 Northeast 8th Avenue                                     Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3993
                                                                   Is the claim subject to offset?     No       Yes

3.593
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,488.09
         LEWIS H HILL III                                             Contingent
         P.O. Box 3391                                                Unliquidated
         Tampa, FL 33601-3391                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0225
                                                                   Is the claim subject to offset?     No       Yes

3.593
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEWIS H HOMER III                                            Contingent
         P.O. Box 151                                                 Unliquidated
         Brooksville, FL 34605-0151
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4967
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 895 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 903 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.593
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LEWIS LONGMAN & WALKER PA                                    Contingent
         360 S. Rosemary Avenue                                       Unliquidated
         Suite 1100
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2155                      Is the claim subject to offset?     No       Yes

3.593
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lewis Longman & Walker, P.A.                                 Contingent
         100 2nd Avenue S.                                            Unliquidated
         Suite 501-S
                                                                      Disputed
         St. Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2155                      Is the claim subject to offset?     No       Yes

3.593
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         LEWIS M KANNER                                               Contingent
         80 Southwest 8th Street Suite 2550                           Unliquidated
         Miami, FL 33131-2991
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4674
                                                                   Is the claim subject to offset?     No       Yes

3.593
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEWIS MICHAEL                                                Contingent
         26060 Splendid Meadow Court                                  Unliquidated
         Astatula, FL 34705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6356
                                                                   Is the claim subject to offset?     No       Yes

3.593
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LEWIS R LINDSEY                                              Contingent
         609 Hill Street                                              Unliquidated
         Defuniak Springs, FL 32433-2760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 222
                                                                   Is the claim subject to offset?     No       Yes

3.593
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEWIS R SHAFER                                               Contingent
         Shafer & Associates                                          Unliquidated
         5550 Glades Road Suite 250
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3771                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 896 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 904 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.593
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LEWIS ROBERTS                                                Contingent
         Lewis Roberts P.C.                                           Unliquidated
         20719 Moreland Drive
                                                                      Disputed
         Spring Hill, FL 34610
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5000                      Is the claim subject to offset?     No       Yes

3.593
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lewis Roberts, P.A.                                          Contingent
         105 W Orange Street                                          Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.594
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LIANA MARTINEZ PA                                            Contingent
         11077 Biscayne Boulevard                                     Unliquidated
         Suite 209
                                                                      Disputed
         North Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7601                      Is the claim subject to offset?     No       Yes

3.594
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $93.56
         LIBERIS & ASSOCIATES PA                                      Contingent
         1610 Barrancas Avenue                                        Unliquidated
         Pensacola, FL 32501-3281
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7655
                                                                   Is the claim subject to offset?     No       Yes

3.594
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Liberty and Trust Law Group of Florida,                      Contingent
         4846 Cardinal Boulevard                                      Unliquidated
         Jacksonville, FL 32210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8745
                                                                   Is the claim subject to offset?     No       Yes

3.594
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Liberty Express Title & Escrow Company                       Contingent
         153 NE 97th Street                                           Unliquidated
         Miami Shores, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0996
                                                                   Is the claim subject to offset?     No       Yes

3.594
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Liberty Title & Escrow Company                               Contingent
         100 W Cypress Creek Road Suite 1045                          Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8053
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 897 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 905 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.594
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LIBO B FINEBERG                                              Contingent
         210 SW Natura Avenue                                         Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7490
                                                                   Is the claim subject to offset?     No       Yes

3.594
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LIBOW & SHAHEEN LLP                                          Contingent
         3351 Northwest Boca Raton Boulevard                          Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9507
                                                                   Is the claim subject to offset?     No       Yes

3.594
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LIEBLER GONZALEZ & PORTUONDO                                 Contingent
         44 W. Flagler Street                                         Unliquidated
         25th Floor
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7247                      Is the claim subject to offset?     No       Yes

3.594
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LIGHT & ASSOCIATES PA                                        Contingent
         1990 Main Street Suite 750                                   Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4920
                                                                   Is the claim subject to offset?     No       Yes

3.594
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lighthouse Title Services, L.L.C.                            Contingent
         4420 Beacon Circle                                           Unliquidated
         Suite 100
                                                                      Disputed
         West Palm Beach, FL 33407
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6575                      Is the claim subject to offset?     No       Yes

3.595
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LILIA BIBERMAN PA                                            Contingent
         12762 Tulipwood Circle                                       Unliquidated
         Boca Raton, FL 33428
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2511
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 898 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 906 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.595
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LILIA CASAL-DIAZ                                             Contingent
         Lilia Casal-Diaz P.A.                                        Unliquidated
         1111 Lincoln Road 4th Floor
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6794                      Is the claim subject to offset?     No       Yes

3.595
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LILIAN SREDNI                                                Contingent
         2450 Hollywood Boulevard                                     Unliquidated
         Suite 600
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5600                      Is the claim subject to offset?     No       Yes

3.595
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LILIANA CANO AGRON                                           Contingent
         4000 Ponce De Leon Boulevard Suite 470                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1994
                                                                   Is the claim subject to offset?     No       Yes

3.595
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LILIANA V AVELLAN PA                                         Contingent
         P.O. Box 836657                                              Unliquidated
         Miami, FL 33283
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6685
                                                                   Is the claim subject to offset?     No       Yes

3.595
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LILLIAN ARANGO DE LA HOZ                                     Contingent
         1236 Algardi Avenue                                          Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7794
                                                                   Is the claim subject to offset?     No       Yes

3.595
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lilly Law, P.L.L.C.                                          Contingent
         400 N Tampa Street Suite 1100                                Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0036
                                                                   Is the claim subject to offset?     No       Yes

3.595
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA A LAWSON                                               Contingent
         P.O. Box 111990                                              Unliquidated
         Naples, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5048
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 899 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 907 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.595
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LINDA B ROBINSON                                             Contingent
         4 Bison Court                                                Unliquidated
         Placitas, NM 87043-9406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4119
                                                                   Is the claim subject to offset?     No       Yes

3.595
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA B WHEELER                                              Contingent
         1213 White Street                                            Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4664
                                                                   Is the claim subject to offset?     No       Yes

3.596
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA BIRREL GIBSON PA                                       Contingent
         677 Dave Nisbet Drive Suite 111                              Unliquidated
         Cape Canaveral, FL 32920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8184
                                                                   Is the claim subject to offset?     No       Yes

3.596
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA C BRINKMAN                                             Contingent
         712 Anderson Drive Suite A                                   Unliquidated
         Naples, FL 34103-2811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.596
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LINDA C MCGURN                                               Contingent
         101 Southeast 2nd Pl Suite 202                               Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7253
                                                                   Is the claim subject to offset?     No       Yes

3.596
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LINDA C SINGER                                               Contingent
         Linda C. Singer P.A.                                         Unliquidated
         9500 S. Dadeland Boulevard, Suite 703
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6360                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 900 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 908 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.596
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA D ELLIOTT                                              Contingent
         134 Paces Run Court                                          Unliquidated
         Columbia, SC 29223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8023
                                                                   Is the claim subject to offset?     No       Yes

3.596
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LINDA F. ALBRITTON                                           Contingent
         10303 Seagrape Way                                           Unliquidated
         Palm Beach Gardens, FL 33418-4531
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7132
                                                                   Is the claim subject to offset?     No       Yes

3.596
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA K ADLER                                                Contingent
         1400 Northwest 107th Avenue                                  Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8358
                                                                   Is the claim subject to offset?     No       Yes

3.596
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LINDA K PHIPPS                                               Contingent
         1850 Lee Road Suite 111                                      Unliquidated
         Winter Park, FL 32789-2104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7013
                                                                   Is the claim subject to offset?     No       Yes

3.596
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA K THOMAS                                               Contingent
         P.O. Box 14776                                               Unliquidated
         Bradenton, FL 34280-4776
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0069
                                                                   Is the claim subject to offset?     No       Yes

3.596
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA L WEIKSNAR                                             Contingent
         221 E Osceola Street Suite 200 K                             Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9944
                                                                   Is the claim subject to offset?     No       Yes

3.597
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA M KNOERR                                               Contingent
         1521 Alton Road Suite 362                                    Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4181
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 901 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 909 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.597
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA MCVEIGH MATLACK                                        Contingent
         12595 Northeast 7th Avenue                                   Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2004
                                                                   Is the claim subject to offset?     No       Yes

3.597
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LINDA R MULLIGAN                                             Contingent
         Office of The Attorney General                               Unliquidated
         4000 Hollywood Boulevard Suite 505-S
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7842                      Is the claim subject to offset?     No       Yes

3.597
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA ROTH-CORTINA                                           Contingent
         55 Miracle Mile Suite 320                                    Unliquidated
         Miami, FL 33134-5440
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2708
                                                                   Is the claim subject to offset?     No       Yes

3.597
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDA S WEITZMAN                                             Contingent
         4102 Washington Road                                         Unliquidated
         West Palm Beach, FL 33405-2742
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2527
                                                                   Is the claim subject to offset?     No       Yes

3.597
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $229.94
         LINDA TREIMAN                                                Contingent
         1025 Southwest Martin Downs Boulevard Su                     Unliquidated
         Palm City, FL 34990-2857                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7135
                                                                   Is the claim subject to offset?     No       Yes

3.597
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINDELL FARSON & PINCKET PA                                  Contingent
         12276 San Jose Boulevard Suite 126                           Unliquidated
         Jacksonville, FL 32223-8630
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9866
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 902 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 910 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.597
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Lindsay & Allen, P.L.L.C.                                    Contingent
         5692 Strand Court                                            Unliquidated
         Suite 1
                                                                      Disputed
         Naples, FL 34110
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8956                      Is the claim subject to offset?     No       Yes

3.597
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Lindsay R. Harrison Associate General Co                     Contingent
         Fbc Mortgage L.L.C.                                          Unliquidated
         189 S Orange Avenue Suite 970
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8078                      Is the claim subject to offset?     No       Yes

3.597
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         LINES HINSON & LINES                                         Contingent
         121 N Madison Street                                         Unliquidated
         Quincy, FL 32351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3393
                                                                   Is the claim subject to offset?     No       Yes

3.598
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINFENG ZHOU                                                 Contingent
         3107 Stirling Road Suite 106                                 Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3717
                                                                   Is the claim subject to offset?     No       Yes

3.598
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LINSKY & REIBER                                              Contingent
         2109 E Palm Avenue Suite 202                                 Unliquidated
         Tampa, FL 33605-3909
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6082
                                                                   Is the claim subject to offset?     No       Yes

3.598
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LINWOOD CABOT                                                Contingent
         1850 Ellen Drive Suite 502                                   Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4633
                                                                   Is the claim subject to offset?     No       Yes

3.598
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Liron Offir PL                                               Contingent
         Suite 120                                                    Unliquidated
         490 Sawgrass Corporate Parkway
                                                                      Disputed
         Sunrise, FL 33325
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7861                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 903 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 911 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.598
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA B GOLDBERG                                              Contingent
         888 E Las Olas Boulevard Suite 200                           Unliquidated
         Ft Lauderdale, FL 33301-2239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6807
                                                                   Is the claim subject to offset?     No       Yes

3.598
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA BARATZ                                                  Contingent
         5920 Southwest 33rd Avenue                                   Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0473
                                                                   Is the claim subject to offset?     No       Yes

3.598
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA BISAGNI                                                 Contingent
         2400 E Commercial Boulevard Suite 517b                       Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9585
                                                                   Is the claim subject to offset?     No       Yes

3.598
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LISA G QUARRIE & ASSOCIATES PA                               Contingent
         Florida Power & Light Company                                Unliquidated
         700 Universe Boulevard
                                                                      Disputed
         Juno Beach, FL 33408-2657
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2456                      Is the claim subject to offset?     No       Yes

3.598
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA I GLASSMAN PA                                           Contingent
         20283 State Road 7                                           Unliquidated
         Suite 400
                                                                      Disputed
         Boca Raton, FL 33498
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6929                      Is the claim subject to offset?     No       Yes

3.598
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lisa K. Crawford, Esquire P.L.L.C.                           Contingent
         Suite 315                                                    Unliquidated
         2787 E Oakland Park Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9810                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 904 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 912 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.599
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA L DANIELS                                               Contingent
         Daniels & Daniels Attorneys at Law                           Unliquidated
         2000 Glades Road Suite 312
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8726                      Is the claim subject to offset?     No       Yes

3.599
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lisa M. Boswell, P.A.                                        Contingent
         12161 Ken Adams Way Suite 110-D1                             Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9329
                                                                   Is the claim subject to offset?     No       Yes

3.599
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA MARIE MACCI                                             Contingent
         2255 Glades Road Suite 324-A                                 Unliquidated
         Boca Raton, FL 33431-8571
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9014
                                                                   Is the claim subject to offset?     No       Yes

3.599
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA N HODAPP PA                                             Contingent
         P.O. Box 772412                                              Unliquidated
         Coral Springs, FL 33077-2412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7228
                                                                   Is the claim subject to offset?     No       Yes

3.599
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA N PEARSON PA                                            Contingent
         P.O. Box 402571                                              Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8018
                                                                   Is the claim subject to offset?     No       Yes

3.599
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISA O'NEILL                                                 Contingent
         Dadeland Center Suite 1602                                   Unliquidated
         9155 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3879                      Is the claim subject to offset?     No       Yes

3.599
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LISBET CAMPO                                                 Contingent
         10041 Bird Road                                              Unliquidated
         Miami, FL 33165
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5648
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 905 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 913 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.599
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LISETTE PIE SALAZAR PA                                       Contingent
         200 Crandon Boulevard                                        Unliquidated
         Suite 311
                                                                      Disputed
         Key Biscayne, FL 33149
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9847                      Is the claim subject to offset?     No       Yes

3.599
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LISTER WITHERSPOON IV                                        Contingent
         721 Northwest 14th Court                                     Unliquidated
         Miami, FL 33125-3619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6334
                                                                   Is the claim subject to offset?     No       Yes

3.599
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $758.58
         LISTICK & KRALL PA                                           Contingent
         800 Palm Trail                                               Unliquidated
         Suite 210                                                    Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3561                      Is the claim subject to offset?     No       Yes


3.600
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LISZT & ASSOCIATES PA                                        Contingent
         2701 NW 2nd Avenue                                           Unliquidated
         Suite 107
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9060                      Is the claim subject to offset?     No       Yes

3.600
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LITCHFORD & CHRISTOPHER PA                                   Contingent
         P.O. Box 1549                                                Unliquidated
         Orlando, FL 32802-1549
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8306
                                                                   Is the claim subject to offset?     No       Yes

3.600
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LITMAN & ARVESU                                              Contingent
         2000 S Dixie Highway Suite 101                               Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8563
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 906 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 914 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.600
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         LITTMAN SHERLOCK & HEIMS PA                                  Contingent
         P.O. Box 1197                                                Unliquidated
         Stuart, FL 34995-1197
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3329
                                                                   Is the claim subject to offset?     No       Yes

3.600
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         LITVAK BEASLEY & WILSON LLP                                  Contingent
         40 Palafox Place                                             Unliquidated
         Suite 300
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5845                      Is the claim subject to offset?     No       Yes

3.600
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         LIVINGSTON AND LIVINGSTON                                    Contingent
         445 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870-3702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2543
                                                                   Is the claim subject to offset?     No       Yes

3.600
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LIZABETH F CALVO                                             Contingent
         328 Crandon Boulevard                                        Unliquidated
         Suite 226
                                                                      Disputed
         Key Biscayne, FL 33149-1331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0229                      Is the claim subject to offset?     No       Yes

3.600
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LIZETTE BABUN                                                Contingent
         Babun & Torres P.A.                                          Unliquidated
         10621 N Kendall Drive Suite 121
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4060                      Is the claim subject to offset?     No       Yes

3.600
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LIZETTE REBOREDO PA                                          Contingent
         6850 Southwest 75th Avenue                                   Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7313
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 907 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 915 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.600
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Llerena Law, P.A.                                            Contingent
         2393 S. Congress Avenue                                      Unliquidated
         Suite 200
                                                                      Disputed
         West Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9144                      Is the claim subject to offset?     No       Yes

3.601
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LLOYD C HAWTHORNE                                            Contingent
         16649 N County Road 349                                      Unliquidated
         Mcalpin, FL 32062-2179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2994
                                                                   Is the claim subject to offset?     No       Yes

3.601
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LLOYD E PETERSON JR PA                                       Contingent
         905 Southwest Baya Drive                                     Unliquidated
         Lake City, FL 32025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0175
                                                                   Is the claim subject to offset?     No       Yes

3.601
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LLOYD E SWAIM                                                Contingent
         2929 E Commercial Boulevard                                  Unliquidated
         Ft Lauderdale, FL 33308-4214
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8472
                                                                   Is the claim subject to offset?     No       Yes

3.601
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LLOYD GRANET                                                 Contingent
         2295 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0695
                                                                   Is the claim subject to offset?     No       Yes

3.601
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LLOYD GRANET PA                                              Contingent
         2295 NW Corporate Boulevard                                  Unliquidated
         Suite 235
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0695                      Is the claim subject to offset?     No       Yes

3.601
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LLOYD M ROUTMAN                                              Contingent
         Routman & Mellinger                                          Unliquidated
         2300 Northwest Corporate Boulevard Suite
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8536                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 908 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 916 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.601
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LLOYD W PROCTON                                              Contingent
         400 Southeast 18th Street                                    Unliquidated
         Ft Lauderdale, FL 33316-2820
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6762
                                                                   Is the claim subject to offset?     No       Yes

3.601
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         LLOYD, BROWN, FOWLER, HOSKINS                                Contingent
         P.O. Box 4382                                                Unliquidated
         Ft. Pierce, FL 34948-4382
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6316
                                                                   Is the claim subject to offset?     No       Yes

3.601
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Loan Lawyers, L.L.C.                                         Contingent
         2150 S Andrews Avenue                                        Unliquidated
         2nd Floor
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9497                      Is the claim subject to offset?     No       Yes

3.601
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $469.33
         LOBRANO & KINCAID PA                                         Contingent
         76 South Laura Street Suite 2100                             Unliquidated
         Jacksonville, FL 32202-3492                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8090
                                                                   Is the claim subject to offset?     No       Yes

3.602
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOCKLIN JONES & SABA PA                                      Contingent
         6460 Justice Avenue                                          Unliquidated
         Milton, FL 32570
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6351
                                                                   Is the claim subject to offset?     No       Yes

3.602
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Loevin Law Group, P.A.                                       Contingent
         800 West Cypress Creek Road                                  Unliquidated
         Suite 528
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8610                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 909 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 917 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.602
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOEWS HOTELS AT UNIVERSAL                                    Contingent
         Public Relations                                             Unliquidated
         6800 Lakewood Plaza Drive
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1814                      Is the claim subject to offset?     No       Yes

3.602
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Logs Legal Group, LLP                                        Contingent
         4630 Woodland Corporate Boulevard                            Unliquidated
         Suite 100
                                                                      Disputed
         Tampa, FL 33614
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7522                      Is the claim subject to offset?     No       Yes

3.602
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LOIS B LEPP PA                                               Contingent
         902 E. Gadsden Street                                        Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6386
                                                                   Is the claim subject to offset?     No       Yes

3.602
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOIS R CLEMENTE                                              Contingent
         6606 20TH ST PLANTATION PLAZA                                Unliquidated
         LOIS R CLEMENTE PA
                                                                      Disputed
         VERO BEACH, FL 32966-7902
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7481                      Is the claim subject to offset?     No       Yes

3.602
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOLA BOHN THOMAS                                             Contingent
         100 S Pointe Drive Apt 306                                   Unliquidated
         Miami Beach, FL 33139-7380
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6906
                                                                   Is the claim subject to offset?     No       Yes

3.602
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LON WORTH CROW IV PA                                         Contingent
         211 N Commerce Avenue                                        Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9241
                                                                   Is the claim subject to offset?     No       Yes

3.602
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LONNIE L SIMMONS                                             Contingent
         3008 Langley Avenue                                          Unliquidated
         Pensacola, FL 32504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2414
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 910 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 918 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.602
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lonnie L Simmons P.A.                                        Contingent
         3008 Langley Avenue                                          Unliquidated
         Pensacola, FL 32504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2414
                                                                   Is the claim subject to offset?     No       Yes

3.603
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Loper Law Group, P.A.                                        Contingent
         6526 Old Brick Road                                          Unliquidated
         Suite 120-113
                                                                      Disputed
         Windermere, FL 34786
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1216                      Is the claim subject to offset?     No       Yes

3.603
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lopez Law Group                                              Contingent
         360 Central Avenue                                           Unliquidated
         Suite 800
                                                                      Disputed
         St. Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0962                      Is the claim subject to offset?     No       Yes

3.603
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lora L. Howell, P.A.                                         Contingent
         46 N. Washington Boulevard                                   Unliquidated
         Suite 3
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0938                      Is the claim subject to offset?     No       Yes

3.603
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lore Legal Services, PLLC                                    Contingent
         5323 Millenia Lakes Blvd.                                    Unliquidated
         Suite 300-352
                                                                      Disputed
         Orlando, FL 32839
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0660                      Is the claim subject to offset?     No       Yes

3.603
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOREN E BODEM                                                Contingent
         700 Colorado Street                                          Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5919
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 911 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 919 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.603
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOREN M PAUL PA                                              Contingent
         503 Manatee Avenue                                           Unliquidated
         Bradenton, FL 34208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4106
                                                                   Is the claim subject to offset?     No       Yes

3.603
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LORENE SEELER YOUNG PA                                       Contingent
         9124 Griffin Road                                            Unliquidated
         Cooper City, FL 33328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3112
                                                                   Is the claim subject to offset?     No       Yes

3.603
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LORENZO CAPUA CABALLERO                                      Contingent
         9192 Coral Way Suite 201                                     Unliquidated
         Miami, FL 33165
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8491
                                                                   Is the claim subject to offset?     No       Yes

3.603
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LORETTA SIMON                                                Contingent
         P.O. Box 162439                                              Unliquidated
         Coral Gables, FL 33116-2439
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3949
                                                                   Is the claim subject to offset?     No       Yes

3.603
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LORI ELLEN WARD PL                                           Contingent
         11490 Emerald Coast Parkway Suite 201e                       Unliquidated
         Miramar Beach, FL 32550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5534
                                                                   Is the claim subject to offset?     No       Yes

3.604
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LORIN E BOLTON                                               Contingent
         Lorin E. Bolton P.A.                                         Unliquidated
         3470 N 31st Avenue
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3699                      Is the claim subject to offset?     No       Yes

3.604
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Lorium PLLC                                                  Contingent
         101 NE 3rd Avenue                                            Unliquidated
         Suite 1800
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8220                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 912 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 920 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.604
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LORRIER LAW FIRM PA                                          Contingent
         8500 Kenwood Road Suite A                                    Unliquidated
         Largo, FL 33777-3113
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9432
                                                                   Is the claim subject to offset?     No       Yes

3.604
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUANNE S LOVE                                               Contingent
         Pmb 181                                                      Unliquidated
         914 Curlew Road
                                                                      Disputed
         Dunedin, FL 34698-1901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5741                      Is the claim subject to offset?     No       Yes

3.604
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS BAKKALAPULO                                            Contingent
         111 N Belcher Road Suite 201                                 Unliquidated
         Clearwater, FL 33765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9146
                                                                   Is the claim subject to offset?     No       Yes

3.604
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,750.33
         LOUIS C ANDERSON                                             Contingent
         224 Commercial Boulevard                                     Unliquidated
         Suite 310                                                    Disputed
         Lauderdale By The Sea, FL 33308-4443
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5396                      Is the claim subject to offset?     No       Yes


3.604
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS D ZARETSKY                                             Contingent
         2800 Biscayne Boulevard                                      Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8979                      Is the claim subject to offset?     No       Yes

3.604
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS GIOVACHINO                                             Contingent
         436 Sail Boat Circle                                         Unliquidated
         Ft Lauderdale, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6392
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 913 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 921 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.604
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS GOUZ                                                   Contingent
         P.O. Box 9826                                                Unliquidated
         Coral Springs, FL 33075-0826
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5927
                                                                   Is the claim subject to offset?     No       Yes

3.604
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS H WEBER                                                Contingent
         10742 Northwest 17th Street                                  Unliquidated
         Coral Springs, FL 33071-4202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6820
                                                                   Is the claim subject to offset?     No       Yes

3.605
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS J CARBONE                                              Contingent
         90 SE 4th Avenue                                             Unliquidated
         Suite 1
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9260                      Is the claim subject to offset?     No       Yes

3.605
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS J PLEETER                                              Contingent
         6518 Timber Lane                                             Unliquidated
         Boca Raton, FL 33433-5726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4224
                                                                   Is the claim subject to offset?     No       Yes

3.605
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $88.37
         LOUIS M ROCKMAN                                              Contingent
         8500 Southwest 92nd Street Suite 106                         Unliquidated
         Miami, FL 33156-7379
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8190
                                                                   Is the claim subject to offset?     No       Yes

3.605
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS P PFEFFER PA                                           Contingent
         250 S Central Boulevard Suite 205                            Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2257
                                                                   Is the claim subject to offset?     No       Yes

3.605
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS R MCBANE                                               Contingent
         90 Apple Blossom Lane                                        Unliquidated
         Whittier, NC 28789-8199
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 537
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 914 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 922 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.605
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS SCHWARZKOPF                                            Contingent
         1454 Northwest 17th Avenue Suite 200                         Unliquidated
         Miami, FL 33125-2323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 451
                                                                   Is the claim subject to offset?     No       Yes

3.605
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS STINSON JR PA                                          Contingent
         55 Merrick Way                                               Unliquidated
         Suite 202-A
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3989                      Is the claim subject to offset?     No       Yes

3.605
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS T SENA                                                 Contingent
         P.O. Box 894                                                 Unliquidated
         Islamorada, FL 33036-0894
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1748
                                                                   Is the claim subject to offset?     No       Yes

3.605
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LOUIS VERNELL                                                Contingent
         P.O. Box 600949                                              Unliquidated
         North Miami Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1156
                                                                   Is the claim subject to offset?     No       Yes

3.605
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LOUIS VITALE JR                                              Contingent
         73 N Skeenah Road                                            Unliquidated
         Franklin, NC 28734-9224
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4345
                                                                   Is the claim subject to offset?     No       Yes

3.606
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS W ADAMS JR                                             Contingent
         3108 Vistamar Street                                         Unliquidated
         Ft Lauderdale, FL 33304-4118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1809
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 915 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 923 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.606
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS W HIGH                                                 Contingent
         4386 Cortez Boulevard                                        Unliquidated
         Weeki Wachee, FL 34607-1209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4180
                                                                   Is the claim subject to offset?     No       Yes

3.606
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUIS WHITEHEAD III                                          Contingent
         5119 Cordova Way S                                           Unliquidated
         St Petersburg, FL 33712-4271
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2240
                                                                   Is the claim subject to offset?     No       Yes

3.606
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LOUIS X AMATO                                                Contingent
         28209 Jewel Fish Lane                                        Unliquidated
         Bonita Springs, FL 34135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5531
                                                                   Is the claim subject to offset?     No       Yes

3.606
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $474.02
         LOUISE A MATHEWS                                             Contingent
         1250 Connecticut Avenue                                      Unliquidated
         Washington, DC 20036-2603                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes

3.606
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOUISE E TUDZAROV                                            Contingent
         4111 Southwest 47th Avenue Suite 232                         Unliquidated
         Davie, FL 33314-4039
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7425
                                                                   Is the claim subject to offset?     No       Yes

3.606
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LOURDES B RIVERA PA                                          Contingent
         7742 N. Kendall Drive                                        Unliquidated
         #165
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5534                      Is the claim subject to offset?     No       Yes

3.606
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOURDES CASTILLO ESQUIRE PA                                  Contingent
         296 Wynchmere Terrace                                        Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0263
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 916 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 924 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.606
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOURDES CORVO                                                Contingent
         14750 NW 77th Court                                          Unliquidated
         Suite 300
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4081                      Is the claim subject to offset?     No       Yes

3.606
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOURDES L DOMINGUEZ                                          Contingent
         370 Minorca Avenue Suite 2                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4534
                                                                   Is the claim subject to offset?     No       Yes

3.607
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOURDES M CLINE                                              Contingent
         1126 S. Federal Highway                                      Unliquidated
         Box 376
                                                                      Disputed
         Ft. Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3902                      Is the claim subject to offset?     No       Yes

3.607
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOURDES MARIN PA                                             Contingent
         5245 NW 36th Street                                          Unliquidated
         Suite 205
                                                                      Disputed
         Miami Springs, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9002                      Is the claim subject to offset?     No       Yes

3.607
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOURDES NUNEZ                                                Contingent
         1839 SW 27th Avenue                                          Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4550
                                                                   Is the claim subject to offset?     No       Yes

3.607
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LOWENTHAL LANDAU FISCHER &                                   Contingent
         1650 S Dixie Highway Stes 2a & 2b                            Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9094
                                                                   Is the claim subject to offset?     No       Yes

3.607
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,953.13
         LOWNDES DROSDICK DOSTER                                      Contingent
         215 N. Eola Drive                                            Unliquidated
         Orlando, FL 32801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3555
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 917 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 925 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.607
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LUBELL & ROSEN LLC                                           Contingent
         200 S. Andrews Avenue                                        Unliquidated
         Suite 900
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6697                      Is the claim subject to offset?     No       Yes

3.607
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Lubell & Rosen, L.L.C.                                       Contingent
         1 Alhambra Plaza                                             Unliquidated
         Suite 1410
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6697                      Is the claim subject to offset?     No       Yes

3.607
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUCIANO ISLA                                                 Contingent
         1790 W 49th Street Suite 300                                 Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4339
                                                                   Is the claim subject to offset?     No       Yes

3.607
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUCILLE M ESPEY                                              Contingent
         355 W Alfred Street                                          Unliquidated
         Tavares, FL 32778
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6918
                                                                   Is the claim subject to offset?     No       Yes

3.607
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUCILO RAMOS JR                                              Contingent
         2525 Ponce De Leon Boulevard                                 Unliquidated
         3rd Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8339                      Is the claim subject to offset?     No       Yes

3.608
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUCINDA J WARREN                                             Contingent
         P.O. Box 1009                                                Unliquidated
         Crystal Beach, FL 34681
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3825
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 918 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 926 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.608
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         LUCIO BRONSTEIN GARBETT                                      Contingent
         80 Southwest 8th Street Suite 3100                           Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2122
                                                                   Is the claim subject to offset?     No       Yes

3.608
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         LUDOVICI & LUDOVICI PA                                       Contingent
         9000 SW 152nd Street                                         Unliquidated
         Suite 106
                                                                      Disputed
         Palmetto Bay, FL 33157
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1821                      Is the claim subject to offset?     No       Yes

3.608
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUDWIG J ABRUZZO                                             Contingent
         5425 Park Central Court                                      Unliquidated
         Naples, FL 34109-5934
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2603
                                                                   Is the claim subject to offset?     No       Yes

3.608
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS A CONSUEGRA                                             Contingent
         780 Northwest 42nd Avenue                                    Unliquidated
         Ocean Bank Of Miami
                                                                      Disputed
         Miami, FL 33126-5597
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8386                      Is the claim subject to offset?     No       Yes

3.608
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS A FIGUEROA                                              Contingent
         815 Ponce De Leon Boulevard Suite 200                        Unliquidated
         Coral Gables, FL 33134-3007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4240
                                                                   Is the claim subject to offset?     No       Yes

3.608
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS A GONZALEZ                                              Contingent
         809 Irma Avenue Suite 1                                      Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4803
                                                                   Is the claim subject to offset?     No       Yes

3.608
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Luis A. Perez, P.A.                                          Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 2265
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8178                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 919 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 927 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.608
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS ARTIME PA                                               Contingent
         4 Williamsburg Lane                                          Unliquidated
         Bella Vista, AR 72714-2451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7586
                                                                   Is the claim subject to offset?     No       Yes

3.608
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS CRUZ                                                    Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 324
                                                                      Disputed
         Corla Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3804                      Is the claim subject to offset?     No       Yes

3.609
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Luis E. Fernandez, P.A.                                      Contingent
         2525 Ponce De Leon Boulevard                                 Unliquidated
         Suite 300
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9959                      Is the claim subject to offset?     No       Yes

3.609
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS F ESTRADA                                               Contingent
         16300 Northeast 19th Avenue Suite 213                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8971
                                                                   Is the claim subject to offset?     No       Yes

3.609
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LUIS F GOMEZ PA                                              Contingent
         1500 S Semoran Boulevard                                     Unliquidated
         Orlando, FL 32807-2920
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 288
                                                                   Is the claim subject to offset?     No       Yes

3.609
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS H ROSES                                                 Contingent
         6451 Southwest 39 Terrace                                    Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2652
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 920 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 928 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.609
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LUIS L FERNANDEZ                                             Contingent
         P.O. Box 45-3536                                             Unliquidated
         Coral Gables, FL 33245-3536
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 313
                                                                   Is the claim subject to offset?     No       Yes

3.609
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS M PADRON                                                Contingent
         19 W Flagler Street Suite 412                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7243
                                                                   Is the claim subject to offset?     No       Yes

3.609
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUIS REY                                                     Contingent
         505 Northwest 65th Court Suite 204                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4186
                                                                   Is the claim subject to offset?     No       Yes

3.609
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LUIS STABINSKI                                               Contingent
         757 N.W. 27th Ave.                                           Unliquidated
         Miami, FL 33125-3012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6168
                                                                   Is the claim subject to offset?     No       Yes

3.609
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUISA LORENZO                                                Contingent
         6820 Portillo Street                                         Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1893
                                                                   Is the claim subject to offset?     No       Yes

3.609
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lulich & Attorneys                                           Contingent
         1069 Main Street                                             Unliquidated
         Sebastian, FL 32958
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8192
                                                                   Is the claim subject to offset?     No       Yes

3.610
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         LUSK DRASITES & TOLISANO                                     Contingent
         202 Del Prado Boulevard                                      Unliquidated
         Cape Coral, FL 33990-1726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7776
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 921 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 929 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.610
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LUSK DRASITES TOLISANO & SMITH                               Contingent
         P.O. Box 152468                                              Unliquidated
         Cape Coral, FL 33915-2468
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4883
                                                                   Is the claim subject to offset?     No       Yes

3.610
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lusky & Rodriguez, P.A.                                      Contingent
         770 Ponce De Leon Boulevard                                  Unliquidated
         Suite 306
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4012                      Is the claim subject to offset?     No       Yes

3.610
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         LUTZ BOBO & TELFAIR PA                                       Contingent
         One Sarasota Tower                                           Unliquidated
         2 N. Tamiami Trail, Suite 500
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6228                      Is the claim subject to offset?     No       Yes

3.610
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Luxe Legal, L.L.C.                                           Contingent
         250 Catalonia Avenue Suite 706                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9787
                                                                   Is the claim subject to offset?     No       Yes

3.610
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LYDECKER LEE BERGA &                                         Contingent
         1221 Brickell Avenue                                         Unliquidated
         19 Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0452                      Is the claim subject to offset?     No       Yes

3.610
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYDIA MANRIQUE                                               Contingent
         1425 Southwest 93rd Pl                                       Unliquidated
         Miami, FL 33174-3032
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6112
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 922 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 930 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.610
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LYDIA P HERNANDEZ                                            Contingent
         14024 Northwest 82nd Avenue                                  Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7720
                                                                   Is the claim subject to offset?     No       Yes

3.610
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LYLE & SKIPPER PA                                            Contingent
         P.O. Box 897                                                 Unliquidated
         Tampa, FL 33601-0897
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5548
                                                                   Is the claim subject to offset?     No       Yes

3.610
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         LYLE & SKIPPER PA                                            Contingent
         P.O. Drawer 76380                                            Unliquidated
         St Petersburg, FL 33734-6380
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5548
                                                                   Is the claim subject to offset?     No       Yes

3.611
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYLE M KOENIG                                                Contingent
         7800 W Oakland Park Boulevard Suite 101                      Unliquidated
         Sunrise, FL 33351-6741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2717
                                                                   Is the claim subject to offset?     No       Yes

3.611
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LYLE R HITCHENS                                              Contingent
         P.O. Box 9772                                                Unliquidated
         Dayton, OH 32120
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6384
                                                                   Is the claim subject to offset?     No       Yes

3.611
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lynchard & Seely, P.L.L.C.                                   Contingent
         1901 Andorra Street                                          Unliquidated
         Navarre, FL 32566
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0583
                                                                   Is the claim subject to offset?     No       Yes

3.611
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNDA AMADI                                                  Contingent
         Lynda Amadi P.A.                                             Unliquidated
         P.O. Box 694066
                                                                      Disputed
         Miami, FL 33269
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8703                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 923 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 931 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.611
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         LYNDA J HARRIS                                               Contingent
         P.O. Box 150                                                 Unliquidated
         West Palm Beach, FL 33402-0150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8078
                                                                   Is the claim subject to offset?     No       Yes

3.611
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNN B LEWIS                                                 Contingent
         1390 Brickell Avenue Suite 280                               Unliquidated
         Miami, FL 33131-3322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4557
                                                                   Is the claim subject to offset?     No       Yes

3.611
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNN D SOLOMON                                               Contingent
         315 11th Street                                              Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5610
                                                                   Is the claim subject to offset?     No       Yes

3.611
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNN H GELMAN                                                Contingent
         1450 Madruga Avenue Suite 408                                Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9800
                                                                   Is the claim subject to offset?     No       Yes

3.611
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNNE HANKINS FIELDER                                        Contingent
         Lynne Hankins Fielder P.A.                                   Unliquidated
         P.O. Box 420973
                                                                      Disputed
         Summerland Key, FL 33042-0973
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6194                      Is the claim subject to offset?     No       Yes

3.611
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNNE R THOMPSON                                             Contingent
         P.O. Box 608                                                 Unliquidated
         Melbourne, FL 32902-0608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1868
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 924 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 932 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.612
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         LYNWOOD F ARNOLD JR                                          Contingent
         P.O. Box 13677                                               Unliquidated
         Tallahassee, FL 32317-3677
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7598
                                                                   Is the claim subject to offset?     No       Yes

3.612
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         LYONS & LYONS PA                                             Contingent
         27911 Crown Lake Boulevard                                   Unliquidated
         Suite 205
                                                                      Disputed
         Bonita Springs, FL 34135
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7500                      Is the claim subject to offset?     No       Yes

3.612
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lyons & Ruggerio, P.L.L.C.                                   Contingent
         2014 E Robinson Street                                       Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8242
                                                                   Is the claim subject to offset?     No       Yes

3.612
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         LYONS & SANDERS, CHARTERED                                   Contingent
         600 N.E. 3rd Avenue                                          Unliquidated
         Ft Lauderdale, FL 33304-2674
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3494
                                                                   Is the claim subject to offset?     No       Yes

3.612
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         LYONS & SMITH PA                                             Contingent
         1230 NW 7th Street                                           Unliquidated
         Miami, FL 33125-3702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2393
                                                                   Is the claim subject to offset?     No       Yes

3.612
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         LYONS BEAUDRY HARRISON &                                     Contingent
         1605 Main Street                                             Unliquidated
         Suite 1111
                                                                      Disputed
         Sarasota, FL 34236-5809
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 438                       Is the claim subject to offset?     No       Yes

3.612
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Lyons Title & Trust                                          Contingent
         27911 Crown Lake Boulevard                                   Unliquidated
         Suite 205
                                                                      Disputed
         Bonita Springs, FL 34135
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7002                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 925 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 933 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.612
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M A HUEY PA                                                  Contingent
         255 Alhambra Circle Suite 850                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4878
                                                                   Is the claim subject to offset?     No       Yes

3.612
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         M ADAM BANKIER PA                                            Contingent
         101 SE 6th Avenue                                            Unliquidated
         Suite C
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3982                      Is the claim subject to offset?     No       Yes

3.612
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M ALISANDRA DEYOUNG PL                                       Contingent
         P.O. Box 2767                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0516
                                                                   Is the claim subject to offset?     No       Yes

3.613
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M CHRIS EDWARDS                                              Contingent
         4425 Military Trail                                          Unliquidated
         Suite 200
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6273                      Is the claim subject to offset?     No       Yes

3.613
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         M CRAIG MASSEY                                               Contingent
         P.O. Box 24628                                               Unliquidated
         Lakeland, FL 33802-4628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3216
                                                                   Is the claim subject to offset?     No       Yes

3.613
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M CRISTINA DEL-VALLE                                         Contingent
         1001 S Bayshore Drive Suite 2704                             Unliquidated
         Miami, FL 33131-4940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4229
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 926 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 934 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.613
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         M DANIEL HUGHES                                              Contingent
         3000 N. Federal Highway                                      Unliquidated
         Building 2, Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33306-1416
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8172                      Is the claim subject to offset?     No       Yes

3.613
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         M DANIEL SASSO                                               Contingent
         4020 Del Prado Boulevard Suite A1                            Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8112
                                                                   Is the claim subject to offset?     No       Yes

3.613
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         M DIANE CHECCHIO PA                                          Contingent
         5840 Red Bug Lake Road Suite 180                             Unliquidated
         Winter Springs, FL 32708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6431
                                                                   Is the claim subject to offset?     No       Yes

3.613
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         M DONALD DRESCHER                                            Contingent
         1001 N Federal Highway Suite 313                             Unliquidated
         Hallandale, FL 33009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3765
                                                                   Is the claim subject to offset?     No       Yes

3.613
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M DWIGHT EVANS                                               Contingent
         P.O. Box 2405                                                Unliquidated
         Little Rock, AR 72203-2405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0639
                                                                   Is the claim subject to offset?     No       Yes

3.613
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M ELVIRA FERRO                                               Contingent
         1073 Northeast 125th Street                                  Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8415
                                                                   Is the claim subject to offset?     No       Yes

3.613
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M FRANKLYN ROMAN                                             Contingent
         Sevilla Center                                               Unliquidated
         241 Sevilla Avenue Suite 805
                                                                      Disputed
         Coral Gables, FL 33134-6622
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7316                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 927 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 935 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.614
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M FUENTES & CO                                               Contingent
         P.O. Box 431725                                              Unliquidated
         Miami, FL 33243-1725
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8020
                                                                   Is the claim subject to offset?     No       Yes

3.614
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         M JEFFREY SPENO                                              Contingent
         14 Evergreen Avenue Apt 9                                    Unliquidated
         Mill Valley, CA 94941-5604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6998
                                                                   Is the claim subject to offset?     No       Yes

3.614
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M JORGE ARECES PA                                            Contingent
         13615 S Dixie Highway Suite 114-491                          Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5102
                                                                   Is the claim subject to offset?     No       Yes

3.614
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M KEITH MARSHALL                                             Contingent
         3363 NE 163rd Street                                         Unliquidated
         Suite 801
                                                                      Disputed
         North Miami Beach, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8300                      Is the claim subject to offset?     No       Yes

3.614
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M KIRBY WATSON                                               Contingent
         944 4th Street N Suite 800                                   Unliquidated
         St Petersburg, FL 33701-1735
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2153
                                                                   Is the claim subject to offset?     No       Yes

3.614
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M LEE FAGAN                                                  Contingent
         P.O. Box 600457                                              Unliquidated
         Jacksonville, FL 32260-0457
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0903
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 928 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 936 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.614
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M LISA SHASTEEN PA                                           Contingent
         905 N Florida Avenue                                         Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9071
                                                                   Is the claim subject to offset?     No       Yes

3.614
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2.61
         M MALINDA OTTINGER PA                                        Contingent
         535 Central Avenue Suite 211                                 Unliquidated
         St Petersburg, FL 33701                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8258
                                                                   Is the claim subject to offset?     No       Yes

3.614
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M PAUL GARCIA                                                Contingent
         M Paul Garcia P.A.                                           Unliquidated
         12790 S Dixie Highway
                                                                      Disputed
         Miami, FL 33156-5960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3951                      Is the claim subject to offset?     No       Yes

3.614
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         M RAY FRIEDMAN                                               Contingent
         6020 N Federal Highway                                       Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 927
                                                                   Is the claim subject to offset?     No       Yes

3.615
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         M ROSS SHULMISTER                                            Contingent
         590 Southeast 12th Street                                    Unliquidated
         Pompano Beach, FL 33060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6917
                                                                   Is the claim subject to offset?     No       Yes

3.615
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         M S MARLIN                                                   Contingent
         250 Catalonia Suite 303                                      Unliquidated
         Coral Gables, FL 33134-6730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2179
                                                                   Is the claim subject to offset?     No       Yes

3.615
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,948.11
         M W SCHRYVER                                                 Contingent
         481 8th Avenue So                                            Unliquidated
         Naples, FL 34102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3557
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 929 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 937 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.615
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         M. ROSS SHULMISTER                                           Contingent
         590 SE 12 Street                                             Unliquidated
         Pompano Beach, FL 33060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6917
                                                                   Is the claim subject to offset?     No       Yes

3.615
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         M.T.K. International Law Group, P.A.                         Contingent
         1900 N. Bayshore Drive                                       Unliquidated
         Suite 1A-101
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1066                      Is the claim subject to offset?     No       Yes

3.615
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAC D HEAVENER III                                           Contingent
         4463 River Trail Road                                        Unliquidated
         Jacksonville, FL 32277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4595
                                                                   Is the claim subject to offset?     No       Yes

3.615
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mac Law Firm PLLC                                            Contingent
         10800 Biscayne Boulevard                                     Unliquidated
         Suite 700
                                                                      Disputed
         Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0919                      Is the claim subject to offset?     No       Yes

3.615
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MAC'KIE & MARNELL PA                                         Contingent
         4001 Tamiami Trail N Suite 320                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2303
                                                                   Is the claim subject to offset?     No       Yes

3.615
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,015.73
         MACFARLANE FERGUSON                                          Contingent
         P.O. Box 1669                                                Unliquidated
         Clearwater, FL 34617-1669                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1455
                                                                   Is the claim subject to offset?     No       Yes

3.615
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,213.89
         MACFARLANE FERGUSON                                          Contingent
         P.O. Box 1669                                                Unliquidated
         Clearwater, FL 34617-1669                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1254
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 930 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 938 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.616
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MacFarlane Ferguson & McMullen                               Contingent
         P.O. Box 1669                                                Unliquidated
         Clearwater, FL 33757-1669
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8922
                                                                   Is the claim subject to offset?     No       Yes

3.616
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         MACFARLANE FERGUSON & MCMULLEN                               Contingent
         P.O. Box 1531                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8922
                                                                   Is the claim subject to offset?     No       Yes

3.616
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MACHADO & HERRAN PA                                          Contingent
         8500 SW 8th Street                                           Unliquidated
         Suite 238
                                                                      Disputed
         Miami, FL 33144
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8373                      Is the claim subject to offset?     No       Yes

3.616
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $302.22
         MACK A. PLANT                                                Contingent
         310 E. Government Street Suite 100                           Unliquidated
         Pensacola, FL 32501-6076                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7206
                                                                   Is the claim subject to offset?     No       Yes

3.616
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MACK WILLIAMS HAYGOOD & MCLEAN                               Contingent
         980 N Federal Highway Suite 305                              Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7746
                                                                   Is the claim subject to offset?     No       Yes

3.616
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MACKENSON BERNARD                                            Contingent
         2605 W Atlantic Avenue Unit D-202                            Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8679
                                                                   Is the claim subject to offset?     No       Yes

3.616
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MACKEY LAW PA                                                Contingent
         1402 3rd Avenue W.                                           Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6966
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 931 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 939 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.616
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,462.32
         MACLEAN & EMA                                                Contingent
         2600 NE 14th Street Causeway                                 Unliquidated
         Pompano Beach, FL 33062-8224                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5840
                                                                   Is the claim subject to offset?     No       Yes

3.616
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MACLEAN & SCHLOTH PA                                         Contingent
         P.O. Box 551108                                              Unliquidated
         Jacksonville, FL 32255-1108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8968
                                                                   Is the claim subject to offset?     No       Yes

3.616
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MACMILLAN STANLEY PLLC                                       Contingent
         33 NE 4th Avenue                                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3318
                                                                   Is the claim subject to offset?     No       Yes

3.617
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MACWILLIAM MCCAIN & HILL PA                                  Contingent
         1826 14th Avenue Suite 201                                   Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4015
                                                                   Is the claim subject to offset?     No       Yes

3.617
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MADDEN AND BREGOFF PLC                                       Contingent
         900 Southeast Ocean Boulevard Suite 126-                     Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6211
                                                                   Is the claim subject to offset?     No       Yes

3.617
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MADELINE C EVANS-ERVIN                                       Contingent
         20178 Ocean Key Drive                                        Unliquidated
         Boca Raton, FL 33498
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0349
                                                                   Is the claim subject to offset?     No       Yes

3.617
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MADIGAN, PARKER, GATLIN TRUETT                               Contingent
         P.O. Box 669                                                 Unliquidated
         Tallahassee, FL 32302-0669
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4596
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 932 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 940 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.617
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAGGIE B EVANS                                               Contingent
         131 Waterman Avenue                                          Unliquidated
         Mount Dora, FL 32757-9541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8736
                                                                   Is the claim subject to offset?     No       Yes

3.617
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Magnolia Law, PLLC                                           Contingent
         101 NE 3rd Avenue                                            Unliquidated
         Suite 1500
                                                                      Disputed
         Ft. Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0898                      Is the claim subject to offset?     No       Yes

3.617
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,602.20
         MAGUIRE VOORHIS & WELLS PA                                   Contingent
         200 S Orange Avenue                                          Unliquidated
         Orlando, FL 32801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 19
                                                                   Is the claim subject to offset?     No       Yes

3.617
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Maguire | Miller PLLC                                        Contingent
         dba Maguire | Miller                                         Unliquidated
         400 Columbia Drive, Suite 100
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0804                      Is the claim subject to offset?     No       Yes

3.617
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MAHAFFEY & LEITCH                                            Contingent
         2461 W. SR 426                                               Unliquidated
         Suite 1001
                                                                      Disputed
         Oviedo, FL 32765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3239                      Is the claim subject to offset?     No       Yes

3.617
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Mahoney Law Group, P.A.                                      Contingent
         2240 Belleair Road                                           Unliquidated
         Suite 210
                                                                      Disputed
         Clearwater, FL 33764
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6981                      Is the claim subject to offset?     No       Yes

3.618
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Mahshie DeCosta, PA                                          Contingent
         407 E. Marion Avenue                                         Unliquidated
         Suite 101
                                                                      Disputed
         Punta Gorda, FL 33950
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7706                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 933 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 941 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.618
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MAIR JEAN-FRANCOIS & ASSOC PA                                Contingent
         6100 Hollywood Boulevard                                     Unliquidated
         Suite 211
                                                                      Disputed
         Hollywood, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6420                      Is the claim subject to offset?     No       Yes

3.618
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAITE L DIAZ PA                                              Contingent
         400 N Hiatus Road Suite 200                                  Unliquidated
         Pembroke Pines, FL 33026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4367
                                                                   Is the claim subject to offset?     No       Yes

3.618
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAITTE R NETSCH                                              Contingent
         122 Madeira Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2155
                                                                   Is the claim subject to offset?     No       Yes

3.618
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Malcolm B. Wiseheart, III P.L.L.C.                           Contingent
         2840 SW 3rd Avenue                                           Unliquidated
         Suite 201
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9819                      Is the claim subject to offset?     No       Yes

3.618
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MALCOLM B. WISEHEART, JR.                                    Contingent
         2840 S.W. 3rd Avenue                                         Unliquidated
         Miami, FL 33129-2328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4778
                                                                   Is the claim subject to offset?     No       Yes

3.618
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,139.63
         MALCOLM J PITCHFORD                                          Contingent
         P.O. Box 49948                                               Unliquidated
         Sarasota, FL 34230-6948                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2425
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 934 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 942 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.618
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MALCOLM P MICKLER III                                        Contingent
         P.O. Box 441                                                 Unliquidated
         Tampa, FL 33601-0441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6949
                                                                   Is the claim subject to offset?     No       Yes

3.618
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MALCOLM R SMITH                                              Contingent
         8605 Regency Park Boulevard                                  Unliquidated
         Port Richey, FL 34668-5742
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4332
                                                                   Is the claim subject to offset?     No       Yes

3.618
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Maldonado Miranda P.A.                                       Contingent
         3006 Aviation Avenue                                         Unliquidated
         Suite 2B
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1032                      Is the claim subject to offset?     No       Yes

3.619
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MALKA ISAAK                                                  Contingent
         306 E Tyler Street Floor 2                                   Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 231
                                                                   Is the claim subject to offset?     No       Yes

3.619
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MALLORY E HORNE                                              Contingent
         Rrt Box 942                                                  Unliquidated
         Tallahassee, FL 32312-9740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8377
                                                                   Is the claim subject to offset?     No       Yes

3.619
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mallory Law Firm, P.A.                                       Contingent
         P.O Box 2178                                                 Unliquidated
         Panama City, FL 32402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9044
                                                                   Is the claim subject to offset?     No       Yes

3.619
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Manausa Law Firm, P.A.                                       Contingent
         1701 Hermitage Boulevard Suite 100                           Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8226
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 935 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 943 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.619
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mancebo Law, P.A.                                            Contingent
         7380 SW 48th Street                                          Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7740
                                                                   Is the claim subject to offset?     No       Yes

3.619
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MANDEL & PERKINS PA                                          Contingent
         10115 W. Sample Road                                         Unliquidated
         Coral Springs, FL 33065-3937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8453
                                                                   Is the claim subject to offset?     No       Yes

3.619
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MANDEL WEISMAN & KIRSCHNER PA                                Contingent
         2385 EXECUTIVE CTR DR STE 270                                Unliquidated
         BOCA RATON, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1245
                                                                   Is the claim subject to offset?     No       Yes

3.619
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mangrove Title & Law, P.A.                                   Contingent
         12440 SW 1st Street                                          Unliquidated
         Plantation, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0675
                                                                   Is the claim subject to offset?     No       Yes

3.619
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANJULA KALIDINDI PA                                         Contingent
         300 S Pine Island Road Suite 206                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9544
                                                                   Is the claim subject to offset?     No       Yes

3.619
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Mankin Law Group                                             Contingent
         2535 Landmark Drive Suite 212                                Unliquidated
         Clearwater, FL 33761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8640
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 936 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 944 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.620
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANN & WOLF LLP                                              Contingent
         7800 W. Oakland Park Boulevard                               Unliquidated
         Suite B-104
                                                                      Disputed
         Sunrise, FL 33351
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6669                      Is the claim subject to offset?     No       Yes

3.620
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $167.96
         MANN, DADY, CORRIGAN ET AL                                   Contingent
         444 Brickell Ave.                                            Unliquidated
         Suite 500                                                    Disputed
         Miami, FL 33131-2405
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5164                      Is the claim subject to offset?     No       Yes


3.620
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANNING LAW OFFICE PL                                        Contingent
         41644 Dahlia Street                                          Unliquidated
         Port Orange, FL 32736-9690
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8847
                                                                   Is the claim subject to offset?     No       Yes

3.620
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANNO & DINNERSTEIN PA                                       Contingent
         1391 Sawgrass Corporate Parkway                              Unliquidated
         Sunrise, FL 33323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6274
                                                                   Is the claim subject to offset?     No       Yes

3.620
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MANNY (MANMINDERJIT) SINGH                                   Contingent
         6610 N University Drive Suite 220                            Unliquidated
         Tamarac, FL 33321-4034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8222
                                                                   Is the claim subject to offset?     No       Yes

3.620
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANUEL A BLANCO                                              Contingent
         Suite 301                                                    Unliquidated
         1313 Ponce De Leon Boulevard
                                                                      Disputed
         Coral Gables, FL 33134-3343
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7734                      Is the claim subject to offset?     No       Yes

3.620
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANUEL A MESA                                                Contingent
         730 Northwest 107th Avenue Suite 117                         Unliquidated
         Miami, FL 33172-3104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5690
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 937 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 945 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.620
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MANUEL ALONSO-POCH DBA                                       Contingent
         3138 Commodore Plaza Suite 318                               Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6427
                                                                   Is the claim subject to offset?     No       Yes

3.620
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANUEL CHONG CUAN JR                                         Contingent
         1105 SW 87th Avenue                                          Unliquidated
         Miami, FL 33174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3902
                                                                   Is the claim subject to offset?     No       Yes

3.620
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MANUEL DINER                                                 Contingent
         Manuel Diner P.A.                                            Unliquidated
         7735 Northwest 146th Street Suite 300
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6783                      Is the claim subject to offset?     No       Yes

3.621
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MANUEL E CABEZA                                              Contingent
         338 Minorca Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2052
                                                                   Is the claim subject to offset?     No       Yes

3.621
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MANUEL E OLIVER                                              Contingent
         2193 Vance Road                                              Unliquidated
         Deltona, FL 32738-5038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8087
                                                                   Is the claim subject to offset?     No       Yes

3.621
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MANUEL F FENTE                                               Contingent
         1835 W Flagler Street Suite 201                              Unliquidated
         Miami, FL 33135-1914
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7220
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 938 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 946 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.621
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANUEL FARACH                                                Contingent
         Phillips Point W Tower                                       Unliquidated
         777 S Flagler Drive Suite 1601
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4806                      Is the claim subject to offset?     No       Yes

3.621
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MANUEL J MARI                                                Contingent
         11120 N. Kendall Drive                                       Unliquidated
         Suite 201
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7256                      Is the claim subject to offset?     No       Yes

3.621
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANUEL J PEREZ                                               Contingent
         P.O. Box 257                                                 Unliquidated
         San Juan, PR 00919-0257
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5991
                                                                   Is the claim subject to offset?     No       Yes

3.621
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MANUEL J RAMIREZ                                             Contingent
         1200 Brickell Avenue Suite 1440                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 182
                                                                   Is the claim subject to offset?     No       Yes

3.621
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MANUEL L CRESPO                                              Contingent
         201 Alhambra Circle Suite 1205                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3886
                                                                   Is the claim subject to offset?     No       Yes

3.621
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MANUEL M RODRIGUEZ-FIOL                                      Contingent
         251 Crandon Boulevard Unit 109                               Unliquidated
         Key Biscayne, FL 33149-1505
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7902
                                                                   Is the claim subject to offset?     No       Yes

3.621
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MANUEL VEGA JR                                               Contingent
         2600 S Douglas Road Ph-10                                    Unliquidated
         Coral Gables, FL 33134-6134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7307
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 939 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 947 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.622
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARC BIRNBAUM                                                Contingent
         Marc Birnbaum P.A.                                           Unliquidated
         1041 Ives Dairy Road Suite 238
                                                                      Disputed
         Miami, FL 33179
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6123                      Is the claim subject to offset?     No       Yes

3.622
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Marc Brown, P.A.                                             Contingent
         10420 Northwest 12 Place                                     Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0202
                                                                   Is the claim subject to offset?     No       Yes

3.622
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARC F OATES PA                                              Contingent
         5515 Bryson Drive                                            Unliquidated
         Suite 502
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5053                      Is the claim subject to offset?     No       Yes

3.622
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARC FRANCIS OATES                                           Contingent
         1100 5th Avenue S Suite 405                                  Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5053
                                                                   Is the claim subject to offset?     No       Yes

3.622
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MARC HAUSER                                                  Contingent
         1111 Kane Concourse                                          Unliquidated
         Suite 616
                                                                      Disputed
         Bay Harbor Islands, FL 33154-2029
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6747                      Is the claim subject to offset?     No       Yes

3.622
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARC J CHAMBERLAND                                           Contingent
         550 Fairway Drive Suite 101                                  Unliquidated
         Deerfield Beach, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6530
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 940 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 948 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.622
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MARC J KLEIMAN                                               Contingent
         7300 Northeast 8th Court                                     Unliquidated
         Boca Raton, FL 33487-1712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7045
                                                                   Is the claim subject to offset?     No       Yes

3.622
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARC M COHEN                                                 Contingent
         7900 Glades Road Suite 330                                   Unliquidated
         Boca Raton, FL 33434-4104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4674
                                                                   Is the claim subject to offset?     No       Yes

3.622
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARC P OSSINSKY                                              Contingent
         Ossinsky & Cathcart P.A.                                     Unliquidated
         2699 Lee Road Suite 101
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6715                      Is the claim subject to offset?     No       Yes

3.622
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARC R GAYLORD PA                                            Contingent
         12000 SE Old Dixie Highway                                   Unliquidated
         Hobe Sound, FL 33455
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7938
                                                                   Is the claim subject to offset?     No       Yes

3.623
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARC R TILLER                                                Contingent
         5521 University Drive Suite 104                              Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2188
                                                                   Is the claim subject to offset?     No       Yes

3.623
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARC S LEVIN                                                 Contingent
         500 E Broward Boulevard Suite 1350                           Unliquidated
         Ft Lauderdale, FL 33394-3002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3947
                                                                   Is the claim subject to offset?     No       Yes

3.623
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCELL FELIPE PA                                            Contingent
         1200 Ponce de Leon Blvd.                                     Unliquidated
         Suite 703
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0220                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 941 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 949 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.623
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCELLA C GRIDLEY                                           Contingent
         P.O. Box 1648                                                Unliquidated
         Dunedin, FL 34697-1648
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4959
                                                                   Is the claim subject to offset?     No       Yes

3.623
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARCHENA & GRAHAM PA                                         Contingent
         976 Lake Baldwin Lane                                        Unliquidated
         Suite 101
                                                                      Disputed
         Orlando, FL 32814
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4330                      Is the claim subject to offset?     No       Yes

3.623
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCI L ROSE                                                 Contingent
         810 Thomas Street                                            Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9798
                                                                   Is the claim subject to offset?     No       Yes

3.623
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCI LOWMAN                                                 Contingent
         2020 Northeast 163 Street Suite 300                          Unliquidated
         N Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6010
                                                                   Is the claim subject to offset?     No       Yes

3.623
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCIA C MERMELSTEIN                                         Contingent
         P.O. Box 771525                                              Unliquidated
         Coral Springs, FL 33077-1515
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4399
                                                                   Is the claim subject to offset?     No       Yes

3.623
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARCIA RAMSDELL                                              Contingent
         2525 Temple Drive                                            Unliquidated
         Winter Park, FL 32789-1343
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5846
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 942 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 950 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.623
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Marcie Cohen, Esquire                                        Contingent
         1767 Northeast 162nd Street                                  Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7116
                                                                   Is the claim subject to offset?     No       Yes

3.624
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCO DE LA CAL                                              Contingent
         6653 SW 105 Avenue                                           Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3496
                                                                   Is the claim subject to offset?     No       Yes

3.624
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         MARCUS & MARCUS PA                                           Contingent
         15600 SW 288th Street                                        Unliquidated
         Suite 307
                                                                      Disputed
         Homestead, FL 33033
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2322                      Is the claim subject to offset?     No       Yes

3.624
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCUS G BODET                                               Contingent
         11020 Pembroke Road Suite 141                                Unliquidated
         Miramar, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6179
                                                                   Is the claim subject to offset?     No       Yes

3.624
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARCUS MCMAHON & MYERS PL                                    Contingent
         1515 Park Center Drive Suite 2g                              Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9563
                                                                   Is the claim subject to offset?     No       Yes

3.624
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARCUS S AMBROSE                                             Contingent
         7040 Avenida Encinas Suite 104-351                           Unliquidated
         Carlsbad, CA 92009-4652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6980
                                                                   Is the claim subject to offset?     No       Yes

3.624
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Marenco Rodriguez, P.L.L.C.                                  Contingent
         357 Almeria Avenue Suite 103                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8721
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 943 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 951 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.624
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARET A BROZ                                              Contingent
         Comeau Building                                              Unliquidated
         319 Clematis Street Suite 602
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5629                      Is the claim subject to offset?     No       Yes

3.624
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARET A WHARTON                                           Contingent
         P.O. Box 1172                                                Unliquidated
         Oviedo, FL 32765-1172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7428
                                                                   Is the claim subject to offset?     No       Yes

3.624
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARGARET BOWLES PA                                           Contingent
         3944 W Eden Roc Circle                                       Unliquidated
         Tampa, FL 33634
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0866
                                                                   Is the claim subject to offset?     No       Yes

3.624
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARGARET E RUDDY                                             Contingent
         Lynn University                                              Unliquidated
         3601 N Military Trail
                                                                      Disputed
         Boca Raton, FL 33431-5507
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6443                      Is the claim subject to offset?     No       Yes

3.625
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARET JARRELL-COLE                                        Contingent
         University of Florida Fnd Inc.                               Unliquidated
         P.O. Box 14425
                                                                      Disputed
         Gainesville, FL 32604
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7700                      Is the claim subject to offset?     No       Yes

3.625
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARET MONTALVO                                            Contingent
         800 Village Square Xing Suite 207                            Unliquidated
         Palm Beach Gardens, FL 33410-4540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5417
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 944 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 952 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.625
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARET NAPOLITAN                                           Contingent
         260 Ocean Ridge Drive                                        Unliquidated
         Melbourne Beach, FL 32951
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1614
                                                                   Is the claim subject to offset?     No       Yes

3.625
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARGARET PALMER                                              Contingent
         P.O. Box 280                                                 Unliquidated
         Ocala, FL 34478-0280
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8120
                                                                   Is the claim subject to offset?     No       Yes

3.625
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARGARET T ROBERTS                                           Contingent
         P.O. Box 832                                                 Unliquidated
         New Smyrna Beach, FL 32170-0382
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7816
                                                                   Is the claim subject to offset?     No       Yes

3.625
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARGARET TOWNSEND                                            Contingent
         99 26th Street Northwest                                     Unliquidated
         Atlanta, GA 30309-2004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7281
                                                                   Is the claim subject to offset?     No       Yes

3.625
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARITA BOUZA                                              Contingent
         1234 S Dixie Highway Suite 319                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8241
                                                                   Is the claim subject to offset?     No       Yes

3.625
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARITA J MENDIVE                                          Contingent
         8567 Coral Way                                               Unliquidated
         Suite 445
                                                                      Disputed
         Miami, FL 33155-2335
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5394                      Is the claim subject to offset?     No       Yes

3.625
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGARITA P MUINA PA                                         Contingent
         Bank of America Tower                                        Unliquidated
         100 Southeast 2nd Street Suite 2600
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8602                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 945 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 953 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.625
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARGOLIN & MARGOLIN                                          Contingent
         Lake Wyman Plaza                                             Unliquidated
         2424 N Federal Highway
                                                                      Disputed
         Boca Raton, FL 33431-7735
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6282                      Is the claim subject to offset?     No       Yes

3.626
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA ALICE SINGER                                           Contingent
         P.O. Box 290724                                              Unliquidated
         Davie, FL 33329-0724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4285
                                                                   Is the claim subject to offset?     No       Yes

3.626
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA BEHAR                                                  Contingent
         13899 Biscayne Boulevard Suite 107                           Unliquidated
         North Miami Beach, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9189
                                                                   Is the claim subject to offset?     No       Yes

3.626
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA C ARRIOLA VELEZ                                        Contingent
         35 Almeria Avenue                                            Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8513
                                                                   Is the claim subject to offset?     No       Yes

3.626
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA C SUAREZ PA                                            Contingent
         Pmb 146                                                      Unliquidated
         8004 Northwest 154th Street
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9080                      Is the claim subject to offset?     No       Yes

3.626
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA D SARIOL                                               Contingent
         990 Southwest 93rd Avenue                                    Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0006
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 946 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 954 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.626
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARIA DEL CARMEN CUETO                                       Contingent
         10231 Southwest 91st Street                                  Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6535
                                                                   Is the claim subject to offset?     No       Yes

3.626
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARIA E CORREDOR PA                                          Contingent
         Doral Park Centre                                            Unliquidated
         3905 NW 107 Avenue, Suite 502
                                                                      Disputed
         Doral, FL 33178
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2962                      Is the claim subject to offset?     No       Yes

3.626
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA E PENA PA                                              Contingent
         2460 Southwest 137th Avenue Suite 248                        Unliquidated
         Miami, FL 33175-6399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7258
                                                                   Is the claim subject to offset?     No       Yes

3.626
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA ELSA ESPINOSA                                          Contingent
         P.O. Box 300010                                              Unliquidated
         Fern Park, FL 32730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4538
                                                                   Is the claim subject to offset?     No       Yes

3.626
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA I ESCOTO-CASTIELLO PA                                  Contingent
         2000 S. Dixie Highway                                        Unliquidated
         Suite 104-A
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0166                      Is the claim subject to offset?     No       Yes

3.627
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA L ALO-NARANJO                                          Contingent
         6262 SW 40th Street                                          Unliquidated
         Suite 3K
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6499                      Is the claim subject to offset?     No       Yes

3.627
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA LAPI DRUMM                                             Contingent
         6201 Presidential Court Suite 104                            Unliquidated
         Ft Myers, FL 33919-3578
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3706
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 947 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 955 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.627
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARIA PRATS HAMILTON                                         Contingent
         7600 Red Road                                                Unliquidated
         Suite 229
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8138                      Is the claim subject to offset?     No       Yes

3.627
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARIA R DE LA PORTILLA                                       Contingent
         1 South Drive                                                Unliquidated
         Miami Springs, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6914
                                                                   Is the claim subject to offset?     No       Yes

3.627
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA T DIPASQUALE                                           Contingent
         19562 Trails End Terrace                                     Unliquidated
         Jupiter, FL 33458-2437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1466
                                                                   Is the claim subject to offset?     No       Yes

3.627
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA T LOPEZ                                                Contingent
         759 Northwest 22nd Avenue 2nd Floor                          Unliquidated
         Miami, FL 33125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5756
                                                                   Is the claim subject to offset?     No       Yes

3.627
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA V LAPIETRA PA                                          Contingent
         1680 Michigan Avenue                                         Unliquidated
         Suite 700
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0534                      Is the claim subject to offset?     No       Yes

3.627
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARIA V YAZJI PA                                             Contingent
         465 Ocean Drive Apt 212                                      Unliquidated
         Miami, FL 33139-6623
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8496
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 948 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 956 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.627
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA VERONICA RIVES PA                                      Contingent
         12781 NW 11 Street                                           Unliquidated
         Miami, FL 33182
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8220
                                                                   Is the claim subject to offset?     No       Yes

3.627
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIA VICTORIA MARABOTTO                                     Contingent
         4412 Alhambra Circle                                         Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2791
                                                                   Is the claim subject to offset?     No       Yes

3.628
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIAN H MCGRATH                                             Contingent
         P.O. Box 384                                                 Unliquidated
         St Petersburg, FL 33731-0384
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2430
                                                                   Is the claim subject to offset?     No       Yes

3.628
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIAN PEARLMAN NEASE                                        Contingent
         350 E Las Olas Boulevard Suite 100                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5597
                                                                   Is the claim subject to offset?     No       Yes

3.628
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $38.45
         MARIANNE WIERCIOCH                                           Contingent
         709 W Royal Palm Road                                        Unliquidated
         Boca Raton, FL 33486-4666                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8076
                                                                   Is the claim subject to offset?     No       Yes

3.628
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIANO SOLE PA                                              Contingent
         782 Northwest 42nd Avenue Suite 340                          Unliquidated
         Miami, FL 33126-5524
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4739
                                                                   Is the claim subject to offset?     No       Yes

3.628
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIE E HENKEL                                               Contingent
         3560 S Magnolia Avenue                                       Unliquidated
         Orlando, FL 32806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2389
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 949 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 957 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.628
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIE E PETERS                                               Contingent
         30020 Johnston Road                                          Unliquidated
         Dade City, FL 33523-1917
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2071
                                                                   Is the claim subject to offset?     No       Yes

3.628
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARILYN BLANCO-REYES                                         Contingent
         One Southeast Third Avenue Suite 2400                        Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7812
                                                                   Is the claim subject to offset?     No       Yes

3.628
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARILYN D DVORES                                             Contingent
         200 E Robinson Street Suite 1250                             Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9117
                                                                   Is the claim subject to offset?     No       Yes

3.628
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARILYN D GREENBLATT                                         Contingent
         Marilyn D. Greenblatt P.A.                                   Unliquidated
         539 King Edward Road
                                                                      Disputed
         Charlotte, NC 28211-4527
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2224                      Is the claim subject to offset?     No       Yes

3.628
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARILYN H OTTO                                               Contingent
         605 Northwest 10th Court                                     Unliquidated
         Boca Raton, FL 33486-3450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7512
                                                                   Is the claim subject to offset?     No       Yes

3.629
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARILYN J HOCHMAN                                            Contingent
         1420 Alafaya Trail Suite 101                                 Unliquidated
         Oviedo, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8346
                                                                   Is the claim subject to offset?     No       Yes

3.629
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARILYN W. MILLER                                            Contingent
         P.O. Box 1467                                                Unliquidated
         Ft. Myers, FL 33902-1467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8346
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 950 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 958 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.629
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARIN PA                                                     Contingent
         2601 S Bayshore Drive Suite 700                              Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5991
                                                                   Is the claim subject to offset?     No       Yes

3.629
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mariner Title Company                                        Contingent
         100 SW Albany Avenue                                         Unliquidated
         Suite 310
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5526                      Is the claim subject to offset?     No       Yes

3.629
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Marinosci Law Group, P.C.                                    Contingent
         100 W Cypress Creek Road                                     Unliquidated
         Suite 1045
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6946                      Is the claim subject to offset?     No       Yes

3.629
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIO A GARCIA PA                                            Contingent
         400 N. Ferncreek Avenue                                      Unliquidated
         Orlando, FL 32803-5432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9918
                                                                   Is the claim subject to offset?     No       Yes

3.629
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARIO A LAMAR PA                                             Contingent
         3971 SW 8th Street                                           Unliquidated
         Suite 305
                                                                      Disputed
         Miami, FL 33134-2950
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8438                      Is the claim subject to offset?     No       Yes

3.629
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIO BRAMNICK                                               Contingent
         12401 Orange Drive Suite 218                                 Unliquidated
         Davie, FL 33330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6643
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 951 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 959 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.629
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIO D GERMAN LAW CENTER PA                                 Contingent
         55 Northeast 5th Avenue Suite 501                            Unliquidated
         Boca Raton, FL 33432-5081
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6642
                                                                   Is the claim subject to offset?     No       Yes

3.629
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         MARIO G DE MENDOZA III                                       Contingent
         12765 Forest Hill Boulevard Suite 1302                       Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5605
                                                                   Is the claim subject to offset?     No       Yes

3.630
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIO L CABELLO                                              Contingent
         2020 Southwest First Street                                  Unliquidated
         Miami, FL 33135-1603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4767
                                                                   Is the claim subject to offset?     No       Yes

3.630
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIO LAMAR                                                  Contingent
         3971 Southwest 8th Street                                    Unliquidated
         Miami, FL 33134-2950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2255
                                                                   Is the claim subject to offset?     No       Yes

3.630
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARIO R DELGADO                                              Contingent
         2000 Ponce De Leon Boulevard Suite 102                       Unliquidated
         Coral Gables, FL 33134-4435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2381
                                                                   Is the claim subject to offset?     No       Yes

3.630
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARIO VELEZ                                                  Contingent
         10030 SW 40th Street                                         Unliquidated
         Suite B
                                                                      Disputed
         Miami, FL 33165
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7019                      Is the claim subject to offset?     No       Yes

3.630
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         MARION E. SIBLEY                                             Contingent
         1301 Dade Boulevard                                          Unliquidated
         Miami Beach, FL 33139-1438
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 694
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 952 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 960 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.630
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARION J RADSON                                              Contingent
         739 Northwest 23rd Street                                    Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6525
                                                                   Is the claim subject to offset?     No       Yes

3.630
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARJORIE DESPORTE                                            Contingent
         5533 Northwest 53rd Circle                                   Unliquidated
         Coconut Creek, FL 33073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4712
                                                                   Is the claim subject to offset?     No       Yes

3.630
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARJORIE KRET PA                                             Contingent
         5841 Southwest 17th Street                                   Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4167
                                                                   Is the claim subject to offset?     No       Yes

3.630
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARJORIE N ALTIDOR                                           Contingent
         5475 Northeast Street James Drive Suite                      Unliquidated
         Port St Lucie, FL 34983
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8141
                                                                   Is the claim subject to offset?     No       Yes

3.630
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mark & Brown, P.A.                                           Contingent
         5728 Major Boulevard Suite 502                               Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7011
                                                                   Is the claim subject to offset?     No       Yes

3.631
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK A EMANUELE                                              Contingent
         3600 N Federal Highway 3rd Floor                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3965
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 953 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 961 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.631
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK A KOTEEN                                                Contingent
         3100 Clay Avenue,Suite 177                                   Unliquidated
         Orlando, FL 32804-4040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5938
                                                                   Is the claim subject to offset?     No       Yes

3.631
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK A MARDER                                                Contingent
         9400 Dadeland Towers                                         Unliquidated
         9400 S Dadeland Boulevard Ph-5
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7145                      Is the claim subject to offset?     No       Yes

3.631
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6.50
         MARK A VALENTINE                                             Contingent
         3831 Grand Avenue                                            Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8468
                                                                   Is the claim subject to offset?     No       Yes

3.631
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARK A VIOLETTE PA                                           Contingent
         4405 Commons Drive East Suite 102                            Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6534
                                                                   Is the claim subject to offset?     No       Yes

3.631
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mark A. Bednar, P.A.                                         Contingent
         11 E. Zaragoza Street                                        Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8554
                                                                   Is the claim subject to offset?     No       Yes

3.631
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK A. FISHER                                               Contingent
         P.O. Box 249                                                 Unliquidated
         Middleton, NY 10940-0249
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6211
                                                                   Is the claim subject to offset?     No       Yes

3.631
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK A. SEGAL                                                Contingent
         12740 Biscayne Bay Dr.                                       Unliquidated
         N. Miami Beach, FL 33181-2414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7975
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 954 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 962 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.631
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK B GOLDSTEIN                                             Contingent
         2700 N. Military Trail                                       Unliquidated
         Suite 130
                                                                      Disputed
         Boca Raton, FL 33431-6934
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5059                      Is the claim subject to offset?     No       Yes

3.631
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK B KLEINFELD                                             Contingent
         Mark B. Kleinfeld P.A.                                       Unliquidated
         P.O. Box 2203
                                                                      Disputed
         Palm Beach, FL 33480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4908                      Is the claim subject to offset?     No       Yes

3.632
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK B SEVERS                                                Contingent
         10 Balch Hill Lane                                           Unliquidated
         Hanover, NH 03775
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7565
                                                                   Is the claim subject to offset?     No       Yes

3.632
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,170.09
         MARK BUCHBINDER                                              Contingent
         5104 Southwest 72nd Avenue                                   Unliquidated
         Miami, FL 33155                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3856
                                                                   Is the claim subject to offset?     No       Yes

3.632
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK C BRUNI                                                 Contingent
         150 Southeast 2nd Avenue Suite 1405                          Unliquidated
         Miami, FL 33131-1582
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4763
                                                                   Is the claim subject to offset?     No       Yes

3.632
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK C CAPWELL PA                                            Contingent
         4955 Chardonnay Drive                                        Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8213
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 955 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 963 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.632
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK C KATZEF                                                Contingent
         20801 Biscayne Blvd.                                         Unliquidated
         Suite 304
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3871                      Is the claim subject to offset?     No       Yes

3.632
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK C MAROON                                                Contingent
         2900 Southwest 58th Avenue                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0390
                                                                   Is the claim subject to offset?     No       Yes

3.632
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK C RUTECKI                                               Contingent
         412 Arbir Circle                                             Unliquidated
         Celebration, FL 34747
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4929
                                                                   Is the claim subject to offset?     No       Yes

3.632
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK D BALZLI                                                Contingent
         Law Office of Mark D Balzli P.A.                             Unliquidated
         1111 Lincoln Road Suite 400
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1347                      Is the claim subject to offset?     No       Yes

3.632
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK D BOGEN                                                 Contingent
         1761 W Hillsboro Boulevard Suite 328                         Unliquidated
         Deerfield Beach, FL 33442-1562
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3969
                                                                   Is the claim subject to offset?     No       Yes

3.632
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK D BREAKSTONE & ASSOCIATES                               Contingent
         P.O. Box 1599                                                Unliquidated
         Camarillo, CA 93011-1599
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5080
                                                                   Is the claim subject to offset?     No       Yes

3.633
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK D JASPERSON                                             Contingent
         4106 Gray Street                                             Unliquidated
         Tampa, FL 33609-2211
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8624
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 956 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 964 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.633
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK D. GROSSMAN                                             Contingent
         1390 South Dixie Highway                                     Unliquidated
         Suite 2109
                                                                      Disputed
         Coral Gables, FL 33146-2944
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2053                      Is the claim subject to offset?     No       Yes

3.633
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK DOUGLASS DAVIS                                          Contingent
         694 Baldwin Avenue Suite 1                                   Unliquidated
         Defuniak Springs, FL 32433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6746
                                                                   Is the claim subject to offset?     No       Yes

3.633
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK E ALLSWORTH                                             Contingent
         Doumar Allsworth Laystrom Et Al                              Unliquidated
         1177 SE 3rd Avenue
                                                                      Disputed
         Ft. Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8494                      Is the claim subject to offset?     No       Yes

3.633
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK E CLEMENTS                                              Contingent
         310 E Main Street                                            Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4743
                                                                   Is the claim subject to offset?     No       Yes

3.633
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK E FRIED                                                 Contingent
         1110 Brickell Avenue                                         Unliquidated
         Suite 310
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 563                       Is the claim subject to offset?     No       Yes

3.633
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK E HAGER                                                 Contingent
         Pilka & Associates P.A.                                      Unliquidated
         P.O. Box 3470
                                                                      Disputed
         Brandon, FL 33509-3470
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0457                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 957 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 965 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.633
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK E KASS                                                  Contingent
         1497 NW 7th Street                                           Unliquidated
         Miami, FL 33125-3640
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4867
                                                                   Is the claim subject to offset?     No       Yes

3.633
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK E ROUSSO PA                                             Contingent
         Suite B                                                      Unliquidated
         1000 E Hallandale Beach Boulevard
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5975                      Is the claim subject to offset?     No       Yes

3.633
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK E TIPPINS                                               Contingent
         6320 Saint Augustine Road Suite 11                           Unliquidated
         Jacksonville, FL 32217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6971
                                                                   Is the claim subject to offset?     No       Yes

3.634
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARK F DAHLE PA                                              Contingent
         P.O. Box 6629                                                Unliquidated
         Lakeland, FL 33807-6629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7873
                                                                   Is the claim subject to offset?     No       Yes

3.634
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK G CARUSILLO                                             Contingent
         9 Kevin-Way                                                  Unliquidated
         Marlton, NJ 08053
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9278
                                                                   Is the claim subject to offset?     No       Yes

3.634
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $31,952.81
         MARK G LANGER                                                Contingent
         P.O. Box 430763                                              Unliquidated
         South Miami, FL 33243-0763                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5592
                                                                   Is the claim subject to offset?     No       Yes

3.634
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK H GREGG                                                 Contingent
         P.O. Box 324                                                 Unliquidated
         Micanopy, FL 32667
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2346
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 958 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 966 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.634
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK H KLEIN                                                 Contingent
         11098 Biscayne Boulevard Suite 203                           Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5646
                                                                   Is the claim subject to offset?     No       Yes

3.634
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK H KLEIN PA                                              Contingent
         2263 Northwest Boca Raton Boulevard Suit                     Unliquidated
         Boca Raton, FL 33431-7401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0425
                                                                   Is the claim subject to offset?     No       Yes

3.634
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK I BLUMSTEIN PA                                          Contingent
         4040 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4721
                                                                   Is the claim subject to offset?     No       Yes

3.634
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK J ALBRECHTA                                             Contingent
         15824 Hampton Village Drive                                  Unliquidated
         Tampa, FL 33618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3749
                                                                   Is the claim subject to offset?     No       Yes

3.634
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK J ALDERUCCIO                                            Contingent
         851 Fifth Avenue North                                       Unliquidated
         Suite 303
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2569                      Is the claim subject to offset?     No       Yes

3.634
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK J BOULRIS                                               Contingent
         15060 Southwest 71st Court                                   Unliquidated
         Miami, FL 33158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4561
                                                                   Is the claim subject to offset?     No       Yes

3.635
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK J LABATE                                                Contingent
         2744 E Commercial Boulevard                                  Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5600
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 959 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 967 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.635
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK J LYNN PA                                               Contingent
         108 Heatherbrook Way                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6013
                                                                   Is the claim subject to offset?     No       Yes

3.635
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK J NOWICKI                                               Contingent
         480 Maplewood Drive                                          Unliquidated
         Suite 2
                                                                      Disputed
         Jupiter, FL 33458-5845
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4067                      Is the claim subject to offset?     No       Yes

3.635
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK J WOLFF                                                 Contingent
         Street Thomas Univ School of Law                             Unliquidated
         16400 Northwest 32nd Avenue
                                                                      Disputed
         Opa Locka, FL 33054-6459
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7627                      Is the claim subject to offset?     No       Yes

3.635
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK J YERMAN                                                Contingent
         4167 W Vicksburg Drive                                       Unliquidated
         Citrus Spring, FL 34429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7391
                                                                   Is the claim subject to offset?     No       Yes

3.635
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mark J. Labate, P.A.                                         Contingent
         2744 E. Commercial Boulevard                                 Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5600
                                                                   Is the claim subject to offset?     No       Yes

3.635
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK KASPEROVICH                                             Contingent
         C & S Bank Building                                          Unliquidated
         Financial Plaza Suite 2200
                                                                      Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2321                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 960 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 968 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.635
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK L KATZMAN                                               Contingent
         1017 Northeast Bear Creek Road                               Unliquidated
         Bent, OR 97701-5009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7620
                                                                   Is the claim subject to offset?     No       Yes

3.635
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK L PATEMAN                                               Contingent
         330 Tuxedo Lane                                              Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7010
                                                                   Is the claim subject to offset?     No       Yes

3.635
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARK L RIVLIN PA                                             Contingent
         1501 Venera Avenue                                           Unliquidated
         Suite 312
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5260                      Is the claim subject to offset?     No       Yes

3.636
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK LACEDONIA                                               Contingent
         1520 Ancona Avenue                                           Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2082
                                                                   Is the claim subject to offset?     No       Yes

3.636
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK N MUSIAL                                                Contingent
         2002 Del Prado Boulevard S Suite 101                         Unliquidated
         Cape Coral, FL 33990-4557
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5800
                                                                   Is the claim subject to offset?     No       Yes

3.636
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK R HALL PA                                               Contingent
         124 Faulkner Street                                          Unliquidated
         New Smyrna Beach, FL 32168-7108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4353
                                                                   Is the claim subject to offset?     No       Yes

3.636
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK R LEWIS                                                 Contingent
         6830 Central Avenue Suite D                                  Unliquidated
         St Petersburg, FL 33707-1208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3904
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 961 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 969 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.636
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK R MANCERI                                               Contingent
         2929 E Commercial Boulevard Suite 702                        Unliquidated
         Ft Lauderdale, FL 33308-4223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5655
                                                                   Is the claim subject to offset?     No       Yes

3.636
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK R OSHEROW                                               Contingent
         Osherow Shiner & Associates P.A.                             Unliquidated
         P.O. Box 880575
                                                                      Disputed
         Boca Raton, FL 33488-0575
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3334                      Is the claim subject to offset?     No       Yes

3.636
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK R RUBIN                                                 Contingent
         P.O. Box 402279                                              Unliquidated
         Miami Beach, FL 33140-0279
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6255
                                                                   Is the claim subject to offset?     No       Yes

3.636
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARK R STARKMAN                                              Contingent
         Packman Neuwahl & Rosenberg                                  Unliquidated
         1500 San Remo Avenue Suite 125
                                                                      Disputed
         Coral Gables, FL 33146-3041
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6289                      Is the claim subject to offset?     No       Yes

3.636
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK R WHITTAKER                                             Contingent
         17 W Cervantes Street                                        Unliquidated
         Pensacola, FL 32501-3125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7791
                                                                   Is the claim subject to offset?     No       Yes

3.636
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $16.81
         MARK R. BAER                                                 Contingent
         28 W. Flagler St.                                            Unliquidated
         Suite 400                                                    Disputed
         Miami, FL 33130-1891
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5158                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 962 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 970 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.637
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK S FISCH                                                 Contingent
         4400 PGA Boulevard Suite 900                                 Unliquidated
         Palm Beach Gardens, FL 33410-6560
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4802
                                                                   Is the claim subject to offset?     No       Yes

3.637
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK S GALLEGOS                                              Contingent
         One Southeast Third Avenue Suite 1440                        Unliquidated
         Miami, FL 33131-1715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5081
                                                                   Is the claim subject to offset?     No       Yes

3.637
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK S KIMMEL                                                Contingent
         6701 Sunset Drive                                            Unliquidated
         Suite 105
                                                                      Disputed
         Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6597                      Is the claim subject to offset?     No       Yes

3.637
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK S LEVINE                                                Contingent
         245 E Virginia Street                                        Unliquidated
         Cambridge Centre
                                                                      Disputed
         Tallahassee, FL 32301-1263
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6741                      Is the claim subject to offset?     No       Yes

3.637
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK S LONDON                                                Contingent
         Mark S. London P.A.                                          Unliquidated
         4030c Sheridan Street
                                                                      Disputed
         Hollywood, FL 33021-3536
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4132                      Is the claim subject to offset?     No       Yes

3.637
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK S SCHECHNER                                             Contingent
         2 Grove Isle Drive                                           Unliquidated
         Suite 910
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3919                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 963 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 971 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.637
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARK S SCHECTER                                              Contingent
         Schecter Law P.A.                                            Unliquidated
         101 NE 3rd Avenue, Suite 1250
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7625                      Is the claim subject to offset?     No       Yes

3.637
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK S ULMER                                                 Contingent
         890 S Dixie Highway                                          Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1582
                                                                   Is the claim subject to offset?     No       Yes

3.637
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK S WEINBERG                                              Contingent
         1221 Brickell Avenue Suite 1650                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3342
                                                                   Is the claim subject to offset?     No       Yes

3.637
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK STEINBERG                                               Contingent
         9719 S Dixie Highway Suite 17                                Unliquidated
         Miami, FL 33156-2806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8006
                                                                   Is the claim subject to offset?     No       Yes

3.638
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK STEVEN BENTLEY                                          Contingent
         101 E Kennedy Boulevard Suite 3140                           Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9775
                                                                   Is the claim subject to offset?     No       Yes

3.638
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK T BLAKE                                                 Contingent
         Mark T. Blake Ll.M P.A.                                      Unliquidated
         4905 Cameron Valley Parkway
                                                                      Disputed
         Charlotte, NC 28210
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8680                      Is the claim subject to offset?     No       Yes

3.638
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK W BRANDT                                                Contingent
         595 Main Street                                              Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5825
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 964 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 972 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.638
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK W GARRETT                                               Contingent
         Garrett Law Firm P.A.                                        Unliquidated
         1850 Lee Road Suite 330
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2068                      Is the claim subject to offset?     No       Yes

3.638
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK W JACKSON PA                                            Contingent
         P.O. Box 271028                                              Unliquidated
         Tampa, FL 33688-1028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3654
                                                                   Is the claim subject to offset?     No       Yes

3.638
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARK W. MERRILL                                              Contingent
         P.O. Box 405                                                 Unliquidated
         Tampa, FL 33601-0405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4350
                                                                   Is the claim subject to offset?     No       Yes

3.638
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARK WARDA                                                   Contingent
         P.O. Box 7                                                   Unliquidated
         Clearwater, FL 33757-0007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6948
                                                                   Is the claim subject to offset?     No       Yes

3.638
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MARKOWITZ RINGEL TRUSTY &                                    Contingent
         Two Datran Center                                            Unliquidated
         9130 S Dadeland Boulevard, Suite 1800
                                                                      Disputed
         Miami, FL 33156-7858
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6899                      Is the claim subject to offset?     No       Yes

3.638
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARKS & CHONG PA                                             Contingent
         605 E Robinson Street Suite 510                              Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7241
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 965 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 973 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.638
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARKS & FRAZIER LLP                                          Contingent
         P.O. Box 899                                                 Unliquidated
         Flagler Beach, FL 32136
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3061
                                                                   Is the claim subject to offset?     No       Yes

3.639
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARLENE GARCIA                                               Contingent
         5860 SW 87th Street                                          Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0150
                                                                   Is the claim subject to offset?     No       Yes

3.639
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARLENE ORTEGA                                               Contingent
         2474 Southwest 27th Terrace                                  Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0858
                                                                   Is the claim subject to offset?     No       Yes

3.639
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARLIN M FEAGLE                                              Contingent
         P.O. Box 1653                                                Unliquidated
         Lake City, FL 32056-1653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7496
                                                                   Is the claim subject to offset?     No       Yes

3.639
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARLOW V WHITE JR                                            Contingent
         P.O. Box 1050                                                Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5259
                                                                   Is the claim subject to offset?     No       Yes

3.639
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARLYN J WIENER PA                                           Contingent
         6111 NW Broken Sound Parkway                                 Unliquidated
         Suite 330
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4745                      Is the claim subject to offset?     No       Yes

3.639
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARQUEZ & MARCELO-ROBAINA PA                                 Contingent
         6505 Blue Lagoon Drive                                       Unliquidated
         Suite 130
                                                                      Disputed
         Miami, FL 33126-6041
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8231                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 966 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 974 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.639
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Marro Law, P.A.                                              Contingent
         950 S. Pine Island Road                                      Unliquidated
         Suite A-150
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8123                      Is the claim subject to offset?     No       Yes

3.639
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $258.21
         MARSHA B GLISSON                                             Contingent
         5924 Main Street                                             Unliquidated
         New Port Richey, FL 34652-2716                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 111
                                                                   Is the claim subject to offset?     No       Yes

3.639
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARSHALL A ADAMS                                             Contingent
         One Financial Plaza Suite 2700                               Unliquidated
         Ft Lauderdale, FL 33384
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8952
                                                                   Is the claim subject to offset?     No       Yes

3.639
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARSHALL C DEASON                                            Contingent
         3902 Henderson Boulevard Suite 203                           Unliquidated
         Tampa, FL 33629-5034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7176
                                                                   Is the claim subject to offset?     No       Yes

3.640
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARSHALL C WATSON PA                                         Contingent
         P.O. Box 9908                                                Unliquidated
         Ft Lauderdale, FL 33310-9908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8390
                                                                   Is the claim subject to offset?     No       Yes

3.640
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARSHALL D PLATT                                             Contingent
         4402 Martinique Court Suite A-1                              Unliquidated
         Coconut Creek, FL 33066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6983
                                                                   Is the claim subject to offset?     No       Yes

3.640
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARSHALL E. SIGEL                                            Contingent
         P.O. Box 273408                                              Unliquidated
         Boca Raton, FL 33427-3408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 511
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 967 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 975 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.640
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARSHALL G SLAUGHTER                                         Contingent
         860 Forestview Drive                                         Unliquidated
         Sarasota, FL 34232-2458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6765
                                                                   Is the claim subject to offset?     No       Yes

3.640
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARSHALL J EMAS                                              Contingent
         200 E Broward Boulevard Suite 2000                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4822
                                                                   Is the claim subject to offset?     No       Yes

3.640
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARSHALL L COHEN PA                                          Contingent
         P.O. Box 60292                                               Unliquidated
         Ft Myers, FL 33906
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 413
                                                                   Is the claim subject to offset?     No       Yes

3.640
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $732.90
         MARSHALL N FEUER                                             Contingent
         P.O. Box 560432                                              Unliquidated
         Miami, FL 33256                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8356
                                                                   Is the claim subject to offset?     No       Yes

3.640
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARSHALL P KRUPNICK                                          Contingent
         121 S. 61st Terrace                                          Unliquidated
         Suite A
                                                                      Disputed
         Hollywood, FL 33023
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4159                      Is the claim subject to offset?     No       Yes

3.640
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         MARSHALL R CASSEDY                                           Contingent
         P.O. Box 2174                                                Unliquidated
         Tallahassee, FL 32316-2174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6732
                                                                   Is the claim subject to offset?     No       Yes

3.640
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,937.52
         MARSHALL S. HARRIS                                           Contingent
         4725 Pine Drive                                              Unliquidated
         South Miami, FL 33143-8631                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3096
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 968 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 976 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.641
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARSHALL W LIPTAK PA                                         Contingent
         505 Lake Charm Court                                         Unliquidated
         Oviedo, FL 32765-7712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7022
                                                                   Is the claim subject to offset?     No       Yes

3.641
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Martell & Ozim, P.A.                                         Contingent
         37 N. Orange Avenue                                          Unliquidated
         Suite 500
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8760                      Is the claim subject to offset?     No       Yes

3.641
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTELLA LAW FIRM PL                                         Contingent
         Martella Law Firm PL                                         Unliquidated
         18501 Murdock Circle Suite 304
                                                                      Disputed
         Port Charlotte, FL 33948
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5677                      Is the claim subject to offset?     No       Yes

3.641
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTHA A KIMBALL                                             Contingent
         P.O. Box 7168                                                Unliquidated
         Clearwater, FL 33758-7168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8396
                                                                   Is the claim subject to offset?     No       Yes

3.641
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTHA A PARDO PL                                            Contingent
         160 Catania Way                                              Unliquidated
         Royal Palm Beach, FL 33411-4314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4701
                                                                   Is the claim subject to offset?     No       Yes

3.641
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARTHA JEAN EICHELBERG                                       Contingent
         1671 Southeast 10th Street                                   Unliquidated
         Deerfield Beach, FL 33441-7161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6404
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 969 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 977 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.641
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARTHA K FEIGENBAUM                                          Contingent
         11131 Callanish Park Drive                                   Unliquidated
         Austin, TX 78750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 642
                                                                   Is the claim subject to offset?     No       Yes

3.641
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTHA POZO-DIAZ                                             Contingent
         9260 Sunset Drive                                            Unliquidated
         Suite 119
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6646                      Is the claim subject to offset?     No       Yes

3.641
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $99.99
         MARTIN & BENNIS PA                                           Contingent
         319 SE 14th Street                                           Unliquidated
         Ft Lauderdale, FL 33316-1929
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2926
                                                                   Is the claim subject to offset?     No       Yes

3.641
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,113.31
         MARTIN & MARTIN PA                                           Contingent
         Martin & Martin P.A.                                         Unliquidated
         P.O. Box 117                                                 Disputed
         Lakeland, FL 33802-0117
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2213                      Is the claim subject to offset?     No       Yes


3.642
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MARTIN A SCHWARTZ                                            Contingent
         C/O Rubin Baun Et Al                                         Unliquidated
         2500 Southeast Financial Center
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7544                      Is the claim subject to offset?     No       Yes

3.642
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $591.35
         MARTIN A SMITH                                               Contingent
         5300 Long Island Drive                                       Unliquidated
         Atlanta, GA 30327-4912                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 941
                                                                   Is the claim subject to offset?     No       Yes

3.642
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN A ZUCKER PA                                           Contingent
         800 W Cypress Creek Road Suite 502                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7039
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 970 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 978 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.642
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARTIN ADE BIRCHFIELD &                                      Contingent
         P.O. Box 59                                                  Unliquidated
         Jacksonville, FL 32201-0059
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4473
                                                                   Is the claim subject to offset?     No       Yes

3.642
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN C BOIRE                                               Contingent
         Martin C. Boire P.A.                                         Unliquidated
         1 Circle Oaks Trail
                                                                      Disputed
         Ormond Beach, FL 32174
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6547                      Is the claim subject to offset?     No       Yes

3.642
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN D BERG                                                Contingent
         19 W Flagler Street Suite 401                                Unliquidated
         Miami, FL 33130-4409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4699
                                                                   Is the claim subject to offset?     No       Yes

3.642
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN E PONS                                                Contingent
         10764 Southwest 118th Street                                 Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6375
                                                                   Is the claim subject to offset?     No       Yes

3.642
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN E RICE                                                Contingent
         P.O. Box 205                                                 Unliquidated
         St Petersburg, FL 33731-0205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7262
                                                                   Is the claim subject to offset?     No       Yes

3.642
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN F STAMP JR                                            Contingent
         P.O. Box 1913                                                Unliquidated
         Orlando, FL 32802-1913
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5207
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 971 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 979 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.642
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $112.50
         MARTIN GOLD                                                  Contingent
         200 Central Park                                             Unliquidated
         So New York, NY 10019-1415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7885
                                                                   Is the claim subject to offset?     No       Yes

3.643
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARTIN H COHEN                                               Contingent
         600 N Pine Island Road Suite 450                             Unliquidated
         Plantation, FL 33324-1311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5493
                                                                   Is the claim subject to offset?     No       Yes

3.643
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN H COLIN                                               Contingent
         P.O. Box 9530                                                Unliquidated
         Lake Worth, FL 33466-9530
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2421
                                                                   Is the claim subject to offset?     No       Yes

3.643
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARTIN I LIPNACK                                             Contingent
         Martin I. Lipnack P.A.                                       Unliquidated
         7027 W Broward Boulevard Suite 277
                                                                      Disputed
         Plantation, FL 33317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4786                      Is the claim subject to offset?     No       Yes

3.643
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN J FELDMAN                                             Contingent
         P O Box 1647                                                 Unliquidated
         Deerfield Beach, FL 33443-1647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6718
                                                                   Is the claim subject to offset?     No       Yes

3.643
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN J HANNA                                               Contingent
         Colonial Place                                               Unliquidated
         1515 University Drive Suite 231
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4107                      Is the claim subject to offset?     No       Yes

3.643
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MARTIN J HASEY                                               Contingent
         42 N Swinton Avenue Suite 2                                  Unliquidated
         Delray Beach, FL 33444-2685
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8100
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 972 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 980 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.643
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN J KAISER                                              Contingent
         695 Central Avenue Suite 202                                 Unliquidated
         St Petersburg, FL 33701-3662
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7207
                                                                   Is the claim subject to offset?     No       Yes

3.643
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN KESSLER PA                                            Contingent
         3225 S Macdill Avenue Suite 129-295                          Unliquidated
         Tampa, FL 33629-8171
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6498
                                                                   Is the claim subject to offset?     No       Yes

3.643
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARTIN LAW FIRM PL                                           Contingent
         3701 S Del Prado Boulevard                                   Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6488
                                                                   Is the claim subject to offset?     No       Yes

3.643
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Martin Law Group, PL                                         Contingent
         1 South Boulevard E Suite 220                                Unliquidated
         Davenport, FL 33837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7474
                                                                   Is the claim subject to offset?     No       Yes

3.644
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN LAW PA                                                Contingent
         9240 Sunset Drive                                            Unliquidated
         Suite 109
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9226                      Is the claim subject to offset?     No       Yes

3.644
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN LEVINSON                                              Contingent
         9350 S. Dixie Highway                                        Unliquidated
         Suite 1000
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2505                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 973 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 981 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.644
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARTIN MONCARZ                                               Contingent
         6614 Via Trento                                              Unliquidated
         Delray Beach, FL 33446-3738
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6475
                                                                   Is the claim subject to offset?     No       Yes

3.644
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTIN ROTH                                                  Contingent
         1460 Wellington Way Suite 302                                Unliquidated
         Decatur, IL 62526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6070
                                                                   Is the claim subject to offset?     No       Yes

3.644
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN S FRIEDMAN                                            Contingent
         Rose Sundstrom & Bentley L.L.P.                              Unliquidated
         600 S North Lake Boulevard Suite 160
                                                                      Disputed
         Altamonte Springs, FL 32701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2465                      Is the claim subject to offset?     No       Yes

3.644
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARTIN S ROTHKOPF                                            Contingent
         7401 Wiles Road Suite 148                                    Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6577
                                                                   Is the claim subject to offset?     No       Yes

3.644
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTIN THIRER                                                Contingent
         1475 W Cypress Creek Road Suite 204                          Unliquidated
         Ft Lauderdale, FL 33309-1945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8670
                                                                   Is the claim subject to offset?     No       Yes

3.644
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARTIN W WASSERMAN                                           Contingent
         4770 Biscayne Boulevard Suite 1400                           Unliquidated
         Miami Beach, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6753
                                                                   Is the claim subject to offset?     No       Yes

3.644
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARTIN-HERAS PA                                              Contingent
         3191 Coral Way                                               Unliquidated
         Suite 1005
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4418                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 974 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 982 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.644
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         Martinez & Morales, L.L.C.                                   Contingent
         2600 S. Douglas Road                                         Unliquidated
         Suite 305
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8521                      Is the claim subject to offset?     No       Yes

3.645
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Martinez Azoy, L.L.P.                                        Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 504
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9254                      Is the claim subject to offset?     No       Yes

3.645
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARTINEZ CHARLIP DELGADO &                                   Contingent
         999 Ponce de Leon Blvd.                                      Unliquidated
         Suite 735
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8056                      Is the claim subject to offset?     No       Yes

3.645
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Martinez Denbo, L.L.C.                                       Contingent
         2935 1st Avenue N                                            Unliquidated
         2nd Floor
                                                                      Disputed
         St Petersburg, FL 33713
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8777                      Is the claim subject to offset?     No       Yes

3.645
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARTOCCIO & DEFILIPPO LLP                                    Contingent
         3380 Woods Edge Circle Suite 104                             Unliquidated
         Bonita Springs, FL 34134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9645
                                                                   Is the claim subject to offset?     No       Yes

3.645
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARTYN W D VERSTER                                           Contingent
         9425 Sunset Drive                                            Unliquidated
         Suite 124
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8161                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 975 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 983 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.645
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARVENE A GORDON                                             Contingent
         2831 Ringling Boulevard                                      Unliquidated
         Suite 208C
                                                                      Disputed
         Sarasota, FL 34237-5351
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4749                      Is the claim subject to offset?     No       Yes

3.645
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARVIN E ROOKS                                               Contingent
         500 Crown Oaks Centre Drive                                  Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3987
                                                                   Is the claim subject to offset?     No       Yes

3.645
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARVIN HAUSMAN                                               Contingent
         107 Colonial Parkway                                         Unliquidated
         Yonkers, NY 10710-3816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6690
                                                                   Is the claim subject to offset?     No       Yes

3.645
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARVIN I MOSS                                                Contingent
         20801 Biscayne Boulevard Suite 506                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4966
                                                                   Is the claim subject to offset?     No       Yes

3.645
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,661.65
         MARVIN I WIENER PA                                           Contingent
         2121 Ponce De Leon Boulevard Suite 900                       Unliquidated
         Coral Gables, FL 33134-5285                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1653
                                                                   Is the claim subject to offset?     No       Yes

3.646
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MARVIN KURZBAN                                               Contingent
         2650 S.W. 27th Ave.                                          Unliquidated
         Second Floor
                                                                      Disputed
         Miami, FL 33133-3003
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4072                      Is the claim subject to offset?     No       Yes

3.646
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MARVIN L BEAMAN JR                                           Contingent
         Marvin L. Beaman Jr. P.A.                                    Unliquidated
         605 N Wymore Road
                                                                      Disputed
         Winter Park, FL 32789-2893
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7112                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 976 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 984 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.646
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARVIN P JACKSON                                             Contingent
         P.O. Box 7461                                                Unliquidated
         Tampa, FL 33673-7461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8511
                                                                   Is the claim subject to offset?     No       Yes

3.646
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARVIN QUITTNER                                              Contingent
         7027 W Broward Boulevard Suite 201                           Unliquidated
         Plantation, FL 33317-2237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4880
                                                                   Is the claim subject to offset?     No       Yes

3.646
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARVIN ROSENGARTEN                                           Contingent
         2861 Northwest 47th Terrace Suite 201                        Unliquidated
         Ft Lauderdale, FL 33313
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4614
                                                                   Is the claim subject to offset?     No       Yes

3.646
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARVIN S GRANT                                               Contingent
         10073 S Yacht Club Drive                                     Unliquidated
         Treasure Island, FL 33706-3101
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4404
                                                                   Is the claim subject to offset?     No       Yes

3.646
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARVIN SOLOMON                                               Contingent
         P.O. Box 3275                                                Unliquidated
         Tampa, FL 33601-3275
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2764
                                                                   Is the claim subject to offset?     No       Yes

3.646
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARVIN W BINGHAM JR                                          Contingent
         Bingham & Mikolaitis P.A.                                    Unliquidated
         P.O. Box 1930
                                                                      Disputed
         Alachua, FL 32615-1930
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7749                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 977 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 985 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.646
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY A HOFFORD                                               Contingent
         5025 Trail Side Court                                        Unliquidated
         Jeannette, PA 15644-4770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5028
                                                                   Is the claim subject to offset?     No       Yes

3.646
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY A MARNELL                                               Contingent
         424 Raven Way                                                Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7743
                                                                   Is the claim subject to offset?     No       Yes

3.647
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY A WEAVER-TOVORNIK                                       Contingent
         251 Shellbank Drive                                          Unliquidated
         Longs, SC 29568
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2146
                                                                   Is the claim subject to offset?     No       Yes

3.647
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY ALICE ROBISON                                           Contingent
         501 Riverside Avenue Suite 600                               Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0394
                                                                   Is the claim subject to offset?     No       Yes

3.647
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARY ANN PATTI LLC                                           Contingent
         2005 W Garden Street                                         Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9595
                                                                   Is the claim subject to offset?     No       Yes

3.647
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARY ANN PLECAS                                              Contingent
         P.O. Box 197                                                 Unliquidated
         Mount Dora, FL 32756-0197
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4771
                                                                   Is the claim subject to offset?     No       Yes

3.647
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY ANN STILES PA                                           Contingent
         315 Plant Avenue                                             Unliquidated
         Tampa, FL 33606-2325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 449
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 978 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 986 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.647
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY CAROTENUTO                                              Contingent
         3000 Gulf To Bay Boulevard Suite 206                         Unliquidated
         Clearwater, FL 34619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0363
                                                                   Is the claim subject to offset?     No       Yes

3.647
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY ELIZABETH BRITT                                         Contingent
         8 Briny Avenue, Apt. 302                                     Unliquidated
         Pompano Beach, FL 33062-5609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8612
                                                                   Is the claim subject to offset?     No       Yes

3.647
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY ELIZABETH M BROWDER                                     Contingent
         1201 N Orange Street Suite 502                               Unliquidated
         Wilmington, DE 19801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6196
                                                                   Is the claim subject to offset?     No       Yes

3.647
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY ELLEN MCDONALD                                          Contingent
         633 Orange Court                                             Unliquidated
         Rockledge, FL 32955-2412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2646
                                                                   Is the claim subject to offset?     No       Yes

3.647
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY JANE MATHENY                                            Contingent
         906 Southeast Lakeview Drive Suite 3                         Unliquidated
         Sebring, FL 33870-4397
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6667
                                                                   Is the claim subject to offset?     No       Yes

3.648
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY LOU RODON PA                                            Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 504
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6104                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 979 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 987 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.648
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY LYNN DESJARLAIS                                         Contingent
         7029 S Tamiami Trail Suite A                                 Unliquidated
         Sarasota, FL 34231-5552
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4598
                                                                   Is the claim subject to offset?     No       Yes

3.648
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MARY M DUNN                                                  Contingent
         254 N Center Street                                          Unliquidated
         Casper, WY 82601-1927
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5497
                                                                   Is the claim subject to offset?     No       Yes

3.648
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY M MCDANIEL                                              Contingent
         Mary M McDaniel & Associates P.A.                            Unliquidated
         1330 Citizens Boulevard Suite 302
                                                                      Disputed
         Leesburg, FL 34748
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8245                      Is the claim subject to offset?     No       Yes

3.648
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY PIA KASTRENAKES                                         Contingent
         18844 Point Drive                                            Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8668
                                                                   Is the claim subject to offset?     No       Yes

3.648
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY SPENCER CORDESMAN                                       Contingent
         21218 Street Andrews Boulevard Suite 607                     Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6835
                                                                   Is the claim subject to offset?     No       Yes

3.648
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MARY SUE BEELER                                              Contingent
         13716 Marseilles Court                                       Unliquidated
         Clearwater, FL 33762
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5322
                                                                   Is the claim subject to offset?     No       Yes

3.648
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY SUE DONOHUE                                             Contingent
         1515 N Federal Highway Suite 418                             Unliquidated
         Boca Raton, FL 33432-1954
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3922
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 980 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 988 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.648
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY THERESA BAKER                                           Contingent
         628 Southeast 17th Street                                    Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8018
                                                                   Is the claim subject to offset?     No       Yes

3.648
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY V PALUMBO                                               Contingent
         7980 Summerlin Lakes Drive Suite 200                         Unliquidated
         Ft Myers, FL 33907-1816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0102
                                                                   Is the claim subject to offset?     No       Yes

3.649
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY VAN LEUVEN                                              Contingent
         Lefkowitz Bloom & Vanleuven P.A.                             Unliquidated
         430 N Mills Avenue
                                                                      Disputed
         Orlando, FL 32803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9843                      Is the claim subject to offset?     No       Yes

3.649
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MARY W MYERS                                                 Contingent
         P.O. Box 1191                                                Unliquidated
         Winter Haven, FL 33882-1191
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7441
                                                                   Is the claim subject to offset?     No       Yes

3.649
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARY WILSON MONACO                                           Contingent
         9130 Corsea Del Fontana Way                                  Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0111
                                                                   Is the claim subject to offset?     No       Yes

3.649
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,840.04
         MARYBETH LAVALLEE PULLUM                                     Contingent
         1330 W Citizens Boulevard                                    Unliquidated
         Suite 701 First Family Oaks                                  Disputed
         Leesburg, FL 34748
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5896                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 981 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 989 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.649
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MARYPAT ELDERKIN                                             Contingent
         10541 Northwest 11th Court                                   Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8483
                                                                   Is the claim subject to offset?     No       Yes

3.649
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MASE & LARA PA                                               Contingent
         80 Southwest 8th Street Suite 2700                           Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9084
                                                                   Is the claim subject to offset?     No       Yes

3.649
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         MASON LAW PA                                                 Contingent
         4592 Ulmerton Road Suite 101                                 Unliquidated
         Clearwater, FL 33762-4107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8462
                                                                   Is the claim subject to offset?     No       Yes

3.649
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Massimo Reboa, P.A.                                          Contingent
         d/b/a Reboa Law Firm                                         Unliquidated
         12 SE 7th Street, Suite 704
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1067                      Is the claim subject to offset?     No       Yes

3.649
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MASTON A O'NEAL JR                                           Contingent
         P.O. Box 1232                                                Unliquidated
         Apopka, FL 32704-1232
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4764
                                                                   Is the claim subject to offset?     No       Yes

3.649
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MASTRIANA & CHRISTIANSEN PA                                  Contingent
         1500 N. Federal Highway                                      Unliquidated
         Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5941                      Is the claim subject to offset?     No       Yes

3.650
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         MASTRY MARGER & DAVIS                                        Contingent
         P.O. Box 3542                                                Unliquidated
         St Petersburg, FL 33731-3542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3201
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 982 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 990 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.650
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,585.62
         MATEER & HARBERT                                             Contingent
         P.O. Box 2854                                                Unliquidated
         Orlando, FL 32802-2854                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2817
                                                                   Is the claim subject to offset?     No       Yes

3.650
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mathew Poling, P.A.                                          Contingent
         5746 Stag Thicket Lane                                       Unliquidated
         Palm Harbor, FL 34685
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9194
                                                                   Is the claim subject to offset?     No       Yes

3.650
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MATHEWS & PIAZZA PA                                          Contingent
         Congress Center                                              Unliquidated
         1325 S. Congress Avenue, Suite 104
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7587                      Is the claim subject to offset?     No       Yes

3.650
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATHEWS LAW FIRM PA                                          Contingent
         277 Pinewood Drive                                           Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6152
                                                                   Is the claim subject to offset?     No       Yes

3.650
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATHIS LAW FIRM PA                                           Contingent
         300 S Orange Avenue Suite 1500                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7547
                                                                   Is the claim subject to offset?     No       Yes

3.650
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mathison Whittles, L.L.P.                                    Contingent
         P.O. Box 30519                                               Unliquidated
         Palm Beach Gardens, FL 33420
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9073
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 983 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 991 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.650
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Matlyn Title, LLC                                            Contingent
         6735 Conroy Road                                             Unliquidated
         Suite 301
                                                                      Disputed
         Orlando, FL 32835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0567                      Is the claim subject to offset?     No       Yes

3.650
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATT C MYERS                                                 Contingent
         1715 W Cleveland Street                                      Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9620
                                                                   Is the claim subject to offset?     No       Yes

3.650
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MATT D GOLDMAN                                               Contingent
         1501 Venera Avenue Suite 201                                 Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 556
                                                                   Is the claim subject to offset?     No       Yes

3.651
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Matt Mathews                                                 Contingent
         277 Pinewood Drive                                           Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9079
                                                                   Is the claim subject to offset?     No       Yes

3.651
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATT MATHEWS                                                 Contingent
         Mathews Law Firm P.A.                                        Unliquidated
         277 Pinewood Drive
                                                                      Disputed
         Tallahassee, FL 32303
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9079                      Is the claim subject to offset?     No       Yes

3.651
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW A LEIBERT                                            Contingent
         112-114 E Concord Street                                     Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9015
                                                                   Is the claim subject to offset?     No       Yes

3.651
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW C BAPTY                                              Contingent
         4625 Southwest 31 Drive                                      Unliquidated
         Hollywood, FL 33023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8304
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 984 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 992 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.651
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Matthew C. Bates, P.L.L.C.                                   Contingent
         81 Kercheval Avenue                                          Unliquidated
         Suite 300
                                                                      Disputed
         Groose Point Farms, MI 48236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9165                      Is the claim subject to offset?     No       Yes

3.651
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW D MILLER PA                                          Contingent
         1720 Southeast Indian Street                                 Unliquidated
         Stuart, FL 34997
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1585
                                                                   Is the claim subject to offset?     No       Yes

3.651
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MATTHEW D WEIDNER PA                                         Contingent
         Weidner Law P.A.                                             Unliquidated
         250 Mirror Lake Drive North
                                                                      Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4120                      Is the claim subject to offset?     No       Yes

3.651
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW E LADD PA                                            Contingent
         255 University Drive                                         Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5845
                                                                   Is the claim subject to offset?     No       Yes

3.651
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW F LUPARDO                                            Contingent
         Regional Professional Building                               Unliquidated
         685 Royal Palm Beach Boulevard, Suite 10
                                                                      Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5880                      Is the claim subject to offset?     No       Yes

3.651
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW G LERNER                                             Contingent
         5500 South Flamingo Road                                     Unliquidated
         Suite 203
                                                                      Disputed
         Cooper City, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2398                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 985 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 993 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.652
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MATTHEW GISSEN                                               Contingent
         3180 Biscayne Boulevard                                      Unliquidated
         Miami, FL 33137-4127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3352
                                                                   Is the claim subject to offset?     No       Yes

3.652
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW H ROBY                                               Contingent
         201 W Canton Avenue Suite 275                                Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9496
                                                                   Is the claim subject to offset?     No       Yes

3.652
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MATTHEW J SCHAEFER                                           Contingent
         9035 Northwest 51st Place                                    Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6711
                                                                   Is the claim subject to offset?     No       Yes

3.652
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW J SCHIRMER                                           Contingent
         The Florida Insurance Center                                 Unliquidated
         800 N Belcher Road
                                                                      Disputed
         Clearwater, FL 33765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9750                      Is the claim subject to offset?     No       Yes

3.652
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW L EVANS                                              Contingent
         300 Turner Street                                            Unliquidated
         Clearwater, FL 34616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9836
                                                                   Is the claim subject to offset?     No       Yes

3.652
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Matthew Lundy Law                                            Contingent
         1401 N University Drive Suite 600                            Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8347
                                                                   Is the claim subject to offset?     No       Yes

3.652
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW PALENTCHAR                                           Contingent
         2253 Central Avenue                                          Unliquidated
         Unit 106
                                                                      Disputed
         St Petersburg, FL 33713
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0164                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 986 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 994 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.652
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MATTHEW S TAYLOR                                             Contingent
         13077 164th Court N                                          Unliquidated
         Jupiter, FL 33478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2211
                                                                   Is the claim subject to offset?     No       Yes

3.652
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Matthew T. Vanden Bosch, Attorney at Law                     Contingent
         1260 S. Federal Highway                                      Unliquidated
         Suite 201
                                                                      Disputed
         Boynton Beach, FL 33435
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7508                      Is the claim subject to offset?     No       Yes

3.652
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MATTHEWS & HAWKINS                                           Contingent
         4475 Legendary Drive                                         Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4680
                                                                   Is the claim subject to offset?     No       Yes

3.653
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Matthews Law, P.L.L.C.                                       Contingent
         4767 New Broad St.                                           Unliquidated
         Orlando, FL 32814
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0563
                                                                   Is the claim subject to offset?     No       Yes

3.653
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MATZNER ZISKIND HERMELEE                                     Contingent
         100 Southeast 2nd Street Suite 2800                          Unliquidated
         Miami, FL 33131-2150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4659
                                                                   Is the claim subject to offset?     No       Yes

3.653
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAUREEN A ARAGO                                              Contingent
         Maureen A. Arago P.A.                                        Unliquidated
         5310 Venta Court
                                                                      Disputed
         Orlando, FL 32810-1740
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7289                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 987 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 995 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.653
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MAUREEN J RUTHMAN PA                                         Contingent
         703 E Palmetto Park Road                                     Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1674
                                                                   Is the claim subject to offset?     No       Yes

3.653
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAUREEN K B CONDIOTTE                                        Contingent
         221 Cedar Park Circle                                        Unliquidated
         Sarasota, FL 34242-1215
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9326
                                                                   Is the claim subject to offset?     No       Yes

3.653
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MAURER & MAURER                                              Contingent
         4332 East Tradewinds Avenue                                  Unliquidated
         Lauderdale by the Sea, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 408
                                                                   Is the claim subject to offset?     No       Yes

3.653
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAURICE E. DONSKY, P.A.                                      Contingent
         440 Rovino Avenue                                            Unliquidated
         Coral Gables, FL 33156-4261
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8667
                                                                   Is the claim subject to offset?     No       Yes

3.653
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MAURICE F SPRINZ                                             Contingent
         P.O. Box 5804                                                Unliquidated
         Sarasota, FL 34277-5804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4422
                                                                   Is the claim subject to offset?     No       Yes

3.653
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MAURICE GRAHAM                                               Contingent
         1020 Northeast 45th Street                                   Unliquidated
         Oakland Park, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5479
                                                                   Is the claim subject to offset?     No       Yes

3.653
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MAURICIO MAGAROLAS                                           Contingent
         3850 Galloway Road                                           Unliquidated
         Suite 203
                                                                      Disputed
         Miami, FL 33165-5473
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6105                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 988 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 996 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.654
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MAX D PUYANIC                                                Contingent
         30 W Mashta Drive Suite 400                                  Unliquidated
         Key Biscayne, FL 33149-4135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6576
                                                                   Is the claim subject to offset?     No       Yes

3.654
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAX KARYO                                                    Contingent
         800 Yamato Road Suite 103                                    Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4018
                                                                   Is the claim subject to offset?     No       Yes

3.654
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAX L. RUBIN                                                 Contingent
         83 Normandy B                                                Unliquidated
         Delray Beach, FL 33484-4741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8476
                                                                   Is the claim subject to offset?     No       Yes

3.654
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MAX M HAGEN                                                  Contingent
         Hagen & Hagen P.A.                                           Unliquidated
         3531 Griffin Road
                                                                      Disputed
         Ft Lauderdale, FL 33312-5444
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2995                      Is the claim subject to offset?     No       Yes

3.654
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         MAX MORRIS/ROBERT WEBB                                       Contingent
         P.O. Box 540234                                              Unliquidated
         Orlando, FL 32884-0234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 481
                                                                   Is the claim subject to offset?     No       Yes

3.654
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MAX P ENGEL                                                  Contingent
         901 Northwest 22nd Avenue                                    Unliquidated
         Miami, FL 33125-3342
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5598
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 989 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 997 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.654
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MAX R SILVER                                                 Contingent
         Silver & Silver                                              Unliquidated
         108 S Miami Avenue 2nd Floor
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5639                      Is the claim subject to offset?     No       Yes

3.654
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MAX RUDMANN                                                  Contingent
         2101 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7929
                                                                   Is the claim subject to offset?     No       Yes

3.654
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         MAXWELL W WELLS JR                                           Contingent
         Maxwell W. Wells Jr. P.A.                                    Unliquidated
         P.O. Box 3628
                                                                      Disputed
         Orlando, FL 32802-3628
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2544                      Is the claim subject to offset?     No       Yes

3.654
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MAY MEACHAM & DAVELL PA                                      Contingent
         1 Financial Plaza                                            Unliquidated
         Suite 2602
                                                                      Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7685                      Is the claim subject to offset?     No       Yes

3.655
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mayersohn Law Group, P.A.                                    Contingent
         101 NE 3rd Avenue                                            Unliquidated
         Suite 1250
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0867                      Is the claim subject to offset?     No       Yes

3.655
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MAYLENE C ABAD                                               Contingent
         207 Key Deer Boulevard                                       Unliquidated
         Suite B13
                                                                      Disputed
         Big Pine Key, FL 33043
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0563                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 990 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 998 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.655
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MCARDLE & PEREZ PA                                           Contingent
         255 Alhambra Circle                                          Unliquidated
         Suite 925
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6595                      Is the claim subject to offset?     No       Yes

3.655
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MCCABE & SAMILJAN LLC                                        Contingent
         30 South                                                     Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7609
                                                                   Is the claim subject to offset?     No       Yes

3.655
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCABE & VAUGHN PA                                           Contingent
         1600 Prudential Drive                                        Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5787
                                                                   Is the claim subject to offset?     No       Yes

3.655
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         McCalla Raymer Leibert Pierce, L.L.C.                        Contingent
         110 SE 6th Street                                            Unliquidated
         Suite 2400
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7719                      Is the claim subject to offset?     No       Yes

3.655
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCALLA RAYMER VARGO & AKSELL                                Contingent
         P.O. Box 2126                                                Unliquidated
         Winter Park, FL 32790-2126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8892
                                                                   Is the claim subject to offset?     No       Yes

3.655
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MCCARTHY CRENSHAW, JR.                                       Contingent
         3855 St. Johns Avenue                                        Unliquidated
         Jacksonville, FL 32205-9395
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6120
                                                                   Is the claim subject to offset?     No       Yes

3.655
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MCCARTHY SUMMERS BOBKO WOOD                                  Contingent
         2400 SE Federal Highway                                      Unliquidated
         4th Floor
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7901                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 991 of 1581
                        Case 2:23-bk-01538-FMD                   Doc 24          Filed 01/17/24                 Page 999 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.655
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCAUGHEY & MARCUS                                           Contingent
         P.O. Box 1978                                                Unliquidated
         Dunedin, FL 34697-1978
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8012
                                                                   Is the claim subject to offset?     No       Yes

3.656
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         MCCLAIN ALFONSO MEEKER &                                     Contingent
         P.O. Box 4                                                   Unliquidated
         Dade City, FL 33526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1983
                                                                   Is the claim subject to offset?     No       Yes

3.656
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         McClain Legal Services, P.A.                                 Contingent
         2900 N University Drive Floor 2                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9246
                                                                   Is the claim subject to offset?     No       Yes

3.656
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCLELLAND JONES & LYONS LC                                  Contingent
         One Harbour Pl Suite 500                                     Unliquidated
         1901 S Harbour City Boulevard
                                                                      Disputed
         Melbourne, FL 32901-4770
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7538                      Is the claim subject to offset?     No       Yes

3.656
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MCCLELLAND JONES LYONS LACEY                                 Contingent
         1901 S Harbor City Boulevard Suite 500                       Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6410
                                                                   Is the claim subject to offset?     No       Yes

3.656
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         McClure Bloodworth, P.L.                                     Contingent
         219 23rd Street                                              Unliquidated
         St Augustine, FL 32084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7522
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 992 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1000 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.656
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         MCCONNAUGHHAY ROLAND MAIDA                                   Contingent
         P.O. Drawer 229                                              Unliquidated
         Tallahassee, FL 32302-0229
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5974
                                                                   Is the claim subject to offset?     No       Yes

3.656
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCORD BUBSEY KETCHUM &                                      Contingent
         210 S Monroe Street                                          Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3674
                                                                   Is the claim subject to offset?     No       Yes

3.656
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         MCCORMICK & DRURY                                            Contingent
         P.O. Drawer O                                                Unliquidated
         Jasper, FL 32052-0695
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3430
                                                                   Is the claim subject to offset?     No       Yes

3.656
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCORMICK MCCORMICK &                                        Contingent
         7550 Southwest 57th Avenue Suite 203                         Unliquidated
         South Miami, FL 33143-5336
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8918
                                                                   Is the claim subject to offset?     No       Yes

3.656
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         McCrory Law Firm, P.L.                                       Contingent
         309 Tamiami Trail                                            Unliquidated
         Punta Gorda, FL 33950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6126
                                                                   Is the claim subject to offset?     No       Yes

3.657
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         McCumber Daniels Buntz Hartig & Puig, P.                     Contingent
         4401 W Kennedy Boulevard                                     Unliquidated
         Suite 200
                                                                      Disputed
         Tampa, FL 33609
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8887                      Is the claim subject to offset?     No       Yes

3.657
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,749.45
         MCCUNE HIAASEN CRUM GARDNER                                  Contingent
         P.O. Box 14636                                               Unliquidated
         Ft Lauderdale, FL 33302-4636                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 867
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 993 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1001 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.657
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCCUNE LAW OFFICE OF                                         Contingent
         38 Grant Street                                              Unliquidated
         St Augustine, FL 32084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3177
                                                                   Is the claim subject to offset?     No       Yes

3.657
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         MCDERMOTT WILL & EMERY LLP                                   Contingent
         333 Avenue Of The Americas                                   Unliquidated
         Suite 4500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 505                       Is the claim subject to offset?     No       Yes

3.657
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MCDONALD & ASSOCIATES CHT'D                                  Contingent
         17000 Southwest 272nd Street                                 Unliquidated
         Homestead, FL 33031
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1696
                                                                   Is the claim subject to offset?     No       Yes

3.657
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCDONALD & CRAWFORD PA                                       Contingent
         315 Southeast 7 Street Suite 303                             Unliquidated
         Ft Lauderdale, FL 33301-3158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6287
                                                                   Is the claim subject to offset?     No       Yes

3.657
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCDONALD FLEMING MOOREHEAD                                   Contingent
         25 W Government Street                                       Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2681
                                                                   Is the claim subject to offset?     No       Yes

3.657
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCDONALD HOPKINS LPA                                         Contingent
         505 South Flagler Drive                                      Unliquidated
         Suite 300
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5783                      Is the claim subject to offset?     No       Yes

3.657
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MCDONOUGH & SERANO                                           Contingent
         19 E Central Boulevard                                       Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7440
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 994 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1002 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.657
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         McEwen Dubovis, P.A.                                         Contingent
         774 N. SR 13                                                 Unliquidated
         Suite 8
                                                                      Disputed
         Jacksonville, FL 32259
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8861                      Is the claim subject to offset?     No       Yes

3.658
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MCFARLAIN WILEY CASSEDY &                                    Contingent
         P.O. Box 2174                                                Unliquidated
         Tallahassee, FL 32316-2174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4123
                                                                   Is the claim subject to offset?     No       Yes

3.658
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,758.24
         MCFARLAND GOULD LYONS SULLIVAN                               Contingent
         311 S. Missouri Avenue                                       Unliquidated
         Clearwater, FL 33756                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 256
                                                                   Is the claim subject to offset?     No       Yes

3.658
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         MCGUIRE PRATT MASIO FARRANCE                                 Contingent
         P.O. Box 1866                                                Unliquidated
         Bradenton, FL 34206-1866
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7729
                                                                   Is the claim subject to offset?     No       Yes

3.658
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         MCGUIRE WOODS BATTLE &                                       Contingent
         50 N Laura Street Suite 3300                                 Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7542
                                                                   Is the claim subject to offset?     No       Yes

3.658
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCINTOSH SAWRAN PELTZ &                                      Contingent
         Attn: Maribel C. Mezquita                                    Unliquidated
         1615 Arlington Drive
                                                                      Disputed
         Lake Clarke Shores, FL 33406-8701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6139                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 995 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1003 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.658
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         McKillop Law Firm, P.L.                                      Contingent
         7563 Philips Highway                                         Unliquidated
         Building 500
                                                                      Disputed
         Jacksonville, FL 32256
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7974                      Is the claim subject to offset?     No       Yes

3.658
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $212.50
         MCKINNON & MCKINNON CHARTERED                                Contingent
         5070 N Highway A-1-A Suite 200                               Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9768
                                                                   Is the claim subject to offset?     No       Yes

3.658
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MCLANE AND MCLANE                                            Contingent
         275 Clearwater-Largo Road N.                                 Unliquidated
         Largo, FL 33770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3462
                                                                   Is the claim subject to offset?     No       Yes

3.658
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MCLAUGHLIN & STERN LLP                                       Contingent
         McLaughlin & Stern L.L.P.                                    Unliquidated
         525 Okeechobee Boulevard Suite 1530
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3909                      Is the claim subject to offset?     No       Yes

3.658
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         MCLEOD MCLEOD & MCLEOD                                       Contingent
         P.O. Drawer 950                                              Unliquidated
         Apopka, FL 32704-0950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 705
                                                                   Is the claim subject to offset?     No       Yes

3.659
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         McLin & Burnsed, P.A.                                        Contingent
         Villages                                                     Unliquidated
         1028 Lake Sumter Landing, Office 3
                                                                      Disputed
         The Villages, FL 32162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2647                      Is the claim subject to offset?     No       Yes

3.659
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,716.21
         MCLINBURNSED                                                 Contingent
         P.O. Drawer 491357                                           Unliquidated
         Leesburg, FL 34749-1357                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2647
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 996 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1004 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.659
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MCMANUS & MCMANUS PA                                         Contingent
         79 Overbrook Boulevard                                       Unliquidated
         Largo, FL 33770-2899
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3386
                                                                   Is the claim subject to offset?     No       Yes

3.659
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCNAMARA & MCNAMARA                                          Contingent
         712 US Highway 1 Suite 301-36                                Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8387
                                                                   Is the claim subject to offset?     No       Yes

3.659
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCRAE & METCALF                                              Contingent
         2612 Centennial Place                                        Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2794
                                                                   Is the claim subject to offset?     No       Yes

3.659
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MCRAE LAW OFFICES PA                                         Contingent
         5300 W Atlantic Avenue Suite 412                             Unliquidated
         Delray Beach, FL 33484-8141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4303
                                                                   Is the claim subject to offset?     No       Yes

3.659
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MCWHIRTER REEVES                                             Contingent
         P.O. Box 3350                                                Unliquidated
         Tampa, FL 33601-3350
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7771
                                                                   Is the claim subject to offset?     No       Yes

3.659
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MEAH ROTHMAN TELL                                            Contingent
         P.O. Box 25490                                               Unliquidated
         Tamarac, FL 33310-4921
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6788
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 997 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1005 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.659
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MECHANIK NUCCIO WILLIAMS                                     Contingent
         305 South Boulevard                                          Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3361
                                                                   Is the claim subject to offset?     No       Yes

3.659
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MEDACIER LAW OFFICES LLC                                     Contingent
         7771 W Oakland Park Boulevard Suite 223                      Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8954
                                                                   Is the claim subject to offset?     No       Yes

3.660
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MEDALIE & MEDALIE                                            Contingent
         1401 E Broward Boulevard Suite 206                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3095
                                                                   Is the claim subject to offset?     No       Yes

3.660
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MEENAKSHI A HIRANI PA                                        Contingent
         2265 Lee Road                                                Unliquidated
         Suite 109
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7510                      Is the claim subject to offset?     No       Yes

3.660
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MEGAN DARA SAPERSTEIN                                        Contingent
         12105 Northwest 51st Place                                   Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6714
                                                                   Is the claim subject to offset?     No       Yes

3.660
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MEIROSE & FRISCIA PA                                         Contingent
         5550 W Executive Drive Suite 250                             Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6737
                                                                   Is the claim subject to offset?     No       Yes

3.660
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MEL C MAGIDSON JR PA                                         Contingent
         P.O. Box 340                                                 Unliquidated
         Port St Joe, FL 32457
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7129
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 998 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1006 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.660
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MELAND RUSSIN & BUDWICK PA                                   Contingent
         3000 Wachovia Financial Center                               Unliquidated
         200 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6293                      Is the claim subject to offset?     No       Yes

3.660
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELANIE A MCGAHEE                                            Contingent
         417 W Sugarland Highway                                      Unliquidated
         Clewiston, FL 33440
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2670
                                                                   Is the claim subject to offset?     No       Yes

3.660
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Melanson Law, P.A.                                           Contingent
         1430 Royal Palm Square Boulevard                             Unliquidated
         Suite 103
                                                                      Disputed
         Ft Myers, FL 33919
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7022                      Is the claim subject to offset?     No       Yes

3.660
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELIDA VIERA PA                                              Contingent
         111 Northeast 1st Street Suite 902                           Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9073
                                                                   Is the claim subject to offset?     No       Yes

3.660
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELISSA A TARTAGLIA                                          Contingent
         P.O. Box 5028                                                Unliquidated
         Clearwater, FL 33758
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4231
                                                                   Is the claim subject to offset?     No       Yes

3.661
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELISSA D MUNROE                                             Contingent
         P.O. Box 533942                                              Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5494
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 999 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1007 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.661
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MELISSA JAY MURPHY                                           Contingent
         P.O. Box 357399                                              Unliquidated
         Gainesville, FL 32635-7399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7152
                                                                   Is the claim subject to offset?     No       Yes

3.661
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELISSA P LANZA PA                                           Contingent
         104 Crandon Boulevard                                        Unliquidated
         Suite 420
                                                                      Disputed
         Key Biscayne, FL 33149
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6169                      Is the claim subject to offset?     No       Yes

3.661
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MELLOR & GRISSINGER                                          Contingent
         13801 S Tamiami Trail Suite D                                Unliquidated
         North Port, FL 34287
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8920
                                                                   Is the claim subject to offset?     No       Yes

3.661
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELODEE M HICKS                                              Contingent
         921 Southwest 73rd Street Road                               Unliquidated
         Ocala, FL 34476
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9946
                                                                   Is the claim subject to offset?     No       Yes

3.661
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MELVILLE & SOWERBY PL                                        Contingent
         2940 S. 25th Street                                          Unliquidated
         Ft Pierce, FL 34981-5605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0059
                                                                   Is the claim subject to offset?     No       Yes

3.661
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MELVILLE DUNN                                                Contingent
         P.O. Box 161767                                              Unliquidated
         Miami, FL 33116-1767
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6725
                                                                   Is the claim subject to offset?     No       Yes

3.661
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,056.21
         MELVIN & MELVIN PA                                           Contingent
         3101 N Federal Highway Suite 602                             Unliquidated
         Ft Lauderdale, FL 33306-1042                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3847
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1000 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1008 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.661
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MELVIN J WITTE                                               Contingent
         4868 Northeast 12th Avenue                                   Unliquidated
         Oakland Park, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7269
                                                                   Is the claim subject to offset?     No       Yes

3.661
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MELVIN SCHAFFER                                              Contingent
         29 Utsonati Lane                                             Unliquidated
         Brevard, NC 28712-9462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1747
                                                                   Is the claim subject to offset?     No       Yes

3.662
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MELVIN WOLFE                                                 Contingent
         7249 Northwest 36th Court                                    Unliquidated
         Miami, FL 33147-5837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5793
                                                                   Is the claim subject to offset?     No       Yes

3.662
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MELVYN B FRUMKES                                             Contingent
         100 N Biscayne Boulevard Suite 1607                          Unliquidated
         Miami, FL 33132-2308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1255
                                                                   Is the claim subject to offset?     No       Yes

3.662
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MELVYN P SCHOLNICK                                           Contingent
         8871 Southwest 86th Street                                   Unliquidated
         Miami, FL 33173-4538
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3283
                                                                   Is the claim subject to offset?     No       Yes

3.662
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,071.88
         MELVYN TRUTE PA                                              Contingent
         P.O. Box 6260                                                Unliquidated
         Surfside, FL 33154                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4511
                                                                   Is the claim subject to offset?     No       Yes

3.662
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Members' Title Services, Inc.                                Contingent
         7951 SW 6th Street                                           Unliquidated
         Suite 212
                                                                      Disputed
         Plantation, FL 33324-3211
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5664                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1001 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1009 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.662
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,157.82
         MENDEZ & MENDEZ PA                                           Contingent
         7400 SW 57th Court                                           Unliquidated
         Suite 202                                                    Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4314                      Is the claim subject to offset?     No       Yes


3.662
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MENENDEZ MONCARZ PL                                          Contingent
         2699 Stirling Road, B200                                     Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7241
                                                                   Is the claim subject to offset?     No       Yes

3.662
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MENTOR LAW FIRM                                              Contingent
         8811 Southeast Bridge Road                                   Unliquidated
         Hobe Sound, FL 33435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2084
                                                                   Is the claim subject to offset?     No       Yes

3.662
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERCEDES LOPEZ CISNEROS                                      Contingent
         Mercedes Lopez Cisneros P.A.                                 Unliquidated
         8700 W Flagler Street Suite 390
                                                                      Disputed
         Miami, FL 33174
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8740                      Is the claim subject to offset?     No       Yes

3.662
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERCY B PINA-BRITO                                           Contingent
         Mercy Pina-Brito P.A.                                        Unliquidated
         9950 Southwest 107 Avenue Suite 204
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5150                      Is the claim subject to offset?     No       Yes

3.663
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MEREDITH J COHEN                                             Contingent
         P.O. Box 622346                                              Unliquidated
         Oviedo, FL 32762-2346
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1645
                                                                   Is the claim subject to offset?     No       Yes

3.663
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERIDETH C NAGEL PA                                          Contingent
         1201 W. Highway 50                                           Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9120
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1002 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1010 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.663
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.64
         MEROLA, MCCARTHY & COX, P.A.                                 Contingent
         4114 Northlake Blvd.                                         Unliquidated
         Suite 301                                                    Disputed
         Palm Bch Gardens, FL 33410-6271
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8238                      Is the claim subject to offset?     No       Yes


3.663
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MEROS SMITH OLNEY & LAZZARA PA                               Contingent
         P.O. Box 27                                                  Unliquidated
         St Petersburg, FL 33731-0027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2128
                                                                   Is the claim subject to offset?     No       Yes

3.663
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MERRILL A BOOKSTEIN                                          Contingent
         2200 NE 33rd Avenue                                          Unliquidated
         Suite 18D
                                                                      Disputed
         Ft Lauderdale, FL 33305
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6040                      Is the claim subject to offset?     No       Yes

3.663
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERRILL B QUINTERO                                           Contingent
         1320 S Dixie Highway Suite 1251                              Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8366
                                                                   Is the claim subject to offset?     No       Yes

3.663
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MERRITT & MASON PA                                           Contingent
         P.O. Box 1900                                                Unliquidated
         Brooksville, FL 34605-1900
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3907
                                                                   Is the claim subject to offset?     No       Yes

3.663
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MERRITT C FORE JR                                            Contingent
         P.O. Box 1358                                                Unliquidated
         Ocala, FL 34478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4721
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1003 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1011 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.663
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERRITT LAW OFFICES PA                                       Contingent
         P.O. Box 92412                                               Unliquidated
         Lakeland, FL 33804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4846
                                                                   Is the claim subject to offset?     No       Yes

3.663
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,678.51
         MERSHON SAWYER JOHNSTON                                      Contingent
         11098 Biscayne Boulevard Suite 205                           Unliquidated
         Miami, FL 33161                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 355
                                                                   Is the claim subject to offset?     No       Yes

3.664
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MERTING & DENISON PA                                         Contingent
         421 N Palafox Street                                         Unliquidated
         Pensacola, FL 32501-3918
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8405
                                                                   Is the claim subject to offset?     No       Yes

3.664
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERY LOPEZ PA                                                Contingent
         491 Okeechobee Road                                          Unliquidated
         Hialeah, FL 33010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8176
                                                                   Is the claim subject to offset?     No       Yes

3.664
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MERYL CONTE CLAYTON                                          Contingent
         Meryl Conte Clayton P.A.                                     Unliquidated
         2014 Fourth Street
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3680                      Is the claim subject to offset?     No       Yes

3.664
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Mesches & Johnson, PL                                        Contingent
         4400 PGA Boulevard                                           Unliquidated
         Suite 304
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7802                      Is the claim subject to offset?     No       Yes

3.664
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,110.13
         MESSER VICKERS CAPARELLO                                     Contingent
         P.O. Box 1876                                                Unliquidated
         Tallahassee, FL 32302-1876                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6282
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1004 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1012 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.664
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Metro Land Title, Inc.                                       Contingent
         P.O. Box 739                                                 Unliquidated
         Ft Lauderdale, FL 33302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9043
                                                                   Is the claim subject to offset?     No       Yes

3.664
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,130.91
         METTLER SHELTON RANDOLPH                                     Contingent
         340 Royal Palm Way                                           Unliquidated
         Suite 100                                                    Disputed
         Palm Beach, FL 33480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3068                      Is the claim subject to offset?     No       Yes


3.664
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Miami Legal, P.A.                                            Contingent
         300 S. Aragon Avenue                                         Unliquidated
         Suite 310
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9448                      Is the claim subject to offset?     No       Yes

3.664
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A BAVIELLO JR                                        Contingent
         P.O. Box 112079                                              Unliquidated
         Naples, FL 34108-0135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7623
                                                                   Is the claim subject to offset?     No       Yes

3.664
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL A BLANK                                              Contingent
         251 Royal Palm Way Suite 601                                 Unliquidated
         Palm Beach, FL 33480-4339
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7904
                                                                   Is the claim subject to offset?     No       Yes

3.665
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL A BRYANT & ASSOCIATES                                Contingent
         Trafalgar Plaza One Suite 217                                Unliquidated
         5300 Northwest 33rd Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7041                      Is the claim subject to offset?     No       Yes

3.665
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MICHAEL A CAPIRO PA                                          Contingent
         9130 S Dadeland Boulevard Suite 1509                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6702
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1005 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1013 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.665
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A CHIANTELLA PA                                      Contingent
         209 Nassau Street S Suite 101                                Unliquidated
         Venice, FL 34285
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1759
                                                                   Is the claim subject to offset?     No       Yes

3.665
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A COHEN PA                                           Contingent
         20801 Biscayne Boulevard Suite 300                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6769
                                                                   Is the claim subject to offset?     No       Yes

3.665
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,558.98
         MICHAEL A CROAK                                              Contingent
         2785 S Bay Street                                            Unliquidated
         Suite G                                                      Disputed
         Eustis, FL 32726
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5371                      Is the claim subject to offset?     No       Yes


3.665
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A CURREA                                             Contingent
         6303 Blue Lagoon Drive                                       Unliquidated
         Suite 400
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7866                      Is the claim subject to offset?     No       Yes

3.665
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A GOTTLIEB                                           Contingent
         Michael A. Gottlieb P.A.                                     Unliquidated
         1311 Southeast 2nd Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6472                      Is the claim subject to offset?     No       Yes

3.665
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL A HOULLIS                                            Contingent
         P.O. Box 564                                                 Unliquidated
         Tarpon Springs, FL 34688-0564
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4169
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1006 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1014 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.665
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A KAISER                                             Contingent
         3446 Laurel Oaks Lane                                        Unliquidated
         Hollywood, FL 33021-8441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8390
                                                                   Is the claim subject to offset?     No       Yes

3.665
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL A KRAMER                                             Contingent
         P.O. Box 181268                                              Unliquidated
         Casselberry, FL 32718-1268
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6837
                                                                   Is the claim subject to offset?     No       Yes

3.666
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A MOCTEZUMA MILO                                     Contingent
         P.O. Box 203                                                 Unliquidated
         Dunedin, FL 34697-0203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3033
                                                                   Is the claim subject to offset?     No       Yes

3.666
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A NUGENT PA                                          Contingent
         631 US Highway One Suite 405                                 Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8329
                                                                   Is the claim subject to offset?     No       Yes

3.666
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A O'QUINN                                            Contingent
         28 W Central Boulevard 4th Floor                             Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2745
                                                                   Is the claim subject to offset?     No       Yes

3.666
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         MICHAEL A RIDER PA                                           Contingent
         13 N. Oak Avenue                                             Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7145
                                                                   Is the claim subject to offset?     No       Yes

3.666
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL A RUBIN                                              Contingent
         420 S Dixie Highway Suite 4b                                 Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6698
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1007 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1015 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.666
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MICHAEL A SCHROEDER PL                                       Contingent
         1031 Royal Palm Boulevard                                    Unliquidated
         Suite A
                                                                      Disputed
         Vero Beach, FL 32960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8198                      Is the claim subject to offset?     No       Yes

3.666
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A SIEFERT                                            Contingent
         351 Northeast 8th Avenue                                     Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0458
                                                                   Is the claim subject to offset?     No       Yes

3.666
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL A TONELLI                                            Contingent
         P.O. Box 172118                                              Unliquidated
         Tampa, FL 33672-0118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5207
                                                                   Is the claim subject to offset?     No       Yes

3.666
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A TRINKLER                                           Contingent
         5501 University Drive Suite 101                              Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2790
                                                                   Is the claim subject to offset?     No       Yes

3.666
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL A. SIEGEL                                            Contingent
         6 Faneuil Hall, Suite 311                                    Unliquidated
         Market Place
                                                                      Disputed
         Boston, MA 02109-1632
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8660                      Is the claim subject to offset?     No       Yes

3.667
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL ALAN LINSKY                                          Contingent
         412 E. Madison Street                                        Unliquidated
         Suite 800
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4642                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1008 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1016 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.667
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL B SMALL                                              Contingent
         440 Royal Palm Way Suite 104                                 Unliquidated
         Palm Beach, FL 33480-4179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4088
                                                                   Is the claim subject to offset?     No       Yes

3.667
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL B SOLOMON                                            Contingent
         Penthouse                                                    Unliquidated
         11077 Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5540                      Is the claim subject to offset?     No       Yes

3.667
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL B UDELL                                              Contingent
         11282 Southwest 9th Court                                    Unliquidated
         Pembroke Pines, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6688
                                                                   Is the claim subject to offset?     No       Yes

3.667
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $370.19
         MICHAEL B. SMITH                                             Contingent
         500 S.E. 6th. St.                                            Unliquidated
         Suite 101                                                    Disputed
         Ft. Lauderdale, FL 33301-3421
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5174                      Is the claim subject to offset?     No       Yes


3.667
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL BLACKER                                              Contingent
         701 Brickell Avenue Suite 280                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6309
                                                                   Is the claim subject to offset?     No       Yes

3.667
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL BORELL                                               Contingent
         2655 S. Le Jeune Road                                        Unliquidated
         #535
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4629                      Is the claim subject to offset?     No       Yes

3.667
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL C BERRY SR                                           Contingent
         501 S Fort Harrison Avenue Suite 1                           Unliquidated
         Clearwater, FL 34616-5348
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7340
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1009 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1017 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.667
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL C GONGORA PA                                         Contingent
         767 Arthur Godgrey Road                                      Unliquidated
         Miami Beach, FL 33140-3413
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7966
                                                                   Is the claim subject to offset?     No       Yes

3.667
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL C NORVELL                                            Contingent
         Michael C. Norvell P.A.                                      Unliquidated
         P.O. Box 491615
                                                                      Disputed
         Leesburg, FL 34749-1615
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5948                      Is the claim subject to offset?     No       Yes

3.668
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         MICHAEL C SLOTNICK PA                                        Contingent
         10340 SW 96th Terrace                                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3797
                                                                   Is the claim subject to offset?     No       Yes

3.668
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michael C. Compo, P.A.                                       Contingent
         175 Southwest 7th Street Suite 1912                          Unliquidated
         Miami, FL 33130-2960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7049
                                                                   Is the claim subject to offset?     No       Yes

3.668
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL CONNOLLY                                             Contingent
         46 N Washington Boulevard Suite 21                           Unliquidated
         Sarasota, FL 34236-5928
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7923
                                                                   Is the claim subject to offset?     No       Yes

3.668
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL COSCULLUELA                                          Contingent
         Cosculluela & Marzano P.A.                                   Unliquidated
         14211 Commerce Way Suite 300
                                                                      Disputed
         Miami Lakes, FL 33016-1555
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5191                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1010 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1018 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.668
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL D BODNE                                              Contingent
         2081 Northeast 205th Street                                  Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5535
                                                                   Is the claim subject to offset?     No       Yes

3.668
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $11.83
         MICHAEL D EDENFIELD                                          Contingent
         2617 Knoll Street E                                          Unliquidated
         Palm Harbor, FL 34684                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 706
                                                                   Is the claim subject to offset?     No       Yes

3.668
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL D FRIEDMAN                                           Contingent
         6625 Miami Lakes Drive Suite 316                             Unliquidated
         Miami Lakes, FL 33014-2705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5234
                                                                   Is the claim subject to offset?     No       Yes

3.668
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL D LABARBERA                                          Contingent
         13309 Winding Oak Court                                      Unliquidated
         Suite B
                                                                      Disputed
         Tampa, FL 33612-1530
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6539                      Is the claim subject to offset?     No       Yes

3.668
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL D MCDONOUGH                                          Contingent
         12798 Forest Hill Boulevard Suite 201a                       Unliquidated
         Wellington, FL 33414-4704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7256
                                                                   Is the claim subject to offset?     No       Yes

3.668
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL D MORELLY                                            Contingent
         1046 Overseas Highway                                        Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7182
                                                                   Is the claim subject to offset?     No       Yes

3.669
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL D TANNENBAUM                                         Contingent
         2161 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 304
                                                                      Disputed
         West Palm Beach, FL 33409-6612
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8655                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1011 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1019 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.669
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL D TIDWELL                                            Contingent
         811 N Spring Street                                          Unliquidated
         Pensacola, FL 32501-3119
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2586
                                                                   Is the claim subject to offset?     No       Yes

3.669
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL D. ORENSTEIN                                         Contingent
         4601 Sheridan Street, 5th Fl.                                Unliquidated
         Hollywood, FL 33021-3412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8361
                                                                   Is the claim subject to offset?     No       Yes

3.669
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1.30
         MICHAEL DUBINER                                              Contingent
         1101 North Congress Avenue                                   Unliquidated
         Suite 200,Promenade                                          Disputed
         Boynton Beach, FL 33426-3319
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8049                      Is the claim subject to offset?     No       Yes


3.669
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $105.00
         MICHAEL E BOTOS                                              Contingent
         29 Country Road                                              Unliquidated
         Village Of Golf, FL 33436
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2609
                                                                   Is the claim subject to offset?     No       Yes

3.669
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL E BOUTZOUKAS                                         Contingent
         704 W Bay Street                                             Unliquidated
         Tampa, FL 33636
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7052
                                                                   Is the claim subject to offset?     No       Yes

3.669
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,428.33
         MICHAEL E COX                                                Contingent
         P.O. Box 506                                                 Unliquidated
         Key Largo, FL 33037                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4494
                                                                   Is the claim subject to offset?     No       Yes

3.669
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL E DRIS PA                                            Contingent
         29 N Pinellas Avenue                                         Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8007
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1012 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1020 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.669
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL E HILL                                               Contingent
         801 Brickell Avenue Suite 1401                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8139
                                                                   Is the claim subject to offset?     No       Yes

3.669
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL E LEACH                                              Contingent
         2400 E. Commercial Boulevard                                 Unliquidated
         Suite 706
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8448                      Is the claim subject to offset?     No       Yes

3.670
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL E NEBEL                                              Contingent
         P.O. Box 533638                                              Unliquidated
         Orlando, FL 32853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7218
                                                                   Is the claim subject to offset?     No       Yes

3.670
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL E REHR                                               Contingent
         9500 S Dadeland Boulevard Suite 550                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4101
                                                                   Is the claim subject to offset?     No       Yes

3.670
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL E SAMUEL                                             Contingent
         P.O. Box 220044                                              Unliquidated
         Hollywood, FL 33022
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4269
                                                                   Is the claim subject to offset?     No       Yes

3.670
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,260.80
         MICHAEL E WATKINS                                            Contingent
         P.O. Box 901729                                              Unliquidated
         Homestead, FL 33090-1659                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 583
                                                                   Is the claim subject to offset?     No       Yes

3.670
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL E. JACKSON                                           Contingent
         1047 Raintree Drive                                          Unliquidated
         Palm Beach Gardens, FL 33410-5247
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5981
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1013 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1021 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.670
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL EDWARDS                                              Contingent
         P.O. Box 7399                                                Unliquidated
         Port St Lucie, FL 34985
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7357
                                                                   Is the claim subject to offset?     No       Yes

3.670
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL ELIOT RUBIN                                          Contingent
         2833 Exchange Court Suite Ab                                 Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9721
                                                                   Is the claim subject to offset?     No       Yes

3.670
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL F CHENOWETH                                          Contingent
         P.O. Box 236                                                 Unliquidated
         Homestead, FL 33090-0236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7901
                                                                   Is the claim subject to offset?     No       Yes

3.670
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL F DUNN                                               Contingent
         2701 Southwest Lejeune Road Suite 301                        Unliquidated
         Coral Gables, FL 33134-5821
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4131
                                                                   Is the claim subject to offset?     No       Yes

3.670
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL F HORNUNG                                            Contingent
         13515 Bell Tower Drive Suite 300                             Unliquidated
         Ft Myers, FL 33907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0615
                                                                   Is the claim subject to offset?     No       Yes

3.671
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL F KATZIN                                             Contingent
         3449 E Rochelle Avenue                                       Unliquidated
         Las Vegas, NV 89121-5005
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6209
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1014 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1022 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.671
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL F KAYUSA                                             Contingent
         P.O. Box 6096                                                Unliquidated
         Ft Myers, FL 33911-6096
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5196
                                                                   Is the claim subject to offset?     No       Yes

3.671
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL F KEMPNER PA                                         Contingent
         6314 W Larkspur Drive                                        Unliquidated
         Glendale, AZ 85304-1613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7514
                                                                   Is the claim subject to offset?     No       Yes

3.671
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL F NOVILLA                                            Contingent
         6524 First Avenue N                                          Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6883
                                                                   Is the claim subject to offset?     No       Yes

3.671
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL F SPANO                                              Contingent
         2140 S Dixie Highway                                         Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7288
                                                                   Is the claim subject to offset?     No       Yes

3.671
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL F. BEAL                                              Contingent
         4532 E Tamiami Trail Suite 400                               Unliquidated
         Naples, FL 33962-6783
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7484
                                                                   Is the claim subject to offset?     No       Yes

3.671
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL G BARKET PA                                          Contingent
         19 W Flagler Street Suite 406                                Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7376
                                                                   Is the claim subject to offset?     No       Yes

3.671
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL G BASS                                               Contingent
         Michael G. Bass P.A.                                         Unliquidated
         8900 SW 107th Avenue, Suite 206
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7220                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1015 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1023 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.671
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL G HOWELL                                             Contingent
         P.O. Box 2302                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2131
                                                                   Is the claim subject to offset?     No       Yes

3.671
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL G JOYCE                                              Contingent
         5940 Granada Boulevard                                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4504
                                                                   Is the claim subject to offset?     No       Yes

3.672
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL G PARK                                               Contingent
         750 Park of Commerce Boulevard Suite 310                     Unliquidated
         Delray Beach, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7406
                                                                   Is the claim subject to offset?     No       Yes

3.672
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL G SALAZAR PA                                         Contingent
         888 S. Andrews Avenue                                        Unliquidated
         Suite 203
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5533                      Is the claim subject to offset?     No       Yes

3.672
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MICHAEL G WIDOFF                                             Contingent
         3210 Northeast 57th Court                                    Unliquidated
         Ft Lauderdale, FL 33308-2818
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4008
                                                                   Is the claim subject to offset?     No       Yes

3.672
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,913.02
         MICHAEL H GORA                                               Contingent
         7777 Glades Road Suite 400                                   Unliquidated
         Boca Raton, FL 33434                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0190
                                                                   Is the claim subject to offset?     No       Yes

3.672
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL H HATFIELD                                           Contingent
         P.O. Box 1290                                                Unliquidated
         Umatilla, FL 32784
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5290
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1016 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1024 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.672
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MICHAEL H HIRSCH                                             Contingent
         2809 Florida Boulevard                                       Unliquidated
         Unit 107
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5723                      Is the claim subject to offset?     No       Yes

3.672
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL H LUBIN                                              Contingent
         12865 W Dixie Highway Suite 102                              Unliquidated
         North Miami, FL 33161-4800
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7200
                                                                   Is the claim subject to offset?     No       Yes

3.672
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL H MERINO                                             Contingent
         Michael H. Merino P.A.                                       Unliquidated
         6741 Orange Drive
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2340                      Is the claim subject to offset?     No       Yes

3.672
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL H STAUDER                                            Contingent
         1201 US Highway One Suite 315                                Unliquidated
         North Palm Beach, FL 33408-3548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4362
                                                                   Is the claim subject to offset?     No       Yes

3.672
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL H WOLF                                               Contingent
         3832 N Umiversity Drive                                      Unliquidated
         Sunrise, FL 33351-6300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6836
                                                                   Is the claim subject to offset?     No       Yes

3.673
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL HRIC, P.A.                                           Contingent
         2801 Fruitville Road Suite 100                               Unliquidated
         Sarasota, FL 34237-6823
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8104
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1017 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1025 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.673
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL I BERNSTEIN PA                                       Contingent
         1688 Meridian Avenue Suite 418                               Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4083
                                                                   Is the claim subject to offset?     No       Yes

3.673
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL I KOTLER                                             Contingent
         54 Southwest Boca Raton Boulevard                            Unliquidated
         Boca Raton, FL 33432-4708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4695
                                                                   Is the claim subject to offset?     No       Yes

3.673
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL I ROSE                                               Contingent
         150 W Flagler Street Suite 1525                              Unliquidated
         Miami, FL 33130-1555
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7686
                                                                   Is the claim subject to offset?     No       Yes

3.673
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1.30
         MICHAEL J BAZALO                                             Contingent
         838 Anchor Rode Drive                                        Unliquidated
         Naples, FL 33940                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8168
                                                                   Is the claim subject to offset?     No       Yes

3.673
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J BELLE PA                                           Contingent
         2364 Fruitville Road                                         Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8014
                                                                   Is the claim subject to offset?     No       Yes

3.673
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL J BRUDNY                                             Contingent
         One Urban Centre Suite 985                                   Unliquidated
         4830 W Kennedy Boulevard
                                                                      Disputed
         Tampa, FL 33609
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1491                      Is the claim subject to offset?     No       Yes

3.673
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J BRUTZ                                              Contingent
         2351 W Eau Galle Boulevard Suite 1                           Unliquidated
         Melbourne, FL 32935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 552
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1018 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1026 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.673
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J BURLEY PA                                          Contingent
         736 Ibis Way                                                 Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3040
                                                                   Is the claim subject to offset?     No       Yes

3.673
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J CANAN                                              Contingent
         Gray Harris & Robinson                                       Unliquidated
         P.O. Box 3068
                                                                      Disputed
         Orlando, FL 32802-3068
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6043                      Is the claim subject to offset?     No       Yes

3.674
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J CARBO                                              Contingent
         9935 Northwest 15th Court                                    Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5940
                                                                   Is the claim subject to offset?     No       Yes

3.674
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL J COOPER                                             Contingent
         1900 N. Atlantic Avenue                                      Unliquidated
         #1203
                                                                      Disputed
         Daytona Beach, FL 32118
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8019                      Is the claim subject to offset?     No       Yes

3.674
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J FREEMAN                                            Contingent
         P.O. Box 14-0668                                             Unliquidated
         Coral Gables, FL 33114-0668
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5629
                                                                   Is the claim subject to offset?     No       Yes

3.674
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J GETELMAN                                           Contingent
         Michael J. Getelman P.A.                                     Unliquidated
         9040 Southwest 87th Street
                                                                      Disputed
         Miami, FL 33173-4584
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3199                      Is the claim subject to offset?     No       Yes

3.674
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J HANLEY                                             Contingent
         P.O. Box 3082                                                Unliquidated
         Vero Beach, FL 32964
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1509
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1019 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1027 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.674
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J HEISE                                              Contingent
         633 S Andrews Avenue 3rd Floor                               Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8486
                                                                   Is the claim subject to offset?     No       Yes

3.674
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J KNOWLES                                            Contingent
         335 Northwest 54th Street                                    Unliquidated
         Miami, FL 33127-1919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 675
                                                                   Is the claim subject to offset?     No       Yes

3.674
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J LAVERY                                             Contingent
         4600 N Ocean Boulevard Suite 201                             Unliquidated
         Boynton Beach, FL 33435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0486
                                                                   Is the claim subject to offset?     No       Yes

3.674
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL J MCDERMOTT                                          Contingent
         McDermott & Thacker P.A.                                     Unliquidated
         791 W Lumsden Road
                                                                      Disputed
         Brandon, FL 33511
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8576                      Is the claim subject to offset?     No       Yes

3.674
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J MCGARRY                                            Contingent
         18226 Petoskey Circle                                        Unliquidated
         Port Charlotte, FL 33948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7742
                                                                   Is the claim subject to offset?     No       Yes

3.675
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J MCMANUS PA                                         Contingent
         P.O. Box 33022                                               Unliquidated
         Palm Beach Gardens, FL 33420
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2593
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1020 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1028 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.675
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J MCNICHOLAS                                         Contingent
         P.O. Box 2394                                                Unliquidated
         Stuart, FL 34995-2394
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0697
                                                                   Is the claim subject to offset?     No       Yes

3.675
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $82.28
         MICHAEL J MORA                                               Contingent
         407 Lincoln Road Suite 503                                   Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7643
                                                                   Is the claim subject to offset?     No       Yes

3.675
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J MOSKOWITZ                                          Contingent
         2525 N State Road 7 Suite 205                                Unliquidated
         Hollywood, FL 33020-6613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6857
                                                                   Is the claim subject to offset?     No       Yes

3.675
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J QUAREQUIO                                          Contingent
         320 SE 11th Street                                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8024
                                                                   Is the claim subject to offset?     No       Yes

3.675
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J QUICKER                                            Contingent
         P.O. Box 19797                                               Unliquidated
         Sarasota, FL 34276-2797
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9147
                                                                   Is the claim subject to offset?     No       Yes

3.675
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J SABATELLO PL                                       Contingent
         6706 143rd Street N.                                         Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5713
                                                                   Is the claim subject to offset?     No       Yes

3.675
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,195.31
         MICHAEL J SALOMONE                                           Contingent
         P.O. Box 970500                                              Unliquidated
         Coconut Creek, FL 33097                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5449
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1021 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1029 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.675
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J SAMUELS                                            Contingent
         P.O. Box 33022                                               Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4664
                                                                   Is the claim subject to offset?     No       Yes

3.675
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J SCHAAF                                             Contingent
         P.O. Box 9151                                                Unliquidated
         Naples, FL 33941
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8699
                                                                   Is the claim subject to offset?     No       Yes

3.676
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J SMITH JR                                           Contingent
         241 W Lake Sue Avenue                                        Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6339
                                                                   Is the claim subject to offset?     No       Yes

3.676
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL J SNYDER                                             Contingent
         20803 Biscayne Boulevard Suite 200                           Unliquidated
         Aventura, FL 33180-1429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6291
                                                                   Is the claim subject to offset?     No       Yes

3.676
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J STYLES                                             Contingent
         300 SE 2nd Street                                            Unliquidated
         Suite 600
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5053                      Is the claim subject to offset?     No       Yes

3.676
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL J TROMBLEY                                           Contingent
         329 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870-3607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5819
                                                                   Is the claim subject to offset?     No       Yes

3.676
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J VOLPE                                              Contingent
         711 5th Avenue S Suite 201                                   Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2266
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1022 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1030 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.676
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL J YATES                                              Contingent
         Law Offices of Michael J Yates PL                            Unliquidated
         5975 Sunset Drive Suite 602
                                                                      Disputed
         Miami, FL 33143-5174
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5520                      Is the claim subject to offset?     No       Yes

3.676
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michael J. Alonso, Esquire                                   Contingent
         2127 W Dr. Mlk Jr. Boulevard                                 Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8583
                                                                   Is the claim subject to offset?     No       Yes

3.676
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michael J. Ferrin                                            Contingent
         910 South 8th Street                                         Unliquidated
         Suite 303
                                                                      Disputed
         Fernandina Beach, FL 32034
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9750                      Is the claim subject to offset?     No       Yes

3.676
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL JAMES PALERMO                                        Contingent
         1501 S Dale Mabry Highway Suite A-5                          Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6377
                                                                   Is the claim subject to offset?     No       Yes

3.676
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL K FELDMAN PA                                         Contingent
         1111 Kane Concourse Suite 209                                Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7084
                                                                   Is the claim subject to offset?     No       Yes

3.677
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL K MCFADDEN                                           Contingent
         261 Indian Rocks Rd N.                                       Unliquidated
         Belleair Bluffs, FL 33770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5855
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1023 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1031 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.677
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL K. LUKER                                             Contingent
         3971 Amron Court                                             Unliquidated
         Orlando, FL 32822-7738
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6608
                                                                   Is the claim subject to offset?     No       Yes

3.677
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL KLASFELD                                             Contingent
         2424 NE 22nd Street                                          Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3730
                                                                   Is the claim subject to offset?     No       Yes

3.677
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL L ABRAMS                                             Contingent
         121 S 61st Terrace                                           Unliquidated
         Hollywood, FL 33023-1376
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5766
                                                                   Is the claim subject to offset?     No       Yes

3.677
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL L BERGER                                             Contingent
         2500 W Broad Street Suite 413                                Unliquidated
         Athens, GA 30606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6126
                                                                   Is the claim subject to offset?     No       Yes

3.677
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL L BREWER                                             Contingent
         500 Canal Street                                             Unliquidated
         New Smyrna Beach, FL 32168-7012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7205
                                                                   Is the claim subject to offset?     No       Yes

3.677
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL L COHEN                                              Contingent
         2328 10th Avenue N Suite 403                                 Unliquidated
         Lake Worth, FL 33461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8178
                                                                   Is the claim subject to offset?     No       Yes

3.677
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL L DALE                                               Contingent
         2616 SE Willoughby Boulevard                                 Unliquidated
         Stuart, FL 34994-1577
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8022
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1024 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1032 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.677
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL L FEINSTEIN                                          Contingent
         888 E Las Olas Boulevard Suite 700                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0545
                                                                   Is the claim subject to offset?     No       Yes

3.677
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL L GUTTMANN                                           Contingent
         314 S Baylen Street Suite 201                                Unliquidated
         Pensacola, FL 32501-5949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4032
                                                                   Is the claim subject to offset?     No       Yes

3.678
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL L MICHETTI PL                                        Contingent
         Vanderbilt Galleria                                          Unliquidated
         9045 Strada Stell Court, Suite 400
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6426                      Is the claim subject to offset?     No       Yes

3.678
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL L NIKOLAS                                            Contingent
         1300 N Federal Highway Suite 110                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4019
                                                                   Is the claim subject to offset?     No       Yes

3.678
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL LECHTMAN                                             Contingent
         17001 Northeast 6th Avenue                                   Unliquidated
         Miami Beach, FL 33162-2408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4719
                                                                   Is the claim subject to offset?     No       Yes

3.678
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL M DISLER                                             Contingent
         143 E. Center Avenue                                         Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8656
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1025 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1033 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.678
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL M GFESSER                                            Contingent
         Michael M. Gfesser, P.A.                                     Unliquidated
         65 Princewood Lane
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2030                      Is the claim subject to offset?     No       Yes

3.678
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL M INGRAM PA                                          Contingent
         P.O. Box 31                                                  Unliquidated
         Boca Grande, FL 33921
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5560
                                                                   Is the claim subject to offset?     No       Yes

3.678
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL M STOREY                                             Contingent
         P.O. Box 541709                                              Unliquidated
         Merritt Island, FL 32954-1709
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7679
                                                                   Is the claim subject to offset?     No       Yes

3.678
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL M WALLACK                                            Contingent
         Wallack Law Firm                                             Unliquidated
         3260 Fruitville Road Suite A
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5187                      Is the claim subject to offset?     No       Yes

3.678
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL MALISZEWSKI                                          Contingent
         532 Colorado Avenue                                          Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2439
                                                                   Is the claim subject to offset?     No       Yes

3.678
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL N GOMES                                              Contingent
         303 E. Woolbright Road                                       Unliquidated
         Suite 269
                                                                      Disputed
         Boynton Beach, FL 33435
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6077                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1026 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1034 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.679
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL ORTIZ PA                                             Contingent
         1430 S Dixie Highway                                         Unliquidated
         Suite 321
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6382                      Is the claim subject to offset?     No       Yes

3.679
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL P CUDLIPP PA                                         Contingent
         12555 Biscayne Boulevard Suite 785                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6588
                                                                   Is the claim subject to offset?     No       Yes

3.679
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL P DULIN                                              Contingent
         2700 S Commerce Parkway Suite 101                            Unliquidated
         Weston, FL 33331-3629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6148
                                                                   Is the claim subject to offset?     No       Yes

3.679
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL P FINNEY                                             Contingent
         3550 Cortez Drive                                            Unliquidated
         Pensacola, FL 32503-3116
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5091
                                                                   Is the claim subject to offset?     No       Yes

3.679
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL P GABLE                                              Contingent
         Presidential Circle                                          Unliquidated
         4000 Hollywood Boulevard, Suite 735 S
                                                                      Disputed
         Hollywood, FL 33021-6755
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7058                      Is the claim subject to offset?     No       Yes

3.679
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL P HAYMANS PA                                         Contingent
         215 W. Olympia Avenue                                        Unliquidated
         Punta Gorda, FL 33950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6564
                                                                   Is the claim subject to offset?     No       Yes

3.679
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL P NORDMAN                                            Contingent
         112 N Florida Avenue                                         Unliquidated
         Deland, FL 32720
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2314
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1027 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1035 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.679
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL P SCIAN                                              Contingent
         777 Brickell Avenue Suite 900                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8490
                                                                   Is the claim subject to offset?     No       Yes

3.679
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL P SIM                                                Contingent
         Hillier & Wanless P.A.                                       Unliquidated
         4800 N Federal Highway Suite 300b
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4803                      Is the claim subject to offset?     No       Yes

3.679
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL P SMODISH                                            Contingent
         3959 Island Club Circle                                      Unliquidated
         Lake Worth, FL 33462-2183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6022
                                                                   Is the claim subject to offset?     No       Yes

3.680
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michael P. McSoley, P.A.                                     Contingent
         4190 Belfort Road                                            Unliquidated
         Suite 300
                                                                      Disputed
         Jacksonville, FL 32216
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0961                      Is the claim subject to offset?     No       Yes

3.680
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL R BLYNN                                              Contingent
         11900 Biscayne Boulevard                                     Unliquidated
         Suite 269
                                                                      Disputed
         North Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7905                      Is the claim subject to offset?     No       Yes

3.680
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL R FLAM PA                                            Contingent
         1144 E Newport Center Drive                                  Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2336
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1028 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1036 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.680
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL R MENG                                               Contingent
         907 Belmont Pl                                               Unliquidated
         Uniondale, NY 11553-1125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 123
                                                                   Is the claim subject to offset?     No       Yes

3.680
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MICHAEL R N MCDONNELL PA                                     Contingent
         5150 Tamiami Trail N Suite 501                               Unliquidated
         Naples, FL 34103-2822
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7576
                                                                   Is the claim subject to offset?     No       Yes

3.680
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHAEL R PINTER                                             Contingent
         640 13th Street Northwest                                    Unliquidated
         Naples, FL 34120-5028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8030
                                                                   Is the claim subject to offset?     No       Yes

3.680
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL R PRESLEY                                            Contingent
         Pmb 521                                                      Unliquidated
         10006 Cross Creek Boulevard
                                                                      Disputed
         Tampa, FL 33647-2595
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6593                      Is the claim subject to offset?     No       Yes

3.680
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL R STORACE                                            Contingent
         9100 S Dadeland Boulevard Suite 1607                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5011
                                                                   Is the claim subject to offset?     No       Yes

3.680
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL R TILLEY                                             Contingent
         128 Wilderness Cay                                           Unliquidated
         Naples, FL 34114-1673
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8643
                                                                   Is the claim subject to offset?     No       Yes

3.680
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL R VINES PA                                           Contingent
         950 S Pine Island Road Suite A-150                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0080
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1029 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1037 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.681
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL R WALLACE                                            Contingent
         Wallace Law Firm P.A.                                        Unliquidated
         3225 S Macdill Avenue Suite 129
                                                                      Disputed
         Tampa, FL 33629-8171
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4971                      Is the claim subject to offset?     No       Yes

3.681
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,960.42
         MICHAEL R. FISHMAN                                           Contingent
         7959 S.W. 104th Street Suite B205                            Unliquidated
         Miami, FL 33156-3663                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4071
                                                                   Is the claim subject to offset?     No       Yes

3.681
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michael R. Kadoch, P.A.                                      Contingent
         7501 NW 4th Street                                           Unliquidated
         Suite 204
                                                                      Disputed
         Plantation, FL 33317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6573                      Is the claim subject to offset?     No       Yes

3.681
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL R. SMITH                                             Contingent
         701 Southwest 62 Boulevard Ff 232                            Unliquidated
         Gainesville, FL 32607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3701
                                                                   Is the claim subject to offset?     No       Yes

3.681
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S ACKERMAN                                           Contingent
         Guiollettstr. 25                                             Unliquidated
         60325 Frankfut
                                                                      Disputed
         Germany, XX 11111
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8066                      Is the claim subject to offset?     No       Yes

3.681
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S CEASE                                              Contingent
         225 Alcazar Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5214
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1030 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1038 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.681
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL S EDENFIELD                                          Contingent
         206 Mason Street                                             Unliquidated
         Brandon, FL 33511-5212
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7230
                                                                   Is the claim subject to offset?     No       Yes

3.681
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL S GOLDBERG                                           Contingent
         2455 Hollywood Boulevard Suite 308                           Unliquidated
         Hollywood, FL 33020-6605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7382
                                                                   Is the claim subject to offset?     No       Yes

3.681
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S HAGEN                                              Contingent
         6249 Presidential Court Suite F                              Unliquidated
         Ft Myers, FL 33919-3525
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8465
                                                                   Is the claim subject to offset?     No       Yes

3.681
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S KAUFMAN                                            Contingent
         11900 Biscayne Boulevard                                     Unliquidated
         Suite 511
                                                                      Disputed
         Miami, FL 33181-2726
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4809                      Is the claim subject to offset?     No       Yes

3.682
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S MINOT                                              Contingent
         319 Riveredge Boulevard Suite 218                            Unliquidated
         Cocoa, FL 32922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7668
                                                                   Is the claim subject to offset?     No       Yes

3.682
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S PRICE                                              Contingent
         1616 Jork Road Suite 302                                     Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2415
                                                                   Is the claim subject to offset?     No       Yes

3.682
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MICHAEL S. DAVIS                                             Contingent
         C/O Boone & Davis                                            Unliquidated
         2311 N Andrews Avenue
                                                                      Disputed
         Ft Laduderdale, FL 33311-3993
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7124                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1031 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1039 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.682
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michael S. Drews                                             Contingent
         Drews Law Firm                                               Unliquidated
         4455 Baymeadows Road Suite 102
                                                                      Disputed
         Jacksonville, FL 32217
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9442                      Is the claim subject to offset?     No       Yes

3.682
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL S. GELLERT                                           Contingent
         5950 Washington St., Suite 400                               Unliquidated
         Hollywood, FL 33023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2460
                                                                   Is the claim subject to offset?     No       Yes

3.682
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL SCOTT BLOOM                                          Contingent
         2200 NW Corporate Boulevard                                  Unliquidated
         Suite 406
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0661                      Is the claim subject to offset?     No       Yes

3.682
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL SIERRA                                               Contingent
         703 W Swann Avenue                                           Unliquidated
         Tampa, FL 33606-2729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3819
                                                                   Is the claim subject to offset?     No       Yes

3.682
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL SILVERSTEIN                                          Contingent
         20801 Biscayne Boulevard Suite 504                           Unliquidated
         Aventura, FL 33180-1400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1392
                                                                   Is the claim subject to offset?     No       Yes

3.682
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHAEL STERLACE                                             Contingent
         2850 66th Street Southwest                                   Unliquidated
         Naples, FL 34105-7314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6048
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1032 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1040 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.682
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MICHAEL STEVEN GREENE                                        Contingent
         10950 Snapper Creek Road                                     Unliquidated
         Coral Gables, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 641
                                                                   Is the claim subject to offset?     No       Yes

3.683
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL STRATTON PA                                          Contingent
         P.O. Box 196577                                              Unliquidated
         Winter Springs, FL 32719-6577
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2244
                                                                   Is the claim subject to offset?     No       Yes

3.683
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL T CALLAHAN                                           Contingent
         475 Central Avenue Suite 300                                 Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6143
                                                                   Is the claim subject to offset?     No       Yes

3.683
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL T CALVIT                                             Contingent
         650 Azalea Lane Suite B                                      Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0339
                                                                   Is the claim subject to offset?     No       Yes

3.683
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL T HEIDER PA                                          Contingent
         P.O. Box 1713                                                Unliquidated
         Auburndale, FL 33823
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6526
                                                                   Is the claim subject to offset?     No       Yes

3.683
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL T MONTERO PA                                         Contingent
         7270 NW 12th Street                                          Unliquidated
         Suite 380
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8095                      Is the claim subject to offset?     No       Yes

3.683
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL T. HARRIS                                            Contingent
         6060 Kimberly Blvd., Suite 104a                              Unliquidated
         North Ft. Lauderdale, FL 33068-2825
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2578
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1033 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1041 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.683
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL T. WEBSTER                                           Contingent
         P.O. Box 873                                                 Unliquidated
         Shalimar, FL 32579-0873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8223
                                                                   Is the claim subject to offset?     No       Yes

3.683
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL TILLMAN PA                                           Contingent
         5346 Southwest 91st Terrace                                  Unliquidated
         Gainesville, FL 32608-7124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8329
                                                                   Is the claim subject to offset?     No       Yes

3.683
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL W HILL                                               Contingent
         1117 Russell Drive                                           Unliquidated
         Highland Beach, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3644
                                                                   Is the claim subject to offset?     No       Yes

3.683
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL W LEONARD                                            Contingent
         1614 Colonial Boulevard                                      Unliquidated
         Ft Myers, FL 33907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9794
                                                                   Is the claim subject to offset?     No       Yes

3.684
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL W SIMON                                              Contingent
         Simon & Sigalos L.L.P.                                       Unliquidated
         3839 Northwest Boca Raton Boulevard Suit
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9781                      Is the claim subject to offset?     No       Yes

3.684
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHAEL W. ROSS, P.A.                                        Contingent
         5607 26th Street West                                        Unliquidated
         Bradenton, FL 34207-3516
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6906
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1034 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1042 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.684
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHAEL WM LEBRON                                            Contingent
         400 E Buffalo Avenue Suite 104                               Unliquidated
         Tampa, FL 33603-3866
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8620
                                                                   Is the claim subject to offset?     No       Yes

3.684
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,526.99
         MICHAEL WM MEAD                                              Contingent
         P.O. Drawer 1329                                             Unliquidated
         Ft Walton Beach, FL 32549-1329                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6995
                                                                   Is the claim subject to offset?     No       Yes

3.684
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MICHEL HUYSMAN                                               Contingent
         2000 S Dixie Highway Suite 100                               Unliquidated
         Miami, FL 33133-2441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7913
                                                                   Is the claim subject to offset?     No       Yes

3.684
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELE J HODKIN                                             Contingent
         2131 Century Park Lane Apt 206                               Unliquidated
         Los Angeles, CA 90067-3315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0571
                                                                   Is the claim subject to offset?     No       Yes

3.684
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELE M BERNARD PA                                         Contingent
         100 S Kentucky Avenue Suite 295                              Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5060
                                                                   Is the claim subject to offset?     No       Yes

3.684
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Michele M. Lewis, P.A.                                       Contingent
         250 S. Central Boulevard                                     Unliquidated
         Suite 101
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8035                      Is the claim subject to offset?     No       Yes

3.684
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MICHELLE A PIVAR                                             Contingent
         6401 Southwest 87th Avenue Suite 101                         Unliquidated
         Miami, FL 33173-2520
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5150
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1035 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1043 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.684
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE B ALVAREZ PA                                        Contingent
         Suite 170 Building B                                         Unliquidated
         800 Douglas Road
                                                                      Disputed
         Coral Gables, FL 33134-3119
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8725                      Is the claim subject to offset?     No       Yes

3.685
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE C FRIGOLA                                           Contingent
         P.O. Box 5925                                                Unliquidated
         Lighthouse Point, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1407
                                                                   Is the claim subject to offset?     No       Yes

3.685
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE C SKINNER PA                                        Contingent
         P.O. Box 720206                                              Unliquidated
         Orlando, FL 32872-0206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2076
                                                                   Is the claim subject to offset?     No       Yes

3.685
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE C WILKINSON                                         Contingent
         Northbridge Center 300 Pavilion                              Unliquidated
         515 N Flagler Drive
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3988                      Is the claim subject to offset?     No       Yes

3.685
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE FAVA CAPITANO                                       Contingent
         P.O. Box 5238                                                Unliquidated
         Tampa, FL 33675
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0610
                                                                   Is the claim subject to offset?     No       Yes

3.685
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE G HASBUN                                            Contingent
         13701 N Kendall Drive Suite 200                              Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6496
                                                                   Is the claim subject to offset?     No       Yes

3.685
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE G TRCA                                              Contingent
         1133 Southeast 4th Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4607
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1036 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1044 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.685
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE I CATES PA                                          Contingent
         507 Whitehead Street Suite 1                                 Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7700
                                                                   Is the claim subject to offset?     No       Yes

3.685
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE L PERDOMO PA                                        Contingent
         3675 Southwest 24th Street Stop 1                            Unliquidated
         Miami, FL 33145-3007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1810
                                                                   Is the claim subject to offset?     No       Yes

3.685
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE N SHUPE-ABBAS ESQ                                   Contingent
         907 Southwest 123rd Terrace                                  Unliquidated
         Pembroke Pines, FL 33025-5786
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9479
                                                                   Is the claim subject to offset?     No       Yes

3.685
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE R BERG ESQUIRE PA                                   Contingent
         198 Via Condado Way                                          Unliquidated
         Palm Beach Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4338
                                                                   Is the claim subject to offset?     No       Yes

3.686
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE R DONAHUE PA                                        Contingent
         545 Avenue K Southeast                                       Unliquidated
         Winter Haven, FL 33880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8327
                                                                   Is the claim subject to offset?     No       Yes

3.686
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MICHELLE S GARCIA-RIVERA                                     Contingent
         2950 Southwest 27 Avenue Suite 100                           Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8863
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1037 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1045 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.686
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE SMITH                                               Contingent
         P.O. Box 970150                                              Unliquidated
         Coconut Creek, FL 33097-0150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0068
                                                                   Is the claim subject to offset?     No       Yes

3.686
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MICHELLE T VISIEDO-HIDALGO                                   Contingent
         1431 Certoso Avenue                                          Unliquidated
         Miami, FL 33146-1919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7877
                                                                   Is the claim subject to offset?     No       Yes

3.686
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MIGUEL DIAZ DE LA PORTILLA                                   Contingent
         100 Southeast 2nd Street Suite 3700                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0412
                                                                   Is the claim subject to offset?     No       Yes

3.686
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MIGUEL F MIRABAL                                             Contingent
         441 Sansovino Avenue                                         Unliquidated
         Coral Gables, FL 33146-2219
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1787
                                                                   Is the claim subject to offset?     No       Yes

3.686
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MIGUEL M GONZALEZ                                            Contingent
         605 Ocean Drive Apt 3m                                       Unliquidated
         Key Biscayne, FL 33149-2305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6449
                                                                   Is the claim subject to offset?     No       Yes

3.686
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Miguelez Lorenzo, L.L.P.                                     Contingent
         220 Miracle Mile Suite 235                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9282
                                                                   Is the claim subject to offset?     No       Yes

3.686
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Mika & Nikolich, P.A.                                        Contingent
         1330 Main Street                                             Unliquidated
         2nd Floor, Office 1
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9191                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1038 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1046 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.686
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Mila Lopata, P.A.                                            Contingent
         15807 Biscayne Blvd.                                         Unliquidated
         Suite 213
                                                                      Disputed
         North Miami Beach, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9408                      Is the claim subject to offset?     No       Yes

3.687
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         MILAGROS R VAZQUEZ                                           Contingent
         Milagros R. Vazquez P.A.                                     Unliquidated
         3663 Southwest 8th Street Suite 200
                                                                      Disputed
         Miami, FL 33135
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7550                      Is the claim subject to offset?     No       Yes

3.687
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILAM HOWARD NICANDRI DEES &                                 Contingent
         50 N Laura Street Suite 2900                                 Unliquidated
         Jacksonville, FL 32202-3619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7694
                                                                   Is the claim subject to offset?     No       Yes

3.687
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILAN SAMARGYA                                               Contingent
         529 N Magnolia Avenue                                        Unliquidated
         Orlando, FL 32801-1338
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4962
                                                                   Is the claim subject to offset?     No       Yes

3.687
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Milberg Klein P.L.                                           Contingent
         5550 Glades Road                                             Unliquidated
         Suite 500
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0605                      Is the claim subject to offset?     No       Yes

3.687
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILDRED C MARINER                                            Contingent
         Mildred C. Mariner P.A.                                      Unliquidated
         236 E 47th Street Apt 37f
                                                                      Disputed
         New York, NY 10017
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4464                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1039 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1047 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.687
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILENA ABREU PA                                              Contingent
         608 Lavilla Drive                                            Unliquidated
         Miami Springs, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2197
                                                                   Is the claim subject to offset?     No       Yes

3.687
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILENA CHRISTOPHER                                           Contingent
         500 Southeast 6th Street Suite 100                           Unliquidated
         Ft Lauderdale, FL 33301-3421
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8261
                                                                   Is the claim subject to offset?     No       Yes

3.687
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILES E FERRIS                                               Contingent
         3329 Mineola Drive                                           Unliquidated
         Sarasota, FL 34239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8453
                                                                   Is the claim subject to offset?     No       Yes

3.687
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILES J. GOPMAN                                              Contingent
         6916 S.W. 37th Street                                        Unliquidated
         Miramar, FL 33023-6624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8417
                                                                   Is the claim subject to offset?     No       Yes

3.687
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILITANA MILITANA & MILITANA                                 Contingent
         8801 Biscayne Boulevard                                      Unliquidated
         Suite 101
                                                                      Disputed
         Miami, FL 33138
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9717                      Is the claim subject to offset?     No       Yes

3.688
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mill Stone Legal Group, L.L.C.                               Contingent
         200 S. Andrews Avenue                                        Unliquidated
         Suite 700
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9609                      Is the claim subject to offset?     No       Yes

3.688
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILLER & O'NEILL PL                                          Contingent
         2300 Glades Road Suite 400 E                                 Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7471
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1040 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1048 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.688
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILLER & WEBNER PA                                           Contingent
         P.O. Box 266947                                              Unliquidated
         Weston, FL 33326-6947
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3857
                                                                   Is the claim subject to offset?     No       Yes

3.688
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,289.02
         MILLER & ZACHMAN                                             Contingent
         P.O. Box 9                                                   Unliquidated
         Ft Lauderdale, FL 33302-0009                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3749
                                                                   Is the claim subject to offset?     No       Yes

3.688
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MILLER CANFIELD PADDOCK &                                    Contingent
         Attn: William Parsons                                        Unliquidated
         150 W Jefferson Suite 2500
                                                                      Disputed
         Detroit, MI 48226-4415
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 520                       Is the claim subject to offset?     No       Yes

3.688
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         MILLER CROSBY & MILLER PA                                    Contingent
         P.O. Box 8169                                                Unliquidated
         Lakeland, FL 33802-8169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3267
                                                                   Is the claim subject to offset?     No       Yes

3.688
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MILLER HAMILTON SNIDER                                       Contingent
         1200 Brickell Avenue 10th Floor                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2148
                                                                   Is the claim subject to offset?     No       Yes

3.688
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MILLER HESTER & EISELE PL                                    Contingent
         429 S Keller Road Suite 310                                  Unliquidated
         Orlando, FL 32810
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6477
                                                                   Is the claim subject to offset?     No       Yes

3.688
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MILTON A FRIED                                               Contingent
         P.O. Box 927                                                 Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2907
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1041 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1049 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.688
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MILTON A GALBRAITH JR                                        Contingent
         P.O. Box 2842                                                Unliquidated
         St Petersburg, FL 33731-2842
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7993
                                                                   Is the claim subject to offset?     No       Yes

3.689
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MILTON E MCKAY                                               Contingent
         7074 Southeast Bunker Hill Drive                             Unliquidated
         Hobe Sound, FL 33607-5922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3752
                                                                   Is the claim subject to offset?     No       Yes

3.689
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MILTON E. GOLDFINE                                           Contingent
         725 Fifth Avenue                                             Unliquidated
         The Trump Organization
                                                                      Disputed
         New York, NY 10022-2520
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7417                      Is the claim subject to offset?     No       Yes

3.689
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MILTON H BEVIS                                               Contingent
         648 Forest Lair                                              Unliquidated
         Tallahassee, FL 32312-1736
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3763
                                                                   Is the claim subject to offset?     No       Yes

3.689
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,512.32
         MILTON J WALLACE                                             Contingent
         1111 Brickell Avenue Suite 2150                              Unliquidated
         Miami, FL 33131                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4973
                                                                   Is the claim subject to offset?     No       Yes

3.689
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Milton J. Figueroa, P.A.                                     Contingent
         12701 S John Young Parkway                                   Unliquidated
         Suite 212
                                                                      Disputed
         Orlando, FL 32837
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7391                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1042 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1050 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.689
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MILTON MILLER                                                Contingent
         4275 University Drive                                        Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1029
                                                                   Is the claim subject to offset?     No       Yes

3.689
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MIMI S WOLOK                                                 Contingent
         1248 Frank Whiteman Boulevard                                Unliquidated
         Naples, FL 34103-3845
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7474
                                                                   Is the claim subject to offset?     No       Yes

3.689
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MINDY KING OGDEN                                             Contingent
         P.O. Box 3127                                                Unliquidated
         Tampa, FL 33601-3127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8521
                                                                   Is the claim subject to offset?     No       Yes

3.689
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MINDY KRAUT ESQ                                              Contingent
         6635 W Commercial Boulevard Suite 119                        Unliquidated
         Tamarac, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8508
                                                                   Is the claim subject to offset?     No       Yes

3.689
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MINERLEY FEIN PA                                             Contingent
         1200 N. Federal Highway                                      Unliquidated
         Suite 420
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2139                      Is the claim subject to offset?     No       Yes

3.690
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MINIX & NORMAN                                               Contingent
         215 S Federal Highway Suite 303                              Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7896
                                                                   Is the claim subject to offset?     No       Yes

3.690
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MINOTT GORE PA                                               Contingent
         201 S Biscayne Boulevard Suite 2800                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4885
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1043 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1051 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.690
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MIRIAM BECKERMAN                                             Contingent
         1024 Long Branch Lane                                        Unliquidated
         Oviedo, FL 32765-6018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7186
                                                                   Is the claim subject to offset?     No       Yes

3.690
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MIRIAM BENSINGER                                             Contingent
         420 Lincoln Road, Suite 285                                  Unliquidated
         Miami Beach, FL 33139-3009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5256
                                                                   Is the claim subject to offset?     No       Yes

3.690
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MIRZA BASULTO & ROBBINS LLP                                  Contingent
         14160 Northwest 77th Court Ste#22                            Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2509
                                                                   Is the claim subject to offset?     No       Yes

3.690
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         MISHAN SLOTO GREENBERG                                       Contingent
         First Union Financ'L Center Suite 3000                       Unliquidated
         200 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131-2328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 109                       Is the claim subject to offset?     No       Yes

3.690
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHEL W ROTH                                               Contingent
         608 Bostwick Avenue                                          Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4989
                                                                   Is the claim subject to offset?     No       Yes

3.690
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MITCHELL & MITCHELL                                          Contingent
         1105 Browning Drive                                          Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1307
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1044 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1052 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.690
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mitchell & West, L.L.C.                                      Contingent
         3191 Coral Way Suite 504                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8590
                                                                   Is the claim subject to offset?     No       Yes

3.690
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL A FELDMAN                                           Contingent
         10065 Bay Harbor Terrace                                     Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6126
                                                                   Is the claim subject to offset?     No       Yes

3.691
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL A HIPSMAN                                           Contingent
         1111 Kane Concourse Suite 401                                Unliquidated
         Bay Harbor Islands, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9039
                                                                   Is the claim subject to offset?     No       Yes

3.691
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL A SHERMAN                                           Contingent
         7593 Boynton Beach Boulevard Ste220                          Unliquidated
         Boynton Beach, FL 33437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3613
                                                                   Is the claim subject to offset?     No       Yes

3.691
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL B KIRSCHNER PA                                      Contingent
         1515 N Federal Highway Suite 314                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1396
                                                                   Is the claim subject to offset?     No       Yes

3.691
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MITCHELL B LUBER                                             Contingent
         International Building Suite 815                             Unliquidated
         2455 E Sunrise Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6957                      Is the claim subject to offset?     No       Yes

3.691
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MITCHELL C PASIN                                             Contingent
         3300 University Drive Suite 406                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5710
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1045 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1053 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.691
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MITCHELL COCKEY & EDWARDS PA                                 Contingent
         P.O. Box 3433                                                Unliquidated
         Tampa, FL 33601-3433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6425
                                                                   Is the claim subject to offset?     No       Yes

3.691
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL D KLEIN                                             Contingent
         400 S Dixie Highway Suite 8                                  Unliquidated
         Hallandale Beach, FL 33009-6396
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5395
                                                                   Is the claim subject to offset?     No       Yes

3.691
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL E MONROE PA                                         Contingent
         107 Southeast 5th Street                                     Unliquidated
         Dania Beach, FL 33004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4529
                                                                   Is the claim subject to offset?     No       Yes

3.691
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL I KITROSER                                          Contingent
         8895 N Military Trail Suite 201c                             Unliquidated
         Palm Beach Gardens, FL 33410-6291
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6405
                                                                   Is the claim subject to offset?     No       Yes

3.691
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL JACOBS                                              Contingent
         Attn: Danays Casanova                                        Unliquidated
         7320 Griffin Road Suite 221
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2326                      Is the claim subject to offset?     No       Yes

3.692
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL L BERKOWITZ                                         Contingent
         Mitchell L. Berkowitz P.A.                                   Unliquidated
         14581 69th Drive N
                                                                      Disputed
         Palm Beach Gardens, FL 33418
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3590                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1046 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1054 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.692
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         MITCHELL L PERLSTEIN PA                                      Contingent
         4400 N Federal Highway Suite 210                             Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6546
                                                                   Is the claim subject to offset?     No       Yes

3.692
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITCHELL NOWACK                                              Contingent
         8551 Sunrise Boulevard                                       Unliquidated
         Suite 208
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4959                      Is the claim subject to offset?     No       Yes

3.692
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MITCHELL S POLANSKY                                          Contingent
         999 Brickell Avenue                                          Unliquidated
         Suite 600
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7380                      Is the claim subject to offset?     No       Yes

3.692
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITRANI RYNOR & ADAMSKY PA                                   Contingent
         2200 Suntrust International Center                           Unliquidated
         One Southeast Third Avenue
                                                                      Disputed
         Miami, FL 33131-1715
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5081                      Is the claim subject to offset?     No       Yes

3.692
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MITRANI RYNOR ADAMSKY & TOLAND                               Contingent
         Mitrani Rynor Adamsky & Toland                               Unliquidated
         1200 Weston Road Ph
                                                                      Disputed
         Weston, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4692                      Is the claim subject to offset?     No       Yes

3.692
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MITTENTHAL WEINSTEIN LLP                                     Contingent
         3100 S Federal Highway                                       Unliquidated
         Suite B
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9613                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1047 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1055 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.692
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MIZELL LAW FIRM PA                                           Contingent
         331 Sullivan Street                                          Unliquidated
         Punta Gorda, FL 33950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1998
                                                                   Is the claim subject to offset?     No       Yes

3.692
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MMC Law & Title, P.A.                                        Contingent
         1777 Tamiami Trail                                           Unliquidated
         Suite 304-5
                                                                      Disputed
         Port Charlotte, FL 33948
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8253                      Is the claim subject to offset?     No       Yes

3.692
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MODESTO ABELAIRAS                                            Contingent
         8405 Northwest 53rd Street Suite C-212                       Unliquidated
         Doral, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8064
                                                                   Is the claim subject to offset?     No       Yes

3.693
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MODESTO LOPEZ                                                Contingent
         930 Woodstock Road Suite 236                                 Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4605
                                                                   Is the claim subject to offset?     No       Yes

3.693
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MOISES KABA III                                              Contingent
         7951 Bird Road Suite 208                                     Unliquidated
         Miami, FL 33155-6752
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8032
                                                                   Is the claim subject to offset?     No       Yes

3.693
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MOLLIE M GARRETT                                             Contingent
         3900 Commonwealth Blvd.                                      Unliquidated
         Room 506-C
                                                                      Disputed
         Tallahassee, FL 32399-3000
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6677                      Is the claim subject to offset?     No       Yes

3.693
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         MOMBACH BOYLE & HARDIN                                       Contingent
         100 NE 3rd Avenue                                            Unliquidated
         Suite 1000
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8081                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1048 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1056 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.693
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONA WEISS                                                   Contingent
         Weiss Seavey P.A.                                            Unliquidated
         512-2 Northeast 7th Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8885                      Is the claim subject to offset?     No       Yes

3.693
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Monarch Law & Title, L.L.C.                                  Contingent
         2151 Consulate Drive                                         Unliquidated
         Suite 14B
                                                                      Disputed
         Orlando, FL 32837
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0498                      Is the claim subject to offset?     No       Yes

3.693
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONEQUE S WALKER PA                                          Contingent
         Suite 108a-Pmb 167                                           Unliquidated
         2653 Bruce B Downs Boulevard
                                                                      Disputed
         Wesley Chapel, FL 33544-9206
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9189                      Is the claim subject to offset?     No       Yes

3.693
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONICA HIRSCH WILSON                                         Contingent
         P.O. Box 291328                                              Unliquidated
         Port Orange, FL 32129-1328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0267
                                                                   Is the claim subject to offset?     No       Yes

3.693
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONICA KALKER CARUSO                                         Contingent
         11440 Okeechobee Boulevard                                   Unliquidated
         Royal Palm Beach, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3713
                                                                   Is the claim subject to offset?     No       Yes

3.693
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Monica L. Sierra, P.L.L.C.                                   Contingent
         703 W. Swann Avenue                                          Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0541
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1049 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1057 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.694
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONICA R BAILEY PA                                           Contingent
         17760 Northwest 2nd Avenue Suite 100                         Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1678
                                                                   Is the claim subject to offset?     No       Yes

3.694
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONICA S MARSELLI                                            Contingent
         P.O. Box 25158                                               Unliquidated
         Tampa, FL 33622-5158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7582
                                                                   Is the claim subject to offset?     No       Yes

3.694
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Montalvo Law Firm, P.A.                                      Contingent
         44 W. Flagler Street                                         Unliquidated
         Suite 2050
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8587                      Is the claim subject to offset?     No       Yes

3.694
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MONTELLO & ASSOCIATES PA                                     Contingent
         2750 NE 185th Street                                         Unliquidated
         Suite 201
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4047                      Is the claim subject to offset?     No       Yes

3.694
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MONTERO FINIZIO VELASQUEZ                                    Contingent
         515 E Las Olas Boulevard Suite 1500                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0137
                                                                   Is the claim subject to offset?     No       Yes

3.694
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Montes De Oca Law Group, L.L.C.                              Contingent
         8 S. Orlando Avenue                                          Unliquidated
         Kissimmee, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9768
                                                                   Is the claim subject to offset?     No       Yes

3.694
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Montesano Law Firm, P.L.                                     Contingent
         782 NW Le Jeune Road                                         Unliquidated
         Suite 530
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9223                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1050 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1058 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.694
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MONTY JAY TILLES                                             Contingent
         P.O. Box 69                                                  Unliquidated
         Strafford, VT 05072
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5296
                                                                   Is the claim subject to offset?     No       Yes

3.694
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MOODY & SALZMAN                                              Contingent
         500 E University Avenue Suite A                              Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3548
                                                                   Is the claim subject to offset?     No       Yes

3.694
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,193.64
         MOODY JONES INGINO & MOREHEAD                                Contingent
         1333 S University Drive Suite 201                            Unliquidated
         Plantation, FL 33324-4001                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5029
                                                                   Is the claim subject to offset?     No       Yes

3.695
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MOORE & MENKHAUS PA                                          Contingent
         2700 W. Cypress Creek Road                                   Unliquidated
         Suite A-108
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8480                      Is the claim subject to offset?     No       Yes

3.695
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MOORE & WAKSLER PL                                           Contingent
         P.O. Box 512713                                              Unliquidated
         Punta Gorda, FL 33951-2713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6195
                                                                   Is the claim subject to offset?     No       Yes

3.695
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         MOORE HILL & WESTMORELAND PA                                 Contingent
         P.O. Box 13290                                               Unliquidated
         Pensacola, FL 32591-3290
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4696
                                                                   Is the claim subject to offset?     No       Yes

3.695
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,120.22
         MORAITIS & COFAR                                             Contingent
         915 Middle River Drive Suite 506                             Unliquidated
         Ft Lauderdale, FL 33304-3561                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7027
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1051 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1059 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.695
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,864.98
         MORAITIS COFAR KARNEY &                                      Contingent
         915 Middle River Drive                                       Unliquidated
         Suite 506                                                    Disputed
         Ft Lauderdale, FL 33304-3561
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3702                      Is the claim subject to offset?     No       Yes


3.695
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         MORALES LAW GROUP PA                                         Contingent
         21500 Biscayne Boulevard                                     Unliquidated
         Suite 600
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6692                      Is the claim subject to offset?     No       Yes

3.695
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,171.02
         MORAN KIDD LYONS JOHNSON &                                   Contingent
         P.O. Box 472                                                 Unliquidated
         Orlando, FL 32802-0472                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5138
                                                                   Is the claim subject to offset?     No       Yes

3.695
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MORELAND & MENDEZ PA                                         Contingent
         202 Lookout Place                                            Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2702
                                                                   Is the claim subject to offset?     No       Yes

3.695
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MORELLI LAW OFFICES PLLC                                     Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 1270
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5976                      Is the claim subject to offset?     No       Yes

3.695
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MOREY UDINE                                                  Contingent
         6208 W Commercial Boulevard Suite 1                          Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7424
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1052 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1060 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.696
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         MORGAN & HENDRICK                                            Contingent
         P O Box 1117                                                 Unliquidated
         Key West, FL 33041-1117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5365
                                                                   Is the claim subject to offset?     No       Yes

3.696
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         MORGAN CARRATT & OCONNOR PA                                  Contingent
         111 Southeast 12th Street                                    Unliquidated
         Ft Lauderdale, FL 33316-1813
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1848
                                                                   Is the claim subject to offset?     No       Yes

3.696
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MORGAN HAREWOOD & ASSOCIATES                                 Contingent
         Attn: Florence D. Harewood                                   Unliquidated
         505 Northwest 214th Street Apt 106
                                                                      Disputed
         Miami, FL 33169-2130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0050                      Is the claim subject to offset?     No       Yes

3.696
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         MORGAN OLSEN & OLSEN                                         Contingent
         633 S. Federal Highway                                       Unliquidated
         Suite 400-A
                                                                      Disputed
         Ft Lauderdale, FL 33301-1149
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7756                      Is the claim subject to offset?     No       Yes

3.696
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MORISON BUCK                                                 Contingent
         907 S Newport Avenue                                         Unliquidated
         Tampa, FL 33606-2936
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1571
                                                                   Is the claim subject to offset?     No       Yes

3.696
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MORRELL WATSON & SOUTHWELL PA                                Contingent
         P.O. Box 2786                                                Unliquidated
         Lakeland, FL 33806-2786
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2590
                                                                   Is the claim subject to offset?     No       Yes

3.696
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MORRIS J WATSKY                                              Contingent
         231 Ashton Park                                              Unliquidated
         Peachtree City, GA 30269-3662
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6097
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1053 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1061 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.696
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MORRIS S FINKEL                                              Contingent
         2401 E Atlantic Boulevard Suite 400                          Unliquidated
         Pompano Beach, FL 33062-5243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0922
                                                                   Is the claim subject to offset?     No       Yes

3.696
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MORTELL & BAGGETT PA                                         Contingent
         1115 E Ocean Boulevard                                       Unliquidated
         Stuart, FL 34996
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3045
                                                                   Is the claim subject to offset?     No       Yes

3.696
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MORTIMER FRIED                                               Contingent
         291 Harbor Court                                             Unliquidated
         Key Biscayne, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1070
                                                                   Is the claim subject to offset?     No       Yes

3.697
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MORTIMER S COHEN                                             Contingent
         3600 Yacht Club Drive Suite 901                              Unliquidated
         Aventura, FL 33180-4005
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1691
                                                                   Is the claim subject to offset?     No       Yes

3.697
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MORTON ANTMAN ESQ                                            Contingent
         P.O. Box 4483                                                Unliquidated
         Ft Lauderdale, FL 33338
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2972
                                                                   Is the claim subject to offset?     No       Yes

3.697
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,879.32
         MORTON B ZEMEL                                               Contingent
         7301-A W Palmetto Park Road Suite 305-C                      Unliquidated
         Boca Raton, FL 33433                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3589
                                                                   Is the claim subject to offset?     No       Yes

3.697
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MORTON D AULLS                                               Contingent
         3000 N Highway 19-A                                          Unliquidated
         Mount Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4082
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1054 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1062 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.697
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MORTON R GOUDISS                                             Contingent
         P.O. Box 546541                                              Unliquidated
         Surfside, FL 33154-6514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2618
                                                                   Is the claim subject to offset?     No       Yes

3.697
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MORTON S BRAVERMAN                                           Contingent
         4700-B Sheridan Street                                       Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4349
                                                                   Is the claim subject to offset?     No       Yes

3.697
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Moseley Prichard Parrish Knight & Jones,                     Contingent
         501 W. Bay Street                                            Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0353
                                                                   Is the claim subject to offset?     No       Yes

3.697
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MOSHER & SCHNEIDER PA                                        Contingent
         Centurion Tower                                              Unliquidated
         1601 Forum Place, Suite 1150
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7698                      Is the claim subject to offset?     No       Yes

3.697
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         MOSKOWITZ MANDELL SALIM &                                    Contingent
         800 Corporate Drive                                          Unliquidated
         Suite 500
                                                                      Disputed
         Ft Lauderdale, FL 33334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3984                      Is the claim subject to offset?     No       Yes

3.697
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         MOSLEY WALLIS & WHITEHEAD PA                                 Contingent
         1221 E New Haven Avenue                                      Unliquidated
         Melbourne, FL 32901-7305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8737
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1055 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1063 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.698
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         MOSS HENDERSON BLANTON                                       Contingent
         P.O. Box 3406                                                Unliquidated
         Vero Beach, FL 32964-3406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 603
                                                                   Is the claim subject to offset?     No       Yes

3.698
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MOTOLA & ASSOCIATES                                          Contingent
         301 Almeria Avenue Suite 345                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5673
                                                                   Is the claim subject to offset?     No       Yes

3.698
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MOULTON MCEACHERN & WALKER PA                                Contingent
         P.O. Box 11964                                               Unliquidated
         Pensacola, FL 32524
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5330
                                                                   Is the claim subject to offset?     No       Yes

3.698
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,901.50
         MOYLE FLANIGAN KATZ WHITE                                    Contingent
         660 US Highway One Floor 3                                   Unliquidated
         North Palm Beach, FL 33408-4620                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3874
                                                                   Is the claim subject to offset?     No       Yes

3.698
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Muinos & Morales, P.L.                                       Contingent
         7355 SW 87th Avenue                                          Unliquidated
         Suite 200
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7215                      Is the claim subject to offset?     No       Yes

3.698
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         MULLEN & BIZZARRO PA                                         Contingent
         2929 E. Commercial Boulevard                                 Unliquidated
         Penthouse C
                                                                      Disputed
         Ft Lauderdale, FL 33308-4239
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7234                      Is the claim subject to offset?     No       Yes

3.698
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MUNSON VINING & MIDYETTE LLLP                                Contingent
         500 S Florida Avenue Suite 530                               Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4924
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1056 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1064 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.698
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mur Law Group, PLLC                                          Contingent
         1414 NW 107th Avenue                                         Unliquidated
         Suite 310
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0993                      Is the claim subject to offset?     No       Yes

3.698
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         MURAI WALD BIONDO & MORENO PA                                Contingent
         2121 Ponce De Leon Boulevard                                 Unliquidated
         Suite 600
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9133                      Is the claim subject to offset?     No       Yes

3.698
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         MUROFF MILESTONE & MILESTONE                                 Contingent
         100 N. Federal Highway                                       Unliquidated
         Suite 200
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1218                      Is the claim subject to offset?     No       Yes

3.699
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1.52
         MURPHY & PARENTE                                             Contingent
         1830 Ponce Deleon Boulevard                                  Unliquidated
         Coral Gables, FL 33134-4419                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7995
                                                                   Is the claim subject to offset?     No       Yes

3.699
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         MURPHY REID & PILOTTE PA                                     Contingent
         11300 Highway 1                                              Unliquidated
         Suite 401
                                                                      Disputed
         Palm Beach Gardens, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5426                      Is the claim subject to offset?     No       Yes

3.699
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,210.52
         MURRAH DOYLE & WIGLE PA                                      Contingent
         P.O. Box 1328                                                Unliquidated
         Winter Park, FL 32790-1328                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2477
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1057 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1065 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.699
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         MURRAY & SIMMONS LLP                                         Contingent
         1401 E Broward Boulevard Suite 200                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4892
                                                                   Is the claim subject to offset?     No       Yes

3.699
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         MURRAY H DUBBIN TRUSTEE                                      Contingent
         City of Miami Beach                                          Unliquidated
         1700 Convention Center Drive 4th Floor
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 136                       Is the claim subject to offset?     No       Yes

3.699
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MURTHA MURTHA & COLLINS PA                                   Contingent
         7640 N Wickham Road Suite 121                                Unliquidated
         Melbourne, FL 32940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5864
                                                                   Is the claim subject to offset?     No       Yes

3.699
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MUSKAT & ASSOCIATES PA                                       Contingent
         2620 W Community Drive                                       Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5855
                                                                   Is the claim subject to offset?     No       Yes

3.699
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Mustafa Law Firm, P.A.                                       Contingent
         P.O. Box 1487                                                Unliquidated
         Elfers, FL 34680
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0479
                                                                   Is the claim subject to offset?     No       Yes

3.699
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MUSTAPHA ABBA GANA                                           Contingent
         3221 Sabal Palm Manor Suite 202                              Unliquidated
         Hollywood, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9752
                                                                   Is the claim subject to offset?     No       Yes

3.699
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MYERS & FOREHAND                                             Contingent
         402 Office Plaza Drive                                       Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7665
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1058 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1066 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.700
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MYRA BENNETT TORRES                                          Contingent
         780 Northwest Lejeune Road                                   Unliquidated
         Suite 421 Lejeune Centre
                                                                      Disputed
         Miami, FL 33126-5536
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6496                      Is the claim subject to offset?     No       Yes

3.700
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Myron E. Siegel & Associates, LTD                            Contingent
         1055 S Federal Highway                                       Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7780
                                                                   Is the claim subject to offset?     No       Yes

3.700
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         MYRON J MENSH                                                Contingent
         Myron J. Mensh PL                                            Unliquidated
         1700 66th Street N Suite 300
                                                                      Disputed
         St Petersbrug, FL 33710-5500
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6257                      Is the claim subject to offset?     No       Yes

3.700
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MYRON J RAYVIS                                               Contingent
         7780 Southwest 142nd Street                                  Unliquidated
         Miami, FL 33150-1515
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5835
                                                                   Is the claim subject to offset?     No       Yes

3.700
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         MYRON M STEVENS                                              Contingent
         1696 Grand Isle Boulevard                                    Unliquidated
         Viera, FL 32940-6202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3391
                                                                   Is the claim subject to offset?     No       Yes

3.700
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         MYRTICE SMITH LESTER                                         Contingent
         2626 Mahan Drive                                             Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9575
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1059 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1067 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.700
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         N JOHN STEWART JR                                            Contingent
         5435 Main Street                                             Unliquidated
         New Port Richey, FL 34652-2504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5673
                                                                   Is the claim subject to offset?     No       Yes

3.700
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         N MICHAEL KOUSKOUTIS                                         Contingent
         623 E Tarpon Avenue Suite A                                  Unliquidated
         Tarpon Springs, FL 34689-4201
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9328
                                                                   Is the claim subject to offset?     No       Yes

3.700
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         N PETER LASKEY                                               Contingent
         31 Water Street                                              Unliquidated
         Mystic, CT 06355
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0834
                                                                   Is the claim subject to offset?     No       Yes

3.700
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         NABORS GIBLIN & NICKERSON PA                                 Contingent
         1500 Mahan Drive                                             Unliquidated
         Suite 200
                                                                      Disputed
         Tallahassee, FL 32308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7045                      Is the claim subject to offset?     No       Yes

3.701
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nabors Giblin & Nickerson, P.A.                              Contingent
         2502 Rocky Point Drive Suite 1060                            Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7995
                                                                   Is the claim subject to offset?     No       Yes

3.701
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NADERPOUR & ASSOCIATES PA                                    Contingent
         1906 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020-4524
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2636
                                                                   Is the claim subject to offset?     No       Yes

3.701
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NADINE L GIRAULT PA                                          Contingent
         629 Southeast 5th Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301-3103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7591
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1060 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1068 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.701
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NAGIN GALLOP & FIGUEREDO PA                                  Contingent
         18001 Old Cutler Road Suite 556                              Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3345
                                                                   Is the claim subject to offset?     No       Yes

3.701
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         NAJMY THOMPSON PL                                            Contingent
         1401 8th Avenue W.                                           Unliquidated
         Bradenton, FL 34205-6711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5740
                                                                   Is the claim subject to offset?     No       Yes

3.701
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY A DAVITO                                               Contingent
         3117 Edgewater Drive Suite A                                 Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0044
                                                                   Is the claim subject to offset?     No       Yes

3.701
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY C BANNER PA                                            Contingent
         800 Village Square Crossing                                  Unliquidated
         Suite 108
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0006                      Is the claim subject to offset?     No       Yes

3.701
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY E CROWN                                                Contingent
         Suite 101-A                                                  Unliquidated
         7301 W Palmetto Park Road
                                                                      Disputed
         Boca Raton, FL 33433-3455
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0031                      Is the claim subject to offset?     No       Yes

3.701
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY E YENSER PL                                            Contingent
         9958 Southwest 52nd Road                                     Unliquidated
         Gainesville, FL 32608-1440
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9986
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1061 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1069 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.701
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY F ETHERIDGE                                            Contingent
         P.O. Box 14742                                               Unliquidated
         Tallahassee, FL 32317-4742
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4965
                                                                   Is the claim subject to offset?     No       Yes

3.702
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY J ABERNATHY                                            Contingent
         Debeaubien Knight Simmons Etal                               Unliquidated
         332 N Magnolia Avenue
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5506                      Is the claim subject to offset?     No       Yes

3.702
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY M ARROYO                                               Contingent
         Arroyo Professional Assoc'N                                  Unliquidated
         Pmb#145 9737 Northwest 41st Street
                                                                      Disputed
         Miami, FL 33178-2924
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8243                      Is the claim subject to offset?     No       Yes

3.702
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY M. BARR                                                Contingent
         1651 19th Streety                                            Unliquidated
         Manhattan Beach, CA 90266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2672
                                                                   Is the claim subject to offset?     No       Yes

3.702
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY NEIDICH HERKERT                                        Contingent
         P.O. Box 5725                                                Unliquidated
         Hialeah, FL 33014-1725
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6272
                                                                   Is the claim subject to offset?     No       Yes

3.702
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY RUBIN                                                  Contingent
         2345 Southwest 28th Street                                   Unliquidated
         Miami, FL 33133-3124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5665
                                                                   Is the claim subject to offset?     No       Yes

3.702
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANCY STONER                                                 Contingent
         3300 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8281
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1062 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1070 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.702
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NANCY W HUNT                                                 Contingent
         Mangrove Bay Office Centre                                   Unliquidated
         17757 US Highway 19 N Suite 500
                                                                      Disputed
         Clearwater, FL 33764
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8561                      Is the claim subject to offset?     No       Yes

3.702
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANETTE C BECERRA PA                                         Contingent
         19721 E Oakmont Drive                                        Unliquidated
         Hialeah, FL 33015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8458
                                                                   Is the claim subject to offset?     No       Yes

3.702
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NANETTE COLON                                                Contingent
         2114 Granada Boulevard                                       Unliquidated
         Coral Gables, FL 33134-4705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8132
                                                                   Is the claim subject to offset?     No       Yes

3.702
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         NAPIER & DONOVAN                                             Contingent
         1570 Shadowlawn Drive                                        Unliquidated
         Naples, FL 33942-4321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5089
                                                                   Is the claim subject to offset?     No       Yes

3.703
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NARDELLA CHONG PA                                            Contingent
         234 N Westmonte Drive Suite 3000                             Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4257
                                                                   Is the claim subject to offset?     No       Yes

3.703
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nash Law Firm, P.A.                                          Contingent
         9296 Westlinks Terrace                                       Unliquidated
         Seminole, FL 33777
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7306
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1063 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1071 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.703
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,093.07
         NASON YEAGER GERSON WHITE                                    Contingent
         3001 PGA Boulevard                                           Unliquidated
         Suite 305                                                    Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1907                      Is the claim subject to offset?     No       Yes


3.703
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATALE G. SAVASTA                                            Contingent
         P.O. Box 4356                                                Unliquidated
         Clifton, NJ 07012-0997
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8542
                                                                   Is the claim subject to offset?     No       Yes

3.703
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATALIE CATERINA CHIN-LENN                                   Contingent
         2300 Palm Beach Lakes Boulevard Suite 30                     Unliquidated
         West Palm Beach, FL 33409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2363
                                                                   Is the claim subject to offset?     No       Yes

3.703
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATE HOSKINS PA                                              Contingent
         Interlachen Mortgage Inc.                                    Unliquidated
         1154 Adair Park Pl
                                                                      Disputed
         Orlando, FL 32804-6201
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9537                      Is the claim subject to offset?     No       Yes

3.703
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATHALIE F DEMESMIN PA                                       Contingent
         290 Northwest 165th Street Suite P100                        Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8498
                                                                   Is the claim subject to offset?     No       Yes

3.703
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATHAN I LEDER                                               Contingent
         6511 Nova Drive                                              Unliquidated
         Davie, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1244
                                                                   Is the claim subject to offset?     No       Yes

3.703
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATHAN L BOND                                                Contingent
         P.O. Box 26                                                  Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6556
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1064 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1072 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.703
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NATHAN S COLLIER                                             Contingent
         P.O. Box 13116                                               Unliquidated
         Gainesville, FL 32604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5567
                                                                   Is the claim subject to offset?     No       Yes

3.704
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NATHANIEL L. DOLINER                                         Contingent
         P.O. Box 3239                                                Unliquidated
         Tampa, FL 33601-3239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5140
                                                                   Is the claim subject to offset?     No       Yes

3.704
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Naumann Law, P.A.                                            Contingent
         15065 McGregor Boulevard                                     Unliquidated
         Suite 104
                                                                      Disputed
         Ft Myers, FL 33908
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7924                      Is the claim subject to offset?     No       Yes

3.704
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NAUTILUS LEGAL SERVICES PA                                   Contingent
         150 Southeast 2nd Avenue Suite Ph1                           Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6384
                                                                   Is the claim subject to offset?     No       Yes

3.704
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NAVON KOPELMAN & O'DONNELL PA                                Contingent
         2699 Stirling Road Suite B-100                               Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7886
                                                                   Is the claim subject to offset?     No       Yes

3.704
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEAL BRIAN LECHTNER                                          Contingent
         P.O. Box 222083                                              Unliquidated
         Hollywood, FL 33022
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0169
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1065 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1073 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.704
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NEAL C PATTERSON JR                                          Contingent
         1420 Southeast 47th Street                                   Unliquidated
         Cape Coral, FL 33904-9634
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6814
                                                                   Is the claim subject to offset?     No       Yes

3.704
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         NEAL E YOUNG                                                 Contingent
         300 3rd Street Northwest                                     Unliquidated
         Winter Haven, FL 33881-4002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5761
                                                                   Is the claim subject to offset?     No       Yes

3.704
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         NEAL S LITMAN PA                                             Contingent
         169 E. Flagler Street                                        Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5136                      Is the claim subject to offset?     No       Yes

3.704
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEAL WEINSTEIN                                               Contingent
         412 E. Madison Street                                        Unliquidated
         Suite 1111
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4396                      Is the claim subject to offset?     No       Yes

3.704
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NEALE J POLLER                                               Contingent
         550 Biltmore Way Suite 700                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7557
                                                                   Is the claim subject to offset?     No       Yes

3.705
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NEBLETT & SAUER PA                                           Contingent
         2 Allamanda Terrace                                          Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2344
                                                                   Is the claim subject to offset?     No       Yes

3.705
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NED KIMMELMAN                                                Contingent
         2424 N Federal Highway Suite 157                             Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7728
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1066 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1074 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.705
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NEDUCHAL & MAGEE PA                                          Contingent
         501 N. Magnolia Avenue                                       Unliquidated
         Orlando, FL 32801-1364
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6879
                                                                   Is the claim subject to offset?     No       Yes

3.705
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEERA P KAR LLP                                              Contingent
         1507 S Hiawassee Road Suite 102                              Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6140
                                                                   Is the claim subject to offset?     No       Yes

3.705
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEESA B KURLAND                                              Contingent
         100 S Pine Island Road Suite 600                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4926
                                                                   Is the claim subject to offset?     No       Yes

3.705
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Neighbors Law & Mediation, P.L.L.C.                          Contingent
         300 5th Avenue South 203-C                                   Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8238
                                                                   Is the claim subject to offset?     No       Yes

3.705
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NEIL A MALPHURS                                              Contingent
         P.O. Box 969                                                 Unliquidated
         Alachua, FL 32615-0969
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6181
                                                                   Is the claim subject to offset?     No       Yes

3.705
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NEIL A SAYDAH PA                                             Contingent
         DBA Saydah Law Firm                                          Unliquidated
         7250 Red Bug Lake Road, Suite 1012
                                                                      Disputed
         Oviedo, FL 32765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4340                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1067 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1075 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.705
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEIL B TYGAR                                                 Contingent
         16384 Via Venetia W                                          Unliquidated
         Delray Beach, FL 33484
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6083
                                                                   Is the claim subject to offset?     No       Yes

3.705
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         NEIL FLAXMAN                                                 Contingent
         550 Biltmore Way Suite 780                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4436
                                                                   Is the claim subject to offset?     No       Yes

3.706
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NEIL J BERMAN                                                Contingent
         Berman Rennert Vogel Et Al                                   Unliquidated
         100 Southeast 2nd Street Suite 2900
                                                                      Disputed
         Miami, FL 33131-2119
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6817                      Is the claim subject to offset?     No       Yes

3.706
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NEIL J BUCHALTER                                             Contingent
         P.O. Box 5087                                                Unliquidated
         Titusville, FL 32783-5087
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7540
                                                                   Is the claim subject to offset?     No       Yes

3.706
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NEIL LEAVITT                                                 Contingent
         70 Ivy Road                                                  Unliquidated
         Hollywood, FL 33021-2816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7076
                                                                   Is the claim subject to offset?     No       Yes

3.706
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         NEIL P LINDEN                                                Contingent
         Adorno & Yoss L.L.P.                                         Unliquidated
         2525 Ponce Deleon Boulevard Suite 400
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1766                      Is the claim subject to offset?     No       Yes

3.706
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         NEIL R COVERT                                                Contingent
         2653 McCormick Drive                                         Unliquidated
         Clearwater, FL 34619-1041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7792
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1068 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1076 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.706
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         NEIL S ROLLNICK                                              Contingent
         Adorno & Yoss L.L.P.                                         Unliquidated
         2525 Ponce De Leon Boulevard Suite 400
                                                                      Disputed
         Miami, FL 33134-6012
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1765                      Is the claim subject to offset?     No       Yes

3.706
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEIL S SCHECHT                                               Contingent
         3630 W Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4668
                                                                   Is the claim subject to offset?     No       Yes

3.706
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,251.55
         NEIL W MACMILLAN                                             Contingent
         930 Northeast Jensen Beach Boulevard                         Unliquidated
         Jensen Beach, FL 34957-4704                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5059
                                                                   Is the claim subject to offset?     No       Yes

3.706
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEIL W MACMILLAN                                             Contingent
         Citizens Building Suite 704                                  Unliquidated
         105 S Narcissus Avenue
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5059                      Is the claim subject to offset?     No       Yes

3.706
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         NEIL W MACMILLAN                                             Contingent
         930 NE Jensen Beach Boulevard                                Unliquidated
         Jensen Beach, FL 34957-4704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5059
                                                                   Is the claim subject to offset?     No       Yes

3.707
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,966.75
         NEILL GRIFFIN TIERNEY                                        Contingent
         P.O. Box 1270                                                Unliquidated
         Ft Pierce, FL 34954-1270                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3844
                                                                   Is the claim subject to offset?     No       Yes

3.707
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEIMARK & NADEL PA                                           Contingent
         301 W Hallandale Beach Boulevard                             Unliquidated
         Hallandale, FL 33009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8319
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1069 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1077 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.707
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NEIMARK NEIMARK & KRAWITZ                                    Contingent
         800 Corporate Drive Suite 420                                Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7328
                                                                   Is the claim subject to offset?     No       Yes

3.707
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,867.27
         NELSON & FELDMAN                                             Contingent
         1111 Kane Concourse Suite 200                                Unliquidated
         Bay Harbor Islands, FL 33154-2025                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3817
                                                                   Is the claim subject to offset?     No       Yes

3.707
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NELSON A HUNTER PA                                           Contingent
         12485 World Cup Lane                                         Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9422
                                                                   Is the claim subject to offset?     No       Yes

3.707
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NELSON A RODRIGUEZ VARELA PA                                 Contingent
         1190 S. Lejeune Road                                         Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9828
                                                                   Is the claim subject to offset?     No       Yes

3.707
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         NELSON BECKETT & NELSON                                      Contingent
         1127 9th Avenue N                                            Unliquidated
         St Petersburg, FL 33705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2607
                                                                   Is the claim subject to offset?     No       Yes

3.707
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NELSON C KESHEN                                              Contingent
         9155 S. Dadeland Boulevard                                   Unliquidated
         Suite 1718
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4413                      Is the claim subject to offset?     No       Yes

3.707
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,523.94
         NELSON HESSE                                                 Contingent
         2070 Ringling Boulevard                                      Unliquidated
         Sarasota, FL 34237-7002                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2434
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1070 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1078 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.707
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NELSON LAW FIRM PLC                                          Contingent
         1020 E Lafayette Street Suite 214                            Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9166
                                                                   Is the claim subject to offset?     No       Yes

3.708
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NELSON M TARACIDO                                            Contingent
         5825 Sunset Drive Suite 210                                  Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6053
                                                                   Is the claim subject to offset?     No       Yes

3.708
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NELSON SLOSBERGAS PA                                         Contingent
         501 Brickell Key Drive Suite 400                             Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 640
                                                                   Is the claim subject to offset?     No       Yes

3.708
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NEMIA L SCHULTE                                              Contingent
         2401 E. Atlantic Blvd.                                       Unliquidated
         Suite 210
                                                                      Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5156                      Is the claim subject to offset?     No       Yes

3.708
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nepola Yonta, Attorneys at Law                               Contingent
         701 NW Federal Highway                                       Unliquidated
         Suite 201
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0296                      Is the claim subject to offset?     No       Yes

3.708
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NERDINSKY LAW GROUP PA                                       Contingent
         2847 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4499
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1071 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1079 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.708
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ness Law LLC                                                 Contingent
         DBA The FL Closing Attorney                                  Unliquidated
         3735 S. Highway 27
                                                                      Disputed
         Clermont, FL 34711
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0933                      Is the claim subject to offset?     No       Yes

3.708
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NESTOR ALVAREZ                                               Contingent
         3971 Southwest 8th Street Suite 209                          Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8748
                                                                   Is the claim subject to offset?     No       Yes

3.708
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NESTOR B GORFINKEL                                           Contingent
         19790 West Dixie Highway                                     Unliquidated
         Suite 1101
                                                                      Disputed
         Miami, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4713                      Is the claim subject to offset?     No       Yes

3.708
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NETA L SEIBER                                                Contingent
         Route 2 Box 88                                               Unliquidated
         Opt, AL 36467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8746
                                                                   Is the claim subject to offset?     No       Yes

3.708
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         New Day Law Group, P.A.                                      Contingent
         234 N Rhodes Avenue Suite 107                                Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8001
                                                                   Is the claim subject to offset?     No       Yes

3.709
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         NEW HOUSE TITLE LLC                                          Contingent
         ATTN: MARTIN BROWN                                           Unliquidated
         PO BOX 25018 MAIL STOP #4
                                                                      Disputed
         TAMPA, FL 33622
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4705                      Is the claim subject to offset?     No       Yes

3.709
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NEWMAN DEASON & ROLAND PA                                    Contingent
         3750 Gunn Highway Suite 2-C                                  Unliquidated
         Tampa, FL 33624-4905
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7149
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1072 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1080 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.709
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Newmeyer Law, P.L.L.C.                                       Contingent
         1390 S. Dixie Highway                                        Unliquidated
         Suite 1203
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0033                      Is the claim subject to offset?     No       Yes

3.709
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Newport Law, P.A.                                            Contingent
         DBA The O'boyle Law Firm                                     Unliquidated
         1286 W. Newport Center Drive
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0564                      Is the claim subject to offset?     No       Yes

3.709
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICHOLA G AHRENS                                             Contingent
         101 Park Ridge Avenue                                        Unliquidated
         Temple Terrace, FL 33617
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5566
                                                                   Is the claim subject to offset?     No       Yes

3.709
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NICHOLAS E BOUYOUCAS PA                                      Contingent
         1840 Forest Hill Boulevard Suite 203                         Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2867
                                                                   Is the claim subject to offset?     No       Yes

3.709
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICHOLAS FELZEN                                              Contingent
         1360 S. Dixie Highway                                        Unliquidated
         Suite 3407
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4501                      Is the claim subject to offset?     No       Yes

3.709
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NICHOLAS G SCHOMMER                                          Contingent
         329 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870-3607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7572
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1073 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1081 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.709
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICHOLAS GALANTINO                                           Contingent
         2919 Swann Avenue Suite 404                                  Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8380
                                                                   Is the claim subject to offset?     No       Yes

3.709
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICHOLAS H HAGOORT JR                                        Contingent
         P.O. Box 3438                                                Unliquidated
         Boynton Beach, FL 33424-3438
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8702
                                                                   Is the claim subject to offset?     No       Yes

3.710
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NICHOLAS J MARGARITIS                                        Contingent
         2525 Norris Road Apt 123                                     Unliquidated
         Columbus, GA 31907-8489
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1036
                                                                   Is the claim subject to offset?     No       Yes

3.710
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NICK B KANELIDIS                                             Contingent
         2400 E. Commercial Boulevard                                 Unliquidated
         Suite 706
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7248                      Is the claim subject to offset?     No       Yes

3.710
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nick Ficarrotta, Jr. P.A.                                    Contingent
         238 E. Davis Boulevard                                       Unliquidated
         Suite 210
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1058                      Is the claim subject to offset?     No       Yes

3.710
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICK ROKNICH, III                                            Contingent
         P.O. Box 3979                                                Unliquidated
         Sarasota, FL 34230-3979
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4397
                                                                   Is the claim subject to offset?     No       Yes

3.710
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICKOLAS C EKONOMIDES                                        Contingent
         791 Bayway Boulevard                                         Unliquidated
         Clearwater, FL 33767
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4133
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1074 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1082 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.710
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICOLA L ZAGAROLO                                            Contingent
         3800 NE 3rd Avenue                                           Unliquidated
         Pompano Beach, FL 33064-3528
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0179
                                                                   Is the claim subject to offset?     No       Yes

3.710
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         NICOLAS FERNANDEZ PA                                         Contingent
         5760 SW 8th Street                                           Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33144
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7212                      Is the claim subject to offset?     No       Yes

3.710
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICOLE J HUESMANN                                            Contingent
         150 Alhambra Circle                                          Unliquidated
         Suite 1150
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2533                      Is the claim subject to offset?     No       Yes

3.710
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICOLE J MONSEES                                             Contingent
         240 Fox Run                                                  Unliquidated
         Los Gatos, CA 95033-7816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4407
                                                                   Is the claim subject to offset?     No       Yes

3.710
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nicole L. Jordan, P.A.                                       Contingent
         9040 Town Center Parkway                                     Unliquidated
         Bradenton, FL 34202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9620
                                                                   Is the claim subject to offset?     No       Yes

3.711
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NICOLE TAPLIN PA                                             Contingent
         20801 Biscayne Boulevard Suite 403                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4672
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1075 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1083 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.711
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nina L. Ferraro, P.A.                                        Contingent
         943 SE Central Parkway                                       Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8255
                                                                   Is the claim subject to offset?     No       Yes

3.711
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         NISHAD KHAN PL                                               Contingent
         1303 N. Orange Avenue                                        Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4574
                                                                   Is the claim subject to offset?     No       Yes

3.711
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NIURKA R PIEDRA                                              Contingent
         7001 SW 87 Court                                             Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7962
                                                                   Is the claim subject to offset?     No       Yes

3.711
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         NIXON PEABODY LLP                                            Contingent
         Attn: Anthony J. Prezioso                                    Unliquidated
         P.O. Box 31051 Clinton Square
                                                                      Disputed
         Rochester, NY 14603-1051
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5676                      Is the claim subject to offset?     No       Yes

3.711
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NNAMDIE LAW FIRM PA                                          Contingent
         P.O. Box 600216                                              Unliquidated
         North Miami Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2239
                                                                   Is the claim subject to offset?     No       Yes

3.711
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NOAH C MCKINNON JR PA                                        Contingent
         P.O. Box 305                                                 Unliquidated
         Ormond Beach, FL 32175-0305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0840
                                                                   Is the claim subject to offset?     No       Yes

3.711
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nobile Law Firm, P.A.                                        Contingent
         201 S Biscayne Boulevard                                     Unliquidated
         Suite 2650
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9896                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1076 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1084 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.711
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NOEL GIFFORD LAWRENCE                                        Contingent
         101 E. Union Street                                          Unliquidated
         Suite 200
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0512                      Is the claim subject to offset?     No       Yes

3.711
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NOEL J. FEINBERG                                             Contingent
         12550 Biscayne Blvd.                                         Unliquidated
         Suite 304b
                                                                      Disputed
         North Miami, FL 33181-2541
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4869                      Is the claim subject to offset?     No       Yes

3.712
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NOELIA F MORENO                                              Contingent
         3130 W 15th Avenue Suite 100                                 Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6219
                                                                   Is the claim subject to offset?     No       Yes

3.712
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         NOHRR NOHRR BOYD HOWZE &                                     Contingent
         P.O. Box 369                                                 Unliquidated
         Melbourne, FL 32902-0369
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2869
                                                                   Is the claim subject to offset?     No       Yes

3.712
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NOLD & LARSON PA                                             Contingent
         P.O. Box 288                                                 Unliquidated
         Marco Island, FL 33969
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8985
                                                                   Is the claim subject to offset?     No       Yes

3.712
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Noohani Law, P.A.                                            Contingent
         450 Northeast 5th Street Suite 2                             Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9013
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1077 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1085 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.712
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORD L JOHNSON                                               Contingent
         105 E Church Street                                          Unliquidated
         Deland, FL 32724-4323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5366
                                                                   Is the claim subject to offset?     No       Yes

3.712
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NOREEN E SEGREST                                             Contingent
         University of S Florida                                      Unliquidated
         4202 E Fowler Avenue Adm250
                                                                      Disputed
         Tampa, FL 33620
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8534                      Is the claim subject to offset?     No       Yes

3.712
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NOREEN WISCOVITCH-RENTAS PA                                  Contingent
         P.O. Box 20438                                               Unliquidated
         West Palm Beach, FL 33416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1877
                                                                   Is the claim subject to offset?     No       Yes

3.712
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORM D FUGATE                                                Contingent
         248 NW Main Street                                           Unliquidated
         Williston, FL 32696
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2055
                                                                   Is the claim subject to offset?     No       Yes

3.712
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORM LA COE                                                  Contingent
         Suite 101 The Fairways                                       Unliquidated
         4351 27th Court Southwest
                                                                      Disputed
         Naples, FL 34116-7973
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8451                      Is the claim subject to offset?     No       Yes

3.712
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Norma Echarte & Associates                                   Contingent
         2 Grove Isle Drive                                           Unliquidated
         Apt B-304
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8386                      Is the claim subject to offset?     No       Yes

3.713
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NORMAN A HARTMAN JR PA                                       Contingent
         P.O. Box 6844                                                Unliquidated
         Ft Myers, FL 33911-6844
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7015
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1078 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1086 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.713
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         NORMAN A SHARE                                               Contingent
         50 Northwest 14th Street                                     Unliquidated
         Homestead, FL 33030-4238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3324
                                                                   Is the claim subject to offset?     No       Yes

3.713
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         NORMAN A. GREEN                                              Contingent
         P.O. Box 2618                                                Unliquidated
         Vero Beach, FL 32961-2618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5445
                                                                   Is the claim subject to offset?     No       Yes

3.713
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         NORMAN D KAPLAN PA                                           Contingent
         7770 W Oakland Park Boulevard Suite 470                      Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6749
                                                                   Is the claim subject to offset?     No       Yes

3.713
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORMAN E TAPLIN                                              Contingent
         1555 Palm Beach Lakes Boulevard Suite 15                     Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2569
                                                                   Is the claim subject to offset?     No       Yes

3.713
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN J SILBER                                              Contingent
         700 Brickell Avenue                                          Unliquidated
         8th Floor
                                                                      Disputed
         Miami, FL 33131-2804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6569                      Is the claim subject to offset?     No       Yes

3.713
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN K RUTKIN                                              Contingent
         9105 Southwest 78 Court                                      Unliquidated
         Miami, FL 33156-7540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 765
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1079 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1087 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.713
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN K SCHWARZ                                             Contingent
         5229 Alton Road                                              Unliquidated
         Miami Beach, FL 33140-2004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1290
                                                                   Is the claim subject to offset?     No       Yes

3.713
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN L PAXTON JR                                           Contingent
         606 Boston Avenue                                            Unliquidated
         Ft Pierce, FL 34950-4241
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6874
                                                                   Is the claim subject to offset?     No       Yes

3.713
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN M OSTRAU                                              Contingent
         8181 W Broward Boulevard Suite 300                           Unliquidated
         Plantation, FL 33324-2049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6710
                                                                   Is the claim subject to offset?     No       Yes

3.714
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORMAN MARCUS                                                Contingent
         8181 W Broward Boulevard Suite 201                           Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9912
                                                                   Is the claim subject to offset?     No       Yes

3.714
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORMAN S FRANK                                               Contingent
         7499 W Atlantic Avenue Suite 212                             Unliquidated
         Glendale Federal Building
                                                                      Disputed
         Delray Beach, FL 33446-1302
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8688                      Is the claim subject to offset?     No       Yes

3.714
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN S KLEIN                                               Contingent
         C/O Klein & Tannen P.A.                                      Unliquidated
         4000 Hollywood Boulevard Suite 620 N
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4328                      Is the claim subject to offset?     No       Yes

3.714
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORMAN S MOSS                                                Contingent
         P.O. Box 560665                                              Unliquidated
         Orlando, FL 32856
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5833
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1080 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1088 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.714
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         NORMAN S PALLOT                                              Contingent
         9103 Alexandria Drive                                        Unliquidated
         Weeki Wachee, FL 34613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3227
                                                                   Is the claim subject to offset?     No       Yes

3.714
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORMAN S WEIDER                                              Contingent
         100 Southeast 2nd Street Suite 3950                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7230
                                                                   Is the claim subject to offset?     No       Yes

3.714
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         NORMAN T ROBERTS PA                                          Contingent
         12555 Biscayne Boulevard                                     Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5052
                                                                   Is the claim subject to offset?     No       Yes

3.714
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         NORRIS & NORRIS PA                                           Contingent
         253 NW Main Boulevard                                        Unliquidated
         Lake City, FL 32055
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8121
                                                                   Is the claim subject to offset?     No       Yes

3.714
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Norsoph, Alcalay & Orner LLP                                 Contingent
         2691 E. Oakland Park Boulevard                               Unliquidated
         Suite 404
                                                                      Disputed
         Ft. Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9096                      Is the claim subject to offset?     No       Yes

3.714
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         North Beach Law & Title, P.L.L.C.                            Contingent
         1476 Linkside Drive                                          Unliquidated
         Atlantic Beach, FL 32233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9406
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1081 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1089 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.715
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NORTH FLORIDA LAW CENTER PA                                  Contingent
         Pmb 381                                                      Unliquidated
         1093 A1A Beach Boulevard
                                                                      Disputed
         St Augustine, FL 32080
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2730                      Is the claim subject to offset?     No       Yes

3.715
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         North Florida Lawyers, P.L.L.C.                              Contingent
         P.O. Box 1241                                                Unliquidated
         Silver Springs, FL 34489
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0277
                                                                   Is the claim subject to offset?     No       Yes

3.715
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         North Tampa Law Group, L.L.C.                                Contingent
         26852 Tanic Drive                                            Unliquidated
         Suite 102
                                                                      Disputed
         Wesley Chapel, FL 33544
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8952                      Is the claim subject to offset?     No       Yes

3.715
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Northrup Law, PLLC                                           Contingent
         13990 Bartram Park Blvd.                                     Unliquidated
         Unit 2010
                                                                      Disputed
         Jacksonville, FL 32258
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0599                      Is the claim subject to offset?     No       Yes

3.715
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         NORTON HAMMERSLEY LOPEZ &                                    Contingent
         1819 Main Street                                             Unliquidated
         Suite 610
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4530                      Is the claim subject to offset?     No       Yes

3.715
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NOVAK LAW GROUP PLLC                                         Contingent
         402 Reid Avenue                                              Unliquidated
         Port St Joe, FL 32456
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4763
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1082 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1090 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.715
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         NOVEY MENDELSON & ADAMSON                                    Contingent
         851 E Park Avenue                                            Unliquidated
         Tallahassee, FL 32301-2620
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6909
                                                                   Is the claim subject to offset?     No       Yes

3.715
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,918.90
         NOWLIN & NOWLIN PA                                           Contingent
         2201 Southwest Roma Way                                      Unliquidated
         Boynton Beach, FL 33426-6530                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9611
                                                                   Is the claim subject to offset?     No       Yes

3.715
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         NOWLIN & SCHONE                                              Contingent
         308 Northwest 17th Street                                    Unliquidated
         Delray Beach, FL 33444-3121
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 268
                                                                   Is the claim subject to offset?     No       Yes

3.715
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         NUCKOLLS JOHNSON & BELCHER PA                                Contingent
         P.O. Drawer 2199                                             Unliquidated
         Ft Myers, FL 33902-2199
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6065
                                                                   Is the claim subject to offset?     No       Yes

3.716
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         NUGENT & GROUND LLC                                          Contingent
         2455 E. Sunrise Boulevard                                    Unliquidated
         Suite 807
                                                                      Disputed
         Ft Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0462                      Is the claim subject to offset?     No       Yes

3.716
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Nunez Estate Law & Title, P.A.                               Contingent
         7700 N. Kendall Drive                                        Unliquidated
         Suite 607
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8810                      Is the claim subject to offset?     No       Yes

3.716
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         NUSSBAUM & NUSSBAUM                                          Contingent
         334 E Duval Street                                           Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8609
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1083 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1091 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.716
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         O B (BUD) STANSELL JR                                        Contingent
         1707 E Bearss Avenue                                         Unliquidated
         Tampa, FL 33613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5244
                                                                   Is the claim subject to offset?     No       Yes

3.716
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         O STEPHEN THACKER                                            Contingent
         407 S Ewing Avenue                                           Unliquidated
         Clearwater, FL 33756-5766
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6811
                                                                   Is the claim subject to offset?     No       Yes

3.716
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         O'BRIEN RIEMENSCHNEIDER                                      Contingent
         175 E. Nasa Boulevard                                        Unliquidated
         Suite 303
                                                                      Disputed
         Melbourne, FL 32901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3795                      Is the claim subject to offset?     No       Yes

3.716
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,094.25
         O'CONNELL & O'CONNELL PA                                     Contingent
         P.O. Box 3917                                                Unliquidated
         West Palm Beach, FL 33402-3917                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2080
                                                                   Is the claim subject to offset?     No       Yes

3.716
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,976.33
         O'HAIRE QUINN CANDLER &                                      Contingent
         P.O. Box 643347                                              Unliquidated
         Vero Beach, FL 32964-3347                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2171
                                                                   Is the claim subject to offset?     No       Yes

3.716
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         O'HALLORAN JOHNSON WALTEMYER                                 Contingent
         P.O. Box 540                                                 Unliquidated
         Ft Myers, FL 33902-0540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5893
                                                                   Is the claim subject to offset?     No       Yes

3.716
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         O'Neill Law and Title, P.A.                                  Contingent
         4575 Via Royale                                              Unliquidated
         Suite 102
                                                                      Disputed
         Fort Myers, FL 33919
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9699                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1084 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1092 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.717
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Oak Ridge Title, Inc.                                        Contingent
         350 Jim Moran Boulevard Suite 100                            Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5660
                                                                   Is the claim subject to offset?     No       Yes

3.717
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         OATES & OATES PA                                             Contingent
         1701 East Atlantic Boulevard                                 Unliquidated
         Suite 4
                                                                      Disputed
         Pompano Beach, FL 33060
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8103                      Is the claim subject to offset?     No       Yes

3.717
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Ochoa & Rubio, P.A.                                          Contingent
         2001 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 502
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9940                      Is the claim subject to offset?     No       Yes

3.717
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OCTAVIO E MESTRE                                             Contingent
         Mestre & Associates P.A.                                     Unliquidated
         7385 Southwest 87th Avenue Suite 100
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8420                      Is the claim subject to offset?     No       Yes

3.717
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OCTAVIO L MARTINEZ PA                                        Contingent
         7700 N Kendall Drive Suite 707                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6041
                                                                   Is the claim subject to offset?     No       Yes

3.717
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ODALYS ILTER                                                 Contingent
         3320 Paddock                                                 Unliquidated
         Ft Lauderdale, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7583
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1085 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1093 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.717
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         OFELIA DAMAS-RODRIGUEZ PA                                    Contingent
         200 W Cypress Creek Road Suite 210                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2434
                                                                   Is the claim subject to offset?     No       Yes

3.717
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Old City Law, PLLC                                           Contingent
         1 Riberia Street                                             Unliquidated
         St. Augustine, FL 32084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1052
                                                                   Is the claim subject to offset?     No       Yes

3.717
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Old Tampa Title Agency, LLC                                  Contingent
         301 W. Platt Street                                          Unliquidated
         Suite 395
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0989                      Is the claim subject to offset?     No       Yes

3.717
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Oldham Law Group, L.L.C.                                     Contingent
         9800 4th Street N                                            Unliquidated
         Suite 200
                                                                      Disputed
         St Petersburg, FL 33702
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9942                      Is the claim subject to offset?     No       Yes

3.718
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OLDS & STEPHENS PA                                           Contingent
         711 N Flagler Drive                                          Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5230
                                                                   Is the claim subject to offset?     No       Yes

3.718
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         OLENICK & SAWYER PA                                          Contingent
         2081 E Ocean Boulevard Suite 2-A                             Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3994
                                                                   Is the claim subject to offset?     No       Yes

3.718
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OLIMPIA BOVEDA DEPENA                                        Contingent
         P. O Drawer 9304                                             Unliquidated
         Fort Myers, FL 33902-9304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2616
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1086 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1094 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.718
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         OLIN W. SHINHOLSER                                           Contingent
         4501 Selah Road                                              Unliquidated
         Sebring, FL 33872-4723
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6161
                                                                   Is the claim subject to offset?     No       Yes

3.718
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         OLIVE & ASSOCIATES PA                                        Contingent
         2426 E. Las Olas Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9959
                                                                   Is the claim subject to offset?     No       Yes

3.718
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OLIVER P TANKSLEY III                                        Contingent
         P.O. Box 2247                                                Unliquidated
         Sarasota, FL 34230-2247
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8402
                                                                   Is the claim subject to offset?     No       Yes

3.718
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OLIVIER TYLER & ASSOCIATES                                   Contingent
         150 Northwest 168th Street Suite 209                         Unliquidated
         Miami, FL 33169-6034
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8843
                                                                   Is the claim subject to offset?     No       Yes

3.718
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         OLMSTED & WILSON PA                                          Contingent
         17801 Murdock Circle                                         Unliquidated
         Suite A
                                                                      Disputed
         Port Charlotte, FL 33948
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1027                      Is the claim subject to offset?     No       Yes

3.718
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ontivero Law & Title, P.A.                                   Contingent
         7501 NW 4th Street                                           Unliquidated
         Suite 203
                                                                      Disputed
         Plantation, FL 33317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9011                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1087 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1095 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.718
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Orange Title, P.A.                                           Contingent
         327 N Orange Avenue Suite 201                                Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9861
                                                                   Is the claim subject to offset?     No       Yes

3.719
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Oren Property Advisers, PLLC                                 Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 2201
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0839                      Is the claim subject to offset?     No       Yes

3.719
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OREN Z BRENNER                                               Contingent
         1030 N Shore Drive                                           Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7860
                                                                   Is the claim subject to offset?     No       Yes

3.719
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         ORFINGER & STOUT PA                                          Contingent
         P.O. Box 15200                                               Unliquidated
         Daytona Beach, FL 32115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1583
                                                                   Is the claim subject to offset?     No       Yes

3.719
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ORLANDO ANTELO JR                                            Contingent
         2150 Coral Way Suite 5d                                      Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6049
                                                                   Is the claim subject to offset?     No       Yes

3.719
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Orlando Delgado                                              Contingent
         Orlando Delgado P.A.                                         Unliquidated
         8522 Southwest 102nd Street
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4252                      Is the claim subject to offset?     No       Yes

3.719
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ORLANDO DELGADO                                              Contingent
         150 Alhambra Circle Suite 1240                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4252
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1088 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1096 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.719
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ORLANDO E REYES                                              Contingent
         14311 SW 34 Street                                           Unliquidated
         Miami, FL 33175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8318
                                                                   Is the claim subject to offset?     No       Yes

3.719
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ORLANDO J CABRERA                                            Contingent
         The Waterford Suite 700                                      Unliquidated
         5200 Blue Lagoon Drive
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8424                      Is the claim subject to offset?     No       Yes

3.719
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ORRIN M GOWEN                                                Contingent
         3000 Bayport Drive Suite 1100                                Unliquidated
         Tampa, FL 33607-8405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0196
                                                                   Is the claim subject to offset?     No       Yes

3.719
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ORSATTI & ASSOCIATES PA                                      Contingent
         3204 Alternate 19 N                                          Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9648
                                                                   Is the claim subject to offset?     No       Yes

3.720
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,123.54
         OSBORNE & OSBORNE PA                                         Contingent
         P.O. Drawer 40                                               Unliquidated
         Boca Raton, FL 33429-0040                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3070
                                                                   Is the claim subject to offset?     No       Yes

3.720
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,271.11
         OSCAR A WHITE                                                Contingent
         200 White Building                                           Unliquidated
         1 Northeast 2nd Avenue                                       Disputed
         Miami, FL 33132-2507
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2968                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1089 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1097 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.720
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         OSCAR J DELGADO                                              Contingent
         7950 Northwest 155th Street Suite 104                        Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7617
                                                                   Is the claim subject to offset?     No       Yes

3.720
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSCAR M HOWARD III PA                                        Contingent
         315 W Green Street Suite 100                                 Unliquidated
         Perry, FL 32347
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2613
                                                                   Is the claim subject to offset?     No       Yes

3.720
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSENTON LAW OFFICES PA                                       Contingent
         510 Vonderburg Drive Suite 310                               Unliquidated
         Brandon, FL 33511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5896
                                                                   Is the claim subject to offset?     No       Yes

3.720
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSIASON & SINGER PA                                          Contingent
         4519 Polk Street                                             Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1895
                                                                   Is the claim subject to offset?     No       Yes

3.720
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSMOND C HOWE JR                                             Contingent
         2000 Towerside Terrace                                       Unliquidated
         Suite 402
                                                                      Disputed
         Miami, FL 33138-2223
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0234                      Is the claim subject to offset?     No       Yes

3.720
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Ossi Law Group, P.A.                                         Contingent
         5618 NW 43rd Street                                          Unliquidated
         Gainesville, FL 32653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9593
                                                                   Is the claim subject to offset?     No       Yes

3.720
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         OSSINSKY & GEORGE                                            Contingent
         500 N Oleander Avenue                                        Unliquidated
         Daytona Beach, FL 32118-4020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1635
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1090 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1098 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.720
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         OSSINSKY AND KROL PA                                         Contingent
         924 Peninsula Drive                                          Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1141
                                                                   Is the claim subject to offset?     No       Yes

3.721
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSTERHOUT & MCKINNEY PA                                      Contingent
         3783 Seago Lane                                              Unliquidated
         Ft Myers, FL 33901-8113
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4963
                                                                   Is the claim subject to offset?     No       Yes

3.721
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSTERNDORF & ASSOCIATES PA                                   Contingent
         P.O. Box 2352                                                Unliquidated
         Daytona Beach, FL 32115-2352
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 577
                                                                   Is the claim subject to offset?     No       Yes

3.721
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         OSVALDO N SOTO                                               Contingent
         1535 Mercado Avenue                                          Unliquidated
         Coral Gables, FL 33146-1033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5347
                                                                   Is the claim subject to offset?     No       Yes

3.721
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OSVALDO R OROZCO                                             Contingent
         122 Minorca Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6371
                                                                   Is the claim subject to offset?     No       Yes

3.721
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         OSWALD J MORA                                                Contingent
         15 Lagorge Circle                                            Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4974
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1091 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1099 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.721
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Ouellette Hartzog, P.A.                                      Contingent
         151 E. Central Avenue                                        Unliquidated
         Lake Wales, FL 33853
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0546
                                                                   Is the claim subject to offset?     No       Yes

3.721
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,465.43
         OUGHTERSON SUNDHEIM &                                        Contingent
         Central Parkway Professional Plaza                           Unliquidated
         612 SE Central Parkway                                       Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 357                       Is the claim subject to offset?     No       Yes


3.721
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $391.72
         OVERSTREET MILES RITCH                                       Contingent
         100 Church Street                                            Unliquidated
         Suite 1                                                      Disputed
         Kissimmee, FL 34741
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 35                        Is the claim subject to offset?     No       Yes


3.721
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OWENS LAW GROUP PA                                           Contingent
         811-B Cypress Village Boulevard                              Unliquidated
         Ruskin, FL 33573
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5843
                                                                   Is the claim subject to offset?     No       Yes

3.721
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         OXFORD TITLE & TRUST A PRIVATE                               Contingent
         7210 Red Road Suite 213                                      Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8820
                                                                   Is the claim subject to offset?     No       Yes

3.722
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Oza Law, P.A.                                                Contingent
         955-N NW 17th Avenue                                         Unliquidated
         Delray Beach, FL 33445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0056
                                                                   Is the claim subject to offset?     No       Yes

3.722
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         OZARK PERRON & NELSON PA                                     Contingent
         2816 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0805
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1092 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1100 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.722
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         P AUSE BROWN                                                 Contingent
         4001 Northwest 9th Court                                     Unliquidated
         Gainesville, FL 32605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6388
                                                                   Is the claim subject to offset?     No       Yes

3.722
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         P GREGORY JONES                                              Contingent
         Fla Department of Transportation                             Unliquidated
         605 Suwannee Street Suite Ms-58
                                                                      Disputed
         Tallahassee, FL 32399-6544
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6748                      Is the claim subject to offset?     No       Yes

3.722
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         P MICHAEL MANNING JR                                         Contingent
         101 Southeast 6th Avenue Suite B                             Unliquidated
         Delray Beach, FL 33483-5261
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1472
                                                                   Is the claim subject to offset?     No       Yes

3.722
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         P MICHAEL VILLALOBOS                                         Contingent
         3621 Cleveland Avenue                                        Unliquidated
         Fort Myers, FL 33901-7905
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4377
                                                                   Is the claim subject to offset?     No       Yes

3.722
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PABLO R BARED                                                Contingent
         13123 Southwest 64th Court                                   Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6841
                                                                   Is the claim subject to offset?     No       Yes

3.722
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PACE ALLEN JR                                                Contingent
         2121 W Tennessee Street                                      Unliquidated
         Tallahassee, FL 32304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5216
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1093 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1101 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.722
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PACHECO PEREZ ORTIZ PA                                       Contingent
         2121 S Douglas Road Suite 200                                Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4176
                                                                   Is the claim subject to offset?     No       Yes

3.722
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pacheco Perez P.A.                                           Contingent
         2121 SW 37th Avenue                                          Unliquidated
         Suite 200
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1020                      Is the claim subject to offset?     No       Yes

3.723
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PACKMAN NEUWAHL & ROSENBERG                                  Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 1901
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 314                       Is the claim subject to offset?     No       Yes

3.723
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         PADIERNE & ASSOCIATES PA                                     Contingent
         P.O. Box 45-2323                                             Unliquidated
         Miami, FL 33245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6941
                                                                   Is the claim subject to offset?     No       Yes

3.723
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Padly Law, P.A.                                              Contingent
         1415 Panther Lane                                            Unliquidated
         Suite 240
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8461                      Is the claim subject to offset?     No       Yes

3.723
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PADRON LAW FIRM PA                                           Contingent
         10691 N. Kendall Drive                                       Unliquidated
         Suite 109
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4946                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1094 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1102 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.723
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PAEZ & GARCIA PA                                             Contingent
         5979 NW 151st Street                                         Unliquidated
         Suite 111
                                                                      Disputed
         Miami Lakes, FL 33014-2400
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2654                      Is the claim subject to offset?     No       Yes

3.723
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pagan & Stroleny, PL                                         Contingent
         1 Northeast 2nd Avenue Suite 200                             Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9205
                                                                   Is the claim subject to offset?     No       Yes

3.723
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAGE LAW FIRM LLC                                            Contingent
         Attn: Christina Page                                         Unliquidated
         7932 W. Sand Lake Road, Suite 204
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5866                      Is the claim subject to offset?     No       Yes

3.723
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PALEN & HOCHBERG PA                                          Contingent
         P.O. Box 3686                                                Unliquidated
         West Palm Beach, FL 33402-3686
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7306
                                                                   Is the claim subject to offset?     No       Yes

3.723
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,249.98
         PALLOT & POPPELL                                             Contingent
         169 East Flagler Street,#1517                                Unliquidated
         Alfred I Dupont Building                                     Disputed
         Miami, FL 33131-1207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6287                      Is the claim subject to offset?     No       Yes


3.723
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         PALLOTTO & HAYSON PA                                         Contingent
         7777 A Davie Road Extension                                  Unliquidated
         Suite 100A
                                                                      Disputed
         Hollywood, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6212                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1095 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1103 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.724
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Palma Law Group, P.A.                                        Contingent
         5510 Roosevelt Boulevard                                     Unliquidated
         Clearwater, FL 33760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8497
                                                                   Is the claim subject to offset?     No       Yes

3.724
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PALMER PALMER & MANGIERO                                     Contingent
         Falls Professional Center                                    Unliquidated
         12790 S. Dixie Highway
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1078                      Is the claim subject to offset?     No       Yes

3.724
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PALMER W COLLINS PA                                          Contingent
         2230 N Riverside Drive                                       Unliquidated
         Indialantic, FL 32903-3618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4108
                                                                   Is the claim subject to offset?     No       Yes

3.724
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Palumbo & Bertrand, P.A.                                     Contingent
         2500 S. Bumby Avenue                                         Unliquidated
         Orlando, FL 32806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8468
                                                                   Is the claim subject to offset?     No       Yes

3.724
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAMELA J WALDORF                                             Contingent
         Pj Waldorf P.L.C.                                            Unliquidated
         P.O. Box 70
                                                                      Disputed
         West Palm Beach, FL 33402
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5703                      Is the claim subject to offset?     No       Yes

3.724
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PAMELA JO HATLEY PA                                          Contingent
         P.O. Box 47477                                               Unliquidated
         Tampa, FL 33646-0113
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9797
                                                                   Is the claim subject to offset?     No       Yes

3.724
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAMELA MILTON ROBB                                           Contingent
         214 N. 3rd Street                                            Unliquidated
         Suite B
                                                                      Disputed
         Leesburg, FL 34748
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4950                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1096 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1104 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.724
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAMELA STEWART                                               Contingent
         P.O. Box 25                                                  Unliquidated
         Naples, FL 34106-0025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4264
                                                                   Is the claim subject to offset?     No       Yes

3.724
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAMELA T DUNSTON                                             Contingent
         777 S Flagler Drive Suite 800                                Unliquidated
         West Palm Beach, FL 33401-6161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5292
                                                                   Is the claim subject to offset?     No       Yes

3.724
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAMELA T KARLSON PA                                          Contingent
         301 Dal Hall Boulevard                                       Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8374
                                                                   Is the claim subject to offset?     No       Yes

3.725
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAMELA Y BRAYNON                                             Contingent
         872 Brokview Lane                                            Unliquidated
         Rockledge, FL 32955-4083
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4651
                                                                   Is the claim subject to offset?     No       Yes

3.725
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Panza Maurer & Maynard, P.A.                                 Contingent
         3600 N Federal Highway Suite 300                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7987
                                                                   Is the claim subject to offset?     No       Yes

3.725
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAOLA A GOMEZ-PEREZ PA                                       Contingent
         7990 Southwest 117th Avenue Suite 201                        Unliquidated
         Miami, FL 33183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4180
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1097 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1105 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.725
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAPPAS & RUSSELL PA                                          Contingent
         213 Silver Beach Avenue                                      Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6615
                                                                   Is the claim subject to offset?     No       Yes

3.725
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pappas Legal Group, P.L.L.C.                                 Contingent
         150 SE 2nd Avenue                                            Unliquidated
         Suite 300
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9443                      Is the claim subject to offset?     No       Yes

3.725
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAPPAS METCALF JENKS MILLER                                  Contingent
         245 Riverside Avenue Suite 400                               Unliquidated
         Jacksonville, FL 32202-4926
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5491
                                                                   Is the claim subject to offset?     No       Yes

3.725
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         PAPY WEISSENBORN VRASPIR &                                   Contingent
         3001 Ponce De Leon Boulevard Suite 214                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1451
                                                                   Is the claim subject to offset?     No       Yes

3.725
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PARADY & ZIKAKIS PA                                          Contingent
         307 SE 14th Street                                           Unliquidated
         Ft Lauderdale, FL 33316-1124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2148
                                                                   Is the claim subject to offset?     No       Yes

3.725
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PARIS & ASSOCIATES PA                                        Contingent
         34 Camino Del Carrisito                                      Unliquidated
         Placitas, NM 87043-8705
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7586
                                                                   Is the claim subject to offset?     No       Yes

3.725
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PARKER & ASSOCIATES PA                                       Contingent
         1215 E Amelia Street                                         Unliquidated
         Orlando, FL 32803-5403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2821
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1098 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1106 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.726
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         PARKS & BENNETT                                              Contingent
         865 Fifth Avenue S                                           Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1095
                                                                   Is the claim subject to offset?     No       Yes

3.726
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         PARLADE LAW FIRM PA                                          Contingent
         7050 SW 86th Avenue                                          Unliquidated
         Miami, FL 33143-2426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7652
                                                                   Is the claim subject to offset?     No       Yes

3.726
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Parwani Law, P.A.                                            Contingent
         9905 Alambra Avenue                                          Unliquidated
         Tampa, FL 33619
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8244
                                                                   Is the claim subject to offset?     No       Yes

3.726
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Paster Ray & Cohen                                           Contingent
         6108 26th Street W.                                          Unliquidated
         Suite 2
                                                                      Disputed
         Bradenton, FL 34207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7192                      Is the claim subject to offset?     No       Yes

3.726
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PASTOR ANDREU & MONTES PA                                    Contingent
         290 Northwest 165th Street P100                              Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6590
                                                                   Is the claim subject to offset?     No       Yes

3.726
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Patch Reef Title Company, Inc.                               Contingent
         6100 Glades Road                                             Unliquidated
         Suite 204
                                                                      Disputed
         Boca Raton, FL 33434
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4652                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1099 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1107 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.726
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Patchen Law, P.A.                                            Contingent
         15165 Northwest 77th Avenue                                  Unliquidated
         Suite 2005
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8140                      Is the claim subject to offset?     No       Yes

3.726
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATHMAN LEWIS LLP                                            Contingent
         2 S. Biscayne Boulevard                                      Unliquidated
         Suite 2400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5360                      Is the claim subject to offset?     No       Yes

3.726
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATINO & ASSOCIATES PA                                       Contingent
         550 Biltmore Way Suite 740                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9397
                                                                   Is the claim subject to offset?     No       Yes

3.726
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Patino & Associates, P.A.                                    Contingent
         113 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8392
                                                                   Is the claim subject to offset?     No       Yes

3.727
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICE BOYES                                                Contingent
         414 Southwest 140th Terrace Suite 100                        Unliquidated
         Newberry, FL 32669
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3327
                                                                   Is the claim subject to offset?     No       Yes

3.727
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA A BALDWIN                                           Contingent
         8000 S. Federal Highway                                      Unliquidated
         Suite 300
                                                                      Disputed
         Port St Lucie, FL 34952
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4792                      Is the claim subject to offset?     No       Yes

3.727
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $21.44
         PATRICIA A BURTON                                            Contingent
         1881 Northeast 26th Street Suite 212e                        Unliquidated
         Ft Lauderdale, FL 33305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6856
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1100 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1108 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.727
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICIA A RAHL                                              Contingent
         Attn: Joanne Cusack                                          Unliquidated
         2951 High Point Boulevard
                                                                      Disputed
         Kissimmee, FL 34747
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 599                       Is the claim subject to offset?     No       Yes

3.727
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA A RATHBURN                                          Contingent
         500 SE 17th Street                                           Unliquidated
         Suite 312
                                                                      Disputed
         Ft Lauderdale, FL 33316-2547
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7398                      Is the claim subject to offset?     No       Yes

3.727
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA DALTON                                              Contingent
         421 Essex Avenue                                             Unliquidated
         Spring Lake, NJ 07762-1146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5658
                                                                   Is the claim subject to offset?     No       Yes

3.727
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA DEL PINO ARIAS PA                                   Contingent
         3900 Northwest 79th Avenue Suite 805                         Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7407
                                                                   Is the claim subject to offset?     No       Yes

3.727
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PATRICIA E GLEASON                                           Contingent
         4121 N 31st Avenue                                           Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4866
                                                                   Is the claim subject to offset?     No       Yes

3.727
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICIA E THORNE                                            Contingent
         Varner & Thorne P.A.                                         Unliquidated
         75 Northwest 1st Avenue Suite 102
                                                                      Disputed
         Delray Beach, FL 33444-2601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8021                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1101 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1109 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.727
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA ESPINOSA                                            Contingent
         P.O. Box 142058                                              Unliquidated
         Miami, FL 33114-2058
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8328
                                                                   Is the claim subject to offset?     No       Yes

3.728
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICIA G WILLIAMS                                          Contingent
         1055 Northwest 183 Street                                    Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7706
                                                                   Is the claim subject to offset?     No       Yes

3.728
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA GESSEL PL                                           Contingent
         103 Donlon Drive                                             Unliquidated
         New Smyrna Beach, FL 32168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8302
                                                                   Is the claim subject to offset?     No       Yes

3.728
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Patricia J. Kates, P.A.                                      Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 804
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8994                      Is the claim subject to offset?     No       Yes

3.728
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA K ALLEN                                             Contingent
         324 Datura Street Suite 206                                  Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5008
                                                                   Is the claim subject to offset?     No       Yes

3.728
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PATRICIA K LYTLE                                             Contingent
         98 Rock Road Wrt                                             Unliquidated
         Green Brook, NJ 08812-2023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6623
                                                                   Is the claim subject to offset?     No       Yes

3.728
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA KLEIN                                               Contingent
         3860 N Powerline                                             Unliquidated
         Deerfield Beach, FL 33073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8412
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1102 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1110 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.728
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA L BOYCHUK                                           Contingent
         2300 Palm Beach Lakes Boulevard Suite 30                     Unliquidated
         West Palm Beach, FL 33409-3306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7200
                                                                   Is the claim subject to offset?     No       Yes

3.728
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PATRICIA L PEREZ                                             Contingent
         Patricia L. Perez P.A.                                       Unliquidated
         250 Cocoplum Road
                                                                      Disputed
         Coral Gables, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3686                      Is the claim subject to offset?     No       Yes

3.728
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $377.32
         PATRICIA LEENHOUTS                                           Contingent
         P.O. Box 025380                                              Unliquidated
         Miami, FL 33102-1156                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 382
                                                                   Is the claim subject to offset?     No       Yes

3.728
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA M MENENDEZ-CAMBO                                    Contingent
         Greenberg Traurig                                            Unliquidated
         1221 Brickell Avenue 24th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7792                      Is the claim subject to offset?     No       Yes

3.729
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA M WHIPPLE                                           Contingent
         P.O. Box 570657                                              Unliquidated
         Miami, FL 33257-0657
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0903
                                                                   Is the claim subject to offset?     No       Yes

3.729
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PATRICIA MUSCARELLA                                          Contingent
         P.O. Box 276                                                 Unliquidated
         Clearwater, FL 34617-0276
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8201
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1103 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1111 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.729
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PATRICIA R MUELLER                                           Contingent
         PO Box 1034                                                  Unliquidated
         Tavares, FL 32778
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8127
                                                                   Is the claim subject to offset?     No       Yes

3.729
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA S HUSBANDS                                          Contingent
         P.O. Drawer 1047                                             Unliquidated
         Dade City, FL 33526-1047
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5108
                                                                   Is the claim subject to offset?     No       Yes

3.729
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICIA V COHEN                                             Contingent
         PATRICIA V COHEN & ASSOCS PA                                 Unliquidated
         252 E BOCA RATON RD
                                                                      Disputed
         BOCA RATON, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7405                      Is the claim subject to offset?     No       Yes

3.729
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK B CASEY                                              Contingent
         P.O. Box 2527                                                Unliquidated
         Bonita Springs, FL 34133-2527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2436
                                                                   Is the claim subject to offset?     No       Yes

3.729
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK CICALESE                                             Contingent
         250 Tequesta Drive Suite 200                                 Unliquidated
         Tequesta, FL 33469-2765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8358
                                                                   Is the claim subject to offset?     No       Yes

3.729
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK CICALESE                                             Contingent
         129 Center Street                                            Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8358
                                                                   Is the claim subject to offset?     No       Yes

3.729
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK G EMMANUEL JR                                        Contingent
         P.O. Box B                                                   Unliquidated
         Jacksonville, FL 32203-0297
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3957
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1104 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1112 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.729
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK G GILLIGAN                                           Contingent
         7 E Silver Springs Boulevard Suite 500                       Unliquidated
         Ocala, FL 34470-6659
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6698
                                                                   Is the claim subject to offset?     No       Yes

3.730
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK G KELLEY PA                                          Contingent
         3020 NE 32nd Avenue                                          Unliquidated
         Suite 226
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6187                      Is the claim subject to offset?     No       Yes

3.730
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK H NEALE                                              Contingent
         Patrick Neale & Associates                                   Unliquidated
         5470 Bryson Court, Suite 103
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6684                      Is the claim subject to offset?     No       Yes

3.730
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICK J CASEY                                              Contingent
         515 N Flagler Drive 19th Floor                               Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5507
                                                                   Is the claim subject to offset?     No       Yes

3.730
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK J NEWTON                                             Contingent
         First American Title Insurance Company                       Unliquidated
         5000 Tamiami Trail North
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1805                      Is the claim subject to offset?     No       Yes

3.730
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,202.29
         PATRICK M GORDON                                             Contingent
         Patrick M. Gordon P.A.                                       Unliquidated
         810 Saturn Street Suite 17                                   Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7387                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1105 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1113 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.730
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICK M MAGILL                                             Contingent
         P.O. Box 922                                                 Unliquidated
         Orlando, FL 32802-0922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6224
                                                                   Is the claim subject to offset?     No       Yes

3.730
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICK M O'CONNOR                                           Contingent
         DBA O'Connor Law Firm                                        Unliquidated
         2240 Belleair Road, Suite 115
                                                                      Disputed
         Clearwater, FL 33764
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6832                      Is the claim subject to offset?     No       Yes

3.730
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Patrick Magner, P.A.                                         Contingent
         3055 Northeast 49th Street                                   Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8933
                                                                   Is the claim subject to offset?     No       Yes

3.730
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICK R CUNNINGHAM                                         Contingent
         3008 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205-4241
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7672
                                                                   Is the claim subject to offset?     No       Yes

3.730
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK ROBERT SMITH                                         Contingent
         P.O. Box 310719                                              Unliquidated
         Tampa, FL 33680
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0694
                                                                   Is the claim subject to offset?     No       Yes

3.731
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATRICK S SWEENEY                                            Contingent
         5763 Golden Terrace                                          Unliquidated
         Madison, WI 53711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4709
                                                                   Is the claim subject to offset?     No       Yes

3.731
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         PATRICK W GILLEN                                             Contingent
         2250 Southeast Letha Court Apt 30-8                          Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4462
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1106 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1114 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.731
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PATRICK W RINARD                                             Contingent
         P.O. Box 10194                                               Unliquidated
         Clearwater, FL 34617-8194
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0904
                                                                   Is the claim subject to offset?     No       Yes

3.731
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PATRICK W SKELTON                                            Contingent
         P.O. Box 1288                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7364
                                                                   Is the claim subject to offset?     No       Yes

3.731
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PATTERSON & HARMON PA                                        Contingent
         4701 N. Federal Highway                                      Unliquidated
         Suite 480
                                                                      Disputed
         Pompano Beach, FL 33064-6587
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3027                      Is the claim subject to offset?     No       Yes

3.731
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         PATTERSON & MALONEY                                          Contingent
         600 S Andrews Avenue Suite 600                               Unliquidated
         Ft Lauderdale, FL 33301-2802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2893
                                                                   Is the claim subject to offset?     No       Yes

3.731
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         PATTILLO & MCKEEVER PA                                       Contingent
         500 Northeast 8th Avenue                                     Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2886
                                                                   Is the claim subject to offset?     No       Yes

3.731
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL A DUFFETT                                               Contingent
         P.O. Box 2633                                                Unliquidated
         Ormond Beach, FL 32175-2633
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4145
                                                                   Is the claim subject to offset?     No       Yes

3.731
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,786.26
         PAUL A GORE                                                  Contingent
         4613 N University Drive Box 423                              Unliquidated
         Coral Springs, FL 33067                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5168
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1107 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1115 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.731
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL A LESTER PA                                             Contingent
         9150 S. Dadeland Boulevard                                   Unliquidated
         Suite 1400
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5922                      Is the claim subject to offset?     No       Yes

3.732
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL A LEVINE                                                Contingent
         1401 Brickell Avenue Suite 700                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4966
                                                                   Is the claim subject to offset?     No       Yes

3.732
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL A MILLER                                                Contingent
         2863 Sanbina Street                                          Unliquidated
         Winter Park, FL 32789-1129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5719
                                                                   Is the claim subject to offset?     No       Yes

3.732
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL A MURRAY                                                Contingent
         5667 Naples Boulevard Suite 1                                Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2245
                                                                   Is the claim subject to offset?     No       Yes

3.732
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL A ROSEN                                                 Contingent
         3901 N 38th Avenue                                           Unliquidated
         Hollywood, FL 33021-1932
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8691
                                                                   Is the claim subject to offset?     No       Yes

3.732
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Paul A. Moran, P.A.                                          Contingent
         46 N. Washington Boulevard                                   Unliquidated
         Suite 25
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9016                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1108 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1116 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.732
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PAUL B STEINBERG                                             Contingent
         767 Arthur Godfrey Road                                      Unliquidated
         Miami Beach, FL 33140-9998
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3256
                                                                   Is the claim subject to offset?     No       Yes

3.732
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL BUECHELE PA                                             Contingent
         6350 Pinetree Drive                                          Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1715
                                                                   Is the claim subject to offset?     No       Yes

3.732
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $399.67
         PAUL C MUELLER                                               Contingent
         7141 Southwest 6th Street                                    Unliquidated
         Ft Lauderdale, FL 33317-3832                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3815
                                                                   Is the claim subject to offset?     No       Yes

3.732
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $92.50
         PAUL D BARNS JR                                              Contingent
         550 Ocean Drive Unit 8-E                                     Unliquidated
         Key Biscayne, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0027
                                                                   Is the claim subject to offset?     No       Yes

3.732
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $299.50
         PAUL D BEITLICH                                              Contingent
         P.O. Box 4195                                                Unliquidated
         Sarasota, FL 34230-4195
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 664
                                                                   Is the claim subject to offset?     No       Yes

3.733
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,239.89
         PAUL D NEWELL                                                Contingent
         P.O. Drawer 1369                                             Unliquidated
         Keystone Heights, FL 32656-1369                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4554
                                                                   Is the claim subject to offset?     No       Yes

3.733
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL E RIFFEL                                                Contingent
         1319 W Fletcher Avenue                                       Unliquidated
         Tampa, FL 33612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0264
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1109 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1117 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.733
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL E WATSON                                                Contingent
         P.O. Box 11                                                  Unliquidated
         Bartow, FL 33831-0011
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 637
                                                                   Is the claim subject to offset?     No       Yes

3.733
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL F ANGUEIRA PA                                           Contingent
         1808 Northwest 126th Avenue                                  Unliquidated
         Pembroke Pines, FL 33028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1655
                                                                   Is the claim subject to offset?     No       Yes

3.733
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         PAUL F HARTSFIELD JR                                         Contingent
         4913 N Monroe Street                                         Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7691
                                                                   Is the claim subject to offset?     No       Yes

3.733
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL FELDMAN PA                                              Contingent
         2750 NE 185TH STREET SUITE 303                               Unliquidated
         AVENTURA, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8530
                                                                   Is the claim subject to offset?     No       Yes

3.733
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $111.46
         PAUL G BLOCK PA                                              Contingent
         Dadeland Towers                                              Unliquidated
         9200 S Dadeland Boulevard Suite 412                          Disputed
         Miami, FL 33156-2703
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5243                      Is the claim subject to offset?     No       Yes


3.733
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         PAUL G FLETCHER                                              Contingent
         Bank of America                                              Unliquidated
         1500 S Dixie Highway Suite 200
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4653                      Is the claim subject to offset?     No       Yes

3.733
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL H NESSLER JR                                            Contingent
         10002 Cortez Boulevard                                       Unliquidated
         Spring Hill, FL 34613-6303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4153
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1110 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1118 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.733
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PAUL I SCHERMAN                                              Contingent
         935 Northwest 164th Avenue                                   Unliquidated
         Pembroke Pines, FL 33028-1138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6169
                                                                   Is the claim subject to offset?     No       Yes

3.734
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PAUL J HEALY                                                 Contingent
         1830 Atlantic Boulevard                                      Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7208
                                                                   Is the claim subject to offset?     No       Yes

3.734
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL J LANE                                                  Contingent
         2856 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5740
                                                                   Is the claim subject to offset?     No       Yes

3.734
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL J MORGAN & ASSOCIATES PA                                Contingent
         1099 W Morse Boulevard                                       Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2845
                                                                   Is the claim subject to offset?     No       Yes

3.734
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL J NICOLETTI                                             Contingent
         121 Southwest Flagler Avenue                                 Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7765
                                                                   Is the claim subject to offset?     No       Yes

3.734
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL J SARDON PA                                             Contingent
         201 Madeira Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2117
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1111 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1119 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.734
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL J SCHLEGEL                                              Contingent
         Trade Center S.                                              Unliquidated
         100 W. Cypress Creek Road, Suite 910
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8613                      Is the claim subject to offset?     No       Yes

3.734
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL J. DIGIULIO                                             Contingent
         3067 E. Commercial Blvd.                                     Unliquidated
         Ft Lauderdale, FL 33308-4311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6445
                                                                   Is the claim subject to offset?     No       Yes

3.734
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL K HEISTAND                                              Contingent
         P.O. Box 120                                                 Unliquidated
         St Petersburg, FL 33731-0120
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4448
                                                                   Is the claim subject to offset?     No       Yes

3.734
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL K SILVERBERG PA                                         Contingent
         2665 Executive Park Drive Suite 2                            Unliquidated
         Weston, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6427
                                                                   Is the claim subject to offset?     No       Yes

3.734
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL L MCKEAN                                                Contingent
         5531 Marquesas Circle                                        Unliquidated
         Sarasota, FL 34233-3332
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7011
                                                                   Is the claim subject to offset?     No       Yes

3.735
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL L STEINER                                               Contingent
         1101 Northeast 86th Street                                   Unliquidated
         Miami, FL 33138-3433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 894
                                                                   Is the claim subject to offset?     No       Yes

3.735
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PAUL M BARBATO                                               Contingent
         Chicago Title Insurance Suite 460                            Unliquidated
         4170 Ashford Dunwoody Road Northeast
                                                                      Disputed
         Atlanta, GA 30319
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7299                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1112 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1120 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.735
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,078.19
         PAUL M BLOOMGARDEN                                           Contingent
         8551 W Sunrise Boulevard                                     Unliquidated
         Ft Lauderdale, FL 33322-4007                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7988
                                                                   Is the claim subject to offset?     No       Yes

3.735
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL M CALDWELL                                              Contingent
         25 Town Center Boulevard Suite C                             Unliquidated
         Clermont, FL 34714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9755
                                                                   Is the claim subject to offset?     No       Yes

3.735
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PAUL M HENDRICK                                              Contingent
         7983 Hampton Park Boulevard E                                Unliquidated
         Jacksonville, FL 32256
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6023
                                                                   Is the claim subject to offset?     No       Yes

3.735
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL M KADE                                                  Contingent
         2357-3 Tamiami Trail S.                                      Unliquidated
         Suite 151
                                                                      Disputed
         Venice, FL 34293
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8098                      Is the claim subject to offset?     No       Yes

3.735
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL M SULLIVAN JR PA                                        Contingent
         Brandywine Centre 1                                          Unliquidated
         580 Village Boulevard Suite 580
                                                                      Disputed
         West Palm Beach, FL 33409-1904
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7250                      Is the claim subject to offset?     No       Yes

3.735
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL M VOLMERT                                               Contingent
         1005 Marina Mile Boulevard                                   Unliquidated
         Suite 461
                                                                      Disputed
         Ft Lauderdale, FL 33315
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5219                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1113 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1121 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.735
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL N CONTESSA                                              Contingent
         Paul N. Contessa P.A.                                        Unliquidated
         15321 S Dixie Highway Suite 207
                                                                      Disputed
         Miami, FL 33157
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2197                      Is the claim subject to offset?     No       Yes

3.735
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL N LASHBROOK                                             Contingent
         524 S Andrews Avenue Suite 203 Suite Rth                     Unliquidated
         Ft Lauderdale, FL 33301-2878
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4172
                                                                   Is the claim subject to offset?     No       Yes

3.736
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL PACCHIANA                                               Contingent
         5621 Strand Boulevard                                        Unliquidated
         Suite 210
                                                                      Disputed
         Naples, FL 34110
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6342                      Is the claim subject to offset?     No       Yes

3.736
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL R CORBETT                                               Contingent
         3585 Indigo Pond Drive                                       Unliquidated
         Palm Harbor, FL 34685
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9087
                                                                   Is the claim subject to offset?     No       Yes

3.736
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL R SASSO                                                 Contingent
         12372 SW 82nd Avenue                                         Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8031
                                                                   Is the claim subject to offset?     No       Yes

3.736
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PAUL R STANTON ESQ                                           Contingent
         Douglas Centre                                               Unliquidated
         2600 Douglas Rd., Suite 304
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7568                      Is the claim subject to offset?     No       Yes

3.736
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL R. ALFIERI                                              Contingent
         P.O. Box 11062                                               Unliquidated
         Ft. Lauderdale, FL 33339-1062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8331
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1114 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1122 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.736
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Paul R. Venning, P.A.                                        Contingent
         120 E. Oakland Park Boulevard                                Unliquidated
         Suite 105
                                                                      Disputed
         Oakland, FL 33334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0815                      Is the claim subject to offset?     No       Yes

3.736
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL RAMPELL                                                 Contingent
         125 Worth Avenue Suite 202                                   Unliquidated
         Palm Beach, FL 33480-4466
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8703
                                                                   Is the claim subject to offset?     No       Yes

3.736
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PAUL REED TOOMEY                                             Contingent
         1633 Northwest 19th Circle                                   Unliquidated
         Gainesville, FL 32605-4094
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3568
                                                                   Is the claim subject to offset?     No       Yes

3.736
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,143.03
         PAUL REGENSDORF                                              Contingent
         Akerman Senterfitt & Eidson                                  Unliquidated
         350 E Las Olas Boulevard Suite 1600                          Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6853                      Is the claim subject to offset?     No       Yes


3.736
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL S BERGER                                                Contingent
         100 Southeast 2nd Street Floor 17                            Unliquidated
         Miami, FL 33131-2158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3743
                                                                   Is the claim subject to offset?     No       Yes

3.737
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL S MARTIN & ASSOCIATES PA                                Contingent
         2134 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9006
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1115 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1123 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.737
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $71.03
         PAUL S. FRASER                                               Contingent
         600 El Bosque Road                                           Unliquidated
         Santa Barbara, CA 93108-1308                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5399
                                                                   Is the claim subject to offset?     No       Yes

3.737
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL SAFRAN JR PA                                            Contingent
         630 US Highway 1 Suite 300                                   Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7294
                                                                   Is the claim subject to offset?     No       Yes

3.737
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PAUL SALVER PA                                               Contingent
         2721 Executive Park Drive                                    Unliquidated
         Suite 3
                                                                      Disputed
         Weston, FL 33331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5086                      Is the claim subject to offset?     No       Yes

3.737
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL SIDNEY ELLIOTT                                          Contingent
         P.O. Box 274204                                              Unliquidated
         Tampa, FL 33688-4204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4641
                                                                   Is the claim subject to offset?     No       Yes

3.737
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL STANLEY WEST PA                                         Contingent
         950 S Winter Park Drive Suite 333                            Unliquidated
         Casselberry, FL 32707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5841
                                                                   Is the claim subject to offset?     No       Yes

3.737
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL T JESKE                                                 Contingent
         1904 East Busch Boulevard                                    Unliquidated
         Sprague & Jeske Pa
                                                                      Disputed
         Tampa, FL 33612-8666
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7430                      Is the claim subject to offset?     No       Yes

3.737
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL T. DOUGLAS                                              Contingent
         2328 S. Congress, Suite 1-D                                  Unliquidated
         West Palm Beach, FL 33406-7671
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3897
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1116 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1124 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.737
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL THIBADEAU                                               Contingent
         205 Worth Avenue                                             Unliquidated
         Suite 306
                                                                      Disputed
         Palm Beach, FL 33480-4618
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5606                      Is the claim subject to offset?     No       Yes

3.737
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PAUL V DEBIANCHI                                             Contingent
         111 SE 12th Street                                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6465
                                                                   Is the claim subject to offset?     No       Yes

3.738
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL V MOYER                                                 Contingent
         2601 Technology Drive                                        Unliquidated
         Orlando, FL 32804-8003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8677
                                                                   Is the claim subject to offset?     No       Yes

3.738
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAUL V SCOTT PL                                              Contingent
         1639 Cape Coral Parkway Unit 203                             Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2219
                                                                   Is the claim subject to offset?     No       Yes

3.738
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Paul, Elkind, Branz & Paul, LLP                              Contingent
         142 E. New York Avenue                                       Unliquidated
         Deland, FL 32724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8144
                                                                   Is the claim subject to offset?     No       Yes

3.738
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAULA D HICKMAN                                              Contingent
         P.O. Box 770176                                              Unliquidated
         Coral Springs, FL 33077-0176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8654
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1117 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1125 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.738
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         PAULICH SLACK & WOLFF PA                                     Contingent
         GrayRobinson P.A.                                            Unliquidated
         8889 Pelican Bay Boulevard Suite 400
                                                                      Disputed
         Naples, FL 34108
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7385                      Is the claim subject to offset?     No       Yes

3.738
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PAULINA A CERVANTES                                          Contingent
         9840 Southwest 77th Avenue Suite 202                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9922
                                                                   Is the claim subject to offset?     No       Yes

3.738
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PAULUS LAW LLC                                               Contingent
         429 Deer Pointe Circle                                       Unliquidated
         Casselberry, FL 32707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6512
                                                                   Is the claim subject to offset?     No       Yes

3.738
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,610.60
         PAVESE LAW FIRM                                              Contingent
         P.O. Drawer 1507                                             Unliquidated
         Ft Myers, FL 33902-1507                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1562
                                                                   Is the claim subject to offset?     No       Yes

3.738
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Pazos and Guerrero Law, P.L.L.C.                             Contingent
         12000 Biscayne Boulevard Suite 503                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8981
                                                                   Is the claim subject to offset?     No       Yes

3.738
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PEACOCK GAFFNEY & DAMIANAKIS                                 Contingent
         2348 Sunset Point Road                                       Unliquidated
         Clearwater, FL 33765-1431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5554
                                                                   Is the claim subject to offset?     No       Yes

3.739
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pearson Doyle Mohre & Pastis, LLP                            Contingent
         485 N. Keller Road                                           Unliquidated
         Suite 401
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1034                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1118 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1126 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.739
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         PEAVYHOUSE GRANT CLARK                                       Contingent
         P.O. Box 24268                                               Unliquidated
         Tampa, FL 33623-4268
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3734
                                                                   Is the claim subject to offset?     No       Yes

3.739
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         PECAREK & HERMAN CHARTERED                                   Contingent
         200 Clearwater-Largo Road S                                  Unliquidated
         Largo, FL 33770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4498
                                                                   Is the claim subject to offset?     No       Yes

3.739
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PECK & PECK                                                  Contingent
         Suite 103 Wachovia Building                                  Unliquidated
         5801 Pelican Bay Boulevard
                                                                      Disputed
         Naples, FL 34108
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1342                      Is the claim subject to offset?     No       Yes

3.739
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PECKAR & ABRAMSON                                            Contingent
         1 SE 3rd Avenue                                              Unliquidated
         Suite 2000
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8735                      Is the claim subject to offset?     No       Yes

3.739
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PEDRO P SAEZ                                                 Contingent
         888 Brickell Avenue 5th Floor                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3910
                                                                   Is the claim subject to offset?     No       Yes

3.739
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pedro Perez-Roura, P.A.                                      Contingent
         2828 Coral Way                                               Unliquidated
         Suite 206
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9141                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1119 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1127 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.739
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PEDRO ROIG                                                   Contingent
         6321 Bird Road                                               Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4058
                                                                   Is the claim subject to offset?     No       Yes

3.739
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PEEBLES & MORIARTY PA                                        Contingent
         1001 Third Avenue W Suite 650                                Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9726
                                                                   Is the claim subject to offset?     No       Yes

3.739
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PEGGY L CARRY                                                Contingent
         1515 N. Federal Highway                                      Unliquidated
         Suite 300
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1116                      Is the claim subject to offset?     No       Yes

3.740
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PEGGY R HOYT                                                 Contingent
         Hoyt & Bryan L.L.C.                                          Unliquidated
         254 Plaza Drive
                                                                      Disputed
         Oviedo, FL 32765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2536                      Is the claim subject to offset?     No       Yes

3.740
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Peles & Associates, L.L.C.                                   Contingent
         945 Pennsylvania Avenue                                      Unliquidated
         Suite 101
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0165                      Is the claim subject to offset?     No       Yes

3.740
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PELLEGRINO & STEIER PA                                       Contingent
         135 Southeast 21st Terrace                                   Unliquidated
         Cape Coral, FL 33990-4317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5560
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1120 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1128 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.740
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PENALVER & PENALVER PA                                       Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 508
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8717                      Is the claim subject to offset?     No       Yes

3.740
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PENELOPE THURMON ROWLETT PA                                  Contingent
         P.O. Box 12746                                               Unliquidated
         St Petersburg, FL 33733-2746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2980
                                                                   Is the claim subject to offset?     No       Yes

3.740
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PENNINGTON MOORE WILKINSON                                   Contingent
         2701 N Rocky Point Drive Suite 900                           Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7984
                                                                   Is the claim subject to offset?     No       Yes

3.740
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $304.66
         PENNINGTON MOORE WILKINSON                                   Contingent
         P.O. Box 10095                                               Unliquidated
         Tallahassee, FL 32302-2095
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7984
                                                                   Is the claim subject to offset?     No       Yes

3.740
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pensky & Kim, P.A.                                           Contingent
         12550 Biscayne Boulevard                                     Unliquidated
         Suite 401
                                                                      Disputed
         Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0763                      Is the claim subject to offset?     No       Yes

3.740
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Penson Law Firm, P.A.                                        Contingent
         2810 Remington Green Circle                                  Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2363
                                                                   Is the claim subject to offset?     No       Yes

3.740
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PereGonza Law Group                                          Contingent
         1414 NW 107 Avenue                                           Unliquidated
         Suite 302
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0681                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1121 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1129 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.741
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PEREZ & PERUYERA PA                                          Contingent
         9240 Southwest 72nd Street Suite 202                         Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7461
                                                                   Is the claim subject to offset?     No       Yes

3.741
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Perez Abello Law, PLLC                                       Contingent
         1390 S. Dixie Highway                                        Unliquidated
         Suite 1309
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3686                      Is the claim subject to offset?     No       Yes

3.741
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PEREZ-ABREU & ZAMORA                                         Contingent
         901 Ponce Deleon Boulevard Suite 502                         Unliquidated
         Coral Gables, FL 33134-3073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8734
                                                                   Is the claim subject to offset?     No       Yes

3.741
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PEREZ-CEBALLOS & ASSOCIATES                                  Contingent
         814 Ponce De Leon Boulevard Suite 318                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3035
                                                                   Is the claim subject to offset?     No       Yes

3.741
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERLA & ASSOCIATES PA                                        Contingent
         203 E Livingston Street                                      Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8628
                                                                   Is the claim subject to offset?     No       Yes

3.741
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERLA F ABRAMS                                               Contingent
         9769 South Dixie Highway                                     Unliquidated
         Suite 203
                                                                      Disputed
         Pinecrest, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5018                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1122 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1130 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.741
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERLA SOLE CALAS                                             Contingent
         14750 NW 77th Court                                          Unliquidated
         Suite 300
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5501                      Is the claim subject to offset?     No       Yes

3.741
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $28.78
         PERLMAN & PERLOW PA                                          Contingent
         1820 E Hallandale Beach Boulevard                            Unliquidated
         Hallandale, FL 33009-4717
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7798
                                                                   Is the claim subject to offset?     No       Yes

3.741
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERLMAN YEVOLI & ALBRIGHT PL                                 Contingent
         200 S Andrews Avenue Suite 600                               Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5948
                                                                   Is the claim subject to offset?     No       Yes

3.741
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERNETTI & WHITTLE PA                                        Contingent
         10100 Deer Run Farms Road Suite 202                          Unliquidated
         Ft Myers, FL 33912-1093
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8666
                                                                   Is the claim subject to offset?     No       Yes

3.742
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PERRY & KERN PA                                              Contingent
         88 NE 5th Avenue                                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6815
                                                                   Is the claim subject to offset?     No       Yes

3.742
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         PERRY & TAYLOR PA                                            Contingent
         2000 PGA Boulevard                                           Unliquidated
         Suite 4440 PMB #199
                                                                      Disputed
         Palm Beach Gardens, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3913                      Is the claim subject to offset?     No       Yes

3.742
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERRY D MONIOUDIS                                            Contingent
         800 Southeast 3rd Avenue Suite 200                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7538
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1123 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1131 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.742
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PERRY DOUGLAS WEST                                           Contingent
         Perry Douglas West Chartered                                 Unliquidated
         P.O. Box 1656
                                                                      Disputed
         Cocoa, FL 32923-1656
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5133                      Is the claim subject to offset?     No       Yes

3.742
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PERRY G GRUMAN                                               Contingent
         3400 W Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33609-2906
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8334
                                                                   Is the claim subject to offset?     No       Yes

3.742
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Perry Law, P.A.                                              Contingent
         100 Main Street                                              Unliquidated
         Suite 208
                                                                      Disputed
         Safety Harbor, FL 34695
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6902                      Is the claim subject to offset?     No       Yes

3.742
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PERRY W HODGES JR                                            Contingent
         4700 Sheridan Street Suite I                                 Unliquidated
         Hollywood, FL 33021-3416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5870
                                                                   Is the claim subject to offset?     No       Yes

3.742
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PERSAUD & NUNEZ                                              Contingent
         9100 S. Dadeland Boulevard                                   Unliquidated
         Suite 400
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4404                      Is the claim subject to offset?     No       Yes

3.742
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PERSHES & SCHWARTZ                                           Contingent
         P.O. Box 9057                                                Unliquidated
         Ft Lauderdale, FL 33310-9057
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7196
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1124 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1132 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.742
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PERTNOY SOLOWSKY & ALLEN PA                                  Contingent
         Museum Tower Suite 2000                                      Unliquidated
         150 W Flagler Street
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7638                      Is the claim subject to offset?     No       Yes

3.743
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PETER A COHEN                                                Contingent
         19 W Flagler Street Suite 810                                Unliquidated
         Miami, FL 33130-4409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7139
                                                                   Is the claim subject to offset?     No       Yes

3.743
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER A MCFARLANE                                            Contingent
         500 S Florida Avenue Suite 715                               Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9791
                                                                   Is the claim subject to offset?     No       Yes

3.743
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER A NAPOLITANO                                           Contingent
         8406 Massachusetts Avenue Suite A1                           Unliquidated
         New Port Richey, FL 34653-3129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2570
                                                                   Is the claim subject to offset?     No       Yes

3.743
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PETER A PORTLEY                                              Contingent
         Lighthouse Point Professional Building                       Unliquidated
         2211 E Sample Road Suite 204
                                                                      Disputed
         Lighthouse Point, FL 33064-5225
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3632                      Is the claim subject to offset?     No       Yes

3.743
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         PETER B CAGLE PA                                             Contingent
         2555 Ponce De Leon Boulevard                                 Unliquidated
         Suite 320
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7815                      Is the claim subject to offset?     No       Yes

3.743
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PETER B HEEBNER                                              Contingent
         523 N Halifax                                                Unliquidated
         Daytona Beach, FL 32118-4017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7004
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1125 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1133 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.743
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER B WEINTRAUB                                            Contingent
         Weintraub & Weintraub P.A.                                   Unliquidated
         2700 N Military Trail Suite 355
                                                                      Disputed
         Boca Raton, FL 33431-6345
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1702                      Is the claim subject to offset?     No       Yes

3.743
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $664.70
         PETER C CLEMENT PA                                           Contingent
         35084 US Highway 19 N                                        Unliquidated
         Palm Harbor, FL 34684-1925                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6655
                                                                   Is the claim subject to offset?     No       Yes

3.743
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER C K ENWALL                                             Contingent
         P.O. Box 7117                                                Unliquidated
         Gainesville, FL 32605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7516
                                                                   Is the claim subject to offset?     No       Yes

3.743
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER D CARRATT                                              Contingent
         3019 W. Azeele Street                                        Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2900
                                                                   Is the claim subject to offset?     No       Yes

3.744
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER E TAYLOR                                               Contingent
         1521 Alton Road Suite 534                                    Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7357
                                                                   Is the claim subject to offset?     No       Yes

3.744
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER E. ITZLER                                              Contingent
         515 S.E. 7th Street                                          Unliquidated
         Ft. Lauderdale, FL 33301-3150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8418
                                                                   Is the claim subject to offset?     No       Yes

3.744
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER E. PERETTINE                                           Contingent
         2424 N. Federal Highway Suite 360                            Unliquidated
         Boca Raton, FL 33431-7781
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8419
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1126 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1134 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.744
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         PETER H SCHMIDT                                              Contingent
         400 S Dixie Highway Suite 420                                Unliquidated
         Boca Raton, FL 33432-6023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7936
                                                                   Is the claim subject to offset?     No       Yes

3.744
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER J HENN                                                 Contingent
         P.O. Box 970038                                              Unliquidated
         Boca Raton, FL 33497-0038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7491
                                                                   Is the claim subject to offset?     No       Yes

3.744
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER J HOBSON                                               Contingent
         P.O. Box 172117                                              Unliquidated
         Tampa, FL 33672-0117
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3788
                                                                   Is the claim subject to offset?     No       Yes

3.744
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PETER J JAENSCH                                              Contingent
         2198 S Main Street                                           Unliquidated
         Sarasota, FL 34237-6024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7567
                                                                   Is the claim subject to offset?     No       Yes

3.744
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PETER J MUNSON                                               Contingent
         1501 S Florida Avenue                                        Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7161
                                                                   Is the claim subject to offset?     No       Yes

3.744
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PETER J SNYDER                                               Contingent
         2234 N Federal Highway Suite 490                             Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 682
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1127 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1135 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.744
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PETER KEATING                                                Contingent
         Peter Keating P.A.                                           Unliquidated
         528 N Halifax Avenue
                                                                      Disputed
         Daytona Beach, FL 32118-4018
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5340                      Is the claim subject to offset?     No       Yes

3.745
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PETER M HODKIN PA                                            Contingent
         3389 Sheridan Street Suite 560                               Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes

3.745
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PETER M LOPEZ PA                                             Contingent
         1911 NW 150th Avenue                                         Unliquidated
         Suite 201
                                                                      Disputed
         Pembroke Pines, FL 33028
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8880                      Is the claim subject to offset?     No       Yes

3.745
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         PETER M WEINSTEIN                                            Contingent
         10050 Vestal Pl                                              Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1705
                                                                   Is the claim subject to offset?     No       Yes

3.745
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Peter M. Feaman, P.A.                                        Contingent
         1880 N. Congress Avenue                                      Unliquidated
         Suite 302
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0555                      Is the claim subject to offset?     No       Yes

3.745
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PETER MATWICZYK                                              Contingent
         3300 PGA Boulevard                                           Unliquidated
         Suite 600
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8344                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1128 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1136 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.745
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PETER N HANNA                                                Contingent
         500 Southeast 12th Street                                    Unliquidated
         Ft Lauderdale, FL 33316-1904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1421
                                                                   Is the claim subject to offset?     No       Yes

3.745
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER N PRICE PA                                             Contingent
         P.O. Box 220314                                              Unliquidated
         Hollywood, FL 33022-0314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7385
                                                                   Is the claim subject to offset?     No       Yes

3.745
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER P LINDLEY PA                                           Contingent
         1200 N. Federal Highway                                      Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3052                      Is the claim subject to offset?     No       Yes

3.745
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER R ABESADA & ASSOCIATES                                 Contingent
         3676 Southwest 2nd Street                                    Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5836
                                                                   Is the claim subject to offset?     No       Yes

3.745
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER R MAYER                                                Contingent
         4921 Southfork Drive Suite 3                                 Unliquidated
         Lakeland, FL 33813-2078
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6381
                                                                   Is the claim subject to offset?     No       Yes

3.746
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PETER SCAGLIONE JR                                           Contingent
         2127 W M L King Jr. Boulevard                                Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6795
                                                                   Is the claim subject to offset?     No       Yes

3.746
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER SPINDEL PA                                             Contingent
         11741 Southwest 117th Court                                  Unliquidated
         Miami, FL 33186-3976
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8395
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1129 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1137 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.746
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Peter Tappert                                                Contingent
         One SE 3rd Avenue                                            Unliquidated
         Suite 1700
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6875                      Is the claim subject to offset?     No       Yes

3.746
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETER Z KAMENESH                                             Contingent
         2601 S Bayshore Drive Suite 1030                             Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7883
                                                                   Is the claim subject to offset?     No       Yes

3.746
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         PETERS MAXEY SHORT & MAXEY PA                                Contingent
         3001 Ponce Deleon Boulevard                                  Unliquidated
         Coral Gables, FL 33134-6824
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3210
                                                                   Is the claim subject to offset?     No       Yes

3.746
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PETERSON & MYERS PA                                          Contingent
         P.O. Drawer 7608                                             Unliquidated
         Winter Haven, FL 33883-7608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2148
                                                                   Is the claim subject to offset?     No       Yes

3.746
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PETERSON & MYERS PA                                          Contingent
         P.O. Box 24628                                               Unliquidated
         Lakeland, FL 33802-4628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2148
                                                                   Is the claim subject to offset?     No       Yes

3.746
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,248.93
         PETERSON & MYERS PA                                          Contingent
         242 W. Central Avenue                                        Unliquidated
         Winter Haven, FL 33880-2947                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2148
                                                                   Is the claim subject to offset?     No       Yes

3.746
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Peterson Law Group, PLLC                                     Contingent
         418 Canal Street                                             Unliquidated
         New Smyrna Beach, FL 32168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7107
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1130 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1138 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.746
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Petitt Worrell Craine Wolfe, L.L.C.                          Contingent
         4830 W Kennedy Boulevard Suite 475                           Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7411
                                                                   Is the claim subject to offset?     No       Yes

3.747
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Petruccelli Mason, L.L.P.                                    Contingent
         5121 Ehrlich Road Suite 102-B                                Unliquidated
         Tampa, FL 33624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7174
                                                                   Is the claim subject to offset?     No       Yes

3.747
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Pette P.A.                                                   Contingent
         12565 Orange Drive                                           Unliquidated
         Suite 411
                                                                      Disputed
         Davie, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0852                      Is the claim subject to offset?     No       Yes

3.747
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Peyton Bolin, PL                                             Contingent
         3343 West Commercial Boulevard                               Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7549
                                                                   Is the claim subject to offset?     No       Yes

3.747
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PFLAUM DANNHEISSER WALLACE                                   Contingent
         1819 Main Street Suite 302                                   Unliquidated
         Sarasota, FL 34236-5983
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6267
                                                                   Is the claim subject to offset?     No       Yes

3.747
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PG Law                                                       Contingent
         5030 Champion Boulevard                                      Unliquidated
         Suite G11-281
                                                                      Disputed
         Boca Raton, FL 33496
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7316                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1131 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1139 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.747
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHELPS DUNBAR LLP                                            Contingent
         100 S. Ashley Drive                                          Unliquidated
         Suite 2000
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3381                      Is the claim subject to offset?     No       Yes

3.747
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PHILIP A BATES                                               Contingent
         P.O. Box 1390                                                Unliquidated
         Pensacola, FL 32591-1390
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2282
                                                                   Is the claim subject to offset?     No       Yes

3.747
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP A DIGATI                                              Contingent
         Trail Lawyers Building                                       Unliquidated
         633 Southeast Third Avenue Suite 4f
                                                                      Disputed
         Ft Lauderdale, FL 33301-1814
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5364                      Is the claim subject to offset?     No       Yes

3.747
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Philip B. Harris, P.A.                                       Contingent
         685 Royal Palm Beach Boulevard                               Unliquidated
         Suite 205
                                                                      Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8407                      Is the claim subject to offset?     No       Yes

3.747
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP BLOOM                                                 Contingent
         Imperial House Apt 3j                                        Unliquidated
         5255 Collins Avenue
                                                                      Disputed
         Miami Beach, FL 33140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3429                      Is the claim subject to offset?     No       Yes

3.748
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP BRUCE BERGER                                          Contingent
         Philip Bruce Berger P.A.                                     Unliquidated
         8021 Southeast Sequoia Drive
                                                                      Disputed
         Hobe Sound, FL 33455
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7902                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1132 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1140 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.748
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP C. ASHER                                              Contingent
         1755 Olive Street                                            Unliquidated
         Lakeland, FL 33801-4047
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7871
                                                                   Is the claim subject to offset?     No       Yes

3.748
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP COOK                                                  Contingent
         7865 Southwest 126th Terrace                                 Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 51
                                                                   Is the claim subject to offset?     No       Yes

3.748
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP E BALAS                                               Contingent
         4400 PGA Boulevard                                           Unliquidated
         Suite 603
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1839                      Is the claim subject to offset?     No       Yes

3.748
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP E DEBERARD III                                        Contingent
         P.O. Box 953326                                              Unliquidated
         Stuart, FL 33495
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 609
                                                                   Is the claim subject to offset?     No       Yes

3.748
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP E VITELLO                                             Contingent
         P.O. Box 700729                                              Unliquidated
         Wabasso, FL 32970-0729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7381
                                                                   Is the claim subject to offset?     No       Yes

3.748
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,218.83
         PHILIP F LUDOVICI                                            Contingent
         17415 S Dixie Highway                                        Unliquidated
         Miami, FL 33157-5434                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1821
                                                                   Is the claim subject to offset?     No       Yes

3.748
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP G BRAUN                                               Contingent
         10410 S Ocean Drive Suite 609                                Unliquidated
         Jenson Beach, FL 34957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7882
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1133 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1141 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.748
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP H BUSH                                                Contingent
         P.O. Box 38                                                  Unliquidated
         Lakeland, FL 33802-0038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7383
                                                                   Is the claim subject to offset?     No       Yes

3.748
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP H ELLIOTT JR                                          Contingent
         125 S Palmetto Avenue                                        Unliquidated
         Daytona Beach, FL 32114-4333
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2780
                                                                   Is the claim subject to offset?     No       Yes

3.749
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $315.00
         PHILIP J CHANFRAU JR                                         Contingent
         Bouck & Chanfrau                                             Unliquidated
         444 Seabreeze Boulevard
                                                                      Disputed
         Daytona Beach, FL 32118
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5723                      Is the claim subject to offset?     No       Yes

3.749
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP J CROYLE                                              Contingent
         STE 300                                                      Unliquidated
         370 W CAMINO GARDENS BLVD
                                                                      Disputed
         BOCA RATON, FL 33432-5817
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7501                      Is the claim subject to offset?     No       Yes

3.749
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP J GOUZE                                               Contingent
         414 Northeast 4th Street                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8989
                                                                   Is the claim subject to offset?     No       Yes

3.749
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP J O'CONNELL                                           Contingent
         4260 Central Ave.                                            Unliquidated
         St. Petersburg, FL 33711-1140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3058
                                                                   Is the claim subject to offset?     No       Yes

3.749
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP J REICHENTHAL                                         Contingent
         15280 Northwest 79th Court Suite 101                         Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4289
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1134 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1142 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.749
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PHILIP L BRAWNER                                             Contingent
         9100 School House Road                                       Unliquidated
         Coral Gables, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2922
                                                                   Is the claim subject to offset?     No       Yes

3.749
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $133.33
         PHILIP L BRAWNER                                             Contingent
         210 Grove Professional Building                              Unliquidated
         2950 Southwest 27th Avenue
                                                                      Disputed
         Miami, FL 33133-3765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0048                      Is the claim subject to offset?     No       Yes

3.749
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,021.51
         PHILIP L COLLER                                              Contingent
         8500 Southwest 92 Street Suite 106                           Unliquidated
         Miami, FL 33156-7379                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4431
                                                                   Is the claim subject to offset?     No       Yes

3.749
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PHILIP L COLLER PA                                           Contingent
         9480 SW 99th Street                                          Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4050
                                                                   Is the claim subject to offset?     No       Yes

3.749
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PHILIP L LOGAS PA                                            Contingent
         1525 International Parkway                                   Unliquidated
         Suite 4021
                                                                      Disputed
         Lake Mary, FL 32746
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7127                      Is the claim subject to offset?     No       Yes

3.750
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP M WARREN                                              Contingent
         3350 East Atlantic Boulevard Suite 300                       Unliquidated
         Pompano Beach, FL 33062-5710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5213
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1135 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1143 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.750
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PHILIP M ZYNE                                                Contingent
         1978 Bridgewater Drive                                       Unliquidated
         Heathrow, FL 32746-6907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5872
                                                                   Is the claim subject to offset?     No       Yes

3.750
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $195.00
         PHILIP MEDVIN                                                Contingent
         1699 Coral Way Suite 311                                     Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 540
                                                                   Is the claim subject to offset?     No       Yes

3.750
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP N SHERWIN                                             Contingent
         1227 Southeast 2nd Pl                                        Unliquidated
         Cape Coral, FL 33990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8053
                                                                   Is the claim subject to offset?     No       Yes

3.750
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP NEMETH                                                Contingent
         P.O. Box 270                                                 Unliquidated
         Gatlinburg, TN 37738-0270
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5322
                                                                   Is the claim subject to offset?     No       Yes

3.750
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP O ALLEN                                               Contingent
         P.O. Box 24628                                               Unliquidated
         Lakeland, FL 33802-4628
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6905
                                                                   Is the claim subject to offset?     No       Yes

3.750
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP S VOVA PA                                             Contingent
         4000 Hollywood Boulevard Suite 500 N                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7736
                                                                   Is the claim subject to offset?     No       Yes

3.750
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP S WARE                                                Contingent
         10395 54th Avenue North                                      Unliquidated
         St Petersburg, FL 33708-3325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2678
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1136 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1144 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.750
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP S. PARSONS                                            Contingent
         P.O. Box 271                                                 Unliquidated
         Tallahassee, FL 32302-0271
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4794
                                                                   Is the claim subject to offset?     No       Yes

3.750
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP S. SHAILER                                            Contingent
         1322 S.E. 3rd Avenue                                         Unliquidated
         Ft Lauderdale, FL 33316-1908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3746
                                                                   Is the claim subject to offset?     No       Yes

3.751
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP SOTOLONGO                                             Contingent
         1812 Barbeados Road                                          Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6448
                                                                   Is the claim subject to offset?     No       Yes

3.751
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILIP TATICH                                                Contingent
         P.O. Drawer 7540                                             Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7215
                                                                   Is the claim subject to offset?     No       Yes

3.751
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PHILIP W DANN                                                Contingent
         540 4th Street N                                             Unliquidated
         St Petersburg, FL 33701-2302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8149
                                                                   Is the claim subject to offset?     No       Yes

3.751
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIP Z LEVINSON                                            Contingent
         1300 N Federal Highway Suite 107                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3875
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1137 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1145 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.751
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILIPPE SYMONOVICZ                                          Contingent
         1995 E Oakland Park Boulevard Suite 210                      Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5137
                                                                   Is the claim subject to offset?     No       Yes

3.751
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,198.55
         PHILLIP A WOLFF                                              Contingent
         4099 Losillas Drive                                          Unliquidated
         Sarasota, FL 34238                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0734
                                                                   Is the claim subject to offset?     No       Yes

3.751
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILLIP B RARICK                                             Contingent
         The Colonnade at Miami Lakes                                 Unliquidated
         6500 Cowpen Road Suite 204
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2663                      Is the claim subject to offset?     No       Yes

3.751
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILLIP K BECK                                               Contingent
         P.O. Box 875                                                 Unliquidated
         Chiefland, FL 32626
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4730
                                                                   Is the claim subject to offset?     No       Yes

3.751
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILLIP R TROVILLO                                           Contingent
         3550 Southeast 25th Avenue                                   Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4093
                                                                   Is the claim subject to offset?     No       Yes

3.751
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHILLIP T CRENSHAW                                           Contingent
         Phillip T. Crenshaw P.A.                                     Unliquidated
         3175 S Congress Avenue Suite 301
                                                                      Disputed
         Palm Springs, FL 33461
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5437                      Is the claim subject to offset?     No       Yes

3.752
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         PHILLIPS & PHILLIPS                                          Contingent
         3500 N State Road 7 Suite 308                                Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7267
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1138 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1146 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.752
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHILLIPS LANIER                                              Contingent
         One Biscayne Tower                                           Unliquidated
         2 S. Biscayne Boulevard, Suite 2200
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4610                      Is the claim subject to offset?     No       Yes

3.752
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHOENIX LAW PLLC                                             Contingent
         2407 Periwinkle Way Suite 6                                  Unliquidated
         Sanibel, FL 33957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8258
                                                                   Is the claim subject to offset?     No       Yes

3.752
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PHYLLIS H B DRICKMAN                                         Contingent
         P.O. Box 58                                                  Unliquidated
         Largo, FL 33779-0058
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5171
                                                                   Is the claim subject to offset?     No       Yes

3.752
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $15.17
         PHYLLIS HOWARD                                               Contingent
         300 E. Las Olas Blvd, 2nd Flr.                               Unliquidated
         Ft Lauderdale, FL 33301-2229                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8101
                                                                   Is the claim subject to offset?     No       Yes

3.752
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PHYLLIS SHUSTER BLOCK                                        Contingent
         515 N Flagler Drive Suite 600                                Unliquidated
         West Palm Beach, FL 33401-4323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4149
                                                                   Is the claim subject to offset?     No       Yes

3.752
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Piedra & Associates, P.A.                                    Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 1200, 12th Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8817                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1139 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1147 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.752
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PIERCE & ASSOCIATES PL                                       Contingent
         800 N Ferncreek Avenue                                       Unliquidated
         Orlando, FL 32803-4172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4804
                                                                   Is the claim subject to offset?     No       Yes

3.752
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PIERCE E RIVERA                                              Contingent
         782 NW Le Jeune Road                                         Unliquidated
         Suite 529
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5568                      Is the claim subject to offset?     No       Yes

3.752
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         PIERCE J GUARD JR                                            Contingent
         908 E Parker Street                                          Unliquidated
         Lakeland, FL 33801-1968
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7986
                                                                   Is the claim subject to offset?     No       Yes

3.753
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PIERO SALUSSOLIA                                             Contingent
         1410 20th Street Suite 214                                   Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0175
                                                                   Is the claim subject to offset?     No       Yes

3.753
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pierre Hachar, Jr.                                           Contingent
         The Hachar Law Firm P.A.                                     Unliquidated
         8100 Oak Lane Suite 401
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7352                      Is the claim subject to offset?     No       Yes

3.753
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PIERRE-ANTOINE LAW FIRM                                      Contingent
         110 E Broward Boulevard Suite 1700                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2865
                                                                   Is the claim subject to offset?     No       Yes

3.753
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pigott Pigott & Kearce                                       Contingent
         4600 Military Trail                                          Unliquidated
         Suite 201
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8083                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1140 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1148 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.753
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PILKA & ASSOCIATES PA                                        Contingent
         330 Pauls Drive                                              Unliquidated
         Suite 100
                                                                      Disputed
         Brandon, FL 33511
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2997                      Is the claim subject to offset?     No       Yes

3.753
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         PILLSBURY WINTHROP LLP                                       Contingent
         50 Fremont 4th Floor                                         Unliquidated
         San Francisco, CA 94105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6044
                                                                   Is the claim subject to offset?     No       Yes

3.753
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pineapple Law, P.A.                                          Contingent
         390 N. Orange Avenue                                         Unliquidated
         Suite 2300
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0084                      Is the claim subject to offset?     No       Yes

3.753
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PINEIRO BYRD PLLC                                            Contingent
         4600 Military Trail                                          Unliquidated
         Suite 212
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6663                      Is the claim subject to offset?     No       Yes

3.753
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         PINKERT LAW FIRM PA                                          Contingent
         1500 San Remo Avenue Suite 275                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6754
                                                                   Is the claim subject to offset?     No       Yes

3.753
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PINO & ASSOCIATES                                            Contingent
         4447 S.W. 15th Street                                        Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8493
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1141 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1149 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.754
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pinson Law, P.A.                                             Contingent
         7821 N. Dale Mabry Hwy                                       Unliquidated
         Suite 110
                                                                      Disputed
         Tampa, FL 33614
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0656                      Is the claim subject to offset?     No       Yes

3.754
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         PIPER KARVONEN LEWIS & SCHAFER                               Contingent
         Attn: John E. Karvonen                                       Unliquidated
         3637 4th Street N., Suite 410
                                                                      Disputed
         St Petersburg, FL 33704
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6322                      Is the claim subject to offset?     No       Yes

3.754
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pirez Law Firm, P.A.                                         Contingent
         5979 NW 151st Street                                         Unliquidated
         Suite 112
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9625                      Is the claim subject to offset?     No       Yes

3.754
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PITELL LAW FIRM PL                                           Contingent
         4400 E Highway 20 Suite 202                                  Unliquidated
         Niceville, FL 32578
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2478
                                                                   Is the claim subject to offset?     No       Yes

3.754
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PJ Waldorf, P.L.C.                                           Contingent
         224 Datura Street Suite 315                                  Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5703
                                                                   Is the claim subject to offset?     No       Yes

3.754
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Platock Law, P.A.                                            Contingent
         3801 PGA Boulevard Suite 600                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7982
                                                                   Is the claim subject to offset?     No       Yes

3.754
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PLATT & SURBER PA                                            Contingent
         830 SE 5th Avenue                                            Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7174
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1142 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1150 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.754
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PLEAT & PERRY PA                                             Contingent
         Suite 202                                                    Unliquidated
         4477 Legendary Drive
                                                                      Disputed
         Destin, FL 32541
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5479                      Is the claim subject to offset?     No       Yes

3.754
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PLIEGO LAW FIRM                                              Contingent
         3201 Tampa Bay Boulevard                                     Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8845
                                                                   Is the claim subject to offset?     No       Yes

3.754
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Plotkin Law Firm, P.A.                                       Contingent
         2500 Hollywood Boulevard                                     Unliquidated
         Suite 202
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8313                      Is the claim subject to offset?     No       Yes

3.755
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Podvin Law Group, L.L.C.                                     Contingent
         2930 Biscayne Boulevard Suite 102                            Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9499
                                                                   Is the claim subject to offset?     No       Yes

3.755
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         POHL & SHORT PA                                              Contingent
         P.O. Box 3208                                                Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1725
                                                                   Is the claim subject to offset?     No       Yes

3.755
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ponce De Leon Title Services, Inc.                           Contingent
         P.O. Box 144296                                              Unliquidated
         Coral Gables, FL 33114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4594
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1143 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1151 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.755
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         POPKIN & ROSALER PA                                          Contingent
         1701 W. Hillsboro Boulevard                                  Unliquidated
         Suite 400
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7315                      Is the claim subject to offset?     No       Yes

3.755
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PORATH & ASSOCIATES PA                                       Contingent
         1732 W Co Hwy 30A                                            Unliquidated
         #106
                                                                      Disputed
         Santa Rosa Beach, FL 32459
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6741                      Is the claim subject to offset?     No       Yes

3.755
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         PORGES HAMLIN KNOWLES &                                      Contingent
         P.O. Box 9320                                                Unliquidated
         Bradenton, FL 34206-9320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7344
                                                                   Is the claim subject to offset?     No       Yes

3.755
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PORTER WRIGHT MORRIS &                                       Contingent
         9132 Strada Place                                            Unliquidated
         3rd Floor
                                                                      Disputed
         Naples, FL 34108
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8189                      Is the claim subject to offset?     No       Yes

3.755
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PORTIA B SCOTT CHARTERED                                     Contingent
         921 Southeast Central Parkway                                Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7097
                                                                   Is the claim subject to offset?     No       Yes

3.755
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $154.55
         POSESS & WALSER PA                                           Contingent
         6100 Glades Road Suite 204                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7203
                                                                   Is the claim subject to offset?     No       Yes

3.755
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         POTTER CLEMENT LOWRY & DUNCAN                                Contingent
         308 E Fifth Avenue                                           Unliquidated
         Mount Dora, FL 32757-5661
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7960
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1144 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1152 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.756
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         POTTINGER PA                                                 Contingent
         11322 Taft Street                                            Unliquidated
         Hollywood, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2078
                                                                   Is the claim subject to offset?     No       Yes

3.756
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         POWELL CARNEY HAYES &                                        Contingent
         P.O. Box 1689                                                Unliquidated
         St Petersburg, FL 33731-1689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4343
                                                                   Is the claim subject to offset?     No       Yes

3.756
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         POWELL CARNEY MALLER RAMSAY &                                Contingent
         ONE PROGRESS PLAZA STE 1210                                  Unliquidated
         ST PETERSBURG, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5823
                                                                   Is the claim subject to offset?     No       Yes

3.756
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PraDa Law Firm PLLC                                          Contingent
         DBA Prada Law                                                Unliquidated
         1450 NW 87th Avenue, Suite 210
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9838                      Is the claim subject to offset?     No       Yes

3.756
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Premier Florida Title, L.L.C.                                Contingent
         479 Montgomery Place                                         Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7808
                                                                   Is the claim subject to offset?     No       Yes

3.756
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Premier Title Services, LLC                                  Contingent
         3999 Sheridan Street                                         Unliquidated
         2nd Floor
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0766                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1145 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1153 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.756
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PRESLEY & DOCKERTY PA                                        Contingent
         110 Merrick Way Suite 3-B                                    Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2264
                                                                   Is the claim subject to offset?     No       Yes

3.756
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Presley Law and Associates, P.A.                             Contingent
         5 Harvard Circle                                             Unliquidated
         Suite 109
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8010                      Is the claim subject to offset?     No       Yes

3.756
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PRESSLY & PRESSLY                                            Contingent
         Plaza Center                                                 Unliquidated
         251 Royal Palm Way, Suite 300
                                                                      Disputed
         Palm Beach, FL 33480
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6198                      Is the claim subject to offset?     No       Yes

3.756
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Prestige National Title Services, LLC                        Contingent
         1031 North Miami Beach Blvd.                                 Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1029
                                                                   Is the claim subject to offset?     No       Yes

3.757
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Prestige Settlement & Title Services, LL                     Contingent
         795 Ontario Street                                           Unliquidated
         Jacksonville, FL 32254
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0593
                                                                   Is the claim subject to offset?     No       Yes

3.757
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         PRESTON J FIELDS PA                                          Contingent
         11211 Prosperity Farms Road                                  Unliquidated
         Suite 301C
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6753                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1146 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1154 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.757
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PRESTON O COCKEY JR PA                                       Contingent
         110 E. Madison Street                                        Unliquidated
         Suite 204
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9143                      Is the claim subject to offset?     No       Yes

3.757
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Primicias Title and Escrow, Inc.                             Contingent
         2949 W Cypress Creek Road                                    Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2922
                                                                   Is the claim subject to offset?     No       Yes

3.757
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PRINCE A DONNAHOE IV PA                                      Contingent
         1401 N. University Drive                                     Unliquidated
         Suite 401
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6623                      Is the claim subject to offset?     No       Yes

3.757
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PRISCILLA D VARGAS                                           Contingent
         1200 Brickell Avenue Suite 1720                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0365
                                                                   Is the claim subject to offset?     No       Yes

3.757
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PRITCHARD & REISSMAN PA                                      Contingent
         P.O. Box 25158                                               Unliquidated
         Tampa, FL 33622-5158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7582
                                                                   Is the claim subject to offset?     No       Yes

3.757
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         PROF JOHN W STANFORD                                         Contingent
         Cbn University School of Law                                 Unliquidated
         Virginia Beach, VA 23463-0001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3010
                                                                   Is the claim subject to offset?     No       Yes

3.757
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PROM KORN & ZEHNER PA                                        Contingent
         P.O. Box 550700                                              Unliquidated
         Jacksonville, FL 32255-0700
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8028
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1147 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1155 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.757
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PROPERTY LAW PA                                              Contingent
         804 3rd Street N Suite C                                     Unliquidated
         Neptune Beach, FL 32266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0585
                                                                   Is the claim subject to offset?     No       Yes

3.758
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PROSKAUER ROSE LLP                                           Contingent
         Suite 340 West                                               Unliquidated
         2255 Glades Road
                                                                      Disputed
         Boca Raton, FL 33431-7360
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4430                      Is the claim subject to offset?     No       Yes

3.758
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PROSPER LAW GROUP PA                                         Contingent
         115 Maitland Avenue                                          Unliquidated
         Altamonte Springs, FL 32701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2716
                                                                   Is the claim subject to offset?     No       Yes

3.758
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PSJ LAW GROUP PA                                             Contingent
         13377 W Dixie Highway Suite 2-B                              Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4238
                                                                   Is the claim subject to offset?     No       Yes

3.758
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PUEMSUK T PORNPRINYA                                         Contingent
         1555 NE 123rd Street                                         Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9802
                                                                   Is the claim subject to offset?     No       Yes

3.758
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pugliese Law, P.A.                                           Contingent
         700 Biltmore Way                                             Unliquidated
         Suite 408
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0901                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1148 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1156 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.758
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PUIG & DELGADO LLP                                           Contingent
         150 Alhambra Circle Suite 1240                               Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7221
                                                                   Is the claim subject to offset?     No       Yes

3.758
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         PUJOL LAW OFFICES PA                                         Contingent
         782 NW Le Jeune Road                                         Unliquidated
         Suite 628
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3872                      Is the claim subject to offset?     No       Yes

3.758
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pullen Law Office, L.L.C.                                    Contingent
         7635 Ashley Park Court Suite 503j                            Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8117
                                                                   Is the claim subject to offset?     No       Yes

3.758
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Push Singh, P.A.                                             Contingent
         8333 Northwest 53rd Street Suite 450                         Unliquidated
         Doral, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9501
                                                                   Is the claim subject to offset?     No       Yes

3.758
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PUTNAM CREIGHTON & AIRTH PA                                  Contingent
         500 S. Florida Avenue                                        Unliquidated
         Lakeland, FL 33801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3796
                                                                   Is the claim subject to offset?     No       Yes

3.759
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Pw Kelly Associates, P.A.                                    Contingent
         P.O. Box 331083                                              Unliquidated
         Miami, FL 33233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9803
                                                                   Is the claim subject to offset?     No       Yes

3.759
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         PYLE & DELLINGER PL                                          Contingent
         1655 N. Clyde Morris Boulevard                               Unliquidated
         Suite 1
                                                                      Disputed
         Daytona Beach, FL 32117
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1779                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1149 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1157 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.759
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Quantum Title LLC                                            Contingent
         9050 Pines Boulevard                                         Unliquidated
         Suite 450-11
                                                                      Disputed
         Pembroke Pines, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0891                      Is the claim subject to offset?     No       Yes

3.759
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         QUARLES & BRADY LLP                                          Contingent
         1395 PANTHER LANE #300                                       Unliquidated
         NAPLES, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8488
                                                                   Is the claim subject to offset?     No       Yes

3.759
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Quesada Law, P.A.                                            Contingent
         6500 Cowpen Road                                             Unliquidated
         Suite 101
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9370                      Is the claim subject to offset?     No       Yes

3.759
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         QUINN & CASON PA                                             Contingent
         457 Turkey Crk                                               Unliquidated
         Alachua, FL 32615-9303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6316
                                                                   Is the claim subject to offset?     No       Yes

3.759
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         QUINONES & OLIVER PL                                         Contingent
         10967 Lake Underhill Road                                    Unliquidated
         Suite 108
                                                                      Disputed
         Orlando, FL 32825
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7232                      Is the claim subject to offset?     No       Yes

3.759
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         QUINTAIROS PRIETO WOOD & BOYER                               Contingent
         1410 N. Westshore Boulevard                                  Unliquidated
         Suite 200
                                                                      Disputed
         Tampa, FL 33607-4533
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5071                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1150 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1158 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.759
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Quintairos Prieto Wood & Boyer, P.A.                         Contingent
         9200 S. Dadeland Boulevard                                   Unliquidated
         Suite 200
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5071                      Is the claim subject to offset?     No       Yes

3.759
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         QUINTANA & ASSOCIATES PA                                     Contingent
         145 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4432
                                                                   Is the claim subject to offset?     No       Yes

3.760
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R A NUNEZ                                                    Contingent
         15291 Northwest 60th Avenue Suite 100                        Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3970
                                                                   Is the claim subject to offset?     No       Yes

3.760
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R ADAM CARNEGIE                                              Contingent
         R Adam Carnegie P.A.                                         Unliquidated
         17322 Hubers Court
                                                                      Disputed
         Odessa, FL 33556-1960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9124                      Is the claim subject to offset?     No       Yes

3.760
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R ANDERSON MADDOX                                            Contingent
         R Anderson Maddox P.A.                                       Unliquidated
         37 N Orange Avenue Suite 500
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8527                      Is the claim subject to offset?     No       Yes

3.760
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R BRUCE AKERSON                                              Contingent
         1135 Pasadena Avenue South                                   Unliquidated
         St Petersburg, FL 33707-2855
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4923
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1151 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1159 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.760
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R BRUCE CRANMER                                              Contingent
         2801 University Drive                                        Unliquidated
         Suite 203
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7532                      Is the claim subject to offset?     No       Yes

3.760
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R EARL WARREN                                                Contingent
         P.O. Box 1207                                                Unliquidated
         Englewood, FL 34295-1207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5105
                                                                   Is the claim subject to offset?     No       Yes

3.760
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R EDWARD COOLEY                                              Contingent
         R Edward Cooley P.A.                                         Unliquidated
         2965 W State Road 434 Suite 200
                                                                      Disputed
         Longwood, FL 32779
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5336                      Is the claim subject to offset?     No       Yes

3.760
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R G MAXWELL                                                  Contingent
         15210 Portside Drive Suite 403                               Unliquidated
         Ft Myers, FL 33908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 908
                                                                   Is the claim subject to offset?     No       Yes

3.760
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R J ADAMS & ASSOCIATES PA                                    Contingent
         6500 Cowpen Road                                             Unliquidated
         Suite 101
                                                                      Disputed
         Miami Lakes, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8116                      Is the claim subject to offset?     No       Yes

3.760
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         R JOEL WEISS                                                 Contingent
         4741 N. 37th Street                                          Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6088
                                                                   Is the claim subject to offset?     No       Yes

3.761
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         R JOHN COLE II                                               Contingent
         46 N Washington Boulevard Suite 24                           Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6486
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1152 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1160 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.761
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R K KRAMER                                                   Contingent
         1514 Shirley Court                                           Unliquidated
         Lake Worth, FL 33461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4197
                                                                   Is the claim subject to offset?     No       Yes

3.761
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R LANE LYNCHARD                                              Contingent
         Lynchard Law Firm P.A.                                       Unliquidated
         1901 Andora Street
                                                                      Disputed
         Navarre, FL 32566
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5204                      Is the claim subject to offset?     No       Yes

3.761
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R LEE HAWKINS JR PA                                          Contingent
         1073 Wc 48                                                   Unliquidated
         Bushnell, FL 33513
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9907
                                                                   Is the claim subject to offset?     No       Yes

3.761
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R LYNN LOVEJOY                                               Contingent
         1900 Centre Point Boulevard Suite 239                        Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2459
                                                                   Is the claim subject to offset?     No       Yes

3.761
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R MASON BLAKE                                                Contingent
         101 S Courtenay Parkway Suite 201                            Unliquidated
         Merritt Island, FL 32952-4855
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1281
                                                                   Is the claim subject to offset?     No       Yes

3.761
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R MATTHEW GENTILE & ASSOCIATES                               Contingent
         3155 Jackson Avenue                                          Unliquidated
         Coconut Grove, FL 33133-4432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6597
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1153 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1161 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.761
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R MICHAEL KENNEDY                                            Contingent
         3 Sunshine Boulevard                                         Unliquidated
         Ormond Beach, FL 32174-3953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8013
                                                                   Is the claim subject to offset?     No       Yes

3.761
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R N KOBLEGARD III                                            Contingent
         200 S. Indian River Drive                                    Unliquidated
         Suite 201
                                                                      Disputed
         Ft Pierce, FL 34950
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5658                      Is the claim subject to offset?     No       Yes

3.761
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R NORWOOD GAY III                                            Contingent
         P.O. Box 628600                                              Unliquidated
         Orlando, FL 32862-8600
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3921
                                                                   Is the claim subject to offset?     No       Yes

3.762
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         R PATRICK PHILLIPS                                           Contingent
         200 N. Thornton Avenue                                       Unliquidated
         Orlando, FL 32801-2173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5827
                                                                   Is the claim subject to offset?     No       Yes

3.762
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R SCOTT BARKER                                               Contingent
         R Scott Barker P.A.                                          Unliquidated
         P.O. Drawer 159
                                                                      Disputed
         Ft Myers, FL 33902-0159
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7670                      Is the claim subject to offset?     No       Yes

3.762
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R SCOTT CROSS                                                Contingent
         P.O. Box 2470                                                Unliquidated
         Ocala, FL 34478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8323
                                                                   Is the claim subject to offset?     No       Yes

3.762
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R SCOTT WHITEHEAD                                            Contingent
         R Scott Whitehead P.A.                                       Unliquidated
         4507 Furling Lane Suite 209
                                                                      Disputed
         Destin, FL 32541
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9031                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1154 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1162 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.762
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         R STEPHEN MILES JR                                           Contingent
         100 CHURCH STREET                                            Unliquidated
         KISSIMMEE, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0860
                                                                   Is the claim subject to offset?     No       Yes

3.762
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         R TED NIPPER                                                 Contingent
         1401 Manatee Avenue W Suite 600                              Unliquidated
         Bradenton, FL 34205-7412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5532
                                                                   Is the claim subject to offset?     No       Yes

3.762
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         R WILLIAM FUTCH                                              Contingent
         P.O. Box 4885                                                Unliquidated
         Ocala, FL 34478-4885
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7858
                                                                   Is the claim subject to offset?     No       Yes

3.762
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R. Aponte & Associates, P.L.L.C.                             Contingent
         9495 SW 72 Street                                            Unliquidated
         B-294
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9670                      Is the claim subject to offset?     No       Yes

3.762
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         R. Cash Barlow                                               Contingent
         P.O.Box 477                                                  Unliquidated
         Yulee, FL 32041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0920
                                                                   Is the claim subject to offset?     No       Yes

3.762
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         R. FRANKLIN RITCH                                            Contingent
         P.O. Box 1143                                                Unliquidated
         Gainesville, FL 32602-1143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6228
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1155 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1163 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.763
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rabin Parker Gurley, P.A.                                    Contingent
         2653 McCormick Drive                                         Unliquidated
         Clearwater, FL 33759
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6784
                                                                   Is the claim subject to offset?     No       Yes

3.763
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rachel Popper, P.A.                                          Contingent
         8461 Lake Worth Road                                         Unliquidated
         Suite 415
                                                                      Disputed
         Lake Worth, FL 33467
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8704                      Is the claim subject to offset?     No       Yes

3.763
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAE FRANKS                                                   Contingent
         224 Datura Street                                            Unliquidated
         Suite 913
                                                                      Disputed
         West Palm Beach, FL 33401-5637
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2215                      Is the claim subject to offset?     No       Yes

3.763
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL A PEREZ                                               Contingent
         600 Brickell Avenue Suite 203a                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8342
                                                                   Is the claim subject to offset?     No       Yes

3.763
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RAFAEL DE ARMAS                                              Contingent
         4630 S Fairway Drive                                         Unliquidated
         Punta Gorda, FL 33982
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5596
                                                                   Is the claim subject to offset?     No       Yes

3.763
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL E SILVA                                               Contingent
         P.O. Box 161018                                              Unliquidated
         Miami, FL 33116-1018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4746
                                                                   Is the claim subject to offset?     No       Yes

3.763
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL FABIAN                                                Contingent
         4675 Ponce de Leon Blvd.                                     Unliquidated
         Suite 302
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1002                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1156 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1164 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.763
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL GONZALEZ                                              Contingent
         6600 Taft Street Suite 307                                   Unliquidated
         Hollywood, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6378
                                                                   Is the claim subject to offset?     No       Yes

3.763
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL M OROPESA                                             Contingent
         Penthouse Suite 503                                          Unliquidated
         4160 W 16th Avenue
                                                                      Disputed
         Hialeah, FL 33012
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8692                      Is the claim subject to offset?     No       Yes

3.763
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL SANCHEZ-ABALLI ESQ                                    Contingent
         445 Gerona Avenue                                            Unliquidated
         Coral Gables, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8400
                                                                   Is the claim subject to offset?     No       Yes

3.764
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFAEL UBIETA                                                Contingent
         9560 Southwest 107th Avenue Suite 102                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5205
                                                                   Is the claim subject to offset?     No       Yes

3.764
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFFEL WELLER & LOSNER                                       Contingent
         2600 S Kanner Highway Apt F-7                                Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4860
                                                                   Is the claim subject to offset?     No       Yes

3.764
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAFFERTY GUTIERREZ                                           Contingent
         1101 Brickell Avenue Suite 1400                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4191
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1157 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1165 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.764
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Rahdert & Mortimer, PLLC                                     Contingent
         535 Central Avenue                                           Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6652
                                                                   Is the claim subject to offset?     No       Yes

3.764
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAHDERT STEELE BRYAN BOYLE                                   Contingent
         Penelope T. Bryan Esquire                                    Unliquidated
         535 Central Avenue
                                                                      Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0021                      Is the claim subject to offset?     No       Yes

3.764
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Rahman Le, P.L.L.C.                                          Contingent
         1000 SW 86th Court                                           Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9829
                                                                   Is the claim subject to offset?     No       Yes

3.764
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAJ AGARWAL                                                  Contingent
         P.O. Box 3093                                                Unliquidated
         Alexandria, VA 22302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7404
                                                                   Is the claim subject to offset?     No       Yes

3.764
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALLS LAW FIRM LLC                                           Contingent
         5201 N Davis Highway                                         Unliquidated
         Pensacola, FL 32503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5544
                                                                   Is the claim subject to offset?     No       Yes

3.764
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         RALPH E. MOON, JR.                                           Contingent
         3576 Fairway Forest Drive                                    Unliquidated
         Palm Harbor, FL 34685-1005
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8032
                                                                   Is the claim subject to offset?     No       Yes

3.764
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALPH H ATWELL                                               Contingent
         310 N 58th Avenue                                            Unliquidated
         Pensacola, FL 32506-5290
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8646
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1158 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1166 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.765
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALPH L FRIEDLAND                                            Contingent
         2033 Main Street Suite 100                                   Unliquidated
         Sarasota, FL 34237-6049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4670
                                                                   Is the claim subject to offset?     No       Yes

3.765
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $164.40
         RALPH L ROUSSEAU JR                                          Contingent
         568 E Puritan Road                                           Unliquidated
         Tampa, FL 33601                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3397
                                                                   Is the claim subject to offset?     No       Yes

3.765
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         RALPH L. EVANS                                               Contingent
         P.O. Box 3247                                                Unliquidated
         Vero Beach, FL 32964-3247
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7302
                                                                   Is the claim subject to offset?     No       Yes

3.765
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALPH M MOBLEY                                               Contingent
         P.O. Box 1069                                                Unliquidated
         Estero, FL 33928
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8520
                                                                   Is the claim subject to offset?     No       Yes

3.765
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RALPH O WALLACE                                              Contingent
         1690 Vega Avenue                                             Unliquidated
         Merritt Island, FL 32953
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5715
                                                                   Is the claim subject to offset?     No       Yes

3.765
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,971.28
         RALPH PAUL DOUGLAS                                           Contingent
         P.O. Box 831                                                 Unliquidated
         New Smyrna Beach, FL 32170-0831                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2979
                                                                   Is the claim subject to offset?     No       Yes

3.765
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALPH R CRABTREE                                             Contingent
         Crabtree & Fallar P.A.                                       Unliquidated
         8777 San Jose Boulevard Suite 200 Buildi
                                                                      Disputed
         Jacksonville, FL 32217-4248
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2620                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1159 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1167 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.765
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALPH STANLEY FRANCOIS                                       Contingent
         108 S Miami Avenue Suite 306                                 Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3726
                                                                   Is the claim subject to offset?     No       Yes

3.765
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RALPH V HADLEY III PA                                        Contingent
         P.O. Box 1961                                                Unliquidated
         Winter Park, FL 32790-1961
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 209
                                                                   Is the claim subject to offset?     No       Yes

3.765
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RALPH VENTURA                                                Contingent
         90 Southwest 3rd Street Suite 3605                           Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8353
                                                                   Is the claim subject to offset?     No       Yes

3.766
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ralph W. Symons, P.A.                                        Contingent
         1172 S Dixie Highway Suite 610                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7516
                                                                   Is the claim subject to offset?     No       Yes

3.766
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAMON CARRION                                                Contingent
         28100 US Highway 19 N Suite 502                              Unliquidated
         Clearwater, FL 34621-2686
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7213
                                                                   Is the claim subject to offset?     No       Yes

3.766
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMON M RODRIGUEZ                                            Contingent
         782 Northwest Lejuene Road Suite 329                         Unliquidated
         Miami, FL 33126-5524
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1160 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1168 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.766
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMON R CACICEDO JR                                          Contingent
         275 Fontainbleau Boulevard Suite 195                         Unliquidated
         Miami, FL 33172-4509
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2210
                                                                   Is the claim subject to offset?     No       Yes

3.766
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMON TOURGEMAN                                              Contingent
         P.O. Box 800-111                                             Unliquidated
         Aventura, FL 33280
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5272
                                                                   Is the claim subject to offset?     No       Yes

3.766
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMONA ANDERSON                                              Contingent
         7401 Wiles Road Suite 314                                    Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7025
                                                                   Is the claim subject to offset?     No       Yes

3.766
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMONA L TOLLEY PA                                           Contingent
         400 Southeast 9th Street                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9311
                                                                   Is the claim subject to offset?     No       Yes

3.766
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMONA M CHANCE                                              Contingent
         6915 NW 65 Avenue                                            Unliquidated
         Gainesville, FL 32653
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5549
                                                                   Is the claim subject to offset?     No       Yes

3.766
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMSBERGER LAW GROUP PA                                      Contingent
         255 Sunset Drive N                                           Unliquidated
         St Petersburg, FL 33710-7441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1536
                                                                   Is the claim subject to offset?     No       Yes

3.766
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAMSINGH & ASSOCIATES PA                                     Contingent
         679 Southwest Treasury Cv                                    Unliquidated
         Port St Lucie, FL 34986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4869
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1161 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1169 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.767
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RANA E EPSTEIN                                               Contingent
         8840 S Lake Dasha Drive                                      Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6997
                                                                   Is the claim subject to offset?     No       Yes

3.767
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANA M GORZECK                                               Contingent
         Suite 910 Trade Centre S                                     Unliquidated
         100 W Cypress Creek Road
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4580                      Is the claim subject to offset?     No       Yes

3.767
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Randall A. Fischer, P.A.                                     Contingent
         2100 SE Ocean Boulevard                                      Unliquidated
         Suite 203
                                                                      Disputed
         Stuart, FL 34996
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0838                      Is the claim subject to offset?     No       Yes

3.767
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDALL J DEHAYES                                            Contingent
         4521 PGA Boulevard Suite 327                                 Unliquidated
         Palm Bch Gardens, FL 33418
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7721
                                                                   Is the claim subject to offset?     No       Yes

3.767
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDALL J MARSHALL                                           Contingent
         Marshall Law Office P.A.                                     Unliquidated
         1019 Town Center Drive, Suite 101
                                                                      Disputed
         Orange City, FL 32763
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8485                      Is the claim subject to offset?     No       Yes

3.767
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDALL K ROGER & ASSOCIATES                                 Contingent
         621 NW 53RD ST #300                                          Unliquidated
         BOCA RATON, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7430
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1162 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1170 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.767
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDALL L LESHIN                                             Contingent
         712 S McNab Road                                             Unliquidated
         Pompano Beach, FL 33060-9430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2766
                                                                   Is the claim subject to offset?     No       Yes

3.767
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDALL L SIDLOSCA                                           Contingent
         14305 Southwest 99th Court                                   Unliquidated
         Miami, FL 33176-7092
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0176
                                                                   Is the claim subject to offset?     No       Yes

3.767
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RANDALL N THORNTON                                           Contingent
         P.O. Box 58                                                  Unliquidated
         Lake Panasoffkee, FL 33538-0058
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5769
                                                                   Is the claim subject to offset?     No       Yes

3.767
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDALL O REDER                                              Contingent
         1319 W Fletcher Avenue                                       Unliquidated
         Tampa, FL 33612
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3664
                                                                   Is the claim subject to offset?     No       Yes

3.768
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDEE J GOLDER                                              Contingent
         P.O. Box 3756                                                Unliquidated
         Boynton Beach, FL 33424-3756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9073
                                                                   Is the claim subject to offset?     No       Yes

3.768
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDEE SUSAN SCHATZ                                          Contingent
         P.O. Box 510506                                              Unliquidated
         Melbourne Beach, FL 32951
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8733
                                                                   Is the claim subject to offset?     No       Yes

3.768
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDI S TOMPKINS                                             Contingent
         4960 Blue Lake Drive                                         Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0148
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1163 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1171 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.768
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RANDOLPH J F POTTER                                          Contingent
         1200 S Pine Island Road Suite 230                            Unliquidated
         Plantation, FL 33324-4459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7949
                                                                   Is the claim subject to offset?     No       Yes

3.768
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RANDY HILLMAN PA                                             Contingent
         P.O. Box 420007                                              Unliquidated
         Kissimmee, FL 34742-0007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7725
                                                                   Is the claim subject to offset?     No       Yes

3.768
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RANDY LUDACER                                                Contingent
         123 Orange Road Northwest                                    Unliquidated
         Lake Placid, FL 33852-6870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3716
                                                                   Is the claim subject to offset?     No       Yes

3.768
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDY MARK GOLDBERG                                          Contingent
         1101 Southwest 71st Avenue                                   Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0601
                                                                   Is the claim subject to offset?     No       Yes

3.768
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RANDY ZELDIN                                                 Contingent
         1501 Corporate Drive Suite 240                               Unliquidated
         Boynton Beach, FL 33426-6654
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4840
                                                                   Is the claim subject to offset?     No       Yes

3.768
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RANTSON E DAVIS                                              Contingent
         103 S Old Dixie Highway                                      Unliquidated
         Lady Lake, FL 32159-4349
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5482
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1164 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1172 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.768
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAPHAEL STEINHARDT                                           Contingent
         2121 N.E. 190th Street                                       Unliquidated
         North Miami Beach, FL 33179-4352
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3943
                                                                   Is the claim subject to offset?     No       Yes

3.769
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Raposo Walled, P.L.                                          Contingent
         216 N Miami Avenue                                           Unliquidated
         Miami, FL 33128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8013
                                                                   Is the claim subject to offset?     No       Yes

3.769
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAQUEL M MATAS                                               Contingent
         2333 Ponce De Leon Boulevard Suite 650                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0409
                                                                   Is the claim subject to offset?     No       Yes

3.769
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAQUEL PUIG ZALDIVAR                                         Contingent
         P.O. Box 557182                                              Unliquidated
         Miami, FL 33255-7182
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4987
                                                                   Is the claim subject to offset?     No       Yes

3.769
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAQUEL ROTHMAN PL                                            Contingent
         20900 Northeast 30th Avenue 8th Floor                        Unliquidated
         Aventura, FL 33180-2100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7898
                                                                   Is the claim subject to offset?     No       Yes

3.769
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAS Title, L.L.C.                                            Contingent
         6409 Congress Avenue                                         Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7034                      Is the claim subject to offset?     No       Yes

3.769
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         RASCO KLOCK REININGER PEREZ                                  Contingent
         2555 Ponce De Leon Boulevard                                 Unliquidated
         Suite 600
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8244                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1165 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1173 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.769
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RAUL A COSSIO                                                Contingent
         103301 Overseas Highway Suite A                              Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6246
                                                                   Is the claim subject to offset?     No       Yes

3.769
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL A MONTANER                                              Contingent
         175 Fountainebleau Boulevard Suite 1a                        Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6891
                                                                   Is the claim subject to offset?     No       Yes

3.769
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAUL CARRERAS JR                                             Contingent
         P.O. Box 2405                                                Unliquidated
         Ocala, FL 34478-2405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7575
                                                                   Is the claim subject to offset?     No       Yes

3.769
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL D CABRERA                                               Contingent
         4201 Southwest 11th Street                                   Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2662
                                                                   Is the claim subject to offset?     No       Yes

3.770
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL DELGADO                                                 Contingent
         10235 Southwest 8th Terrace                                  Unliquidated
         Miami, FL 33174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7874
                                                                   Is the claim subject to offset?     No       Yes

3.770
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RAUL E SALAS PA                                              Contingent
         6301 Sunset Drive                                            Unliquidated
         Suite 203
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4377                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1166 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1174 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.770
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAUL FERNANDEZ-VALLE                                         Contingent
         5460 Southwest 65th Avenue Road                              Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4109
                                                                   Is the claim subject to offset?     No       Yes

3.770
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL FLORES PA                                               Contingent
         P.O. Box 772073                                              Unliquidated
         Miami, FL 33177
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7002
                                                                   Is the claim subject to offset?     No       Yes

3.770
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL G MENDOZA                                               Contingent
         2600 Douglas Road                                            Unliquidated
         Suite 400
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8577                      Is the claim subject to offset?     No       Yes

3.770
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL GASTESI JR                                              Contingent
         8105 Northwest 155th Street                                  Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6500
                                                                   Is the claim subject to offset?     No       Yes

3.770
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         RAUL J A MARTINEZ-ESTEVE                                     Contingent
         901 Ponce Deleon Boulevard Suite 304                         Unliquidated
         Coral Gables, FL 33134-3073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 359
                                                                   Is the claim subject to offset?     No       Yes

3.770
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL J SANCHEZ DE VARONA                                     Contingent
         1320 S Dixie Highway Suite 280                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9080
                                                                   Is the claim subject to offset?     No       Yes

3.770
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL R DELGADO DE ARMAS                                      Contingent
         600 Brickell Avenue Suite 500                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4766
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1167 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1175 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.770
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RAUL ROQUE                                                   Contingent
         2021 East 7th Ave.                                           Unliquidated
         Tampa, FL 33605-3901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2118
                                                                   Is the claim subject to offset?     No       Yes

3.771
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAUL SOCARRAS PA                                             Contingent
         255 S Orange Avenue                                          Unliquidated
         Suite 720
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1884                      Is the claim subject to offset?     No       Yes

3.771
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAVI VAIDYA                                                  Contingent
         C/O E Zayas Beneficial Finance                               Unliquidated
         8181 Northwest 36th Street
                                                                      Disputed
         Miami, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2357                      Is the claim subject to offset?     No       Yes

3.771
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RAY A SCHLICHTE JR PA                                        Contingent
         2134 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020-6701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4333
                                                                   Is the claim subject to offset?     No       Yes

3.771
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAY P POPE                                                   Contingent
         P.O. Box 30112                                               Unliquidated
         Pensacola, FL 32503-1112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1649
                                                                   Is the claim subject to offset?     No       Yes

3.771
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,283.56
         RAY STRAUSS                                                  Contingent
         17280 NE 19th Avenue                                         Unliquidated
         North Miami Beach, FL 33162                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6929
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1168 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1176 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.771
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rayboun Mulligan, P.L.L.C.                                   Contingent
         105 West 5th Avenue                                          Unliquidated
         Tallahassee, FL 32303
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9468
                                                                   Is the claim subject to offset?     No       Yes

3.771
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAYMER F MAGUIRE 111                                         Contingent
         1010 Executive Center Drive Suite 121                        Unliquidated
         Orlando, FL 32803-3521
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8061
                                                                   Is the claim subject to offset?     No       Yes

3.771
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAYMOND A GOODWILL JR                                        Contingent
         P.O. Box 2334                                                Unliquidated
         Winter Haven, FL 33883-2334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3800
                                                                   Is the claim subject to offset?     No       Yes

3.771
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND B PALMER                                             Contingent
         913 Gulf Breeze Parkway                                      Unliquidated
         Suite 41
                                                                      Disputed
         Gulf Breeze, FL 32561-4728
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0627                      Is the claim subject to offset?     No       Yes

3.771
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAYMOND C CONKLIN                                            Contingent
         3111 Sharer Road                                             Unliquidated
         Tallahassee, FL 32312-1909
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7352
                                                                   Is the claim subject to offset?     No       Yes

3.772
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RAYMOND E MAKOWSKI                                           Contingent
         P.O. Box 551174                                              Unliquidated
         Jacksonville, FL 32255-1174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4999
                                                                   Is the claim subject to offset?     No       Yes

3.772
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAYMOND E MILLER                                             Contingent
         P.O. Box 983                                                 Unliquidated
         Venice, FL 34280
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4161
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1169 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1177 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.772
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAYMOND H. HODGES                                            Contingent
         P.O. Box 548                                                 Unliquidated
         Zephyrhills, FL 33539-0548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1575
                                                                   Is the claim subject to offset?     No       Yes

3.772
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND J BOWIE                                              Contingent
         900 Sixth Avenue S Suite 104                                 Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2095
                                                                   Is the claim subject to offset?     No       Yes

3.772
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND J KAYAL JR                                           Contingent
         6910 NW 12th Street                                          Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6675
                                                                   Is the claim subject to offset?     No       Yes

3.772
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND J RAFOOL II                                          Contingent
         P.O. Box 7286                                                Unliquidated
         Winter Haven, FL 33883-7286
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7438
                                                                   Is the claim subject to offset?     No       Yes

3.772
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND K STEELE                                             Contingent
         Street Martin - Suite 912                                    Unliquidated
         1717 E Beltline Road
                                                                      Disputed
         Coppel, TX 75019
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3731                      Is the claim subject to offset?     No       Yes

3.772
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RAYMOND L BALLOU PA                                          Contingent
         P.O. Box 47565                                               Unliquidated
         St Petersburg, FL 33743-7565
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3901
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1170 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1178 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.772
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND L ROBINSON                                           Contingent
         Robinson & Associates P.A.                                   Unliquidated
         1501 Venera Avenue Suite 300
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4596                      Is the claim subject to offset?     No       Yes

3.772
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         RAYMOND L SYFRETT PA                                         Contingent
         P.O. Box 1186                                                Unliquidated
         Panama City, FL 32402-1186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4486
                                                                   Is the claim subject to offset?     No       Yes

3.773
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND M BLACKLIDGE                                         Contingent
         28810 Falling Leaves Way                                     Unliquidated
         Wesley Chapel, FL 33543
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7597
                                                                   Is the claim subject to offset?     No       Yes

3.773
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RAYMOND M MASCIARELLA II                                     Contingent
         840 Us. Highway One Suite 340                                Unliquidated
         North Palm Beach, FL 33408-3834
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8034
                                                                   Is the claim subject to offset?     No       Yes

3.773
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $15.55
         RAYMOND P. HARRIS, JR.                                       Contingent
         1920 E. Hillsboro, Suite 246                                 Unliquidated
         Tampa, FL 33610                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6699
                                                                   Is the claim subject to offset?     No       Yes

3.773
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND PLACID                                               Contingent
         15275 Collier Boulevard Suite 201                            Unliquidated
         Naples, FL 34119
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9191
                                                                   Is the claim subject to offset?     No       Yes

3.773
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND R BEITRA                                             Contingent
         900 W 49th Street Suite 430                                  Unliquidated
         Hialeah, FL 33012-3488
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1098
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1171 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1179 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.773
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         RAYMOND R SCHROEDER                                          Contingent
         P.O. Box 1029                                                Unliquidated
         Mauldin, SC 29662-1029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6380
                                                                   Is the claim subject to offset?     No       Yes

3.773
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND REA                                                  Contingent
         Box 310                                                      Unliquidated
         Boynton Beach, FL 33425-0310
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8714
                                                                   Is the claim subject to offset?     No       Yes

3.773
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RAYMOND S GRIMM                                              Contingent
         1800 2nd Street Suite 900                                    Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7864
                                                                   Is the claim subject to offset?     No       Yes

3.773
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,182.28
         RAYMOND W ROYCE                                              Contingent
         222 Lakeview Avenue Suite 1000                               Unliquidated
         West Palm Beach, FL 33401                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7315
                                                                   Is the claim subject to offset?     No       Yes

3.773
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,123.60
         RAYMOND WILSON & CONWAY PA                                   Contingent
         192 Vining Court                                             Unliquidated
         Ormond Beach, FL 32176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 189
                                                                   Is the claim subject to offset?     No       Yes

3.774
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Read Law, PLLC                                               Contingent
         25 SE 2nd Avenue                                             Unliquidated
         Suite 828
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0753                      Is the claim subject to offset?     No       Yes

3.774
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Real Estate and Association Law Firm, P.                     Contingent
         401 E Las Olas Blve Suite 1301-168                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8162
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1172 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1180 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.774
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Real Estate Law Group, P.L.L.C.                              Contingent
         2645 Southwest 37th Avenue Suite 301                         Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7918
                                                                   Is the claim subject to offset?     No       Yes

3.774
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Real Estate Matters Law Firm, P.L.L.C.                       Contingent
         8695 College Parkway Suite 2025                              Unliquidated
         Ft Myers, FL 33915
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8659
                                                                   Is the claim subject to offset?     No       Yes

3.774
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Realty Law Group, P.L.L.C.                                   Contingent
         560 Village Boulevard                                        Unliquidated
         Suite 120
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9348                      Is the claim subject to offset?     No       Yes

3.774
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Realty Title Services, Inc.                                  Contingent
         3971 SW 8th Street                                           Unliquidated
         Suite 305
                                                                      Disputed
         Miami, FL 33134-2951
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5589                      Is the claim subject to offset?     No       Yes

3.774
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Recalde & Friedman, P.L.L.C.                                 Contingent
         2875 NE 191st Street                                         Unliquidated
         Suite 500
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7114                      Is the claim subject to offset?     No       Yes

3.774
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Red Five Law & Title, LLC                                    Contingent
         6810 N. State Road 7                                         Unliquidated
         Coconut Creek, FL 33073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9146
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1173 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1181 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.774
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REDDING & ASSOCIATES PA                                      Contingent
         113 S. MacDill Avenue                                        Unliquidated
         Suite A
                                                                      Disputed
         Tampa, FL 33609
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6034                      Is the claim subject to offset?     No       Yes

3.774
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         REDGRAVE & OLIVER LLP                                        Contingent
         120 E Palmetto Park Road Suite 400                           Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5185
                                                                   Is the claim subject to offset?     No       Yes

3.775
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Reef Title Company, L.L.C.                                   Contingent
         31 Ocean Reef Drive                                          Unliquidated
         Suite A-201
                                                                      Disputed
         Key Largo, FL 33037
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8202                      Is the claim subject to offset?     No       Yes

3.775
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REEVES & DAVIS                                               Contingent
         730 BAYFRONT PARKWAY STE 4-B                                 Unliquidated
         PENSACOLA, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5629
                                                                   Is the claim subject to offset?     No       Yes

3.775
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         REGALADO-HERRERA PA                                          Contingent
         2250 Southwest 3rd Avenue Suite 500                          Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9043
                                                                   Is the claim subject to offset?     No       Yes

3.775
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         REGENT LAW FIRM PA                                           Contingent
         1020 E Brandon Boulevard Suite 211                           Unliquidated
         Brandon, FL 33511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6494
                                                                   Is the claim subject to offset?     No       Yes

3.775
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         REGGIE D SANGER                                              Contingent
         208 Southeast 9th Street                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6633
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1174 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1182 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.775
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         REGINA TSOMBANAKIS PA                                        Contingent
         600 Southwest 4th Avenue Suite 114                           Unliquidated
         Ft Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3186
                                                                   Is the claim subject to offset?     No       Yes

3.775
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Reginald G. Stambaugh, P.A.                                  Contingent
         224 Datura Street                                            Unliquidated
         Suite 1001
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0353                      Is the claim subject to offset?     No       Yes

3.775
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REGLA M SIBILA                                               Contingent
         815 Ponce De Leon Boulevard Suite 305                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3920
                                                                   Is the claim subject to offset?     No       Yes

3.775
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Regueyra & Llerandi, PLLC                                    Contingent
         5901 SW 74th Street                                          Unliquidated
         Suite 300
                                                                      Disputed
         Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0724                      Is the claim subject to offset?     No       Yes

3.775
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         REID & AGEE PLLC                                             Contingent
         3633 26th Street West                                        Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5344
                                                                   Is the claim subject to offset?     No       Yes

3.776
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Reid Legal Solutions, P.A.                                   Contingent
         120 E. 4th Avenue                                            Unliquidated
         Suite B-2
                                                                      Disputed
         Mount Dora, FL 32757
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1053                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1175 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1183 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.776
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REID MOORE JR                                                Contingent
         P.O. Box 2764                                                Unliquidated
         Palm Beach, FL 33480-2764
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8409
                                                                   Is the claim subject to offset?     No       Yes

3.776
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REINHARD G STEPHAN                                           Contingent
         241 S. Westmonte Drive                                       Unliquidated
         Suite 1010
                                                                      Disputed
         Altamonte Springs, FL 32714
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9929                      Is the claim subject to offset?     No       Yes

3.776
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,513.50
         REINMAN HARRELL GRAHAM                                       Contingent
         1825 S Riverview Drive                                       Unliquidated
         Melbourne, FL 32901-4711                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5190
                                                                   Is the claim subject to offset?     No       Yes

3.776
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         REISMAN LAW GROUP PA                                         Contingent
         1379 Harbor View East                                        Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6690
                                                                   Is the claim subject to offset?     No       Yes

3.776
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         REMER & GEORGES-PIERRE PA                                    Contingent
         11900 Biscayne Boulevard Suite 288                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8723
                                                                   Is the claim subject to offset?     No       Yes

3.776
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RENA K MAGOLNICK                                             Contingent
         P.O. Box 424                                                 Unliquidated
         Everglades City, FL 34139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4693
                                                                   Is the claim subject to offset?     No       Yes

3.776
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Renaissance Title Corporation                                Contingent
         6111 Broken Sound Parkway                                    Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8381                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1176 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1184 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.776
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RENATO PEREZ                                                 Contingent
         1105 Southwest 87th Avenue                                   Unliquidated
         Miami, FL 33174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4208
                                                                   Is the claim subject to offset?     No       Yes

3.776
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RENE E COTO PA                                               Contingent
         14345 Commerce Way                                           Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1414
                                                                   Is the claim subject to offset?     No       Yes

3.777
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         RENE G VAN DE VOORDE                                         Contingent
         1327 N Central Avenue                                        Unliquidated
         Sebastian, FL 32958-1607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6638
                                                                   Is the claim subject to offset?     No       Yes

3.777
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rene G. Sagebien, P.A.                                       Contingent
         2127 Brickell Avenue                                         Unliquidated
         Suite 3405
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0761                      Is the claim subject to offset?     No       Yes

3.777
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RENE NAVARRO                                                 Contingent
         Rene Navarro P.A.                                            Unliquidated
         782 Northwest 42nd Avenue Suite 341
                                                                      Disputed
         Miami, FL 33126-5550
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8249                      Is the claim subject to offset?     No       Yes

3.777
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RENE SACASAS                                                 Contingent
         3790 Kent Circle                                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6991
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1177 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1185 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.777
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RENEE ADWAR ESQUIRE                                          Contingent
         Renee Adwar P.A.                                             Unliquidated
         848 Brickell Avenue, Suite 900
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2235                      Is the claim subject to offset?     No       Yes

3.777
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RENEE DEMARAS                                                Contingent
         5409 Overseas Highway Suite 286d                             Unliquidated
         Marathon, FL 33050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9068
                                                                   Is the claim subject to offset?     No       Yes

3.777
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RENIER CRUZ                                                  Contingent
         300 Sevilla Avenue Suite 301                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7354
                                                                   Is the claim subject to offset?     No       Yes

3.777
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RENU N MODY                                                  Contingent
         1000 Venetian Way Suite 103                                  Unliquidated
         Miami, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7805
                                                                   Is the claim subject to offset?     No       Yes

3.777
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,034.19
         REV LESTER E DURST                                           Contingent
         4535 Menewa Path                                             Unliquidated
         Pensacola, FL 32504                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7552
                                                                   Is the claim subject to offset?     No       Yes

3.777
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         REVIS & BLACKBURN PA                                         Contingent
         648 S Ridgewood Avenue                                       Unliquidated
         Daytona Beach, FL 32114-4932
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7899
                                                                   Is the claim subject to offset?     No       Yes

3.778
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         REX B GUTHRIE                                                Contingent
         370 Minorca Avenue Suite 15                                  Unliquidated
         Coral Gables, FL 33134-4311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 597
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1178 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1186 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.778
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REX J FORD                                                   Contingent
         P.O. Box 488                                                 Unliquidated
         Ocala, FL 32678-0488
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8661
                                                                   Is the claim subject to offset?     No       Yes

3.778
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         REX P COWAN                                                  Contingent
         P.O. Box 857                                                 Unliquidated
         Winter Haven, FL 33882-0857
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6707
                                                                   Is the claim subject to offset?     No       Yes

3.778
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Reyer Law Group, P.A.                                        Contingent
         5301 N. Federal Highway                                      Unliquidated
         Suite 130
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3916                      Is the claim subject to offset?     No       Yes

3.778
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Reyes & Busutil Law, P.A.                                    Contingent
         8485 SW 40th Street                                          Unliquidated
         Suite 301
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0142                      Is the claim subject to offset?     No       Yes

3.778
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Reyes Law Group, P.A.                                        Contingent
         2898 East Crooked Lake Drive                                 Unliquidated
         Eustis, FL 32726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6398
                                                                   Is the claim subject to offset?     No       Yes

3.778
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Reynolds & Reynolds, P.L.                                    Contingent
         120 S. Olive Avenue                                          Unliquidated
         Suite 600
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8635                      Is the claim subject to offset?     No       Yes

3.778
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         REYNOLDS & STOWELL PA                                        Contingent
         8700 4th Street N                                            Unliquidated
         St Petersburg, FL 33702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6210
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1179 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1187 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.778
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rgm Title Services, L.L.C.                                   Contingent
         17961 Biscayne Boulevard Suite A1                            Unliquidated
         Aventura, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7410
                                                                   Is the claim subject to offset?     No       Yes

3.778
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RHADAMES C BATISTA                                           Contingent
         Batista & Batista P.A.                                       Unliquidated
         7171 Coral Way Suite 400
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4497                      Is the claim subject to offset?     No       Yes

3.779
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,936.36
         RHODES TUCKER & GARRETSON                                    Contingent
         1060 Borghese Lane Suite 1803                                Unliquidated
         Naples, FL 34114                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6333
                                                                   Is the claim subject to offset?     No       Yes

3.779
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RHONDA A ANDERSON                                            Contingent
         2420 Coral Way                                               Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8396
                                                                   Is the claim subject to offset?     No       Yes

3.779
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,917.85
         RICARDO MARTINEZ-CID                                         Contingent
         2250 SW 3rd Avenue                                           Unliquidated
         Suite 203                                                    Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5634                      Is the claim subject to offset?     No       Yes


3.779
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICARDO R VIVES                                              Contingent
         201 Alhambra Circle Suite 500                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4988
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1180 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1188 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.779
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICCA & WHITMIRE PA                                          Contingent
         P.O. Drawer 4888                                             Unliquidated
         West Palm Beach, FL 33402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5094
                                                                   Is the claim subject to offset?     No       Yes

3.779
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICE AND ROSE                                                Contingent
         P.O. Box 2599                                                Unliquidated
         Daytona Beach, FL 32115-2599
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8615
                                                                   Is the claim subject to offset?     No       Yes

3.779
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD A ARONSKY PA                                         Contingent
         16425 Collins Avenue Suite Ws6a                              Unliquidated
         Sunny Isles Beach, FL 33160-4537
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5745
                                                                   Is the claim subject to offset?     No       Yes

3.779
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A BEAUCHAMP                                          Contingent
         Suite 350                                                    Unliquidated
         1995 E Oakland Park Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5087                      Is the claim subject to offset?     No       Yes

3.779
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A COLLMAN                                            Contingent
         The Village                                                  Unliquidated
         2340 Periwinkle Way Suite I-2
                                                                      Disputed
         Sanibel, FL 33957
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7468                      Is the claim subject to offset?     No       Yes

3.779
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A CRISONINO                                          Contingent
         2534 Southwest 6th Street                                    Unliquidated
         Miami, FL 33135-2926
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4933
                                                                   Is the claim subject to offset?     No       Yes

3.780
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A GESCHEIDT                                          Contingent
         P.O. Box 2702                                                Unliquidated
         Ft Myers, FL 33902-2702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5545
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1181 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1189 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.780
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD A HEROLD                                             Contingent
         P.O. Box 76                                                  Unliquidated
         Elijay, GA 30540-3555
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6969
                                                                   Is the claim subject to offset?     No       Yes

3.780
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A KRAUSE                                             Contingent
         35 Clayton Lane                                              Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4287
                                                                   Is the claim subject to offset?     No       Yes

3.780
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A LEYDIG JR                                          Contingent
         107 Southeast 10th Street                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7786
                                                                   Is the claim subject to offset?     No       Yes

3.780
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD A MANZO                                              Contingent
         P.O. Box 599                                                 Unliquidated
         Titusville, FL 32781-0599
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4271
                                                                   Is the claim subject to offset?     No       Yes

3.780
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A MILLS III                                          Contingent
         73 Mountain View Road                                        Unliquidated
         Black Mountain, NC 28711-9769
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0011
                                                                   Is the claim subject to offset?     No       Yes

3.780
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A MUNOZ                                              Contingent
         2030 S Douglas Road Suite 206                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3490
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1182 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1190 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.780
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A ROSENBERG                                          Contingent
         P.O. Box 5113                                                Unliquidated
         Cleveland, TN 37320-5113
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2854
                                                                   Is the claim subject to offset?     No       Yes

3.780
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A SHAPIRO                                            Contingent
         2071 Main Street                                             Unliquidated
         Sarasota, FL 34237-6038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6338
                                                                   Is the claim subject to offset?     No       Yes

3.780
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A VENDITTI PA                                        Contingent
         500 E Tarpon Avenue                                          Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9082
                                                                   Is the claim subject to offset?     No       Yes

3.781
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD A WAGNER                                             Contingent
         19 Orange Avenue                                             Unliquidated
         Rockledge, FL 32955
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1102
                                                                   Is the claim subject to offset?     No       Yes

3.781
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A WHITTINGTON                                        Contingent
         494 N Harbor City Boulevard                                  Unliquidated
         Melbourne, FL 32935-6858
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6086
                                                                   Is the claim subject to offset?     No       Yes

3.781
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A. LAWRENCE, JR, PA                                  Contingent
         P.O. Drawer 818                                              Unliquidated
         Melbourne, FL 32902-0818
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3194
                                                                   Is the claim subject to offset?     No       Yes

3.781
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Richard A. Lopez                                             Contingent
         933 S. Florida Avenue                                        Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0533
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1183 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1191 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.781
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD A. RADIS                                             Contingent
         1215 E. Broward Blvd.                                        Unliquidated
         Ft Lauderdale, FL 33301-2133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3032
                                                                   Is the claim subject to offset?     No       Yes

3.781
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD ALAN RUSSELL                                         Contingent
         350 Jim Moran Boulevard Suite 210                            Unliquidated
         Deerfield Beach, FL 33442
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4381
                                                                   Is the claim subject to offset?     No       Yes

3.781
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD ALTSHULER                                            Contingent
         3100 Jefferson Street                                        Unliquidated
         Miami, FL 33133-3820
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1511
                                                                   Is the claim subject to offset?     No       Yes

3.781
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD B AUSTIN                                             Contingent
         P.O. Box 830310                                              Unliquidated
         Miami, FL 33283-0310
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2403
                                                                   Is the claim subject to offset?     No       Yes

3.781
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD B BADGLEY                                            Contingent
         P.O. Box 40031                                               Unliquidated
         St Petersburg, FL 33743-0031
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7118
                                                                   Is the claim subject to offset?     No       Yes

3.781
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,904.39
         RICHARD B BURK                                               Contingent
         7400 W Lake Drive                                            Unliquidated
         West Palm Beach, FL 33406-6724                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7318
                                                                   Is the claim subject to offset?     No       Yes

3.782
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD B COLLINS                                            Contingent
         P.O. Box 12429                                               Unliquidated
         Tallahassee, FL 32317-2429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6551
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1184 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1192 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.782
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD B MARX                                               Contingent
         Concord Building 2nd Floor                                   Unliquidated
         66 W Flagler Street
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5525                      Is the claim subject to offset?     No       Yes

3.782
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD B MATEER PA                                          Contingent
         21301 Powerline Road                                         Unliquidated
         Suite 309 Grove Center
                                                                      Disputed
         Boca Raton, FL 33433-2391
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5327                      Is the claim subject to offset?     No       Yes

3.782
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD B PYLES                                              Contingent
         15888 Southwest 95 Avenue Suite 126                          Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0328
                                                                   Is the claim subject to offset?     No       Yes

3.782
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD B SCHWALBE                                           Contingent
         1301 Gulf Life Drive Suite 1500                              Unliquidated
         Jacksonville, FL 32207-9018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6946
                                                                   Is the claim subject to offset?     No       Yes

3.782
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         RICHARD B WARREN PA                                          Contingent
         4800 N. Federal Highway                                      Unliquidated
         Suite A-205
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3746                      Is the claim subject to offset?     No       Yes

3.782
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD BURNS                                                Contingent
         10900 N. Kendall Drive                                       Unliquidated
         Suite 100
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7590                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1185 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1193 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.782
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD C BOOTH                                              Contingent
         100 E. Granada Boulevard                                     Unliquidated
         Suite 209
                                                                      Disputed
         Ormond Beach, FL 32176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4109                      Is the claim subject to offset?     No       Yes

3.782
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $52.12
         RICHARD C DAVIS                                              Contingent
         920 W Bay Drive                                              Unliquidated
         Largo, FL 34640-3224                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8096
                                                                   Is the claim subject to offset?     No       Yes

3.782
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD C ENTIN                                              Contingent
         110 Southeast 6th Street Suite 1970                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6294
                                                                   Is the claim subject to offset?     No       Yes

3.783
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD C GRIESINGER                                         Contingent
         24641 US Highway 19 N Suite 525                              Unliquidated
         Clearwater, FL 34623-4084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8129
                                                                   Is the claim subject to offset?     No       Yes

3.783
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD C HALTON                                             Contingent
         89 Haren Drive                                               Unliquidated
         Rocky Hill, CT 06067-1063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8434
                                                                   Is the claim subject to offset?     No       Yes

3.783
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD C KOSKEY                                             Contingent
         3511 W Commercial Boulevard Suite 302                        Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4555
                                                                   Is the claim subject to offset?     No       Yes

3.783
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD C LANGFORD                                           Contingent
         P.O. Box 868                                                 Unliquidated
         Bartow, FL 33831
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4292
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1186 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1194 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.783
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD C MIGLIACCIO                                         Contingent
         1507 Golfside Drive                                          Unliquidated
         Winter Park, FL 32792-3157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7712
                                                                   Is the claim subject to offset?     No       Yes

3.783
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD C MILSTEIN                                           Contingent
         801 Brickell Avenue 24th Floor                               Unliquidated
         Miami, FL 33131-2900
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8563
                                                                   Is the claim subject to offset?     No       Yes

3.783
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD C TROLLOPE                                           Contingent
         P.O. Box 106                                                 Unliquidated
         Panama City, FL 32402-0106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1504
                                                                   Is the claim subject to offset?     No       Yes

3.783
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD C WALLER                                             Contingent
         11463-A Southwest 109th Road                                 Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4883
                                                                   Is the claim subject to offset?     No       Yes

3.783
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         RICHARD C WILLIAMS JR                                        Contingent
         6337 Grand Boulevard                                         Unliquidated
         New Port Richey, FL 34652-2312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2705
                                                                   Is the claim subject to offset?     No       Yes

3.783
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD C. WOLFE                                             Contingent
         1031 North Miami Beach Blvd.                                 Unliquidated
         North Miami Beach, FL 33162-3842
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8709
                                                                   Is the claim subject to offset?     No       Yes

3.784
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD D CIMINO                                             Contingent
         4851 Tamiami Trail N.                                        Unliquidated
         Unit 222
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9212                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1187 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1195 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.784
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         RICHARD D DAVIDSON                                           Contingent
         P.O. Box 2809                                                Unliquidated
         Orlando, FL 32802-2809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 526
                                                                   Is the claim subject to offset?     No       Yes

3.784
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD D KATZ                                               Contingent
         2600 S Douglas Road Suite 607                                Unliquidated
         Coral Gables, FL 33134-6100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0342
                                                                   Is the claim subject to offset?     No       Yes

3.784
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD D LYONS                                              Contingent
         Bond Schoeneck & King P.A.                                   Unliquidated
         26811 S Bay Drive Suite 200
                                                                      Disputed
         Bonita Springs, FL 34134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2724                      Is the claim subject to offset?     No       Yes

3.784
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD D PERCIC                                             Contingent
         1061 E Indian Town Road Suite 400                            Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2063
                                                                   Is the claim subject to offset?     No       Yes

3.784
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         RICHARD D SABA PA                                            Contingent
         2033 Main Street                                             Unliquidated
         Suite 400
                                                                      Disputed
         Sarasota, FL 34237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7926                      Is the claim subject to offset?     No       Yes

3.784
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         RICHARD D SNEED JR PA                                        Contingent
         Mardi Executive Center                                       Unliquidated
         1905 S 25th Street, Suite 206
                                                                      Disputed
         Ft Pierce, FL 34947
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4636                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1188 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1196 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.784
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD D TOBIN                                              Contingent
         2929 E Commercial Boulevard Suite 702                        Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5153
                                                                   Is the claim subject to offset?     No       Yes

3.784
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD D. SCHULER                                           Contingent
         1615 Forum Place                                             Unliquidated
         Suite 4-D, Barristers Building
                                                                      Disputed
         West Palm Beach, FL 33401-2317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4787                      Is the claim subject to offset?     No       Yes

3.784
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD E BENTON                                             Contingent
         1415 E. Piedmont Drive                                       Unliquidated
         Suite 4
                                                                      Disputed
         Tallahassee, FL 32308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1139                      Is the claim subject to offset?     No       Yes

3.785
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD E BOSSE PA                                           Contingent
         P.O. Box 315                                                 Unliquidated
         Henning, MN 56551-0357
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4740
                                                                   Is the claim subject to offset?     No       Yes

3.785
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD E CLARK                                              Contingent
         P.O. Box 14637                                               Unliquidated
         North Palm Beach, FL 33408-0637
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4039
                                                                   Is the claim subject to offset?     No       Yes

3.785
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD E DEUTCH JR                                          Contingent
         One Southeast Third Avenue Suite 3050                        Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5978
                                                                   Is the claim subject to offset?     No       Yes

3.785
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD E DOUGLAS PA                                         Contingent
         3440 Hollywood Boulevard                                     Unliquidated
         Suite 415
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2577                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1189 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1197 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.785
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD E DUNEGAN                                            Contingent
         Bc 2323                                                      Unliquidated
         413 Interamerica Boulevard Wh1
                                                                      Disputed
         Laredo, TX 78045
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7981                      Is the claim subject to offset?     No       Yes

3.785
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD E GITLEN                                             Contingent
         611 S Federal Highway Suite G                                Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2404
                                                                   Is the claim subject to offset?     No       Yes

3.785
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD E JESMONTH                                           Contingent
         217 E Intendencia Street Suite A                             Unliquidated
         Pensacola, FL 32501-6022
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5903
                                                                   Is the claim subject to offset?     No       Yes

3.785
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD E LAWHORN                                            Contingent
         120 E Granada Boulevard                                      Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6438
                                                                   Is the claim subject to offset?     No       Yes

3.785
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD F CHAMBERLIN                                         Contingent
         P.O. Box 3542                                                Unliquidated
         Crestline, CA 92325-3542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1726
                                                                   Is the claim subject to offset?     No       Yes

3.785
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD F HUSSEY                                             Contingent
         P.O. Box 14333                                               Unliquidated
         Ft Lauderdale, FL 33302-4333
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4578
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1190 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1198 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.786
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD F KONDLA                                             Contingent
         3929 NE 171 Street                                           Unliquidated
         North Miami Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5705
                                                                   Is the claim subject to offset?     No       Yes

3.786
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         RICHARD F TRISMEN                                            Contingent
         P.O. Box 1660                                                Unliquidated
         Winter Park, FL 32790-1660
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4426
                                                                   Is the claim subject to offset?     No       Yes

3.786
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD F. SCOTT                                             Contingent
         1214 E. Robinson Street                                      Unliquidated
         Orlando, FL 32801-2116
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7796
                                                                   Is the claim subject to offset?     No       Yes

3.786
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD FRANZBLAU LLC                                        Contingent
         3505 Lake Lynda Drive                                        Unliquidated
         Suite 200
                                                                      Disputed
         Orlando, FL 32817
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4706                      Is the claim subject to offset?     No       Yes

3.786
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD G COKER JR                                           Contingent
         1404 S Andrews Avenue                                        Unliquidated
         Ft Lauderdale, FL 33316-1840
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 253
                                                                   Is the claim subject to offset?     No       Yes

3.786
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD G SALZMAN PA                                         Contingent
         4340 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0122
                                                                   Is the claim subject to offset?     No       Yes

3.786
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD G. OZELIE                                            Contingent
         1750 E. Sunrise Boulevard                                    Unliquidated
         Ft Lauderdale, FL 33304-3013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6813
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1191 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1199 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.786
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD GOLDSTONE PA                                         Contingent
         2717 W Cypress Creek Road Suite 800                          Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8679
                                                                   Is the claim subject to offset?     No       Yes

3.786
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $139.16
         RICHARD GUTTMAN                                              Contingent
         10 Old Farm Road                                             Unliquidated
         Bay Harbor, ME 04609-1504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0733
                                                                   Is the claim subject to offset?     No       Yes

3.786
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD H BRESLOW                                            Contingent
         7000 Island Boulevard Apt 1004                               Unliquidated
         Aventura, FL 33160-2460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 203
                                                                   Is the claim subject to offset?     No       Yes

3.787
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD H CRITCHFIELD                                        Contingent
         1001 E Atlantic Avenue Suite 201                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8203
                                                                   Is the claim subject to offset?     No       Yes

3.787
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD H HUNT & ASSOCIATES PA                               Contingent
         600 Biltmore Way Suite 418                                   Unliquidated
         Coral Gables, FL 33134-7530
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3989
                                                                   Is the claim subject to offset?     No       Yes

3.787
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD H JACKERSON                                          Contingent
         313 Bryn Mawr Island                                         Unliquidated
         Bradenton, FL 34207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8088
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1192 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1200 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.787
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD H LOPEZ PA                                           Contingent
         5201 Blue Lagoon Drive Suite 807                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7560
                                                                   Is the claim subject to offset?     No       Yes

3.787
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD H POWELL                                             Contingent
         P.O. Drawer 2167                                             Unliquidated
         Ft Walton Beach, FL 32549-2167
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8116
                                                                   Is the claim subject to offset?     No       Yes

3.787
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD H SIMONSON                                           Contingent
         2800 W Oakland Park Boulevard Suite 301                      Unliquidated
         Oakland Park, FL 33311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6271
                                                                   Is the claim subject to offset?     No       Yes

3.787
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD H VURA                                               Contingent
         3228 Huntington                                              Unliquidated
         Ft Lauderdale, FL 33332
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4902
                                                                   Is the claim subject to offset?     No       Yes

3.787
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD H. W. MALOY                                          Contingent
         605 Ocean Drive, Apt. 4m                                     Unliquidated
         Key Biscayne, FL 33149-2305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3959
                                                                   Is the claim subject to offset?     No       Yes

3.787
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD I BLINDERMAN                                         Contingent
         P.O. Box 9057                                                Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9062
                                                                   Is the claim subject to offset?     No       Yes

3.787
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD I CERVELLI PA                                        Contingent
         1848 Airport Road South                                      Unliquidated
         Naples, FL 33962-3816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3853
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1193 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1201 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.788
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD I GLICK                                              Contingent
         4300 N University Drive Suite A-106                          Unliquidated
         Lauderhill, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4592
                                                                   Is the claim subject to offset?     No       Yes

3.788
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD I KANTNER JR                                         Contingent
         31 Beach Drive Southeast                                     Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8588
                                                                   Is the claim subject to offset?     No       Yes

3.788
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD I KORMAN                                             Contingent
         407 Lincoln Road                                             Unliquidated
         Suite 8R
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7191                      Is the claim subject to offset?     No       Yes

3.788
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD I MANAS                                              Contingent
         3726 Twisted Oaks Drive                                      Unliquidated
         San Antonio, TX 78217-3423
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3852
                                                                   Is the claim subject to offset?     No       Yes

3.788
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RICHARD J BARRON PA                                          Contingent
         Prospect Place                                               Unliquidated
         3111 S Dixie Highway Suite 221
                                                                      Disputed
         West Palm Beach, FL 33405
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7916                      Is the claim subject to offset?     No       Yes

3.788
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J BURTON                                             Contingent
         18305 Biscayne Boulevard Suite 300                           Unliquidated
         Aventura, FL 33160-2172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4819
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1194 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1202 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.788
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RICHARD J CORY PA                                            Contingent
         P.O. Box 643442                                              Unliquidated
         Vero Beach, FL 32964
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2103
                                                                   Is the claim subject to offset?     No       Yes

3.788
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J DAFONTE PA                                         Contingent
         P.O. Box 6047                                                Unliquidated
         Largo, FL 33773
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1840
                                                                   Is the claim subject to offset?     No       Yes

3.788
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J DEWITT                                             Contingent
         Richard J. Dewitt P.A.                                       Unliquidated
         2000 Ponce De Leon Boulevard 6th Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8866                      Is the claim subject to offset?     No       Yes

3.788
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD J DUNGEY                                             Contingent
         P.O. Drawer 6                                                Unliquidated
         Stuart, FL 34995-0006
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6890
                                                                   Is the claim subject to offset?     No       Yes

3.789
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J GEISERT PA                                         Contingent
         9851 NW 58th Street                                          Unliquidated
         Unit 115
                                                                      Disputed
         Miami, FL 33178-2718
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9323                      Is the claim subject to offset?     No       Yes

3.789
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD J KAPLAN                                             Contingent
         1999 University Drive Suite 402                              Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 307
                                                                   Is the claim subject to offset?     No       Yes

3.789
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J MARKOWITZ                                          Contingent
         13701 SW 88th Street                                         Unliquidated
         Suite 201
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5637                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1195 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1203 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.789
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J MONESCALCHI PA                                     Contingent
         5905-B S. State Road 7                                       Unliquidated
         Lake Worth, FL 33449
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6154
                                                                   Is the claim subject to offset?     No       Yes

3.789
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD J NEEFE                                              Contingent
         138 107th Avenue Suite 105                                   Unliquidated
         Treasure Island, FL 33706-4713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7194
                                                                   Is the claim subject to offset?     No       Yes

3.789
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD J O'HARE                                             Contingent
         2073 E. Dimple Dell Road                                     Unliquidated
         Sandy, UT 84092
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 488
                                                                   Is the claim subject to offset?     No       Yes

3.789
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD J OSTERNDORF                                         Contingent
         P.O. Box 2352                                                Unliquidated
         Daytona Beach, FL 32115-2352
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 577
                                                                   Is the claim subject to offset?     No       Yes

3.789
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J POTASH                                             Contingent
         Jacaranda Professional Park                                  Unliquidated
         133 Northwest 100th Avenue
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3584                      Is the claim subject to offset?     No       Yes

3.789
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RICHARD J R PARKINSON                                        Contingent
         3507 Laughlin Road                                           Unliquidated
         Zellwood, FL 32798
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1782
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1196 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1204 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.789
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD J ROSENBAUM                                          Contingent
         Richard J. Rosenbaum P.A.                                    Unliquidated
         17827 Murdock Circle Suite A
                                                                      Disputed
         Port Charlotte, FL 33948
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5608                      Is the claim subject to offset?     No       Yes

3.790
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         RICHARD J SALEM                                              Contingent
         101 E Kennedy Boulevard Suite 3220                           Unliquidated
         Tampa, FL 33602-3399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7163
                                                                   Is the claim subject to offset?     No       Yes

3.790
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD J SCRABIS                                            Contingent
         2831 Vistamar Street                                         Unliquidated
         Ft Lauderdale, FL 33304-4015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7339
                                                                   Is the claim subject to offset?     No       Yes

3.790
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RICHARD J TAYLOR                                             Contingent
         1 S School Avenue Suite 700                                  Unliquidated
         Sarasota, FL 34237-6045
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6478
                                                                   Is the claim subject to offset?     No       Yes

3.790
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,532.67
         RICHARD K INGLIS                                             Contingent
         2617 Northeast 27 Terrace                                    Unliquidated
         Ft Lauderdale, FL 33306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3774
                                                                   Is the claim subject to offset?     No       Yes

3.790
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD KANE                                                 Contingent
         928 George Hecker Drive                                      Unliquidated
         South Daytona, FL 32119-3173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4018
                                                                   Is the claim subject to offset?     No       Yes

3.790
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD L ALFORD PA                                          Contingent
         36426 US Highway 19 N                                        Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6023
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1197 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1205 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.790
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $129.00
         RICHARD L CASSIN JR                                          Contingent
         C/O McDermott Singapore                                      Unliquidated
         P.O. Box 61961                                               Disputed
         New Orleans, LA 70161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6723                      Is the claim subject to offset?     No       Yes


3.790
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         RICHARD L FLETCHER JR                                        Contingent
         1200 Belleair Circle                                         Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0159
                                                                   Is the claim subject to offset?     No       Yes

3.790
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD L GUMO                                               Contingent
         611 Newbridge Road                                           Unliquidated
         New York, NY 11554-5219
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6773
                                                                   Is the claim subject to offset?     No       Yes

3.790
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD L LAMB                                               Contingent
         P.O. Box 6704                                                Unliquidated
         Vero Beach, FL 32961-6704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4340
                                                                   Is the claim subject to offset?     No       Yes

3.791
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD L PEARSE JR                                          Contingent
         569 S Duncan Avenue                                          Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2057
                                                                   Is the claim subject to offset?     No       Yes

3.791
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD L ZIFF                                               Contingent
         1961 Northwest 150 Avenue Suite 102                          Unliquidated
         Pembroke Pines, FL 33028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7313
                                                                   Is the claim subject to offset?     No       Yes

3.791
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD L. JOHNSON                                           Contingent
         362 Glenbrook Drive                                          Unliquidated
         Lantana, FL 33462-1017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5381
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1198 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1206 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.791
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD L. POLIN                                             Contingent
         401 N.W. 2nd Avenue, Suite 820                               Unliquidated
         Miami, FL 33128-1740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6641
                                                                   Is the claim subject to offset?     No       Yes

3.791
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD M CAPALBO                                            Contingent
         633 SE 3rd Avenue                                            Unliquidated
         Suite 4F
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4924                      Is the claim subject to offset?     No       Yes

3.791
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M FERNANDEZ                                          Contingent
         P.O. Box 530676                                              Unliquidated
         Miami Shores, FL 33153-0676
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8444
                                                                   Is the claim subject to offset?     No       Yes

3.791
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD M GEORGES                                            Contingent
         P.O. Box 14545                                               Unliquidated
         St Petersburg, FL 33733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5734
                                                                   Is the claim subject to offset?     No       Yes

3.791
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M HABER                                              Contingent
         1311 N Church Avenue                                         Unliquidated
         Tampa, FL 33607-2484
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4274
                                                                   Is the claim subject to offset?     No       Yes

3.791
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         RICHARD M KIRSHNER                                           Contingent
         5901 Southwest 74th Street Suite 404                         Unliquidated
         South Miami, FL 33143-5164
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8316
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1199 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1207 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.791
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M KLITENICK                                          Contingent
         1009 Simonton Street                                         Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9933
                                                                   Is the claim subject to offset?     No       Yes

3.792
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M KNELLINGER                                         Contingent
         2815 Northwest 13th Street Suite 305                         Unliquidated
         Gainesville, FL 32609-2865
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4042
                                                                   Is the claim subject to offset?     No       Yes

3.792
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,401.50
         RICHARD M MCIVER                                             Contingent
         7500 Southwest 104th Street                                  Unliquidated
         Miami, FL 33156-3143                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 959
                                                                   Is the claim subject to offset?     No       Yes

3.792
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M MOGERMAN                                           Contingent
         Richard M. Mogerman P.A.                                     Unliquidated
         8211 W Broward Boulevard Suite 200
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5151                      Is the claim subject to offset?     No       Yes

3.792
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD M MOWRY JR                                           Contingent
         1351 Banyan Road                                             Unliquidated
         Boca Raton, FL 33432-4419
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4908
                                                                   Is the claim subject to offset?     No       Yes

3.792
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M POWERS                                             Contingent
         1506 Kessel Drive                                            Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2101
                                                                   Is the claim subject to offset?     No       Yes

3.792
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD M ROBBINS                                            Contingent
         1230 S Myrtle Avenue Suite 302                               Unliquidated
         Clearwater, FL 33756-3455
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3996
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1200 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1208 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.792
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD M SELMAN                                             Contingent
         1515 Lucena Drive                                            Unliquidated
         Fair Lawn, NJ 04710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7458
                                                                   Is the claim subject to offset?     No       Yes

3.792
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         RICHARD M SEPLER                                             Contingent
         2997 Day Avenue                                              Unliquidated
         Miami, FL 33133-5203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0066
                                                                   Is the claim subject to offset?     No       Yes

3.792
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         RICHARD M VOGEL                                              Contingent
         3936 N Tamiami Trail Suite B                                 Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7303
                                                                   Is the claim subject to offset?     No       Yes

3.792
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD M WHITEBROOK PA                                      Contingent
         2775 Sunny Isle Boulevard                                    Unliquidated
         Suite 118
                                                                      Disputed
         North Miami Beach, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6626                      Is the claim subject to offset?     No       Yes

3.793
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         RICHARD M ZELMAN                                             Contingent
         Sacher Zelman Et Al P.A.                                     Unliquidated
         9130 S Dadeland Boulevard, Suite 2000
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5543                      Is the claim subject to offset?     No       Yes

3.793
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD MELLMAN, P.A.                                        Contingent
         P.O. Box 2922                                                Unliquidated
         Gainesville, FL 32602-2922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6556
                                                                   Is the claim subject to offset?     No       Yes

3.793
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD MORGENTALER                                          Contingent
         18305 Biscayne Boulevard                                     Unliquidated
         Suite 214
                                                                      Disputed
         Aventura, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7026                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1201 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1209 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.793
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD MORTON                                               Contingent
         2699 S Bayshore Drive Suite 700                              Unliquidated
         Miami, FL 33133-5425
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4433
                                                                   Is the claim subject to offset?     No       Yes

3.793
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD N GREATWOOD                                          Contingent
         P.O. Box 547875                                              Unliquidated
         Orlando, FL 32854-7875
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9245
                                                                   Is the claim subject to offset?     No       Yes

3.793
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD O JONES                                              Contingent
         1250 Eau Gallie Boulevard Suite J                            Unliquidated
         Melbourne, FL 32935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1982
                                                                   Is the claim subject to offset?     No       Yes

3.793
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD P BREGER                                             Contingent
         3440 Hollywood Boulevard                                     Unliquidated
         Suite 415
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8681                      Is the claim subject to offset?     No       Yes

3.793
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD P O'CONNOR                                           Contingent
         19321 Wind Dancer Street                                     Unliquidated
         Lutz, FL 33558
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2092
                                                                   Is the claim subject to offset?     No       Yes

3.793
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD P PETERMANN                                          Contingent
         P.O. Box 2379                                                Unliquidated
         Ft Walton Beach, FL 32549
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9218
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1202 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1210 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.793
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD P ZARETSKY PA                                        Contingent
         1615 Forum Place                                             Unliquidated
         Suite 3A
                                                                      Disputed
         West Palm Beach, FL 33401-2267
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8437                      Is the claim subject to offset?     No       Yes

3.794
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD P. MCCUSKER JR.                                      Contingent
         1223 Walnut Street                                           Unliquidated
         Newton, MA 02161-1820
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4080
                                                                   Is the claim subject to offset?     No       Yes

3.794
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD PERLINI                                              Contingent
         200 E Broward Boulevard Suite 1210                           Unliquidated
         Ft Lauderdale, FL 33301-1915
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5446
                                                                   Is the claim subject to offset?     No       Yes

3.794
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD R COOK                                               Contingent
         P.O. Box 1929                                                Unliquidated
         Deland, FL 32721-1929
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6772
                                                                   Is the claim subject to offset?     No       Yes

3.794
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $228.66
         RICHARD R HAAS                                               Contingent
         700 S Cypress Road                                           Unliquidated
         Pompano Beach, FL 33060-8316                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2566
                                                                   Is the claim subject to offset?     No       Yes

3.794
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD R KOSAN                                              Contingent
         112 W Windhorst Road                                         Unliquidated
         Brandon, FL 33511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6072
                                                                   Is the claim subject to offset?     No       Yes

3.794
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD R MCCORMACK                                          Contingent
         5915 Ponce De Leon Boulevard Suite 63                        Unliquidated
         Miami, FL 33146-2435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5547
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1203 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1211 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.794
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,822.57
         RICHARD R MICHELSON                                          Contingent
         Nationsbank Building Suite 100                               Unliquidated
         7770 W Oakland Park Boulevard                                Disputed
         Sunrise, FL 33351
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0809                      Is the claim subject to offset?     No       Yes


3.794
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD R ROBLES                                             Contingent
         Tower 2 Mezzanine, Suite 228                                 Unliquidated
         905 Brickell Bay Drive
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4127                      Is the claim subject to offset?     No       Yes

3.794
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,742.81
         RICHARD R. PAIGE                                             Contingent
         169 E. Flagler Street                                        Unliquidated
         800 Alfred I. Dupont Building                                Disputed
         Miami, FL 33131-1210
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1808                      Is the claim subject to offset?     No       Yes


3.794
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD S BERGHOLTZ PA                                       Contingent
         Lake Town Center                                             Unliquidated
         3747 Lake Center Drive
                                                                      Disputed
         Mt Dora, FL 32757
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8181                      Is the claim subject to offset?     No       Yes

3.795
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD S GENDLER & ASSOCIATES                               Contingent
         18300 Northwest 62nd Avenue                                  Unliquidated
         Suite 200
                                                                      Disputed
         Miami, FL 33015
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5789                      Is the claim subject to offset?     No       Yes

3.795
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD S PILLINGER                                          Contingent
         3300 University Drive Suite 408                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4195
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1204 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1212 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.795
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         RICHARD S RUSSELL                                            Contingent
         2298 NW 2nd Avenue                                           Unliquidated
         Suite 15
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5918                      Is the claim subject to offset?     No       Yes

3.795
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD S TAYLOR JR                                          Contingent
         531 Dog Track Road                                           Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7716
                                                                   Is the claim subject to offset?     No       Yes

3.795
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD S WEBB IV                                            Contingent
         One Sarasota Tower Suite 500                                 Unliquidated
         2 N Tamiami Trail
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6228                      Is the claim subject to offset?     No       Yes

3.795
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         RICHARD S WEINSTEIN PA                                       Contingent
         312 S Old Dixie Highway Suite 206                            Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6294
                                                                   Is the claim subject to offset?     No       Yes

3.795
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1.30
         RICHARD S. KESSLER                                           Contingent
         1101 North Congress Avenue                                   Unliquidated
         Suite 200                                                    Disputed
         Boynton Beach, FL 33426-3319
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8181                      Is the claim subject to offset?     No       Yes


3.795
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD S. PATTERSON                                         Contingent
         P.O. Box 270492                                              Unliquidated
         Houston, TX 77277-0492
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7020
                                                                   Is the claim subject to offset?     No       Yes

3.795
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD S. PIPKIN                                            Contingent
         230 S. Commerce Avenue                                       Unliquidated
         Sebring, FL 33870-3605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3503
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1205 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1213 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.795
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD S. RHODES, P.A.                                      Contingent
         126 E. Jefferson Street                                      Unliquidated
         Orlando, FL 32801-1822
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4042
                                                                   Is the claim subject to offset?     No       Yes

3.796
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD STEPHEN OTTEWELL                                     Contingent
         3389a W Woolbright Road                                      Unliquidated
         Boynton Beach, FL 33436-7245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8962
                                                                   Is the claim subject to offset?     No       Yes

3.796
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARD T AVIS                                               Contingent
         535 Central Avenue Suite 301                                 Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8257
                                                                   Is the claim subject to offset?     No       Yes

3.796
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,168.26
         RICHARD T BENNISON                                           Contingent
         1446 Court Street                                            Unliquidated
         Clearwater, FL 34616-6147                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6636
                                                                   Is the claim subject to offset?     No       Yes

3.796
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,471.14
         RICHARD T COTTER PA                                          Contingent
         6100 Estero Boulevard                                        Unliquidated
         Ft Myers Beach, FL 33931                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3902
                                                                   Is the claim subject to offset?     No       Yes

3.796
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $97.83
         RICHARD T DONATO PA                                          Contingent
         1620 West Oakland Park Boulevard                             Unliquidated
         Suite 200
                                                                      Disputed
         Oakland Park, FL 33311
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7757                      Is the claim subject to offset?     No       Yes

3.796
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD T EARLE JR                                           Contingent
         P.O. Box 416                                                 Unliquidated
         St Petersburg, FL 33731-0416
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1971
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1206 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1214 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.796
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD T HEIDEN PA                                          Contingent
         2723 State Road 580                                          Unliquidated
         Clearwater, FL 33761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6297
                                                                   Is the claim subject to offset?     No       Yes

3.796
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD V ELLIS                                              Contingent
         3104 N Tamiami Trail                                         Unliquidated
         Hausburg Jaensch & Ellis
                                                                      Disputed
         Sarasota, FL 34234-5876
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 570                       Is the claim subject to offset?     No       Yes

3.796
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD V GRAY                                               Contingent
         7700 N Kendall Drive Suite 305                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7778
                                                                   Is the claim subject to offset?     No       Yes

3.796
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD V HARRISON                                           Contingent
         1264 N Palm Avenue                                           Unliquidated
         Sarasota, FL 34236-5604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2333
                                                                   Is the claim subject to offset?     No       Yes

3.797
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD V S ROOSA                                            Contingent
         1714 Cape Coral Parkway                                      Unliquidated
         Cape Coral, FL 33904-0535
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5858
                                                                   Is the claim subject to offset?     No       Yes

3.797
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD W ASCHENBRENNER                                      Contingent
         8306 Mills Drive Box 193                                     Unliquidated
         Miami, FL 33183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7296
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1207 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1215 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.797
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD W CARTER                                             Contingent
         P.O. Box 277                                                 Unliquidated
         Bradenton Beach, FL 34217-0277
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4198
                                                                   Is the claim subject to offset?     No       Yes

3.797
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD W GLENN                                              Contingent
         2000 PGA Boulevard Suite 3200a                               Unliquidated
         Palm Beach Gardens, FL 33408-2722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5936
                                                                   Is the claim subject to offset?     No       Yes

3.797
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD W GROSS                                              Contingent
         39 E 6th Street                                              Unliquidated
         Hialeah, FL 33010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6174
                                                                   Is the claim subject to offset?     No       Yes

3.797
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD W HENNINGS                                           Contingent
         600 Jennings Avenue                                          Unliquidated
         Eustis, FL 32726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5161
                                                                   Is the claim subject to offset?     No       Yes

3.797
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,610.81
         RICHARD W LYONS                                              Contingent
         1230 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125-3702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 135
                                                                   Is the claim subject to offset?     No       Yes

3.797
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD W NORRIS                                             Contingent
         7651-A Ashley Park Court Suite 402                           Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1535
                                                                   Is the claim subject to offset?     No       Yes

3.797
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD W ROE                                                Contingent
         3302 Southeast Bay Point Drive                               Unliquidated
         Vancouver, WA 98683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2828
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1208 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1216 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.797
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         RICHARD W TAYLOR PA                                          Contingent
         112 N. Florida Avenue                                        Unliquidated
         Deland, FL 32720
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7
                                                                   Is the claim subject to offset?     No       Yes

3.798
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RICHARD W WASSERMAN                                          Contingent
         7230 Miami Lakeway S                                         Unliquidated
         Miami Lakes, FL 33014
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2814
                                                                   Is the claim subject to offset?     No       Yes

3.798
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RICHARD W WOOD                                               Contingent
         1806 78th Street                                             Unliquidated
         W. Bradenton, FL 34209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6389
                                                                   Is the claim subject to offset?     No       Yes

3.798
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICHARD WASERSTEIN                                           Contingent
         1124 Kane Concourse                                          Unliquidated
         Bay Harbour Island, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2645
                                                                   Is the claim subject to offset?     No       Yes

3.798
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICHARDS & ASSOCIATES PA                                     Contingent
         2665 S. Bayshore Drive                                       Unliquidated
         Suite 703
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6334                      Is the claim subject to offset?     No       Yes

3.798
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,845.81
         RICHARDS GILKEY FITE                                         Contingent
         1253 Park Street                                             Unliquidated
         Clearwater, FL 33756                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 237
                                                                   Is the claim subject to offset?     No       Yes

3.798
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Richards Legal, L.L.C.                                       Contingent
         14920 Indigo Lake Drive                                      Unliquidated
         Orlando, FL 32824
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9552
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1209 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1217 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.798
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         RICHMAN GREER PA                                             Contingent
         N Tower                                                      Unliquidated
         396 Alhambra Circle, 14th Floor
                                                                      Disputed
         Miami, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7018                      Is the claim subject to offset?     No       Yes

3.798
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICK A SATURN                                                Contingent
         3437 Southeast Ankeny Street                                 Unliquidated
         Portland, OR 97214-2045
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0193
                                                                   Is the claim subject to offset?     No       Yes

3.798
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RICK W SADORF                                                Contingent
         DBA PLG Law                                                  Unliquidated
         3684 Tampa Road, Suite 2
                                                                      Disputed
         Oldsmar, FL 34677
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8630                      Is the claim subject to offset?     No       Yes

3.798
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICKEY L FARRELL                                             Contingent
         P.O. Box 15069                                               Unliquidated
         Fort Pierce, FL 34979
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4261
                                                                   Is the claim subject to offset?     No       Yes

3.799
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RICKY J WEISS                                                Contingent
         5501 University Drive Suite 103                              Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8573
                                                                   Is the claim subject to offset?     No       Yes

3.799
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RILEY LAW FIRM PA                                            Contingent
         4805 W Laurel Street Suite 230                               Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6010
                                                                   Is the claim subject to offset?     No       Yes

3.799
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RISH GIBSON & SCHOLZ PA                                      Contingent
         Rish Gibson & Scholz P.A.                                    Unliquidated
         P.O. Box 39
                                                                      Disputed
         Port St Joe, FL 32457
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7537                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1210 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1218 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.799
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RISSMAN WEISBERG BARRETT HURT                                Contingent
         P.O. Box 4940                                                Unliquidated
         Orlando, FL 32802-4940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6363
                                                                   Is the claim subject to offset?     No       Yes

3.799
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RISTAU LAW FIRM PA                                           Contingent
         900 SW Pine Island Road                                      Unliquidated
         Suite 206
                                                                      Disputed
         Cape Coral, FL 33991
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0557                      Is the claim subject to offset?     No       Yes

3.799
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RITTER CHUSID BIVONA & COHEN                                 Contingent
         5850 Coral Ridge Drive                                       Unliquidated
         Suite 201
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9962                      Is the claim subject to offset?     No       Yes

3.799
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rivero Law, L.L.C.                                           Contingent
         1390 Brickell Avenue                                         Unliquidated
         Suite 420
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8568                      Is the claim subject to offset?     No       Yes

3.799
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RJON ROBINS                                                  Contingent
         3528 Royal Palm Avenue                                       Unliquidated
         Miami, FL 33133-6225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3868
                                                                   Is the claim subject to offset?     No       Yes

3.799
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RMorales Law, P.L.L.C.                                       Contingent
         42 Easy Street                                               Unliquidated
         Box 2176
                                                                      Disputed
         Carefree, AZ 85377
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8286                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1211 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1219 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.799
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rob Hyman, P.A.                                              Contingent
         110 SE 6th Street                                            Unliquidated
         17th Floor
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9799                      Is the claim subject to offset?     No       Yes

3.800
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A ARABIAN                                             Contingent
         2034 New London Turnpike                                     Unliquidated
         Coventry, RI 02816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4441
                                                                   Is the claim subject to offset?     No       Yes

3.800
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A BRANDT                                              Contingent
         696 NE 125th Street                                          Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2471
                                                                   Is the claim subject to offset?     No       Yes

3.800
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROBERT A BURSON PA                                           Contingent
         P.O. Box 1620                                                Unliquidated
         Stuart, FL 34995-1620
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7375
                                                                   Is the claim subject to offset?     No       Yes

3.800
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A CEDENO PA                                           Contingent
         3600 Red Road                                                Unliquidated
         Suite 409
                                                                      Disputed
         Miramar, FL 33025
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9652                      Is the claim subject to offset?     No       Yes

3.800
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A D'AMORE                                             Contingent
         4800 N Federal Highway Suite 200e                            Unliquidated
         Boca Raton, FL 33434-3415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3930
                                                                   Is the claim subject to offset?     No       Yes

3.800
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A D'ANGIO JR                                          Contingent
         685 Royal Palm Beach Boulevard                               Unliquidated
         Suite 205
                                                                      Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5993                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1212 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1220 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.800
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT A DENNIS JR                                           Contingent
         Federal Public Defender's Office                             Unliquidated
         41 N Jefferson Street Suite 301
                                                                      Disputed
         Pensacola, FL 32501-5644
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7788                      Is the claim subject to offset?     No       Yes

3.800
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROBERT A DICKINSON                                           Contingent
         460 S. Indiana Avenue                                        Unliquidated
         Englewood, FL 34223-3702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5729
                                                                   Is the claim subject to offset?     No       Yes

3.800
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A DRESSLER                                            Contingent
         P.O. Box 2425                                                Unliquidated
         Ft Lauderdale, FL 33303-2425
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1526
                                                                   Is the claim subject to offset?     No       Yes

3.800
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT A DULBERG                                             Contingent
         One Datran Center Suite 400                                  Unliquidated
         9100 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 110                       Is the claim subject to offset?     No       Yes

3.801
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,394.83
         ROBERT A FORLIZZO                                            Contingent
         2903 Rigsby Lane                                             Unliquidated
         Safety Harbor, FL 34695-4828                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7094
                                                                   Is the claim subject to offset?     No       Yes

3.801
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $142.43
         ROBERT A FREEMAN                                             Contingent
         2601 S Bayshore Drive Suite 1106                             Unliquidated
         Miami, FL 33133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4429
                                                                   Is the claim subject to offset?     No       Yes

3.801
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,045.37
         ROBERT A GEISS                                               Contingent
         333 N New River Drive East                                   Unliquidated
         1500 Riverwalk Plaza                                         Disputed
         Ft Lauderdale, FL 33301-2205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5700                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1213 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1221 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.801
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT A HENDRICKS                                           Contingent
         Hendricks & Hendricks                                        Unliquidated
         2555 Ponce De Leon Boulevard Suite 320
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 412                       Is the claim subject to offset?     No       Yes

3.801
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A HUTH JR                                             Contingent
         2300 Glades Road Suite 260-W                                 Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8293
                                                                   Is the claim subject to offset?     No       Yes

3.801
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROBERT A KIMBROUGH                                           Contingent
         1530 Cross Street                                            Unliquidated
         Sarasota, FL 34236-7015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2697
                                                                   Is the claim subject to offset?     No       Yes

3.801
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A KRAVITZ                                             Contingent
         Law Offices of Robert Kravitz P.A.                           Unliquidated
         800 Brickell Avenue Suite 701
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4283                      Is the claim subject to offset?     No       Yes

3.801
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A RABIN                                               Contingent
         7700 N. Kendall Drive                                        Unliquidated
         Suite 509
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0308                      Is the claim subject to offset?     No       Yes

3.801
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A RAND                                                Contingent
         Rand & Orswell                                               Unliquidated
         140 W Mountain Avenue
                                                                      Disputed
         Fort Collins, CO 80524-2823
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9956                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1214 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1222 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.801
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A RAY PA                                              Contingent
         3408a W San Juan Street                                      Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8026
                                                                   Is the claim subject to offset?     No       Yes

3.802
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT A STEBBINS                                            Contingent
         P.O. Box 1220                                                Unliquidated
         Eustis, FL 32727-1220
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5922
                                                                   Is the claim subject to offset?     No       Yes

3.802
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A STERMER                                             Contingent
         7763 Southwest Highway 200                                   Unliquidated
         Ocala, FL 34476-7049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4254
                                                                   Is the claim subject to offset?     No       Yes

3.802
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A STERN                                               Contingent
         537 NE 1st Street                                            Unliquidated
         Suite 5
                                                                      Disputed
         Gainesville, FL 32601-5366
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8648                      Is the claim subject to offset?     No       Yes

3.802
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         ROBERT A WHITE PA                                            Contingent
         7319 Dover Court                                             Unliquidated
         Parkland, FL 33067-1691
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6927
                                                                   Is the claim subject to offset?     No       Yes

3.802
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT A WILCOX                                              Contingent
         159 Honeysuckle Drive                                        Unliquidated
         Jupiter, FL 33458-2841
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8131
                                                                   Is the claim subject to offset?     No       Yes

3.802
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT A. GREEN, JR.                                         Contingent
         P.O. Drawer 1206                                             Unliquidated
         Starke, FL 32091-1206
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8494
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1215 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1223 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.802
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,713.01
         ROBERT A. NELSON                                             Contingent
         2446 East 12 Mile Road                                       Unliquidated
         Key Oldsmobile, Inc.                                         Disputed
         Warren, MI 48092-5619
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4449                      Is the claim subject to offset?     No       Yes


3.802
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT A. WALTER                                             Contingent
         4320 W. Kennedy Blvd.                                        Unliquidated
         Tampa, FL 33609-2127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6681
                                                                   Is the claim subject to offset?     No       Yes

3.802
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT A. WARE, JR.                                          Contingent
         P.O. Box 14098                                               Unliquidated
         Ft. Lauderdale, FL 33302-4098
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4708
                                                                   Is the claim subject to offset?     No       Yes

3.802
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT ABRAHAM                                               Contingent
         568 Pelican Bay Drive                                        Unliquidated
         Daytona Beach, FL 32119
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0963
                                                                   Is the claim subject to offset?     No       Yes

3.803
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT B COOK                                                Contingent
         P.O. Box 3609                                                Unliquidated
         Tequesta, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4489
                                                                   Is the claim subject to offset?     No       Yes

3.803
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.06
         ROBERT B DUNCKEL                                             Contingent
         100 N. Andrews Avenue                                        Unliquidated
         7th Floor
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7612                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1216 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1224 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.803
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT B RAMIREZ JR                                          Contingent
         1030 S Southlake Drive                                       Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6509
                                                                   Is the claim subject to offset?     No       Yes

3.803
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,134.69
         ROBERT B REED JR                                             Contingent
         Reed Griffith & Moran                                        Unliquidated
         P.O. Drawer 10                                               Disputed
         Boynton Beach, FL 33425-0010
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4272                      Is the claim subject to offset?     No       Yes


3.803
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT B SIESHOLTZ                                           Contingent
         P.O. Box 630832                                              Unliquidated
         Miami, FL 33163-0832
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6853
                                                                   Is the claim subject to offset?     No       Yes

3.803
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBERT BRODY PA                                              Contingent
         1601 Forum Place                                             Unliquidated
         Suite 1101
                                                                      Disputed
         West Palm Beach, FL 33401-8104
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2183                      Is the claim subject to offset?     No       Yes

3.803
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT BRUCE SNOW                                            Contingent
         112 N Orange Avenue                                          Unliquidated
         Brooksville, FL 34601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4552
                                                                   Is the claim subject to offset?     No       Yes

3.803
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         ROBERT C ADAMSKI                                             Contingent
         1714 Cape Coral Parkway E                                    Unliquidated
         Cape Coral, FL 33904-9659
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7860
                                                                   Is the claim subject to offset?     No       Yes

3.803
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT C ALLEN PA                                            Contingent
         P.O. Box 1270                                                Unliquidated
         Pensacola, FL 32591
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6167
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1217 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1225 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.803
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT C ANDERSON                                            Contingent
         1314 E Venice Avenue Suite E                                 Unliquidated
         Venice, FL 34284-1576
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7500
                                                                   Is the claim subject to offset?     No       Yes

3.804
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT C BYRNE                                               Contingent
         203 Southwest 13th Street                                    Unliquidated
         Miami, FL 33130-4210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5566
                                                                   Is the claim subject to offset?     No       Yes

3.804
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT C CLARK                                               Contingent
         1601 20th Street                                             Unliquidated
         Vero Beach, FL 32960-3565
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6383
                                                                   Is the claim subject to offset?     No       Yes

3.804
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT C EBER                                                Contingent
         9415 Sunset Drive                                            Unliquidated
         Suite 258
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4717                      Is the claim subject to offset?     No       Yes

3.804
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT C HESSON PA                                           Contingent
         212 So Third Street                                          Unliquidated
         Oakland, MD 21550-1527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7228
                                                                   Is the claim subject to offset?     No       Yes

3.804
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT C MALAND                                              Contingent
         One Datran Center Suite 1705                                 Unliquidated
         9130 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156-7814
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7044                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1218 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1226 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.804
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT C MCCLAIN                                             Contingent
         4910 Flora Drive                                             Unliquidated
         Melbourne, FL 32934-7845
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5385
                                                                   Is the claim subject to offset?     No       Yes

3.804
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROBERT C MCCLYMONDS                                          Contingent
         7900 Red Road Suite 25                                       Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9918
                                                                   Is the claim subject to offset?     No       Yes

3.804
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT C NALL                                                Contingent
         P.O. Box 5325                                                Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5202
                                                                   Is the claim subject to offset?     No       Yes

3.804
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT C PARKER JR                                           Contingent
         43 Harbour Point Drive                                       Unliquidated
         Crawfordville, FL 32327-4623
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4502
                                                                   Is the claim subject to offset?     No       Yes

3.804
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT C ROGERS JR                                           Contingent
         1141 Southeast 2nd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316-1007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7603
                                                                   Is the claim subject to offset?     No       Yes

3.805
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT C ROSS                                                Contingent
         7615 Southwest 103rd Avenue                                  Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8649
                                                                   Is the claim subject to offset?     No       Yes

3.805
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT C WILKINS JR                                          Contingent
         341 N Maitland Avenue Suite 346                              Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8308
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1219 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1227 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.805
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robert Carl Davis, P.A.                                      Contingent
         1919 Blanding Boulevard                                      Unliquidated
         Suite 8
                                                                      Disputed
         Jacksonville, FL 32210
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0928                      Is the claim subject to offset?     No       Yes

3.805
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT D BARCLEY                                             Contingent
         5500 Sycamore Street N.                                      Unliquidated
         St Petersburg, FL 33703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8854
                                                                   Is the claim subject to offset?     No       Yes

3.805
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROBERT D JONES                                               Contingent
         590 Royal Palm Beach Boulevard                               Unliquidated
         Royal Palm Beach, FL 33411-7681
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6610
                                                                   Is the claim subject to offset?     No       Yes

3.805
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT D KORNER                                              Contingent
         200 Ocean Lane Drive Suite 1107                              Unliquidated
         Key Biscayne, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3710
                                                                   Is the claim subject to offset?     No       Yes

3.805
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT D LETTMAN                                             Contingent
         8010 N University Drive 2 Floor                              Unliquidated
         Tamarac, FL 33321-2151
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8240
                                                                   Is the claim subject to offset?     No       Yes

3.805
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,742.26
         ROBERT D MCINTOSH                                            Contingent
         1418 Ponce De Leon Drive                                     Unliquidated
         Ft Lauderdale, FL 33316                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6855
                                                                   Is the claim subject to offset?     No       Yes

3.805
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT D ROYSTON JR                                          Contingent
         P.O. Box 07159                                               Unliquidated
         Ft Myers, FL 33919-7159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8206
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1220 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1228 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.805
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT D SCHWARTZ                                            Contingent
         555 S Federal Highway Suite 330                              Unliquidated
         Boca Raton, FL 33432-6033
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2132
                                                                   Is the claim subject to offset?     No       Yes

3.806
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT D. MELTON                                             Contingent
         P.O. Box 1032                                                Unliquidated
         Orlando, FL 32802-1032
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3990
                                                                   Is the claim subject to offset?     No       Yes

3.806
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $126.20
         ROBERT D. SCHRAM                                             Contingent
         16390 N.E. 6th Ave.                                          Unliquidated
         N. Miami Beach, FL 33162-3602                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3612
                                                                   Is the claim subject to offset?     No       Yes

3.806
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT DAVID WERTH                                           Contingent
         1755 Village Boulevard Apt 204                               Unliquidated
         West Palm Beach, FL 33409-2071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9955
                                                                   Is the claim subject to offset?     No       Yes

3.806
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT DE LA VEGA                                            Contingent
         328 Minorca Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8527
                                                                   Is the claim subject to offset?     No       Yes

3.806
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT DI STEFANO                                            Contingent
         7451 W Oakland Park Boulevard Suite 202                      Unliquidated
         Lauderhill, FL 33319-4943
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3832
                                                                   Is the claim subject to offset?     No       Yes

3.806
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT DOUGLAS PERMENTER                                     Contingent
         P.O. Box 489                                                 Unliquidated
         Gulf Breeze, FL 32562-0489
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4138
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1221 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1229 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.806
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT E AUSTIN JR                                           Contingent
         P.O. Drawer 490200                                           Unliquidated
         Leesburg, FL 34749-0200
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3371
                                                                   Is the claim subject to offset?     No       Yes

3.806
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT E BOURNE JR                                           Contingent
         101 N                                                        Unliquidated
         Lake Worth, FL 33460-3847
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7745
                                                                   Is the claim subject to offset?     No       Yes

3.806
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E DADY PA                                             Contingent
         Siegfred Rivera Lerner Et Al                                 Unliquidated
         201 Alhambra Circle Suite 1102
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6031                      Is the claim subject to offset?     No       Yes

3.806
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E DEZIEL                                              Contingent
         311 Brazilian Avenue                                         Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3704
                                                                   Is the claim subject to offset?     No       Yes

3.807
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E DILLON                                              Contingent
         P.O. Box 8829                                                Unliquidated
         Coral Springs, FL 33075
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6666
                                                                   Is the claim subject to offset?     No       Yes

3.807
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         ROBERT E DOOLEY                                              Contingent
         P.O. Box 11877                                               Unliquidated
         Ft Lauderdale, FL 33339-1877
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3415
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1222 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1230 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.807
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $65.00
         ROBERT E GORDON                                              Contingent
         Gordon & Donor P.A.                                          Unliquidated
         4114 Northlake Boulevard Suite 200
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1681                      Is the claim subject to offset?     No       Yes

3.807
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E KRAMER                                              Contingent
         555 W GRANADA BLVD STE A-9                                   Unliquidated
         ORMOND BEACH, FL 32174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8746
                                                                   Is the claim subject to offset?     No       Yes

3.807
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E MCGILL III                                          Contingent
         36008 Emerald Coast Parkway Suite 301                        Unliquidated
         Destin, FL 32541
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5251
                                                                   Is the claim subject to offset?     No       Yes

3.807
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E MILLER                                              Contingent
         990 Douglas Avenue                                           Unliquidated
         Raintree Office Park
                                                                      Disputed
         Altamonte Springs, FL 32714-2054
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8605                      Is the claim subject to offset?     No       Yes

3.807
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT E OGLESBY                                             Contingent
         250 Australian Avenue S Suite 1400                           Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7258
                                                                   Is the claim subject to offset?     No       Yes

3.807
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT E STUCKER                                             Contingent
         10040 Southwest 199th Street                                 Unliquidated
         Miami, FL 33157-8623
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2653
                                                                   Is the claim subject to offset?     No       Yes

3.807
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT E VENNEY                                              Contingent
         901 Ponce De Leon Boulevard Suite 1000                       Unliquidated
         Coral Gables, FL 33134-3073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2889
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1223 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1231 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.807
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F BOLLINGER                                           Contingent
         5313 Collins Avenue                                          Unliquidated
         Suite 408
                                                                      Disputed
         Miami Beach, FL 33140
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0331                      Is the claim subject to offset?     No       Yes

3.808
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F COOKE PA                                            Contingent
         9245 Southwest 158 Lane                                      Unliquidated
         Miami, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2331
                                                                   Is the claim subject to offset?     No       Yes

3.808
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT F CURRAN                                              Contingent
         7520 Northwest 6th Court                                     Unliquidated
         Plantation, FL 33317-1007
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7024
                                                                   Is the claim subject to offset?     No       Yes

3.808
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $261.83
         ROBERT F EIMERS                                              Contingent
         12 Diamond Drive                                             Unliquidated
         Key West, FL 33040-5633                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6867
                                                                   Is the claim subject to offset?     No       Yes

3.808
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT F EVANS JR                                            Contingent
         103 S Osceola Avenue                                         Unliquidated
         Suite 1
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4847                      Is the claim subject to offset?     No       Yes

3.808
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F HOOGLAND                                            Contingent
         P.O. Box 160021                                              Unliquidated
         Altamonte Springs, FL 32716-0021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4602
                                                                   Is the claim subject to offset?     No       Yes

3.808
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,436.01
         ROBERT F LILLEY                                              Contingent
         P.O. Box 443                                                 Unliquidated
         Orlando, FL 32802-0443                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6430
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1224 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1232 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.808
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F MACKINNON JR                                        Contingent
         Osprey Cove Professional Park                                Unliquidated
         21750 State Road 54
                                                                      Disputed
         Lutz, FL 33549
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6664                      Is the claim subject to offset?     No       Yes

3.808
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F MCROBERTS JR                                        Contingent
         P.O. Box 2810                                                Unliquidated
         Stuart, FL 34995
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1225
                                                                   Is the claim subject to offset?     No       Yes

3.808
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F MELONE PA                                           Contingent
         P.O. Box 7511                                                Unliquidated
         Wesley Chapel, FL 33543
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2394
                                                                   Is the claim subject to offset?     No       Yes

3.808
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT F ROGERS                                              Contingent
         98 Vineyards Boulevard                                       Unliquidated
         Naples, FL 34119
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0732
                                                                   Is the claim subject to offset?     No       Yes

3.809
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROBERT F VASON JR PA                                         Contingent
         501 E. 5th Avenue                                            Unliquidated
         Mount Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4303
                                                                   Is the claim subject to offset?     No       Yes

3.809
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT FELDMAN                                               Contingent
         55 NE 5th Avenue                                             Unliquidated
         Suite 500
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6163                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1225 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1233 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.809
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT FLAVELL                                               Contingent
         14400 Northwest 77th Court Suite 101                         Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7903
                                                                   Is the claim subject to offset?     No       Yes

3.809
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         ROBERT G BERRIN                                              Contingent
         4601 Ponce De Leon Boulevard Suite 300                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0975
                                                                   Is the claim subject to offset?     No       Yes

3.809
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT G CLEMENTS PA                                         Contingent
         10560 Woodchase Circle                                       Unliquidated
         Orlando, FL 32836-5872
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8902
                                                                   Is the claim subject to offset?     No       Yes

3.809
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT G COVINGTON                                           Contingent
         D/B/A Total Title Company                                    Unliquidated
         5901 Southwest 74th Street Suite 402
                                                                      Disputed
         South Miami, FL 33143-5150
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4613                      Is the claim subject to offset?     No       Yes

3.809
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT G FEGERS PL                                           Contingent
         P.O. Box 7692                                                Unliquidated
         Winter Haven, FL 33883-7692
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4811
                                                                   Is the claim subject to offset?     No       Yes

3.809
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT G HARRIS                                              Contingent
         5550 Glades Road                                             Unliquidated
         Suite 500
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7666                      Is the claim subject to offset?     No       Yes

3.809
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT G HEWITT                                              Contingent
         5458 Southwest 25th Avenue                                   Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3864
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1226 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1234 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.809
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,099.83
         ROBERT G JACOBSON                                            Contingent
         6981 Red Bug Lake Road                                       Unliquidated
         Oviedo, FL 32765-6528                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6090
                                                                   Is the claim subject to offset?     No       Yes

3.810
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT G LOWE PL                                             Contingent
         2744 Summerdale Drive                                        Unliquidated
         Clearwater, FL 33761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9785
                                                                   Is the claim subject to offset?     No       Yes

3.810
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT G SCHRADER                                            Contingent
         P.O. Box 1900                                                Unliquidated
         Ft Lauderdale, FL 33302-1900
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7750
                                                                   Is the claim subject to offset?     No       Yes

3.810
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT GELTNER                                               Contingent
         P.O. Box 100773                                              Unliquidated
         Cape Coral, FL 33910-0773
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6989
                                                                   Is the claim subject to offset?     No       Yes

3.810
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT GEORGE WILLMAN PA                                     Contingent
         P.O. Box 50123                                               Unliquidated
         Sarasota, FL 34232
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 467
                                                                   Is the claim subject to offset?     No       Yes

3.810
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROBERT H ASCHHEIM                                            Contingent
         18851 Northeast 29 Avenue Suite 1010                         Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5394
                                                                   Is the claim subject to offset?     No       Yes

3.810
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT H CULTON II                                           Contingent
         4285 Tidewater Drive                                         Unliquidated
         Orlando, FL 32812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7878
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1227 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1235 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.810
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT H MORINER                                             Contingent
         1101 Hardwood Holw                                           Unliquidated
         Greensboro, GA 30642-4915
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3512
                                                                   Is the claim subject to offset?     No       Yes

3.810
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT H SCHULTZ ESQ                                         Contingent
         3911 Golf Park Loop Suite 102                                Unliquidated
         Bradenton, FL 34203-3453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3138
                                                                   Is the claim subject to offset?     No       Yes

3.810
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT H TURNER                                              Contingent
         619 E First Avenue                                           Unliquidated
         Mt Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8164
                                                                   Is the claim subject to offset?     No       Yes

3.810
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT H WILLIS JR                                           Contingent
         P.O. Box 30                                                  Unliquidated
         St Petersburg, FL 33731-0030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5876
                                                                   Is the claim subject to offset?     No       Yes

3.811
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT I FEIN                                                Contingent
         8879 Golden Mountain Cir                                     Unliquidated
         Boynton Beach, FL 33473
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6308
                                                                   Is the claim subject to offset?     No       Yes

3.811
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT J ANDRINGA                                            Contingent
         4488 Star Street N                                           Unliquidated
         St Petersburg, FL 33709
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7599
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1228 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1236 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.811
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J BLACK                                               Contingent
         7740 SW 104th Street                                         Unliquidated
         Suite 104
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6076                      Is the claim subject to offset?     No       Yes

3.811
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT J CAPKO PA                                            Contingent
         145 E Wilbur Avenue                                          Unliquidated
         Lake Mary, FL 32746-3225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7173
                                                                   Is the claim subject to offset?     No       Yes

3.811
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,397.05
         ROBERT J CARR                                                Contingent
         76 Osprey Point Drive                                        Unliquidated
         Osprey, FL 34229                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0692
                                                                   Is the claim subject to offset?     No       Yes

3.811
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT J DORN PA                                             Contingent
         7815 W Commercial Boulevard                                  Unliquidated
         Tamarac, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9460
                                                                   Is the claim subject to offset?     No       Yes

3.811
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J FENSTERSHEIB                                        Contingent
         520 W Hallandale Beach Boulevard                             Unliquidated
         Hallandale, FL 33009-4945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 167
                                                                   Is the claim subject to offset?     No       Yes

3.811
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J FRIEDMAN                                            Contingent
         1150 E Hallandale Beach Boulevard Suite                      Unliquidated
         Hallandale, FL 33009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4372
                                                                   Is the claim subject to offset?     No       Yes

3.811
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBERT J GORMAN                                              Contingent
         1209 Delaware Avenue                                         Unliquidated
         Ft Pierce, FL 34950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1219
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1229 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1237 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.811
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J HEAD JR                                             Contingent
         Suite 4                                                      Unliquidated
         1530 Business Center Drive
                                                                      Disputed
         Orange Park, FL 32073
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4960                      Is the claim subject to offset?     No       Yes

3.812
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT J KANJIAN                                             Contingent
         10 Fairway Drive Suite 302                                   Unliquidated
         Plantation, FL 33441
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3913
                                                                   Is the claim subject to offset?     No       Yes

3.812
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J KELLY                                               Contingent
         Robert J. Kelly P.A.                                         Unliquidated
         P.O. Box 1056
                                                                      Disputed
         Dunedin, FL 34697
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6779                      Is the claim subject to offset?     No       Yes

3.812
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J LEVY                                                Contingent
         2503 Davis Boulevard                                         Unliquidated
         Sarasota, FL 34237-7238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5684
                                                                   Is the claim subject to offset?     No       Yes

3.812
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROBERT J MCDERMOTT                                           Contingent
         101 N Clearwater-Largo Road                                  Unliquidated
         Largo, FL 33770
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 806
                                                                   Is the claim subject to offset?     No       Yes

3.812
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J MORAITIS                                            Contingent
         1310 SE 3rd Avenue                                           Unliquidated
         Ft Lauderdale, FL 33316-1050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7703
                                                                   Is the claim subject to offset?     No       Yes

3.812
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J NORTON                                              Contingent
         2511 Vasco Street Suite 114                                  Unliquidated
         Punta Gorda, FL 33950-5276
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5404
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1230 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1238 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.812
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J O'TOOLE                                             Contingent
         1215 E Broward Boulevard                                     Unliquidated
         Ft Lauderdale, FL 33301-2133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1312
                                                                   Is the claim subject to offset?     No       Yes

3.812
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J RAO                                                 Contingent
         P.O. Box 421845                                              Unliquidated
         Kissimmee, FL 34742-1845
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5205
                                                                   Is the claim subject to offset?     No       Yes

3.812
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J ROHAN                                               Contingent
         13834 Highway 441 S                                          Unliquidated
         Micanopy, FL 32667-5327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6744
                                                                   Is the claim subject to offset?     No       Yes

3.812
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J STAMPFL                                             Contingent
         8449 Ardoch Road                                             Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4215
                                                                   Is the claim subject to offset?     No       Yes

3.813
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBERT J STANZ PA                                            Contingent
         5121 S. Lakeland Drive                                       Unliquidated
         Suite 1
                                                                      Disputed
         Lakeland, FL 33813
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4359                      Is the claim subject to offset?     No       Yes

3.813
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT J STINNETT                                            Contingent
         3215 Glenna Lane                                             Unliquidated
         Sarasota, FL 34239-3408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5092
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1231 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1239 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.813
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBERT J TAMBURRO PA                                         Contingent
         401 Sunshine Boulevard                                       Unliquidated
         Lady Lake, FL 32159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6781
                                                                   Is the claim subject to offset?     No       Yes

3.813
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT J WHEELOCK                                            Contingent
         7575 Dr. Phillips Boulevard Suite 360                        Unliquidated
         Orlando, FL 32819-7220
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7207
                                                                   Is the claim subject to offset?     No       Yes

3.813
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT J. KULAS                                              Contingent
         789 S. Federal Highway Suite 201                             Unliquidated
         Stuart, FL 34994-2962
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8364
                                                                   Is the claim subject to offset?     No       Yes

3.813
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT J. LOEWENTHAL                                         Contingent
         2095 Mountain Creek Ct.                                      Unliquidated
         Stone Mountain, GA 30087-1012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3077
                                                                   Is the claim subject to offset?     No       Yes

3.813
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robert J. Warren, P.A.                                       Contingent
         703 N. Main Street                                           Unliquidated
         Suite C
                                                                      Disputed
         Gainesville, FL 32601
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9637                      Is the claim subject to offset?     No       Yes

3.813
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robert Joseph Alwine, P.A.                                   Contingent
         1441 Brickell Avenue Suite 1400                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7952
                                                                   Is the claim subject to offset?     No       Yes

3.813
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $44.92
         ROBERT K DIXON                                               Contingent
         202 Harbor Drive S                                           Unliquidated
         Venice, FL 34285-2215                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2437
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1232 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1240 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.813
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT K LEWIS JR                                            Contingent
         1433 Claret Court                                            Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4650
                                                                   Is the claim subject to offset?     No       Yes

3.814
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT K RUSHING                                             Contingent
         2710 Edmund Drive                                            Unliquidated
         Gulf Breeze, FL 32563-3715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4703
                                                                   Is the claim subject to offset?     No       Yes

3.814
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $525.00
         ROBERT KIT KOREY                                             Contingent
         595 W. Granada Boulevard                                     Unliquidated
         Suite A
                                                                      Disputed
         Ormond Beach, FL 32174
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2328                      Is the claim subject to offset?     No       Yes

3.814
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT L BEALS                                               Contingent
         Robert L. Beals P.A.                                         Unliquidated
         96 Willard Street
                                                                      Disputed
         Cocoa, FL 32922
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7826                      Is the claim subject to offset?     No       Yes

3.814
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT L BLAKE                                               Contingent
         General Council Univ of Miami                                Unliquidated
         5915 Ponce De Leon Boulevard Suite 10
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5848                      Is the claim subject to offset?     No       Yes

3.814
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT L CHIPINSKI                                           Contingent
         14813 Williamsburg Curve                                     Unliquidated
         Burnsville, MN 55306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7366
                                                                   Is the claim subject to offset?     No       Yes

3.814
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT L DONALD                                              Contingent
         1375 Jackson Street Suite 402                                Unliquidated
         Ft Myers, FL 33901-2811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2343
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1233 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1241 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.814
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROBERT L KING                                                Contingent
         2780 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5388
                                                                   Is the claim subject to offset?     No       Yes

3.814
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT L KOIS JR                                             Contingent
         12 Amberjack Road                                            Unliquidated
         Ponte Vedra Beach, FL 32082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0753
                                                                   Is the claim subject to offset?     No       Yes

3.814
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT L LEEDS                                               Contingent
         P.O. Box 32                                                  Unliquidated
         Richmond, KY 40476-0032
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 744
                                                                   Is the claim subject to offset?     No       Yes

3.814
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT L PASEKOFF                                            Contingent
         6625 Southwest 120th Street                                  Unliquidated
         Miami, FL 33156-4837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4379
                                                                   Is the claim subject to offset?     No       Yes

3.815
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT L RATLIFF III                                         Contingent
         P.O. Box 566                                                 Unliquidated
         Sanibel Island, FL 33957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5551
                                                                   Is the claim subject to offset?     No       Yes

3.815
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT L SADER                                               Contingent
         Robert Sader P.A.                                            Unliquidated
         1901 W Cypress Creek Road Suite 415
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6652                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1234 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1242 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.815
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5.00
         ROBERT L SADER (SEE #16652)                                  Contingent
         2400 E Commercial Boulevard Suite 318                        Unliquidated
         Ft Lauderdale, FL 33309-4022
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1148
                                                                   Is the claim subject to offset?     No       Yes

3.815
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT L SAYLOR                                              Contingent
         1615 Forum Pl Suite 300                                      Unliquidated
         West Palm Beach, FL 33401-2316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4811
                                                                   Is the claim subject to offset?     No       Yes

3.815
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT L SCHIMMEL PA                                         Contingent
         701 Brickell Avenue                                          Unliquidated
         Suite 1550
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7319                      Is the claim subject to offset?     No       Yes

3.815
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT L TAYLOR                                              Contingent
         150 N. Westmonte Drive                                       Unliquidated
         Altamonte Springs, FL 32714-3342
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7071
                                                                   Is the claim subject to offset?     No       Yes

3.815
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT L THOMAS                                              Contingent
         8547 Southwest 90th Lane Unit B                              Unliquidated
         Ocala, FL 34481
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4487
                                                                   Is the claim subject to offset?     No       Yes

3.815
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT L TRESCOTT                                            Contingent
         2605 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5064
                                                                   Is the claim subject to offset?     No       Yes

3.815
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT L WILLIAMS                                            Contingent
         209 S Nassau Street S Suite 101                              Unliquidated
         Venice, FL 34285-2358
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 337
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1235 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1243 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.815
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $396.08
         ROBERT L WILSON                                              Contingent
         4001 Tamiami Trail N                                         Unliquidated
         Naples, FL 33940-3591                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4418
                                                                   Is the claim subject to offset?     No       Yes

3.816
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robert L. Gioia, P.A.                                        Contingent
         940 S. State Road 7                                          Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7536
                                                                   Is the claim subject to offset?     No       Yes

3.816
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robert L. Kline, P.A.                                        Contingent
         16801 SW 78th Place                                          Unliquidated
         Palmetto Bay, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0791
                                                                   Is the claim subject to offset?     No       Yes

3.816
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT LEDERMAN                                              Contingent
         1541 Sunset Drive                                            Unliquidated
         Suite 202
                                                                      Disputed
         Coral Gables, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6660                      Is the claim subject to offset?     No       Yes

3.816
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT LEE SHAPIRO                                           Contingent
         2401 PGA Boulevard Suite 272                                 Unliquidated
         Palm Beach Gardens, FL 33410-3515
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8352
                                                                   Is the claim subject to offset?     No       Yes

3.816
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT LERNER                                                Contingent
         P.O. Box 150176                                              Unliquidated
         Altamonte Springs, FL 32715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4364
                                                                   Is the claim subject to offset?     No       Yes

3.816
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,223.91
         ROBERT LYNNE                                                 Contingent
         80 Southwest 8 Street Suite 1910                             Unliquidated
         Miami, FL 33130-3047                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4641
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1236 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1244 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.816
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT M ABRAMSON                                            Contingent
         Ingraham Building                                            Unliquidated
         25 SE 2nd Avenue, Suite 1045
                                                                      Disputed
         Miami, FL 33131-1604
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6345                      Is the claim subject to offset?     No       Yes

3.816
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT M BAKER                                               Contingent
         3535 S Ocean Drive                                           Unliquidated
         Apt. 2201
                                                                      Disputed
         Hollywood, FL 33019
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8128                      Is the claim subject to offset?     No       Yes

3.816
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M BENO                                                Contingent
         2300 Euclid Avenue                                           Unliquidated
         Ft Myers, FL 33901-3514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4416
                                                                   Is the claim subject to offset?     No       Yes

3.816
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT M BULFIN                                              Contingent
         P.O. Box 24802                                               Unliquidated
         Ft Lauderdale, FL 33307-4802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7177
                                                                   Is the claim subject to offset?     No       Yes

3.817
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT M CHAMBERS                                            Contingent
         P.O. Box 779                                                 Unliquidated
         Winter Haven, FL 33882-0779
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7412
                                                                   Is the claim subject to offset?     No       Yes

3.817
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M CHISHOLM PA                                         Contingent
         7378 SW 48th Street                                          Unliquidated
         Suite B
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2851                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1237 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1245 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.817
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M COPLEN                                              Contingent
         10225 Ulmerton Road Suite 5a                                 Unliquidated
         Largo, FL 33771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8369
                                                                   Is the claim subject to offset?     No       Yes

3.817
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M DONLON                                              Contingent
         Robert M. Donlon P.A.                                        Unliquidated
         4400 PGA Boulevard Suite 900
                                                                      Disputed
         Palm Beach Gardens, FL 33410-6556
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3768                      Is the claim subject to offset?     No       Yes

3.817
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M GARDNER                                             Contingent
         157 E New England Avenue Suite 370                           Unliquidated
         Winter Park, FL 32789-4346
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2469
                                                                   Is the claim subject to offset?     No       Yes

3.817
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT M JOHNSON                                             Contingent
         One N Tuttle Avenue                                          Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5660
                                                                   Is the claim subject to offset?     No       Yes

3.817
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT M KAHN                                                Contingent
         8211 W Broward Boulevard Ph 4                                Unliquidated
         Plantation, FL 33324-2744
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6586
                                                                   Is the claim subject to offset?     No       Yes

3.817
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M KESTEN PA                                           Contingent
         1500 Gateway Boulevard Suite 220                             Unliquidated
         Boynton Beach, FL 33426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6202
                                                                   Is the claim subject to offset?     No       Yes

3.817
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M LIPSHUTZ                                            Contingent
         3613 Del Prado Boulevard S.                                  Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7598
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1238 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1246 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.817
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M LLOYD                                               Contingent
         P.O. Box 12009                                               Unliquidated
         Ft Pierce, FL 34979-2009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0541
                                                                   Is the claim subject to offset?     No       Yes

3.818
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M MAYER & ASSOCIATES                                  Contingent
         1441 Brickell Avenue 15 Floor                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9673
                                                                   Is the claim subject to offset?     No       Yes

3.818
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M MORGAN                                              Contingent
         12428 San Jose Boulevard Suite 1                             Unliquidated
         Jacksonville, FL 32223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5839
                                                                   Is the claim subject to offset?     No       Yes

3.818
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROBERT M PRETSCHNER                                          Contingent
         889 N Washington Boulevard                                   Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7582
                                                                   Is the claim subject to offset?     No       Yes

3.818
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $310.19
         ROBERT M RIDDLE                                              Contingent
         11183 Northeast 8th Court                                    Unliquidated
         Miami, FL 33161-7205                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1664
                                                                   Is the claim subject to offset?     No       Yes

3.818
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT M SAUNDERS                                            Contingent
         96 Flintlock Lane                                            Unliquidated
         Bell Canyon, CA 91307
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3906
                                                                   Is the claim subject to offset?     No       Yes

3.818
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT M STURRUP                                             Contingent
         Robert M. Sturrup P.A.                                       Unliquidated
         2601 E Oakland Park Boulevard Suite 503
                                                                      Disputed
         Ft Lauderdale, FL 33306-1616
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3055                      Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1239 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1247 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.818
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT M. SEGAL                                              Contingent
         428 S Scott Avenue                                           Unliquidated
         Sanford, FL 32771-2244
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4947
                                                                   Is the claim subject to offset?     No       Yes

3.818
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBERT MARC SCHWARTZ PA                                      Contingent
         4700 NW Boca Raton Boulevard                                 Unliquidated
         Suite 104
                                                                      Disputed
         Boca Raton, FL 33431-4860
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4608                      Is the claim subject to offset?     No       Yes

3.818
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT MARK FORE                                             Contingent
         P.O. Box 3                                                   Unliquidated
         Lakeland, FL 33803-0003
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7263
                                                                   Is the claim subject to offset?     No       Yes

3.818
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT MCDONALD                                              Contingent
         Greenberg Traurig Hoffman                                    Unliquidated
         101 E College Avenue Suite 100
                                                                      Disputed
         Tallahassee, FL 32301-7703
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4970                      Is the claim subject to offset?     No       Yes

3.819
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT N ALLEN JR PA                                         Contingent
         The Four Seasons Office Tower                                Unliquidated
         1441 Brickell Avenue, Suite 1400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8412                      Is the claim subject to offset?     No       Yes

3.819
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT N HEATH JR                                            Contingent
         P.O. Box 13543                                               Unliquidated
         Pensacola, FL 32591
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7838
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1240 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1248 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.819
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT O MARKS                                               Contingent
         255 S Orange Avenue Suite 800                                Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8570
                                                                   Is the claim subject to offset?     No       Yes

3.819
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT P BERTHIAUME                                          Contingent
         397 Sequoia Lane                                             Unliquidated
         Boca Raton, FL 33487-1463
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2191
                                                                   Is the claim subject to offset?     No       Yes

3.819
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT P BUTTS                                               Contingent
         Fisher & Butts L.L.P.                                        Unliquidated
         5203 Southwest 91st Terrace Suite D
                                                                      Disputed
         Gainesville, FL 32608-8131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5203                      Is the claim subject to offset?     No       Yes

3.819
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT P FRITTS                                              Contingent
         5700 Lake Worth Road                                         Unliquidated
         Suite 105
                                                                      Disputed
         Lake Worth, FL 33463
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6682                      Is the claim subject to offset?     No       Yes

3.819
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT P HENDERSON                                           Contingent
         P.O. Box 1906                                                Unliquidated
         Fort Myers, FL 33902-1906
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5801
                                                                   Is the claim subject to offset?     No       Yes

3.819
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT P SALTSMAN                                            Contingent
         P.O. Box 2146                                                Unliquidated
         Winter Park, FL 32790-2146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8324
                                                                   Is the claim subject to offset?     No       Yes

3.819
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT R CRITTENDEN                                          Contingent
         P.O. Drawer 152                                              Unliquidated
         Winter Haven, FL 33882-0152
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3609
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1241 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1249 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.819
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT R FOSTER                                              Contingent
         P.O. Box 41                                                  Unliquidated
         Deland, FL 32721-0041
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8558
                                                                   Is the claim subject to offset?     No       Yes

3.820
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT R GILBERT                                             Contingent
         20464 Northeast 34th Court                                   Unliquidated
         North Miami Beach, FL 33180-1650
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2730
                                                                   Is the claim subject to offset?     No       Yes

3.820
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,358.00
         ROBERT R HAGAMAN CHARTERED                                   Contingent
         607 Myrtle Road                                              Unliquidated
         Naples, FL 34108-2624                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3142
                                                                   Is the claim subject to offset?     No       Yes

3.820
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBERT R MCDANIEL                                            Contingent
         103 N Devilliers                                             Unliquidated
         Pensacola, FL 32502-4723
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7138
                                                                   Is the claim subject to offset?     No       Yes

3.820
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $90.00
         ROBERT R MORRIS                                              Contingent
         Robert R. Morris P.A.                                        Unliquidated
         685 Royal Palm Beach Boulevard Suite 205
                                                                      Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2658                      Is the claim subject to offset?     No       Yes

3.820
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $420.54
         ROBERT R. COOMBES                                            Contingent
         1118 N. J Street                                             Unliquidated
         Lake Worth, FL 33460-2230                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4417
                                                                   Is the claim subject to offset?     No       Yes

3.820
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT RICHARD ZWICKY                                        Contingent
         P.O. Box 2073                                                Unliquidated
         Ft Lauderdale, FL 33303-2073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4620
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1242 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1250 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.820
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT ROBINS                                                Contingent
         P.O. Box 1649                                                Unliquidated
         Daytona Beach, FL 32115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8109
                                                                   Is the claim subject to offset?     No       Yes

3.820
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT S HIGHTOWER                                           Contingent
         P.O. Box 4165                                                Unliquidated
         Tallahassee, FL 32315-4165
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8327
                                                                   Is the claim subject to offset?     No       Yes

3.820
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT S HOOFMAN                                             Contingent
         P.O. Box 3208                                                Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8559
                                                                   Is the claim subject to offset?     No       Yes

3.820
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT S KAUFMAN                                             Contingent
         1020 Country Club Prado                                      Unliquidated
         Coral Gables, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2002
                                                                   Is the claim subject to offset?     No       Yes

3.821
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT S KLEINMAN                                            Contingent
         1701 W. Hillsboro Boulevard                                  Unliquidated
         Suite 207
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6391                      Is the claim subject to offset?     No       Yes

3.821
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT S KORSCHUN                                            Contingent
         19 W Flagler Street Suite 205                                Unliquidated
         Miami, FL 33130-4406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8323
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1243 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1251 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.821
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT S LEVY                                                Contingent
         1615 Forum Pl Suite 3a                                       Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3380
                                                                   Is the claim subject to offset?     No       Yes

3.821
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT S MANDEL PA                                           Contingent
         9601 Collins Avenue Suite 1405                               Unliquidated
         Bal Harbour, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6777
                                                                   Is the claim subject to offset?     No       Yes

3.821
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT S MCCORMICK                                           Contingent
         1323 Southeast 3rd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 93
                                                                   Is the claim subject to offset?     No       Yes

3.821
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT S MILLER                                              Contingent
         414 NE 4th Street                                            Unliquidated
         Ft Lauderdale, FL 33301-1152
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4318
                                                                   Is the claim subject to offset?     No       Yes

3.821
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT S MOSKOVITZ                                           Contingent
         48 E Flagler Street Ph 105                                   Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7202
                                                                   Is the claim subject to offset?     No       Yes

3.821
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT S THURLOW                                             Contingent
         415 Canal Street                                             Unliquidated
         New Smyrna Beach, FL 32168
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2493
                                                                   Is the claim subject to offset?     No       Yes

3.821
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT S WISE                                                Contingent
         1205 W. Fletcher Avenue                                      Unliquidated
         Suite A
                                                                      Disputed
         Tampa, FL 33612-3363
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7670                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1244 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1252 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.821
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $87.50
         ROBERT S ZIPPIN                                              Contingent
         Robert Stewart Zippin P.A.                                   Unliquidated
         7101 W. McNab Road, Suite 200
                                                                      Disputed
         Tamarac, FL 33321
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0810                      Is the claim subject to offset?     No       Yes

3.822
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT T ADAMS JR                                            Contingent
         P.O. Box 981                                                 Unliquidated
         Marianna, FL 32446-0981
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1674
                                                                   Is the claim subject to offset?     No       Yes

3.822
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROBERT T BURGER                                              Contingent
         200 Southwest Harbor City Boulevard Suit                     Unliquidated
         Melbourne, FL 32901-1389
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5246
                                                                   Is the claim subject to offset?     No       Yes

3.822
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT T CARLILE                                             Contingent
         3945 Southwest Bimini Circle S                               Unliquidated
         Palm City, FL 34990-1340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1933
                                                                   Is the claim subject to offset?     No       Yes

3.822
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT T CLELLAND JR                                         Contingent
         2523 29th Avenue W                                           Unliquidated
         Seattle, WA 98199-3323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4341
                                                                   Is the claim subject to offset?     No       Yes

3.822
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT T FELDMAN                                             Contingent
         3158 Northside Drive                                         Unliquidated
         Key West, FL 33040-8025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3469
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1245 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1253 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.822
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT T GILLIGAN                                            Contingent
         5629 Azalea Circle                                           Unliquidated
         West Palm Beach, FL 33415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4267
                                                                   Is the claim subject to offset?     No       Yes

3.822
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT T WESTMAN                                             Contingent
         5845 Windover Way                                            Unliquidated
         Titusville, FL 32780-7013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3370
                                                                   Is the claim subject to offset?     No       Yes

3.822
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROBERT T WESTMAN                                             Contingent
         1970 Michigan Avenue Building F                              Unliquidated
         Cocoa, FL 32922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0503
                                                                   Is the claim subject to offset?     No       Yes

3.822
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT V DIALBERTO                                           Contingent
         4807 Southwest 118th Terrace                                 Unliquidated
         Cooper City, FL 33330-4431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6538
                                                                   Is the claim subject to offset?     No       Yes

3.822
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         ROBERT V DUSS                                                Contingent
         1050 Riverside Avenue                                        Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1496
                                                                   Is the claim subject to offset?     No       Yes

3.823
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT V FITZSIMMONS                                         Contingent
         2515 Abaco Avenue                                            Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4454
                                                                   Is the claim subject to offset?     No       Yes

3.823
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT V ROSENWASSER                                         Contingent
         687 N Biscayne River Drive                                   Unliquidated
         North Miami Beach, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8448
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1246 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1254 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.823
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT W BROWNING JR                                         Contingent
         1800 Second Street Suite 880                                 Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9773
                                                                   Is the claim subject to offset?     No       Yes

3.823
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT W FRAZIER JR                                          Contingent
         6550 N Federal Highway Suite 220                             Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6607
                                                                   Is the claim subject to offset?     No       Yes

3.823
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBERT W GROTH PA                                            Contingent
         5425 Park Central Court                                      Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5608
                                                                   Is the claim subject to offset?     No       Yes

3.823
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT W JOHNSON                                             Contingent
         7575 Gosling Road Apt 836                                    Unliquidated
         The Woodlands, TX 77382
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0860
                                                                   Is the claim subject to offset?     No       Yes

3.823
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT W MCCLURE                                             Contingent
         9240 Bonita Beach Road Southeast Suite 1                     Unliquidated
         Bonita Springs, FL 34135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1541
                                                                   Is the claim subject to offset?     No       Yes

3.823
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT W MORRISON                                            Contingent
         P.O. Box 540088                                              Unliquidated
         Orlando, FL 32854-0088
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1937
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1247 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1255 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.823
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         ROBERT W PEACOCK JR PA                                       Contingent
         P.O. Box 3000                                                Unliquidated
         Orlando, FL 32802-3000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4589
                                                                   Is the claim subject to offset?     No       Yes

3.823
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT W SCHLORFF II                                         Contingent
         1995 E Oakland Park Boulevard Suite 300                      Unliquidated
         Ft Lauderdale, FL 33306-1138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 478
                                                                   Is the claim subject to offset?     No       Yes

3.824
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,641.22
         ROBERT W SHAUGHNESSY PA                                      Contingent
         7845 Southwest 126th Terrace                                 Unliquidated
         Miami, FL 33156                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 522
                                                                   Is the claim subject to offset?     No       Yes

3.824
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $802.18
         ROBERT W SMITH                                               Contingent
         430 N Mills Avenue Suite 1000                                Unliquidated
         Orlando, FL 32803-5746                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6669
                                                                   Is the claim subject to offset?     No       Yes

3.824
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT W. HORRELL                                            Contingent
         521 Lake Avenue                                              Unliquidated
         Lake Worth, FL 33460-3847
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4586
                                                                   Is the claim subject to offset?     No       Yes

3.824
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBERT WAYNE                                                 Contingent
         1225 Southwest 87th Avenue                                   Unliquidated
         Miami, FL 33174-3306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.824
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERT WORMAN                                                Contingent
         Robert M. Worman P.A.                                        Unliquidated
         7481 W Oakland Park Boulevard Suite 101
                                                                      Disputed
         Ft Lauderdale, FL 33319
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5164                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1248 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1256 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.824
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA BOYER BRABER                                         Contingent
         3000 University Drive Suite D                                Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8672
                                                                   Is the claim subject to offset?     No       Yes

3.824
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA DUNN BARTLEY                                         Contingent
         370 W. Camino Gardens Boulevard                              Unliquidated
         Suite 300
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3945                      Is the claim subject to offset?     No       Yes

3.824
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA E ROBBINS                                            Contingent
         7800 Red Road Suite 117                                      Unliquidated
         South Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8362
                                                                   Is the claim subject to offset?     No       Yes

3.824
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA G STANLEY                                            Contingent
         One E Broward Boulevard Suite 1710                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2060
                                                                   Is the claim subject to offset?     No       Yes

3.824
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA J CREIGHTON                                          Contingent
         P.O. Box 3545                                                Unliquidated
         Lakeland, FL 33802-3545
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0859
                                                                   Is the claim subject to offset?     No       Yes

3.825
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA KOHN PA                                              Contingent
         2404 Creel Lane                                              Unliquidated
         Suite 101
                                                                      Disputed
         Wesley Chapel, FL 33544
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9927                      Is the claim subject to offset?     No       Yes

3.825
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTA L FENNER                                             Contingent
         13093 60th Street S                                          Unliquidated
         Wellington, FL 33467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0693
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1249 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1257 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.825
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTO F FLEITAS                                            Contingent
         782 Northwest Lejeune Road Suite 530                         Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8321
                                                                   Is the claim subject to offset?     No       Yes

3.825
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Roberto F. Fleitas, Jr. P.A.                                 Contingent
         803 Malaga Avenue                                            Unliquidated
         Coral Gables, FL 33134-6412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8321
                                                                   Is the claim subject to offset?     No       Yes

3.825
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTO L PALENZUELA                                         Contingent
         701 Brickell Avenue Suite 2150                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6959
                                                                   Is the claim subject to offset?     No       Yes

3.825
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTO M URETA PA                                           Contingent
         13360 Southwest 128th Street                                 Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9340
                                                                   Is the claim subject to offset?     No       Yes

3.825
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTO MATUS                                                Contingent
         28 W. Flagler Street                                         Unliquidated
         Suite 301
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5363                      Is the claim subject to offset?     No       Yes

3.825
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTO ROJAS                                                Contingent
         Brickell Bayview Centre                                      Unliquidated
         80 Southwest 8th Street Suite 1900
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9130                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1250 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1258 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.825
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBERTO VILLASANTE                                           Contingent
         44 W Flagler Street Suite 1700                               Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4137
                                                                   Is the claim subject to offset?     No       Yes

3.825
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         ROBERTS & LAW PA                                             Contingent
         P.O. Box 57                                                  Unliquidated
         Groveland, FL 34736
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2242
                                                                   Is the claim subject to offset?     No       Yes

3.826
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robertson & Hunter, LLP                                      Contingent
         501 Whitehead Street                                         Unliquidated
         Suite 2
                                                                      Disputed
         Key West, FL 33040
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0959                      Is the claim subject to offset?     No       Yes

3.826
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robertson Law Associates, P.A.                               Contingent
         2441 West SR 426 Suite 1011                                  Unliquidated
         Oviedo, FL 32765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8811
                                                                   Is the claim subject to offset?     No       Yes

3.826
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBIN A HELLMAN PA                                           Contingent
         12000 Northeast 8th Avenue                                   Unliquidated
         Miami, FL 33161-6308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4008
                                                                   Is the claim subject to offset?     No       Yes

3.826
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROBIN A VAILLANCOURT                                         Contingent
         2342 Kings Point Drive                                       Unliquidated
         Largo, FL 33774
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8114
                                                                   Is the claim subject to offset?     No       Yes

3.826
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBIN B GLUCK                                                Contingent
         P.O. Box 414255                                              Unliquidated
         Miami, FL 33141-0255
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6731
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1251 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1259 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.826
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROBIN F FRYDMAN PA                                           Contingent
         3111 N. University Drive                                     Unliquidated
         Suite 403
                                                                      Disputed
         Coral Springs, FL 32127
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2127                      Is the claim subject to offset?     No       Yes

3.826
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROBIN J PECORA PA                                            Contingent
         204 East Preston Street                                      Unliquidated
         Baltimore, MD 21202-3956
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 656
                                                                   Is the claim subject to offset?     No       Yes

3.826
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBIN LAW PA                                                 Contingent
         18305 Biscayne Boulevard Suite 302                           Unliquidated
         Aventura, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4998
                                                                   Is the claim subject to offset?     No       Yes

3.826
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         ROBIN LLOYD SR & ASSOCIATES PA                               Contingent
         5089 Highway A1A                                             Unliquidated
         Suite 100
                                                                      Disputed
         Vero Beach, FL 32963-1707
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1816                      Is the claim subject to offset?     No       Yes

3.826
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBIN M GRONSKY                                              Contingent
         315 N Pleasant Avenue                                        Unliquidated
         Ridgewood, NJ 07450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4698
                                                                   Is the claim subject to offset?     No       Yes

3.827
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBIN M PETERSEN                                             Contingent
         1601 Airport Boulevard Suite 1                               Unliquidated
         Melbourne, FL 32901-4379
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6314
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1252 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1260 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.827
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBIN PETER JUNG                                             Contingent
         9400 S Dadeland Boulevard Ph 3                               Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6939
                                                                   Is the claim subject to offset?     No       Yes

3.827
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROBINS KAPLAN MILLER & CIRESI                                Contingent
         711 Fifth Avenue S Suite 201                                 Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6065
                                                                   Is the claim subject to offset?     No       Yes

3.827
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Robinson Collins, P.L.                                       Contingent
         1604 Stockton Street                                         Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9679
                                                                   Is the claim subject to offset?     No       Yes

3.827
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Robinson Kennon & Kendron, P.A.                              Contingent
         582 W. Duval Street                                          Unliquidated
         Lake City, FL 32055
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0107
                                                                   Is the claim subject to offset?     No       Yes

3.827
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         ROBISON OWEN & COOK PA                                       Contingent
         P.O. Box 180895                                              Unliquidated
         Casselberry, FL 32716-0895
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7475
                                                                   Is the claim subject to offset?     No       Yes

3.827
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROCA GONZALEZ PA                                             Contingent
         3370 Mary Street                                             Unliquidated
         Miami, FL 33133-5419
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2501
                                                                   Is the claim subject to offset?     No       Yes

3.827
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROCHELLE Z CATZ                                              Contingent
         6361 Presidential Court Suite B                              Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4400
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1253 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1261 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.827
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         ROCK O'NEAL                                                  Contingent
         150 153rd Avenue Suite 203                                   Unliquidated
         Madeira Beach, FL 33708
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7306
                                                                   Is the claim subject to offset?     No       Yes

3.827
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROD A FEINER                                                 Contingent
         1404 S Andrews Avenue                                        Unliquidated
         Ft Lauderdale, FL 33316-1840
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7887
                                                                   Is the claim subject to offset?     No       Yes

3.828
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROD TENNYSON                                                 Contingent
         1450 Centrepark Boulevard Suite 100                          Unliquidated
         West Palm Beach, FL 33401-7404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5859
                                                                   Is the claim subject to offset?     No       Yes

3.828
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RODGER J BAKERMAN PA                                         Contingent
         5979 NW 151st Street                                         Unliquidated
         Suite 102F
                                                                      Disputed
         Miami Lakes, FL 33014-2492
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4631                      Is the claim subject to offset?     No       Yes

3.828
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         RODGER L SPINK                                               Contingent
         12169 Sheridan Street                                        Unliquidated
         Cooper City, FL 33026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6297
                                                                   Is the claim subject to offset?     No       Yes

3.828
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RODNEY B BLANKENSHIP                                         Contingent
         116 W America Street                                         Unliquidated
         Orlando, FL 32801-3610
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6343
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1254 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1262 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.828
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RODNEY DURRANCE JR                                           Contingent
         101 Avenue C Southwest Suite 508                             Unliquidated
         Winter Haven, FL 33880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8487
                                                                   Is the claim subject to offset?     No       Yes

3.828
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RODNEY L DILLON                                              Contingent
         2831 Ringling Boulevard Suite 210-D                          Unliquidated
         Sarasota, FL 34237-5352
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7591
                                                                   Is the claim subject to offset?     No       Yes

3.828
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RODNEY W BRYSON                                              Contingent
         15605 Ocean Breeze Lane                                      Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4609
                                                                   Is the claim subject to offset?     No       Yes

3.828
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RODOLFO M BLANCO                                             Contingent
         13379 Southwest 28th Street                                  Unliquidated
         Mimamar, FL 33027-3880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6838
                                                                   Is the claim subject to offset?     No       Yes

3.828
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RODOLFO NUNEZ                                                Contingent
         Rodolfo Nunez P.A.                                           Unliquidated
         255 University Drive
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8611                      Is the claim subject to offset?     No       Yes

3.828
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RODRIGO L SAAVEDRA JR                                        Contingent
         Building 2 Suite 300                                         Unliquidated
         3000 N Federal Highway
                                                                      Disputed
         Ft Lauderdale, FL 33306-1416
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3937                      Is the claim subject to offset?     No       Yes

3.829
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         RODRIGUEZ & DELGADO                                          Contingent
         1835 West Flagler Street                                     Unliquidated
         Suite 200
                                                                      Disputed
         Miami, FL 33135-1914
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8141                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1255 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1263 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.829
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RODRIGUEZ & QUINCOCES PA                                     Contingent
         5040 Northwest 7th Street 2nd Floor                          Unliquidated
         Miami, FL 33126-3422
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6211
                                                                   Is the claim subject to offset?     No       Yes

3.829
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RODRIGUEZ GUERRA & NUNEZ PA                                  Contingent
         1401 Brickell Avenue Suite 600                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6327
                                                                   Is the claim subject to offset?     No       Yes

3.829
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RODRIGUEZ LAW PA                                             Contingent
         14261 Commerce Way                                           Unliquidated
         Suite 105
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4470                      Is the claim subject to offset?     No       Yes

3.829
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Rodriguez-Albizu Law, P.A.                                   Contingent
         759 SW Federal Highway                                       Unliquidated
         Suite 321
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9760                      Is the claim subject to offset?     No       Yes

3.829
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RODRIGUEZ-PIEDRA & ASSOCIATES                                Contingent
         12360 Southwest 132nd Court Suite 215                        Unliquidated
         Miami, FL 33186-6463
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8623
                                                                   Is the claim subject to offset?     No       Yes

3.829
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROEMY WAISMAN                                                Contingent
         1599 Druid Road                                              Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4199
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1256 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1264 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.829
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $925.00
         ROETZEL & ANDRESS                                            Contingent
         999 Vanderbilt Beach Road                                    Unliquidated
         Suite 401
                                                                      Disputed
         Naples, FL 34108
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1939                      Is the claim subject to offset?     No       Yes

3.829
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER ALLY                                                   Contingent
         100 Southeast 6th Street                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6557
                                                                   Is the claim subject to offset?     No       Yes

3.829
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROGER B RICE                                                 Contingent
         9010 Strada Stell Court Suite 207                            Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5365
                                                                   Is the claim subject to offset?     No       Yes

3.830
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,692.87
         ROGER BESU PA                                                Contingent
         233 Palm Avenue                                              Unliquidated
         Miami Beach, FL 33139                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5622
                                                                   Is the claim subject to offset?     No       Yes

3.830
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROGER C LAMBERT                                              Contingent
         P.O. Box 33328                                               Unliquidated
         Palm Beach Gardens, FL 33420-3328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7358
                                                                   Is the claim subject to offset?     No       Yes

3.830
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER C. BLINN                                               Contingent
         5620 N.W. 28th Terrace                                       Unliquidated
         Gainesville, FL 32606-1873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2480
                                                                   Is the claim subject to offset?     No       Yes

3.830
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROGER D BEAR PA                                              Contingent
         135 W Central Boulevard Suite 730                            Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7100
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1257 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1265 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.830
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROGER D HAAGENSON                                            Contingent
         201 Southeast 19th Street                                    Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5417
                                                                   Is the claim subject to offset?     No       Yes

3.830
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER D HAAGENSON PA                                         Contingent
         300 SE 19th Street                                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5417
                                                                   Is the claim subject to offset?     No       Yes

3.830
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROGER F BORRELLO                                             Contingent
         300 NW 70th Avenue                                           Unliquidated
         Suite 301
                                                                      Disputed
         Plantation, FL 33317
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3980                      Is the claim subject to offset?     No       Yes

3.830
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER F DYKES                                                Contingent
         120 Oakledge Drive                                           Unliquidated
         Rockledge, FL 32955-5611
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4008
                                                                   Is the claim subject to offset?     No       Yes

3.830
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROGER FRIEDBAUER                                             Contingent
         701 Brickell Avenue Suite 2525                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8048
                                                                   Is the claim subject to offset?     No       Yes

3.830
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROGER G SABERSON                                             Contingent
         70 Southeast 4th Avenue                                      Unliquidated
         Delray Beach, FL 33483-4514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5087
                                                                   Is the claim subject to offset?     No       Yes

3.831
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROGER G STANWAY                                              Contingent
         2122 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5127
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1258 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1266 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.831
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROGER L BROWN                                                Contingent
         Carpenter & Brown P.A.                                       Unliquidated
         1451 W. Cypress Creek Road
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4777                      Is the claim subject to offset?     No       Yes

3.831
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER L WIEDEBACK                                            Contingent
         744 Wedge Drive Suite 27                                     Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4045
                                                                   Is the claim subject to offset?     No       Yes

3.831
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER M BERNSTEIN                                            Contingent
         P.O. Box 144235                                              Unliquidated
         Coral Gables, FL 33114-4235
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5675
                                                                   Is the claim subject to offset?     No       Yes

3.831
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROGER M DUNETZ PA                                            Contingent
         P.O. Box 347733                                              Unliquidated
         Coral Gables, FL 33234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3175
                                                                   Is the claim subject to offset?     No       Yes

3.831
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROGER M POMERANCE PA                                         Contingent
         East Building Suite 201-A                                    Unliquidated
         1900 Corporate Boulevard Northwest
                                                                      Disputed
         Boca Raton, FL 33431-7340
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5447                      Is the claim subject to offset?     No       Yes

3.831
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROGER MCCLELLAND                                             Contingent
         18653 Worthington Road                                       Unliquidated
         Hudson, FL 34667-5506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 193
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1259 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1267 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.831
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,597.19
         ROGER O ISPHORDING                                           Contingent
         240 Nokomis Avenue S Suite 200                               Unliquidated
         Venice, FL 34285-2321                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5163
                                                                   Is the claim subject to offset?     No       Yes

3.831
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,913.98
         ROGER P CONLEY CHARTERED                                     Contingent
         2401 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205-4933                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5257
                                                                   Is the claim subject to offset?     No       Yes

3.831
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROGER P HARTLEY                                              Contingent
         1430 Court Street                                            Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6528
                                                                   Is the claim subject to offset?     No       Yes

3.832
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Roger W. Cruce, Attorney at Law, P.A.                        Contingent
         1409 Kingsley Avenue                                         Unliquidated
         Suite 1B
                                                                      Disputed
         Orange Park, FL 32073
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0805                      Is the claim subject to offset?     No       Yes

3.832
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         ROGERS MORRIS & ZIEGLER                                      Contingent
         1401 E. Broward Boulevard                                    Unliquidated
         Suite 300
                                                                      Disputed
         Ft Lauderdale, FL 33301-2116
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 362                       Is the claim subject to offset?     No       Yes

3.832
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROGERS TOWERS                                                Contingent
         1301 Riverplace Boulevard                                    Unliquidated
         Suite 1500
                                                                      Disputed
         Jacksonville, FL 32207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5822                      Is the claim subject to offset?     No       Yes

3.832
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $60.35
         ROHAN KELLEY                                                 Contingent
         3365 Galt Ocean Drive                                        Unliquidated
         Ft Lauderdale, FL 33308-7002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6378
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1260 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1268 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.832
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROJAS & STANHAM LLP                                          Contingent
         1000 Brickell Avenue                                         Unliquidated
         Suite 400
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4793                      Is the claim subject to offset?     No       Yes

3.832
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROJAS AND SOLOMON, P.A.                                      Contingent
         2701 E. Sunrise Boulevard                                    Unliquidated
         Suite 212
                                                                      Disputed
         Ft Lauderdale, FL 33304-3218
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8540                      Is the claim subject to offset?     No       Yes

3.832
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROJAS LAW FIRM LLP                                           Contingent
         9130 S Dadeland Boulevard Suite 1209                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6581
                                                                   Is the claim subject to offset?     No       Yes

3.832
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROLAND C ROBINSON                                            Contingent
         633 North Krome Avenue Suite 5                               Unliquidated
         Homestead, FL 33030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5223
                                                                   Is the claim subject to offset?     No       Yes

3.832
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,917.05
         ROLAND D WALLER                                              Contingent
         Waller & Mitchell                                            Unliquidated
         5332 Main Street                                             Disputed
         New Port Richey, FL 34652-2509
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5812                      Is the claim subject to offset?     No       Yes


3.832
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROLAND H ACOSTA & ASSOCIATES                                 Contingent
         1085 W. Morse Boulevard                                      Unliquidated
         Suite 210
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5503                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1261 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1269 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.833
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROLAND J MARTINEZ                                            Contingent
         1102 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9128
                                                                   Is the claim subject to offset?     No       Yes

3.833
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROLAND LANGEN                                                Contingent
         P.O. Box 398570                                              Unliquidated
         Miami Beach, FL 33239-8570
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5201
                                                                   Is the claim subject to offset?     No       Yes

3.833
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROLAND N. CATALDO, P.A.                                      Contingent
         1600 N.W. 114th Avenue                                       Unliquidated
         Pembroke Pines, FL 33026-2540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6937
                                                                   Is the claim subject to offset?     No       Yes

3.833
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROLAND ST LOUIS PA                                           Contingent
         300 Sevilla Avenue Suite 201                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.833
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROLANDO A SOLER PA                                           Contingent
         13420 Southwest 17 Court                                     Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9482
                                                                   Is the claim subject to offset?     No       Yes

3.833
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROLFE D DUGGAR                                               Contingent
         4699 Central Avenue                                          Unliquidated
         St Petersburg, FL 33713-8146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2415
                                                                   Is the claim subject to offset?     No       Yes

3.833
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROLLIN E TOMBERLIN                                           Contingent
         Suite 202                                                    Unliquidated
         2800 E Silver Springs Boulevard
                                                                      Disputed
         Ocala, FL 32670
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7419                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1262 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1270 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.833
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,005.87
         ROLLO E KARKEET                                              Contingent
         Route 2 Box 2502                                             Unliquidated
         Hernando, FL 32642                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 472
                                                                   Is the claim subject to offset?     No       Yes

3.833
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROMAINE N BROWN LAW OFFICES PA                               Contingent
         633 Southeast Third Avenue Suite 4-F                         Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4020
                                                                   Is the claim subject to offset?     No       Yes

3.833
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROMAN & ROMAN PA                                             Contingent
         2274 SR 580                                                  Unliquidated
         Clearwater, FL 33763
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8179
                                                                   Is the claim subject to offset?     No       Yes

3.834
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROMERO LAW OFFICE                                            Contingent
         569 Hill Side Street                                         Unliquidated
         Urb Summit Hills
                                                                      Disputed
         San Juan, PR 00920-4353
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8983                      Is the claim subject to offset?     No       Yes

3.834
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD A DANTON                                              Contingent
         1076 Almaden Village Lane                                    Unliquidated
         San Jose, CA 95120-3300
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6328
                                                                   Is the claim subject to offset?     No       Yes

3.834
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD A DAVID                                               Contingent
         P.O. Box 2204                                                Unliquidated
         Boca Raton, FL 33427-2204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6851
                                                                   Is the claim subject to offset?     No       Yes

3.834
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD A LISAK                                               Contingent
         301 E 1st Street Suite 201                                   Unliquidated
         Port St Joe, FL 32456-1872
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6565
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1263 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1271 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.834
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD A LUZIM                                               Contingent
         5531 N. University Drive                                     Unliquidated
         Suite 101
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7920                      Is the claim subject to offset?     No       Yes

3.834
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $213.42
         RONALD C DILLON                                              Contingent
         P.O. Box 31147                                               Unliquidated
         Raleigh, NC 27622-1147                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6902
                                                                   Is the claim subject to offset?     No       Yes

3.834
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD C HOGUE                                               Contingent
         115 Sunset Street                                            Unliquidated
         Hot Springs, AR 71913-3000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5727
                                                                   Is the claim subject to offset?     No       Yes

3.834
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD C. WHITE, P.A.                                        Contingent
         5348 One Avenue North                                        Unliquidated
         St Petersburg, FL 33710-8106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 518
                                                                   Is the claim subject to offset?     No       Yes

3.834
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD COLELLA PA                                            Contingent
         32 N Kirkman Road                                            Unliquidated
         Orlando, FL 32811-1402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 246
                                                                   Is the claim subject to offset?     No       Yes

3.834
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD D REID                                                Contingent
         2425 Grand Avenue                                            Unliquidated
         Baldwin, NY 11510-3219
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3973
                                                                   Is the claim subject to offset?     No       Yes

3.835
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD D SURRENCY                                            Contingent
         200 NE 1st Street                                            Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2740
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1264 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1272 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.835
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD E FEIGIN                                              Contingent
         25832 Miramonte Drive                                        Unliquidated
         Mission Viejo, CA 92692
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4757
                                                                   Is the claim subject to offset?     No       Yes

3.835
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD E HOLMES                                              Contingent
         1118 Northwest 36th Terrace                                  Unliquidated
         Gainesville, FL 32605-4949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 487
                                                                   Is the claim subject to offset?     No       Yes

3.835
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD E JONES PA                                            Contingent
         1610 Southern Boulevard                                      Unliquidated
         W Palm Beach, FL 33406-3242
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.835
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,351.22
         RONALD E SHNIDER PA                                          Contingent
         3389 Sheridan Street                                         Unliquidated
         Suite 12                                                     Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2389                      Is the claim subject to offset?     No       Yes


3.835
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD E SMITH                                               Contingent
         823 Ponce De Leon Pl                                         Unliquidated
         Atlanta, GA 30306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8684
                                                                   Is the claim subject to offset?     No       Yes

3.835
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD E SMITH                                               Contingent
         Smith & Hopen                                                Unliquidated
         15950 Bay Vista Drive Suite 220
                                                                      Disputed
         Clearwater, FL 33760-3131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5692                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1265 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1273 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.835
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD E TEMKIN                                              Contingent
         616 Atlantic Shores Boulevard                                Unliquidated
         Suite A
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7774                      Is the claim subject to offset?     No       Yes

3.835
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD E YOUNG                                               Contingent
         7020 Half Moon Circle Suite 302                              Unliquidated
         Lantana, FL 33462-5434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7070
                                                                   Is the claim subject to offset?     No       Yes

3.835
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD FIELDSTONE PA                                         Contingent
         2601 S Bayshore Drive Suite 1600                             Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4838
                                                                   Is the claim subject to offset?     No       Yes

3.836
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD G BAKER LLC                                           Contingent
         2655 Lejeune Road Ph 2-B                                     Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5879
                                                                   Is the claim subject to offset?     No       Yes

3.836
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD G ENGLERT                                             Contingent
         11125 Windward Drive                                         Unliquidated
         Knoxville, TN 37922-4049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 606
                                                                   Is the claim subject to offset?     No       Yes

3.836
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD G KLEIN                                               Contingent
         4340 Sheridan Street Suite 102                               Unliquidated
         Hollywood, FL 33020-3512
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6947
                                                                   Is the claim subject to offset?     No       Yes

3.836
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD G NEIWIRTH                                            Contingent
         100 Southeast 2nd Street Floor 17                            Unliquidated
         Miami, FL 33131-2158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7547
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1266 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1274 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.836
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD H KAUFFMAN                                            Contingent
         100 Southeast 2nd Street Suite 2700                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9682
                                                                   Is the claim subject to offset?     No       Yes

3.836
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD H PEACOCK                                             Contingent
         P.O. Box 1523                                                Unliquidated
         Lake City, FL 32056-1523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7578
                                                                   Is the claim subject to offset?     No       Yes

3.836
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD H ROBY                                                Contingent
         201 W Canton Avenue Suite 275                                Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3701
                                                                   Is the claim subject to offset?     No       Yes

3.836
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,501.95
         RONALD I OSTROW                                              Contingent
         6336 Camino Marinero                                         Unliquidated
         San Clemente, CA 92673                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1147
                                                                   Is the claim subject to offset?     No       Yes

3.836
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,289.53
         RONALD J HOFFER                                              Contingent
         318 5th Avenue                                               Unliquidated
         Zephyrhills, FL 33599                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4874
                                                                   Is the claim subject to offset?     No       Yes

3.836
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD J RAFFONY                                             Contingent
         4428 Northwest 113th Terrace                                 Unliquidated
         Coral Springs, FL 33065-7279
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6855
                                                                   Is the claim subject to offset?     No       Yes

3.837
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD K LANTZ                                               Contingent
         1st Professional Building                                    Unliquidated
         636 US Highway 1, 3rd Floor
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6788                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1267 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1275 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.837
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD L DAVIS                                               Contingent
         16375 NE 18th Avenue                                         Unliquidated
         Suite 334
                                                                      Disputed
         Miami, FL 33162-4787
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6203                      Is the claim subject to offset?     No       Yes

3.837
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $73.14
         RONALD L FICK                                                Contingent
         239 S County Road Suite 300                                  Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8720
                                                                   Is the claim subject to offset?     No       Yes

3.837
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD L NELSON                                              Contingent
         150 2nd Avenue N Suite 810                                   Unliquidated
         St Petersburg, FL 33701-3341
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4120
                                                                   Is the claim subject to offset?     No       Yes

3.837
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD L SIEGEL                                              Contingent
         200 E Las Olas Boulevard 19th Floor                          Unliquidated
         Boca Raton, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 284
                                                                   Is the claim subject to offset?     No       Yes

3.837
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD L SIMS                                                Contingent
         940 N Highland Avenue                                        Unliquidated
         Orlando, FL 32803-3941
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5242
                                                                   Is the claim subject to offset?     No       Yes

3.837
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD L STETLER                                             Contingent
         8889 Pelican Bay Boulevard Suite 300                         Unliquidated
         Naples, FL 34108-7512
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4151
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1268 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1276 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.837
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD M EEFTING                                             Contingent
         735 Northeast 91st Street Suite 3                            Unliquidated
         Miami, FL 33138-3245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1378
                                                                   Is the claim subject to offset?     No       Yes

3.837
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD M HAND                                                Contingent
         921 Emmett Street                                            Unliquidated
         Kissimmee, FL 34741-5435
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7171
                                                                   Is the claim subject to offset?     No       Yes

3.837
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ronald M. Emanuel, P.A.                                      Contingent
         7900 Peters Road                                             Unliquidated
         Building B, Suite 100
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7487                      Is the claim subject to offset?     No       Yes

3.838
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RONALD N JOHNSON                                             Contingent
         326 S Grandview Avenue                                       Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9900
                                                                   Is the claim subject to offset?     No       Yes

3.838
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD N ROSENWASSER                                         Contingent
         The Plaza Suite 801                                          Unliquidated
         5355 Town Center Road
                                                                      Disputed
         Boca Raton, FL 33846
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8226                      Is the claim subject to offset?     No       Yes

3.838
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD NELSON                                                Contingent
         517 E Government Street                                      Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7770
                                                                   Is the claim subject to offset?     No       Yes

3.838
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         RONALD P TEEVAN                                              Contingent
         200 N Garden Avenue Suite A                                  Unliquidated
         Clearwater, FL 33755-4179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1343
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1269 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1277 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.838
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD R FRIEDMAN                                            Contingent
         7301 W Palmetto Park Road Suite 204-A                        Unliquidated
         Boca Raton, FL 33433-3456
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5194
                                                                   Is the claim subject to offset?     No       Yes

3.838
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD R GOLLER                                              Contingent
         1 15th Avenue Suite 102                                      Unliquidated
         Indian Rocks Beach, FL 34635-2785
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4694
                                                                   Is the claim subject to offset?     No       Yes

3.838
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD R RICHMOND                                            Contingent
         1607 Village Square Boulevard Suite 7                        Unliquidated
         Tallahassee, FL 32309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4124
                                                                   Is the claim subject to offset?     No       Yes

3.838
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD R ROGOWSKI                                            Contingent
         628 Southeast 5th Avenue                                     Unliquidated
         Ft Lauderdale, FL 33301-3104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5197
                                                                   Is the claim subject to offset?     No       Yes

3.838
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD S KOLSKY                                              Contingent
         7776 Travelers Tree Drive                                    Unliquidated
         Boca Raton, FL 33433-6122
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7617
                                                                   Is the claim subject to offset?     No       Yes

3.838
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD S URKOVICH                                            Contingent
         2323 Wooster Lane Unit 2                                     Unliquidated
         Sanibel, FL 33957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3407
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1270 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1278 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.839
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD S WEBSTER                                             Contingent
         985 N Collier Boulevard                                      Unliquidated
         Marco Island, FL 34145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4689
                                                                   Is the claim subject to offset?     No       Yes

3.839
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONALD SALES PA                                              Contingent
         1545 Bear Island Drive                                       Unliquidated
         West Palm Beach, FL 33409-2017
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3418
                                                                   Is the claim subject to offset?     No       Yes

3.839
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD SILVER                                                Contingent
         P.O. Box 801301                                              Unliquidated
         Miami, FL 33280-1301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5565
                                                                   Is the claim subject to offset?     No       Yes

3.839
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD T BUCKINGHAM                                          Contingent
         4595 Lexington Avenue Suite 100                              Unliquidated
         Jacksonville, FL 32210-2058
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0056
                                                                   Is the claim subject to offset?     No       Yes

3.839
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD T DUGGAN                                              Contingent
         540 Long Island Avenue                                       Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1206
                                                                   Is the claim subject to offset?     No       Yes

3.839
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $201.44
         RONALD T MURPHY PA                                           Contingent
         P.O. Box 5955                                                Unliquidated
         Lakeland, FL 33807-5955                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1765
                                                                   Is the claim subject to offset?     No       Yes

3.839
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $18.20
         RONALD T SPANN                                               Contingent
         P.O. Box 1799                                                Unliquidated
         Ft Lauderdale, FL 33302-1799                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7942
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1271 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1279 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.839
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD W BLACK                                               Contingent
         1101 N Lake Destiny Road Suite 475                           Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7658
                                                                   Is the claim subject to offset?     No       Yes

3.839
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD W HOUCHINS                                            Contingent
         P.O. Box 22429                                               Unliquidated
         Ft Lauderdale, FL 33335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7444
                                                                   Is the claim subject to offset?     No       Yes

3.839
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD W RUDOLPH                                             Contingent
         9200 S Dadeland Boulevard Suite 308                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6074
                                                                   Is the claim subject to offset?     No       Yes

3.840
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RONALD W SIKES                                               Contingent
         P.O. Box 472                                                 Unliquidated
         Orlando, FL 32802-0472
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6776
                                                                   Is the claim subject to offset?     No       Yes

3.840
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         RONALD WITKOWSKI                                             Contingent
         3121 Fontana Lake Drive                                      Unliquidated
         Bryson City, NC 28713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8290
                                                                   Is the claim subject to offset?     No       Yes

3.840
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONALD Y SCHRAM                                              Contingent
         1420 N Ocean Boulevard                                       Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4528
                                                                   Is the claim subject to offset?     No       Yes

3.840
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RONNI SUE GREEN                                              Contingent
         9050 Pines Boulevard Suite 359                               Unliquidated
         Pembroke Pines, FL 33024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 249
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1272 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1280 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.840
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RONNIE C HENDERSON                                           Contingent
         2520 Northwest 97th Avenue Suite 120                         Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2761
                                                                   Is the claim subject to offset?     No       Yes

3.840
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         RORY B WEINER PA                                             Contingent
         635 W. Lumsden Road                                          Unliquidated
         Brandon, FL 33511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6588
                                                                   Is the claim subject to offset?     No       Yes

3.840
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSA BUSTO-PINA                                              Contingent
         11951 Southwest 51st Street                                  Unliquidated
         Miami, FL 33175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0645
                                                                   Is the claim subject to offset?     No       Yes

3.840
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSA GARCIA ACEVEDO                                          Contingent
         380 W 49th Street                                            Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6461
                                                                   Is the claim subject to offset?     No       Yes

3.840
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSA M VEGA                                                  Contingent
         8500 W. Flagler Street                                       Unliquidated
         Suite 204-B
                                                                      Disputed
         Miami, FL 33144
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7863                      Is the claim subject to offset?     No       Yes

3.840
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSARIO PORTUONDO DUNCAN                                     Contingent
         8950 Southwest 74th Court 23rd Floor                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7335
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1273 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1281 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.841
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         ROSE & ROSE PA                                               Contingent
         1877 S. Federal Highway                                      Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5575                      Is the claim subject to offset?     No       Yes

3.841
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSE A WALKER                                                Contingent
         P.O. Box 840744                                              Unliquidated
         Hollywood, FL 33084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4498
                                                                   Is the claim subject to offset?     No       Yes

3.841
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROSE M SHEEHAN                                               Contingent
         2900 University Drive Suite 76                               Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9138
                                                                   Is the claim subject to offset?     No       Yes

3.841
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSEANNE N LYNCH                                             Contingent
         1627 Riparian Drive                                          Unliquidated
         Naperville, IL 60565
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7507
                                                                   Is the claim subject to offset?     No       Yes

3.841
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSEMARIE A GERONAZZO                                        Contingent
         Rosemarie A. Geronazzo P.A.                                  Unliquidated
         21494 Saint Andrews Grand Circle
                                                                      Disputed
         Boca Raton, FL 33486-8651
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6685                      Is the claim subject to offset?     No       Yes

3.841
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSEMARIE BACALLAO                                           Contingent
         5895 Southwest 117th Street                                  Unliquidated
         Coral Gables, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6048
                                                                   Is the claim subject to offset?     No       Yes

3.841
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROSEMARY U JONES                                             Contingent
         1033 Hardee Road                                             Unliquidated
         Coral Gables, FL 33146-3329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3642
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1274 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1282 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.841
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         ROSEN & EICHNER PA                                           Contingent
         P.O. Box 1900                                                Unliquidated
         Ft Lauderdale, FL 33302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2983
                                                                   Is the claim subject to offset?     No       Yes

3.841
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROSEN & ROSEN PA                                             Contingent
         2719 Hollywood Boulevard                                     Unliquidated
         Suite B-224
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6706                      Is the claim subject to offset?     No       Yes

3.841
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSEN & WINIG PA                                             Contingent
         2925 PGA Boulevard Suite 100                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6113
                                                                   Is the claim subject to offset?     No       Yes

3.842
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $195.25
         ROSENTHAL & YARCHIN                                          Contingent
         First Union Finc'L Center 20th                               Unliquidated
         200 S Biscayne Boulevard                                     Disputed
         Miami, FL 33131-2310
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8001                      Is the claim subject to offset?     No       Yes


3.842
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSENTHAL AND LEVY PA                                        Contingent
         7410 S US Highway 1 Suite 406                                Unliquidated
         Port Saint Lucie, FL 34952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0251
                                                                   Is the claim subject to offset?     No       Yes

3.842
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         ROSENTHAL ROSENTHAL RASCO                                    Contingent
         20900 NE 30th Avenue                                         Unliquidated
         Suite 600
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3588                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1275 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1283 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.842
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSHAWN BANKS                                                Contingent
         P.O. Box 25978                                               Unliquidated
         Ft Lauderdale, FL 33320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1687
                                                                   Is the claim subject to offset?     No       Yes

3.842
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSLYN C LEWIN                                               Contingent
         2 S University Drive Suite 312                               Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8273
                                                                   Is the claim subject to offset?     No       Yes

3.842
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSS & BURDEN PA                                             Contingent
         434 N Halifax Avenue Suite 1                                 Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8738
                                                                   Is the claim subject to offset?     No       Yes

3.842
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSS B TOYNE                                                 Contingent
         Toyne & Mayo P.A.                                            Unliquidated
         150 Southeast 2nd Avenue Suite 1025
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3950                      Is the claim subject to offset?     No       Yes

3.842
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSS E PAYNE                                                 Contingent
         2832 Waymeyer Drive                                          Unliquidated
         Orlando, FL 32812
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8449
                                                                   Is the claim subject to offset?     No       Yes

3.842
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ROSS EARLE & BONAN PA                                        Contingent
         P.O. Box 2401                                                Unliquidated
         Stuart, FL 34995-2401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8163
                                                                   Is the claim subject to offset?     No       Yes

3.842
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROSS FIRTELL PA                                              Contingent
         6100 Glades Road Suite 201                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8104
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1276 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1284 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.843
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROSS G BAYLOR                                                Contingent
         600 Northlake Boulevard                                      Unliquidated
         North Palm Beach, FL 33408-5324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4619
                                                                   Is the claim subject to offset?     No       Yes

3.843
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROSS H MANELLA PA                                            Contingent
         Hinshaw Culbertson                                           Unliquidated
         1 E Broward Boulevard Suite 1010
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6889                      Is the claim subject to offset?     No       Yes

3.843
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROSS LANIER DEIFIK & CLIFF PA                                Contingent
         Tib Financial Center                                         Unliquidated
         599 9th Street N Suite 300
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9281                      Is the claim subject to offset?     No       Yes

3.843
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ross Rosenberg Law, P.A.                                     Contingent
         9100 S. Dadeland Boulevard                                   Unliquidated
         Suite 1500
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7774                      Is the claim subject to offset?     No       Yes

3.843
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         ROSSANO TORRENT & LEYTE-VIDAL                                Contingent
         1110 Brickell Avenue 7th Floor                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7249
                                                                   Is the claim subject to offset?     No       Yes

3.843
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         ROSSWAY MOORE & TAYLOR                                       Contingent
         2101 Indian River Boulevard                                  Unliquidated
         Suite 200
                                                                      Disputed
         Vero Beach, FL 32960
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4430                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1277 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1285 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.843
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Roth Law, P.A.                                               Contingent
         433 Plaza Real                                               Unliquidated
         Suite 275
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0557                      Is the claim subject to offset?     No       Yes

3.843
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROTH ROTH & ASSOCIATES PA                                    Contingent
         1951 Northwest 150th Avenue Suite 103                        Unliquidated
         Hollywood, FL 33028-2876
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5754
                                                                   Is the claim subject to offset?     No       Yes

3.843
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         ROTH ROTH & ASSOCIATES PA                                    Contingent
         2020 Northeast 163 Street Suite 300                          Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5754
                                                                   Is the claim subject to offset?     No       Yes

3.843
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROTH ROUSSO & KATSMAN LLP                                    Contingent
         841 W 47th Street                                            Unliquidated
         Miami, FL 33140-2902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9947
                                                                   Is the claim subject to offset?     No       Yes

3.844
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROTHFELD & PIERCE PA                                         Contingent
         7961 Northwest 54th Court                                    Unliquidated
         Lauderhill, FL 33351-5062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4973
                                                                   Is the claim subject to offset?     No       Yes

3.844
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ROTHMAN & TOBIN PA                                           Contingent
         10800 Biscayne Blvd                                          Unliquidated
         Suite 700
                                                                      Disputed
         Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1014                      Is the claim subject to offset?     No       Yes

3.844
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROTHMAN & VERNER                                             Contingent
         1300 N Federal Highway Suite 203                             Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8475
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1278 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1286 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.844
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROTHSTEIN ROSENFELDT ADLER                                   Contingent
         Las Olas City Centre                                         Unliquidated
         401 E Las Olas Boulevard Suite 1650
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5490                      Is the claim subject to offset?     No       Yes

3.844
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         ROWLAND THOMAS & JACOBS PA                                   Contingent
         2401 Shoreham Road                                           Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6768
                                                                   Is the claim subject to offset?     No       Yes

3.844
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROXANA I NASCO PA                                            Contingent
         2600 S. Douglas Road                                         Unliquidated
         Suite 913
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6146                      Is the claim subject to offset?     No       Yes

3.844
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROXANA MIRABAL                                               Contingent
         3650 NW 82nd Avenue                                          Unliquidated
         Penthouse 505
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5782                      Is the claim subject to offset?     No       Yes

3.844
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Roxane Fuentes, P.A.                                         Contingent
         P.O. Box 820292                                              Unliquidated
         Pembroke Pines, FL 33082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0342
                                                                   Is the claim subject to offset?     No       Yes

3.844
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROXANNE BETH AXELROD PA                                      Contingent
         2290 10th Avenue N Suite 402                                 Unliquidated
         Lake Worth, FL 33461-6611
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1308
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1279 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1287 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.844
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROXANNE HINO                                                 Contingent
         1420 Southeast 47th Street                                   Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9583
                                                                   Is the claim subject to offset?     No       Yes

3.845
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROXANNE HINO                                                 Contingent
         1700 Monroe Street                                           Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9631
                                                                   Is the claim subject to offset?     No       Yes

3.845
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROY A ALTERMAN                                               Contingent
         2115 Palm Bay Road NE                                        Unliquidated
         Suite 1E
                                                                      Disputed
         Palm Bay, FL 32905
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5975                      Is the claim subject to offset?     No       Yes

3.845
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROY D OPPENHEIM                                              Contingent
         1290 Weston Road Suite 214                                   Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9202
                                                                   Is the claim subject to offset?     No       Yes

3.845
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROY L LUCAS                                                  Contingent
         P.O. Box 190007                                              Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3850
                                                                   Is the claim subject to offset?     No       Yes

3.845
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ROY L WEINFELD PA                                            Contingent
         2665 S. Douglas Road                                         Unliquidated
         Suite 805
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8397                      Is the claim subject to offset?     No       Yes

3.845
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,399.48
         ROY M SPEER                                                  Contingent
         2535 Success Drive                                           Unliquidated
         Odessa, FL 33556-3401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2335
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1280 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1288 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.845
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROY THORNTON MCDANIEL JR                                     Contingent
         P.O. Box 1518                                                Unliquidated
         Key Largo, FL 33037
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7600
                                                                   Is the claim subject to offset?     No       Yes

3.845
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ROYAL FLAGG JONAS                                            Contingent
         300 71st Street Suite 405                                    Unliquidated
         Miami Beach, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 676
                                                                   Is the claim subject to offset?     No       Yes

3.845
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Royal Palm Title                                             Contingent
         3860 N. Powerline                                            Unliquidated
         Deerfield Beach, FL 33073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6056
                                                                   Is the claim subject to offset?     No       Yes

3.845
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROYCE D PIPKINS                                              Contingent
         P.O. Box 720857                                              Unliquidated
         Orlando, FL 32872-0857
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3998
                                                                   Is the claim subject to offset?     No       Yes

3.846
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         ROYCE D PIPKINS                                              Contingent
         P.O. Box 720857                                              Unliquidated
         Orlando, FL 32872-0857
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3998
                                                                   Is the claim subject to offset?     No       Yes

3.846
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ROZALYN LANDISBURG                                           Contingent
         220 Meadowbrook Avenue                                       Unliquidated
         Upper Darby, PA 19082-1220
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6938
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1281 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1289 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.846
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUBEN J PADRON PA                                            Contingent
         9370 SW 72nd Street                                          Unliquidated
         Suite A142
                                                                      Disputed
         Miami, FL 33173
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2771                      Is the claim subject to offset?     No       Yes

3.846
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ruben Spinrad, P.L.                                          Contingent
         631 US Highway 1                                             Unliquidated
         Suite 206
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7813                      Is the claim subject to offset?     No       Yes

3.846
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUBINO AND ASSOCIATES PA                                     Contingent
         159 Lookout Pl Suite 101                                     Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6860
                                                                   Is the claim subject to offset?     No       Yes

3.846
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Rubino Findley, P.L.L.C.                                     Contingent
         20283 State Road 7                                           Unliquidated
         Suite 400
                                                                      Disputed
         Boca Raton, FL 33498
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0451                      Is the claim subject to offset?     No       Yes

3.846
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,316.43
         RUDEN MCCLOSKY                                               Contingent
         701 Brickell Avenue Suite 1900                               Unliquidated
         Miami, FL 33131                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3691
                                                                   Is the claim subject to offset?     No       Yes

3.846
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUDEN MCCLOSKY PA                                            Contingent
         222 Lakeview Avenue Suite 800                                Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 920
                                                                   Is the claim subject to offset?     No       Yes

3.846
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $675.00
         RUDEN MCCLOSKY PA                                            Contingent
         P.O. Box 1900                                                Unliquidated
         Ft Lauderdale, FL 33302-1900
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 920
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1282 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1290 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.846
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,145.40
         RUDEN MCCLOSKY SMITH                                         Contingent
         701 Brickell Avenue Suite 1900                               Unliquidated
         Miami, FL 33131-2860                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4912
                                                                   Is the claim subject to offset?     No       Yes

3.847
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         RUDNICK & WOLFE                                              Contingent
         101 E Kennedy Boulevard Suite 2000                           Unliquidated
         Tampa, FL 33602-5150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7143
                                                                   Is the claim subject to offset?     No       Yes

3.847
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUDOLF & HOFFMAN PA                                          Contingent
         615 Northeast Third Avenue                                   Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5876
                                                                   Is the claim subject to offset?     No       Yes

3.847
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RUDOLPH J. INMAN, JR.                                        Contingent
         2252 Gulf Life Tower                                         Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3505
                                                                   Is the claim subject to offset?     No       Yes

3.847
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RUDOLPH M DI LASCIO JR                                       Contingent
         5798 Johnson Street                                          Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6825
                                                                   Is the claim subject to offset?     No       Yes

3.847
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $86.66
         RUFUS O JEFFERSON                                            Contingent
         693 Riggins Road                                             Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2733
                                                                   Is the claim subject to offset?     No       Yes

3.847
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ruiz Law, P.A.                                               Contingent
         1101 Miranda Lane                                            Unliquidated
         #107
                                                                      Disputed
         Kissimmee, FL 34741
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1059                      Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1283 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1291 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.847
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ruiz-Gonzalez Law PLLC                                       Contingent
         12030 SW 129th Court                                         Unliquidated
         Suite 208
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1024                      Is the claim subject to offset?     No       Yes

3.847
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         RULON D MUNNS                                                Contingent
         Bogin Munns & Munns                                          Unliquidated
         2601 Technology Drive
                                                                      Disputed
         Orlando, FL 32804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6196                      Is the claim subject to offset?     No       Yes

3.847
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUMBERGER KIRK & CALDWELL PA                                 Contingent
         P.O. Box 1873                                                Unliquidated
         Orlando, FL 32802-1873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4428
                                                                   Is the claim subject to offset?     No       Yes

3.847
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rumrell Bate McLeod & Brock, P.A.                            Contingent
         24 Cathedral Place Suite 504                                 Unliquidated
         St Augustine, FL 32084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7884
                                                                   Is the claim subject to offset?     No       Yes

3.848
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSH & GLASSMAN                                              Contingent
         11 Southeast 2nd Avenue                                      Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5067
                                                                   Is the claim subject to offset?     No       Yes

3.848
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $425.00
         RUSH MARSHALL JONES AND                                      Contingent
         P.O. Box 3146                                                Unliquidated
         Orlando, FL 32802-3146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 10
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1284 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1292 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.848
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Rushing Law Firm, P.L.L.C.                                   Contingent
         3124 West County Highway 30A                                 Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8962
                                                                   Is the claim subject to offset?     No       Yes

3.848
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,323.23
         RUSSELL A MEADE                                              Contingent
         256 Miami Avenue W                                           Unliquidated
         Venice, FL 34285                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5946
                                                                   Is the claim subject to offset?     No       Yes

3.848
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL D GAUTIER                                            Contingent
         P.O. Box 1169                                                Unliquidated
         Tallahassee, FL 32302-1169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1913
                                                                   Is the claim subject to offset?     No       Yes

3.848
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL D KAPLAN                                             Contingent
         7951 Southwest 6th Street Suite 210                          Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5657
                                                                   Is the claim subject to offset?     No       Yes

3.848
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL GEIGER                                               Contingent
         6093 S Akron Way                                             Unliquidated
         Greenwood Village, CO 80111-5228
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9749
                                                                   Is the claim subject to offset?     No       Yes

3.848
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $91.85
         RUSSELL J FERRARO JR                                         Contingent
         Ferraro and Ferraro                                          Unliquidated
         3601 E Ocean Boulevard Suite 201
                                                                      Disputed
         Stuart, FL 34996
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7698                      Is the claim subject to offset?     No       Yes

3.848
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL JACOBS                                               Contingent
         De La O & Marko                                              Unliquidated
         3001 Southwest 3rd Avenue
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4357                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1285 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1293 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.848
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RUSSELL L FORKEY PA                                          Contingent
         2888 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5250
                                                                   Is the claim subject to offset?     No       Yes

3.849
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL LAW OFFICES PA                                       Contingent
         P.O. Box 2751                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4394
                                                                   Is the claim subject to offset?     No       Yes

3.849
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RUSSELL M ROBBINS PA                                         Contingent
         14160 NW 77th Court                                          Unliquidated
         Suite 22
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7717                      Is the claim subject to offset?     No       Yes

3.849
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL S ADLER                                              Contingent
         707 Southeast 3 Avenue Suite 101                             Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8754
                                                                   Is the claim subject to offset?     No       Yes

3.849
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RUSSELL S JACOBS PA                                          Contingent
         20700 W. Dixie Highway                                       Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3343
                                                                   Is the claim subject to offset?     No       Yes

3.849
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL S KOSS                                               Contingent
         245 N Tamiami Trail Suite A                                  Unliquidated
         Venice, FL 34285-1917
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6205
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1286 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1294 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.849
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RUSSELL T KAMRADT PA                                         Contingent
         1441 Sturbridge Court                                        Unliquidated
         Dunedin, FL 34698-2263
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes

3.849
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         RUSSELL W. HITCHCOCK                                         Contingent
         8721 Palisades Drive                                         Unliquidated
         Tampa, FL 33615-4924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5841
                                                                   Is the claim subject to offset?     No       Yes

3.849
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ruster Law Group, P.L.L.C.                                   Contingent
         1693 Main Street                                             Unliquidated
         Suite C
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0211                      Is the claim subject to offset?     No       Yes

3.849
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         RUTHERFORD MULHALL PA                                        Contingent
         2600 N Military Trail 4th Floor                              Unliquidated
         Boca Raton, FL 33431-6315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 434
                                                                   Is the claim subject to offset?     No       Yes

3.849
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         RYAN & MARKS                                                 Contingent
         3000-8 Hartley Road                                          Unliquidated
         Jacksonville, FL 32257
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8007
                                                                   Is the claim subject to offset?     No       Yes

3.850
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         RYAN & RYAN                                                  Contingent
         631 US Highway One Suite 100                                 Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0814
                                                                   Is the claim subject to offset?     No       Yes

3.850
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         RYAN & RYAN LLC                                              Contingent
         700 E. Dania Beach Boulevard                                 Unliquidated
         3rd Floor
                                                                      Disputed
         Dania Beach, FL 33004-3090
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1988                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1287 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1295 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.850
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RYAN A RAMSARAN PA                                           Contingent
         1270 Sweet Violet Court                                      Unliquidated
         West Palm Beach, FL 33415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2278
                                                                   Is the claim subject to offset?     No       Yes

3.850
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ryan D. Gesten, P.A.                                         Contingent
         6824 Griffin Road                                            Unliquidated
         Davie, FL 33314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6363
                                                                   Is the claim subject to offset?     No       Yes

3.850
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RYAN P DUGAN PA                                              Contingent
         2223 McGregor Boulevard                                      Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9047
                                                                   Is the claim subject to offset?     No       Yes

3.850
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RYAN P ROOTH                                                 Contingent
         11201 Park Boulevard Suite 21                                Unliquidated
         Seminole, FL 33772
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2380
                                                                   Is the claim subject to offset?     No       Yes

3.850
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         RYAN T DOSEN PL                                              Contingent
         520 Brickell Key Drive Suite O-205                           Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1711
                                                                   Is the claim subject to offset?     No       Yes

3.850
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ryan W. Gambert, P.A.                                        Contingent
         240 N Washington Boulevard Suite 460                         Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8455
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1288 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1296 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.850
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         S A RODDENBERY JR                                            Contingent
         3101 W Michigan Avenue Suite A                               Unliquidated
         Pensacola, FL 32526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7131
                                                                   Is the claim subject to offset?     No       Yes

3.850
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S AVERY SMITH                                                Contingent
         5840 Red Bug Lake Road                                       Unliquidated
         Suite 350
                                                                      Disputed
         Winter Springs, FL 32708
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3486                      Is the claim subject to offset?     No       Yes

3.851
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         S CURTIS KISER                                               Contingent
         5385 Wpa Road                                                Unliquidated
         Lamont, FL 32336-0810
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4906
                                                                   Is the claim subject to offset?     No       Yes

3.851
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S DAVID SHEFFMAN                                             Contingent
         1111 Lincoln Road Suite 800                                  Unliquidated
         Miami Beach, FL 33139-2451
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4452
                                                                   Is the claim subject to offset?     No       Yes

3.851
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S EMORY ROGERS                                               Contingent
         P.O. Box 7225                                                Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2369
                                                                   Is the claim subject to offset?     No       Yes

3.851
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S GEORGE TRAGER                                              Contingent
         1090 Kane Concourse 1 Suite 201                              Unliquidated
         Bay Harbor, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8478
                                                                   Is the claim subject to offset?     No       Yes

3.851
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         S HOWARD ADELMAN                                             Contingent
         2975 Myrtle Oak Circle                                       Unliquidated
         Davie, FL 33328-6740
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1910
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1289 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1297 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.851
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S HOWARD ORNER                                               Contingent
         2855 University Drive Suite 110                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1097
                                                                   Is the claim subject to offset?     No       Yes

3.851
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         S KIRBY MONCRIEF                                             Contingent
         P.O. Box 4848                                                Unliquidated
         Sanford, FL 32772-4848
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4611
                                                                   Is the claim subject to offset?     No       Yes

3.851
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S NICKY MITCHELL-POPE PA                                     Contingent
         11221 Southwest 20th Street                                  Unliquidated
         Miramar, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3925
                                                                   Is the claim subject to offset?     No       Yes

3.851
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         S PHILIP MALSPEIS                                            Contingent
         6319 Northwest 24th Street                                   Unliquidated
         Boca Raton, FL 33434-4317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2475
                                                                   Is the claim subject to offset?     No       Yes

3.851
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         S RAY GILL PA                                                Contingent
         P.O. Box 337                                                 Unliquidated
         Ocala, FL 32678-0337
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5232
                                                                   Is the claim subject to offset?     No       Yes

3.852
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         S SY SHERR                                                   Contingent
         523 S Washington Boulevard                                   Unliquidated
         Sarasota, FL 34236-7104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6885
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1290 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1298 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.852
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         S THOMAS PADGETT PA                                          Contingent
         P.O. Box 673                                                 Unliquidated
         Keego Harbor, MI 48320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4347
                                                                   Is the claim subject to offset?     No       Yes

3.852
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SABRINA M BATEH PA                                           Contingent
         13055 Sandwedge Court                                        Unliquidated
         Jacksonville, FL 32224-8419
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4841
                                                                   Is the claim subject to offset?     No       Yes

3.852
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SACHER MARTINI & SACHER PA                                   Contingent
         2334 Ponce de Leon Boulevard                                 Unliquidated
         Suite 250
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3751                      Is the claim subject to offset?     No       Yes

3.852
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sachs & La Seur, P.A.                                        Contingent
         1394 County Highway 283s Building 4                          Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8870
                                                                   Is the claim subject to offset?     No       Yes

3.852
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         SACHS SAX CAPLAN PL                                          Contingent
         6111 Broken Sound Parkway                                    Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8175                      Is the claim subject to offset?     No       Yes

3.852
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SADER & LEMAIRE PA                                           Contingent
         224 Commercial Boulevard                                     Unliquidated
         Suite 310
                                                                      Disputed
         Lauderdale By The Sea, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6652                      Is the claim subject to offset?     No       Yes

3.852
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         SAFRON ROONEY & DZURAK                                       Contingent
         P.O. Box 400                                                 Unliquidated
         Punta Gorda, FL 33951-0400
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2001
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1291 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1299 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.852
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sagacity Legal, P.L.L.C.                                     Contingent
         121 Lucina Drive                                             Unliquidated
         Hypoluxo, FL 33462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0418
                                                                   Is the claim subject to offset?     No       Yes

3.852
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAGE TITLE & ESCROW SERVICES                                 Contingent
         2809 Poinsettia Avenue                                       Unliquidated
         West Palm Beach, FL 33407-5426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5436
                                                                   Is the claim subject to offset?     No       Yes

3.853
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAGRE LAW FIRM PA                                            Contingent
         5201 Blue Lagoon Drive 8th Floor                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3934
                                                                   Is the claim subject to offset?     No       Yes

3.853
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SALA & GOMEZ PA                                              Contingent
         260 Crandon Boulevard Suite 14                               Unliquidated
         Key Biscayne, FL 33149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8701
                                                                   Is the claim subject to offset?     No       Yes

3.853
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Salas Law Firm, P.A.                                         Contingent
         dba JP Salas Law                                             Unliquidated
         2601 E. Oakland Park Blvd., Suite 406
                                                                      Disputed
         Ft. Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0830                      Is the claim subject to offset?     No       Yes

3.853
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SALAZAR & KELLY LAW GROUP PA                                 Contingent
         2587 N Orange Blossom Trail                                  Unliquidated
         Kissimmee, FL 34744
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8246
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1292 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1300 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.853
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         SALEEBY RANSIER PA                                           Contingent
         Attn: Richard E. Saleeby                                     Unliquidated
         359 S. County Road
                                                                      Disputed
         Palm Beach, FL 33480-4472
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1948                      Is the claim subject to offset?     No       Yes

3.853
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SALEM LAW GROUP PA                                           Contingent
         P.O. Box 3399                                                Unliquidated
         Tampa, FL 33601-3399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4834
                                                                   Is the claim subject to offset?     No       Yes

3.853
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SALLEY FEINBERG HAMES & HINTZE                               Contingent
         P.O. Box 4923                                                Unliquidated
         Orlando, FL 32802-4923
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7741
                                                                   Is the claim subject to offset?     No       Yes

3.853
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SALLY CARNEY BUSSELL                                         Contingent
         Sally Carney Bussell P.A.                                    Unliquidated
         201 E Government Street
                                                                      Disputed
         Pensacola, FL 32501
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1967                      Is the claim subject to offset?     No       Yes

3.853
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SALLY N SAWH                                                 Contingent
         4575 Sabal Palm Road                                         Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2286
                                                                   Is the claim subject to offset?     No       Yes

3.853
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SALLY S BENSON                                               Contingent
         11211 Prosperity Fms Road                                    Unliquidated
         Suite C-111
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6803                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1293 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1301 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.854
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Salmon Title & Law                                           Contingent
         10100 W. Sample Road                                         Unliquidated
         Suite 403
                                                                      Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0657                      Is the claim subject to offset?     No       Yes

3.854
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SALPETER GITKIN LLP                                          Contingent
         3864 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4958
                                                                   Is the claim subject to offset?     No       Yes

3.854
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $600.00
         SALTER FEIBER MURPHY HUTSON &                                Contingent
         3940 NW 16th Boulevard                                       Unliquidated
         Building B
                                                                      Disputed
         Gainesville, FL 32605-7399
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 588                       Is the claim subject to offset?     No       Yes

3.854
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SALVATORE D. DEFELICE                                        Contingent
         2637 N. Andrews Avenue                                       Unliquidated
         Ft. Lauderdale, FL 33311-2509
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4326
                                                                   Is the claim subject to offset?     No       Yes

3.854
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SALVATORI WOOD & BUCKEL PL                                   Contingent
         2150 Goodlette Road North                                    Unliquidated
         6th Floor
                                                                      Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8135                      Is the claim subject to offset?     No       Yes

3.854
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,976.02
         SAM C CALIENDO                                               Contingent
         3170 N. Federal Highway                                      Unliquidated
         Suite 116                                                    Disputed
         Lighthouse Point, FL 33064
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3857                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1294 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1302 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.854
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAM COOPER HILL                                              Contingent
         P.O. Box 2113                                                Unliquidated
         Eureka Springs, AR 72632-2113
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2366
                                                                   Is the claim subject to offset?     No       Yes

3.854
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAM COSTA JR                                                 Contingent
         1900 N Militry Trail Suite 102                               Unliquidated
         Woodside Plaza
                                                                      Disputed
         Boca Raton, FL 33431-8503
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6730                      Is the claim subject to offset?     No       Yes

3.854
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,703.49
         SAM J GABRIEL                                                Contingent
         Gabriel Gabriel & Raymond L.L.C.                             Unliquidated
         4601 Military Trail Unit B206                                Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1706                      Is the claim subject to offset?     No       Yes


3.854
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sam Karl, Esquire                                            Contingent
         9130 S Dadeland Boulevard Suite 1528                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8845
                                                                   Is the claim subject to offset?     No       Yes

3.855
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAM R ASSINI LLC                                             Contingent
         8695 College Parkway Suite 432                               Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2215
                                                                   Is the claim subject to offset?     No       Yes

3.855
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SAM W BOONE JR PA                                            Contingent
         4545 NW 8th Avenue                                           Unliquidated
         Suite A
                                                                      Disputed
         Gainesville, FL 32605-4522
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4009                      Is the claim subject to offset?     No       Yes

3.855
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,043.17
         SAM Y ALLGOOD JR                                             Contingent
         5645 Nebraska Avenue                                         Unliquidated
         New Port Richey, FL 34652                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2294
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1295 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1303 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.855
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMIRA GHAZAL                                                Contingent
         Samira Ghazal P.A.                                           Unliquidated
         1909 Southwest 27th Avenue
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0397                      Is the claim subject to offset?     No       Yes

3.855
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SAMOLE & BERGER PA                                           Contingent
         11270 SW 59 Avenue                                           Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7149
                                                                   Is the claim subject to offset?     No       Yes

3.855
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SAMOUCE MURRELL & GAL PA                                     Contingent
         1415 Panther Lane Suite 343                                  Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5181
                                                                   Is the claim subject to offset?     No       Yes

3.855
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL A ROACH                                               Contingent
         Harris Barrette Mann & Dew                                   Unliquidated
         P.O. Box 2011
                                                                      Disputed
         St Petersburg, FL 33731-2011
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3922                      Is the claim subject to offset?     No       Yes

3.855
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $131.34
         SAMUEL B BERGER                                              Contingent
         9417 Carlyle Avenue                                          Unliquidated
         Miami Beach, FL 33154-2445
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1771
                                                                   Is the claim subject to offset?     No       Yes

3.855
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SAMUEL B BRAHM                                               Contingent
         3621 Central Avenue                                          Unliquidated
         St Petersburg, FL 33713-8434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6154
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1296 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1304 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.855
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL C AURILIO                                             Contingent
         840 US Highway One Suite 320                                 Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6027
                                                                   Is the claim subject to offset?     No       Yes

3.856
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL D BALLEN                                              Contingent
         2295 Northwest Corporaate Boulevard Suit                     Unliquidated
         Boca Raton, FL 33431-7373
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5202
                                                                   Is the claim subject to offset?     No       Yes

3.856
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL D LOPEZ PA                                            Contingent
         1851 Northwest 125th Avenue Suite 331                        Unliquidated
         Pembroke Pines, FL 33028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8024
                                                                   Is the claim subject to offset?     No       Yes

3.856
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL E DUKE                                                Contingent
         P.O. Box 3706                                                Unliquidated
         Lake Wales, FL 33859-3706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8392
                                                                   Is the claim subject to offset?     No       Yes

3.856
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SAMUEL G EASTERBROOK III                                     Contingent
         State Attorney's Office                                      Unliquidated
         251 N Ridgewood Avenue
                                                                      Disputed
         Daytona Beach, FL 32114-7505
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7629                      Is the claim subject to offset?     No       Yes

3.856
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL HY SILVERGLATE                                        Contingent
         801 S University Drive Suite 500                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6779
                                                                   Is the claim subject to offset?     No       Yes

3.856
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,915.19
         SAMUEL I LEFF                                                Contingent
         2775 Sunny Isles Boulevard Suite 100                         Unliquidated
         North Miami Beach, FL 33160-4007                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2357
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1297 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1305 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.856
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAMUEL J WEISS                                               Contingent
         1000 E Robinson Street                                       Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 303
                                                                   Is the claim subject to offset?     No       Yes

3.856
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAMUEL L HELLER                                              Contingent
         1901 N Ocean Boulevard Suite 2-C                             Unliquidated
         Ft Lauderdale, FL 33305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5337
                                                                   Is the claim subject to offset?     No       Yes

3.856
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL L LEPRELL                                             Contingent
         Street Marks Place Suite 201                                 Unliquidated
         1930 San Marco Boulevard
                                                                      Disputed
         Jacksonville, FL 32207
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0280                      Is the claim subject to offset?     No       Yes

3.856
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL M PEEK                                                Contingent
         222 Government Street Suite D                                Unliquidated
         Niceville, FL 32578
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4720
                                                                   Is the claim subject to offset?     No       Yes

3.857
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAMUEL M SILVER                                              Contingent
         5220 S. University Drive                                     Unliquidated
         Suite 210
                                                                      Disputed
         Davie, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6226                      Is the claim subject to offset?     No       Yes

3.857
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAMUEL S BLUM                                                Contingent
         Samuel Spencer Blum Esquire                                  Unliquidated
         2666 Tigertail Avenue, Suite 106
                                                                      Disputed
         Coconut Grove, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6663                      Is the claim subject to offset?     No       Yes

3.857
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SAMUEL S HENDERSON                                           Contingent
         1735 W Hibiscus Boulevard Suite 300                          Unliquidated
         Melboure, FL 32901-2616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7285
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1298 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1306 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.857
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SAMUEL S SOROTA                                              Contingent
         801 Northeast 167th Street Suite 308                         Unliquidated
         North Miami Beach, FL 33162-3729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6129
                                                                   Is the claim subject to offset?     No       Yes

3.857
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $716.68
         SAMUEL SHERADSKY, P.A.                                       Contingent
         3929 Ponce Deleon Blvd.                                      Unliquidated
         Miami, FL 33134-7323                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2596
                                                                   Is the claim subject to offset?     No       Yes

3.857
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAMUEL STEEN                                                 Contingent
         11392 Southwest 86th Lane                                    Unliquidated
         Miami, FL 33173
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 860
                                                                   Is the claim subject to offset?     No       Yes

3.857
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAMUEL SUSI                                                  Contingent
         7806 Charney Lane                                            Unliquidated
         Boca Raton, FL 33496-1326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8643
                                                                   Is the claim subject to offset?     No       Yes

3.857
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,023.70
         SAMUEL V JOHNSON                                             Contingent
         13350 Ponderosa Way                                          Unliquidated
         Ft Myers, FL 33907                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5513
                                                                   Is the claim subject to offset?     No       Yes

3.857
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANCHEZ & ASSOCIATES PA                                      Contingent
         P.O. Box 941703                                              Unliquidated
         Miami, FL 33194-1703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5411
                                                                   Is the claim subject to offset?     No       Yes

3.857
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANCHEZ LAW GROUP PA                                         Contingent
         605 E Robinson Street                                        Unliquidated
         Suite 650
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1701                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1299 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1307 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.858
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SANCHEZ-MEDINA GONZALEZ &                                    Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 950
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8099                      Is the claim subject to offset?     No       Yes

3.858
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2.61
         SANDER MEDNICK                                               Contingent
         P.O. Box 364                                                 Unliquidated
         Annapolis, MD 21404                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8228
                                                                   Is the claim subject to offset?     No       Yes

3.858
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SANDERS LAW GROUP PA                                         Contingent
         6931 4th Street North                                        Unliquidated
         St Petersburg, FL 33702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9886
                                                                   Is the claim subject to offset?     No       Yes

3.858
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,115.79
         SANDERS MCEWAN MARTINEZ LUFF                                 Contingent
         P.O. Box 753                                                 Unliquidated
         Orlando, FL 32802-0753                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 18
                                                                   Is the claim subject to offset?     No       Yes

3.858
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sanders Title Company                                        Contingent
         6931 4th Street North                                        Unliquidated
         St Petersburg, FL 33702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6396
                                                                   Is the claim subject to offset?     No       Yes

3.858
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         SANDOR F GENET & ASSOCIATES PA                               Contingent
         99 Northeast 167th Street                                    Unliquidated
         North Miami Beach, FL 33162-3402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 669
                                                                   Is the claim subject to offset?     No       Yes

3.858
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SANDRA B FERRELL                                             Contingent
         10910 Donamere Drive                                         Unliquidated
         Alpharetta, GA 30022
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4621
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1300 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1308 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.858
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA B. RIGGS                                              Contingent
         150 W. Flagler St., Suite 2001                               Unliquidated
         Miami, FL 33130-1557
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2389
                                                                   Is the claim subject to offset?     No       Yes

3.858
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA BONFIGLIO PA                                          Contingent
         105 Avenue of The Arts                                       Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8171
                                                                   Is the claim subject to offset?     No       Yes

3.858
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA BOSSO-PARDO                                           Contingent
         1615 Forum Pl Suite 500                                      Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes

3.859
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA DUCHEINE-BAKER                                        Contingent
         Ducheine Baker & Associates P.A.                             Unliquidated
         9050 Pines Boulevard Suite 425
                                                                      Disputed
         Pembroke Pines, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5190                      Is the claim subject to offset?     No       Yes

3.859
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SANDRA G KRAWITZ PA                                          Contingent
         1001 Tullo Farm Road                                         Unliquidated
         Bridgewater, NJ 08801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7604
                                                                   Is the claim subject to offset?     No       Yes

3.859
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA G SMITH                                               Contingent
         6405 Northwest 18th Avenue                                   Unliquidated
         Gainesville, FL 32605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1634
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1301 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1309 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.859
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA H PETERSON                                            Contingent
         905 Southwest Baya Drive                                     Unliquidated
         Lake City, FL 33025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5780
                                                                   Is the claim subject to offset?     No       Yes

3.859
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA J POMERANTZ                                           Contingent
         400 E Lake Mary Boulevard                                    Unliquidated
         Sanford, FL 32773-7127
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4376
                                                                   Is the claim subject to offset?     No       Yes

3.859
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA LYNN SANDERS                                          Contingent
         203 W Oak Street                                             Unliquidated
         Arcadia, FL 34266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8657
                                                                   Is the claim subject to offset?     No       Yes

3.859
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SANDRA P PENAGOS PA                                          Contingent
         8950 Southwest 74 Court,                                     Unliquidated
         Suite 1610
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6546                      Is the claim subject to offset?     No       Yes

3.859
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA W JOHNSON                                             Contingent
         2110 Park Street                                             Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8967
                                                                   Is the claim subject to offset?     No       Yes

3.859
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANDRA WISEMAN PA                                            Contingent
         P.O. Box 1896                                                Unliquidated
         Sarasota, FL 34230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9750
                                                                   Is the claim subject to offset?     No       Yes

3.859
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $105.00
         SANFORD A MINKOFF                                            Contingent
         Lake County Attorney's Office                                Unliquidated
         315 W. Main Street
                                                                      Disputed
         Tavares, FL 32778
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1714                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1302 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1310 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.860
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,420.87
         SANFORD N REINHARD                                           Contingent
         2875 Northeast 191st Street Suite 404                        Unliquidated
         N Miami Beach, FL 33180-2803                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8651
                                                                   Is the claim subject to offset?     No       Yes

3.860
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Santana Rodriguez Law, P.A.                                  Contingent
         3663 Southwest 8th Street Suite 208                          Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9540
                                                                   Is the claim subject to offset?     No       Yes

3.860
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANTIAGO A ALPIZAR PA                                        Contingent
         1699 Coral Way Suite 512                                     Unliquidated
         Miami, FL 33145-2860
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9243
                                                                   Is the claim subject to offset?     No       Yes

3.860
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SANTIAGO DIEZ                                                Contingent
         1395 Brickell Avenue                                         Unliquidated
         Suite 800
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0009                      Is the claim subject to offset?     No       Yes

3.860
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SANTIAGO J PADILLA                                           Contingent
         Law Offices Santiago J Padilla                               Unliquidated
         1001 Brickell Bay Drive Suite 1704
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5082                      Is the claim subject to offset?     No       Yes

3.860
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SANTIAGO J ROSELL                                            Contingent
         510 Gerona Avenue                                            Unliquidated
         Coral Gables, FL 33146-2715
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5949
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1303 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1311 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.860
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SANTINO & SABOL LAW GROUP                                    Contingent
         1675 Palm Beach Lakes Boulevard Suite 70                     Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0159
                                                                   Is the claim subject to offset?     No       Yes

3.860
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7.17
         SANTO J SOTTILARE                                            Contingent
         2699 Sterling Road                                           Unliquidated
         Ft Lauderdale, FL 33312-6543                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8186
                                                                   Is the claim subject to offset?     No       Yes

3.860
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAPURSTEIN & BLOCH PA                                        Contingent
         9700 S. Dixie Highway                                        Unliquidated
         Suite 1000
                                                                      Disputed
         Miami, FL 33156-2800
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8387                      Is the claim subject to offset?     No       Yes

3.860
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SARA BARLI HERALD                                            Contingent
         800 Northwest 15th Street                                    Unliquidated
         Miami, FL 33136-1495
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2611
                                                                   Is the claim subject to offset?     No       Yes

3.861
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SARA DREILING MORIBER                                        Contingent
         1434 West 24th Street                                        Unliquidated
         Miami Beach, FL 33140-4523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7559
                                                                   Is the claim subject to offset?     No       Yes

3.861
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Saracco Law LLC                                              Contingent
         520 Brevard Avenue                                           Unliquidated
         Cocoa, FL 32922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7854
                                                                   Is the claim subject to offset?     No       Yes

3.861
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SARAGA & LIPSHY PA                                           Contingent
         201 NE 1st Avenue                                            Unliquidated
         Delray Beach, FL 33444
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9576
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1304 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1312 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.861
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SARALYN NEMSER                                               Contingent
         12240 NE 14th Avenue                                         Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9867
                                                                   Is the claim subject to offset?     No       Yes

3.861
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SARI L REEGLER                                               Contingent
         1521 S Tamiami Trail Suite 304                               Unliquidated
         Venice, FL 34292-3567
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5030
                                                                   Is the claim subject to offset?     No       Yes

3.861
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SARINO COSTANZO                                              Contingent
         10659 Northeast Quaybridge Court                             Unliquidated
         Miami, FL 33138-2212
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7056
                                                                   Is the claim subject to offset?     No       Yes

3.861
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sasha B. Berdeguer, P.A.                                     Contingent
         8603 S. Dixie Highway                                        Unliquidated
         Suite 205
                                                                      Disputed
         Pinecrest, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9207                      Is the claim subject to offset?     No       Yes

3.861
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAUL CIMBLER                                                 Contingent
         1320 S Dixie Highway Suite 750                               Unliquidated
         Miami, FL 33146-2938
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2178
                                                                   Is the claim subject to offset?     No       Yes

3.861
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SAUNDERS & SAUNDERS                                          Contingent
         2018 Lawson Road                                             Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6560
                                                                   Is the claim subject to offset?     No       Yes

3.861
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,120.75
         SAUNDERS CURTIS GINESTRA &                                   Contingent
         4450 NW 126th Avenue                                         Unliquidated
         Suite 101                                                    Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1278                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1305 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1313 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.862
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAUNDRA DURRENCE                                             Contingent
         4701 NW 82nd Court                                           Unliquidated
         Ocala, FL 34482
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8372
                                                                   Is the claim subject to offset?     No       Yes

3.862
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAUVOLA & ASSOCIATES PA                                      Contingent
         1750 N Florida Mango Road Suite 200                          Unliquidated
         West Palm Beach, FL 33409-5230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2470
                                                                   Is the claim subject to offset?     No       Yes

3.862
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SAVAGE & ATLASS PL                                           Contingent
         Harbour Centre                                               Unliquidated
         18851 Northeast 29th Avenue Suite 303
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2247                      Is the claim subject to offset?     No       Yes

3.862
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,091.67
         SAVAGE KRIM & SIMONS LAW OFFCS                               Contingent
         121 NW 3rd Street                                            Unliquidated
         Ocala, FL 34475-6640                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2109
                                                                   Is the claim subject to offset?     No       Yes

3.862
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAWYER & SAWYER PA                                           Contingent
         8913 Conroy Windermere Road                                  Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2237
                                                                   Is the claim subject to offset?     No       Yes

3.862
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SAX WILLINGER & GOLD                                         Contingent
         600 S. Andrews Avenue                                        Unliquidated
         Suite 401
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6461                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1306 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1314 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.862
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         SAXON & RICHARDSON P A                                       Contingent
         111 S Scott Street                                           Unliquidated
         Melbourne, FL 32901-1262
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5123
                                                                   Is the claim subject to offset?     No       Yes

3.862
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SAXON GILMORE CARRAWAY &                                     Contingent
         201 E Kennedy Boulevard Suite 600                            Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8466
                                                                   Is the claim subject to offset?     No       Yes

3.862
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $479.89
         SAXTON R. GASKIN, III, P.A.                                  Contingent
         1465 San Juan Court                                          Unliquidated
         Clearwater, FL 34616-6051                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6052
                                                                   Is the claim subject to offset?     No       Yes

3.862
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         SCHAFFEL AND SHEEHAN PA                                      Contingent
         Coral Springs Financial Plaza                                Unliquidated
         3300 University Drive Suite 604
                                                                      Disputed
         Coral Springs, FL 33065
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4594                      Is the claim subject to offset?     No       Yes

3.863
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHARLACKEN & ASSOCIATES PA                                  Contingent
         8142 Lowbank Drive                                           Unliquidated
         Naples, FL 34109-0774
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7883
                                                                   Is the claim subject to offset?     No       Yes

3.863
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         SCHARLIN LANZETTA & COHEN                                    Contingent
         1111 Brickell Avenue 29th Floor                              Unliquidated
         Miami, FL 33131-3128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1284
                                                                   Is the claim subject to offset?     No       Yes

3.863
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Scheflin Law Group, P.A.                                     Contingent
         6099 Stirling Road                                           Unliquidated
         Suite 105
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7235                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1307 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1315 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.863
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHELLER & LEE PLC                                           Contingent
         1000 Legion Pl Suite 1518                                    Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4055
                                                                   Is the claim subject to offset?     No       Yes

3.863
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHENK & ASSOCIATES PLC                                      Contingent
         995 N Collier Boulevard                                      Unliquidated
         Marco Island, FL 34145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9587
                                                                   Is the claim subject to offset?     No       Yes

3.863
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Scheril Murray Powell                                        Contingent
         Doumar Allsworth Laystrom Et Al                              Unliquidated
         1177 SE 3rd Avenue
                                                                      Disputed
         Ft. Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0007                      Is the claim subject to offset?     No       Yes

3.863
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SCHILIAN & WATARZ PA                                         Contingent
         7000 W. Palmetto Park Road                                   Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5337                      Is the claim subject to offset?     No       Yes

3.863
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHILLER KESSLER & GOMEZ PLC                                 Contingent
         7501 W Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9581
                                                                   Is the claim subject to offset?     No       Yes

3.863
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Schneider Law, L.L.C.                                        Contingent
         2856 E Oakland Park Boulevard                                Unliquidated
         Ft. Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0568
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1308 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1316 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.863
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SCHNUR & SCHNUR PA                                           Contingent
         7221 Southwest 7th Street                                    Unliquidated
         Plantation, FL 33317-3824
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4768
                                                                   Is the claim subject to offset?     No       Yes

3.864
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         SCHOFIELD & SPENCER PA                                       Contingent
         1429 60th Avenue W.                                          Unliquidated
         Suite 300
                                                                      Disputed
         Bradenton, FL 34207-4614
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4489                      Is the claim subject to offset?     No       Yes

3.864
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHOOLEY & ASSOCIATES INC                                    Contingent
         1635 N Bayshore Drive Suite 104                              Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8218
                                                                   Is the claim subject to offset?     No       Yes

3.864
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SCHREIBER SCHREIBER &                                        Contingent
         5600 Sheridan Street                                         Unliquidated
         Hollywood, FL 33021-3240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3692
                                                                   Is the claim subject to offset?     No       Yes

3.864
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHROPP BUELL & ELLIGETT PA                                  Contingent
         Landmark Centre Suite 2600                                   Unliquidated
         401 E Jackson Street
                                                                      Disputed
         Tampa, FL 33602-5226
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6738                      Is the claim subject to offset?     No       Yes

3.864
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $761.14
         SCHULTE ROTH & ZABEL                                         Contingent
         Phillips Point West Twr Suite 1002                           Unliquidated
         777 S Flagler Drive                                          Disputed
         West Palm Beach, FL 33401-6124
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6978                      Is the claim subject to offset?     No       Yes


3.864
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCHULTZ & ASSOCIATES PA                                      Contingent
         5656 Northwest Whitecap Road                                 Unliquidated
         Port St Lucie, FL 34986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5523
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1309 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1317 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.864
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SCHULTZ & ASSOCIATES PA                                      Contingent
         P.O. Box 1685                                                Unliquidated
         Safety Harbor, FL 34695-1685
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8184
                                                                   Is the claim subject to offset?     No       Yes

3.864
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SCHUMANN LAW GROUP PA                                        Contingent
         Bonita Bay Executive Center                                  Unliquidated
         3451 Bonita Bay Boulevard Suite 200
                                                                      Disputed
         Bonita Springs, FL 34134-4378
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6823                      Is the claim subject to offset?     No       Yes

3.864
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SCHUTT LAW FIRM PA                                           Contingent
         1322 Southeast 46th Lane Suite 202                           Unliquidated
         Cape Coral, FL 33904-8642
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7546
                                                                   Is the claim subject to offset?     No       Yes

3.864
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SCHUTZ LITIGATION LLC                                        Contingent
         535 Central Avenue                                           Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5586
                                                                   Is the claim subject to offset?     No       Yes

3.865
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SCHWARTZ GOLD COHEN &                                        Contingent
         54 SW Boca Raton Boulevard                                   Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7835
                                                                   Is the claim subject to offset?     No       Yes

3.865
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SCHWENKE & CARLSON, P.A.                                     Contingent
         P.O. Box 23929                                               Unliquidated
         Ft. Lauderdale, FL 33307-3929
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2093
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1310 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1318 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.865
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SCOTT & TAYLOR PA                                            Contingent
         505 S Flagler Drive Suite 1005                               Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8708
                                                                   Is the claim subject to offset?     No       Yes

3.865
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT A MARCUS                                               Contingent
         Becker & Poliakoff P.A.                                      Unliquidated
         121 Alhambra Plaza Suite 1000 (10 Fl)
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9416                      Is the claim subject to offset?     No       Yes

3.865
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT ALAN SALOMON                                           Contingent
         C/O Salomon & Mittelberg P.A.                                Unliquidated
         2770 University Drive
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7994                      Is the claim subject to offset?     No       Yes

3.865
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT BROWN                                                  Contingent
         Scott Brown P.A.                                             Unliquidated
         100 S Ashley Drive Suite 2200
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4428                      Is the claim subject to offset?     No       Yes

3.865
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT C TEPPER                                               Contingent
         120 E Granada Boulevard                                      Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2514
                                                                   Is the claim subject to offset?     No       Yes

3.865
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Scott C. Gherman, P.A.                                       Contingent
         902 Clint Moore Road                                         Unliquidated
         Suite 120
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9381                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1311 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1319 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.865
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SCOTT CHARLTON                                               Contingent
         P.O. Box 24268                                               Unliquidated
         Tampa, FL 33623-4268
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4958
                                                                   Is the claim subject to offset?     No       Yes

3.865
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SCOTT D CLARK PA                                             Contingent
         655 W Morse Boulevard Suite 212                              Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6399
                                                                   Is the claim subject to offset?     No       Yes

3.866
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT D LARUE                                                Contingent
         2401 W Bay Drive Suite 303                                   Unliquidated
         Largo, FL 33770-4923
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4677
                                                                   Is the claim subject to offset?     No       Yes

3.866
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT DARYL BINDER                                           Contingent
         5121 Ehrlich Road Suite 102-A                                Unliquidated
         Tampa, FL 33624-2015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8065
                                                                   Is the claim subject to offset?     No       Yes

3.866
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SCOTT E GORDON                                               Contingent
         C/O Lutz Bobo & Telfair                                      Unliquidated
         2 N Tamiami Trail Suite 500
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7630                      Is the claim subject to offset?     No       Yes

3.866
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT E SIMOWITZ                                             Contingent
         800 Corporate Drive Suite 510                                Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6950
                                                                   Is the claim subject to offset?     No       Yes

3.866
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SCOTT H LANGSTON                                             Contingent
         P.O. Box 1897                                                Unliquidated
         Lakeland, FL 33802-1897
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 561
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1312 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1320 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.866
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $600.00
         SCOTT HARRIS BRYAN BARRA                                     Contingent
         4400 PGA Boulevard                                           Unliquidated
         Suite 603
                                                                      Disputed
         Palm Beach Gardens, FL 33410-6562
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2196                      Is the claim subject to offset?     No       Yes

3.866
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SCOTT J PERDIGON PA                                          Contingent
         9100 S Dadeland Boulevard Suite 1701                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9604
                                                                   Is the claim subject to offset?     No       Yes

3.866
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT JAY SENFT                                              Contingent
         126 S Federal Highway Suite 208                              Unliquidated
         Dania, FL 33004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3879
                                                                   Is the claim subject to offset?     No       Yes

3.866
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT KRAMER                                                 Contingent
         6650 W Indiantown Road Suite 200                             Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8410
                                                                   Is the claim subject to offset?     No       Yes

3.866
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT L PESTCOE                                              Contingent
         Westside Corporate Center                                    Unliquidated
         150 S Pine Island Road Suite 540
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6267                      Is the claim subject to offset?     No       Yes

3.867
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT LAW GROUP PLC                                          Contingent
         728 Wood Street                                              Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7445
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1313 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1321 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.867
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT LEGAL ASSOCIATES PA                                    Contingent
         99 Orange Street                                             Unliquidated
         St Augustine, FL 32084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2174
                                                                   Is the claim subject to offset?     No       Yes

3.867
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT LEVINE                                                 Contingent
         1625 N. Commerce Parkway                                     Unliquidated
         Suite 225
                                                                      Disputed
         Weston, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7234                      Is the claim subject to offset?     No       Yes

3.867
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT M GRANT                                                Contingent
         3400 Tamiami Trail N Suite 201                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3985
                                                                   Is the claim subject to offset?     No       Yes

3.867
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT M ROSEN                                                Contingent
         2559 Camelot Court                                           Unliquidated
         Cooper City, FL 33026-3648
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8559
                                                                   Is the claim subject to offset?     No       Yes

3.867
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT R AUSTIN                                               Contingent
         100 Northeast Third Avenue Suite 1100                        Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9780
                                                                   Is the claim subject to offset?     No       Yes

3.867
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT R BOATRIGHT                                            Contingent
         3128 Swooping Willow Court W                                 Unliquidated
         Jacksonville, FL 32223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0022
                                                                   Is the claim subject to offset?     No       Yes

3.867
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SCOTT R JAY                                                  Contingent
         19500 Northeast 21st Court                                   Unliquidated
         Miami, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7337
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1314 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1322 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.867
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT ROSEN PA                                               Contingent
         150 S. Pine Island Road                                      Unliquidated
         Suite 300
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6896                      Is the claim subject to offset?     No       Yes

3.867
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT STADLER PA                                             Contingent
         1750 University Drive Suite 202                              Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9472
                                                                   Is the claim subject to offset?     No       Yes

3.868
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT SWEIGART                                               Contingent
         Law Office of Scott H Sweigart P.A.                          Unliquidated
         6400 N Andrews Avenue Suite 340
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9756                      Is the claim subject to offset?     No       Yes

3.868
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Scott Torrie, P.A.                                           Contingent
         34931 US Highway 19 N                                        Unliquidated
         Suite 210
                                                                      Disputed
         Palm Harbor, FL 34684
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7210                      Is the claim subject to offset?     No       Yes

3.868
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SCOTT W FITZPATRICK PA                                       Contingent
         811 Cypress Village Boulevard Suite A                        Unliquidated
         Sun City Center, FL 33573-6724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8547
                                                                   Is the claim subject to offset?     No       Yes

3.868
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SCOTT W. PUTNEY                                              Contingent
         2501 Porter Street Northwest                                 Unliquidated
         Suite 716
                                                                      Disputed
         Washington, DC 20008-1258
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8586                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1315 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1323 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.868
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $675.00
         SCRUGGS & CARMICHAEL PA                                      Contingent
         4923 N.W. 43rd Street                                        Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 935
                                                                   Is the claim subject to offset?     No       Yes

3.868
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Scruggs Carmichael & Wershow, P.A.                           Contingent
         4923 N.W. 43rd Street                                        Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 935
                                                                   Is the claim subject to offset?     No       Yes

3.868
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEAN JAY GREENE                                              Contingent
         700 Southeast 3rd Avenue Suite 100                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2159
                                                                   Is the claim subject to offset?     No       Yes

3.868
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEAN L FISHER                                                Contingent
         Fisher & Davidson L.L.P.                                     Unliquidated
         1450 Madruga Avenue Suite 202
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8522                      Is the claim subject to offset?     No       Yes

3.868
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEAN V DONNELLY                                              Contingent
         3708 W Euclid Avenue                                         Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3903
                                                                   Is the claim subject to offset?     No       Yes

3.868
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Secure Title and Trust, L.L.C.                               Contingent
         3650 NW 82nd Avenue                                          Unliquidated
         Suite 401
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9644                      Is the claim subject to offset?     No       Yes

3.869
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Security Title & Escrow, Inc.                                Contingent
         100 W. Cypress Creek Road                                    Unliquidated
         Suite 910
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3057                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1316 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1324 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.869
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEGAUL & STOLL PA                                            Contingent
         7805 SW 6th Court                                            Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6157
                                                                   Is the claim subject to offset?     No       Yes

3.869
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         SEGREDO & WEISZ                                              Contingent
         Attn: Frank J. Segredo                                       Unliquidated
         6080 Bird Road Suite 5
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 616                       Is the claim subject to offset?     No       Yes

3.869
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEIDLIN & TRENK PA                                           Contingent
         Suite 308-L Parkview Building                                Unliquidated
         1876 N University Drive
                                                                      Disputed
         Plantation, FL 33322
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7028                      Is the claim subject to offset?     No       Yes

3.869
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEIDMAN PREWITT DIBELLO PA                                   Contingent
         1550 Madruga Avenue Suite 504                                Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7881
                                                                   Is the claim subject to offset?     No       Yes

3.869
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sejpal Law Firm, P.A.                                        Contingent
         14039 N Dale Mabry Highway                                   Unliquidated
         Tampa, FL 33618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8589
                                                                   Is the claim subject to offset?     No       Yes

3.869
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SELLAR SEWELL RUSS SAYLOR                                    Contingent
         P.O. Box 492722                                              Unliquidated
         Leesburg, FL 34749-2722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4493
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1317 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1325 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.869
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,709.20
         SELLERS & PREVATT                                            Contingent
         108 Howard Street W                                          Unliquidated
         Live Oak, FL 32064-2302                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0157
                                                                   Is the claim subject to offset?     No       Yes

3.869
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SELZ & MUVDI SELZ PA                                         Contingent
         500 University Boulevard                                     Unliquidated
         Suite 110
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5992                      Is the claim subject to offset?     No       Yes

3.869
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         SEMET LICKSTEIN MORGENSTERN                                  Contingent
         Nationsbank Tower                                            Unliquidated
         100 Southeast 2nd Street 17th Floor
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6476                      Is the claim subject to offset?     No       Yes

3.870
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SEMPER WOODS PA                                              Contingent
         425 W Colonial Drive Suite 204                               Unliquidated
         Orlando, FL 35804-6863
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5874
                                                                   Is the claim subject to offset?     No       Yes

3.870
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SERBER & ASSOCIATES                                          Contingent
         Turnberry Plaza                                              Unliquidated
         2875 NE 191st Street, Suite 801
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5247                      Is the claim subject to offset?     No       Yes

3.870
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SERFATY & GARCIA PA                                          Contingent
         4770 BISCAYNE BLVD STE 1430                                  Unliquidated
         MIAMI, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2874
                                                                   Is the claim subject to offset?     No       Yes

3.870
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Serfaty Law, P.A.                                            Contingent
         4770 Biscayne Boulevard                                      Unliquidated
         Suite 1430
                                                                      Disputed
         Miami, FL 33137
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7204                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1318 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1326 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.870
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SERGIO ELIZALDE                                              Contingent
         101 S Alpine View Lane                                       Unliquidated
         Driggs, ID 83422
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1948
                                                                   Is the claim subject to offset?     No       Yes

3.870
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SERGIO J GUZMAN                                              Contingent
         2440 Coral Way                                               Unliquidated
         Miami, FL 33145
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0593
                                                                   Is the claim subject to offset?     No       Yes

3.870
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SETH D LUBIN                                                 Contingent
         P.O. Box 822612                                              Unliquidated
         South Florida, FL 33082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8988
                                                                   Is the claim subject to offset?     No       Yes

3.870
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SETH I COHEN                                                 Contingent
         5550 Glades Road                                             Unliquidated
         Suite 250
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2129                      Is the claim subject to offset?     No       Yes

3.870
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SETH KIMMEL                                                  Contingent
         Seth Kimmel P.A.                                             Unliquidated
         2797 Oakbrook Lane
                                                                      Disputed
         Weston, FL 33332
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2254                      Is the claim subject to offset?     No       Yes

3.870
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sewar Legal, P.A.                                            Contingent
         600 Cleveland Street                                         Unliquidated
         Suite 287
                                                                      Disputed
         Clearwater, FL 33755
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1022                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1319 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1327 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.871
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.00
         SEYMOUR KAPLAN                                               Contingent
         1009 Sailors Reef                                            Unliquidated
         Ft. Collins, CO 80525-3149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 550
                                                                   Is the claim subject to offset?     No       Yes

3.871
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Seymour N. Singer, P.A.                                      Contingent
         7401 Wiles Road                                              Unliquidated
         Suite 230
                                                                      Disputed
         Coral Springs, FL 33067
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7983                      Is the claim subject to offset?     No       Yes

3.871
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,330.92
         SHACKLEFORD FARRIOR                                          Contingent
         P.O. Box 3324                                                Unliquidated
         Tampa, FL 33601-3324                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2572
                                                                   Is the claim subject to offset?     No       Yes

3.871
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shafer Cohen, L.L.P.                                         Contingent
         5550 Glades Road                                             Unliquidated
         Suite 250
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2129                      Is the claim subject to offset?     No       Yes

3.871
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SHALLE STEPHEN FINE                                          Contingent
         2071 S Bayshore Drive Suite 602                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1916
                                                                   Is the claim subject to offset?     No       Yes

3.871
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SHALLOWAY & SHALLOWAY PA                                     Contingent
         1400 Centrepark Boulevard Suite 700                          Unliquidated
         West Palm Beach, FL 33401-2109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2392
                                                                   Is the claim subject to offset?     No       Yes

3.871
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shane M. Farnsworth, P.A.                                    Contingent
         70 SE 4th Avenue                                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1000
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1320 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1328 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.871
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHANELL M SCHUYLER                                           Contingent
         2401 E Atlantic Boulevard Suite 400                          Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2052
                                                                   Is the claim subject to offset?     No       Yes

3.871
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHANNON A GARVEY                                             Contingent
         1901 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33060-6562
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8966
                                                                   Is the claim subject to offset?     No       Yes

3.871
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHANNON HOUK                                                 Contingent
         17331 Carden Court                                           Unliquidated
         Ft Myers, FL 33908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6911
                                                                   Is the claim subject to offset?     No       Yes

3.872
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shante Pressley                                              Contingent
         P.O. Box 2148                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9585
                                                                   Is the claim subject to offset?     No       Yes

3.872
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $600.00
         SHAPIRO & FISHMAN                                            Contingent
         2424 N. Federal Highway                                      Unliquidated
         Suite 360
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7522                      Is the claim subject to offset?     No       Yes

3.872
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHAPIRO & WEIL                                               Contingent
         8925 Collins Avenue Unit 7h                                  Unliquidated
         Surfside, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6189
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1321 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1329 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.872
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SHAPIRO BLASI WASSERMAN & GORA                               Contingent
         7777 Glades Road Suite 400                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2336
                                                                   Is the claim subject to offset?     No       Yes

3.872
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shapiro, P.A.                                                Contingent
         19 W. Flagler Street                                         Unliquidated
         Suite 516
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0685                      Is the claim subject to offset?     No       Yes

3.872
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SHAPO FREEDMAN & BLOOM PA                                    Contingent
         200 S Biscayne Boulevard Suite 4750                          Unliquidated
         Southeast Financial Center
                                                                      Disputed
         Miami, FL 33131-2368
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5156                      Is the claim subject to offset?     No       Yes

3.872
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARI J ELESSAR PA                                           Contingent
         The Dayson Group                                             Unliquidated
         5849 Okeechobee Boulevard Suite 201
                                                                      Disputed
         West Palm Beach, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5605                      Is the claim subject to offset?     No       Yes

3.872
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARI N HINES PA                                             Contingent
         8363 S Coral Circle                                          Unliquidated
         Pompano Beach, FL 33058
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6974
                                                                   Is the claim subject to offset?     No       Yes

3.872
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARI OLEFSON                                                Contingent
         15 Southeast 9th Avenue                                      Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5242
                                                                   Is the claim subject to offset?     No       Yes

3.872
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,451.00
         SHARIT BUNN & CHILTON PA                                     Contingent
         P.O. Box 9498                                                Unliquidated
         Winter Haven, FL 33883-9498                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8220
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1322 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1330 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.873
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sharlas Law, PL                                              Contingent
         990 Biscayne Boulevard Suite 502                             Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9270
                                                                   Is the claim subject to offset?     No       Yes

3.873
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sharma Eminent Domain Lawyers, P.L.L.C.                      Contingent
         3732 Winter Garden Vineland Road                             Unliquidated
         Winter Garden, FL 34787-5483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6820
                                                                   Is the claim subject to offset?     No       Yes

3.873
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sharon Ann Cox, P.A.                                         Contingent
         7310 W. McNab Road                                           Unliquidated
         Suite 209
                                                                      Disputed
         Tamarac, FL 33321
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0709                      Is the claim subject to offset?     No       Yes

3.873
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SHARON B LOGAN                                               Contingent
         P.O. Box 4258                                                Unliquidated
         Ormond Beach, FL 32175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7747
                                                                   Is the claim subject to offset?     No       Yes

3.873
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SHARON B RINEHIMER                                           Contingent
         C/O Rgf Environmental Group                                  Unliquidated
         3875 Fiscal Court Suite 100
                                                                      Disputed
         West Palm Beach, FL 33404
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8054                      Is the claim subject to offset?     No       Yes

3.873
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON JANICE WALKER                                         Contingent
         6122 Washington Street Suite 3                               Unliquidated
         Hollywood, FL 33023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4136
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1323 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1331 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.873
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON L MCCLOUD                                             Contingent
         2830 Northwest 41st Street Suite G1                          Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3793
                                                                   Is the claim subject to offset?     No       Yes

3.873
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON L SIMMONS                                             Contingent
         300 W Adams Street Suite 580                                 Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7834
                                                                   Is the claim subject to offset?     No       Yes

3.873
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHARON L. LANGER                                             Contingent
         111 N.W. First Avenue                                        Unliquidated
         Suite 212
                                                                      Disputed
         Miami, FL 33128-1836
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6958                      Is the claim subject to offset?     No       Yes

3.873
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON M ZUCCARO                                             Contingent
         3461 Bonita Bay Boulevard Suite 221                          Unliquidated
         Bonita Springs, FL 34134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6725
                                                                   Is the claim subject to offset?     No       Yes

3.874
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON P TALBOT PA                                           Contingent
         258 Seminole Avenue                                          Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7901
                                                                   Is the claim subject to offset?     No       Yes

3.874
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SHARON R BOCK                                                Contingent
         301 N Olive Avenue 9th Floor                                 Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3939
                                                                   Is the claim subject to offset?     No       Yes

3.874
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON REAGAN                                                Contingent
         201 Government Street                                        Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0531
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1324 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1332 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.874
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON S JONES                                               Contingent
         20930 Southwest 248th Street                                 Unliquidated
         Homestead, FL 33031
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9877
                                                                   Is the claim subject to offset?     No       Yes

3.874
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON S VANDER WULP PA                                      Contingent
         712 Shamrock Boulevard                                       Unliquidated
         Venice, FL 34293
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5917
                                                                   Is the claim subject to offset?     No       Yes

3.874
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARON S WALKER PA                                           Contingent
         15150 NW 79th Court                                          Unliquidated
         Suite 195
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4111                      Is the claim subject to offset?     No       Yes

3.874
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHARP DIAMOND PA                                             Contingent
         90 Almeria Avenue Suite 202                                  Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.874
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHARYN D GARFIELD                                            Contingent
         1440 Coral Ridge Drive Suite 184                             Unliquidated
         Coral Springs, FL 33071-5433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7830
                                                                   Is the claim subject to offset?     No       Yes

3.874
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHAUGHNESSY & PEREZ PA                                       Contingent
         P.O. Box 231                                                 Unliquidated
         Orlando, FL 32802-0231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5879
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1325 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1333 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.874
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shaunda Brown Attorney & Counselor at La                     Contingent
         P.O. Box 1750                                                Unliquidated
         Apopka, FL 32704-1750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0193
                                                                   Is the claim subject to offset?     No       Yes

3.875
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHAYNA M BECHTEL PL                                          Contingent
         1000 SE Monterey Commons Boulevard                           Unliquidated
         Suite 106
                                                                      Disputed
         Stuart, FL 34996
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3164                      Is the claim subject to offset?     No       Yes

3.875
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHEEHAN & CELAYA PA                                          Contingent
         300 Dal Hall Boulevard                                       Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7294
                                                                   Is the claim subject to offset?     No       Yes

3.875
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHEEHE LEVINE CUNNINGHAM                                     Contingent
         201 S Biscayne Boulevard Suite 1800                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7486
                                                                   Is the claim subject to offset?     No       Yes

3.875
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Shehadeh Giannamore, P.L.L.C.                                Contingent
         620 S. Le Jeune Road                                         Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7412
                                                                   Is the claim subject to offset?     No       Yes

3.875
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHELDON BRUCE PALLEY                                         Contingent
         1497 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125-3640
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1695
                                                                   Is the claim subject to offset?     No       Yes

3.875
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHELDON ENGELHARD                                            Contingent
         7369 Woodmont Court                                          Unliquidated
         Boca Raton, FL 33434-3210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6253
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1326 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1334 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.875
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHELDON GOLDING                                              Contingent
         800 Southeast 3rd Avenue Suite 300                           Unliquidated
         Ft Lauderdale, FL 33316-1152
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7518
                                                                   Is the claim subject to offset?     No       Yes

3.875
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHELDON L WIND                                               Contingent
         5700 Memorial Highway Suite 102                              Unliquidated
         Tampa, FL 33615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6327
                                                                   Is the claim subject to offset?     No       Yes

3.875
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,488.93
         SHELL FLEMING DAVIS & MENGE                                  Contingent
         P.O. Box 1831                                                Unliquidated
         Pensacola, FL 32591-1831                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3406
                                                                   Is the claim subject to offset?     No       Yes

3.875
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHELLEY B MAURICE                                            Contingent
         11076 S Military Trail                                       Unliquidated
         Boynton Beach, FL 33436-7217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3809
                                                                   Is the claim subject to offset?     No       Yes

3.876
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHELLEY B MUND                                               Contingent
         6715 Academy Road Northeast                                  Unliquidated
         Albuquerque, NM 87109-3365
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6322
                                                                   Is the claim subject to offset?     No       Yes

3.876
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHELLEY HARRELL SHELTON PA                                   Contingent
         146 Avenue B Northwest                                       Unliquidated
         Winter Haven, FL 33881-4506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0449
                                                                   Is the claim subject to offset?     No       Yes

3.876
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHELLY O HALLEN                                              Contingent
         10450 Southwest 70th Avenue                                  Unliquidated
         Miami, FL 33156-3260
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4069
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1327 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1335 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.876
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SHENDELL & ASSOCIATES PA                                     Contingent
         3650 N FEDERAL HWY #202                                      Unliquidated
         LIGHTHOUSE POINT, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7139
                                                                   Is the claim subject to offset?     No       Yes

3.876
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SHENDELL & POLLOCK PL                                        Contingent
         621 Northwest 53rd Street Suite 310                          Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4187
                                                                   Is the claim subject to offset?     No       Yes

3.876
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHENNA A STEVENS                                             Contingent
         15251 Northeast 18th Avenue Suite 3                          Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5460
                                                                   Is the claim subject to offset?     No       Yes

3.876
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SHEPARD & LESKAR PA                                          Contingent
         100 NW 70TH AVE 1ST FL                                       Unliquidated
         PLANTATION, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8004
                                                                   Is the claim subject to offset?     No       Yes

3.876
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shepard, Smith, Kohlmyer & Hand, P.A.                        Contingent
         2300 Maitland Center Parkway                                 Unliquidated
         Suite 100
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6887                      Is the claim subject to offset?     No       Yes

3.876
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SHEPPARD & SHEPPARD LLC                                      Contingent
         2444 Greenbrier Court                                        Unliquidated
         Weston, FL 33327
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7889
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1328 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1336 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.876
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $525.00
         SHEPPARD BRETT STEWART HERSCH                                Contingent
         9100 College Pointe Court                                    Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 118
                                                                   Is the claim subject to offset?     No       Yes

3.877
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERI E NOTT PA                                              Contingent
         6751 N Federal Highway Suite 100                             Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8944
                                                                   Is the claim subject to offset?     No       Yes

3.877
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERI L GREEN                                                Contingent
         P.O. Box 221485                                              Unliquidated
         Hollywood, FL 33022-1485
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2313
                                                                   Is the claim subject to offset?     No       Yes

3.877
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERI L HAZELTINE & ASSOCIATES                               Contingent
         800 Palm Trail Plaza Suite 300                               Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1875
                                                                   Is the claim subject to offset?     No       Yes

3.877
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SHERMAN & WALDMAN PA                                         Contingent
         440 S Andrews Avenue                                         Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8723
                                                                   Is the claim subject to offset?     No       Yes

3.877
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHERMAN M BROD                                               Contingent
         P.O. Box 18877                                               Unliquidated
         Tampa, FL 33679-8877
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3733
                                                                   Is the claim subject to offset?     No       Yes

3.877
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SHERMAN N SMITH III                                          Contingent
         2145 14th Avenue Suite 19                                    Unliquidated
         Vero Beach, FL 32960-4414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8225
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1329 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1337 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.877
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERRI K DEWITT                                              Contingent
         Dewitt Law Firm P.A.                                         Unliquidated
         P.O. Box 2625
                                                                      Disputed
         Orlando, FL 32802-2625
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2164                      Is the claim subject to offset?     No       Yes

3.877
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERRI L ALLAN                                               Contingent
         731 Oak Avenue                                               Unliquidated
         Panama City, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5207
                                                                   Is the claim subject to offset?     No       Yes

3.877
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERRI R HELLER                                              Contingent
         18205 Biscayne Boulevard                                     Unliquidated
         Suite 2205
                                                                      Disputed
         Aventura, FL 33160
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2196                      Is the claim subject to offset?     No       Yes

3.877
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SHERRY A STANLEY                                             Contingent
         Sherry A. Stanley P.A.                                       Unliquidated
         6821 Camarin Street
                                                                      Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1300                      Is the claim subject to offset?     No       Yes

3.878
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHERRY L HYMAN                                               Contingent
         Admirals Corporate Center                                    Unliquidated
         3535 Military Trail, Suite 101
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6202                      Is the claim subject to offset?     No       Yes

3.878
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHERYL A EDWARDS                                             Contingent
         1800 2nd Street Suite 720                                    Unliquidated
         Sarasota, FL 34236-5966
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4917
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1330 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1338 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.878
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shin Law Firm, P.A.                                          Contingent
         189 S. Orange Avenue                                         Unliquidated
         Suite 1650S
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9878                      Is the claim subject to offset?     No       Yes

3.878
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHIPLEY LAW FIRM                                             Contingent
         20110 U.S. Highway 441                                       Unliquidated
         Suite A
                                                                      Disputed
         Mount Dora, FL 32757-6901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2741                      Is the claim subject to offset?     No       Yes

3.878
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SHIRLEY D WEISMAN                                            Contingent
         Radice Corporate Center - Cypress Crk                        Unliquidated
         800 Corporate Drive Suite 510
                                                                      Disputed
         Ft Lauderdale, FL 33334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6488                      Is the claim subject to offset?     No       Yes

3.878
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHLOMIT FURMAN PA                                            Contingent
         21121 Northeast 21st Pl                                      Unliquidated
         Miami, FL 33179
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9617
                                                                   Is the claim subject to offset?     No       Yes

3.878
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Shochet Law Group                                            Contingent
         3900 Woodlake Boulevard                                      Unliquidated
         Suite 202
                                                                      Disputed
         Greenacres, FL 33463
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6921                      Is the claim subject to offset?     No       Yes

3.878
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sholtes Law, PLLC                                            Contingent
         604 Boston Avenue                                            Unliquidated
         Ft. Pierce, FL 34950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0618
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1331 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1339 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.878
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SHOOK HARDY & BACON LLP                                      Contingent
         Miami Center Suite 2400                                      Unliquidated
         201 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131-4332
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5466                      Is the claim subject to offset?     No       Yes

3.878
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SHUFFIELD LOWMAN & WILSON PA                                 Contingent
         Attn: Amanda Tighe                                           Unliquidated
         1000 Legion Place, Suite 1700
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9266                      Is the claim subject to offset?     No       Yes

3.879
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SHUMAKER LOOP & KENDRICK LLP                                 Contingent
         101 E. Kennedy Boulevard                                     Unliquidated
         Suite 2800
                                                                      Disputed
         Tampa, FL 33602-5152
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3815                      Is the claim subject to offset?     No       Yes

3.879
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Shupe & Dhawan, P.A.                                         Contingent
         888 SE 3rd Avenue                                            Unliquidated
         Suite 202
                                                                      Disputed
         Ft Lauderdale, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8506                      Is the claim subject to offset?     No       Yes

3.879
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,813.08
         SHUTTS & BOWEN LLP                                           Contingent
         Attn: Beth Marley                                            Unliquidated
         200 S. Biscayne Boulevard, Suite 4100                        Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2958                      Is the claim subject to offset?     No       Yes


3.879
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sibila Lage, PLLC                                            Contingent
         6301 Sunset Drive                                            Unliquidated
         Suite 203
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9935                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1332 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1340 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.879
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SID C PETERSON JR                                            Contingent
         C/O DeLoach & Peterson P.A.                                  Unliquidated
         418 Canal Street
                                                                      Disputed
         New Smyrna Beach, FL 32168
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7107                      Is the claim subject to offset?     No       Yes

3.879
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SIDNEY B ALEXANDER                                           Contingent
         3800 Washington Road Apt 302                                 Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6136
                                                                   Is the claim subject to offset?     No       Yes

3.879
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sieg & Cole, P.A.                                            Contingent
         2945 Defuniak Street                                         Unliquidated
         Trinity, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6516
                                                                   Is the claim subject to offset?     No       Yes

3.879
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         SIEGEL LIPMAN DUNAY &                                        Contingent
         5355 Town Center Road Suite 801                              Unliquidated
         Boca Raton, FL 33486-1069
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 269
                                                                   Is the claim subject to offset?     No       Yes

3.879
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SIEGFRIED F KESSLER                                          Contingent
         P.O. Box 302                                                 Unliquidated
         Shalimar, FL 32579
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6187
                                                                   Is the claim subject to offset?     No       Yes

3.879
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SIEGFRIED RIVERA LERNER                                      Contingent
         DBA Siegfried Rivera                                         Unliquidated
         201 Alhambra Circle, 11th Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3868                      Is the claim subject to offset?     No       Yes

3.880
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SIEMON & LARSEN PA                                           Contingent
         433 Plaza Real Suite 339                                     Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6733
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1333 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1341 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.880
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SIEMON LARSEN & MARSH                                        Contingent
         Minzer Park                                                  Unliquidated
         433 Plaza Real Suite 339
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9111                      Is the claim subject to offset?     No       Yes

3.880
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Silberstein Law Firm, P.L.L.C.                               Contingent
         P.O. Box 2342                                                Unliquidated
         Sarasota, FL 34230
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9317
                                                                   Is the claim subject to offset?     No       Yes

3.880
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SILVER & SILVER                                              Contingent
         108 S Miami Avenue 2nd Floor                                 Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9386
                                                                   Is the claim subject to offset?     No       Yes

3.880
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SILVER LEVY FELDMAN BASS &                                   Contingent
         500 S Australian Avenue Suite 800                            Unliquidated
         West Palm Beach, FL 33401-6237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7244
                                                                   Is the claim subject to offset?     No       Yes

3.880
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Silverberg | Brito, PLLC                                     Contingent
         1695 NW 110th Avenue                                         Unliquidated
         Suite 224
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0887                      Is the claim subject to offset?     No       Yes

3.880
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SILVIA B ROJAS                                               Contingent
         Dade Branch Attorneys' Title                                 Unliquidated
         14791 Oak Lane
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0232                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1334 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1342 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.880
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SILVIA M RODRIGUEZ                                           Contingent
         8335 Southwest 72nd Avenue Suite 302-D                       Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0010
                                                                   Is the claim subject to offset?     No       Yes

3.880
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SILVIA MCLAIN                                                Contingent
         883 Sweetwater Island Circle                                 Unliquidated
         Longwood, FL 32779-2354
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8023
                                                                   Is the claim subject to offset?     No       Yes

3.880
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SIMMONS & CLYNE PA                                           Contingent
         145 Northwest Central Park Plaza 2nd Flo                     Unliquidated
         Port St Lucie, FL 34986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8963
                                                                   Is the claim subject to offset?     No       Yes

3.881
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Simmons & Cook, PLLC                                         Contingent
         2080 McGregor Blvd.                                          Unliquidated
         Suite 101
                                                                      Disputed
         Ft Myers, FL 33901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8523                      Is the claim subject to offset?     No       Yes

3.881
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SIMON & SCHMIDT                                              Contingent
         766 SE Fifth Avenue                                          Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3170
                                                                   Is the claim subject to offset?     No       Yes

3.881
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SIMON & SIMON                                                Contingent
         3400 Malone Drive Suite 309                                  Unliquidated
         Chamblee, GA 30341-2712
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5042
                                                                   Is the claim subject to offset?     No       Yes

3.881
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         SIMON & SIMON PA                                             Contingent
         16400 NW 2nd Avenue                                          Unliquidated
         Suite 203
                                                                      Disputed
         Miami, FL 33169
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 812                       Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1335 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1343 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.881
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SIMON M HARRISON                                             Contingent
         222 Plaza Drive                                              Unliquidated
         Lehigh Acres, FL 33936-6018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8682
                                                                   Is the claim subject to offset?     No       Yes

3.881
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Simon M. Azarnia, P.A.                                       Contingent
         1820 Viaduct Palermo                                         Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8986
                                                                   Is the claim subject to offset?     No       Yes

3.881
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SIMON SCHINDLER & SANDBERG LLP                               Contingent
         2650 Biscayne Boulevard                                      Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4086
                                                                   Is the claim subject to offset?     No       Yes

3.881
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SIMPSON & DELGADO                                            Contingent
         240 S. Atlantic Ave                                          Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1608
                                                                   Is the claim subject to offset?     No       Yes

3.881
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Simpson & Mena, P.A.                                         Contingent
         2250 SW 3rd Avenue                                           Unliquidated
         Suite 501
                                                                      Disputed
         Miami, FL 33129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0058                      Is the claim subject to offset?     No       Yes

3.881
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SION W CARTER JR                                             Contingent
         2618 Timberlake Drive                                        Unliquidated
         Orlando, FL 32806-7329
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3372
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1336 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1344 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.882
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SIVYER BARLOW & WATSON PA                                    Contingent
         401 E. Jackson Street                                        Unliquidated
         Suite 2225
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6710                      Is the claim subject to offset?     No       Yes

3.882
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SIXTO & ASSOCIATES PA                                        Contingent
         7975 NW 155th Street                                         Unliquidated
         Suite B
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8444                      Is the claim subject to offset?     No       Yes

3.882
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SKIP A DIRIENZO                                              Contingent
         Hochberg & Dirienzo P.A.                                     Unliquidated
         2946 E Commercial Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4302                      Is the claim subject to offset?     No       Yes

3.882
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,726.22
         SKIP BERG                                                    Contingent
         Berg & Kessler                                               Unliquidated
         1872 S. Tamiami Trail, Suite D                               Disputed
         Venice, FL 34293
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4325                      Is the claim subject to offset?     No       Yes


3.882
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SKIPPER LAW FIRM                                             Contingent
         P.O. Box 998                                                 Unliquidated
         Gainesville, FL 32602-0998
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2054
                                                                   Is the claim subject to offset?     No       Yes

3.882
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SKOBEL LAW PA                                                Contingent
         7475 SW 70th Lane                                            Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6368
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1337 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1345 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.882
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SLAUGHTER & GLADSON PA                                       Contingent
         13710 S Highway 441 Suite 100                                Unliquidated
         Lady Lake, FL 32159-4450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5993
                                                                   Is the claim subject to offset?     No       Yes

3.882
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SLOTO & ASSOCIATES PL                                        Contingent
         9100 S. Dadeland Boulevard                                   Unliquidated
         Suite 1607
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7184                      Is the claim subject to offset?     No       Yes

3.882
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         SLOTT BARKER & NUSSBAUM                                      Contingent
         4035 Atlantic Blvd.                                          Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6652
                                                                   Is the claim subject to offset?     No       Yes

3.882
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Smith & Associates                                           Contingent
         Suite 202                                                    Unliquidated
         1499 S Harbor City Boulevard
                                                                      Disputed
         Melbourne, FL 32901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7309                      Is the claim subject to offset?     No       Yes

3.883
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SMITH & SCHNACKE LPA                                         Contingent
         P.O. Box 1817                                                Unliquidated
         Dayton, OH 45401-1817
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4013
                                                                   Is the claim subject to offset?     No       Yes

3.883
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         SMITH & SMITH ATTORNEYS AT LAW                               Contingent
         411 N. Washington Street                                     Unliquidated
         Perry, FL 32347
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5501
                                                                   Is the claim subject to offset?     No       Yes

3.883
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SMITH & SUPRASKI PA                                          Contingent
         16666 NE 19th Avenue                                         Unliquidated
         Suite 113
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7144                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1338 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1346 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.883
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SMITH GAMBRELL & RUSSELL LLP                                 Contingent
         50 N Laura Street Suite 2600                                 Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9719
                                                                   Is the claim subject to offset?     No       Yes

3.883
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         SMITH HIATT & DIAZ PA                                        Contingent
         P.O. Box 19519                                               Unliquidated
         Ft Lauderdale, FL 33318
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7593
                                                                   Is the claim subject to offset?     No       Yes

3.883
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SMITH HOOD LOUCKS STOUT BIGMAN                               Contingent
         444 Seabreeze Boulevard                                      Unliquidated
         Suite 900
                                                                      Disputed
         Daytona Beach, FL 32118
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5842                      Is the claim subject to offset?     No       Yes

3.883
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SMITH HULSEY & BUSEY                                         Contingent
         1800 Wachovia Bank Tower                                     Unliquidated
         225 Water Street
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6279                      Is the claim subject to offset?     No       Yes

3.883
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         SMITH MACKINNON PA                                           Contingent
         255 Orange Avenue Suite 1200                                 Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5694
                                                                   Is the claim subject to offset?     No       Yes

3.883
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SMITH MCCORMICK PA                                           Contingent
         P.O. Box 3472                                                Unliquidated
         Riverview, FL 33569
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3013
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1339 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1347 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.883
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         SMITH SAUER & DEMARIA                                        Contingent
         510 E Zaragoza Street                                        Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5779
                                                                   Is the claim subject to offset?     No       Yes

3.884
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         SMITH THOMPSON SHAW & MANAUSA                                Contingent
         3520 Thomasville Road                                        Unliquidated
         4th Floor
                                                                      Disputed
         Tallahassee, FL 32308-3469
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7701                      Is the claim subject to offset?     No       Yes

3.884
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $380.77
         SMITH WILLIAMS & HUMPHRIES                                   Contingent
         712 S Oregon Avenue                                          Unliquidated
         Tampa, FL 33606-2543                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7537
                                                                   Is the claim subject to offset?     No       Yes

3.884
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         SMITH, SMITH & WENDER, P.A.                                  Contingent
         190 W. Palmetto Park Road                                    Unliquidated
         Boca Raton, FL 33432-3828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5228
                                                                   Is the claim subject to offset?     No       Yes

3.884
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Smoler & Associates, P.A.                                    Contingent
         2611 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9772
                                                                   Is the claim subject to offset?     No       Yes

3.884
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,788.02
         SMOOT ADAMS EDWARDS & GREEN PA                               Contingent
         8359 Stringfellow Road Unit 102                              Unliquidated
         St James City, FL 33956-2910                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6648
                                                                   Is the claim subject to offset?     No       Yes

3.884
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SMOOT ADAMS EDWARDS DORAGH                                   Contingent
         8359 Stringfellow Road Suite 102                             Unliquidated
         Saint James City, FL 33956-2914
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5947
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1340 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1348 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.884
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SNELL & SNELL PA                                             Contingent
         436 N Peninsula Drive                                        Unliquidated
         Daytona Beach, FL 32118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2553
                                                                   Is the claim subject to offset?     No       Yes

3.884
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SNELL LEGAL                                                  Contingent
         160 E Granada Boulevard                                      Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5512
                                                                   Is the claim subject to offset?     No       Yes

3.884
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         SNYDER & KIAR                                                Contingent
         7931 Southwest 45th Street                                   Unliquidated
         Davie, FL 33328-3011
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4382
                                                                   Is the claim subject to offset?     No       Yes

3.884
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SOARES LAW PLC                                               Contingent
         301 Crawford Boulevard Suite 206                             Unliquidated
         Boca Raton, FL 33432-3762
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8556
                                                                   Is the claim subject to offset?     No       Yes

3.885
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SOBERING WHITE & LUCZAK PA                                   Contingent
         558 W New England Suite 240                                  Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4589
                                                                   Is the claim subject to offset?     No       Yes

3.885
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SOBI Title, L.L.C.                                           Contingent
         7900 Nova Drive                                              Unliquidated
         Suite 205
                                                                      Disputed
         Davie, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0359                      Is the claim subject to offset?     No       Yes

3.885
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sobota, P.L.                                                 Contingent
         12555 Orange Drive                                           Unliquidated
         Davie, FL 33330
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7233
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1341 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1349 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.885
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SOFIA POWELL-COSIO                                           Contingent
         1900 Southwest 3rd Avenue                                    Unliquidated
         Miami, FL 33129
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1346
                                                                   Is the claim subject to offset?     No       Yes

3.885
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sokolof Remtulla, L.L.C.                                     Contingent
         224 Datura Street                                            Unliquidated
         Suite 515
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9736                      Is the claim subject to offset?     No       Yes

3.885
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SOL ALEXANDER                                                Contingent
         2333 Brickell Avenue Suite 909                               Unliquidated
         Miami, FL 33129-2411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1414
                                                                   Is the claim subject to offset?     No       Yes

3.885
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SOL H PROCTOR PA                                             Contingent
         1101 Blackstone Building                                     Unliquidated
         233 E Bay Street
                                                                      Disputed
         Jacksonville, FL 32202
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3893                      Is the claim subject to offset?     No       Yes

3.885
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SOLAMBIT LAW GROUP PLLC                                      Contingent
         Attn: Jenette V. Mathai                                      Unliquidated
         401 E Las Olas Boulevard Suite 1400
                                                                      Disputed
         Ft Lauderdale, FL 33301-2218
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2496                      Is the claim subject to offset?     No       Yes

3.885
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Solaris Law Group, P.A.                                      Contingent
         7900 Nova Drive Suite 205                                    Unliquidated
         Davie, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7043
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1342 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1350 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.885
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Sole Law, P.L.L.C.                                           Contingent
         555 5th Avenue N.                                            Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9872
                                                                   Is the claim subject to offset?     No       Yes

3.886
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Soliman Law                                                  Contingent
         415 Montgomery Road                                          Unliquidated
         Suite 141
                                                                      Disputed
         Altamonte Springs, FL 32714
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9219                      Is the claim subject to offset?     No       Yes

3.886
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SOLOMON & FURSHMAN LLP                                       Contingent
         1666 KENNEDY CAUSEWAY #302                                   Unliquidated
         NORTH BAY VILLAGE, FL 33141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0362
                                                                   Is the claim subject to offset?     No       Yes

3.886
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SOLOMON BARUGH ZOBERMAN                                      Contingent
         2455 E Sunrise Boulevard Ph-E                                Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6914
                                                                   Is the claim subject to offset?     No       Yes

3.886
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sonia Y. Amador, P.A.                                        Contingent
         13831 Southwest 59th Street Suite 201                        Unliquidated
         Miami, FL 33183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7182
                                                                   Is the claim subject to offset?     No       Yes

3.886
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SONN & MITTELMAN PA                                          Contingent
         19495 Biscayne Blvd.                                         Unliquidated
         Suite 607
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9242                      Is the claim subject to offset?     No       Yes

3.886
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SONYA K DAWS                                                 Contingent
         Messer Caparello & Self P.A.                                 Unliquidated
         2618 Centenial Pl
                                                                      Disputed
         Tallahassee, FL 32308-0572
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6633                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1343 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1351 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.886
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SOOBADRA CAMILLE GAUTHIER PA                                 Contingent
         4270 Aloma Avenue Suite 124                                  Unliquidated
         Winter Park, FL 32792-9388
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8801
                                                                   Is the claim subject to offset?     No       Yes

3.886
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SORAYA HEVIA KASPER                                          Contingent
         3525 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0501
                                                                   Is the claim subject to offset?     No       Yes

3.886
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         SORGINI & SORGINI                                            Contingent
         300 N. Federal Highway                                       Unliquidated
         Lake Worth Beach, FL 33460-3440
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1083
                                                                   Is the claim subject to offset?     No       Yes

3.886
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sosa Law, P.L.L.C.                                           Contingent
         757 NW 27 Avenue                                             Unliquidated
         Suite 202
                                                                      Disputed
         Miami, FL 33125
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0081                      Is the claim subject to offset?     No       Yes

3.887
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         South Florida Attorney Services, Inc.                        Contingent
         990 Biscayne Boulevard Suite O-903                           Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9025
                                                                   Is the claim subject to offset?     No       Yes

3.887
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         South Florida Law, P.L.L.C.                                  Contingent
         1920 E. Hallandale Beach Boulevard                           Unliquidated
         Suite 900
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9082                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1344 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1352 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.887
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SOUTH MILHAUSEN PA                                           Contingent
         1000 Legion Place                                            Unliquidated
         Suite 1200
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1003                      Is the claim subject to offset?     No       Yes

3.887
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Southtrust Law & Title, Inc.                                 Contingent
         1184 Eglin Parkway                                           Unliquidated
         Shalimar, FL 32579
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0186
                                                                   Is the claim subject to offset?     No       Yes

3.887
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SPARLER & SPARLER PA                                         Contingent
         4200 S. Dixie Highway                                        Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8881
                                                                   Is the claim subject to offset?     No       Yes

3.887
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         SPEAR & HOFFMAN                                              Contingent
         9700 S Dixie Highway Suite 610                               Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5764
                                                                   Is the claim subject to offset?     No       Yes

3.887
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SPENCER B GILBERT                                            Contingent
         403 Fernandina Street                                        Unliquidated
         Ft Pierce, FL 34949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1843
                                                                   Is the claim subject to offset?     No       Yes

3.887
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Spencer Bryant Siegel & Associates                           Contingent
         DBA Siegel & Siegel                                          Unliquidated
         1600 S. Dixie Highway
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6803                      Is the claim subject to offset?     No       Yes

3.887
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SPENCER GOLLAHON PA                                          Contingent
         P.O. Box 6453                                                Unliquidated
         Delray Beach, FL 33482-6453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0446
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1345 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1353 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.887
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SPENCER LAW FIRM PLC                                         Contingent
         PO Box 14386                                                 Unliquidated
         Tallahassee, FL 32317-4386
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9210
                                                                   Is the claim subject to offset?     No       Yes

3.888
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Spiro J. Verras, P.A.                                        Contingent
         31640 US Highway 19 N Suite 4                                Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7773
                                                                   Is the claim subject to offset?     No       Yes

3.888
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SPONSLER BENNETT JACOBS &                                    Contingent
         P.O. Box 3300                                                Unliquidated
         Tampa, FL 33605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3953
                                                                   Is the claim subject to offset?     No       Yes

3.888
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         SPOTTSWOOD SPOTTSWOOD &                                      Contingent
         500 Fleming Street                                           Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6816
                                                                   Is the claim subject to offset?     No       Yes

3.888
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SPRAKER & PRINZ PA                                           Contingent
         P.O. Box 1138                                                Unliquidated
         Stuart, FL 34995-1138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5197
                                                                   Is the claim subject to offset?     No       Yes

3.888
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SPW Law Firm                                                 Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 2201
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0596                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1346 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1354 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.888
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Spyredes Law Firm, P.A.                                      Contingent
         4800 North Federal Highway Street E301                       Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8903
                                                                   Is the claim subject to offset?     No       Yes

3.888
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SQUADRON, ELLENOFF, MANDLER,                                 Contingent
         1001 South Bayshore Drive                                    Unliquidated
         Suite 2600
                                                                      Disputed
         Miami, FL 33131-4940
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3791                      Is the claim subject to offset?     No       Yes

3.888
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         SQUIRE SANDERS & DEMPSEY                                     Contingent
         One Tampa City Center                                        Unliquidated
         201 N. Franklin Street, Suite 2100
                                                                      Disputed
         Tampa, FL 33602-5164
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5285                      Is the claim subject to offset?     No       Yes

3.888
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,099.16
         SQUIRE SANDERS & DEMPSEY LLP                                 Contingent
         200 S Biscayne Boulevard Suite 4100                          Unliquidated
         Miami, FL 33131-2398                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 205
                                                                   Is the claim subject to offset?     No       Yes

3.888
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ST ARNOLD & STEARNS CHARTERED                                Contingent
         1370 Pinehurst Road                                          Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3715
                                                                   Is the claim subject to offset?     No       Yes

3.889
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ST GEORGE & TEJERA                                           Contingent
         1735 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 441
                                                                   Is the claim subject to offset?     No       Yes

3.889
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ST JOHN CORE FIROE & LEMME PA                                Contingent
         Centurion Tower Suite 700                                    Unliquidated
         1601 Forum Place
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1820                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1347 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1355 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.889
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         ST JOHN ROSSIN BURR & LEMME                                  Contingent
         1601 Forum Pl Suite 701                                      Unliquidated
         West Palm Beach, FL 33401-8104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3890
                                                                   Is the claim subject to offset?     No       Yes

3.889
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ST JOHNS LAW GROUP PA                                        Contingent
         104 Sea Grove Main Street                                    Unliquidated
         St Augustine, FL 32080
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5646
                                                                   Is the claim subject to offset?     No       Yes

3.889
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $97.48
         ST JULIEN P ROSEMOND JR                                      Contingent
         3654 Bayview Road                                            Unliquidated
         Coconut Grove, FL 33133-6503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3998
                                                                   Is the claim subject to offset?     No       Yes

3.889
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         St. Joseph's Title Agency, LLC                               Contingent
         12585 New Brittany Boulevard                                 Unliquidated
         Suite F
                                                                      Disputed
         Fort Myers, FL 33907
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0792                      Is the claim subject to offset?     No       Yes

3.889
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         St. Louis Morris, P.A.                                       Contingent
         110 SE 6th Street                                            Unliquidated
         Suite 1709
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0426                      Is the claim subject to offset?     No       Yes

3.889
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STAACK SIMMS & HERNANDEZ PA                                  Contingent
         900 Drew Street Suite 1                                      Unliquidated
         Clearwater, FL 33755-4518
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8523
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1348 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1356 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.889
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $53.35
         STACY FRANK                                                  Contingent
         100 N Tampa Street                                           Unliquidated
         Tampa, FL 33602                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8079
                                                                   Is the claim subject to offset?     No       Yes

3.889
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STACY J RITTER                                               Contingent
         4162 Northwest 73 Way                                        Unliquidated
         Coral Springs, FL 33065-2160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8711
                                                                   Is the claim subject to offset?     No       Yes

3.890
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STAFFORD & RIZZO-MANTELLI PA                                 Contingent
         1649 Northwest 136th Avenue                                  Unliquidated
         Sunrise, FL 33323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0429
                                                                   Is the claim subject to offset?     No       Yes

3.890
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STAN TRAPPE                                                  Contingent
         P.O. Box 2526                                                Unliquidated
         Panama City, FL 32402-2526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7298
                                                                   Is the claim subject to offset?     No       Yes

3.890
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Standard Title Insurance Agency, Inc.                        Contingent
         1860 Forest Hill Boulevard                                   Unliquidated
         Suite 107
                                                                      Disputed
         West Palm Beach, FL 33406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4292                      Is the claim subject to offset?     No       Yes

3.890
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STANLEY A COHN                                               Contingent
         8695 Northwest 24th Court                                    Unliquidated
         Sunrise, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7122
                                                                   Is the claim subject to offset?     No       Yes

3.890
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,416.80
         STANLEY A MCDONALD                                           Contingent
         2023 Pine Isle Lane                                          Unliquidated
         Naples, FL 34112-6170                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3124
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1349 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1357 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.890
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY ANGEL, P.A.                                          Contingent
         1021 Ives Dairy Road Suite 111                               Unliquidated
         North Miami Beach, FL 33179-2537
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7488
                                                                   Is the claim subject to offset?     No       Yes

3.890
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY B LEWIS                                              Contingent
         P.O. Box 69-3692                                             Unliquidated
         Miami, FL 33150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7620
                                                                   Is the claim subject to offset?     No       Yes

3.890
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STANLEY BRODER                                               Contingent
         5000 Northwest 36th Street Suite C-411                       Unliquidated
         Ft Lauderdale, FL 33319-6596
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 213
                                                                   Is the claim subject to offset?     No       Yes

3.890
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STANLEY D CAIDIN                                             Contingent
         4060 Inverrary Drive                                         Unliquidated
         Lauderhill, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2249
                                                                   Is the claim subject to offset?     No       Yes

3.890
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY E ISRAEL                                             Contingent
         450 N Park Road Suite 805                                    Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7560
                                                                   Is the claim subject to offset?     No       Yes

3.891
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY E JOHNSON JR                                         Contingent
         P.O. Box 531481                                              Unliquidated
         Miami Shores, FL 33153
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5474
                                                                   Is the claim subject to offset?     No       Yes

3.891
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STANLEY H APTE                                               Contingent
         5780 La Gorce Drive                                          Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2794
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1350 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1358 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.891
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STANLEY H KUPERSTEIN                                         Contingent
         C/O Boies Schiller & Flexner                                 Unliquidated
         100 Southeast 2nd Street Suite 2800
                                                                      Disputed
         Miami, FL 33131-2124
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7921                      Is the claim subject to offset?     No       Yes

3.891
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY HENDRICKS PA                                         Contingent
         1508 Pelican Cove Road                                       Unliquidated
         Sarasota, FL 34231-6777
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3659
                                                                   Is the claim subject to offset?     No       Yes

3.891
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY HYMAN                                                Contingent
         P.O. Box 480458                                              Unliquidated
         Delray Beach, FL 33448-0458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8269
                                                                   Is the claim subject to offset?     No       Yes

3.891
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,217.38
         STANLEY J LIEBERFARB                                         Contingent
         Stanley J. Lieberfarb P.A.                                   Unliquidated
         1100 5th Avenue S Suite 405                                  Disputed
         Naples, FL 34102
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2265                      Is the claim subject to offset?     No       Yes


3.891
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY J LIEBERFARB PA                                      Contingent
         270 Third Avenue North                                       Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2265
                                                                   Is the claim subject to offset?     No       Yes

3.891
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STANLEY J SOLOMON                                            Contingent
         49 Village Drive                                             Unliquidated
         Ormond Beach, FL 32174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5283
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1351 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1359 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.891
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stanley Law Center                                           Contingent
         115 Granada Court                                            Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0828
                                                                   Is the claim subject to offset?     No       Yes

3.891
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY M KRAWETZ                                            Contingent
         1800 Second Street Suite 880                                 Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2738
                                                                   Is the claim subject to offset?     No       Yes

3.892
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STANLEY M MILLER                                             Contingent
         2790 Sunset Pointe Road                                      Unliquidated
         Clearwater, FL 33759
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4898
                                                                   Is the claim subject to offset?     No       Yes

3.892
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STANLEY M. ERSOFF                                            Contingent
         1439 W. Flagler Street                                       Unliquidated
         Miami, FL 33135-2208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3056
                                                                   Is the claim subject to offset?     No       Yes

3.892
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY T SZCZEBAK                                           Contingent
         301 E Commerical Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33334-2411
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8721
                                                                   Is the claim subject to offset?     No       Yes

3.892
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY W CAMPBELL JR                                        Contingent
         1915 Hollywood Boulevard Suite 206                           Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1534
                                                                   Is the claim subject to offset?     No       Yes

3.892
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STANLEY WEISSMAN                                             Contingent
         5313 Steeple Chase                                           Unliquidated
         Boca Raton, FL 33496
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2611
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1352 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1360 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.892
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,759.35
         STANLEY WINES BENNETT & HELMS                                Contingent
         106 Avenue F Southwest                                       Unliquidated
         Winter Haven, FL 33880                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 716
                                                                   Is the claim subject to offset?     No       Yes

3.892
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STANLEY WOLFMAN                                              Contingent
         1300 Bedford Drive Suite 103                                 Unliquidated
         Melbourne, FL 32940-1923
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1961
                                                                   Is the claim subject to offset?     No       Yes

3.892
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         STANTON & GASDICK PA                                         Contingent
         2034 Gatlin Avenue                                           Unliquidated
         Orlando, FL 32806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4330
                                                                   Is the claim subject to offset?     No       Yes

3.892
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stanton Cronin Law Group, P.L.                               Contingent
         6944 W. Linebaugh Avenue                                     Unliquidated
         Suite 102
                                                                      Disputed
         Tampa, FL 33625
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8240                      Is the claim subject to offset?     No       Yes

3.892
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STAVROS TINGIRIDES PA                                        Contingent
         804 N Belcher Road Suite 100                                 Unliquidated
         Clearwater, FL 33765
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7288
                                                                   Is the claim subject to offset?     No       Yes

3.893
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STEAKLEY & SMITH PA                                          Contingent
         110 Front Street                                             Unliquidated
         Suite 300
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4596                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1353 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1361 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.893
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $625.00
         STEARNS WEAVER MILLER                                        Contingent
         Attn: Maria C. Vidal                                         Unliquidated
         150 W. Flagler Street,Suite 2200
                                                                      Disputed
         Miami, FL 33130-1557
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 340                       Is the claim subject to offset?     No       Yes

3.893
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Stearns Weaver Miller Weissler Alhadeff                      Contingent
         P.O. Box 3299                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 340
                                                                   Is the claim subject to offset?     No       Yes

3.893
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEDDOM & PLAYER PA                                          Contingent
         3391 E Silver Springs Boulevard Suite F                      Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0254
                                                                   Is the claim subject to offset?     No       Yes

3.893
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STEELE & HANSON                                              Contingent
         6102 Paradise Point Drive                                    Unliquidated
         Miami, FL 33157-2607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2581
                                                                   Is the claim subject to offset?     No       Yes

3.893
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEELE T WILLIAMS PA                                         Contingent
         1381 McAnsh Square                                           Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7387
                                                                   Is the claim subject to offset?     No       Yes

3.893
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEFANI K NOLAN PA                                           Contingent
         1616 Jork Road Suite 203                                     Unliquidated
         Jacksonville, FL 32207-2493
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9549
                                                                   Is the claim subject to offset?     No       Yes

3.893
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         STEGER & STEGER PA                                           Contingent
         603 SW Cleveland Avenue                                      Unliquidated
         Stuart, FL 34994-2221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6506
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1354 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1362 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.893
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEIN SONNENSCHEIN HOCHMAN                                   Contingent
         40 Alexandria Boulevard Suite 1030                           Unliquidated
         Oviedo, FL 32765-8910
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8346
                                                                   Is the claim subject to offset?     No       Yes

3.893
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STEIN TOWZEY NELSON & WILLIAMS                               Contingent
         1607 Dr. Martin Luther King Jr. Street N                     Unliquidated
         St Petersburg, FL 33704-4203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0320
                                                                   Is the claim subject to offset?     No       Yes

3.894
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STELLA SUAREZ-RITA PL                                        Contingent
         814 W Lantana Road Suite 1                                   Unliquidated
         Lantana, FL 33462
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8838
                                                                   Is the claim subject to offset?     No       Yes

3.894
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         STENSTROM MCINTOSH COLBERT                                   Contingent
         1001 Heathrow Park Lane                                      Unliquidated
         Suite 4001
                                                                      Disputed
         Lake Mary, FL 32746
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1487                      Is the claim subject to offset?     No       Yes

3.894
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         STEPHAN B. WIDMEYER                                          Contingent
         3443-C Tamiami Trail                                         Unliquidated
         Pt. Charlotte, FL 33952-8164
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7108
                                                                   Is the claim subject to offset?     No       Yes

3.894
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHAN J ROSS                                               Contingent
         838 S Davis Boulevard                                        Unliquidated
         Tampa, FL 33606-4025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3825
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1355 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1363 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.894
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHAN J. FREEMAN                                           Contingent
         P.O. Box 14373                                               Unliquidated
         St. Petersburg, FL 33733-4373
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3903
                                                                   Is the claim subject to offset?     No       Yes

3.894
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHAN KAYNE                                                Contingent
         4850 N 33rd Court                                            Unliquidated
         Hollywood, FL 33021-2319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7158
                                                                   Is the claim subject to offset?     No       Yes

3.894
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHAN L COHEN                                              Contingent
         20801 Biscayne Boulevard                                     Unliquidated
         Suite 400
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9901                      Is the claim subject to offset?     No       Yes

3.894
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHANIE A BALINT PA                                        Contingent
         800 J Street Unit 426e                                       Unliquidated
         Sacramento, CA 95814-2518
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0575
                                                                   Is the claim subject to offset?     No       Yes

3.894
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHANIE A REINICKE                                         Contingent
         P.O. Box 3948                                                Unliquidated
         Sarasota, FL 34230-3948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5178
                                                                   Is the claim subject to offset?     No       Yes

3.894
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHANIE HARRIS PA                                          Contingent
         1551 Forum Place                                             Unliquidated
         Suite 300 E
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8364                      Is the claim subject to offset?     No       Yes

3.895
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHANIE J STEWART PA                                       Contingent
         P.O. Box 18246                                               Unliquidated
         Tampa, FL 33679-8246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7308
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1356 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1364 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.895
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHANNIE L. DACOSTA                                        Contingent
         1980 No. Atlantic Ave.                                       Unliquidated
         Suite 602
                                                                      Disputed
         Cocoa Beach, FL 32931-3274
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6201                      Is the claim subject to offset?     No       Yes

3.895
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHANY S CARR                                              Contingent
         501 Goodlette Road Suite B-300                               Unliquidated
         Naples, FL 33940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6167
                                                                   Is the claim subject to offset?     No       Yes

3.895
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN A BAKER                                              Contingent
         605 75th Avenue                                              Unliquidated
         St Petersburg Beach, FL 33706
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0444
                                                                   Is the claim subject to offset?     No       Yes

3.895
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN A FERRA                                              Contingent
         2380 Drew Street                                             Unliquidated
         Suite 2
                                                                      Disputed
         Clearwater, FL 33765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6043                      Is the claim subject to offset?     No       Yes

3.895
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $395.63
         STEPHEN A FREEMAN PA                                         Contingent
         520 Brickell Key Drive Suite O-305                           Unliquidated
         Miami, FL 33131-2620
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5607
                                                                   Is the claim subject to offset?     No       Yes

3.895
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STEPHEN A KRESS                                              Contingent
         Stephen A. Kress P.A.                                        Unliquidated
         P.O. Box 227400
                                                                      Disputed
         Miami, FL 33222-7400
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1332                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1357 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1365 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.895
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN A LONGO                                              Contingent
         14801 Greater Pines Boulevard                                Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2847
                                                                   Is the claim subject to offset?     No       Yes

3.895
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN A MENDELSOHN                                         Contingent
         5000 Town Center Circle Suite 400                            Unliquidated
         Boca Raton, FL 33486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3356
                                                                   Is the claim subject to offset?     No       Yes

3.895
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN A SCHORR                                             Contingent
         625 Northeast 3rd Avenue                                     Unliquidated
         Ft Lauderdale, FL 33304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3781
                                                                   Is the claim subject to offset?     No       Yes

3.896
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN A SCOTT                                              Contingent
         P.O. Box 358867                                              Unliquidated
         Gainesville, FL 32635-8867
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4361
                                                                   Is the claim subject to offset?     No       Yes

3.896
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN A WAYNER                                             Contingent
         4111 Battersea Road                                          Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4182
                                                                   Is the claim subject to offset?     No       Yes

3.896
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEPHEN B LEWALLEN PA                                        Contingent
         District Attorneys' Office                                   Unliquidated
         210 W Temple Street Suite 1800
                                                                      Disputed
         Los Angeles, CA 90012
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5237                      Is the claim subject to offset?     No       Yes

3.896
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN B ROSENTHAL                                          Contingent
         8142 N University Drive                                      Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5024
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1358 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1366 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.896
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,271.52
         STEPHEN C FRASIER                                            Contingent
         P.O. Box 775806                                              Unliquidated
         Steamboat Springs, CO 80477-5806                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7214
                                                                   Is the claim subject to offset?     No       Yes

3.896
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2.16
         STEPHEN C PREUSS                                             Contingent
         501 S Boulevard                                              Unliquidated
         Tampa, FL 33606                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8177
                                                                   Is the claim subject to offset?     No       Yes

3.896
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN C PREUSS                                             Contingent
         13004 Shadow Run Boulevard                                   Unliquidated
         Riverview, FL 33569
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8177
                                                                   Is the claim subject to offset?     No       Yes

3.896
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN C WILLIS                                             Contingent
         Willis Law Firm                                              Unliquidated
         360 Gulf Shore Drive Unit C
                                                                      Disputed
         Destin, FL 32541-5083
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4112                      Is the claim subject to offset?     No       Yes

3.896
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN COVERT                                               Contingent
         100 Paradise Harbor Boulevard Suite 506                      Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6059
                                                                   Is the claim subject to offset?     No       Yes

3.896
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN D CARLE                                              Contingent
         P.O. Box 548                                                 Unliquidated
         Zephyrhills, FL 33539-0548
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5826
                                                                   Is the claim subject to offset?     No       Yes

3.897
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN D FROMANG                                            Contingent
         1432 21st Street Suite E                                     Unliquidated
         Vero Beach, FL 32960
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6080
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1359 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1367 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.897
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN D MCCANN                                             Contingent
         2180 Immokalee Road Suite 306                                Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2508
                                                                   Is the claim subject to offset?     No       Yes

3.897
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN D PEARSON                                            Contingent
         14525 Southwest 92nd Court                                   Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2499
                                                                   Is the claim subject to offset?     No       Yes

3.897
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN D THOMAS                                             Contingent
         1229 Central Avenue                                          Unliquidated
         St Petersburg, FL 33705-1652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2126
                                                                   Is the claim subject to offset?     No       Yes

3.897
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN D THOMPSON                                           Contingent
         3949 Evans Avenue Suite 206                                  Unliquidated
         Ft Myers, FL 33901-9343
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6878
                                                                   Is the claim subject to offset?     No       Yes

3.897
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN D. THOMPSON, P.A.                                    Contingent
         3949 Evans Avenue, Suite 206                                 Unliquidated
         Ft. Myers, FL 33901-9343
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6878
                                                                   Is the claim subject to offset?     No       Yes

3.897
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         STEPHEN DEH SCHWARZ PA                                       Contingent
         2811 Tamiami Trail Suite S                                   Unliquidated
         Port Charlotte, FL 33952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9033
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1360 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1368 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.897
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN E MAHLE                                              Contingent
         4840 Northwest 28th Avenue                                   Unliquidated
         Boca Raton, FL 33434
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2056
                                                                   Is the claim subject to offset?     No       Yes

3.897
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN E SILKOWSKI                                          Contingent
         550 W Water Street Suite 1313                                Unliquidated
         Jacksonville, FL 32202-5114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8468
                                                                   Is the claim subject to offset?     No       Yes

3.897
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,894.37
         STEPHEN F BAKER                                              Contingent
         565 Avenue K SE                                              Unliquidated
         Winter Haven, FL 33880                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6104
                                                                   Is the claim subject to offset?     No       Yes

3.898
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN F BROOME                                             Contingent
         920 1/2 Delaney Avenue                                       Unliquidated
         P.O. Box 560185
                                                                      Disputed
         Orlando, FL 32856-0185
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4839                      Is the claim subject to offset?     No       Yes

3.898
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEPHEN F ELLIS PA                                           Contingent
         1800 2nd Street Suite 806                                    Unliquidated
         Sarasota, FL 34236-5992
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7115
                                                                   Is the claim subject to offset?     No       Yes

3.898
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,500.20
         STEPHEN F VOIGT                                              Contingent
         2042 Bee Ridge Road                                          Unliquidated
         Sarasota, FL 34239                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4984
                                                                   Is the claim subject to offset?     No       Yes

3.898
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         STEPHEN G BENEKE PA                                          Contingent
         1904 Drew Street                                             Unliquidated
         Clearwater, FL 34625-3023
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4711
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1361 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1369 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.898
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN G KOLODY                                             Contingent
         1560 Olmeda Way                                              Unliquidated
         Ft Myers, FL 33901-6820
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4364
                                                                   Is the claim subject to offset?     No       Yes

3.898
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STEPHEN G MELCER                                             Contingent
         120 E Palmetto Park Road Suite 400                           Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 131
                                                                   Is the claim subject to offset?     No       Yes

3.898
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN G WATTS PA                                           Contingent
         1446 Court Street                                            Unliquidated
         Clearwater, FL 33756-3912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5189
                                                                   Is the claim subject to offset?     No       Yes

3.898
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $671.64
         STEPHEN G. DAVIDSON                                          Contingent
         333 Evernia                                                  Unliquidated
         West Palm Beach, FL 33401-5403                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3666
                                                                   Is the claim subject to offset?     No       Yes

3.898
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stephen G. Melcer, P.A.                                      Contingent
         120 E Palmetto Park Road Suite 400                           Unliquidated
         Boca Raton, FL 33432-4809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 131
                                                                   Is the claim subject to offset?     No       Yes

3.898
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEPHEN H ARTMAN                                             Contingent
         925 S Florida Avenue                                         Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6564
                                                                   Is the claim subject to offset?     No       Yes

3.899
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEPHEN H HASKINS                                            Contingent
         P.O. Box 1776                                                Unliquidated
         Safety Harbor, FL 34695-1776
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7192
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1362 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1370 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.899
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEPHEN H KURVIN                                             Contingent
         7 South Lime Avenue                                          Unliquidated
         Sarasota, FL 34237-6105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7824
                                                                   Is the claim subject to offset?     No       Yes

3.899
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN HEGEDUS ESQ PLC                                      Contingent
         2763 Sharpes Court                                           Unliquidated
         Orange Park, FL 32065-7485
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2445
                                                                   Is the claim subject to offset?     No       Yes

3.899
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEPHEN J ALLOCCO PA                                         Contingent
         5079 N Dixie Highway Suite 317                               Unliquidated
         Oakland Park, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3360
                                                                   Is the claim subject to offset?     No       Yes

3.899
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN J LANKAU                                             Contingent
         DBA Lankau Law Group                                         Unliquidated
         330 S. Powerline Road
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2060                      Is the claim subject to offset?     No       Yes

3.899
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STEPHEN J MITCHELL                                           Contingent
         One Tampa City Center Suite 2100                             Unliquidated
         201 N Franklin Street
                                                                      Disputed
         Tampa, FL 33602-5164
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7457                      Is the claim subject to offset?     No       Yes

3.899
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STEPHEN J STRALEY PA                                         Contingent
         2699 Stirling Road Suite C207                                Unliquidated
         Ft Lauderdale, FL 33312-6517
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6721
                                                                   Is the claim subject to offset?     No       Yes

3.899
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stephen J. Helfman (See Br1)                                 Contingent
         2665 S Bayshore Drive Suite 204                              Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6637
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1363 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1371 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.899
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN JEFFREY BERLINSKY PA                                 Contingent
         637 8th Street                                               Unliquidated
         Clermont, FL 34711-2159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0249
                                                                   Is the claim subject to offset?     No       Yes

3.899
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN K BROOKS                                             Contingent
         123 1st Street N                                             Unliquidated
         Winter Haven, FL 33881
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1950
                                                                   Is the claim subject to offset?     No       Yes

3.900
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN K MILLER PA                                          Contingent
         311 Northeast First Street                                   Unliquidated
         Gainesville, FL 32601-5310
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4643
                                                                   Is the claim subject to offset?     No       Yes

3.900
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN L EVANS                                              Contingent
         104 N. Thomas Street                                         Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2311
                                                                   Is the claim subject to offset?     No       Yes

3.900
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN L MACK                                               Contingent
         15951 Southwest 41st Street Suite 800                        Unliquidated
         Weston, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5570
                                                                   Is the claim subject to offset?     No       Yes

3.900
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STEPHEN L MACKEY                                             Contingent
         6153 Golf Vista Way                                          Unliquidated
         Boca Raton, FL 33433-3949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7704
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1364 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1372 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.900
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEPHEN L SKIPPER                                            Contingent
         7652 Ashley Park Court Suite 301                             Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4255
                                                                   Is the claim subject to offset?     No       Yes

3.900
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN L VINSON JR                                          Contingent
         1200 Brickell Avenue                                         Unliquidated
         Suite 920
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3850                      Is the claim subject to offset?     No       Yes

3.900
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN M BELL                                               Contingent
         P.O. Box 422918                                              Unliquidated
         Kissimmee, FL 34742-2918
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5923
                                                                   Is the claim subject to offset?     No       Yes

3.900
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,640.32
         STEPHEN M BEYER                                              Contingent
         1200 N. Federal Highway                                      Unliquidated
         Suite 200                                                    Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6314                      Is the claim subject to offset?     No       Yes


3.900
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN M BLACKBURN                                          Contingent
         412 NE 4th Street                                            Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8526
                                                                   Is the claim subject to offset?     No       Yes

3.900
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN M BULL                                               Contingent
         111 N. Orange Avenue                                         Unliquidated
         Suite 875
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5682                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1365 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1373 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.901
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN M FEIDELMAN                                          Contingent
         Pmb Suite 244                                                Unliquidated
         3389 Sheridan Street
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4393                      Is the claim subject to offset?     No       Yes

3.901
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN M KNAPP                                              Contingent
         P.O. Box 6422                                                Unliquidated
         Lakeland, FL 33807-6422
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2547
                                                                   Is the claim subject to offset?     No       Yes

3.901
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN M LEWEN                                              Contingent
         1251 Southwest 27th Street                                   Unliquidated
         Palm City, FL 34990-2761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3927
                                                                   Is the claim subject to offset?     No       Yes

3.901
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEPHEN M MAHER                                              Contingent
         2077 First Street Suite 206                                  Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5959
                                                                   Is the claim subject to offset?     No       Yes

3.901
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN M MARTIN                                             Contingent
         500 S. Florida Avenue                                        Unliquidated
         Suite 460
                                                                      Disputed
         Lakeland, FL 33801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5049                      Is the claim subject to offset?     No       Yes

3.901
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN M SPERLING                                           Contingent
         18 S Main Street                                             Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6529
                                                                   Is the claim subject to offset?     No       Yes

3.901
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         STEPHEN M STONE                                              Contingent
         725 N. Magnolia Avenue                                       Unliquidated
         Orlando, FL 32803-3808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3908
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1366 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1374 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.901
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stephen M. Guttmann, Attorney                                Contingent
         314 S. Baylen Street                                         Unliquidated
         Suite 203
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9949                      Is the claim subject to offset?     No       Yes

3.901
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN NAVARETTA                                            Contingent
         1100 Southwest Street Lucie W Boulevard                      Unliquidated
         Port St Lucie, FL 34986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4979
                                                                   Is the claim subject to offset?     No       Yes

3.901
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN P COLEMAN                                            Contingent
         7891 W Flagler Street Suite 309                              Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5522
                                                                   Is the claim subject to offset?     No       Yes

3.902
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN P SMITH III                                          Contingent
         2601 University Boulevard W                                  Unliquidated
         Jacksonville, FL 32217-2112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4323
                                                                   Is the claim subject to offset?     No       Yes

3.902
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stephen P. Johnson P.L.L.C.                                  Contingent
         2134 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8716
                                                                   Is the claim subject to offset?     No       Yes

3.902
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN R GLADSTONE                                          Contingent
         7000 W. Palmetto Park Road                                   Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33433-3430
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8601                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1367 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1375 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.902
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN R MOORHEAD                                           Contingent
         4300 Bayou Boulevard Stes 12 & 13                            Unliquidated
         Pensacola, FL 32504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4333
                                                                   Is the claim subject to offset?     No       Yes

3.902
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEPHEN R MOORHEAD                                           Contingent
         25 W Government Street                                       Unliquidated
         Pensacola, FL 32502-5813
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4333
                                                                   Is the claim subject to offset?     No       Yes

3.902
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN R PHILLIPS                                           Contingent
         12230 Forest Hill Boulevard Suite 206                        Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7187
                                                                   Is the claim subject to offset?     No       Yes

3.902
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN ROBERT THOMPSON                                      Contingent
         1926 Trade Center Way Suite 4                                Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0994
                                                                   Is the claim subject to offset?     No       Yes

3.902
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN S MATHISON                                           Contingent
         Stephen S. Mathison P.A.                                     Unliquidated
         5606 PGA Boulevard Suite 211
                                                                      Disputed
         Palm Beach Gardens, FL 33418
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1659                      Is the claim subject to offset?     No       Yes

3.902
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHEN S POCHE PA                                           Contingent
         1270 N Eglin Parkway Suite C-14                              Unliquidated
         Shalimar, FL 32519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2009
                                                                   Is the claim subject to offset?     No       Yes

3.902
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN S SIEGEL                                             Contingent
         801 Maplewood Drive, Suite 3                                 Unliquidated
         Jupiter, FL 33458
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6098
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1368 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1376 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.903
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STEPHEN W SCRENCI PA                                         Contingent
         2700 N. Military Trail                                       Unliquidated
         Fountain Square, Suite 355
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8638                      Is the claim subject to offset?     No       Yes

3.903
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEPHEN W TOOTHAKER                                          Contingent
         8390 Fort Clinch Avenue                                      Unliquidated
         Orlando, FL 32822
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4802
                                                                   Is the claim subject to offset?     No       Yes

3.903
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         STEPHENS & STEPHENS                                          Contingent
         1093 A1A Beach Boulevard Suite 251                           Unliquidated
         St Augustine, FL 32080-6733
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 130
                                                                   Is the claim subject to offset?     No       Yes

3.903
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEPHENS LAW FIRM PA                                         Contingent
         4507 Furling Lane                                            Unliquidated
         Suite 210
                                                                      Disputed
         Destin, FL 32541
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6900                      Is the claim subject to offset?     No       Yes

3.903
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sterling Law, L.L.C.                                         Contingent
         1314 E Las Olas Boulevard Suite 137                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7546
                                                                   Is the claim subject to offset?     No       Yes

3.903
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         STERN & TANNENBAUM PA                                        Contingent
         1920 E Hallandale Beach Boulevard Suite                      Unliquidated
         Hallandale, FL 33009-4722
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6038
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1369 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1377 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.903
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stern Zwelling, L.L.C.                                       Contingent
         7601 N. Federal Hwy                                          Unliquidated
         Suite 240-A
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7273                      Is the claim subject to offset?     No       Yes

3.903
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STERNSTEIN & RAINER PA                                       Contingent
         411 East College Avenue                                      Unliquidated
         Tallahassee, FL 32301-1507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2722
                                                                   Is the claim subject to offset?     No       Yes

3.903
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STETLER & SKRIVAN PL                                         Contingent
         Stetler & Skrivan PL                                         Unliquidated
         1421 Pine Ridge Road Suite 120
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6399                      Is the claim subject to offset?     No       Yes

3.903
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVE BAIRSTOW                                               Contingent
         5520 Southeast 113th Street                                  Unliquidated
         Belleview, FL 34420
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6904
                                                                   Is the claim subject to offset?     No       Yes

3.904
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVE GINESTRA                                               Contingent
         4524 N. Federal Highway                                      Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0599
                                                                   Is the claim subject to offset?     No       Yes

3.904
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVE HAYMAN ESQ PA                                          Contingent
         6605 Gunn Highway                                            Unliquidated
         Tampa, FL 33625
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4897
                                                                   Is the claim subject to offset?     No       Yes

3.904
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVE M WATKINS III                                          Contingent
         41 Commerce Street                                           Unliquidated
         Apalachicola, FL 32320
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5529
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1370 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1378 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.904
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN A FRANKEL PA                                          Contingent
         3660 Washington Lane                                         Unliquidated
         Hollywood, FL 33026-4629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6594
                                                                   Is the claim subject to offset?     No       Yes

3.904
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN A GREENSPAN                                           Contingent
         19495 Biscayne Boulevard Suite 411                           Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7873
                                                                   Is the claim subject to offset?     No       Yes

3.904
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN A KRIEG                                               Contingent
         P.O. Box 9                                                   Unliquidated
         Cocoa, FL 32923-0009
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7194
                                                                   Is the claim subject to offset?     No       Yes

3.904
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN A MASON                                               Contingent
         5846 S. Flamingo Road                                        Unliquidated
         Suite 3160
                                                                      Disputed
         Cooper City, FL 33330
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7272                      Is the claim subject to offset?     No       Yes

3.904
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN A RAJTAR                                              Contingent
         1063 Maitland Center Commons Suite 100                       Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8152
                                                                   Is the claim subject to offset?     No       Yes

3.904
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN A RAMUNNI                                             Contingent
         P.O. Box 1118                                                Unliquidated
         Labelle, FL 33975
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3963
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1371 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1379 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.904
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN A WAGNER                                              Contingent
         3275 W. Hillsboro Boulevard                                  Unliquidated
         Suite 205
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5681                      Is the claim subject to offset?     No       Yes

3.905
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN A WEINBERG                                            Contingent
         7805 Southwest 6th Court                                     Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7914
                                                                   Is the claim subject to offset?     No       Yes

3.905
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN A WILLIAMS                                            Contingent
         US Deeds P.A.                                                Unliquidated
         213 Brentshire Drive
                                                                      Disputed
         Brandon, FL 33511
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4896                      Is the claim subject to offset?     No       Yes

3.905
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN ALLEN SMILACK                                         Contingent
         Steven A. Smilack P.A.                                       Unliquidated
         712 E Mcnab Road
                                                                      Disputed
         Pompano Beach, FL 33060
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2669                      Is the claim subject to offset?     No       Yes

3.905
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN B ESQUINALDO                                          Contingent
         3706 N Roosevelt Boulevard Suite I                           Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2419
                                                                   Is the claim subject to offset?     No       Yes

3.905
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN B FEREN                                               Contingent
         1886 N University Drive                                      Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7265
                                                                   Is the claim subject to offset?     No       Yes

3.905
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN B GREENFIELD PA                                       Contingent
         7000 W Palmetto Park Road Suite 307                          Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7321
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1372 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1380 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.905
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN B RACHLIN                                             Contingent
         9000 W Sheridan Street Suite 121                             Unliquidated
         Pembroke Pines, FL 33024-8801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8704
                                                                   Is the claim subject to offset?     No       Yes

3.905
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN B SPRECHMAN PA                                        Contingent
         18305 Biscayne Boulevard Suite 213                           Unliquidated
         N Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4711
                                                                   Is the claim subject to offset?     No       Yes

3.905
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN C SCHEINFELDT                                         Contingent
         9900 Stirling Road Suite 206                                 Unliquidated
         Hollywood, FL 33024-8065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3363
                                                                   Is the claim subject to offset?     No       Yes

3.905
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven C. Fraser, P.A.                                       Contingent
         Suite 201                                                    Unliquidated
         221 W Hallandale Beach Boulevard
                                                                      Disputed
         Hallandale Beach, FL 33009
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8874                      Is the claim subject to offset?     No       Yes

3.906
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN CARLYLE CRONIG PA                                     Contingent
         2525 Ponce De Leon Boulevard 4th Floor                       Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7481
                                                                   Is the claim subject to offset?     No       Yes

3.906
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN CARTA                                                 Contingent
         P.O. Box 1906                                                Unliquidated
         Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4830
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1373 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1381 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.906
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN D BRAVERMAN                                           Contingent
         10189 Cleary Boulevard Suite 102                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6091
                                                                   Is the claim subject to offset?     No       Yes

3.906
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN D ELIAS PA                                            Contingent
         2400 E Commercial Boulevard Suite 720                        Unliquidated
         Ft Lauderdale, FL 33308-4026
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7106
                                                                   Is the claim subject to offset?     No       Yes

3.906
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN D FIELDMAN                                            Contingent
         1542 Golfside Drive                                          Unliquidated
         Winter Park, FL 32792-5138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7661
                                                                   Is the claim subject to offset?     No       Yes

3.906
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN D LOSNER                                              Contingent
         Steven D. Losner P.A.                                        Unliquidated
         59 Northeast 15th Street
                                                                      Disputed
         Homestead, FL 33030
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9411                      Is the claim subject to offset?     No       Yes

3.906
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN D MARCUS                                              Contingent
         Crown Center                                                 Unliquidated
         1451 W Cypress Creek Road Suite 200
                                                                      Disputed
         Ft Lauderdale, FL 33309-1953
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5908                      Is the claim subject to offset?     No       Yes

3.906
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN D RUBIN                                               Contingent
         980 N. Federal Highway                                       Unliquidated
         Suite 440
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 404                       Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1374 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1382 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.906
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN E COHEN                                               Contingent
         800 Northwest 62nd Street                                    Unliquidated
         Cypress Creek Road Suite 111
                                                                      Disputed
         Ft Lauderdale, FL 33309-2039
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7685                      Is the claim subject to offset?     No       Yes

3.906
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven E. Varela, PL                                         Contingent
         605 Lincoln Road Suite 400                                   Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7283
                                                                   Is the claim subject to offset?     No       Yes

3.907
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN EISENBERG                                             Contingent
         3109 Sterling Road Suite 101                                 Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8558
                                                                   Is the claim subject to offset?     No       Yes

3.907
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN F JACKSON                                             Contingent
         2 Bay Club Drive Apt 17n                                     Unliquidated
         Bayside, NY 11360
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6900
                                                                   Is the claim subject to offset?     No       Yes

3.907
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN F SAMILOW PA                                          Contingent
         1792 Bell Tower Lane                                         Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0114
                                                                   Is the claim subject to offset?     No       Yes

3.907
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,308.78
         STEVEN F SQUIRE                                              Contingent
         Steven F. Squire Chartered                                   Unliquidated
         625 Northeast 3rd Avenue                                     Disputed
         Ft Lauderdale, FL 33304
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0450                      Is the claim subject to offset?     No       Yes


3.907
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,802.20
         STEVEN FINE                                                  Contingent
         1520 Southeast 3rd Avenue                                    Unliquidated
         Ft Lauderdale, FL 33316                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4051
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1375 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1383 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.907
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN G GLUCKSMAN PA                                        Contingent
         221 E Osceola Street Suite 300                               Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1319
                                                                   Is the claim subject to offset?     No       Yes

3.907
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN G GOERKE                                              Contingent
         1401 Southwest 10th Street                                   Unliquidated
         Ft Lauderdale, FL 33312-7276
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8531
                                                                   Is the claim subject to offset?     No       Yes

3.907
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN G MILLER                                              Contingent
         4800 N Federal Highway                                       Unliquidated
         Suite 100-D
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7780                      Is the claim subject to offset?     No       Yes

3.907
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN G VITALE                                              Contingent
         211 S. Colorado Avenue                                       Unliquidated
         Suite 2
                                                                      Disputed
         Stuart, FL 34994
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0449                      Is the claim subject to offset?     No       Yes

3.907
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN GARELLEK                                              Contingent
         700 S Federal Highway Suite 200                              Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8645
                                                                   Is the claim subject to offset?     No       Yes

3.908
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN GERSON                                                Contingent
         150 N University Drive 3200                                  Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1376 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1384 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.908
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN H HIBBE                                               Contingent
         1005 S Alhambra Circle                                       Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4087
                                                                   Is the claim subject to offset?     No       Yes

3.908
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN H JUDD                                                Contingent
         Judd Ulrich Scarlett Et Al P.A.                              Unliquidated
         2940 S Tamiami Trail
                                                                      Disputed
         Sarasota, FL 34239-5105
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6802                      Is the claim subject to offset?     No       Yes

3.908
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN H NATURMAN                                            Contingent
         9500 S Dadeland Boulevard Suite 610                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0177
                                                                   Is the claim subject to offset?     No       Yes

3.908
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN H NATURMAN PA                                         Contingent
         9500 S. Dadeland Boulevard                                   Unliquidated
         Suite 601
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0177                      Is the claim subject to offset?     No       Yes

3.908
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN H SHULMAN PA                                          Contingent
         1900 Northwest Corporate Boulevard Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4504
                                                                   Is the claim subject to offset?     No       Yes

3.908
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN H ZAPATA                                              Contingent
         P.O. Box 9475                                                Unliquidated
         Coral Springs, FL 33075
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5264
                                                                   Is the claim subject to offset?     No       Yes

3.908
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN HERMAN                                                Contingent
         P.O. Box 2064                                                Unliquidated
         Dade City, FL 33526-2064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4995
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1377 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1385 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.908
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STEVEN I ENGEL                                               Contingent
         60 Old Easton Tpke                                           Unliquidated
         Weston, CT 06883-2429
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3899
                                                                   Is the claim subject to offset?     No       Yes

3.908
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN I GREENWALD                                           Contingent
         Boca Palm Professional Plaza                                 Unliquidated
         6971 N. Federal Highway, Suite 105
                                                                      Disputed
         Boca Raton, FL 33487-1648
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 315                       Is the claim subject to offset?     No       Yes

3.909
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN I. WEISSMAN                                           Contingent
         169 E. Flagler St,Suite 1125                                 Unliquidated
         Alfred I. Dupont Building
                                                                      Disputed
         Miami, FL 33131-1205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6968                      Is the claim subject to offset?     No       Yes

3.909
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN J JACOBSON PA                                         Contingent
         5701 N Pine Island Road Suite 320                            Unliquidated
         Ft Lauderdale, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7865
                                                                   Is the claim subject to offset?     No       Yes

3.909
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN J JACOVITZ                                            Contingent
         43 S Atlantic Avenue                                         Unliquidated
         Cocoa Beach, FL 32931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6631
                                                                   Is the claim subject to offset?     No       Yes

3.909
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN J RICHEY PA                                           Contingent
         P.O. Box 492460                                              Unliquidated
         Leesburg, FL 34749-2460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5530
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1378 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1386 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.909
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN J ROMANELLO                                           Contingent
         11555 Heron Bay Boulevard Suite 200                          Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7610
                                                                   Is the claim subject to offset?     No       Yes

3.909
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN J SAVIANO PA                                          Contingent
         980 N Federal Highway Suite 200                              Unliquidated
         Boca Raton, FL 33432-2704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4433
                                                                   Is the claim subject to offset?     No       Yes

3.909
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $42.72
         STEVEN J VANN                                                Contingent
         12740 Westport Circle                                        Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7793
                                                                   Is the claim subject to offset?     No       Yes

3.909
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven J. Bracci, P.A.                                       Contingent
         9015 Strada Stell Court Suite 102                            Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7846
                                                                   Is the claim subject to offset?     No       Yes

3.909
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN J. LEVIN                                              Contingent
         119 S. Palmetto Avenue                                       Unliquidated
         Daytona Beach, FL 32114-4319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7909
                                                                   Is the claim subject to offset?     No       Yes

3.909
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN K BAIRD                                               Contingent
         5981 NE 6th Avenue                                           Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9008
                                                                   Is the claim subject to offset?     No       Yes

3.910
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN K GROVER                                              Contingent
         1 E Broward Boulevard Suite 700                              Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4069
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1379 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1387 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.910
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN K JONAS                                               Contingent
         4914 State Road 54                                           Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6281
                                                                   Is the claim subject to offset?     No       Yes

3.910
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN KOLODNY                                               Contingent
         300 E. Fifth Street Suite 5e                                 Unliquidated
         New York, NY 10003-8803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8738
                                                                   Is the claim subject to offset?     No       Yes

3.910
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN L BORNSTEIN                                           Contingent
         9900 Stirling Road                                           Unliquidated
         Suite 233
                                                                      Disputed
         Cooper City, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0715                      Is the claim subject to offset?     No       Yes

3.910
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN L CANTOR                                              Contingent
         Cantor & Morante                                             Unliquidated
         777 Brickell Avenue Suite 500
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3946                      Is the claim subject to offset?     No       Yes

3.910
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN L CRAIG                                               Contingent
         First Federal Building 2nd Floor                             Unliquidated
         2701 Okeechobee Boulevard
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0579                      Is the claim subject to offset?     No       Yes

3.910
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN L CRAIG                                               Contingent
         4500 PGA Boulevard                                           Unliquidated
         Suite 200
                                                                      Disputed
         Palm Beach Gardens, FL 33418
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0579                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1380 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1388 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.910
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN L FRISCHER                                            Contingent
         7600 Red Road                                                Unliquidated
         Suite 305
                                                                      Disputed
         South Miami, FL 33143-5408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7650                      Is the claim subject to offset?     No       Yes

3.910
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN L SPARKMAN                                            Contingent
         Steven L. Sparkman P.A.                                      Unliquidated
         P.O. Box 2058
                                                                      Disputed
         Plant City, FL 33564-2058
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5951                      Is the claim subject to offset?     No       Yes

3.910
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN L STUDYBAKER                                          Contingent
         215 Airport Pulling Road N                                   Unliquidated
         Naples, FL 34101-3502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6704
                                                                   Is the claim subject to offset?     No       Yes

3.911
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven L. Hayes, P.A.                                        Contingent
         P.O. Box 4929                                                Unliquidated
         Clearwater, FL 33758
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1126
                                                                   Is the claim subject to offset?     No       Yes

3.911
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN L. SOMMERFIELD                                        Contingent
         50 West Chicago Avenue                                       Unliquidated
         Naperville, IL 60540-5302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5137
                                                                   Is the claim subject to offset?     No       Yes

3.911
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN LANDER PA                                             Contingent
         315 Southeast 7th Street Suite 100                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9734
                                                                   Is the claim subject to offset?     No       Yes

3.911
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN LEE PERRY                                             Contingent
         2400 Southeast Federal Highway Suite 400                     Unliquidated
         Stuart, FL 34994-4556
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2693
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1381 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1389 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.911
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN LORNE DURKET                                          Contingent
         210 Crown Point Circle Suite 108                             Unliquidated
         Longwood, FL 32779
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8617
                                                                   Is the claim subject to offset?     No       Yes

3.911
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN LUBETSKY                                              Contingent
         10280 Camelback Lane                                         Unliquidated
         Boca Raton, FL 33498-4719
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8666
                                                                   Is the claim subject to offset?     No       Yes

3.911
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN LULICH                                                Contingent
         Pobox 781390                                                 Unliquidated
         Sebastian, FL 32978-1390
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8192
                                                                   Is the claim subject to offset?     No       Yes

3.911
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN M AUERBACHER                                          Contingent
         301 E. Yamato Road                                           Unliquidated
         Suite 4120
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2362                      Is the claim subject to offset?     No       Yes

3.911
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN M CHAMBERLAIN PA                                      Contingent
         618 Northeast 1st Street                                     Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7396
                                                                   Is the claim subject to offset?     No       Yes

3.911
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN M CHARCHAT                                            Contingent
         848 Brickell Avenue Suite 1040                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7824
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1382 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1390 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.912
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN M GREENBLATT                                          Contingent
         P.O. Box 164                                                 Unliquidated
         Franklin Square, NY 11010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6540
                                                                   Is the claim subject to offset?     No       Yes

3.912
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN M LEE PA                                              Contingent
         1000 Brickell Avenue                                         Unliquidated
         Suite 705
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7054                      Is the claim subject to offset?     No       Yes

3.912
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN M PLATAU                                              Contingent
         4307 Sevilla Street                                          Unliquidated
         Tampa, FL 33629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8261
                                                                   Is the claim subject to offset?     No       Yes

3.912
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN M RIVKIN                                              Contingent
         3316 Griffin Road                                            Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7722
                                                                   Is the claim subject to offset?     No       Yes

3.912
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN M RUBERTONE                                           Contingent
         81 Hawthorne Pl                                              Unliquidated
         Manhasset, NY 11030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2495
                                                                   Is the claim subject to offset?     No       Yes

3.912
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STEVEN M SAMAHA                                              Contingent
         One Tampa City Center Suite 2600                             Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8183
                                                                   Is the claim subject to offset?     No       Yes

3.912
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN M SINGER PA                                           Contingent
         600 Corporate Drive                                          Unliquidated
         Suite 320
                                                                      Disputed
         Ft. Lauderdale, FL 33334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3369                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1383 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1391 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.912
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN M STEPPER                                             Contingent
         1615 Forum Place Suite 200                                   Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2752
                                                                   Is the claim subject to offset?     No       Yes

3.912
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVEN M STOLL PA                                            Contingent
         710 Northeast 24th Way                                       Unliquidated
         Ft Lauderdale, FL 33304-3527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0529
                                                                   Is the claim subject to offset?     No       Yes

3.912
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven M. Fried, P.A.                                        Contingent
         1600 S. Federal Highway                                      Unliquidated
         Suite 1151
                                                                      Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9209                      Is the claim subject to offset?     No       Yes

3.913
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN MICHAEL LABRET                                        Contingent
         501 N. Magnolia Avenue                                       Unliquidated
         Suite A10-B
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3960                      Is the claim subject to offset?     No       Yes

3.913
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,501.95
         STEVEN OSTROW                                                Contingent
         1 Charles Street S Suite 9g                                  Unliquidated
         Boston, MA 02116-5431                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0587
                                                                   Is the claim subject to offset?     No       Yes

3.913
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN P KUSHNER                                             Contingent
         14241 Metropolis Avenue Suite 100                            Unliquidated
         Ft Myers, FL 33912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2264
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1384 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1392 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.913
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN R COHEN                                               Contingent
         7951 Southwest 6th Street Suite 200                          Unliquidated
         Plantation, FL 33324-3211
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6190
                                                                   Is the claim subject to offset?     No       Yes

3.913
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,029.54
         STEVEN R CROSS                                               Contingent
         12 Juniper Court                                             Unliquidated
         Lawrenceville, NJ 08648                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 401
                                                                   Is the claim subject to offset?     No       Yes

3.913
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN R GREENBERG                                           Contingent
         2033 Main Street Suite 101                                   Unliquidated
         Sarasota, FL 34237-6049
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8675
                                                                   Is the claim subject to offset?     No       Yes

3.913
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN R JACOB                                               Contingent
         1325 S Congress Avenue Suite 236                             Unliquidated
         Boynton Beach, FL 33426-5802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4120
                                                                   Is the claim subject to offset?     No       Yes

3.913
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         STEVEN R MCCAIN                                              Contingent
         P.O. Box 3779                                                Unliquidated
         Ft Pierce, FL 34948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6760
                                                                   Is the claim subject to offset?     No       Yes

3.913
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven R. Kutner, P.A.                                       Contingent
         260 Lookout Place                                            Unliquidated
         Suite 205
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7329                      Is the claim subject to offset?     No       Yes

3.913
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN REED COHEN                                            Contingent
         5599 S University Drive                                      Unliquidated
         Suite 303
                                                                      Disputed
         Davie, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0609                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1385 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1393 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.914
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN SCHWARZBERG PA                                        Contingent
         Esperante Suite 210                                          Unliquidated
         222 Lakeview Avenue
                                                                      Disputed
         West Palm Beach, FL 33401-6100
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6791                      Is the claim subject to offset?     No       Yes

3.914
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN SERLE PA                                              Contingent
         5820 N. Federal Highway                                      Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0049
                                                                   Is the claim subject to offset?     No       Yes

3.914
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN SILVERMAN                                             Contingent
         9500 S Dadeland Boulevard Suite 550                          Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2367
                                                                   Is the claim subject to offset?     No       Yes

3.914
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN SILVERMAN PA                                          Contingent
         9655 S Dixie Highway                                         Unliquidated
         Unit 310
                                                                      Disputed
         Miami, FL 33156-2841
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2367                      Is the claim subject to offset?     No       Yes

3.914
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN T SAMILJAN                                            Contingent
         2135 S Congress Avenue Suite 3c                              Unliquidated
         West Palm Beach, FL 33406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8484
                                                                   Is the claim subject to offset?     No       Yes

3.914
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN T UTRECHT                                             Contingent
         1900 Glades Road Suite 245                                   Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8074
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1386 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1394 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.914
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN T WITTMER                                             Contingent
         2014 4th Street                                              Unliquidated
         Sarasota, FL 34237-4304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5035
                                                                   Is the claim subject to offset?     No       Yes

3.914
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN W EFFMAN                                              Contingent
         8000 Peters Road Suite 2                                     Unliquidated
         Plantation, FL 33324-4010
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6401
                                                                   Is the claim subject to offset?     No       Yes

3.914
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN W LEDBETTER ATTORNEY AT                               Contingent
         DBA Ledbetter Law Group                                      Unliquidated
         229 Pensacola Rd.
                                                                      Disputed
         Venice, FL 34285
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4661                      Is the claim subject to offset?     No       Yes

3.914
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEVEN W MACRIS                                              Contingent
         Steven W. Macris P.A.                                        Unliquidated
         227 Pensacola Road
                                                                      Disputed
         Venice, FL 34285-3237
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6236                      Is the claim subject to offset?     No       Yes

3.915
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEVEN W NECKMAN PA                                          Contingent
         1221 Brickell Avenue Suite 900                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3961
                                                                   Is the claim subject to offset?     No       Yes

3.915
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STEVEN W SIMON                                               Contingent
         200 S Biscayne Boulevard Suite 2500                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7595
                                                                   Is the claim subject to offset?     No       Yes

3.915
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Steven Zakharyayev, P.A.                                     Contingent
         2719 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9464
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1387 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1395 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.915
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STEVENS & GOLDWYN PA                                         Contingent
         2 S University Drive Suite 315                               Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7371
                                                                   Is the claim subject to offset?     No       Yes

3.915
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,754.71
         STEVENS FAMILY REVOCABLE TRUST                               Contingent
         1696 Grand Isle Boulevard                                    Unliquidated
         Viera, FL 32940                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1649
                                                                   Is the claim subject to offset?     No       Yes

3.915
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         STEWART & ASSOCIATES                                         Contingent
         5101 Ashley Phosphate Road                                   Unliquidated
         Suite 104 Pmb 169
                                                                      Disputed
         N Charleston, SC 29418
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 453                       Is the claim subject to offset?     No       Yes

3.915
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $337.50
         STEWART EVANS STEWART & EMMONS                               Contingent
         P.O. Box 628600                                              Unliquidated
         Orlando, FL 32862-8600
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9769
                                                                   Is the claim subject to offset?     No       Yes

3.915
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STEWART G GREENBERG                                          Contingent
         11440 N Kendall Drive Suite Ph 400                           Unliquidated
         Miami, FL 33176-1044
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 156
                                                                   Is the claim subject to offset?     No       Yes

3.915
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STEWART M MIRMELLI                                           Contingent
         100 Southeast 2nd Street Suite 2610                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0724
                                                                   Is the claim subject to offset?     No       Yes

3.915
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STICHTER RIEDEL BLAIN &                                      Contingent
         110 E Madison Street Suite 200                               Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2890
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1388 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1396 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.916
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stivers Djebelli, L.L.C.                                     Contingent
         2100 Coral Way                                               Unliquidated
         Suite 701
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9664                      Is the claim subject to offset?     No       Yes

3.916
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STOCK & ASSOCIATES                                           Contingent
         1800 Winchester Road N                                       Unliquidated
         St Petersburg, FL 33710-4937
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0424
                                                                   Is the claim subject to offset?     No       Yes

3.916
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stockham Ackley, P.A.                                        Contingent
         707 N Franklin Street 2nd Floor                              Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8382
                                                                   Is the claim subject to offset?     No       Yes

3.916
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STOFFELS LAW GROUP                                           Contingent
         6727 1st Avenue S Suite 104                                  Unliquidated
         St Petersburg, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0223
                                                                   Is the claim subject to offset?     No       Yes

3.916
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STOK & ASSOCIATES PA                                         Contingent
         dba Stok, Kon + Braverman                                    Unliquidated
         1 E. Broward Boulevard, Suite 915
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5339                      Is the claim subject to offset?     No       Yes

3.916
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STOLZENBERG GELLES & FLYNN LLP                               Contingent
         1533 Sunset Drive                                            Unliquidated
         Suite 150
                                                                      Disputed
         Coral Gables, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2625                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1389 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1397 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.916
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STONE & GERKEN PA                                            Contingent
         632 East Fifth Avenue                                        Unliquidated
         Mount Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1006
                                                                   Is the claim subject to offset?     No       Yes

3.916
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STONEBURNER BERRY GLOCKER                                    Contingent
         841 Prudential Drive Suite 1400                              Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5525
                                                                   Is the claim subject to offset?     No       Yes

3.916
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STORCH & MORRIS PA                                           Contingent
         420 S Nova Road                                              Unliquidated
         Daytona Beach, FL 32114
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6763
                                                                   Is the claim subject to offset?     No       Yes

3.916
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STOVASH CASE & TINGLEY                                       Contingent
         220 N. Rosalind Avenue                                       Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2033
                                                                   Is the claim subject to offset?     No       Yes

3.917
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STOWELL LAW FIRM                                             Contingent
         P.O. Box 11059                                               Unliquidated
         Tallahassee, FL 32302-3059
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5599
                                                                   Is the claim subject to offset?     No       Yes

3.917
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STRALEY & ROBIN                                              Contingent
         1510 W. Cleveland Street                                     Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9685
                                                                   Is the claim subject to offset?     No       Yes

3.917
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STRANG ADAMS PA                                              Contingent
         3339 Virginia Street                                         Unliquidated
         Suite 127
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6218                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1390 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1398 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.917
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Strategic Legal Solutions, L.L.C.                            Contingent
         7506 Appalachian Lane                                        Unliquidated
         Parkland, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7063
                                                                   Is the claim subject to offset?     No       Yes

3.917
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STRATTON SMITH                                               Contingent
         611 W Azeele Street                                          Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7055
                                                                   Is the claim subject to offset?     No       Yes

3.917
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $450.00
         STRAUGHN & TURNER PA                                         Contingent
         P.O. Box 2295                                                Unliquidated
         Winter Haven, FL 33883-2295
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8219
                                                                   Is the claim subject to offset?     No       Yes

3.917
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         STRAUS & EISLER PA                                           Contingent
         10081 Pines Boulevard                                        Unliquidated
         Suite C
                                                                      Disputed
         Pembroke Pines, FL 33024-6171
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6977                      Is the claim subject to offset?     No       Yes

3.917
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STRAUS & PATEL PA                                            Contingent
         234 N. Westmonte Drive                                       Unliquidated
         Suite 3000B
                                                                      Disputed
         Altamonte Springs, FL 32714
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6110                      Is the claim subject to offset?     No       Yes

3.917
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STRAWN MONAGHAN & METZGER PA                                 Contingent
         54 NE 4th Avenue                                             Unliquidated
         Delray Beach, FL 33483
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8124
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1391 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1399 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.917
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         STRAYHORN & STRAYHORN                                        Contingent
         2125 First Street                                            Unliquidated
         Suite 200
                                                                      Disputed
         Ft Myers, FL 33901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 460                       Is the claim subject to offset?     No       Yes

3.918
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STRICKLAND & DONADIO LLC                                     Contingent
         Donadio Law Office L.L.C.                                    Unliquidated
         301 Dunlawton Avenue
                                                                      Disputed
         Port Orange, FL 32127
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8120                      Is the claim subject to offset?     No       Yes

3.918
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STROMBERG & TARONE PLC                                       Contingent
         180 Royal Palm Way Suite 201                                 Unliquidated
         Palm Beach, FL 33480
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6709
                                                                   Is the claim subject to offset?     No       Yes

3.918
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Stronghold Law, P.A.                                         Contingent
         6996 Piazza Grande Avenue                                    Unliquidated
         Suite 202
                                                                      Disputed
         Orlando, FL 32835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0554                      Is the claim subject to offset?     No       Yes

3.918
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $500.00
         STROOCK & STROOCK & LAVAN LLP                                Contingent
         Wachovia Financial Center Suite 3160                         Unliquidated
         200 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131-2385
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6884                      Is the claim subject to offset?     No       Yes

3.918
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STROSS LAW FIRM PA                                           Contingent
         1801 Pepper Tree Drive                                       Unliquidated
         Oldsmar, FL 34677
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4993
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1392 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1400 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.918
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         STUART & WALKER PA                                           Contingent
         P.O. Box 14004                                               Unliquidated
         Ft Lauderdale, FL 33302-4004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3889
                                                                   Is the claim subject to offset?     No       Yes

3.918
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STUART A COHEN                                               Contingent
         1601 N. Flamingo Road                                        Unliquidated
         Pembroke Pines, FL 33028
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7498
                                                                   Is the claim subject to offset?     No       Yes

3.918
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART A LIPSON                                              Contingent
         16900 NE 19th Avenue                                         Unliquidated
         North Miami Beach, FL 33162-3110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9402
                                                                   Is the claim subject to offset?     No       Yes

3.918
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         STUART A RADER                                               Contingent
         2101 Northwest Boca Raton Boulevard Suit                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8102
                                                                   Is the claim subject to offset?     No       Yes

3.918
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STUART A SCHECHTER                                           Contingent
         16071 Vila Vizcaya Pl                                        Unliquidated
         Delray Beach, FL 33446-2342
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6034
                                                                   Is the claim subject to offset?     No       Yes

3.919
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART A TELLER                                              Contingent
         Stuart A. Teller P.A.                                        Unliquidated
         7320 Griffin Road Suite 216
                                                                      Disputed
         Davie, FL 33314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8719                      Is the claim subject to offset?     No       Yes

3.919
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART D SLOAN                                               Contingent
         Stuart D. Sloan P.A.                                         Unliquidated
         1311 Bedford Drive
                                                                      Disputed
         Melbourne, FL 32940-1975
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5837                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1393 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1401 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.919
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $88.84
         STUART F KARDEN                                              Contingent
         284 Oneida Terrace                                           Unliquidated
         Wellington, FL 33414-7802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6479
                                                                   Is the claim subject to offset?     No       Yes

3.919
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STUART G ELLIOT                                              Contingent
         9601 S Dixie Highway                                         Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5491
                                                                   Is the claim subject to offset?     No       Yes

3.919
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART GOLANT                                                Contingent
         Suite 3300                                                   Unliquidated
         2101 W Commercial Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33309-3047
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4983                      Is the claim subject to offset?     No       Yes

3.919
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART H GITLITZ                                             Contingent
         1570 Madruga Avenue Suite 300                                Unliquidated
         Coral Gables, FL 33146-3015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8371
                                                                   Is the claim subject to offset?     No       Yes

3.919
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         STUART J EDELMAN                                             Contingent
         1320 S Dixie Highway Suite 450                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4320
                                                                   Is the claim subject to offset?     No       Yes

3.919
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART J MAC IVER                                            Contingent
         Stuart J. Mac Iver P.A.                                      Unliquidated
         1177 Southeast 3rd Avenue
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9109                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1394 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1402 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.919
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         STUART J STARR                                               Contingent
         315 Northeast 3rd Avenue Suite 200                           Unliquidated
         Ft Lauderdale, FL 33301-1149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5952
                                                                   Is the claim subject to offset?     No       Yes

3.919
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART M GOLD                                                Contingent
         Sax Willinger & Gold                                         Unliquidated
         5801 Northwest 151 Street Suite 307
                                                                      Disputed
         Miami, FL 33014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8573                      Is the claim subject to offset?     No       Yes

3.920
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2.61
         STUART M ROSENBLUM PA                                        Contingent
         2230 Nursery Road Suite J121                                 Unliquidated
         Clearwater, FL 34624                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8105
                                                                   Is the claim subject to offset?     No       Yes

3.920
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART M SLUTSKY                                             Contingent
         2500 Weston Road Suite 404                                   Unliquidated
         Weston, FL 33331
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8536
                                                                   Is the claim subject to offset?     No       Yes

3.920
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         STUART R MORRIS PA                                           Contingent
         Suite 205                                                    Unliquidated
         7000 W Palmetto Park Road
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7402                      Is the claim subject to offset?     No       Yes

3.920
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         STUART R. MANOFF                                             Contingent
         Suite 411 Lake Wyman Plaza                                   Unliquidated
         2424 N Federal Highway
                                                                      Disputed
         Boca Raton, FL 33431-7746
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8370                      Is the claim subject to offset?     No       Yes

3.920
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,209.95
         STUART S ROSENTHAL                                           Contingent
         404 E Atlantic Boulevard Suite 101                           Unliquidated
         Pompano Beach, FL 33060-6258                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4237
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1395 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1403 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.920
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         STUMP STOREY & CALLAHAN PA                                   Contingent
         P.O. Box 3388                                                Unliquidated
         Orlando, FL 32802-3388
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5193
                                                                   Is the claim subject to offset?     No       Yes

3.920
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUBIN ROSENBLUTH LOSEY BRENNAN                               Contingent
         P.O. Box 4950                                                Unliquidated
         Orlando, FL 32802-4950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0808
                                                                   Is the claim subject to offset?     No       Yes

3.920
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,238.66
         SULLIVAN ADMIRE & SULLIVAN                                   Contingent
         2555 Ponce De Leon Boulevard                                 Unliquidated
         Suite 320                                                    Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1162                      Is the claim subject to offset?     No       Yes


3.920
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sultana Law, P.A.                                            Contingent
         2699 Lee Road                                                Unliquidated
         Suite 110
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8069                      Is the claim subject to offset?     No       Yes

3.920
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sundarsingh Law, P.L.                                        Contingent
         4440 PGA Boulevard                                           Unliquidated
         Suite 502
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9831                      Is the claim subject to offset?     No       Yes

3.921
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sundial Title Agency, LLC                                    Contingent
         4832 9th Avenue N                                            Unliquidated
         St. Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0992
                                                                   Is the claim subject to offset?     No       Yes

3.921
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Sundstrom Friedman & Fumero, L.L.P.                          Contingent
         7700 Congress Avenue Suite 2201                              Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8153
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1396 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1404 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.921
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sunfish Title, LLC                                           Contingent
         1340 N US Highway One                                        Unliquidated
         Suite 135
                                                                      Disputed
         Jupiter, FL 33469
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0968                      Is the claim subject to offset?     No       Yes

3.921
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         SUNNE & ASSOCIATES PA                                        Contingent
         1151 Northeast Cleveland Street                              Unliquidated
         Clearwater, FL 33755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8270
                                                                   Is the claim subject to offset?     No       Yes

3.921
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sunny Hillary                                                Contingent
         605 E. Robinson Street                                       Unliquidated
         Suite 300
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9257                      Is the claim subject to offset?     No       Yes

3.921
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Sunshine Realty Title Services, L.L.C.                       Contingent
         2719 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7553
                                                                   Is the claim subject to offset?     No       Yes

3.921
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sure Title, L.L.C.                                           Contingent
         235 N Garden Avenue                                          Unliquidated
         Clearwater, FL 33755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0194
                                                                   Is the claim subject to offset?     No       Yes

3.921
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Surfside Law Company, L.L.C.                                 Contingent
         2758 E Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7229
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1397 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1405 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.921
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SURFUS & PROSCH                                              Contingent
         150 East Avenue S                                            Unliquidated
         Sarasota, FL 34237-7024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5044
                                                                   Is the claim subject to offset?     No       Yes

3.921
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN AURORA LOPEZ                                           Contingent
         4400 N. Federal Highway                                      Unliquidated
         Suite 42
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2369                      Is the claim subject to offset?     No       Yes

3.922
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN D PESEL                                                Contingent
         1825 NW Corporate Boulevard                                  Unliquidated
         Suite 110
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5504                      Is the claim subject to offset?     No       Yes

3.922
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SUSAN DEETS PA                                               Contingent
         8900 SW 117 Avenue                                           Unliquidated
         Suite C208
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6443                      Is the claim subject to offset?     No       Yes

3.922
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SUSAN E DURRE                                                Contingent
         4675 Ponce Deleon Boulevard Suite 302                        Unliquidated
         Coral Gables, FL 33146-2113
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5560
                                                                   Is the claim subject to offset?     No       Yes

3.922
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SUSAN J BROTMAN PA                                           Contingent
         4400 N. Federal Highway                                      Unliquidated
         Suite 204
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7453                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1398 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1406 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.922
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN K ROBIN                                                Contingent
         W R Grace & Company                                          Unliquidated
         One Town Center Road
                                                                      Disputed
         Boca Raton, FL 33486
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4998                      Is the claim subject to offset?     No       Yes

3.922
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Susan Kang, P.A.                                             Contingent
         3170 N. Federal Highway                                      Unliquidated
         Suite 100
                                                                      Disputed
         Lighthouse Point, FL 33064
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9364                      Is the claim subject to offset?     No       Yes

3.922
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN KLEIN SHAPIRO                                          Contingent
         1172 S Dixie Highway Pmb Suite 232                           Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5067
                                                                   Is the claim subject to offset?     No       Yes

3.922
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN L EBERLE                                               Contingent
         320 N Magnolia Avenue A-9                                    Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9277
                                                                   Is the claim subject to offset?     No       Yes

3.922
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN L STOCKHAM-MOSCA                                       Contingent
         P.O. Box 7092                                                Unliquidated
         Sarasota, FL 34278-7092
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8349
                                                                   Is the claim subject to offset?     No       Yes

3.922
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN M FRANCESCHI                                           Contingent
         6132 So 380 W                                                Unliquidated
         Salt Lake City, UT 84107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8458
                                                                   Is the claim subject to offset?     No       Yes

3.923
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SUSAN M GIRSCH                                               Contingent
         5095 Southwest 82nd Street                                   Unliquidated
         Miami, FL 33143-8503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6545
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1399 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1407 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.923
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN M ROSALES                                              Contingent
         Law Off of Susan M Rosales P.A.                              Unliquidated
         10210 Collins Avenue Suite 106
                                                                      Disputed
         Bal Harbour, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2325                      Is the claim subject to offset?     No       Yes

3.923
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN M WEINBERG                                             Contingent
         P.O. Box 812602                                              Unliquidated
         Boca Raton, FL 33481
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8729
                                                                   Is the claim subject to offset?     No       Yes

3.923
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN MARY CARDENAS                                          Contingent
         Stones & Cardenas                                            Unliquidated
         221 Simonton Street
                                                                      Disputed
         Key West, FL 33040
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2192                      Is the claim subject to offset?     No       Yes

3.923
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN PENGE FILSON                                           Contingent
         2727 South Tamiami Trail                                     Unliquidated
         Sarasota, FL 34239-4507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8424
                                                                   Is the claim subject to offset?     No       Yes

3.923
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUSAN R GEIGER                                               Contingent
         5901 San Vicente Street                                      Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8548
                                                                   Is the claim subject to offset?     No       Yes

3.923
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SUSAN T RHODES                                               Contingent
         370 E Interlake Boulevard                                    Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7758
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1400 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1408 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.923
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Susana Betancourt, P.A.                                      Contingent
         261 Navarre Avenue Suite 101                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7166
                                                                   Is the claim subject to offset?     No       Yes

3.923
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SUSANA D GONZALEZ PA                                         Contingent
         P.O. Box 3277                                                Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8207
                                                                   Is the claim subject to offset?     No       Yes

3.923
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Susanne D. McCabe, PA                                        Contingent
         DBA McCabe Law Firm                                          Unliquidated
         900 N. Swallowtail Drive
                                                                      Disputed
         Port Orange, FL 32129
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0858                      Is the claim subject to offset?     No       Yes

3.924
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SUTO & BALDOVIN PA                                           Contingent
         2424 N Federal Highway Suite 405                             Unliquidated
         Boca Raton, FL 33431-7746
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7985
                                                                   Is the claim subject to offset?     No       Yes

3.924
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         Sutton Law Group, P.A.                                       Contingent
         7721 SW 62nd Avenue                                          Unliquidated
         1st Floor
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0135                      Is the claim subject to offset?     No       Yes

3.924
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUZAN HERSKOWITZ SINGER                                      Contingent
         C/O Richard Goldstone                                        Unliquidated
         2717 W Cypress Creek Road Suite 800
                                                                      Disputed
         Ft Lauderdale, FL 33309-1829
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4108                      Is the claim subject to offset?     No       Yes

3.924
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         SUZANNE D LANIER                                             Contingent
         351 Wimbledon Lane                                           Unliquidated
         Naples, FL 34101
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1768
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1401 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1409 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.924
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SUZANNE F LEVINE                                             Contingent
         18939 Twinberry Drive                                        Unliquidated
         Tampa, FL 33647-3419
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7889
                                                                   Is the claim subject to offset?     No       Yes

3.924
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SUZANNE WEST                                                 Contingent
         4641 Holly Lake Drive                                        Unliquidated
         Lake Worth, FL 33463-5371
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7406
                                                                   Is the claim subject to offset?     No       Yes

3.924
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         SWAINE & HARRIS PA                                           Contingent
         425 S. Commerce Avenue                                       Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4323
                                                                   Is the claim subject to offset?     No       Yes

3.924
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Swaine, Harris & Wohl, P.A.                                  Contingent
         401 Dal Hall Boulevard                                       Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4323
                                                                   Is the claim subject to offset?     No       Yes

3.924
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SWALM BOURGEAU & DAVIES PA                                   Contingent
         2375 Tamiami Trail N Suite 308                               Unliquidated
         Naples, FL 34103
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5198
                                                                   Is the claim subject to offset?     No       Yes

3.924
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SWALM MURRELL & SAMOUCE PA                                   Contingent
         2375 Tamiami Trail N Suite 308                               Unliquidated
         Naples, FL 33940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5253
                                                                   Is the claim subject to offset?     No       Yes

3.925
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,255.72
         SWANN & HADDOCK PA (INACTIVE)                                Contingent
         1031 W Morse Boulevard Suite 350                             Unliquidated
         Winter Park, FL 32789-3774                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2906
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1402 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1410 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.925
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         SWANN & HADLEY PA                                            Contingent
         P.O. Box 1961                                                Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9895
                                                                   Is the claim subject to offset?     No       Yes

3.925
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SWEAT & OLSON PA                                             Contingent
         P.O. Box 2866                                                Unliquidated
         Lakeland, FL 33806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7524
                                                                   Is the claim subject to offset?     No       Yes

3.925
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sweeney Law, P.A.                                            Contingent
         800 Southeast Third Avenue 4th Floor                         Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9915
                                                                   Is the claim subject to offset?     No       Yes

3.925
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Sweigart Law Group, P.A.                                     Contingent
         12161 Ken Adams Way                                          Unliquidated
         Suite 123
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9099                      Is the claim subject to offset?     No       Yes

3.925
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         SWIMMER LAW ASSOCIATES PA                                    Contingent
         1680 Michigan Avenue                                         Unliquidated
         Suite 1014
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6773                      Is the claim subject to offset?     No       Yes

3.925
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SYDNEY L WEINTRAUB                                           Contingent
         3030 Brickell Avenue                                         Unliquidated
         Miami, FL 33129-2816
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2027
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1403 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1411 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.925
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SYDNEY P SMITH PA                                            Contingent
         690 S Shore Drive                                            Unliquidated
         Miami Beach, FL 33141-2406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7254
                                                                   Is the claim subject to offset?     No       Yes

3.925
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SYLVAN B BURDICK                                             Contingent
         1110 N Olive Avenue                                          Unliquidated
         West Palm Beach, FL 33401-3514
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 578
                                                                   Is the claim subject to offset?     No       Yes

3.925
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         SYLVAN HOLTZMAN                                              Contingent
         2601 S Bayshore Drive Suite 600                              Unliquidated
         Coconut Grove, FL 33133-5419
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3544
                                                                   Is the claim subject to offset?     No       Yes

3.926
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         SYLVANUS A WELLS III                                         Contingent
         P.O. Box 265307                                              Unliquidated
         Daytona Beach, FL 32126-5307
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6403
                                                                   Is the claim subject to offset?     No       Yes

3.926
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SYLVIA A SPARLER                                             Contingent
         4100 S Dixie Highway Suite C                                 Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8881
                                                                   Is the claim subject to offset?     No       Yes

3.926
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SYLVIA E HELDRETH                                            Contingent
         1215 Miramar Street                                          Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7635
                                                                   Is the claim subject to offset?     No       Yes

3.926
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SYLVIA GOLDEN NORRIS                                         Contingent
         1670 Stickney Point Road                                     Unliquidated
         Sarasota, FL 34231
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4848
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1404 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1412 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.926
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         SYLVIA J TAYLOR                                              Contingent
         2211 Fruitville Road Suite A                                 Unliquidated
         Sarasota, FL 34237-6116
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5725
                                                                   Is the claim subject to offset?     No       Yes

3.926
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         SYMONS, CHERNA & WISEHEART                                   Contingent
         66 W. Flagler Street, Suite 600                              Unliquidated
         Miami, FL 33130-1884
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7927
                                                                   Is the claim subject to offset?     No       Yes

3.926
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Synergy Law Firm                                             Contingent
         5455 SW 8th Street                                           Unliquidated
         Suite 255
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9229                      Is the claim subject to offset?     No       Yes

3.926
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,426.15
         SYPRETT MESHAD RESNICK LIEB                                  Contingent
         1900 Ringling Boulevard                                      Unliquidated
         Sarasota, FL 34236                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3665
                                                                   Is the claim subject to offset?     No       Yes

3.926
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T & S Title, LLC                                             Contingent
         1410 20th Street                                             Unliquidated
         Suite 214
                                                                      Disputed
         Miami Beach, FL 33139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0964                      Is the claim subject to offset?     No       Yes

3.926
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T A BOROWSKI JR                                              Contingent
         Borowski & Traylor P.A.                                      Unliquidated
         25 W. Cedar Street, Suite 525
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4669                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1405 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1413 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.927
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T BRADLEY MCRAE PA                                           Contingent
         318 E Duval Street                                           Unliquidated
         Lake City, FL 32055
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2363
                                                                   Is the claim subject to offset?     No       Yes

3.927
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         T DAVID MANN & ASSOCIATES                                    Contingent
         P.O. Box 1191                                                Unliquidated
         Pensacola, FL 32595
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5007
                                                                   Is the claim subject to offset?     No       Yes

3.927
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         T EDWARD AUSTIN JR                                           Contingent
         2970 Saint Johns Avenue Suite 6-A                            Unliquidated
         Jacksonville, FL 32205-8729
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3091
                                                                   Is the claim subject to offset?     No       Yes

3.927
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T ELAINE HOLMES                                              Contingent
         14502 N Dale Mabry Suite 200                                 Unliquidated
         Tampa, FL 33618
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9936
                                                                   Is the claim subject to offset?     No       Yes

3.927
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         T MICHAEL WOODS                                              Contingent
         Woods & Woods P.A.                                           Unliquidated
         612 E Colonial Drive Suite 190
                                                                      Disputed
         Orlando, FL 32803-4650
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7280                      Is the claim subject to offset?     No       Yes

3.927
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T NICHOLAS THOMES                                            Contingent
         400 Coral Lane                                               Unliquidated
         Key Largo, FL 33037-5115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8435
                                                                   Is the claim subject to offset?     No       Yes

3.927
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,156.90
         T RANDOLPH BUCK PA                                           Contingent
         7501 Northwest 4th Street Suite 203                          Unliquidated
         Ft Lauderdale, FL 33317-2238                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 164
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1406 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1414 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.927
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T ROBERT ZOCHOWSKI                                           Contingent
         1001 N US Highway 1                                          Unliquidated
         Suite 206
                                                                      Disputed
         Jupiter, FL 33477
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9924                      Is the claim subject to offset?     No       Yes

3.927
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T SAMANTHA CHECHELE PA                                       Contingent
         7127 1st Avenue S                                            Unliquidated
         St Petersburg, FL 33707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5707
                                                                   Is the claim subject to offset?     No       Yes

3.927
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         T WHITNEY STRICKLAND JR                                      Contingent
         P.O. Box 10508                                               Unliquidated
         Tallahassee, FL 32302-2508
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3610
                                                                   Is the claim subject to offset?     No       Yes

3.928
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $431.30
         T. DEAN PALMER                                               Contingent
         582 S. Washington Dr.                                        Unliquidated
         Mission Realty                                               Disputed
         Sarasota, FL 34236-1726
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4148                      Is the claim subject to offset?     No       Yes


3.928
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         T. Edmund Spinks, Esquire P.L.                               Contingent
         713 Lithia Pinecrest Road                                    Unliquidated
         Brandon, FL 33511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7154
                                                                   Is the claim subject to offset?     No       Yes

3.928
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TABAS FREEDMAN SOLOFF MILLER                                 Contingent
         One Flagler Building                                         Unliquidated
         14 Northeast First Avenue Penthouse
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3831                      Is the claim subject to offset?     No       Yes

3.928
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Tables Law Group, P.A.                                       Contingent
         3475 Sheridan Street Suite 301                               Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9085
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1407 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1415 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.928
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TABOR & LAVARGNA PA                                          Contingent
         P.O. Box 669243                                              Unliquidated
         Marietta, GA 30066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2064
                                                                   Is the claim subject to offset?     No       Yes

3.928
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TAE KELLEY BRONNER PL                                        Contingent
         Pmb 428                                                      Unliquidated
         10006 Cross Creek Boulevard
                                                                      Disputed
         Tampa, FL 33647-2595
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2122                      Is the claim subject to offset?     No       Yes

3.928
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TAHYA FUENMAYOR                                              Contingent
         1401 Brickell Avenue Suite 500                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2521
                                                                   Is the claim subject to offset?     No       Yes

3.928
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TALBOT W TRAMMELL                                            Contingent
         650 Coral Way Suite 201                                      Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4392
                                                                   Is the claim subject to offset?     No       Yes

3.928
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TALIANOFF RUBIN & RUBIN                                      Contingent
         8585 Sunset Drive Suite 105                                  Unliquidated
         Miami, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0567
                                                                   Is the claim subject to offset?     No       Yes

3.928
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TAMARA LYNNE NICOLA PA                                       Contingent
         681 Goodlette Road N Suite 210                               Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0529
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1408 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1416 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.929
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tamaroff & Tamaroff, P.A.                                    Contingent
         2 S Biscayne Boulevard Ph 3800                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9390
                                                                   Is the claim subject to offset?     No       Yes

3.929
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TAMELA WISEMAN PA                                            Contingent
         P.O. Box 19393                                               Unliquidated
         Sarasota, FL 34276
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7261
                                                                   Is the claim subject to offset?     No       Yes

3.929
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tammi A. Calarco, P.A.                                       Contingent
         9699 NE 2nd Avenue                                           Unliquidated
         Miami Shores, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0673
                                                                   Is the claim subject to offset?     No       Yes

3.929
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TAMMY B SALTZMAN                                             Contingent
         6400 Congress Avenue Suite 2700                              Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5806
                                                                   Is the claim subject to offset?     No       Yes

3.929
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         TAMPA LAW SOURCE PA                                          Contingent
         2445 Tampa Road                                              Unliquidated
         Unit I
                                                                      Disputed
         Palm Harbor, FL 34683
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6540                      Is the claim subject to offset?     No       Yes

3.929
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TANYA COMPARETTO                                             Contingent
         2000 East Edgewood Drive Suite 108                           Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1412
                                                                   Is the claim subject to offset?     No       Yes

3.929
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tapanes Law, P.A.                                            Contingent
         9155 S. Dadeland Blvd.                                       Unliquidated
         Suite 1604
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7926                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1409 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1417 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.929
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $79.66
         TAPLIN & ASSOCIATES                                          Contingent
         1555 Palm Beach Lakes Boulevard                              Unliquidated
         Suite 1510
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5908                      Is the claim subject to offset?     No       Yes

3.929
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         TARA MILLER DANE                                             Contingent
         1100 5th Avenue S Suite 201                                  Unliquidated
         Naples, FL 34102-6407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7187
                                                                   Is the claim subject to offset?     No       Yes

3.929
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TARI L PETERSON                                              Contingent
         P.O. Box 17979                                               Unliquidated
         Tampa, FL 33682-7979
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7722
                                                                   Is the claim subject to offset?     No       Yes

3.930
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TAULER LAW FIRM PA                                           Contingent
         8300 Northwest 53rd Street Suite 101                         Unliquidated
         Doral, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1834
                                                                   Is the claim subject to offset?     No       Yes

3.930
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tavarez Law, P.A.                                            Contingent
         230 E. Monument Avenue                                       Unliquidated
         Suite A5
                                                                      Disputed
         Kissimmee, FL 34741
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0167                      Is the claim subject to offset?     No       Yes

3.930
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TAYLOR & TAYLOR PA                                           Contingent
         420 S. Lawrence Boulevard                                    Unliquidated
         Keystone Heights, FL 32656
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5705
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1410 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1418 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.930
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         TAYLOR & VAN MATRE PA                                        Contingent
         P.O. Box 9396                                                Unliquidated
         Pensacola, FL 32513-9396
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 551
                                                                   Is the claim subject to offset?     No       Yes

3.930
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $825.00
         TAYLOR BRION BUKER & GREENE PA                               Contingent
         C/O Arnaldo Velez P.A.                                       Unliquidated
         35 Almeria Avenue
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2786                      Is the claim subject to offset?     No       Yes

3.930
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TED J STARR                                                  Contingent
         Starr Law Office P.A.                                        Unliquidated
         8181 US Highway 19 N
                                                                      Disputed
         Pinellas Park, FL 33781
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5120                      Is the claim subject to offset?     No       Yes

3.930
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         TED P GALATIS                                                Contingent
         820 Oleander Drive                                           Unliquidated
         Plantation, FL 33317-1315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1003
                                                                   Is the claim subject to offset?     No       Yes

3.930
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TED P GALATIS JR                                             Contingent
         224 Commercial Boulevard                                     Unliquidated
         Suite 205
                                                                      Disputed
         Lauderdale by the Sea, FL 33308-4443
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1753                      Is the claim subject to offset?     No       Yes

3.930
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TED S MURRAY                                                 Contingent
         1230 Winnock Boulevard Suite 3503                            Unliquidated
         Houston, TX 77057-1743
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7032
                                                                   Is the claim subject to offset?     No       Yes

3.930
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TEDD N WILLIAMS                                              Contingent
         P.O. Box 693                                                 Unliquidated
         Bradenton, FL 34206-0693
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7278
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1411 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1419 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.931
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Teisha Powell Law Offices, P.A.                              Contingent
         1314 E. Las Olas Boulevard                                   Unliquidated
         Suite 728
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9244                      Is the claim subject to offset?     No       Yes

3.931
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tejada Lacayo, P.A.                                          Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 2201
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0510                      Is the claim subject to offset?     No       Yes

3.931
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tejeda Law Group, P.A.                                       Contingent
         17687 NW 78th Avenue                                         Unliquidated
         Miami, FL 33015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9668
                                                                   Is the claim subject to offset?     No       Yes

3.931
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERA MENENDEZ                                                Contingent
         701 W Cypress Creek Road 3rd Floor                           Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5736
                                                                   Is the claim subject to offset?     No       Yes

3.931
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         TERENCE J WATTERSON                                          Contingent
         11380 Prosperity Farms Road Suite 112                        Unliquidated
         Palm Beach Gardens, FL 33410-3450
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6474
                                                                   Is the claim subject to offset?     No       Yes

3.931
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERENCE LENAMON                                              Contingent
         100o Ponce De Leon Boulevard Suite 208                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2382
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1412 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1420 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.931
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERENCE M BROWN                                              Contingent
         P.O. Drawer 40                                               Unliquidated
         Starke, FL 32091-0040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8401
                                                                   Is the claim subject to offset?     No       Yes

3.931
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TERENCE MATTHEWS                                             Contingent
         5190 26th Street W.                                          Unliquidated
         Suite D
                                                                      Disputed
         Bradenton, FL 34207-2203
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7461                      Is the claim subject to offset?     No       Yes

3.931
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESA A NIGHTINGALE                                         Contingent
         545 Avenue K Southeast                                       Unliquidated
         Winter Haven, FL 33880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0324
                                                                   Is the claim subject to offset?     No       Yes

3.931
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESA BYRD MORGAN                                           Contingent
         234 E Duval Street                                           Unliquidated
         Lake City, FL 32055
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4429
                                                                   Is the claim subject to offset?     No       Yes

3.932
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TERESA H HARRISON                                            Contingent
         3353 Higel Avenue                                            Unliquidated
         Sarasota, FL 34242
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6863
                                                                   Is the claim subject to offset?     No       Yes

3.932
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESA M ALVAREZ PA                                          Contingent
         6780 Coral Way                                               Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6684
                                                                   Is the claim subject to offset?     No       Yes

3.932
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TERESA MARTIN-BOLADERES                                      Contingent
         Centry Small Business Solution                               Unliquidated
         275 Fontainebleau Boulevard Suite 115
                                                                      Disputed
         Miami, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6628                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1413 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1421 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.932
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESA MARTINEZ-CEDENO                                       Contingent
         8390 W Flagler Street Suite 214                              Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1268
                                                                   Is the claim subject to offset?     No       Yes

3.932
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESA ROHWEDDER                                             Contingent
         2191 Defense Highway Suite 102                               Unliquidated
         Crofton, MD 21114-2487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0595
                                                                   Is the claim subject to offset?     No       Yes

3.932
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,569.82
         TERESA SALDISE                                               Contingent
         2534 Southwest 12th Street                                   Unliquidated
         Miami, FL 33135-4816                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5136
                                                                   Is the claim subject to offset?     No       Yes

3.932
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESA WARD PA                                               Contingent
         245 E Washington                                             Unliquidated
         Monticello, FL 32344
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8128
                                                                   Is the claim subject to offset?     No       Yes

3.932
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERESITA H GARCIA PA                                         Contingent
         4101 Southwest 73rd Avenue                                   Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8558
                                                                   Is the claim subject to offset?     No       Yes

3.932
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Teressa Maria Tylman, P.A.                                   Contingent
         P.O. Box 450163                                              Unliquidated
         Miami, FL 33245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8410
                                                                   Is the claim subject to offset?     No       Yes

3.932
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Terra Law Firm, P.A.                                         Contingent
         14910 Winding Creek Court                                    Unliquidated
         Tampa, FL 33613
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9724
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1414 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1422 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.933
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TERRANCE J MULLIN                                            Contingent
         201 Alhambra Circle Suite 503                                Unliquidated
         Coral Gables, FL 33134-5105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6270
                                                                   Is the claim subject to offset?     No       Yes

3.933
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERRENCE F PYLE                                              Contingent
         707 Del Webb Boulevard W                                     Unliquidated
         Sun City Center, FL 33573
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4041
                                                                   Is the claim subject to offset?     No       Yes

3.933
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         TERRENCE F PYLE PA                                           Contingent
         P.O. Box 5869                                                Unliquidated
         Sun City Center, FL 33571
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 490
                                                                   Is the claim subject to offset?     No       Yes

3.933
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TERRENCE J MCGUIRE                                           Contingent
         Fassett Anthony & Taylor P.A.                                Unliquidated
         1325 W Colonial Drive
                                                                      Disputed
         Orlando, FL 32804
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7782                      Is the claim subject to offset?     No       Yes

3.933
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         TERRENCE T DARIOTIS                                          Contingent
         1695-6 Metropolitan Circle                                   Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7597
                                                                   Is the claim subject to offset?     No       Yes

3.933
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         TERRY & TERRY                                                Contingent
         2121 McGregor Boulevard                                      Unliquidated
         Ft Myers, FL 33901-3494
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5950
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1415 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1423 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.933
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERRY L BELLE PA                                             Contingent
         P.O. Box 2668                                                Unliquidated
         Ft Myers, FL 33902-2668
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4571
                                                                   Is the claim subject to offset?     No       Yes

3.933
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TERRY L DEMEO                                                Contingent
         1776 S Jackson Street Suite 400                              Unliquidated
         Denver, CO 80210-3804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6618
                                                                   Is the claim subject to offset?     No       Yes

3.933
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERRY LENICK                                                 Contingent
         P.O. Box 430                                                 Unliquidated
         Bonita Springs, FL 34133-0430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2429
                                                                   Is the claim subject to offset?     No       Yes

3.933
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,167.98
         TERRY MCDAVID                                                Contingent
         P.O. Box 1328                                                Unliquidated
         Lake City, FL 32056-1328                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4301
                                                                   Is the claim subject to offset?     No       Yes

3.934
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERRY V BROUGHTON                                            Contingent
         P.O. Box 1470                                                Unliquidated
         Ft Myers, FL 33902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1467
                                                                   Is the claim subject to offset?     No       Yes

3.934
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TERRY V HAUSER                                               Contingent
         2699 S. Bayshore Drive, 7th Floor                            Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1694
                                                                   Is the claim subject to offset?     No       Yes

3.934
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tesha Allison, P.A.                                          Contingent
         2200 N. Commerce Parkway                                     Unliquidated
         Suite 200
                                                                      Disputed
         Weston, FL 33326
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0022                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1416 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1424 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.934
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TEW BARNES & ATKINSON LLP                                    Contingent
         P.O. Box 5124                                                Unliquidated
         Clearwater, FL 33758-5124
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5565
                                                                   Is the claim subject to offset?     No       Yes

3.934
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         TEW CARDENAS LLP                                             Contingent
         1441 Brickell Avenue 15th Floor                              Unliquidated
         Miami, FL 33131-3407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0598
                                                                   Is the claim subject to offset?     No       Yes

3.934
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THADDEUS D KIRKPATRICK                                       Contingent
         9220 Bonita Springs Road Suite 225                           Unliquidated
         Bonita Springs, FL 34135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4802
                                                                   Is the claim subject to offset?     No       Yes

3.934
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $475.00
         THALER & THALER PA                                           Contingent
         700 N Olive Avenue Suite 2                                   Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6990
                                                                   Is the claim subject to offset?     No       Yes

3.934
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Ackerman Law Firm, P.A.                                  Contingent
         80 SW 8th Street                                             Unliquidated
         Suite 2000
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0494                      Is the claim subject to offset?     No       Yes

3.934
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Andersen Firm, P.C.                                      Contingent
         500 E Broward Boulevard Suite 1600                           Unliquidated
         Ft Lauderdale, FL 33394
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8709
                                                                   Is the claim subject to offset?     No       Yes

3.934
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE ANDERSON LEGAL GROUP LLC                                 Contingent
         Dba Orlando Legal                                            Unliquidated
         800 N. Magnolia Avenue, Suite 1500
                                                                      Disputed
         Orlando, FL 32803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6490                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1417 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1425 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.935
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Andres Lopez Law Firm, P.A.                              Contingent
         7351 Wiles Road, #101                                        Unliquidated
         Coral Springs, FL 33067
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0579
                                                                   Is the claim subject to offset?     No       Yes

3.935
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Associates.com, PA                                       Contingent
         1525 Prosperity Farms Road                                   Unliquidated
         Suite B
                                                                      Disputed
         Lake Park, FL 33403
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0029                      Is the claim subject to offset?     No       Yes

3.935
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE BARRISTER GROUP PA                                       Contingent
         600 NW 183rd Street                                          Unliquidated
         Miami Gardens, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7593
                                                                   Is the claim subject to offset?     No       Yes

3.935
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE BARTHET FIRM                                             Contingent
         200 S Biscayne Boulevard Suite 1800                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0005
                                                                   Is the claim subject to offset?     No       Yes

3.935
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Bauer Law Office, P.A.                                   Contingent
         814 Ponce De Leon Boulevard                                  Unliquidated
         Suite 210
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8487                      Is the claim subject to offset?     No       Yes

3.935
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE BELLEH LAW FIRM PA                                       Contingent
         1801 Northeast 123rd Street Suite 409                        Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1637
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1418 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1426 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.935
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Botros Law Firm, P.A.                                    Contingent
         North Tower 1101                                             Unliquidated
         1101 Brickell Avenue
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7467                      Is the claim subject to offset?     No       Yes

3.935
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE BRAY LAW FIRM LLC                                        Contingent
         2555 Ponce De Leon Boulevard                                 Unliquidated
         Suite 600
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0419                      Is the claim subject to offset?     No       Yes

3.935
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE BRENNAN LAW FIRM                                         Contingent
         P.O. Box 2706                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7814
                                                                   Is the claim subject to offset?     No       Yes

3.935
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE BRUTUS LAW GROUP PA                                      Contingent
         16801 Northeast 6th Avenue                                   Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4417
                                                                   Is the claim subject to offset?     No       Yes

3.936
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE BURGESS LAW FIRM PA                                      Contingent
         2149 N Commerce Parkway                                      Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7092
                                                                   Is the claim subject to offset?     No       Yes

3.936
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE BUSINESS & REAL ESTATE                                   Contingent
         132 Southwest 9th Street                                     Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8533
                                                                   Is the claim subject to offset?     No       Yes

3.936
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Cardama Law Group, P.A.                                  Contingent
         401 S Rosalind Avenue                                        Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7256
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1419 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1427 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.936
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE CARNEY LEGAL GROUP PA                                    Contingent
         135 SE 5th Avenue                                            Unliquidated
         Suite 202
                                                                      Disputed
         Delray Beach, FL 33483
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8999                      Is the claim subject to offset?     No       Yes

3.936
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Citron Law Firm, P.A.                                    Contingent
         11555 Heron Bay Boulevard Suite 200                          Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7429
                                                                   Is the claim subject to offset?     No       Yes

3.936
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE COOPER LAW FIRM                                          Contingent
         100 West Call Street                                         Unliquidated
         Starke, FL 32091
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6443
                                                                   Is the claim subject to offset?     No       Yes

3.936
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THE CRAWFORD FAMILY TRUST                                    Contingent
         1215 E Broward Boulevard                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1488
                                                                   Is the claim subject to offset?     No       Yes

3.936
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE CRENSHAW LAW FIRM PA                                     Contingent
         1109 S Congress Avenue Suite D                               Unliquidated
         West Palm Beach, FL 33406-5100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5829
                                                                   Is the claim subject to offset?     No       Yes

3.936
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Curran Law Firm, P.A.                                    Contingent
         601 Heritage Drive                                           Unliquidated
         Suite 224
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7999                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1420 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1428 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.936
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Del Toro Law Group, L.L.C.                               Contingent
         525 SW Camden Avenue                                         Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0504
                                                                   Is the claim subject to offset?     No       Yes

3.937
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE DELLUTRI LAW GROUP PA                                    Contingent
         3002 Del Prado Boulevard S Unit A                            Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6668
                                                                   Is the claim subject to offset?     No       Yes

3.937
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE DUFFEY LAW FIRM                                          Contingent
         2300 Glades Road                                             Unliquidated
         Suite 460W
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6225                      Is the claim subject to offset?     No       Yes

3.937
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THE ELDER LAW FIRM PA                                        Contingent
         4199 N Dixie Highway Suite 2                                 Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8194
                                                                   Is the claim subject to offset?     No       Yes

3.937
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE ELKINS-MACDONALD LAW                                     Contingent
         1150 Louisiana Avenue Suite 5b                               Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0427
                                                                   Is the claim subject to offset?     No       Yes

3.937
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE ESPINOSA LAW FIRM PA                                     Contingent
         1470 Northwest 107th Avenue Suite E                          Unliquidated
         Miami, FL 33172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6379
                                                                   Is the claim subject to offset?     No       Yes

3.937
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE ESTATE OF KERRY R SCHWENKE                               Contingent
         1209 N Olive Avenue                                          Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2665
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1421 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1429 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.937
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE FARR GROUP PL                                            Contingent
         7479 Conroy Windermere Road Suite D                          Unliquidated
         Orlando, FL 32835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6471
                                                                   Is the claim subject to offset?     No       Yes

3.937
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE FARRAR LAW FIRM                                          Contingent
         109 N Palafox Street                                         Unliquidated
         Pensacola, FL 32502
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4128
                                                                   Is the claim subject to offset?     No       Yes

3.937
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Farrell Firm, PLLC                                       Contingent
         3502 Henderson Blvd.                                         Unliquidated
         Suite 206
                                                                      Disputed
         Tampa, FL 33609
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0723                      Is the claim subject to offset?     No       Yes

3.937
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE FERGUSON FIRM PLLC                                       Contingent
         41 W 27th Street                                             Unliquidated
         Riviera Beach, FL 33404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2892
                                                                   Is the claim subject to offset?     No       Yes

3.938
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Ferguson Firm, P.L.L.C.                                  Contingent
         2826 Broadway Avenue                                         Unliquidated
         Suite 102
                                                                      Disputed
         Riviera Beach, FL 33404
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9050                      Is the claim subject to offset?     No       Yes

3.938
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE FINCK LAW GROUP PA                                       Contingent
         4040 Commercial Way                                          Unliquidated
         Spring Hill, FL 34606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2086
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1422 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1430 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.938
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Firm Law Group, Inc.                                     Contingent
         14100 Palmetto Frontage Road                                 Unliquidated
         Suite 370
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9694                      Is the claim subject to offset?     No       Yes

3.938
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         THE FLORIDA LEGAL ADVOCACY                                   Contingent
         445 NE 8th Avenue                                            Unliquidated
         Ocala, FL 34470
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6597
                                                                   Is the claim subject to offset?     No       Yes

3.938
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE FLORIDA REAL ESTATE FIRM                                 Contingent
         1000 Quayside Terrace                                        Unliquidated
         Suite 806
                                                                      Disputed
         Miami, FL 33138
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6226                      Is the claim subject to offset?     No       Yes

3.938
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Florida Real Estate Law Firm, PLLC                       Contingent
         12000 Biscayne Boulevard                                     Unliquidated
         Suite 221
                                                                      Disputed
         Miami, FL 33181
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0998                      Is the claim subject to offset?     No       Yes

3.938
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Fraga Law Firm                                           Contingent
         17670 Northwest 78th Avenue Suite 212                        Unliquidated
         Miami, FL 33015
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8099
                                                                   Is the claim subject to offset?     No       Yes

3.938
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE FRANKLIN GROUP PA                                        Contingent
         20350 W Country Club Drive Suite 125                         Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2591
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1423 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1431 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.938
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Freeland Eddie Law Group P.A.                            Contingent
         1400 Dr. Martin Luther King Jr. Way                          Unliquidated
         Suite 101
                                                                      Disputed
         Sarasota, FL 34234
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0960                      Is the claim subject to offset?     No       Yes

3.938
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Funes Law Firm, P.A.                                     Contingent
         223 E Flager Street 606                                      Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9293
                                                                   Is the claim subject to offset?     No       Yes

3.939
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Getzan Law Firm                                          Contingent
         178 SE Hernando Avenue                                       Unliquidated
         Lake City, FL 32025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9720
                                                                   Is the claim subject to offset?     No       Yes

3.939
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Golden Attorneys, Inc.                                   Contingent
         1141 E. Blue Heron Boulevard                                 Unliquidated
         Suite 1
                                                                      Disputed
         Riviera Beach, FL 33404
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1651                      Is the claim subject to offset?     No       Yes

3.939
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Great Empire Title, L.L.C.                               Contingent
         1888 Northwest 7th Street                                    Unliquidated
         Miami, FL 33125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7297
                                                                   Is the claim subject to offset?     No       Yes

3.939
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Griffith Law Firm, P.A.                                  Contingent
         2655 Le Jeune Road                                           Unliquidated
         Suite 1110
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6898                      Is the claim subject to offset?     No       Yes

3.939
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Hamisch Law Firm, P.L.L.C.                               Contingent
         5659 Strand Court Suite 108                                  Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7910
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1424 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1432 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.939
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE HART LAW FIRM                                            Contingent
         Miami Center 22nd Floor                                      Unliquidated
         201 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9370                      Is the claim subject to offset?     No       Yes

3.939
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Harvey Firm, PLLC                                        Contingent
         3560 Cardinal Point Drive                                    Unliquidated
         Suite 202
                                                                      Disputed
         Jacksonville, FL 32257
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0983                      Is the claim subject to offset?     No       Yes

3.939
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         THE HENDRY LAW FIRM PA                                       Contingent
         2164 W First Street                                          Unliquidated
         Suite B
                                                                      Disputed
         Ft Myers, FL 33901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6565                      Is the claim subject to offset?     No       Yes

3.939
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Henin Law Firm. PLLC                                     Contingent
         1079 W. Morse Boulevard                                      Unliquidated
         Suite C
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0853                      Is the claim subject to offset?     No       Yes

3.939
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         The Hernandez Legal Group, PLLC                              Contingent
         11410 N. Kendall Drive                                       Unliquidated
         Suite 311
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0833                      Is the claim subject to offset?     No       Yes

3.940
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE HOGAN LAW FIRM LLC                                       Contingent
         PO Box 485                                                   Unliquidated
         Brooksville, FL 34605
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2497
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1425 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1433 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.940
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THE HON JOHN E ROBERTS                                       Contingent
         P.O. Box 854                                                 Unliquidated
         Marianna, FL 32446-0854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5978
                                                                   Is the claim subject to offset?     No       Yes

3.940
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE HON KENNETH B BELL                                       Contingent
         P.O. Box 13147                                               Unliquidated
         Pensacola, FL 32591-3147
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2500
                                                                   Is the claim subject to offset?     No       Yes

3.940
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THE HON THOMAS D SAWAYA                                      Contingent
         4527 Southeast 2nd Pl                                        Unliquidated
         Ocala, FL 34471-3208
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6611
                                                                   Is the claim subject to offset?     No       Yes

3.940
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THE HONORABLE MARTIN D KAHN                                  Contingent
         9344 Northwest 48th Doral Terrace                            Unliquidated
         Miami, FL 33178-2070
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2192
                                                                   Is the claim subject to offset?     No       Yes

3.940
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE HORVAT LAW FIRM PLLC                                     Contingent
         15715 S. Dixie Highway                                       Unliquidated
         Suite 224
                                                                      Disputed
         Palmetto Bay, FL 33157
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6549                      Is the claim subject to offset?     No       Yes

3.940
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Houston Law Firm, PL                                     Contingent
         12651 S Dixie Highway Suite 207                              Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8246
                                                                   Is the claim subject to offset?     No       Yes

3.940
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Johnson Firm, P.A.                                       Contingent
         P.O. Box 1056                                                Unliquidated
         Ocoee, FL 34761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8941
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1426 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1434 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.940
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE KARP LAW FIRM PA                                         Contingent
         2875 PGA Boulevard Suite 100                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7536
                                                                   Is the claim subject to offset?     No       Yes

3.940
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Kennelly Law Firm, PL                                    Contingent
         4006 S Macdill Avenue                                        Unliquidated
         Tampa, FL 33611
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8784
                                                                   Is the claim subject to offset?     No       Yes

3.941
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE KLEINFELD LAW FIRM                                       Contingent
         8788 Southwest 8th Street                                    Unliquidated
         Miami, FL 33174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7206
                                                                   Is the claim subject to offset?     No       Yes

3.941
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $212.07
         THE KRAMER LAW FIRM PA                                       Contingent
         950 N Collier Boulevard                                      Unliquidated
         Suite 101
                                                                      Disputed
         Marco Island, FL 34145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 331                       Is the claim subject to offset?     No       Yes

3.941
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Larned Law Group, P.A.                                   Contingent
         12734 Kenwood Lane                                           Unliquidated
         Suite 39
                                                                      Disputed
         Ft. Myers, FL 33907
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0937                      Is the claim subject to offset?     No       Yes

3.941
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW FIRM OF                                              Contingent
         3034 University Parkway                                      Unliquidated
         Sarasota, FL 34243
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2242
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1427 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1435 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.941
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Firm of Alex Rivero, P.A.                            Contingent
         950 S Pine Island Road                                       Unliquidated
         Suite A150
                                                                      Disputed
         Plantation, FL 33324
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9009                      Is the claim subject to offset?     No       Yes

3.941
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Firm of Douglas Denning, P.L.L.C                     Contingent
         2821 Thaxton Drive Suite 29                                  Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9951
                                                                   Is the claim subject to offset?     No       Yes

3.941
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW GROUP PL                                             Contingent
         8949 Southeast Bridge Road Suite 140                         Unliquidated
         Hobe Sound, FL 33455
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2146
                                                                   Is the claim subject to offset?     No       Yes

3.941
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFC OF ISAACS WILLIAMS                               Contingent
         2655 N Ocean Drive Suite 502                                 Unliquidated
         Riviera Beach, FL 33404
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8753
                                                                   Is the claim subject to offset?     No       Yes

3.941
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFCS OF CARL H WINSLOW                               Contingent
         106 Hancock Bridge Parkway W Suite D15                       Unliquidated
         Cape Coral, FL 33991-2092
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7745
                                                                   Is the claim subject to offset?     No       Yes

3.941
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Law Off of Michael J. Owen, P.L.L.C.                     Contingent
         615 W. De Leon Street                                        Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9306
                                                                   Is the claim subject to offset?     No       Yes

3.942
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE LAW OFFC OF BOB ARNOLD PA                                Contingent
         80 SW 8th Street                                             Unliquidated
         Suite 2000
                                                                      Disputed
         Miami, FL 33130
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4221                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1428 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1436 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.942
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE LAW OFFC OF MICHAEL R                                    Contingent
         5340 Northwest 103rd Way                                     Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4344
                                                                   Is the claim subject to offset?     No       Yes

3.942
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFC OF RUTH E JOHNSON                               Contingent
         8925 Southwest 148th Street Suite 200                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4122
                                                                   Is the claim subject to offset?     No       Yes

3.942
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THE LAW OFFCS OF PAUL BURKHART                               Contingent
         800 Village Square Crossing Suite 115                        Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6381
                                                                   Is the claim subject to offset?     No       Yes

3.942
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         115 Smith Lane                                               Unliquidated
         Ronkonkoma, NY 11779-1724
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5527
                                                                   Is the claim subject to offset?     No       Yes

3.942
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         2477 E Commercial Boulevard                                  Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4909
                                                                   Is the claim subject to offset?     No       Yes

3.942
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         4524 Gun Club Road Suite 104                                 Unliquidated
         West Palm Beach, FL 33415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4645
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1429 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1437 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.942
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         2624 Brompton Court                                          Unliquidated
         Orlando, FL 32833-5519
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2706
                                                                   Is the claim subject to offset?     No       Yes

3.942
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         125 S State Road 7 Suite 104-336                             Unliquidated
         West Palm Beach, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2476
                                                                   Is the claim subject to offset?     No       Yes

3.942
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         625 W Union Street Suite 2                                   Unliquidated
         Jacksonville, FL 32202
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8927
                                                                   Is the claim subject to offset?     No       Yes

3.943
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         7450 Griffin Road Suite 260                                  Unliquidated
         Davie, FL 33314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8925
                                                                   Is the claim subject to offset?     No       Yes

3.943
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF                                            Contingent
         2002 Del Prado Boulevard S Suite 101                         Unliquidated
         Cape Coral, FL 33990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7170
                                                                   Is the claim subject to offset?     No       Yes

3.943
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE LAW OFFICE OF                                            Contingent
         818 Southeast 4th Street Suite 202                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6465
                                                                   Is the claim subject to offset?     No       Yes

3.943
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Anthony J. Barrows, LL                     Contingent
         540 Key Deer Boulevard                                       Unliquidated
         Big Pine Key, FL 33043
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8377
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1430 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1438 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.943
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE LAW OFFICE OF AUGUST C                                   Contingent
         1720 Harrison Street                                         Unliquidated
         Suite 6 C-W
                                                                      Disputed
         Hollywood, FL 33020-6839
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2185                      Is the claim subject to offset?     No       Yes

3.943
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF BEN ZAERI PA                               Contingent
         390 W State Road 434 Suite 102                               Unliquidated
         Longwood, FL 32750
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4616
                                                                   Is the claim subject to offset?     No       Yes

3.943
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF BRETT A HYDE                               Contingent
         959 N Cocoa Boulevard Suite 2                                Unliquidated
         Cocoa, FL 32922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4240
                                                                   Is the claim subject to offset?     No       Yes

3.943
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Bridgette E. Bonet, P.                     Contingent
         1900 N. Bayshore Drive                                       Unliquidated
         Unit 1A-126
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0695                      Is the claim subject to offset?     No       Yes

3.943
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Catherine Cole, P.A.                       Contingent
         12161 Ken Adams Way                                          Unliquidated
         Suite 110-Ff
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9739                      Is the claim subject to offset?     No       Yes

3.943
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Charles B. King, L.L.C                     Contingent
         56 Myrtle Road                                               Unliquidated
         Naples, FL 34108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7717
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1431 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1439 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.944
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Claudel Trajan, P.A.                       Contingent
         803 Lake Avenue                                              Unliquidated
         Lake Worth, FL 33460
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0951
                                                                   Is the claim subject to offset?     No       Yes

3.944
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Cristina M. Ortiz, P.A                     Contingent
         8950 SW 74th Court                                           Unliquidated
         Suite 2201
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8603                      Is the claim subject to offset?     No       Yes

3.944
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF DANA Y MOORE                               Contingent
         P.O. Box 4745                                                Unliquidated
         Winter Haven, FL 33885-4745
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4384
                                                                   Is the claim subject to offset?     No       Yes

3.944
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Daniel C. Guarnieri, P                     Contingent
         100 Wallace Avenue Suite 360                                 Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9438
                                                                   Is the claim subject to offset?     No       Yes

3.944
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Danisa M. Borges, P.A.                     Contingent
         DBA Borges Law                                               Unliquidated
         5940 SW 73 Street, Suite 101
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0994                      Is the claim subject to offset?     No       Yes

3.944
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Law Office of Eric Scott Brumfield,                      Contingent
         AET II                                                       Unliquidated
         7270 NW 12th Street, Suite 545
                                                                      Disputed
         Miami, FL 33126
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7934                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1432 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1440 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.944
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Erika Sexson                               Contingent
         2300 Marsh Point Road                                        Unliquidated
         Suite 202
                                                                      Disputed
         Neptune Beach, FL 32266
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1045                      Is the claim subject to offset?     No       Yes

3.944
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF EUNICE PUGA                                Contingent
         10637 N. Kendall Drive                                       Unliquidated
         Suite 7-B
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5717                      Is the claim subject to offset?     No       Yes

3.944
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Gustavo Sardina, P.A.                      Contingent
         3162 Commodore Plaza Suite 3e                                Unliquidated
         Coconut Grove, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7856
                                                                   Is the claim subject to offset?     No       Yes

3.944
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Howard L. Schwartz, P.                     Contingent
         7781 NW Beacon Square Boulevard                              Unliquidated
         Suite 102
                                                                      Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8532                      Is the claim subject to offset?     No       Yes

3.945
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF JAMAR JORDAN                               Contingent
         1756 N Bayshore Drive Suite 20-F                             Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9589
                                                                   Is the claim subject to offset?     No       Yes

3.945
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Law Office of Jeffrey D. Ostlie, P.A                     Contingent
         19 E. Central Boulevard                                      Unliquidated
         3rd Floor
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7078                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1433 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1441 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.945
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Jennifer B. Levy                           Contingent
         5401 S. Kirkman Road                                         Unliquidated
         Suite 310
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0712                      Is the claim subject to offset?     No       Yes

3.945
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Joseph Hughes, P.A.                        Contingent
         515 E. Las Olas Blvd.                                        Unliquidated
         Suite 120
                                                                      Disputed
         Ft Lauderdale, FL 33301-4261
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9516                      Is the claim subject to offset?     No       Yes

3.945
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Justin Rickman                             Contingent
         780 Almond Street                                            Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9924
                                                                   Is the claim subject to offset?     No       Yes

3.945
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Kenneth M. Gordon                          Contingent
         525 Northlake Boulevard                                      Unliquidated
         Suite 1
                                                                      Disputed
         North Palm Beach, FL 33408
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8401                      Is the claim subject to offset?     No       Yes

3.945
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Latonia D. Jackson, P.                     Contingent
         P.O. Box 261153te 220                                        Unliquidated
         Miami, FL 33126-0021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7786
                                                                   Is the claim subject to offset?     No       Yes

3.945
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Leighton J. Hyde, P.A.                     Contingent
         3630 W Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8441
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1434 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1442 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.945
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF LONG H DUONG                               Contingent
         Second Floor                                                 Unliquidated
         11 Northwest 33rd Court
                                                                      Disputed
         Gainesville, FL 32607
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2414                      Is the claim subject to offset?     No       Yes

3.945
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Lucy C. Collins, P.A.                      Contingent
         P.O. Box 20186                                               Unliquidated
         Panama City Beach, FL 32413
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9658
                                                                   Is the claim subject to offset?     No       Yes

3.946
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of M. Bivins, PLLC                            Contingent
         P.O. Box 61431                                               Unliquidated
         Jacksonville, FL 32236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0824
                                                                   Is the claim subject to offset?     No       Yes

3.946
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Mark A. Gotlieb, P.A.                      Contingent
         1200 N. Federal Highway                                      Unliquidated
         Suite 200
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0627                      Is the claim subject to offset?     No       Yes

3.946
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF MARY E TRASK                               Contingent
         16500 Burnt Store Road                                       Unliquidated
         Suite A-104
                                                                      Disputed
         Punta Gorda, FL 33955
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1605                      Is the claim subject to offset?     No       Yes

3.946
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Michael L. Keiber, P.A                     Contingent
         2557 US Route 27 S.                                          Unliquidated
         Sebring, FL 33870
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6859
                                                                   Is the claim subject to offset?     No       Yes

3.946
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Odelia Goldberg                            Contingent
         1270 SW 26th Avenue                                          Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8250
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1435 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1443 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.946
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE LAW OFFICE OF PAUL A                                     Contingent
         225 S Olive Avenue                                           Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6124
                                                                   Is the claim subject to offset?     No       Yes

3.946
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Paul A. Gionis, PLLC                       Contingent
         1299 Main Street                                             Unliquidated
         Suite C
                                                                      Disputed
         Dunedin, FL 34698
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7243                      Is the claim subject to offset?     No       Yes

3.946
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Philip Stecco, P.A.                        Contingent
         4020 Southwest 108th Terrace                                 Unliquidated
         Davie, FL 33328
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9183
                                                                   Is the claim subject to offset?     No       Yes

3.946
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Ralph R. Deas, P.A.                        Contingent
         108 Central Avenue NW                                        Unliquidated
         Jasper, FL 32025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9640
                                                                   Is the claim subject to offset?     No       Yes

3.946
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Raymond A. Calderin, P                     Contingent
         5760 NW 72 Avenue                                            Unliquidated
         Miami, FL 33166
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0659
                                                                   Is the claim subject to offset?     No       Yes

3.947
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Rolando E. Rodriguez                       Contingent
         1900 S Harbor City Boulevard Suite 333                       Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8200
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1436 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1444 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.947
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Ronald J. Conte, P.L.                      Contingent
         5850 T.G. Lee Boulevard                                      Unliquidated
         Suite 180
                                                                      Disputed
         Orlando, FL 32822
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8190                      Is the claim subject to offset?     No       Yes

3.947
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF RUIZ AND                                   Contingent
         3471 N Federal Highway Suite 505                             Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6356
                                                                   Is the claim subject to offset?     No       Yes

3.947
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Samantha C. Joseph, PA                     Contingent
         14274 E. Fish Eagle Dr.                                      Unliquidated
         Jacksonville, FL 32226
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1049
                                                                   Is the claim subject to offset?     No       Yes

3.947
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF SERENA                                     Contingent
         401 E Las Olas Boulevard Suite 130                           Unliquidated
         Ft Lauderdale, FL 33301-2477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9194
                                                                   Is the claim subject to offset?     No       Yes

3.947
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICE OF THOMAS M                                   Contingent
         2701 NE 14th Street Causeway                                 Unliquidated
         Suite 3
                                                                      Disputed
         Pompano Beach, FL 33062
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8322                      Is the claim subject to offset?     No       Yes

3.947
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Thomas Normandeau                          Contingent
         1800 W University Avenue                                     Unliquidated
         Suite 420
                                                                      Disputed
         Gainesville, FL 32603
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0299                      Is the claim subject to offset?     No       Yes

3.947
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Travis Koon, P.L.L.C.                      Contingent
         284 Southwest Baya Drive Suite 101                           Unliquidated
         Lake City, FL 32025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7736
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1437 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1445 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.947
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of V. Mayweather, P.L.L.C                     Contingent
         501 N. Magnolia Avenue                                       Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9550
                                                                   Is the claim subject to offset?     No       Yes

3.947
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Office of Yana A. Manotas, P.A.                      Contingent
         1221 Brickell Avenue                                         Unliquidated
         Suite 900
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9723                      Is the claim subject to offset?     No       Yes

3.948
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF                                           Contingent
         3020 NE 32nd Avenue                                          Unliquidated
         Suite 226
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6186                      Is the claim subject to offset?     No       Yes

3.948
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF                                           Contingent
         12000 Biscayne Boulevard Suite 401                           Unliquidated
         North Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5836
                                                                   Is the claim subject to offset?     No       Yes

3.948
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF                                           Contingent
         7040 W Palmetto Park Suite 4-634                             Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9578
                                                                   Is the claim subject to offset?     No       Yes

3.948
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF                                           Contingent
         P.O. Box 261142                                              Unliquidated
         Tampa, FL 33685-1142
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8324
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1438 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1446 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.948
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF                                           Contingent
         10800 Biscayne Boulevard                                     Unliquidated
         Suite 650
                                                                      Disputed
         North Miami, FL 33161
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7827                      Is the claim subject to offset?     No       Yes

3.948
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF A PAOLI PA                                Contingent
         1720 Harrison Street                                         Unliquidated
         Suite 8C
                                                                      Disputed
         Hollywood, FL 33020-6828
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4540                      Is the claim subject to offset?     No       Yes

3.948
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of A.K. Esquire, PLLC                        Contingent
         2737 E. Oakland Park Boulevard                               Unliquidated
         Suite A
                                                                      Disputed
         Fort Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0969                      Is the claim subject to offset?     No       Yes

3.948
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Law Offices of Alonso and Ali, P.A.                      Contingent
         8501 SW 124th Avenue                                         Unliquidated
         Suite 203A
                                                                      Disputed
         Miami, FL 33183
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0859                      Is the claim subject to offset?     No       Yes

3.948
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Carter J. Adams, P.A.                     Contingent
         290 Cypress Gardens Boulevard                                Unliquidated
         Winter Haven, FL 33884
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0865
                                                                   Is the claim subject to offset?     No       Yes

3.948
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Charles E.                                Contingent
         20 South Rose Avenue Suite 3b                                Unliquidated
         Kissimmee, FL 34741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8212
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1439 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1447 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.949
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         THE LAW OFFICES OF FRANK                                     Contingent
         Frank Comparetto Jr.                                         Unliquidated
         2000 E. Edgewood Drive, Suite 108
                                                                      Disputed
         Lakeland, FL 33803-3638
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4365                      Is the claim subject to offset?     No       Yes

3.949
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF GISSELLE                                  Contingent
         3182 W 76th Street                                           Unliquidated
         Hialeah, FL 33018-3886
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2348
                                                                   Is the claim subject to offset?     No       Yes

3.949
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of H. William Vazquez, P                     Contingent
         5401 S. Kirkman Road                                         Unliquidated
         Suite 310
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7208                      Is the claim subject to offset?     No       Yes

3.949
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Hernan Cortes Rodrigu                     Contingent
         P.O. Box 421877                                              Unliquidated
         Kissimmee, FL 32742-1877
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7584
                                                                   Is the claim subject to offset?     No       Yes

3.949
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of J. Paul Fanning, P.A.                     Contingent
         415 N Laurel Drive                                           Unliquidated
         Margate, FL 33063
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0049
                                                                   Is the claim subject to offset?     No       Yes

3.949
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF JASON A                                   Contingent
         1792 Bell Tower Lane                                         Unliquidated
         Weston, FL 33326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6196
                                                                   Is the claim subject to offset?     No       Yes

3.949
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF JOSEPH P                                  Contingent
         14261 Commerce Way                                           Unliquidated
         #103
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5521                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1440 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1448 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.949
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Joy P. Ewertz, P.A.                       Contingent
         P.O. Box 547381                                              Unliquidated
         Orlando, FL 32854
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7198
                                                                   Is the claim subject to offset?     No       Yes

3.949
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of La'Trese K. Mcphee, P                     Contingent
         3350 Southwest 148th Avenue Suite 110                        Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8280
                                                                   Is the claim subject to offset?     No       Yes

3.949
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Markeishia L. Smith,                      Contingent
         131 N. 6th Street                                            Unliquidated
         Haines City, FL 33844
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0980
                                                                   Is the claim subject to offset?     No       Yes

3.950
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Ramirez, P.L.L.C.                         Contingent
         5246 Southwest 8th Street Suite 206-B                        Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8419
                                                                   Is the claim subject to offset?     No       Yes

3.950
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Robert J. Longchamps,                     Contingent
         4440 PGA Boulevard                                           Unliquidated
         Suite 600
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6429                      Is the claim subject to offset?     No       Yes

3.950
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF RONALD E                                  Contingent
         2332 Galiano Street 2nd Floor                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6243
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1441 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1449 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.950
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Stephanie A. Cruz, P.                     Contingent
         14100 Palmetto Frontage road                                 Unliquidated
         #100
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0222                      Is the claim subject to offset?     No       Yes

3.950
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Travis R. Walker, P.A                     Contingent
         1235 SE Indian Street                                        Unliquidated
         Suite 101
                                                                      Disputed
         Stuart, FL 34997
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7573                      Is the claim subject to offset?     No       Yes

3.950
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Trujillo and Zamora,                      Contingent
         d/b/a Tru Legal                                              Unliquidated
         7900 NW 155th Street, Suite 104
                                                                      Disputed
         Miami Lakes, FL 33016-5844
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0762                      Is the claim subject to offset?     No       Yes

3.950
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LAW OFFICES OF VAN NESS &                                Contingent
         46 N Washington Boulevard Suite 9                            Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7721
                                                                   Is the claim subject to offset?     No       Yes

3.950
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Law Offices of Walker Dixon, P.A.                        Contingent
         1001 Cypress Creek Road                                      Unliquidated
         Suite 306A
                                                                      Disputed
         Ft Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9869                      Is the claim subject to offset?     No       Yes

3.950
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Lee Law Firm, PL                                         Contingent
         121 S Orange Avenue Suite 1270                               Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7139
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1442 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1450 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.950
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE LEGAIR LAW FIRM PA                                       Contingent
         5240 S. University Drive                                     Unliquidated
         Suite 102
                                                                      Disputed
         Davie, FL 33328
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2505                      Is the claim subject to offset?     No       Yes

3.951
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Lieberman Law Firm, P.A.                                 Contingent
         20801 Biscayne Boulevard                                     Unliquidated
         Suite 304
                                                                      Disputed
         Miami, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7851                      Is the claim subject to offset?     No       Yes

3.951
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE LIT LAW GROUP PA                                         Contingent
         2364 Boy Scout Road Suite 200                                Unliquidated
         Clearwater, FL 33763
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6638
                                                                   Is the claim subject to offset?     No       Yes

3.951
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THE LUCKEY LAW FIRM PA                                       Contingent
         P.O. Box 1820                                                Unliquidated
         Labelle, FL 33975
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4701
                                                                   Is the claim subject to offset?     No       Yes

3.951
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Lyons Law Group, P.A.                                    Contingent
         4103 Little Road                                             Unliquidated
         New Port Richey, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8227
                                                                   Is the claim subject to offset?     No       Yes

3.951
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Marecki Law Firm, P.A.                                   Contingent
         8461 Lake Worth Road                                         Unliquidated
         Suite 209
                                                                      Disputed
         Lake Worth, FL 33467
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9298                      Is the claim subject to offset?     No       Yes

3.951
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THE MCCOLLUM LAW FIRM PL                                     Contingent
         129 S Commerce Avenue                                        Unliquidated
         Sebring, FL 33870-3602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4686
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1443 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1451 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.951
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Metka Law Firm, P.A.                                     Contingent
         1135 East Avenue                                             Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8669
                                                                   Is the claim subject to offset?     No       Yes

3.951
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE MILLHORN LAW FIRM                                        Contingent
         13710 US 441 Suite 100                                       Unliquidated
         Lady Lake, FL 32159
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6599
                                                                   Is the claim subject to offset?     No       Yes

3.951
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE MOORE LAW FIRM PA                                        Contingent
         P.O. Box 746                                                 Unliquidated
         Niceville, FL 32588
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5434
                                                                   Is the claim subject to offset?     No       Yes

3.951
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE MORALES LAW FIRM PA                                      Contingent
         1100 5th Avenue S Suite 201                                  Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8682
                                                                   Is the claim subject to offset?     No       Yes

3.952
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         The Morgan Law Group, P.A.                                   Contingent
         55 Merrick Way                                               Unliquidated
         Suite 404
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9434                      Is the claim subject to offset?     No       Yes

3.952
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE MOXAM LAW GROUP PA                                       Contingent
         9569 Southwest 1st Court                                     Unliquidated
         Coral Springs, FL 33071-7390
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4812
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1444 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1452 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.952
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Nazareth Law Firm, P.A.                                  Contingent
         625 E Colonial Drive                                         Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6502
                                                                   Is the claim subject to offset?     No       Yes

3.952
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Nye-Schmitz Law Firm, P.A.                               Contingent
         3447 Pine Ridge Road                                         Unliquidated
         Suite 101
                                                                      Disputed
         Naples, FL 34109-3927
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8655                      Is the claim subject to offset?     No       Yes

3.952
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE OFFICES OF PATRICE PALDINO                               Contingent
         1160 N 13th Square                                           Unliquidated
         Vero Beach, FL 32960-2100
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9302
                                                                   Is the claim subject to offset?     No       Yes

3.952
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         The Orlando Law Group                                        Contingent
         12301 Lake Underhill Road Suite 213                          Unliquidated
         Orlando, FL 32828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8295
                                                                   Is the claim subject to offset?     No       Yes

3.952
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE PAPPAS LAW FIRM PA                                       Contingent
         225 E Robinson Street Suite 540                              Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6573
                                                                   Is the claim subject to offset?     No       Yes

3.952
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Paulter Law Firm, P.L.L.C.                               Contingent
         166 Lookout Place                                            Unliquidated
         Suite 200
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0178                      Is the claim subject to offset?     No       Yes

3.952
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Perazzo Law Firm, P.A.                                   Contingent
         16666 NE 19th Avenue                                         Unliquidated
         Suite 110
                                                                      Disputed
         North Miami Beach, FL 33162
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9996                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1445 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1453 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.952
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Perry Law Group, L.L.C.                                  Contingent
         37 N. Orange Avenue                                          Unliquidated
         Suite 500
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9926                      Is the claim subject to offset?     No       Yes

3.953
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE PLANTE LAW GROUP PLC                                     Contingent
         806 N. Armenia Avenue                                        Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2598
                                                                   Is the claim subject to offset?     No       Yes

3.953
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Powell Law Firm, P.A.                                    Contingent
         18001 Old Cutler Road Suite 646                              Unliquidated
         Palmetto Bay, FL 33157
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7123
                                                                   Is the claim subject to offset?     No       Yes

3.953
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Premier Legal Group                                      Contingent
         1799 Northeast 164th Street Suite 117                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9757
                                                                   Is the claim subject to offset?     No       Yes

3.953
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Pryor Law Group, P.A.                                    Contingent
         4901 NW 17th Way                                             Unliquidated
         Suite 605
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0908                      Is the claim subject to offset?     No       Yes

3.953
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE PURDY LAW GROUP PA                                       Contingent
         1022 W Martin Luther King Boulevard                          Unliquidated
         Seffner, FL 33584
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2549
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1446 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1454 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.953
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE REAL ESTATE CLOSING CENTER                               Contingent
         921 W 46th Street                                            Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6264
                                                                   Is the claim subject to offset?     No       Yes

3.953
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE REAL ESTATE LAW FIRM PLC                                 Contingent
         Courvoisier Courts                                           Unliquidated
         701 Brickell Key Boulevard Suite Cu-1
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7851                      Is the claim subject to offset?     No       Yes

3.953
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE RHODES LAW FIRM                                          Contingent
         370 E. Interlake Boulevard                                   Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7758
                                                                   Is the claim subject to offset?     No       Yes

3.953
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Richards Law Group, P.L.L.C.                             Contingent
         146 S. Atlantic Avenue                                       Unliquidated
         Ormond Beach, FL 32176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6835
                                                                   Is the claim subject to offset?     No       Yes

3.953
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE RILEY LAW FIRM PA                                        Contingent
         4805 W Laurel Street Suite 230                               Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4262
                                                                   Is the claim subject to offset?     No       Yes

3.954
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE RINALDO LAW FIRM PA                                      Contingent
         1102 S Florida Avenue                                        Unliquidated
         Lakeland, FL 33803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1830
                                                                   Is the claim subject to offset?     No       Yes

3.954
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE ROBERT LAW GROUP LLC D/B/A                               Contingent
         155 Northeast 96th Street                                    Unliquidated
         Miami Shores, FL 33138
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7860
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1447 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1455 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.954
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE RUDY J VAZMINA LAW GROUP                                 Contingent
         2014 Fourth Street                                           Unliquidated
         Sarasota, FL 34237-4304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4768
                                                                   Is the claim subject to offset?     No       Yes

3.954
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE SANDLER LAW GROUP PL                                     Contingent
         5110 Eisenhower Boulevard Suite 102                          Unliquidated
         Tampa, FL 33634
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0593
                                                                   Is the claim subject to offset?     No       Yes

3.954
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Sarmina Cetraro Law Group, P.A.                          Contingent
         12550 Biscayne Boulevard Suite 800                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7587
                                                                   Is the claim subject to offset?     No       Yes

3.954
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE SAVAGE-GASTON LAW FIRM PA                                Contingent
         5401 S Kirkman Road Suite 310                                Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7211
                                                                   Is the claim subject to offset?     No       Yes

3.954
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE SCHIFFMAN LAW GROUP PA                                   Contingent
         2875 Northeast 191st Street Suite 404                        Unliquidated
         Aventura, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.954
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         THE SCHWEIKHARDT LAW FIRM PA                                 Contingent
         900 Sixth Avenue S Suite 203                                 Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4944
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1448 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1456 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.954
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Seagrave Law Office, P.L.L.C.                            Contingent
         100 Cessna Boulevard                                         Unliquidated
         Suite 1A
                                                                      Disputed
         Port Orange, FL 32128
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8978                      Is the claim subject to offset?     No       Yes

3.954
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE SHAMS LAW FIRM PA                                        Contingent
         Suite 110                                                    Unliquidated
         1015 Maitland Commons Boulevard
                                                                      Disputed
         Maitland, FL 32751
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5516                      Is the claim subject to offset?     No       Yes

3.955
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Siddiqi Law Firm, P.A.                                   Contingent
         12039 SW 132nd Court                                         Unliquidated
         Suite 30
                                                                      Disputed
         Miami, FL 33186
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7039                      Is the claim subject to offset?     No       Yes

3.955
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Skeen Law Group, P.A.                                    Contingent
         2450 Hollywood Boulevard                                     Unliquidated
         Suite 105
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9338                      Is the claim subject to offset?     No       Yes

3.955
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE SOLOMON LAW GROUP PA                                     Contingent
         1881 W Kennedy Boulevard                                     Unliquidated
         Tampa, FL 33606-1606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8713
                                                                   Is the claim subject to offset?     No       Yes

3.955
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Spiller Firm, PL                                         Contingent
         P.O. Box 2295                                                Unliquidated
         Jacksonville, FL 32203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7240
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1449 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1457 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.955
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Stiell Law Firm, P.A.                                    Contingent
         PO Box 5423                                                  Unliquidated
         Tallahassee, FL 32314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0623
                                                                   Is the claim subject to offset?     No       Yes

3.955
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         The Strems Law Firm, P.A.                                    Contingent
         2555 Ponce De Leon Boulevard Suite 210                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8764
                                                                   Is the claim subject to offset?     No       Yes

3.955
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         The Sulte Law Firm, P.A.                                     Contingent
         3416 W Swann Avenue                                          Unliquidated
         Tampa, FL 33609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8743
                                                                   Is the claim subject to offset?     No       Yes

3.955
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE THOMAS LAW FIRM                                          Contingent
         1100 Northeast 163rd Street Suite 402                        Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0536
                                                                   Is the claim subject to offset?     No       Yes

3.955
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THE THOMAS LAW GROUP PA                                      Contingent
         445 E Palmetto Park Road                                     Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2131
                                                                   Is the claim subject to offset?     No       Yes

3.955
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THE THOMAS LAW GROUP PA                                      Contingent
         445 East Palmetto Park Road                                  Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2122
                                                                   Is the claim subject to offset?     No       Yes

3.956
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE TORRE LAW FIRM PL                                        Contingent
         921 N Pennsylvania Avenue                                    Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6583
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1450 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1458 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.956
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE TR LEWIS LAW GROUP PA                                    Contingent
         2200 Wilson Boulevard Suite 102-50                           Unliquidated
         Arlington, VA 22201
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0309
                                                                   Is the claim subject to offset?     No       Yes

3.956
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE TREUSCH LAW GROUP PA                                     Contingent
         449 W Silverstar Road Unit 845                               Unliquidated
         Ocoee, FL 34761-8035
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6628
                                                                   Is the claim subject to offset?     No       Yes

3.956
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE TULLO LAW FIRM PLLC                                      Contingent
         2202 N West Shore Boulevard Suite 200                        Unliquidated
         Tampa, FL 33607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2499
                                                                   Is the claim subject to offset?     No       Yes

3.956
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THE UNGER LAW GROUP PL                                       Contingent
         Metz Law Firm P.A.                                           Unliquidated
         15930 US Highway 441 Suite B
                                                                      Disputed
         Eustis, FL 32726
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4336                      Is the claim subject to offset?     No       Yes

3.956
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE WALLACE LAW GROUP PL                                     Contingent
         2500 Quantum Lakes Drive                                     Unliquidated
         Suite 203
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6379                      Is the claim subject to offset?     No       Yes

3.956
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE WALTON LAW FIRM                                          Contingent
         200 S. Biscayne Boulevard                                    Unliquidated
         Suite 2790
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8686                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1451 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1459 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.956
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Weber Law Group, P.L.L.C.                                Contingent
         401 E Las Olas Boulevard                                     Unliquidated
         Suite 1400
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8477                      Is the claim subject to offset?     No       Yes

3.956
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE WEITZ LAW FIRM PA D/B/A                                  Contingent
         18305 Biscayne Boulevard Suite 214                           Unliquidated
         Aventura, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7168
                                                                   Is the claim subject to offset?     No       Yes

3.956
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Winig Law Firm, P.A.                                     Contingent
         The Barrister's Building                                     Unliquidated
         1615 Forum Place Suite 3a
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8000                      Is the claim subject to offset?     No       Yes

3.957
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE WOODS GROUP LLC                                          Contingent
         5201 Blue Lagoon Drive Suite 340                             Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9702
                                                                   Is the claim subject to offset?     No       Yes

3.957
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         The Young Law Firm of Florida, L.L.C.                        Contingent
         1115 E Livingston Street                                     Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9100
                                                                   Is the claim subject to offset?     No       Yes

3.957
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THE ZEINI LAW FIRM                                           Contingent
         3361 Rouse Road Suite 120                                    Unliquidated
         Orlando, FL 32817
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2190
                                                                   Is the claim subject to offset?     No       Yes

3.957
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THE ZEINI LAW FIRM                                           Contingent
         422 S. Alafaya Trail                                         Unliquidated
         Suite 17
                                                                      Disputed
         Orlando, FL 32828
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8716                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1452 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1460 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.957
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THEODORE C STEFFENS                                          Contingent
         160 Shiloh Circle                                            Unliquidated
         Durango, CO 81301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5157
                                                                   Is the claim subject to offset?     No       Yes

3.957
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THEODORE C TAUB PA                                           Contingent
         P.O. Box 405                                                 Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3955
                                                                   Is the claim subject to offset?     No       Yes

3.957
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THEODORE F BRILL PA                                          Contingent
         300 South Pine Island Road Suite 237                         Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 196
                                                                   Is the claim subject to offset?     No       Yes

3.957
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE F ZENTNER                                           Contingent
         220 S Ridgewood Avenue Suite 250                             Unliquidated
         Daytona Beach, FL 32114-1871
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1183
                                                                   Is the claim subject to offset?     No       Yes

3.957
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE H VAN DEVENTER                                      Contingent
         1550 Coluso Drive                                            Unliquidated
         Winter Garden, FL 34787
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8359
                                                                   Is the claim subject to offset?     No       Yes

3.957
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE J RECHEL                                            Contingent
         2913 Busch Lake Boulevard                                    Unliquidated
         Tampa, FL 33614-1860
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4801
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1453 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1461 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.958
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THEODORE K EGNER                                             Contingent
         3067 E Commercial Boulevard                                  Unliquidated
         Suite 203
                                                                      Disputed
         Ft Lauderdale, FL 33308-4311
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4997                      Is the claim subject to offset?     No       Yes

3.958
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE M BURT                                              Contingent
         P.O. Box 308                                                 Unliquidated
         Trenton, FL 32693
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6889
                                                                   Is the claim subject to offset?     No       Yes

3.958
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Theodore M. Simon Counselor at Law                           Contingent
         5476 Enclave Crossing Way                                    Unliquidated
         Suite T-1
                                                                      Disputed
         Delray Beach, FL 33484
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9563                      Is the claim subject to offset?     No       Yes

3.958
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THEODORE N TAYLOR                                            Contingent
         202 S Collins Street Suite 1                                 Unliquidated
         Plant City, FL 33563-5532
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8139
                                                                   Is the claim subject to offset?     No       Yes

3.958
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE PARKER                                              Contingent
         Parker & Associates P.A.                                     Unliquidated
         1800 2nd Street, Suite 819
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6590                      Is the claim subject to offset?     No       Yes

3.958
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THEODORE R BAYER                                             Contingent
         Dadeland Towers                                              Unliquidated
         9400 S Dadeland Boulevard Suite 300
                                                                      Disputed
         Miami, FL 33156-2832
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4513                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1454 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1462 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.958
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE R GAY                                               Contingent
         Department of Professional Regulation                        Unliquidated
         401 Northwest 2nd Avenue Suite N607
                                                                      Disputed
         Miami, FL 33128
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4733                      Is the claim subject to offset?     No       Yes

3.958
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE R NELSON                                            Contingent
         P O Box 54-6530                                              Unliquidated
         Surfside, FL 33154-2040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0352
                                                                   Is the claim subject to offset?     No       Yes

3.958
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THEODORE R SCHOFNER                                          Contingent
         2117 Indian Rocks Road                                       Unliquidated
         Largo, FL 34644
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6969
                                                                   Is the claim subject to offset?     No       Yes

3.958
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THEODORE SWAEBE PA                                           Contingent
         2260 Southwest 8th Street Suite 203                          Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9420
                                                                   Is the claim subject to offset?     No       Yes

3.959
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,454.39
         THEODORE W GEITHMAN                                          Contingent
         2290 Buckskin Drive                                          Unliquidated
         Englewood, FL 34223-2209                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5317
                                                                   Is the claim subject to offset?     No       Yes

3.959
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THEODORE W GEITHMAN                                          Contingent
         2290 Buckskin Drive                                          Unliquidated
         Englewood, FL 34223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5317
                                                                   Is the claim subject to offset?     No       Yes

3.959
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THEODORE ZELMAN                                              Contingent
         Edgemont Office Park                                         Unliquidated
         5633 Naples Boulevard
                                                                      Disputed
         Naples, FL 34109
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6133                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1455 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1463 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.959
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THERESA A BOWMAN PA                                          Contingent
         14339 Smith Sundy Road                                       Unliquidated
         Delray Beach, FL 33448
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7295
                                                                   Is the claim subject to offset?     No       Yes

3.959
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THERESA G PIZZO                                              Contingent
         205 N Pine Street                                            Unliquidated
         North Massapequa, NY 11758-2809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8756
                                                                   Is the claim subject to offset?     No       Yes

3.959
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THERESA PETERSON                                             Contingent
         2425 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3829
                                                                   Is the claim subject to offset?     No       Yes

3.959
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $52,487.00
         THERREL BAISDEN PA                                           Contingent
         Accounting Department                                        Unliquidated
         One Southeast 3rd Avenue Suite 2950                          Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 289                       Is the claim subject to offset?     No       Yes


3.959
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,740.45
         THOMAS & THOMAS PA                                           Contingent
         242 Chase Avenue                                             Unliquidated
         Winter Park, FL 32789                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6233
                                                                   Is the claim subject to offset?     No       Yes

3.959
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS A BARBA                                               Contingent
         1470 Southwest 21st Lane                                     Unliquidated
         Boca Raton, FL 33486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5987
                                                                   Is the claim subject to offset?     No       Yes

3.959
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS A EDWARDS                                             Contingent
         P.O. Box 331122                                              Unliquidated
         Miami, FL 33233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7884
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1456 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1464 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.960
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THOMAS A FOGT                                                Contingent
         736 Colorado Avenue                                          Unliquidated
         Stuart, FL 34994-3018
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6979
                                                                   Is the claim subject to offset?     No       Yes

3.960
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS A HASIS                                               Contingent
         P.O. Box 5968                                                Unliquidated
         Lighthouse Point, FL 33074
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6852
                                                                   Is the claim subject to offset?     No       Yes

3.960
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS A MOSELEY                                             Contingent
         1724 Manatee Avenue W.                                       Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8193
                                                                   Is the claim subject to offset?     No       Yes

3.960
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         THOMAS A ROMAN PA                                            Contingent
         2196 Main Street Suite L                                     Unliquidated
         Dunedin, FL 34698-5650
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8179
                                                                   Is the claim subject to offset?     No       Yes

3.960
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS A SPEER                                               Contingent
         P.O. Box 1364                                                Unliquidated
         Sanford, FL 32772-1364
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5816
                                                                   Is the claim subject to offset?     No       Yes

3.960
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS A THOMAS JR                                           Contingent
         4271 N Pine Island Road                                      Unliquidated
         Sunrise, FL 33351
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7957
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1457 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1465 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.960
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS A TILSON                                              Contingent
         48 Northeast 15th Street 2nd Floor                           Unliquidated
         Homestead, FL 33030-4507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0601
                                                                   Is the claim subject to offset?     No       Yes

3.960
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS A TRUEX                                               Contingent
         3716 Southwest 64th Avenue                                   Unliquidated
         Davie, FL 33314
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0323
                                                                   Is the claim subject to offset?     No       Yes

3.960
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS A. SMITH                                              Contingent
         308 S. Fielding Avenue                                       Unliquidated
         Tampa, FL 33606-2225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4006
                                                                   Is the claim subject to offset?     No       Yes

3.960
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS AND THOMAS PA                                         Contingent
         1917 Harrison Street                                         Unliquidated
         Hollywood, FL 33020
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7956
                                                                   Is the claim subject to offset?     No       Yes

3.961
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS B DRAGE JR                                            Contingent
         P.O. Box 87                                                  Unliquidated
         Orlando, FL 32802-0087
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5108
                                                                   Is the claim subject to offset?     No       Yes

3.961
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS BALIKES                                               Contingent
         2301 Southwest 7th Avenue                                    Unliquidated
         Miami, FL 33129-1942
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6450
                                                                   Is the claim subject to offset?     No       Yes

3.961
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS C HOUCK                                               Contingent
         475 Minutemen Causeway                                       Unliquidated
         Cocoa Beach, FL 32931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7421
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1458 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1466 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.961
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS C JENNINGS III                                        Contingent
         Repka & Jennings, P.A.                                       Unliquidated
         711 Pinellas Street
                                                                      Disputed
         Clearwater, FL 33756
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2330                      Is the claim subject to offset?     No       Yes

3.961
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS C LITTLE                                              Contingent
         Thomas C. Little P.A.                                        Unliquidated
         2123 Northeast Coachman Road Suite A
                                                                      Disputed
         Clearwater, FL 34625-2616
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7252                      Is the claim subject to offset?     No       Yes

3.961
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS C O'BANNON                                            Contingent
         2411 Southeast 30th Street                                   Unliquidated
         Melrose, FL 32666-5106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2057
                                                                   Is the claim subject to offset?     No       Yes

3.961
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS C PALMER                                              Contingent
         3301 Tamiami Trail E Building F                              Unliquidated
         Naples, FL 34112-4962
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7508
                                                                   Is the claim subject to offset?     No       Yes

3.961
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         THOMAS C RANEW JR PA                                         Contingent
         P.O. Box 956                                                 Unliquidated
         Silver Springs, FL 34489-0956
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7255
                                                                   Is the claim subject to offset?     No       Yes

3.961
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS C RAUCH                                               Contingent
         201 West Big Beaver Road Suite 600                           Unliquidated
         Troy, MI 48084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4982
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1459 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1467 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.961
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS C SANTORO                                             Contingent
         1700 Wells Road Suite 5                                      Unliquidated
         Orange Park, FL 32073
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0503
                                                                   Is the claim subject to offset?     No       Yes

3.962
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS C TYLER JR PA                                         Contingent
         981 Ridgewood Avenue Suite 104                               Unliquidated
         Venice, FL 34292
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7616
                                                                   Is the claim subject to offset?     No       Yes

3.962
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS C VALENTINE                                           Contingent
         1800 Second Street Suite 803                                 Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2100
                                                                   Is the claim subject to offset?     No       Yes

3.962
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $70.00
         THOMAS C WALSER                                              Contingent
         7015 Beracasa Way Suite 201                                  Unliquidated
         Boca Raton, FL 33433-3453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8553
                                                                   Is the claim subject to offset?     No       Yes

3.962
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS C WILKINSON                                           Contingent
         P.O. Box 138                                                 Unliquidated
         Marianna, FL 32447
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4927
                                                                   Is the claim subject to offset?     No       Yes

3.962
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS D LARDIN                                              Contingent
         1901 W Cypress Creek Road                                    Unliquidated
         Suite 415 Bank Atlantic Building
                                                                      Disputed
         Ft Lauderdale, FL 33309-1864
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1035                      Is the claim subject to offset?     No       Yes

3.962
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS D LUMPKIN II                                          Contingent
         2655 Le Jeune Road                                           Unliquidated
         5th Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6720                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1460 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1468 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.962
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THOMAS D RIELLY PA                                           Contingent
         3418 Poinsettia Avenue                                       Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7803
                                                                   Is the claim subject to offset?     No       Yes

3.962
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS D WOODSON                                             Contingent
         P.O. Box 580809                                              Unliquidated
         Orlando, FL 32858-0809
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4737
                                                                   Is the claim subject to offset?     No       Yes

3.962
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS D WRIGHT                                              Contingent
         9711 Overseas Highway                                        Unliquidated
         Marathon, FL 33050
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3785
                                                                   Is the claim subject to offset?     No       Yes

3.962
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS D WRIGHT                                              Contingent
         340 N Causeway                                               Unliquidated
         New Smyrna Beach, FL 32169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6676
                                                                   Is the claim subject to offset?     No       Yes

3.963
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS D. STAFFORD                                           Contingent
         2201 N. Andrews Ave.                                         Unliquidated
         Ft Lauderdale, FL 33311-3922
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5374
                                                                   Is the claim subject to offset?     No       Yes

3.963
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS DAVISON IV                                            Contingent
         9510 SW 63rd Court                                           Unliquidated
         Pinecrest, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7255
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1461 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1469 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.963
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS E ALLISON                                             Contingent
         1401 61st Street S                                           Unliquidated
         St Petersburg, FL 33707-3246
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6896
                                                                   Is the claim subject to offset?     No       Yes

3.963
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THOMAS E CONE JR                                             Contingent
         150 Whitaker Road                                            Unliquidated
         Suite A
                                                                      Disputed
         Lutz, FL 33549-5789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0772                      Is the claim subject to offset?     No       Yes

3.963
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS E DOSS III                                            Contingent
         P.O. Box 196248                                              Unliquidated
         Winter Springs, FL 32719-6248
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7444
                                                                   Is the claim subject to offset?     No       Yes

3.963
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS E HUNT PA                                             Contingent
         1528 Northeast 16th Avenue                                   Unliquidated
         Ft Lauderdale, FL 33304-4849
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5903
                                                                   Is the claim subject to offset?     No       Yes

3.963
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS E MALONEY                                             Contingent
         3050 N. Horseshoe Drive                                      Unliquidated
         Suite 105
                                                                      Disputed
         Naples, FL 34104
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0818                      Is the claim subject to offset?     No       Yes

3.963
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         THOMAS E MOOREY                                              Contingent
         1430 Royal Palm Square Boulevard                             Unliquidated
         Suite 105
                                                                      Disputed
         Ft Myers, FL 33919-1071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6073                      Is the claim subject to offset?     No       Yes

3.963
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS E SCOTT                                               Contingent
         4120 Cedar Creek Road                                        Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4334
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1462 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1470 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.963
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS E SHIPP JR & ASSOCS PA                                Contingent
         4707 Southeast 9th Place                                     Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7998
                                                                   Is the claim subject to offset?     No       Yes

3.964
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS E STONE                                               Contingent
         P.O. Box 292                                                 Unliquidated
         Madison, FL 32340
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8056
                                                                   Is the claim subject to offset?     No       Yes

3.964
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS E STROUD                                              Contingent
         33 Southeast 4th Street Suite 102                            Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6413
                                                                   Is the claim subject to offset?     No       Yes

3.964
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         THOMAS E THOBURN                                             Contingent
         319 River Edge Boulevard                                     Unliquidated
         Suite 218
                                                                      Disputed
         Cocoa, FL 32922-7964
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4970                      Is the claim subject to offset?     No       Yes

3.964
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS E WHEELER JR                                          Contingent
         1940 Street Mary Avenue                                      Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8005
                                                                   Is the claim subject to offset?     No       Yes

3.964
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS F COX                                                 Contingent
         Cox & Sanchez                                                Unliquidated
         PO Box 40008
                                                                      Disputed
         St Petersburg, FL 33743
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8491                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1463 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1471 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.964
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS F DIORIO                                              Contingent
         1765 Via Contessa                                            Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7589
                                                                   Is the claim subject to offset?     No       Yes

3.964
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         THOMAS F KIESEL                                              Contingent
         P.O. Drawer 1000                                             Unliquidated
         Ft Myers, FL 33902-1000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4780
                                                                   Is the claim subject to offset?     No       Yes

3.964
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS F LUKEN                                               Contingent
         3081 E. Commercial Boulevard,                                Unliquidated
         Suite 200A
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5561                      Is the claim subject to offset?     No       Yes

3.964
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS F PANZA                                               Contingent
         3600 N. Federal Highway                                      Unliquidated
         Ft Lauderdale, FL 33308-6225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7961
                                                                   Is the claim subject to offset?     No       Yes

3.964
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS F RIZZO                                               Contingent
         1101 Periwinkle Way Suite 110                                Unliquidated
         Sanibel Island, FL 33957
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7463
                                                                   Is the claim subject to offset?     No       Yes

3.965
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS F SCHLOTZHAUER                                        Contingent
         15564 Southwest 113th Street                                 Unliquidated
         Miami, FL 33196
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4317
                                                                   Is the claim subject to offset?     No       Yes

3.965
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $907.54
         THOMAS F WOODS                                               Contingent
         3301 Thomasville Road Suite 300                              Unliquidated
         Tallahassee, FL 32312                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3810
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1464 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1472 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.965
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS G ALBERTS                                             Contingent
         300 Aragon Avenue Suite 250                                  Unliquidated
         Coral Gables, FL 33134-5040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0528
                                                                   Is the claim subject to offset?     No       Yes

3.965
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS G ECKERTY                                             Contingent
         12734 Kenwood Lane                                           Unliquidated
         Suite 89
                                                                      Disputed
         Ft Myers, FL 33907-5638
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7671                      Is the claim subject to offset?     No       Yes

3.965
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS G HOLLEY                                              Contingent
         P.O. Box 268                                                 Unliquidated
         Chipley, FL 32428-0268
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3829
                                                                   Is the claim subject to offset?     No       Yes

3.965
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS G KANE                                                Contingent
         174 W Comstock Avenue Suite 106                              Unliquidated
         Winter Park, FL 32789-4347
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6833
                                                                   Is the claim subject to offset?     No       Yes

3.965
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS G MORTON JR                                           Contingent
         6050 North 9th Avenue                                        Unliquidated
         Pensacola, FL 32504-8203
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 321
                                                                   Is the claim subject to offset?     No       Yes

3.965
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS G PYE PA                                              Contingent
         Crocker Plaza Suite 301                                      Unliquidated
         5355 Town Center Road
                                                                      Disputed
         Boca Raton, FL 33486-1068
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8303                      Is the claim subject to offset?     No       Yes

3.965
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         THOMAS G REED III PA                                         Contingent
         316 S Baylen Street Suite 220                                Unliquidated
         Pensacola, FL 32501-5908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7762
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1465 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1473 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.965
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS G SANDER                                              Contingent
         Hagan Building                                               Unliquidated
         17635 S Dixie Highway
                                                                      Disputed
         Miami, FL 33157
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9246                      Is the claim subject to offset?     No       Yes

3.966
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS G SHERMAN                                             Contingent
         218 Almeria Avenue                                           Unliquidated
         Coral Gables, FL 33134-5904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4879
                                                                   Is the claim subject to offset?     No       Yes

3.966
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,067.56
         THOMAS GROENDYKE                                             Contingent
         3082 Northwest 30th Way                                      Unliquidated
         Boca Raton, FL 33431                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0759
                                                                   Is the claim subject to offset?     No       Yes

3.966
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,739.10
         THOMAS H THURLOW JR                                          Contingent
         18 Banyan Road                                               Unliquidated
         Stuart, FL 34996                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0476
                                                                   Is the claim subject to offset?     No       Yes

3.966
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS H WAKEFIELD                                           Contingent
         104 Crandon Boulevard Suite 400                              Unliquidated
         Key Biscayne, FL 33149-1542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3842
                                                                   Is the claim subject to offset?     No       Yes

3.966
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,151.36
         THOMAS H WARLICK                                             Contingent
         316 E Pine Street                                            Unliquidated
         Orlando, FL 32801                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6820
                                                                   Is the claim subject to offset?     No       Yes

3.966
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $20.37
         THOMAS H WARLICK PA                                          Contingent
         316 E Pine Street                                            Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6820
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1466 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1474 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.966
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Thomas H. Tukdarian, P.A.                                    Contingent
         7575 Dr. Phillips Boulevard Suite 360                        Unliquidated
         Orlando, FL 32819
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8049
                                                                   Is the claim subject to offset?     No       Yes

3.966
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J BAIRD                                               Contingent
         11891 US Highway One Suite 100                               Unliquidated
         North Palm Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6505
                                                                   Is the claim subject to offset?     No       Yes

3.966
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS J DOWDELL III                                         Contingent
         P.O. Box 522736                                              Unliquidated
         Marathon Shores, FL 33052-2376
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3231
                                                                   Is the claim subject to offset?     No       Yes

3.966
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J HESS PA                                             Contingent
         3105 NW 107th Avenue                                         Unliquidated
         Suite 602-B
                                                                      Disputed
         Doral, FL 33172
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7517                      Is the claim subject to offset?     No       Yes

3.967
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J KORGE                                               Contingent
         230 Palermo Avenue                                           Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8411
                                                                   Is the claim subject to offset?     No       Yes

3.967
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J PALMIERI                                            Contingent
         340 Minorca Avenue                                           Unliquidated
         Suite 1
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3821                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1467 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1475 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.967
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS J PRICE                                               Contingent
         104 Jasmine Lane                                             Unliquidated
         Lagrange, GA 30241-8358
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6583
                                                                   Is the claim subject to offset?     No       Yes

3.967
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J SASSER                                              Contingent
         P.O. Box 2907                                                Unliquidated
         West Palm Beach, FL 33402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2364
                                                                   Is the claim subject to offset?     No       Yes

3.967
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J SHEA III                                            Contingent
         8401 Jr. Manor Drive                                         Unliquidated
         Suite 100
                                                                      Disputed
         Tampa, FL 33634
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4455                      Is the claim subject to offset?     No       Yes

3.967
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J SIRECI JR                                           Contingent
         402 Appelrouth Lane                                          Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4205
                                                                   Is the claim subject to offset?     No       Yes

3.967
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J SKOLA                                               Contingent
         501 Brickell Key Drive Suite 300                             Unliquidated
         Miami, FL 33131-2624
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7107
                                                                   Is the claim subject to offset?     No       Yes

3.967
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $493.13
         THOMAS J STOLTZNER                                           Contingent
         Biscayne Plaza                                               Unliquidated
         13616 S Tamiami Trail                                        Disputed
         North Port, FL 34287-2055
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8695                      Is the claim subject to offset?     No       Yes


3.967
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J TEDESCO JR                                          Contingent
         321 W. Davie Boulevard                                       Unliquidated
         Ft Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8281
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1468 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1476 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.967
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS J THOMAS                                              Contingent
         1155 US Highway 1 Suite 304                                  Unliquidated
         Juno Beach, FL 33408-1430
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4722
                                                                   Is the claim subject to offset?     No       Yes

3.968
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS J. DONNELLY                                           Contingent
         1172 Brownell St., Suite 1                                   Unliquidated
         Donnelly Prof. Center
                                                                      Disputed
         Clearwater, FL 34616-5711
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6976                      Is the claim subject to offset?     No       Yes

3.968
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS K BOARDMAN                                            Contingent
         P.O. Box 2197                                                Unliquidated
         Labelle, FL 33975-1027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7254
                                                                   Is the claim subject to offset?     No       Yes

3.968
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS K FARLEY                                              Contingent
         P.O. Box 7278                                                Unliquidated
         Port St Lucie, FL 34985
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2672
                                                                   Is the claim subject to offset?     No       Yes

3.968
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,905.45
         THOMAS L BROWN                                               Contingent
         18779 Southeast River Ridge Road                             Unliquidated
         Tequesta, FL 33469-8107                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6110
                                                                   Is the claim subject to offset?     No       Yes

3.968
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THOMAS L CAMPBELL                                            Contingent
         406 N 2nd Street                                             Unliquidated
         Ft Pierce, FL 34950-3002
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4956
                                                                   Is the claim subject to offset?     No       Yes

3.968
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS L DAVID                                               Contingent
         4800 S Lejeune Road                                          Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6907
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1469 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1477 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.968
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS L HARRIS                                              Contingent
         9500 S. Dadeland Boulevard                                   Unliquidated
         Suite 600
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0343                      Is the claim subject to offset?     No       Yes

3.968
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,544.07
         THOMAS L NEWMAN                                              Contingent
         One Royal Palm Pl Suite 304                                  Unliquidated
         1877 S Federal Highway                                       Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2516                      Is the claim subject to offset?     No       Yes


3.968
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS L ROLLE                                               Contingent
         P.O. Box 1164                                                Unliquidated
         W Palm Beach, FL 33402-1164
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8376
                                                                   Is the claim subject to offset?     No       Yes

3.968
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS L. BOLL                                               Contingent
         1401 S. Florida Avenue Suite 201                             Unliquidated
         Lakeland, FL 33803-2292
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3657
                                                                   Is the claim subject to offset?     No       Yes

3.969
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         THOMAS M BRADY                                               Contingent
         P.O. Box 12584                                               Unliquidated
         Pensacola, FL 32591-2584
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3421
                                                                   Is the claim subject to offset?     No       Yes

3.969
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,032.09
         THOMAS M CLARK PA                                            Contingent
         2400 E. Commercial Boulevard                                 Unliquidated
         Suite 820                                                    Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0706                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1470 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1478 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.969
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS M DACHELET PA                                         Contingent
         P.O. Box 2486                                                Unliquidated
         Ft Lauderdale, FL 33303-2486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7631
                                                                   Is the claim subject to offset?     No       Yes

3.969
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THOMAS M DRYDEN PL                                           Contingent
         1705 Colonial Boulevard                                      Unliquidated
         Suite B-3
                                                                      Disputed
         Ft Myers, FL 33907-1141
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8694                      Is the claim subject to offset?     No       Yes

3.969
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS M EGAN                                                Contingent
         2107 SE 3rd Avenue                                           Unliquidated
         Ocala, FL 34471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8621
                                                                   Is the claim subject to offset?     No       Yes

3.969
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS M FITZGIBBONS                                         Contingent
         2750 Ringling Boulevard Suite 4                              Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 146
                                                                   Is the claim subject to offset?     No       Yes

3.969
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS M O'BRIEN                                             Contingent
         P.O. Box 9061                                                Unliquidated
         Coral Springs, FL 33075
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5095
                                                                   Is the claim subject to offset?     No       Yes

3.969
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THOMAS M WICH                                                Contingent
         620 California Federal Twr                                   Unliquidated
         2400 E Commercial Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8322                      Is the claim subject to offset?     No       Yes

3.969
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Thomas N. Silverman, P.A.                                    Contingent
         3801 PGA Blvd.                                               Unliquidated
         Suite 902
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0978                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1471 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1479 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.969
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS O MICHAELS PA                                         Contingent
         1370 Pinehurst Road                                          Unliquidated
         Dunedin, FL 34698
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8597
                                                                   Is the claim subject to offset?     No       Yes

3.970
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Thomas O. Ingram, PL                                         Contingent
         2223 Oak Street                                              Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7746
                                                                   Is the claim subject to offset?     No       Yes

3.970
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS P BELL                                                Contingent
         3573 Street James Drive                                      Unliquidated
         Southport, NC 28461
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5786
                                                                   Is the claim subject to offset?     No       Yes

3.970
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS P CALLAN                                              Contingent
         P.O. Box 568887                                              Unliquidated
         Orlando, FL 32856
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4606
                                                                   Is the claim subject to offset?     No       Yes

3.970
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS P EVANS                                               Contingent
         C/O Fraley & Fraley                                          Unliquidated
         501 E Kennedy Boulevard Suite 1225
                                                                      Disputed
         Tampa, FL 33602
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0144                      Is the claim subject to offset?     No       Yes

3.970
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS P MCLENNON JD                                         Contingent
         1460 S McCall Road Suite 4f                                  Unliquidated
         Englewood, FL 34223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7794
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1472 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1480 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.970
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS P NICHOLS PA                                          Contingent
         800 Douglas Road Suite 201                                   Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4730
                                                                   Is the claim subject to offset?     No       Yes

3.970
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THOMAS P PAGE                                                Contingent
         390 N Orange Avenue Suite 1300                               Unliquidated
         Orlando, FL 32801-1641
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1814
                                                                   Is the claim subject to offset?     No       Yes

3.970
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,033.87
         THOMAS P. QUINN                                              Contingent
         2841 North Ocean Boulevard                                   Unliquidated
         Apt. 409                                                     Disputed
         Ft Lauderdale, FL 33308-7568
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3450                      Is the claim subject to offset?     No       Yes


3.970
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS R ALLEN PA                                            Contingent
         108 E Hillcrest Street                                       Unliquidated
         Orlando, FL 32801-1210
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9427
                                                                   Is the claim subject to offset?     No       Yes

3.970
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS R NELL                                                Contingent
         P.O. Box 182                                                 Unliquidated
         East Berlin, PA 17316-0182
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8745
                                                                   Is the claim subject to offset?     No       Yes

3.971
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         THOMAS R OLSEN PA                                            Contingent
         2518 Edgewater Drive Suite 1                                 Unliquidated
         Orlando, FL 32804-4406
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 789
                                                                   Is the claim subject to offset?     No       Yes

3.971
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         THOMAS R ROGERS                                              Contingent
         900 Fox Valley Drive                                         Unliquidated
         Sweetwater Square Suite 200
                                                                      Disputed
         Longwood, FL 32779-2552
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 419                       Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1473 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1481 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.971
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THOMAS R SHAHADY                                             Contingent
         100 Northeast 3 Avenue Suite 850                             Unliquidated
         Ft Lauderdale, FL 33301-1156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4592
                                                                   Is the claim subject to offset?     No       Yes

3.971
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         THOMAS R TATUM                                               Contingent
         P.O. Box 522                                                 Unliquidated
         Ft Lauderdale, FL 33302-2248
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 163
                                                                   Is the claim subject to offset?     No       Yes

3.971
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS R TEDCASTLE                                           Contingent
         208 House Office Building                                    Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6716
                                                                   Is the claim subject to offset?     No       Yes

3.971
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THOMAS R TJADEN                                              Contingent
         7165 Prosperity Circle                                       Unliquidated
         Sarasota, FL 34238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2591
                                                                   Is the claim subject to offset?     No       Yes

3.971
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS S MARTINO                                             Contingent
         1602 N Florida Avenue                                        Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4038
                                                                   Is the claim subject to offset?     No       Yes

3.971
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS S RECICAR PA                                          Contingent
         306 Live Oak Drive                                           Unliquidated
         Vero Beach, FL 32963
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7101
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1474 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1482 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.971
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS S RUTHERFORD                                          Contingent
         11016 N Dale Mabry Highway Suite 201                         Unliquidated
         Tampa, FL 33618-3871
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6739
                                                                   Is the claim subject to offset?     No       Yes

3.971
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THOMAS SALE JR                                               Contingent
         P.O. Box 426                                                 Unliquidated
         Panama City, FL 32402
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1495
                                                                   Is the claim subject to offset?     No       Yes

3.972
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS T COON JR                                             Contingent
         888 S. Andrews Avenue                                        Unliquidated
         Suite 204
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6625                      Is the claim subject to offset?     No       Yes

3.972
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         THOMAS T. GRIMMETT, P.A.                                     Contingent
         P.O. Box 14218                                               Unliquidated
         Ft Lauderdale, FL 33302-4218
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2538
                                                                   Is the claim subject to offset?     No       Yes

3.972
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS V CLOSE                                               Contingent
         12230 Forest Hill Boulevard Suite 122                        Unliquidated
         Wellington, FL 33414-5773
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8652
                                                                   Is the claim subject to offset?     No       Yes

3.972
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         THOMAS V SICILIANO PA                                        Contingent
         980 N. Federal Highway                                       Unliquidated
         Suite 440
                                                                      Disputed
         Boca Raton, FL 33432-2704
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6195                      Is the claim subject to offset?     No       Yes

3.972
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS W CONELY III                                          Contingent
         P.O. Drawer 1367                                             Unliquidated
         Okeechobee, FL 34973-1367
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6191
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1475 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1483 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.972
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS W DANAHER                                             Contingent
         401 E Jackson Street Suite 2400                              Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1231
                                                                   Is the claim subject to offset?     No       Yes

3.972
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS W GARRARD                                             Contingent
         306 E Olympia Avenue                                         Unliquidated
         Punta Gorda, FL 33950-3838
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4380
                                                                   Is the claim subject to offset?     No       Yes

3.972
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THOMAS W KENWORTHY                                           Contingent
         11833 Southwest 81st Road                                    Unliquidated
         Miami, FL 33156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5578
                                                                   Is the claim subject to offset?     No       Yes

3.972
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS W REZANKA                                             Contingent
         2672 W Lake Road                                             Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8432
                                                                   Is the claim subject to offset?     No       Yes

3.972
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMAS W RUGGLES                                             Contingent
         603 Indian Rocks Road                                        Unliquidated
         Belleair, FL 34616-2056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1313
                                                                   Is the claim subject to offset?     No       Yes

3.973
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         THOMPSON & BROOKS                                            Contingent
         6812 Sheldon Road                                            Unliquidated
         Tampa, FL 33615
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6810
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1476 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1484 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.973
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMPSON & FOOTE PA                                          Contingent
         2580 Southwest 50th Boulevard                                Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3941
                                                                   Is the claim subject to offset?     No       Yes

3.973
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMPSON & SHIRK PA                                          Contingent
         4089 Tamiami Trail N.                                        Unliquidated
         Suite A201
                                                                      Disputed
         Naples, FL 34103
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4697                      Is the claim subject to offset?     No       Yes

3.973
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         THOMPSON & THOMAS PA                                         Contingent
         1801 Indian Road                                             Unliquidated
         Suite 100
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1919                      Is the claim subject to offset?     No       Yes

3.973
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THOMPSON GOODIS THOMPSON                                     Contingent
         700 Central Avenue Suite 500                                 Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8584
                                                                   Is the claim subject to offset?     No       Yes

3.973
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Thomson Law Offices LLC                                      Contingent
         402 Flagler Avenue                                           Unliquidated
         New Smyrna Beach, FL 32169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0874
                                                                   Is the claim subject to offset?     No       Yes

3.973
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         THORN WHITTINGTON LLP                                        Contingent
         100 N Tampa Street Suite 1900                                Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5567
                                                                   Is the claim subject to offset?     No       Yes

3.973
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THORNTON & TORRENCE PA                                       Contingent
         6709 Ridge Road Suite 106                                    Unliquidated
         Port Richey, FL 34668
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3871
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1477 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1485 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.973
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THORNTON DAVID MURRAY RICHARD                                Contingent
         10471 Southwest 126 Street                                   Unliquidated
         Miami, FL 33176-4749
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4341
                                                                   Is the claim subject to offset?     No       Yes

3.973
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THORNTON LAW GROUP PA                                        Contingent
         Pmb 423                                                      Unliquidated
         13176 N Dale Mabry Highway
                                                                      Disputed
         Tampa, FL 33618-2406
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9698                      Is the claim subject to offset?     No       Yes

3.974
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         THORNTON O BEAZELL                                           Contingent
         P.O. Box 60091                                               Unliquidated
         Ft Myers, FL 33906-6091
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5863
                                                                   Is the claim subject to offset?     No       Yes

3.974
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         THURLOW THURLOW & GIACHINO PA                                Contingent
         P.O. Box 106                                                 Unliquidated
         Stuart, FL 34995-0106
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1145
                                                                   Is the claim subject to offset?     No       Yes

3.974
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TILDEN R SCHOFIELD PA                                        Contingent
         5103 Circle 132a                                             Unliquidated
         Wildwood, FL 34785
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6891
                                                                   Is the claim subject to offset?     No       Yes

3.974
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Tiller & Rivera Law, P.A.                                    Contingent
         301 Clematis Street Suite 3000                               Unliquidated
         West Palm Beach, FL 33401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7434
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1478 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1486 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.974
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIM A SHANE PA                                               Contingent
         4400 N Federal Highway Suite 307                             Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7197
                                                                   Is the claim subject to offset?     No       Yes

3.974
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TIM H WARREN                                                 Contingent
         Le Soulano-Fabian                                            Unliquidated
         Quartier Ticot 65170
                                                                      Disputed
         Orlando, FL 65170
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5520                      Is the claim subject to offset?     No       Yes

3.974
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIM MORAN                                                    Contingent
         300 S Hyde Park Avenue Suite 150                             Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5830
                                                                   Is the claim subject to offset?     No       Yes

3.974
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIM MORELL                                                   Contingent
         1933 Tom-A-Toe Road                                          Unliquidated
         Boynton Beach, FL 33426-9317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5887
                                                                   Is the claim subject to offset?     No       Yes

3.974
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TIMOTHY A BURLEIGH                                           Contingent
         P.O. Box 550                                                 Unliquidated
         Dover-Foxcroft, ME 04426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7121
                                                                   Is the claim subject to offset?     No       Yes

3.974
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY A FISCHER                                            Contingent
         P.O. Box 878                                                 Unliquidated
         Ocala, FL 34478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3619
                                                                   Is the claim subject to offset?     No       Yes

3.975
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY A WEAVER PA                                          Contingent
         8285 Navarre Parkway                                         Unliquidated
         Navarre, FL 32566
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9787
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1479 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1487 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.975
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY C CAMPBELL PA                                        Contingent
         228 E 4th Street                                             Unliquidated
         Panama City, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8375
                                                                   Is the claim subject to offset?     No       Yes

3.975
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY C FOSTER                                             Contingent
         P.O. Box 656                                                 Unliquidated
         Stuart, FL 33995-0656
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7801
                                                                   Is the claim subject to offset?     No       Yes

3.975
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY C LINCOLN                                            Contingent
         46 Northeast 6th Street                                      Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4923
                                                                   Is the claim subject to offset?     No       Yes

3.975
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TIMOTHY C SCHULER                                            Contingent
         DBA Schuler Law & Title Services                             Unliquidated
         8200 Seminole Boulevard
                                                                      Disputed
         Seminole, FL 33772
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8069                      Is the claim subject to offset?     No       Yes

3.975
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY D LUCERO                                             Contingent
         Law Office of Timothy D Lucero P.A.                          Unliquidated
         10693 Wiles Road Suite 159
                                                                      Disputed
         Coral Springs, FL 33067-2014
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4525                      Is the claim subject to offset?     No       Yes

3.975
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIMOTHY D PADGETT                                            Contingent
         d/b/a Padgett Law Group                                      Unliquidated
         6267 Old Water Oak Road, Suite 203
                                                                      Disputed
         Tallahassee, FL 32312
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2399                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1480 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1488 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.975
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TIMOTHY G GLASS PA                                           Contingent
         700 S. Rosemary Avenue                                       Unliquidated
         Suite 204
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2850                      Is the claim subject to offset?     No       Yes

3.975
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY G SANDER                                             Contingent
         One Datran Center Suite 1009                                 Unliquidated
         9100 S Dadeland Boulevard
                                                                      Disputed
         Miami, FL 33156-7866
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4903                      Is the claim subject to offset?     No       Yes

3.975
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY H WELLS                                              Contingent
         P.O. Box 155                                                 Unliquidated
         Bonifay, FL 32425-0155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0281
                                                                   Is the claim subject to offset?     No       Yes

3.976
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY HILLEY ATTORNEY AT LAW                               Contingent
         619 E Nelson Avenue Suite A                                  Unliquidated
         Defuniak Springs, FL 32433-1982
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0225
                                                                   Is the claim subject to offset?     No       Yes

3.976
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY J BARRIE                                             Contingent
         1447 Natalie Drive Apt 179                                   Unliquidated
         Ann Arbor, MI 48105-2926
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6533
                                                                   Is the claim subject to offset?     No       Yes

3.976
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY J COTTER                                             Contingent
         599 Tamiami Trail N Suite 313                                Unliquidated
         Naples, FL 34101-1252
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9018
                                                                   Is the claim subject to offset?     No       Yes

3.976
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY J LUBRANO                                            Contingent
         1011 Fairwinds Circle Apt 307                                Unliquidated
         Plant City, FL 33567-1046
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2076
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1481 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1489 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.976
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TIMOTHY J SLOAN PA                                           Contingent
         427 McKenzie Avenue                                          Unliquidated
         Panama City, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6133
                                                                   Is the claim subject to offset?     No       Yes

3.976
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIMOTHY J. HMIELEWSKI                                        Contingent
         One E. Broward Blvd. Suite 1503                              Unliquidated
         Ft. Lauderdale, FL 33301-1804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6393
                                                                   Is the claim subject to offset?     No       Yes

3.976
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIMOTHY J. PAYNE                                             Contingent
         P.O. Box 14723                                               Unliquidated
         Ft Lauderdale, FL 33302-4723
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7283
                                                                   Is the claim subject to offset?     No       Yes

3.976
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIMOTHY JONES                                                Contingent
         Lee County Attorney's Office                                 Unliquidated
         2115 2 Street Rm 620
                                                                      Disputed
         Ft Myers, FL 33901-3094
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5406                      Is the claim subject to offset?     No       Yes

3.976
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY K ANDERSON                                           Contingent
         480 Maplewood Drive                                          Unliquidated
         Suite 5
                                                                      Disputed
         Jupiter, FL 33458
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3542                      Is the claim subject to offset?     No       Yes

3.976
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY K DOUGLAS                                            Contingent
         P.O. Box 1560                                                Unliquidated
         Flagler Beach, FL 32136
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8016
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1482 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1490 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.977
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY K MAHON PA                                           Contingent
         2929 E Commercial Boulevard                                  Unliquidated
         Penthouse E
                                                                      Disputed
         Ft Lauderdale, FL 33308-4214
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4917                      Is the claim subject to offset?     No       Yes

3.977
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         TIMOTHY K MARIANI PA                                         Contingent
         1550 S Highland Avenue                                       Unliquidated
         Clearwater, FL 33756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 662
                                                                   Is the claim subject to offset?     No       Yes

3.977
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIMOTHY KEMPER                                               Contingent
         3820 Crawford Avenue                                         Unliquidated
         Miami, FL 33143-5523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5281
                                                                   Is the claim subject to offset?     No       Yes

3.977
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TIMOTHY L BAILEY                                             Contingent
         2335 E Atlantic Boulevard Suite 301                          Unliquidated
         Pompano Beach, FL 33062-5244
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6987
                                                                   Is the claim subject to offset?     No       Yes

3.977
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY M HORSTING                                           Contingent
         11555 Heron Bay Boulevard Suite 200                          Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0734
                                                                   Is the claim subject to offset?     No       Yes

3.977
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY P HOBAN                                              Contingent
         Timothy P. Hoban P.A.                                        Unliquidated
         2752 Dora Avenue
                                                                      Disputed
         Tavares, FL 32778-4977
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0714                      Is the claim subject to offset?     No       Yes

3.977
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY P KELLY                                              Contingent
         1016 Lasalle Street                                          Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2631
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1483 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1491 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.977
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY PATRICK DRISCOLL PA                                  Contingent
         310 Belleair Drive Northeast                                 Unliquidated
         St Petersburg, FL 33704-2437
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6245
                                                                   Is the claim subject to offset?     No       Yes

3.977
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY W COX                                                Contingent
         324 Datura Street Suite 200                                  Unliquidated
         West Palm Beach, FL 33401-5415
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0647
                                                                   Is the claim subject to offset?     No       Yes

3.977
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY W GENSMER                                            Contingent
         2831 Ringling Boulevard Suite 202-A                          Unliquidated
         Sarasota, FL 34237
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8991
                                                                   Is the claim subject to offset?     No       Yes

3.978
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TIMOTHY W ROGERS                                             Contingent
         1628 San Marco Boulevard Suite 8                             Unliquidated
         Jacksonville, FL 32207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5389
                                                                   Is the claim subject to offset?     No       Yes

3.978
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TINA M TURNER                                                Contingent
         P.O. Box 250742                                              Unliquidated
         Holly Hill, FL 32125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9127
                                                                   Is the claim subject to offset?     No       Yes

3.978
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Title & Abstract Agency of America, Inc.                     Contingent
         4902 Eisenhower Boulevard                                    Unliquidated
         Suite 295
                                                                      Disputed
         Tampa, FL 33634
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7299                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1484 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1492 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.978
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Title Answers, a Law Firm, P.L.L.C.                          Contingent
         7260 SW 39 Terrace                                           Unliquidated
         Suite B
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8129                      Is the claim subject to offset?     No       Yes

3.978
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Title Guaranty Agency, Inc.                                  Contingent
         2248 First Street                                            Unliquidated
         Ft Myers, FL 33901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9971
                                                                   Is the claim subject to offset?     No       Yes

3.978
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Titlemark, L.L.C.                                            Contingent
         1000 W. Kennedy Boulevard                                    Unliquidated
         Suite 200
                                                                      Disputed
         Tampa, FL 33606
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6490                      Is the claim subject to offset?     No       Yes

3.978
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TITO S SMITH                                                 Contingent
         P.O. Box 1354                                                Unliquidated
         Palatka, FL 32178
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4063
                                                                   Is the claim subject to offset?     No       Yes

3.978
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         TITTLE & KAIRALLA PA                                         Contingent
         360 Columbia Drive                                           Unliquidated
         Suite 100
                                                                      Disputed
         West Palm Beach, FL 33409
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7122                      Is the claim subject to offset?     No       Yes

3.978
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,675.52
         TITTLE & TITTLE PA                                           Contingent
         828 Palmetto Terrace                                         Unliquidated
         Oviedo, FL 32765-9464                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1297
                                                                   Is the claim subject to offset?     No       Yes

3.978
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Tobin & Reyes, P.A.                                          Contingent
         225 NE Mizner Boulevard                                      Unliquidated
         Suite 510
                                                                      Disputed
         Boca Raton, FL 33432
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8450                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1485 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1493 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.979
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TOBY A TURBYFILL                                             Contingent
         8084 W McNab Road Suite 440                                  Unliquidated
         N Lauderdale, FL 33068-4255
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3624
                                                                   Is the claim subject to offset?     No       Yes

3.979
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TOD ANDREW WESTON PA                                         Contingent
         51 E. Commercial Boulevard                                   Unliquidated
         Ft Lauderdale, FL 33334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6255
                                                                   Is the claim subject to offset?     No       Yes

3.979
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Todd Brown and Brown Law Firm, P.A.                          Contingent
         1451 W. Cypress Creek Road                                   Unliquidated
         Suite 300
                                                                      Disputed
         Ft. Lauderdale, FL 33309
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0999                      Is the claim subject to offset?     No       Yes

3.979
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TODD M SAUNDERS                                              Contingent
         555 Northeast 34th Street Suite 1610                         Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8038
                                                                   Is the claim subject to offset?     No       Yes

3.979
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TODD S ROTH PA                                               Contingent
         11824 Northwest 69th Pl                                      Unliquidated
         Parkland, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7751
                                                                   Is the claim subject to offset?     No       Yes

3.979
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TODD SCHWARTZ                                                Contingent
         8695 College Parkway Suite 2564                              Unliquidated
         Ft Myers, FL 33919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8528
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1486 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1494 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.979
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Tolson & Associates, P.A.                                    Contingent
         462 Kingsley Avenue                                          Unliquidated
         Suite 101
                                                                      Disputed
         Orange Park, FL 32073
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9430                      Is the claim subject to offset?     No       Yes

3.979
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TOM BENHAM                                                   Contingent
         380 Interstate N Parkway Suite 108                           Unliquidated
         Atlanta, GA 30339-2205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8530
                                                                   Is the claim subject to offset?     No       Yes

3.979
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TOM GROGAN                                                   Contingent
         850 Central Avenue Suite 205                                 Unliquidated
         Naples, FL 34102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5958
                                                                   Is the claim subject to offset?     No       Yes

3.979
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TOM H BILLIRIS                                               Contingent
         P.O. Box 2006                                                Unliquidated
         Palm Harbor, FL 34682-2006
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3406
                                                                   Is the claim subject to offset?     No       Yes

3.980
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TOM K DOUGHERTY                                              Contingent
         735 Almond Street Suite A                                    Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5039
                                                                   Is the claim subject to offset?     No       Yes

3.980
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         TOM R MOORE                                                  Contingent
         P.O. Box 13442                                               Unliquidated
         Tallahassee, FL 32317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3935
                                                                   Is the claim subject to offset?     No       Yes

3.980
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tonelli Law PLLC                                             Contingent
         1238 E. Concord Street                                       Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0826
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1487 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1495 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.980
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TONI A HORNE                                                 Contingent
         5425 Park Central Court                                      Unliquidated
         Naples, FL 34109
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2231
                                                                   Is the claim subject to offset?     No       Yes

3.980
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TONY SIMPSON PA                                              Contingent
         P.O. Box 287                                                 Unliquidated
         Shalimar, FL 32579
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7089
                                                                   Is the claim subject to offset?     No       Yes

3.980
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TORRENS LAW FIRM LLC                                         Contingent
         8045 NW 155th Street                                         Unliquidated
         Miami Lakes, FL 33016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3062
                                                                   Is the claim subject to offset?     No       Yes

3.980
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TORRES & VADILLO LLP                                         Contingent
         11402 NW 41st Street                                         Unliquidated
         Suite 202
                                                                      Disputed
         Miami, FL 33178
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5633                      Is the claim subject to offset?     No       Yes

3.980
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TORRES BENET PA                                              Contingent
         16622 Ashton Green Drive                                     Unliquidated
         Lutz, FL 33558
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.980
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TOWNSEND & BRANNON                                           Contingent
         608 W. Horatio Street                                        Unliquidated
         Tampa, FL 33606-4104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7452
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1488 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1496 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.980
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TOWNSEND & TOWNSEND                                          Contingent
         P.O. Box 420847                                              Unliquidated
         Kissimmee, FL 34742-0847
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4138
                                                                   Is the claim subject to offset?     No       Yes

3.981
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACEY SKINNER BROWN                                         Contingent
         2199 Ponce De Leon Boulevard Suite 301                       Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9830
                                                                   Is the claim subject to offset?     No       Yes

3.981
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TRACI C STEEN                                                Contingent
         6896 15th Avenue N                                           Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4436
                                                                   Is the claim subject to offset?     No       Yes

3.981
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACI KRATISH PA                                             Contingent
         141 Northwest 117th Terrace                                  Unliquidated
         Plantation, FL 33325
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2875
                                                                   Is the claim subject to offset?     No       Yes

3.981
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACY HAUCK                                                  Contingent
         1499 S Harbor City Boulevard Suite 202                       Unliquidated
         Melbourne, FL 32901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3933
                                                                   Is the claim subject to offset?     No       Yes

3.981
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACY J ROSENHOLTZ PA                                        Contingent
         1515 N. University Drive                                     Unliquidated
         Suite 118
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7703                      Is the claim subject to offset?     No       Yes

3.981
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACY J THOMAS                                               Contingent
         317 Elmira Boulevard Northeast                               Unliquidated
         Port Charlotte, FL 33952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5198
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1489 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1497 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.981
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACY L KRAMER                                               Contingent
         80 Southwest 8th Street Suite 3300                           Unliquidated
         Miami, FL 33130-3013
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5883
                                                                   Is the claim subject to offset?     No       Yes

3.981
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRACY LAW FIRM PA                                            Contingent
         1511 Prosperity Farms Road Suite 300                         Unliquidated
         Lake Park, FL 33403
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4088
                                                                   Is the claim subject to offset?     No       Yes

3.981
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Tragos, Sartes & Tragos, PLLC                                Contingent
         601 Cleveland Street                                         Unliquidated
         Suite 800
                                                                      Disputed
         Clearwater, FL 33755
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0794                      Is the claim subject to offset?     No       Yes

3.981
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Transactional Law Firm of Florida, P.L.L                     Contingent
         14900 Southwest 30th Suite 277704                            Unliquidated
         Miramar, FL 33027
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9336
                                                                   Is the claim subject to offset?     No       Yes

3.982
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Trayber Raikhelson Law Group, PLLC                           Contingent
         2750 NE 185th Street                                         Unliquidated
         Suite 206
                                                                      Disputed
         Aventura, FL 33180
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1453                      Is the claim subject to offset?     No       Yes

3.982
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         TREISER & COLLINS PL                                         Contingent
         3080 Tamiami Trail E.                                        Unliquidated
         Naples, FL 34112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5004
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1490 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1498 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.982
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,100.00
         TRENAM KEMKER SCHARF BARKIN                                  Contingent
         P.O. Box 1102                                                Unliquidated
         Tampa, FL 33601-1102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7583
                                                                   Is the claim subject to offset?     No       Yes

3.982
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         TREVOR V LAMB                                                Contingent
         P.O. Box 290399                                              Unliquidated
         Port Orange, FL 32129-0399
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4359
                                                                   Is the claim subject to offset?     No       Yes

3.982
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRICIA ANN BLAIR PA                                          Contingent
         18350 Northwest 2nd Avenue Suite 500                         Unliquidated
         Miami, FL 33169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9069
                                                                   Is the claim subject to offset?     No       Yes

3.982
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,711.63
         TRICKEL & LEIGH PA                                           Contingent
         1031 W Morse Boulevard Suite 350                             Unliquidated
         Winter Park, FL 32789                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 265
                                                                   Is the claim subject to offset?     No       Yes

3.982
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,718.88
         TRINKLE REDMAN SWANSON COTON                                 Contingent
         121 N. Collins Street                                        Unliquidated
         Plant City, FL 33563-3311                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1359
                                                                   Is the claim subject to offset?     No       Yes

3.982
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,345.67
         TRIPP SCOTT PA                                               Contingent
         P.O. Box 14245                                               Unliquidated
         Ft Lauderdale, FL 33302-4245                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5730
                                                                   Is the claim subject to offset?     No       Yes

3.982
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Tritt & Associates, P.A.                                     Contingent
         707 Peninsular Place                                         Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8771
                                                                   Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1491 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1499 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.982
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRIVEDI & ASSOCIATES                                         Contingent
         733 W Colonial Drive                                         Unliquidated
         Orlando, FL 32804
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1774
                                                                   Is the claim subject to offset?     No       Yes

3.983
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,890.63
         TROIANO & ROBERTS PA                                         Contingent
         317 S. Tennessee Avenue                                      Unliquidated
         Lakeland, FL 33801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1336
                                                                   Is the claim subject to offset?     No       Yes

3.983
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         True Freedom Title, LLC                                      Contingent
         7900 Oak Lane                                                Unliquidated
         Suite 400-4118
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1454                      Is the claim subject to offset?     No       Yes

3.983
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRUEBLOOD LAW GROUP                                          Contingent
         P.O. Box 1270                                                Unliquidated
         Moore Haven, FL 33471
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2667
                                                                   Is the claim subject to offset?     No       Yes

3.983
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TRUJILLO & ASSOCIATES PA                                     Contingent
         6800 Southwest 40th Street Suite 198                         Unliquidated
         Miami, FL 33155
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2546
                                                                   Is the claim subject to offset?     No       Yes

3.983
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $653.89
         TUCKER & ASSOCIATES PA                                       Contingent
         P.O. Box 3274                                                Unliquidated
         Ocala, FL 32678-3274                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8256
                                                                   Is the claim subject to offset?     No       Yes

3.983
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TUCKER & PRETSCHNER PA                                       Contingent
         P.O. Box 356                                                 Unliquidated
         Sarasota, FL 34236-0356
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2991
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1492 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1500 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.983
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         TUCKER & TIGHE PA                                            Contingent
         800 E. Broward Boulevard                                     Unliquidated
         Suite 710
                                                                      Disputed
         Ft Lauderdale, FL 33301-2034
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6644                      Is the claim subject to offset?     No       Yes

3.983
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TUKDARIAN & UNCAPHER PA                                      Contingent
         P.O. Box 949                                                 Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0201
                                                                   Is the claim subject to offset?     No       Yes

3.983
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TULA MICHELE HAFF                                            Contingent
         135 N. 6th Street                                            Unliquidated
         2nd Floor
                                                                      Disputed
         Haines City, FL 33844-4247
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7179                      Is the claim subject to offset?     No       Yes

3.983
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         TURCO LEGAL                                                  Contingent
         4440 PGA Boulevard Suite 600                                 Unliquidated
         Palm Beach Gardens, FL 33410-6542
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5603
                                                                   Is the claim subject to offset?     No       Yes

3.984
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         TURNER & LYNN PA                                             Contingent
         Ocean Reef                                                   Unliquidated
         7 Barracuda Lane
                                                                      Disputed
         Key Largo, FL 33037
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8461                      Is the claim subject to offset?     No       Yes

3.984
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Twig, Turf, & Trusts, LLC                                    Contingent
         1512 E. Broward Boulevard                                    Unliquidated
         Suite 204A
                                                                      Disputed
         Ft. Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0633                      Is the claim subject to offset?     No       Yes

3.984
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,288.17
         TWOROGER PROFESSIONAL                                        Contingent
         9860 Riverview Drive                                         Unliquidated
         Micco, FL 32976-3121                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5781
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1493 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1501 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.984
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         TYLER A GOLD PA                                              Contingent
         1250 S Pine Island Road S-450                                Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0346
                                                                   Is the claim subject to offset?     No       Yes

3.984
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Tyler S. Van Vorhees Law, L.L.C.                             Contingent
         300 E Highway 50                                             Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7927
                                                                   Is the claim subject to offset?     No       Yes

3.984
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ULIANO & RYS PA                                              Contingent
         505 E Jackson Street Suite 201-A                             Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6476
                                                                   Is the claim subject to offset?     No       Yes

3.984
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         UNGER LOCKWOOD & LEHRMAN PA                                  Contingent
         1801 N Pine Island Road Suite 101                            Unliquidated
         Plantation, FL 33322
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7114
                                                                   Is the claim subject to offset?     No       Yes

3.984
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Universal Title Company                                      Contingent
         1200 Brickell Avenue Suite 1230                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5195
                                                                   Is the claim subject to offset?     No       Yes

3.984
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,565.53
         UPCHURCH BAILEY & UPCHURCH                                   Contingent
         P.O. Drawer 3007                                             Unliquidated
         St Augustine, FL 32085-3007                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2013
                                                                   Is the claim subject to offset?     No       Yes

3.984
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         URBAN J.W. PATTERSON                                         Contingent
         341 3rd Street South                                         Unliquidated
         St. Petersburg, FL 33701-4228
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4481
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1494 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1502 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.985
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         URBAN THIER FEDERER & JACKSON                                Contingent
         200 S Orange Avenue Suite 2025                               Unliquidated
         Orlando, FL 32801-3410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1946
                                                                   Is the claim subject to offset?     No       Yes

3.985
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         USA Law Group                                                Contingent
         111 NE 1st Street                                            Unliquidated
         9th Floor
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9632                      Is the claim subject to offset?     No       Yes

3.985
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         UTA S GROVE                                                  Contingent
         Uta S. Grove P.A.                                            Unliquidated
         2451 Mcmullen Booth Road Suite 231
                                                                      Disputed
         Clearwater, FL 33759
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2697                      Is the claim subject to offset?     No       Yes

3.985
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Uta S. Grove                                                 Contingent
         Grove & Cintron P.A.                                         Unliquidated
         2600 E. Bay Drive, Suite 220
                                                                      Disputed
         Largo, FL 33771
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7405                      Is the claim subject to offset?     No       Yes

3.985
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Uzquiano Law Group, P.A.                                     Contingent
         8660 W. Flagler Street                                       Unliquidated
         Suite 121
                                                                      Disputed
         Miami, FL 33144
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0741                      Is the claim subject to offset?     No       Yes

3.985
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         V ALFRED ETHERIDGE JR                                        Contingent
         841 Tanbark Drive Apt 103                                    Unliquidated
         Naples, FL 33963-8578
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7508
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1495 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1503 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.985
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,560.30
         V J VOORHEIS PA                                              Contingent
         1995 E Oakland Park Boulevard Suite 105                      Unliquidated
         Ft Lauderdale, FL 33306                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5351
                                                                   Is the claim subject to offset?     No       Yes

3.985
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         V PATTON KEE                                                 Contingent
         P.O. Box 716                                                 Unliquidated
         Auburndale, FL 33823-0716
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3894
                                                                   Is the claim subject to offset?     No       Yes

3.985
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VAL L OSINSKI                                                Contingent
         9600 W Sample Road Suite 304                                 Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4647
                                                                   Is the claim subject to offset?     No       Yes

3.985
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         VAL R PATARINI                                               Contingent
         P.O. Box 608                                                 Unliquidated
         Wauchula, FL 33873-0608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3003
                                                                   Is the claim subject to offset?     No       Yes

3.986
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Valdes Law, P.A.                                             Contingent
         3191 Coral Way                                               Unliquidated
         Suite 623
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9681                      Is the claim subject to offset?     No       Yes

3.986
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         VALDES-FAULI BISCHOFF KRISS &                                Contingent
         2 S Biscayne Boulevard Suite 3400                            Unliquidated
         Miami, FL 33131-1803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5588
                                                                   Is the claim subject to offset?     No       Yes

3.986
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Valencia & Torres Law, PLLC                                  Contingent
         7715 NW 48th Street                                          Unliquidated
         Suite 390
                                                                      Disputed
         Doral, FL 33166
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0832                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1496 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1504 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.986
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VALENCIA RICHARDS HAYES                                      Contingent
         923 S Del Prado Boulevard Suite 207                          Unliquidated
         Cape Coral, FL 33990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6394
                                                                   Is the claim subject to offset?     No       Yes

3.986
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.58
         VALENTINE GABALDON                                           Contingent
         328 4th Street                                               Unliquidated
         West Palm Beach, FL 33401-4206                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3910
                                                                   Is the claim subject to offset?     No       Yes

3.986
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VALERIA ARIAS PA                                             Contingent
         8356 Bird Road                                               Unliquidated
         Suite H
                                                                      Disputed
         Miami, FL 33155
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8074                      Is the claim subject to offset?     No       Yes

3.986
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VALERIE J DAVIS PA                                           Contingent
         P.O. Box 2487                                                Unliquidated
         Sarasota, FL 34230-2487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 166
                                                                   Is the claim subject to offset?     No       Yes

3.986
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VALERIE LINNEN                                               Contingent
         P.O. Box 330339                                              Unliquidated
         Atlantic Beach, FL 32233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6282
                                                                   Is the claim subject to offset?     No       Yes

3.986
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VALVANO & COOPER LLC                                         Contingent
         1 Kalisa Way Suite 101                                       Unliquidated
         Paramus, NJ 07652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8942
                                                                   Is the claim subject to offset?     No       Yes

3.986
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VAN HOUTEN PONDER & HAHL PA                                  Contingent
         P.O. Box 2325                                                Unliquidated
         Daytona Beach, FL 32115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9182
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1497 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1505 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.987
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VAN NESS LAW FIRM PA                                         Contingent
         1239 E. Newport Center Drive                                 Unliquidated
         Suite 110
                                                                      Disputed
         Deerfield Beach, FL 33442
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9196                      Is the claim subject to offset?     No       Yes

3.987
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Van Ness Law Group                                           Contingent
         46 N Washington Boulevard Suite 9                            Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6622
                                                                   Is the claim subject to offset?     No       Yes

3.987
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VAN WINKLE & SAMS PA                                         Contingent
         3859 Bee Ridge Road                                          Unliquidated
         Suite 202
                                                                      Disputed
         Sarasota, FL 34233
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1817                      Is the claim subject to offset?     No       Yes

3.987
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VANCE & MILLER                                               Contingent
         400 Julia Street Suite B                                     Unliquidated
         Titusville, FL 32796-3523
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8442
                                                                   Is the claim subject to offset?     No       Yes

3.987
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Vanessa M. Bertran, P.A.                                     Contingent
         55 Alhambra Plaza                                            Unliquidated
         8th Floor
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7357                      Is the claim subject to offset?     No       Yes

3.987
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Varajao Law, P.A.                                            Contingent
         111 2nd Avenue NE                                            Unliquidated
         Suite 900
                                                                      Disputed
         St Petersburg, FL 33701
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0281                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1498 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1506 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.987
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VARGAS & ZION PA                                             Contingent
         8201 Peters Road Suite 4000                                  Unliquidated
         Ft Lauderdale, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4277
                                                                   Is the claim subject to offset?     No       Yes

3.987
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Vasallo Sloane, PL                                           Contingent
         301 E Pine Street Suite 250                                  Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7222
                                                                   Is the claim subject to offset?     No       Yes

3.987
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Vassallo Bilotta Friedman & Davis                            Contingent
         1401 Forum Way                                               Unliquidated
         Suite 501
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6919                      Is the claim subject to offset?     No       Yes

3.987
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VASTOLA & ASSOCIATES                                         Contingent
         789 S Federal Highway Suite 310                              Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1717
                                                                   Is the claim subject to offset?     No       Yes

3.988
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         VEGA BROWN & STANLEY PA                                      Contingent
         2345 Stanford Court Suite 603                                Unliquidated
         Naples, FL 34112
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2243
                                                                   Is the claim subject to offset?     No       Yes

3.988
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VELAZQUEZ & ASSOCIATES PA                                    Contingent
         900 W 49th Street Suite 430                                  Unliquidated
         Hialeah, FL 33012
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8870
                                                                   Is the claim subject to offset?     No       Yes

3.988
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VELLON LAW FIRM PL                                           Contingent
         1706 E Semoran Boulevard Suite 102                           Unliquidated
         Apopka, FL 32703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5373
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1499 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1507 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.988
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VENKATA SUDHEER PATURI                                       Contingent
         1850 North Alafaya Trail                                     Unliquidated
         Unit 1A/1
                                                                      Disputed
         Orlando, FL 32826
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9522                      Is the claim subject to offset?     No       Yes

3.988
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Vera + Skiscim PL                                            Contingent
         P. O. Box 1074                                               Unliquidated
         Winter Park, FL 32790
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0856
                                                                   Is the claim subject to offset?     No       Yes

3.988
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VERA S SKUHERSKY                                             Contingent
         205 W Enid Drive                                             Unliquidated
         Key Biscayne, FL 33149-2004
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8170
                                                                   Is the claim subject to offset?     No       Yes

3.988
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Veritas Title, Inc.                                          Contingent
         4055 Central Avenue                                          Unliquidated
         St. Petersburg, FL 33713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2849
                                                                   Is the claim subject to offset?     No       Yes

3.988
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         VERNA POPO PA                                                Contingent
         1110 Brickell Avenue                                         Unliquidated
         Suite 430
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2809                      Is the claim subject to offset?     No       Yes

3.988
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VERNIS & BOWLING OF MIAMI PA                                 Contingent
         1680 Northeast 135th Street                                  Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7234
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1500 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1508 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.988
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VERNIS & BOWLING OF NORTH FL                                 Contingent
         4309 Salisbury Road                                          Unliquidated
         Jacksonville, FL 32216
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4827
                                                                   Is the claim subject to offset?     No       Yes

3.989
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VERONICA ANDERSON                                            Contingent
         805 Kirkman Road Suite 204                                   Unliquidated
         Orlando, FL 32811
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7028
                                                                   Is the claim subject to offset?     No       Yes

3.989
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VERONICA E DONNELLY                                          Contingent
         Office of The Attorney General                               Unliquidated
         400 S Monroe Street Suite Pl-01
                                                                      Disputed
         Tallahassee, FL 32399-6536
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6123                      Is the claim subject to offset?     No       Yes

3.989
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VICKI J JUNOD                                                Contingent
         1100 S Federal Highway                                       Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6054
                                                                   Is the claim subject to offset?     No       Yes

3.989
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VICTOR A DIAZ                                                Contingent
         2600 Maitland Center Parkway Suite 330                       Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2343
                                                                   Is the claim subject to offset?     No       Yes

3.989
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VICTOR A MARTINEZ                                            Contingent
         201 E Kennedy Boulevard Suite 950                            Unliquidated
         Tampa, FL 33602-5826
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9880
                                                                   Is the claim subject to offset?     No       Yes

3.989
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         VICTOR H DE YURRE                                            Contingent
         230 SW 62nd Avenue                                           Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7727
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1501 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1509 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.989
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VICTOR HUGO RAMS & ASSOCIATES                                Contingent
         5840 W Flagler Street                                        Unliquidated
         Miami, FL 33144
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7237
                                                                   Is the claim subject to offset?     No       Yes

3.989
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         VICTOR L STOSIK                                              Contingent
         703 Waterford Way Suite 800                                  Unliquidated
         Miami, FL 33126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6763
                                                                   Is the claim subject to offset?     No       Yes

3.989
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VICTOR P DEBIANCHI JR                                        Contingent
         1720 Harrison Street                                         Unliquidated
         Suite 6Ce
                                                                      Disputed
         Hollywood, FL 33020
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7563                      Is the claim subject to offset?     No       Yes

3.989
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VICTOR RONES PA                                              Contingent
         16105 NE 18th Avenue                                         Unliquidated
         North Miami Beach, FL 33162
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2670
                                                                   Is the claim subject to offset?     No       Yes

3.990
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VICTORIA P BEHM                                              Contingent
         405 Second Street S Suite C                                  Unliquidated
         Safety Harbor, FL 34695
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5089
                                                                   Is the claim subject to offset?     No       Yes

3.990
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Viera Yague, P.L.L.C.                                        Contingent
         10723 SW 104th Street                                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0350
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1502 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1510 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.990
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         VILA PADRON & DIAZ PA                                        Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 702
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1014                      Is the claim subject to offset?     No       Yes

3.990
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VILLAMANAN & BABINSKY PA                                     Contingent
         160 S Hibiscus Drive                                         Unliquidated
         Miami Beach, FL 33139
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7230
                                                                   Is the claim subject to offset?     No       Yes

3.990
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Villanueva & Bajandas, L.L.P.                                Contingent
         1000 Brickell Avenue Suite 200                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9148
                                                                   Is the claim subject to offset?     No       Yes

3.990
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT A O'BRIEN                                            Contingent
         8903 Regents Park Drive Suite 110                            Unliquidated
         Tampa, FL 33647
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5029
                                                                   Is the claim subject to offset?     No       Yes

3.990
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT A SICA PA                                            Contingent
         804 W Imogene Street                                         Unliquidated
         Arcadia, FL 34266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0399
                                                                   Is the claim subject to offset?     No       Yes

3.990
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Vincent B. Flor, P.A.                                        Contingent
         201 Alhambra Circle                                          Unliquidated
         Suite 503
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0068                      Is the claim subject to offset?     No       Yes

3.990
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT J OWOC                                               Contingent
         4801 S. University Drive                                     Unliquidated
         Suite 203
                                                                      Disputed
         Davie, FL 33328-3835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5849                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1503 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1511 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.990
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT J PIAZZA PA                                          Contingent
         Suite 104 Congress Center                                    Unliquidated
         1325 S Congress Avenue
                                                                      Disputed
         Boynton Beach, FL 33426
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7508                      Is the claim subject to offset?     No       Yes

3.991
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT J PROFACI                                            Contingent
         932 Centre Circle Suite 1000                                 Unliquidated
         Altamonte Springs, FL 32714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4250
                                                                   Is the claim subject to offset?     No       Yes

3.991
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VINCENT JAMES ZENGA                                          Contingent
         3380 Fairlane Farms Road Suite 12                            Unliquidated
         Wellington, FL 33414-8764
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6183
                                                                   Is the claim subject to offset?     No       Yes

3.991
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT M CAPEZZERA                                          Contingent
         1527 Drury Court                                             Unliquidated
         St Augustine, FL 32092-1084
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2646
                                                                   Is the claim subject to offset?     No       Yes

3.991
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT M MANGINO                                            Contingent
         1980 N Atlantic Avenue Suite 402                             Unliquidated
         Cocoa Beach, FL 32931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7920
                                                                   Is the claim subject to offset?     No       Yes

3.991
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $178.21
         VINCENT MEADE, JR.                                           Contingent
         2117 Hollywood Blvd. Suite 333                               Unliquidated
         Hollywood, FL 33020-6737                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3508
                                                                   Is the claim subject to offset?     No       Yes

3.991
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VINCENT P ANDREANO                                           Contingent
         11413 Northwest 20th Court                                   Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4163
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1504 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1512 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.991
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VINCENT SAMMARCO                                             Contingent
         P.O. Box 841026                                              Unliquidated
         Pembroke Pines, FL 33084-0326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8317
                                                                   Is the claim subject to offset?     No       Yes

3.991
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VIRGINIA B PUDER                                             Contingent
         Park Plaza                                                   Unliquidated
         75 Main Street
                                                                      Disputed
         Millburn, NJ 07041-4107
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5582                      Is the claim subject to offset?     No       Yes

3.991
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Virginia Lee Perez                                           Contingent
         1600 Ponce De Leon Boulevard                                 Unliquidated
         Suite 1018
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0646                      Is the claim subject to offset?     No       Yes

3.991
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VIRGINIA M STULLENBERG                                       Contingent
         Virginia M. Stullenberg P.A.                                 Unliquidated
         848 Brickell Key Drive Suite 803
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6735                      Is the claim subject to offset?     No       Yes

3.992
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Vito M. Roppo, P.A.                                          Contingent
         5633 Strand Boulevard Suite 310                              Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9046
                                                                   Is the claim subject to offset?     No       Yes

3.992
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VIVIAN C RODRIGUEZ                                           Contingent
         330 Southwest 27th Avenue Suite 603                          Unliquidated
         Miami, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5150
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1505 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1513 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.992
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VIVIAN D LAGER                                               Contingent
         2500 Airport Road S Suite 311                                Unliquidated
         Naples, FL 34112-4882
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2353
                                                                   Is the claim subject to offset?     No       Yes

3.992
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         VIVIAN DE JESUS                                              Contingent
         P.O. Box 193240                                              Unliquidated
         San Juan, PR 00919-3240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6903
                                                                   Is the claim subject to offset?     No       Yes

3.992
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VIVIAN J URBIETA                                             Contingent
         148 Rosales Court                                            Unliquidated
         Coral Gables, FL 33143
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3807
                                                                   Is the claim subject to offset?     No       Yes

3.992
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $32.69
         VIVIAN MORAN                                                 Contingent
         15 Alcantarra Avenue                                         Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7647
                                                                   Is the claim subject to offset?     No       Yes

3.992
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         VIVIAN R RIVEIRO PA                                          Contingent
         7950 NW 155th Street                                         Unliquidated
         Suite 104
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8372                      Is the claim subject to offset?     No       Yes

3.992
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VOGLER ASHTON PLLC                                           Contingent
         1771 Manatee Avenue W                                        Unliquidated
         Bradenton, FL 34205-5924
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8755
                                                                   Is the claim subject to offset?     No       Yes

3.992
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         Voight, P.A.                                                 Contingent
         7680 Universal Boulevard                                     Unliquidated
         Suite 565
                                                                      Disputed
         Orlando, FL 32819
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7929                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1506 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1514 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.992
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         VOLK LAW OFFICES PA                                          Contingent
         Volk Law Offices P.A.                                        Unliquidated
         1901 S. Harbor City Boulevard, Suite 700
                                                                      Disputed
         Melbourne, FL 32901
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7375                      Is the claim subject to offset?     No       Yes

3.993
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Vollrath Law, P.A.                                           Contingent
         1757 W. Broadway                                             Unliquidated
         Suite 3
                                                                      Disputed
         Oviedo, FL 32765
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9005                      Is the claim subject to offset?     No       Yes

3.993
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         VOSE LAW FIRM LLC                                            Contingent
         324 W Morse Boulevard                                        Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5430
                                                                   Is the claim subject to offset?     No       Yes

3.993
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         W BRADLEY MUNROE PA                                          Contingent
         239 E. Virginia Street                                       Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5118
                                                                   Is the claim subject to offset?     No       Yes

3.993
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W CRAIG EAKIN                                                Contingent
         2900 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3917
                                                                   Is the claim subject to offset?     No       Yes

3.993
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W CRIT SMITH                                                 Contingent
         3520 Thomasville Road Floor 4                                Unliquidated
         Tallahassee, FL 32308-3478
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7635
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1507 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1515 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.993
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W CROSBY FEW                                                 Contingent
         501 E Kennedy Boulevard Suite 1401                           Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4093
                                                                   Is the claim subject to offset?     No       Yes

3.993
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W DANIEL KEARNEY                                             Contingent
         1335 US Highway 301 Suite D                                  Unliquidated
         Palmetto, FL 34221-4183
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3987
                                                                   Is the claim subject to offset?     No       Yes

3.993
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W DENIS SHELLEY                                              Contingent
         313 S Palmetto Avenue                                        Unliquidated
         Daytona Beach, FL 32114-4919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8457
                                                                   Is the claim subject to offset?     No       Yes

3.993
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W E BISHOP JR                                                Contingent
         7743 Southwest Highway 200                                   Unliquidated
         Ocala, FL 34476
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4381
                                                                   Is the claim subject to offset?     No       Yes

3.993
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W E RODDENBERRY                                              Contingent
         1937 Quay Dock Road                                          Unliquidated
         Vero Beach, FL 32967-5959
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4143
                                                                   Is the claim subject to offset?     No       Yes

3.994
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W E WINDERWEEDLE JR                                          Contingent
         5546 Lake Howell Road                                        Unliquidated
         Winter Park, FL 32792
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 207
                                                                   Is the claim subject to offset?     No       Yes

3.994
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W EMORY DAUGHERTY                                            Contingent
         567 Sea Pine Lane                                            Unliquidated
         Deerfield Beach, FL 33442-1304
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7751
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1508 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1516 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.994
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W FLEMMING WARD                                              Contingent
         P.O. Box 412                                                 Unliquidated
         Defuniak Springs, FL 32433-0412
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4838
                                                                   Is the claim subject to offset?     No       Yes

3.994
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         W GEORGE ALLEN                                               Contingent
         800 Southeast 3rd Avenue Penthouse                           Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3220
                                                                   Is the claim subject to offset?     No       Yes

3.994
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W GRADY HUIE                                                 Contingent
         143 Miami Avenue E                                           Unliquidated
         Venice, FL 34285-2407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6992
                                                                   Is the claim subject to offset?     No       Yes

3.994
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W GRAY DUNLAP                                                Contingent
         6866 28th Street S                                           Unliquidated
         St Petersburg, FL 33712-5506
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3053
                                                                   Is the claim subject to offset?     No       Yes

3.994
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,268.47
         W J VAUGHN                                                   Contingent
         P.O. Box 370                                                 Unliquidated
         Melbourne, FL 32902-0370                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2247
                                                                   Is the claim subject to offset?     No       Yes

3.994
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         W JAMES GOODING III                                          Contingent
         1531 SE 36th Avenue                                          Unliquidated
         Ocala, FL 34471-4936
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0617
                                                                   Is the claim subject to offset?     No       Yes

3.994
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         W JUSTIN COTTRELL PA                                         Contingent
         5147 Castello Drive                                          Unliquidated
         Naples, FL 34103-8929
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6675
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1509 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1517 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.994
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W KEVIN RUSSELL PA                                           Contingent
         14295 S. Tamiami Trail                                       Unliquidated
         North Port, FL 34287
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4269
                                                                   Is the claim subject to offset?     No       Yes

3.995
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W KIRK BROWN                                                 Contingent
         P.O. Box 38006                                               Unliquidated
         Tallahassee, FL 32315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6251
                                                                   Is the claim subject to offset?     No       Yes

3.995
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W LAWRENCE LARCHE                                            Contingent
         120 E Palmetto Park Road Suite 150                           Unliquidated
         Boca Raton, FL 33432-4835
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5142
                                                                   Is the claim subject to offset?     No       Yes

3.995
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W LEE BAYNARD JR                                             Contingent
         925 42nd Avenue N                                            Unliquidated
         St Petersburg, FL 33703-4531
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4127
                                                                   Is the claim subject to offset?     No       Yes

3.995
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W LEE KING JR                                                Contingent
         210 Orange Avenue                                            Unliquidated
         Ft Pierce, FL 34950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9811
                                                                   Is the claim subject to offset?     No       Yes

3.995
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W MANLY PA                                                   Contingent
         10 Southwest South River Drive Suite 171                     Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4523
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1510 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1518 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.995
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W MICHAEL BRINKLEY JR                                        Contingent
         Suite 1500                                                   Unliquidated
         350 E Las Olas Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0807                      Is the claim subject to offset?     No       Yes

3.995
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W MORGAN SPEER                                               Contingent
         8461 Lake Worth Road Suite 238                               Unliquidated
         Lake Worth, FL 33467
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4502
                                                                   Is the claim subject to offset?     No       Yes

3.995
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W PAUL BAUMGART                                              Contingent
         6941 Northwest 6th Court                                     Unliquidated
         Plantation, FL 33317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8574
                                                                   Is the claim subject to offset?     No       Yes

3.995
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W RICHARD THOREEN                                            Contingent
         620 N Wymore Road Suite 210                                  Unliquidated
         Maitland, FL 32751
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6900
                                                                   Is the claim subject to offset?     No       Yes

3.995
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W RODGERS MOORE                                              Contingent
         1900 Glades Road Suite 401                                   Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2442
                                                                   Is the claim subject to offset?     No       Yes

3.996
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W ROY WILKES                                                 Contingent
         202 Dal Hall Boulevard                                       Unliquidated
         Lake Placid, FL 33852-6598
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4058
                                                                   Is the claim subject to offset?     No       Yes

3.996
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,619.29
         W RUSSELL SNYDER PA                                          Contingent
         351 W Venice Avenue                                          Unliquidated
         Venice, FL 34285-2004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5149
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1511 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1519 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.996
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W SCOTT EUBANKS JR                                           Contingent
         P.O. Box 500                                                 Unliquidated
         Wellborn, FL 32094
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3546
                                                                   Is the claim subject to offset?     No       Yes

3.996
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W SCOTT WYNN                                                 Contingent
         P.O. Box 447                                                 Unliquidated
         Groveland, FL 34736-0447
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8307
                                                                   Is the claim subject to offset?     No       Yes

3.996
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W TAYLOR MOORE                                               Contingent
         P.O. Box 507                                                 Unliquidated
         Tallahassee, FL 32302-0507
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6278
                                                                   Is the claim subject to offset?     No       Yes

3.996
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W THOMAS COPELAND PA                                         Contingent
         208 S Range Street                                           Unliquidated
         Madison, FL 32340-2438
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6462
                                                                   Is the claim subject to offset?     No       Yes

3.996
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W THOMAS LOVETT                                              Contingent
         W Thomas Lovett P.A.                                         Unliquidated
         801 N Magnolia Avenue Suite 301
                                                                      Disputed
         Orlando, FL 32803
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3872                      Is the claim subject to offset?     No       Yes

3.996
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         W THOMAS WACKEEN                                             Contingent
         P.O. Box 66                                                  Unliquidated
         Stuart, FL 34995-0066
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6775
                                                                   Is the claim subject to offset?     No       Yes

3.996
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W TODD NEAL                                                  Contingent
         P.O. Box 12591                                               Unliquidated
         Lake Park, FL 33403-0591
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7143
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1512 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1520 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.996
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         W W HAMPTON                                                  Contingent
         P O Box 355                                                  Unliquidated
         Gainesville, FL 32602-0355
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 595
                                                                   Is the claim subject to offset?     No       Yes

3.997
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W WADE WALLACE                                               Contingent
         10221 W Emerald Coast Parkway Suite 26                       Unliquidated
         Destin, FL 32550
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2329
                                                                   Is the claim subject to offset?     No       Yes

3.997
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         W WESLEY MARSTON                                             Contingent
         P.O. Box 1070                                                Unliquidated
         Gainesville, FL 32602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8214
                                                                   Is the claim subject to offset?     No       Yes

3.997
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W WM ELLSWORTH JR                                            Contingent
         P.O. Box 7667                                                Unliquidated
         Lakeland, FL 33807-7667
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3270
                                                                   Is the claim subject to offset?     No       Yes

3.997
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W. L. KIRK, JR.                                              Contingent
         P.O. Box 1873                                                Unliquidated
         Orlando, FL 32802-1873
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4010
                                                                   Is the claim subject to offset?     No       Yes

3.997
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $35.00
         W. M. CHANFRAU                                               Contingent
         P.O. Box 3156                                                Unliquidated
         Daytona Beach, FL 32118-0156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5577
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1513 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1521 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.997
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         W. RONALD CHAFFIN                                            Contingent
         3021 Emathla St.                                             Unliquidated
         Miami, FL 33133-3224
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5782
                                                                   Is the claim subject to offset?     No       Yes

3.997
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $145.10
         W. VAN SHARMAN                                               Contingent
         2117 B Lakewood Club Dr.South                                Unliquidated
         St Petersburg, FL 33712                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4465
                                                                   Is the claim subject to offset?     No       Yes

3.997
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Waddell & Waddell, P.A.                                      Contingent
         1108-A N. 12th Avenue                                        Unliquidated
         Pensacola, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9639
                                                                   Is the claim subject to offset?     No       Yes

3.997
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WADE B COYE                                                  Contingent
         730 Vassar Street                                            Unliquidated
         Orlando, FL 32804-4921
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7797
                                                                   Is the claim subject to offset?     No       Yes

3.997
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WADE C PETERSON                                              Contingent
         Wade C. Peterson P.A.                                        Unliquidated
         211 N Krome Avenue
                                                                      Disputed
         Homestead, FL 33030
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8657                      Is the claim subject to offset?     No       Yes

3.998
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WADE F JOHNSON JR                                            Contingent
         4255 Tidewater Drive                                         Unliquidated
         Orlando, FL 32812-7949
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9351
                                                                   Is the claim subject to offset?     No       Yes

3.998
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WADIE A ZACCA                                                Contingent
         8900 Southwest 107th Avenue Suite 205                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8888
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1514 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1522 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.998
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WADSWORTH HUOTT LLP                                          Contingent
         One Flagler Building                                         Unliquidated
         14 NE 1st Avenue, 10th Floor
                                                                      Disputed
         Miami, FL 33132
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2306                      Is the claim subject to offset?     No       Yes

3.998
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WAGGONER & BRUEHL PA                                         Contingent
         5400 Pine Island Road                                        Unliquidated
         Suite D
                                                                      Disputed
         Bokeelia, FL 33922-3254
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 232                       Is the claim subject to offset?     No       Yes

3.998
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WALDENSE D MALOUF                                            Contingent
         700 Delaware Avenue                                          Unliquidated
         Palm Harbor, FL 34683
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4474
                                                                   Is the claim subject to offset?     No       Yes

3.998
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALKER & ASSOCIATES ATTORNEYS                                Contingent
         1053 Maitlnd Center Cmns Boulevard Suite                     Unliquidated
         Maitland, FL 32751-7431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7929
                                                                   Is the claim subject to offset?     No       Yes

3.998
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Walker Law Firm, P.A.                                        Contingent
         500 S. Australian Avenue                                     Unliquidated
         Suite 600
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6923                      Is the claim subject to offset?     No       Yes

3.998
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WALLACE & MELLINGER PA                                       Contingent
         225 Northeast Mizner Boulevard Suite 300                     Unliquidated
         Boca Raton, FL 33432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8564
                                                                   Is the claim subject to offset?     No       Yes

3.998
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WALLACE C VON ARX III                                        Contingent
         P.O. Box 1567                                                Unliquidated
         Ft Myers, FL 33902-1567
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7675
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1515 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1523 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.998
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WALLACE L LEWIS JR                                           Contingent
         Miami Center Suite 32000                                     Unliquidated
         201 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131-2399
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7707                      Is the claim subject to offset?     No       Yes

3.999
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wallace Law, P.A.                                            Contingent
         4440 PGA Boulevard                                           Unliquidated
         Suite 600
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8479                      Is the claim subject to offset?     No       Yes

3.999
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WALLACE N. MAER                                              Contingent
         419 S.W. 29th Road                                           Unliquidated
         Miami, FL 33129-2622
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 882
                                                                   Is the claim subject to offset?     No       Yes

3.999
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,501.28
         WALLACE W KENNEDY                                            Contingent
         P.O. Box 2300                                                Unliquidated
         Vail, CO 81658                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7702
                                                                   Is the claim subject to offset?     No       Yes

3.999
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $400.00
         WALLER & SCHARBER PA                                         Contingent
         P.O. Box 1668                                                Unliquidated
         Dade City, FL 33526-1668
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5740
                                                                   Is the claim subject to offset?     No       Yes

3.999
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         WALLER AND MITCHELL                                          Contingent
         5332 Main Street                                             Unliquidated
         New Port Richey, FL 34652
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5812
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1516 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1524 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.999
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Walsh Banks, P.L.L.C.                                        Contingent
         P.O. Box 2271                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8756
                                                                   Is the claim subject to offset?     No       Yes

3.999
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WALSH THEISSEN & BOYD PA                                     Contingent
         C/O Heinrich Gordon Et Al                                    Unliquidated
         Suite 1000 - 500 E Broward Boulevard
                                                                      Disputed
         Ft Lauderdale, FL 33394
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3732                      Is the claim subject to offset?     No       Yes

3.999
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALTER A ANON                                                Contingent
         7975 NW 155th Street                                         Unliquidated
         Suite A
                                                                      Disputed
         Miami Lakes, FL 33016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6861                      Is the claim subject to offset?     No       Yes

3.999
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WALTER BUTCKA                                                Contingent
         P.O. Box 8001                                                Unliquidated
         Sanford, FL 32772-8001
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6101
                                                                   Is the claim subject to offset?     No       Yes

3.999
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WALTER E NOTTEBAUM                                           Contingent
         6990 Southwest 56th Street                                   Unliquidated
         Miami, FL 33155-5629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4450
                                                                   Is the claim subject to offset?     No       Yes

3.100
00       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALTER E STEVENS                                             Contingent
         13605 S Dixie Highway Suite 136-414                          Unliquidated
         Miami, FL 33176-7252
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8205
                                                                   Is the claim subject to offset?     No       Yes

3.100
01       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALTER G WOODS                                               Contingent
         Walter G. Woods Chartered                                    Unliquidated
         32 Castle Hill Way
                                                                      Disputed
         Stuart, FL 34996
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1543                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1517 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1525 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
02       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $243.36
         WALTER J FOLEY                                               Contingent
         P.O. Box 16606                                               Unliquidated
         Ft Lauderdale, FL 33318                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 733
                                                                   Is the claim subject to offset?     No       Yes

3.100
03       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WALTER L SCHAFER JR                                          Contingent
         P.O. Box 1040                                                Unliquidated
         Dunedin, FL 34697-1040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6567
                                                                   Is the claim subject to offset?     No       Yes

3.100
04       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALTER LESLIE ELLIS                                          Contingent
         4405 Southwest 72nd Drive                                    Unliquidated
         Palm City, FL 32990
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5239
                                                                   Is the claim subject to offset?     No       Yes

3.100
05       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WALTER O BAZEMORE                                            Contingent
         408 W Herring Street                                         Unliquidated
         Plant City, FL 33566-3120
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3684
                                                                   Is the claim subject to offset?     No       Yes

3.100
06       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALTER P CAREY                                               Contingent
         1217 Cape Coral Parkway E                                    Unliquidated
         Cape Coral, FL 33904-9604
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0120
                                                                   Is the claim subject to offset?     No       Yes

3.100
07       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $31,653.14
         WALTER R BLAKE                                               Contingent
         Walter R. Blake P.A.                                         Unliquidated
         1881 University Drive Suite 100                              Disputed
         Coral Springs, FL 33071-6095
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4427                      Is the claim subject to offset?     No       Yes


3.100
08       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $85.00
         WALTER S MCLIN III                                           Contingent
         PO BOX 491357                                                Unliquidated
         LEESBURG, FL 34749
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8356
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1518 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1526 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
09       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         WALTER T ROSE JR PA                                          Contingent
         P.O. Box 321255                                              Unliquidated
         Cocoa Beach, FL 32931
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3182
                                                                   Is the claim subject to offset?     No       Yes

3.100
10       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WALTER W SYLVESTER                                           Contingent
         P.O. Box 7075                                                Unliquidated
         Boca Raton, FL 33431-0075
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3754
                                                                   Is the claim subject to offset?     No       Yes

3.100
11       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WALTERS COSTANZO RUSSELL ZYNE                                Contingent
         12515 N Kendall Drive Suite 324                              Unliquidated
         Miami, FL 33186
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 871
                                                                   Is the claim subject to offset?     No       Yes

3.100
12       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WALTERS LEVINE KLINGSMITH                                    Contingent
         1800 Second Street Suite 808                                 Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2828
                                                                   Is the claim subject to offset?     No       Yes

3.100
13       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WALTON H MCMICHAEL                                           Contingent
         P.O. Box 1543                                                Unliquidated
         Tampa, FL 33601-1543
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8535
                                                                   Is the claim subject to offset?     No       Yes

3.100
14       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WALTON LANTAFF SCHROEDER &                                   Contingent
         9350 S Dixie Highway                                         Unliquidated
         10th Floor
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5175                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1519 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1527 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
15       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WAMPLER BUCHANAN & BREEN PA                                  Contingent
         1 Southeast 3rd Avenue Suite 1700                            Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4075
                                                                   Is the claim subject to offset?     No       Yes

3.100
16       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WANDA I RUFIN PA                                             Contingent
         1529 Southwest 1st Street                                    Unliquidated
         Miami, FL 33135
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6620
                                                                   Is the claim subject to offset?     No       Yes

3.100
17       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WANDA PISTELLA                                               Contingent
         7515 Abbey Glen                                              Unliquidated
         Lakewood Ranch, FL 34202-2423
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8579
                                                                   Is the claim subject to offset?     No       Yes

3.100
18       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         WARCHOL MERCHANT & ROLLINGS                                  Contingent
         P.O. Box 100767                                              Unliquidated
         Cape Coral, FL 33910
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7742
                                                                   Is the claim subject to offset?     No       Yes

3.100
19       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WARD & KETCHERSID PA                                         Contingent
         1241 Airport Road                                            Unliquidated
         Suite H
                                                                      Disputed
         Destin, FL 32541
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7037                      Is the claim subject to offset?     No       Yes

3.100
20       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WARD DAMON POSNER PHETERSON                                  Contingent
         4420 Beacon Circle                                           Unliquidated
         Suite 100
                                                                      Disputed
         West Palm Beach, FL 33407-3270
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3598                      Is the claim subject to offset?     No       Yes

3.100
21       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Ward Law Firm, PL                                            Contingent
         1201 Chichester Street                                       Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7212
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1520 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1528 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
22       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WARD ROVELL & VAN EEPOEL PA                                  Contingent
         P.O. Box 71                                                  Unliquidated
         Tampa, FL 33601-0071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7648
                                                                   Is the claim subject to offset?     No       Yes

3.100
23       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WARDEN LAW FIRM                                              Contingent
         Office of The General Counsel                                Unliquidated
         3900 Commonwealth Boulevard Suite M535
                                                                      Disputed
         Tallahassee, FL 32399
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6054                      Is the claim subject to offset?     No       Yes

3.100
24       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WARDKIM LLLP                                                 Contingent
         One Financial Plaza Suite 2600                               Unliquidated
         Ft Lauderdale, FL 33396
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2316
                                                                   Is the claim subject to offset?     No       Yes

3.100
25       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WARFEL GOLDBERG WALDOCH &                                    Contingent
         2015 Centre Point Boulevard Suite 105                        Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5143
                                                                   Is the claim subject to offset?     No       Yes

3.100
26       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Warman Law Office, P.A.                                      Contingent
         1995 E. Oakland Park Boulevard                               Unliquidated
         Suite 315
                                                                      Disputed
         Ft. Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0677                      Is the claim subject to offset?     No       Yes

3.100
27       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WARNER S OLDS                                                Contingent
         6000 N Ocean Boulevard Apt 9h                                Unliquidated
         Ft Lauderdale, FL 33308-2302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5947
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1521 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1529 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
28       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Warren Bilchik, P.A.                                         Contingent
         255 Alhambra Circle                                          Unliquidated
         Suite 414
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7400                      Is the claim subject to offset?     No       Yes

3.100
29       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WARREN E WILLIAMS                                            Contingent
         P.O. Box 3444                                                Unliquidated
         Orlando, FL 32802-3444
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6239
                                                                   Is the claim subject to offset?     No       Yes

3.100
30       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WARREN J KOZLOW                                              Contingent
         Warren J. Kozlow P.A.                                        Unliquidated
         5850 Coral Ridge Drive Suite 201
                                                                      Disputed
         Coral Springs, FL 33076
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6191                      Is the claim subject to offset?     No       Yes

3.100
31       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,812.61
         WARREN M CASON                                               Contingent
         P.O. Box 1288                                                Unliquidated
         Tampa, FL 33601-1288                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2017
                                                                   Is the claim subject to offset?     No       Yes

3.100
32       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WARREN P GAMMILL                                             Contingent
         44 W Flagler Street Suite 1050                               Unliquidated
         Miami, FL 33130
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5867
                                                                   Is the claim subject to offset?     No       Yes

3.100
33       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WARREN R TRAZENFELD                                          Contingent
         3225 Aviation Avenue Suite 600                               Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7608
                                                                   Is the claim subject to offset?     No       Yes

3.100
34       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,722.13
         WARREN ROSMARIN                                              Contingent
         2850 Van Ness Street Northwest Apt 330                       Unliquidated
         Washington, DC 20008                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6808
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1522 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1530 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
35       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WARWICK R FURR II PA                                         Contingent
         22 E Main Street                                             Unliquidated
         Avon Park, FL 33825
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4098
                                                                   Is the claim subject to offset?     No       Yes

3.100
36       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WASSERMAN & THOMAS PA                                        Contingent
         12550 Biscayne Boulevard Suite 403                           Unliquidated
         Miami, FL 33181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1533
                                                                   Is the claim subject to offset?     No       Yes

3.100
37       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Waters & Associates, P.A.                                    Contingent
         117 S Gadsden Street                                         Unliquidated
         Tallahassee, FL 32301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6843
                                                                   Is the claim subject to offset?     No       Yes

3.100
38       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Waterstone Title, LLC                                        Contingent
         7050 W. Palmetto Park Road                                   Unliquidated
         #15-249
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1068                      Is the claim subject to offset?     No       Yes

3.100
39       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WATSON & ASSOCIATES PA                                       Contingent
         DBA Law Office Of John A. Watson                             Unliquidated
         2501 E Commercial Boulevard, Suite 208
                                                                      Disputed
         Ft. Lauderdale, FL 33308-1066
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4124                      Is the claim subject to offset?     No       Yes

3.100
40       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WATSON & OSBORNE PA                                          Contingent
         208 Ponte Vedra Park Drive Suite 101                         Unliquidated
         Ponte Vedra Beach, FL 32082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5924
                                                                   Is the claim subject to offset?     No       Yes

3.100
41       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WATSON & WATSON PA                                           Contingent
         P.O. Box 358686                                              Unliquidated
         Gainesville, FL 32635-8686
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8583
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1523 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1531 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
42       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Watson Sewell, P.L.                                          Contingent
         5410 E. County Highway 30-A                                  Unliquidated
         Suite 201
                                                                      Disputed
         Seagrove Beach, FL 32459
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9543                      Is the claim subject to offset?     No       Yes

3.100
43       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WATSON SOILEAU DELEO &                                       Contingent
         P.O. Box 236007                                              Unliquidated
         Cocoa, FL 32923
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7628
                                                                   Is the claim subject to offset?     No       Yes

3.100
44       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WATSON TITLE INSURANCE AGENCY                                Contingent
         Reo Department                                               Unliquidated
         1999 N University Drive Suite 300
                                                                      Disputed
         Coral Springs, FL 33071
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6475                      Is the claim subject to offset?     No       Yes

3.100
45       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WATTERSON & ZAPPOLO PA                                       Contingent
         4100 Rca Boulevard Suite 100                                 Unliquidated
         Palm Beach Gardens, FL 33410
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7895
                                                                   Is the claim subject to offset?     No       Yes

3.100
46       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Waugh Law, P.A.                                              Contingent
         201 E. Pine Street                                           Unliquidated
         Suite 315
                                                                      Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0160                      Is the claim subject to offset?     No       Yes

3.100
47       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WAYNE B BLOCK                                                Contingent
         1826 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3880
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1524 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1532 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
48       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WAYNE C NELSON                                               Contingent
         37242 Geiger Road                                            Unliquidated
         Zephyrhills, FL 33541-1860
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2862
                                                                   Is the claim subject to offset?     No       Yes

3.100
49       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WAYNE J BOYER                                                Contingent
         1968 Bayshore Boulevard                                      Unliquidated
         Dunedin, FL 34698-2500
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5643
                                                                   Is the claim subject to offset?     No       Yes

3.100
50       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WAYNE L ALLEN                                                Contingent
         700 N Wickham Road Suite 107                                 Unliquidated
         Melbourne, FL 32935
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7925
                                                                   Is the claim subject to offset?     No       Yes

3.100
51       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WAYNE LARUE SMITH                                            Contingent
         The Smith Law Firm                                           Unliquidated
         509 Whitehead Street
                                                                      Disputed
         Key West, FL 33040
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4577                      Is the claim subject to offset?     No       Yes

3.100
52       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WAYNE M RICHARDS                                             Contingent
         Law Office of Wayne M Richards P.A.                          Unliquidated
         P.O. Box 8125
                                                                      Disputed
         West Palm Beach, FL 33407
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3604                      Is the claim subject to offset?     No       Yes

3.100
53       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WAYNE P CASTELLO                                             Contingent
         2772 Northwest 43rd Street Suite W                           Unliquidated
         Gainesville, FL 32606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7764
                                                                   Is the claim subject to offset?     No       Yes

3.100
54       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WAYNE P DEAN JR                                              Contingent
         P.O. Box 57                                                  Unliquidated
         Ocoee, FL 34761
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6598
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1525 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1533 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
55       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,081.89
         WAYNE R COULTER                                              Contingent
         5438 Spring Hill Drive                                       Unliquidated
         Spring Hill, FL 34606-4559                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7506
                                                                   Is the claim subject to offset?     No       Yes

3.100
56       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WAYNE R KRUER                                                Contingent
         600 Whitehead Street Suite 301                               Unliquidated
         Key West, FL 33040
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5832
                                                                   Is the claim subject to offset?     No       Yes

3.100
57       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WAYNE R MALANEY                                              Contingent
         2846-A Remington Green Lane                                  Unliquidated
         Tallahassee, FL 32308-3757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7889
                                                                   Is the claim subject to offset?     No       Yes

3.100
58       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WAYNE S TIMMERMAN                                            Contingent
         101 S Franklin Street Suite 101                              Unliquidated
         Tampa, FL 33602-5350
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2723
                                                                   Is the claim subject to offset?     No       Yes

3.100
59       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WEAVER & MCCLENDON                                           Contingent
         P.O. Box 466                                                 Unliquidated
         Lake Wales, FL 33859-0466
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6006
                                                                   Is the claim subject to offset?     No       Yes

3.100
60       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WEAVER MCCLENDON & PENROD LLP                                Contingent
         P.O. Box 466                                                 Unliquidated
         Lake Wales, FL 33859-0466
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6006
                                                                   Is the claim subject to offset?     No       Yes

3.100
61       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,072.13
         WEAVER WEAVER & PETRIE PA                                    Contingent
         P.O. Box 14663                                               Unliquidated
         Ft Lauderdale, FL 33302-4663                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5864
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1526 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1534 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
62       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         WEBB & O'QUINN                                               Contingent
         C/O Robert O'Quinn                                           Unliquidated
         1805 Copeland Street
                                                                      Disputed
         Jacksonville, FL 32204
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2686                      Is the claim subject to offset?     No       Yes

3.100
63       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,341.98
         WEBBER HINDEN MCLEAN &                                       Contingent
         4430 SW 64th Avenue                                          Unliquidated
         Davie, FL 33314                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1764
                                                                   Is the claim subject to offset?     No       Yes

3.100
64       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Weber Crabb & Wein, P.A.                                     Contingent
         5453 Central Avenue                                          Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8790
                                                                   Is the claim subject to offset?     No       Yes

3.100
65       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,863.58
         WECK & STONE PA                                              Contingent
         3600 Galt Ocean Drive Apt 16a                                Unliquidated
         Ft Lauderdale, FL 33308-7607                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3292
                                                                   Is the claim subject to offset?     No       Yes

3.100
66       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         WECK AND WECK                                                Contingent
         3600 Galt Ocean Drive Apt 16a                                Unliquidated
         Ft Lauderdale, FL 33308-7607
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1490
                                                                   Is the claim subject to offset?     No       Yes

3.100
67       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wedderburn & Jacobs, P.A.                                    Contingent
         6100 Hollywood Boulevard                                     Unliquidated
         Suite 201
                                                                      Disputed
         Hollywood, FL 33024
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8398                      Is the claim subject to offset?     No       Yes

3.100
68       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wedge Associates, L.L.C.                                     Contingent
         12180 S. Shore Boulevard                                     Unliquidated
         Suite 101-A
                                                                      Disputed
         Wellington, FL 33414
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8148                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1527 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1535 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
69       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WEIFFENBACH & KAKLIS                                         Contingent
         538 12th Street W                                            Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4480
                                                                   Is the claim subject to offset?     No       Yes

3.100
70       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $323.75
         WEIL GOTSHAL & MANGES LLP                                    Contingent
         1395 Brickell Avenue Suite 1200                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8282
                                                                   Is the claim subject to offset?     No       Yes

3.100
71       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Weinberg Wheeler Hudgins Gunn & Dial, L.                     Contingent
         3350 Virginia Street                                         Unliquidated
         Suite 500
                                                                      Disputed
         Miami, FL 33133
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9616                      Is the claim subject to offset?     No       Yes

3.100
72       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WEINER & CUMMINGS                                            Contingent
         1428 Brickell Avenue 4th Floor                               Unliquidated
         Miami, FL 33131-3409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5971
                                                                   Is the claim subject to offset?     No       Yes

3.100
73       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WEINER & LYNNE PA                                            Contingent
         10 Southeast 1st Avenue Suite C                              Unliquidated
         Delray Beach, FL 33444
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8443
                                                                   Is the claim subject to offset?     No       Yes

3.100
74       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WEINSTEIN & SCHARF                                           Contingent
         1999 University Drive                                        Unliquidated
         Suite 402
                                                                      Disputed
         Coral Springs, FL 33071-6069
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 564                       Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1528 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1536 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
75       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WEINSTEIN ZIMMERMAN & HANDIN                                 Contingent
         3111 University Drive Suite 605                              Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 483
                                                                   Is the claim subject to offset?     No       Yes

3.100
76       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WEIR LEE KING JR (SEE BR #3)                                 Contingent
         Allo Plaza South                                             Unliquidated
         10884 S Federal Highway
                                                                      Disputed
         Port St Lucie, FL 34952
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9811                      Is the claim subject to offset?     No       Yes

3.100
77       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WEISBERG & ASSOCIATES PA                                     Contingent
         21301 Powerline Road                                         Unliquidated
         Suite 100
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6689                      Is the claim subject to offset?     No       Yes

3.100
78       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WEISBURD EISEN & POSSENTI PA                                 Contingent
         2751 Executive Park Drive                                    Unliquidated
         Suite 104
                                                                      Disputed
         Weston, FL 33331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3698                      Is the claim subject to offset?     No       Yes

3.100
79       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WEISS HANDLER ANGELOS &                                      Contingent
         One Boca Place                                               Unliquidated
         2255 Glades Road
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 396                       Is the claim subject to offset?     No       Yes

3.100
80       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WEISS SEROTA HELFMAN                                         Contingent
         200 E. Broward Blvd.                                         Unliquidated
         Suite 1900
                                                                      Disputed
         Fort Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6637                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1529 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1537 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
81       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Weissman Nowack Curry & Wilco, P.C.                          Contingent
         One Biscayne Tower Suite 2610                                Unliquidated
         2 S Biscayne Boulevard
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8090                      Is the claim subject to offset?     No       Yes

3.100
82       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WEITZ & SCHWARTZ PA                                          Contingent
         900 SE 3rd Avenue                                            Unliquidated
         Suite 204
                                                                      Disputed
         Ft Lauderdale, FL 33316
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6092                      Is the claim subject to offset?     No       Yes

3.100
83       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WELBAUM GUERNSEY HINGSTON                                    Contingent
         DBA Welbaum Guernsey                                         Unliquidated
         7740 SW 104 Street
                                                                      Disputed
         Pinecrest, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5519                      Is the claim subject to offset?     No       Yes

3.100
84       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $109.84
         WELCH & DOOLEY                                               Contingent
         P.O. Box 445                                                 Unliquidated
         Lakeland, FL 33802                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1611
                                                                   Is the claim subject to offset?     No       Yes

3.100
85       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WELLBAUM & EMERY PA                                          Contingent
         686 N. Indiana Avenue                                        Unliquidated
         Englewood, FL 34223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2209
                                                                   Is the claim subject to offset?     No       Yes

3.100
86       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WELTON & WILLIAMSON PA                                       Contingent
         1414 County Highway 283 S Unit B                             Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9466
                                                                   Is the claim subject to offset?     No       Yes

3.100
87       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         WENDEL & CHRITTON CHARTERED                                  Contingent
         3237 Cleveland Heights Boulevard                             Unliquidated
         Lakeland, FL 33803-4567
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2953
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1530 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1538 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.100
88       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WENDELL BRUCE HAYS PA                                        Contingent
         307 Park Avenue N                                            Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5748
                                                                   Is the claim subject to offset?     No       Yes

3.100
89       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WENDY ANDERSON PA                                            Contingent
         1353 Palmetto Avenue                                         Unliquidated
         Suite 100
                                                                      Disputed
         Winter Park, FL 32789
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6840                      Is the claim subject to offset?     No       Yes

3.100
90       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wendy Mitchler, Attorney at Law                              Contingent
         2856 NE 24th Court                                           Unliquidated
         Ft Lauderdale, FL 33305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7442
                                                                   Is the claim subject to offset?     No       Yes

3.100
91       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WEPMAN AND WEPMAN PA                                         Contingent
         16 Spring Hollow Circle                                      Unliquidated
         Attn: Warren S Wepman
                                                                      Disputed
         Ashville, NC 28808
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 519                       Is the claim subject to offset?     No       Yes

3.100
92       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WERSHOW & SCHNEIDER                                          Contingent
         204 Southeast First Street                                   Unliquidated
         Gainesville, FL 32601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7812
                                                                   Is the claim subject to offset?     No       Yes

3.100
93       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WESLEY A LAUER                                               Contingent
         P.O. Drawer 3948                                             Unliquidated
         West Palm Beach, FL 33402-3948
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4785
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1531 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1539 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.100
94       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WESLEY M ROBINSON                                            Contingent
         d/b/a Robinson Law Firm                                      Unliquidated
         260 Cranwood Drive
                                                                      Disputed
         Key Biscayne, FL 33149
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9845                      Is the claim subject to offset?     No       Yes

3.100
95       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WESLEY R HARVIN
         Suite 200                                                    Contingent
         800 Southeast Monterey Commons                               Unliquidated
         Boulevard                                                    Disputed
         Stuart, FL 34996
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6021                      Is the claim subject to offset?     No       Yes


3.100
96       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WESLEY R STACKNIK                                            Contingent
         8050 Seminole Mall                                           Unliquidated
         Suite 325 Office Center
                                                                      Disputed
         Seminole, FL 34642-4712
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7335                      Is the claim subject to offset?     No       Yes

3.100
97       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WESOLOSKI CARLSON PA                                         Contingent
         848 Brickell Avenue Suite 300                                Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8255
                                                                   Is the claim subject to offset?     No       Yes

3.100
98       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         West Florida Law, P.A.                                       Contingent
         21 S Tarragona Street                                        Unliquidated
         Suite 103
                                                                      Disputed
         Pensacola, FL 32502
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9238                      Is the claim subject to offset?     No       Yes

3.100
99       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WESTCHASE LAW GROUP PA                                       Contingent
         12027 Whitmarsh Lane                                         Unliquidated
         Tampa, FL 33626
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2449
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1532 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1540 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
00       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Weston Title & Escrow, Inc.                                  Contingent
         2500 Weston Road                                             Unliquidated
         Suite 209
                                                                      Disputed
         Weston, FL 33331
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9399                      Is the claim subject to offset?     No       Yes

3.101
01       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WETHERINGTON HAMILTON HARRISON                               Contingent
         812 W. Dr. MLK Jr. Blvd                                      Unliquidated
         Suite 101
                                                                      Disputed
         Tampa, FL 33603
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3761                      Is the claim subject to offset?     No       Yes

3.101
02       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WEYTS LAW GROUP PA                                           Contingent
         600 Brickell Avenue Suite 1725                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5901
                                                                   Is the claim subject to offset?     No       Yes

3.101
03       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WHARTON LAW GROUP PA                                         Contingent
         P.O. Box 621172                                              Unliquidated
         Oviedo, FL 32762-1172
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7428
                                                                   Is the claim subject to offset?     No       Yes

3.101
04       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $35,740.50
         WHEELER & TRAVISS PA                                         Contingent
         P.O. Box 1396                                                Unliquidated
         Winter Haven, FL 33882-1396                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2748
                                                                   Is the claim subject to offset?     No       Yes

3.101
05       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wherry Law, P.A.                                             Contingent
         420 SW 19th Street                                           Unliquidated
         Ft Lauderdale, FL 33315
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7384
                                                                   Is the claim subject to offset?     No       Yes

3.101
06       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WHIBBS RAYBOUN & STONE PA                                    Contingent
         801 W RAMONA ST UNIT C                                       Unliquidated
         PENSACOLA, FL 32501
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5264
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1533 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1541 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
07       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         WHITE & BROWN PA                                             Contingent
         P.O. Box 560945                                              Unliquidated
         Miami, FL 33256-0945
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4732
                                                                   Is the claim subject to offset?     No       Yes

3.101
08       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WHITE & CASE                                                 Contingent
         200 S Biscayne Boulevard                                     Unliquidated
         Suite 4900
                                                                      Disputed
         Miami, FL 33131-2346
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7811                      Is the claim subject to offset?     No       Yes

3.101
09       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         WHITE & CROUCH PA                                            Contingent
         5303 Southwest 91st Drive Suite 200                          Unliquidated
         Gainesville, FL 32608
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6273
                                                                   Is the claim subject to offset?     No       Yes

3.101
10       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WHITSON & WHITSON PA                                         Contingent
         140 Island Way Suite 301                                     Unliquidated
         Clearwater, FL 33767
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5534
                                                                   Is the claim subject to offset?     No       Yes

3.101
11       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WHITTAKER AND WHITTAKER PA                                   Contingent
         1065 Northeast 125th Street Suite 300                        Unliquidated
         North Miami, FL 33161
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0028
                                                                   Is the claim subject to offset?     No       Yes

3.101
12       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WHITTAKER, STUMP & WEBSTER                                   Contingent
         201 N. Magnolia Ave. Suite 300                               Unliquidated
         Orlando, FL 32801-1828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 31
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1534 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1542 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
13       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         WHITTEMORE & RAMSBERGER                                      Contingent
         One Beach Drive Southeast Suite 205                          Unliquidated
         St Petersburg, FL 33701-3952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6323
                                                                   Is the claim subject to offset?     No       Yes

3.101
14       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         Wicker Smith O'Hara McCoy & Ford, P.A.                       Contingent
         2800 Ponce De Leon Boulevard                                 Unliquidated
         Suite 800
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9840                      Is the claim subject to offset?     No       Yes

3.101
15       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WICKMAN LAW GROUP PL                                         Contingent
         46 N. Washington Boulevard                                   Unliquidated
         Suite 15
                                                                      Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2689                      Is the claim subject to offset?     No       Yes

3.101
16       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Widerman Malek, P.L.                                         Contingent
         1990 W. New Haven Avenue                                     Unliquidated
         Suite 201
                                                                      Disputed
         Melbourne, FL 32904
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9236                      Is the claim subject to offset?     No       Yes

3.101
17       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WIGDER & DIAZ LLLP                                           Contingent
         5301 N Federal Highway Suite 220                             Unliquidated
         Boca Raton, FL 33487
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6388
                                                                   Is the claim subject to offset?     No       Yes

3.101
18       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WIGHTMAN & WEIDEMEYER PA                                     Contingent
         501 S Fort Harrison Avenue Suite 1                           Unliquidated
         Clearwater, FL 33516
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 855
                                                                   Is the claim subject to offset?     No       Yes

3.101
19       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILFRID WHITNEY                                              Contingent
         17639 S Dixie Highway                                        Unliquidated
         Miami, FL 33157-5423
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8505
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1535 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1543 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
20       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wilkerson and Rood, P.A.                                     Contingent
         505 E. New York Avenue                                       Unliquidated
         Suite 9
                                                                      Disputed
         Deland, FL 32724
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0025                      Is the claim subject to offset?     No       Yes

3.101
21       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILKINSON & SADORF PA                                        Contingent
         P.O. Box 8102                                                Unliquidated
         Madeira Beach, FL 33738-8102
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4256
                                                                   Is the claim subject to offset?     No       Yes

3.101
22       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILL ROGERS HELTON JR                                        Contingent
         924 Railford Road                                            Unliquidated
         Starke, FL 32091
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7686
                                                                   Is the claim subject to offset?     No       Yes

3.101
23       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLA A FEARRINGTON                                          Contingent
         515 N Flagler Drive Suite 600                                Unliquidated
         West Palm Beach, FL 33401-4323
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5860
                                                                   Is the claim subject to offset?     No       Yes

3.101
24       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLARD E GETMAN                                             Contingent
         567 Lazy Meadow Drive E                                      Unliquidated
         Jacksonville, FL 32225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6471
                                                                   Is the claim subject to offset?     No       Yes

3.101
25       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLARD S RADCLIFFE                                          Contingent
         1598 E Pine Lake Circle                                      Unliquidated
         Montgomery, TX 77316-2756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8496
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1536 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1544 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
26       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLET A BOYER III                                           Contingent
         18 Northwest Third Avenue                                    Unliquidated
         Ocala, FL 32670-6602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0873
                                                                   Is the claim subject to offset?     No       Yes

3.101
27       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,172.36
         WILLIAM A BLOCK                                              Contingent
         P.O. Box 1885                                                Unliquidated
         Johnson City, TN 37605-1885                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4034
                                                                   Is the claim subject to offset?     No       Yes

3.101
28       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAM A DICUS PA                                           Contingent
         P.O. Box 38                                                  Unliquidated
         Dunedin, FL 34697-0038
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4568
                                                                   Is the claim subject to offset?     No       Yes

3.101
29       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM A DOOLEY PA                                          Contingent
         2042 Bee Ridge Road                                          Unliquidated
         Sarasota, FL 34239
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0995
                                                                   Is the claim subject to offset?     No       Yes

3.101
30       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM A FRIEDER                                            Contingent
         3714 Wicklow Circle                                          Unliquidated
         Tallahassee, FL 32308-3216
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3537
                                                                   Is the claim subject to offset?     No       Yes

3.101
31       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         WILLIAM A GREENBERG                                          Contingent
         P.O. Box 300310                                              Unliquidated
         Fern Park, FL 32730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1802
                                                                   Is the claim subject to offset?     No       Yes

3.101
32       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM A HAMILTON III                                       Contingent
         Hamilton & Buttner P.A.                                      Unliquidated
         4729 Highway 17 Suite 203
                                                                      Disputed
         Orange Park, FL 32003
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3876                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1537 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1545 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
33       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM A INGRAHAM JR                                        Contingent
         P.O. Box 370098                                              Unliquidated
         Miami, FL 33137-0098
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2275
                                                                   Is the claim subject to offset?     No       Yes

3.101
34       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM A JOHNSON                                            Contingent
         21 Suntree Pl Suite 100                                      Unliquidated
         Melbourne, FL 32940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6101
                                                                   Is the claim subject to offset?     No       Yes

3.101
35       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,388.62
         WILLIAM A KEYES JR                                           Contingent
         P.O. Drawer 790                                              Unliquidated
         Ft Myers, FL 33902-0790                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0600
                                                                   Is the claim subject to offset?     No       Yes

3.101
36       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,135.51
         WILLIAM A LORD                                               Contingent
         4176 Burns Road                                              Unliquidated
         Palm Beach Gardens, FL 33410-4606                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5970
                                                                   Is the claim subject to offset?     No       Yes

3.101
37       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.50
         WILLIAM A MEYER                                              Contingent
         Servico Centre South                                         Unliquidated
         1601 Belvedere Road Suite 407
                                                                      Disputed
         West Palm Beach, FL 33406-1587
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7887                      Is the claim subject to offset?     No       Yes

3.101
38       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM A PARSONS                                            Contingent
         2001 S Ridgewood Avenue                                      Unliquidated
         South Daytona, FL 32119-2240
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1845
                                                                   Is the claim subject to offset?     No       Yes

3.101
39       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM A POST                                               Contingent
         P.O. Box 2426 Pmb 11237                                      Unliquidated
         Pensacola, FL 32513-2426
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5867
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1538 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1546 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
40       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,768.22
         WILLIAM A SABA                                               Contingent
         240 S. Pineapple Avenue                                      Unliquidated
         Suite 702                                                    Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6262                      Is the claim subject to offset?     No       Yes


3.101
41       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM A SEACREST                                           Contingent
         245 Pinewood Drive                                           Unliquidated
         Tallahassee, FL 32303-4837
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6845
                                                                   Is the claim subject to offset?     No       Yes

3.101
42       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM A SPENCE                                             Contingent
         730 S Atlantic Avenue Suite 103                              Unliquidated
         Ormond Beach, FL 32176-7828
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8741
                                                                   Is the claim subject to offset?     No       Yes

3.101
43       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WILLIAM A ZEIHER                                             Contingent
         2448 Northeast 27th Avenue                                   Unliquidated
         Ft Lauderdale, FL 33305
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2462
                                                                   Is the claim subject to offset?     No       Yes

3.101
44       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         William A. Fleck, P.A.                                       Contingent
         8895 N. Military Trail                                       Unliquidated
         Suite 102E
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9105                      Is the claim subject to offset?     No       Yes

3.101
45       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,859.87
         WILLIAM AKERS III                                            Contingent
         120 E. Granada Boulevard                                     Unliquidated
         Ormond Beach, FL 32176-6630                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5747
                                                                   Is the claim subject to offset?     No       Yes

3.101
46       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,841.23
         WILLIAM B STERN                                              Contingent
         5909 S University Drive                                      Unliquidated
         Davie, FL 33328                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1879
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1539 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1547 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
47       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM B. MORRISON                                          Contingent
         60 Corporate Woods                                           Unliquidated
         Rochester, NY 14623-1453
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1427
                                                                   Is the claim subject to offset?     No       Yes

3.101
48       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM C CONWAY                                             Contingent
         3633 Northeast 23rd Avenue                                   Unliquidated
         Ft Lauderdale, FL 33308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4342
                                                                   Is the claim subject to offset?     No       Yes

3.101
49       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM C GREGG III                                          Contingent
         611 E Druid Road Suite 308                                   Unliquidated
         Clearwater, FL 34616-3919
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7003
                                                                   Is the claim subject to offset?     No       Yes

3.101
50       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM C GUTHRIE JR                                         Contingent
         P.O. Box 350489                                              Unliquidated
         Jacksonville, FL 32235-0489
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1777
                                                                   Is the claim subject to offset?     No       Yes

3.101
51       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM C HALDIN JR                                          Contingent
         520 E Fort King Street Suite B2                              Unliquidated
         Ocala, FL 34471-2266
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7401
                                                                   Is the claim subject to offset?     No       Yes

3.101
52       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM C MCINTYRE                                           Contingent
         4207 SW High Meadows Avenue                                  Unliquidated
         Palm City, FL 34990-3726
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6901
                                                                   Is the claim subject to offset?     No       Yes

3.101
53       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM C PORTER PA                                          Contingent
         10211 W Sample Road Suite 106                                Unliquidated
         Coral Springs, FL 33065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7522
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1540 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1548 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
54       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $63.20
         WILLIAM C SUSSMAN                                            Contingent
         P.O. Box 565175                                              Unliquidated
         Miami, FL 33256-5175
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7478
                                                                   Is the claim subject to offset?     No       Yes

3.101
55       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM C WALKER JR                                          Contingent
         School Board of Breverd County                               Unliquidated
         2700 Street Johns Street
                                                                      Disputed
         Melbourne, FL 32940
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5760                      Is the claim subject to offset?     No       Yes

3.101
56       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         WILLIAM CASTRILLO                                            Contingent
         Pmb 260                                                      Unliquidated
         247 Southwest 8th Street
                                                                      Disputed
         Miami, FL 33130-7847
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3288                      Is the claim subject to offset?     No       Yes

3.101
57       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM D ANDERSON JR                                        Contingent
         William D. Anderson Jr. P.A.                                 Unliquidated
         P.O. Box 288
                                                                      Disputed
         Stuart, FL 34995-0288
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4022                      Is the claim subject to offset?     No       Yes

3.101
58       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM D BEAMER                                             Contingent
         200 Southeast 6th Street Suite 605                           Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5930
                                                                   Is the claim subject to offset?     No       Yes

3.101
59       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,986.00
         WILLIAM D RICKER JR                                          Contingent
         703 Lariat Lane                                              Unliquidated
         Rolla, MO 65401                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6854
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1541 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1549 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
60       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM D ROWLAND                                            Contingent
         P.O. Box 3703                                                Unliquidated
         Winter Park, FL 32790-3703
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3191
                                                                   Is the claim subject to offset?     No       Yes

3.101
61       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM D RYALS                                              Contingent
         525 Tyson Lane                                               Unliquidated
         Roswell, GA 30076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7010
                                                                   Is the claim subject to offset?     No       Yes

3.101
62       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM D SLICKER                                            Contingent
         5503 38th Avenue N.                                          Unliquidated
         St Petersburg, FL 33710
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1516
                                                                   Is the claim subject to offset?     No       Yes

3.101
63       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM D SOMAN                                              Contingent
         9000 Arvida Drive                                            Unliquidated
         Miami, FL 33156-2306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6705
                                                                   Is the claim subject to offset?     No       Yes

3.101
64       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM D TUCKER                                             Contingent
         2805 E Oakland Park Boulevard Suite 386                      Unliquidated
         Ft Lauderdale, FL 33306-0181
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7588
                                                                   Is the claim subject to offset?     No       Yes

3.101
65       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         William D. Chalek                                            Contingent
         201 Kenmure Drive                                            Unliquidated
         Flat Rock, NC 28731
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4058
                                                                   Is the claim subject to offset?     No       Yes

3.101
66       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM D. JOHNSON                                           Contingent
         1907 Calumet Street                                          Unliquidated
         Clearwater, FL 34625-1108
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7233
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1542 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1550 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
67       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM DU FRESNE                                            Contingent
         Hcr 74 Box 22006                                             Unliquidated
         75 Night Hawk Trail
                                                                      Disputed
         El Prado, NM 87529
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8053                      Is the claim subject to offset?     No       Yes

3.101
68       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM E BLYLER                                             Contingent
         William E. Blyler P.A.                                       Unliquidated
         112 Gordon Road
                                                                      Disputed
         Pisgah Forest, NC 28768-9612
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7116                      Is the claim subject to offset?     No       Yes

3.101
69       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM E CORLEY III                                         Contingent
         4004 San Clerc Road                                          Unliquidated
         Jacksonville, FL 32217-4306
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2253
                                                                   Is the claim subject to offset?     No       Yes

3.101
70       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.84
         WILLIAM E DAVIS                                              Contingent
         Buchanan Ingersoll                                           Unliquidated
         100 Southeast 2nd Street Suite 2100
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3997                      Is the claim subject to offset?     No       Yes

3.101
71       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM E EATON JR                                           Contingent
         1001 N Federal Highway Suite 500                             Unliquidated
         Jupiter, FL 33477
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6794
                                                                   Is the claim subject to offset?     No       Yes

3.101
72       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM E HAWKINS JR PL                                      Contingent
         1340 US Highway One Suite 102                                Unliquidated
         Jupiter, FL 33469
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4064
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1543 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1551 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
73       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WILLIAM E LOUCKS                                             Contingent
         P.O. Box 15200                                               Unliquidated
         Daytona Beach, FL 32115
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0920
                                                                   Is the claim subject to offset?     No       Yes

3.101
74       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM E MOSCHELL                                           Contingent
         19 West Flagler Street                                       Unliquidated
         1209 Biscayne Building
                                                                      Disputed
         Miami, FL 33130-4428
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 930                       Is the claim subject to offset?     No       Yes

3.101
75       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM E SHENKO JR                                          Contingent
         16521 San Carlos Boulevard                                   Unliquidated
         Suite 160
                                                                      Disputed
         Ft Myers, FL 33908
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7613                      Is the claim subject to offset?     No       Yes

3.101
76       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM E SHOCKETT                                           Contingent
         25 W Flagler Street Suite 711                                Unliquidated
         Miami, FL 33130-1718
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6926
                                                                   Is the claim subject to offset?     No       Yes

3.101
77       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM E SOLOMON                                            Contingent
         1515 University Drive Suite 204-C                            Unliquidated
         Coral Springs, FL 33071
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9888
                                                                   Is the claim subject to offset?     No       Yes

3.101
78       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM E STOCKMAN                                           Contingent
         Deboest Knudsen Et Al                                        Unliquidated
         P.O. Box 1470
                                                                      Disputed
         Ft Myers, FL 33902-1470
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6179                      Is the claim subject to offset?     No       Yes

3.101
79       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM E TAYLOR                                             Contingent
         P.O. Box 17134                                               Unliquidated
         Tampa, FL 33682-7134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6109
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1544 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1552 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
80       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM E WHITLEY PA                                         Contingent
         Rt 2 Box 945                                                 Unliquidated
         High Springs, FL 32643-9317
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7789
                                                                   Is the claim subject to offset?     No       Yes

3.101
81       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM F BARNES III                                         Contingent
         2215 N Military Trail Suite M                                Unliquidated
         W Palm Beach, FL 33409-2901
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7251
                                                                   Is the claim subject to offset?     No       Yes

3.101
82       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,597.27
         WILLIAM F BREWTON                                            Contingent
         13929 3rd Street                                             Unliquidated
         Dade City, FL 33525-5020                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2251
                                                                   Is the claim subject to offset?     No       Yes

3.101
83       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM F GALLESE                                            Contingent
         2104 Southeast Rays Way                                      Unliquidated
         Stuart, FL 34994
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4316
                                                                   Is the claim subject to offset?     No       Yes

3.101
84       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WILLIAM F GARCIA                                             Contingent
         4805 Mendenhall Drive                                        Unliquidated
         Tampa, FL 33603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2539
                                                                   Is the claim subject to offset?     No       Yes

3.101
85       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM F MAHER                                              Contingent
         5534 Edgemont Drive                                          Unliquidated
         Alexandria, VA 22310-1312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4448
                                                                   Is the claim subject to offset?     No       Yes

3.101
86       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM F MURPHY                                             Contingent
         2125 Biscayne Boulevard Suite 205                            Unliquidated
         Miami, FL 33137
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7808
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1545 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1553 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.101
87       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM F POOLE IV                                           Contingent
         195 Wekiva Springs Road Suite 204                            Unliquidated
         Longwood, FL 32779-3696
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4441
                                                                   Is the claim subject to offset?     No       Yes

3.101
88       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM F SEITZ                                              Contingent
         633 S. Andrews Avenue                                        Unliquidated
         Suite 101
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8743                      Is the claim subject to offset?     No       Yes

3.101
89       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM F SULLIVAN                                           Contingent
         2211 E Sample Road Suite 204                                 Unliquidated
         Lighthouse Point, FL 33064
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5752
                                                                   Is the claim subject to offset?     No       Yes

3.101
90       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM F UBER JR                                            Contingent
         P.O. Box 1056                                                Unliquidated
         Dunedin, FL 34697-1056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6367
                                                                   Is the claim subject to offset?     No       Yes

3.101
91       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,013.48
         WILLIAM F ZAMER                                              Contingent
         1421 E Oaklakd Park Boulevard                                Unliquidated
         Suite 200                                                    Disputed
         Oakland Park, FL 33334
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4092                      Is the claim subject to offset?     No       Yes


3.101
92       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM F. GNASS                                             Contingent
         2051 E. Dunn Road                                            Unliquidated
         Merced, CA 95340-9345
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6923
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1546 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1554 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.101
93       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM F. HATHAWAY                                          Contingent
         P.O. Drawer H                                                Unliquidated
         New Smyrna Beach, FL 32070
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4054
                                                                   Is the claim subject to offset?     No       Yes

3.101
94       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,058.60
         WILLIAM F. HUNTER, JR.                                       Contingent
         1930 Tyler Street                                            Unliquidated
         Hollywood, FL 33020-4517                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2706
                                                                   Is the claim subject to offset?     No       Yes

3.101
95       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM G COLLINS II                                         Contingent
         6150 69th Street                                             Unliquidated
         Vero Beach, FL 32967-5107
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8357
                                                                   Is the claim subject to offset?     No       Yes

3.101
96       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM G MORRIS                                             Contingent
         P.O. Box 2056                                                Unliquidated
         Marco Island, FL 34146-2056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7783
                                                                   Is the claim subject to offset?     No       Yes

3.101
97       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM G NOE JR                                             Contingent
         599 Atlantic Boulevard Suite 6                               Unliquidated
         Atlantic Beach, FL 32233
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0511
                                                                   Is the claim subject to offset?     No       Yes

3.101
98       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM G POVLITZ                                            Contingent
         1207 Third Street S Suite 5                                  Unliquidated
         Naples, FL 33940
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9969
                                                                   Is the claim subject to offset?     No       Yes

3.101
99       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM G. DAYTON                                            Contingent
         P.O. Box 1883                                                Unliquidated
         Dade City, FL 33526-1883
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7829
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1547 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1555 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
00       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         William G. Morris, P.A.                                      Contingent
         P.O. Box 2056                                                Unliquidated
         Marco Island, FL 34146-2056
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7783
                                                                   Is the claim subject to offset?     No       Yes

3.102
01       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM GERALD HAMM                                          Contingent
         1007 Jenks Avenue                                            Unliquidated
         Panama City, FL 32401
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4318
                                                                   Is the claim subject to offset?     No       Yes

3.102
02       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,218.53
         WILLIAM GUNDLACH                                             Contingent
         2780 E Oakland Park Boulevard                                Unliquidated
         Ft Lauderdale, FL 33306-1605                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2460
                                                                   Is the claim subject to offset?     No       Yes

3.102
03       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM GUY DAVIS JR                                         Contingent
         730 Bayfront Parkway Suite 4-B                               Unliquidated
         Pensacola, FL 32502-6250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2279
                                                                   Is the claim subject to offset?     No       Yes

3.102
04       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM H ALBORNOZ                                           Contingent
         901 Ponce De Leon Boulevard                                  Unliquidated
         Suite 204
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1678                      Is the claim subject to offset?     No       Yes

3.102
05       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $118.76
         WILLIAM H BARTLETT                                           Contingent
         P.O. Box 3542                                                Unliquidated
         St Petersburg, FL 33701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1587
                                                                   Is the claim subject to offset?     No       Yes

3.102
06       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAM H BATALLAS                                           Contingent
         4801 Linton Boulevard Suite 11a-602                          Unliquidated
         Delray Beach, FL 33445-6500
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4397
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1548 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1556 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
07       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WILLIAM H CAUTHEN PA                                         Contingent
         215 Joanna Avenue                                            Unliquidated
         Tavares, FL 32778-3217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7539
                                                                   Is the claim subject to offset?     No       Yes

3.102
08       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM H GRACE                                              Contingent
         P.O. Box 2119                                                Unliquidated
         Ft Myers, FL 33902-2119
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0705
                                                                   Is the claim subject to offset?     No       Yes

3.102
09       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $46,487.36
         WILLIAM H GRIMDITCH JR                                       Contingent
         P.O. Box 50210                                               Unliquidated
         Lighthouse Point, FL 33074-0210                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4078
                                                                   Is the claim subject to offset?     No       Yes

3.102
10       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM H HILL JR                                            Contingent
         2106 Sawgrass Village                                        Unliquidated
         Ponte Vedra Beach, FL 32082
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8163
                                                                   Is the claim subject to offset?     No       Yes

3.102
11       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM H LAPORTE                                            Contingent
         502 S Perdon Boulevard                                       Unliquidated
         Crestview, FL 32536-4238
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8253
                                                                   Is the claim subject to offset?     No       Yes

3.102
12       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM H MILES PA                                           Contingent
         8115 Jose Circle West                                        Unliquidated
         Jacksonville, FL 32217
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9944
                                                                   Is the claim subject to offset?     No       Yes

3.102
13       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM H MORRISON                                           Contingent
         7100 S US Highway 17-92                                      Unliquidated
         Fern Park, FL 32730
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5372
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1549 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1557 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
14       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM H NAMACK III                                         Contingent
         Macleod McGinnes & Bowman P.A.                               Unliquidated
         P.O. Box 2386
                                                                      Disputed
         Sarasota, FL 34230
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 3117                      Is the claim subject to offset?     No       Yes

3.102
15       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM H SHIELDS                                            Contingent
         1601 Jackson Street                                          Unliquidated
         Ft Myers, FL 33901-2912
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0434
                                                                   Is the claim subject to offset?     No       Yes

3.102
16       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,807.29
         WILLIAM H SNED JR                                            Contingent
         3030 S Dixie Highway Suite 5                                 Unliquidated
         West Palm Beach, FL 33405-1539                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 376
                                                                   Is the claim subject to offset?     No       Yes

3.102
17       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM H WACK                                               Contingent
         202 Riverbend Drive Suite D                                  Unliquidated
         Altamonte Springs, FL 32714-4627
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5297
                                                                   Is the claim subject to offset?     No       Yes

3.102
18       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM H WEBSTER                                            Contingent
         302 Southard Street Suite 102                                Unliquidated
         Key West, FL 33040-6537
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5623
                                                                   Is the claim subject to offset?     No       Yes

3.102
19       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM H. GRANT, III                                        Contingent
         859 Park Avenue                                              Unliquidated
         Orange Park, FL 32073-4151
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8029
                                                                   Is the claim subject to offset?     No       Yes

3.102
20       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM HERSMAN                                              Contingent
         10631 SW 88th Street                                         Unliquidated
         Suite 210
                                                                      Disputed
         Miami, FL 33176
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6069                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1550 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1558 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.102
21       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM I LIVINGSTON                                         Contingent
         Palm Coast Holdings Inc.                                     Unliquidated
         One Corporate Drive Suite 3a
                                                                      Disputed
         Palm Coast, FL 32137-4715
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5324                      Is the claim subject to offset?     No       Yes

3.102
22       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM I STEARN                                             Contingent
         1111 Donnelly Street                                         Unliquidated
         Mount Dora, FL 32757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5642
                                                                   Is the claim subject to offset?     No       Yes

3.102
23       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J ANDERSON                                           Contingent
         101 NE 3rd Avenue                                            Unliquidated
         Suite 1500
                                                                      Disputed
         Ft Lauderdale, FL 33301
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9425                      Is the claim subject to offset?     No       Yes

3.102
24       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM J BARNES                                             Contingent
         426 Manor Avenue                                             Unliquidated
         Cranford, NJ 07016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6144
                                                                   Is the claim subject to offset?     No       Yes

3.102
25       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J BOYCE                                              Contingent
         275 96th Avenue N Suite 5                                    Unliquidated
         St Petersburg, FL 33702-2526
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8886
                                                                   Is the claim subject to offset?     No       Yes

3.102
26       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM J BROWN                                              Contingent
         7777 Brickell Avenue Suite 1114                              Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4435
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1551 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1559 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
27       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J DEAS                                               Contingent
         2215 River Boulevard                                         Unliquidated
         Jacksonville, FL 32204
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0821
                                                                   Is the claim subject to offset?     No       Yes

3.102
28       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J DIPETRILLO                                         Contingent
         400 Southeast 8th Street                                     Unliquidated
         Ft Lauderdale, FL 33316
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5142
                                                                   Is the claim subject to offset?     No       Yes

3.102
29       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,072.72
         WILLIAM J FULLER III                                         Contingent
         DBA Fuller Law Firm                                          Unliquidated
         1058 N. Tamiami Trail, Ste 108-268                           Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5732                      Is the claim subject to offset?     No       Yes


3.102
30       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J GARDNER                                            Contingent
         William J. Gardner P.A.                                      Unliquidated
         7280 W Palmetto Park Road Suite 208n
                                                                      Disputed
         Boca Raton, FL 33433
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2161                      Is the claim subject to offset?     No       Yes

3.102
31       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,527.90
         WILLIAM J GOLDWORN                                           Contingent
         9748 Malvern Drive                                           Unliquidated
         Tamarac, FL 33321                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1229
                                                                   Is the claim subject to offset?     No       Yes

3.102
32       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM J GREEN                                              Contingent
         P.O. Box 12602                                               Unliquidated
         Pensacola, FL 32574-2602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8080
                                                                   Is the claim subject to offset?     No       Yes

3.102
33       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,786.68
         WILLIAM J HUDSON JR                                          Contingent
         309 Morgan Road                                              Unliquidated
         Taos, NM 87571                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4825
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1552 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1560 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
34       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,093.59
         WILLIAM J KIMPTON PA                                         Contingent
         605 Palm Boulevard                                           Unliquidated
         Suite B                                                      Disputed
         Dunedin, FL 34698
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5478                      Is the claim subject to offset?     No       Yes


3.102
35       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM J MCCABE                                             Contingent
         Shepherd McCabe & Cooley                                     Unliquidated
         1450 State Road 434 West Suite 200
                                                                      Disputed
         Longwood, FL 32750-3880
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4975                      Is the claim subject to offset?     No       Yes

3.102
36       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM J MCPHARLIN                                          Contingent
         Berkley S Building                                           Unliquidated
         3015 N. Ocean Boulevard, Suite 122
                                                                      Disputed
         Ft Lauderdale, FL 33308
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4024                      Is the claim subject to offset?     No       Yes

3.102
37       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J MILLER JR                                          Contingent
         P.O. Box 10508                                               Unliquidated
         Tallahassee, FL 32302
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7524
                                                                   Is the claim subject to offset?     No       Yes

3.102
38       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J MOTYCZKA                                           Contingent
         13410 Southwest 128th Street                                 Unliquidated
         Park Place At Kendall
                                                                      Disputed
         Miami, FL 33186-5800
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8441                      Is the claim subject to offset?     No       Yes

3.102
39       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J NIELANDER                                          Contingent
         172 E. Interlake Boulevard                                   Unliquidated
         Lake Placid, FL 33852
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3314
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1553 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1561 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
40       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J O'CONNOR JR                                        Contingent
         699 W Royal Palm Road                                        Unliquidated
         Boca Raton, FL 33486
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2888
                                                                   Is the claim subject to offset?     No       Yes

3.102
41       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM J PAYNE                                              Contingent
         421 Coral Cove Drive                                         Unliquidated
         Juno Beach, FL 33408
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7277
                                                                   Is the claim subject to offset?     No       Yes

3.102
42       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM J PIQUETTE                                           Contingent
         158 Southwest 52nd Street                                    Unliquidated
         Cape Coral, FL 33914-7128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 852
                                                                   Is the claim subject to offset?     No       Yes

3.102
43       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM J ROBERTS JR                                         Contingent
         1009 Southwest Main Boulevard Suite 130                      Unliquidated
         Lake City, FL 32025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 415
                                                                   Is the claim subject to offset?     No       Yes

3.102
44       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J ROBERTS PA                                         Contingent
         Goodwyne & Roberts P.A.                                      Unliquidated
         1924 Temple Drive
                                                                      Disputed
         Tallahassee, FL 32303
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8792                      Is the claim subject to offset?     No       Yes

3.102
45       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM J SEGAL                                              Contingent
         20801 Biscayne Boulevard Suite 304                           Unliquidated
         North Miami Beach, FL 33180
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6326
                                                                   Is the claim subject to offset?     No       Yes

3.102
46       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J THOMPSON                                           Contingent
         Thompson Law Firm P.A.                                       Unliquidated
         6804 Porto Fino Circle
                                                                      Disputed
         Ft Myers, FL 33912-7139
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5038                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1554 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1562 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.102
47       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J TROY                                               Contingent
         7103 Southwest 102 Avenue                                    Unliquidated
         Miami, FL 33173-1364
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6339
                                                                   Is the claim subject to offset?     No       Yes

3.102
48       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM J VOGES                                              Contingent
         275 Clyde Morris Boulevard                                   Unliquidated
         Ormond Beach, FL 32174
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1566
                                                                   Is the claim subject to offset?     No       Yes

3.102
49       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM J. TANNEY                                            Contingent
         2454 McMullen Booth Rd. Suite 501a                           Unliquidated
         Clearwater, FL 34619-1334
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2737
                                                                   Is the claim subject to offset?     No       Yes

3.102
50       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM J. WALSH                                             Contingent
         3067 E. Commercial Blvd.                                     Unliquidated
         Ft Lauderdale, FL 33308-4311
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6186
                                                                   Is the claim subject to offset?     No       Yes

3.102
51       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM JAMES DIETZ                                          Contingent
         334 S Wymore Road Suite B                                    Unliquidated
         Winter Park, FL 32789-3363
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9164
                                                                   Is the claim subject to offset?     No       Yes

3.102
52       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM K BENNETT                                            Contingent
         721 1st Avenue N                                             Unliquidated
         St Petersburg, FL 33701-3603
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6686
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1555 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1563 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
53       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM L EPSTEIN PA                                         Contingent
         Bank of America Building                                     Unliquidated
         2000 Glades Road, Suite 300
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7558                      Is the claim subject to offset?     No       Yes

3.102
54       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAM L MIMS JR                                            Contingent
         320 N Magnolia Avenue Suite A-9                              Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1936
                                                                   Is the claim subject to offset?     No       Yes

3.102
55       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM L RANDOL JR                                          Contingent
         762 SW Falcon Street                                         Unliquidated
         Palm City, FL 34990-4025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3739
                                                                   Is the claim subject to offset?     No       Yes

3.102
56       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM L RICHARDS JR                                        Contingent
         P.O. Box 392                                                 Unliquidated
         Mount Dora, FL 32756
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6876
                                                                   Is the claim subject to offset?     No       Yes

3.102
57       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,957.05
         WILLIAM L ROSS JR                                            Contingent
         221 N Causeway Suite A                                       Unliquidated
         New Smyrna Beach, FL 32169-5239                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4393
                                                                   Is the claim subject to offset?     No       Yes

3.102
58       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM L VINSON                                             Contingent
         110 S Levis Avenue                                           Unliquidated
         Tarpon Springs, FL 34689
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 499
                                                                   Is the claim subject to offset?     No       Yes

3.102
59       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WILLIAM L. LYMAN, P.A.                                       Contingent
         1935 Drew Street                                             Unliquidated
         Clearwater, FL 34625-3029
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6860
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1556 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1564 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
60       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM LEWIN II                                             Contingent
         4617 Garfield                                                Unliquidated
         Hollywood, FL 33021-5335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4061
                                                                   Is the claim subject to offset?     No       Yes

3.102
61       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM M BUSTAMANTE                                         Contingent
         2655 S Le Jeune Road                                         Unliquidated
         Suite 413
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5611                      Is the claim subject to offset?     No       Yes

3.102
62       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM M COBB                                               Contingent
         P.O. Box 2925                                                Unliquidated
         Vero Beach, FL 32961
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4992
                                                                   Is the claim subject to offset?     No       Yes

3.102
63       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM M FORD PA                                            Contingent
         Suite 134                                                    Unliquidated
         1128 Royal Palm Beach Boulevard
                                                                      Disputed
         Royal Palm Beach, FL 33411
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1676                      Is the claim subject to offset?     No       Yes

3.102
64       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM M HOWARD                                             Contingent
         1333 S University Drive Suite 201                            Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8025
                                                                   Is the claim subject to offset?     No       Yes

3.102
65       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM M LEDERER                                            Contingent
         P.O. Box 8448                                                Unliquidated
         Greenville, NC 27835-8448
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4091
                                                                   Is the claim subject to offset?     No       Yes

3.102
66       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM M POWELL                                             Contingent
         3515 Del Prado Boulevard Suite 101                           Unliquidated
         Cape Coral, FL 33904
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6991
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1557 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1565 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.102
67       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAM M VAZQUEZ                                            Contingent
         5550 Glades Road Suite 401                                   Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8529
                                                                   Is the claim subject to offset?     No       Yes

3.102
68       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM M WINKEL                                             Contingent
         7301 S. Dixie Highway                                        Unliquidated
         West Palm Beach, FL 33405
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4244
                                                                   Is the claim subject to offset?     No       Yes

3.102
69       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAM M. LASLEY                                            Contingent
         215 N. Olive Avenue, Suite 130                               Unliquidated
         West Palm Beach, FL 33401-4713
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8663
                                                                   Is the claim subject to offset?     No       Yes

3.102
70       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM M. STERN                                             Contingent
         1750 North Maitland Avenue                                   Unliquidated
         Maitland, FL 32751-3353
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6932
                                                                   Is the claim subject to offset?     No       Yes

3.102
71       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM MANIKAS                                              Contingent
         639 E. Ocean Avenue                                          Unliquidated
         Suite 307
                                                                      Disputed
         Boynton Beach, FL 33435-5016
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8420                      Is the claim subject to offset?     No       Yes

3.102
72       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM MCCARTHY PA                                          Contingent
         2298 NW 2nd Avenue                                           Unliquidated
         Suite 15
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7273                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1558 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1566 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
73       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM N GAMBERT                                            Contingent
         2102 S Ridgewood Avenue Suite 7                              Unliquidated
         Edgewater, FL 32141
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5238
                                                                   Is the claim subject to offset?     No       Yes

3.102
74       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM N HANDLER                                            Contingent
         5670 Corporate Way                                           Unliquidated
         West Palm Beach, FL 33407
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9776
                                                                   Is the claim subject to offset?     No       Yes

3.102
75       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM O BOYD                                               Contingent
         P.O. Box 895                                                 Unliquidated
         Mt Dora, FL 32757-0895
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6429
                                                                   Is the claim subject to offset?     No       Yes

3.102
76       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         WILLIAM O'NEIL                                               Contingent
         520 Harbor Gate Way                                          Unliquidated
         Longboat Key, FL 34228
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4601
                                                                   Is the claim subject to offset?     No       Yes

3.102
77       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM P GREGORY PA                                         Contingent
         715 W Swann Avenue                                           Unliquidated
         Tampa, FL 33606
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6032
                                                                   Is the claim subject to offset?     No       Yes

3.102
78       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM P O'MALLEY                                           Contingent
         200 N Washington Avenue                                      Unliquidated
         Scranton, PA 18503-1551
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2195
                                                                   Is the claim subject to offset?     No       Yes

3.102
79       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WILLIAM P. DONEY                                             Contingent
         1615 Forum Place                                             Unliquidated
         200 Barristers Building
                                                                      Disputed
         West Palm Beach, FL 33401-2314
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6351                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1559 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1567 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.102
80       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM P. HEALY                                             Contingent
         1634 N.E. 18th Place                                         Unliquidated
         Gainesville, FL 32609-3926
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6279
                                                                   Is the claim subject to offset?     No       Yes

3.102
81       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,425.37
         WILLIAM P. OWEN                                              Contingent
         1004 Berryhill Road                                          Unliquidated
         Milton, FL 32570-4604                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4319
                                                                   Is the claim subject to offset?     No       Yes

3.102
82       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM PATRICK KELLY JR                                     Contingent
         325 S Biscayne Boulevard Suite 3420                          Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4819
                                                                   Is the claim subject to offset?     No       Yes

3.102
83       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WILLIAM R ALEXANDER PA                                       Contingent
         713 W New York Avenue                                        Unliquidated
         Deland, FL 32720
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0168
                                                                   Is the claim subject to offset?     No       Yes

3.102
84       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM R BARKER                                             Contingent
         801 N Magnolia Avenue Suite 416                              Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7450
                                                                   Is the claim subject to offset?     No       Yes

3.102
85       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM R BOOSE III                                          Contingent
         Boose Casey Ciklin                                           Unliquidated
         P.O. Box 4626
                                                                      Disputed
         West Palm Beach, FL 33402-4626
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6115                      Is the claim subject to offset?     No       Yes

3.102
86       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM R BOOSE III                                          Contingent
         P.O. Box 4626                                                Unliquidated
         West Palm Beach, FL 33402-4626
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6115
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1560 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1568 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.102
87       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM R DICKEY                                             Contingent
         P.O. Box 3928                                                Unliquidated
         Seminole, FL 33775-3928
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6831
                                                                   Is the claim subject to offset?     No       Yes

3.102
88       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM R H BROOME                                           Contingent
         Airport Professional Centre                                  Unliquidated
         2465 Mercer Avenue, Suite 207
                                                                      Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7057                      Is the claim subject to offset?     No       Yes

3.102
89       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,525.06
         WILLIAM R KORP                                               Contingent
         Two North Tamiami Trail Suite 500                            Unliquidated
         Sarasota, FL 34236                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5979
                                                                   Is the claim subject to offset?     No       Yes

3.102
90       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM R LISCH                                              Contingent
         William R. Lisch P.A.                                        Unliquidated
         1111 MLK. Avenue W., Suite F
                                                                      Disputed
         Bradenton, FL 34205
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5345                      Is the claim subject to offset?     No       Yes

3.102
91       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM R LYLE JR                                            Contingent
         3605 - 211th Pl                                              Unliquidated
         Ne Redmond, WA 98053
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5278
                                                                   Is the claim subject to offset?     No       Yes

3.102
92       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         WILLIAM R MERKLE PA                                          Contingent
         4589 S Lake Drive                                            Unliquidated
         Boynton Beach, FL 33436
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7919
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1561 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1569 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.102
93       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM R NORTHCUTT                                          Contingent
         Atlantis Professional Center                                 Unliquidated
         2194 Highway A1A, Suite 306
                                                                      Disputed
         Indian Harbour Beach, FL 32937-4932
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6587                      Is the claim subject to offset?     No       Yes

3.102
94       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM R PENUEL PA                                          Contingent
         13361 Atlantic Boulevard                                     Unliquidated
         Jacksonville, FL 32225
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4386
                                                                   Is the claim subject to offset?     No       Yes

3.102
95       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM R SMITH                                              Contingent
         8191 College Parkway Suite 204                               Unliquidated
         Ft Myers, FL 33919-5110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4360
                                                                   Is the claim subject to offset?     No       Yes

3.102
96       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM R. NORTHCUTT                                         Contingent
         2194 Highway A1a, Suite 306                                  Unliquidated
         Indian Harbour Beach, FL 32937-4932
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6587
                                                                   Is the claim subject to offset?     No       Yes

3.102
97       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         WILLIAM RAMBAUM PA                                           Contingent
         3684 Tampa Road                                              Unliquidated
         Suite 2
                                                                      Disputed
         Oldsmar, FL 34677
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6842                      Is the claim subject to offset?     No       Yes

3.102
98       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM ROACH JR                                             Contingent
         300 S Pine Island Road Suite 266                             Unliquidated
         Plantation, FL 33324
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5813
                                                                   Is the claim subject to offset?     No       Yes

3.102
99       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM ROBERT LEONARD                                       Contingent
         Suite 402 - 633 S Andrews Avenue                             Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1787
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1562 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1570 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
00       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM S FOSTER                                             Contingent
         Anchors Smith Grimsley                                       Unliquidated
         909 Mar Walt Drive Suite 1014
                                                                      Disputed
         Fort Walton Beach, FL 32547
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4022                      Is the claim subject to offset?     No       Yes

3.103
01       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM S HOWELL JR                                          Contingent
         1727 S County Highway 393                                    Unliquidated
         Santa Rosa Beach, FL 32459
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8040
                                                                   Is the claim subject to offset?     No       Yes

3.103
02       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM S JONASSEN                                           Contingent
         P.O. Box 366                                                 Unliquidated
         Indian Rocks Beach, FL 33785
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2763
                                                                   Is the claim subject to offset?     No       Yes

3.103
03       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM S KRAMER                                             Contingent
         980 N Federal Highway Suite 440                              Unliquidated
         Boca Raton, FL 33432-2704
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3646
                                                                   Is the claim subject to offset?     No       Yes

3.103
04       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM S RIKER                                              Contingent
         428 Porter Street                                            Unliquidated
         Manchester, CT 06040-5511
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5943
                                                                   Is the claim subject to offset?     No       Yes

3.103
05       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM S RUBENSTEIN                                         Contingent
         2525 N State Road 7 Suite 209                                Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4931
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1563 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1571 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
06       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM S WOOD                                               Contingent
         P.O. Box 3365                                                Unliquidated
         Tequesta, FL 33469-0365
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2920
                                                                   Is the claim subject to offset?     No       Yes

3.103
07       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,278.66
         WILLIAM SCHWEIKHARDT                                         Contingent
         900 6th Avenue S Suite 203                                   Unliquidated
         Naples, FL 34102                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4944
                                                                   Is the claim subject to offset?     No       Yes

3.103
08       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM SELMI JR                                             Contingent
         306 Northwest 5th Street                                     Unliquidated
         Okeechobee, FL 34972-2565
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8627
                                                                   Is the claim subject to offset?     No       Yes

3.103
09       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM T BASFORD JR                                         Contingent
         4330 Raggedy Point Road                                      Unliquidated
         Orange Park, FL 32073-7856
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3092
                                                                   Is the claim subject to offset?     No       Yes

3.103
10       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAM T CHARNOCK III                                       Contingent
         13129 Springhill Drive                                       Unliquidated
         Springhill, FL 34609
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4527
                                                                   Is the claim subject to offset?     No       Yes

3.103
11       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM T CONNER                                             Contingent
         3368 Edgecliffe Drive                                        Unliquidated
         Orlando, FL 32806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8031
                                                                   Is the claim subject to offset?     No       Yes

3.103
12       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM T EDY                                                Contingent
         P.O. Box 150760                                              Unliquidated
         Cape Coral, FL 33915-0760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5994
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1564 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1572 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
13       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM T PRESTON                                            Contingent
         DBA The Preston Law Firm                                     Unliquidated
         605 S. Orange Street
                                                                      Disputed
         New Smyrna Beach, FL 32168
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6447                      Is the claim subject to offset?     No       Yes

3.103
14       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM TIMOTHY O'TOOLE                                      Contingent
         1215 E Broward Boulevard                                     Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8119
                                                                   Is the claim subject to offset?     No       Yes

3.103
15       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM TURKISH                                              Contingent
         P.O. Box 2156                                                Unliquidated
         Clearwater, FL 33757-2156
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7656
                                                                   Is the claim subject to offset?     No       Yes

3.103
16       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM V EMERY III                                          Contingent
         1870 Silver Fern Road                                        Unliquidated
         Port Orange, FL 32128-6741
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3756
                                                                   Is the claim subject to offset?     No       Yes

3.103
17       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM V LINNE                                              Contingent
         127 S Palafox Pl                                             Unliquidated
         Pensacola, FL 32501-5629
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8440
                                                                   Is the claim subject to offset?     No       Yes

3.103
18       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WILLIAM W CALDWELL                                           Contingent
         P.O. Box 3686                                                Unliquidated
         Vero Beach, FL 32964-3686
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5810
                                                                   Is the claim subject to offset?     No       Yes

3.103
19       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM W CARPENTER                                          Contingent
         1416 E Robinson Street                                       Unliquidated
         Orlando, FL 32801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3505
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1565 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1573 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
20       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAM W DOUGLAS                                            Contingent
         10707 66th Street N Suite 7                                  Unliquidated
         Pinellas Park, FL 34666-2336
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8427
                                                                   Is the claim subject to offset?     No       Yes

3.103
21       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM W FERNANDEZ                                          Contingent
         250 Panama Road East                                         Unliquidated
         Winter Springs, FL 32708-3516
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6738
                                                                   Is the claim subject to offset?     No       Yes

3.103
22       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM W GALLOGLY                                           Contingent
         1778 Sternwheel Drive                                        Unliquidated
         Jacksonville, FL 32223
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4250
                                                                   Is the claim subject to offset?     No       Yes

3.103
23       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM W MITCHELL                                           Contingent
         237 Bal Cross Drive                                          Unliquidated
         Bal Harbor, FL 33154
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5167
                                                                   Is the claim subject to offset?     No       Yes

3.103
24       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM W. CORRY                                             Contingent
         P.O. Box 527                                                 Unliquidated
         Tallahassee, FL 32302-0527
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6117
                                                                   Is the claim subject to offset?     No       Yes

3.103
25       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILLIAM W. MONTJOY                                           Contingent
         P.O. Box 986                                                 Unliquidated
         Tallahassee, FL 32302-0986
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6521
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1566 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1574 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
26       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM WARD AKSOMITAS                                       Contingent
         1837 12th Fairway                                            Unliquidated
         Wellington, FL 33414
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4844
                                                                   Is the claim subject to offset?     No       Yes

3.103
27       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WILLIAM WATSON TRICK JR PA                                   Contingent
         1216 E. Atlantic Boulevard                                   Unliquidated
         Suite 7
                                                                      Disputed
         Pompano Beach, FL 33060
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 6940                      Is the claim subject to offset?     No       Yes

3.103
28       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $228.66
         WILLIAMS & CHAPMAN                                           Contingent
         Public Defender's Office                                     Unliquidated
         301 N Olive Avenue                                           Disputed
         West Palm Beach, FL 33401
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 939                       Is the claim subject to offset?     No       Yes


3.103
29       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Williams & Coleman, P.A.                                     Contingent
         701 E. Tennessee Street                                      Unliquidated
         Tallahassee, FL 32308
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0601
                                                                   Is the claim subject to offset?     No       Yes

3.103
30       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.00
         WILLIAMS GAUTIER GWYNN                                       Contingent
         P.O. Box 4128                                                Unliquidated
         Tallahassee, FL 32315-4128
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3602
                                                                   Is the claim subject to offset?     No       Yes

3.103
31       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAMS MCGUIRE & BRAGG                                     Contingent
         P.O. Box 3626                                                Unliquidated
         Orlando, FL 32802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6398
                                                                   Is the claim subject to offset?     No       Yes

3.103
32       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAMS MOORE LAW FIRM PA                                   Contingent
         1701 Jim Redman Parkway                                      Unliquidated
         Plant City, FL 33563
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3004
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1567 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1575 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
33       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $87,134.86
         WILLIAMS PARKER HARRISON                                     Contingent
         50 Central Avenue                                            Unliquidated
         Eighth Floor                                                 Disputed
         Sarasota, FL 34236
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 170                       Is the claim subject to offset?     No       Yes


3.103
34       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLIAMS RISTOFF & PROPER PLC                                Contingent
         4532 US Highway 19                                           Unliquidated
         New Port Richey, FL 34652-4964
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5767
                                                                   Is the claim subject to offset?     No       Yes

3.103
35       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $125.00
         WILLIAMS SCHIFINO MANGIONE &                                 Contingent
         P.O. Box 380                                                 Unliquidated
         Tampa, FL 33601
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7009
                                                                   Is the claim subject to offset?     No       Yes

3.103
36       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $250.00
         WILLIAMS SMITH & SUMMERS PA                                  Contingent
         380 W. Alfred Street                                         Unliquidated
         Tavares, FL 32778-3298
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7086
                                                                   Is the claim subject to offset?     No       Yes

3.103
37       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILLIAMSON DIAMOND & CATON PA                                Contingent
         9075 Seminole Boulevard                                      Unliquidated
         Seminole, FL 33772-3150
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8959
                                                                   Is the claim subject to offset?     No       Yes

3.103
38       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Willis & Oden, PL                                            Contingent
         2121 S Hiawassee Road                                        Unliquidated
         Suite 116
                                                                      Disputed
         Orlando, FL 32835
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9999                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1568 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1576 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
39       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILLITS & LINZNER PA                                         Contingent
         1001 W Cypress Creek Road Suite 320                          Unliquidated
         Ft Lauderdale, FL 33309
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6883
                                                                   Is the claim subject to offset?     No       Yes

3.103
40       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILMA CARRILLO                                               Contingent
         P.O. Box 7097                                                Unliquidated
         Lakeland, FL 33807-7097
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6913
                                                                   Is the claim subject to offset?     No       Yes

3.103
41       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILMA D STEVENSON PA                                         Contingent
         7111 Northwest 45th Street                                   Unliquidated
         Ft Lauderdale, FL 33319
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0084
                                                                   Is the claim subject to offset?     No       Yes

3.103
42       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WILMER H MITCHELL                                            Contingent
         130 E Government Street                                      Unliquidated
         Pensacola, FL 32501-5802
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5214
                                                                   Is the claim subject to offset?     No       Yes

3.103
43       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WILSON & WILLIAMS PA                                         Contingent
         P.O. Box 908                                                 Unliquidated
         Ocala, FL 34478-0908
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0683
                                                                   Is the claim subject to offset?     No       Yes

3.103
44       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILSON ELSER MOSKOWITZ EDELMAN                               Contingent
         100 Southeast Second Street Suite 3800                       Unliquidated
         Miami, FL 33131-2126
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2683
                                                                   Is the claim subject to offset?     No       Yes

3.103
45       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WILSON HARRELL FARRINGTON                                    Contingent
         307 S. Palafox Street                                        Unliquidated
         Pensacola, FL 32504
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7396
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1569 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1577 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
46       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WILSON JAFFER PA                                             Contingent
         27 S Orange Avenue Suite 1                                   Unliquidated
         Sarasota, FL 34236
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 14
                                                                   Is the claim subject to offset?     No       Yes

3.103
47       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         WINDELS MARX LANE & MITTENDORF                               Contingent
         9990 Coconut Road Suite 101                                  Unliquidated
         Bonita Springs, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2424
                                                                   Is the claim subject to offset?     No       Yes

3.103
48       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,854.67
         WINDERWEEDLE HAINES WARD &                                   Contingent
         P.O. Box 880                                                 Unliquidated
         Winter Park, FL 32790-0880                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5391
                                                                   Is the claim subject to offset?     No       Yes

3.103
49       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Windsor Title Services, Inc.                                 Contingent
         3191 Coral Way                                               Unliquidated
         Suite 106
                                                                      Disputed
         Miami, FL 33145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7942                      Is the claim subject to offset?     No       Yes

3.103
50       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WINSTON R DAVIS                                              Contingent
         117 W Wyndham Court                                          Unliquidated
         Longwood, FL 32779
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7104
                                                                   Is the claim subject to offset?     No       Yes

3.103
51       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WINTER & SCHAUM PA                                           Contingent
         2300 Corporate Boulevard Northwest Suite                     Unliquidated
         Boca Raton, FL 33431
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8375
                                                                   Is the claim subject to offset?     No       Yes

3.103
52       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WINTTER & ASSOCIATES PA                                      Contingent
         2239 Hollywood Boulevard                                     Unliquidated
         Hollywood, FL 33020-6707
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6079
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1570 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1578 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
53       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         WITTE & CRAIG PA                                             Contingent
         2211 E. Sample Road                                          Unliquidated
         Suite 203
                                                                      Disputed
         Lighthouse Point, FL 33064
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7150                      Is the claim subject to offset?     No       Yes

3.103
54       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WM H GARLAND & ASSOCIATES P A                                Contingent
         537 10th Street W                                            Unliquidated
         Bradenton, FL 34205-7719
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 317
                                                                   Is the claim subject to offset?     No       Yes

3.103
55       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WM MICHAEL HOPP                                              Contingent
         P.O. Box 207                                                 Unliquidated
         Placida, FL 33946-0207
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5545
                                                                   Is the claim subject to offset?     No       Yes

3.103
56       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WM ROD MITCHELL                                              Contingent
         Wm Rod Mitchell P.A.                                         Unliquidated
         P.O. Box 30056
                                                                      Disputed
         Pensacola, FL 32503
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8878                      Is the claim subject to offset?     No       Yes

3.103
57       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WM ROYALL MIDDELTHON JR                                      Contingent
         201 S Biscayne Blfd 34th Floor                               Unliquidated
         Miami, FL 33131
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4177
                                                                   Is the claim subject to offset?     No       Yes

3.103
58       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         WM SAMUEL MCALILEY II                                        Contingent
         P.O. Box 121                                                 Unliquidated
         St Augustine, FL 32085
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7438
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1571 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1579 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
59       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         WNF LAW PL D/B/A                                             Contingent
         1111 Brickell Avenue                                         Unliquidated
         Suite 2200
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9744                      Is the claim subject to offset?     No       Yes

3.103
60       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $300.00
         WOLF BLOCK SCHORR &                                          Contingent
         12 Floor Packard Building                                    Unliquidated
         15th & Chestnut Street
                                                                      Disputed
         Philadelphia, PA 33416
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 7640                      Is the claim subject to offset?     No       Yes

3.103
61       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WOLFSON & STARKMAN                                           Contingent
         1500 San Remo Avenue Suite 125                               Unliquidated
         Coral Gables, FL 33146
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5542
                                                                   Is the claim subject to offset?     No       Yes

3.103
62       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WOLLMAN GEHRKE & SOLOMON PA                                  Contingent
         3501 Bonita Bay Boulevard Suite 3                            Unliquidated
         Bonita Springs, FL 34134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7928
                                                                   Is the claim subject to offset?     No       Yes

3.103
63       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WOOD & MURPHY                                                Contingent
         Suite B-201                                                  Unliquidated
         11211 Prosperity Farms Road
                                                                      Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4617                      Is the claim subject to offset?     No       Yes

3.103
64       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WOODBRIDGE & SALAZAR LLP                                     Contingent
         255 Alhambra Circle Suite 705                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8512
                                                                   Is the claim subject to offset?     No       Yes

3.103
65       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $148.58
         WOODROW A WALLEN                                             Contingent
         7900 Northwest 27th Avenue Suite 109-N                       Unliquidated
         Miami, FL 33147-4902                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6819
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1572 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1580 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
66       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Woodstock Law Firm, P.A.                                     Contingent
         8010 N. University Drive                                     Unliquidated
         Tamarac, FL 33321
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0548
                                                                   Is the claim subject to offset?     No       Yes

3.103
67       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WOODWARD PIRES & LOMBARDO PA                                 Contingent
         9990 COCONUT ROAD #101                                       Unliquidated
         BONITA SPRINGS, FL 34135-8488
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5229
                                                                   Is the claim subject to offset?     No       Yes

3.103
68       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,234.09
         WOTITZKY WOTITZKY ROSS &                                     Contingent
         1107 W. Marion Avenue                                        Unliquidated
         Unit 111                                                     Disputed
         Punta Gorda, FL 33950-5372
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 427                       Is the claim subject to offset?     No       Yes


3.103
69       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Wright & Casey, P.A.                                         Contingent
         340 N Causeway                                               Unliquidated
         New Smyrna Beach, FL 32169
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6676
                                                                   Is the claim subject to offset?     No       Yes

3.103
70       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WRIGHT & SHAW PA                                             Contingent
         923 Del Prado Boulevard                                      Unliquidated
         Suite 205
                                                                      Disputed
         Cape Coral, FL 33990
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8034                      Is the claim subject to offset?     No       Yes

3.103
71       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WRIGHT MOULTON                                               Contingent
         5041 Bayou Boulevard Suite 300                               Unliquidated
         Pensacola, FL 32503-2503
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7120
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1573 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1581 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
72       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         WRIGHT MUIR PA                                               Contingent
         P.O. Box 450249                                              Unliquidated
         Sunrise, FL 33345
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1879
                                                                   Is the claim subject to offset?     No       Yes

3.103
73       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         WYCKOFF LAW FIRM PA                                          Contingent
         4909 Manatee Avenue W.                                       Unliquidated
         Bradenton, FL 34209
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2764
                                                                   Is the claim subject to offset?     No       Yes

3.103
74       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         WYNNE M CASTEEL JR                                           Contingent
         621 S. Federal Highway                                       Unliquidated
         Suite 10
                                                                      Disputed
         Ft Lauderdale, FL 33301-3145
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1990                      Is the claim subject to offset?     No       Yes

3.103
75       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         XAVIER J FERNANDEZ                                           Contingent
         3491 Gandy Boulevard N                                       Unliquidated
         Pinellas Park, FL 34665-2657
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 107
                                                                   Is the claim subject to offset?     No       Yes

3.103
76       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YALE MANOFF PA                                               Contingent
         4400 N Federal Highway                                       Unliquidated
         Suite 210
                                                                      Disputed
         Boca Raton, FL 33431
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9277                      Is the claim subject to offset?     No       Yes

3.103
77       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Yankwitt Law Firm, P.L.L.C.                                  Contingent
         2800 W State Road 84 Suite 118                               Unliquidated
         Ft Lauderdale, FL 33312
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9507
                                                                   Is the claim subject to offset?     No       Yes

3.103
78       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YANOWITCH LAW PA                                             Contingent
         255 Alhambra Circle Suite 700                                Unliquidated
         Coral Gables, FL 33134
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9666
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1574 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1582 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
79       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $75.00
         YCM Law & Title, PLLC                                        Contingent
         3471 N. Federal Highway                                      Unliquidated
         Suite 506
                                                                      Disputed
         Fort Lauderdale, FL 33306
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0842                      Is the claim subject to offset?     No       Yes

3.103
80       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YEBOAH LAW OFFICES PA                                        Contingent
         401 E Las Olas Boulevard Suite 1400                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8310
                                                                   Is the claim subject to offset?     No       Yes

3.103
81       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Yediel Kadosh, P.A.                                          Contingent
         14 Northeast 1st Avenue Suite 805                            Unliquidated
         Miami, FL 33132
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8605
                                                                   Is the claim subject to offset?     No       Yes

3.103
82       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,199.35
         YELEN & YELEN PA                                             Contingent
         1104 Ponce De Leon Boulevard                                 Unliquidated
         Coral Gables, FL 33134                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 665
                                                                   Is the claim subject to offset?     No       Yes

3.103
83       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Yerger | Tyler, P.A.                                         Contingent
         1570 Shadowlawn Drive                                        Unliquidated
         Naples, FL 34104
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8071
                                                                   Is the claim subject to offset?     No       Yes

3.103
84       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $275.00
         YERGEY & YERGEY                                              Contingent
         Attention: David A. Yergey III                               Unliquidated
         211 N. Magnolia Avenue
                                                                      Disputed
         Orlando, FL 32801-1805
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 4                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1575 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1583 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.103
85       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YESNER & BOSS PL                                             Contingent
         9800 4th Street N Suite 402                                  Unliquidated
         St Petersburg, FL 33702
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9766
                                                                   Is the claim subject to offset?     No       Yes

3.103
86       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YOLANDA MELLON SUAREZ                                        Contingent
         6006 Yarwell Drive                                           Unliquidated
         Houston, TX 77096-4721
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6975
                                                                   Is the claim subject to offset?     No       Yes

3.103
87       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YOLLY ROBERSON                                               Contingent
         Roberson & Associates                                        Unliquidated
         900 Northeast 195th Street Apt 408
                                                                      Disputed
         Miami, FL 33179
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9907                      Is the claim subject to offset?     No       Yes

3.103
88       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Yormack, P.A.                                                Contingent
         1825 Ponce de Leon Boulevard                                 Unliquidated
         Suite 632
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 1091                      Is the claim subject to offset?     No       Yes

3.103
89       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Young DeLoach, P.L.L.C.                                      Contingent
         1115 E Livingston Street                                     Unliquidated
         Orlando, FL 32803
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6965
                                                                   Is the claim subject to offset?     No       Yes

3.103
90       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         YOUNG FRANKLIN MERLIN ET AL PA                               Contingent
         17071 W Dixie Highway                                        Unliquidated
         North Miami Beach, FL 33160
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6039
                                                                   Is the claim subject to offset?     No       Yes

3.103
91       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         YOUNG T TINDALL                                              Contingent
         3814 W Park Road                                             Unliquidated
         Hollywood, FL 33021
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7088
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1576 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1584 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
92       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,002.30
         YOUNG VAN ASSENDERP & VARNADOE                               Contingent
         P.O. Box 1833                                                Unliquidated
         Tallahassee, FL 32302-1833                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6437
                                                                   Is the claim subject to offset?     No       Yes

3.103
93       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Your Towne Law, P.A.                                         Contingent
         P.O. Box 560520                                              Unliquidated
         Orlando, FL 32856
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7559
                                                                   Is the claim subject to offset?     No       Yes

3.103
94       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YVETTE MACIAS                                                Contingent
         3162 Commadore Plaza Unit 3ab                                Unliquidated
         Miami, FL 33133
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3759
                                                                   Is the claim subject to offset?     No       Yes

3.103
95       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YVONNE B WRIGHT                                              Contingent
         5605 Northwest 108th Way                                     Unliquidated
         Coral Springs, FL 33076
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 5962
                                                                   Is the claim subject to offset?     No       Yes

3.103
96       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         YVONNE E REED                                                Contingent
         P.O. Box 14335                                               Unliquidated
         Ft Lauderdale, FL 33302-4335
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8697
                                                                   Is the claim subject to offset?     No       Yes

3.103
97       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Z PAOLA GUERRERO                                             Contingent
         9900 Southwest 107th Avenue Suite 101                        Unliquidated
         Miami, FL 33176
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6167
                                                                   Is the claim subject to offset?     No       Yes

3.103
98       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ZACHARY R WHITE PA                                           Contingent
         220 E Madison Street Suite 1222                              Unliquidated
         Tampa, FL 33602
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 8005
                                                                   Is the claim subject to offset?     No       Yes

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1577 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1585 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.103
99       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Zachary S. McWilliams, P.A.                                  Contingent
         5975 Sunset Drive                                            Unliquidated
         Suite 801
                                                                      Disputed
         South Miami, FL 33143
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0205                      Is the claim subject to offset?     No       Yes

3.104
00       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ZACK HANZMAN PONCE TUCKER                                    Contingent
         One International Pl                                         Unliquidated
         100 Southeast 2nd Street Suite 2800
                                                                      Disputed
         Miami, FL 33131
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 5885                      Is the claim subject to offset?     No       Yes

3.104
01       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $375.00
         ZACUR & GRAHAM PA                                            Contingent
         P.O. Box 14409                                               Unliquidated
         St Petersburg, FL 33733-4409
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2895
                                                                   Is the claim subject to offset?     No       Yes

3.104
02       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ZAEDY R POZO                                                 Contingent
         Gables International Plaza                                   Unliquidated
         2655 Le Jeune Road, Suite 804
                                                                      Disputed
         Coral Gables, FL 33134
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 8459                      Is the claim subject to offset?     No       Yes

3.104
03       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Zalman Law, P.A.                                             Contingent
         7050 Montrico Drive                                          Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 9824
                                                                   Is the claim subject to offset?     No       Yes

3.104
04       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Zandro E. Palma, P.A.                                        Contingent
         9100 S. Dadeland Boulevard                                   Unliquidated
         Suite 1500
                                                                      Disputed
         Miami, FL 33156
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 0649                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1578 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1586 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name

3.104
05       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ZARINA RAJA PA                                               Contingent
         3101 S Ocean Drive Suite 908                                 Unliquidated
         Hollywood, FL 33019
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 0454
                                                                   Is the claim subject to offset?     No       Yes

3.104
06       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ZEBERSKY & PAYNE LLP                                         Contingent
         110 Southeast 6th Street Suite 2150                          Unliquidated
         Ft Lauderdale, FL 33301
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 3745
                                                                   Is the claim subject to offset?     No       Yes

3.104
07       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         Zeig Law Firm, PLLC                                          Contingent
         3475 Sheridan Street                                         Unliquidated
         Suite 310
                                                                      Disputed
         Hollywood, FL 33021
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 9674                      Is the claim subject to offset?     No       Yes

3.104
08       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $225.00
         ZEMEL & KAUFMAN PA                                           Contingent
         19101 Mystic Pointe Drive Suite 1005                         Unliquidated
         Aventura, FL 33180-4516
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4154
                                                                   Is the claim subject to offset?     No       Yes

3.104
09       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $25.00
         ZENDEGUI LAW GROUP PA                                        Contingent
         1111 Kane Concourse                                          Unliquidated
         Suite 310
                                                                      Disputed
         Bay Harbor Islands, FL 33154
                                                                   Basis for the claim: Member
         Date(s) debt was incurred
         Last 4 digits of account number 2468                      Is the claim subject to offset?     No       Yes

3.104
10       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $350.00
         ZEWADSKI & WHITELOCK PA                                      Contingent
         3245 5th Avenue N                                            Unliquidated
         St Petersburg, FL 33713-7611
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 2536
                                                                   Is the claim subject to offset?     No       Yes

3.104
11       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ZIEGLER & GINSBURG PA                                        Contingent
         14722 Southwest 82nd Court                                   Unliquidated
         Miami, FL 33158
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7344
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1579 of 1581
                        Case 2:23-bk-01538-FMD                  Doc 24           Filed 01/17/24                Page 1587 of 1618

Debtor      LTGF Business Trust                                                             Case number (if known)            2:23-bk-01538
            Name


3.104
12       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $509.62
         ZIMMERMAN KISER & SUTCLIFFE PA                               Contingent
         P.O. Box 3000                                                Unliquidated
         Orlando, FL 32802-3000
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7971
                                                                   Is the claim subject to offset?     No       Yes

3.104
13       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         ZIMMERMAN ZIMMERMAN &                                        Contingent
         737 E. Atlantic Boulevard                                    Unliquidated
         Pompano Beach, FL 33060
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 1532
                                                                   Is the claim subject to offset?     No       Yes

3.104
14       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ZIMMET & QUARLES PA                                          Contingent
         434 N Halifax Drive Suite 2                                  Unliquidated
         Daytona Beach, FL 32118-4016
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 116
                                                                   Is the claim subject to offset?     No       Yes

3.104
15       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         ZIMMET UNICE SALZMAN & HEYMAN                                Contingent
         2570 Coral Landings Boulevard Suite 201                      Unliquidated
         Palm Harbor, FL 34684-5123
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 4085
                                                                   Is the claim subject to offset?     No       Yes

3.104
16       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $50.00
         Zinzow Law, L.L.C.                                           Contingent
         8750 Hawbuck Street                                          Unliquidated
         Trinity, FL 34655
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 7051
                                                                   Is the claim subject to offset?     No       Yes

3.104
17       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $100.00
         ZOHER M GHADIALI                                             Contingent
         2769 Seabreeze Drive S                                       Unliquidated
         St Petersburg, FL 33707-3933
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Member
         Last 4 digits of account number 6679
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1580 of 1581
                        Case 2:23-bk-01538-FMD                         Doc 24             Filed 01/17/24               Page 1588 of 1618

Debtor       LTGF Business Trust                                                                    Case number (if known)            2:23-bk-01538
             Name

3.104
18        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $25.00
          ZORRILLA & ASSOCIATES PL                                             Contingent
          2655 Le Jeune Road Suite 805-10                                      Unliquidated
          Coral Gables, FL 33134
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Member
          Last 4 digits of account number 6096
                                                                           Is the claim subject to offset?       No     Yes

3.104
19        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $75.00
          Zumpano Castro, P.L.L.C.                                             Contingent
          500 S. Dixie Highway                                                 Unliquidated
          Suite 302
                                                                               Disputed
          Coral Gables, FL 33146
                                                                           Basis for the claim: Member
          Date(s) debt was incurred
          Last 4 digits of account number 7921                             Is the claim subject to offset?       No     Yes

3.104
20        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $50.00
          ZUMPANO PATRICIOS & WINKER PA                                        Contingent
          312 Minorca Avenue                                                   Unliquidated
          Coral Gables, FL 33134
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Member
          Last 4 digits of account number 8016
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                     5,677,976.41

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        5,677,976.41




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1581 of 1581
                     Case 2:23-bk-01538-FMD                       Doc 24         Filed 01/17/24            Page 1589 of 1618

Fill in this information to identify the case:

Debtor name       LTGF Business Trust

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)     2:23-bk-01538
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Services Agreement
           lease is for and the nature of        dated December 12,
           the debtor's interest                 2015

               State the term remaining                                             Attorneys' Title Fund
                                                                                     Services, LLC
           List the contract number of any                                          6545 Corporate Centre Blvd
                 government contract                                                Orlando, FL 32833


2.2.       State what the contract or            Operating Agreement
           lease is for and the nature of        for Attorneys' Title
           the debtor's interest                 Fund Services, LLC

               State the term remaining                                             Old Republic National
                                                                                     Title Holding Company
           List the contract number of any                                          3000 Bayport Dr. #1000
                 government contract                                                Tampa, FL 33607


2.3.       State what the contract or            Joint Venture
           lease is for and the nature of        Agreement by and
           the debtor's interest                 between Attorneys'
                                                 Title Fund Services,
                                                 LLC; Old Repoublic
                                                 National Title Holding
                                                 Company, Attorneys'
                                                 Title Insurance Fund
                                                 dated July 1, 2009
               State the term remaining                                             Old Republic National
                                                                                     Title Holding Company
           List the contract number of any                                          3000 Bayport Dr. #1000
                 government contract                                                Tampa, FL 33607




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                    Case 2:23-bk-01538-FMD                     Doc 24        Filed 01/17/24            Page 1590 of 1618

Fill in this information to identify the case:

Debtor name      LTGF Business Trust

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)   2:23-bk-01538
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
                      Case 2:23-bk-01538-FMD                     Doc 24         Filed 01/17/24             Page 1591 of 1618




Fill in this information to identify the case:

Debtor name         LTGF Business Trust

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)    2:23-bk-01538
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $86,682.92
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $105,065.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $131,505.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                     Case 2:23-bk-01538-FMD                       Doc 24          Filed 01/17/24            Page 1592 of 1618
Debtor       LTGF Business Trust                                                                Case number (if known) 2:23-bk-01538



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Please see attached bank statements.                                                          $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   John H. Simmons                                       10/30/22                               $18.28         50% of Affordable Care Act
             1601 Jackson St #200                                                                                        Rebate received from Florida
             Fort Myers, FL 33901                                                                                        Blue.
             President

      4.2.   John H. Simmons                                       bi-weekly                        $50,000.00           annual salary received in
             1601 Jackson St #200                                  payments                                              bi-weekly payments for the
             Fort Myers, FL 33901                                                                                        previous year
             President

      4.3.   Gerard A. McHale                                      10/06/23                         $25,000.00           retainer
             1601 Jackson St., Ste. 200
             Fort Myers, FL 33901
             Chief Liquidating Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
                      Case 2:23-bk-01538-FMD                     Doc 24          Filed 01/17/24              Page 1593 of 1618
Debtor        LTGF Business Trust                                                                Case number (if known) 2:23-bk-01538



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Zimmett and Zimmett, PA vs.             business                     9th Judicial Circuit                          Pending
              Attorneys Title Insurance               transactions                 Orange County, FL                             On appeal
              Fund
                                                                                                                                 Concluded
              2018-CA-007622-O

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                             Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss                Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Johnson, Pope, Bokor,
               Ruppel & Burns, LLP
               400 N Ashley Dr. #3100
               Tampa, FL 33602                          Retainer                                                      10/13/2023                  $50,000.00

               Email or website address
               mikem@jpfirm.com

               Who made the payment, if not debtor?
               Debtor



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
                      Case 2:23-bk-01538-FMD                       Doc 24         Filed 01/17/24             Page 1594 of 1618
Debtor        LTGF Business Trust                                                                Case number (if known) 2:23-bk-01538




          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     6545 Corporate Centre Blvd
                Orlando, FL 32822

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
                     Case 2:23-bk-01538-FMD                        Doc 24          Filed 01/17/24            Page 1595 of 1618
Debtor      LTGF Business Trust                                                                  Case number (if known) 2:23-bk-01538




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
                       Case 2:23-bk-01538-FMD                     Doc 24         Filed 01/17/24               Page 1596 of 1618
Debtor      LTGF Business Trust                                                                 Case number (if known) 2:23-bk-01538



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    ATIF, Inc.                                                                                 EIN:         XX-XXXXXXX
                                                                                                       From-To

   25.2.    Fund Insurance Solutions,                                                                  EIN:         XX-XXXXXXX
            LLC
            6545 Corporate Centre Blvd                                                                 From-To
            Orlando, FL 32822

   25.3.    Attorneys Title Guaranty                                                                   EIN:         XX-XXXXXXX
            Fund, Inc.
            7600 E Eastman Ave., Ste.                                                                  From-To      Debtor's interest was sold in May
            130                                                                                                     2020
            Denver, CO 80231


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        John H. Simmons
                    1601 Jackson St #200
                    Fort Myers, FL 33901
      26a.2.        Charles A. Krblich
                    Charles A Krblich, PA
                    1119 Southeast Third Ave
                    Fort Lauderdale, FL 33316

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
                       Case 2:23-bk-01538-FMD                     Doc 24         Filed 01/17/24             Page 1597 of 1618
Debtor      LTGF Business Trust                                                                 Case number (if known) 2:23-bk-01538




             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        John H. Simmons
                    1601 Jackson St #200
                    Fort Myers, FL 33901
      26c.2.        Charles A. Krblich
                    Charles A Krblich, PA
                    1119 Southeast Third Ave
                    Fort Lauderdale, FL 33316

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Gerard A. McHale                        1601 Jackson St., Ste. 200                          Chief Liquidating Officer                 0%
                                              Fort Myers, FL 33901



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      John H. Simmons                         1601 Jackson St #200                                President, Treasuerer,               through
                                              Fort Myers, FL 33901                                and Executive Secretary              10/16/2023
                                                                                                  - 0% ownership interest
      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      Please see attached list.                                                                   Trustee - 0% ownership
                                                                                                  interest


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
                     Case 2:23-bk-01538-FMD                    Doc 24         Filed 01/17/24               Page 1598 of 1618
Debtor       LTGF Business Trust                                                             Case number (if known) 2:23-bk-01538




           No
           Yes. Identify below.

             Name and address of recipient         Amount of money or description and value of                Dates             Reason for
                                                   property                                                                     providing the value
      30.1 John H. Simmons                                                                                                      Affordable Care
      .    1601 Jackson St #200                                                                                                 Act Rebate from
             Fort Myers, FL 33901                  $18.28                                                     12/30/22          Florida Blue

             Relationship to debtor
             President


      30.2                                                                                                    paid in
      .                                                                                                       bi-weekly
             John H. Simmons                                                                                  installments
             1601 Jackson St #200                                                                             over the
             Fort Myers, FL 33901                  Annual Salary of $50,000                                   previous year     annual salary

             Relationship to debtor
             President


      30.3 Gerard A. McHale
      .    1601 Jackson St., Ste. 200
             Fort Myers, FL 33901                  $25,000                                                    10/06/23          retainer

             Relationship to debtor
             Chief Liquidating Officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                   Employer Identification number of the parent
                                                                                                    corporation
   Attorneys' Title Insurance Fund & Subs                                                           EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                         Employer Identification number of the pension
                                                                                                    fund




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1599 of 1618
              Case 2:23-bk-01538-FMD      Doc 24   Filed 01/17/24   Page 1600 of 1618


                                 #28 – Current Officer

Name                       Address                          Position/Nature Int.            % Int

Gerard A. McHale           1601 Jackson St. Suite 200       CLO/Chief Liquidating Officer   0%
                           Fort Myers, FL 33901             (no interest)


                    #29 – Former Officer and Trustees

Name                       Address                          Position/Nature Int.            % Int

Charles S. Isler, III      P.O. Box 27032                   Trustee (no interest)           0%
                           Panama City, FL 32411

Duane C. Romanello         1919 Blanding Blvd Suite 8       Trustee (no interest)           0%
                           Jacksonville, FL 32210

John H. Simmons            1601 Jackson St. Suite 200       President, Treasurer            0%
                           Fort Myers, FL 33901             Executive Secretary
                                                            (no interest)

Julius J. Zschau           1910 Saddle Hill Rd N            Trustee (no interest)           0%
                           Dunedin, FL 34698

Kristopher E. Fernandez 114 S. Fremont Avenue               Trustee (no interest)           0%
                        Tampa, FL 33606

Patricia Nugent            2455 E. Sunrise Blvd., Suite 807 Trustee (no interest)           0%
                           Fort Lauderdale, FL 33304

Richard A. Miller          P.O. Box 8169                    Trustee (no interest)           0%
                           Lakeland, FL 33802

Robert A. Burson           P.O. Box 1620                    Trustee (no interest)           0%
                           Stuart, FL 34995

Shannon L. Widman          113 Botany Blvd                  Trustee (no interest)           0%
                           Santa Rosa Beach, FL 32459

Stephen L Mackey           6153 Golf Vista Way              Trustee (no interest)           0%
                           Boca Raton, FL 33433

Thomas D. Wright           9711 Overseas Highway            Trustee (no interest)           0%
                           Marathon, FL 33050
              Case 2:23-bk-01538-FMD                Doc 24       Filed 01/17/24      Page 1601 of 1618

Citibank CBO Services    038                                                                                       001/R1/04F016
P.O. Box 6201                                                                                   000
Sioux Falls, SD 57117-6201                                                                      CITIBANK, N. A.
                                                                                                Account
                                                                                                      87061
                                                                                                Statement Period
                  ATTORNEYS' TITLE INSURANCE FUND                                               Dec 1 - Dec 31, 2023
                  POB POB 811162                                                                Relationship Manager
                  BOCA RATON            FL 33481                                                Citibusiness Service Center
                                                                                                (877) 528-0990
                                                                                                            Page 1 of 3


CitiBusiness ® ACCOUNT AS OF DECEMBER 31, 2023

 Relationship Summary:
 Checking                                           $23,233.27
 Savings                                                $18.51
 Checking Plus                                          -----

 Checking                                                                                                       Balance
   CitiBusiness Streamlined Checking                                                                          $23,233.27
 Savings                                                                                                          Balance
    CitiBusiness IMMA                                                                                              $18.51
 Total Checking and Savings at Citibank                                                                       $23,251.78



SERVICE CHARGE SUMMARY FROM NOVEMBER 1, 2023 THRU NOVEMBER 30, 2023


Type of Charge                                                        No./Units            Price/Unit               Amount

STREAMLINED CHECKING #
Average Daily Collected Balance                                                                                   $7,055.51
DEPOSIT SERVICES
   CHECKS, DEP ITEMS/TICKETS, ACH                                           10                 .4500                    4.50
**WAIVE
Total Charges for Services                                                                                            $0.00

Net Service Charge                                                                                                    $0.00

CITIBUSINESS IMMA #
Average Daily Collected Balance                                                                              $343,154.70
Total Charges for Services                                                                                            $0.00

Net Service Charge                                                                                                    $0.00


CHECKING ACTIVITY

CitiBusiness Streamlined Checking
                                                                              Beginning Balance:                   $2,912.45
                                                                              Ending Balance:                     $23,233.27
Date Description                                                                  Debits        Credits              Balance
12/04 TRANSFER CREDIT                                                                         25,000.00             27,912.45
       TRANSFER FROM IMMA                  Dec 04
       009147387074 VIA CBusOL Re # 067337
12/06 ACH DEBIT                                                                    60.00                            27,852.45
       INTUIT *    QBooks Onl 7962632     Dec 06
                 Case 2:23-bk-01538-FMD                    Doc 24   Filed 01/17/24     Page 1602 of 1618
                                                                                                                  001/R1/04F016
ATTORNEYS' TITLE INSURANCE FUND                                Account                       Page 2 of 3
                                                               Statement Period: Dec 1 - Dec 31, 2023

CHECKING ACTIVITY                                                                                               Continued

Date Description                                                                  Debits           Credits        Balance
12/14 ACH DEBIT                                                                    77.62                         27,774.83
        ATTORNEYS TITLE IMPOUND       FL573       Dec 14
12/14 ACH DEBIT                                                                   439.88                         27,334.95
        ATTORNEYS TITLE IMPOUND       FL573       Dec 14
12/14 ACH DEBIT                                                                 1,630.37                         25,704.58
        ATTORNEYS TITLE IMPOUND       FL573       Dec 14
12/14 DEBIT CARD           Card Ending in 9116                                    115.00                         25,589.58
        USPS PO 11085602 604 BABOCA RATON 16LUS0519
12/18 DEBIT CARD PURCH Card Ending in 9116                                         86.42                         25,503.16
        LH0HPW16             009116 Dec 18
        VBS*VONAGE BUSINESS 866-901-0242 GA 23349
12/22 TRANSFER DEBIT                                                               17.00                         25,486.16
        TRANSFER TO IMMA             Dec 22
        VIA CBUSOL       REFERENCE # 055767
12/28 ACH DEBIT                                                                   182.70                         25,303.46
        ATTORNEYS TITLE IMPOUND       FL573       Dec 28
12/28 ACH DEBIT                                                                   439.76                         24,863.70
        ATTORNEYS TITLE IMPOUND       FL573       Dec 28
12/28 ACH DEBIT                                                                 1,630.43                         23,233.27
        ATTORNEYS TITLE IMPOUND       FL573       Dec 28
        Total Debits/Credits                                                     4,679.18        25,000.00




SAVINGS ACTIVITY

CitiBusiness IMMA
9147387074                                                                        Beginning Balance:          $343,181.97
                                                                                  Ending Balance:                  $18.51
Date    Description                                                               Debits          Credits         Balance
12/04   TRANSFER DEBIT                                                         25,000.00                        318,181.97
        TRANSFER TO CHECKING           Dec 04
        VIA CBUSOL      REFERENCE # 067337
12/22   TRANSFER CREDIT                                                                             17.00       318,198.97
        TRANSFER FROM CHECKING                Dec 22
        009147387061 VIA CBusOL Re # 055767
12/22   SERVICE CHARGES                                                            17.00                        318,181.97
        FEE FOR DOMESTIC FUNDS TRANSFER
12/22   CBUSOL TRANSFER DEBIT                                                 318,181.97                               0.00
        WIRE TO LTGF DIP Case 2:23-BK-01538-FMD
12/29   INTEREST EARNED                                                                             18.51             18.51
        Total Debits/Credits                                                  343,198.97            35.51

        Interest earned year to date $371.43

                                             Your CitiBusiness IMMA Account Rates
 For Balances of          $0           $25,000       $50,000      $100,000     $500,000         $1,000,000   $10,000,000
                          to              to            to           to           to                to
                       $24,999         $49,999       $99,999      $499,999     $999,999         $9,999,999    and over
 12/01 - 12/18          0.100%          0.100%        0.100%       0.100%       1.200%            1.200%       1.200%
 12/19 - 12/31          0.100%          0.100%        0.100%       0.100%       1.000%            1.000%       1.000%
                  Case 2:23-bk-01538-FMD                     Doc 24        Filed 01/17/24    Page 1603 of 1618
                                                                                                                         001/R1/04F016
ATTORNEYS' TITLE INSURANCE FUND                                      Account                       Page 3 of 3
                                                                     Statement Period: Dec 1 - Dec 31, 2023

CUSTOMER SERVICE INFORMATION

IF YOU HAVE QUESTIONS ON:                        YOU CAN CALL:                              YOU CAN WRITE:
Checking                                         877-528-0990                               CitiBusiness
Insured Money Market                             For TTY:We accept 711 or                   100 Citibank Drive
                                                 other Relay Service.                       San Antonio, TX 78245-9966

For change in address, call your account officer or visit your branch.
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Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1604 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1605 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1606 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1607 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1608 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1609 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1610 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1611 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1612 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1613 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1614 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1615 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1616 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1617 of 1618
Case 2:23-bk-01538-FMD   Doc 24   Filed 01/17/24   Page 1618 of 1618
